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                        Exhibit 27
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                                                                        Page 1
                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

              IN RE: JOHNSON &             )
              JOHNSON TALCUM POWDER        )
              PRODUCTS MARKETING           )
              SALES PRACTICES AND          )   MDL 16-2738
              PRODUCT LIABILITY            )   (FLW)(LHG)
              LITIGATION                   )
              _____________________        )
              THIS DOCUMENT                )
              PERTAINS TO ALL CASES        )

                       WEDNESDAY, DECEMBER 19, 2018

             CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER

                                      – – –

                         Videotaped deposition of Laura
             Plunkett, Ph.D., DABT, held at the Four
             Seasons Hotel, 999 North 2nd Street, St.
             Louis, Missouri, commencing at 9:12 a.m., on
             the above date, before Carrie A. Campbell,
             Registered Diplomate Reporter, Certified
             Realtime Reporter, Illinois, California &
             Texas Certified Shorthand Reporter, Missouri
             & Kansas Certified Court Reporter.
                                 – – –
                       GOLKOW LITIGATION SERVICES
                   877.370.3377 ph | 917.591.5672 fax
                             deps@golkow.com




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        1        APPEARANCES:                                  1                INDEX
        2                                                      2                           PAGE
             BEASLEY, ALLEN, CROW, METHVIN,
        3    PORTIS & MILES, P.C.
                                                               3   APPEARANCES.................................. 2
             BY: TED MEADOWS                                   4   EXAMINATIONS
        4       Ted.Meadows@BeasleyAllen.com                   5    BY MS. BRANSCOME........................... 8
                RYAN BEATTIE                                   6    BY MS. BOCKUS.............................. 287
        5       Ryan.Beattie@BeasleyAllen.com                  7    BY MR. LOCKE............................... 319
             218 Commerce Street                               8
        6    Montgomery, Alabama 36104
             (334) 269-2343                                    9             EXHIBITS
        7                                                     10   No. Description                   Page
        8    ASHCRAFT & GEREL, LLP                            11   1 Notice of Oral and Videotaped        8
             BY: MICHELLE A. PARFITT                                  Deposition of Plaintiffs' Expert
        9       mparfitt@ashcraftlaw.com                      12      and Duces Tecum
             4900 Seminary Road, Suite 650
       10    Alexandria, VA 22311
                                                              13   2 Expert Report of Laura M. Plunkett, 13
             (703) 931-5500                                           Ph.D., DABT, October 5, 2016
       11                                                     14
       12    LEVIN, PAPANTONIO, THOMAS, MITCHELL,                  3    Supplemental Expert Report of Laura         13
             RAFFERTY & PROCTOR, P.A.                         15       M. Plunkett, Ph.D., DABT, August
       13    BY: CHRISTOPHER V. TISI
                ctisi@levinlaw.com
                                                                       29, 2018
       14    316 South Baylen Street, Suite 600               16
             Pensacola, Florida 32502                              4   Rule 26 Expert Report of Laura M.   13
       15    (850) 435-7000                                   17       Plunkett, Ph.D., DABT, November 16,
       16                                                              2018
             GOLOMB & HONIK, P.C.                             18
       17    BY: RICHARD GOLOMB
                rgolomb@golombhonik.com                            5    "Systematic Review and            16
       18    1835 Market Street, Suite 2900                   19       Meta-Analysis of the Association
             Philadelphia, Pennsylvania 19103                          between Perineal Use of Talc and
       19    (215) 278-4449                                   20       Risk of Ovarian Cancer," Taher, et
             Counsel for Plaintiffs                                    al.
       20
       21    KIRKLAND & ELLIS LLP
                                                              21
             BY: KIMBERLY OLVEY BRANSCOME                          6    Printout of Health Canada's risk      17
       22       kimberly.branscome@kirkland.com               22       assessment of talcum powder
                WILLIAM SMITH                                 23   7    "Ovarian, Fallopian Tube, and         111
       23    333 South Hope Street                                     Primary Peritoneal Cancer
             Los Angeles, California 90071
       24    (213) 680-8370
                                                              24       Prevention (PDQ)-Health
             Counsel for Defendant Johnson &                           Professional Version," National
       25    Johnson                                          25       Cancer Institute


                                                     Page 3                                                              Page 5
        1     DYKEMA                                           1       8      "Weight of Evidence: General        211
              BY: JANE E. BOCKUS
        2        jbockus@dykema.com                                          Principles and Current Applications
                 RYAN J. SULLIVAN
        3        rsullivan@dykema.com                          2             at Health Canada"
              112 East Pecan Street, Suite 1800                3           (Exhibits attached to the deposition.)
        4     San Antonio, Texas 78205
              (210) 554-5500                                   4
        5     Counsel for the Defendant Imerys                 5
              Talc America
        6                                                      6
        7     SEYFARTH SHAW LLP
              BY: THOMAS T. LOCKE                              7
        8        tlocke@seyfarth.com                           8
              975 F Street, N.W.
        9     Washington, DC 20004                             9
              (202) 463-2400                                  10
       10     Counsel for Defendant Personal Care
              Products Council                                11
       11
       12     TUCKER ELLIS LLP                                12
              BY: CAROLINE M. TINSLEY                         13
       13         caroline.tinsley@tuckerellis.com
              100 South Fourth Street, Suite 600              14
       14     St. Louis, Missouri 63102                       15
              (314) 571-4965
       15     Counsel for PTI Union, LLC and PTI              16
              Royston, LLC
       16                                                     17
       17                                                     18
            ALSO PRESENT:
       18    KATIE TUCKER, Beasley Allen                      19
       19                                                     20
            VIDEOGRAPHER:
       20    JACOB ARNDT,                                     21
             Golkow Litigation Services
       21                                                     22
                       –––                                    23
       22
       23                                                     24
       24                                                     25
       25



                                                                                          2 (Pages 2 to 5)
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        1           VIDEOGRAPHER: We are now on              1            DIRECT EXAMINATION
        2      the record.                                   2   QUESTIONS BY MS. BRANSCOME:
        3           My name is Jacob Arndt. I'm a            3       Q. All right. Good morning,
        4      videographer for Golkow Litigation            4   Dr. Plunkett. I introduced myself right
        5      Services.                                     5   before we started, but my name is Kimberly
        6           Today's date is December 19,             6   Branscome, and I am here on behalf of Johnson
        7      2018, and the time is 9:12 a.m.               7   & Johnson.
        8           This deposition is being held            8            Is it your understanding today
        9      in St. Louis, Missouri, In Re: Johnson        9   that you are giving your deposition for the
       10      & Johnson Products Marketing Sales           10   purpose of a Daubert analysis in the MDL
       11      Practices, for the United States             11   related to Johnson's baby powder?
       12      District Court for the District of           12       A. That's my understanding, yes.
       13      New Jersey.                                  13            (Plunkett Exhibit 1 marked for
       14           The deponent is Dr. Laura               14       identification.)
       15      Plunkett.                                    15   QUESTIONS BY MS. BRANSCOME:
       16           Will counsel please identify            16       Q. I want to start by handing you
       17      themselves?                                  17   what I will mark as Plunkett Deposition
       18           MR. MEADOWS: Ted Meadows for            18   Exhibit 1.
       19      plaintiffs.                                  19            Do you recognize the document
       20           MS. PARFITT: Michelle Parfitt           20   that I just handed you?
       21      for the plaintiffs.                          21       A. Yes.
       22           MR. BEATTIE: Ryan Beattie for           22       Q. Okay. Have you seen this
       23      plaintiffs.                                  23   document before?
       24           MR. TISI: Chris Tisi for                24       A. Yes.
       25      plaintiffs.                                  25       Q. All right. When was this

                                                Page 7                                               Page 9
        1             MR. GOLOMB: Richard Golomb for         1   document provided to you?
        2       plaintiffs.                                  2       A. Either earlier this -- this
        3             MR. LOCKE: Tom Locke for the           3   week or late last week. I don't recall if it
        4       Personal Care Products Council.              4   was Friday or Monday.
        5             MS. TINSLEY: Caroline Tinsley          5       Q. Okay. For the purposes of the
        6       for PTI Union, LLC, and PTI Royston,         6   record, could you just identify what the
        7       LLC.                                         7   document is that I just handed you as
        8             MR. SULLIVAN: Ryan Sullivan            8   Plunkett Deposition Exhibit Number 1?
        9       for Imerys.                                  9       A. It's a notice of oral and
       10             MS. BOCKUS: Jane Bockus for           10   videotaped deposition for myself, dated -- I
       11       Imerys.                                     11   don't see the date, but probably on the very
       12             MR. SMITH: William Smith for          12   last -- do you need that or just -- is that
       13       Johnson & Johnson.                          13   enough of an identification?
       14             MS. BRANSCOME: Kimberly               14       Q. That's all right.
       15       Branscome for Johnson & Johnson.            15            Now, contained within the
       16             VIDEOGRAPHER: Thank you.              16   deposition notice there is a reference to a
       17             The court reporter is Carrie          17   request for materials that are identified in
       18       Campbell and will now swear in the          18   more detail in Schedule A.
       19       witness.                                    19            Do you see that?
       20         LAURA PLUNKETT, Ph.D., DABT,              20       A. Yes.
       21   of lawful age, having been first duly sworn     21       Q. Have you reviewed Schedule A?
       22   to tell the truth, the whole truth and          22       A. Yes.
       23   nothing but the truth, deposes and says on      23       Q. Did you bring any documents
       24   behalf of the Defendant Johnson & Johnson, as   24   with you in response to the request in
       25   follows:                                        25   Schedule A?

                                                                               3 (Pages 6 to 9)
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        1         A. The only thing that I believe            1   but I'll bill separately for the time I spent
        2    that I had to bring that had not already been    2   yesterday right before the deposition and
        3    provided was additional billing since the        3   then at the deposition, so...
        4    time of my last deposition.                      4       Q. What did you do to prepare for
        5         Q. Okay. And is it my                       5   your deposition today?
        6    understanding that the documentation related     6       A. I reviewed my reports, the
        7    to additional billing that you have done         7   three reports that I filed in the litigation.
        8    since your prior deposition was produced         8   I had a meeting with attorneys on Monday, and
        9    yesterday at the deposition in the Forrest       9   then we had a short meeting yesterday evening
       10    case?                                           10   because some attorneys arrived that were not
       11         A. That's correct.                         11   here on Monday.
       12         Q. All right. And the information          12             And essentially went through
       13    contained in the documents produced at the      13   some of the documents that -- went through
       14    Forrest deposition yesterday, do those          14   some of the documents that I had cited in the
       15    contain an up-to-date record of the billing     15   report in certain paragraphs, just to refresh
       16    that you have submitted for your work in        16   my memory of what they were. So if you want
       17    connection with the litigation against          17   me to tell you which paragraphs, I can do
       18    Johnson & Johnson?                              18   that.
       19         A. Yes, with the understanding             19       Q. I will in just a moment. Okay.
       20    that I haven't submitted a bill for December    20       A. Want me to repeat that? I'm
       21    yet.                                            21   sorry.
       22         Q. Okay. How much time have you            22       Q. That's all right.
       23    spent working in connection with your           23             Dr. Plunkett, you referenced
       24    opinions in the case against Johnson &          24   the fact that you reviewed specific
       25    Johnson related to its baby powder in the       25   paragraphs of your expert reports in

                                               Page 11                                               Page 13
        1   month of December?                                1   preparation for today's deposition.
        2        A. So I'm -- on all the cases that           2            Could you identify those
        3   I am involved in that are pending, not just       3   paragraphs for me?
        4   this deposition?                                  4            And it's helpful to you, we can
        5        Q. I'll ask first all cases and              5   go ahead and mark your three expert reports,
        6   then we'll narrow it to the deposition.           6   if you're referring to all three.
        7        A. So in all --                              7       A. I'm going to refer just to the
        8        Q. I mean to the MDL, I'm sorry.             8   MDL report because that's what we're here to
        9        A. Okay. So in all cases this                9   talk about. I mean, if you want to talk
       10   month, probably eight hours so far, maybe        10   about what I did to get ready for yesterday
       11   ten.                                             11   separately or --
       12        Q. Does that include the time that          12            MR. MEADOWS: Might be helpful
       13   you've spent attending deposition?               13       to go ahead and mark them.
       14        A. No, that's not including                 14            MS. BRANSCOME: Why don't we go
       15   yesterday's deposition time. I apologize. I      15       ahead and just mark the three reports,
       16   forgot about that.                               16       and then we can walk through.
       17        Q. And how much of the eight to             17            (Plunkett Exhibits 2, 3 and 4
       18   ten hours that you have spent this month         18       marked for identification.)
       19   working on these cases against Johnson &         19   QUESTIONS BY MS. BRANSCOME:
       20   Johnson, setting aside the time you spent in     20       Q. So, Dr. Plunkett, do you have a
       21   deposition yesterday, relate to the MDL          21   copy of your three reports in front of you?
       22   specifically?                                    22       A. Yes, I do.
       23        A. So it will probably be                   23       Q. Do those contain any markings,
       24   billed -- it will be one bill for the            24   highlightings or flags?
       25   preparation time because the prep overlapped,    25       A. No, they don't.


                                                                             4 (Pages 10 to 13)
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        1        Q. Okay. Do you mind if we mark             1   are also cited in paragraph 39 as well, some
        2    your copies as the official records?            2   of those same ones that are...
        3        A. No, that's fine.                         3            And then in Section 5 of my
        4        Q. So we will mark -- well, let's           4   report where I'm talking about exposure, I
        5    do this in chronological order. So I am         5   looked again at Parmley and Woodruff. I
        6    marking as Plunkett Deposition Exhibit          6   looked again at Vetner and Iturrulde and Egli
        7    Number 2 the expert report of Dr. Plunkett      7   and Newton last night.
        8    dated October 5, 2016.                          8            And the only other thing I
        9             Could you confirm,                     9   looked at is not cited in this report because
       10    Dr. Plunkett, that that's what I marked as     10   it came out after the report was filed, and
       11    Deposition Exhibit Number 2?                   11   that was -- and I did bring a copy of that.
       12        A. Yes, it is.                             12   That was the risk assessment that was done in
       13        Q. And then we will mark as                13   Canada. Some people refer to it as -- by the
       14    Deposition Exhibit Number 3 supplemental       14   first author's last name, Taher, T-a-h-e-r.
       15    expert report of Dr. Laura Plunkett dated      15   And I may be pronouncing that wrong, but...
       16    August 29, 2018.                               16            (Plunkett Exhibit 5 marked for
       17             Dr. Plunkett, could you confirm       17        identification.)
       18    that I marked that as Exhibit Number 3?        18   QUESTIONS BY MS. BRANSCOME:
       19        A. Yes, that's correct.                    19        Q. All right. And I see that you
       20        Q. And then Exhibit Number 4, we           20   brought a copy of that document with you.
       21    will mark the expert report dated              21   Just for the purposes of the record, let's
       22    November 16, 2018, by Dr. Plunkett that was    22   mark that as Plunkett Deposition Exhibit
       23    produced in the MDL.                           23   Number 5.
       24             Could you confirm that I marked       24            Are there any markings,
       25    that as Deposition Exhibit Number 4?           25   highlightings or notations on that document?

                                              Page 15                                              Page 17
        1        A. Yes, that's correct.                     1      A.      No, there's not.
        2        Q. All right. And so now back to            2            And then the other document I
        3   the question of you referenced the fact that     3   looked at that was not cited in the report,
        4   you looked at specific paragraphs of your        4   there is a printout from the government of
        5   expert report in preparation for today's         5   Canada website that talks about some
        6   deposition. If you could, using Deposition       6   statements on talc, and so I printed that out
        7   Exhibit Number 4, identify which paragraphs      7   as well. This was published at the same time
        8   you looked at specifically in preparation for    8   that the risk assessment was published.
        9   the deposition.                                  9            (Plunkett Exhibit 6 marked for
       10        A. So it wasn't the paragraphs.            10       identification.)
       11   There were certain documents in paragraphs,     11   QUESTIONS BY MS. BRANSCOME:
       12   so that's what I was referring to, so...        12       Q. All right. We'll mark that for
       13             So starting in paragraph 38           13   purposes of the record as Plunkett Deposition
       14   where I'm talking about sort of the timeline    14   Exhibit Number 6. We might come back to
       15   of information about human health hazards and   15   those documents.
       16   talc dust. So I just went back and refreshed    16            So returning briefly to the
       17   on a few of the older papers.                   17   deposition notice and the requests in
       18             I looked again at the patent          18   Schedule A, the billing information you
       19   documents that are cited in the first bullet.   19   produced yesterday and then we just discussed
       20             I looked again at a paper by          20   additional information with respect to that,
       21   Eberl, 1948, which is in the last bullet.       21   are there any other documents that you have
       22   The patent documents are also there as well.    22   in your possession that are responsive to
       23             And that -- so that would be          23   requests identified in Schedule A that have
       24   all I pulled in that paragraph.                 24   not been produced?
       25             I believe that those documents        25       A. I don't believe so, no.


                                                                           5 (Pages 14 to 17)
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        1   Everything -- I do believe that there were        1       Q. All right. And then you
        2   some objections filed to this, so there's         2   produced a supplemental report earlier this
        3   some things that I did not provide based on       3   year, on August 29, 2018, and that's been
        4   that.                                             4   marked as Deposition Exhibit Number 3,
        5            Some of the things I don't               5   correct?
        6   have, too. I think you asked for -- maybe         6       A. Yes.
        7   you didn't ask for that. Usually people ask       7       Q. When did you begin work on the
        8   for copies of old depositions, and I don't        8   supplemental report that you produced at the
        9   keep those. And maybe you didn't ask for          9   end of August in 2018?
       10   that, but that's usually a request.              10       A. I want to say -- let's see. I
       11            Let me see.                             11   want to say sometime in the summer. Maybe as
       12       Q. Okay. Now, you mentioned that             12   early as May, but I believe May -- May, June
       13   you met with attorneys on Monday. And who        13   time frame of 2018.
       14   was present at that meeting?                     14            My billing would reflect that,
       15       A. So on Monday it was                       15   so, again, we can pull my billing. And I
       16   Mr. Meadows, sitting here. Ms. Tucker,           16   would have called it preparation of the
       17   Mr. Beattie, were at the meeting on Monday.      17   supplemental report in my billing.
       18       Q. All right. And how long did               18       Q. Okay. Why did you choose to
       19   that meeting last?                               19   draft a supplemental expert report?
       20       A. Probably six hours, I guess,              20       A. So over the time I had worked
       21   six hours with them, and then I also did some    21   on different trials here in St. Louis
       22   other work on my own, but...                     22   particularly, additional documents that were
       23       Q. Okay. And then you mentioned              23   not cited in my original report became
       24   that you had another meeting last night.         24   reliance materials based on their
       25            Who was present at that                 25   presentation at trial. So there were enough

                                               Page 19                                              Page 21
        1    meeting?                                         1   of those that I thought it was important to
        2         A. So that was probably about an            2   add to the original report with additional
        3    hour, and that would have been Mr. Tisi -- or    3   documents that I had reviewed over time.
        4    maybe two hours. Mr. Tisi joined us              4             Since October of 2016 through,
        5    yesterday afternoon. And Mr. Golomb, too,        5   let's say, the summer of 2018, there were a
        6    I'm sorry.                                       6   variety of additional documents that I had --
        7         Q. All right. Okay. Now, looking            7   I had seen.
        8    at the three reports that you have produced      8             It was also my understanding
        9    in the litigation involving Johnson's baby       9   that during that time period Johnson &
       10    powder, I wanted to get an understanding of     10   Johnson had provided additional documents
       11    how those three reports relate to one           11   that weren't provided or available to me in
       12    another.                                        12   2016, so additional discovery that was now
       13              So you have the first report          13   available to look at. So some of this is a
       14    that you produced that was dated October 5,     14   matter of additional evidence that wasn't
       15    2016. I believe that was originally produced    15   available when I wrote my initial -- my
       16    in the Uhl case; is that correct?               16   initial report.
       17         A. I'm not sure the name of the            17        Q. All right. Now when you say
       18    first case, but it was in the -- some of the    18   the additional documents became reliance
       19    St. Louis cases, yes.                           19   materials in trial, what do you mean by that?
       20         Q. All right. And when did you             20        A. So additional documents that we
       21    begin work on that report?                      21   refer to in trial that I use to support
       22         A. You'd have to look at my                22   opinions that weren't necessarily
       23    billing record, which I know was an exhibit     23   specifically cited within the body of my
       24    to yesterday's deposition. I believe they       24   report or described within the body of my
       25    started in 2015.                                25   report. They were likely on my larger


                                                                            6 (Pages 18 to 21)
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        1   reliance list, but they weren't things that      1   ask who the -- who was involved in the
        2   were cited.                                      2   drafting of the report that was produced in
        3             In other words, if you look at         3   the MDL?
        4   my original report in -- when I say the body,    4            MR. MEADOWS: Hold on just one
        5   the paragraphs. I always put a reference         5       second.
        6   list and then I'll have Bates numbers. So        6            Ask the question one more time.
        7   during trial, things that were from my larger    7       I want to make sure we're not
        8   reliance list that weren't specifically          8       venturing into attorney work product
        9   discussed in my report became support for        9       realm here.
       10   different opinions that -- based on questions   10   QUESTIONS BY MS. BRANSCOME:
       11   at trial.                                       11       Q. Dr. Plunkett, do you consider
       12        Q. Okay. When you say these were           12   the report that you have issued in the MDL
       13   documents that "we" refer to at trial, you're   13   which is identified as Exhibit 4 to be
       14   referring to yourself and attorneys             14   attorney work product?
       15   representing the plaintiffs?                    15            MR. MEADOWS: Objection. Don't
       16        A. Yes, that's correct.                    16       answer that. That calls for a legal
       17        Q. Okay. And understanding that            17       conclusion, and at this point I'm
       18   the purpose of today's deposition is focused    18       going to instruct you not to answer
       19   specifically on the MDL, then you produced a    19       questions about how the report came
       20   report specific to the MDL on November 16,      20       into be.
       21   2018, that we've marked as Exhibit 4,           21            MS. BRANSCOME: Are you
       22   correct?                                        22       instructing her to refuse to answer
       23        A. Yes.                                    23       any questions that involve the
       24        Q. When did you begin work on the          24       development of her expert report?
       25   report that you produced specifically in the    25            MR. MEADOWS: I'm instructing

                                              Page 23                                              Page 25
        1   MDL?                                             1       her not to answer your last question.
        2       A. Sometime right after -- I would           2   QUESTIONS BY MS. BRANSCOME:
        3   say early fall of 2018, sometime after           3       Q. Are you following your
        4   this -- the supplemental report was filed.       4   attorney's instructions, Dr. Plunkett?
        5   Probably right after that.                       5       A. Yes.
        6       Q. Okay. So is it fair to say                6            MS. BRANSCOME: At this point I
        7   that you began work on your MDL report after     7       would like to go off the record,
        8   completing the supplemental expert report        8       please.
        9   that has been marked as Exhibit 3?               9            VIDEOGRAPHER: Okay. We are
       10       A. Yes, that's correct.                     10       going off the record at 9:30 a.m.
       11       Q. Okay. Who was involved in the            11        (Off the record at 9:30 a.m.)
       12   drafting of the report that's been identified   12            VIDEOGRAPHER: We are back on
       13   as Exhibit 4?                                   13       the record at 9:32 a.m.
       14             MR. MEADOWS: Objection. Hang          14   QUESTIONS BY MS. BRANSCOME:
       15       on a second.                                15       Q. Dr. Plunkett, other than
       16             Are you asking about                  16   attorneys, if attorneys were involved -- I am
       17       communications between attorneys and        17   not asking questions about that -- were there
       18       Dr. Plunkett?                               18   any individuals who assisted you in preparing
       19   QUESTIONS BY MS. BRANSCOME:                     19   the report that has been marked as Exhibit 4?
       20       Q. Dr. Plunkett, none of the                20       A. There was no one that actually
       21   questions I will ask you here today are         21   assisted in writing the report. I do -- when
       22   intended to elicit information that's           22   I did my literature searches, I had my
       23   protected by the attorney-client privilege.     23   husband help me retrieve articles that I
       24             So setting that aside, anything       24   identified for retrieval, but certainly there
       25   that you understand to be privileged, I can     25   was no -- he doesn't participate in the


                                                                           7 (Pages 22 to 25)
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        1   actual review of articles or in drafting of      1   been marked as Exhibits 2, 3 and 4 to each
        2   the report. That's all my work.                  2   other, what is your -- what is your position
        3        Q. Okay. And when you say that              3   with respect to opinions that you have stated
        4   your husband retrieved articles, was this        4   or language you have used in Exhibits 2 and 3
        5   simply -- what information did you provide       5   that may not appear in Exhibit 4?
        6   him in order to enable him to retrieve a         6       A. I don't think I understand what
        7   particular article?                              7   your -- what you mean by my position. Are
        8        A. So we use a service in Houston           8   you asking --
        9   called Loansome Doc, which is affiliated with    9             MS. PARFITT: And I'll object
       10   our local medical library system and also       10       to that question.
       11   with the National Library of medicine and NIH   11             THE WITNESS: Are you asking me
       12   libraries. So I give him an online search       12       to describe -- I mean, I could
       13   that I put into a clipboard. He takes that,     13       describe for you the overlap. I mean,
       14   makes the request or retrieves -- some of       14       there's not complete overlap. Is that
       15   them will be free, and so he'll actually go     15       what you're asking me or --
       16   to the websites for the -- and then put them    16   QUESTIONS BY MS. BRANSCOME:
       17   into a folder for me.                           17       Q. I am. Why don't you take a
       18             So he does that physical part         18   shot at it and then I may narrow my question,
       19   of it through the computer, but he doesn't --   19   but I'm just trying to understand how the
       20   he doesn't do the searches or decide which      20   reports relate to one another.
       21   ones to retrieve. I do that.                    21             MR. MEADOWS: Objection.
       22        Q. Okay. Did you have any                  22             THE WITNESS: So they relate to
       23   discussions with your husband about the         23       each other, I would say, based on
       24   substantive content of the report that's        24       timing first, because obviously the
       25   identified as Exhibit 4?                        25       first report was two years ago, and

                                              Page 27                                              Page 29
        1       A. No.                                       1       then many more documents. So that's
        2       Q. Does he do any evaluation --              2       how the 1 and 2 relate -- or Exhibit 2
        3   for example, if you were to provide him a        3       and 3 relate to each other.
        4   search and it generates multiple documents by    4            In the MDL litigation, I was
        5   a given author, does he identify additional      5       asked to address very specific topics
        6   articles that you might want to consider?        6       and things because there's a -- it's a
        7       A. Only -- he has done that, but             7       different -- I don't know all of them,
        8   only with the streams of letters to the          8       but there's a different set of experts
        9   editor. So I ask him always if I'm pulling       9       that work in different litigations.
       10   an article. Happens a lot at the New England    10            So my role in the MDL, I
       11   Journal of Medicine or some of the other        11       believe, is set out based on this
       12   medical journals where there's pretty active    12       report, whereas in the original
       13   letter to the editor correspondence that        13       reports I may have had -- I did have a
       14   happens.                                        14       broader role in some of those cases.
       15             So I always say to him, "If           15   QUESTIONS BY MS. BRANSCOME:
       16   there's any citation to this through the        16       Q. Okay. Can you describe for me
       17   letter to the editor comments, would you        17   your understanding of your role in the MDL?
       18   please retrieve those," and so he will do       18       A. It's my understanding that I
       19   that search to look for that.                   19   have been asked to provide opinions related
       20       Q. Okay.                                    20   to the -- generally the toxicology of talcum
       21       A. And I'm not sure that that               21   powder products, including all the individual
       22   happened in any of these articles, but I'm      22   constituents that make up that product; to
       23   talking my general process that we use.         23   look historically back in time about what was
       24       Q. Okay. In terms of the                    24   known and when about the toxic effects of
       25   relationship of the three reports that have     25   talc and different constituents within talc.


                                                                           8 (Pages 26 to 29)
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         1   And that was sort of the -- that's been --       1   the companies had, in fact, influenced the
         2   I consider that sort of the meat of what I've    2   regulators or PCPC?
         3   been asked to do.                                3             MR. MEADOWS: Objection.
         4           But separate from that, another          4             THE WITNESS: Not in my -- not
         5   part important part of my testimony or things    5        when I first started this process. So
         6   I was asked to provide was an overview of the    6        that is -- those opinions actually go
         7   regulatory process for cosmetics and then the    7        back into my original report. So
         8   information that accumulated scientifically,     8        that's not something, I don't believe,
         9   how that related to what a company is            9        that was not covered in my original
        10   required to do under the regulations in order   10        report or even in my supplemental
        11   to provide consumers with appropriate           11        report. I just have different -- some
        12   information about the safety of the product.    12        additional documents that I have
        13   So kind of the regulatory opinions, I guess     13        reviewed.
        14   you want to call it, that area.                 14   QUESTIONS BY MS. BRANSCOME:
        15           I have sections on that, and I          15        Q. Okay.
        16   think you can see that by the different         16        A. And this is something when I
        17   sections in my report where I set out           17   first evaluated the case and first started
        18   different general topics.                       18   looking at the documents, those are opinions
        19           And then I was also asked to            19   that I had formed based on my review.
        20   address some of the issues related to how the   20             Certainly by the time I drafted
        21   information on the safety of talc has been      21   the MDL report, I think if you listened to
        22   disseminated publicly and also based on my      22   my -- read my trial testimony, you understand
        23   review of different internal company            23   I had those opinions at the time I started
        24   documents, both from Johnson & Johnson -- or    24   writing this report.
        25   from Johnson & Johnson, Imerys, as well as      25        Q. Now, what I'd like to

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         1   the PCPC, which is the Personal Care Products    1   understand next is, are there -- of the
         2   Council, formerly known as the CTFA, to look     2   topics that you just identified that you
         3   at those interactions and how those companies    3   understand that you're offering opinions
         4   set about to influence the process around the    4   about in the MDL, which, if any, of those
         5   safety assessment of talc over the years. So     5   topics are in your view new as compared to
         6   different activities that happened with          6   the opinions that you have offered that are
         7   respect to the ISRTP meetings in the '90s,       7   contained in Exhibits 2 and 3?
         8   with respect to the NTP process at different     8            MS. PARFITT: Objection.
         9   points in time.                                  9            THE WITNESS: So I don't think
        10            The CIR process, I think I             10        any of the MDL opinions are new.
        11   cover, and I also talk a little bit about       11   QUESTIONS BY MS. BRANSCOME:
        12   IARC, I believe, as well.                       12        Q. Okay.
        13            So the interactions of the             13        A. I think that they may have --
        14   industry with the science and then how that     14   they may -- they may cite to additional
        15   science ends up getting described within --     15   documents that haven't been cited to in the
        16   either to regulators or to bodies that are      16   first two reports, but I believe there's a
        17   reviewing the science related to the            17   significant overlap even on the documents
        18   products.                                       18   that are cited.
        19        Q. You mentioned as one of the             19        Q. And you mentioned that your
        20   categories that you were asked to opine about   20   role in the MDL is more narrow than the role
        21   in the MDL that you were looking to set about   21   you've served in other cases.
        22   the influence that companies may have exerted   22            What topics have you opined
        23   over the regulatory process or PCPC.            23   about in other cases that you are not
        24            When you began that analysis,          24   intending to opine about in the MDL?
        25   did you start with the predicate belief that    25        A. So I am not doing general


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         1   causation in the MDL, although I am indeed       1   principles of, first, is there a hazard, is
         2   providing opinions on certain aspects of the     2   the first step. Is there a hazard that would
         3   cause and effect relationship such as -- you     3   be relevant to human health.
         4   know, I talk about biologic plausibility,        4             Then looking at the data and
         5   underlying knowledge about different             5   determining whether that -- that body of data
         6   toxicities of the compounds over time, but       6   allows you to either quantify risk in some
         7   I'm not doing a full causation analysis in my    7   way or to qualitatively shows you that
         8   MDL report, and hopefully you see that when      8   there's a change in risk based on exposure to
         9   you read the report.                             9   the product.
        10        Q. So as you sit here today,               10             So your statement may be as
        11   Dr. Plunkett, you are not intending to offer    11   simple as there's an increased risk, or you
        12   the opinion in the MDL that Johnson's baby      12   can take data in a risk assessment and do a
        13   powder causes ovarian cancer; is that           13   quantification such as in a -- a cancer risk
        14   correct?                                        14   assessment based on an animal data set. You
        15        A. Not in those words. I think if          15   might actually calculate a cancer potency
        16   you read my report, I talk about the            16   factor, for example. Those kinds of things.
        17   fact that Johnson -- it's my opinion that       17   That's another application of risk
        18   Johnson's baby powder increases the risk of     18   assessment. Same basic process but focusing
        19   cancer -- ovarian cancer, which is a            19   just, for example, on one study.
        20   different assessment than the way you stated    20             My human health risk assessment
        21   it.                                             21   or safety assessment, like the causation
        22        Q. All right. And it is -- as you          22   analysis, does look across all kinds of data,
        23   sit here today, Dr. Plunkett, it is your        23   but my goal was not to analyze the data under
        24   understanding that you are not being offered    24   the Hill considerations, which is what I
        25   to give a, as you termed it, a general          25   would typically do, in order to go through

                                               Page 35                                              Page 37
         1   causation opinion in the MDL, correct?           1   the process of making that final opinion that
         2       A. That's my understanding, yes.             2   indeed baby powder -- exposure to baby powder
         3       Q. Now, you mentioned that the               3   through genital application is a cause of
         4   analysis as to whether a substance increases     4   ovarian cancer in women. That's -- to me,
         5   the risk of a particular outcome is different    5   that's a different way to go about thinking
         6   than a causation analysis.                       6   about the question that you have to answer.
         7            Can you explain to me what you          7             And also the -- some of the
         8   meant by that?                                   8   data that you evaluate is evaluated a bit
         9       A. So I discussed this yesterday             9   differently. So, for example, in my
        10   in my deposition. There's -- there's a          10   increase -- in my issue of increased risk, I
        11   process called risk assessment. Sometime --     11   use the epidemiology as supporting evidence,
        12   in the area of consumer products you can also   12   but I'm really focused on -- on -- more on
        13   refer to it as safety assessment. And then      13   the underlying sort of the biologic
        14   there's the process of what I call general      14   information that we have that identifies
        15   causation analysis, or full causation           15   hazard and risk. So looking at the animal
        16   analysis.                                       16   data, the exposure potential for the product,
        17            So even though the types of            17   and then using that along with what we know
        18   information that are considered may overlap     18   with the human experience to characterize
        19   between those two, the outcome or the           19   risk.
        20   statements or the -- the way you go about       20       Q. Is there a different level of
        21   assessing the information is a bit different.   21   certainty required to render a causation
        22       Q. Explain to me how they're                22   opinion than to render an opinion that
        23   different.                                      23   there's an increased risk?
        24       A. So in a risk assessment, the             24       A. I don't know that I'd describe
        25   process starts with setting out some basic      25   it quite that way but -- because to me it's a


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         1   different process. I certainly have to be        1       statistical test you would apply, or
         2   just as certain about what I say about risk      2       what are you asking?
         3   when I do a risk assessment as I do about --     3   QUESTIONS BY MS. BRANSCOME:
         4   as I do when I'm doing a causation analysis.     4       Q. So understanding that for the
         5              I don't -- maybe you mean             5   most part if you're looking at statistical
         6   something else, so maybe you can -- I mean,      6   significance, you're looking whether the
         7   I -- I certainly use the same basic standards    7   confidence interval crosses 1.
         8   in my mind, how I weigh evidence to do the       8            Are you following?
         9   different processes, but I go about them in a    9       A. Yes, I know that, yeah.
        10   little bit different way when I do a risk       10       Q. All right. And so when you're
        11   assessment versus -- versus a causation         11   evaluating, though, whether a particular
        12   analysis.                                       12   substance, in this case Johnson's baby
        13        Q. In your view, does the strength         13   powder, increases the risk of an outcome,
        14   of the evidence have to be greater in order     14   again, in this case ovarian cancer, would it
        15   to determine that an agent causes a disease,    15   be sufficient for you if that increase was
        16   for example, than it does simply to say that    16   .01 percent, for example?
        17   an agent increases the risk of a particular     17            MR. MEADOWS: Objection.
        18   outcome?                                        18            THE WITNESS: That doesn't make
        19              MR. MEADOWS: Objection.              19       sense to me, an increase of .01
        20              THE WITNESS: I don't think           20       percent, but maybe I can answer it
        21        I've ever thought about it that way.       21       this way for you based on what you've
        22        I would say to you that strength --        22       laid out there.
        23        the strength of the association is a       23            Certainly when I do a risk
        24        consideration under Hill that you          24       assessment and I make it -- if I'm
        25        apply the epidemiology data mainly, so     25       going to make the conclusion that I

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         1        that is a different consideration           1       believe that it's my opinion to a
         2        under causation than you do -- as you       2       reasonable degree of scientific
         3        would do it in a risk assessment.           3       certainty that exposure to baby powder
         4             But the strength of the                4       in women increases the risk of cancer,
         5        evidence, it's still a judgment based       5       I'm having to rely on -- I do rely on
         6        on your experience and training as far      6       data that allows me to draw
         7        as whether or not there is enough           7       conclusions because either there's a
         8        information to be able to say that you      8       statistical significant finding found
         9        believe that there is -- enough             9       or the -- there's a consistency among
        10        information to say that the risk is        10       the pattern of the data that shows
        11        increased based on that exposure and       11       there's information that fits together
        12        those conditions and whatever the          12       consistently. And maybe -- you want
        13        toxicity profile of that compound is.      13       me to explain what I mean by that?
        14   QUESTIONS BY MS. BRANSCOME:                     14       No?
        15        Q. Okay. We'll get into this more          15            Whereas I think what you're
        16   a little bit later, but when you say that a     16       asking is when an epidemiologist
        17   risk is increased, is there a threshold level   17       applies -- looks at a body of -- in a
        18   of increase that you need to see in order to    18       causation analysis looks at a body --
        19   render an opinion in a court of law that an     19       and I do this, too -- looks at a body
        20   agent increases the risk of a particular        20       of epidemiological studies and you
        21   outcome?                                        21       weight the studies, obviously you're
        22             MR. MEADOWS: Objection.               22       weighting the studies differently
        23             THE WITNESS: So I need you to         23       based on whether they have shown
        24        define what you mean by threshold.         24       statistical significance or not,
        25        Are you asking me a specific               25       right?

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         1             And it isn't that it's a one to        1   company evaluating compliance with FDA
         2       one. If you have one positive and one        2   regulations with respect to cosmetics?
         3       negative, that isn't how you may             3       A. Yes.
         4       decide to finally weight that                4       Q. Okay. What is your experience
         5       evidence, but certainly you have to          5   with respect to that?
         6       consider whether or not what was seen        6       A. So that's -- one of the clients
         7       or reported is showing you something         7   that I currently work for where I am asked to
         8       reliable -- or you can make a                8   provide input on advertising, promotion and
         9       statement reliably about whether or          9   labeling of some of the products and then
        10       not that finding was biologically           10   also some of the ingredients that are being
        11       significant. And biologically               11   promoted for use to -- to produce cosmetic
        12       significant would typically be linked       12   products. So it's the idea of providing that
        13       to a finding that has statistical           13   advice over my understanding of the
        14       significance in an epi study unless         14   regulations what can be said and can't be
        15       the study was not designed to be able       15   said about certain ingredients.
        16       to answer the question properly.            16            This company is involved in
        17             So -- and I've discussed that a       17   making both ingredients but also some
        18       little bit yesterday with Mr. Smith on      18   finished products now based on -- it's a
        19       the issue of power to detect. So            19   large company that owns a lot of little
        20       that's something you do consider in         20   subsidiaries.
        21       epi.                                        21       Q. My question, though,
        22             But, yes, statistical                 22   Dr. Plunkett, was, have you ever been in a
        23       significance certainly goes into your       23   decision-making position for a company
        24       weight of the evidence there.               24   evaluating compliance with FDA regulations
        25                                                   25   with respect to cosmetics?

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         1   QUESTIONS BY MS. BRANSCOME:                      1            MS. PARFITT: Objection. Asked
         2       Q. Okay. You talked about you're             2       and answered.
         3   intending to offer an opinion with respect to    3            THE WITNESS: So that's what
         4   what a company is required to do under the       4       I'm saying. They're relying on my
         5   regulations; is that correct?                    5       input to make a decision on what will
         6       A. Yes.                                      6       go in the materials.
         7       Q. Okay. What regulations are you            7   QUESTIONS BY MS. BRANSCOME:
         8   specifically referring to?                       8       Q. Do you have decision-making
         9       A. So cosmetic regulations that              9   authority within that company or, as you
        10   exist within -- so it's the entire process as   10   described it, are you providing advice and
        11   I describe how cosmetic -- what -- are          11   input?
        12   cosmetics subject to regulation by FDA? Yes.    12       A. I'm providing advice, but the
        13   What are the types of things that companies     13   things I'm advising on are the things that
        14   have to do before they're marketed, what does   14   happened. So in other words, they don't have
        15   the company have to do once the product is on   15   anybody in the company that understands the
        16   the market, those kinds of things.              16   process of what they can say. So I -- I
        17       Q. Have you ever worked directly            17   advise them that you need to remove this
        18   for any regulatory agency?                      18   language or that this is more appropriate
        19       A. No, I have not.                          19   language. They make those changes, and then
        20       Q. And suffice it to say you have           20   that is what is done.
        21   never been in a decision-making position        21            So I agree, I'm not an employee
        22   within a regulatory agency, correct?            22   of that company. I am a consultant working
        23       A. That's correct, I have not.              23   with the company, but it is a little
        24       Q. Have you ever been in a                  24   different than some of the work that I do
        25   decision-making position with respect to a      25   where I -- what I -- the advice that I'm


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         1   giving is actually something that I know         1       A. So it's -- first off, you would
         2   actually happened. Sometimes you give advice     2   use the common English language definition.
         3   to companies, but it doesn't -- we have no       3   I don't believe that those -- I haven't seen
         4   idea whether the company actually follows our    4   a definition separate within the regulations.
         5   advice.                                          5   Sometimes there will be.
         6       Q. My question is slightly                   6            So based on that and my
         7   different, Dr. Plunkett.                         7   experience and the looking into what others
         8            If you were to give advice to           8   have described about this, this is the idea
         9   the company that you've referenced as having     9   of considering how the product is used, is
        10   experience with cosmetic regulation             10   one of the -- one of the concerns that you
        11   compliance that that company chose not to       11   have, and whether or not the -- based on how
        12   follow, that company has the ability to         12   the product is used and how the product is
        13   ignore your advice, correct?                    13   being sold, that in order to prevent a health
        14       A. Yes, I would imagine that they           14   hazard, a warning hazard -- a warning
        15   could do that.                                  15   statement would be needed.
        16       Q. Okay. Have you ever drafted              16       Q. Can you cite to me any language
        17   regulations that relate to cosmetics?           17   within the regulation or even supporting
        18       A. Actually drafted a regulation?           18   documentation, a comment, something of that
        19   No, I have not.                                 19   nature, that would define "whenever necessary
        20       Q. All right. You reference in              20   or appropriate" with respect to how the
        21   your report language out of 21 CFR 740.1, and   21   product is used?
        22   specifically -- you reference it in a few       22            MS. PARFITT: Objection.
        23   places. And I can direct you specifically to    23            THE WITNESS: I don't think I
        24   paragraph 22 in Exhibit 4.                      24       understand your question.
        25       A. Yes. I'm there.                          25            Are you asking me to cite to a

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         1       Q. All right. And do you see here            1        reference or a part of the regulation
         2   you have replicated language from 21 CFR         2        where they explain it, or what are you
         3   740.1 that reads, "The label of a cosmetic       3        asking me? Guidance document or --
         4   product shall bear a warning statement           4   QUESTIONS BY MS. BRANSCOME:
         5   whenever necessary or appropriate to prevent     5        Q. Yes. Can you point me to
         6   a health hazard that may be associated with      6   anything other than your personal view of the
         7   the product"?                                    7   interpretation of this language that would
         8            Do you see that?                        8   tie the requirement "whenever necessary or
         9       A. Yes.                                      9   appropriate" to how a product is used?
        10       Q. And you added emphasis on                10             MS. PARFITT: Objection. Form.
        11   particular portions of this sentence,           11             THE WITNESS: I'll have to go
        12   correct?                                        12        look for you whether there's a
        13       A. Yes, I did that, exactly.                13        guidance that states it that way.
        14       Q. All right. Now there's a                 14        This is based on my experience in
        15   clause in this sentence that states,            15        dealing with the products in the past.
        16   "Whenever necessary or appropriate."            16             I think that's also consistent
        17            Do you see that?                       17        with what is described, I would say to
        18       A. Yes.                                     18        you, within -- it's consistent -- what
        19       Q. You did not emphasize that               19        I'm describing to you, it's consistent
        20   language; is that correct?                      20        as well with how the CIR standard for
        21       A. That's correct, I did not.               21        safety assessment is done, looking at
        22       Q. What is your understanding               22        the issue of the -- of the -- of the
        23   as -- what you describe as an FDA regulatory    23        use.
        24   specialist of the meaning of "whenever          24   QUESTIONS BY MS. BRANSCOME:
        25   necessary or appropriate" in 21 CFR 740.1?      25        Q. When you say that you're basing


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         1   your interpretation of the clause "whenever     1       look at my documents in order -- the
         2   necessary or appropriate" on your personal      2       first part of your question, I'd have
         3   experience, can you point me to something       3       to go back and look. Off the top of
         4   specific?                                       4       my head, I can't tell what I would
         5             MS. PARFITT: Objection.               5       point you to.
         6             THE WITNESS: Are you asking           6             On the second one, I think I
         7       me -- are you asking me if I've ever        7       was telling you, is I don't -- I've
         8       had a company that I worked for that        8       never -- I don't have a client that
         9       that particular clause in here was          9       I've worked for where that part of the
        10       extremely important to how we              10       language was the only issue that I had
        11       interpreted it? I don't think I can        11       to deal with when I'm looking at
        12       point you to that. I don't recall          12       whether or not the product needs a
        13       ever having to do that specifically.       13       warning or not.
        14             Or is it something different         14             So typically -- I'm just
        15       you're asking me?                          15       telling you that when I have looked at
        16   QUESTIONS BY MS. BRANSCOME:                    16       labeling for products and looked at
        17       Q. Dr. Plunkett, I asked you what          17       the issue of does it need a warning
        18   your basis was for interpreting the language   18       statement, when I'm reading it as
        19   "whenever necessary or appropriate" means      19       "whenever necessary or appropriate,"
        20   that it's related to how a product is being    20       I'm looking at whether or not the
        21   used, and the answer that you provided was     21       ingredient that I'm concerned about
        22   that it was based off of your personal         22       within the product, how that is used
        23   experience.                                    23       or what the exposure pattern would be,
        24             So I'm asking you, what is that      24       route of exposure, how those things
        25   personal experience that gives you the basis   25       might relate to how I would assess the

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         1   for that specific interpretation?               1        safety issue at hand. And so that's
         2            MR. MEADOWS: Objection.                2        what I'm trying to tell you.
         3            MS. PARFITT: Objection.                3   QUESTIONS BY MS. BRANSCOME:
         4            THE WITNESS: So it's in my             4        Q. Okay. You also have --
         5       experience in dealing with companies        5   changing topics a little bit, in this -- in
         6       that make products and what types of        6   your report marked as Exhibit 4, if you could
         7       warnings are put or not put onto -- or      7   turn to paragraph 10.
         8       not -- or on labeling. So I don't           8             On page 7, you state on the
         9       know how else to answer it other than       9   first paragraph on page 7, "In other
        10       that.                                      10   instances I have directed others to perform
        11            I can go back and look at the         11   searches on my behalf," and this is with
        12       guidance documents to see if that is       12   respect to identifying documents for review
        13       described in another way, but I don't      13   in forming your opinions.
        14       recall that.                               14             What did you mean by that?
        15   QUESTIONS BY MS. BRANSCOME:                    15        A. So in addition to doing my own
        16       Q. So as you sit here today,               16   searches of the database, sometimes I -- I
        17   you're not able to provide me either with a    17   have called the attorney's office and asked
        18   third-party document or an independent         18   them to -- to do a search for certain things
        19   document interpreting "whenever necessary or   19   that I'm looking for to add to. So in other
        20   appropriate" as you've suggested today, nor    20   words, I have a document I've identified.
        21   can you give me specific example from your     21   I'm looking for other documents like that in
        22   personal experience; is that correct?          22   the large millions and millions of documents
        23            MS. PARFITT: Objection.               23   that are available. And so sometimes I will
        24            THE WITNESS: Well, I                  24   ask attorneys to do -- to look in the
        25       certainly -- I'd have to go back and       25   database for other documents like the ones


                                                                         14 (Pages 50 to 53)
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         1   that I've identified.                            1       A. So that might cross over into
         2       Q. And without getting into                  2   work product because it's not my database,
         3   anything that would be -- that would call for    3   but I don't know how to answer that. I mean,
         4   information protected by the attorney/client     4   I'm sure -- it's very possible that in the
         5   privilege or attorney work product, what         5   database you can track that, but I -- I don't
         6   percentage of the overall searches for           6   know.
         7   relevant documents from these particular         7            MR. MEADOWS: Okay.
         8   databases that are discussed in paragraph 10     8            THE WITNESS: I don't have
         9   would you say that you have done yourself as     9       anything saved on my computer that
        10   opposed to directed others to do?               10       way, but when you go to the database
        11       A. Well, initially when I first             11       itself, it's possible you could track
        12   started searching, those were my own searches   12       that. I just don't have a record on
        13   exclusively. I would say that more recently,    13       my computer in my office.
        14   in the last year, since I haven't added any     14   QUESTIONS BY MS. BRANSCOME:
        15   real new areas but there's new documents that   15       Q. When you made the decision at
        16   have become available, so anything -- any of    16   some point in time -- it may have been even
        17   the searches probably in the last year that     17   prior to you issuing your first report --
        18   dealt with new discovery that was produced, I   18   that you wanted to look at company documents,
        19   would have asked the attorneys to do some of    19   did you set out specific categories of
        20   the searching in that for me. Like I'm          20   documents that you wanted to review?
        21   looking for documents that are similar to       21       A. Not so much categories but key
        22   this document that I cited in my original       22   words. So -- and areas. I guess areas is
        23   report around this same frame that may be       23   what I -- yes, I was focusing, for example,
        24   discussing this same topic area.                24   in my initial report on documents that
        25            So in the last year I have             25   described what was known -- what the company

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         1   asked them to do that more than I have done      1   was discussing about cancer, ovarian cancer,
         2   it, but initially it was what I did              2   cancer generally. So that was a key word
         3   initially.                                       3   used.
         4        Q. Okay. Do you keep any records            4             And then I also was linking
         5   of the various document searches either that     5   that in different searches with different
         6   you have performed or you have asked to be       6   time periods such as the NTP review process
         7   performed?                                       7   and dates. You can, you know, narrow down by
         8        A. No, I don't. My record would             8   dates or by the CIR process. Those kinds of
         9   be -- the initial -- the record would have       9   things.
        10   been what I listed in my reliance list for      10             So I did start with that,
        11   you in the initial report, but since then it    11   trying to understand what -- what is -- what
        12   would just be what is going to be changing      12   was in the company files or in the files I
        13   within my reliance list, looking at             13   had access to, the database, that dealt with
        14   additional documents. That's the only way I     14   those kinds of things because those aren't
        15   could identify for you. That would be my --     15   things that I could get to publicly.
        16   my trail to know what was new and what was      16   Obviously in the literature. So I had to --
        17   not.                                            17   if I wanted to understand what the company
        18        Q. My question is slightly                 18   knew, I had to go into their database to find
        19   different. Understanding that you have          19   out, you know, what they knew -- what they
        20   provided to some extent a record of the         20   knew or were discussing over time about the
        21   documents, my question is: Do you have any      21   ovarian cancer issue or about asbestos in
        22   type of record for the nature of the            22   talc or about CIR process, things like that.
        23   searches, what it was that you set out to       23        Q. Using the reports that you have
        24   identify in the database and how did you go     24   produced, Exhibits 2, 3 and 4, really, and
        25   about finding those documents?                  25   the full -- the entirety of the materials


                                                                           15 (Pages 54 to 57)
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         1   that you have produced in the MDL, is there      1   reliance list, that you read, but then once
         2   any way that someone reviewing those             2   you started reading decided weren't relevant
         3   documents, and those documents alone, could      3   to the opinions that you were offering?
         4   replicate the searches that you have             4        A. I would have to look to answer
         5   conducted in the company databases?              5   that for you. I don't know. If you want me
         6            MR. MEADOWS: Objection.                 6   to do that, I'd have to look.
         7            THE WITNESS: I don't know.              7        Q. I ask you more as a process
         8       That's a good question. I've never           8   matter.
         9       thought about whether you could              9        A. Oh.
        10       replicate or not.                           10        Q. If you pull an article and you
        11            I mean, I think I've told you          11   start reading it and you realize that it is
        12       what I did. My strategy was to focus        12   not relevant to the opinions that you offered
        13       on topic areas. So I think you              13   in this case, the example that you just gave,
        14       might -- by topic areas, if you use         14   is it something that you would include in
        15       the same kinds of topics areas as           15   your reliance list?
        16       described, I think you would come up        16        A. Yes, I -- I have given you
        17       with documents that -- what it focused      17   everything I retrieved. So if I retrieved
        18       down to.                                    18   it, you would have, yes, absolutely.
        19            For example, I also would              19        Q. Okay. So it's fair to say of
        20       sometimes, as linking those words, I        20   the articles that are on your reliance list,
        21       might put in J&J documents only or          21   you could not say as you sit here today that
        22       Imerys documents only, because the          22   you have read each and every word of each and
        23       database has a variety -- and the           23   every one of them, correct?
        24       PCPC. There's some different ways by        24        A. That's correct. And I could
        25       the Bates numbers that you can              25   probably tell you -- I could give you a

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         1       segregate documents as well. But I           1   little guidance in that possibly if I went to
         2       don't know other than that. That's           2   my list, I could try to pull some out that I
         3       all I can tell you.                          3   recognize, but that's all I would be able to
         4   QUESTIONS BY MS. BRANSCOME:                      4   do for you.
         5       Q. You would agree with me that              5        Q. Okay. How did you go about
         6   your report does not contain a complete          6   identifying what articles you wanted to
         7   explanation of the process by which you          7   review in forming your opinions in the MDL?
         8   identify company documents to review,            8        A. So first off, I went back to
         9   correct?                                         9   what I already had. So my MDL report is a --
        10       A. I haven't laid out my search             10   is a compilation of a lot of material that's
        11   structure, that is true.                        11   in my first few reports. That was the basis
        12       Q. All right. Now, the articles             12   for some of the things that went into it.
        13   that you have listed on your reliance list,     13             So I didn't -- I did do,
        14   have you read each and every one of those       14   though, a updating on literature searches for
        15   articles?                                       15   the MDL report, looking for anything new, for
        16       A. Unfortunately, yes, over time I          16   example, in the area, especially the area of
        17   have. Some of them I have only read parts of    17   cancer data or reports of dealing with
        18   them. For example, if I started reading a       18   ovarian cancer either -- or any articles
        19   document and I felt that it was something I     19   dealing with the link between inflammation
        20   pulled that really wasn't directly on point     20   and cancer, ovarian cancer, generally.
        21   for an area I'm covering, I may not have read   21   That's one of the areas I updated looking at.
        22   every word, but certainly I have been through   22             And then I did -- I don't think
        23   each of those, yes.                             23   I did any large, new searches, however,
        24       Q. Are there any articles in your           24   because honestly the areas covered here are a
        25   reliance list, that you maintained on your      25   little narrower than what was covered here.


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         1   I don't believe that there was any from the      1   referring to the reliance list, are you
         2   published -- the publicly available medical      2   referring to the list of articles that begins
         3   literature. There wasn't a need to do a          3   on page 40 of Exhibit 4, or is there a
         4   whole new area of search. It was more            4   separate document?
         5   updating the things that I've done in the        5        A. There's a separate document.
         6   past.                                            6   So it -- that's -- I usually call reliance
         7             So it's a real easy search to          7   list the separate document. I call this
         8   update because you can just put in talc and      8   references cited. So I apologize for that
         9   cancer and just look at -- get lots, but you     9   confusion.
        10   can then just start chronologically and look    10             So these, I have read every
        11   what was published in the last year, for        11   word. If it's in my reference list, those
        12   example.                                        12   are not an issue of not having read every
        13        Q. Okay. Earlier when we were              13   word, and these should all be cited somewhere
        14   discussing the fact that you in some            14   in the report.
        15   instances have asked your husband to pull       15        Q. Okay. If you could turn to
        16   articles, have you maintained any records of    16   paragraph 21 in your initial report.
        17   the searches that you have done with respect    17        A. Yes, I'm there.
        18   to scientific literature, including the         18        Q. Okay. So we're looking at
        19   searches that you have asked your husband to    19   paragraph 21 in Exhibit 2. This is on
        20   do?                                             20   page 10.
        21        A. I have not. It's possible that          21             Do you see there is a sentence
        22   there are records on billing from the library   22   here that refers to -- it's referring
        23   that tells you how many I ordered at            23   generally to the topic of the ability of talc
        24   different times, but that is the only           24   to migrate from the site of application to
        25   records, because we do have to pay the          25   the ovaries.

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         1   library for the retrieval.                       1            Do you see that?
         2        Q. Okay. And if I understood what           2        A. Yes.
         3   you said earlier correctly, you indicated        3        Q. And then the next sentence
         4   that any article you have ever pulled for        4   states, "This issue was discussed by
         5   review, you have listed on your reliance         5   scientific and regulatory bodies that review
         6   list; is that correct?                           6   the toxicokinetics of talc."
         7        A. Yes. And when I -- and let's             7            Do you see that?
         8   just make sure we're talking about the same      8        A. Yes.
         9   thing.                                           9        Q. And in parentheses it
        10              So, you know, in my reports I        10   identified EPA 1992, IARC 2010, and CIR 2013.
        11   typically have articles cited in the report     11            Do you see that?
        12   separate from the reliance list. So I'm         12        A. Yes.
        13   talking about the reliance list, right?         13        Q. Okay. And then if you could
        14   Okay.                                           14   turn to Exhibit 4, which is your MDL report,
        15              So -- because I do -- I do           15   at paragraph 43. It's on page 28.
        16   usually -- I don't know whether I did that in   16            Are you with me?
        17   this report, but I typically have a list of     17        A. Yes, I am.
        18   articles cited at the back called references,   18        Q. You see that the exact same
        19   that is, things that you're actually seeing     19   sentence appears -- well, not the exact same.
        20   in the report body, and then there should be    20   It's been slightly modified to combine the
        21   a separate reliance list sent to you as an      21   first two sentences. But here you cite only
        22   appendix. I don't know what the appendix        22   to EPA 1992 and IARC 2010.
        23   was.                                            23            Why did you remove CIR 2013?
        24        Q. Well, so then let's clarify             24        A. Because of my further
        25   that. So, Dr. Plunkett, when you're             25   evaluation since my initial report in 2016 of


                                                                           17 (Pages 62 to 65)
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         1   the process that was involved in the drafting    1   another question. In paragraph 43, you added
         2   of the CIR and the actual production of the      2   two studies from your prior -- that were --
         3   report.                                          3   that did not appear in your prior report, and
         4       Q. Is it your position that the              4   it was Gardner 1981 and Edelstam 1997. This
         5   migration of talc was not evaluated as part      5   related to animal studies showing that in
         6   of CIR 2013?                                     6   some species talc can migrate from the lower
         7       A. No. That's not my position,               7   to the upper genital tract?
         8   no.                                              8        A. Yes.
         9       Q. Okay. And so would the                    9        Q. Okay. Were those studies that
        10   sentence that's contained in paragraph 43 in    10   you were aware of before drafting your prior
        11   Exhibit 4, which is your MDL report, if you     11   reports?
        12   cited to CIR 2013 in the parenthetical there,   12        A. I don't know that they -- I
        13   would that not be an accurate citation?         13   can't answer that without looking at my
        14       A. I believe it would not be an             14   reliance materials for the original report.
        15   accurate citation because I have formed         15   I did identify additional articles, and
        16   opinions about the reliability of that          16   there's also additional articles cited here
        17   document at this point in time.                 17   in earlier paragraph 43 that were not cited
        18            So it has to do with -- I'm            18   in my original report as well. I don't think
        19   citing to authorities here that I believe are   19   I had the -- the Kunz article then cited.
        20   reliable as far as the discussion that I see,   20   I'd have to go back and look.
        21   and it's a different -- I have a different      21            So it's possible that they were
        22   opinion now about the CIR report, which I lay   22   in my -- when I say my reliance materials, my
        23   out in pretty detail, I think.                  23   original report also had a larger list of
        24            In fact, if you go to my               24   literature I didn't cite. So I'd have to
        25   section following this now in -- you'll         25   look. I can't tell you whether I had them or

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         1   understand one of the issues I had was the --    1   I did not.
         2   the difference in the evidence that was          2       Q. Okay. With respect to Edelstam
         3   actually available once you dig into it a        3   1997 study, do you happen to know the title
         4   little further versus what they actually         4   of that article? Even an approximation would
         5   reviewed. That's one of the issues.              5   work.
         6        Q. And I'll follow up with some             6       A. It'll be -- should be back
         7   more questions about the CIR, but my question    7   here. Just a second. If it's not here,
         8   here is, the sentence in your report simply      8   that's a mistake.
         9   states, "The migration of talc internally        9            Oh, here it is. "Retrograde
        10   after perineal application was discussed by     10   migration of starch in the genital tract of
        11   scientific and regulatory bodies that review    11   rabbits."
        12   the toxicokinetics of talc."                    12       Q. So you are citing that article
        13             Would it be inaccurate to say         13   for the proposition that animal studies have
        14   that as part of the CIR 2013 process that       14   demonstrated that talc can migrate from the
        15   body did, in fact, discuss the migration of     15   lower to upper genital tract?
        16   talc internally after perineal application?     16       A. Yes, I'm citing it because it's
        17        A. It is true that they did                17   relevant to the issue of particle migration,
        18   discuss it. I just have an issue with the       18   which talc is a particle. So, yes, that's
        19   reliability of their findings.                  19   correct.
        20        Q. And so you made the decision to         20       Q. Okay. But that study did not
        21   just remove it from the citation; is that       21   specifically deal with talc migration,
        22   correct?                                        22   correct?
        23        A. Yes, at this point -- at this           23       A. No. Well, it -- it's relevant
        24   point, at this report, that's exactly right.    24   to talc migration, but you're exactly right,
        25        Q. All right. And then I had               25   they looked at the starch migration, yes. Or


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         1   particles that were starch, yes.                 1   genital tract?
         2       Q. We'll cover this in more                  2            MS. PARFITT: Objection.
         3   detail, but is it your opinion that all          3            THE WITNESS: Again, I haven't
         4   particles have similar characteristics with      4      done an in-depth analysis. I mean, as
         5   respect to their ability to migrate in the       5      a toxicologist, there are differences
         6   genital tract?                                   6      between starch and talc, absolutely.
         7       A. It's my -- I don't know if I'd            7      For example, starch would -- I would
         8   state it quite that way. What I would say is     8      expect to be more easily solubilized
         9   that the evidence shows that particles           9      within fluids, and so that could
        10   generally have the ability to move up the       10      affect the ability of them to actually
        11   reproductive tract in women, yes, and that if   11      not migrate as well as a talc
        12   a particle is one that is similar to talc or    12      particle, which would be less soluble
        13   some of the other ones where the information    13      than the starch would be.
        14   has been collected, I would characterize that   14            And there's -- I even --
        15   as being within that, quote/unquote,            15      there's a paper I have in here, and I
        16   relevance of particles.                         16      can look for it if you want, that
        17             That doesn't mean all                 17      talks about that difference, and it's
        18   particles, but certainly in the ones that I     18      one of the issues of cornstarch versus
        19   have looked at and the data I've relied upon,   19      talc, on whether or not you would
        20   there's a variety of different types of         20      expect to get the long-term chronic
        21   particles or substances that have been          21      responses with the difference between
        22   studied and shown to be able to migrate.        22      those two substances.
        23       Q. So let's take Edelstam 1997 as           23            So I do think there's
        24   an example.                                     24      difference, absolutely, as
        25             Did you do any analysis that          25      toxicologists generally. And the only

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         1   you can point me to that establishes that        1       reason I'm citing this paper is
         2   starch would have a similar migration pattern    2       because I'm trying to be complete
         3   as talc?                                         3       about people that have looked at this
         4       A. So I would say that the paper             4       issue. And certainly it was a study
         5   itself shows -- talks about the movement of      5       that looked at this issue and talks
         6   starch, but are you asking something             6       about the movement.
         7   different?                                       7            But I wouldn't expect starch
         8            Are you asking me have I done a         8       and the talc to have the same
         9   specific analysis of any differences that may    9       liabilities, and I also wouldn't
        10   occur between the migration pattern of starch   10       expect them to move exactly the same
        11   and talc? Is that what you're asking me?        11       speed maybe. That's very true.
        12       Q. That is what I'm asking you.             12   QUESTIONS BY MS. BRANSCOME:
        13       A. I certainly didn't do an                 13       Q. So you would agree with me that
        14   in-depth analysis of the differences, no, but   14   Edelstam is not a study demonstrating that
        15   based upon my review of the literature, I       15   talc can migrate from the lower to upper
        16   believe that that paper is relevant to the      16   genital tract, correct?
        17   overall question of migration of particulate    17            MS. PARFITT: Objection. Form.
        18   through the reproductive tract, including       18            THE WITNESS: I wouldn't say it
        19   particles of talc.                              19       that way. What I would say instead is
        20       Q. Regardless of whether or not it          20       that Edelstam is a study that forms
        21   was an in-depth analysis, can you point me to   21       the overall weight of the evidence for
        22   anything other than just your belief after      22       the ethics -- for the studies that are
        23   having read these articles that starch and      23       available that address the issue of
        24   talc would have similar migratory               24       migration, but certainly it is not
        25   characteristics in the human or animal          25       studying talc. So I don't disagree

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         1        with you there.                             1   assessment.
         2             Unfortunately, the majority of         2       Q. Okay. What publication would
         3        the information that I have relied          3   you direct me to that has used the same
         4        upon, and others such as the FDA in         4   methodology that you have used to reach your
         5        making their statements about               5   opinions in Exhibit 4?
         6        migration, is not all directed studies      6       A. I think I cite you to -- cite
         7        just to talc. It's looking at the           7   you to some of those. You could -- well, the
         8        issue of particle movement.                 8   directly relevant one would be looking at the
         9   QUESTIONS BY MS. BRANSCOME:                      9   chapter on risk -- toxicology in the
        10        Q. Now, in terms of doing your             10   reference manual on scientific evidence.
        11   risk assessment -- well, let me get back. We    11             You can also go to the NRC
        12   covered this earlier, and I want to return to   12   report where they -- it lays out the
        13   it for a moment. Just to confirm: For your      13   different steps that you use when you kind of
        14   work in the MDL, you did not do a Bradford      14   break data apart into exposure versus
        15   Hill analysis, correct?                         15   response information.
        16        A. I did not sit down and do a             16             And then I cite to -- there are
        17   Bradford Hill analysis when I started writing   17   some guidance documents that I cite to, and
        18   this report. I have done a Bradford Hill        18   this is in paragraph 13. And I'd have to
        19   analysis in the past, which is in my original   19   pull them out again to tell you which ones
        20   reports, but I certainly did not redo a         20   relate to different pieces because some of
        21   Bradford Hill when I sat down to draft my MDL   21   these are -- some of these documents are
        22   report, that is true.                           22   specific to only, for example, maybe one part
        23        Q. Okay. Let me be more precise.           23   of what I did.
        24             In the report that you have           24             But certainly the risk
        25   produced that contains a description of your    25   assessment process at IARC is -- they do what

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         1   opinions in the MDL, you have not set forth a    1   I call a hazard assessment. They identify
         2   Bradford Hill analysis in that document which    2   hazard and they couldn't quantify risk, but
         3   is identified as Exhibit 4, correct?             3   the steps they go through are essentially the
         4        A. That is true, yes.                       4   same types of steps that I went through as
         5            MS. PARFITT: Objection.                 5   far as gathering data on not just response
         6   QUESTIONS BY MS. BRANSCOME:                      6   but also the potential for exposure and how
         7        Q. And in fact, the paragraph that          7   that relates to the response.
         8   you -- or paragraphs that you have in your       8             And then also the data that
         9   prior reports that reference a Bradford Hill     9   I've collected on the biologic effects of
        10   analysis, those have not -- those have          10   talc, toxicology of talc, are also discussed
        11   actually not been replicated in any form in     11   within that document as well.
        12   Exhibit 4, correct?                             12       Q. Okay. Focusing specifically on
        13        A. Yes, because, again, it was not         13   the weight of the evidence tool, as you
        14   my role to do general cause.                    14   describe it, is there a particular document
        15        Q. Okay. So then when we look at           15   or publication that I would go to that could
        16   the methodology that you employed in reaching   16   lay out the same process that you used for
        17   your opinions that are contained here in        17   how you weighted certain pieces of evidence?
        18   Exhibit 4, how would you characterize the       18       A. So the documents that I've
        19   methodology?                                    19   cited for you in paragraph 13 talk about what
        20        A. As I have in the report. I              20   weight of the evidence is generally, but if
        21   talk about it being a risk assessment or a      21   you read what it is, it's essentially a
        22   safety assessment, that you could use those     22   process that each scientist brings their
        23   terms interchangeably here. And then I've       23   experience, training and judgment to.
        24   also used a weight of the evidence as a tool    24             So I try to lay out for you in
        25   to go through the different steps of the risk   25   my discussion of the literature my thought


                                                                          20 (Pages 74 to 77)
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         1   process as I review each piece of                1       Q. Okay. As you were forming your
         2   information, and that is what you do as part     2   opinions, Dr. Plunkett, about whether or not
         3   of weight of the evidence. You gather all of     3   there is a risk associated with the use of
         4   the relevant information that you can find       4   Johnson's baby powder with respect to ovarian
         5   that address the question you're trying to       5   cancer, how do you keep track of the pieces
         6   answer, and since I'm looking at both            6   of scientific evidence that you have reviewed
         7   exposure and response, I gather different        7   and the respective weight that you give to
         8   pools of information.                            8   them?
         9        Q. You would agree that there are           9            Presumably you did not read
        10   ways to do a weight of the evidence             10   everything in one day, for example?
        11   assessment of published literature that         11       A. No. That's correct. So I
        12   assign, for example, quantitative values to     12   typically will -- I typically will save the
        13   particular pieces of evidence, correct?         13   papers -- when I read the papers, I will
        14        A. Certain individuals have put            14   often highlight in yellow information that I
        15   together, but there's no one general accepted   15   think is going to -- will be extremely
        16   process that everyone uses. So I -- that's      16   relevant. I don't put notes on the document.
        17   the issue. Again, there are certain --          17   I highlight in yellow on the PDF file to use
        18   certain cases where I've seen that done, and    18   that to write.
        19   then there are many -- most cases that it's     19            And I also start drafting
        20   not what's done.                                20   report very early, which then gets
        21        Q. Okay.                                   21   overwritten and actually ends up looking like
        22        A. Another body, by the way, that          22   an outline that eventually becomes the
        23   I -- it's new. It's not in paragraph 13. I      23   report.
        24   just want to make sure I tell you that so       24            So one of the ways I keep track
        25   we're clear. If you look at the Canadian        25   of things is I may put a paragraph name that

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         1   document, they also -- in fact, a lot of what    1   I know I'm going to write, such as exposure
         2   they have, you'll see the same literature        2   migration, and then I -- as I'm reading a
         3   described within my assessment as well.          3   paper, I'll type in a paper -- the ones that
         4        Q. So using the Canadian                    4   I believe are important to my overall
         5   assessment as an example, for instance, in       5   assessment. So I will do that as I'm -- as
         6   that assessment there were actually values       6   I'm going through the evidence.
         7   assigned to particular pieces of literature,     7            So that's one of the tools I
         8   correct?                                         8   use, but I don't keep notes. I just kind of
         9        A. Mainly the epidemiological               9   use that as a living document that eventually
        10   literature, that is true. Again, but I'm not    10   becomes a report.
        11   doing causation, so I didn't approach it that   11       Q. Do your opinions ever change as
        12   way.                                            12   you read additional pieces of scientific
        13            But certainly if you look at           13   evidence?
        14   what I did, it's consistent with that because   14       A. Yes, it does. It may change.
        15   I talk about the differences between the        15   And it often -- often the changes, though,
        16   limitations of a case-control versus a          16   are not that I believe -- with the exception
        17   prospective study. I talk about both the        17   of epidemiology. In other areas.
        18   positives and the negatives within the          18   Epidemiology is a little bit different issue
        19   database, but I don't lay it out in a table     19   when you're reviewing studies.
        20   like they do. But it's certainly the same       20            But on toxicology I always
        21   basic process.                                  21   start with reviews and regulatory
        22            I was actually quite surprised         22   authorities, looking at what others have said
        23   at how similar the database of information      23   generally about the toxicology. And so even
        24   that they reviewed was to what I honed in on    24   though I may refine opinions differently or I
        25   as well.                                        25   might change, I certainly wouldn't agree to


                                                                          21 (Pages 78 to 81)
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         1   work on a project to start with if my initial    1   your report that have been criticized by
         2   reviews on hazard, for example, didn't           2   others at some point in time, correct?
         3   convince me that I believe that there is a       3        A. Yes, that's true.
         4   hazard. But you refine it from there.            4        Q. Okay. Now, in some instances
         5   That's exactly right.                            5   you state that you then give little weight to
         6            So there are cases, however,            6   those studies, correct?
         7   where I'm asked to work on a project where       7        A. Yes.
         8   there is no review or regulatory authority or    8        Q. But in other instances you find
         9   any kind of assessment over a period of          9   the criticized study to be helpful and
        10   years, and in those cases there are times       10   informative, correct?
        11   when I start working on a project and I stop    11        A. That's true. Because, again,
        12   and say, "I can't do this." Because that        12   judgment -- as anybody does weight of the
        13   happens, yes.                                   13   evidence, different scientists can have
        14            So opinions do change sometimes        14   different judgment.
        15   based on review of additional information.      15             Mainly, I think, when I look at
        16       Q. Is there any documentation that          16   the differences in that -- in that regard, I
        17   you've produced either in your report or        17   think you should pay attention to what the
        18   otherwise in the MDL that would allow someone   18   person is. So as a toxicologist, I may view
        19   reviewing the material to understand the        19   a certain type of -- piece of data very
        20   order in which you reviewed materials or the    20   differently than an epidemiologist may view
        21   specific weight that you assign them?           21   it, as far as the reliability or the
        22       A. So order of review, no. I                22   relevance, because we're coming at it from a
        23   don't think you would know that other than --   23   different training and experience and
        24   you will note order of review if you look at    24   judgment -- set of judgment on what is
        25   the differences in the literature cited in my   25   important to a toxicologist when I'm talking

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         1   original report versus in the MDL.               1   about risk versus how an epidemiologist might
         2              So in my original reliance            2   talk about risk.
         3   list, if there were documents that weren't       3        Q. Could two different
         4   there and they're now here, obviously that       4   toxicologists review the same piece of
         5   tells you it was a review.                       5   literature and give it very different weight?
         6              On the issue of a -- of the           6        A. I don't know about different
         7   weight of the evidence process, the only         7   weight, but they certainly -- I know people
         8   answer I can give you for that is that           8   come to different conclusions based on their
         9   articles that I believe are -- are reliable,     9   overall assessments. That happens,
        10   are relevant and are -- those are kind of       10   definitely. I mean, there are always going
        11   the -- you look at the reliability of the       11   to be individuals that look at things
        12   studies, whether they're peer-reviewed or not   12   differently.
        13   or if they have proper controls put into        13            I know in this case there are
        14   place, things like that, whether or not         14   people -- I've seen defense experts that
        15   the -- they're relevant to the question at      15   reports in -- not in the MDL but in other
        16   hand. That you can get from looking at how I    16   cases, where people disagree with some of my
        17   discuss them in the document. But certainly     17   opinions, and I disagree with their opinions.
        18   there's no, like, summary of that.              18   That happens.
        19              But certainly -- I think you         19        Q. Okay. And so if I were --
        20   understand -- you should understand when you    20   well, let me just ask something. You have
        21   read my report what weight I'm giving based     21   not provided any sort of quantitative
        22   on how I'm describing those -- those            22   assessment of the weight that you gave
        23   materials. I mean, it's --                      23   different pieces of evidence that you cite in
        24        Q. Well, for example, you do have          24   forming your opinions in the MDL, correct?
        25   different studies that you've identified in     25            MS. PARFITT: Objection.


                                                                          22 (Pages 82 to 85)
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         1       Misstates her testimony.                     1       you're looking at.
         2             MR. MEADOWS: Objection.                2            The robustness of the data.
         3             THE WITNESS: So I don't report         3       For example, the NTP GLP quality
         4       for you a table where I quantify that,       4       animal study, very high quality in the
         5       that is correct, but certainly that          5       weight of the evidence. And I talked
         6       is -- because, again, based upon             6       to you about that. In fact, it --
         7       looking at the way that I was trained        7       even though people criticize that
         8       and the documents that I'm talking --        8       study, that study is very valuable for
         9       I'm pointing you to to describe how to       9       looking at biologic changes that are
        10       do weight of the evidence, it is            10       consistent with a carcinogenic
        11       not -- it is not a numerical exercise,      11       mechanism being initiated.
        12       how many here, how many there, this         12            So even though you may say that
        13       one gets 5 points because of this or        13       you can't quantify risk from that
        14       6 points because of this.                   14       animal study as far as calculating a
        15             It's more an issue, again, of         15       cancer potency factor, what you can do
        16       judgment. It's the idea of looking          16       is use that study of high quality to
        17       across all of the available                 17       make judgments within a weight of the
        18       information and determining whether or      18       evidence for risk.
        19       not, based on that, it's your opinion       19   QUESTIONS BY MS. BRANSCOME:
        20       that there -- that, for example,            20       Q. Dr. Plunkett, you understand I
        21       talc -- talc's toxicity profile             21   have seven hours today, and I -- while I'm
        22       includes cancer. That's one of the          22   very interested in the answers that you give,
        23       judgments -- weight of the evidence         23   if we could just -- we will get to things
        24       judgments you make, for example.            24   like NTP when we get there, if you could just
        25                                                   25   attempt to answer the question that I've

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         1   QUESTIONS BY MS. BRANSCOME:                      1   asked.
         2       Q. So -- but, Dr. Plunkett, just             2            I simply asked the question:
         3   to be clear, you do not provide a numerical      3   Are there numerical values assigned to the
         4   value to the particular pieces of evidence       4   particular pieces of evidence that you have
         5   that you have considered as part of your         5   considered as part of your weight of the
         6   weight of the evidence assessment in the MDL,    6   evidence assessment in reaching your opinions
         7   correct?                                         7   in the MDL; yes or no?
         8             MS. PARFITT: Objection. Form.          8       A. And I said to you, not in the
         9             THE WITNESS: So I do not               9   way that it's done -- I assume you're
        10       provide a numerical value as you see        10   referring to something like what was done --
        11       it laid out, for example, in the            11   what's in the Canadian epidemiology table. I
        12       Canadian table, but certainly I do          12   have not done that, no.
        13       judge articles that I include in my         13       Q. Okay.
        14       weight of the evidence based on a           14       A. That's exactly right.
        15       system that includes different              15       Q. Have you provided a qualitative
        16       considerations such as -- like I said,      16   chart, for example, of the evidence that you
        17       peer-reviewed or not, that makes an         17   have considered in forming your opinions in
        18       issue.                                      18   the MDL?
        19             Whether or not the study that's       19            MS. PARFITT: Objection. Form.
        20       being reported is the only one -- the       20            THE WITNESS: I don't know what
        21       first or is this something that is --       21       you mean by qualitative chart. I
        22       that is describing an assessment            22       certainly have -- I certainly, I
        23       that's been done by someone else and        23       believe, have given you qualitative
        24       so you see a repetition or a                24       descriptions of my weight within my
        25       consistency among the studies that          25       discussions of each study, yes, I have


                                                                           23 (Pages 86 to 89)
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         1       done that.                                   1       published afterwards, and what I
         2   QUESTIONS BY MS. BRANSCOME:                      2       thought I said to you was that if you
         3       Q. You mention in response to the            3       look at that document -- it's not in
         4   prior question that you have a system for        4       paragraph 13, but if you look at that
         5   weighting the pieces of evidence that you        5       document, it lays out a process. And
         6   have reviewed.                                   6       I wouldn't call it a system. It's a
         7            Can you point me to paragraphs          7       process. It's a process by which you
         8   in your report marked Exhibit 4 that would       8       screen information for relevance to
         9   outline in detail the system that you used to    9       the question being asked and how,
        10   apply different weight analysis to different    10       then, based on that, you look at
        11   pieces of evidence?                             11       characteristics of that information
        12            MS. PARFITT: Objection. Form.          12       such as -- and I tried to give you
        13            THE WITNESS: And I think I             13       some of those.
        14       answered that, that there's no system       14            And I've said this before in
        15       written down by anyone. But what            15       depositions in these cases. You know,
        16       there is, instead, is if you read           16       you look at the issue of whether or
        17       these -- if you read these                  17       not the study was peer-reviewed,
        18       descriptions of use of weight of the        18       whether or not there was
        19       evidence that I've cited in                 19       statistically -- statistical
        20       paragraph 13 as well as the discussion      20       significance or at least statistics
        21       of methodology in the Canadian              21       applied to the data. What was the
        22       document, that is consistent with what      22       quality of the study as far as the
        23       I do. It's the idea that you start          23       size in order to be able to answer the
        24       with a literature search for                24       question being asked. Those are the
        25       peer-reviewed, publicly available           25       kinds of things that you look at.

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         1       information. You look at the quality         1            And then also the question --
         2       of the studies, the statistically            2       when you're looking at a specific
         3       significant findings. Those are all          3       question, you may pull in -- like you
         4       things that are discussed within these       4       asked me about the starch particle.
         5       documents I'm pointing you to.               5       You may pull in things that you give
         6   QUESTIONS BY MS. BRANSCOME:                      6       less weight because obviously that's
         7       Q. Now, you --                               7       not just talc, that's starch, and you
         8       A. But it's -- it's -- I don't               8       have to consider that. So that is
         9   know of anyone who has written down a            9       part of the process.
        10   specific system that applies in all             10   QUESTIONS BY MS. BRANSCOME:
        11   circumstances, no.                              11       Q. Dr. Plunkett, the question I
        12       Q. Okay. Have you written down a            12   asked you simply was: The paper that you
        13   system that applies specifically in this        13   reference that contains some detail about the
        14   case?                                           14   Canadian analysis, that was published after
        15       A. I think I have tried to do that          15   you completed your report that's marked here
        16   for you when I describe what I did.             16   as Exhibit 4; is that correct?
        17       Q. Okay. You just referenced the            17            MR. MEADOWS: Objection.
        18   fact that your system can be found in the       18            THE WITNESS: Yes, and I
        19   Canadian document.                              19       believe I answered that at the start.
        20            You agree that the Canadian            20       I usually try to answer your question,
        21   analysis was actually published or produced     21       and then I try to explain further some
        22   after you had completed your report in the      22       details I think are important context
        23   MDL, correct?                                   23       on my answer.
        24            MS. PARFITT: Objection. Form.          24   QUESTIONS BY MS. BRANSCOME:
        25            THE WITNESS: Certainly it was          25       Q. I understand that,


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         1   Dr. Plunkett. You have given many                1   panel; is that correct?
         2   depositions. You understand I can ask you        2        A. Yes.
         3   for more detail if that would be helpful to      3        Q. And so is it your view that a
         4   me.                                              4   study or an analysis that reaches a
         5            If you could, just focus on the         5   particular conclusion should be assigned
         6   question that I asked, and we can explore        6   little weight if it fails to consider all
         7   additional areas if that's something I'm         7   relevant scientific evidence to the issue
         8   interested in doing.                             8   that it's evaluating?
         9            Okay?                                   9             MS. PARFITT: Objection.
        10            MR. MEADOWS: Objection.                10             THE WITNESS: I think it
        11            She's --                               11        depends on the situation, but that
        12            MS. BOCKUS: Break?                     12        could be the case, yes. It depends
        13            MR. MEADOWS: After I finish my         13        on -- on the -- depends on -- I think
        14       objection.                                  14        it would depend on each case, the
        15            She's going to answer the              15        question being asked, and what was
        16       question as thoroughly as she feels         16        omitted. But, yes, I think it could.
        17       like she needs to answer the question       17   QUESTIONS BY MS. BRANSCOME:
        18       based on the way you ask it.                18        Q. Okay. And in this situation
        19            Want to take a break now?              19   you identify -- I believe you claimed that
        20            MS. BRANSCOME: We can go off           20   eight human studies were not considered by
        21       the record.                                 21   the CIR 2013 panel; is that correct?
        22            VIDEOGRAPHER: We're going off          22        A. Let me look at the number, but
        23       the record at 10:41 a.m.                    23   that sounds about right. Yes.
        24        (Off the record at 10:41 a.m.)             24        Q. All right. And returning,
        25            VIDEOGRAPHER: We are back on           25   actually, to your prior answer, you said that

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         1       the record at 10:56 a.m.                     1   the failure to consider all relevant
         2   QUESTIONS BY MS. BRANSCOME:                      2   scientific evidence on a topic would lead you
         3       Q. All right. Dr. Plunkett, we               3   to assign little weight to a particular
         4   started talking a little bit about the CIR       4   conclusion. You said that that could happen.
         5   analysis that was done in 2013.                  5            Under what circumstances would
         6             Am I correct you no longer             6   you assign a conclusion little weight for
         7   consider that reliable? Is that your             7   failing to consider what you consider to be
         8   opinion?                                         8   all relevant pieces of scientific literature?
         9       A. Yes.                                      9        A. Well, I think it depends --
        10       Q. Okay. And you identify in your           10   well, the reason I specifically addressed
        11   report marked as Exhibit 4, I believe it's      11   that in this case is because that was -- the
        12   paragraph 56?                                   12   conclusions about migration is the main
        13       A. Yes, that's correct. And I               13   reason why the CIR panel then draws
        14   think I talked about it later on as well, but   14   additional conclusions later on.
        15   definitely I do here.                           15            So my issue is, migration was
        16       Q. Okay. And in paragraph 56, you           16   key to what -- the decisions they made about
        17   state that the CIR panel failed to account      17   the safety issues of talc. And so in that
        18   for all the studies that informed on the        18   particular case, this -- this failure to
        19   issue of migration of particles such as talc    19   consider all the evidence was extremely
        20   upwards through the reproductive tract.         20   important, in my view, and I gave it little
        21             Is that your opinion?                 21   weight.
        22       A. Yes.                                     22            There might be a situation
        23       Q. Okay. And then you state that            23   where some -- for example, you may only look
        24   because of that you assign, quote, little       24   at six or eight studies, even though there
        25   weight to the conclusions reached by the CIR    25   may be dozens out there. You may have a


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         1   reason for why you only looked at six or         1   QUESTIONS BY MS. BRANSCOME:
         2   eight, or it may be -- and as a result you       2       Q. Okay. Of the eight studies
         3   may lay that out and, therefore, you may         3   that you identify on page 37 of your report
         4   still give weight to conclusions drawn. Or       4   that you contend the CIR panel did not
         5   it may be that the six or eight are --           5   account for, do any of those eight studies
         6   studies that you discuss are not -- the          6   specifically discuss the migration of talc in
         7   weight is not affected by what you've            7   human subjects?
         8   omitted.                                         8       A. No, I don't believe they do,
         9            I believe that the weight is            9   but there are a couple of these studies that
        10   affected by what is omitted when you look at    10   I found to be extremely important if you want
        11   some of the articles being review articles,     11   me to explain that to you.
        12   which give you an understanding of what was     12       Q. Do you break out in your report
        13   generally accepted within the scientific        13   in any other paragraphs which of these eight
        14   community when you get to reviews, those        14   articles you consider to be extremely
        15   kinds of things. So it really is a              15   important?
        16   case-by-case basis.                             16            And if you could just point me
        17            But certainly I do believe that        17   to paragraph numbers, that's good enough if
        18   it is possible that in another circumstance     18   you have, in fact, broken them out.
        19   where things are omitted you would come to      19       A. I have. I -- this whole
        20   the same conclusion, that you give those        20   section I break -- I talk about each one
        21   conclusions less weight.                        21   individually. So I think you can tell by
        22        Q. Is there a way, if someone were         22   what I read -- what I'm discussing what I
        23   try to replicate the weighting of particular    23   thought was important and informative about
        24   evidence based upon your process, for them to   24   each of those.
        25   know whether or not the omission of a           25       Q. Do you rank the eight studies

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         1   citation of certain studies means that a         1   in any way by their importance to you?
         2   study should be given little weight or           2        A. Not with any numerical rank,
         3   whether it wouldn't affect the weighting of      3   no, but certainly I think I do that for you
         4   that scientific article?                         4   when I talk about the studies. I give you an
         5             MS. PARFITT: Objection. Form.          5   understanding of ones that I think are
         6             THE WITNESS: So I think this           6   particularly informative and ones that are
         7       is the issue of judgment, training and       7   not.
         8       experiencing that is applied to all          8            So, for example, I weight the
         9       such assessments, and this is why            9   human data -- I think I tell you that -- more
        10       different scientists may come to            10   than the animal data because of the
        11       different conclusions. But certainly        11   differences between the reproductive tracts
        12       it is -- it was important to my             12   of humans versus animals generally, upright
        13       assessment on this issue because of         13   versus -- upright and habits and things that
        14       the prominent role that the CIR report      14   humans do that relate to insertions in and
        15       gives to their conclusions here for         15   out of the reproductive tract, I guess is a
        16       why they then drew conclusions about        16   nice way to describe it, versus an animal,
        17       safety. And so that link was                17   that those can have, and then also the
        18       extremely important.                        18   differences between animals and humans in
        19             MS. BRANSCOME: Can we pause           19   terms of bursal sac around the ovary, those
        20       for just a moment?                          20   kinds of things.
        21             VIDEOGRAPHER: We are going off        21            So I do -- that -- I guess that
        22       the record at 11:00 a.m.                    22   ranking I do give you here. I tell you that
        23             (Off the record at 11:00 a.m.)        23   I think these -- I think that the most
        24             VIDEOGRAPHER: We are back on          24   relevant are going to be the human studies
        25       the record at 11:01 a.m.                    25   versus the animal studies.

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         1      Q.      Right.                                1            So what I do is, when I'm
         2             So my question specifically is,        2   discussing about these -- all of these papers
         3   where would you point me to in your report to    3   here contribute to my weight of the evidence.
         4   understand the weight that you gave each of      4   And if it's a human study, I'm giving those
         5   these particular eight studies?                  5   more weight than I'm giving animal studies.
         6        A. At my descriptions of those              6   And that's described.
         7   studies and what I describe. That's all I        7            And then within papers I'm
         8   can tell you.                                    8   pulling out information that contributes to
         9        Q. And I'm just asking,                     9   what I think is important about what the
        10   Dr. Plunkett, can you point me in the report    10   study says, and that -- and the importance of
        11   to where that discussion takes place?           11   what is described within the study
        12        A. It takes place -- I have a              12   contributes to my weight.
        13   discussion for each study, and I would -- and   13            And I don't know how else to
        14   if you read what I say about each study, I      14   describe it to you. That is the process that
        15   try to go through what the strengths and        15   scientists go through when they evaluate
        16   weaknesses of those studies are.                16   data.
        17             And so those -- that would be,        17       Q. And so my question to you:
        18   let's see -- you want me to give you the        18   Earlier you said of these eight studies, some
        19   starting paragraph?                             19   of them were particularly important to you.
        20        Q. So, for example, Parmley and            20            How would I, using only what's
        21   Woodruff. Can you point me to where in your     21   written in your report, understand which of
        22   report you discuss Parmley and Woodruff, such   22   those eight studies was of particular
        23   that I can understand the weight that you       23   importance to you?
        24   gave that particular study?                     24       A. So it would have to do with
        25        A. So the year of it is...                 25   what I discuss about the study. So I'm

                                              Page 103                                            Page 105
         1            So I think I discuss it in              1   telling you, when I -- if you look through
         2   paragraph 44, and so I describe for you what     2   this entire section, this is the Parmley and
         3   important information is in there, which is      3   Woodruff paper. It is important because it
         4   the information that I take as forming part      4   addresses the specific issue of movement of
         5   of my weight of the evidence.                    5   environmental substances from the outside to
         6            So one of the most important            6   the inside. So I'm giving that importance in
         7   things is what -- they have a figure they        7   my evaluation because of what that author is
         8   show, and they're showing -- which is one of     8   actually discussing.
         9   the unique figures in all of the published       9             I don't know how else to
        10   literature. But it talks about the              10   describe that. I apologize. I mean, to me,
        11   differences between the female reproductive     11   weight of the evidence is a process that
        12   tract and the male reproductive tract, and it   12   scientists use bringing their training and
        13   shows the actual -- it talks about a            13   experience and judgment, and it's not a
        14   discussion of movement from substance in the    14   numerical process across the board, it just
        15   environment through -- into the vagina, into    15   is not, based on the way weight of the
        16   the fallopian tubes. So it's a paper that       16   evidence is used within science.
        17   addresses that very specific issue.             17        Q. Now, Dr. Plunkett, though, you
        18        Q. So my question to you, though,          18   would acknowledge that if you wanted to
        19   is, where do you have a discussion of the       19   assign numerical values to the studies, that
        20   weight that you give to these particular        20   has been something that has been done by
        21   articles?                                       21   other authors and other authors on whom you
        22        A. So the discussion of the weight         22   rely, correct?
        23   has to do with the information described. I     23             MS. PARFITT: Objection. Form.
        24   don't give them a numerical ranking. I told     24             THE WITNESS: I don't believe
        25   you that.                                       25        that's true. I'll need to look -- I


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         1       don't believe that's true with respect       1       Q. All right. And you are aware
         2       to the biological information. I             2   that there is, in fact -- called PDQs,
         3       believe it may be true with respect to       3   correct?
         4       the epidemiology studies.                    4       A. That's the abbreviation, yes.
         5            You want me to look real quick          5       Q. Right. And you're aware that
         6       to confirm that? I can do that really        6   the National Cancer Institute has in fact
         7       quick, but...                                7   published a PDQ that addresses a potential
         8   QUESTIONS BY MS. BRANSCOME:                      8   connection between talc and ovarian cancer,
         9       Q. I'm simply saying, could you              9   correct?
        10   assign a numerical value if you chose to do     10       A. I'm aware of several that have
        11   so?                                             11   been done over the years, but, yes, I'm aware
        12            MR. MEADOWS: Objection.                12   of that.
        13       Objection. Form.                            13       Q. And have you reviewed those?
        14            THE WITNESS: And I'm -- what           14       A. Yes, I have.
        15       I'm trying to say to you is I think         15       Q. Are they listed on your
        16       that I -- that there is no one set of       16   reliance list?
        17       rules that you would assign in order        17       A. No, but they're listed within
        18       to do that for all the types of             18   the materials as discussed within my
        19       studies that you weigh.                     19   depositions, and I thought -- and my
        20            I would agree that I have seen         20   testimony. I thought that was part of my
        21       it routinely done -- well, not              21   reliance list. I believe that it -- it was
        22       routinely, but I've seen it done            22   in my reliance list, is encompassing all of
        23       within the epidemiological community        23   the testimony as well as the actual
        24       when they go through the epi data.          24   documents. Maybe I'm mistaken, but that was
        25       But not -- it's not something that          25   my understanding.

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         1       I've seen done when you talk about           1       Q. Okay. If they are not on your
         2       weight of the evidence as part of a          2   reliance list, should they be?
         3       human health risk assessment. That is        3       A. I believe that they are on my
         4       not something that scientists                4   reliance list by it having been pointed to as
         5       typically do as far as giving                5   part of the testimony that I have given and
         6       numerical rankings.                          6   the documents that I have relied upon during
         7   QUESTIONS BY MS. BRANSCOME:                      7   testimony.
         8       Q. You're familiar with the                  8       Q. Okay. And you are aware that
         9   National Cancer Institute, correct?              9   they have issued a PDQ that -- on the website
        10       A. Yes, I am.                               10   as of today, correct?
        11       Q. All right. They are considered           11       A. I haven't looked today, so I'm
        12   to be the nation's leader in cancer research,   12   sure -- but I know that -- I don't believe it
        13   correct?                                        13   has been removed, so I believe that there is
        14            MS. PARFITT: Objection to              14   something there, yes.
        15       form.                                       15       Q. All right. And what is your
        16            THE WITNESS: The National              16   understanding of the position stated in the
        17       Cancer Institute?                           17   PDQ with respect to a possible link between
        18            Yes, they are. I don't know if         18   talc and ovarian cancer?
        19       they're "the" leading, but they're one      19       A. So I'd have to look at the one
        20       of the leading, that's true.                20   today to tell you what it says, but it's
        21   QUESTIONS BY MS. BRANSCOME:                     21   evolved over time and it's changed over time,
        22       Q. Okay. And you're familiar with           22   and I have specific opinions that I've
        23   publications that they issue called physician   23   expressed at trial about that issue.
        24   data queries?                                   24            Do you want me to go into that
        25       A. Yes, I am.                               25   details or I mean --


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         1        Q. I'm not asking about your                1   any -- whatever portion of this is helpful to
         2   opinions about what their position is. I'm       2   you.
         3   simply asking you, Dr. Plunkett, the most        3            And then if you could answer my
         4   recent NCI PDQ that you have reviewed, what      4   question, Dr. Plunkett, of what is the
         5   is the position that the National Cancer         5   position as stated in Deposition Exhibit
         6   Institute has taken with respect to the          6   Number 7 of the National Cancer Institute
         7   relationship between talc and ovarian cancer?    7   with respect to the relationship between talc
         8        A. So I would want to pull it out           8   and ovarian cancer?
         9   to give you the specific statement of their      9       A. So I would be looking at the
        10   position, but their position has changed such   10   section on page 12 of 18, and maybe you're
        11   that later in time they've weakened the         11   looking somewhere else, but that's where they
        12   link -- their statements about the link         12   actually talk about perineal talc exposure.
        13   between ovarian cancer and genital talc use.    13   And it's under the section where they have
        14            So it used to be seen as a             14   now moved into factors with an adequate
        15   cause, and now I believe it's not seen as a     15   evidence of an association and they describe
        16   cause. I don't know the exact language,         16   it here. So they're calling it an
        17   though. I'd have to look at it as -- maybe      17   association where the weight of the evidence
        18   risk factor is the better word to use.          18   is not adequate to support that association.
        19            And I need to look at the most         19       Q. All right. And so the first
        20   recent one. And that would be the best way.     20   sentence of the section under perineal talc
        21   Let's just see what it says.                    21   exposure states, "The weight of the evidence
        22        Q. Okay. 'Cause is it your                 22   does not support an association between
        23   position as you sit here today that the         23   perineal talc exposure and an increased risk
        24   National Cancer Institute has ever issued a     24   of ovarian cancer."
        25   statement that talc causes ovarian cancer?      25            Did I read that correctly?

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         1       A. I believe it was listed as a              1       A. You did read that correctly.
         2   risk factor for ovarian cancer in the older      2       Q. All right. And it indicates
         3   PDQs.                                            3   that "results from case-control and cohort
         4            (Plunkett Exhibit 7 marked for          4   studies are inconsistent."
         5       identification.)                             5            Did I read that correctly,
         6   QUESTIONS BY MS. BRANSCOME:                      6   Dr. Plunkett?
         7       Q. I do have a copy here. Just               7       A. You did.
         8   for the sake of the record, we will mark this    8       Q. And the question that I would
         9   as Plunkett Deposition Exhibit Number 7.         9   ask simply is, do you discuss the National
        10            Handing a copy to you,                 10   Cancer Institute PDQ in the report that
        11   Dr. Plunkett, do you recognize the document     11   you've issued in the MDL, which is identified
        12   that I just handed you that's marked as         12   as Exhibit 4?
        13   Exhibit 7?                                      13       A. I don't specifically discuss
        14            MR. LOCKE: What's the date of          14   this document, no, I do not.
        15       that?                                       15       Q. Okay. And you understand that
        16            MS. BRANSCOME: This was                16   the NCI PDQ did a weight of the evidence
        17       printed on December 14, 2018.               17   analysis that followed a formal evidence
        18            THE WITNESS: It's -- the               18   ranking system, correct?
        19       updated date is June 22, 2018, if that      19            MS. PARFITT: Objection.
        20       helps.                                      20            THE WITNESS: So I -- it's not
        21            MR. LOCKE: Yes, thank you.             21       laid out here, but they do have a
        22            THE WITNESS: I have seen this          22       process they use.
        23       one, yes.                                   23            Is that what you're asking me?
        24   QUESTIONS BY MS. BRANSCOME:                     24   QUESTIONS BY MS. BRANSCOME:
        25       Q. All right. And you can review            25       Q. Yes.


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         1       A. Yes. And again, they're                   1   of epidemiological evidence?
         2   ranking the epidemiological data, and so I       2       A. If by -- you mean prevent, was
         3   understand that that is there, yes.              3   someone stopping me from doing that, no. But
         4       Q. Now, you've said a few times              4   if you ask what would be standard practice
         5   that you could qualitative -- you could give     5   based on my experience, I would not be doing
         6   a quantitative weight to an epidemiological      6   that.
         7   study, somehow suggesting that it is             7       Q. Has anyone -- and I'm not
         8   different from other types of studies.           8   referring in this case to any attorneys. But
         9            What is it about a                      9   has anyone reviewed your -- the weighting
        10   toxicological study, for example, that would    10   that you gave specific pieces of evidence as
        11   prevent someone from giving a quantitative      11   essentially a form of a peer review process?
        12   weight in a weight of the evidence analysis?    12       A. If by that you mean have I
        13       A. Because it is just what is               13   submitted my opinions for publication, no, I
        14   typically done and not done. There are          14   have not done that. Part of -- that's partly
        15   certain practices within the community, what    15   driven by my understanding of the evidence
        16   is kind of -- I would say that scientists use   16   that I reviewed, that some of it may not be
        17   routinely, or scientists have used. Not all     17   something that I should be discussing
        18   scientists give numerical rankings to           18   necessarily in a public form outside of the
        19   epidemiological data either, because even       19   cases I'm working in.
        20   within a Bradford Hill assessment, when you     20            But certainly I have not
        21   use the considerations, there's no              21   submitted it for publication, if that's what
        22   requirement for ranking studies in order to     22   you mean. No, I have not done that.
        23   meet the requirements of use of that            23       Q. Okay. Has the methodology that
        24   methodology.                                    24   you have used in the MDL, has that been --
        25       Q. Okay.                                    25   have you submitted any type of analysis using

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         1       A. But I have seen it done in the            1   that methodology for publication even outside
         2   epidemiology community, and that is the most     2   of particularly looking at Johnson's baby
         3   common place I see it. I do not see other        3   powder, for example?
         4   toxicologists that are assessing animal          4        A. Yes, in -- if you look at my
         5   studies and in vitro studies doing it that       5   publications that describe risk assessments
         6   same way.                                        6   that I have done. So the one that would come
         7            When you do a human health risk         7   to -- to play that's similar as far as the
         8   assessment, that isn't routine practice to do    8   scope of the weight of the evidence would --
         9   numerical rankings on studies.                   9   at least with the animal and the in vitro
        10       Q. Okay.                                    10   studies, would be the paper that I published
        11       A. At least in my experience and            11   on copper, looking at the database of copper
        12   in my training, and I was trained in the use    12   and identifying points of departure and
        13   of risk assessment by one of the individuals    13   target organs and risk -- risk issues based
        14   who actually invented the process.              14   on copper use in humans, trying to set a --
        15       Q. Okay. Okay. But do you                   15   understand what a safe exposure level could
        16   consider the epidemiological evidence as part   16   be to copper in water. And that was
        17   of your risk assessment in the MDL?             17   published -- that actually was one of the
        18       A. I do, because I'm looking at it          18   papers that's published with Dr. Krewski, who
        19   in the context of what is out there and         19   is one of the authors of this risk assessment
        20   what's available. I don't always have human     20   in Canada.
        21   data when I do risk assessments, but in this    21        Q. And is it your position that
        22   one I do. So I do consider them, yes.           22   you follow the same methodology in what
        23       Q. Okay. Did anything prevent you           23   you've reported in the MDL with respect to
        24   from doing a quantitative assessment of the     24   Johnson's baby powder that you did in your
        25   weight that you were giving different pieces    25   analysis of copper?


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         1       A. Yes, with the process of going            1   include something like the Gonzales 2016
         2   through all of the publicly available            2   study, but yet you will disagree the
         3   information, putting it together based on its    3   2013 -- the CIR 2013, you will give it little
         4   relevancy and reliability.                       4   weight for not discussing particular studies?
         5            We did a process where we               5        A. So that's a very different
         6   grouped it based on animal versus human, just    6   exercise. You want me to explain my thinking
         7   like I've done here. And we call it the          7   on that? I can do that for you, but I
         8   bins, but it's the same idea. I have a bin       8   believe that's apples and oranges question.
         9   of human idea, I have a bin of animal data       9             My reasons for giving little
        10   and a bin of in vitro data. And so, yes, the    10   weight to the CIR overall assessment versus
        11   process was very, very similar.                 11   my weight or the assessment I make of an
        12       Q. Okay. Returning back to some             12   individual piece of data, that's different.
        13   documents that you chose not to cite in your    13   And that's what you're describing for me.
        14   report, you do not discuss the Gonzales 2016    14             And I believe Gonzales is in my
        15   study in your report for the MDL, correct?      15   overall reliance list, so I have read
        16            MS. PARFITT: Objection. Form.          16   Gonzales. It is something that I have
        17            THE WITNESS: I'll have to              17   considered; it's not something that I've
        18       look. It is not cited in the                18   cited in my paragraphs. So it doesn't mean
        19       reference list to my report, that is        19   it didn't go into my weight of the evidence,
        20       true. So that means it would not be         20   because I do have it and I have reviewed it.
        21       mentioned specifically in the body of       21   I just don't recall the details on it.
        22       the report.                                 22        Q. Is it your position as you sit
        23   QUESTIONS BY MS. BRANSCOME:                     23   here today that you know for sure that the
        24       Q. You're familiar with the                 24   CIR panel did not -- was not aware of or even
        25   Gonzalez 2016 study, correct?                   25   considered any of the eight studies that you

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         1        A. If you want me to talk about             1   contend the omission of which makes it of
         2   it, you'd have to pull it out for me, but I      2   little weight?
         3   know the name, yes.                              3             MS. PARFITT: Objection. Form.
         4        Q. Okay. And it was looking at an           4             THE WITNESS: I would say I'm
         5   association between the perineal use of talc     5        99.9 percent sure, based on the
         6   and ovarian cancer, correct?                     6        process that is -- that goes in. And
         7        A. That, I'd have to look at it to          7        if you want me to explain, I'll tell
         8   tell you. I believe it was a human study         8        you why I feel that level of surety.
         9   that would be consistent with that, but I        9             You know, I can always say that
        10   need to pull it out to look at it.              10        maybe there was someone that came to
        11        Q. All right. Do you, as you sit           11        the panel that did a search on their
        12   here today, do you know why you did not         12        own, but that is not what's done. The
        13   discuss it in your report?                      13        individuals that come to the panel are
        14        A. I wasn't doing a full causation         14        given a body of information provided
        15   analysis in this report, so as a result I'm     15        to them in written form that they
        16   not trying to characterize every piece of       16        review. So it's not like they -- they
        17   human data. But I certainly am looking at       17        have access to anything that isn't
        18   the consistency across the studies, and         18        cited in the actual report.
        19   that's what I've done.                          19   QUESTIONS BY MS. BRANSCOME:
        20            And I mention it here. I do            20        Q. Okay. The eight articles that
        21   think I mention here that there are studies     21   you discuss that are not mentioned in the CIR
        22   that came to different conclusions than the     22   panel's work, they are publicly available
        23   ones that I'm specifically describing.          23   pieces of scientific literature, correct?
        24        Q. Okay. And so why is it that --          24        A. Yes, which was why it's
        25   why is it acceptable for you to choose not to   25   interesting to me that those were not grabbed


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         1   and included within -- within the assessment    1   section on the role of the industry in
         2   done by the -- by the PCPC's group that         2   Section 7.
         3   handles CIR -- handled the CIR process here.    3       Q. Okay. So the newspaper
         4        Q. Okay. We received just before           4   articles are not something that you are
         5   your deposition, a few days in advance, a       5   considering as part of your analysis of
         6   list of materials that have been added to       6   whether there is a risk of ovarian cancer
         7   your reliance list since you produced your      7   from Johnson's baby powder, correct?
         8   report in this case.                            8       A. No, that's a separate issue
         9            Did you provide that list of           9   because it's not -- it's not scientific data,
        10   materials to counsel to -- are you aware of    10   per se.
        11   the materials that were identified?            11       Q. Okay. All right. Now, if you
        12        A. Yes, I am. They're ones that I         12   could turn to paragraph 31 in your report.
        13   have reviewed since my report and -- yes,      13            Okay. You discuss the
        14   which would have been, I believed, important   14   biological effects of talc in this paragraph
        15   for you to know about, because obviously you   15   and in others, correct?
        16   wouldn't know if I hadn't provided that to     16       A. Yes, I would call this my
        17   you, and fair game for you to ask me about.    17   introductory paragraph to transition into a
        18        Q. On that list was contained a           18   specific topic, yes.
        19   number of news articles.                       19       Q. Okay. And you talk here about
        20        A. Uh-huh.                                20   the structure and size of talc affecting its
        21        Q. Are news articles pieces of            21   properties.
        22   scientific information that you typically      22            What do you mean by that?
        23   consider in performing a risk assessment?      23       A. So whether it's fibrous enough,
        24        A. No, they're not part of my risk        24   platy, fibrous. Whether it is particle sizes
        25   assessment, but they -- but they were          25   of less than 10 microns, less than 5 microns,

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         1   relevant to -- they were relevant to my         1   greater than 75 microns. There's
         2   overall assessment of the issue of what the     2   different -- certain pieces of literature
         3   company is doing with regard to public          3   deal with different size ranges of talc. The
         4   dissemination of information.                   4   smaller the size range, the more toxic it is,
         5            So it's not the risk assessment        5   for example, to lung tissue; the more likely
         6   part. It's more on the issue of the -- when     6   it is to be able to move, based upon the
         7   I talk about the different influences of the    7   size, versus being engulfed by a macrophage
         8   company on public dissemination of              8   if it's a larger particle, things like that.
         9   information, I went through the different       9        Q. So focusing specifically on
        10   specific issues. So this would be a specific   10   ovarian cancer, what role does size and
        11   issue related to a news report that someone    11   structure of a talc particle play with
        12   comes out with, the Reuters report, and then   12   respect to a risk of ovarian cancer in your
        13   looking at what the company is saying in       13   opinion?
        14   addition to that.                              14        A. I don't think I formed a
        15            So it's understanding -- for          15   opinion that it has to be a specific size or
        16   example, the documents that Reuters            16   structure, because the -- my opinions are
        17   discusses, many of those I'm sure I have       17   related to the fact that we have a complex
        18   seen, although I don't have access to -- I     18   mixture of ingredients within the body
        19   wasn't able to go on websites and download     19   powder, and my assessment's been on the
        20   everything that they cite. But certainly       20   overall consumer product, not on any one
        21   they looked familiar, some of the ones I did   21   particular ingredient only within it.
        22   see.                                           22              So it's the idea of just
        23            So it's that issue of -- the          23   understanding that size and structure of
        24   last part of my report, I think. Want me to    24   these particles are general principles that
        25   tell you the section? It would be in the       25   affect toxicology. So a larger particle or a


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         1   fibrous particle may have a different tissue      1   known to affect tissue toxicity as far as
         2   toxicity response than a smaller particle.        2   adverse events like inflammation and/or
         3            So in other words -- I think I           3   irritation.
         4   discuss this later in a paragraph about           4        Q. Okay. So that's -- that's what
         5   pleurodesis, the idea that you can get acute      5   I'm trying to understand in more detail.
         6   versus chronic inflammation, or respiratory       6             What is your opinion with
         7   distress or not. So it's just this idea of a      7   respect to -- let's take size to start with.
         8   general principle that outlines how you would     8   Is there a particular size talc particle that
         9   think about particles generally as a              9   is more or less likely to cause inflammation,
        10   toxicologist.                                    10   in your opinion?
        11        Q. Well, okay. So you said that             11        A. It depends whether you're
        12   your assessment is based on the overall          12   talking about acute or chronic. I would say
        13   consumer product. That would be Johnson's        13   for acute inflammation the larger particles,
        14   baby powder or SHOWER TO SHOWER®, correct?       14   such as some of the particle sizes that are
        15        A. Yes.                                     15   used in the pleurodesis products, are more
        16        Q. All right.                               16   likely to initiate an acute inflammatory
        17        A. Or Shimmer. I think that's the           17   response due to the fact that they're large
        18   other name. There's a third product.             18   enough that the body will recognize them with
        19        Q. Okay. But my question to you             19   a fairly robust foreign body response.
        20   is, you actually cite a number of pieces of      20        Q. What is your definition of
        21   literature in the section about the alleged      21   large?
        22   toxicity of talc that don't relate to the        22        A. So the literature varies, but
        23   overall consumer products at issue in this       23   certainly particles that are above -- some of
        24   case, correct?                                   24   the literature talks about particles that are
        25            MS. PARFITT: Objection. Form.           25   in the range of 25 to 75. Some of them talk

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         1               THE WITNESS: No, I would              1   about larger particles even than that.
         2         disagree with that when you use the         2             It has to do with the fact
         3         word "relate." Relate to me means is        3   that -- this is complicated by the fact that
         4         it relevant to the assessment, and          4   any consumer product -- or any talc sample
         5         they are, even if they're not just on       5   will have a range of sizes because they don't
         6         the finished product.                       6   select for one size. They select for smaller
         7               But if what you mean is that          7   than. So a 200 mesh, a 400 mesh, that has do
         8         there are studies that did not test         8   with what will filter through.
         9         the consumer product but individual         9             So pleurodesis, they try to
        10         ingredients or -- that is true, yes,       10   avoid for those products the really small --
        11         but all of that is relevant or relates     11   large amounts of less than 10 because that
        12         to the overall risk assessment.            12   leads to respiratory distress, whereas many
        13    QUESTIONS BY MS. BRANSCOME:                     13   of the consumer talc products are using much
        14         Q. Okay. So given your view that           14   smaller, finer particles to get that feel and
        15    information about the individual constituents   15   performance they want from the consumer body
        16    is relevant to evaluating the overall           16   powders.
        17    toxicity of the ultimate consumer products,     17       Q. Have you reviewed -- focusing
        18    then my question to you is: How does the        18   specific on Johnson & Johnson's products,
        19    structure and size of the component talc        19   have you reviewed the documents that relate
        20    particles play a role in toxicity with          20   to the specifications for the Johnson's
        21    respect to ovarian cancer?                      21   products with respect to the size of the
        22         A. Just generally -- it's not              22   plate particles?
        23    just -- well, with respect to ovarian cancer,   23       A. I have seen those, yes. I
        24    we start with irritation, inflammation          24   can't tell you what each of them says without
        25    potential. Size of particles and shape are      25   pulling them out, but, yes, that is certainly


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         1   documents I have seen and relied upon.           1   effects that beneficiation can have on the
         2       Q. Is it consistent with your                2   level of the component -- the components in
         3   understanding that it was Johnson & Johnson's    3   talc and what ultimately ends up in one of
         4   intention to select large platy talc             4   Johnson & Johnson's consumer products?
         5   particles for its products?                      5            MR. MEADOWS: Objection.
         6            MS. PARFITT: Objection to               6            THE WITNESS: So I'm not -- I'm
         7       form.                                        7       not familiar with all the details, but
         8   QUESTIONS BY MS. BRANSCOME:                      8       I am familiar that it is a process
         9       Q. Have you seen that in the                 9       they're using to attempt to result in
        10   documents?                                      10       a product that has characteristics
        11       A. I don't know that it's                   11       that would be desirable for a consumer
        12   described quite that way, but they certainly    12       product.
        13   were doing a 200 mesh selection. So -- for      13            Again, there is my
        14   their body powders products. So -- and they     14       understanding that others are going to
        15   were trying -- and they did make attempts to    15       be discussing the geology or the
        16   look for sources that were more platy talc      16       processing, and that is not something
        17   than other forms, but that doesn't ensure       17       I'm looking at.
        18   that everything is platy talc.                  18            The literature as it relates to
        19       Q. Are you familiar with the term           19       what has been tested in the public
        20   "fines"?                                        20       literature in particular, and that
        21       A. Yes, generally, but I'm not --           21       would be either an ingredient or a --
        22   but I'm not an expert in the processing of      22       or a consumer product or a -- they may
        23   talc as far as how you would go about           23       discuss exposure occupationally to
        24   choosing an ore or a mine. There's others       24       mining or milling, which is -- which
        25   that will be addressing that. That's not my     25       is an issue that you can consider when

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         1   area.                                            1        you're reviewing that literature as
         2       Q. What is your understanding of             2        well.
         3   the term "fines"?                                3   QUESTIONS BY MS. BRANSCOME:
         4       A. My understanding of the term              4        Q. Okay. And so when you cite --
         5   "fines" has to be looking for a sample or a      5   for example, you have a significant number
         6   group that has been processed such that it       6   of -- I'm trying to find the right paragraph.
         7   has certain characteristics.                     7            You have a section in your
         8            Other than that, I would refer          8   report where you discuss a number of
         9   you to the individuals in litigation that are    9   different articles that relate to talc, and
        10   going to be dealing with the processing.        10   in parentheses you identify that the talc
        11       Q. Okay. Have you taken into                11   source might be cosmetic, it might be
        12   account in your analysis in any way the         12   industrial, things of that nature, correct?
        13   beneficiation process that occurs between the   13        A. Yes, I do that on purpose
        14   time that the talc is mined and it ends up in   14   because I wanted -- I did look at the
        15   one of the consumer products that is relevant   15   literature to understand what they were --
        16   to your analysis?                               16   what they were -- what type of exposure they
        17            MR. MEADOWS: Objection.                17   were describing.
        18            THE WITNESS: So what do you            18        Q. Okay. And so understanding
        19       mean by taking it into account? Am I        19   that some of those products are not
        20       aware that they have something that's       20   representative of what ultimately is in
        21       in place for that? Yes.                     21   Johnson's baby powder, do you have anything
        22            But take into account, what do         22   in your report that explains how you did or
        23       you mean by that?                           23   did not give weight to those particular
        24   QUESTIONS BY MS. BRANSCOME:                     24   studies?
        25       Q. Are you familiar with the                25            MS. PARFITT: Objection. Form.


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         1             THE WITNESS: Let me look and           1   something that ever ended up in Johnson's
         2       see what I say.                              2   products, correct?
         3             If the question has to do with         3           MR. MEADOWS: Objection.
         4       numerical rankings, no, I did not do         4           THE WITNESS: I don't think I
         5       that. But you're asking something            5      can answer that yes or no. I haven't
         6       else, right, broader than that,              6      done an assessment to see whether it
         7       correct?                                     7      ever ended up in the products. That's
         8   QUESTIONS BY MS. BRANSCOME:                      8      a different question.
         9       Q. The question that I have is,              9           I certainly am aware of the
        10   how did -- is there somewhere in this report    10      fact that was not a primary source of
        11   that I can understand the weight that you       11      their talc, that is true. I do know
        12   assigned to say a study that related to         12      that.
        13   industrial talc as opposed to information       13           In other words, I don't have
        14   about cosmetic talc, for example?               14      records from -- going back from 1894
        15             MR. MEADOWS: Objection.               15      on what the source of their talc was.
        16             THE WITNESS: So I -- I'm -- I         16      So I can't tell you over time.
        17       believe I address that. I don't know        17           What I do know, what's been put
        18       it's exactly answering your question,       18      into depositions and testimony of
        19       but I lay out for you the                   19      company employees more recently, where
        20       characteristics of the literature in        20      it's my understanding that the
        21       paragraph 37, and I point out that the      21      principal sources over the years were
        22       scientific literature varies.               22      either the Vermont mine, the Italian
        23             And the fact -- and I point --        23      mine or the Chinese mine. And there
        24       and I admit -- I'm not admitting. I'm       24      were different interruptions in time
        25       stating the fact that in some cases         25      where different mines were used,

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         1       the authors will not describe it             1       depending on sourcing.
         2       specifically as the type of talc, but        2   QUESTIONS BY MS. BRANSCOME:
         3       just talc, whereas -- with no                3       Q. So as part of your expert
         4       description of purity or state, for          4   analysis where you are evaluating articles
         5       example. But in cases where the              5   that relate to different types of talc from
         6       literature does, I did consider that         6   different sources of talc, have you done an
         7       in my weight of the evidence.                7   analysis of how those particular types of
         8            So, for example, when I -- when         8   talc do or do not relate to what is in the
         9       I lay it out here in these bullets           9   consumer product manufactured by Johnson &
        10       where I'm putting for you tremolite         10   Johnson?
        11       mining industrial grade cosmetic, it        11            MS. PARFITT: Objection. Form.
        12       certainly is something that I weighed.      12            THE WITNESS: The first part of
        13       And obviously as much information as I      13       your question, again? I'm sorry.
        14       can get on cosmetic-grade talc is           14            MS. BRANSCOME: Would you read
        15       going to be most important in the           15       it back?
        16       assessment, but that doesn't mean the       16            THE WITNESS: Could you read it
        17       other information isn't relevant.           17       back to me again? I didn't mean to
        18            You want me to explain why?            18       wander, but the first few words I
        19   QUESTIONS BY MS. BRANSCOME:                     19       missed.
        20       Q. Well, so, for example, you               20            (Court Reporter read back
        21   describe the Dreessen article that related to   21       question.)
        22   trimellitic talc that's mined out of            22            THE WITNESS: Okay. So I
        23   New York.                                       23       certainly did, which is why I'm
        24            You would agree that                   24       breaking this out here for you this
        25   trimellitic talc from New York is not           25       way.


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         1            So I am -- I am certainly               1        that to draw conclusions based upon
         2       recognizing, and I analyzed on the           2        what was available for me to assess.
         3       paper -- through the papers what type        3   QUESTIONS BY MS. BRANSCOME:
         4       of product, if available, that the           4        Q. Okay.
         5       data is on.                                  5        A. I don't know how else to answer
         6            But if you read my report in            6   it for you. That's what the section is meant
         7       the process of risk assessment, all of       7   to do, and that's why I broke it out that
         8       these categories of papers are               8   way. You know, I recognize that there is
         9       relevant to telling you something            9   data on different things.
        10       about what talc can do. And then when       10             What's interesting about even
        11       you talk about drawing final                11   the data on different things, there's a
        12       conclusions, I'm looking for                12   common mechanism that is involved with the
        13       information, if I can, and I have it,       13   type of tissue toxicity you get, and that's
        14       that is on point to the product that        14   irritation and inflammation. Regardless of
        15       was sold.                                   15   whether it is of a certain grade or not, you
        16            So certainly the studies that          16   get certain types of adverse reactions. May
        17       give me information on cosmetic-grade       17   be a more sustained reaction with a
        18       talc are extremely important to my          18   industrial grade versus cosmetic grade, but
        19       assessment, and they're ones that I've      19   they all have the capability to produce that
        20       discussed or we've even used in trial       20   type of adverse effect.
        21       before when we've talked about putting      21        Q. Dr. Plunkett, where can you
        22       together a timeline.                        22   point me to in your report that you discuss
        23            That's what this is about, by          23   the weight that you give studies that relate
        24       the way. This discussion here, I'm          24   to talc from New York as opposed to studies
        25       starting to lay out what information        25   that relate to cosmetic talc that ultimately

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         1       was available over time, and that's          1   ended up in Johnson's baby powder?
         2       simply what this is. It's a survey of        2           MS. PARFITT: Objection. Form.
         3       the literature that talks about              3           THE WITNESS: I've tried to
         4       adverse effects of talc, and if I can,       4      answer that for you. The weight that
         5       I separate it into different qualities       5      I'm giving -- the weight that I'm
         6       or purities.                                 6      giving is part of my assessment. So,
         7   QUESTIONS BY MS. BRANSCOME:                      7      again, I don't give numerical
         8       Q. Dr. Plunkett, respectfully, I             8      rankings. I've answered that for you.
         9   don't believe you answered my question.          9      I don't do that.
        10            Can you point me to anywhere in        10           What I instead do is I'm
        11   your expert report that's been produced in      11      looking at everything that's relevant,
        12   this MDL where you do an analysis of how the    12      everything that's available. I do
        13   different talc types and sources that you are   13      categorize it, so I am selecting -- I
        14   citing as support for the toxicity of talc      14      am identifying or analyzing the
        15   generally relate to the products manufactured   15      information for what it describes.
        16   by Johnson & Johnson?                           16      And then if you go further on down, I
        17            MR. MEADOWS: Objection.                17      try to tell you what I think is
        18            THE WITNESS: So I don't know           18      important about that information.
        19       how else to answer that but to tell         19           The overall conclusions I'm
        20       you I think that's what this whole          20      drawing in the report, though, when I
        21       section is about. I step you                21      cite to specific studies in the risk
        22       through -- I identify different types       22      assessment, the majority of those
        23       of evidence. I identify for you what        23      studies I believe that I'm citing for
        24       was tested in those different pieces        24      you, outside of notice, have to do
        25       of evidence, and then I step through        25      with -- that's more of a warnings

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         1       issue -- have to do with the issue of        1   QUESTIONS BY MS. BRANSCOME:
         2       cosmetic talc. Because the human             2       Q. I was simply asking: Did you
         3       studies are describing cosmetic talc.        3   do an analysis that would allow you to
         4       The NTP studies is a pure talc. Many         4   compare the ingredients in another product,
         5       of the in vitro studies and other            5   like consumer Cashmere Bouquet, before you
         6       animal studies are looking at,               6   rendered an opinion with respect to Johnson's
         7       quote/unquote, a talc that is not an         7   baby powder based on tests of Cashmere
         8       industrial grade or from a mine that         8   Bouquet? Did you do that analysis?
         9       would have -- be looked at in that           9            MR. MEADOWS: Objection.
        10       way. So --                                  10            THE WITNESS: I do not have
        11   QUESTIONS BY MS. BRANSCOME:                     11       access to internal company documents
        12       Q. You understand that there are            12       for the manufacturers of Cashmere
        13   different types of cosmetic talc, correct?      13       Bouquet, so I certainly couldn't do
        14       A. Yes, I am aware.                         14       the analysis in the same way that I
        15       Q. And cosmetic talc can be mined           15       can do it here, where I can identify
        16   from a number of different mines globally,      16       what Johnson & Johnson and Imerys
        17   correct?                                        17       describe as sources of the talc that
        18       A. That's correct.                          18       was used for the Johnson & Johnson
        19       Q. And some of the studies that             19       baby powder, without --
        20   you cite in your report are testing cosmetic    20   QUESTIONS BY MS. BRANSCOME:
        21   talc from other consumer products, for          21       Q. So you have no way of knowing
        22   example, Cashmere Bouquet, correct?             22   one way or the other whether that talc is
        23       A. Some. The majority of them are           23   similar, correct?
        24   not, but I would agree that some do, yes.       24            MR. MEADOWS: Objection.
        25       Q. Okay. Have you done an                   25            MS. PARFITT: Objection.

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         1   analysis of how the talc that is used in         1            THE WITNESS: Well, I think I
         2   Cashmere Bouquet, for example, relates to the    2       do know it's similar, if you look on
         3   talc that is used in Johnson's baby powder?      3       the bottle as far as what is described
         4            Is that an analysis that you            4       it being, but if you're asking me --
         5   have done before relying on that information     5       if you're asking did we fingerprint it
         6   in your report?                                  6       to only a particular mine, this is the
         7            MR. MEADOWS: Objection.                 7       beauty of the data. The data shows
         8            MS. PARFITT: Objection.                 8       that regardless of the type of product
         9            THE WITNESS: My analysis -- I           9       you're looking at, there's consistency
        10       did do an analysis to look at what was      10       across the study.
        11       described, what products are                11            So -- but I did not try to
        12       described, but I certainly -- I             12       segregate out studies that only dealt
        13       certainly did not throw out studies         13       with Cashmere Bouquet, no, I did not
        14       that described Cashmere Bouquet             14       do that.
        15       because I would -- I still believe as       15   QUESTIONS BY MS. BRANSCOME:
        16       a toxicologist and a risk assessor          16       Q. Okay. As you sit here today as
        17       that those types of products are            17   a toxicologist, is it your position that
        18       important to the overall weight of the      18   industrial-grade talc that might contain up
        19       evidence about the hazard and the           19   to 70 percent tremolite presents the same
        20       risks posed by talc.                        20   level of toxic effect as cosmetic talc that
        21            You know, I just -- I just -- I        21   may contain no tremolite or tremolite at a
        22       guess I disagree with you if you're         22   very, very low level?
        23       saying they're irrelevant. I don't          23            MS. PARFITT: Objection. Form.
        24       believe that they are.                      24            THE WITNESS: I haven't formed
        25                                                   25       that opinion, no.

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         1   QUESTIONS BY MS. BRANSCOME:                      1   identified characteristics.
         2       Q. Okay. And so have you formed              2            There's -- within the
         3   an opinion that I could find in your report      3   asbestos -- the asbestos literature
         4   that discusses in any way the relative           4   there's -- it's one of the forms -- forms of
         5   toxicity of different types of talc?             5   asbestos that's described. For example, in
         6       A. That, you may find. I need to             6   IARC, they describe all of the ones that have
         7   go back and look how I set it out, but I         7   carcinogenic properties. It's one of them.
         8   think I -- I talked with you about the           8            Within the literature within
         9   difference between fibrous versus platy. I       9   Johnson & Johnson's documents, there's
        10   do discuss that.                                10   tremolite discussed as -- I assume them
        11             And I talk about the problems         11   referring to asbestos tremolite, asbestos in
        12   when you have a complex mixture that has        12   a tremolite characteristic. I have seen
        13   added to it things like asbestos and heavy      13   tremolite talc also mentioned in the
        14   metals, because I talk about the additivity     14   literature.
        15   issue that can come to play. So that -- in      15            If you want a specific
        16   other words, increased risk when you have a     16   discussion of each of those, again,
        17   complex mixture with additional components      17   there's -- I understand there's experts that
        18   that all share the same toxic properties as     18   are going to describe the distinguishing
        19   far as target organs or types of effects or     19   characteristics of each of those.
        20   mechanisms that are triggered in the body.      20            I'm only setting out this is
        21   That's what I point you to.                     21   what I have seen, talked about, in the
        22             I -- I don't -- that's the only       22   literature.
        23   way I can answer that for you, I think, based   23        Q. So you are not an expert on the
        24   on what I know I have in here.                  24   differences between fibrous talc, asbestiform
        25       Q. Okay. You talk about the term            25   talc, non-asbestiform talc and tremolite as

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         1   "asbestiform talc."                              1   it relates to toxicity. Is that your opinion
         2            You talk about asbestiform              2   today?
         3   talc.                                            3        A. No, that's not what I'm saying.
         4            Are you familiar with that?             4   I'm saying that if you want me to -- I'm --
         5       A. I do mention that in my report,           5   if you want me to describe the
         6   yes.                                             6   characteristics and the morphology of each of
         7            Where are you?                          7   those individually, that's something a
         8       Q. At paragraph 30. It's on                  8   geologist would do.
         9   page 19 of your report.                          9             But certainly as far as the
        10       A. Yes, I'm here.                           10   toxicity assessment I did, each of these
        11       Q. Okay. And the first sentence             11   types of -- each of these words, I guess, or
        12   in paragraph 30 you state, "In the published    12   names have been applied in the literature
        13   medical literature, there is often discussion   13   when they talk about toxicity of talc. Some
        14   of talc using terms such as fibrous talc,       14   of the literature talks about fibrous talc or
        15   asbestiform talc, non-asbestiform talc or       15   just -- other literature just talks about
        16   tremolite."                                     16   talc. Some of it, for example, the IARC
        17            Do you see that?                       17   monographs, distinguish between asbestiform
        18       A. Yes, I do.                               18   talc and non-asbestiform talc in their
        19       Q. Okay. Is it your opinion that            19   assessments of the cancer risk.
        20   tremolite is a form of talc?                    20             And then tremolite is discussed
        21       A. So tremolite is a -- is a -- is          21   as a component of talc. And I have seen
        22   a type of fiber or a -- tremolite is a -- is    22   papers that talk about tremolite --
        23   a substance or a entity that has been           23   nontremolite talc or tremolite-containing
        24   identified as a specific morphology, I guess,   24   talc. That's how you most often see it.
        25   identified characteristics of a -- it has       25             So it's the idea that it is a


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         1   constituent of certain mines that -- and         1        Q. Okay. And so when you're
         2   that's my understanding of it. But if you        2   looking at a complex mixture, you would agree
         3   want -- and they all -- they all certainly do    3   as a toxicologist it would be important to
         4   show that the toxicity can be affected,          4   understand the constituent elements of that
         5   whether it's a fiber or a platy particle. So     5   mixture, correct?
         6   tremolite being a fiber would certainly          6        A. Yes, it is important to
         7   affect my overall assessment of risk. The        7   understand that this is -- what is in the
         8   more tremolite that you would have would         8   mixture, and that's -- that's part of what I
         9   make -- would make it more likely to be          9   try to do.
        10   reactive in terms of a foreign body response,   10        Q. Okay. And it would be
        11   depending on the size.                          11   important before drawing conclusions from one
        12       Q. What's your basis for saying             12   study that might have different constituent
        13   that?                                           13   components, it's important to understand the
        14       A. That's based on a fibrous form           14   relative toxicity of individual constituent
        15   versus a platy particle form. That's the        15   elements, correct?
        16   issue of -- I have that paragraph where I       16        A. Depends if you can or not. I
        17   talk about what macrophages look for, can       17   mean, there's certain types of studies you
        18   engulf or not engulf. So those are all          18   can, where in the published literature that's
        19   things that are important to a toxicologist     19   been described. That's why I'm pointing this
        20   to understand exist.                            20   out. It's the idea that within the
        21            But certainly within my                21   literature, when you go through, it's
        22   assessment I have to include literature from    22   important to understand what you can say
        23   all of those because of the fact that all of    23   about the consistency across the literature
        24   those are relevant to the toxicity profile,     24   where maybe different types of talc are
        25   since I know that the cosmetic baby powders     25   discussed.

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         1   and the data I've seen shows detection of        1            And that's what I -- I think I
         2   something called fibrous talc.                   2   lay out for you. I tell you there's
         3            I see detection of tremolite            3   consistency in certain toxic effects that are
         4   within certain samples of baby powder.           4   seen. Regardless of the form that you're
         5            And then I have just the                5   looking at, talc has certain properties, and
         6   general category of asbestiform versus           6   all of these things are -- been shown to be
         7   non-asbestiform when I consider the way, for     7   in the complex mixture, so I have -- as a
         8   example, IARC has reviewed the                   8   result, all of that literature has relevance
         9   carcinogenicity.                                 9   to at least the hazard part of my assessment,
        10            So those are -- those are terms        10   and certainly have relevance to -- when you
        11   that I'm laying out because I think they are    11   want to talk about warning and the final risk
        12   something you need to understand exists in      12   assessment, they're definitely relevant, but
        13   the literature.                                 13   certainly the -- when I go through this
        14        Q. Okay. But I'm trying to                 14   process, I am trying to focus as much as I
        15   understand, not helping me understand the       15   can on a product that is most similar to the
        16   literature. I'm trying to understand your       16   one I'm assessing.
        17   opinions with respect to toxicity.              17            So obviously that's why --
        18            Is it, for example, your               18   that's one of the reasons I do look at the
        19   opinion that fibrous talc has the same toxic    19   human data, because the human data is
        20   potential -- let's focus specifically with      20   involving a consumer product use, which is
        21   respect to ovarian cancer -- as tremolite?      21   what I'm talking about here.
        22        A. I haven't formed that opinion,          22        Q. Is it using specifically
        23   but, again, I would -- my opinion has been      23   Johnson's baby powder?
        24   formed on the fact that we have complex         24        A. Many of them are, yes.
        25   mixture that includes all of these things.      25        Q. Okay.

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         1       A. Based on my understanding of              1         across the studies that are dealing
         2   what I see discussed within the literature.      2         with not the consumer product but
         3       Q. Did you identify in your report           3         other descriptions, there is a
         4   specifically which report -- which studies       4         consistency in the types of effects
         5   have used a consumer product manufactured by     5         you see.
         6   Johnson & Johnson?                               6              And since I'm not quantifying
         7       A. I haven't laid them out                   7         the risk but identifying it as being
         8   individually, no, but I am aware of              8         increased or not, in other words, is
         9   discussions of this general issue within some    9         it more likely than not that someone
        10   of the documents I've seen, and essentially     10         exposed in this way could be at a risk
        11   Johnson's body powders products were the        11         of ovarian cancer, that's what I'm
        12   overwhelming share of the market.               12         talking about.
        13       Q. But you would agree that                 13              So again, it's -- if I was
        14   studies that did not involve the consumer       14         trying to identify differences in
        15   product manufactured by Johnson & Johnson       15         cancer potency factors for different
        16   should be given less weight when analyzing      16         types, then, yes, if I had an animal
        17   whether or not there are risks associated       17         study on each of those, I could
        18   specifically with Johnson & Johnson's           18         compare potency for cancer, but that
        19   products?                                       19         hasn't been done.
        20            MS. PARFITT: Objection. Form.          20    QUESTIONS BY MS. BRANSCOME:
        21            MR. MEADOWS: Objection.                21         Q. Okay.
        22            THE WITNESS: It depends on the         22         A. So instead, what I have to do
        23       question being asked within the             23    is rely on what is available to me. And
        24       assessment, the risk assessment. It         24    based on my judgment, that's how I review the
        25       really does, I mean, because each of        25    studies.

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         1       these studies brings a piece of              1       Q. And so for the opinions that
         2       evidence to the risk assessment.             2   you are offering in the MDL, you agree that
         3             And so the question is -- for          3   you are not quantifying the risk associated
         4       each one, you consider it on a               4   with Johnson's baby powder, SHOWER TO SHOWER®
         5       case-by-case basis. It is possible,          5   or Shimmer with respect to the potential for
         6       yes, that you would give less weight.        6   causing ovarian cancer?
         7       It's also possible that you would not,       7            MS. PARFITT: Objection. Form.
         8       dependent upon what you know about           8            THE WITNESS: In terms of a
         9       that study and how it relates to other       9       cancer potency factor, that is true, I
        10       studies that are out there.                 10       am not. Instead, what I am doing is I
        11   QUESTIONS BY MS. BRANSCOME:                     11       am quantifying whether or not I
        12       Q. So methodologically, how would           12       believe that the risk is increased
        13   I understand from your report marked as         13       above a background risk.
        14   Exhibit 4 under what circumstances to give a    14            That has to do with -- that's
        15   study that relates to, for example,             15       where I bring in, in my risk
        16   industrial talc less weight than a study that   16       assessment, the human data, because
        17   actually used Johnson's baby powder?            17       the human data is showing
        18             MR. MEADOWS: Objection.               18       statistically significant increases in
        19             THE WITNESS: Well, I've tried         19       risk in populations using the consumer
        20       to tell you that. That's what I said        20       product.
        21       for you. That's why I am doing it. I        21            So I have a quantification
        22       certainly am trying to focus in on          22       where I'm using the word "increased,"
        23       studies that deal with the consumer         23       and I believe to a reasonable degree
        24       product.                                    24       of medical certainty that indeed the
        25             But what I find when I look           25       risk is increased. So I'm quantifying


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         1       in that way, but I'm not giving it a         1   QUESTIONS BY MS. BRANSCOME:
         2       number. I'm not saying that the              2      Q. In reaching your opinion in the
         3       cancer potency factor is such that you       3   MDL that there is an increased risk above
         4       increase the risk from one in a              4   background of ovarian cancer from the use of
         5       million to 10 in a million to 1 in a         5   products manufactured by Johnson & Johnson,
         6       thousand. That I have not done               6   have you made an attempt to identify
         7       because I don't have the data, the           7   specifically which studies, the human studies
         8       studies. The company has not done            8   on which you rely, test or look at people who
         9       studies on each of these to allow me         9   have used Johnson & Johnson's products?
        10       to do that.                                 10           MS. PARFITT: Objection. Form.
        11   QUESTIONS BY MS. BRANSCOME:                     11           THE WITNESS: It's my -- my
        12       Q. Okay. The reference that you             12      review of the study indicates that I
        13   made to the human data that you believe shows   13      would say for the vast majority of
        14   a statistically increased risk in populations   14      them you cannot do that.
        15   using the consumer product, have -- which --    15           But you can take what is
        16   have you identified in your report which of     16      reported and look at things such as
        17   those studies are specifically using a          17      market share and those kind of things
        18   product that was manufactured by Johnson &      18      to get an idea of what you believe the
        19   Johnson?                                        19      exposure would have been.
        20       A. I don't lay that out for my              20           But certainly I have not -- I
        21   report, I do not, but certainly it is           21      have not tried to apply some kind of a
        22   something that for some of the studies I        22      numerical value to how many people in
        23   believe you can -- you might be able to get     23      the study may have used Johnson's baby
        24   some of that information from. But certainly    24      powder or not, no, that has not been
        25   I have not laid that out individually in my     25      done. I don't think anybody -- any of

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         1   report, no.                                      1       the bodies that have looked at this
         2       Q. And you would agree that for              2       have done that.
         3   some of those studies there is no information    3   QUESTIONS BY MS. BRANSCOME:
         4   as to the specific type of consumer talc that    4       Q. You have not done a market
         5   the individuals who are being studied used,      5   share analysis, correct?
         6   correct?                                         6       A. No, I've seen this in documents
         7            MS. PARFITT: Objection. Form.           7   only. I have not done my own. There are
         8            THE WITNESS: I would agree              8   company documents that talk about their
         9       that in some of those studies they're        9   market share.
        10       not saying, but that is why you look        10       Q. Okay. Have you made an attempt
        11       at the evidence overall.                    11   to examine the levels of fibrous talc or
        12            And what's important to look at        12   asbestiform talc that are in different
        13       in terms of now -- if you wanted to go      13   consumer products, aside from Johnson's baby
        14       to Bradford Hill, that's why you look       14   powder or SHOWER TO SHOWER® or Shimmer?
        15       at things such as consistency. So           15       A. So for that are you referring
        16       what do the studies show. We see a          16   to things such as -- other types of cosmetics
        17       certain level of increased risk across      17   like foundations or lipsticks or --
        18       studies, regardless of who did the          18       Q. I'll rephrase.
        19       study or what population was being          19            Have you made any attempt to
        20       looked at.                                  20   examine whether other cosmetic talc body
        21            So that's the best way I can           21   powders have a different percentage of
        22       answer that for you. That is -- that        22   fibrous, or what you refer to as asbestiform
        23       is part of the -- of the assessment         23   talc, from the Johnson & Johnson products?
        24       that you look at.                           24            Have you done any analysis to
        25                                                   25   make that comparison one way or the other?


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         1            MS. PARFITT: Objection. Form.         1       that I state for you that it's my
         2            THE WITNESS: I certainly              2       opinion that Cashmere Bouquet has this
         3       haven't done -- I certainly didn't do      3       specific pattern of constituents as
         4       a directed analysis to try to              4       compared to Johnson & Johnson's. No,
         5       determine that, but there is               5       I have not done that.
         6       information, I believe, in -- I think      6   QUESTIONS BY MS. BRANSCOME:
         7       if you look at some of Dr. Longo's         7       Q. Okay. And that would be true
         8       work, that may be there.                   8   for any other brand of cosmetic talc, body
         9            And I believe in Dr. Blount's         9   powders, Jean Nate, Lily of the Valley, not
        10       published paper there may be a            10   just Cashmere Bouquet, correct?
        11       discussion of the type of powder          11            MS. PARFITT: Objection.
        12       product used, where she was looking       12            THE WITNESS: That is correct,
        13       for -- at least for asbestiform --        13       I don't have access to that
        14       asbestos within the talc. It may be       14       information.
        15       tremolite as well, but -- if you want     15   QUESTIONS BY MS. BRANSCOME:
        16       me to look, I can do that. I just         16       Q. Have you done any analysis of
        17       don't recall whether -- I think she       17   the constituent components of talc and how
        18       did talk about sources of the talc,       18   they have changed even within Johnson's --
        19       where it came from, so...                 19   Johnson & Johnson's manufactured products,
        20   QUESTIONS BY MS. BRANSCOME:                   20   how the constituents of the consumer products
        21       Q. Okay. But as you sit here              21   may or may not have changed over time?
        22   today, you can't point me to any analysis     22       A. I've done some of that, yes,
        23   that you did or an analysis that you relied   23   and I laid that out, I think, for you, when I
        24   on that would relate different brands of      24   talk about the differences in the products
        25   cosmetic talc body powders with respect to    25   that are described within the documents, the

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         1   their constituent components?                  1   company documents, from the '70s versus the
         2            MS. PARFITT: Objection.               2   '80s versus later on, as far as the changes
         3       Completely misstates her testimony.        3   that were made to specifications of the
         4       She mentioned Dr. Blount. She              4   product, for example. That's something --
         5       mentioned others.                          5   and I think I've talked about that a bit at
         6            THE WITNESS: So I think what I        6   trial as well.
         7       started with, I said I haven't done a      7        Q. Okay. And is it your view that
         8       directed analysis to try to determine      8   the risk potential for Johnson & Johnson's
         9       specifically how this product versus       9   manufactured products have changed at all
        10       this product versus this product may      10   over time with respect to ovarian cancer?
        11       have looked over time, because I don't    11             MS. PARFITT: Objection.
        12       have access to a full data to do that.    12             THE WITNESS: I have not -- I
        13            But what I do have is data that      13        have not attempted to differentiate a
        14       has -- I do see published data, for       14        risk potential at only one point in
        15       example, Blount and maybe some of the     15        time.
        16       other published studies, that looked      16             What I have done over points of
        17       at this issue, at least of asbestos       17        time is looked at the issue of
        18       presence in talc. And I believe           18        warnings and what should be warned
        19       Dr. Longo also had things that weren't    19        about.
        20       just Johnson's. I believe he had          20             But my analysis related to the
        21       Cashmere Bouquet, for example, samples    21        hazard or the risk assessment of the
        22       in some of the things he looked at.       22        products is considering all of the
        23            So I can point you to those          23        available information, which would be
        24       things that I have reviewed, but I        24        all of that information over time.
        25       haven't -- there's nowhere in here        25


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         1   QUESTIONS BY MS. BRANSCOME:                      1   you with specific percentages, and so I'm
         2       Q. Okay. You talk about, in                  2   asking you, is that something that as a
         3   paragraph 35 primarily -- we'll talk about       3   toxicologist would be important information
         4   the fragrance components in more detail, but     4   to you?
         5   you talk about the idea of chemicals being a     5        A. Depends. Certainly with the
         6   potential irritant.                              6   fragrance -- and I'm talking about the
         7            Are you familiar with that?             7   conversation about this paragraph is focusing
         8       A. Yes, that's correct.                      8   on the fragrance components.
         9       Q. Is it your position that any              9             So, yes, I mention that it
        10   product that contains chemicals that could be   10   would be nice to know, it would be good to
        11   an irritant should be labeled with a health     11   know, if we could, exactly what was in there,
        12   warning?                                        12   because I could quantify the hazard or
        13            MS. PARFITT: Objection.                13   quantify the risk, actually. So instead, I
        14            MR. MEADOWS: Okay.                     14   have -- I identify it as a hazard, but I
        15            THE WITNESS: I don't think             15   can't quantify it without those levels.
        16       that's -- no, I don't think I've            16             But does that change -- make a
        17       formed that specific opinion.               17   difference in the overall conclusions I draw?
        18            But the opinion that I think           18   No, it doesn't affect the overall conclusions
        19       I'm expressing here is that when you        19   that I have drawn, but it adds that other
        20       have a -- the information that I have,      20   piece of the puzzle that deals with the fact
        21       which unfortunately the company hasn't      21   that we have a complex mixture that have a
        22       given us percentages or actual levels,      22   combination of ingredients that target
        23       instead, what I do as a toxicologist,       23   irritation.
        24       I look at what is there. And when I         24             And irritation and the
        25       see over a hundred chemicals there,         25   potential to produce an inflammatory

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         1       that 70 percent of them have been            1   response, in my -- if you've read my report,
         2       linked as an irritant hazard, there is       2   you understand that I think that's a key
         3       the issue of toxicological additivity        3   factor in increasing the risk for ovarian
         4       to consider.                                 4   cancer.
         5             So certainly as a risk                 5       Q. Understanding the percentages
         6       assessor, when I have that many              6   of the constituent components, is that
         7       potential sources of irritation as far       7   limited only to fragrance, or would it also
         8       as chemicals going into a complex            8   be important to understand the percentages
         9       mixture, certainly I think I have            9   for the heavy metals that you contend are in
        10       formed the opinion that I think that        10   Johnson's baby powder?
        11       is something that needs to be               11       A. So if I was trying to define
        12       considered when you're talking about        12   the hazard of each component, I would
        13       providing information to consumers,         13   certainly want one to know that. As a
        14       yes.                                        14   result, what I'm doing instead is looking at
        15   QUESTIONS BY MS. BRANSCOME:                     15   the complex mixture. In other words, this is
        16       Q. As a toxicologist, would it be           16   a mixture of all these things.
        17   important to you to understand the exact        17            I break out those individual
        18   percentages of all of the constituent           18   components, or constituents, to tell you
        19   components of, say, Johnson's baby powder,      19   about the hazard that is brought to play or
        20   for example?                                    20   the toxicity profiles that exists. And
        21       A. Are you talking about just the           21   what's important about that in my overall
        22   fragrance or are you talking about everything   22   evaluation of the end product, which is what
        23   that's in it?                                   23   my risk assessment is based on, the end
        24       Q. Dr. Plunkett, you referenced             24   product, shows that I have multiple
        25   the fact that the company has not provided      25   components with similar types of effects.


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         1   And as a toxicologist, when you do that, that    1   using a word such as an increase -- an
         2   affects the conclusion that you can draw         2   increased risk.
         3   about a body of literature.                      3             Is that a specific number? Am
         4       Q. Okay. You do understand that              4   I telling you that it's increased by two
         5   there is testing data available about the        5   times or four times or six times? No. The
         6   percentages of the constituent components        6   data available did not allow us to do that,
         7   with respect to heavy metals, et cetera, that    7   with the exception of the epidemiological
         8   have been in Johnson's baby powder over time,    8   data. And the epidemiological data can show
         9   correct?                                         9   you that in that piece of evidence there
        10       A. There is some information.               10   appears to be a 30 percent increased risk
        11   Unfortunately, the information is not           11   above background.
        12   complete as to every lot or every sample, as    12        Q. Did you make an attempt to
        13   far as what I have seen. And also, there's      13   quantify the risk with the data that you had
        14   some -- some of the sampling is reported as     14   available to you with respect to the final
        15   more of a limit versus an actual                15   consumer product?
        16   quantification. So it depends upon which --     16        A. I could not, based on the data
        17   which result, study result or document,         17   I had, because I didn't have a
        18   you're looking at.                              18   well-controlled animal study to be able to
        19            There is some there, yes, and          19   pull that out that way.
        20   that's one of the reasons why I identified      20             Instead, what I -- in this type
        21   these as part of my risk assessment, because    21   of weight of the evidence, you look at what
        22   I look for a pattern of these metals that are   22   you might be able to quantify based on the
        23   known to carry a hazard and whether or not      23   human data. And certainly the human data
        24   these are ones I'm seeing detected time and     24   showing the statistically significant
        25   time again.                                     25   consistent findings across studies for that

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         1       Q. But you made no attempt to                1   30 percent increased risk, that is part of my
         2   quantify the risk with respect to any of         2   overall weight of the evidence for me making
         3   those components or use that data in any way,    3   the statement the risk is increased.
         4   correct?                                         4            But you'll notice I don't say
         5            MS. PARFITT: Objection. Form.           5   increased risk of 30 percent, because I don't
         6            THE WITNESS: No, I used                 6   believe that I can state that with certainty
         7       that -- that data as part of -- my           7   in the way I do a risk assessment. But
         8       risk assessment as part of my hazard         8   certainly as any one individual -- any one
         9       assessment, absolutely. It's part of         9   individual piece of evidence or any one body,
        10       the hazard assessment.                      10   like the epi data, others have made -- other
        11            But as far as quantifying them         11   bodies who have looked at the -- talked about
        12       individually, no. I am quantifying          12   the consistency of the increased risk signal
        13       the risk and looking at the risk of         13   in the epi studies as being in the range of
        14       the entire product, not of just one         14   30 percent.
        15       individual component of the product.        15       Q. Okay. But you would agree that
        16   QUESTIONS BY MS. BRANSCOME:                     16   based on the methodology that you applied in
        17       Q. Well, we already discussed               17   this case, you could not say to a reasonable
        18   you're not quantifying the risk with respect    18   degree of scientific certainty that there is
        19   to the entire product, correct?                 19   an increased risk of, for example, 30 percent
        20       A. Well, I'm quantifying it in              20   with respect to use of Johnson's baby powder
        21   terms of an increase above background, which    21   and ovarian cancer, correct?
        22   I'm not giving you a -- I told you I wasn't     22            MR. MEADOWS: Objection.
        23   giving you a cancer potency factor. That is     23            THE WITNESS: I have not done
        24   true. That I am not doing.                      24       that. And I'm not saying that
        25            But I am quantifying it by             25       somebody else couldn't do that. I


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         1       have not -- I have not chosen to do          1       Q. Is it your opinion as you sit
         2       that based on my evaluation of the           2   here today that someone could develop ovarian
         3       data.                                        3   cancer through -- exclusively through the
         4   QUESTIONS BY MS. BRANSCOME:                      4   inhalation of Johnson's baby powder?
         5       Q. And the same would be true if I           5            MS. PARFITT: Objection.
         6   asked that question and substituted any          6            THE WITNESS: I haven't formed
         7   particular number, a 10 percent increased        7       that opinion at this point in time.
         8   risk, a 20 percent increased risk, correct?      8   QUESTIONS BY MS. BRANSCOME:
         9            MR. MEADOWS: Objection.                 9       Q. Have you done any analysis or
        10            THE WITNESS: I haven't given a         10   can you point me to any analysis in your
        11       specific number in my final opinions,       11   report that makes a comparison of the
        12       that is true.                               12   exposure levels that might be seen in an
        13   QUESTIONS BY MS. BRANSCOME:                     13   occupational setting to what would be seen by
        14       Q. Okay.                                    14   a consumer?
        15       A. I've tried to explain to you             15       A. Are you asking me for a piece
        16   what evidence I do think is there, however.     16   of evidence that does that comparison, or is
        17       Q. Now, we've talked about                  17   there evidence that allows you to do that
        18   different types of talc that might have         18   comparison?
        19   different constituent components, but you       19       Q. Have you cited or discussed any
        20   also look at exposure to talc in an             20   of the evidence or done an analysis in any
        21   occupational setting.                           21   way that would compare exposure levels in an
        22            Do you recall that?                    22   occupational setting to what you would
        23       A. Some of the studies that I've            23   anticipate a consumer using Johnson's baby
        24   relied upon, yes, some of them were             24   powder might be exposed to?
        25   occupational.                                   25       A. I don't think I did it as a

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         1       Q. Okay. And you understand that             1   separate analysis, but as part of my analysis
         2   in an occupational setting, you would agree      2   I considered evidence that showed -- provided
         3   that the exposure, particularly via              3   me with such data. So, for example, if you
         4   inhalation, would be much higher than it         4   want, I can point you to a -- I have an
         5   would be through the use of a consumer           5   inhalation paragraph, I think.
         6   product, correct?                                6            Let me look for it real quick.
         7       A. It depends on the occupation,             7   See if I can find it quickly for you. I
         8   but, yes. For example, I would agree a miner     8   don't want to waste your time.
         9   would be expected to have that, but there are    9       Q. Sure.
        10   certain, quote/unquote, occupational studies    10       A. So there's -- I don't see it
        11   where the exposure levels that -- for           11   cited here, but there's at least one document
        12   example, there are -- I believe there's at      12   I reviewed where the company themselves made
        13   least one study that looked at application of   13   a comparison, and I have seen that, of
        14   talc powders in -- maybe in a material,         14   inhalation exposure to talc suspended in air
        15   coating materials in a factory. Those kinds     15   with diapering. Dr. Longo has done a
        16   of studies would be different than a mining     16   measurement of exposure in air with perineal
        17   study.                                          17   application of talc. So I'm aware of those
        18            But, certainly, yes, I                 18   studies.
        19   understand that occupational studies, the       19            And then I certainly am aware
        20   inhalation exposure is the pathway that would   20   of the fact that those numbers are different,
        21   be predominant versus in the consumer body      21   or smaller, than many of the numbers I see
        22   powder use, I'm talking about the predominant   22   reported in some of the occupational studies.
        23   exposure pathway in my opinion is going to be   23   But I can't say that's true for all.
        24   through perineal use, even though inhalation    24            I would certainly, though, say
        25   exposure can occur.                             25   that if you're just talking inhalation, I


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         1   certainly would expect a miner or a miller to    1   QUESTIONS BY MS. BRANSCOME:
         2   have a greater potential for inhalation          2       Q. Okay. Now, you would agree
         3   exposure than routine use of the consumer        3   that -- so let's set aside inhalation.
         4   product, with the exception of the studies --    4            You agree that for talc -- for
         5   the reports of large amounts of exposure in      5   Johnson's baby powder or another one of
         6   children where the inhalation -- where they      6   Johnson & Johnson's consumer talc products to
         7   were inhaling large amounts of powder.           7   reach an individual's ovaries, it must pass
         8            And so that's a different               8   from the perineum, through the vagina and the
         9   story. That's sort of an acute overdose          9   cervical canal, move across the uterus -- and
        10   exposure, I guess, versus the typical daily     10   again, it's the ciliary motion of the
        11   exposure through occupational or consumer       11   fallopian tubes -- cross the peritoneal space
        12   use.                                            12   between the fimbriae and ovaries, escape
        13       Q. And that raises an interesting           13   phagocytosis in the peritoneal space, and
        14   question. You discuss health hazards            14   then attach to the surface of the ovaries,
        15   associated with talc being known, and in some   15   correct?
        16   cases deaths had been reported.                 16            MS. PARFITT: Objection. Form.
        17            You're aware that those relate         17            MR. MEADOWS: Okay.
        18   to asphyxiation deaths, correct?                18            THE WITNESS: If the issue is
        19       A. Or long-term injury to lungs.            19       attaching to the surface, yes.
        20   Maybe not an immediate asphyxiation, but lung   20       There's also some information
        21   damage produced by large amounts -- some of     21       indicates the site of attack may be
        22   the children would go to the hospital and be    22       actually at the fallopian tube exit to
        23   sick for a while and then die. So they          23       the peritoneum. But, yes, that's
        24   didn't asphyxiate immediately, right? But       24       correct, there's been some discussion
        25   some of them did. You're exactly right.         25       in the literature on ovarian cancer

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         1              Both of those things occur, and       1       about whether the tumors are arising
         2   I address that also in my warning section        2       in the tubes versus the ovaries.
         3   about the fact that that warning didn't --       3            But I would agree, I think
         4   was not put on the product for a long period     4       both -- I think both of those
         5   of time even though those types of reports       5       things -- those things -- there is a
         6   were coming in early.                            6       passage that has to happen, regardless
         7        Q. You would agree that that is a           7       of whether the end point is at the
         8   completely different biologic mechanism than     8       fallopian tube or at the ovary.
         9   what you are proposing the biological            9   QUESTIONS BY MS. BRANSCOME:
        10   mechanism is for ovarian cancer to develop      10       Q. Okay. Is it your view that the
        11   with respect to talc use, correct?              11   consensus has been reached that ovarian
        12              MR. MEADOWS: Objection.              12   cancer can be caused by talc landing in the
        13              THE WITNESS: I would agree           13   fallopian tubes?
        14        that it's an acute response versus         14       A. I haven't formed that opinion,
        15        chronic, yes, that I agree with.           15   though I do believe this will be discussed by
        16              It's not entirely different in       16   some of the other experts.
        17        some cases because some of the tissue      17       Q. Okay. Have you personally
        18        reactions you saw were indicative of       18   conducted any tests or experiments to confirm
        19        irritation when some of the lung           19   the theory that talc migrates from
        20        samples were looked at. But                20   application at the perineum to the ovaries?
        21        certainly, yes, that's acute exposure      21       A. If by that you mean something
        22        versus chronic exposure, and I'm           22   where I performed a laboratory test myself,
        23        focusing on ovarian cancer on chronic      23   no, I have not done that.
        24        exposure scenarios.                        24       Q. As a toxicologist, are you
        25                                                   25   capable of doing that?


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         1        A. Yes, I believe if asked I                1            And then on top of that, you
         2   could -- I could attempt to design something     2   have the review articles that talk about
         3   to look at that issue.                           3   migration of particles in the female
         4        Q. Okay.                                    4   reproductive tract and are describing it as
         5        A. But I would argue that I think           5   an event that is known to occur. So it's
         6   it doesn't make a lot of sense to revisit        6   those things weighed together.
         7   based upon what we already know from the         7            But certainly routine could be
         8   scientific literature and the review papers      8   supported by the observations where the
         9   from the gynecological community. I believe      9   majority of the patients in the studies were
        10   it's -- it's understood that it can migrate.    10   showing movement of inert particles.
        11        Q. In your opinion, has an animal          11       Q. Is it your opinion that every
        12   model been successfully developed that would    12   perineal application of cosmetic talc powder
        13   allow the testing of talc migration in humans   13   results in talc being deposited on the
        14   from the perineum to the ovaries?               14   ovaries?
        15        A. I think I tell that you in my           15       A. I have not formed that opinion,
        16   report. I believe that the human data is the    16   no.
        17   relevant data to look at this issue.            17       Q. Have you formed an opinion as
        18               So it would be very difficult       18   to with what frequency -- so let's say
        19   to design a study to do this based on the       19   someone uses a cosmetic talc on a perineal
        20   typical laboratory species that are used in     20   application ten times. Out of those ten
        21   toxicology testing. Even -- even the monkeys    21   times, have you formed an opinion as to how
        22   have issues, and the biggest issues with        22   many of those instances would talc deposit on
        23   monkeys is the ethicality of using a monkey     23   the ovaries?
        24   to settle -- to address a question that I       24            MS. PARFITT: Objection.
        25   believe is settled within the gynecological     25            THE WITNESS: I haven't formed

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         1   and scientific community.                        1        an opinion in that particular way, no.
         2       Q. Now, you state in your report             2        I think what I've -- I've tried to
         3   that talc that's applied through perineal        3        describe to you in my report is that I
         4   use -- I believe the term you use --             4        believe it is known that inert
         5   routinely migrates to the ovaries.               5        particles have the ability to migrate.
         6            Is that your opinion?                   6        And based on that, I form the opinion
         7       A. Are you reading from my report?           7        that it's my opinion to a reasonable
         8            MR. MEADOWS: To the extent              8        degree of scientific certainty, which
         9       that question is still lingering, I          9        would be a more likely than not
        10       object to it.                               10        standard, that particles of talc would
        11   QUESTIONS BY MS. BRANSCOME:                     11        be migrating when women are using them
        12       Q. On paragraph 43 on page 29.              12        perineally. But I haven't told you
        13       A. So I think as I've stated it,            13        that it has to be a specific number,
        14   the studies that I have reviewed demonstrate    14        no.
        15   that inert particles routinely move from the    15   QUESTIONS BY MS. BRANSCOME:
        16   lower female reproductive tract up into         16        Q. Have you done any analysis to
        17   fallopian tubes and towards the ovaries.        17   establish over a lifetime use of cosmetic
        18       Q. What do you mean by routinely?           18   talc where the app -- the perineal
        19       A. It's the percentages of                  19   application, with what frequency during a
        20   movement that are reported in the patients.     20   lifetime the talc may have been deposited on
        21   In other words, if you look at some of the      21   that individual's ovaries?
        22   individual studies -- if you want we can pull   22        A. So I certainly looked for
        23   them out, but, you know, eight of ten           23   information to allow me to assess that, but
        24   patients, nine of ten patients, all the         24   unfortunately those kinds of studies would be
        25   patients showed movement of the particles.      25   unethical to do. Because that would be a


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         1   matter of sampling women during -- using them    1             MS. BRANSCOME: Okay. Can we
         2   and then taking biopsies, and that's             2        just go off the record for a second?
         3   something that would be difficult to do. I       3             VIDEOGRAPHER: We are going off
         4   would say impossible to get approval to do       4        the record at 12:23 p.m.
         5   under human testing guidelines.                  5         (Off the record at 12:23 p.m.)
         6       Q. Okay. So it's your opinion                6             VIDEOGRAPHER: We are back on
         7   that it is possible for talc that is applied     7        the record at 12:24 p.m.
         8   through a perineal application to reach the      8   QUESTIONS BY MS. BRANSCOME:
         9   ovaries, but you cannot say with what            9        Q. As you sit here today, how
        10   frequency that occurs?                          10   would you characterize the biological
        11             MS. PARFITT: Objection. Form.         11   mechanism by which you claim Johnson's baby
        12       Misstates her testimony.                    12   powder, their other cosmetic talc products,
        13             THE WITNESS: That's not --            13   present a risk of ovarian cancer?
        14       what I'm telling you is, I think it --      14        A. So I outline this for you in
        15       that to a reasonable degree of              15   the MDL report. I think I have a section
        16       scientific certainty that it migrates,      16   on -- let's see if I can -- you want me to
        17       and that would be the standard of more      17   tell you where or...
        18       likely than not. I think it's more          18             So paragraph 65, I think I set
        19       likely than not that the talc is            19   out part of this argument or part of this.
        20       reaching the ovaries when people are        20   And then also in paragraph -- I believe in
        21       using it perineally.                        21   67.
        22             I did form the opinion -- and         22        Q. All right. Well, let me take a
        23       I've talked about this at trial and         23   step back.
        24       yesterday. I have formed the opinion        24             Is it your opinion that the
        25       that this is a issue of chronic or --       25   biological mechanism by which talc, cosmetic

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         1        or use of the products. In other            1   talc, can in your view cause ovarian cancer,
         2        words, people aren't just using it          2   is that something that has been definitively
         3        once, but people are using it -- you        3   established?
         4        can use the word "routinely," as a          4        A. What do you mean by
         5        habit, in their daily life perineally.      5   definitively? I mean, I think -- I believe
         6        And that would be consistent with the       6   more likely than not that -- so I believe I
         7        studies that have been done that have       7   have reached a conclusion that I think what
         8        looked at the issue of dose response.       8   the most likely biologically plausible
         9             And I discuss that in my               9   mechanism, but maybe you're ask -- meaning
        10        report, too.                               10   something else.
        11   QUESTIONS BY MS. BRANSCOME:                     11        Q. Okay. Well, let's start with
        12        Q. Okay. But you have not made an          12   specifically you discuss a number of
        13   attempt to quantify, nor have you seen it in    13   different potential mechanisms in your
        14   the literature, the overall dose of talc that   14   report. So if you believe you have reached
        15   someone might be exposed to in terms of         15   an opinion more likely than not about the
        16   contact with the ovaries throughout their       16   specific biological mechanism by which
        17   lifetime, chronic use of cosmetic talc?         17   cosmetic talc and specifically Johnson &
        18             MS. PARFITT: Objection. Form.         18   Johnson's products can cause ovarian cancer,
        19             THE WITNESS: Those -- that's          19   can you describe that for me?
        20        the kinds of studies that have not         20        A. So it's a chronic inflammatory
        21        been done and I believe could not be       21   process, and so -- but like all compounds,
        22        done based upon ethics of human            22   constituents, even drugs that we look at, we
        23        testing. But certainly I -- that --        23   don't know each individual step within the
        24        that data is not available that I'm        24   molecular mechanism.
        25        aware of.                                  25            Instead, what we know is that


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         1   there are certain components to the process      1   discuss those issues.
         2   of cancer that are consistent with the           2             I think it's consistent with --
         3   effects produced by talc, and we know that       3   I don't know if the ACOG statement goes that
         4   talc can produce a chronic inflammatory          4   far on mechanism, but it does talk about
         5   process.                                         5   ovarian cancer. That's a recent statement.
         6            And so that's why I was                 6             And I believe it's consistent
         7   pointing you to the paragraph 65 and I think     7   with some of the -- I believe my opinions are
         8   67.                                              8   consistent with some of the opinions reached
         9       Q. Is it your opinion that                   9   by others in science, but that's the only way
        10   consensus has been reached in the scientific    10   I can answer that for you.
        11   community that cosmetic talc can cause          11        Q. Okay. Because you have not,
        12   ovarian cancer through a chronic inflammatory   12   one way or the other, done an evaluation of
        13   response?                                       13   whether or not chronic inflammatory process
        14            MS. PARFITT: Objection.                14   is a biological mechanism on which the
        15            THE WITNESS: I don't know that         15   scientific community has reached general
        16       that's exactly the opinion I've             16   consensus with respect to the causation of
        17       formed.                                     17   ovarian cancer; is that correct?
        18            Would you like me to -- I could        18             MR. MEADOWS: Objection.
        19       restate what I believe, but I don't         19             THE WITNESS: I can't tell you
        20       think that's exactly how I would state      20        that -- I can't tell you that every
        21       it, no.                                     21        body that's looked at it, but I have
        22   QUESTIONS BY MS. BRANSCOME:                     22        tried to point you to evidence that I
        23       Q. Okay. So then yes or no: Has             23        believe is consistent with that.
        24   consensus been reached in the scientific        24             For example, the IARC would be
        25   community that cosmetic talc can cause          25        a good example of consensus on

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         1   ovarian cancer through a chronic inflammatory    1        biologic mechanism because they have a
         2   process?                                         2        whole part of their assessment of
         3       A. I don't believe I formed the              3        non-asbestiform talc and perineal
         4   opinion either way, that it's yes or no,         4        cancer -- of perineal use and ovarian
         5   because I haven't tried to -- I haven't tried    5        cancer that discusses mechanism. And
         6   to form the opinion about what the -- in         6        that is consistent with what I have
         7   other words, I haven't -- I can't say for        7        said. So there is a consensus
         8   every scientist out there.                       8        opinion.
         9            I certainly can tell you what I         9              But I guess what I'm saying to
        10   believe based on what the consensus of          10        you is I can't tell you that all --
        11   science says about mechanisms underlying        11        all people who have put statements
        12   cancer and the consistency of those             12        have come to that exact opinion. But
        13   mechanisms with talc, and then I have an        13        there aren't that many places out
        14   opinion about what I believe that information   14        there that are addressing that issue
        15   says.                                           15        as far as the consensus on a
        16            I do believe my opinions,              16        mechanism. There's more statements
        17   however, are consistent with some consensus     17        about the relationship between ovarian
        18   statements, such as the issue on the            18        cancer and talc use than there are
        19   mechanism is consistent with consensus          19        drilling down to what the mechanism
        20   opinion reached by IARC, where they discuss     20        must be.
        21   the inflammatory process as an underlying       21   QUESTIONS BY MS. BRANSCOME:
        22   biologically plausible mechanism that can       22        Q. Okay.
        23   lead to ovarian cancer.                         23        A. So that's the issue. It's a
        24            I think it's consistent with           24   little -- it's a little hard to answer that
        25   the Canadian risk assessment where they         25   yes or no because of that.


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         1       Q. Okay. When we talk about the              1       are known to be able to produce,
         2   idea of biologic -- a biologically plausible     2       specifically, ovarian cancer.
         3   mechanism, what is your understanding of the     3   QUESTIONS BY MS. BRANSCOME:
         4   term "plausible" in that expression?             4       Q. Is it your opinion that IARC,
         5       A. When I use the word                       5   for example, has concluded that the
         6   "biologically plausible mechanism" or            6   biological mechanism by which talc may cause
         7   "biologic plausibility," I'm using it            7   ovarian cancer is chronic inflammation?
         8   consistent with what Bradford Hill uses,         8            MS. PARFITT: Objection.
         9   that's it's the idea that the evidence that      9            THE WITNESS: I don't know that
        10   available makes -- the evidence that            10       they have used -- they've described it
        11   available supports a pathway where you can go   11       quite that way, but they do describe
        12   to exposure to response.                        12       what they believe is the biologically
        13              So in other words, there's a --      13       plausible mechanism. Because they do
        14   the biological information is consistent with   14       organize and use within the
        15   how we know cancer can develop. That's the      15       definitions of how they describe some
        16   response we're looking at. And the exposure     16       things that are consistent with what
        17   we're looking at is known to produce those      17       Bradford Hill uses.
        18   kind of biologic events.                        18   QUESTIONS BY MS. BRANSCOME:
        19              So as a result, based upon           19       Q. Okay. And obviously you're
        20   knowing that there's a consistency between      20   familiar with the IARC evaluation of talc
        21   the data that we have on the -- on the          21   with respect to the possibility of causing
        22   exposure and the data that we have on the way   22   ovarian cancer, correct?
        23   cancer can occur, those things -- those         23       A. Yeah. If you mean the recent
        24   things align. So that makes it biologically     24   one, yes, the most recent assessment.
        25   plausible that that could occur.                25       Q. Yes.

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         1       Q. But you would agree that                  1            And that IARC has in fact
         2   biological plausibility suggests that it is a    2   classified cosmetic talc not containing
         3   plausible explanation, but it may not have       3   asbestos as possibly carcinogenic to humans,
         4   been established as the definitive pathway by    4   correct?
         5   which a disease is caused, correct?              5        A. It's a possible human
         6            MS. PARFITT: Objection. Form.           6   carcinogen 2B, that's correct.
         7            THE WITNESS: Well, I would              7        Q. Okay. And if a product is
         8       agree that in the discussion of              8   listed in the 2B category, does that
         9       biologic plausibility in the Bradford        9   necessarily mean the product, in your view,
        10       Hill paper that is true. But if you         10   is carcinogenic?
        11       look at people's discussion of the use      11        A. Not always, because that comes
        12       of -- I want to say "biological             12   down to an assessment of -- then you're
        13       mechanism" rather than the word             13   putting together a -- a risk assessment that
        14       "biologic plausibility," because            14   looks at -- looks at -- across the
        15       really as a toxicologist I'm trying to      15   information that you have available. And
        16       understand whether there's a biologic       16   that may be that -- that the -- the possible
        17       mechanism that makes sense. Those are       17   is all you can say, or it may be that you
        18       words I like to use. Does it make           18   believe that the information -- there's
        19       sense that this exposure could lead to      19   enough information there to take it further.
        20       this response.                              20            Has a possibility -- that's
        21            And that involved looking at           21   what I said, they do a hazard assessment.
        22       the mechanistic data or the data on         22   They rank things on hazard based on -- on
        23       the way toxic responses are produced        23   unlikely -- not enough evidence, less -- the
        24       by talc, and whether or not they align      24   possibility, the probability or it's known.
        25       with the types of toxic insults that        25        Q. In your opinion, is your


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         1   characterization of the risk of Johnson's        1   opinion.
         2   baby powder or talcum powder products with       2        Q. Is there a threshold of the use
         3   respect to ovarian cancer, are you in the MDL    3   of Johnson & Johnson's talcum powder products
         4   characterizing that risk as a higher level of    4   below which there is no increased risk, in
         5   risk than what IARC characterized it, or do      5   your opinion, of ovarian cancer?
         6   you agree with the 2B characterization of        6        A. We have not identified that
         7   possibly carcinogenic?                           7   threshold. That's what's missing within
         8            MS. PARFITT: Objection. Form.           8   the -- the literature that exists today. So
         9            THE WITNESS: So I'm not IARC,           9   I can't tell you whether or not with only a
        10       so I don't try to second-guess there.       10   thousand applications over a lifetime that
        11       They have reached a conclusion, and I       11   is -- is not enough for every individual or
        12       use that as part of my weight of the        12   not, but certainly I do believe that the --
        13       evidence. So I haven't formed the           13   that the exposure has to be habit, routine,
        14       opinion they're right or wrong.             14   chronic, something that is done maybe not on
        15            But I have done a different            15   a daily basis but on a routine basis in a
        16       assessment. My assessment, first off,       16   woman's life.
        17       includes more information than IARC         17             So that is consistent, I think,
        18       had, so as a result, I have formed the      18   with the literature.
        19       conclusion that I believe that it's         19             MS. BRANSCOME: Okay. We can
        20       more likely than not that exposure          20        go off the record.
        21       to -- perineal exposure to talc body        21             VIDEOGRAPHER: We are going off
        22       powders increases the risk of ovarian       22        the record at 12:36 p.m.
        23       cancer in women who use that product.       23        (Off the record at 12:36 p.m.)
        24            And I will put the caveat this         24             VIDEOGRAPHER: We are back on
        25       has to be chronic use or repeated use,      25        the record at 1:35 p.m.


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         1       because I've gone -- I've said that          1   QUESTIONS BY MS. BRANSCOME:
         2       many times.                                  2       Q. Good afternoon again,
         3            So that -- that is my opinion.          3   Dr. Plunkett.
         4       So that's a different statement and a        4       A. Good afternoon.
         5       different assessment than what IARC          5       Q. I want to talk a little bit
         6       does.                                        6   about the Health Canada assessment.
         7            But -- so I don't disagree with         7            We talked about this before,
         8       their possible -- I weigh that, but I        8   but this is something that you reviewed after
         9       believe the evidence for the risk            9   you completed your report which has been
        10       assessment shows me that it's more          10   marked as Exhibit 4, correct?
        11       likely than not that this -- this           11       A. Yes, and I wanted to tell you,
        12       exposure will increase the risk above       12   I did not bring all those documents printed.
        13       a background risk for women who are         13   I apologize. So there is a separate Health
        14       using this product.                         14   Canada draft risk assessment that I didn't
        15   QUESTIONS BY MS. BRANSCOME:                     15   print.
        16       Q. And how do you define chronic            16       Q. Okay. So when you're referring
        17   or repeated use?                                17   to the Health Canada analysis, what document
        18       A. Well, that is variable within            18   are you specifically referring to?
        19   the literature. For me, chronic is              19       A. So I'm referring to the -- the
        20   exposure -- if as a toxicologist, I would       20   combined documents, but there are times when
        21   typically say chronic use is years of use.      21   you've asked me questions that I've been
        22   It doesn't have to be daily, but it would be    22   referring -- and I tried to say, I believe,
        23   years. That's the most common description       23   Taher.
        24   you see in toxicology, so I would say that's    24            But, yes, some of the questions
        25   fair. That's a fair assessment of my            25   you asked me when I said Health Canada, I was


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         1   talking about the combined documents, which      1   there is a association between those two
         2   would include their -- I guess it's called a     2   things, the exposure and the response, which
         3   draft risk assessment document, yeah, which      3   is more than a possible association, if you
         4   refers to this document but is a separate --     4   want to use those words.
         5   is their own separate statement.                 5            But my assessment that I've
         6        Q. As you sit here today, what is           6   done is not exactly the same, for example, as
         7   your understanding of the current position       7   IARC does, which is more of just a hazard
         8   that has been articulated in the collection      8   assessment.
         9   of documents that you refer to as Health         9       Q. Right.
        10   Canada with respect to any potential            10            So I'm focusing my questions
        11   relationship between cosmetic talc and          11   now on your risk assessment as compared to
        12   ovarian cancer?                                 12   the documents that you've supplied us with
        13        A. So that's why I did print out           13   with respect to Health Canada. And if I
        14   the small one, because I think it summarized    14   understand it correctly, are you stating that
        15   it. So here, if you look at this Exhibit 6,     15   your opinion with respect to the relationship
        16   it makes specific conclusions or draws --       16   between cosmetic talc and ovarian cancer, you
        17   makes statements. And essentially it talks      17   believe that it is an association that is
        18   about talc being a possible risk of ovarian     18   stronger than a possible risk; is that
        19   cancer, but then it gives women specific        19   correct?
        20   advice about what to do in order to minimize    20       A. Well, I don't say it's a
        21   exposure to the products, and some of that      21   possible risk; I say there is an increased
        22   was relevant as well.                           22   risk. So I think it's a different statement,
        23             Just one reason I printed it          23   yes, absolutely.
        24   out, it has to do with either choosing an       24            Of course, I'm not Health
        25   alternative product or avoiding genital         25   Canada, so, you know, they have a framework

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         1   exposure to talc.                                1   upon which they make decisions, and I'm doing
         2             And let me see the exact words         2   an analysis based on what I have done. And
         3   that they use, but --                            3   so it's not exactly the same, although some
         4        Q. Before you do that, do you               4   of the same documents and information is
         5   agree with the characterization that cosmetic    5   weighed within -- and then that's when you
         6   talc presents a possible risk of ovarian         6   have the issue of what Health Canada does
         7   cancer?                                          7   versus what they rely upon.
         8        A. No, I don't think that's my              8            But this Taher risk assessment
         9   opinion. I think my opinion is stronger than     9   is just one piece of information that Health
        10   that.                                           10   Canada has weighed in their assessment if you
        11             But are you talking about my          11   read their -- their draft risk assessment.
        12   causation analysis opinion or just my risk      12        Q. So the question I have about
        13   assessment opinion?                             13   the Taher risk assessment, earlier you were
        14        Q. I'm asking about any opinion            14   referring to the fact that you have only seen
        15   you intend to offer in the MDL.                 15   a quantitative assessment of the weight of
        16        A. Okay. So I will not be giving           16   particular components of scientific evidence
        17   the causation analysis opinion, so that -- I    17   in evaluating epidemiological studies; is
        18   will take that off the table.                   18   that correct?
        19             So I think my opinion is a            19        A. So that's what I typically see,
        20   little stronger because I say that the          20   yes. And I don't know that -- I've never
        21   exposure to the perineal -- the talc by         21   seen it. But the typical approach would be
        22   perineal application in women increases the     22   to use it there as opposed to using it in the
        23   risk. So I'm not saying it's a possible         23   context of a human health risk assessment
        24   risk. I'm actually -- I believe that it         24   based on animal in vitro data.
        25   increases the risk. And I do believe that       25        Q. All right. Are you familiar


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         1   with something called the Klimisch scoring       1             So, yes, if they stated they've
         2   system?                                          2   done -- we'd have to pull the supplementary
         3       A. I don't know if I am now.                 3   materials out, but I recall them doing
         4   You'll need to show me what it is you're         4   scoring based on epi studies but not on
         5   referring to. The name doesn't ring a bell,      5   the -- all of the animal studies that they
         6   no.                                              6   talk about. But we can pull it out and look.
         7       Q. Okay. So it's not something               7   I could be wrong.
         8   that you've used in the past?                    8        Q. Okay. Did you review the
         9       A. No, not that I recall using.              9   supplementary material 7, 8 and 9?
        10       Q. All right.                               10        A. Yes, I did, and we'd have to
        11       A. Unless it has another name, and          11   pull them out because I don't recall the
        12   that's why I'm asking you.                      12   details.
        13       Q. All right. So if you have                13        Q. All right. We may take a look
        14   actually -- it's the document in front of you   14   at those in a minute.
        15   that we've already marked as Deposition         15             It talks about them classifying
        16   Exhibit 5, I believe.                           16   the animal and in vitro studies into four
        17       A. Yes.                                     17   categories of reliability.
        18       Q. And that is the Taher study              18             Do you see that?
        19   that we were discussing and is cited by the     19        A. Yes.
        20   Health Canada risk assessment.                  20        Q. So did you make any attempt,
        21            If you turn to page 5 -- well,         21   when you were reviewing the various studies
        22   actually beginning on page 4, do you see        22   in reaching your opinion about the potential
        23   there is a section entitled "Literature         23   risk of talc in causing ovarian cancer, did
        24   Search and Identification of Relevant           24   you make any attempt to separate out the
        25   Nonhuman Studies"?                              25   different pieces of evidence into categories

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         1             Do you see that?                       1   of reliability like the authors of this paper
         2       A. Yes.                                      2   have done?
         3       Q. And this is related to an                 3       A. I didn't do it exactly the way
         4   analysis that these authors performed on         4   they did it, but I certainly do do that as
         5   potentially relevant animal and in vitro         5   part of my screening.
         6   studies, correct?                                6            I told you one of the
         7       A. Yes, that is true.                        7   characteristics or one of the assessments I
         8       Q. All right. And it states here             8   make is whether I believe the data is
         9   that "all retrieved studies were examined for    9   reliable data that I can -- that I can use in
        10   relevance, reliability and overall quality      10   a weight of the evidence. So I make a -- and
        11   using the Klimisch scoring system."             11   when I talk about reliability, I'm talking
        12             Do you see that?                      12   then about things such as I mentioned, peer
        13       A. Yes, I do see that. So I have            13   review, whether or not there is statistical
        14   seen that before. I just didn't -- I didn't     14   analysis, whether or not the study is
        15   recall it.                                      15   designed in a way that's consistent with
        16       Q. Okay. And so would you agree             16   general principles of toxicology, control
        17   that it is possible and in fact has been done   17   groups or not control groups.
        18   in a study that you rely on to apply a          18            Those kinds of things I do -- I
        19   quantitative scoring system to animal and in    19   do consider when I am assessing the use of a
        20   vitro studies, particularly in the context of   20   study or not.
        21   looking at the relationship between talc and    21       Q. Is it your testimony here today
        22   ovarian cancer?                                 22   that contained within your report that's
        23       A. Well, I didn't say it was                23   marked as Exhibit 4, I could find
        24   impossible. I said I don't believe it's         24   categorization of reliability of each of the
        25   routine based on my experience.                 25   pieces of scientific literature that you have


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         1   included in your weight of the evidence          1   reliance list?
         2   analysis? Is that your testimony today?          2        A. I believe it was, yes.
         3       A. No, that's not what I'm telling           3        Q. Okay. And so for this one I
         4   you, no.                                         4   just want to direct your attention to the
         5       Q. Okay. So you would agree that             5   conclusion section -- well, let me ask you
         6   you did not -- first of all, did you develop     6   first: How does this document relate to the
         7   categories of reliability in which you           7   collection of documents with respect to
         8   separated the particular scientific studies      8   Health Canada that you identified as relevant
         9   into as part of your weight of the evidence      9   to your opinion?
        10   analysis?                                       10        A. It was one of the materials
        11       A. I do look at -- I do categorize          11   that they rely upon or they cite. That's the
        12   studies based upon my assessment of their       12   reason I pulled it. It was -- I pulled
        13   reliability and their ability to be used to     13   documents that they provided on the website
        14   answer the question I'm asking, but I -- I      14   that were cited.
        15   already told you, I didn't do it the way it's   15        Q. Okay. And if you could turn to
        16   set out here. I didn't have these specific      16   page 11 of that document, there's a
        17   five categories, no. That's not what I did.     17   conclusion section. The first sentence of
        18       Q. Okay. Other than the CIR 2013            18   the third paragraph reads, "The given --
        19   publication, which you have said that you do    19   given the context-specific nature of each
        20   not find reliable and you assign little         20   risk assessment and the diversity of tools
        21   weight to it, can you point me to another       21   and criteria applicable, transparent
        22   place in Exhibit 4 where you assign a           22   documentation of the specific application of
        23   specific category of weight that you have       23   the WOE approach is especially important."
        24   given to a particular study that you include    24            Did I read that correctly?
        25   in your weight of the evidence analysis?        25        A. Yes, you did.

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         1       A. If what you're asking me is do            1       Q. And is your understanding of
         2   I make a specific statement next to each         2   WOE that it is weight of evidence?
         3   study that I discuss about little weight or      3       A. Yes, that's correct.
         4   great weight, no, I don't do that, if that's     4       Q. Do you agree with this
         5   what you're asking me.                           5   statement?
         6       Q. Okay. As part of the                      6       A. In a regulatory context, I do
         7   collection of documents that relate to Health    7   believe that that is true, because within the
         8   Canada that was provided to us as part of        8   regulatory context when they do the risk
         9   your new reliance list, did you review a         9   assessment, there's a need to understand why
        10   document entitled weight of the evidence --     10   decisions are made. So, absolutely, in a
        11   or "Weight of evidence: General principles      11   regulatory context, I would agree that this
        12   and current applications of Health Canada"?     12   kind of transparency is even being adopted by
        13       A. Yes, I've seen that.                     13   EPA.
        14            (Plunkett Exhibit 8 marked for         14       Q. And is it your opinion then
        15       identification.)                            15   that a different level of transparency is
        16   QUESTIONS BY MS. BRANSCOME:                     16   needed for expert testimony in court?
        17       Q. All right. We will mark this             17       A. No, that's not what I'm saying.
        18   as Plunkett Deposition Exhibit Number 8.        18   I'm saying that's a different process. And
        19            All right. The document that I         19   that's what part of this process is. It's
        20   just handed you that's marked as Plunkett       20   understanding the ability to provide a dialog
        21   Deposition Exhibit Number 8, are you familiar   21   about what was done.
        22   with that document, Dr. Plunkett?               22            So as a result, this is
        23       A. Yep, I've seen this before.              23   something that is common to the work that
        24       Q. Is this listed among the new             24   I've done in the past. Even in a
        25   materials that have been added to your          25   nonlitigation context with my regulatory


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         1   clients, doing a risk assessment doesn't         1   study. In other words, as I discussed many
         2   necessarily involve the same level of detail     2   times in deposition, when you're talking
         3   that a regulatory -- a regulator would apply     3   about doing a human health risk assessment,
         4   to the transparency of the assessment. Not       4   there's certain types of data that are most
         5   to say that it couldn't be done, but it's        5   relevant. I mean, when they use the word
         6   just -- I would say it's not necessarily         6   "reliable" -- I don't know that many of these
         7   typical.                                         7   studies have the same level of reliability as
         8       Q. So this specifically refers to            8   far as peer review, but they're -- for
         9   transparent documentation.                       9   example, on the issue of migration, it's my
        10             Do you see that?                      10   opinion that the data from the human studies
        11       A. Yes.                                     11   is a more reliable or relevant source of
        12       Q. Would you agree that the report          12   information. And I've laid out why, because
        13   that you have produced in the MDL does not      13   of differences in the anatomy, things like
        14   have documentation of the specific              14   that, with the data.
        15   application of the weight of evidence           15        Q. Are you familiar with the term
        16   approach?                                       16   "binning exercise"?
        17             MS. PARFITT: Objection.               17        A. Yes, I am. And that is
        18       Excuse me, objection. Form.                 18   certainly something that I have used in other
        19             THE WITNESS: I disagree to an         19   aspects of work that I have done.
        20       extent because I did attempt to             20        Q. Did you do a binning exercise
        21       provide in my report a description of       21   in rendering your opinions and what you've
        22       the methods that I used and the             22   provided to us in the context of your
        23       resources that I've relied upon for a       23   opinions in the MDL?
        24       discussion of how those methods are         24        A. Yes, that's the exercise I
        25       used.                                       25   start with. I'm binning them into human,

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         1            And then in addition to that,           1   animal, mechanistic, in vitro data. That's
         2       I've attempted to lay out for you in         2   the first bins.
         3       my report a discussion of the pieces         3             In fact, in the copper work we
         4       of evidence that I've relied upon,           4   did, that's what we did. We separated the
         5       including some -- for some of those --       5   data into in vitro/only mechanistic
         6       that's one of the reasons I got so           6   information, animal studies, did we have
         7       detailed in the section on migration         7   human studies.
         8       and providing you an analysis of each        8             And we also looked at
         9       of the papers that I relied upon and         9   studies -- we had a separate bin of exposures
        10       what I thought was important within         10   like I do. I have studies that just address
        11       them that led to my -- the formation        11   the issue of exposure potentially.
        12       of my opinions.                             12             So, yes, it's -- it's
        13            So I disagree to some extent.          13   consistent with doing that. It's --
        14   QUESTIONS BY MS. BRANSCOME:                     14   essentially binning is just separating the
        15       Q. Okay. Turning back to what               15   information into groups based on what
        16   Taher did in classifying different studies      16   questions those -- those data can answer.
        17   into different categories of reliability.       17       Q. Okay. Have you ever -- do you
        18   Have you done that type of analysis in the      18   ever separate them into bins based on the
        19   past where you have separated out different     19   level of weight that you would give a
        20   studies into different categories of weight     20   particular study?
        21   or reliability as part of an overall            21       A. I do that when I'm analyzing
        22   analysis?                                       22   each of the studies within that group or that
        23       A. Well, I do that every time I do          23   bin. That's what I do. I give them -- in my
        24   a weight of the evidence when I separate into   24   weight -- in my analysis, I weigh those
        25   categories first based upon the type of         25   studies based upon my judgment on the


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         1   relevance, the reliability, the power of the     1   inflammation, cause ovarian cancer?
         2   study, the statistical analysis that's done,     2        A. Because it doesn't change the
         3   the inclusion in animal studies, in              3   phenotype of the cell. It has to -- the --
         4   particular, of controls. Those are all parts     4   and I discuss that. You have to -- you have
         5   of that analysis that I do. So, yes, I do do     5   to set up a chronic inflammatory process that
         6   that.                                            6   leads to changes within the cellular
         7            And then in -- there have been          7   phenotype to go from a cell that is -- that
         8   exercises that I've done in the past with        8   is -- is dividing normally to a cell that
         9   other individuals where we may have taken a      9   isn't.
        10   yellow sticky note and put down on top of it    10             So it's -- it's the same issue
        11   animal data with exposure information, animal   11   that you address even in a study in animals.
        12   data without exposure information. That's       12   Why do not all animals exposed to -- exposed
        13   the process that I'm doing when I am looking    13   to a chemical develop tumors. It's the idea
        14   across the data. I'm separating those pieces    14   that something has to be initiated beyond the
        15   of data into groups and what types of           15   exposure or maybe beyond inflammation to lead
        16   questions they can answer.                      16   to the series of events.
        17            So that is consistent with what        17             And so, yes, it's recognized
        18   I do when I do a weight of analysis approach    18   that you can get inflammation, and
        19   in the work that I do in both nonlitigation     19   inflammation can go down the road in becoming
        20   and litigation context.                         20   a carcinogenic process, or inflammation can
        21       Q. Okay. But we have no specific            21   no longer -- can stay where it is. It
        22   documentation of the different ratings that     22   doesn't progress beyond just a chronic
        23   you gave the various pieces of evidence that    23   inflammatory process.
        24   you included in your weight of the evidence     24        Q. And so if you had a study that
        25   analysis, aside from occasional references to   25   demonstrated that a particular agent causes


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         1   giving something less or more weight,            1   inflammation, you would need more information
         2   correct?                                         2   in order to make the conclusion that that
         3        A. Well, I certainly -- I told you          3   agent can in fact cause cancer, correct?
         4   I have not given numerical values that you're    4            MR. MEADOWS: Objection.
         5   asking me, but I've attempted to do that when    5            THE WITNESS: You would look
         6   I have described them in groups, when I talk     6       for more informative information,
         7   about human versus animal versus in vitro.       7       exactly, which is why, when I've
         8   Because I've already told you, I believe,        8       talked about the individual
         9   it's my opinion that certain types of            9       constituents in the context of
        10   information are more informative than others.   10       consistency on mechanism for cancer,
        11   And so the more informative it is, the more     11       I've pointed to documents where that
        12   weight you're giving it in -- obviously in      12       information has been discussed.
        13   your analysis.                                  13            So like when I talk about
        14            But it is a different exercise         14       asbestos or cobalt or I point to
        15   than what is described here. And here I'm       15       the -- for example, the IARC
        16   pointing to Exhibit 8. And it's a different     16       assessment where they go through
        17   exercise, obviously, than what a regulatory     17       that -- that discussion of the fact
        18   body is required to do where they are trying    18       that there's not just data showing
        19   to come up with ways to increase the            19       that a biologically plausible
        20   transparency when no one can go and actually    20       mechanism may be inflammation, but
        21   talk to each of the regulators individually     21       there's also data to show that that
        22   to understand what their thinking was.          22       can lead to tumor development as well.
        23        Q. Okay. Returning to biological           23   QUESTIONS BY MS. BRANSCOME:
        24   mechanism for a minute, why doesn't             24       Q. Okay. How does talc change the
        25   inflammation generally, including chronic       25   phenotype of the ovarian cell?


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         1       A. So this is one of the details             1   in vitro or an animal experiment -- by which
         2   we don't know, other than generally it's         2   you would expose either cells or animal to
         3   changing the phenotype to go from a normal       3   talc with different constituent products to
         4   cell to a tumor cell. That is being              4   identify or separate out the individual
         5   observed. When you find the presence of the      5   effects of the components? Is that a study
         6   tumor, that is what you're observing.            6   that you could design as a toxicologist?
         7       Q. Does pure talc with no other              7        A. I think that would be difficult
         8   constituent components, can it change the        8   to do, but I'm not saying impossible to do.
         9   phenotype of an ovarian cell?                    9   And here's the -- there are some very
        10             MR. MEADOWS: Objection.               10   specific considerations you'd have to put
        11             THE WITNESS: So that's a              11   into that design.
        12       difficult question to answer with           12              I would argue that some of that
        13       certainty because of the fact that I        13   is already available, where we have studies
        14       don't believe that we have assurance        14   that have looked at the dose-response effects
        15       that any of the studies are done with       15   for toxicity with cobalt, with chromium, with
        16       essentially pure talc.                      16   asbestos.
        17             However, in the studies that          17              When you get to asbestos and
        18       claim to have been done with pure           18   talc, it's more problematic because then the
        19       talc -- for example, the NTP study          19   question is what is -- what is it? What are
        20       claims to have been done with pure          20   the specific characteristics in all the
        21       talc. So if that is pure talc, truly        21   different studies of exactly what the
        22       is, then that study is an example of        22   asbestos was versus exactly what the talc
        23       evidence for the chronic inflammatory       23   was.
        24       process leading to preneoplastic            24              But I think you could attempt
        25       lesions that are setting down the road      25   to do that, and then the question would be,

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         1       mechanism towards cancer.                    1   being able to use that data not so much to --
         2            So there are data out there.            2   not so much to identify a dose response for a
         3       The problem you have, I believe, in          3   certain insult, but to look at the fact --
         4       the literature is whether or not,            4   look at potency differences across the
         5       based on the discussion that is              5   compounds. And then there's the issue of
         6       becoming apparent now with sensitivity       6   then looking at additivity when you know you
         7       and ability to take the natural              7   have a complex mixture.
         8       product and actually determine exactly       8             So that could be done, but,
         9       what's in it, that I don't think there       9   again, it would be difficult to do based on
        10       is the ability to assure that any --        10   what we know about talc, being able to really
        11       any of these studies with the samples       11   know that -- you would have to really be very
        12       of talc they're using is absolutely,        12   careful that what it is that you're looking
        13       100 percent, only platy talc. I think       13   at is -- is not containing any of those
        14       there's -- there's some concern about       14   things that we unfortunately know co-occur
        15       that. But certainly you will take --        15   with constituents within the natural product.
        16       you have to take what is discussed          16             But no one has done those
        17       within the study as evidence from what      17   studies. I point that out. I haven't seen
        18       they're claiming.                           18   that study that you're asking for. I have
        19            So many of the studies say we          19   not seen somebody do that.
        20       used asbestos-free talc or platy --         20        Q. And a study like that would be
        21       pure platy talc and we got a toxic          21   relevant in evaluating the potency of the
        22       response.                                   22   individual constituents and what might
        23   QUESTIONS BY MS. BRANSCOME:                     23   actually be the driving factor for phenotypic
        24       Q. Would it be possible to design           24   change, correct?
        25   an experiment -- and now I'm talking about an   25        A. Not necessarily. I would argue


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         1   that we already have an answer to that by        1   been linked to an inflammatory response.
         2   looking at the data that's been collected on     2   Oxidative stress is often a triggering
         3   the complex mixture itself. So the issue         3   mechanism.
         4   would be why -- the question is what do you      4        Q. Does the body have protective
         5   gain by being able to say that we're only        5   mechanisms that limit tissue damage from
         6   pointing to this constituent or that             6   oxidative stress?
         7   constituent. That isn't what is occurring.       7        A. Yes, which is why not everybody
         8            What people are exposed to is           8   that's exposed to any particular chemical is
         9   the complex mixture, not just each one of        9   going to get cancer. Some people will
        10   those individual components. To me this is      10   respond better. Some cells will respond
        11   not a case of asbestos-only exposure. This      11   better. Some individuals in a population at
        12   is a case of exposure to consumer products      12   one time in their life may respond better.
        13   that are talc that may have within them at      13        Q. You would agree that in vitro
        14   any given time -- and data indicates that       14   studies do not account for the body's natural
        15   there are substantial chance that asbestos      15   defenses outside of what exists at the
        16   may be in -- is in certain of these products.   16   cellular level, correct?
        17            But my opinions are not                17        A. Depends on the in vitro study
        18   dependent on there being asbestos there at a    18   that's being done and whether or not there is
        19   particular level or copper there -- or, I'm     19   components added.
        20   sorry, cobalt there at a particular level       20            So I've seen studies done where
        21   because my opinions are based on the            21   they take cells and then add extra levels of
        22   observations we have on the complex product     22   glutathione to try to protect the cells from
        23   as it exists.                                   23   certain stressors that could lead to damage,
        24        Q. And you recognize that                  24   but I agree with you that an isolated cell on
        25   different types of talc and different talc      25   its own is a different microenvironment than

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         1   products have different constituent              1   an intact tissue, which is a different
         2   components in different amounts, correct?        2   environment than an intact animal, which is
         3       A. Some can. I agree with that.              3   even different than an intact human being.
         4   That is true.                                    4   Yes, they're all -- you look at those levels
         5            So if you're being broad, as in         5   of evidence or those types of evidence
         6   pharmaceutical-grade versus industrial-grade     6   differently, depending upon the end points
         7   or chemical-grade, yeah, because they'll have    7   you're collecting.
         8   a purity level assigned.                         8        Q. And so you would give lower
         9            But as far as what the -- what          9   weight to an in vitro study as compared to an
        10   the components are, it isn't always defined     10   in vivo study, for example?
        11   even specifically within that.                  11        A. Depends on the question you're
        12       Q. Okay. And does the presence of           12   asking. I would give a lot of weight if the
        13   oxidative stress in a tissue indicate that      13   question is what do I know -- if I want to
        14   cancer will develop in that tissue?             14   try to understand the biologically plausible
        15       A. Will definitively develop?               15   mechanism, some of those in vitro studies are
        16   Not -- I don't think you could say              16   some of the most important, because it's the
        17   definitively develop, but it's certainly in     17   only ones that allow us to answer a question.
        18   the biologically plausible mechanism that's     18            If the question is higher level
        19   been understood to lead to chronic              19   about what is the evidence to show that
        20   inflammation and also has been linked to        20   there's an increased risk overall for cancer
        21   cancer.                                         21   or a hazard for cancer, then certainly you
        22            So that's the issue of not             22   need to have more than an in vitro study.
        23   necessarily saying it has to be there, but it   23            So as -- so on -- if you want
        24   certainly is something that is observed         24   to layer it up, obviously, if all you had was
        25   routinely in cases where carcinogenesis has     25   in vitro data, you'd have much less


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         1   confidence in the conclusions you can draw       1   weight, but it could if you only had one
         2   unless you had some in vivo data. In vivo        2   crappy human study, one really badly designed
         3   data is going to allow you to interpret the      3   human study, and I had a GLP quality cancer
         4   in vitro data.                                   4   bioassay then, absolutely. I mean, IARC does
         5            So certainly there would be             5   this. They look at that animal data and say,
         6   more weight given in that assessment to the      6   "This one tells us -- answers the questions
         7   fact that you had in vivo data.                  7   we want to answer, and this very poorly
         8       Q. And so when you made the                  8   designed case series isn't going to allow us
         9   statement that, for instance, you always give    9   to do that."
        10   more weight to human data, is that true, or     10            So you could, but I would say
        11   does that also depend?                          11   it's more the other issue, that you look at
        12       A. Well, it depends on whether you          12   animal and human more on an equal basis if
        13   have human data. So if I have human data and    13   the relevance and the extrapolation can be
        14   I have a doubt, any doubts at all, about        14   done reliably.
        15   whether or not the exposure-response            15            And that's the question you
        16   relationship would be affected by the way the   16   have to ask, can I extrapolate from animals
        17   animal studies are designed, then, yes, I       17   to humans in a reliable manner.
        18   would give more weight to the human studies.    18        Q. Okay. Would you agree that the
        19            In a case, however, such as            19   response to cosmetic talc can vary depending
        20   inhalation exposure assessments where           20   on tissue type in the body?
        21   there -- it's much better, actually, to do an   21        A. Yes, I would say that that is
        22   animal study where we can do a dose response    22   true, whether or not there's certain
        23   across different sizes of particles and         23   protective barriers in place, for example,
        24   actually observe lesions as they develop over   24   yes.
        25   time, which is why I love -- I love the NTP     25        Q. And so in order to draw

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         1   93 study of interim sacrifices, looking at       1   conclusions based on a study of one cell
         2   that issue. That data is very reliable in        2   type's reaction to cosmetic talc to another,
         3   order to understand the risk of lung damage      3   you would need to understand the differences
         4   as compared to a human study where we don't      4   in similarities between those two cell types,
         5   have those serial time points, doses that are    5   correct?
         6   defined tightly.                                 6            MS. PARFITT: Objection.
         7             So -- and the relevance between        7            THE WITNESS: It's a different
         8   those kinds of initial lung injury in certain    8       question. So you were asking me
         9   animals versus humans match fairly well.         9       about -- I didn't think you were just
        10             That's my problem, though, in         10       asking about cells. I thought you
        11   the case with the perineal exposure. I'm        11       were asking me about like routes of
        12   saying to you, because of the route of          12       exposure, dermal versus inhalation.
        13   contact -- we need to be able to get it there   13       Those things differ.
        14   to the tissue -- the human data is extremely    14            Cell types may or may not.
        15   important.                                      15       That may or may not be true. Because
        16       Q. So is it fair to say that in             16       if two cells -- two different cell
        17   some circumstances animal data gets more        17       types in the body share similar
        18   weight than human data and in other             18       characteristics as far as the -- for
        19   circumstances human data gets more weight       19       example, if they're both epithelial
        20   than animal data? It is circumstance            20       cells or mesothelial cells, those type
        21   dependent?                                      21       of cells you would expect to respond
        22       A. I would put it a different way.          22       the same way.
        23   I would say in some cases animal data is        23            But I would agree that, for
        24   weighted in a similar manner to human data.     24       example, a neuronal cell versus a GI
        25   I don't necessarily say it would get more       25       cell versus a liver cell, there could


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         1       be differences in how they would             1       Q. Okay. And in your -- in your
         2       respond, yes, and so you would -- you        2   report, as part of your risk assessment that
         3       would look at those things                   3   you did in the MDL -- this is paragraph 12 on
         4       individually.                                4   page 8.
         5   QUESTIONS BY MS. BRANSCOME:                      5       A. Yes, I'm there.
         6       Q. And so it's important to                  6       Q. Okay. You state about
         7   understand the differences and the               7   two-thirds of the way down the paragraph that
         8   similarities between the different cell types    8   "weight of the evidence methods were critical
         9   before drawing conclusions using studies from    9   to defining the literature that identified
        10   different cell types?                           10   the hazards of talc exposure as well as
        11            MS. PARFITT: Objection.                11   defining the dose-response relationship
        12            MR. MEADOWS: Objection.                12   between talc exposure and the risk of adverse
        13            THE WITNESS: I certainly think         13   health effects."
        14       you should consider the cell types          14            Did I read that correctly?
        15       that are being used and whether or not      15       A. You did. That's correct.
        16       those cell types are ones that are          16       Q. All right. Is it your view
        17       relevant to your risk assessment            17   that in the case you have reached an opinion
        18       question you're asking, yes.                18   that defines the dose-response relationship
        19   QUESTIONS BY MS. BRANSCOME:                     19   between talc exposure and the risk of ovarian
        20       Q. Okay. You would agree as a               20   cancer?
        21   toxicologist, dose is an important part of a    21       A. It depends what you mean by
        22   toxicological analysis of an agent, correct?    22   define. I can tell you what I mean in this
        23       A. If you're doing risk, yes. If            23   sentence, and maybe that would help you.
        24   you're only doing hazard, it may not be as      24       Q. Dr. Plunkett, it is your
        25   important. It depends upon the question         25   report. And so I am asking you, using your

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         1   you're asking about hazard.                      1   own definition of "define," have you rendered
         2            Do you want me to explain?              2   an opinion that defines the dose-response
         3       Q. I do want you to explain the              3   relationship between talc exposure and the
         4   difference between a risk analysis and a         4   risk of ovarian cancer?
         5   hazard analysis.                                 5        A. I have formed opinions about
         6       A. Okay. So in an initial hazard             6   the dose-response relationship generally, but
         7   analysis, if the question is, is there a         7   unfortunately -- I answered that question for
         8   hazard associated with exposure, let's say,      8   you earlier when you asked me, I think, about
         9   by inhalation, it may not matter whether it      9   is there -- I don't know if you used the word
        10   was a high dose or a low dose study. Both of    10   "threshold," but I did.
        11   those can identify hazard.                      11            So the available information
        12            Then you ask the question: Is          12   doesn't allow us to identify an ultimate
        13   there a dose-response relationship? That's      13   threshold, for example, in the case of women
        14   the next step beyond hazard.                    14   exposed to talc perineally and their -- and
        15            So hazard is -- to me is               15   their development of ovarian cancer.
        16   identifying the end points that you're going    16            Instead, in defining the dose
        17   to monitor for toxicity, sort of the target     17   response, what we can do with the data -- and
        18   organs, those things, and so whether or not     18   that is what I attempted to do. This is
        19   there's a dose-response study available, it     19   where you look at defining the dose response
        20   wouldn't be as important.                       20   in the animal studies, which we can look at,
        21            But certainly when you go to           21   or defining dose response in cell studies,
        22   that next step to assess risk, you'd like to    22   showing that as the dose increases, the
        23   be able to see whether or not there is a        23   hazard and the risk increase. So risk
        24   dose-response relationship in the effect that   24   actually you quantify. There's a certain
        25   you're assessing.                               25   response at this dose and a different


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         1   response at the next dose, or have we            1       or -- that they may make a -- an
         2   plateaued, that the responses are the same as    2       author may make a statement, but I'm
         3   dose increases.                                  3       talking about looking -- this is
         4            So that, I did do that as part          4       weight of the evidence. I'm looking
         5   of my assessment, trying to define the dose      5       across. And I'm saying, across the
         6   as far as how that linked to the responses in    6       data, when I look at the human data
         7   each of the studies I looked at.                 7       versus the animal data, for example,
         8       Q. You would agree, though, that             8       versus in vitro studies, the in vitro
         9   some studies did not show a dose relationship    9       studies and the animal studies allow
        10   between talc and ovarian cancer or the          10       you to look at dose response for talc
        11   clinical signs that were indicative of the      11       toxicity.
        12   potential for development into ovarian          12            The -- even the animal studies
        13   cancer, correct?                                13       allow you to look at dose response for
        14            MS. PARFITT: Objection.                14       development of precancerous lesions,
        15            THE WITNESS: If you're talking         15       you're on the way to cancer, for
        16       about the human data; is that what          16       example, in the NTP studies.
        17       you're referring to? Or are you             17            And then in the human studies,
        18       talking about all -- any of the data?       18       some of those studies are designed
        19   QUESTIONS BY MS. BRANSCOME:                     19       such that the authors could draw
        20       Q. Any of the data.                         20       conclusions about dose response and
        21       A. So I would disagree on the               21       some are not.
        22   animal data. I think on the animal data they    22            Even in some of the studies
        23   often -- most of the animal studies I've        23       where they attempted to look at dose
        24   relied upon have looked at more than one dose   24       response, some of the authors indicate
        25   or at least looked a no exposure versus a       25       they don't see an effect. So that is

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         1   dose, and most of them have looked at more       1       true. And part of that may be driven
         2   than one dose.                                   2       by the design of the study, the number
         3            In the case of the human                3       of individuals in the study, the way
         4   studies, unfortunately, some of those studies    4       that the questions were asked.
         5   were not designed to be able to define dose.     5       There's limitations on the way that
         6   In other words, the questions weren't asked,     6       information is collected.
         7   for example, of the individuals even in the      7            If you want to look at each
         8   prospective studies. Some of those               8       study, we can, but --
         9   included -- did not include the information      9   QUESTIONS BY MS. BRANSCOME:
        10   collected on frequency and duration of use.     10       Q. So my question to you, whether
        11            So if it's not collected,              11   you agree or disagree with the author's
        12   obviously, I don't have it to look at. And      12   conclusion, is simply that if you look at the
        13   that's one of the limitations of human          13   overall animal and human studies that you
        14   epidemiological investigations, is that it      14   cite in your report or have considered on
        15   often is not designed appropriately to look     15   your reliance list that look at a potential
        16   at dose response.                               16   dose-response relationship for talc toxicity,
        17       Q. Is it your opinion that there            17   do some of those studies conclude that there
        18   are no studies looking at talc and the risk     18   is not a dose-response relationship?
        19   of ovarian cancer in which the authors of the   19            MS. PARFITT: Objection.
        20   study have concluded there was no clear         20            THE WITNESS: I disagree for
        21   pattern of increased risk with dose?            21       talc toxicity, but I would say if
        22            MS. PARFITT: Objection.                22       you're going to limit it to the issue
        23            THE WITNESS: No, that's not            23       of the ovarian cancer response, I
        24       what I've said. No. It's very               24       would agree. I have seen that in some
        25       possible that an individual paper           25       of the studies.

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         1             I think talc toxicity, I don't         1   is that you give them less weight because you
         2        know if anybody has made the                2   believe that the individuals who conducted
         3        comment -- I would doubt it -- that         3   the study had been paid by either a company
         4        there is no dose response for toxic         4   or agencies that had some investment in the
         5        effects of talc.                            5   outcome of the study; is that correct?
         6   QUESTIONS BY MS. BRANSCOME:                      6        A. Is that my opinion?
         7        Q. Okay. You discuss in your                7        Q. Yes.
         8   report -- wait a moment. It's in                 8        A. For any particular study,
         9   paragraph 58 on page 38. And I just want to      9   you'll need to show me what you're pointing
        10   make sure I understood what you were citing     10   to. I do have opinions about some of the
        11   here.                                           11   work by Drs. Huncharek and Muscat, yes. I
        12             In paragraph 58 you state that        12   think I address that specifically, and that
        13   "It is important to remember that               13   has -- that's not so much to do with my
        14   administration of even a single dose of talc    14   weight of the evidence; that has more to do
        15   in animals has been shown to produce adverse    15   with transparency and what was being
        16   effects locally at the site of the exposure."   16   disseminated to the public and disseminated
        17             What are you referring to             17   to the FDA as far as evaluations.
        18   there?                                          18            That's a different issue than
        19        A. Acute doses. In other words,            19   the weight of -- the weight of -- the weight
        20   in studies that have described installation     20   of the evidence assessment for risk. I think
        21   of a single dose of talc in some form into a    21   those were separate.
        22   tissue, that they are observing adverse         22        Q. So then I'll ask you that.
        23   responses.                                      23            In doing your weight of the
        24             An example of that may be             24   evidence analysis for risk, have you
        25   the -- I think it's Hamilton. Is that the       25   discounted the weight that you've given to

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         1   one where they stilled it into the ovaries       1   any particular piece of scientific evidence
         2   with a single dose?                              2   based off of potential affiliations of the
         3        Q. So these are large-dose                  3   authors?
         4   exposures?                                       4        A. I certainly did with the CIR
         5        A. Well, not all --                         5   review document. I've already told you that.
         6        Q. Or are they, I should say?               6   And that's because I have evidence that shows
         7        A. I don't know that they all are,          7   it's not just an affiliation issue, but it's
         8   no. There are -- there are -- I don't think      8   actually -- it's more -- it's more important
         9   I have attempted to quantify large in this       9   than that.
        10   sentence.                                       10        Q. Are there any other examples?
        11             What I'm stating here is not an       11        A. I think that's the only one
        12   issue of large versus small. It's an issue      12   right now as I sit here that I can tell you
        13   of the fact that there are toxic effects with   13   that I had identified as carrying little
        14   single exposures. And I'm just making the       14   weight because of an issue of either
        15   comment -- this has to do with hazard, right?   15   authorship or input in the way it was
        16   It's the idea even a single dose -- or a        16   described.
        17   single exposure you can get irritant,           17             There are certainly studies
        18   inflammatory reactions at the site of           18   within my weight of the evidence evaluation,
        19   exposure. And that's all I'm trying to say.     19   some of which were performed by industry. I
        20   That's why I'm citing as reviewed by EPA. I     20   certainly look at that issue, but unless I
        21   believe EPA even makes a very similar           21   have -- have a reason to believe that there's
        22   statement.                                      22   an inherent bias based on something I know,
        23        Q. Okay. Do you take into                  23   they go into the weight of the evidence
        24   account -- there are some studies for           24   without making a correction for that.
        25   which -- at least my reading of your report     25             In many cases that I work in


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         1   litigation, I will find situations like the      1   tested, that he reports are Johnson's baby
         2   situation here with Huncharek and Muscat         2   powder, did you also consider the work that
         3   where I have, for example -- I think this        3   was done by experts that have been retained
         4   came up in the Risperdal litigation for me.      4   on behalf of the defendants to characterize
         5   It's the idea that there was a series of         5   the components of Johnson's baby powder? Do
         6   papers put out by an individual investigator     6   you give them equal weight?
         7   where documents that I could get access to       7        A. So I haven't seen a variety of
         8   show me that indeed their analysis was not       8   the documents that you're talking about,
         9   done by them but it was ghostwritten by          9   so -- because I have not worked in the
        10   somebody else. So that gives me pause,          10   litigation cases that have involved asbestos
        11   although I would never have known that unless   11   only. So -- which I think is where those
        12   I had access to internal documents.             12   documents are.
        13             So initial weight of the              13            In the litigation I -- in the
        14   evidence I did not discount it, but then I      14   litigation I worked in, I am aware of what
        15   went back and had to reevaluate the role        15   other experts on both sides have said. I
        16   those studies played in my overall              16   don't believe I've seen an analysis from a
        17   assessment.                                     17   defense expert that is -- that is like
        18        Q. Do you take into account in any         18   Dr. Longo's, at least in the litigation I've
        19   way in evaluating the weight of a study if it   19   worked in. Certainly I would consider that
        20   is conducted by someone who serves as an        20   and look at that if it's available, and I
        21   expert on behalf of the plaintiffs in the       21   would consider it.
        22   active litigation?                              22            I would point out, Dr. Longo's
        23        A. It would be the same -- same            23   analysis is not the piece of evidence that
        24   issue. I certainly consider it as part of       24   you start with, though. You start with what
        25   what I look at, but just like if they were an   25   I discuss in the published literature first,

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         1   expert for the defense versus an expert for      1   because there are published documents out
         2   the plaintiff, you judge that information        2   there in the literature that describe exactly
         3   based on what you know. And if I don't have      3   what Dr. Longo is now describing.
         4   information to discount it, I will not           4       Q. What published documents are
         5   discount it.                                     5   those?
         6            But absolutely, I understand.           6       A. Those are Dr. Blount's reports
         7   Just as people we all -- look at some of the     7   in 1991, which is before the litigation came
         8   things I've published where I have said my       8   about, is my understanding.
         9   work was sponsored by the American Chemistry     9             There's also -- there's five or
        10   Council. You know, people -- that's why you     10   six. I can tell you the paragraph.
        11   disclose the conflicts. You put it there so     11       Q. For Johnson's baby powder, I
        12   people can weigh it if they want, but it        12   would be interested in that, yes.
        13   doesn't mean you discount the work              13       A. So I -- I'll have to look and
        14   automatically.                                  14   see if it's Johnson's baby powder only, but
        15            And so I think for any paper,          15   certainly there is other evidence on the
        16   plaintiff, defense, whoever it is that's        16   issue of asbestos contamination and
        17   writing it, you need to consider it based on    17   specifically in talc.
        18   the information you have. And if you believe    18             So I -- you want me to find the
        19   that you have information to indicate that      19   paragraph for you?
        20   there's some issue with the reliability of      20       Q. Please. If you think there is
        21   the analysis, then absolutely you consider      21   published literature documenting asbestos in
        22   that.                                           22   Johnson's baby powder, I would like to see
        23       Q. So, for example, when you rely           23   that.
        24   on Dr. Longo's characterization of the          24       A. So this is my paragraph 32.
        25   constituent components in samples that he has   25   And I'd have to pull each of these articles


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         1   out because I don't recall what each of them     1   look.
         2   says. But I'm pointing to Paoletti, Blount,      2       Q. Have you reviewed Dr. Blount's
         3   Mattenklott, Moon, Gordon, Anderson, Rohl,       3   deposition?
         4   Pooley and Rowlands, Blejer and Arlon,           4       A. I have reviewed a -- something
         5   Cralley, Millman.                                5   by Dr. Blount. Whether it was trial
         6             And then I cite -- and then of         6   testimony or deposition, I have seen
         7   course the next piece of evidence is there       7   something, yes, that she has said regarding
         8   are actually documents from J&J and Imerys       8   this issue.
         9   that show detection of asbestos or               9       Q. To the extent that there is
        10   asbestos-like minerals in talc.                 10   confusion about whether or not a sample
        11        Q. As you sit here today, can you          11   tested by Dr. Blount is in fact Johnson's
        12   identify which of these published articles      12   baby powder, would you reduce the weight that
        13   that you list in paragraph 32 relate to         13   you give that particular piece of evidence in
        14   Johnson's baby powder?                          14   evaluating whether asbestos has been present
        15        A. I would have to pull them to            15   in Johnson's baby powder?
        16   answer that.                                    16            MS. PARFITT: Objection. Form.
        17        Q. Okay.                                   17            MR. MEADOWS: Objection.
        18        A. As I sit here, I'd have to pull         18            THE WITNESS: I don't know
        19   them. But I would refer you -- I know at        19       reduce the weight because -- because
        20   least some of them do based on the statement    20       there's -- there are plenty of
        21   I've made, but...                               21       documents here that talk about that.
        22        Q. So you did not make an attempt          22            I would consider it --
        23   in this paper to identify which products were   23       certainly it would -- it's not so much
        24   being analyzed in these specific articles.      24       weight. It's a different bin. We'll
        25   It's not indicated on the face of this          25       call it a bin, a different bin of

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         1   paragraph, correct?                              1        information. There's information on
         2       A. I don't tell you on the face,             2        talc powders generally, and then
         3   but you if read the sentence I said, "When       3        there's some information that's
         4   commercially available, talcum powder            4        specific to certain body powders.
         5   products were analyzed, including powders        5             So certainly -- would I pay
         6   sold by Johnson & Johnson. The data has          6        attention if they identified it? Yes.
         7   shown that the powders contained varied          7             But in the statement I'm making
         8   levels" -- and I'm saying "fibers," so it's      8        here, I'm not claiming that every one
         9   just asbestos -- "including fibers that          9        of these is relating to just the
        10   stated to be asbestos."                         10        powder sold by Johnson & Johnson.
        11            So to tell you which of those,         11        This is across the available
        12   I'd have to pull them. And I apologize, I       12        information that's public and then
        13   didn't bring them all with me.                  13        also the information that's available
        14       Q. Have you been provided --                14        in the files of Johnson & Johnson.
        15   you're aware that Dr. Blount's paper does not   15   QUESTIONS BY MS. BRANSCOME:
        16   identify Johnson's baby powder in the face of   16        Q. What is your definition of
        17   the article, correct?                           17   asbestos?
        18       A. I believe that's true. You'd             18        A. My definition of asbestos is
        19   have to go to her deposition, I believe,        19   exactly what the different documents describe
        20   where she's given -- where she discusses what   20   it typically. It's a fibrous mineral,
        21   the source of that was, and maybe even a --     21   typically. It occurs in a variety of
        22   there may even be a separate document,          22   different forms. Most of the times they'll
        23   actually, not a deposition, that was -- that    23   say "asbestos." Sometimes they'll say
        24   was in the files of Johnson & Johnson that      24   "chrysotile." Sometimes they'll say
        25   goes along with that, but I'd have to go        25   "tremolite." Sometimes they'll say


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         1   "anthophyllite." Those are the three most        1       A. Has to do with the fact that we
         2   common ones I see. But those are all mineral     2   have a complex mixture that has multiple
         3   forms of asbestos.                               3   carcinogenic substances.
         4            So just like IARC puts those            4            And asbestos is important from
         5   all within one bin, I'm putting those all in     5   the aspect of the way that it has been
         6   one bin because they have a similar toxicity     6   assessed even by regulatory bodies, the idea
         7   profile.                                         7   that even very low levels of fibers pose a
         8       Q. Is it your view that each of              8   cancer hazard and a cancer risk in
         9   the different types of asbestos has the same     9   individuals have been shown to be
        10   toxicity profile?                               10   carcinogenic.
        11       A. They all have the same ability           11            So that's what I'm saying about
        12   to cause cancer, but they have different        12   potency of asbestos is different than potency
        13   potencies. So they do have -- there will be     13   of some other carcinogens that you might look
        14   some differences in the dose response and the   14   at. But the importance of it is it's a
        15   potency of them, but certainly they've all      15   complex mixture, talc, body powders, a
        16   been linked as being carcinogens by IARC.       16   complex mixture that includes constituents
        17            And I would agree, when you            17   that are known human carcinogens as well as
        18   look at their data, there is data and           18   some that are -- been ranked other ways by
        19   evidence to indicate that.                      19   regulatory bodies.
        20       Q. Which type of asbestos is the            20       Q. If Johnson's talcum powder
        21   most potent?                                    21   products do not contain asbestos, does that
        22       A. For which end point? For lung            22   change your opinion with respect to the risk
        23   cancer? I believe chrysotile is. For other      23   they pose with respect to ovarian cancer?
        24   end points, I'd have to go look. I mean,        24       A. No, and I think that was very
        25   chrysotile is the sharp -- is the sharp --      25   clear if you looked at my first report. So

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         1   the sharded-type structure.                      1   even -- there's -- I don't think in any of my
         2             But there's data on fibrous --         2   reports I've opined that without looking at
         3   the fiber -- the fibrous forms of asbestos       3   the complex mixture that we wouldn't be here.
         4   rather than the -- or the amphibole forms of     4            In other words, I have not
         5   asbestos as opposed to chrysotile, which is      5   opined that if it doesn't have -- if it
         6   the serpentine form.                             6   doesn't have asbestos, it's not a risk. I
         7       Q. Do you consider yourself an               7   have not opined that, and I don't believe
         8   expert in asbestos?                              8   that, because I think there is independent
         9       A. Not in --                                 9   risk for the fact that we have a complex
        10             MS. PARFITT: Objection.               10   mixture of talc that has been tested and
        11             THE WITNESS: Not the geology          11   shown to be carcinogenic.
        12       of asbestos, no.                            12            It's my opinion, I told you --
        13             I have expertise in toxicology        13   maybe it wasn't you. I may have told this
        14       as it relates to interpretation of the      14   yesterday, I'm sorry, to Mr. Smith that I
        15       data related to asbestos. I have            15   believe that there is evidence to show that
        16       never give -- given testimony in a          16   there is a significant exposure to asbestos
        17       case on asbestos, but it's something        17   based on the data that's been collected.
        18       I've studied in the past in my work as      18            But certainly, you know, in
        19       a toxicologist, not as a testifying         19   some -- the data has shown that in the assays
        20       expert.                                     20   that have been done or the analyses that have
        21   QUESTIONS BY MS. BRANSCOME:                     21   been done that you can't say that talc is
        22       Q. What role does your analysis of          22   asbestos-free.
        23   the possibility that there may be asbestos in   23       Q. Well, so --
        24   Johnson's talcum powder products play in your   24       A. So --
        25   risk assessment in the MDL?                     25       Q. -- the question I have


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         1   specifically relates to ovarian cancer.          1   asbestos above background through the
         2            Is it your view that through an         2   perineal use of Johnson's talcum powder
         3   exposure route that is relevant for ovarian      3   products?
         4   cancer, that the use of Johnson's talcum         4            MR. MEADOWS: Objection.
         5   products involve a substantial exposure to       5            MS. PARFITT: Objection.
         6   asbestos?                                        6            THE WITNESS: I don't think
         7       A. I believe based on the use of             7       that's the opinion I have formed to
         8   the products that -- where the data has been     8       date, but certainly the opinion I have
         9   collected that there would be a substantial      9       formed is that the data I have seen
        10   exposure to asbestos, regardless of how         10       indicates that you can't separate out
        11   you're exposed, perineal -- perineally or by    11       talc without asbestos versus talc with
        12   inhalation.                                     12       asbestos in the information that's
        13       Q. What is your basis for reaching          13       been collected. Because there's --
        14   that conclusion?                                14       all -- the information that's been
        15       A. It's looking at the number of            15       collected has shown there's no
        16   fibers that have been detected in the           16       evidence that asbestos-free talc is
        17   products, in looking at the -- the widespread   17       available.
        18   nature of the presence of asbestos fiber --     18            If by asking that question
        19   asbestos in the talcum powder products and      19       you're trying to say that it's the
        20   the fact that even though it's at a very low    20       asbestos alone that's causing the
        21   level by their -- their level of detection,     21       cancer, that is not my opinion. So
        22   again, can't be said to be asbestos-free.       22       that is when the dose issue would
        23            So regardless of whether it's          23       become very important for asbestos.
        24   talc that's being applied perineally or a       24   QUESTIONS BY MS. BRANSCOME:
        25   talc that you're inhaling while you're          25       Q. Okay.

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         1   applying it perineally, the fibers are still     1       A. So that's -- so that's a
         2   going to be present within that talc.            2   different question I have not answered.
         3       Q. Have you or anyone done an                3       Q. And in reaching your opinion
         4   analysis of the dose of asbestos to which        4   that there is no evidence that asbestos-free
         5   someone might be exposed perineally?             5   talc exists, you have not been provided with
         6       A. I haven't done a specific                 6   the reports by the defense experts, including
         7   calculation, no.                                 7   Dr. Matthew Sanchez, analyzing Johnson's
         8       Q. Has anyone done that                      8   talcum powder products for the presence or
         9   calculation?                                     9   absence of asbestos, correct?
        10            MS. PARFITT: Objection. Form.          10            MS. PARFITT: Objection. Form.
        11   QUESTIONS BY MS. BRANSCOME:                     11            I think you're aware that the
        12       Q. That you have seen?                      12       MDL expert reports have not yet been
        13            MS. PARFITT: Objection.                13       provided to us.
        14            THE WITNESS: I'm trying to             14            MS. BRANSCOME: Yeah.
        15       remember whether I saw that done in         15            MS. PARFITT: I'm just making a
        16       any of the documents related to             16       point.
        17       Dr. Longo.                                  17            THE WITNESS: I have not seen a
        18            I don't know. I'd have to go           18       report by Dr. Sanchez. I assume I
        19       look.                                       19       will, because typically after -- later
        20   QUESTIONS BY MS. BRANSCOME:                     20       in the litigation, once all experts
        21       Q. Okay. So as you sit here                 21       have been deposed or revealed, I'm
        22   today, can you give an opinion to a             22       usually given defense expert reports
        23   scientific degree of certainty, reasonable      23       and their deposition testimony. So I
        24   degree of scientific certainty, that an         24       expect to see that; I just haven't
        25   individual would be exposed to a dose of        25       seen it yet.

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         1   QUESTIONS BY MS. BRANSCOME:                      1   application for any of the heavy metals. So
         2       Q. And you haven't seen it in any            2   the three that I've mentioned, no, I have not
         3   of the cases in which you've rendered an         3   done that calculation.
         4   opinion, correct, not just the MDL?              4        Q. You would agree, based on your
         5       A. Well, none of the cases that I            5   training and experience as a toxicologist,
         6   have worked in have involved the issue of        6   that in order for an agent -- and we can talk
         7   looking for asbestos exposure.                   7   specifically about a metal -- to present a
         8            The cases I have worked on have         8   risk of cancer it needs to be bioaccessible,
         9   been talking about talc exposure that may        9   correct?
        10   include asbestos as a constituent, but it       10        A. If by bioaccessible you are not
        11   wasn't focused on asbestos exposure.            11   limiting that definition to solubilized into
        12            So, no, none of the cases I            12   the blood and carried systematically, yes, I
        13   worked on have provided testimony in that       13   would agree with that. Bioaccessible meaning
        14   area.                                           14   it has to be in a form that can somehow
        15            You understand what I'm saying?        15   interact with the tissue, yes, I agree with
        16       Q. Let me just make it clear. You           16   that. But it could be as simple as tissue
        17   have not, in any of the cases in which you      17   contact versus needing to be solubilized.
        18   have offered opinions with respect to the       18        Q. Okay. Is silica bioaccessible?
        19   contents of talc, been provided with an         19        A. It depends on the form of the
        20   expert report or testimony by Dr. Sanchez       20   silica. So silica particles can be
        21   about what he did or did not find in            21   bioaccessible if inhaled and found on the
        22   Johnson's talcum powder products with respect   22   surface of the lung. That can cause injury
        23   to asbestos?                                    23   at the site of the lung. So that's an
        24            MS. PARFITT: Objection. Form.          24   accessibility to that particular tissue that
        25            THE WITNESS: So I can't tell           25   it contacts.

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         1        you that I have not. I don't recall         1       Q. We talked earlier -- it's
         2        it. That's all I can say. I don't           2   somewhat related to bioaccessibility, but we
         3        recall that name.                           3   talked about the way in which different
         4   QUESTIONS BY MS. BRANSCOME:                      4   particles might move specifically through the
         5        Q. It's certainly not something             5   genital tract in women.
         6   you discuss in your report, correct?             6            Do you recall that?
         7        A. No, I do not. And I don't know           7       A. Yes. A general discussion.
         8   that it's in my reliance materials. That's       8       Q. Yes.
         9   why I'd ask you to look there, because if        9            And when you testified that
        10   it's in my reliance materials, then I've seen   10   starch and talc might not move at the same
        11   it.                                             11   rate, do you have an opinion as to which
        12        Q. Okay.                                   12   might move more quickly through the tract?
        13        A. And I mean big reliance                 13       A. I haven't formed that opinion,
        14   material list, not my reference list.           14   no.
        15        Q. All right. With respect to the          15       Q. Okay. And do both talc and
        16   other potential constituents of talc, have      16   starch particles remain in the body for the
        17   you done any analysis to provide an answer as   17   same length of time?
        18   to how much -- what dose of chromium, for       18       A. I haven't done an analysis to
        19   example, an individual might be exposed to      19   see if the data tells us what the -- what the
        20   through the perineal use of Johnson's talcum    20   differences might be. I would expect there
        21   powder products over a lifetime?                21   to be differences, which is what I told you
        22        A. No, and I have -- well, I know          22   earlier, because I would expect the starch to
        23   it's a separate deposition. We discussed        23   be able to be solubilized, where I would not
        24   this yesterday. No, I have not done a -- a      24   necessarily expect the talc to act in that
        25   calculation of a potential dose with perineal   25   same manner.


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         1        Q. Is cornstarch capable of                 1   only three heavy metals: chromium, cobalt
         2   causing an inflammatory process?                 2   and nickel.
         3        A. It can. It is -- but it is --            3             Do you see that?
         4   it's a different level of risk for               4       A. Yes.
         5   inflammatory responses than is talc, just by     5       Q. Why did you remove three of the
         6   its chemical nature.                             6   heavy metals?
         7        Q. Have you done an analysis in             7       A. It's not so much removing.
         8   your report that examines the differences        8   Those three heavy metals that I focused on in
         9   between the inflammatory response that can be    9   my MDL report are ones that have been talked
        10   triggered by talc as opposed to cornstarch?     10   about with a similar mechanism of action as
        11        A. I haven't analyzed inflammatory         11   far as irritation and biologic -- biologic
        12   response. Instead, what I've done is done a     12   plausibility mechanism being irritation and
        13   comparison of what the toxicity -- the          13   inflammation.
        14   differences in the toxicity potential have      14             So that's why I focus on those
        15   been described in medical literature, and I     15   three, which may not -- which is not
        16   cite -- I have a paragraph where I cite to      16   necessarily the case for some of the others,
        17   some sources that talk about the differences    17   even though they're also -- have a
        18   in the toxicity potential or biocompatibility   18   carcinogenic hazard, pose a risk.
        19   of starch versus talc.                          19       Q. So in your -- as part of your
        20        Q. Now, I had a question about             20   risk assessment that you performed in the
        21   your supplemental report that was marked as     21   MDL, are you offering the opinion that to the
        22   Exhibit 3 to the deposition.                    22   extent they exist in any of the Johnson
        23             At paragraph 67...                    23   talcum powder products, that arsenic, lead --
        24        A. Okay.                                   24       A. Cadmium.
        25        Q. You identify here six heavy             25       Q. -- and cadmium play any role in

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         1   metals - arsenic, chromium, lead, cobalt,        1   the risk of developing ovarian cancer?
         2   cadmium and nickel - that in your                2       A. That is not an opinion that I
         3   supplemental report dated August 29, 2018,       3   would be offering in the MDL.
         4   you say have been reported across lots of        4       Q. Okay. Now, you talk about
         5   talc powders.                                    5   these heavy metals having been classified by
         6            Do you see that?                        6   different agencies as either known probable
         7       A. Are you in -- now you're in my            7   or possible human carcinogens, correct?
         8   MDL report or here?                              8       A. You're in my MDL report again?
         9       Q. No.                                       9       Q. Oh, yes.
        10       A. Oh, so where are you? I'm                10       A. Okay. I'm sorry. Okay. Let
        11   sorry.                                          11   me get there.
        12       Q. Same report. It's the sentence           12            Yeah, I do have that
        13   that begins at the bottom of page 6.            13   discussion. I'm just trying to find it.
        14       A. Okay. Hold on.                           14       Q. Sure.
        15            About that they have varied at         15       A. Okay. Yes, I'm there.
        16   the levels --                                   16       Q. Is it your view, based on your
        17       Q. Yes. So you identify six                 17   expertise, that because a compound can cause
        18   different types of heavy metals.                18   one type of cancer, it can cause all types of
        19            Do you see that there?                 19   cancer?
        20       A. Yes, I do.                               20       A. No, not necessarily. It
        21       Q. Okay. And the question I had             21   depends on the -- well, it depends on a
        22   for you was that in your report in the MDL,     22   couple of things. It depends on what's been
        23   if you look at paragraph 36 --                  23   studied. Have all types of cancer even been
        24       A. Yes.                                     24   studied. And then it also -- it also depends
        25       Q. -- you identify -- you identify          25   upon, I believe, the route of exposure as


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         1   well. So can it get to where it could cause      1   you can extrapolate with scientific basis
         2   that, could it distribute there. And then in     2   from one type of cancer cause to ovarian
         3   addition to that, what data has been             3   cancer with respect to the heavy metals
         4   collected. Is there enough data, for             4   specifically?
         5   example, to show that there's extrapolation      5       A. Well, I haven't attempted to
         6   from animals to humans in the types of tumors    6   that, because I haven't attempted to define a
         7   or is it -- or if we have good human data,       7   independent risk for each of those metals
         8   then we would focus on the types of cancers      8   individually.
         9   that you're seeing in humans, for example.       9             The issue -- the issue I have
        10       Q. Okay. But you recognize even             10   with those metals is -- there's a paragraph
        11   where there is complete data some compounds     11   here where I talk about pathogenesis of
        12   can cause one type of cancer and they are       12   carcinogenesis, where I talk about different
        13   incapable of causing another type, correct?     13   stages of cancer development and the fact
        14             MS. PARFITT: Objection. Form.         14   that inflammatory responses may be operating
        15             THE WITNESS: I don't know             15   at all those different stages.
        16       about incapable, but I would agree          16             So the issue is you have
        17       that you certainly would see -- you         17   potential -- you have compounds that are
        18       could potentially see different             18   known to produce cancer or have been shown to
        19       observations.                               19   have a potential risk of cancer. They share
        20             If you're talking about animals       20   a similar mechanism to talc, so as a result
        21       versus humans, or are you talking           21   of that, they factor into your risk
        22       about --                                    22   assessment as far as there being an exposure
        23   QUESTIONS BY MS. BRANSCOME:                     23   to a mixture.
        24       Q. If humans.                               24             But on the issue of ovarian
        25       A. Based on what you had seen in            25   cancer, I'm looking at the data that's been


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         1   the animals; is that what you're asking me?      1   collected on talc itself, which would be talc
         2        Q. Yes.                                     2   with the constituents that could include the
         3        A. Yes. So, yes, there is not               3   metals. But certainly I'm not saying that it
         4   always a one-to-one concordance. So that's       4   is -- without the presence of one or the
         5   why -- that's why I made the comment that        5   other of these there would be no risk of
         6   it's important to have some human data or        6   ovarian cancer. I'm not saying that either.
         7   experience, so that you can put in context       7        Q. So my question is, though, can
         8   the data you collected in animals.               8   you point me either to scientific literature
         9            I would say to you there are            9   directly documenting that these heavy metals
        10   certain kinds of tumors in animals, for         10   can cause ovarian cancer or to scientific
        11   example, that are shown to be not relevant at   11   literature that enables you to extrapolate
        12   all to human risk assessment. Like four         12   from the types of cancer that they are known
        13   stomach tumors in rats is an example. I've      13   or believed to cause to ovarian cancer?
        14   dealt with that one a lot.                      14        A. So I -- on the issue of can I
        15        Q. What types of cancer -- type or         15   point you to the data on ovarian cancer, I'd
        16   types of cancer are the basis for the           16   have to go back. I can't answer that without
        17   classification of chromium as a known human     17   looking at the assessments.
        18   carcinogen by IARC?                             18            But on the other -- second
        19        A. So I have to pull it out, but I         19   question you asked me, that's the question I
        20   believe that there may be some GI cancers and   20   was just trying to answer before. It's the
        21   maybe some skin cancers, but I'm not sure.      21   idea that regardless of where the cancer is
        22   I've got it pull it out. It's been a while      22   developing, the fact that these compounds
        23   since I've looked at it.                        23   have the ability to stimulate similar toxic
        24        Q. Okay. Have you done an                  24   responses in tissues could lead to a --
        25   analysis to evaluate whether or not the types   25   setting up a situation where the -- where the


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         1   tissue is primed for cancer development.         1            So, again, that's what I'm
         2        Q. And do you have --                       2   pointing to and why I have cited the data.
         3        A. And so that --                           3       Q. Now, you talked about -- when
         4        Q. Sorry.                                   4   we were discussing mechanism, you said that
         5        A. And that has to do with the              5   inflammation alone is not necessarily
         6   basic science of carcinogenesis when you look    6   sufficient to cause cancer, correct?
         7   at underlying mechanisms, especially with        7       A. Yes, I did.
         8   tissue contact, direct tissue contact, with      8       Q. All right. Do you have
         9   irritants or inflammatory processes.             9   scientific studies that show that any of the
        10             But I would -- I am not -- I          10   heavy metals or the fragrance constituents
        11   have not formed the opinion, again, that with   11   that you identify as potential carcinogens
        12   or without either one of these that I would     12   create -- generate phenotypic changes like
        13   expect ovarian cancer to be the target. I'm     13   you discussed were next for the formation of
        14   saying that ovarian cancer risk is increased    14   cancer?
        15   based on exposure to talc, which includes a     15       A. I believe that data is
        16   variety of constituents.                        16   available on nickel. I need to go back and
        17        Q. Okay. And do you cite anywhere          17   look at chromium and cobalt, but I do believe
        18   in your report to studies documenting -- I      18   with nickel you'll find similar data on
        19   know you said you'd need to go look at them,    19   tissue irritation and inflammatory processes.
        20   but I'm asking if it's in your report           20            Nickel is also a sensitizer, so
        21   anywhere a discussion of any studies showing    21   it has interaction with the immune system, so
        22   that the particular heavy metals that you       22   I do believe that for nickel you can find
        23   cite as potential constituents of Johnson &     23   some of that data.
        24   Johnson's products have been demonstrated to    24       Q. Okay. But as you sit here
        25   increase a risk for ovarian cancer on their     25   today, can you point me into any of that

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         1   own?                                             1   that's discussed in your report?
         2       A. So, no, I haven't addressed               2       A. No specific discussion other
         3   that in my report. And again, I think that's     3   than, again, all -- the IARC -- I'm citing to
         4   inconsistent with the way I'm using these        4   the IARC assessments, and the IARC
         5   data. But that's fine. I mean, no, I             5   assessments for each of those discuss
         6   haven't done a specific assessment of ovarian    6   carcinogenesis and a biologically plausible
         7   cancer risk with each of those metals            7   mechanism being linked to the ability of
         8   individually.                                    8   these compounds to induce oxidative stress
         9       Q. I would ask the same questions            9   and/or inflammatory processes.
        10   for the different fragrance constituents that   10       Q. Okay. In your opinion, you
        11   you allege in your report are potential         11   talk about the mixture of constituents that
        12   carcinogens.                                    12   are involved in talc.
        13            Have you done any analysis, and        13            Have you done any analysis to
        14   can you point me to any scientific studies      14   look at how the different constituents
        15   that establish that those particular            15   interact with each other?
        16   compounds are capable of causing ovarian        16       A. Well, yes, that's my issue at
        17   cancer?                                         17   looking at underlying mechanism.
        18       A. No, I haven't done that                  18            But are you asking me -- I
        19   analysis, but, again, general principles of     19   certainly don't have a -- the only studies
        20   toxicology and cancer risk assessment, when     20   that I have to rely upon on the interaction
        21   you look at the presence of multiple --         21   of the mixture is the actual studies on the
        22   excuse me, multiple carcinogens with similar    22   powders themselves, where we know that the
        23   mechanisms of action, you would assume in       23   powders contain constituents other than just
        24   your risk assessment that those risks could     24   platy talc.
        25   be additive.                                    25       Q. Okay. And do the constituents


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         1   need to have the same underlying potential       1        So those two -- we'd have human data
         2   carcinogenic mechanism for them to have an       2        to show that.
         3   additive effect?                                 3             But on the issue of cobalt, it
         4       A. By general principles of                  4        may only be -- I need to go back and
         5   toxicology, yes, you look at mode -- mode of     5        look, but it may indeed just be animal
         6   action or mechanism of action before you         6        data.
         7   apply that additivity principle to the cancer    7   QUESTIONS BY MS. BRANSCOME:
         8   risk assessment.                                 8        Q. And so your basis for that
         9       Q. And so as you sit here, you               9   would be the IARC classification?
        10   believe there have been scientific              10             Is that where I would go to
        11   documentation that nickel might operate         11   look if I wanted to look at it after this
        12   through the same biological mechanism as you    12   deposition?
        13   purport talc to operate, but you're not sure    13        A. I'd go to the IARC reviews.
        14   about the other heavy metals or the fragrance   14   I'd go to those three which I believe I have
        15   constituents; is that correct?                  15   cited down here for you and given you where
        16            MS. PARFITT: Objection.                16   to go to find them.
        17            THE WITNESS: For the fragrance         17        Q. Okay. You discuss in your
        18       constituents, I'd definitely have to        18   report -- and if you'd like to reference it,
        19       pull because I haven't looked at that       19   it's paragraph 69 on page 47 -- the concept
        20       individual assessment in a while.           20   of genotoxic and nongenotoxic carcinogens.
        21            For these three, what I do know        21             Do you recall that?
        22       is that they do share the ability to        22        A. Yes.
        23       at least induce oxidative stress.           23        Q. And as you sit here today, is
        24            What I can't recall for                24   it your opinion that talc is more likely a
        25       chromium and for cobalt is whether          25   nongenotoxic carcinogen?

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         1       they're taking it the next step from         1        A. As the direct insult, yes. And
         2       oxidative stress to inflammatory             2   I would like to -- I would like to point out
         3       process. I believe that they do, but         3   that in the literature -- the reason I have
         4       I'd have to check, whereas I know            4   this paragraph here is because in the
         5       nickel has been shown to lead to an          5   literature in the past, in the area of
         6       inflammatory process after oxidative         6   chemicals, it's been -- toxicologists have
         7       stress has been induced.                     7   attempted to put two bins, direct genotoxic
         8   QUESTIONS BY MS. BRANSCOME:                      8   insult versus nondirect genotoxic. It
         9       Q. And you would agree, even more            9   doesn't mean you can't get a genotoxic event
        10   than requiring an inflammatory process, you     10   after the initiation.
        11   would actually have to see that these           11            So I want to make sure you
        12   compounds can generate phenotypic changes,      12   understand that. I'm not saying that there
        13   correct?                                        13   is no possibility of this chemical in its --
        14            MS. PARFITT: Objection.                14   in its process of inducing cancer leading to
        15            THE WITNESS: Well, we know             15   indirect genotoxicity, but I'm talking about
        16       they do because they've been shown to       16   the direct mechanism at the site of the cell.
        17       be carcinogenic. If you've been shown       17            So talc, for example, has been
        18       to be carcinogenic, you've done a           18   shown to not be genotoxic in cells. And so
        19       phenotypic change in the cell from a        19   that's why I believe, then, when I look at
        20       normal cell to a cancer cell.               20   the rest of the data that fits, that it fits
        21            So we know they have the               21   the definition of a nongenotoxic carcinogen
        22       capability to induce tumors, or             22   by its initial mechanisms to induce cancer.
        23       cancer, all three of those, at least        23        Q. Okay. And if talc is, in fact,
        24       in animals if not in humans as well,        24   a nongenotoxic carcinogen, it would suggest
        25       because two of them are known human.        25   that there is likely a threshold dose below


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         1   which it does not have a carcinogenic effect,    1       what they've done, but is it possible
         2   correct?                                         2       that they would do it? Any regulatory
         3             MS. PARFITT: Objection.                3       agency, it's possible they could do
         4             THE WITNESS: It is possible,           4       it, yes.
         5        and that's the problem. In order to         5   QUESTIONS BY MS. BRANSCOME:
         6        fully assess that, you would have to        6       Q. Do you have any information
         7        have the data to prove it.                  7   with respect to Health Canada's
         8             But that's the assumption. You         8   decision-making, other than what you have
         9        assume with nongenotoxic carcinogens        9   read on the face of the documents?
        10        that you could identify a level where      10       A. That is all I have to look at
        11        you wouldn't turn on that indirect         11   is what is provided on the website.
        12        mechanism. So that -- yes, that is         12       Q. Okay. And so the statement
        13        true.                                      13   that you think Health Canada was suggesting a
        14   QUESTIONS BY MS. BRANSCOME:                     14   dose threshold by their statement of
        15        Q. And you have not been able to           15   discouraging routine use, you're basing that
        16   identify, nor can you point to, scientific      16   entirely on what you read on the piece of
        17   literature that identifies a threshold -- a     17   paper, correct?
        18   threshold dose for talc with respect to its     18            MS. PARFITT: Objection. Form.
        19   carcinogenic potential for ovarian cancer,      19            THE WITNESS: Well, that's what
        20   correct?                                        20       they state. So, yes, I'm -- I am
        21        A. Not a specific dose, but I              21       telling you what I see on their
        22   think that's why I mentioned to you -- and      22       website. If that's what you're asking
        23   I -- I think that's why Canada, when you look   23       me, yes, that is true.
        24   at their document, they talk about              24   QUESTIONS BY MS. BRANSCOME:
        25   discouraging routine use generally. So it's     25       Q. Okay. Can you point me --

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         1   the issue of what -- single use of a body        1   well, do you discuss -- have you looked at,
         2   powder or an occasional use is a different       2   as part of your opinion specifically in the
         3   risk assessment than routine use.                3   MDL, the studies exploring a potential link
         4             So if you want to talk about           4   between asbestos and ovarian cancer? Just
         5   thresholds that way, that's very imprecise,      5   asbestos.
         6   but you could do that. You can talk about        6        A. Some of the studies, yes, but I
         7   whether or not there -- I do believe there's     7   have not -- I have not done a separate risk
         8   a different risk profile for one or two uses     8   assessment just for asbestos by itself,
         9   of talc body powder versus a risk profile of     9   because I have not assumed that there is
        10   somebody who uses it routinely, because I       10   asbestos-only exposure.
        11   think that fits that threshold definition.      11             Does that make sense?
        12   It's the idea that you have limited             12             But I do cite -- for example, I
        13   availability for enough particles to migrate    13   cite to some of the early literature on -- so
        14   to lead to the tissue toxicity that it cannot   14   this -- I guess where this opinion comes in
        15   be recovered from or repair.                    15   is on hazard and warning. So in the warnings
        16        Q. You're familiar with the                16   I talk about when it was known that asbestos
        17   concept of the precautionary principle,         17   was linked with cancer, because the warning
        18   correct?                                        18   standard is not causation proven but the
        19        A. Yes.                                    19   identification of the potential. And so that
        20        Q. All right. And you understand           20   is in my report on warnings, but that is not
        21   that Health Canada may have made                21   within my discussion of the weight of the
        22   recommendations with respect to product usage   22   evidence for risk assessment of the talc
        23   that are purely precautionary, correct?         23   product.
        24             MS. PARFITT: Objection. Form.         24        Q. Okay.
        25             THE WITNESS: I disagree that's        25        A. Does that make sense?


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         1      Q.      Uh-huh.                               1   not classified any of the heavy metals that
         2            For example, have you rendered          2   you've identified in your MDL report as
         3   an opinion about what dose of asbestos           3   carcinogenic to the ovary?
         4   exposure would be necessary to cause ovarian     4       A. So the answer is I'd have to
         5   cancer in an individual?                         5   look. I don't recall that, but I'd have to
         6       A. No, I have not formed that                6   look to confirm.
         7   opinion at this time.                            7       Q. Okay.
         8       Q. Okay. Do you have an opinion              8       A. That's the answer I believe I
         9   about the background level of asbestos to        9   gave a few minutes ago, yes.
        10   which individuals are exposed with no           10       Q. So if I look at the IARC
        11   increased risk of any type of cancer?           11   website, then I can confirm whether or not
        12       A. No, I do not have an opinion.            12   they have identified any of those as
        13   I do believe others do, but I do not.           13   carcinogenic to the ovary?
        14       Q. Okay. You may have been asked            14       A. Not so much the web -- well,
        15   some of these questions before, but I will      15   the website or the actual documents. I think
        16   keep them brief.                                16   I would actually point you to the actual
        17            Have you ever published any            17   monograph --
        18   articles that state that talc causes ovarian    18       Q. To the monograph.
        19   cancer?                                         19       A. -- because there may be
        20       A. No, I have not.                          20   evidence in there of ovarian cancer as being
        21       Q. Have you ever publicly                   21   seen in studies. And I'd have to go look.
        22   expressed the opinion that talc increases the   22       Q. Okay. That was not part of
        23   risk of ovarian cancer outside of literature?   23   your consideration here, correct?
        24       A. No. My work has been in the --           24       A. So ovarian cancer is part of my
        25   in the courtroom.                               25   consideration, but I didn't -- in this part

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         1            MS. BRANSCOME: I think we can           1   of my evaluation I'm trying to -- trying to
         2       take a break.                                2   describe these metals. And this is really
         3            VIDEOGRAPHER: We are going off          3   about mechanism of biologic plausibility and
         4       the record at 2:57 p.m.                      4   the fact that these two things can go
         5        (Off the record at 2:57 p.m.)               5   together, and then the concept of additivity
         6            VIDEOGRAPHER: We are back on            6   is they're on hazard. The idea if you have a
         7       the record at 3:13 p.m.                      7   cancer hazard generally and you have similar
         8            MS. BRANSCOME: Dr. Plunkett, I          8   mode of action, regardless of the tissue, you
         9       have no more questions for you on            9   would be expected to have a potential
        10       behalf of Johnson & Johnson, subject        10   additive effect when you do a risk
        11       to your counsel doing a direct of any       11   assessment.
        12       kind.                                       12            So that's my use of that data,
        13            THE WITNESS: Sure. Thank you.          13   which is why I didn't do a separate ovarian
        14              EXAMINATION                          14   cancer assessment for each of the each
        15   QUESTIONS BY MS. BOCKUS:                        15   constituents but just on powder.
        16       Q. Good afternoon, Dr. Plunkett.            16        Q. And you discuss that topic on
        17   You and I have met before. My name is Jane      17   page 47, paragraph 68, of your report,
        18   Bockus, and as you know, I represent Imerys     18   correct, the -- whether there's an additive
        19   in this case.                                   19   effect?
        20       A. Yes.                                     20            And you cite to Casarett and
        21       Q. Correct?                                 21   Doull. I don't know if I'm pronouncing those
        22            I want to go back to just touch        22   names correctly.
        23   briefly on a couple of issues that have         23        A. I'm sorry, on what page?
        24   already been addressed.                         24        Q. I'm on page 47, paragraph 68.
        25            Would you agree that IARC has          25        A. Okay. Sorry. I should know


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         1   where it is, but...                              1       a genetically susceptible mouse study
         2             Okay. I'm there, yes. Okay.            2       to hurry the process along to look at,
         3             Yes, I do cite to a chapter in         3       but you might not be able to do it
         4   Casarett and Doull, yes.                         4       through perineal exposure. You might
         5        Q. Okay. And Casarett and Doull             5       have to do it through another route
         6   is a resource that you cite to for a couple      6       such as either inhalation or maybe
         7   of different toxicological principles that       7       even you could -- you could look at it
         8   you discuss in your -- in your report,           8       through intraperitoneal injections,
         9   correct?                                         9       for example.
        10        A. Yes, because it's one of the            10   QUESTIONS BY MS. BOCKUS:
        11   most well-recognized textbooks that is used     11       Q. Well, and what the textbook
        12   across different either universities or         12   talks about is the fact that you need to
        13   schools or even in regulatory agencies.         13   study it to find out whether the effects are
        14             I would also say I cite EPA           14   additive, whether the effects are something
        15   2000 there. I'm not citing just Casarett,       15   that multiply the risk, you know, so that the
        16   but I am citing Casarett as well as an EPA      16   two together are greater than either one
        17   guidance document.                              17   alone, or do the effects offset each other
        18        Q. In Casarett and Doull, do they          18   and reduce the risk, correct?
        19   actually discuss talcum powder in Chapter 2,    19       A. That is discussed there --
        20   or is it more just the concept of the           20            MS. PARFITT: Objection.
        21   potential of the effects when you have two      21            THE WITNESS: -- which is why
        22   different chemicals that you're exposed to at   22       I've cited the EPA document. Because
        23   once or three or four?                          23       the EPA document addresses the issue
        24        A. It's the latter. It's the --            24       of mixtures, and this is the issue of
        25   because you'll notice the title is              25       mode of action. If you have chemicals

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         1   "Principles of Toxicology," so it's the          1       that you're looking at on the issue of
         2   general chapter teaching principles for risk     2       additivity or no effect, you will --
         3   assessment and toxicology as used in risk        3       you look at that issue of how they're
         4   assessment.                                      4       affecting the tissue and underlying
         5       Q. And whether there is an                   5       mechanism.
         6   additive effect of, say, talc and nickel,        6            But the only way to look at the
         7   that's something that an experiment could be     7       magnitude absolutely of how the risk
         8   designed to study, correct?                      8       would change is by doing an
         9            MS. PARFITT: Objection.                 9       experiment. That is true.
        10            THE WITNESS: If you're talking         10   QUESTIONS BY MS. BOCKUS:
        11       generally for cancer and not worried        11       Q. And to your knowledge, that
        12       about the issue of ovarian cancer, if       12   experiment has never been done; is that
        13       you're talking about cancer, like           13   correct?
        14       doing an inhalation experiment to look      14       A. I can't guarantee that it's
        15       what happens to the lung, that you          15   only been done for nickel and talc alone, but
        16       could do.                                   16   I would -- I would state that based on --
        17            The problem with the animal            17   there are studies out there that have been
        18       studies and ovarian cancer due to           18   done where they've used the body powder that
        19       perineal exposure is it's very              19   we know have metals -- a variety of things
        20       difficult to understand how you design      20   within it that are not just platy talc, but
        21       a study to expose the animals that way      21   those experiments are that kind of data.
        22       reliably in the way that humans are         22            But as far as gathering
        23       exposed.                                    23   dose-response information or teasing out
        24            But generally you could                24   individual components, that is not available.
        25       study -- you might even be able to do       25       Q. Do you agree that dose response


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         1   is the fundamental principle of toxicology       1       A. That is true with the exception
         2   that underpins the effects that chemicals can    2   of Parmley and Woodruff, which addresses this
         3   have on living organisms?                        3   issue of --
         4        A. When you're talking general              4            MS. PARFITT: Objection.
         5   toxicology, yes, I think it's talked about in    5            THE WITNESS: Talks about the
         6   the textbook.                                    6       issue of exposure from the outside to
         7        Q. And you agree that it is the             7       the inside.
         8   dose of the chemical and the pattern of          8            But the data that is collected
         9   exposure that determines whether a chemical      9       with the different studies they have
        10   produces an adverse effect on an organism,      10       deposited at some point -- at some
        11   not simply the presence of the chemical?        11       position within the vagina, that is
        12        A. For a typical dose-response             12       true.
        13   relationship for non -- for nongenotoxic        13   QUESTIONS BY MS. BOCKUS:
        14   events, absolutely, I would agree that is       14       Q. And that is not how talc is
        15   probably true. And I don't mean nongeno --      15   deposited in women who use it regularly in
        16   noncancer events.                               16   their daily routine, correct?
        17            In the issue of cancer biology,        17            MS. PARFITT: Objection.
        18   some of those issues don't hold all the time.   18       Misstates the evidence.
        19   In other words, there are certain chemicals     19            THE WITNESS: So I would say
        20   and certain ways of looking at cancer risk      20       that depends on what women are doing.
        21   assessment where you can't assume where the     21       Perineal application, for example,
        22   threshold is or identify what a safe dose       22       application on the underwear, can lead
        23   would be. But certainly I agree on the issue    23       to contact of the vaginal opening
        24   of noncancer risk assessment generally, or      24       depending on the woman.
        25   general end points of toxicity, that is true.   25            For example, a woman who has

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         1        Q. And again, do you agree that in          1        a -- had many children has a tract
         2   general toxicology the effects that might be     2        that is stretched. There, indeed, you
         3   reported at high doses will not occur at         3        can have more direct contact than you
         4   lower doses if the concentration at the site     4        can with a very tight -- so I would
         5   of action falls below the threshold for          5       say it depends on the woman and it
         6   toxicity?                                        6       depends on the situation.
         7        A. Yes, that could -- that could            7             But I do think it's generally
         8   be possible, yes.                                8       accepted, based on my review of the
         9        Q. And do you agree that                    9       literature, that there is the
        10   evidence-based toxicology and epidemiology      10       opportunity for exposure internally
        11   dictates that the dose of the chemical is the   11       from perineal application.
        12   critical factor when examining the risk posed   12   QUESTIONS BY MS. BOCKUS:
        13   by a chemical, not just its presence even in    13        Q. And if I understand what you
        14   the human body?                                 14   testified to earlier today and yesterday, you
        15        A. I would say that's generally            15   don't have any data that would advise on --
        16   true, yes, which is why I have attempted to     16   out of the talc that is deposited in the
        17   look at the dose-response relationship as       17   underwear, what percentage of it makes it
        18   well as the prevalence of the contact.          18   into the reproductive tract?
        19        Q. And with regard to the human            19       A. That's the data that's missing,
        20   studies that you cite, would you agree that     20   that is true. And unfortunately, no one has
        21   none of the studies that you cite in your       21   done a study. It would be -- if there was a
        22   report that have to do with migration of        22   way to do that, it would be interesting to do
        23   particles within the genital tract of the       23   that. I just don't see how you design that
        24   female involve applications to the perineum     24   study, especially knowing the hazard of talc
        25   or outside of the genital tract?                25   at this point. I think that would be a

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         1   difficult study to get approval for.             1   migration occurs every day, once a week, once
         2        Q. And do you have an opinion as            2   a month?
         3   to whether it is even correct that each day      3            MS. PARFITT: Objection. Form.
         4   that a woman uses talc in her underwear, that    4            THE WITNESS: I haven't
         5   some of the talc makes its way to the ovary?     5       formulated my point -- my opinion
         6             MS. PARFITT: Objection. Form.          6       quite that way; however, I do believe
         7             THE WITNESS: Have I -- can I           7       that it is something that is going to
         8        quantify that?                              8       happen routinely with exposure. I do
         9             No, I haven't quantified it. I         9       believe that migration is something
        10        think I got asked that earlier. I          10       that is going on routinely with
        11        can't quantify the amount that gets        11       application.
        12        there. Or, I'm sorry, I may have           12            So with applications, I do
        13        misheard the start of your question.       13       believe that that is, but I can't tell
        14        I apologize.                               14       you that this amount has migrated on
        15   QUESTIONS BY MS. BOCKUS:                        15       this particular day with this
        16        Q. Yeah, I'm really asking: Do             16       particular application, no. That --
        17   you have an opinion as to whether it happens    17       the data that we have collected is not
        18   every single time a woman applies talc to her   18       there to allow us to do that.
        19   perineal area? Does some of that talc make      19   QUESTIONS BY MS. BOCKUS:
        20   it to her ovary?                                20       Q. How do you define the word
        21             MR. MEADOWS: Objection.               21   "routinely" as you're using it in that
        22             MS. PARFITT: Objection.               22   answer?
        23             THE WITNESS: I don't think I          23       A. So that would be the idea of
        24        stated it quite that way, but              24   repeated exposures, you know, within a week,
        25        certainly I think the opportunity is       25   within a month, within a year. So not --

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         1      there with every application. And of          1   routine to me would not be -- would not be
         2      course it would depend upon the amount        2   applying it once a month one month, waiting
         3      of time that the contact may be in            3   six months, doing it again, and then not
         4      place. But the opportunity is there.          4   doing it until the next year.
         5            So, for example, if you applied         5              Again, it's the idea -- some
         6      it to your underwear and 30 minutes           6   people may -- routine may be during the hot
         7      later you go to the bathroom, it's            7   season of the year, they're routinely getting
         8      very possible that you will have wiped        8   daily exposures when it's warm, and during
         9      away, and so that that application may        9   the cold weather not applying. But then the
        10      have taken an opportunity away. But I        10   next year doing -- that's a routine for them
        11      do believe that the opportunity is           11   and their habits based on their pattern of
        12      there based on the literature I have         12   exposure.
        13      seen.                                        13              Again, we know that talc, when
        14            And so I haven't formed the            14   it -- when it migrates and gets into the
        15      opinion, though, that it's absolutely        15   body, we have data to show that it is -- it
        16      every time. My opinion, I think, is          16   is able to persist in the body. The fact
        17      based on the fact that I believe that        17   that you may have not been exposed for three
        18      there is data to indicate that               18   months because it was cold doesn't mean that
        19      exposure occurs, and that with               19   you -- that that changes the fact that you're
        20      routine, continual habit, sort of a          20   still at risk with additional exposures the
        21      habit exposure, that indeed that there       21   next -- the next time that that habit
        22      was some migration that occurs.              22   becomes -- comes into place.
        23   QUESTIONS BY MS. BOCKUS:                        23              So I think there's multiple
        24      Q. And is it fair to say that you            24   exposure patterns that are possible, but when
        25   don't have an opinion as to whether that        25   I use routine, it's something that people are


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         1   doing throughout their -- a period of their      1   opinion on a set number, no. I can't --
         2   life. And so it would be something that          2   can't point you a specific number.
         3   happens either on a weekly basis for a good      3             I'm not doing case-specific, so
         4   part of the year. I haven't defined it with      4   I've not looked at any of those pieces of
         5   a particular number, though, no.                 5   information for any given plaintiff.
         6         Q. And my question had to do with          6       Q. And I'm just trying to get the
         7   out of the number of times a given woman --      7   threshold.
         8   or an average woman uses talc, what              8       A. Uh-huh.
         9   percentage of the time does talc make its way    9       Q. As I understand it, that is
        10   into her reproductive tract?                    10   part of a toxicological evaluation, is the
        11        A. So I don't think that                   11   threshold below which there's not an issue.
        12   anybody -- anybody can point to a piece of      12             So I think you've said you
        13   data that tells you that, but, again, it's      13   don't know if it's less than a year, but you
        14   based upon the anatomy, I would expect there    14   think it's more likely than not that it's
        15   to be the potential each time it's applied.     15   greater than one month.
        16             And on your question on               16             MR. MEADOWS: Objection.
        17   routine, when I'm talking routine, I'm          17   QUESTIONS BY MS. BOCKUS:
        18   looking at not just frequency but also          18       Q. Is that fair?
        19   duration. So when I'm talking about dose,       19       A. No, that's not exactly what I'm
        20   it's the fact that they do it on a repeated     20   saying. I'm saying we don't know the
        21   basis for a number of -- a period of years as   21   threshold. So as a result, I'm not of the
        22   well.                                           22   opinion that it absolutely can't -- it only
        23             That's what the data shows in         23   has to be this long.
        24   the human studies. It's not something,          24             What I'm saying to you is per
        25   again, that may have been done routinely for    25   general principles of toxicology and based on

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         1   one year, but it does appear to be something     1   the human data that we have, it indicates
         2   that's done more -- longer term than that.       2   that it's more frequent than just one month,
         3             But we can't give a number. We         3   but I can't tell you that it's absolutely not
         4   have no threshold. We don't know exactly         4   possible.
         5   what that minimum number is.                     5             That's where -- I do think when
         6        Q. Do you think that the minimum            6   you're talking about those kinds of patterns,
         7   number is greater than a year?                   7   that's a case-specific issue for individuals,
         8             MS. PARFITT: Objection. Form.          8   because I think that would have to be
         9             THE WITNESS: I haven't formed          9   considered for each individual. But
        10        that opinion, no.                          10   certainly as a toxicologist, I'm using the
        11   QUESTIONS BY MS. BOCKUS:                        11   words "routine," "repeated," "longer
        12        Q. Do you think it's greater than          12   duration," "chronic exposure." And when I
        13   a month?                                        13   defined "chronic" earlier, I talked about
        14             MR. MEADOWS: Objection.               14   years of exposure versus just one month.
        15             THE WITNESS: Greater than a           15             That would be consistent with
        16        month?                                     16   what I have said, yes, but I'm not -- I -- I
        17   QUESTIONS BY MS. BOCKUS:                        17   certainly don't want to rule out that there
        18        Q. Yes.                                    18   couldn't be somebody out there that could
        19        A. One month in their life?                19   show something different, because it may very
        20        Q. One month in their life, where          20   well be that there are people that you can
        21   they're using it every day for a month.         21   identify with the presence of talc in their
        22        A. So I haven't formed that                22   ovaries and all of their other case-specific
        23   opinion at this point in time, but I'd say      23   things that could -- could make that pattern
        24   it's more likely to occur when you do it more   24   a -- make someone be able to draw a
        25   than a month. But I haven't formed an           25   case-specific, reliable conclusion.


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         1            But that's not my role. I              1   QUESTIONS BY MS. BOCKUS:
         2   don't do case-specific.                         2       Q. Okay. An ingredient supplier.
         3       Q. And I am simply trying to get            3             And you agree that Imerys does
         4   the parameters of your opinions with regard     4   not sell any products to the general public,
         5   to the amount of talc use one would need to     5   correct?
         6   have before you would feel comfortable --       6             MR. MEADOWS: Objection.
         7   well, that in your opinion would be             7             THE WITNESS: I don't know
         8   sufficient to create a toxic environment.       8       that's definitely true, but I'm not
         9            MR. MEADOWS: Objection.                9       aware that they do.
        10            THE WITNESS: Well, that's a           10   QUESTIONS BY MS. BOCKUS:
        11       different question. So toxic               11       Q. And what Imerys supplies to
        12       environment could be with a much           12   Johnson & Johnson is not a finished cosmetic
        13       shorter time exposure, okay?               13   that is ready to be sold on the market,
        14   QUESTIONS BY MS. BOCKUS:                       14   correct?
        15       Q. Right.                                  15             MR. MEADOWS: Objection.
        16       A. So but if you're talking                16             MS. PARFITT: Objection.
        17   about -- the opinion that I have formed has    17             THE WITNESS: I don't know that
        18   to do with an increased risk of ovarian        18       I can answer that except in the
        19   cancer. So with that opinion, that's the       19       context of Johnson & Johnson's baby
        20   description, I believe, I was giving this      20       powder, SHOWER TO SHOWER® and Shimmer,
        21   morning. It's the idea that the data that      21       it's my understanding that Johnson &
        22   I've seen indicates that my opinion that       22       Johnson mixes -- has some fragrance
        23   perineal use of talc body powder products      23       added to the talc.
        24   increases your risk for ovarian cancer above   24             I don't believe Imerys does
        25   that background level that you know exists.    25       that, but I don't know for sure.


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         1             That opinion is based on data         1              So based on what I know -- I'm
         2   that is -- is -- the supporting data would      2         telling you what I know, and I would
         3   indicate that it has to be a habit, routine,    3         call them, again, an ingredient
         4   a chronic exposure. And so as a                 4         supplier, and I would call Johnson &
         5   toxicologist, I've tried to put that in         5         Johnson a cosmetic manufacturer.
         6   context.                                        6              Does that answer the question?
         7             I don't know what else to tell        7     QUESTIONS BY MS. BOCKUS:
         8   you. That's the opinions I have formed to       8         Q. It does.
         9   date.                                           9              Would you agree that the
        10       Q. A chronic -- a habit, routine,          10     minerals that you have identified in your
        11   a chronic exposure for years?                  11     report, that the documents that you have
        12       A. Well, chronic --                        12     seen, would classify their -- to the extent
        13             MR. MEADOWS: Objection.              13     that they are ever in the powder, that
        14             THE WITNESS: -- is defined as        14     they're trace ingredients?
        15       years, typically, by a toxicologist,       15              MS. PARFITT: Objection.
        16       and so that's what I -- that's what I      16              MR. MEADOWS: Objection.
        17       told you.                                  17              THE WITNESS: So which
        18   QUESTIONS BY MS. BOCKUS:                       18         ingredients are you referring to?
        19       Q. Shifting to your regulatory             19              So some of the metals, no, are
        20   opinions, you would agree that Imerys is a     20         not trace ingredients.
        21   raw material supplier to J&J; is that          21              Are you talking about the --
        22   correct?                                       22         are you talking about the -- like the
        23             MR. MEADOWS: Objection.              23         presence of tremolite or the presence
        24             THE WITNESS: I would call them       24         of chrysotile --
        25       an ingredient supplier, yes.               25

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         1    QUESTIONS BY MS. BOCKUS:                      1   QUESTIONS BY MS. BOCKUS:
         2        Q. No. No, I'm sorry. I'm                 2       Q. Have you seen any studies where
         3    talking about the three metals that you       3   women's blood has reflected the presence of
         4    identify in your report. Those are trace      4   nickel or cobalt or chromium?
         5    elements that are -- that are sometimes       5            MR. MEADOWS: Objection.
         6    detected in the studies of the -- of the      6   QUESTIONS BY MS. BOCKUS:
         7    talc.                                         7       Q. Who are parts of these
         8             MR. MEADOWS: Objection.              8   studies -- these ovarian cancer studies?
         9             THE WITNESS: It's not how I          9            MR. MEADOWS: Objection.
        10        would say it. I would say they're        10            THE WITNESS: The
        11        heavy metal components that are          11       epidemiological literature you're
        12        naturally occurring within the product   12       asking me?
        13        that are sometimes -- sometimes          13   QUESTIONS BY MS. BOCKUS:
        14        detectable at levels that are reported   14       Q. Yes, ma'am.
        15        as trace based on the detection limit    15       A. It's possible in the Nurses'
        16        within the analysis, but at other        16   Health Study that we can go to that, because
        17        times they're not listed as trace.       17   I know they do collect some heavy metal
        18        They're actually listed with a           18   levels. I've done that for other clients on
        19        specific amount.                         19   other issues.
        20             So that's what -- how I would       20            Most of the others, I doubt
        21        define what I call trace. Usually        21   that we have heavy metal levels in blood.
        22        that's how it will be reported in the    22   But certainly there are levels of heavy metal
        23        lab, trace, which means below the        23   in blood, especially things like lead, for
        24        limit of quantification, but it's        24   example, that we have very limited capacity
        25        there. You're detecting it.              25   to eliminate.

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         1            I would agree that -- that            1            So whether or not you carry
         2       there are other descriptions of heavy      2   around a significant body burden of a heavy
         3       metals in the heavy metal literature       3   metal in your blood is somewhat driven by the
         4       that talk about trace amounts being        4   exposure pattern you get. It's something
         5       found in -- naturally occurring in         5   that's commonly -- or can you excrete it
         6       food, for example, and I agree that        6   quickly or not. So...
         7       that does occur. But in the case of        7       Q. And are you familiar with any
         8       this product, we actually have             8   studies that have suggested that the use of
         9       often -- we actually have a -- a limit     9   body powders leads to a heavy burden of
        10       that is set for acceptability in the      10   nickel, chromium or cobalt in the blood?
        11       specification.                            11       A. So I have not seen such
        12            And so I would think it's more       12   analysis done, no, I have not.
        13       proper to call it a level of the heavy    13       Q. In paragraph 67 of your report,
        14       metal that is allowable by the purity     14   which is on page 46 -- I'm sorry, on -- oh,
        15       specifications set by the product.        15   I'm sorry. Paragraph 64, I apologize.
        16       And sometimes those levels may be         16       A. No. No, that's fine.
        17       above, and most of the times those        17       Q. It's on page 44.
        18       levels are below, which is why it's       18            You cite to two abstracts --
        19       cleared. Because I've seen some           19       A. Yes.
        20       analyses where different products may     20       Q. -- one by Fletcher and one by
        21       have been, I guess, turned away or        21   Fletcher and Saed.
        22       considered not acceptable based on the    22            Do you consider these abstracts
        23       analysis of certain types of minerals     23   to be reliable sources of data?
        24       or metals.                                24       A. They're not as reliable at all
        25                                                 25   as a peer-reviewed article. So there's a


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         1   difference in the weight you give an            1         A. I attempted to do that. I
         2   abstract, absolutely.                           2   can't tell that you there isn't something in
         3            However, knowing the papers            3   here I've missed. But, yes, I read this
         4   that Dr. Saed has actually published in the     4   report six or seven times before I finalized
         5   peer-reviewed literature, I have -- I have      5   it, trying to make sure that the language I
         6   mentioned them in here because I do believe     6   was using was an accurate reflection of the
         7   that they are -- they are pieces of             7   opinion I'm expressing.
         8   information that are highly relevant to some    8               But it's possible, if you want
         9   of the issues raised in other cellular          9   to point to something that you want to ask me
        10   studies, and so that's why they're here. But   10   about, I can tell you whether or not that was
        11   certainly I do not give them the same weight   11   something that I would change.
        12   as in my assessment of overall risk.           12         Q. So on page 77, paragraph 118 in
        13            And I would say that I had the        13   the middle of it, you say, "Based on the
        14   same opinions on risk before I had these       14   knowledge available by the 1950s, talc body
        15   studies. Because in my original reports,       15   powders manufactured and sold by Imerys and
        16   obviously, I have gone further than risk and   16   Johnson & Johnson."
        17   talked about cause, and I didn't have the      17               And that's the question that I
        18   Fletcher studies.                              18   have for you.
        19            The Fletcher studies are more         19         A. I see what you're saying.
        20   on the issue of biologic plausibility and      20         Q. Was Imerys selling anything to
        21   mechanism versus being important               21   Johnson & Johnson in the 1950s?
        22   underpinnings, for example, for a hazard       22               MR. MEADOWS: Objection.
        23   assessment.                                    23               THE WITNESS: I'm thinking.
        24       Q. Is there any way that someone           24         It's possible they did not. That may
        25   reading your report could tell that you        25         be true.

                                             Page 315                                             Page 317
         1   attribute less weight to the abstracts by       1   QUESTIONS BY MS. BOCKUS:
         2   Saed and Fletcher just by reading your          2         Q. Well, and actually --
         3   report?                                         3         A. You know what? When I wrote
         4              MR. MEADOWS: Objection.              4   this sentence, I assumed that they did, but
         5              THE WITNESS: I don't know if         5   if that is not true, then certainly this
         6        they could or not. Hopefully they          6   sentence should be just Johnson & Johnson.
         7        would based upon where they appear in      7         Q. Well, earlier in your report,
         8        the report. They're not cited a lot        8   in a footnote you indicate that Imerys began
         9        of other places, but they certainly        9   supplying talc to Johnson & Johnson in 1989
        10        are cited.                                10   or the late 1980s.
        11              So that's why I'm here today,       11             Do you remember making that
        12        though. You're asking me these            12   notation?
        13        questions; I'm telling you. That's        13         A. So let me look. So if that's
        14        how I look at these studies. That's       14   an inconsistency, then that should change.
        15        all I can say.                            15   Let me look.
        16              I haven't -- I haven't,             16         Q. And that's all I want to know,
        17        certainly, as I've told you, given        17   if it's an inconsistency, should it change.
        18        things numerical weight throughout my     18         A. If it is an inconsistency --
        19        report.                                   19   certainly if Imerys was not selling talc to
        20   QUESTIONS BY MS. BOCKUS:                       20   Johnson & Johnson in 19 -- the 1950s, then --
        21        Q. Looking at paragraph 118...            21   then certainly Johnson & Johnson's products
        22              Well, when you were preparing       22   would not -- would not be affected by Imerys'
        23   your report, were you careful with the         23   activity.
        24   language that you used in it to be precise     24             However, if Imerys is selling
        25   and accurate?                                  25   talc to anyone that makes a consumer product


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         1   in the 1950s, then -- or a precursor company     1   complete assessment the way I did, then I
         2   to Imerys is making talc that's selling for      2   would agree that other people could come to a
         3   body powder to somebody other than Johnson &     3   different conclusion, absolutely.
         4   Johnson, then that opinion would still hold.     4             So I think it depends what you
         5            So -- but I certainly agree, I          5   mean by "reasonable scientist." But I would
         6   think I -- you're right, I think I have a        6   agree that individuals can look at the same
         7   statement about the link between the two in      7   body of data and, based on their judgment and
         8   '89. So in that case, then certainly the --      8   experience, based on looking at that same
         9   the link here would be related to Johnson &      9   body of data, could come to a different
        10   Johnson's products.                             10   conclusion, yes. That's true.
        11       Q. Okay. Yeah.                              11       Q. You've been involved in this
        12       A. Whether or not -- if they                12   talc litigation for at least a couple of
        13   weren't sourced from Imerys, then that's a      13   years, right?
        14   separate duty on a product, not this product.   14       A. Yes.
        15       Q. If you look on the bottom of             15       Q. And you know that various
        16   page 7, I think you'll see the footnote I was   16   defendants have offered experts who disagree
        17   referencing.                                    17   with your conclusions, right?
        18            And with regard to your last           18       A. Some of my conclusions, yes. I
        19   answer, you don't have any information as to    19   don't know that there is somebody that's in
        20   whether Imerys existed and, if it did,          20   the litigation that does exactly what I do
        21   what -- who its customers were in 1950s,        21   across all the opinions I've expressed, but,
        22   correct?                                        22   yes, certain parts of my opinions there are
        23       A. I don't believe I do, no.                23   other experts I'm aware of, yes.
        24            MS. BOCKUS: I think that's all         24       Q. Well, they -- you're aware that
        25       that I have. Thank you.                     25   there are defense experts who disagree with

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         1            MR. LOCKE: I've got a few               1   your opinion that talc increases the risk of
         2       questions.                                   2   ovarian cancer; is that correct?
         3               EXAMINATION                          3        A. Yes, I -- I am aware of that
         4   QUESTIONS BY MR. LOCKE:                          4   fact.
         5       Q. Doctor, my name's Tom Locke. I            5        Q. And in your review of the
         6   represent the Personal Care Products Council.    6   records that go back or the scientific
         7   We met a couple of times before, I think.        7   materials that go back 35 years or more,
         8       A. I apologize, I don't recall               8   you've seen that there's disagreement
         9   your name at least. The face looked              9   regarding that issue; is that correct?
        10   familiar, though. I apologize.                  10        A. So what documents are you
        11       Q. I try to maintain a low                  11   referring to? Are you asking me about a
        12   profile.                                        12   specific -- just the published medical
        13            I have relatively few                  13   literature? Are you asking about documents
        14   questions. I wanted to ask you overall about    14   like internal company documents, reviews by
        15   your opinion.                                   15   others? What are you asking me about?
        16            Would you agree that reasonable        16        Q. Well, let's focus on the
        17   scientists can disagree with your opinion       17   published medical literature.
        18   that talc increases the risk of ovarian         18             There are scientists who have
        19   cancer?                                         19   disagreed with your opinion; is that correct?
        20       A. I'd say I wouldn't say it quite          20             MS. PARFITT: Objection.
        21   that way. I'd say that I agree that             21             THE WITNESS: I'm not aware of
        22   scientists can disagree on conclusions they     22        a paper in the published medical
        23   draw, depending on the -- depending on the      23        literature that has done the exact
        24   way that they have assessed.                    24        assessment I have done.
        25            So certainly based on a                25             So I am aware of the fact,


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         1       however, that there are individual           1   what I've been doing in the litigation.
         2       papers by scientists that, for               2       Q. Okay. As to that second
         3       example, have concluded that there is        3   bucket, the US regulatory requirements for
         4       no association between exposure to           4   marketing cosmetic ingredients and products,
         5       talc perineally and ovarian cancer,          5   that's not relevant to the scientific
         6       yes. Individual papers, I am aware of        6   question whether talc may cause ovarian
         7       that, but that's different than what I       7   cancer; am I right?
         8       have done.                                   8       A. No. I disagree with that based
         9   QUESTIONS BY MR. LOCKE:                          9   on the fact that a company that markets a
        10       Q. Let me just ask you about what           10   cosmetic product is required to do a safety
        11   you were requested to do on behalf of           11   assessment. And if in that safety assessment
        12   plaintiff's counsel.                            12   issues relate to cancer or ovarian cancer and
        13            Plaintiff's counsel asked you          13   the use of talc, then those two things are
        14   to provide opinions related to the human        14   related.
        15   health hazards posed by exposure to talcum      15            But I would agree that -- that
        16   powder products and how those hazards relate    16   doing a risk assessment like I've done is a
        17   to the regulatory requirements for marketing    17   separate issue from doing a safety assessment
        18   cosmetic ingredients and cosmetic products in   18   for a product, because there's actually even
        19   the United States; is that correct?             19   a lesser standard for an issue of looking at
        20            MR. MEADOWS: Objection.                20   a safety assessment for a product versus
        21            THE WITNESS: I didn't write            21   actually forming the opinion that there is an
        22       that, but that sounds like an accurate      22   increased risk of cancer with exposure to
        23       reflection of what -- what we -- what       23   talc.
        24       I have done at least in parts of my         24       Q. Now, did IARC in 2006, did it
        25       report, yes.                                25   look at the US regulatory process in

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         1   QUESTIONS BY MR. LOCKE:                          1   considering whether talc may cause ovarian
         2       Q. Well, if you look at your                 2   cancer?
         3   report, I think you go to part where you were    3            MR. MEADOWS: Objection.
         4   asked to provide -- and I just pulled it from    4            THE WITNESS: I don't think I
         5   what you said.                                   5       understand what you mean. It's not a
         6       A. So I did write it, I apologize.           6       US regulatory process, no, if that's
         7   It didn't sound like me.                         7       what you're asking me.
         8       Q. It started with "to provide               8            They have a -- they have a
         9   opinions related to the human health hazards"    9       discussion of what the products are,
        10   and so forth, so I just wanted to make sure     10       which is part of the way they're sold.
        11   we're clear on that.                            11       But I don't think they're discussing
        12       A. Sure.                                    12       the duty of a company under the
        13       Q. So does that sound right in              13       regulatory process, no, that's a
        14   terms of what you were asked to do?             14       separate issue.
        15       A. I said I -- certainly those are          15   QUESTIONS BY MR. LOCKE:
        16   the kinds of things that I was definitely       16       Q. So their analysis of whether
        17   asked to do. I was asked to do two basic --     17   talc may cause ovarian cancer, that's
        18   two basic things, which was having to do with   18   different than the analysis of whether a
        19   toxicology and risk assessment, and then a      19   company may have a duty, whatever that duty
        20   separate issue related to regulatory            20   may be?
        21   concerns.                                       21            MR. MEADOWS: Objection.
        22            So, yes, those are the two             22            THE WITNESS: It's a different
        23   basic, I guess, buckets of information and      23       process, absolutely. IARC is a
        24   documents that I reviewed and opinions I've     24       separate, independent body that does
        25   expressed, and I think that's consistent with   25       an assessment looking at the issue of


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         1       cancer hazard and looking at whether         1      this is a different assessment and
         2       or not there is sufficient evidence to       2      different standard. It's a much lower
         3       categorize that hazard, whereas a duty       3      standard on cosmetics for what needs
         4       of a company under the regulatory            4      to be done as far as warning.
         5       situation is broader than just cancer        5           Now, when a company comes and
         6       hazard; it's a whole different thing.        6      initiates a safety assessment on their
         7       It's what you do internally before you       7      product, before they even think about
         8       market a product. Totally different.         8      what am I going to warn, they should
         9             And so certainly when I --             9      be doing a comprehensive assessment of
        10       that's why I have separate sections in      10      safety based on what's available
        11       my report, and that's why I even            11      publicly, knowing what others have
        12       have -- I've had discussions about the      12      reported and then what data they've
        13       difference between the regulatory           13      collected.
        14       standard for warning versus the             14           If they don't have data at all
        15       assessment of risk that may be              15      on the safety of the product, then the
        16       required in order to start to produce       16      product has to say that. We don't
        17       a -- identify a association or an           17      know. We do not know if this product
        18       increased risk or even if you did a         18      is safe. And that's one of the things
        19       causation analysis. Totally different       19      that is allowed under FDA -- under FDA
        20       type of exercise.                           20      regulations as well.
        21    QUESTIONS BY MR. LOCKE:                        21           But essentially some -- some
        22       Q. Do you first, in that exercise,          22      assessment must be done to understand
        23    look at the scientific issue of whether talc   23      from the perspective of the company
        24    may cause ovarian cancer?                      24      that this product is safe for
        25       A. Are you asking me in either of           25      consumers to use as -- under the

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         1   these exercises?                                 1       directions of use.
         2       Q. Well, let's say when you're               2             So in the case of this, it
         3   getting to -- you mentioned the duty to warn.    3       would be a body powder being used on
         4   So if you're looking at the duty to warn, do     4       the body surface but also perineally
         5   you first have to look at does talc cause        5       because -- because that was an
         6   ovarian cancer?                                  6       exposure pattern that was understood.
         7             MR. MEADOWS: Objection.                7   QUESTIONS BY MR. LOCKE:
         8             THE WITNESS: That's not the            8       Q. Okay. You described two
         9       question you asked. No. I would              9   different buckets. They're independent
        10       argue, based on the regulations, if         10   assessments; is that correct?
        11       you look at the standard, the question      11             MR. MEADOWS: Objection.
        12       is, is there evidence to indicate that      12             THE WITNESS: Initially that's
        13       there is a chance, there is a               13       where I started, and now I'm talking
        14       potential -- not that it does, but is       14       two different duties. There's a duty
        15       there a potential for that type of          15       to warn, but there's first a duty to
        16       hazard to be posed to consumers who         16       collect information before you market
        17       use the product.                            17       it. It's your premarket safety
        18             It's a possibility versus being       18       assessment.
        19       a -- I'm taking it beyond possibility       19   QUESTIONS BY MR. LOCKE:
        20       when I'm doing my assessment for            20       Q. Okay. I'm not actually talking
        21       increased risk. And I talked about          21   about the manufacturer's duty. I wanted to
        22       that this morning, and I can't              22   just first address your scientific analysis.
        23       remember her last name. The                 23             That's a separate question that
        24       Johnson -- I apologize. But I -- with       24   led you to your opinion on the -- your
        25       Johnson & Johnson. I talked about           25   opinion that talc increases the risk of

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         1   ovarian cancer, correct?                         1   also sort of -- that's a piece along the way
         2            MR. MEADOWS: Objection.                 2   to doing a causation analysis, but it's not
         3            THE WITNESS: Yes, that's what           3   the same.
         4       I described. And I thought you were          4       Q. Your opinion regarding the
         5       talking about duty of the company, and       5   FDA's responsibilities and functions, that's
         6       so I apologize. I didn't mean to go          6   not related to your opinion that talc may
         7       off on a tangent.                            7   cause an increased risk in ovarian cancer; is
         8            If you want to focus just on            8   that correct?
         9       the risk assessment -- is that what          9            MR. MEADOWS: Objection.
        10       you want to do? -- that's what I'm          10            THE WITNESS: I don't think
        11       doing.                                      11       that's true the way you're asking that
        12   QUESTIONS BY MR. LOCKE:                         12       question, because I don't know how you
        13       Q. No, I just want to understand,           13       divorce the fact that as a -- in a
        14   those are two different things, though,         14       regulatory assessment, if I identify
        15   right?                                          15       cancer hazard, I have identified a
        16       A. Those are two different --               16       duty to warn. That's certainly
        17   those are two different tasks that I            17       something that should be warned about
        18   undertook, yes. I undertook a risk              18       when I understand that there's not
        19   assessment task to form opinions based on       19       only the potential, but I believe
        20   what I can say about risk, and then I           20       there's an increased risk.
        21   separately -- and I had done this earlier on    21            But I would agree with you that
        22   the issue of warnings, looking at what do we    22       in my report, I'm laying out for you
        23   know about the product and whether or not --    23       even different bodies of information
        24   and when did we know it, and what should        24       that -- as I step through it.
        25   consumers have been warned about based on the   25            Does that make sense to you?

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         1   safety information that was available over       1   QUESTIONS BY MR. LOCKE:
         2   time.                                            2       Q. Not really.
         3        Q. The risk assessment task,                3       A. I'm sorry.
         4   that's what you mean by your analysis that       4       Q. I'm talking about your
         5   talc increases the risk of ovarian cancer?       5   scientific analysis here, not your regulatory
         6        A. That's correct.                          6   analysis.
         7        Q. You could have stopped at that,          7            To do your scientific analysis,
         8   but then you performed an additional task; is    8   you looked at scientific materials, right?
         9   that right?                                      9       A. Yes, but I do the same thing
        10        A. Well, actually, no, because the         10   for my regulatory analysis. That's why I'm
        11   first task I actually started with was the      11   confused. I -- to me they are connected.
        12   regulatory task. When I first started           12            But I would agree with you, I
        13   getting involved in the litigation very --      13   had an analysis. Let's just talk about that,
        14   before I wrote my first report, one of the      14   my analysis on risk assessment and my
        15   first things I was looking at was the issue     15   opinions that I've expressed. Those are laid
        16   of the duty of the manufacturer to provide      16   out in a separate section of my report,
        17   warnings.                                       17   absolutely. So we could talk about that if
        18             And then after that, I expanded       18   you'd like.
        19   that role to be an inclusion as well of a       19       Q. Well, I just want to
        20   causation analysis.                             20   understand, and I think I do now, that's a
        21             And then now I'm not doing a          21   separate issue from your regulatory opinion?
        22   full causation analysis in this litigation,     22       A. It's not a separate issue.
        23   but I'm using essentially some of the same      23   That's where I'm having trouble with your
        24   information to provide you with a description   24   language.
        25   of a -- a health risk assessment, which was     25            It's a separate task because,


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         1   for example, I may have only been asked, but     1       But I practice in both those areas in
         2   I wasn't, to just describe whether or not, as    2       my consulting practice and in my
         3   a human risk assessor and toxicologist, there    3       experience.
         4   is a hazard or a risk posed by the product,      4   QUESTIONS BY MR. LOCKE:
         5   and I could stop there.                          5       Q. Let me ask you a few questions
         6             But I was asked, based on --           6   about your cosmetic ingredient review
         7   based on my experience working in the area of    7   statements, CIR.
         8   regulatory toxicology but also on regulatory     8            We can agree to call it that,
         9   issues for clients where I give advice, I was    9   right?
        10   asked to look at how does that scientific       10       A. Yes, that's fine.
        11   information impact what the company should be   11       Q. In parts of your report, you
        12   doing.                                          12   cite the CIR as an authoritative source on
        13             And so that's -- that's why I'm       13   cosmetic ingredients; is that correct?
        14   saying you can't divorce them, because the      14       A. So where are you looking at,
        15   warning issue I'm talking about is intimately   15   the background information on the CIR?
        16   tied into the human health risk assessment      16            Yes, they certainly are a
        17   results.                                        17   source of information that FDA relies upon as
        18        Q. So do you consider yourself             18   far as assessments, yes, that's true.
        19   primarily here as a warning expert?             19       Q. Well, and on page -- or
        20             MR. MEADOWS: Objection.               20   paragraph 35, page 23, you cite to the CIR
        21             THE WITNESS: I consider that          21   on, for example, chemicals purportedly in
        22        one of my roles, yes, absolutely.          22   cosmetics. You have a footnote there.
        23             It depends upon how individual        23       A. So --
        24        cases, individual attorneys, will --       24       Q. I believe it's footnote 31.
        25        will ask -- decide to use me. For          25       A. Yes, I have looked at -- looked

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         1       example, I have been used in one trial       1   at the CIR as a source of information because
         2       to only talk about the toxicology.           2   many of the chemicals, many of the
         3       Other trials, I've talked about              3   ingredients within the fragrance of Johnson &
         4       toxicology as well as regulatory             4   Johnson, the only available information may
         5       issues. So I think it just depends on        5   be found within the CIR that's publicly
         6       the case.                                    6   available.
         7             In the MDL, I am prepared,             7       Q. And you rely on the report of
         8       however, to come to talk at a trial on       8   Dr. Cralley; is that correct?
         9       the regulatory system that guides            9            MR. MEADOWS: Objection.
        10       cosmetics as well as provide opinions       10            MS. PARFITT: Objection.
        11       that talk about what are the hazards        11   QUESTIONS BY MR. LOCKE:
        12       of talc, what is the toxicology of          12       Q. You reference Appendix D to
        13       talc, what do -- how can you be             13   your report. I believe if you stay on the
        14       exposed to talc, that migration issue,      14   same page you'll see that, the same
        15       and then my opinions about whether or       15   paragraph.
        16       not I believe that there is an              16       A. I wouldn't say I rely on the
        17       increased risk of ovarian cancer.           17   report of Dr. Cralley because I form my
        18             So I would be -- be prepared to       18   opinions independent of Dr. Cralley, but
        19       talk about both of those things.            19   certainly his -- I believe if you go to his
        20       That's why I said I do think I'm a          20   reports, his report is supportive of my
        21       little different than some of the           21   opinions in this area.
        22       other experts that you may encounter,       22       Q. Did you read his report?
        23       for example, in the defense side,           23       A. I have read it now, but I did
        24       where someone may just do regulatory        24   not read it before I -- before I formed my
        25       or somebody may just do toxicology.         25   opinions in this particular paragraph, yes.


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         1        Q. I'm a little confused because            1   is no other source available.
         2   you're citing to his report.                     2        Q. Okay. In your report you state
         3            You read it or you didn't read          3   that the CIR process is administered
         4   it before you wrote this paragraph?              4   independent of the FDA.
         5        A. I read it before I wrote the             5             But the FDA is on the CIR
         6   paragraph. I didn't read it before I had         6   steering committee; is that correct?
         7   formed the opinion. Do you understand what       7        A. That is correct.
         8   I'm saying?                                      8        Q. You don't mention that in your
         9            I did my review of the irritant         9   report, although you mention others who were
        10   chemicals independently before I looked at      10   on the CIR steering committee, correct?
        11   Dr. Cralley's report. So I had formed the       11        A. Yes, there's a paragraph where
        12   opinion that -- of the chemicals I had          12   I talk about others, yes.
        13   searched for that this is what I identified.    13        Q. But you don't mention that the
        14   And that's what this is talking about, right?   14   FDA is on the steering committee?
        15            I'm saying here that of the            15        A. I believe I -- I believe I've
        16   more than 100 chemicals included, over          16   been asked that question before, and I said
        17   70 percent are compounds linked with some       17   yes, but certainly in this report I don't
        18   level of irritant hazard. That was done on      18   believe I state that, that is true.
        19   my own.                                         19        Q. CIR solicits input from the
        20            Then, if you go to look at             20   public; is that correct?
        21   Dr. Cralley's report, I cite it here because    21             MS. PARFITT: Objection.
        22   it's consistent. That is, his report            22             THE WITNESS: I would say they
        23   provides support additionally for the           23        solicit input from industry, yes.
        24   statement I'm making.                           24   QUESTIONS BY MR. LOCKE:
        25            So I'm not relying on his              25        Q. Well --

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         1   conclusions to make my opinion, but it's         1       A. But they -- and they do have a
         2   certainly -- I am citing it here as it being     2   public comment period, which is mainly input
         3   a piece of evidence that is consistent with      3   from industry.
         4   my opinions.                                     4            But I agree that they do -- and
         5        Q. Sorry, I seem to have messed up          5   if what you're referring to is a public
         6   my microphone. I'll try to hold it for a         6   comment period, yes, there is that for the
         7   little bit then.                                 7   documents.
         8             Do you disagree with                   8       Q. You can go on the website and
         9   Dr. Cralley's report?                            9   see what ingredients CIR is going to review,
        10        A. I have not formed an opinion            10   right?
        11   that I agree or disagree. He -- with his --     11       A. Yes, you can.
        12   I believe he has information that is            12       Q. Have you done that?
        13   consistent with the opinion I'm expressing in   13       A. Yes, I've done it many times
        14   the sentence, however.                          14   before.
        15        Q. And do you know that                    15       Q. Okay. And did you submit
        16   Dr. Cralley repeatedly cites to the CIR as an   16   comments on talc in 2012?
        17   authoritative source regarding cosmetic         17       A. No, I did not.
        18   ingredients?                                    18       Q. Okay. You could -- the public
        19        A. I don't know that he uses that          19   can submit comments many times during the
        20   exact language, but he does cite to it, yes,    20   process of an ingredient review; is that
        21   in his report. Certainly he does.               21   correct?
        22        Q. More than 20 times, right?              22       A. There are different --
        23        A. That, I have not counted. I             23   different stages of the draft document. Is
        24   can't tell you that. But he does, just like     24   that what you're asking me? Yes, that can be
        25   I do, as a source of information when there     25   done.


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         1       Q. Well, even before it's a draft,           1   submitted.
         2   CIR is soliciting information about the          2       Q. And CIR meetings are open to
         3   ingredient to include in the initial             3   the public, right?
         4   materials provided to the expert panel; isn't    4       A. That is true, they are open to
         5   that correct?                                    5   the public, but in my experience it -- they
         6       A. Technically I believe that is             6   are not meetings that are heavily attended by
         7   true, but I would disagree that that is          7   the public but indeed are -- tend to be
         8   something that happens routinely. But I          8   meetings attended by industry stakeholders
         9   would agree that -- I would say technically      9   within the ingredients that are being
        10   you may be -- that is something that could      10   reviewed.
        11   occur, yes, but that is not the situation,      11       Q. You know Mr. Steinberg here.
        12   for example, in the case of talc.               12   He was a plaintiff's expert for a while?
        13       Q. Why not?                                 13       A. I don't know him personally,
        14       A. Based upon what I have seen              14   but I know his name and I know he was a
        15   described as how the review was done, and       15   plaintiff's expert, yes.
        16   that has to do with the testimony of            16       Q. You know he attended the talc
        17   different -- or different documents that I've   17   meeting, right?
        18   reviewed and the testimony of individuals       18       A. Yes, I believe he was working
        19   related to this document.                       19   with indus -- he works with industry, so I
        20       Q. Well, Dr. Cramer could have              20   believe indeed he did attend that meeting.
        21   submitted comments to the CIR regarding talc,   21       Q. You're not claiming he was
        22   couldn't he?                                    22   working with any industry member regarding
        23            MR. MEADOWS: Objection.                23   talc, are you?
        24            MS. PARFITT: Objection.                24       A. That's not what I stated. I
        25            THE WITNESS: You'd have to ask         25   know he's a consultant to the cosmetic

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         1        Dr. Cramer if he was aware that they        1   industry, so it doesn't surprise me. And I
         2        were reviewing it. I can't answer           2   believe he lives in the area, so it doesn't
         3        that for Dr. Cramer.                        3   surprise me that he attended.
         4             But if he was aware of it,             4            I haven't spoken to him about
         5        certainly -- if you're aware of the         5   any of that, though, so I have no specific
         6        process going on and the timing of it,      6   details of that.
         7        certainly you can submit comments.          7       Q. Transcripts of the meeting are
         8        I'm not disagreeing with you on that.       8   available to the public, right?
         9        That is true.                               9       A. You can download the
        10   QUESTIONS BY MR. LOCKE:                         10   transcripts, yes.
        11        Q. CIR publishes in advance what           11       Q. They're on the website?
        12   it's going to review; isn't that correct?       12       A. That's what I said. You can
        13        A. What is coming up for review?           13   download. I'm sorry.
        14        Q. Yes.                                    14       Q. Okay.
        15        A. Yes, things that are proposed           15       A. Yes, you can download them from
        16   for the next meeting, yes, that's true.         16   the website.
        17        Q. And you could submit comments           17       Q. Did you submit comments to the
        18   to the first draft of the CIR report; isn't     18   CIR regarding talc?
        19   that correct?                                   19       A. No, I did not.
        20        A. I would agree that that is              20       Q. Why not?
        21   possible to happen, yes.                        21       A. I wasn't aware of the process
        22        Q. And you can submit comments             22   that was going on in the draft form at the
        23   before the final report is drafted, correct?    23   time.
        24        A. Yes, as long as it's still in           24       Q. Why is that?
        25   draft form, yes, those comments can be          25       A. I was not following the CIR for

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         1   talc at that particular time. I have a lot       1   same level of review of any of these
         2   of other clients and a lot of other issues       2   ingredients as can be provided -- as was
         3   that go on on a routine basis, and I -- I        3   provided by the IARC.
         4   literally would not have time to follow every    4             And so, again, that's one of
         5   assessment they do, considering that they do     5   the comparisons I'm doing. I'm talking about
         6   thousands of chemicals.                          6   the difference in the time, the effort, the
         7        Q. Did you know of the CIR prior            7   difference in the independence of the
         8   to your retention by plaintiff's counsel?        8   reviews. And so that -- when I'm talking
         9        A. Yes. In fact, I -- one of the            9   about, those numbers, that's what I'm
        10   journals that I receive, International          10   focusing on. I'm focusing on the fact that
        11   Journal of Toxicology, maybe, publishes many    11   you have so many reviews in a very short
        12   of their safety assessments. So I certainly     12   period of time, with a one-expert panel, it's
        13   am, yes.                                        13   impossible for that level of analysis and
        14             I was aware -- when I was at          14   review to be anywhere near what IARC panels
        15   Eviron, I was aware of the existence of CIR.    15   do, and also nowhere near the level of review
        16        Q. Have you ever provided prior to         16   that I have done based on the number of
        17   this litigation -- and by "this litigation" I   17   documents that I have analyzed and looked at.
        18   mean any aspect of the talc litigation -- an    18   So it's a different type of review.
        19   expert opinion on cosmetics' ingredients?       19       Q. Let me ask you a few questions
        20        A. You're asking me in any other           20   because you have criticized the panel.
        21   litigation on a cosmetic ingredient?            21             You would agree with that,
        22             I'm thinking back to the cases        22   correct?
        23   I've worked on. Not as a -- not as a            23       A. Yes. Oh, absolutely. This
        24   testifying expert.                              24   particular analysis I have. I have made some
        25             At Eviron, though, we worked on       25   general criticisms of the overall process,

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         1   litigation involving cosmetic ingredients,       1   and then I made some specific criticisms of
         2   thought I was not the testifying expert.         2   this particular review.
         3        Q. In your report you talk about            3        Q. And one of your criticisms is
         4   the percentage of -- or the number of            4   that the CIR -- I think you said two CIR
         5   ingredients that the CIR listed as unsafe.       5   expert panelists had conflicts of interest;
         6            Do you recall that?                     6   is that correct?
         7        A. Yes. I mean, if you want me to           7        A. Yes, that -- they did, that
         8   verify the number, I need to go there. But,      8   were not -- that were not -- I believe not
         9   yes.                                             9   understood even by Dr. Andersen at that time.
        10        Q. You don't mention that CIR has          10   I think these are things brought up to him
        11   put limitations on approximately 50 percent     11   that he was not aware of.
        12   of the ingredients that it has reviewed, do     12        Q. All right. Now, you read his
        13   you?                                            13   testimony in one of the trials in California,
        14        A. I don't mention that, but they          14   right?
        15   do. They have -- they have -- when they have    15        A. Yes, that's the -- in fact,
        16   a statement about safety, they will -- they     16   that's the source of the information where
        17   will often talk about the limitations from      17   I'm citing to those names of those
        18   the safe use based on either concentration or   18   individuals. I think I refer to that, his
        19   even maybe route of exposure, that is true.     19   trial testimony.
        20        Q. Why don't you do that? Why              20        Q. And didn't he, though, say,
        21   didn't you include that in your report?         21   well, he didn't view it as a conflict of
        22        A. No particular reason. I mean,           22   interest because the money wasn't going to
        23   the point I'm trying to make is really the      23   them personally, it was going to their
        24   workload that's going on here and the           24   organizations?
        25   impossibility of the task of providing the      25        A. He did make that statement,


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         1   yes.                                            1       from an industry or a company that has
         2        Q. And you disagree with that              2       to do with the issue you're looking
         3   statement?                                      3       at, yes, a conflict -- a conflict of
         4        A. I don't -- I mean, his                  4       interest absolutely needs to be
         5   testimony is what it is.                        5       described.
         6              Are you asking me do I disagree      6   QUESTIONS BY MR. LOCKE:
         7   that that's a conflict of interest?             7       Q. And that would -- well, let me
         8              I disagree that you shouldn't        8   just ask you: You're not an ethicist, are
         9   disclose that as a potential conflict in the    9   you?
        10   documents that are produced, just like I do    10       A. No, I'm not trained as an
        11   when I write an article and I disclose that    11   ethicist.
        12   I've had funding. I don't say what the         12       Q. And you're not a lawyer, are
        13   funding specifically paid for, but I've had    13   you?
        14   funding or support from this industry          14       A. Well, no, but I have passed the
        15   individual or that industry individual.        15   patent bar, but I'm not trained as a lawyer.
        16   It's -- it's something that just is about      16       Q. That doesn't make you an
        17   transparency.                                  17   ethicist, right?
        18        Q. So when you write articles, you        18       A. No, it does not.
        19   say that you've been paid a lot of money by    19       Q. Okay. Let's talk about one of
        20   plaintiffs' lawyers?                           20   the people you criticized, Dr. Wilma
        21              MR. MEADOWS: Objection.             21   Bergfeld.
        22              MS. PARFITT: Objection.             22             Did you know she was the first
        23              THE WITNESS: Well, I haven't        23   woman who was the president -- to be the
        24        written an article that overlaps with     24   president of the American Academy of
        25        an issue that I've addressed in           25   Dermatology?

                                             Page 351                                            Page 353
         1       plaintiffs' litigation, but I               1        A. No, I don't know her
         2       certainly have given my conflict of         2   personally, so, no, I did not know that.
         3       interest statements that relate to the      3        Q. Did you investigate her at all
         4       issue in the article.                       4   when you criticized her?
         5            I do that -- I've done that            5        A. I wasn't criticizing her, I was
         6       with -- on my work -- several of my --      6   criticizing the CIR process for failing to
         7       several of my assessments talking           7   disclose the conflicts of interest of
         8       about risks of pesticides. I've done        8   individuals that were involved in their
         9       it with the work that I've done that        9   assessment.
        10       that's been sort of, I guess,              10             I certainly am not giving
        11       policy-type work on behalf of the          11   personal criticism to either of those
        12       American Chemistry Council.                12   individuals.
        13            So absolutely I do.                   13        Q. You would agree that the
        14   QUESTIONS BY MR. LOCKE:                        14   American Academy of Dermatology is a
        15       Q. Okay. You don't think it's              15   reputable organization?
        16   relevant that you receive 50 percent of your   16        A. I haven't formed an opinion one
        17   money solely from plaintiffs' products         17   way or the other; however, I'm aware of them,
        18   liability lawyers?                             18   and certainly I know individuals that are
        19            MR. MEADOWS: Objection.               19   members of it, yes.
        20            MS. PARFITT: Objection. Form.         20        Q. Are those individuals reputable
        21            THE WITNESS: If it has nothing        21   people?
        22       to do with the issue that I'm              22             MS. PARFITT: Objection.
        23       addressing in the paper, no, I do not      23             THE WITNESS: They are people
        24       think that.                                24        that practice medicine that certainly
        25            But when you're accepting money       25        I would go see. I mean, you're asking


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         1        me if I formed a very specific opinion      1   and also gynecological -- gynecological
         2        about them as individuals, and I            2   sciences on the issue of migration.
         3        haven't done that.                          3       Q. You're not a epidemiologist,
         4   QUESTIONS BY MR. LOCKE:                          4   are you?
         5        Q. Do you have any reason to                5       A. Not by training. It's a tool I
         6   believe that the American Academy of             6   use all the time, but I'm not an
         7   Dermatology is disreputable?                     7   epidemiologist by training.
         8        A. No. Again, I haven't formed an           8       Q. And panel members on the CIR,
         9   opinion one way or the other. I'm aware of       9   they might have used the same tool that
        10   the organization, and it certainly is one       10   you're using to form your opinion about talc,
        11   that is -- has within its members a number of   11   correct?
        12   people that I know that practice in             12             MR. MEADOWS: Objection.
        13   dermatology.                                    13             THE WITNESS: Based on what
        14        Q. Did you know that Dr. Bergfeld          14       I've reviewed from the minutes and the
        15   was the first woman to be president of the      15       write-up, I would disagree that that
        16   Cleveland Academy of Medicine?                  16       is -- they have done -- they've used
        17        A. To the what? What was the               17       the tools in the same way I have. I
        18   first word?                                     18       disagree with that.
        19        Q. Cleveland Academy of Medicine?          19   QUESTIONS BY MR. LOCKE:
        20        A. No. Again, I'm not aware of             20       Q. No, but I'm saying their
        21   her CV specifically, other than what may have   21   epidemiology could be the same background
        22   been discussed -- it's possible her -- I know   22   that you have. You haven't reviewed who they
        23   her affiliation will be listed in some of the   23   are, so you really don't really know.
        24   documents as to where she is today, but I do    24             MR. MEADOWS: Objection.
        25   not know her CV and her history.                25             THE WITNESS: Well, I do

                                              Page 355                                             Page 357
         1        Q. Are you aware that she was the           1       know -- I do know Dr. Klaassen, who I
         2   first president -- or she was a president of     2       believe was on the panel as a
         3   the American Society of Dermatopathology?        3       toxicologist. He is not somebody
         4        A. No. Same thing. If I'm not               4       that -- he is not somebody that I
         5   aware of her CV, I wouldn't know that.           5       understand does a significant amount
         6        Q. How about that she was the               6       of evaluation in risk assessment for
         7   former chair to the FDA's drug -- FDA's          7       epidemiological studies. He has done
         8   Dermatology and Ophthalmology Advisory           8       some of that, yes, I agree, but it's
         9   Committee?                                       9       different training than mine.
        10        A. Same answer. I don't know her           10   QUESTIONS BY MR. LOCKE:
        11   CV, so I have no knowledge.                     11       Q. You're better qualified than he
        12        Q. Is it your opinion that                 12   is?
        13   Dr. Bergfeld was not qualified to chair the     13       A. No, that's not what I'm saying.
        14   CIR panel that considered talc?                 14   I'm saying it's different background.
        15        A. I don't think I formed that             15            The question that I heard you
        16   specific opinion. Instead, what I have --       16   ask me, I believe, was directed towards the
        17   the opinions I formed relate to the overall     17   differences in my background versus somebody
        18   makeup of the panel that failed to include      18   else's.
        19   individuals with expertise that were -- that    19            And I'm saying that I'm not
        20   are really key to assessing the safety of       20   aware that he has the same background I do,
        21   talc. And that had to do with the issues of,    21   but there is not -- there was not somebody on
        22   as I discuss it, epidemiology -- oh, I'm        22   the panel that had specific expertise and
        23   sorry, I think I need to put this back --       23   analysis of epidemiological studies as an
        24   period -- sorry. In the area of epidemiology    24   epidemiologist. And I think that's important
        25   is one that I talked about it specifically,     25   in this case where you're analyzing in a


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         1   causation analysis a wide variety of studies.    1   I'm sorry.
         2   So I do think it's important.                    2       Q. The FDA frequently seeks
         3       Q. You're not a gynecological                3   information, scientific information, from
         4   oncologist, are you?                             4   cosmetic manufacturers; is that correct?
         5       A. No, I'm not. But again, that              5       A. I don't understand what you
         6   would have been an important expertise to        6   mean by "frequently seeks." They rely on
         7   have on the panel when --                        7   cosmetic manufacturers to do their own safety
         8       Q. And yet you formed your opinion           8   assessments.
         9   with --                                          9            Is that what you're referring
        10            MR. MEADOWS: Hold on.                  10   to?
        11            MR. LOCKE: No. No. Go ahead.           11       Q. Well, they ask PCPC to comment
        12            You can ask follow-up questions        12   on scientific issues, correct?
        13       if you want.                                13       A. Yes, I would agree that that
        14            MR. MEADOWS: You're                    14   interaction has happened, but that's not
        15       interrupting her.                           15   where the responsibility lies. But I agree,
        16            MR. LOCKE: Well, I've got a            16   they have.
        17       limited amount of time, and I've got        17       Q. I'm not asking about
        18       to keep moving.                             18   responsibility. I'm asking: Has the FDA
        19            MR. MEADOWS: Well --                   19   asked cosmetic manufacturers for scientific
        20            MR. LOCKE: They're very long           20   information?
        21       answers to questions that I'm not           21       A. Yes, they have in this case. I
        22       asking. So I -- you follow up if you        22   discuss some of that, yes.
        23       would like with your questions, but I       23       Q. And they do that frequently,
        24       got to keep moving.                         24   right? Not just in this case, but generally?
        25            MR. MEADOWS: Well, I'm sorry,          25       A. I can't answer that for all

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         1       but you're not going to be allowed to        1   situations. I have seen it happen before,
         2       interrupt her.                               2   yes.
         3            MR. LOCKE: Okay. Then we'll             3        Q. The FDA asked, for example, for
         4       go longer. If she's going to answer          4   then CTFA to cosponsor the 1994 workshop on
         5       questions I'm not asking, then I need        5   talc, correct?
         6       to go -- I need to be able to go             6        A. Yes, they did.
         7       longer.                                      7        Q. The FDA knew that the report
         8            MR. MEADOWS: You're not going           8   prepared by Dr. Huncharek and Dr. Muscat was
         9       to be allowed to interrupt her.              9   based on PCPC's retention of those
        10       That's just the bottom line.                10   consultants, correct?
        11   QUESTIONS BY MR. LOCKE:                         11        A. So what are you -- what time
        12       Q. You're not a gynecological               12   period are you talking about?
        13   oncologist, right?                              13        Q. Well, now, there was only one
        14       A. I'm not trained as a                     14   time that Drs. Huncharek and Muscat submitted
        15   gynecologic oncologist, that is true.           15   a report to the FDA regarding talc, correct?
        16       Q. You're not a medical doctor,             16        A. So I need to look to confirm
        17   correct?                                        17   that. Which time period are you talking
        18       A. I am not a physician, that is            18   about?
        19   correct.                                        19        Q. 2009. Citizens petition.
        20       Q. Let's talk about the citizens            20        A. Oh, that is true. In the
        21   petition.                                       21   citizens petition, that is true, yes. But
        22            The FDA frequently seeks               22   I -- but...
        23   scientific information from cosmetic            23        Q. I mean, it says in the letter,
        24   manufacturers; is that correct?                 24   "We're submitting a report written by Drs.
        25       A. First part of the question?              25   Huncharek and Muscat," correct?


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         1       A. In the cover letter from the             1       Q. And you're not aware of any
         2   CRE?                                            2   other document indicating that PCPC ever
         3       Q. From -- not CRE, from PCPC.              3   hired Drs. Huncharek or Muscat?
         4       A. Okay. So let -- I need to -- I           4       A. So that's where I'll need to go
         5   need to refresh my memory on the way the        5   back and look at the documents, because --
         6   submissions were made. I apologize.             6   that I have discussed. So I need to find
         7            Do you remember which paragraph        7   that on my paragraph.
         8   that you're referring to?                       8            If you want to go off the
         9       Q. Well, it's throughout your               9   record for a minute so I don't waste your
        10   report you're talking about the citizens       10   time, I will look.
        11   petition.                                      11       Q. Sure.
        12       A. So it's my recollection, based          12       A. It's up to you. Or we can stay
        13   upon the documents that I have seen, that it   13   on the record.
        14   was not a transparent process at all times     14            MR. LOCKE: I'm fine going off.
        15   that Drs. Huncharek and Muscat were being      15            VIDEOGRAPHER: We are going off
        16   identified as independent consultants and      16       the record at 4:23 p.m.
        17   were not ones that were being actually paid    17        (Off the record at 4:23 p.m.)
        18   by the industry for some of the work that      18            VIDEOGRAPHER: We are back on
        19   they did. And I think that's discussed in my   19       the record at 4:25 p.m.
        20   report.                                        20   QUESTIONS BY MR. LOCKE:
        21       Q. Well, let's break that down.            21       Q. The question I asked: Are you
        22       A. If you want me to confirm the           22   aware of any other document indicating that
        23   issue of the 2009 -- if you will point me to   23   PCPC ever hired Dr. Huncharek and Muscat
        24   where you say I discuss this, I will confirm   24   other than for the 2009 response or
        25   that or not.                                   25   submission to the citizens petition?

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         1      Q.     Well, let me break it down.           1        A. I would have to pull this
         2            Citizens petition submitted in         2   document, but in paragraph 90 I make a
         3   2008, right?                                    3   statement: A 2005 response written by
         4        A. Well, there were two: one in            4   Dr. Muscat says -- this is not '09, this is
         5   1994 and another -- I'm sorry, 1992, and        5   2005, and Dr. Huncharek critiqued the work of
         6   another in 2008.                                6   Dr. Cramer, who also failed to disclose the
         7        Q. Well, there are actually                7   financial relation -- I'll start over.
         8   several more than that, but let's just focus    8             Okay. So I'm sorry to repeat
         9   on the 2008.                                    9   myself, but there was a little noise.
        10            In 2008, a citizens petition          10            You asked 2009. So the other
        11   was submitted?                                 11   time period I have in my report in
        12        A. Yes, that is true.                     12   paragraph 90 talks about 2005, but I'd have
        13       Q. And PCPC responded to that              13   to pull this document.
        14   citizens petition in 2009, correct?            14            But I am citing to the
        15       A. They submitted comments. Is             15   deposition of Dr. Loretz, who was a PCPC
        16   that what you're asking me? Yes, they did.     16   employee, so I think I would need to pull
        17        Q. Yes.                                   17   this in order to confirm.
        18            And that was a cover letter,          18            But I see depositions of her
        19   correct?                                       19   and Dr. Nicholson as talking about them
        20        A. A cover letter -- that's all it        20   failing to disclose the financial
        21   was was a cover letter?                        21   relationship between their work and industry.
        22        Q. Well, attached to the cover            22        Q. So if Dr. Loretz did not
        23   letter was a report from Drs. Huncharek and    23   testify that PCPC had retained Drs. Huncharek
        24   Muscat?                                        24   and Muscat in 2005, you'd have no other
        25        A. Yes, that is true.                     25   evidence?


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         1       A. I can't answer that                       1       Q. What evidence do you have of
         2   definitively, but this is what I would point     2   that?
         3   you to. So I'd have to pull these documents      3       A. Based upon the close
         4   to confirm, but I have -- both paragraphs 89     4   interaction between PCPC, Imerys and Johnson
         5   and 90 address these general issues for you,     5   & Johnson throughout these time periods when
         6   but I think that's the sentence and the          6   different actions were being taken to comment
         7   documents that I think would be relevant.        7   or to submit information on behalf of
         8   But I'd have to pull them to fully answer        8   industry.
         9   your question.                                   9       Q. Do you have a single document
        10       Q. The reason I ask the question            10   you can point to or is that an assumption?
        11   is because you frequently say "the cosmetics    11       A. That is something I seem to
        12   industry" without identifying a party or a      12   remember based on my review of these
        13   person. And -- well, I'll just leave it at      13   documents, but if you need a document, I
        14   that.                                           14   would have to -- have to go and look for it.
        15       A. And I guess the reason I'm               15       Q. Sitting here today, you can't
        16   saying I need to -- I'm questioning that it     16   recall?
        17   doesn't have to do with PCPC is because I am    17       A. I can't give you a specific
        18   citing to a deposition of their employee. So    18   document as I sit here today, no.
        19   I need to -- I would -- to affirm it, though,   19            MR. LOCKE: I have no further
        20   I'd need to -- I don't want to say that         20       questions.
        21   100 percent the answer to your question is      21            MR. MEADOWS: Yeah, short
        22   this is the evidence, but I believe that I      22       break. Maybe we're done, maybe we're
        23   would need to go here to confirm one way or     23       not.
        24   the other. But certainly I would -- this        24            VIDEOGRAPHER: We are going off
        25   raises suspicion about that for me.             25       the record at 4:30 p.m.

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         1       Q. You have no evidence that PCPC            1        (Off the record at 4:30 p.m.)
         2   ever retained the Center for Regulatory          2            VIDEOGRAPHER: We are back on
         3   Effectiveness; is that correct?                  3       the record at 4:45 p.m.
         4       A. I believe my evidence is hiring           4            CROSS-EXAMINATION
         5   through Imerys, but let me look to make sure     5   QUESTIONS BY MS. PARFITT:
         6   that is true.                                    6       Q. All right. Dr. Plunkett, good
         7       Q. Why don't you look at page --             7   afternoon. I know it's been a long day.
         8   or I'm sorry, paragraph 95, page 63.             8            Dr. Plunkett, you were asked
         9       A. That's where I am. That's                 9   throughout the course of the day about
        10   where I am, so let me read what I have here     10   different constituents which are part of the
        11   because it's been a while since I've read       11   talcum powder products.
        12   this paragraph.                                 12            Do you recall those questions?
        13             So the question is, do I have         13       A. Yes.
        14   in evidence this paragraph that PCPC directly   14       Q. All right. If -- without going
        15   hired the CRE?                                  15   through each and every one of different
        16             No, that is not provided by           16   constituents that we've talked about that are
        17   this paragraph.                                 17   contained or could be contained in the talcum
        18        Q. Okay.                                   18   powder products, if they are present, do
        19       A. However, in this paragraph,              19   those various constituents present and
        20   based on these documents that I'm seeing and    20   provide biologically plausible evidence that
        21   I'm -- my memory of what is discussed,          21   talcum powder products can increase the risk
        22   certainly I believe PCPC would have been        22   of ovarian cancer?
        23   aware of the interaction of CRE at these time   23            MS. BOCKUS: Object to the
        24   points when I'm talking about this event --     24       form.
        25   these events.                                   25            THE WITNESS: Yes, which is --


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         1     I think I have a couple of paragraphs     1             CERTIFICATE
                                                         2
         2     where I talk about that issue. It has     3           I, CARRIE A. CAMPBELL, Registered
                                                             Diplomate Reporter, Certified Realtime
         3     to do -- there's other information as     4   Reporter and Certified Shorthand Reporter, do
         4     well, but that is a key piece of that         hereby certify that prior to the commencement
                                                         5   of the examination, Laura Plunkett, Ph.D.,
         5     information. And I focused on mode of         DABT was duly sworn by me to testify to the
                                                         6   truth, the whole truth and nothing but the
         6     action and additivity. That's on              truth.
         7     mechanism, biologic plausibility.         7
                                                                      I DO FURTHER CERTIFY that the
         8          So the fact that you have a          8   foregoing is a verbatim transcript of the
                                                             testimony as taken stenographically by and
         9     variety of constituents that have a       9   before me at the time, place and on the date
        10     known cancer hazard that share a mode         hereinbefore set forth, to the best of my
                                                        10   ability.
        11     of action, that increases your           11            I DO FURTHER CERTIFY that I am
                                                             neither a relative nor employee nor attorney
        12     confidence in the biologic               12   nor counsel of any of the parties to this
        13     plausibility of that relationship             action, and that I am neither a relative nor
                                                        13   employee of such attorney or counsel, and
        14     between ovarian cancer and exposure to        that I am not financially interested in the
                                                        14   action.
        15     talc body powders, yes.                  15
        16          MS. PARFITT: Thank you. I           16
                                                        17      ____________________________
        17     have no further questions. Thank you             CARRIE A. CAMPBELL,
                                                        18      NCRA Registered Diplomate Reporter
        18     very much, Dr. Plunkett. And a happy             Certified Realtime Reporter
                                                                California Certified Shorthand
        19     holiday to you.                          19
                                                                Reporter #13921
        20          THE WITNESS: Thank you.             20      Missouri Certified Court Reporter #859
                                                                Illinois Certified Shorthand Reporter
        21          MS. BRANSCOME: I have no            21      #084-004229
                                                                Texas Certified Shorthand Reporter #9328
        22     questions.                               22      Kansas Certified Court Reporter #1715
        23          MS. BOCKUS: No questions.                   Notary Public
                                                        23
        24          VIDEOGRAPHER: The time now is               Dated: 12/20/18
        25     4:47 p.m. This concludes the             24
                                                        25


                                          Page 371                                                           Page 373
         1       deposition, and we are going off the    1                 INSTRUCTIONS TO WITNESS
         2       record.                                 2
         3      (Deposition concluded at 4:47 p.m.)      3               Please read your deposition over
         4            –––––––                            4       carefully and make any necessary corrections.
         5                                               5       You should state the reason in the
         6                                               6       appropriate space on the errata sheet for any
         7                                               7       corrections that are made.
         8                                               8               After doing so, please sign the
         9                                               9       errata sheet and date it. You are signing
        10                                              10       same subject to the changes you have noted on
        11                                              11       the errata sheet, which will be attached to
        12                                              12       your deposition.
        13                                              13               It is imperative that you return
        14                                              14       the original errata sheet to the deposing
        15                                              15       attorney within thirty (30) days of receipt
        16                                              16       of the deposition transcript by you. If you
        17                                              17       fail to do so, the deposition transcript may
        18                                              18       be deemed to be accurate and may be used in
        19                                              19       court.
        20                                              20
        21                                              21
        22                                              22
        23                                              23
        24                                              24
        25                                              25


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         1        ACKNOWLEDGMENT OF DEPONENT                  1          –––––––
         2                                                               LAWYER'S NOTES
         3                                                    2          –––––––
         4            I,______________________, do            3   PAGE LINE
             hereby certify that I have read the foregoing
         5   pages and that the same is a correct             4   ____ ____ _____________________________
             transcription of the answers given by me to      5   ____ ____ _____________________________
         6   the questions therein propounded, except for     6   ____ ____ _____________________________
             the corrections or changes in form or            7   ____ ____ _____________________________
         7   substance, if any, noted in the attached         8   ____ ____ _____________________________
             Errata Sheet.                                    9   ____ ____ _____________________________
         8
         9                                                   10   ____ ____ _____________________________
        10                                                   11   ____ ____ _____________________________
        11                                                   12   ____ ____ _____________________________
        12   ________________________________________        13   ____ ____ _____________________________
             Laura Plunkett, Ph.D., DABT DATE                14   ____ ____ _____________________________
        13                                                   15   ____ ____ _____________________________
        14
        15   Subscribed and sworn to before me this
                                                             16   ____ ____ _____________________________
        16   _______ day of _______________, 20 _____.       17   ____ ____ _____________________________
        17   My commission expires: _______________          18   ____ ____ _____________________________
        18                                                   19   ____ ____ _____________________________
        19   Notary Public                                   20   ____ ____ _____________________________
        20                                                   21   ____ ____ _____________________________
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        23                                                   23   ____ ____ _____________________________
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                         Exhibit 28
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON                           MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY
    LITIGATION

    THIS DOCUMENT RELATES TO ALL CASES




                                RULE 26 EXPERT REPORT OF
                                  DR. GHASSAN M. SAED




    Date: November 16, 2018
                                         Dr. Ghassan M. Saed
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    Molecular basis for the association of talcum powder use with increased risk of ovarian

    cancer.

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    Qualifications

           In this report, I describe the role of oxidative stress in the pathogenesis and behavior of

    ovarian cancer, as well as describe the biological effects of talcum powder on normal ovarian and

    fallopian tube cells, macrophages, and ovarian cancer cells.

           I am an Associate Professor with tenure at Wayne State University in Detroit, Michigan,

    where I am Director of Ovarian Cancer Research. I am a faculty member in the Departments of

    Obstetrics & Gynecology, Cell Biology, and Anatomy & Physiology at Wayne State School of

    Medicine. I am also a Member of the Karmanos Cancer Institute, Molecular Biology and Genetics

    Program.

           I received a Ph.D. in Molecular Biology at the University of Essex, Colchester, England in

    1986. My postgraduate training included a Fellowship in Immunopathology at the University of

    Michigan, Ann Arbor from 1992-1993 and a Fellowship in Molecular Biology at the Henry Ford

    Hospital in Detroit, Michigan from 1988-1990. I joined the faculty at Wayne State School of

    Medicine in 1998.

           My laboratory investigates the role of oxidative stress in the pathogenesis of ovarian

    cancer. This concentration arose from my original research that focused on the molecular

    mechanisms involved in the pathogenesis of tissue fibrosis and the need to compare the effects of

    oxidative stress on a malignant overgrowth versus a benign overgrowth, specifically postoperative

    adhesions.

           My research in ovarian cancer has resulted in the identification of biomarkers for assessing

    the progression and metastasis of ovarian cancer. The major outcome of my work with fibrosis

    and postoperative adhesions, in addition to the development of the ex-vivo model for adgestiosn,

    was the development and characterization of the adhesion phenotype in cell culture. Additionally,
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    the cell culture system was used to test the hypothesis that hypoxia is the trigger for the

    development of postoperative adhesions.

           I have taught numerous undergraduate, graduate, medical students, residents, and fellows.

    Many of these have received research awards, published important papers, and accepted

    prestigious academic faculty positions. I have been the recipient of national and international

    grants and contracts from organizations including the American Association for Cancer Research

    (AACR), NIH/NICHD, U.S. Department of Defense, the Ovarian Cancer Research Fund Alliance,

    the Michigan Ovarian Cancer Alliance, and other ovarian cancer foundations. I have been a prolific

    publisher and presenter at scientific meetings. I have been an author on 136 original studies

    published in peer-reviewed journals with additional review articles, and book chapters. Recently,

    I published a review article in the journal, Gynecologic Oncology titled, “Updates of the role of

    oxidative stress in the pathogenesis of ovarian cancer” and a textbook chapter titled “New insights

    into the Pathogenesis of Ovarian Cancer: Oxidative Stress” summarizing my research in this area.

    My CV is attached as Exhibit A. In addition to the references included in this report, the materials

    I reviewed are attached as Exhibit B. My fees and prior testimony are attached as Exhibit C.

    Ovarian cancer

           Ovarian cancer is the most lethal gynecologic malignancy and ranks fifth in cancer deaths

    among women diagnosed with cancer1. Epithelial ovarian cancer (EOC) has long been considered

    a heterogeneous disease with respect to histopathology, molecular biology, and clinical outcome1,2.

    It comprises at least five distinct histological subtypes, the most common and well-studied being

    high-grade serous ovarian cancer. In the last decade, researchers have proposed the theory that

    many ovarian cancers arise from the distal fallopian tubes. For this reason, as well as the

    similarities in pathogenesis, presentation, treatment, and prognosis, fallopian tube, ovarian, and
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    peritoneal cancer are generally treated as a single entity. Although surgical techniques and

    treatments have advanced over the years, the prognosis of EOC remains poor, with a 5-year

    survival rate of 50% in advanced stage 2. This is largely due to the lack of early warning symptoms

    and screening methods, and the development of chemoresistance 1,2. Ovarian cancer is known to

    be associated with germline mutations in the BRCA1 or BRCA2 genes, but with a rate of only 20-

    40%, suggesting the presence of other unknown mutations in other predisposition genes 3.

    Additional genetic variations including single nucleotide polymorphisms (SNPs) have been

    described to act as low to moderate penetrant alleles that contribute to ovarian cancer risk 3,4. Non-

    synonymous SNPs substitute encoded amino acids in proteins and are more likely to alter the

    structure, function, and interaction of the protein 4. The pathophysiology of EOC is not fully

    understood but has been strongly associated with inflammation and the resultant oxidative stress5.

    Oxidative stress

           Homeostasis, the balance between the production and elimination of oxidants, is

    maintained by mechanisms involving oxidants and antioxidant enzymes and molecules. If this

    balance is altered, it leads to an enhanced state of oxidative stress that alters key biomolecules and

    cells of living organism 5. Oxidant molecules are divided into two main groups; oxygen-derived

    or nitrogen-containing molecules. Oxygen-derived molecules, also known as reactive oxygen

    species (ROS), include free radicals such as hydroxyl (HO●), superoxide (O2●−), peroxyl (RO2●),

    and alkoxyl (RO●), as well as oxidizing agents such as hydrogen peroxide (H2O2), hypochlorous

    acid (HOCl), ozone (O3), and singlet oxygen (1O2) that can be converted to radicals 5,6. Nitrogen

    containing oxidants, also known as reactive nitrogen species (RNS), are derived from nitric oxide

    (NO) that is produced in the mitochondria in response to hypoxia 5. Exposure to inflammation,

    infection, carcinogens, and toxicants are major sources of ROS and RNS, in vivo 5-8. Additionally,
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    RNS and ROS can be produced by various enzymes including cytochrome P450, lipoxygenase,

    cyclooxygenase, nicotinamide adenine dinucleotide phosphate (NAD(P)H) oxidase complex,

    xanthine oxidase (XO), and peroxisomes (Figure 1) 5,7,9.

           To maintain the redox balance, ROS and RNS are neutralized by various important enzyme

    systems including superoxide dismutase (SOD), catalase (CAT), glutathione S-transferase (GST),

    glutathione (GSH), thioredoxin coupled with thioredoxin reductase, glutaredoxin, glutathione

    peroxidase (GPX), and glutathione reductase (GSR) 6. Superoxide dismutase is known to convert

    O2●– to H2O2, which is then converted to water by CAT. Glutathione S-transferase is involved in

    detoxification of carcinogens and xenobiotics by catalyzing their conjugation to GSH that will aid
                                 6
    in expulsion from the cell       . Indeed, the GSH-to-oxidized-GSH (GSH/GSSG) ratio is a good

    indicator of cellular redox buffering capacity 10,11. Under enhanced oxidative stress, the

    GSH/GSSG complex is known to stimulate the activity of the GS-X-MRP1 efflux pump, which

    removes toxins from cells. This mechanism has been investigated in the development of resistance

    to chemotherapeutic drugs 10,11.

    Ovarian Cancer Cells Manifest a Persistent Pro-Oxidant State

           Recent evidence demonstrates that oxidative stress is a critical factor in the initiation and

    development of several cancers, including ovarian cancer 12,13. Consistently, it has been reported

    that ovarian cancer patients manifest significantly decreased levels of antioxidants and higher

    levels of oxidants 12-17. An enhanced redox state, resulting from increased expression of key pro-

    oxidant enzymes and decreased expression of antioxidant enzymes, has been extensively described

    in epithelial ovarian cancer (EOC) 16-18. My laboratory has previously reported that MPO, a

    hemoprotein present solely in myeloid cells that acts as a powerful oxidant, and iNOS, a key pro-

    oxidant enzyme, are highly expressed and co-localized to the same cell in EOC cells 17. These two
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    enzymes, MPO and iNOS, work together to inhibit apoptosis, a hallmark of ovarian cancer cells.

    Apoptosis, or programmed cell death, refers to the normal and controlled death of cells.

    Myeloperoxidase acts as powerful oxidant enzyme in EOC cells through the utilization of nitric

    oxide (NO) produced by iNOS as a one-electron substrate generating NO+, a labile nitrosylating

    species19-21. My laboratory was the first to report that MPO was expressed by EOC cells and

    tissues17. Silencing MPO gene expression utilizing MPO specific siRNA induced apoptosis in

    EOC cells through a mechanism that involved the S-nitrosylation of caspase-3 by MPO17.

    Additionally, there is compelling evidence that MPO serves as a source of free iron under oxidative

    stress, where both NO+ and superoxide are elevated19. Iron reacts with hydrogen peroxide (H2O2)

    and catalyzes the generation of highly reactive hydroxy radical (HO●), thereby increasing oxidative

    stress, which in turn increases free iron concentrations by the Fenton and Haber–Weiss

    reaction19,21. Additionally, my laboratory has highlighted the potential benefits of the combination

    of serum MPO and free iron as biomarkers for early detection and prognosis of ovarian cancer14.

    EOC cells are also characterized by enhanced expression of NAD(P)H oxidase, a potent oxidant

    enzyme that is known to be the major source of O2●– in the cell. Such high levels of O2●– combined

    with significantly high levels of NO generates peroxynitrite, another powerful nitrosylation and

    nitration agent, which modifies proteins and DNA structure and function in cells 22.

           A reliable screening and detection method based on molecular profiles for ovarian cancer

    has not yet been developed because the disease exhibits a wide range of morphological, clinical

    and genetic variations during its progression. The search for non-invasive, cost-effective ovarian

    cancer biomarker tests has been ongoing for many years. Immunizations of mice with ovarian

    cancer cells has led to hybridoma validation by ELISA, while flow cytometry analysis permitted

    the discovery of cancer antigen (CA)-125 (the only marker currently used in clinical practice) and
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    mesothelin 23. Furthermore, the screening of an array of 21,500 unknown ovarian cDNAs

    hybridized with labeled first-strand cDNA from ten ovarian tumors and six normal tissues led to

    the discovery of human epididymis protein 4 (HE4) 24. Most interestingly, HE4 is overexpressed

    in 93% of serous and 100% of endometrioid EOCs, and in 50% of clear cell carcinomas, but not

    in mucinous ovarian carcinomas 25. Thus, HE4 was identified as one of the most useful biomarkers

    for ovarian cancer, although it lacked tissue-specificity 24,26-28. Secreted HE4 high levels were also

    detected in the serum of ovarian cancer patients 29. Additionally, combining CA-125 and HE4 is a

    more accurate predictor of malignancy than either alone 30-32. The discovery of MPO expression

    in ovarian EOC cells and tissues was surprising, as it is only expressed by cells of myeloid origin.

    Intriguingly, my laboratory has previously reported that the combination of serum MPO and free

    iron may serve as biomarkers for early detection of ovarian cancer 14.

    Common Polymorphisms in Redox Enzymes are Associated with Ovarian Cancer.

           A single nucleotide polymorphism (SNP) occurs as a result of gene point mutations with

    an estimated frequency of at least one in every 1000 base pairs that are selectively maintained and

    distributed in populations throughout the human genome 33. An association between common

    SNPs in oxidative DNA repair genes and redox genes with human cancer susceptibility has been

    established 7. Common SNPs in the redox enzymes are known to be strongly associated with an

    altered enzymatic activity in these enzymes, and helps explain the enhanced redox state that has

    been linked to several malignancies, including ovarian cancer 12,16. Additionally, it helps explain

    the observation of significantly decreased apoptosis and increased survival of EOC cells 17. It is

    therefore critical to determine the exact effect of common SNPs in various redox enzymes on all

    process involved in the development of the oncogenic phenotype 34-37. Such studies can be linked

    to other studies focusing on determining the effects of genes involved in carcinogen metabolism
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    (detoxification and/or activation), redox enzymes, and DNA repair pathways36. Numerous SNPs

    associated with change of function have been identified in antioxidant enzymes including CAT,

    GPX1, GSR, and SOD2 35,37. Additionally, the association between genetic polymorphisms in

    genes with anti-tumor activity and those involved in the cell cycle has been reported in ovarian

    cancer 38,39. Recently, several genetic variations have been identified in genome-wide association

    studies (GWAS), and were found to act as low to moderate penetrant alleles, which contribute to

    ovarian cancer risk, as well as other diseases 4,40.

            There is now an association of specific SNPs in key oxidant and anti-oxidant enzymes that

    impact increased risk of ovarian cancer and/or overall survival of patients with ovarian cancer 34,35.

    A common SNP that reduced CAT activity (rs1001179) was utilized as a significant predictor of

    death when present in ovarian cancer patients and was also associated with increased risk for breast

    cancer 34,35,37,41. This SNP is also linked to increased risk, survival, and response to adjuvant

    treatment of cancer patients, including ovarian 34,42. Another common SNP that reduced CYBA

    activity (rs4673) was also reported to be associated with an increased risk for ovarian cancer 34,35.

    The mutant genotype of the CYBA gene has been shown to both decrease and increase activity of

    the protein, thereby altering the generation of O2●– 34,35. Moreover, functionally distinct MPO

    polymorphisms, such as (rs2333227) have been linked to relative increased risk for development

    of ovarian cancer as well as other cancers 34,35,43. Additional SNPs that influenced the risk of EOC

    have been successfully identified from the GWAS studies including rs3814113 (located at 9p22,

    near BNC2), rs2072590 (located at 2q31, which contains a family of HOX genes), rs2665390

    (located at 3q25, intronic to TIPARP), rs10088218 (located at 8q24, 700 kb downstream of MYC),

    rs8170 (located at 19p13, near MERIT40), and rs9303542 (located at 17q21, intronic to SKAP1)
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    34,35
            . Thus, the genetic component of increased ovarian cancer risk may be attributed to SNPs that

    result in point mutations in the redox genes and potentially other genes 44.

    Chemoresistance is Associated with Point Mutations in Key Redox Enzymes in EOC cells

               To date, the acquisition of chemoresistance in ovarian cancer is being investigated. The

    enhanced oxidant state reported in chemoresistant EOC cells is likely linked to point mutations in

    key redox enzymes 35. Chemoresistant EOC cells manifested increased levels of CAT, GPX, and

    iNOS and decreased levels of GSR, SOD, and NAD(P)H oxidase as compared to their sensitive

    counterparts 35. Interestingly, chemoresistant EOC cells, and not their sensitive counterparts,

    manifested specific point mutations that corresponded to known functional SNPs, in key redox

    enzymes including SOD2 (rs4880), NOS2 (rs2297518), and CYBA (rs4673) 45. However, altered

    enzymatic activity for CAT and GSR observed in chemoresistant EOC cells did not correspond to

    the specific SNP of interest in those enzymes, indicating involvement of other possible functional

    SNPs for those enzymes 35. Coincidently, chemotherapy treatment induced point mutations that

    happen to correspond to known functional SNPs in key oxidant enzymes subsequently led to the

    acquisition of chemoresistance by EOC cells. Indeed, the induction of specific point mutations in

    SOD2 or GPX1 in sensitive EOC cells resulted in a decrease in the sensitivity to chemotherapy of

    these cells 35. In fact, the addition of SOD to sensitive EOC cells during chemotherapy treatment

    synergistically increased the efficacy to chemotherapy 35.

               Alternatively, the observed nucleotide switch in response to chemotherapy in EOC cells

    may be the result of nucleotide substitution, a process that includes transitions, replacement of one

    purine by the other or that of one pyrimidine by the other, or transversions, replacement of a purine

    by a pyrimidine or vice versa 35. Actually, hydroxyl radicals are known to react with DNA causing

    the formation of many pyrimidine and purine-derived lesions 35. The oxidative damage to 8-Oxo-
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    2'-deoxyguanosine, a major product of DNA oxidation, induces genetic alterations in oncogenes

    and tumor suppressor genes that have been involved in tumor initiation and progression 35. A GC

    to TA transversion has been reported in the ras oncogene and the p53 tumor suppressor gene in

    several cancers. However, the GC to TA transversion is not unique to hydroxy-2'-deoxyguanosine,

    as CC to TT substitutions have been identified as signature mutations for oxidants and free radicals
    35
         . Moreover, the observed nucleotide switch in response to chemotherapy in EOC cells can be due

    to the fact that acquisition of chemoresistance generates an entirely different population of cells

    with a distinct genotype. Hence, chemotherapy kills the bulk of the tumor cells leaving a subtype

    of cancer cells with ability for repair and renewal, known as cancer stem cells (CSCs) 35. Indeed,

    cancer stem cells have been isolated from various types of cancer including leukemia, breast, brain,

    pancreatic, prostate, ovary and colon 35. Interestingly, CSC populations were present in cultures of

    SKOV-3 EOC cells and have been shown to be chemoresistant in nature 35.

    Talcum powder and increased risk of ovarian cancer

              Talcum powder is made from talc, a mineral containing mainly of the elements magnesium,

    silicon, and oxygen. In its natural form, some talc contains asbestos. Talc and asbestos are both

    silicate minerals; the carcinogenic effects of asbestos have been extensively studied and

    documented in the medical literature 46,47. Asbestos fibers in the lung initiate an inflammatory and

    scarring process, and it has been proposed that ground talc, as a foreign body, initiates a similar

    inflammatory response and it has been proposed that ground talc, as a foreign body, might initiate

    an inflammatory response 48,47. There has been concern about a possible link between talcum

    powder usage in the genital and ovarian cancer, as well as lung cancer in workers exposed to talc

    in an occupational setting 49. Studies that exposed lab animals (rats, mice, and hamsters) to

    asbestos-free talcum powder in various ways have had mixed results, with some showing tumor
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    formation and others finding only inflammation 50,51. The International Agency for Research on

    Cancer (IARC) is part of the World Health Organization (WHO). Its major goal is to identify

    causes of cancer. Based on limited evidence from human studies of a link to ovarian cancer, IARC

    classified the perineal (genital) use of talc-based body powder (not containing asbestiform fibers)

    as “possibly carcinogenic to humans.” (Group 2b) 88. Talcum powder containing asbestos and

    fibrous talc are both considered carcinogenic (Group 1) by IARC 89.

           The association between perineal talc powder dusting and ovarian cancer has been studied

    in at least 25 case-control studies, three cohort studies, six meta-analyses and one pooled study 73.

    Although the cohort studies individually did not show a statistically significant increased risk of

    ovarian cancer with talcum powder usage, the case-control studies overall and the meta-analyses

    show a consistent and significant increased risk. This risk is estimated to be 30-40%. The studies

    have shown conflicting results regarding the presence of a dose-response, largely due to the failure

    of many studies to obtain necessary information on the frequency and duration of usage and the

    inherent challenge of quantifying actual exposure. Although migration/transport of particles

    through the genital tract is universally accepted and the inflammatory nature of talcum powder

    consistently demonstrated, the exact mechanism for carcinogenesis had not been conclusively

    elucidated. For these reasons, there has been some reluctance in the scientific community to accept

    talcum powder as a causative risk factor for the development of ovarian cancer. The most recent

    meta-analysis, reported by Penninkilampi and Eslick in 2017, found that any perineal talc use was

    associated with a statistically significant increased risk of ovarian cancer (OR = 1.31). More than

    3600 lifetime applications (OR = 1.42) were slightly more associated with ovarian cancer than

    <3600 (OR = 1.32). An association with ever use of talc was found in case–control studies (OR =

    1.35), but not cohort studies (OR = 1.06). However, cohort studies found an association between
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    talc use and invasive serous type ovarian cancer (OR = 1.25), the most common and most lethal

    subtype. In the opinion of the authors, meta-analysis is the highest level of evidence in this setting

    because of the need for a large number of cases and long-term follow-up in a relatively rare form

    of cancer with a lengthy latency period. The authors of this meta-analysis suggested that cellular

    injury, oxidative stress, and local increase in inflammatory mediators might be the mechanism by

    which talcum powder promotes carcinogensis, but that this mechanism was unclear. They

    recognized the “substantial need for further research on a potential mechanism by which ovarian

    cancer may be caused by talc, as this will allow a causal relationship to be established or rejected

    with more certainty” 73.

           In addition to epidemiological studies, the claim that regular use of talcum powder for

    perineal hygiene purpose is associated with an increased risk of ovarian cancer is based on several

    reports confirming the presence of talc particles in the ovaries and other parts of the female

    reproductive tract as well as in lymphatic vessels and tissues of the pelvis 45,75. Henderson first

    reported the presence of talc particles in ovaries in 1971. A study by Cramer, et al has reported the

    presence of talc in pelvic lymph nodes of a woman with ovarian cancer who used talc daily for 30

    years45. The ability of talc particles to migrate through the genital tract to the distal fallopian tube

    and ovaries is well accepted 45,75.

           It has been suggested that the associations between perineal talc dusting and ovarian cancer

    might be explained by the induction of ANTI-MUC1 antibodies 57. Additionally, in a previous

    study by Shukla et.al., whereby human mesothelial cells (LP9/TERT-1) were exposed to low and

    high (15 and 75 mm2/cm2 dish) equal surface area concentrations of nonfibrous talc for 8 or 24

    hours, the authors found that nonfibrous talc at low concentrations to cause an increase in the
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    expression of Activating Transcription Factor 3 (ATF3) at 8 hours and no changes at 24 hours,

    whereas expression levels of 30 genes were elevated at 8 hours at high talc concentrations 78.

           My laboratory undertook research to determine whether or not there was a molecular basis

    for the observed association between talcum powder and ovarian cancer. If a biological effect was

    demonstrated, we hoped to define the mechanism in detail. Issues like this one, relating to the

    pathogenesis of ovarian cancer and the relationship between inflammation and other pathological

    conditions in the female reproductive system as well as cancer, have been the focus of my

    laboratory for many years.

    Findings from recent research from our laboratory relating to the effects of talcum powder
    exposure in vitro

    The following is a description of the methodology used:

           Cell Lines: Ovarian cancer cells: SKOV-3 (ATCC), A2780 (Sigma Aldrich), and

    TOV112D (a kind gift from Gen Sheng Wu at Wayne State University, Detroit, MI) 25. Normal

    cell lines: human macrophage cells (EL-1, ATCC), human primary normal ovarian epithelial cells

    (Cell Biologics), Human Ovarian Epithelial Cells (HOSEpiC, ScienCell Research Laboratories,

    Inc.) immortalized human fallopian tube secretory epithelial cells (FT33-shp53-R24C, Applied

    Biological Materials). All cells were grown in media and conditions following manufacturer’s

    protocol. EL-1 cells were grown in IMDM media (ATCC) supplemented with 0.1 mM

    hypoxanthine and 0.1 mM thymidine solution (H-T, ATCC) and 0.05mM β-mercaptoethanol.

    SKOV-3 EOC cells were grown in HyClone McCoy’s 5A medium (Fisher Scientific), A2780 EOC

    cells were grown in HyClone RPMI-1640 (Fisher Scientific), and both TOV112D EOC cells were

    grown in MCDB105 (Cell Applications) and Medium 199 (Fisher Scientific) (1:1). All media was

    supplemented with fetal bovine serum (FBS, Innovative Research) and penicillin/streptomycin
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    (Fisher Scientific), per their manufacturer specifications.      Human primary normal ovarian

    epithelial cells were grown in Complete Human Epithelial Cell Medium (Cell Biologics).

           Treatment of cells: Talcum powder (Fisher Scientific, Catalog #T4-500, Lot#166820) or

    Johnson’s Baby Powder (Johnson & Johnson, #30027477, Lot#13717RA) was dissolved in

    DMSO (Sigma Aldrich) at a concentration of 500 mg in 10 ml and was filtered with a 0.2 µm

    syringe filter (Corning). Sterile DMSO was used as a control for all treatments. Cells were seeded

    in 100 mm cell culture dishes (3 x 106) and were treated 24 hours later with 0, 5, 20, or 100 μg/ml

    of talc for 48 hours. Cell pellets were collected for RNA, DNA, and protein extraction. Cell culture

    media was collected for CA-125 analysis by ELISA.

           Real time RT-PCR: Total RNA was extracted from all cells using the RNeasy Mini Kit

    (Qiagen) according to the protocol provided by the manufacturer. Measurement of the amount of

    RNA in each sample was performed using a Nanodrop Spectrophotometer (Thermo Fisher

    Scientific). A 20 μL cDNA reaction volume containing 0.5 μg RNA was prepared using the

    SuperScript VILO Master Mix Kit (Life Technologies), as described by the manufacturer's

    protocol. Optimal oligonucleotide primer pairs were selected for each target using Beacon

    Designer (Premier Biosoft, Inc., Table 1). Quantitative RT-PCR was performed using the

    EXPRESS SYBR Green ER qPCR Supermix Kit (Life Technologies) and the Cepheid 1.2f

    Detection System as previously described24. Standards with known concentrations and lengths

    were designed specifically for β-actin (79 bp), CAT (105 bp), iNOS (89 bp), GSR (103 bp), GPX1

    (100 bp), MPO (79 bp), and SOD3 (84 bp), allowing for construction of a standard curve using a

    10-fold dilution series26. A specific standard for each gene allows for absolute quantification of

    the gene in number of copies, which can then be expressed per microgram of RNA. All samples
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    were normalized to the housekeeping gene, β-actin. A final melting curve analysis was performed

    to demonstrate specificity of the PCR product.

           Protein Detection: Cell pellets were lysed utilizing cell lysis buffer (20 mM Tris-HCl (pH

    7.5), 150 mM NaCl, 1 mM Na2EDTA, 1 mM EGTA, 1% Triton, 2.5 sodium pyrophosphate, 1

    mM beta-glycerophosphate, 1 mM Na3VO4, 1 µg/ml leupeptin) containing a cocktail of protease

    inhibitors. Samples were centrifuged at 13000 rpm for 10 minutes at 4°C.            Total protein

    concentration of cell lysates from control and talc-treated cells was measured with the Pierce BCA

    Protein Assay Kit (Thermo Scientific, Rockford, Illinois) per the manufacturer’s protocol.

    Detection of protein/activity by ELISA: ELISA kits for each target were purchased and used

    according to the manufacturer’s protocol. The following ELISA kits were purchased from Cayman

    Chemical, Ann Arbor, MI: CAT, SOD3, GSR, GPX1, and MPO. Nitrite (NO2-)/nitrate (NO3-)

    were determined spectrophotometrically by measuring their absorbance at 210 nm after separation

    by HPLC with standard NO2-/NO3- as previously reported19. The analysis was performed by a

    HPLC system (Shimadzu Scientific Instruments, Inc.) including a LC-10ADV pump, frc-10A

    injector and DGU-14A degasser. Nitrite/nitrate were detected using an RF-10 XL fluorescence

    detector with 210 nm excitation and 440 nm emission. CA-125 protein levels were measured in

    cell media by ELISA from Ray Biotech according to the manufacturer’s protocol.

           TaqMan® SNP Genotyping Assay: DNA was isolated utilizing the EZ1 DNA Tissue Kit

    (Qiagen Valencia, CA) for EOC cells according the manufacturer's protocols. The TaqMan® SNP

    Genotyping Assay Set (Applied Biosystems, Carlsbad, CA) (NCBI dbSNP genome build 37, MAF

    source 1000 genomes) were used to genotype the SNPs described in Table 1. The Applied

    Genomics Technology Center (AGTC, Wayne State University, Detroit, MI) performed these
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    assays. Analysis was done utilizing the QuantStudioTM 12 K Flex Real-Time PCR System

    (Applied Biosystems).

           Statistical Analysis: Normality was examined using the Kolmogorov-Smirnov test and by

    visual inspection of quantile-quantile plots. Because most of the data were not normally

    distributed, differences in distributions were examined using the Kruskal-Wallis test. Generalized

    linear models were fit to examine pairwise differences in estimated least squares mean expression

    values by exposure to 0, 5, 20 or 100 ug/ml of Talc. We used the Tukey-Kramer adjustment for

    multiple comparisons, and the regression models were fit using log2 transformed analyte

    expression values after adding a numeric constant ‘1’ to meet model assumptions

    while avoiding negative transformed values. P-values below 0.05 are statistically significant.

           Research Findings: Recent studies from our laboratory have shown conclusively that

    talcum powder alter key redox and inflammatory markers, enhance cell proliferation, and inhibit

    apoptosis in EOC cells, which are hallmarks of ovarian cancer. More importantly, this effect is

    also manifested by talcum powder in normal cells, including surface ovarian epithelium, fallopian

    tube, and macrophages. Oxidative stress has been implicated in the pathogenesis of ovarian cancer,

    specifically, by increased expression of several key pro-oxidant enzymes such as iNOS, MPO, and

    NAD(P)H oxidase in EOC tissues and cells as compared to normal cells indicating an enhanced

    redox state, as we have recently demonstrated 19. This redox state is further enhanced in

    chemoresistant EOC cells as evident by a further increase in iNOS and NO2-/NO3- and a decrease

    in GSR levels, suggesting a shift towards a pro-oxidant state 19. Antioxidant enzymes, key

    regulators of cellular redox balance, are differentially expressed in various cancers, including

    ovarian 19,79. Specifically, GPX expression is reduced in prostate, bladder, and estrogen receptor

    negative breast cancer cell lines as well as in cancerous tissues from the kidney. However, GPX
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    activity is increased in cancerous tissues from breast 79. Glutathione reductase levels, on the other

    hand, are elevated in lung cancer, although differentially expressed in breast and kidney cancerous

    tissues 5,80. Similarly, CAT was decreased in breast, bladder, and lung cancer while increased in

    brain cancer 81-83. Superoxide dismutase is expressed in lung, colorectal, gastric ovarian, and breast

    cancer, while decreased activity and expression have been reported in colorectal carcinomas and

    pancreatic cancer cells 83-86. Collectively, this differential expression of antioxidants demonstrates

    the unique and complex redox microenvironment in cancer. Glutathione reductase is a flavoprotein

    that catalyzes the NADPH-dependent reduction of oxidized glutathione (GSSG) to GSH. This

    enzyme is essential for the GSH redox cycle which maintains adequate levels of reduced cellular

    GSH. A high GSH/GSSG ratio is essential for protection against oxidative stress. Treatment with

    talc significantly reduced GSR in normal and cancer cells, altering the redox balance. Likewise,

    GPX is an enzyme that detoxifies reactive electrophilic intermediates and thus plays an important

    role in protecting cells from cytotoxic and carcinogenic agents. Overexpression of GPX is

    triggered by exogenous chemical agents and reactive oxygen species, and is thus thought to

    represent an adaptive response to stress 80. Treatment of normal and cancer cells with talc

    significantly reduced GPX, which compromised the overall cell response to stress.

           We have previously reported that EOC cells manifest increased cell proliferations and

    decreased apoptosis 19. Consistent with these findings, recent studies from my laboratory have

    shown that talc enhances cell proliferation and induces an inhibition in apoptosis in EOC cells, but

    more importantly in normal cells, suggesting talc is a stimulus to the development of the oncogenic

    phenotype. We also previously reported a cross-talk between iNOS and MPO in ovarian cancer

    which contributed to the lower apoptosis observed in ovarian cancer cells 17,19. Collectively, we

    now have substantial evidence demonstrating that altered oxidative stress may play a role in
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    maintaining the oncogenic phenotype of EOC cells. Treatment of normal or ovarian cancer cells

    with talc resulted in a significant increase in MPO and iNOS, supporting the role of talc in the

    enhancement of a pro-oxidant state that is a major cause in the development and maintenance of

    the oncogenic phenotype.

            Furthermore, CA-125, which exists as a membrane-bound and secreted protein in epithelial

    ovarian cancer cells, has been established as a biomarker for disease progression and response to

    treatment 2. CA-125 expression was significantly increased from nearly undetectable levels in

    controls to values approaching clinical significance (35 U/ml in postmenopausal women87) in talc

    treated cell lines without the physiologic effects on the tumor microenvironment one would expect

    to be present in the human body, highlighting the implications of the pro-oxidant states caused by

    talc alone.

            To elucidate the mechanism by which talc alters the redox balance to favor a pro-oxidant

    state not only in ovarian cancer cells, but more importantly in normal cells, my laboratory

    examined selected known gene mutations in key oxidant and antioxidant enzymes. These

    mutations correspond to specific SNPs that are known to be associated with altered enzymatic

    activity and increased cancer risk 34,35. Results show that the CAT SNP (rs769217) which results

    in decreased enzymatic activity was induced in all normal cell lines tested and in TOV112D EOC

    lines. However, the CAT mutation was not detected in A2780 or SKOV-3 cell lines. Nevertheless,

    our results confirm a decrease in CAT expression and enzymatic activity in all talc treated cells,

    indicating the existence of other CAT SNPs. However, the SOD3 (rs2536512) and GSR

    (rs8190955) SNP genotypes were not detected in any cell line, yet SOD3 and GSR activity and

    expression were decreased in all talc treated cells, again suggesting the presence of other SNPs.

    Our results have also shown that all cells, except for HOSEpiC cells, manifest the SNP genotype
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    of GPX1 (C/T) before talc treatment. Intriguingly, talc treatment reversed this SNP genotype to

    the normal genotype. Consistent with this finding, it has previously been reported that acquisition

    of chemoresistance by ovarian cancer cells is associated with a switch from the GPX1 SNP

    genotype to the normal GPX1 genotype 35. It is not understood why a GPX1 SNP genotype

    predominates in untreated normal and ovarian cancer cells. Additionally, our results showed that

    talc treatment was associated with a genotype switch from common C/C genotype in NOS2 in

    untreated cells to T/T, the SNP genotype, in talc treated cells, except in A2780 and TOV112D.

    Nevertheless, our results confirm an increase in iNOS expression and enzymatic activity in all talc

    treated cells, again suggesting the existence of other NOS2 SNPs. Collectively, these findings

    demonstrate that talc treatment induced gene point mutations that happen to correspond to SNPs

    in locations with functional effects, thus altering overall redox balance for the initiation and

    development of ovarian cancer. Future studies examining such SNPs are important to fully

    elucidate a genotype switch mechanism induced by talc exposure.

            In summary, this research clearly demonstrates that talcum powder induces inflammation

    and alters the redox balance favoring a pro-oxidant state in normal and EOC cells. This study has

    shown a dose-dependent significant increase in key pro-oxidants, iNOS, NO2-/NO3-, and MPO

    and a concomitant decrease in key antioxidant enzymes, CAT, SOD, GPX, and GSR, in all talc

    treated cells (both normal and ovarian cancer) compared to their controls. Additionally, there was

    a significant increase in CA-125 levels in all the talc treated cells compared to their controls, except

    in macrophages (which do not produce CA-125). The mechanism by which talc alters the cellular

    redox and inflammatory balance involves the induction of specific mutations in key oxidant and

    antioxidant enzymes that correlate with alterations in their activities. The fact that these mutations
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    happen to correspond to known SNPs of these enzymes indicate a genetic predisposition to

    developing ovarian cancer with genital talcum powder exposure.

    Summary of opinions

    These opinions are made to a reasonable degree of scientific certainty and are based on my

    experience, training, and expertise, as well as a knowledge of the relevant scientific literature and

    my previous and ongoing research.

       1. Johnson’s Baby Powder elicits an inflammatory response in normal ovarian and tubal cells

           and in ovarian cancer cells that can result in the development and the progression of ovarian

           cancer.

       2. This pro-carcinogenic process involves oxidative stress, alteration of the redox

           environment by increasing oxidant enzymes and decreasing anti-oxidant enzymes,

           promotion of cell proliferation, inhibition of apoptosis, and induction of specific genetic

           mutations.

       3. Johnson’s Baby Powder exposure results in elevation of CA-125, a clinically relevant

           biomarker for ovarian cancer, in normal and ovarian cancer cells.

       4. The molecular effects resulting from Johnson’s Baby Powder exposure exhibit a clear

           dose-response pattern.

       5. In my opinion, based on established molecular mechanisms for the pathogenesis of ovarian

           cancer (as evidenced in the peer-reviewed scientific literature and my previously published

           research) and my in vitro experiments, Johnson’s Baby Powder exposure can cause ovarian

           cancer.

       6. In my opinion, based on established molecular mechanisms that influence the progression

           and chemoresistance associated with ovarian cancer (as evidenced in the peer-reviewed
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           scientific literature and my previously published research) and my in vitro experiments,

           Johnson’s Baby Powder exposure worsens the prognosis for patients with ovarian cancer.

    I reserve the right to amend or supplement this report as new information becomes available.
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                         Exhibit 29
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                                Ghassan Saed, Ph.D.

                                                                         Page 1
                               IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF NEW JERSEY



              IN RE:   JOHNSON & JOHNSON TALCUM

              POWDER PRODUCTS MARKETING, SALES

              PRACTICES, AND PRODUCTS

              LIABILITY LITIGATION                  MDL NO: 16-2738(FLW)(LHG)



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              THIS DOCUMENT RELATES TO

              ALL CASES

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                    The Videotaped Deposition of GHASSAN SAED, PH.D.,

                    Taken at 1 Park Avenue,

                    Detroit, Michigan,

                    Commencing at 9:15 a.m.,

                    Wednesday, January 23, 2019,

                    Before Laurel A. Frogner, RMR, CRR, CSR-2495.




                 Golkow Litigation Services - 1.877.370.DEPS
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                                                                                       2 (Pages 2 to 5)
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         3   COUGHLIN DUFFY LLP                                             3   EXAMINATION BY MR. HEGARTY                      17
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        11                                                                 11

        12                                                                 12                  INDEX TO EXHIBITS
        13   TUCKER ELLIS                                                  13             (Exhibits attached to transcript)
        14   BY: JAMES W. MIZGALA, ESQ.                                    14

        15   233 South Wacker Drive                                        15   Exhibit                               Page
        16   Chicago, Illinois 60606                                       16   SAED DEPOSITION EXHIBIT NUMBER 1, COPY OF NOTEBOOK                 13
        17   312-624-6300                                                  17   BATES SAED000001 - SAED000097, WAS MARKED BY THE
        18   James.mizgala@tuckerellis.com                                 18   REPORTER FOR IDENTIFICATION
        19      Appearing on behalf of the Defendant PTI                   19

        20                                                                 20   SAED DEPOSITION EXHIBIT NUMBER 2, LAB NOTEBOOK,               13
        21                                                                 21   (Retained by Witness) WAS MARKED BY THE REPORTER
        22                                                                 22   FOR IDENTIFICATION
        23                                                                 23

        24                                                                 24

        25                                                                 25


                                                            Page 7                                                                        Page 9
        1    APPEARANCES (Continued):                                       1   SAED DEPOSITION EXHIBIT NUMBER 3, LAB NOTEBOOK,               14

        2                                                                   2   (Retained by Witness) WAS MARKED BY THE REPORTER

        3    SEYFARTH SHAW LLP                                              3   FOR IDENTIFICATION
                                                                            4
        4    BY: THOMAS T. LOCKE, ESQ.
        5    975 F Street, N.W.                                             5   SAED DEPOSITION EXHIBIT NUMBER 4, INVOICES, WAS              22

        6    Washington, D.C. 20004                                         6   MARKED BY THE REPORTER FOR IDENTIFICATION
                                                                            7
        7    202-463-2400
        8    tlocke@seyfarth.com                                            8   SAED DEPOSITION EXHIBIT NUMBER 5, DECEMBER 18,              35

        9       Appearing on behalf of the Defendant PCPC                   9   2018 DOCUMENT, WAS MARKED BY THE REPORTER FOR

       10                                                                  10   IDENTIFICATION
                                                                           11
       11    ALSO PRESENT: Marc Myers, Videographer
       12                                                                  12   SAED DEPOSITION EXHIBIT NUMBER 6, COPY OF CHECK              40

       13                                                                  13   DATED 11/2/2017 FOR $15,000, WAS MARKED BY THE

       14                                                                  14   REPORTER FOR IDENTIFICATION
                                                                           15
       15
       16                                                                  16   SAED DEPOSITION EXHIBIT NUMBER 7, MOLECULAR BASIS                 42

       17                      * * * * * * *                               17   SUPPORTING THE ASSOCIATION OF TALCUM POWDER USE

       18                                                                  18   WITH INCREASED RISK OF OVARIAN CANCER, WAS MARKED

       19                                                                  19   BY THE REPORTER FOR IDENTIFICATION
                                                                           20
       20
       21                                                                  21   SAED DEPOSITION EXHIBIT NUMBER 8, MOLECULAR BASIS                 45

       22                                                                  22   SUPPORTING THE ASSOCIATION OF TALCUM POWDER USE

       23                                                                  23   WITH INCREASED RISK OF OVARIAN CANCER, WAS MARKED

       24                                                                  24   BY THE REPORTER FOR IDENTIFICATION
                                                                           25
       25
                                                                                                               3 (Pages 6 to 9)
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                                                        Page 10                                                                           Page 12
         1   SAED DEPOSITION EXHIBIT NUMBER 10, INDEX FOR LAB           78    1              Detroit, Michigan
         2   NOTEBOOK, WAS MARKED BY THE REPORTER FOR                         2              Wednesday, January 23, 2019
         3   IDENTIFICATION                                                   3              About 9:15 a.m.
         4                                                                    4           THE VIDEOGRAPHER: We are now on the record.
         5   SAED DEPOSITION EXHIBIT NUMBER 9, PILOT STUDY,        84         5   My name is Marc Myers. I'm the videographer for Golkow
         6   WAS MARKED BY THE REPORTER FOR IDENTIFICATION                    6   Litigation Services. Today's date is January 23rd,
         7                                                                    7   2019. The time is now 9:15 a.m. This video deposition
         8   SAED DEPOSITION EXHIBIT NUMBER 11, NOTEBOOKS,         132        8   is being held in Detroit, Michigan in regards to the
         9   WAS MARKED BY THE REPORTER FOR IDENTIFICATION                    9   Johnson & Johnson Talcum Powder Products Marketing,
        10                                                                   10   Sales Practices, and Products Liability Litigation,
        11   SAED DEPOSITION EXHIBIT NUMBER 12,             151              11   pending in the United States District Court for the
        12   SAGE PUBLISHING DOCUMENT,                                       12   District of New Jersey.
        13   WAS MARKED BY THE REPORTER FOR IDENTIFICATION                   13           The deponent is Dr. Ghassan Saed. And
        14                                                                   14   counsel will be noted on the stenographic record. And
        15   SAED DEPOSITION EXHIBIT NUMBER 13,             157              15   will the court reporter please swear in the witness.
        16   SAGE PUBLISHING DOCUMENT,                                       16                 DR. GHASSAN SAED,
        17   WAS MARKED BY THE REPORTER FOR IDENTIFICATION                   17   having first been duly sworn, was examined and
        18                                                                   18   testified on his oath as follows:
        19   SAED DEPOSITION EXHIBIT NUMBER 14,             161              19           MR. HEGARTY: Before we begin with
        20   COPY OF LETTER FROM REPRODUCTIVE SCIENCES,                      20   questioning Dr. Saed, I want to make a note on the
        21   WAS MARKED BY THE REPORTER FOR IDENTIFICATION                   21   record with regard to materials that were produced to
        22                                                                   22   us this morning by counsel for Plaintiffs. Those
        23   SAED DEPOSITION EXHIBIT NUMBER 15, JANUARY 14,       173        23   materials included the original lab notebook for
        24   2019 E-MAIL, WAS MARKED BY THE REPORTER FOR                     24   presumably the study that Dr. Saed did that's reported
        25   IDENTIFICATION                                                  25   in a manuscript that we were provided as well in

                                                        Page 11                                                                           Page 13
         1   SAED DEPOSITION EXHIBIT NUMBER 16, EXPERT REPORT,      175       1   advance, and it's our understanding that we were to
         2   WAS MARKED BY THE REPORTER FOR IDENTIFICATION                    2   have copies of the notebook provided to us in advance
         3                                                                    3   of the deposition. We were provided with what we
         4   SAED DEPOSITION EXHIBIT NUMBER 17, RESEARCH          214         4   believe to be that notebook that I'm marking as Exhibit
         5   ARTICLE, WAS MARKED BY THE REPORTER FOR                          5   Number 1.
         6   IDENTIFICATION                                                   6      SAED DEPOSITION EXHIBIT NUMBER 1,
         7                                                                    7      COPY OF NOTEBOOK BATES SAED000001 - SAED000097,
         8   SAED DEPOSITION EXHIBIT NUMBER 18, CURRICULUM         278        8      WAS MARKED BY THE REPORTER
         9   VITAE, WAS MARKED BY THE REPORTER FOR                            9      FOR IDENTIFICATION
        10   IDENTIFICATION                                                  10         MR. HEGARTY: That notebook -- those notebook
        11                                                                   11   pages begin on Page 30 and go through Page 124 as noted
        12   SAED DEPOSITION EXHIBIT NUMBER 19, ABSTRACT          315        12   in handwriting on the pages. They are Bates Numbered 1
        13   SUBMITTED TO SGO, WAS MARKED BY THE REPORTER FOR                13   through 97.
        14   IDENTIFICATION                                                  14      SAED DEPOSITION EXHIBIT NUMBER 2,
        15                                                                   15      LAB NOTEBOOK, (Retained by Witness)
        16   SAED DEPOSITION EXHIBIT NUMBER 20, ABSTRACT,         316        16      WAS MARKED BY THE REPORTER
        17   WAS MARKED BY THE REPORTER FOR IDENTIFICATION                   17      FOR IDENTIFICATION
        18                                                                   18         MR. HEGARTY: The lab notebook we've been
        19   SAED DEPOSITION EXHIBIT NUMBER 21, ABSTRACT          317        19   provided this morning, which I will designate for
        20   FROM SRI, WAS MARKED BY THE REPORTER FOR                        20   purposes of the record as Exhibit Number 2, because we
        21   IDENTIFICATION                                                  21   were told that we were not to mark on it and that Dr.
        22                                                                   22   Saed would retain it, but the lab notebook provided is
        23                                                                   23   Exhibit Number 2, includes Pages 1 through 29 which we
        24                                                                   24   were not provided in advance of the deposition. We
        25                                                                   25   believe those pages should have been provided along

                                                                                                    4 (Pages 10 to 13)
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         1   with the other pages pursuant to Judge Pisano's order      1      excuse me, was not a part of Dr. Saed's manuscript.
         2   and pursuant to our Notice of Deposition. Not having       2              MR. HEGARTY: I marked it as Exhibit 3, the
         3   those pages in advance prejudices our right to have a      3      other lab notebook.
         4   full and complete opportunity to discuss the lab           4              MS. O'DELL: I'm referring to Exhibit 2, the
         5   notebook with Dr. Saed during his deposition, and we       5      initial lab --
         6   object to its production here this morning and             6              MR. HEGARTY: Okay, I'm sorry, I thought you
         7   certainly reserve our right to seek additional time        7      were referring to the second one.
         8   with Dr. Saed as well as any other remedies that we        8              MS. O'DELL: I was not.
         9   might be entitled to for what we believe to be an          9              MR. HEGARTY: I'm sorry to interrupt.
        10   untimely production.                                      10              MS. O'DELL: I'm pretty sure you are not
        11          Also, I will note for purposes of the record       11      sorry you interrupted me, but Exhibit 2 is the lab
        12   that we received this morning as well another lab         12      notebook I'm referring to, and the study that is the
        13   notebook that is purported to be a notebook covering an   13      basis of the objection was not a part of the manuscript
        14   additional set of tests that Dr. Saed did with Fisher     14      or the report.
        15   Scientific Talc, and make note that there's a reference   15              Secondly, Exhibit 3 includes a separate and
        16   in the manuscript that we were provided testing done on   16      distinct set of data for a Fisher talc study, and we
        17   Fisher Scientific talc. We'll designate for purposes      17      have provided that today, it was published in an
        18   of the record this notebook is Exhibit Number 3.          18      abstract and we provided that today in compliance with
        19       SAED DEPOSITION EXHIBIT NUMBER 3,                     19      the second notice of deposition. So the plaintiff's
        20       LAB NOTEBOOK, (Retained by Witness)                   20      position is we have provided everything the Judge
        21       WAS MARKED BY THE REPORTER                            21      ordered, everything that's required as part of the
        22       FOR IDENTIFICATION                                    22      notice, and we'll oppose any motion to extend the
        23          MR. HEGARTY: This notebook was not provided        23      deposition and keep it open.
        24   nor -- in advance of the deposition nor were any pages    24              MR. HEGARTY: I do have a question. You're
        25   of this notebook provided in advance of the deposition.   25      saying that the lab notebook we designated as Exhibit

                                                       Page 15                                                           Page 17
         1   We have not had an opportunity to review it to know        1     Number 2 for which you provided copies is not related
         2   whether this is pertinent to the manuscript that we'll     2     to the manuscript that's titled Molecular Basis
         3   talk about here today, but also believe that this is       3     Supporting the Association of Talcum Powder Use With
         4   likely to also fall within the scope of Judge Pisano's     4     Increased Risk of Ovarian Cancer?
         5   order and certainly within the scope of the Notice of      5            MS. O'DELL: That's not what I said. What I
         6   Deposition that we had made. So we also object to          6     said is the portion of the lab notebook Exhibit 2,
         7   its -- the timeliness of the production of this            7     which you referred to as Pages 1 through 29, are not
         8   notebook and, again, we reserve all rights for whatever    8     reported in the manuscript or the report, the expert
         9   remedies are appropriate due to this late production.      9     report in this matter, and, therefore, they were not
        10           MR. KLATT: Imerys Talc America joins in what      10     subject Judge Pisano's previous ruling, so that's the
        11   Mr. Hegarty said. And can we have the agreement we've     11     distinction that I'm making. These are materials that
        12   had that one objection is good for all?                   12     were made available to you today and you have full
        13           MS. O'DELL: Yes.                                  13     opportunity TO ask Dr. Saed questions about it.
        14           MR. KLATT: All defendants join.                   14            MR. HEGARTY: I understand.
        15           MS. O'DELL: So on behalf of the steering          15   EXAMINATION BY MR. HEGARTY:
        16   committee, let me state that Judge Pisano's order         16   Q. Good morning, Dr. Saed.
        17   related to the specific -- a specific Notice of           17   A. Good morning.
        18   Deposition that requested documents regarding the         18   Q. Would you -- strike that. My name is Mark Hegarty. I
        19   underlying data and study that was reported in Dr.        19     represent the Johnson & Johnson defendants in this
        20   Saed's manuscript as well as his expert report. That      20     matter. Would you please state your full name for the
        21   was the subject of the order. Those materials were        21     record, please.
        22   provided in compliance with Judge Pisano's order.         22   A. Ghassan Saed.
        23   There was a second general notice that asked for other    23   Q. Who is your current employer, Dr. Saed?
        24   talc studies. The additional talc study that's noted      24   A. Wayne State University Medical School.
        25   in the lab book Exhibit 2 was not a part of Judge --      25   Q. What is your title?

                                                                                             5 (Pages 14 to 17)
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         1   A. Wayne State University Medical School.                    1   BY MR. HEGARTY:
         2   Q. What is your title there?                                 2   Q. What portion of the fees have you not been paid --
         3   A. Associate professor.                                      3   A. So we --
         4   Q. How long have you held that position?                     4   Q. -- through DS Biotech?
         5   A. Eight years about, I'm not --                             5   A. So we have to deduct expenses and everything.
         6   Q. Do you also have a separate personal consulting           6   Q. Can you approximate the expenses you have had to deduct
         7     business for purposes of litigation?                       7     from the fees you've --
         8   A. DS Biotech, it's a consulting company.                    8   A. I haven't done it for this year yet.
         9   Q. Are there any other employees or owners or other          9   Q. Do you have any other sources of income besides your
        10     individuals involved in DS Biotech besides you?           10     work at Wayne State and through DS Biotech?
        11   A. No.                                                      11   A. No.
        12   Q. Is your son in any way involved in that business?        12   Q. What are you charging Plaintiff's Counsel in this
        13   A. Just doing some paperwork.                               13     litigation for your work?
        14   Q. Do you do any business through DS Biotech besides        14   A. $600 an hour.
        15     expert witness consulting for litigation?                 15   Q. Do you have different rates for deposition or trial
        16   A. We do consulting for scientific testing for              16     testimony?
        17     universities, for investigators, we design experiments,   17   A. Do I have different rate?
        18     we help them write manuscripts.                           18   Q. Sure. The rate you just quoted me was per hour, $600
        19   Q. You said for other investigators or universities. Do     19     per hour. Do you have a different per-hour rate if
        20     you do any business with any companies?                   20     you're being deposed or if you're going to trial?
        21   A. I do, yes.                                               21   A. Oh, no.
        22   Q. Can you name a company with whom you do business?        22   Q. You have obligations at Wayne State University to
        23   A. Temple Pharmaceuticals.                                  23     disclose financial arrangements --
        24   Q. How long has DS Biotech been in business?                24   A. Yes.
        25   A. 2006.                                                    25   Q. -- is that correct? Have you disclosed your financial

                                                          Page 19                                                          Page 21
         1   Q. Are you currently named as an expert witness in any       1     arrangement --
         2     other litigation besides this one?                         2   A. Yes.
         3   A. No.                                                       3   Q. -- to Wayne State with regard to your work with
         4   Q. Have the fees that you have generated in connection       4     Plaintiff's Counsel in this case?
         5     with your work on this case been directed to DS            5   A. Yes.
         6     Biotech?                                                   6   Q. When did you make that disclosure?
         7   A. Been directed?                                            7   A. Every year they -- there's a deadline to receive -- to
         8   Q. Well, have the fees that you have generated for your      8     submit a form which shows consultation efforts, and for
         9     work on this case been paid to DS Biotech?                 9     2018 that was submitted 10 days ago.
        10   A. Yes.                                                     10   Q. Who did you identify to whom you were consulting with
        11   Q. Do you receive all of the income from those fees?        11     with regard to that disclosure for purposes of this
        12   A. Through DS Biotech?                                      12     litigation?
        13   Q. Yes.                                                     13   A. DS Biotech and Beasley Allen.
        14   A. Yes, after I submit taxes and all that.                  14   Q. You prepared a report in this case, correct?
        15   Q. But you essentially receive the fees even though they    15   A. (Nods head.)
        16     were directed to DS Biotech, correct?                     16   Q. Yes?
        17   A. Correct, the company received it, yes.                   17   A. Did I prepare a report? Yes.
        18   Q. Then you have been -- you were paid by the company,      18   Q. Did anyone outside of the lawyers for the plaintiffs in
        19     correct?                                                  19     this case assist you in any way with that report?
        20   A. Yes.                                                     20   A. No.
        21   Q. Were you -- have you been paid by the company the same   21   Q. Do you know how much you have been paid through the
        22     amount to which the fees generated?                       22     present date for your work in this litigation?
        23            MS. O'DELL: Object to the form.                    23   A. Yes.
        24            THE WITNESS: Yeah, I am -- the answer is no.       24   Q. How much?
        25                                                               25   A. Approximately 260, something like that.

                                                                                               6 (Pages 18 to 21)
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         1   Q. 260,000?                                                   1     Beasley Allen?
         2   A. Yes, about that, maybe a little bit less, I don't know,    2   A. So I started October, maybe 1st of October, maybe
         3     I can't remember the exact number.                          3     before that, I can't remember the exact date.
         4         SAED DEPOSITION EXHIBIT NUMBER 4,                       4   Q. What is your best estimate?
         5         INVOICES,                                               5   A. I would say end of September.
         6         WAS MARKED BY THE REPORTER                              6   Q. So the first invoice -- I'm sorry, go ahead.
         7         FOR IDENTIFICATION                                      7   A. Go ahead.
         8   BY MR. HEGARTY:                                               8   Q. So the first invoice on Exhibit Number 4 would reflect
         9   Q. I'm marking as Exhibit Number 4, Dr. Saed, copies of       9     the time you spent from approximately the end of
        10     invoices that we were provided in advance of the           10     September through October 30th, 2017, correct?
        11     deposition. Would you look at Exhibit Number 4, and        11   A. Correct.
        12     tell me whether those are copies of all the invoices       12   Q. Can you describe for me with regard to the first
        13     you have generated for purposes of your work in this       13     invoice the type of work that you did between the
        14     case?                                                      14     first -- between the end of September and the date of
        15   A. Yeah, they look fine to me.                               15     this first invoice?
        16   Q. The last invoice we were provided is dated November 16,   16   A. Sure. So this was time for meetings, meeting with them
        17     2018, that's the issue date. Have you prepared any         17     and reviewing literature basically.
        18     additional invoices since that date?                       18   Q. You said meeting with them. Who is "them"?
        19   A. No.                                                       19   A. With Beasley Allen.
        20   Q. Have you spent additional time on this case for which     20   Q. Which attorneys from Beasley Allen did you meet with?
        21     you intend to prepare an invoice --                        21   A. Dr. Thompson, Mrs. --
        22   A. Yes.                                                      22             MS. O'DELL: O'Dell.
        23   Q. -- since that date?                                       23             THE WITNESS: -- O'Dell and Jennifer --
        24   A. Yes.                                                      24     what's her last name?
        25   Q. How much additional time have you spent that you have     25

                                                          Page 23                                                           Page 25
         1     not yet invoiced?                                           1   BY MR. HEGARTY:
         2   A. Approximately 100, 110 hours.                              2   Q. Do you recall the date of your first contact by Beasley
         3   Q. The invoices show that they were issued by DS Biotech,     3     Allen?
         4     that's the company we talked about earlier, is that         4   A. Around middle of August.
         5     correct?                                                    5   Q. How was that contact made?
         6   A. Yes.                                                       6   A. A phone call.
         7   Q. There are no other employees of DS Biotech besides         7   Q. A phone call to you?
         8     yourself, is that correct?                                  8   A. Yes.
         9   A. And help from my son, paperwork part-time.                 9   Q. Who called you?
        10   Q. Is he a paid employee?                                    10   A. Dr. Thompson.
        11   A. No.                                                       11   Q. Did you know Dr. Thompson before the call?
        12   Q. The first page of Exhibit Number 4 with an issue date     12   A. No.
        13     of the invoice 10-30-2017 includes just a single word      13   Q. Apart from -- or strike that. What did she tell you
        14     in the description Consulting with no corresponding        14     when she first called you?
        15     date. What is the date of the first consulting entry       15   A. She told me that they would like to meet with me to
        16     that you have listed on the first page of Exhibit          16     discuss the possibility of acting as a witness expert
        17     Number 4?                                                  17     in ovarian cancer inflammation and oxidative stress.
        18   A. 10-30, so what's the -- I'm sorry.                        18   Q. Did you agree to serve as a retained expert on behalf
        19   Q. Let me ask, Exhibit Number 4, the first page refers to    19     of Beasley Allen at that first call?
        20     an invoice of $20,400 at a unit price of $600, so there    20   A. No.
        21     would be several hours, you spent several hours doing      21   Q. What else were you told by Miss Thompson during that
        22     something that generated that invoice, correct?            22     phone call?
        23   A. Yes.                                                      23   A. We just basically talked about setting a meeting and we
        24   Q. When did that something start? When is the first time     24     did.
        25     that you spent anytime on this matter on behalf of         25   Q. You said that she told you that they would like to meet

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         1     with you to discuss the possibility of acting as a          1     moment after Mark's question so I can object if I need
         2     witness, expert witness on cancer inflammation and          2     to.
         3     oxidative stress. Was there a reference during that         3             THE WITNESS: Oh, I'm sorry.
         4     call to talc exposure?                                      4             MS. O'DELL: Thank you.
         5   A. No.                                                        5             THE WITNESS: Where are we now?
         6   Q. So talc was not brought up --                              6   BY MR. HEGARTY:
         7   A. In the conversation, no.                                   7   Q. Yes, I said -- my question was what analysis of the
         8   Q. -- in the first call. Was the fact that they were          8     medical literature had you done with regard to talc and
         9     representing clients or that they were wanting to talk      9     ovarian cancer prior to the call from Miss Thompson?
        10     to you in connection with a litigation, was that           10   A. Reading the literature.
        11     discussed?                                                 11   Q. What literature had you read?
        12   A. In the phone call, no.                                    12   A. I read the epidemiology studies, I read some of the
        13   Q. Did she identify herself as a lawyer?                     13     molecular studies, I read what's in the news, I read
        14   A. Yes, and the firm.                                        14     everything, I listened to the news, that's my interest,
        15   Q. What was your understanding as far as why a lawyer from   15     it's ovarian cancer and inflammation.
        16     Beasley Allen would want to talk to you about              16   Q. What epidemiologic studies had you read prior to the
        17     inflammation and oxidative stress?                         17     call from Miss Thompson?
        18   A. Because -- so, oh, so you're telling me if she told me    18   A. I read -- the exact one?
        19     she is the lawyer on behalf of the defendants, I mean      19   Q. Yes.
        20     the plaintiffs in ovarian cancer cases and talc?           20   A. I can't remember exact one, but I read several studies.
        21   Q. Yes.                                                      21   Q. Can you identify the names of any studies, whether by
        22   A. She, yes, she identified herself as such.                 22     author or study name, that you had read prior to the
        23   Q. So you understood that the --                             23     call from Miss Thompson?
        24   A. Yes.                                                      24             MS. O'DELL: Object and asked and answered.
        25   Q. -- consulting that you would be doing would be with       25             THE WITNESS: Yeah. I mean I can look it up

                                                          Page 27                                                           Page 29
         1     regard to in some way to talc, correct?                     1     for you, but the cohort study is what I read, and I
         2            MS. O'DELL: Object to the form.                      2     read some other studies. I can't remember exactly.
         3            THE WITNESS: No. I was asked to serve as a           3   BY MR. HEGARTY:
         4     witness expert in my specialty, which is what we did        4   Q. When in relation to the call from Miss Thompson had you
         5     and what I do for the last 30 years, ovarian cancer,        5     read the medical literature you just described?
         6     oxidative stress, and inflammation.                         6   A. Sorry, I missed that.
         7   BY MR. HEGARTY:                                               7   Q. When in relation to the call from Miss Thompson in
         8   Q. As of the time of that phone call, your specialty was      8     August of 2017 had you read the literature you just
         9     not talc, correct?                                          9     talked about, the epi studies, the molecular studies?
        10   A. My specialty is anything that induces inflammation and    10   A. Yeah, it's over the past year prior.
        11     oxidative stress that is linked to ovarian cancer.         11   Q. What was it that prompted you to review those materials
        12   Q. But at the time of that first call you had done no        12     in the first place?
        13     studies involving talc, correct?                           13   A. The media reports.
        14   A. No, no studies, but I was really interested in it         14   Q. What media reports?
        15     because of the media reports that's going at the time.     15   A. People talking about the risk of ovarian cancer and
        16   Q. And at the time of that first call you had done no        16     talc powder use, it was all over the place.
        17     analysis of the medical literature with regard to talc     17   Q. As of the time that Miss Thompson called, you had done
        18     and ovarian cancer, correct?                               18     no studies yourself involving talc, correct?
        19            MS. O'DELL: Objection.                              19   A. Lab studies?
        20            THE WITNESS: Not correct.                           20   Q. Lab studies.
        21   BY MR. HEGARTY:                                              21   A. No.
        22   Q. What analysis of the medical literature had you done      22   Q. You had done no other study besides reading the
        23     with regard to talc and ovarian cancer prior to the        23     literature, correct?
        24     call from Miss Thompson?                                   24             MS. O'DELL: Objection to form.
        25            MS. O'DELL: Doctor, if you'll give me just a        25             THE WITNESS: Other studies related to talc?

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         1   BY MR. HEGARTY:                                              1     talc and ovarian cancer?
         2   Q. Correct.                                                  2   A. That talc is a potential inducer of inflammation, and
         3   A. I didn't do any studies related to -- lab studies         3     it induces and increases risk of ovarian cancer.
         4     related to talc before that, yes.                          4   Q. Those opinions came from your review -- from the media
         5   Q. And as of the time that Miss Thompson called you, had     5     reports and your review of the literature you
         6     you formed any opinions with regard to talc and ovarian    6     described?
         7     cancer?                                                    7   A. Uh-huh.
         8   A. Formed an opinion?                                        8   Q. Is that correct?
         9   Q. Yes, as to whether there's a causal link between talc     9   A. Correct.
        10     and ovarian cancer?                                       10   Q. With regard to the invoices we marked as Exhibit
        11   A. It's always my opinion that anything that causes         11     Number 4, do these reflect only your time spent in this
        12     inflammation, redox imbalance, is linked to increased     12     case?
        13     risk of ovarian cancer. This is the core of my work.      13   A. Correct.
        14   Q. So it's always been your opinion that anything that      14   Q. Are you able to break down from these invoices the
        15     causes inflammation will cause ovarian cancer?            15     amount of hours you spent reviewing literature?
        16            MS. O'DELL: Object to the form.                    16   A. From the first one?
        17            You may answer.                                    17   Q. From the first one through the end.
        18            THE WITNESS: No. I said that anything that         18   A. The answer is no, because I always review literature,
        19     induces inflammation, alter the redox balance is          19     this is my job, that's what I do for a living, I review
        20     potential for increasing risk of ovarian cancer, yes.     20     literature every single day.
        21   BY MR. HEGARTY:                                             21   Q. After being contacted by Miss Thompson, did you review
        22   Q. As of the time that Miss Thompson called you, what       22     literature with regard to this subject area, talc and
        23     medical studies reported that talc altered the redox      23     ovarian cancer, that you had not reviewed before?
        24     balance leading to inflammation?                          24   A. Yes.
        25   A. There was one study of Shukla, I think, and they         25   Q. Are you able to break down from these invoices the

                                                          Page 31                                                          Page 33
         1     measured the effect of -- they measured the reactive       1     amount of time you spent writing your expert report?
         2     oxygen species especially dihydrogen peroxide H2O2, and    2   A. There is actually one that actually state -- no, no,
         3     they found a dose response effect when exposure to         3     where is it? I thought there was one saying expert
         4     talc.                                                      4     report. I can identify it, yes.
         5   Q. From that one study you came to the opinion that --       5   Q. You can't identify it?
         6   A. No.                                                       6   A. I can, just give me one second. Yes, it's this one.
         7   Q. -- talc use causes redox imbalance that leads to          7   Q. The very last one?
         8     inflammation that leads to ovarian cancer?                 8   A. Yes.
         9             MS. O'DELL: Object to the form.                    9   Q. Does the very last one represent the amount of time you
        10             THE WITNESS: No. What I said that my              10     spent writing your report?
        11     interest is inflammation and redox balance and            11   A. Correct.
        12     imbalance and reactive oxygen species, so anything that   12   Q. Are you able to break down from the invoices the amount
        13     able at the cellular level to alter this, manipulate      13     of time you spent talking with lawyers for Beasley
        14     this, is a candidate, is a potential risk to ovarian      14     Allen?
        15     cancer.                                                   15   A. No.
        16   BY MR. HEGARTY:                                             16   Q. You prepared a manuscript which we'll talk about today
        17   Q. As of the time that Miss Thompson called you, had you    17     that has been submitted to the Journal for Reproductive
        18     come to the opinion that talc used by women did alter     18     Sciences entitled Molecular Basis Supporting the
        19     the redox balance?                                        19     Association of Talcum Powder Use With Increased Risk of
        20             MS. O'DELL: Objection, asked and answered.        20     Ovarian Cancer. Are you familiar with that?
        21             You may answer.                                   21   A. Yes.
        22             THE WITNESS: Repeat the question, please.         22   Q. Did you bill the time you spent preparing that
        23   BY MR. HEGARTY:                                             23     manuscript to lawyers for Beasley Allen?
        24   Q. Sure. As of the time that you received the call from     24   A. For this one? Yes.
        25     Miss Thompson, what opinion did you have with regard to   25   Q. Is that reflected in these invoices?

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         1   A. Yes.                                                       1     costs for your talc project that she did on
         2   Q. Are you able to tell me how much time you spent            2     December 18, 2018?
         3     preparing that manuscript that's reflected in the           3   A. I always ask for all my projects accounts.
         4     invoices we marked as Exhibit Number 4?                     4   Q. Where is the documentation or accounting of the time
         5   A. Exactly, no.                                               5     you spent, the lab supplies, the equipment, services,
         6   Q. Can you approximate it in any way?                         6     isn't there a separate list that breaks down the hours
         7   A. Yes.                                                       7     or the costs for personnel time and lab supplies,
         8   Q. What's your approximation?                                 8     equipment, services?
         9   A. I would say about 60 to 70 hours.                          9             MS. O'DELL: Objection.
        10   Q. There are other authors on that paper, correct?           10             THE WITNESS: Yeah, so the question is these
        11   A. Correct.                                                  11     numbers came from breakdown of expenses, receipts. We
        12   Q. Did you bill their time to Beasley Allen for their work   12     do have receipts for all the expenses from the lab.
        13     on the manuscript?                                         13   BY MR. HEGARTY:
        14   A. No.                                                       14   Q. Do you have receipts for, that document all the time
        15   Q. How was their time paid for?                              15     that is under the heading personnel?
        16   A. So some of them are, if you look at the names, some of    16   A. So the only personnel that's paid was Dr. Fletcher and
        17     them are the department chair, Dr. Morris, and this is     17     part-time my research assistant, medical student Ira,
        18     an academic institution, we don't bill for the time of     18     she was paid part-time, but full-time salary was paid
        19     consultants or coworkers or co-authors. The research       19     for Nicole from this budget.
        20     technicians was paid from my lab, and Amy Harper is a      20   Q. Who paid --
        21     fellow, OB-GYN oncology fellow, and they're paid for       21   A. That's included in what they call indirect.
        22     fellowships through the department, so we don't bill       22   Q. Let me finish, Doctor, who paid for Ira and Nicole's
        23     for their time.                                            23     time?
        24   Q. I'm marking as Exhibit Number 5 -- I'm sorry, go ahead.   24   A. My lab.
        25   A. Go ahead.                                                 25   Q. When you say your lab, you're talking about your lab at

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         1   Q. You were saying something.                                 1     Wayne State?
         2   A. I said the only time billed to this from the manuscript    2   A. Yes.
         3     is my time.                                                 3   Q. And where did the funds come from that your lab could
         4   Q. I'm marking this as Exhibit Number 5, a copy of another    4     use to pay Ira and Nicole?
         5     document we were provided in advance of the deposition.     5   A. I have discretion funding for my lab.
         6          SAED DEPOSITION EXHIBIT NUMBER 5,                      6   Q. I'm sorry?
         7          DECEMBER 18, 2018 DOCUMENT,                            7   A. I have funds available for me to my lab.
         8          WAS MARKED BY THE REPORTER                             8   Q. Who provides those funds?
         9          FOR IDENTIFICATION                                     9   A. The department.
        10   BY MR. HEGARTY:                                              10   Q. So the department paid for Ira's and Nicole's time to
        11   Q. Can you tell me what Exhibit Number 5 is?                 11     work on this talc project?
        12   A. So this is the cost of this project since the beginning   12   A. Correct.
        13     till now from my lab from my side.                         13   Q. The total listed there is $94,957. How much of that
        14   Q. This listing of costs was sent to you by a Sharon Pepe?   14     went to Ira and Nicole?
        15   A. The contract -- the grants and contract manager, yes.     15   A. Most of that went to Nicole, I can't remember exact,
        16   Q. Who is that?                                              16     but most of that went to Nicole because she was a
        17   A. The financial manager of our department, grants and       17     full-time post doc at the time.
        18     contract.                                                  18   Q. Do you know where the department received the funds
        19   Q. How did she come to send you this document on             19     that were used to pay Ira and Nicole?
        20     December 18, 2018?                                         20            MS. O'DELL: Object to the form.
        21   A. How come?                                                 21            THE WITNESS: I missed that.
        22   Q. Yes.                                                      22   BY MR. HEGARTY:
        23   A. I asked her. Every year they give us a budget balance     23   Q. Sure. I think you said the department paid for Ira's
        24     of each account that we have.                              24     and Nicole's time. From where did the department get
        25   Q. Why did you ask her to send you the accounting of the     25     the funds they used to pay for Ira and Nicole's time?

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         1   A. Let me explain that. So I get fund from the department     1   A. I can't. I didn't -- I never thought about it like
         2     in the form of an account, and the personnel is billed      2     that.
         3     into this account.                                          3   Q. Does Exhibit Number 5 capture all of the personnel, lab
         4   Q. So where did the funds come from that you get access       4     supplies, equipment, services, costs for this project?
         5     to?                                                         5   A. From my lab, yes.
         6   A. From the department.                                       6   Q. Have there been any such costs incurred since
         7   Q. And where does the department get them from?               7     December 18, 2018?
         8   A. Ask them, I don't know. They have fund for scientists      8   A. What's the last date here? Since what's the --
         9     to do, develop.                                             9   Q. Since the date of this document, have there been
        10   Q. Who would have the receipts of all the expenses and the   10     additional costs incurred for the talc project?
        11     costs associated with this project?                        11   A. No.
        12   A. Sharon.                                                   12   Q. Dr. Saed, we were also provided today with what I'm
        13   Q. She notes that the costs listed are for your talc         13     marking as Exhibit Number 6.
        14     project from October 1, 2017. Is that the date on          14         SAED DEPOSITION EXHIBIT NUMBER 6,
        15     which the talc project started incurring expenses?         15         COPY OF CHECK DATED 11/2/2017 FOR $15,000,
        16   A. I think so, yes.                                          16         WAS MARKED BY THE REPORTER
        17   Q. The document notes that this does not include your        17         FOR IDENTIFICATION
        18     effort costs. What does that mean?                         18   BY MR. HEGARTY:
        19   A. My salary.                                                19   Q. Would you please identify for me what Exhibit Number 6
        20   Q. Your salary at Wayne State?                               20     is.
        21   A. Yes.                                                      21   A. This is a retainer check for my consulting work.
        22   Q. So you were paid a salary at Wayne State but you were     22   Q. Did you ask for a retainer in connection with your
        23     also paid by Beasley Allen to do this talc project,        23     consulting work or did they offer to provide that to
        24     correct?                                                   24     you?
        25            MS. O'DELL: Object to the form.                     25   A. I can't remember.

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         1             THE WITNESS: I was paid as a consultant for         1   Q. With regard to the invoices and the retainer, have you
         2     my time.                                                    2     been paid for all the invoices?
         3   BY MR. HEGARTY:                                               3   A. I have been paid for these invoices, yes.
         4   Q. Now, all the work that you did on the talc project was     4   Q. So with regard to the amount of the check, that was
         5     paid for in an hourly way by Beasley Allen, correct?        5     $15,000, correct?
         6   A. No.                                                        6   A. The retainer check? Yes.
         7   Q. What time that you spent on the talc project was not       7   Q. Yes, and the date of the invoice is October 19, 2017?
         8     paid for by Beasley Allen?                                  8   A. Which invoice?
         9   A. It's the time I spent in the lab doing my duties.          9           MS. O'DELL: Object to the form.
        10   Q. The time you spent in the lab doing your duties on this   10           THE WITNESS: Which invoice?
        11     project?                                                   11   BY MR. HEGARTY:
        12   A. On this project, on other projects, too.                  12   Q. Well, there's an invoice date listed at the bottom of
        13   Q. So there was time you spent on the talc project that      13     the check of October 19, 2017. Do you see that?
        14     you did not bill to Beasley Allen?                         14           MS. O'DELL: I would just state for the
        15   A. Correct.                                                  15     record that there are no additional invoices, that that
        16   Q. How did you divide that, the time that you did bill       16     is my belief that data was put in by our Accounting
        17     Beasley Allen for on the talc project and the time you     17     Department when the request was made, so there's no
        18     didn't?                                                    18     invoice that has not been disclosed if that's --
        19   A. So the time I work for extra, additional work, I billed   19           MR. HEGARTY: That was going to be my next
        20     them, like overtime, I worked Saturdays, I worked          20     question.
        21     weekends, I write, I read.                                 21           The date of the check is November 2nd, 2017,
        22   Q. Can you estimate the amount of time that you spent on     22     correct?
        23     the talc project that you did not bill Beasley Allen?      23           THE WITNESS: Correct.
        24   A. Hour, hours you're talking?                               24   BY MR. HEGARTY:
        25   Q. By hours.                                                 25   Q. And all these funds went to you, correct?

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         1   A. The 15,000?                                             1        submitted by the author section says January 3rd, 2019,
         2   Q. Yes.                                                    2        which is after December 26, 2018. So my question is
         3   A. Yes.                                                    3        where is the manuscript that was submitted before
         4         SAED DEPOSITION EXHIBIT NUMBER 7,                    4        December 26, 2018?
         5         MOLECULAR BASIS SUPPORTING THE ASSOCIATION OF        5      A. Okay. So when you submit a manuscript, they return
         6         TALCUM POWDER USE WITH INCREASED RISK OF OVARIAN     6        they usually give you some corrections or editing to
         7         CANCER, WAS MARKED BY THE REPORTER                   7        do, and then you do the editing, and then you resubmit
         8         FOR IDENTIFICATION                                   8        the manuscript, so I have both copies. Are you
         9   BY MR. HEGARTY:                                            9        interested to see the one that went to revision versus
        10   Q. I'm going to mark next as Exhibit Number 7 a copy of a 10        the one after revision?
        11     manuscript we've been provided, which I referenced      11      Q. You have the copy that you initially sent to
        12     earlier, the manuscript that I marked as Exhibit        12        Reproductive Sciences which is the one referred to in
        13     Number 7 is entitled Molecular Basis Supporting the     13        the e-mail of December 26, 2018?
        14     Association of Talcum Powder Use With Increased Risk of 14      A. Sure.
        15     Ovarian Cancer. Do you see what I'm referring to,       15      Q. Are there only two drafts of the manuscript, the one
        16     Doctor?                                                 16        you submitted prior to December 26, 2018 and the one we
        17   A. Yes.                                                   17        marked as Exhibit Number 7?
        18   Q. First of all, is this the current version of the paper 18      A. For Reproductive Science, yes.
        19     you submitted to Reproductive Sciences?                 19      Q. Have you made any revisions to the document that we
        20   A. Yes.                                                   20        have marked as Exhibit Number 7?
        21   Q. Do you have prior drafts of this paper in your office  21      A. Let's see if I remember, so this is the first -- which
        22     or in your possession?                                  22        one is this, okay, because there is one original that
        23   A. Do I have drafts?                                      23        we submitted.
        24   Q. Correct.                                               24      Q. Correct.
        25   A. Like --                                                25      A. Went to review, the reviewer asked for some

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         1   Q. Well, let me explain. Go to the very last page of          1      modification, I did it and resubmit it.
         2     Exhibit Number 7.                                           2   Q. Is Exhibit Number -- I'm sorry, go ahead.
         3   A. Okay.                                                      3   A. So this, I can't remember is this the most recent one
         4   Q. Very last page.                                            4      or not.
         5   A. Okay.                                                      5   Q. Did you bring a copy today?
         6   Q. There's an e-mail there.                                   6   A. I have a copy.
         7   A. Oh.                                                        7   Q. You brought a copy from your office?
         8   Q. Of December 26, 2018, which would indicate that you        8   A. Yeah, this is a copy from my office.
         9     submitted the paper in advance of that date, yet on the     9   Q. May I see it, please?
        10     first page of Exhibit Number 7 it reports the date         10   A. Yes.
        11     submitted by the author of January 3rd, 2019. So there     11         SAED DEPOSITION EXHIBIT NUMBER 8,
        12     must have been a prior manuscript submitted to             12         MOLECULAR BASIS SUPPORTING THE ASSOCIATION OF
        13     Reproductive Sciences before Exhibit Number 7, correct?    13         TALCUM POWDER USE WITH INCREASED RISK OF OVARIAN
        14   A. Hold on. I need to digest this. Can you repeat that,      14         CANCER,
        15     please?                                                    15         WAS MARKED BY THE REPORTER
        16   Q. Sure.                                                     16         FOR IDENTIFICATION
        17   A. What are we talking about?                                17   BY MR. HEGARTY:
        18   Q. The e-mail that you're looking at is dated December 26,   18   Q. I'm going to mark as Exhibit Number 8 a copy of the
        19     2018, correct?                                             19      article or manuscript that Dr. Saed just provided to
        20   A. Yes.                                                      20      me. At least the cover page contains the same date
        21   Q. That e-mail refers to a manuscript you had submitted,     21      submitted by the author date. Would you look at the
        22     which would have been submitted before that date,          22      two Exhibit Number 7 and Exhibit Number 8, and tell me
        23     correct?                                                   23      whether they are the same?
        24   A. Yes.                                                      24   A. Yeah, it looks the same to me.
        25   Q. The first page of Exhibit Number 7 in the date            25   Q. So have there been any additional revisions to the


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         1      manuscript that we've marked as 7 and 8?                     1   A. Correct.
         2   A. No. We revised it according to the reviewer's comment        2   Q. They, based on correspondence with you, sent that paper
         3      and resubmitted it, and then it was officially               3     to peer reviewers, correct?
         4      accepted.                                                    4   A. Correct.
         5   Q. Did you submit the manuscript to any other journals?         5   Q. How many peer reviewers did they send it to?
         6   A. Prior to this?                                               6   A. I don't know.
         7   Q. Prior to this.                                               7   Q. How many comments back from peer reviewers did you
         8   A. Yes.                                                         8     receive, just by peer reviewer number?
         9   Q. What journals did you submit to?                             9   A. I know, but I'm trying to remember, maybe one or two, I
        10   A. OB-GYN Oncology.                                            10     can't remember, I think two.
        11   Q. When did you submit the manuscript to OB-GYN Oncology?      11   Q. You mentioned one of the comments was --
        12   A. I'm not good on dates.                                      12   A. But two that they commented. So usually they send it
        13   Q. You submitted it before --                                  13     to more. If they have no comments, they don't include
        14   A. Prior.                                                      14     them.
        15   Q. Prior to submitting it to Reproductive Sciences?            15   Q. One of the reviewers commented that you needed to do
        16   A. Correct.                                                    16     additional in vivo animal studies to show the same
        17   Q. Are you able to estimate when you completed the             17     effect that you reported in cell cultures that you did,
        18      manuscript such that it could be submitted to a             18     correct?
        19      journal?                                                    19            MS. O'DELL: Object to form.
        20   A. I would say -- what's the date now -- September,            20            THE WITNESS: No.
        21      October, September maybe around.                            21   BY MR. HEGARTY:
        22   Q. Did you get a response from OB-GYN Oncology to your         22   Q. What did he say or she say?
        23      submission?                                                 23   A. It was said that this is very exciting work,
        24   A. I did.                                                      24     interesting work, has a biological relevance, it would
        25   Q. What was their response?                                    25     be interesting to see if this can be shown in vivo.

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         1   A. That I needed to do in vivo, additional in vivo animal       1   Q. Do you remember anything else that was said in those
         2     experiments.                                                  2     comments besides what you provided to us this morning?
         3   Q. That you needed to do additional in vivo animal              3   A. Yeah, they like it, they love my work.
         4     experiments before they would agree to publish your           4   Q. Anything else you can recall from the comments?
         5     paper; is that correct?                                       5   A. No, this is positive and it's good data that they need
         6   A. No, they -- usually the basis of their rejection, this       6     to -- complimented with.
         7     is a review of comment, not the editor request, so            7   Q. So with regard to the comments, then what -- strike
         8     comments you can do, you can agree with or you can            8     that. OB-GYN Oncology rejected your paper, correct?
         9     disagree with. So I always publish papers and I'm very        9   A. They said that -- yeah, they said that we don't want --
        10     familiar with this process. So there's a distinction         10     priority at this time.
        11     between editor's opinion and reviewer's comment. So          11   Q. Did they say why they rejected your paper?
        12     reviewer comments, they're not bound -- I'm not bound        12   A. They say we have lot of papers received by the journal
        13     to their comments. I may agree with them and I may           13     and it's not a priority right now.
        14     disagree with them. So the reviewer -- the editor,           14   Q. Do you have all the documents of your submission to
        15     they usually, their policy, they use it based on             15     OB-GYN Oncology and their -- the comments and other
        16     reviewer's comment, that's part of the concentration,        16     documents that you received back in connection with
        17     the other part will be the how many -- the volume, how       17     that submission?
        18     many they receive and priority for the articles to be        18            MS. O'DELL: Object to the form.
        19     published.                                                   19   BY MR. HEGARTY:
        20   Q. So as to the chronology, you completed a draft of your      20   Q. Yes?
        21     manuscript that we marked as Exhibit Number 7 and 8,         21   A. I want to see -- what's the question? Sorry.
        22     you submitted that manuscript initially to OB-GYN            22   Q. Sure. Do you have the documentation, all the documents
        23     Oncology --                                                  23     of your submission to OB-GYN Oncology and their
        24   A. Correct.                                                    24     response back?
        25   Q. -- in the September 2018 time frame?                        25   A. You mean the manuscript?

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                                                 Ghassan Saed, Ph.D.
                                                          Page 50                                                           Page 52
         1   Q. The manuscript, your cover letter, the letter back, the    1     does it represent all the work that you did that went
         2     comments, the comments you received back, do you have       2     into the paper we marked as Exhibit Number 7?
         3     all that material?                                          3             MS. O'DELL: Object to the form.
         4   A. Yes.                                                       4             THE WITNESS: So, yeah, so this part starting
         5   Q. Is that back in your office?                               5     here, from here all the way to the end, that represents
         6   A. It's in my office, yes. You talking about manuscript,      6     everything in the manuscript.
         7     right?                                                      7   BY MR. HEGARTY:
         8   Q. Well, the manuscript and the reviewer comments.            8   Q. You're pointing to 30?
         9   A. And the reviewer comments, yes.                            9   A. From here, yes.
        10   Q. You chose not to do or try to replicate your results in   10             MS. O'DELL: To the end.
        11     an in vivo animal model, correct?                          11             THE WITNESS: To the end.
        12   A. No, it's not correct, I didn't choose, I just don't       12   BY MR. HEGARTY:
        13     have the time to do it and the money.                      13   Q. What is contained in Pages 1 through 29?
        14   Q. Did you submit your manuscript to any other journals      14   A. This is like preliminary trials that we were running,
        15     besides OB-GYN Oncology and Reproductive Sciences?         15     testing, so forth, the talc.
        16   A. No.                                                       16   Q. Do Pages 1 through 29 represent activities as part of
        17   Q. How did you choose to submit your journal first to        17     the work that generated the results contained on
        18     OB-GYN Oncology? Why did you choose that journal?          18     Pages 30 thereafter?
        19   A. Those, the OB-GYN Oncology and Reproductive Sciences      19   A. No.
        20     are the major societies for our specialty, and most        20   Q. What does it represent, then?
        21     readers -- OB-GYN readers read those two manuscripts, I    21   A. It's a trial, it's a pilot experiment to tune-up the
        22     mean journals.                                             22     technique.
        23   Q. Of your specialty, which specialty is that?               23   Q. When did this -- this pilot experiment goes back, at
        24   A. Like our -- like in the field of OB-GYN research.         24     least based on the date of the notebook, to 10-15-17?
        25   Q. And what resource do you have that Reproductive           25   A. Correct.

                                                          Page 51                                                           Page 53
         1     Sciences is a journal that most in your specialty           1   Q. Is it -- do you always do pilot experiments before you
         2     review or read?                                             2     do an experiment like this?
         3            MS. O'DELL: Object to the form.                      3   A. Sure.
         4            THE WITNESS: I mean do I have a number? Or           4   Q. Why do you always do a pilot experiment?
         5     you mean the source where I got that from?                  5   A. You need to figure out the right conditions, right
         6   BY MR. HEGARTY:                                               6     concentration, the right incubation time.
         7   Q. Yeah, where did you get that from?                         7   Q. And how does a pilot study provide that information?
         8   A. From my experience with them for the last 25 years.        8   A. I don't understand what you mean.
         9   Q. Have you published in that journal before?                 9   Q. How does a pilot study provide you with information to
        10   A. Yes.                                                      10     know you're using the right conditions, the right
        11   Q. Have you published in OB-GYN Oncology before?             11     concentration?
        12   A. Yes.                                                      12   A. So when you use a concentration of 1,000 microgram per
        13   Q. Is there such a thing as something called an impact       13     ml and it kills your cells, you know it's toxic, you
        14     factor of a journal?                                       14     should go lower.
        15   A. Correct.                                                  15   Q. Is that what you did here?
        16   Q. Do you know what the impact factor is of Reproductive     16   A. Yes.
        17     Sciences?                                                  17   Q. Do you do any other testing like that to determine the
        18   A. About 3, 2.8 something.                                   18     parameters of your later tests?
        19   Q. How about OB-GYN Oncology?                                19   A. Sorry, I don't understand.
        20   A. 4, the upper 5, the upper 4, 5, 4.6, 5 maybe.             20   Q. Well the test you just described is sort of that it, it
        21   Q. We were also, as we talked earlier, provided with the     21     sort of set an upper limit of where you could go before
        22     original lab notebook that -- in connection with the       22     you kill the cells, right?
        23     article that you have submitted to Reproductive            23             MS. O'DELL: Object.
        24     Sciences and that you submitted to OB-GYN Oncology. Is     24             THE WITNESS: Just an example, I'm giving you
        25     what we've designated as Exhibit Number 2 all of the --    25     an example.

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                                                          Page 54                                                           Page 56
         1   BY MR. HEGARTY:                                               1   BY MR. HEGARTY:
         2   Q. An example. Do you recall anything specific that you       2   Q. Are you confident that it was one or the other?
         3     did in the pilot study that helped you define the           3   A. Yes.
         4     parameters of the later study that you did?                 4   Q. The lab notebook that we've been provided marked as
         5   A. Other than the dose, most of the technology and the        5     Exhibit Number 2 has a first date of 10-15-17. Is that
         6     methods that we used, it's really standard in our           6     the first date that there was any lab work done either
         7     laboratory, we have published them, we -- and not just      7     in the pilot study or the later study?
         8     us, it's standard accepted technology everywhere in         8   A. No.
         9     this field.                                                 9   Q. What is the earliest date of work?
        10   Q. And how did the pilot study that's reflected in Exhibit   10   A. May I have this?
        11     Number 2 inform you as to the studies -- study that you    11   Q. Yeah, I'm handing you Exhibit Number 3.
        12     did that are reflected in the rest of the pages?           12   A. So the first work that we did with talc, 9-26.
        13   A. Yes, so basically we looked at the dose here and this     13   Q. Dr. Saed referred to Exhibit Number 3 and pointed me to
        14     pilot study showing that the initial dose was high and     14     a page that's dated 9-26. First of all, what is
        15     it was like 500 microgram per ml to a thousand, that's     15     represented or contained in Exhibit Number 3, this lab
        16     how we started, and we figured out that this dose          16     notebook?
        17     killed the cells and induced some toxicity, so this is     17   A. So this part, okay, so I have to indicate something, we
        18     why we learned from this, and then we turned up the        18     share lab notebook, we use them for -- so not
        19     CA-125 assay, this is turning up the assay to see how      19     necessarily one lab notebook for one project. So, for
        20     much you need to use. Is it from the media? Is it          20     example, the first part of this lab notebook --
        21     from the cell? You need to set up all this, and this       21            MS. O'DELL: Which is Exhibit 3.
        22     is done in here, and it's described, it's not hidden,      22            THE WITNESS: -- which is Exhibit 3, looking
        23     it's all over, it's all here. But we determined            23     at the effect of a dipeptide on adhesion markers, and
        24     basically the dose, and we figured out what is toxic to    24     then we continued with talc, so sometimes we mix up,
        25     the cells.                                                 25     like we don't necessarily use one project for one lab

                                                          Page 55                                                           Page 57
         1   Q. How did you come to start with the 500 milligram per       1     notebook, okay. So this part of the notebook --
         2     milliliter dose?                                            2   BY MR. HEGARTY:
         3   A. So we read in the literature prior experiments people      3   Q. The first part?
         4     did from 5 all the way to 1,000, and I found the paper      4   A. The first part is for the different study. This part
         5     after we did -- we thought first initial experiment we      5     where we started the actual work with talc.
         6     will hit the cells with high concentration, see what        6   Q. When you -- you started referencing the pages, this
         7     happened, and then titrate it down, but then we found       7     part, then what does this part represent being done?
         8     it's toxic effect on the cells so -- and then I came        8   A. This part was an experiment that we did exposing cells,
         9     across a paper where they used these small doses that       9     ovarian cancer cells, to talc, Fisher, and look at
        10     they found biological effect with, and they used 5, 20     10     oxidative stress markers. We used three ovarian cancer
        11     and 100 and up to 500, so I chose the lower range,         11     cell lines, and we used macrophages of normal
        12     which is 5, 20, and 100 for my study.                      12     epithelial cells. And the result of this work was
        13   Q. What paper was that?                                      13     submitted to Society of Reproductive Investigation
        14   A. That was -- do you have that paper -- --                  14     meeting that was held last year March, yes, last year
        15   Q. Is that the Buz'Zard paper?                               15     in San Diego, and you can see all the way down, this is
        16   A. Let me see, do you have the Buz'Zard --                   16     the poster that resulted from this work.
        17             MS. O'DELL: It's right in your notebook            17   Q. The poster you pointed to is on Page 63?
        18     there, Doctor.                                             18   A. Yes.
        19             THE WITNESS: Where do I find it now here?          19   Q. Was there a pilot study done before doing this
        20             MS. O'DELL: You might look in your                 20     experiment?
        21     references of your report.                                 21   A. So this is a pilot study.
        22             THE WITNESS: Right.                                22   Q. So the study that we are looking at dated -- with the
        23             MS. O'DELL: And then we can go from there.         23     start date of 9-26-2017 --
        24             THE WITNESS: I think it's Buz'Zard or              24   A. Right.
        25     Shukla, one or the other, I can't remember.                25   Q. -- you consider that to be a pilot study?

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         1   A. This is a -- we have many pilot studies. It depends on     1     call from Miss Thompson, you would have still done
         2     what marker you're doing the pilot study for. So            2     these studies?
         3     there's a pilot study for CA-125. There is a pilot          3   A. Correct.
         4     study for the dose. There is a pilot study for cells.       4   Q. Were the studies in the works at the time that Miss
         5     So this is a pilot study.                                   5     Thompson called you?
         6   Q. In the other notebook you went from a pilot study to       6   A. I was reviewing literature only.
         7     doing a subsequent study.                                   7   Q. You had not thought about doing actual laboratory
         8   A. Correct.                                                   8     studies before Miss Thompson had called you involving
         9   Q. Did you do that with this pilot study?                     9     talc?
        10   A. No, this is only done with -- this is a preliminary       10   A. I planned it before she called me.
        11     study that we did, and we only tested mRNA levels of       11   Q. You had actually planned to do laboratory studies?
        12     some oxidative stress markers. The other study that        12   A. Correct.
        13     you're referring to with the manuscript, this is a         13   Q. Do you have any documentation of that plan?
        14     comprehensive study that looked at every fold of gene      14   A. No.
        15     expression from mRNA to DNA to ELISA to activity of        15   Q. Did you talk with anyone and tell them that your plan
        16     proteins, everything. This is just simply a pilot          16     was to do studies involving talc before you were called
        17     experiment looking at, yes, there is an effect, no,        17     by Miss Thompson?
        18     there is not an effect, and, yes, there is an effect,      18   A. We always discussed talking about looking at any
        19     so we published it.                                        19     substance that induces inflammation and oxidative
        20   Q. The first date of any study that you did with talc is     20     stress. So we always talk in the lab and with
        21     September 26, 2017?                                        21     colleagues about any substance. Talc was brought up,
        22   A. Correct.                                                  22     yes.
        23   Q. Who is involved in the study that we looked at in         23   Q. To whom did you speak with about talc and doing an
        24     Exhibit Number 3 whose begin date was September 26,        24     experiment about talc before you received a call from
        25     2017?                                                      25     Miss Thompson?

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         1   A. That's Nicole King and Ira, and myself.                    1   A. I discussed with Nicole.
         2   Q. What prompted you to do this initial study?                2   Q. When was that discussion?
         3   A. My lab interest is ovarian cancer and oxidative stress,    3   A. I can't remember dates, but we always discussed markers
         4     we talked about that, I answered that, the media and,       4     of oxidative stress.
         5     you know, what's going on, and this is the core of my       5   Q. Well, you said that you always talk in the lab and with
         6     lab specialty is looking at oxidative stress markers,       6     colleagues about any substance. Talc was brought up.
         7     inflammation, and ovarian cancer.                           7   A. Correct.
         8   Q. Is it your testimony that this study with the start        8   Q. What substances had you tested in your lab with regard
         9     date of 9-26-2017 was not prompted by your call with        9     to oxidative stress before your study about talc?
        10     Miss Thompson?                                             10   A. We go backwards, we go looking at reducing oxidative
        11             MS. O'DELL: Object to the call.                    11     stress and looking at mechanisms, or manipulating
        12             THE WITNESS: Was not prompted?                     12     alteration of oxidative stress, like, for example, we
        13   BY MR. HEGARTY:                                              13     did the work where we added a scavenger of Superoxide
        14   Q. Yes.                                                      14     dismutase, which is a very powerful oxidant, and we
        15             MS. O'DELL: Object to the form.                    15     looked at inducing apoptosis in ovarian cancer cells.
        16   BY MR. HEGARTY:                                              16     We're looking at intervention, changing the cell redox
        17   Q. In other words, you would not have done this study or     17     balance, alteration of that balance, it is given, it's
        18     the study for which you have submitted a manuscript to     18     accepted in the literature and in our world that cancer
        19     Reproductive Sciences if Miss Thompson had not called      19     cells and ovarian cancer cells included, they all have
        20     you, correct?                                              20     characterized by a pro-oxidant state that is given,
        21             MS. O'DELL: Object to the form.                    21     it's known. So we don't need to show a substance that
        22             THE WITNESS: No, I was always interested in        22     induces further that oxidative stress. We are looking
        23     doing this.                                                23     for attenuating and modulating that oxidative stress
        24   BY MR. HEGARTY:                                              24     and see the effect, the downstream effect. We have
        25   Q. So it's your testimony that if you had not gotten a       25     done that, we have published that with looking at SRNA

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         1     to shut down proteins, knock down proteins, we did it       1   Q. -- informal about putting a test together, correct?
         2     for myeloperoxidase, we did it for ionase, we did it        2   A. I said I was planning to do this.
         3     for SOD so.                                                 3   Q. Okay.
         4   Q. But prior to the call you received from Miss Thompson,     4   A. I had a plan to do this.
         5     you had never tested any particulate or exposed cells       5   Q. Okay. What was your plan?
         6     to any particulate and looked for oxidative stress,         6   A. This is the plan -- the plan -- okay, this is important
         7     correct?                                                    7     to know, that I have this set up ready in my lab, ready
         8   A. No, not correct. I used hypoxia, induced hypoxia and       8     to go. We have all the technology for all these
         9     look at normal cells.                                       9     markers. So it is not hard just to add -- so when I
        10   Q. What particles did you apply to cells in that study?      10     plan, it means I -- we had used the setup that I
        11   A. Hypoxia.                                                  11     already have in my laboratory, that's what I -- in my
        12   Q. What's hypoxia?                                           12     plan.
        13   A. It is the creation of a hypoxic micro environment into    13   Q. But you had not done anything to further that plan?
        14     the cells. This can be in vivo induced by infection,       14   A. Physically, no.
        15     by wound, by many other factors that do that.              15   Q. Let me finish, you had not done anything to further
        16   Q. Let me clarify my question, then. My question is what     16     that plan until after the call came from Miss Thompson,
        17     environmental particles that are not generated in vivo     17     correct?
        18     had you ever applied to cells and culture prior to the     18   A. Correct.
        19     call from Miss Thompson?                                   19   Q. Did you discuss at all the makeup of the study or what
        20   A. That we published? I don't -- like a given particle       20     you were going to do with the study or the methods of
        21     you're talking about?                                      21     the study with Beasley Allen before you did them?
        22   Q. Correct.                                                  22   A. No.
        23   A. No, I don't have any, I never done anything like that.    23   Q. Did you have any discussions at all with attorneys for
        24   Q. What studies had you actually planned on doing with       24     Beasley Allen about the concept of the study, the
        25     talc before your call -- before the call came from Miss    25     methods of the study, the protocol of the study, how

                                                          Page 63                                                             Page 65
         1     Thompson? Had you actually formed the framework of a        1        the study was going to be done, anything like that?
         2     study?                                                      2                MS. O'DELL: Let me just stop you right
         3   A. No, I was just thinking about the overall, it would be     3        there. I think when you're talking about conversations
         4     interesting to see if this is -- this will induce           4        you -- you're talking about after the time that he's
         5     inflammation in our cells, and if it does, then it          5        been engaged by Beasley Allen and those discussions
         6     should be linked to the risk of ovarian cancer, so          6        would be protected by the privilege. I'm going to
         7     thinking, just talking about it.                            7        instruct the witness not to answer.
         8   Q. With regard to the manuscript that -- strike that.         8                MR. HEGARTY: Well, my questions are related
         9     With regard to the tests that were part of the              9        solely to the manuscript, the testing in the manuscript
        10     manuscript, those tests were done in connection with       10        that has been submitted to Reproductive Sciences. So
        11     your communications with Beasley Allen, correct?           11        is it your position that all the communications you had
        12   A. Those tests?                                              12        with regard to the tests done for purposes of the
        13   Q. Yes.                                                      13        publication Reproductive Sciences and the writing of
        14   A. What do you mean by communication?                        14        the article, submission of the article, are protected
        15            MS. O'DELL: Object to form.                         15        by the consulting privilege?
        16   BY MR. HEGARTY:                                              16                MS. O'DELL: Well, and as you know, the
        17   Q. Well, you talked with Beasley Allen about doing those     17        substance of the manuscript largely is Dr. Saed's
        18     tests, correct, before you did them?                       18        expert report, and the work that he did in terms of
        19            MS. O'DELL: Object to the form.                     19        consulting was paid for by Beasley Allen and he was
        20            THE WITNESS: No, I was planning to do them,         20        doing that as a part of the consulting arrangement.
        21     anyways.                                                   21        So, yes, to the degree he had conversations with the
        22   BY MR. HEGARTY:                                              22        lawyers, we're going to -- I'm going to instruct him
        23   Q. You just said, though, before the call you had not done   23        not to answer.
        24     anything formal or even --                                 24                MR. HEGARTY: I'm not going to argue with
        25   A. Yeah, I said --                                           25        you. I just want to make sure I'm interesting that

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         1     that's -- that your objection extends to any question       1     Number --
         2     that I would ask with regard to communications with         2   A.  My lab.
         3     Beasley Allen or attorneys for the plaintiffs with          3   Q.  Sorry let me finish.
         4     regard to the creation of the study, the setup of the       4   A.  We already talked.
         5     study, the protocol of the study, doing the study,          5   Q.  Who paid for the pilot study that's reported in Exhibit
         6     writing the manuscript.                                     6     Number 3?
         7             MS. O'DELL: That was not, your question's a         7             MS. O'DELL: Object to the form, to the
         8     little bit different than what you just described. You      8     degree it's vague.
         9     can ask your questions, there may be some that are          9             MR. HEGARTY: You can answer.
        10     appropriate and some not, but as regard the question       10             THE WITNESS: We discussed this, right?
        11     that's on the table, I think that's inappropriate and      11   BY MR. HEGARTY:
        12     I've instructed him not to answer.                         12   Q. Now, the before questions, at least I thought, were
        13   BY MR. HEGARTY:                                              13     limited to the lab costs for -- and personnel costs for
        14   Q. Dr. Saed, did you have any discussions with any           14     the study in exhibit -- in the first notebook, Number
        15     attorneys for Beasley Allen regarding the pilot study      15     2. Did those lab costs reflected in that exhibit,
        16     that we talked about in Exhibit Number 3?                  16     which is Exhibit Number 5, also cover the pilot study
        17   A. What's Exhibit Number 3?                                  17     that's in notebook that we marked as Exhibit Number 3?
        18   Q. The one -- the study that's dated 9-26-2007.              18   A. The answer, my lab is paid for -- paid for all the
        19             MS. O'DELL: Objection, vague.                      19     studies that we did.
        20             THE WITNESS: Again, okay, here is my answer.       20   Q. The --
        21     No one has interfered with the design of the study, how    21   A. Yeah, you can go back five days later.
        22     the study should be done, what assay should be applied,    22   Q. Exhibit Number 5 reports the costs of the talc project
        23     what method of analysis should be performed, the           23     dated from October 1st, 2017. This pilot study began
        24     writing of the results, the analysis of the results,       24     on September 26, 2017 correct?
        25     this is my world, this is my specialty. No one             25   A. Correct.

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         1     interfered with that.                                       1   Q. Is it your testimony that the costs of the pilot study
         2   BY MR. HEGARTY:                                               2     are included in what's listed in Exhibit Number 5?
         3   Q. I appreciate that. That was not my question. My            3             MS. O'DELL: Object to the form.
         4     question was simply did you have any discussions with       4             THE WITNESS: We started the -- culturing the
         5     attorneys for Beasley Allen or attorneys for plaintiffs     5     cells, so the idea -- are you talking about the actual
         6     in this case with regard to conducting the pilot study      6     money? We started -- yes, it is included there.
         7     that's in Exhibit Number 3 with the start date of           7   BY MR. HEGARTY:
         8     9-26-2017?                                                  8   Q. You shook your head. I want to make sure I got it on
         9   A. They know that I'm doing this.                             9     the record.
        10   Q. Did they know that you were doing it at the time that     10   A. Yes.
        11     you were doing it?                                         11   Q. So the costs for the pilot study in Exhibit Number 3
        12   A. At this time?                                             12     that began on September 26, 2017, are contained in
        13   Q. Yes.                                                      13     Exhibit Number 5?
        14   A. Yes.                                                      14   A. Correct. It takes three weeks to get the cells up and
        15   Q. Did you have discussions in advance of doing that study   15     going.
        16     with them?                                                 16             MR. HEGARTY: Want to take a break? We've
        17   A. I actually designed this whole thing. So when they        17     been going for about an hour and 20 minutes. Take a
        18     approached me and I got -- you know, I told them this      18     break.
        19     is what I'm going to do, this is what I have in mind,      19             THE VIDEOGRAPHER: Going off the record at
        20     we have all this setup in my lab and I want to do it,      20     10:32 a.m.
        21     and I did it.                                              21             (A short recess was taken.)
        22   Q. Did they provide to you any suggestions on how to do      22             THE VIDEOGRAPHER: We're back on the record
        23     this study?                                                23     at 10:51 a.m.
        24   A. They don't know nothing about this.                       24   BY MR. HEGARTY:
        25   Q. Who paid for the pilot study that's reported in Exhibit   25   Q. Dr. Saed, when we left off, we were talking about any

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         1     communication you had with Beasley Allen or other           1     the manuscript, the submission of the manuscript; is
         2     attorneys for the plaintiffs with regard to the             2     that correct?
         3     experiments that you did or the preparation of the          3             MS. O'DELL: Object to the form.
         4     manuscript that you've submitted to Reproductive            4   BY MR. HEGARTY:
         5     Sciences. Over the course of the time that you did the      5   Q. You can answer.
         6     experiments, that you did the writing, that you             6   A. I said -- I answered you. I said I did not discuss the
         7     submitted to Reproductive Sciences, OB-GYN Oncology,        7     design of the experiments, the results of the
         8     did you exchange any e-mails or letters with attorneys      8     experiments, where to submit it, how to analyze the
         9     for Beasley Allen or the plaintiffs with regard to the      9     data, all this work I did myself.
        10     testing, the writing, the submission of the manuscript?    10   Q. Understood. I'm not asking if they provided input on
        11             MS. O'DELL: Objection to form.                     11     how to do it or how to write it or where to send it.
        12             THE WITNESS: Can you please repeat the             12     I'm asking if you had discussions with any attorney for
        13     question, clarify what you --                              13     Beasley Allen or any other attorney for Plaintiff over
        14   BY MR. HEGARTY:                                              14     the course of doing all this work about what you were
        15   Q. Sure. Well, during the time that you were doing the       15     doing?
        16     testing that we've been talking about?                     16   A. I still don't understand discussion, what does the
        17   A. Experiments.                                              17     discussion mean?
        18   Q. -- that's reflected in the lab notebooks, you call them   18   Q. Well, discussion means a phone call, an in-person
        19     experiments, in the time that you wrote the paper that     19     meeting, an e-.mail?
        20     you first submitted to OB-GYN Oncology and then later      20   A. Oh.
        21     to Reproductive Sciences. Did you have communications      21   Q. Any communication that talks about what you're doing.
        22     with attorneys for Beasley Allen or any plaintiff in       22             MS. O'DELL: Excuse me, you may answer the
        23     this litigation regarding the experiments or regarding     23     question whether calls or meetings occurred, you may
        24     the writing of the article or regarding the submission     24     answer that yes or no, but you cannot divulge the
        25     of the article to journals?                                25     discussions or the topics that were included in those

                                                          Page 71                                                          Page 73
         1   A. No.                                                        1     discussions.
         2   Q. Did you have any telephone calls or meetings during        2            THE WITNESS: Yes, so calls, we did calls.
         3     the -- about the experiments or the writing of the          3   BY MR. HEGARTY:
         4     manuscript for the journals or the submission of the        4   Q. And what were the -- what did you discuss with the
         5     journals with attorneys for Beasley Allen or any            5     attorneys for Beasley Allen or the plaintiffs during
         6     plaintiff in this litigation?                               6     those calls with regard to the experiments you were
         7            MS. O'DELL: Objection to the form.                   7     doing or the writing of the manuscript or the
         8            THE WITNESS: No.                                     8     submission of the journal?
         9            MS. O'DELL: I was just going to instruct you         9            MS. O'DELL: I'm going to instruct you not to
        10     to the degree that you're asking him about subjects        10     answer that question.
        11     that were discussed in meetings with attorneys for the     11            MR. HEGARTY: We object to that instruction
        12     plaintiff, don't discuss those, the subject matter         12     and believe that that is an inappropriate objection and
        13     because those, they're not entitled to know those          13     instruction that's not covered by the consultant
        14     discussions, so to the degree you can answer your          14     privilege, but we're not going to decide it here,
        15     questions outside those parameters, you may.               15     understand that, but I just want to make it clear on
        16            THE WITNESS: My answer was no for any               16     the record that we don't agree that your objection
        17     discussion related to the design of the experiments,       17     covers the kind of communications that I asked the
        18     the results of the work, the submission to the journal,    18     doctor.
        19     which journal to submit to, writing the manuscript, all    19            MS. O'DELL: Well, the privilege covers
        20     that work I know the answer was no to that work.           20     communications, whether written or verbal, in person or
        21   BY MR. HEGARTY:                                              21     on the telephone, during Dr. Saed's consulting
        22   Q. So as to everything you just described, you had no        22     relationship with the plaintiffs and that's what you've
        23     discussions with the attorneys for Beasley Allen or any    23     asked him and that's what I'm objecting to.
        24     plaintiffs in this case about anything dealing with        24            MR. HEGARTY: I understand the objection. We
        25     experiments, the design, the protocol the writing of       25     don't agree with the objection.

                                                                                              19 (Pages 70 to 73)
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         1            MS. O'DELL: I want to make sure the record           1            MS. O'DELL: This is not your updated CV
         2     is clear.                                                   2     actually, this is the one --
         3            MR. HEGARTY: And I'm making for the record           3            THE WITNESS: I can find it for you. It's an
         4     that we don't agree with the objection and dispute the      4     obstetrics and gynecology online, open access online.
         5     propriety of it and object to you instructing the           5   BY MR. HEGARTY:
         6     doctor not to respond. With regard to this -- the work      6   Q. Who within -- for that publication asked you to write
         7     we've been talking about, the pilot study with talc,        7     an editorial?
         8     that's reflected in the -- and the other studies with       8   A. The editorial office.
         9     talc that's reflected in the two notebooks, have you        9   Q. And when did that request come in?
        10     prepared any other manuscripts related to those            10   A. I think two weeks ago.
        11     experiments that you intend to submit to any journal?      11   Q. And editorial on what?
        12            THE WITNESS: Other than submitted abstracts         12   A. On talc and oxidative stress.
        13     to different meetings, no.                                 13   Q. Have you started writing it?
        14   BY MR. HEGARTY:                                              14   A. Not yet.
        15   Q. Have you prepared abstracts or do you intend to prepare   15   Q. Do you intend to do so?
        16     abstracts or have you submitted abstracts regarding the    16   A. Yes.
        17     work reflected in the two notebooks that have not yet      17   Q. Did they give you a date --
        18     been disseminated?                                         18   A. No.
        19   A. Disseminated means --                                     19   Q. -- for submission?
        20            MS. O'DELL: Object to form.                         20            MS. O'DELL: Let him finish his question,
        21   BY MR. HEGARTY:                                              21     please, Doctor.
        22   Q. Well, as we're going to look at here today, there are     22   BY MR. HEGARTY:
        23     some abstracts where you describe the work that you're     23   Q. Did they give you a date for providing -- did they give
        24     doing, the experiments that you did. Do you currently      24     you a date for providing the editorial?
        25     have in the works any abstracts that have not yet been     25   A. No.

                                                          Page 75                                                            Page 77
         1     published or provided to anyone?                            1   Q. Is the editorial going to be in response to a journal
         2            MS. O'DELL: Object to the form.                      2     article or another publication?
         3   BY MR. HEGARTY:                                               3   A. It is in response to the published abstracts that I did
         4   Q. Do you understand the question?                            4     online.
         5   A. Not really.                                                5   Q. And with regard to the open access publication, is that
         6   Q. Well, do you currently have any abstracts that you're      6     a publication that's only available on the internet?
         7     working on that you intend to submit?                       7   A. Open access, yes.
         8   A. Now I understood. In relation to --                        8   Q. Is that a publication which you have to pay to have
         9   Q. The experiments --                                         9     your materials published on the internet?
        10   A. In relation to the talc project?                          10   A. All open access journals you have to pay, yes.
        11   Q. Correct.                                                  11   Q. You will have to pay to have your editorial published?
        12   A. The answer is no.                                         12   A. Yes.
        13   Q. Do you have any other written work in process relating    13   Q. How much does that cost?
        14     to the talc experiments that you intend to either turn     14   A. Not too much like, 3, $400.
        15     into an abstract or turn into a journal article?           15             MR. LOCKE: Could we ask the witness to speak
        16   A. I was asked to write an editorial to one of the           16     up.
        17     journals and I am planning to do that.                     17             MS. O'DELL: They don't have access to a
        18   Q. Who asked you to write an editorial to a journal?         18     speaker, so they're just listening to you over there,
        19   A. The journal.                                              19     so if you could raise your voice.
        20   Q. What journal?                                             20             THE WITNESS: 4, $500, 400 to 500 -- where is
        21   A. OB-GYN, let me see, I can find the exact name for you,    21     that --
        22     which I'm planning to do. It's an open access journal      22             MS. O'DELL: That's okay.
        23     obstetrics and gynecology it's in my CV somewhere --       23             MR. HEGARTY: We're past that question,
        24     trying to find it for you -- where is it -- this is my     24     Doctor.
        25     updated CV?                                                25             THE WITNESS: Thank you.

                                                                                              20 (Pages 74 to 77)
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                                                          Page 78                                                           Page 80
         1   BY MR. HEGARTY:                                               1   A. That's the answer.
         2   Q. We were provided some additional materials this morning    2   Q. Let me look at the notebook. There are pages --
         3     that I wanted to make sure I mark for the record and        3     there's 21 and then there is a 22, 23, and a 24 that's
         4     follow up on a few things in those materials. I'm           4     not referenced in the index. Why is that?
         5     going to mark as Exhibit Number 10 what was represented     5   A. Because those are figures. They could be referenced.
         6     to us today to be the index for the lab notebook that       6   Q. But they have page numbers on them.
         7     we marked as Exhibit Number 2, that's the notebook that     7   A. Sure.
         8     has the experiments in it that went into your               8   Q. And you otherwise list page numbers here that are also
         9     manuscript.                                                 9     just pages that contained figures, correct?
        10          SAED DEPOSITION EXHIBIT NUMBER 10,                    10   A. Correct.
        11          INDEX FOR LAB NOTEBOOK,                               11   Q. Why are these pages not referenced in the index?
        12          WAS MARKED BY THE REPORTER                            12   A. I don't know.
        13          FOR IDENTIFICATION                                    13   Q. There are also --
        14   BY MR. HEGARTY:                                              14   A. Maybe --
        15   Q. And I'll show you -- make sure we have the right lab      15   Q. I'm sorry.
        16     note --                                                    16   A. Maybe -- we have it, we labeled it.
        17             MR. LAPINSKI: Counsel, is there an Exhibit 9       17   Q. But they're not included in the index.
        18     marked?                                                    18   A. Maybe just missed here.
        19             MR. HEGARTY: Oh, I skipped over Exhibit 9.         19   Q. There are also a number of pages that have been cut out
        20     I'll go back to it.                                        20     of Exhibit Number 2 that -- where the pages go from 24
        21             THE WITNESS: So this and this.                     21     to 29, and there are clearly pages in between that
        22   BY MR. HEGARTY:                                              22     appear to have either been cut out by a razor or by
        23   Q. Yes, you looked at Exhibit 2 compared to Exhibit 10.      23     some other cutting instrument. First of all, what was
        24     Is that the index to Exhibit 2?                            24     on those pages?
        25   A. Yes.                                                      25   A. Okay, so as I mentioned earlier, we do not specify one

                                                          Page 79                                                           Page 81
         1   Q. With regard to the index there, on the index, Doctor,      1     lab notebook to a specific study. So my research
         2     Exhibit 10, the pages after 21 you jump to 31. What         2     technician by a mistake added a different project here,
         3     happened to Pages 22 to 29 -- I'm sorry, 22 to 30?          3     and because this is talc, there is a litigation and
         4            MS. O'DELL: I'm sorry, are you referring to          4     lawyers and all that, we had to remove it and we have
         5     Exhibit 10 or --                                            5     to specialize in that lab notebook just for this work.
         6            MR. HEGARTY: Yes, Exhibit 10, the pages go           6   Q. What other project was represented or documented in
         7     20-21, then jump to 31-32, and my question is where are     7     those pages that were removed from this lab notebook?
         8     Pages 22 to 30?                                             8   A. It's a different project than talc.
         9            THE WITNESS: 22, you said?                           9   Q. What was the project or what is the project?
        10   BY MR. HEGARTY:                                              10             MS. O'DELL: You mean the subject matter?
        11   Q. Yes.                                                      11   BY MR. HEGARTY:
        12   A. 22, 23, 24, 29. Oh, so there's -- yeah, you talking       12   Q. The subject matter.
        13     about the tore apart?                                      13   A. The same, reactive oxygen species, inflammation in
        14   Q. We'll get to that part in a second. First of all, why     14     ovarian cancer.
        15     aren't Pages 22 to 29 listed in the index or at least a    15   Q. What are you looking at in that other project?
        16     portion of those?                                          16   A. I can't remember, but I can find out.
        17            MS. O'DELL: Object to the form.                     17   Q. Does it involve exposure to any environmental
        18            THE WITNESS: 31 -- 21 -- 21, 31, what               18     particulate?
        19     happened, 21, yeah, there is nothing after that, right?    19   A. No.
        20   BY MR. HEGARTY:                                              20   Q. Do you know when the pages that we've been talking
        21   Q. Well, on Exhibit Number 10 it jumps from 21 to 31, and    21     about were removed from this lab notebook?
        22     where are the nine or ten pages in between those?          22   A. I don't remember.
        23   A. Yeah, that's what I'm talking about, those are -- you     23   Q. Were you aware that they had been removed?
        24     want me to answer for the missing pages?                   24   A. Yes.
        25   Q. Well, I'll get to that first but --                       25   Q. Have you ever in your experiences in conducting a lab

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         1     cut out pages of a lab notebook?                            1   Q. And Nicole King again is who?
         2   A. Have I ever done that? No.                                 2   A. My research post doc.
         3   Q. That's not good laboratory practice, is it?                3   Q. Then on the other lab notebook that contained -- that
         4            MS. O'DELL: Objection to form.                       4     was on Exhibit 2. Exhibit 3 on the outside is
         5            THE WITNESS: Yes, I -- the reason I told             5     something called Temple 1. What does that mean?
         6     you, I just told you the reason why we did that.            6   A. That's a project that we did for Temple Pharmaceutical
         7   BY MR. HEGARTY:                                               7     in our lab.
         8   Q. But my question is that's not proper laboratory            8   Q. That's a project that's -- that's the project that's in
         9     practice to cut out pages of a lab book, is it?             9     the first part of the lab notebook?
        10            MS. O'DELL: Object to the form.                     10   A. Correct.
        11            THE WITNESS: We didn't cut the notes from           11        SAED DEPOSITION EXHIBIT NUMBER 9,
        12     them, we just wanted to keep the talc study separate.      12        PILOT STUDY,
        13   BY MR. HEGARTY:                                              13        WAS MARKED BY THE REPORTER
        14   Q. Understood, but I'm talking about good laboratory         14        FOR IDENTIFICATION
        15     practices, and good laboratory practices don't sanction    15   BY MR. HEGARTY:
        16     or allow for you to cut out pages of a laboratory          16   Q. Also provided today, which I'll mark as Exhibit
        17     notebook, do they?                                         17     Number 9, are copies of what I believe to be the pilot
        18            MS. O'DELL: Object to the form.                     18     study that's contained in Exhibit Number 3. Would you
        19            THE WITNESS: We, as you can see, we're not          19     look at Exhibit Number 9 and compare to Exhibit
        20     hiding it.                                                 20     Number 3, and tell me whether Exhibit Number 9 are the
        21   BY MR. HEGARTY:                                              21     pages copied from Exhibit Number 3, the pilot project
        22   Q. I'm not asking if you're hiding it. I'm asking you, do    22     we talked about earlier along with the index?
        23     you -- is it your testimony that cutting lab -- cutting    23   A. Yes.
        24     pages out of a lab notebook is consistent with good        24   Q. On the first page of -- or strike that. On Page 1 of
        25     laboratory practice?                                       25     Exhibit Number 2 there's a statement at the very

                                                          Page 83                                                           Page 85
         1            MS. O'DELL: Object to the form.                      1     beginning that says tried to dissolve talc Fisher 74 --
         2            THE WITNESS: I didn't say that.                      2     or Fisher T4-500 lot numbers 166820 in Johnson &
         3   BY MR. HEGARTY:                                               3     Johnson Baby Powder. Do you see that reference? Do
         4   Q. You agree it's not consistent with good laboratory         4     you see where I'm reading?
         5     practice, don't you?                                        5   A. You're reading wrong. What is in?
         6            MS. O'DELL: Object to the form.                      6   Q. In.
         7            THE WITNESS: I don't agree.                          7   A. That's not in.
         8   BY MR. HEGARTY:                                               8   Q. What is that word?
         9   Q. You don't agree with what?                                 9   A. That's or.
        10   A. Okay, I told you the reason why we removed those pages.   10   Q. Or Johnson's Baby Powder, okay, and it says it won't
        11   Q. Did you instruct someone to cut those pages out of this   11     completely dissolve. What does that mean?
        12     notebook?                                                  12   A. It won't completely dissolve.
        13   A. My lab research assistant was doing different project.    13   Q. What was the extent of its -- that it dissolved?
        14     She was writing it here in the middle of this lab          14   A. Partial.
        15     notebook. I asked her let's remove it, continue so we      15            MS. O'DELL: Object to form.
        16     can keep this lab notebook independent.                    16            THE WITNESS: Yeah, so, okay, so you need to
        17   Q. But the other lab notebook you prepared you left in the   17     know the percentage of how much it's dissolved?
        18     pages of the other project, you didn't cut those out,      18   BY MR. HEGARTY:
        19     correct?                                                   19   Q. How much is dissolved as reflected in Page 1.
        20   A. No, because this was a preliminary results and that was   20   A. Nothing dissolved.
        21     continued, not in the middle, it was continued, so we      21   Q. Whose handwriting is on Page 1?
        22     only used like few pages from the book.                    22   A. This is Nicole I think, I think.
        23   Q. The lab notebooks contain on the outside, at least one    23   Q. Whose handwriting is throughout Exhibit Number 2?
        24     of them, Nicole King Talc Study, do you see that?          24   A. This?
        25   A. I do.                                                     25   Q. Throughout the exhibit.

                                                                                              22 (Pages 82 to 85)
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         1   A. Some Nicole, some others, my research assistant.          1   Q. Does that mean there could be instances where work was
         2   Q. Who else's handwriting besides Nicole's are in Exhibit    2     done on that date but then entered later in the lab
         3     Number 2?                                                  3     notebook?
         4   A. My research assistant.                                    4   A. Okay, so let me explain how we do this. So we run our
         5   Q. Who is that?                                              5     experiments and we have everything, as you see here,
         6   A. Flory, her name is Flory, Flory Rong, I think she's       6     electronically, and we -- it's a matter of -- practice
         7     part of the authors, yes, her name is, okay, this is       7     of cutting and pasting it in the lab notebook, but
         8     the right -- correction, Fan Rong.                         8     everything is done in electronically.
         9             MS. O'DELL: How do you spell that?                 9   Q. When was this lab notebook, Exhibit Number 2, prepared?
        10             THE WITNESS: It's here, F-a-n and then            10   A. I don't know, exact dates?
        11     R-o-n-g.                                                  11   Q. Correct.
        12   BY MR. HEGARTY:                                             12   A. I don't know, I can't remember.
        13   Q. Isn't it Rong Fan, Doctor?                               13   Q. Well, the date -- the dates run from 10-15-17 to --
        14   A. Rong Fan? The first name is --                           14   A. All the way to --
        15   Q. First name is Rong, right?                               15   Q. All the way to --
        16   A. I think it's the other way around, I'm not expert on     16   A. -- October.
        17     names.                                                    17   Q. -- October or so of 2018. So was this notebook
        18   Q. Who is Mr. Rong?                                         18     prepared over that entire period of time?
        19   A. Mrs.                                                     19   A. Yes.
        20   Q. Mrs. Rong who is that?                                   20   Q. It wasn't prepared, put together in its entirety four
        21   A. She is my research assistant.                            21     weeks ago?
        22   Q. How long has she been your research assistant?           22   A. Some of it was, yes.
        23   A. From I believe the beginning of '18.                     23   Q. What portions were put together four weeks ago?
        24   Q. But you don't know her name?                             24   A. I think the one related to the last portion.
        25   A. I know her name, Flory, we call her Flory.               25   Q. Can you point to me the pages that were put together in

                                                          Page 87                                                          Page 89
         1   Q. What's her full name?                                     1     the last month or so?
         2   A. This is her full name, how she officially write, it's     2   A. I can't really exactly remember, but the last, I would
         3     on the paper.                                              3     say, the statistical part for sure.
         4   Q. And is it -- according to you, is her name Fan Rong?      4   Q. Starting on what page?
         5   A. I call her Flory.                                         5   A. I'm trying to find it. So starting on Page 114, this
         6   Q. Do you know her name?                                     6     is the statistics of the study, all the way to 19 --
         7   A. That's her name.                                          7     122, 124, so all the way to the end, which is 124.
         8   Q. And how do you pronounce it?                              8     This part, it's created by or done by a
         9   A. Rong Fan, I never called her with this name.              9     biostatistician, and this is all you can see
        10   Q. Who else's handwriting is contained in Exhibit           10     electronics, so we just cut and pasted there.
        11     Number 2?                                                 11   Q. So if you go to Page 114, that has a date of October 6,
        12   A. Some would be mine.                                      12     2018. Is it your testimony that this was not prepared
        13   Q. Who else?                                                13     on that date but was prepared later and then back dated
        14   A. That's it.                                               14     to say October 6, 2018?
        15   Q. Were all the entries in Exhibit Number 2 prepared at     15             MS. O'DELL: Object to the form, misstates
        16     the time that the work was done?                          16     his testimony.
        17   A. No.                                                      17   BY MR. HEGARTY:
        18   Q. When you say no, does that mean that there was work      18   Q. You can answer.
        19     done and then the -- later on entries were made in the    19             MS. O'DELL: If you understand the question.
        20     lab notebook?                                             20             THE WITNESS: What's the question?
        21   A. Correct.                                                 21   BY MR. HEGARTY:
        22   Q. How much later -- strike that. If the entries have a     22   Q. Sure. You see the date at the top of that page of
        23     certain date on them, does that mean that they were       23     October 6, 2018, correct?
        24     entered on that date or the work was done on that date?   24   A. Correct.
        25   A. Work was done on that date.                              25   Q. Was this page prepared on that date or was it prepared

                                                                                             23 (Pages 86 to 89)
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         1     at a time later than that but dated October 6, 2018?       1     January 2018, and I'll direct you to Page --
         2             MS. O'DELL: Object to the form.                    2   A. 51.
         3             THE WITNESS: Okay, so this -- I can't              3   Q. Page 53.
         4     remember when we did the statistics, but this date         4   A. Of this notebook?
         5     reflects when the statistics was actually done.            5   Q. Of the notebook.
         6   BY MR. HEGARTY:                                              6   A. So one more time, the question.
         7   Q. So in this instance, the statistics were done on          7   Q. Turn to Page 53 of Exhibit Number 2.
         8     October 6, 2018, but was the page prepared later than      8   A. 53?
         9     that after October 6, 2018?                                9   Q. Yes.
        10   A. The pages, yes.                                          10   A. Okay.
        11   Q. With regard to other entries in the notebook that have   11   Q. There's a couple dates at the top of January 3rd, 2018
        12     dates, can you tell whether those pages were created on   12     and, also, do you see January 7, 2018 at the top?
        13     the date listed on the page or were they created later    13            MS. O'DELL: Excuse me, Mark, what Bates
        14     but backdated to the date the work occurred?              14     Number?
        15             MS. O'DELL: Objection to form.                    15            MR. HEGARTY: I'm looking at -- I'm using the
        16             THE WITNESS: Yeah, so, again, we do the           16     page numbers in the lower right-hand corner.
        17     experiment, sometimes it takes a week or two to write     17            THE WITNESS: 53?
        18     it in the notebook because we have the data               18   BY MR. HEGARTY:
        19     electronically, so I cannot tell you the exact date       19   Q. 53.
        20     when they were put in.                                    20   A. On this date?
        21   BY MR. HEGARTY:                                             21   Q. Yes, 1-7-18. What I'm trying to find out is when was
        22   Q. All the data that is reflected in Exhibit Number 2 is    22     the first date that you did --
        23     kept in electronic format?                                23            MS. O'DELL: What's the Bates Number on the
        24   A. Yes.                                                     24     document?
        25   Q. Does that electronic format still exist?                 25            MR. HEGARTY: The Bates Number is 25.

                                                          Page 91                                                          Page 93
         1   A. Yes.                                                      1            MS. O'DELL: Okay.
         2   Q. Is the data in that electronic format all dated and is    2   BY MR. HEGARTY:
         3     the date the date the data was generated?                  3   Q. When is the first date that you started the -- when did
         4             MS. O'DELL: Objection to form.                     4     you start the experiments that you then report in your
         5   BY MR. HEGARTY:                                              5     manuscript?
         6   Q. You're pointing to an example.                            6   A. It says right there, January 3rd we seeded the cells,
         7   A. An example.                                               7     started the experiment.
         8   Q. What page is that on?                                     8   Q. If you go to Page 2 using the Bates -- let me switch
         9   A. June 19.                                                  9     you over to the Bates Numbers because that's what I had
        10   Q. What page is that on, Doctor?                            10     to work from.
        11   A. This is Page -- oh, no, that's -- which page was         11   A. Okay.
        12     this --                                                   12   Q. Let me show you Exhibit Number 1, that's a copy of the
        13   Q. It's in the lower right-hand corner.                     13     notebook that we've been looking at, Exhibit Number 2.
        14   A. I just noticed -- no, it's this one. Like, for           14   A. Okay. Page 2?
        15     example, if you find the dates that are here, these       15   Q. Look at Page 2 of Bates Number --
        16     dates reflect the time we did the experiment.             16            MS. O'DELL: When he says Bates Number, he's
        17   Q. Can you stop at a page and give me an example?           17     referring to the very small number to the right-hand
        18   A. I'm trying to find one. So this is February --           18     side that's been -- yes --
        19     Page 73, if you look here, it says February -- so         19            THE WITNESS: Where does it say Page 2? Oh,
        20     small, February 20th, is that --                          20     sorry, okay. Page 2?
        21   Q. Yes, 2018.                                               21   BY MR. HEGARTY:
        22   A. Right. So that's the date, and that's the date that is   22   Q. Yes, and that has a date of January 24, 2018?
        23     this experiment performed.                                23   A. Yes.
        24   Q. With regard to the experiments that you did for your     24   Q. Do you see that?
        25     manuscript, did those experiments begin in                25   A. Yes.

                                                                                             24 (Pages 90 to 93)
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                                                          Page 94                                                           Page 96
         1   Q. Then if you go through the next several pages through      1   BY MR. HEGARTY:
         2     to Page 23 by Bates Number --                               2   Q. Sure. As we just looked at, the graphs are all -- and
         3   A. Yes.                                                       3     tables and charts are all dated, correct?
         4   Q. -- that's dated March 2nd, 2018. Do you see that?          4   A. Correct.
         5   A. Yes.                                                       5   Q. Were they added to the notebook at the time they were
         6   Q. Then if you go to Page 25, I'm sorry, if you go to         6     created or were they added later?
         7     Page 53 --                                                  7   A. Which graph you referring to?
         8   A. It's January 7.                                            8   Q. Any of the tables where the -- that have been pasted
         9   Q. Well, then you go Page 25 you see January 7, which is      9     in, were they pasted in at the time they were created
        10     not in the same order. So the book doesn't appear to       10     or later?
        11     be in chronologic order, is that correct?                  11            MS. O'DELL: Object to the form, asked and
        12   A. Okay, let me answer this. Here is the answer. So we       12     answered.
        13     have sections, this is a PCR section, we left some         13            THE WITNESS: So you are saying if this graph
        14     pages blank, next section is ELISA section, because        14     was created the same time that --
        15     we're doing the experiments simultaneously, so we          15   BY MR. HEGARTY:
        16     wanted to separate each section, so the PCR section we     16   Q. We're looking at Page 87, and you're pointing to a
        17     created, we designated certain pages, and then we have     17     graph, and my question is with regard to the graph, was
        18     ELISA section, and then we have other sections. So         18     it pasted in the notebook on the day it was generated?
        19     every time we do the experiment, we add to the section.    19            MS. O'DELL: Objection, asked and answered.
        20     That's why the dates are not in chronological order.       20            THE WITNESS: I really can't remember, but we
        21   Q. Okay. If you look at Bates Number 78, Doctor, that        21     have this electronically.
        22     page is dated June 29, 2018?                               22   BY MR. HEGARTY:
        23   A. This one?                                                 23   Q. Doctor, if you go to Page 4, Bates Number 4, which
        24   Q. Yes.                                                      24     corresponds to Page 33 of the notebook --
        25   A. Yes.                                                      25   A. This?

                                                          Page 95                                                           Page 97
         1   Q. See that date?                                             1   Q. -- there appears to be a reference on Page 33 that
         2   A. I imagine it better if I see the notebook.                 2     says go to Page 35. Do you see that?
         3   Q. Then if you turn over to Bates 86.                         3   A. Okay.
         4   A. 86. 86 that's a different section.                         4   Q. How can you know to go to Page 35 when you're on
         5   Q. Okay. There's a date on there of September 4, 2018,        5     Page 33 and 35 is not yet created?
         6     looked like there was a break between June 29th and         6   A. Oh, okay, good question. So this is established
         7     September 4.                                                7     protocol, we do this -- this is not like the first time
         8   A. Look at the original here, see that's a section, it's a    8     we're doing this, this is done repeatedly over years
         9     different section.                                          9     and years and years with different publication. This
        10   Q. To the extent that there are periods of time where        10     is the setup how we write it, so this is like something
        11     there is no activity going on, that there might be a       11     we predicting to happen, this we already know, that's
        12     month between data entries, does that mean that there's    12     the protocol, we just sticking it here.
        13     no work going on at that time?                             13   Q. You're anticipating that when you prepare -- strike
        14   A. No, no, no, we do simultaneously different, like we do    14     that. When you prepared Page 33, you're anticipating
        15     PCR, we do ELISA, we do proliferation, all that            15     that you were going to --
        16     studies, and we divided this notebook into sections,       16   A. Discuss it.
        17     and as we go, we added to the corresponding section, so    17   Q. -- discuss it in Page 35?
        18     you can -- yeah.                                           18   A. Yes.
        19   Q. And were all the graphs in the notebook provided at a     19   Q. Are the page numbers that you've added at the bottom in
        20     later time or were they provided at the time they were     20     handwriting, are those made in the beginning of the
        21     created?                                                   21     work or are they added as you go? In other words, do
        22             MS. O'DELL: Objection to form.                     22     you start with a notebook that's blank and then just
        23             THE WITNESS: Yeah, I don't really understand       23     simply number the pages before you start the work or
        24     the question.                                              24     you do it after the fact?
        25                                                                25   A. We do it both ways, I don't remember.

                                                                                              25 (Pages 94 to 97)
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                                                           Page 98                                                        Page 100
         1   Q. There's -- the writing I pointed to is in blue ink         1   BY MR. HEGARTY:
         2     versus the other writing, which is in black ink. Was        2   Q. That's not proper laboratory practice, is it?
         3     that blue ink added at the time that 33 was created or      3   A. No. What I said is really simple. She probably did a
         4     was it added later?                                         4     mistake and then she whited out and wrote over it.
         5   A. I don't remember.                                          5   Q. Proper laboratory practice is to line through it so the
         6   Q. Do you know whose handwriting --                           6     information that was there is still visible, and then
         7   A. Yeah, this is Rong -- what's her name, Mrs. Rong.          7     include the data somewhere else so everything is
         8   Q. Okay. If you look again back at Page 4 of the Bates        8     transparent, correct?
         9     Stamped copy.                                               9            MS. O'DELL: Object to the form.
        10   A. Page 4.                                                   10            THE WITNESS: The information that she whited
        11   Q. That's Exhibit Number 1.                                  11     out has nothing to do with the results or anything.
        12   A. Same page, 4? That's 4.                                   12     This is just describing an established methodology that
        13   Q. Same Page 4, which is Page 33 of the lab notebook,        13     is published in all of our papers.
        14     okay?                                                      14            MR. KLATT: Objection, form, unresponsive.
        15   A. Same page.                                                15            MR. HEGARTY: Understood, but the proper
        16   Q. There is a portion of that notebook page that is whited   16     laboratory practice would be to line through it so it
        17     out, correct, and written over?                            17     could still be visible, and then add the corrected or
        18   A. Yeah, I see that.                                         18     additional information, correct?
        19   Q. What was whited out?                                      19            MS. O'DELL: Object to the form.
        20   A. (Shrugs shoulders.)                                       20            THE WITNESS: My response, as I told you,
        21   Q. Do you know?                                              21     this is something that she probably misspelled or
        22   A. I don't know. Again, this is an established procedure     22     mistake she did, she thought she was doing something,
        23     that had been published with several, 100 papers over.     23     writing something, she wrote different, you know, we're
        24   Q. Well, what established procedure can you cite me to       24     doing different experiment different time, same times.
        25     that says that it's proper laboratory practice to white    25            MR. KLATT: Objection, form, nonresponsive.

                                                           Page 99                                                        Page 101
         1     out information and then write over it?                     1   BY MR. HEGARTY:
         2            MS. O'DELL: Object to the form.                      2   Q. Doctor, listen to my question. The proper laboratory
         3            THE WITNESS: If you like write something             3     practice would be to line through what she whited over
         4     like a mistake or a typo and you write it over.             4     so that it would still be visible, and then add
         5   BY MR. HEGARTY:                                               5     whatever other information she wanted to add to this
         6   Q. Can you cite for me any --                                 6     page, correct?
         7   A. Cite?                                                      7   A. If it's related to data.
         8   Q. -- published guidelines or laboratory methods that say     8   Q. So this is not proper, this whiting out is not proper
         9     that that's a proper approach to preparing a lab            9     laboratory practice, correct?
        10     notebook?                                                  10              MS. O'DELL: Let him finish his question, and
        11            MS. O'DELL: Objection to form.                      11     give me a moment to object. Object to the form.
        12            THE WITNESS: Yeah, umm, what we did here I          12              You may answer if you remember his question.
        13     think -- this is her handwriting and --                    13              THE WITNESS: What I am trying to tell you,
        14            MS. O'DELL: When you say "her," who are you         14     if it's something to do with data it is not proper to
        15     referring to?                                              15     do, but this is -- this even shouldn't be in the
        16            THE WITNESS: Rong, Mrs. Rong, so nothing            16     notebook, we can reference that, it is something that
        17     really that alarmed me or directed my attention to         17     we do in our laboratory so we can be detailed, it's
        18     anything. She wrote what she supposed to write. Maybe      18     about the procedure, the method, which is already
        19     she did a mistake.                                         19     published.
        20   BY MR. HEGARTY:                                              20   BY MR. HEGARTY:
        21   Q. Doctor, would you ever in preparing a lab notebook        21   Q. But good laboratory practice --
        22     white out information that's been written in a lab         22   A. It has nothing to do --
        23     notebook and then write over it?                           23   Q. Let me finish, Doctor -- good laboratory practice,
        24            MS. O'DELL: Object to the form.                     24     whether it's data or otherwise, dictates that you not
        25            THE WITNESS: Typically I don't do that, no.         25     white out any information that's put in a lab notebook;

                                                                                            26 (Pages 98 to 101)
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                                                                Page 102                                                   Page 104
         1     rather, you're to line through it so it's still              1     that. Do you see that?
         2     visible, correct?                                            2   A. I do.
         3             MS. O'DELL: Object to the form.                      3   Q. Whose handwriting is reflected by the addition of
         4             THE WITNESS: I just told you what I feel.            4     Johnson & Johnson, et cetera?
         5     This is an established method, it's nothing to do with       5   A. I think it's Flory, Rong.
         6     the data, this is just describing standard methodology,      6   Q. What was under -- what did she write over?
         7     with it or without it, doesn't change anything.              7   A. I don't know, I wasn't there when she wrote this, but
         8   BY MR. HEGARTY:                                                8     when I looked at it I confirmed that this is what we
         9   Q. So are you okay or fine with the whiting out of             9     did.
        10     information in this lab notebook as was done here?          10   Q. Well, did she write over Fisher Scientific talc?
        11             MS. O'DELL: Objection to form.                      11   A. Could be.
        12             THE WITNESS: What I'm -- am I fine with             12   Q. But did you actually test Fisher Scientific talc
        13     that?                                                       13     instead of Johnson & Johnson and then alter the lab
        14   BY MR. HEGARTY:                                               14     notebook?
        15   Q. Yes.                                                       15            MS. O'DELL: Objection, form.
        16   A. I prefer that does not happen, but it happened and she     16            THE WITNESS: We actually did both.
        17     did it, but that doesn't change anything.                   17   BY MR. HEGARTY:
        18   Q. Above that whited out area there's an arrow pointing to    18   Q. You agree it's not proper practice, as reflected here,
        19     100 milligrams talc, after the arrow it says Johnson        19     to white out information in a lab notebook where it
        20     Baby Powder. Do you see where I'm referring to,             20     can't be read and then write over it, correct?
        21     Doctor?                                                     21            MS. O'DELL: Objection to form.
        22   A. Yes.                                                       22            THE WITNESS: You keep asking me the same
        23   Q. Whose handwriting is that?                                 23     question. I'm answering you the same way. She did the
        24   A. I think it's Flory.                                        24     mistakes, to the best of her ability that's what she
        25   Q. Was that information added later than the time this        25     thought she will do, and I left it because I don't want

                                                                Page 103                                                   Page 105
         1      page was prepared?                                          1     to change it.
         2   A. No.                                                         2   BY MR. HEGARTY:
         3   Q. Can you tell when that information was added to Page 33     3   Q. Did you talk to her about the propriety of whiting out
         4      or Bates Number Page 4?                                     4     data?
         5              MS. O'DELL: Objection to the form.                  5   A. Yes, I did.
         6              THE WITNESS: When we prepared the page.             6   Q. What did you tell her?
         7   BY MR. HEGARTY:                                                7   A. I said we should not white out just write underneath
         8   Q. Why was it added in a way that put it out of order and      8     it.
         9      had to have a line directing it to another part of the      9   Q. When did you have that discussion with her?
        10      page?                                                      10   A. After I saw this.
        11   A. That's what we did.                                        11   Q. When did you see it?
        12   Q. Why was it not included there in the first place?          12   A. I think -- I don't remember.
        13              MS. O'DELL: Objection, asked and answered.         13   Q. Did you see it in the last two weeks?
        14   BY MR. HEGARTY:                                               14   A. No, no, no, way before.
        15   Q. You don't know?                                            15   Q. Is it proper methodology for creating -- for doing
        16   A. I don't know.                                              16     experiments and creating a lab book to white -- start
        17   Q. If you look next at Bates Stamp Page 25, which is          17     over. Is it proper methodology in doing experiments
        18      Page 53 of the lab notebook, there is another portion      18     like this in creating the lab book that corresponds
        19      that has been whited out and written over. Do you see      19     with those experiments to white out information and
        20      that?                                                      20     then write over it?
        21   A. Yes, I see it.                                             21             MS. O'DELL: Objection to form.
        22   Q. What was whited out?                                       22   BY MR. HEGARTY:
        23   A. I don't know.                                              23   Q. In your opinion?
        24   Q. Something was whited out and the name Johnson & Johnson    24             MS. O'DELL: Objection to form.
        25      number 30027477 lot number 13717RA was written over        25             THE WITNESS: So I just told you we did

                                                                                          27 (Pages 102 to 105)
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                                                        Page 106                                                         Page 108
         1     not -- with the information that is here is accurate,      1             MS. O'DELL: Object to form.
         2     we voluntarily did that.                                   2             THE WITNESS: I didn't cover it, I just
         3   BY MR. HEGARTY:                                              3     showed it to you.
         4   Q. I'm not asking you if the information is accurate with    4   BY MR. HEGARTY:
         5     my question. My question is, is it proper methodology      5   Q. I'm talking about in the creation of a lab book,
         6     in doing experiments like this and in creating the lab     6     though, is it considered proper methodology to take a
         7     notebook that corresponds to those experiments to white    7     printout from a test and paste over text in the lab
         8     out information and write over it, in your opinion?        8     notebook?
         9            MS. O'DELL: Object to the form.                     9             MS. O'DELL: Object to the form.
        10            THE WITNESS: I mean it's -- in my personal         10             THE WITNESS: I just told you. So my answer
        11     opinion?                                                  11     is the information that she decided to hide this that
        12   BY MR. HEGARTY:                                             12     you're talking about is an established methodology in
        13   Q. Correct.                                                 13     my lab that doesn't even need to be here. She chose
        14   A. I think if you report that this is what actually         14     to just -- over it for a space limitation, that's all,
        15     happened and a mistake happened and this is, to her       15     but it's not hidden, you can see it.
        16     knowledge, this is the best way to handle it, she         16   BY MR. HEGARTY:
        17     handled it.                                               17   Q. Thank you.
        18   Q. So you consider the --                                   18   A. If we hide it, we can -- we don't have to have it
        19   A. And I talked to her about it and --                      19     there.
        20   Q. Do you consider the way she handled it to be proper      20   Q. That information, though, was not photocopied and
        21     laboratory methodology?                                   21     provided to us in advance of the deposition, correct?
        22   A. That's why I told you, I talked to her about it so I     22   A. What information?
        23     don't.                                                    23   Q. The information that was covered by that chart.
        24   Q. May I see the notebook?                                  24             MS. O'DELL: Object to the form.
        25   A. Sure.                                                    25             THE WITNESS: I know, I see, there is no

                                                        Page 107                                                         Page 109
         1   Q. Doctor, I'm looking at Page 102 of the notebook,          1     information covered by that chart, that is not needed
         2     Exhibit Number 2, which is Bates 78. If you want to        2     to be there.
         3     look at it --                                              3   BY MR. HEGARTY:
         4   A. Okay, yes, I see it.                                      4   Q. But there is information that's been covered, correct?
         5   Q. -- either in Exhibit 1 or Exhibit 2. There appears to     5            MS. O'DELL: Object to the form.
         6     be something that has been covered over by the table       6            THE WITNESS: I answered, I said there is not
         7     that's been pasted there because I see some handwriting    7     relevant information that is covered, intentionally
         8     on the far right-hand column, and I don't want to pull     8     covered.
         9     that up, but what is under that table or that chart?       9   BY MR. HEGARTY:
        10   A. The answer is I don't know. But I'll find out. It's a    10   Q. Over on Page 103 of Exhibit Number 2, Bates Number 79,
        11     description of the method.                                11     there is another or other words that have been whited
        12   Q. I just want to note for the record that the doctor is    12     out. What are those other words?
        13     pulling the table up and --                               13            MS. O'DELL: Object to the form.
        14   A. Yeah.                                                    14            THE WITNESS: I mean I can read the word.
        15   Q. Okay.                                                    15   BY MR. HEGARTY:
        16   A. Do you want to see what's written under?                 16   Q. What is the word?
        17   Q. Yes.                                                     17   A. It says sample something.
        18   A. Okay. I want to see, also. Okay. So this is just the     18   Q. Why was that whited out?
        19     oligonucleotide primers and the cyclin for the PCR,       19   A. Maybe it doesn't belong here.
        20     this is very standard protocol that you don't need to     20   Q. Do you know why it was whited out?
        21     even show, it's a methodology, so it doesn't really       21   A. I think it doesn't belong here.
        22     need to even show that.                                   22   Q. Who whited it out?
        23   Q. So, in your opinion, is it proper laboratory practice    23   A. Flory.
        24     in creating a lab book to cover up information that's     24   Q. Is that whiteout okay to you in terms of doing a
        25     included in a lab book by a table or a chart?             25     proper -- having a proper methodology for preparing a

                                                                                        28 (Pages 106 to 109)
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                                                 Ghassan Saed, Ph.D.
                                                        Page 110                                                          Page 112
         1     lab notebook?                                               1     someone to copy this notebook?
         2            MS. O'DELL: Objection to the form.                   2   A.  To scan the notebook.
         3            THE WITNESS: I prefer without it but it's            3   Q.  Who did you instruct to do that?
         4     what it is.                                                 4   A.  Flory, my research assistant.
         5   BY MR. HEGARTY:                                               5   Q.  And did you instruct her to remove this table on
         6   Q. Doctor, would you look at Exhibit Number 1 at Bates        6     Page 84?
         7     Stamp 57, please.                                           7   A. Absolutely not.
         8   A. Exhibit Number -- this is --                               8   Q. Do you know why it's not there?
         9   Q. Yes, what you have in front of you.                        9   A. No idea, but the marks of this one are showing, and the
        10   A. 57?                                                       10     graph is showing, so this should show up, I don't know
        11   Q. Correct. That corresponds to Page 84 of the lab           11     why it's not showing up.
        12     notebook. There is now in the lab notebook a table         12   Q. I'm going to direct you to Bates Stamp Page 62.
        13     that is pasted there that appears to have been removed     13   A. Same thing.
        14     from the page that we received that was photocopied and    14   Q. Which is -- which corresponds to handwritten Page
        15     is part of Exhibit Number 1. Can you explain why our       15     Number 87, there again is a chart --
        16     copy does not include that table?                          16   A. You referring to this one or this one?
        17            MS. O'DELL: Object to the form.                     17   Q. I'm referring to 87, there again in the copy portion at
        18            THE WITNESS: No idea.                               18     the upper part of the page there is a table or a chart
        19   BY MR. HEGARTY:                                              19     that is not included in the copy we've been given. Do
        20   Q. Okay.                                                     20     you know why that is the case?
        21   A. But it's here.                                            21            MS. O'DELL: Objection to the form.
        22   Q. Well, do you know what else --                            22            THE WITNESS: So I think this is probably
        23   A. This is this.                                             23     technical through scanning, I have no idea the answer
        24   Q. Do you know what other charts were removed from the       24     is.
        25     copy that we received?                                     25

                                                        Page 111                                                          Page 113
         1   A. No one removed anything.                                   1   BY MR. HEGARTY:
         2             MS. O'DELL: Excuse me, when you say this is         2   Q. Then under --
         3     this, I don't know that that's clear on the record          3   A. But we do have all the data.
         4     because you're pointing to the notebook.                    4   Q. Under that table there appears to be some very vague
         5             THE WITNESS: This is the results and this is        5     what appears to be handwriting. Can you explain what
         6     the graph from the results.                                 6     that is? That again is on Bates Stamp 62, Page 87 of
         7   BY MR. HEGARTY:                                               7     the original lab notebook.
         8   Q. Well, can you explain to us if this page was copied and    8   A. I don't know what that is.
         9     included in Exhibit Number 1, why this chart is not in      9   Q. Doctor, is this lab notebook typical of the lab
        10     Exhibit Number 1?                                          10     notebooks you generate for all the experiments you've
        11   A. No idea.                                                  11     conducted?
        12   Q. You agree that --                                         12            MS. O'DELL: Object to the form.
        13   A. When we scanned it probably didn't show up, I don't       13            THE WITNESS: What do you mean by typical?
        14     know.                                                      14   BY MR. HEGARTY:
        15   Q. Well, you would agree that it would had to have been      15   Q. Well, is this -- the things we've talked about here
        16     removed, correct; otherwise it would appear on the         16     this morning, would those same things appear in all the
        17     paper?                                                     17     lab notebooks that you prepare as part of your
        18   A. I don't agree.                                            18     experiments?
        19   Q. Well, you can tell on the copy that there are places      19            MS. O'DELL: Object to the form.
        20     there that look like where tape had appeared, correct?     20            THE WITNESS: So for -- most of our
        21             MS. O'DELL: Object to the form.                    21     experiments are documented in a lab notebook like this.
        22             THE WITNESS: So same thing here, tape              22   BY MR. HEGARTY:
        23     appeared and it's there.                                   23   Q. Do most of your experiments -- strike that -- do most
        24   BY MR. HEGARTY:                                              24     of the notebooks of your experiments have whiteout in
        25   Q. Did you instruct -- strike that. Did you instruct         25     them?

                                                                                         29 (Pages 110 to 113)
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                                                 Ghassan Saed, Ph.D.
                                                        Page 114                                                                 Page 116
         1   A. Oh, that's what you're saying?                             1     the laboratory notebooks we've been looking at today on
         2   Q. Yes.                                                       2     how to prepare lab notebooks, correct?
         3   A. No.                                                        3   A. I instruct the lady who did this, yes, how to prepare
         4   Q. Have you ever seen one of your other notebooks for your    4     lab notebook.
         5     lab experiments have whiteout in them and handwriting       5   Q. Did you ever instruct her about what to do in the case
         6     over that whiteout?                                         6     of needing to correct information that has been written
         7   A. It's not a general practice. The answer is I don't         7     in the lab notebook?
         8     remember.                                                   8   A. Yes, she actually knows that because on, I already
         9   Q. Does your lab have standard operating procedures for       9     instruct her not to do the whiteout, she did it
        10     how a lab notebook is to be prepared?                      10     anyways, but her defense was, oh, I am only doing it on
        11            MS. O'DELL: Objection to the form.                  11     words that we already -- on procedures that is not even
        12            THE WITNESS: So from who? From our own lab?         12     supposed to be there, it's like a normal practice
        13   BY MR. HEGARTY:                                              13     procedure that we have done many times.
        14   Q. Correct.                                                  14   Q. Doctor, if you would turn over to Bates Stamp 25 in
        15   A. So this is the procedure that we follow for our lab.      15     Exhibit Number 1, which is Page 53 in the notebook.
        16   Q. Do you have any written standards on how you are to       16   A. ELISA.
        17     prepare a lab notebook?                                    17   Q. Under the -- in the section on the upper part of the
        18   A. No.                                                       18     page there appears to be documentation of adding talc
        19   Q. Do you instruct those within your lab on how to prepare   19     to the cells; is that correct?
        20     a lab notebook based on any published methods for          20   A. Where do you see that? Cells were seeded, density --
        21     preparing a lab notebook?                                  21   Q. Can I look at it, Doctor?
        22   A. So most of our work nowadays -- in the past we used to    22   A. Treat with --
        23     do a lot of lab notebooks, but most of the work that we    23   Q. This part of the notebook, what is described where
        24     do right now, most of it is electronically, and just to    24     you're talking about X1 X2 X3?
        25     keep a record in case something happened to electronic     25   A. Okay. These are the dilution of talc that we used, 5

                                                        Page 115                                                                 Page 117
         1     version, we print it and paste it in the lab notebook.      1      micrograms, 20 micrograms, and 100 micrograms. These
         2     So in the past we used to take more precautions for lab     2      are the three doses that we used, and this is how we
         3     notebooks, but these days because of this electronic        3      got them.
         4     facilities and help, we just print it and paste it          4   Q. With these doses are you adding DMSO?
         5     there.                                                      5   A. The talc was dissolved in DMSO.
         6   Q. Did you instruct those who prepared the lab notebooks      6   Q. Does the lab notebook show how much DMSO was used for
         7     that we've been looking at here today on how to prepare     7      each sample?
         8     laboratory notebooks? Did that instruction come from        8   A. How much DMSO? Yeah.
         9     you?                                                        9   Q. Yes. Where is that?
        10   A. Yes.                                                      10   A. Let me see. So you -- where is it -- it's
        11   Q. Was that instruction based on any published standards     11      50 milligrams per ml, so one ml, that's the initial
        12     in the literature for how to prepare a lab notebook?       12      concentration, 50 milligrams of the talc with one ml of
        13   A. That was based on what I've been told since 1983.         13      the DMSO.
        14   Q. Where were you taught that in 1983?                       14   Q. Did the amount of DMSO increase with the increasing
        15   A. I did my Ph.D. in molecular biology.                      15      doses of talc?
        16   Q. Where was that?                                           16   A. No, no, no, no, okay, let me explain this.
        17   A. Where?                                                    17            MS. O'DELL: What page were you referring to,
        18   Q. Yes.                                                      18      Doctor?
        19   A. England.                                                  19   BY MR. HEGARTY:
        20   Q. What school in England?                                   20   Q. Thank you.
        21   A. University of Essex.                                      21   A. The first page.
        22   Q. You learned at the University of Essex on how to          22   Q. What's that page number?
        23     prepare a laboratory notebook?                             23   A. 1.
        24   A. Sure.                                                     24   Q. Page 1, okay.
        25   Q. You used that training to instruct those who prepared     25   A. So let me explain this. So we prepare a stock solution

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         1     of the talc powder plus DMSO, the solvent, which is         1     Does the assay work by you measuring the amount of
         2     50 milligrams per ml, you can upscale it, downscale it,     2     color change?
         3     from there we dilute, as you can see here, it says the      3             MS. O'DELL: Object to the form.
         4     exact delusions, and it says X1 times 10 to the 4th         4             THE WITNESS: The answer -- I just answered
         5     microgram per ml, that's what you want to get, and          5     you.
         6     that's 15 ml times 5 micrograms per ml, that's the          6   BY MR. HEGARTY:
         7     concentration desired, and then you take -- this will       7   Q. Which is?
         8     tell you how much volume you add to the cells. So we        8   A. Are you referring to --
         9     added 2.35 microliters that correspond to 5 micrograms      9   Q. Well, explain how it works with regard to color.
        10     per ml, 10 microliters corresponded to 20, and so on,      10   A. Okay, oh, I would love to, I'll be very happy to do
        11     50 corresponded to that, and then the untreated cells      11     that. Okay, so this is measuring the optical density
        12     got that DMSO alone.                                       12     of the concentration of the protein that is correlated
        13             MS. O'DELL: What page --                           13     to the -- how much protein is there. You measure the
        14   BY MR. HEGARTY:                                              14     optical density absorbance at 5, 62 nanometer, and you
        15   Q. The DMSO at 2.5, 10, and 50?                              15     construct a standard curve from BSA, and the standard
        16   A. DMSO.                                                     16     curve is known concentration, and it tells you when
        17   Q. DMSO at 2.5, 10, and 50?                                  17     it -- where is the absorption and what's the slope of
        18             MS. O'DELL: Excuse me, what page are you           18     the line, and that helps you extrapolate the unknown
        19     referring to?                                              19     samples from your standard curve.
        20             THE WITNESS: This Page 53 right here.              20   Q. So is --
        21             No, so the DMSO has no concentration. The          21   A. It is a colorimetric assay.
        22     DMSO is the solvent where you dilute, dissolve the         22   Q. It's measuring a color change, correct?
        23     talc.                                                      23   A. No.
        24   BY MR. HEGARTY:                                              24   Q. When you say colorimetric assay, what do you mean?
        25   Q. My question is -- was, though, with regard to the         25   A. It's extension coefficient, it measures BSA at specific

                                                        Page 119                                                           Page 121
         1     controls --                                                 1     wavelength.
         2   A. Volumes, you use volumes.                                  2   Q. And what did you do to validate that the assay would
         3   Q. -- did you, for each level of talc applied to the          3     work with the presence of talc?
         4     cells, for the corresponding controls did you also          4   A. What assay?
         5     apply DMSO?                                                 5   Q. This assay.
         6   A. Yes.                                                       6   A. This assay is not for talc, this assay is a standard
         7   Q. At what volume?                                            7     curve to measure -- to use a standard for -- so we can
         8   A. It's 2.5, 10, and 50.                                      8     apply the same amount of protein for each sample.
         9   Q. Of DMSO alone?                                             9   Q. But you are using -- you are measuring the samples
        10   A. Correct.                                                  10     after they've been -- after talc has been applied,
        11   Q. If you turn over to Page 55, I'm sorry, 53 in the lab     11     correct?
        12     notebook, which is Bates Stamped 27 in the copy            12   A. We are measuring each like, for example, okay --
        13     version, Page 53.                                          13            MS. O'DELL: Refer to a specific page.
        14   A. This one? Same page?                                      14            THE WITNESS: Let's say, for example,
        15   Q. 55, Page 55 of the lab notebook, which is Bates Stamped   15     catalase, so we are measuring catalase, but to measure
        16     27.                                                        16     catalase, you need to compare between samples, right?
        17   A. Okay.                                                     17     You need to compare between treated versus untreated.
        18   Q. Is this -- does this page describe the BCA protein        18     How are you -- how can you determine that you have the
        19     detection assay?                                           19     same amount of protein? What if you have more protein
        20   A. Correct.                                                  20     here than here? The results is not accurate. So we
        21   Q. And does the assay work by measuring the amount of        21     use BSA as a standard to measure and standardize all
        22     color change, that is, the more color change you           22     the samples to the same amount of protein, so the
        23     detect, the greater the response it indicates?             23     comparison would be -- the comparison would be
        24   A. Are you saying it's a colorimetric assay?                 24     accurate.
        25   Q. Well, I'm not sure. I can ask it in a different way.      25

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         1   BY MR. HEGARTY:                                               1   A. I am not measuring the protein, I'm measuring catalase.
         2   Q. How did you rule out the possibility that the color        2   Q. You're measuring the catalase.
         3     change or the wavelength change was due to the talc         3   A. Catalase and control cells versus treated cells, okay,
         4     particles themselves as opposed to any effect they were     4     in triplicates.
         5     having?                                                     5   Q. So you measure it once using the same sample, you
         6            MS. O'DELL: Object to the form.                      6     measure the same sample two more times?
         7            THE WITNESS: Yeah, so we use the same cell           7   A. Okay, oh, now I understand your question, okay. So
         8     line, we split the cells, we grow the cells, some cells     8     this triplicate is for the assay, so we did one, two,
         9     get the talcum powder, the same cells, the other            9     three, four, five, six cell lines in triplicate each
        10     aliquot get no talcum powder, we extract proteins, we      10     time point.
        11     correct for the differences in the extraction of           11   Q. When you say in triplicate, does that mean you have
        12     proteins, and then we run catalase, for example.           12     three sets of petri dishes or are you doing one set of
        13   BY MR. HEGARTY:                                              13     petri dishes and you're doing the test three times?
        14   Q. Within the proteins extracted, would there still be       14             MS. O'DELL: Objection.
        15     talc particles?                                            15             THE WITNESS: So it is -- this one here is
        16   A. No, no.                                                   16     one set of petri dish, and it's done in triplicate for
        17   Q. How do you know there are not talc particles?             17     each time point.
        18   A. Because these are total proteins. You extract             18   BY MR. HEGARTY:
        19     proteins. There is a process of extraction of              19   Q. So you didn't -- for each cell line you didn't have
        20     proteins. You wash off all the media, you precipitate      20     three --
        21     the cells, you lyse the cells, you extract proteins.       21   A. Independent.
        22   Q. How many times did you repeat the experiment you just     22   Q. -- independent cultures and then test each independent
        23     described for catalase?                                    23     culture against the others. You had one independent
        24   A. So all this work from January 24th till the end of this   24     culture you tested three times?
        25     work, it's done in triplicate.                             25             MS. O'DELL: Object to the form.

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         1   Q.  What does being done in triplicate mean?                  1   BY MR. HEGARTY:
         2   A.  Every experiment is done in triplicate.                   2   Q. Is that correct?
         3   Q.  Explain that to me.                                       3            MS. O'DELL: If you need to read his
         4   A.  Okay. So, for example, if you look at, see how --         4     question, it was confusing.
         5   Q.  What are you looking at?                                  5            THE WITNESS: Independent cultures, what does
         6   A.  For example, 56, if you look at 56, look at the table.    6     that mean?
         7            MS. O'DELL: Give us just a minute to get             7   BY MR. HEGARTY:
         8     there.                                                      8   Q. Well, I tried to use your word.
         9   Q. Okay, go ahead.                                            9   A. I know.
        10   A. You have the table?                                       10   Q. Did you have for each cell line three separate petri
        11   Q. Yes.                                                      11     dishes, three petri dishes, so you ran the experiment
        12   A. Okay. If you look at the table it says -- this            12     essentially three times for each cell line or did you
        13     particular ovarian cancer cell line, TOV-112-C, you        13     have one petri dish with a cell line in it, extract the
        14     have C, you have 5 microgram, you have 20 micrograms,      14     catalase, and run that extraction three times?
        15     and you have 100 microgram, you see them? And you can      15   A. No, no, no. How can you -- okay, I'm confused now.
        16     see OD1, OD2, OD3, blank, blank, blank, so triplicate,     16     Okay, so how can you have one petri dish and you
        17     three times. The blank three times, the experiment         17     extract three time points of treatment?
        18     three times, and subtract from the blank and do the        18   Q. I'm not asking you --
        19     calculation.                                               19   A. So we have three, we have three, we have actually four,
        20   Q. You're measuring the same protein extracted three         20     one, two, three, four, four independent culture dishes
        21     times?                                                     21     for each treatment.
        22            MS. O'DELL: Object to the form.                     22   Q. Correct.
        23   BY MR. HEGARTY:                                              23   A. That is done in triplicate.
        24   Q. Is that correct?                                          24   Q. And what you say in triplicate, that means you're
        25                                                                25     taking the extraction and you're testing it three

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         1     times, the same extraction.                                  1             MS. O'DELL: So you wanted 26 of the Bates,
         2   A.  For each time point.                                       2     and that's at the bottom left corner 54.
         3   Q.  For each time point.                                       3             THE WITNESS: This?
         4   A.  Yes.                                                       4   BY MR. HEGARTY:
         5   Q.  You don't have petri dishes that have the same cells in    5   Q. Yes. Your sample ID for -- your sample IDs run from
         6     it for three separate petri dishes, then doing the           6     356 to 386, is that right?
         7     extractions for each of those three petri dishes, do         7   A. So let me understand your question. Are these numbers
         8     you follow my question?                                      8     in serial number?
         9   A. Yeah, I follow the question.                                9   Q. Are these the sample ID numbers of your tests?
        10             MS. O'DELL: Objection.                              10   A. Okay, so the sample ID correspond to each specimen,
        11             THE WITNESS: You cannot do that because then        11     yes, each cells.
        12     you have to do triplicate of triplicate.                    12   Q. And those sample IDs run in chronologic order from 356
        13   BY MR. HEGARTY:                                               13     to 386?
        14   Q. Exactly.                                                   14   A. No, they're missing. For example, there is 60 -- where
        15   A. Have I done that?                                          15     is it -- actually, 84, 85, yes, they are.
        16   Q. Yes.                                                       16   Q. So you're right, they jump from 371 to 379, do you see
        17   A. No.                                                        17     that?
        18   Q. Okay. That was my question.                                18   A. Yeah.
        19   A. Not for this assay.                                        19   Q. Why is that?
        20   Q. Have you ever done assays like that where you've had --    20   A. Because, you see, these are already, these cells were
        21   A. Yes.                                                       21     treated in different times, so that's why they get
        22   Q. -- multiple?                                               22     different IDs.
        23             MS. O'DELL: Let him finish.                         23   Q. Okay.
        24   BY MR. HEGARTY:                                               24   A. This is a lot of work. You can't do it in one time.
        25   Q. Have you done assays like that where you've used the       25   Q. What type of test is -- or strike that. Then if you

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         1     same cell line in three different dishes and done the        1     turn over to Page 69 of Exhibit Number 1, which, again,
         2     triplicate, triplicate, triplicate off of each dish?         2     my copy doesn't have a handwritten page number on it.
         3            MS. O'DELL: Object to the form.                       3            MR. LAPINSKI: Counsel, just to confirm, when
         4            THE WITNESS: Okay, so in the past I have              4     you refer to page numbers, you're referring to the
         5     done -- this is a very important question, it is always      5     Bates Numbers, correct?
         6     raised when we submit our data to be considered for          6            MR. HEGARTY: In this case I'm referring to
         7     publication, they will say did you do a real triplicate      7     Page 69 in Exhibit Number 1, which is the Bates Number.
         8     or a triplicate of the assay. So the answer is we have       8            MS. O'DELL: Well, and to be -- I think in
         9     done that in the past, and in our system here there is       9     the lower right-hand corner of your page that's 94, and
        10     no difference between -- because catalase have been         10     that's what was produced so --
        11     done in our lab, we published with it, it is a standard     11            MR. HEGARTY: If you go to Page 94, then,
        12     protocol in our lab, and we never have -- we test it        12     Doctor.
        13     for intra-assay variation triplicates, and that was not     13   BY MR. HEGARTY:
        14     the case. Did we test that? Yes, we did, but not for        14   Q. It should be this.
        15     talc treatment per se, because these are established        15   A. Yes.
        16     protocols in our lab, we already know and we learn from     16   Q. Are those the same sample numbers that we looked at in
        17     them, so you don't really need to do a triplicate of a      17     the prior -- on the prior page?
        18     triplicate of a triplicate.                                 18   A. What page was it? Sorry.
        19   BY MR. HEGARTY:                                               19   Q. That was Page 54.
        20   Q. Thank you. On Page 26 of the Bates Stamp document          20   A. Yes.
        21     Number 1, which is after --                                 21   Q. Do those refer to the same samples?
        22            MS. O'DELL: 54 of the lab.                           22   A. Yes.
        23            MR. HEGARTY: Is it 54 of the lab notebook?           23   Q. If you turn next, then, to page Bates Number 76 Exhibit
        24     Because I can't -- my page doesn't have a handwritten       24     Number 1, Page 100 in the laboratory notebook, there
        25     number.                                                     25     are -- do you see what I'm referring you to, Doctor,

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                                                  Ghassan Saed, Ph.D.
                                                         Page 130                                                         Page 132
         1     Page 100?                                                   1        SAED DEPOSITION EXHIBIT NUMBER 11,
         2   A. Yes.                                                       2        NOTEBOOKS,
         3   Q. There are again sample numbers listed there. Are those     3        WAS MARKED BY THE REPORTER
         4     for a different test?                                       4        FOR IDENTIFICATION
         5   A. This is for different test, this is Caspase-3 activity.    5   BY MR. HEGARTY:
         6   Q. Are you using the same sample numbers as in the            6   Q. So Exhibit Number 11 is the notebook you brought with
         7     previous test?                                              7     you to the deposition here today?
         8   A. It should indicate here, so 368, 369, 370, so the          8   A. This, yes.
         9     answer is yes, some of them, the numbers that               9            MS. O'DELL: There are actually two parts.
        10     correspond they are -- let me see, hold on, let me just    10   BY MR. HEGARTY:
        11     make sure. So this is for ELISA, we did the normal --      11   Q. There are two parts. Where is the other part?
        12     so the answer is yes.                                      12            MS. O'DELL: It's right here.
        13   Q. If you're using the same numbers for different tests,     13   BY MR. HEGARTY:
        14     how are you able to keep those straight?                   14   Q. Both parts of the notebook contain what?
        15            MS. O'DELL: Objection, form.                        15   A. So references 86 continued 89.
        16            THE WITNESS: Okay. So let me explain this.          16   Q. Did you compile Exhibit Number 11? Did you put that
        17     So here, this is the sample ID, the treated cells.         17     together?
        18   BY MR. HEGARTY:                                              18   A. Number 11 we're talking about? Sorry.
        19   Q. That's on Page --                                         19   Q. Number 11 are both notebooks.
        20   A. 54.                                                       20   A. Yes.
        21   Q. Okay.                                                     21   Q. Did you choose the articles to put in Exhibit
        22   A. So this is the sample ID, and this is what are they,      22     Number 11?
        23     what each cell line definition. Now, this was              23   A. My references from the articles, yes.
        24     subjected to isolation of protein, okay, and we use        24            MS. O'DELL: Just I think there's some lack
        25     BSA, as we discussed, as a standard, then you isolate      25     of clarity. You chose the articles. Did you copy the

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         1     the total protein from it, now you can do what we did,      1     pages?
         2     we can do catalase, we can do SOD, we can do different      2            THE WITNESS: No.
         3     markers from total proteins. Caspase-3 is included.         3   BY MR. HEGARTY:
         4   Q. Got you, okay thank you. I'm probably going into a         4   Q. Did you put the notebooks together yourself?
         5     different section that's going to take a while if you       5   A. No.
         6     want to take a break now or keep going.                     6   Q. Do you know who put the notebooks together?
         7            MS. O'DELL: It's 12:15, Doctor, would you            7            MS. O'DELL: Objection, it's a little vague.
         8     like a short break for lunch or what's your preference?     8            THE WITNESS: You guys did it.
         9            THE WITNESS: Yes.                                    9   BY MR. HEGARTY:
        10            MR. HEGARTY: Let's go off the record.               10   Q. Counsel for Plaintiffs put the notebooks together?
        11            THE VIDEOGRAPHER: Going off the record at           11   A. What do you call them, sorry?
        12     12:16 p.m.                                                 12   Q. Counsel for Plaintiffs put the notebooks --
        13            (A recess was taken.)                               13   A. Yes, sorry, I'm just having -- I thought that I put the
        14            THE VIDEOGRAPHER: We are back on the record         14     references together, yes.
        15     at 1:26 p.m.                                               15   Q. I want to talk in more detail about Exhibit Number 7.
        16   BY MR. HEGARTY:                                              16     That's your manuscript.
        17   Q. Doctor, you brought with you a notebook that appears to   17   A. Okay.
        18     contain articles and perhaps a number of other             18   Q. When did the writing process begin for Exhibit 7? And
        19     documents. What is in the notebook that you have in        19     this goes back to the original version that you
        20     front of you?                                              20     submitted to --
        21   A. So I have my report that I submitted, my CV, and my       21   A. Yes.
        22     references.                                                22   Q. -- OB-GYN Oncology.
        23   Q. I'll mark that notebook as Exhibit Number 11.             23   A. September I think.
        24                                                                24   Q. Do you know approximately when in September?
        25                                                                25   A. I can't remember.

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                                                  Ghassan Saed, Ph.D.
                                                        Page 134                                                          Page 136
         1   Q. Dr. Fletcher is identified as the lead author. How did     1     article besides those we talked about?
         2     that come about?                                            2   A. No, so she -- that's why she's in the acknowledgment,
         3   A. She is not the lead author.                                3     not in the authorship, because she was repeating
         4   Q. Who is the lead author?                                    4     experiments.
         5   A. I am.                                                      5   Q. In connection with the experiments that you conducted
         6   Q. The reason I thought she was lead author is on the         6     that went into preparing or that led to preparing of
         7     second page of Exhibit Number 7 after the title she's       7     this manuscript, did you prepare a proposal to request
         8     the first author listed.                                    8     funding of the experiments in the article?
         9   A. That's -- lead author is the corresponding author,         9            MS. O'DELL: Object to the form.
        10     that's me.                                                 10            THE WITNESS: I created a budget so to see
        11   Q. What was the involvement of -- strike that. What was      11     how much this will cost me.
        12     Dr. Fletcher's involvement in the preparation of this      12   BY MR. HEGARTY:
        13     article?                                                   13   Q. When you seek funding from NIH, for example, or another
        14   A. So for the articles, she helped in doing the -- on this   14     organization, you have to prepare a formal grant
        15     article or experiments, the whole thing, or just this      15     request where you set out and provide certain
        16     article?                                                   16     information describing what you intend to do and how
        17   Q. Just on the article.                                      17     much it's going to cost, correct?
        18   A. Okay, so her role was basically reading after me make     18   A. For NIH?
        19     sure that the methods are what we really used, typos       19   Q. Yes.
        20     and like help read proofing.                               20   A. Yes.
        21   Q. What was Dr. Harper's involvement in preparation of the   21   Q. Did you prepare any kind of grant request in connection
        22     manuscript?                                                22     with the experiments that went into preparing this
        23   A. Analysis of data, interpretation of data, she's a         23     manuscript?
        24     clinical OB-GYN oncologist.                                24            MS. O'DELL: Object to the form, other than
        25   Q. What was Dr. -- or, I'm sorry, what was Ira Memaj?        25     he's testified to.

                                                        Page 135                                                          Page 137
         1   A. Ira Memaj was a medical student that helped also in        1            THE WITNESS: The answer is no.
         2     looking for the grammar and proofreading mostly.            2   BY MR. HEGARTY:
         3   Q. What was Rong Fan's involvement?                           3   Q. Did you submit the budget you created to anybody?
         4   A. Same thing. Now, the authors that are here, not            4   A. Official funding agencies, no.
         5     necessarily because they participated in writing the        5   Q. Did you provide the budget to Counsel for Plaintiffs,
         6     manuscript, but they own the authorship because they        6     Beasley Allen?
         7     participated in the work that created the manuscript.       7   A. I can't remember.
         8   Q. What was Robert Morris's -- Dr. Robert Morris's --         8   Q. Do you still have a copy of the budget?
         9   A. Dr. Morris is the OB-GYN Oncology chief, and he helped     9   A. I do.
        10     in also editing the manuscript and help interpretation     10   Q. Did you prepare any type of protocol or outline in
        11     of data clinically.                                        11     advance of the experiments describing the methods or
        12   Q. Who prepared the original manuscript? Who was the         12     goals of the experiments?
        13     author?                                                    13   A. In writing?
        14   A. I did.                                                    14   Q. In writing.
        15   Q. Did anyone help you write the original manuscript?        15   A. I don't remember.
        16   A. No.                                                       16   Q. Is that something that's commonly done -- or strike
        17   Q. Did anyone in any way contribute to the manuscript        17     that. Is that something you commonly do in your work
        18     besides those individuals listed in Exhibit Number 7?      18     in connection with doing studies that then go into a
        19   A. No.                                                       19     journal article?
        20   Q. Over on Page 12 in the Acknowledgments section there's    20            MS. O'DELL: Object to the form.
        21     a notation thanking Imaan Singh.                           21            THE WITNESS: So the way I do this, this
        22   A. Yes, she was a medical student.                           22     is -- again, this is routinely done in our lab, and we
        23   Q. What did Imaan Singh do?                                  23     ran a pilot experiment using PCR, using single dose,
        24   A. She helped in running some experiments for us.            24     and when we saw the data and we saw that there's a
        25   Q. Anyone else assist in any way in the preparation of the   25     biological effect, then we had a plan of what to do,

                                                                                         35 (Pages 134 to 137)
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                                                        Page 138                                                                   Page 140
         1     and which is the whole study.                               1   BY MR. HEGARTY:
         2   BY MR. HEGARTY:                                               2   Q. So tell me again what meetings this --
         3   Q. Do you prepare that plan in writing?                       3   A. SRI.
         4   A. In writing?                                                4   Q. -- testing was presented.
         5   Q. Yes.                                                       5   A. SRI March 2018, and then if I recall correctly, ASRM
         6   A. I really don't need to because it's the technology         6     October --
         7     again, it is all applied in our laboratory, and we are      7            MS. O'DELL: ASRM, is that what you're
         8     testing the markers that we been extensively publishing     8     saying?
         9     on and testing through our lab.                             9            THE WITNESS: No, it wasn't ASRM. I forgot
        10   Q. For any articles that you have published in scientific    10     which the other one -- SGO, SGO, I forgot where I
        11     journals, have you ever prepared an outline or protocol    11     submitted, sorry, but I did submit two abstracts and I
        12     describing what you're going to do before you actually     12     presented them in national meetings, SRI for sure was
        13     do the experiments?                                        13     March -- I believe it was SGO.
        14            MS. O'DELL: Object to the form.                     14            MS. O'DELL: For the record, Doctor, what
        15            THE WITNESS: Yeah, so, again, I'm just              15     does SGO stand for?
        16     trying to explain to you that the methodology is in        16            THE WITNESS: Society of Gynecology and
        17     place, it's in the lab, it's been published, it's been     17     Oncology.
        18     referenced, and we test the same markers over and over,    18   BY MR. HEGARTY:
        19     so there is no need to every time write this down.         19   Q. In March of 2018?
        20   BY MR. HEGARTY:                                              20   A. The SRI meeting, yes, that was the preliminary study.
        21   Q. But have you ever prepared in connection with a journal   21   Q. The lab notebook you provided includes entries for work
        22     article you're going to hopefully write after doing        22     that occurred after March 2018, correct?
        23     experiments an outline or an overview or a summary of      23   A. Correct.
        24     what you're going to do before you then go on and do       24   Q. What did you then present in March of 2018?
        25     it?                                                        25   A. We presented the work that we did preliminary just to

                                                        Page 139                                                                   Page 141
         1   A. We write the methodology.                                  1      show the effect on using just PCR.
         2   Q. So you have written methodologies for what you're going    2   Q. Did you discuss the contents of the manuscript, Exhibit
         3     to do before you actually start the experiments?            3      Number 7, with anyone besides the authors during the
         4            MS. O'DELL: Object to the form, that's not           4      time it was being written?
         5     what he said.                                               5   A. No.
         6            THE WITNESS: Not this experiment.                    6   Q. Did you discuss the contents of the manuscript during
         7   BY MR. HEGARTY:                                               7      the time it was being written with attorneys for
         8   Q. On other occasions you have done that?                     8      Beasley Allen or any other Plaintiff's Counsel in this
         9   A. Yes.                                                       9      case?
        10   Q. On other occasions when you have published articles in    10              MS. O'DELL: Don't discuss -- I'm going to
        11     scientific and medical journals?                           11      instruct you not to answer that question.
        12   A. Not all the times, no.                                    12   BY MR. HEGARTY:
        13   Q. When is it that you do prepare an outline or protocol?    13   Q. Doctor, if you would turn to --
        14   A. When it is something that is not routinely daily test     14              UNIDENTIFIED ATTORNEY: Excuse me, was that a
        15     that is performed in our laboratory, something             15      yes or no question? You're instructing him not to
        16     different.                                                 16      answer whether he discussed the contents?
        17   Q. Did you discuss the results of the testing or the         17              MS. O'DELL: Well, the question presupposes
        18     experiments with anyone outside of the authors on the      18      the subject matter of the discussion and that's the --
        19     manuscript?                                                19      so I'm going to instruct him not to answer the
        20            MS. O'DELL: Objection to form.                      20      question.
        21            THE WITNESS: Yes, so the answer -- I'm              21   BY MR. HEGARTY:
        22     sorry, that wasn't the answer. This part of this work      22   Q. Doctor, would you turn to Page 12 of Exhibit 7, please.
        23     was accepted and presented at national meetings, was       23      Did you prepare the Conflict of Interest section on
        24     presented at SRI, presented at ASRM, and it was open       24      Page 12?
        25     for everybody to discuss.                                  25   A. Yes.

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                                                        Page 142                                                         Page 144
         1   Q. For whom did you act as a consultant for a fee?            1   A. No reason, I could add this --
         2   A. Beasley Allen.                                             2   Q. You say in the disclosure that you acted as a
         3   Q. Why didn't you disclose Beasley Allen in this Conflict     3     consultant regarding this topic for a fee. What was
         4     of Interest disclosure?                                     4     the fee?
         5   A. The name you mean?                                         5   A. What was the fee?
         6   Q. Yes.                                                       6   Q. Yes.
         7   A. Just add the name? I didn't do it.                         7   A. I think $600 an hour.
         8   Q. At the time you prepared this manuscript, you were         8   Q. Was the fee the total amount you gave us for your
         9     acting as a consultant for Beasley Allen in litigation      9     invoices at the beginning of the deposition?
        10     involving the topic of this paper, correct?                10   A. Yes. No?
        11   A. Correct.                                                  11            MS. O'DELL: Sorry, I was going to object, it
        12   Q. But you didn't identify that in the Conflict of           12     was a little unclear, but I think you understood his
        13     Interest disclosure that you were acting as a              13     question.
        14     consultant in litigation involving this topic for a        14   BY MR. HEGARTY:
        15     fee, correct?                                              15   Q. Doctor, don't you agree that anyone reading this
        16            MS. O'DELL: Objection to form.                      16     article should know that you are a paid expert for
        17            THE WITNESS: The journal, this is sufficient        17     lawyers who have a financial interest in this subject
        18     language for the journal.                                  18     area?
        19   BY MR. HEGARTY:                                              19            MS. O'DELL: Object to the form.
        20   Q. But you did not disclose that you were acting as a        20            THE WITNESS: Again, my response would be I
        21     consultant in litigation involving this topic, correct?    21     put the conflict of interest that I'm acting as a
        22            MS. O'DELL: Objection to form.                      22     consultant on this topic.
        23            THE WITNESS: This is what I disclosed.              23   BY MR. HEGARTY:
        24   BY MR. HEGARTY:                                              24   Q. Don't you think the --
        25   Q. At the time you prepared this disclosure, you were        25

                                                        Page 143                                                         Page 145
         1     acting as a consultant -- strike that. At the time          1   A. -- for a fee.
         2     that you prepared this conflict of interest, you were       2   Q. Don't you think the potential readers of this article
         3     acting as a named testifying expert in the                  3     are entitled to know that you are using this article to
         4     litigation -- in the talc litigation for plaintiffs         4     profit on this topic?
         5     lawyers, correct?                                           5            MS. O'DELL: Objection to form.
         6   A. Is that the same question? Yes.                            6            THE WITNESS: This is the language that is
         7   Q. So at the time that you prepared this disclosure, you      7     requested by the journal.
         8     were not just a consultant, you were a testifying           8   BY MR. HEGARTY:
         9     expert witness in litigation, correct?                      9   Q. Don't you think that anyone reading this article would
        10             MS. O'DELL: Objection to form.                     10     want to know that you have a financial interest in this
        11             THE WITNESS: As far as I know, I'm a               11     topic?
        12     consultant, witness expert to consult in this matter,      12   A. It says clearly fee, for a fee.
        13     yes.                                                       13   Q. You don't identify, though, the area of this topic in
        14   BY MR. HEGARTY:                                              14     which you're consulting, correct?
        15   Q. You did not disclose this relationship in the             15            MS. O'DELL: Objection to form.
        16     acknowledgment, that is, this relationship that you        16            THE WITNESS: So for the reader of this, our
        17     were a designated testifying expert in litigation          17     readers, it's enough to say I'm a consultant for a fee
        18     involving talc and ovarian cancer, correct?                18     on this topic.
        19   A. The language that I wrote here was sufficient by the      19   BY MR. HEGARTY:
        20     journal.                                                   20   Q. You are getting paid in this litigation to testify on
        21             MR. KLATT: Objection, nonresponsive.               21     behalf of plaintiffs, correct?
        22   BY MR. HEGARTY:                                              22   A. Yes.
        23   Q. Why didn't you disclose in this acknowledgment that you   23   Q. Your testimony is supported by the manuscript, by
        24     were a designated expert on behalf of plaintiffs in        24     Exhibit Number 7, correct?
        25     litigation involving talc and ovarian cancer?              25            MS. O'DELL: Objection to form.

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         1             THE WITNESS: It's -- part of it is in the        1   BY MR. HEGARTY:
         2     manuscript and part of it is not.                        2   Q. The rest of the conflict of interest disclosure says
         3   BY MR. HEGARTY:                                            3     that no other -- the authors declare -- the other
         4   Q. You stand to benefit financially to the extent          4     authors declare there are no conflicts of interest; do
         5     Plaintiff's Counsel use your article successfully in     5     you see that?
         6     this litigation, correct?                                6   A. I do.
         7             MS. O'DELL: Object to the form.                  7   Q. So did any of the other authors consult on this topic
         8             THE WITNESS: I didn't understand the             8     for a fee, to your knowledge?
         9     question.                                                9   A. To my knowledge, no.
        10   BY MR. HEGARTY:                                           10   Q. Were the other authors on this manuscript aware of your
        11   Q. You stand to benefit financially to the extent that    11     relationship with the attorneys for Beasley Allen in
        12     Plaintiff's Counsel use your article in this            12     this litigation?
        13     litigation, correct?                                    13   A. Yes, they are.
        14             MS. O'DELL: Object to the form.                 14   Q. How were they made aware of it?
        15             THE WITNESS: Can you -- I know but I don't      15   A. I made them aware of it.
        16     understand what you really want to say.                 16   Q. When did you make them aware of it?
        17   BY MR. HEGARTY:                                           17   A. When we started this whole thing.
        18   Q. You stand to benefit financially, make more money by   18   Q. What did you tell them?
        19     Plaintiff's Counsel using your article in this          19   A. I tell them I'm acting as a -- what do you call it -- a
        20     litigation, correct?                                    20     witness expert in this litigation.
        21             MS. O'DELL: Object to the form.                 21   Q. Did you -- have you told them that you've been
        22             THE WITNESS: No, I'm not aware, how they        22     designated to testify as an expert witness in this
        23     going to make more money by using this?                 23     litigation?
        24   BY MR. HEGARTY:                                           24             MS. O'DELL: Objection, asked and answered.
        25   Q. Well, they will continue to use you as an expert       25             THE WITNESS: I just said -- shared with them

                                                      Page 147                                                         Page 149
         1     witness in all the cases to the extent they are          1     that I was selected to be an expert witness in this
         2     successful in using your article, correct?               2     topic.
         3             MS. O'DELL: Object to the form.                  3   BY MR. HEGARTY:
         4             THE WITNESS: So they can use whatever they       4   Q. And you told them that before you started the
         5     want. This is my research and my lab. These are the      5     experiments?
         6     results that I stand for.                                6   A. About, yeah.
         7   BY MR. HEGARTY:                                            7   Q. You are the senior author on this paper, correct?
         8   Q. Do you think they would pay you to testify in this      8   A. Correct.
         9     litigation if your results were different in your        9   Q. Do you in any way supervise or do you in any way
        10     article?                                                10     supervise any of the work of the other authors?
        11             MS. O'DELL: Object to the form.                 11   A. All the work that is in this manuscript is done under
        12             THE WITNESS: This work, negative results or     12     my hundred percent supervision.
        13     positive results, both are results, so they're paying   13   Q. How about generally, do you supervise any of the other
        14     for my time to consult. Whether it's positive or        14     authors?
        15     negative to them doesn't matter.                        15   A. I do.
        16   BY MR. HEGARTY:                                           16   Q. Do they report to you?
        17   Q. Well, when you said you're acting as a consultant      17   A. Yes.
        18     regarding this topic, what is this topic? Is it         18   Q. Which ones report directly to you?
        19     inflammation and cancer? Is it antioxidants? Is it      19   A. So Nicole King, Ira, Amy, and that's about all the
        20     talc? How is the reader supposed to know?               20     authors here.
        21             MS. O'DELL: Object to the form.                 21   Q. Are you a resource for grant funding for things that
        22             THE WITNESS: If you read -- the reader will     22     they work on?
        23     read the title, which says Molecular Basis Supporting   23            MS. O'DELL: Object to the form.
        24     the Association of Talcum Powder Use With Increased     24            THE WITNESS: Am I a resource?
        25     Risk of Ovarian Cancer; very clear topic.               25

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                                                        Page 150                                                          Page 152
         1   BY MR. HEGARTY:                                               1     January 16, 2019. Do you see where it lists SAGE
         2   Q. Yes. Do they work on studies that you have received        2     Publications, underneath that Reproductive Sciences?
         3     funding for?                                                3   A. This here?
         4   A. No.                                                        4   Q. Yes, at the top. SAGE and Reproductive Sciences.
         5   Q. Do they otherwise work for you -- let me strike that.      5   A. Yes.
         6     Do they work for you -- have they done work for you         6   Q. Reproductive Sciences is a journal that has accepted
         7     outside of the work on this manuscript?                     7     your article for publication, correct?
         8   A. Some of them --                                            8   A. Yes.
         9            MS. O'DELL: Object to form.                          9   Q. This exhibit identifies the editorial policies, peer
        10            THE WITNESS: Some of them did.                      10     review policies, and other policies of this
        11   BY MR. HEGARTY:                                              11     publication. Are you familiar with all of these
        12   Q. Do some of them still work for you?                       12     policies?
        13   A. Yes.                                                      13            MS. O'DELL: Object to the form.
        14   Q. Which of the authors still work for you?                  14            THE WITNESS: Some.
        15            MS. O'DELL: Object to the form.                     15   BY MR. HEGARTY:
        16            THE WITNESS: Work for me or work with me?           16   Q. Would you turn over to Page 5, sorry, Page 3 of 10.
        17   BY MR. HEGARTY:                                              17     Under the section Funding, it states that to comply
        18   Q. Work for you.                                             18     with the guidance for research funders, authors, and
        19   A. Work for me?                                              19     publishers issued by the Research Information Network,
        20            MS. O'DELL: Object to the form.                     20     RS additionally requires all authors to acknowledge
        21            THE WITNESS: So what's work for me means?           21     their funding in a consistent fashion under a separate
        22     I'm their supervisor?                                      22     heading. Do you see that?
        23   BY MR. HEGARTY:                                              23   A. Yes.
        24   Q. Yes.                                                      24   Q. Where in your acknowledgment do you acknowledge the
        25   A. I'm paying their salary?                                  25     source of your funding?

                                                        Page 151                                                          Page 153
         1   Q. You're their supervisor. Are you their supervisor?         1   A. Okay, so this is -- this only applies to agencies that
         2   A. Yes, I'm supervisor of Rong Fan, she is my research        2     require this. So, for example, I got NIH grant, I got
         3     technician or assistant. I am the Fellow Director for       3     funding from NIH, I have to disclose funding from NIH.
         4     the fellowship of Amy Harper. And let's see who's           4     If there is no funding, if it's internal funding, you
         5     here, Ira's no longer with us, she went to medical          5     don't have to do that.
         6     school in New York.                                         6   Q. Where does that standard -- where is that standard in
         7   Q. Do you prepare evaluations for -- have you prepared        7     this document?
         8     evaluations for any of the authors on this paper?           8   A. This is -- I have published in this journal for the
         9   A. Previously?                                                9     last 20 years. This is the protocol that we use.
        10   Q. Previously.                                               10   Q. Can you cite for me any anything that came from SAGE
        11   A. Nicole Fletcher.                                          11     Publications saying that that's an appropriate reading
        12   Q. Any others?                                               12     of the funding requirements?
        13   A. Yearly evaluation because she was a post doc in my lab,   13             MS. O'DELL: Object to the form.
        14     and this year I will prepare one for Rong.                 14             THE WITNESS: I already told you we published
        15   Q. Reproductive Sciences is -- Reproductive Sciences is      15     with SRI for several years, and my understanding that
        16     published by SAGE Publications, correct?                   16     if the agency, the funding agency requests that you
        17   A. I don't know, they keep, they switch different            17     should add their name to the funding part of it, then
        18     publishers.                                                18     you should do that. If it's no funding -- departmental
        19        SAED DEPOSITION EXHIBIT NUMBER 12,                      19     is not considered funding, that's a burden actually,
        20        SAGE PUBLISHING DOCUMENT,                               20     it's not funding.
        21        WAS MARKED BY THE REPORTER                              21   BY MR. HEGARTY:
        22        FOR IDENTIFICATION                                      22   Q. If you look under the section Declaration of
        23   BY MR. HEGARTY:                                              23     Conflicting Interests, you see the last paragraph of
        24   Q. I'm going to mark as Exhibit Number 12 a printout from    24     that section before For More Information, it reads any
        25     the SAGE Publications website, it's printed out on         25     commercial or financial involvements that might

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         1     represent an appearance of a conflict of interest need      1   A. If I did, yes.
         2     to be additionally disclosed in the covering letter         2   Q. If you sent a cover letter, do you recall if you
         3     accompanying your article to assist the editor in           3     provided information about the conflict of interest you
         4     evaluating whether sufficient disclosure has been made      4     disclosed in your paper or manuscript?
         5     within the Declaration of Conflicting Interests             5             MS. O'DELL: Object to the form.
         6     provided in the article. Do you see where I'm reading?      6             THE WITNESS: Yeah, if I provided the cover
         7   A. Yes.                                                       7     letter, will there be a conflict of interest in the
         8   Q. Did you provide such a cover letter to the editor of       8     cover letter?
         9     Reproductive Sciences identifying your consulting           9   BY MR. HEGARTY:
        10     relationship with Beasley Allen?                           10   Q. Yes. Do you recall if you described the conflict of
        11   A. Okay, so when you go to the website Reproductive          11     interest in your cover letter as required under the
        12     Sciences and you try to upload your manuscript to be       12     SAGE Publishing guidelines, Exhibit Number 12?
        13     considered for review on publication, there are forms      13             MS. O'DELL: Objection to form.
        14     that -- pages that you go through, and each page you       14             THE WITNESS: Yes, so in our practice I have
        15     have to answer the question before it allows you to        15     been publishing with this particular journal and other
        16     proceed. So one of the pages was conflict of interest,     16     journals, I never seen a cover letter saying that we
        17     and they, at that level they just want to know if you      17     have a conflict of interest. It's not a practice of
        18     have a conflict of interest, you say "yes" or "no."        18     talking to the editor and tell them that this is
        19     And then later on in the manuscript you identify the       19     what --
        20     conflict of interest if there is any.                      20   BY MR. HEGARTY:
        21   Q. When you were asked if you had a conflict of interest     21   Q. In any of your prior publications have you ever
        22     how did you respond?                                       22     disclosed a conflict of interest?
        23   A. Yes.                                                      23   A. Yes.
        24   Q. Then you went to the next page that that would lead you   24   Q. And do you recall an example of when you disclosed a
        25     to, and that's where you prepared --                       25     conflict of interest?

                                                        Page 155                                                          Page 157
         1   A. Your manuscript.                                           1   A. When?
         2   Q. -- the Acknowledgment Section, correct?                    2   Q. Yes. Do you recall an example of when you disclosed a
         3   A. No.                                                        3     conflict of interest?
         4   Q. Sorry, the Conflict of Interest Section.                   4   A. Every manuscript you submit you have to disclose a
         5   A. No, no. Okay, so you write -- this is part of the          5     conflict of interest, whether it's yes or no, you have
         6     format of the manuscript, the acknowledgment, the           6     to.
         7     conflict of interest, that's the setup. Like how it         7   Q. Well, let me ask it a different way. Have you ever
         8     says abstract, key words, introduction, methods, all        8     included a conflict of interest statement like the one
         9     that, this is part of the format, so this has to be in      9     in your manuscript in any prior publication of yours?
        10     the manuscript, we upload to them.                         10   A. Very rare, because I never consult -- I don't consult
        11   Q. What did you type in on that online form when you said    11     usually in this caliber, but colleagues, co-authors
        12     yes to having a conflict of interest and then it           12     have done that, and there are co-authors in my
        13     directed you to another --                                 13     publications. Everybody has to disclose.
        14   A. There is no other form, they direct you to upload your    14         SAED DEPOSITION EXHIBIT NUMBER 13,
        15     manuscript. They accepted your yes answer, and then        15         SAGE PUBLISHING DOCUMENT,
        16     they allow you to proceed. If you don't answer, you        16         WAS MARKED BY THE REPORTER
        17     are not allowed to proceed.                                17         FOR IDENTIFICATION
        18   Q. Exhibit Number 12 also says in the paragraph that I       18   BY MR. HEGARTY:
        19     read to you that in addition to what you just              19   Q. We'll mark as Exhibit 13 another printout from the SAGE
        20     described, that you need to include such a disclosure      20     Publications website on the ethics and responsibility
        21     in the cover letter accompanying your article. First       21     of authors. Would you look at Exhibit 13, Doctor.
        22     of all, did you send a cover letter with your article?     22   A. Yes.
        23   A. I can't remember if it was required.                      23   Q. Under the section Authors, it says authors should
        24   Q. If you sent a cover letter, do you still have a copy of   24     ensure that, and go down several bullet points where it
        25     that cover letter?                                         25     reads any real or apparent conflicting or competing

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                                                 Ghassan Saed, Ph.D.
                                                       Page 158                                                                  Page 160
         1     interest is clearly stated on submission of their          1            The first paragraph of the letter makes
         2     paper. (This would include funding assistance). Do         2     reference to comments of the reviewers being included
         3     you see that?                                              3     at the bottom of this letter, and we'll get to those
         4   A. Where do you -- where is this --                          4     comments, but you did receive comments back from
         5   Q. It's the bullet point, second to last bullet point at     5     reviewers of this article, correct?
         6     the very bottom of the page.                               6            THE WITNESS: This is the only thing I
         7   A. Yes.                                                      7     received.
         8   Q. So this is saying that any -- an author should ensure     8   BY MR. HEGARTY:
         9     that any real or apparent conflicting or competing         9   Q. Did you eventually receive comments back from reviewers
        10     interest is clearly stated on submission of their         10     of the article?
        11     paper. (This would include funding assistance). Do        11   A. This is the only letter I received.
        12     you see where I'm reading?                                12   Q. In addition to the letter, you did receive comments
        13   A. Yes.                                                     13     from authors of the -- I'm sorry -- from reviewers of
        14   Q. And is it your contention that you did that in this      14     the manuscript, correct?
        15     manuscript?                                               15            MS. O'DELL: Objection, asked and answered.
        16   A. I did.                                                   16            THE WITNESS: Is this the whole --
        17   Q. You did not disclose in this manuscript that you         17   BY MR. HEGARTY:
        18     received funding for this paper by attorneys in           18   Q. Let me mark as Exhibit 14 --
        19     litigation, did you?                                      19   A. Is this the whole letter?
        20   A. I did, yes, I said consulting for a fee.                 20            MS. O'DELL: I think it's two pages.
        21   Q. Where do you make reference to consulting for a fee in   21            THE WITNESS: It's two pages? This is the
        22     litigation?                                               22     whole e-mail?
        23   A. That's my --                                             23
        24             MS. O'DELL: Objection to form.                    24
        25             THE WITNESS: That's my understanding.             25

                                                       Page 159                                                                  Page 161
         1   BY MR. HEGARTY:                                              1         SAED DEPOSITION EXHIBIT NUMBER 14,
         2   Q. You chose to use the words you set out in the Conflict    2         COPY OF LETTER FROM REPRODUCTIVE SCIENCES,
         3     of Interest Section, correct?                              3         WAS MARKED BY THE REPORTER
         4   A. Yes.                                                      4         FOR IDENTIFICATION
         5   Q. You agree that your relationship as a consultant does     5   BY MR. HEGARTY:
         6     present a conflict of interest?                            6   Q. I'm going to mark as Exhibit 14 in addition to what we
         7            MS. O'DELL: Object to the form.                     7      had received in connection with that manuscript, but
         8            THE WITNESS: My relationship?                       8      this is the letter with the reviewer comments included.
         9   BY MR. HEGARTY:                                              9   A. Yeah, this is all I received.
        10   Q. Yes, as a consultant does present a conflict of          10   Q. Is Exhibit Number 14 a copy of the letter with the
        11     interest, which is why you included a Conflict of         11      reviewer comments at the end?
        12     Interest Statement, correct?                              12   A. Okay, this is all I received.
        13            MS. O'DELL: Object to the form.                    13   Q. When you say this, you're talking about --
        14            THE WITNESS: We keep going back the same           14   A. The letter.
        15     circles. What's the question?                             15   Q. -- number 14?
        16   BY MR. HEGARTY:                                             16   A. Yeah, the e-mail.
        17   Q. You agree that your relationship with attorneys for      17   Q. The next paragraph in that e-mail, the second paragraph
        18     Beasley Allen presents a conflict of interest that you    18      says that the reviewers have recommended publication
        19     needed to disclose?                                       19      but also suggest some minor revisions to your
        20   A. I disclosed that, yes.                                   20      manuscript. Therefore, I invite you to respond to the
        21   Q. If you would look at the letter on the very back page    21      viewer's comments and revise your manuscript. Do you
        22     again of Exhibit Number 7.                                22      see where I'm reading?
        23            MS. O'DELL: Is the intent of the exhibit to        23   A. Yes.
        24     include all of the communications or just this one?       24   Q. Did you respond to the reviewer's comments?
        25            MR. HEGARTY: Start with this one.                  25   A. Yes.

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                                                  Ghassan Saed, Ph.D.
                                                        Page 162                                                          Page 164
         1   Q. Did you respond to reviewer's comments via e-mail?         1   A. I don't know, I don't know because they -- you write
         2   A. No, you can't do that.                                     2     them, you write them in a space online, and they
         3   Q. How did you respond to viewer's comments?                  3     incorporate them into the manuscript if they agree with
         4   A. So you have to log in to Manuscript Central, you have      4     it, maybe disagree. So they send it to the reviewer,
         5     to go to Revised Manuscript, and you have to include        5     and the reviewer will decide, okay, I like this
         6     highlighted changes in the revised manuscript, and then     6     explanation, add it to the manuscript, or this
         7     you have to submit that to the reviewer one more time.      7     explanation is already in the manuscript, which I
         8   Q. And did you do that in this case?                          8     recall I said to the reviewer, to the editor.
         9   A. Yes.                                                       9   Q. You recall saying to the editor that this -- as to this
        10   Q. Do you still have a copy of the highlighted copy of the   10     comment, it was already in the manuscript?
        11     revisions that you submitted to the reviewers?             11   A. Yes, I said this has been addressed in this section of
        12   A. Yes, and, also, it's in the website for the journal.      12     manuscript; however, this is what we believe the
        13   Q. If you look down at Paragraph 6 of Exhibit 14, it reads   13     molecular mechanism is all about. And he sent it to
        14     when submitting your revised manuscript, you will be       14     the reviewer, and the reviewer will say I agree, go
        15     able to respond to the comments made by the reviewers      15     ahead, accept, or I disagree, I think they should edit,
        16     in the space provided. So is there actually a space        16     or we don't like the whole comment.
        17     provided where you can actually communicate with the       17   Q. Do you still have a copy of your response to this
        18     reviewers?                                                 18     reviewer's comment?
        19   A. (Witness shakes head from side to side.) You can't        19   A. Again, this is done on the website.
        20     communicate with the reviewers.                            20   Q. Is that comment still on the website, to your
        21   Q. Is there any way to respond?                              21     knowledge?
        22   A. I don't know who they are, yes, you have to write your    22   A. I don't know, but I can find it.
        23     response but to the editor, not to the reviewer. I         23   Q. Well, what is the mechanism by which the ovary, and not
        24     don't know who is the reviewer.                            24     the vagina, the cervix, or the endometrium are
        25   Q. So did you write a response to the comments to the        25     susceptible to talc effects, in your opinion?

                                                        Page 163                                                          Page 165
         1     editor?                                                     1   A. So, in my opinion, that talcum powder, talcum particles
         2   A. Correct.                                                   2     go -- transfer, it's an open access for genital use.
         3   Q. And do you still have a copy of that response?             3     When they use it for genital use, it goes into the
         4   A. It's uploaded in the manuscript center, and I do have a    4     ovaries and incorporate into the tissues, and this
         5     copy, yes.                                                  5     continuously induce chronic inflammation that is linked
         6   Q. With regard to the reviewer comments, if you look at       6     strongly and actually the cause of ovarian cancer. Why
         7     the second page of Exhibit 14, the first sentence under     7     other tissues don't get it, there are more than one
         8     Comments and Suggestions, it reads what is the              8     explanation to that if you'd like to hear it.
         9     mechanism by which the ovary and not the vagina, the        9   Q. Well, yeah, because I want to know what you believe to
        10     cervix, or the endometrium are susceptible to talc         10     be the difference in the ovary versus the other organs.
        11     effects? Do you see where I'm reading?                     11   A. Yes. First, cancer is a tissue specific like cervical
        12   A. Yes, sorry.                                               12     cancer, HPV so -- Second is the area in the uterus is
        13   Q. Did you include any explanation in your revised           13     full of secretion, and there is a dilution factor that
        14     manuscript to explain the mechanism by which the ovary     14     kick everything out, whereas if it make it -- if the
        15     and not the vagina and the cervix and the endometrium      15     particles makes it to the ovaries, they sit there
        16     are susceptible talc effects?                              16     indefinitely.
        17   A. It was in the letter and response to the reviewer, to     17   Q. Anything else?
        18     the editor, yes, it was in the form that you submit.       18   A. For now.
        19   Q. Did you revise your manuscript to include such a          19   Q. What about the -- you mentioned, though, the uterus.
        20     discussion about the mechanism by which the ovary and      20     What about the vagina and cervix?
        21     not the vagina, the cervix, or the endometrium are         21   A. What about --
        22     susceptible to talc effects?                               22   Q. Why is the ovary affected and not the vagina and
        23   A. I believe I did, I added three sentences to clarify       23     cervix?
        24     that.                                                      24   A. Shall I repeat that, my answer?
        25   Q. Where in your manuscript are those three sentences?       25   Q. Is it the same reason in your opinion?

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                                                 Ghassan Saed, Ph.D.
                                                        Page 166                                                         Page 168
         1   A. It's the wash, it's the dilution factor, it's the         1     the epithelial ovarian cells to talc?
         2     excretion, it's always excretions, but ovaries are not.    2   A. Chronic inflammation.
         3   Q. And is that opinion somewhere in Exhibit Number 7? You    3   Q. And how is chronic inflammation -- or strike that --
         4     said it already is in the section. In what section is      4     how are epithelial ovarian cells, how do they have
         5     that concept?                                              5     increased sensitivity to chronic inflammation?
         6   A. So the peristaltic travel of the talcum particles into    6   A. So this is what actually made them in the first place.
         7     the ovary has been actually discussed somewhere.           7     It's the fact that they are exposed to continuously
         8   Q. That's over at the bottom of Page 8. Is that the          8     over time with talcum particles, and that created a
         9     portion of the paper that you say already addresses        9     chronic inflammation that actually transformed those
        10     this comment?                                             10     cells and caused the cells to go, the epithelial
        11   A. Yes, part of it.                                         11     ovarian cells to go cancerous with time.
        12   Q. Where else in the manuscript do you address this         12   Q. So, in your opinion, for purposes of your biologic
        13     comment by one of the reviewers?                          13     mechanism for talc causing ovarian cancer, talc must
        14   A. I think this is sufficient, in my opinion, to show       14     reach the ovary, correct?
        15     evidence that there is a transfer of the particles from   15             MS. O'DELL: Object to the form.
        16     the vagina and uterus area and fallopian tube into the    16             THE WITNESS: Not necessarily.
        17     ovaries, that's substantial.                              17   BY MR. HEGARTY:
        18   Q. The next comment reads what do the authors believe is    18   Q. Well, the processes you just described all involve talc
        19     the determining factor for the increased sensitivity of   19     reaching the ovary, correct?
        20     the epithelial ovarian cells to talc? You see where       20   A. No. I said any environment that create chronic
        21     I'm reading?                                              21     inflammation to the ovaries, epithelial ovarian cells,
        22   A. Where is that? Where is it?                              22     normal ones, can or are known to develop this signature
        23   Q. In the second comment that begins --                     23     of pro-oxidant state. We have published that in
        24   A. Oh, the determining factor.                              24     several manuscripts.
        25   Q. What is -- the second comment is what do the authors     25   Q. So, in your opinion, where must talc go to cause the

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         1     believe is the determining factor for the increased        1     inflammation that you say can cause ovarian cancer?
         2     sensitivity of the epithelial ovarian cells to talc?       2            MS. O'DELL: Objection to form.
         3     How did you respond to that comment?                       3            THE WITNESS: Yeah, so I don't know, but what
         4   A. This is the core of the actual, the whole manuscript,     4     I'm saying is the genital use of talcum powder expose
         5     is about chronic inflammation and its link to ovarian      5     the genital tract, the reproductive tract to chronic
         6     cancer.                                                    6     inflammation that, according to our 30 years of
         7   Q. Did you revise your manuscript in response to this        7     studies, is linked and the cause of ovarian cancer.
         8     reviewer comment?                                          8   BY MR. HEGARTY:
         9   A. Yes.                                                      9   Q. Well, where in the genital tract must the chronic
        10   Q. How did you revise the transcript -- I'm sorry -- the    10     inflammation occur to cause ovarian cancer?
        11     manuscript in response to this reviewer comment?          11   A. If the environment is chronic and it has chronic
        12   A. So we took the last part, we cut some words out, it      12     inflammation -- so preferred will be -- the first thing
        13     says wordy --                                             13     will be actual contact, which would be in the ovaries,
        14   Q. I'm not talking about that comment yet.                  14     second would be fallopian tube, and there are many
        15   A. Which comment?                                           15     studies now indicating that the source of epithelial
        16   Q. The determining factor comment.                          16     ovarian cancer come from fallopian tube, and fallopian
        17   A. I told you, you don't need necessarily to agree with     17     tube is very close to the uterus and that close to the
        18     the reviewer comment, you just put it in the -- there's   18     cervix and vagina, so that's an open access in the
        19     a box when you go online, and you just say we believe     19     body.
        20     that the manuscript is all about why ovarian cancer are   20   Q. So you mentioned -- as far as where the chronic
        21     sensitive to inflammation.                                21     inflammation must consider, you mentioned the ovary and
        22   Q. Is that how you responded to this reviewer comment?      22     the fallopian tube. Is there any other organ in the
        23   A. Yes.                                                     23     reproductive tract that you believe if it becomes
        24   Q. So what is your opinion as to what you believe the       24     inflamed due to talc can lead to ovarian cancer?
        25     determining factor is for the increased sensitivity of    25            MS. O'DELL: Object to the form.

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                                                  Ghassan Saed, Ph.D.
                                                        Page 170                                                         Page 172
         1            THE WITNESS: Yeah, I -- no, I understood             1     cancer risk?
         2     your question, but I disagree, that's not what I said.      2   Q. Question is very specific. Can you cite for me any
         3   BY MR. HEGARTY:                                               3     published literature reporting finding chronic
         4   Q. What did you say?                                          4     inflammation in the presence of talc in the fallopian
         5   A. No. So what I said is the use of talcum powder allows      5     tubes or ovaries or the endometrium in women using
         6     talcum particles, according to our research, we added       6     talc?
         7     the particles to the cells, the cells showed                7            MS. O'DELL: Objection to the form.
         8     inflammatory response. So we expect if the talcum           8     Epidemiological studies is what the doctor asked you to
         9     powder enter the genital area, go to -- and I said I,       9     clarify. Is that what you meant?
        10     you know, organized them for you, so the most effect       10            THE WITNESS: Do you --
        11     will be if they are in the ovary, and we already have      11   BY MR. HEGARTY:
        12     evidence, and not just us, every -- all the world know     12   Q. I don't think -- I'm not talking about epidemiologic
        13     now, that acute inflammation does not cause cancer, is     13     studies. I'm talking about can you cite for me any
        14     not linked to cancer, it may initiate cancer, but          14     studies that report finding inflamed tissue in the
        15     chronic inflammation is the real trigger for cancer in     15     presence of talc in women using talc on the perineum?
        16     general and ovarian cancer. And we have shown that all     16            MS. O'DELL: Object to the form.
        17     these redox balance is altered in ovarian cancer cells.    17            THE WITNESS: So your question is any
        18     So the first impact, the highest impact will be if the     18     manuscript, any papers, any papers that cite or discuss
        19     particle is in the ovary, and this has been reported by    19     the presence of inflamed tissues in response to woman
        20     some people, and the second or less degree, less impact    20     using talcum powder.
        21     or longer time, maybe it's the same impact but it's a      21   BY MR. HEGARTY:
        22     longer time probably, all this need to be further          22   Q. Correct.
        23     studied, is in the fallopian tube, and then who knows      23   A. And my answer to you is I don't know any references.
        24     what it does to uterus and cervical area.                  24     What I do know, that there are lots of epidemiological
        25   Q. Well, I thought you said when you responded to the        25     studies that link woman who uses talcum powder are at

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         1     question, the comment that said the mechanism which the     1     increased risk of developing ovarian cancer. That is
         2     ovary and not the vagina, the cervix, or the                2     in the literature everywhere. There are some few
         3     endometrium are susceptible, that this washing keeps        3     molecular work also indicating that this also can cause
         4     those organs from being susceptible. So the                 4     inflammation, oxidative stress, it's out in there.
         5     endometrium is in the uterus, correct?                      5     There are some other molecular works that also shows
         6            MS. O'DELL: Object to the form.                      6     that there is actually gene expression differential,
         7            THE WITNESS: Okay. So the question here              7     gene expression in exposure to talc, and this is
         8     they are asking about mechanisms in the ovaries, so         8     really -- I mean this powder, this particle cause
         9     that's what I responded to.                                 9     biological changes to the cell, so I am not surprised
        10   BY MR. HEGARTY:                                              10     if it does the same inside the genital tract.
        11   Q. Well, do you consider the endometrium to be a             11   Q. The next comment in Exhibit Number 14 says the
        12     susceptible organ to talc in the sense that it can         12     manuscript is wordy and would benefit from an attentive
        13     cause inflammation that can lead to ovarian cancer?        13     reduction, do you see that?
        14   A. Probably.                                                 14   A. I did.
        15   Q. Can you cite for me any published scientific or medical   15   Q. How did you respond to that comment?
        16     article reporting inflammation of the ovaries or           16   A. I agreed, and I shaped some words unnecessary
        17     inflammation of the fallopian tubes or the endometrium     17     references that we have established methodology that we
        18     in women using talc?                                       18     don't need to do, to have.
        19            MS. O'DELL: Object to the form.                     19         SAED DEPOSITION EXHIBIT NUMBER 15,
        20            THE WITNESS: So can I report articles for           20         JANUARY 14, 2019 E-MAIL,
        21     you?                                                       21         WAS MARKED BY THE REPORTER
        22   BY MR. HEGARTY:                                              22         FOR IDENTIFICATION
        23   Q. Yes.                                                      23   BY MR. HEGARTY:
        24   A. There are -- are you talking about gynecological          24   Q. I want to next mark as Exhibit 15 another reviewer
        25     studies that link the use of -- in women to ovarian        25     comment that we were provided. Do you recognize

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                                                  Ghassan Saed, Ph.D.
                                                        Page 174                                                          Page 176
         1     Exhibit 15?                                                 1   BY MR. HEGARTY:
         2   A. This is an e-mail from the editor.                         2   Q. I'm going to mark as Exhibit Number 16 a copy of the
         3   Q. Yes.                                                       3     expert report for you we were provided in this case.
         4   A. Yes, saying that they accepted the manuscript.             4     Is Exhibit Number 16 your expert report in this case?
         5   Q. This is dated January 14, 2019, correct?                   5   A. Yes.
         6   A. Okay.                                                      6   Q. There are large portions of the manuscript that are
         7   Q. Is that right?                                             7     identical to your report, correct?
         8   A. Yes, it says so.                                           8   A. I don't know about large, but based on it, yes.
         9   Q. Then again it -- strike that. Below it says Reviewer:      9   Q. Which was prepared first, the manuscript or the report?
        10     1, correct?                                                10   A. This is November, and the manuscript was September, so
        11   A. Yes.                                                      11     the manuscript was first.
        12   Q. Comments to the author. Well done.                        12   Q. Did you conduct the experiments that are described in
        13   A. Yes.                                                      13     the manuscript for Beasley Allen?
        14   Q. Was there only one reviewer for purposes of your paper?   14   A. Say that again, please.
        15   A. Yes, Reviewer: 1.                                         15   Q. Did you conduct the experiments that are in the
        16   Q. In what I marked as Exhibit Number 15 is Reviewer 1's     16     manuscript for Beasley Allen?
        17     comment after you made changes to your paper?              17            MS. O'DELL: Object to the form.
        18   A. Correct.                                                  18            THE WITNESS: The experiment I did, I did it
        19   Q. So the peer review for this article had one reviewer,     19     in my lab for me.
        20     correct?                                                   20   BY MR. HEGARTY:
        21   A. No, I don't know.                                         21   Q. Was the work that you did on -- in conducting the
        22   Q. Did you get comments back from any other reviewer?        22     experiments and doing the manuscript independent of
        23   A. I review comments, I review manuscripts for many          23     Beasley Allen or any counsel for Plaintiffs?
        24     journals. If you have no comments or if you have good      24            MS. O'DELL: Object to the form.
        25     comments, I don't need to show them.                       25            THE WITNESS: The work that I did in the lab,

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         1   Q. Do you know how many reviewers --                          1     no one has any interference in how it's designed, what
         2   A. No knowledge.                                              2     the method should be used, how to analyze the data, how
         3   Q. Let me finish -- do you know how many reviewers            3     to write the manuscript, all that is all mine.
         4     Reproductive Sciences had for your manuscript?              4            UNIDENTIFIED ATTORNEY: Objection,
         5   A. No.                                                        5     nonresponsive.
         6            MR. HEGARTY: Let's go off the record real            6   BY MR. HEGARTY:
         7     quick. I need to take just a quick break and we'll be       7   Q. Going back to my question, was the experiment you
         8     right back.                                                 8     conducted and the manuscript that you wrote independent
         9            THE VIDEOGRAPHER: Going off the record at            9     of your work with Beasley Allen in this litigation?
        10     2:23 p.m.                                                  10            MS. O'DELL: Objection to the form.
        11            (A short recess was taken.)                         11            THE WITNESS: So I was paid for my time as a
        12            THE VIDEOGRAPHER: We're back on the record          12     consultant, but this work was funded by my lab.
        13     at 2:28 p.m.                                               13   BY MR. HEGARTY:
        14   BY MR. HEGARTY:                                              14   Q. But going back to the experiments that you did and the
        15   Q. Dr. Saed, are there any other communications between      15     manuscript that you wrote, were those separate -- was
        16     you and the editors of Reproductive Sciences that we've    16     that a separate piece of work than what you're doing
        17     not talked about today?                                    17     with Beasley Allen?
        18   A. Not that I'm aware of.                                    18            MS. O'DELL: Object to the form, asked and
        19   Q. Do you know when your article is supposed to be           19     answered.
        20     published?                                                 20            THE WITNESS: Separate means -- what do you
        21   A. I don't know.                                             21     mean by separate?
        22         SAED DEPOSITION EXHIBIT NUMBER 16,                     22   BY MR. HEGARTY:
        23         EXPERT REPORT,                                         23   Q. Separate means unrelated.
        24         WAS MARKED BY THE REPORTER                             24            MS. O'DELL: Object to the form.
        25         FOR IDENTIFICATION                                     25            THE WITNESS: Yeah, we're -- I'm hired as a

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                                                       Ghassan Saed, Ph.D.
                                                                 Page 178                                                   Page 180
         1     witness expert in talc, ovarian cancer and oxidative          1   A. Because the whole news and the whole media is all about
         2     stress, and I am doing work in my lab related to the          2     Johnson & Johnson product.
         3     consulting that what I'm doing with Beasley Allen.            3   Q. Did you choose Johnson's Baby Powder because that
         4   BY MR. HEGARTY:                                                 4     product is in this litigation?
         5   Q. So was the work that you did in doing the tests and          5   A. Not in this litigation, but for me, because of the
         6     preparing the manuscript independent of your                  6     media and all these reports that I've been reading and
         7     relationship with Beasley Allen?                              7     the association of woman using Johnson & Johnson Baby
         8             MS. O'DELL: Objection, asked and answered.            8     Powder with increased risk of ovarian cancer.
         9             THE WITNESS: I still don't understand the             9   Q. Within your lab notebooks, where are the tests that you
        10     independent type.                                            10     conducted with Fisher Scientific talcum powder?
        11   BY MR. HEGARTY:                                                11   A. I can show it to you.
        12   Q. Well, was it done --                                        12   Q. Okay. You're looking at Exhibit Number 2, the lab
        13   A. Can you reformat the question, please.                      13     notebook for the experiments reflected in your --
        14   Q. Well, was that work separate and unrelated to your work     14            MS. O'DELL: I think it's Exhibit 3.
        15     with Beasley Allen?                                          15            THE WITNESS: That's Fisher.
        16             MS. O'DELL: Object to the form.                      16   BY MR. HEGARTY:
        17             THE WITNESS: It was separate, not -- it is           17   Q. I'm sorry. So Exhibit Number 3, which is the lab
        18     related, so I don't know about what separate means, but      18     notebook for the pilot study involved Fisher --
        19     it is related, yes, but in what caliber it's related,        19   A. Correct.
        20     that's what I want to emphasize. They have no saying         20   Q. -- talc?
        21     in any of the work that has been done here.                  21   A. Talc.
        22   BY MR. HEGARTY:                                                22   Q. The only talc tested as reflected in Exhibit Number 2
        23   Q. Would you have done this same work if you were not a        23     is Johnson & Johnson, Johnson's Baby Powder?
        24     consultant for Beasley Allen?                                24   A. This one here, initially we used both, and then we
        25             MS. O'DELL: Object to the form.                      25     stopped using Fisher and we continued using Johnson &

                                                                 Page 179                                                   Page 181
         1               THE WITNESS: I would have done the same type        1     Johnson.
         2      of rigorous testing because this is my primary focus of      2   Q. Is there any reference in -- to testing Fisher talcum
         3      my laboratory, and anything that is related to               3     powder in Exhibit Number 2?
         4      inflammation, oxidative stress, and ovarian cancer, it       4   A. I can't remember.
         5      is what we like to do in our lab.                            5   Q. Well, the first page of your -- strike that.
         6   BY MR. HEGARTY:                                                 6             MS. O'DELL: Just for the record, can we note
         7   Q. Your experiments involved Johnson's Baby Powder,             7     the page it's turned to in Exhibit 3, what page is
         8      correct?                                                     8     that, in the lab notebook?
         9   A. Correct.                                                     9             THE WITNESS: Okay.
        10   Q. Where did you purchase the Johnson's Baby Powder that       10             MS. O'DELL: What page is it turned to?
        11      you used?                                                   11             MR. HEGARTY: It's now on Pages 38 and 39.
        12   A. Walgreen across the street.                                 12             MS. O'DELL: Okay.
        13   Q. Why did you choose to use Johnson's Baby Powder in your     13   BY MR. HEGARTY:
        14      experiment?                                                 14   Q. If you look at Page 5 of your manuscript.
        15   A. Because I want to see if the use of baby powder, talcum     15   A. Methodology?
        16      powder, has any biological effect on ovarian cancer         16   Q. Not of your report, your manuscript, that's Exhibit 7.
        17      cells.                                                      17   A. Page 5.
        18   Q. Why did you choose the Johnson's Baby Powder brand?         18   Q. Page 5.
        19   A. I chose Johnson & Johnson baby powder and I chose           19   A. Okay.
        20      Fisher.                                                     20   Q. At the top you say Treatment of cells. Talcum powder
        21   Q. Why did you choose the Johnson Baby Powder brand versus     21     (Fisher Scientific, Catalog #T4-500, Lot#166820) or
        22      another brand of talcum powder product?                     22     baby powder, then referencing Johnson & Johnson, was
        23   A. I chose Fisher.                                             23     dissolved in DMSO, et cetera. Do you see where I'm
        24   Q. Why did you choose Johnson's Baby Powder over another       24     reading?
        25      commercially available baby powder?                         25   A. Yes.

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                                                  Ghassan Saed, Ph.D.
                                                        Page 182                                                          Page 184
         1   Q. Where in your manuscript do you report the results from    1     Powder?
         2     your tests done on Fisher Scientific talcum powder?         2   A. Okay. So I'm now referring to this, what's this --
         3   A. We didn't. This is for the previous abstracts that we      3   Q. Exhibit 2.
         4     used which is this.                                         4   A. Exhibit 2 and I did --
         5   Q. So none of the data reported in your manuscript was        5            MS. O'DELL: Page --
         6     data from experiments involving Fisher Scientific           6            THE WITNESS: Here sections PCR, I did ELISA.
         7     talcum powder?                                              7            MS. O'DELL: What page does ELISA begin on?
         8   A. In this manuscript, all the data here, as far as I         8            THE WITNESS: 53.
         9     remember, they're all done with Johnson & Johnson.          9            MS. O'DELL: Okay.
        10   Q. Did you run the exact same tests that you report in       10            THE WITNESS: I did -- all labeled here what
        11     your manuscript with Fisher Scientific talcum powder?      11     we did. SNP analysis --
        12   A. No, we only did this with Fisher, which is PCR.           12            MS. O'DELL: What page? Starts --
        13            MS. O'DELL: And what are you pointing to,           13            THE WITNESS: 102.
        14     Doctor, just so the record --                              14            MS. O'DELL: Okay.
        15            THE WITNESS: Which is the preliminary               15            THE WITNESS: I did MTT.
        16     studies that we used to publish for our SRI abstract       16            MS. O'DELL: What page?
        17     which was presented March of 2018. There was only one      17            THE WITNESS: 106. And statistics final. So
        18     component, which is PCR, and some few fact -- and some     18     that's all done with J & J Baby Powder.
        19     few markers. This is -- this was not an extensive and      19   BY MR. HEGARTY:
        20     comprehensive study as the one described here. This is     20   Q. Does Exhibit Number 3 contain all the data of your PCR
        21     just preliminary to show there is an effect or there is    21     tests for Fisher Scientific talcum powder?
        22     no effect.                                                 22   A. Sorry, one more time, please.
        23   BY MR. HEGARTY:                                              23   Q. Does Exhibit Number 3 contain all of the data of your
        24   Q. What prooxidant or anti-oxidant --                        24     PCR tests for Fisher Scientific talcum powder?
        25            MS. O'DELL: It's confusing because you're           25   A. That we reported this abstract at SRI, yes.

                                                        Page 183                                                          Page 185
         1     saying this, but you're referring to Exhibit 3, the         1   Q. In your manuscript you report the enzyme data after 72
         2     study in Exhibit 3.                                         2     hours.
         3           THE WITNESS: This is Exhibit 3?                       3   A. Enzyme?
         4           MS. O'DELL: Yes.                                      4   Q. I'm sorry, the protein data after 72 hours.
         5           MR. FINDEIS: Which page of the exhibit?               5   A. No, I didn't.
         6           THE WITNESS: 3 is --                                  6   Q. What did you report after 72 hours?
         7           MR. FINDEIS: It's open to which page --               7   A. The effect of treatment after 72 hours. That's totally
         8           THE WITNESS: So this is Exhibit 3, Page 38            8     different.
         9     onward.                                                     9   Q. Why did you choose 72 hours?
        10   BY MR. HEGARTY:                                              10   A. It was from a previous paper, one of those two, 72
        11   Q. Which pro-oxidant and anti-oxidant enzyme did you look    11     hours, they did 48 hours, 72 hours, and I picked 72
        12     at involving Fisher Scientific talcum powder?              12     because there is data showing very similar, I can't
        13   A. So they are all listed here. I'll tell you in one         13     remember the reference of it.
        14     second. Catalase.                                          14   Q. In your report you describe the results of your tests
        15           MS. O'DELL: What page?                               15     only up to 48 hours, correct?
        16           THE WITNESS: Page 47, catalase GSR, GPX,             16   A. Where is it, my report --
        17     GST, MPO, nitric oxide, SOD3.                              17   Q. Over on Page 14.
        18   BY MR. HEGARTY:                                              18   A. Page 14.
        19   Q. And you say you only ran --                               19   Q. In the section Treatment of Cells.
        20   A. PCR.                                                      20   A. Where does it say that? Here? Treatment of cells.
        21   Q. And what test did you do beyond PCR with Johnson's Baby   21     Yeah, this is not accurate, 72 hours, this is a typo.
        22     Powder?                                                    22   Q. So you're saying that the reference to 48 hours in
        23   A. Sorry, I just want to make sure that they're all here,    23     Exhibit Number -- what is that marked as, your report?
        24     okay. So, sorry, what's the question?                      24            MS. O'DELL: 16.
        25   Q. What tests did you do besides PCR with Johnson's Baby     25   BY MR. HEGARTY:

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                                                        Page 186                                                         Page 188
         1   Q. 16, so you're saying that the reference to 48 hours in    1     part of your manuscript to 8 through 10. Did counsel
         2     Exhibit Number 16 is incorrect and it should be 72         2     for Beasley Allen provide those references to you?
         3     hours?                                                     3   A. Absolutely not.
         4   A. Correct, because we did all the work with 72 hours.       4   Q. So is it your testimony that you came up with -- that
         5   Q. Did you try other durations that are not reported in      5     you decided on your own to make reference to the
         6     your report or manuscript?                                 6     peristaltic pump in your manuscript?
         7   A. No.                                                       7   A. This is not I decide on my own. This is like a
         8   Q. At the bottom of Page 8 of your manuscript, Exhibit 7.    8     collective reading of my reading throughout the whole
         9   A. Exhibit 7, that's Exhibit 8, oh, I have two, two          9     literature. It's not just -- so the hypothesis that we
        10     manuscripts.                                              10     have been trying to address for the last 30 years of my
        11   Q. 7 and 8 are identical.                                   11     lab is how -- what's the trigger, what's the initiator
        12   A. Okay.                                                    12     for ovarian cancer, and there are many hypotheses out
        13   Q. Bottom of Page 7.                                        13     there, and one of the hypotheses is that something come
        14   A. Page 7.                                                  14     through the genital tract.
        15   Q. You made reference to this before to citing to           15   Q. If you turn to Page 9 in your manuscript, you in the
        16     something called the peristaltic pump; do you see that?   16     first sentence of the second paragraph, you say in this
        17   A. Page 7.                                                  17     study, we have shown beyond doubt that talc alters key
        18   Q. Page 8.                                                  18     redox and inflammatory markers, et cetera. Do you see
        19   A. Oh, sorry, Page 8, I heard 7, sorry. The last            19     what I'm reading?
        20     sentence.                                                 20   A. Yes.
        21   Q. Yes, second to the last line.                            21   Q. Have you ever used the phrase "beyond doubt" before in
        22   A. Feature of uterus, yes.                                  22     any published article of yours?
        23   Q. That reference is not in your expert report.             23   A. I believe I did.
        24   A. This is my paper, okay. So let's see.                    24   Q. Can you cite for me one where you use that phrase?
        25   Q. Right, but my question is that the reference to the      25   A. Not now.

                                                        Page 187                                                         Page 189
         1     peristaltic pump is nowhere in Exhibit Number 16, your     1   Q. It's true, though, that whatever you found and reported
         2     expert report. Why did you not include that in your        2     in your article was under the conditions of your
         3     expert report?                                             3     experiment, correct?
         4   A. Is it not included? I don't know, I trust you.            4             MS. O'DELL: Object to the form.
         5             MS. O'DELL: Take a look.                           5             THE WITNESS: Can you --
         6             THE WITNESS: Let me take a look. So Number         6   BY MR. HEGARTY:
         7     8 is -- this is the manuscript, where are the              7   Q. Everything you describe in this manuscript occurred
         8     references? So do I have the references here?              8     under the conditions of your experiments, correct?
         9   BY MR. HEGARTY:                                              9             MS. O'DELL: Object to the form.
        10   Q. I'll represent, Doctor, that it's not in there. Do you   10             THE WITNESS: So occurred means -- okay, so
        11     recall when you came across a reference to this phrase    11     my response to this, all the experiments that has been
        12     the peristaltic pump?                                     12     performed here, they were performed according to the
        13             MS. O'DELL: Objection to the form.                13     standard protocols that we have extensively published
        14             THE WITNESS: Okay, sorry.                         14     with.
        15   BY MR. HEGARTY:                                             15   BY MR. HEGARTY:
        16   Q. Yes, you do you recall when in the writing process for   16   Q. The statement that you make there is based on the
        17     your manuscript you came across a reference to this       17     results of your cell studies, correct?
        18     thing called a peristaltic pump?                          18   A. My cell studies, yes.
        19             MS. O'DELL: Objection to form.                    19   Q. It's not based on any data from in vivo studies,
        20             THE WITNESS: If I recall where I read this        20     correct?
        21     manuscript, this reference?                               21             MS. O'DELL: Objection, form.
        22   BY MR. HEGARTY:                                             22             THE WITNESS: There is no need.
        23   Q. Yes, and when.                                           23   BY MR. HEGARTY:
        24   A. No, I don't remember.                                    24   Q. That's not my question. My question is those
        25   Q. Were you -- strike that. You made references at that     25     statements are not based on any in vivo data, correct?

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         1            MS. O'DELL: Object to the form.                      1   BY MR. HEGARTY:
         2            THE WITNESS: So those, again, those results,         2   Q. What published literature reports finding the same
         3     the result, no, this is -- this is what we have shown       3     things you report in this study in an animal model?
         4     in this manuscript, that's not my opinion of the whole      4   A. Not the same things, similar things.
         5     situation. So this -- the basis of the sentence is --       5   Q. I'm asking --
         6     came from the results, the experiments that we did that     6   A. Same exact?
         7     we described here.                                          7   Q. I'm asking can you cite for me any published literature
         8   BY MR. HEGARTY:                                               8     reporting the same findings that you report in this
         9   Q. Those results have not been shown in any in vivo           9     article in an in vivo model?
        10     situation, whether it's human or animal, correct?          10             MS. O'DELL: Object to the form.
        11            MS. O'DELL: Object to the form.                     11             THE WITNESS: Again, I repeat the same thing,
        12            THE WITNESS: Similar outcome have been shown        12     I say I have seen work that has been done in vivo using
        13     in -- before, yes.                                         13     animals, different type of animals, that show an
        14   BY MR. HEGARTY:                                              14     association of talcum powder to increased risk of
        15   Q. Well, cite for me the published articles reporting the    15     ovarian cancer. My work that has been done here in
        16     same results that you got in an in vivo model.             16     cell lines is not many laboratory have done this in
        17            MS. O'DELL: Objection, form.                        17     ovarian cancer because this is our specialty, this is
        18            THE WITNESS: There was no any in vivo               18     what we do. So we don't have -- part of it is done
        19     studies done at the molecular level. This is -- my         19     probably like oxidative stress as collective like, for
        20     study was the first comprehensive study that actually      20     example, some manuscripts, they measure hydrogen
        21     does that.                                                 21     peroxide as a marker of oxidative stress, so for
        22   BY MR. HEGARTY:                                              22     experts in oxidative stress, you need to do more than
        23   Q. What you found was in cell cultures.                      23     just that. So I have seen in animals where there are
        24   A. These are ovarian cancer cells from patients.             24     some biological effects in vivo.
        25   Q. These are not ovarian cancer cells -- these are not       25

                                                        Page 191                                                          Page 193
         1     normal ovarian cancer cells, correct?                       1   BY MR. HEGARTY:
         2   A. Some are, yes.                                             2   Q. I'm talking about the biological effects you report in
         3   Q. Well, they've been immortalized, correct?                  3     your manuscript.
         4   A. The normal variance they have been immortalized.           4   A. Which include some of this.
         5     They're sold as such.                                       5   Q. What literature can you cite for me that has shown
         6   Q. The data that you report in your manuscript has never      6     these same biological effects in an in vivo model?
         7     been reported in an in vivo situation, correct?             7            MS. O'DELL: Object to the form.
         8            MS. O'DELL: Object to the form.                      8   BY MR. HEGARTY:
         9            THE WITNESS: So, again, using -- I have seen         9   Q. The same biological effects you report in your
        10     reports in vivo in animals that have shown the             10     manuscript.
        11     association of the talc with inflammation, yes.            11            MS. O'DELL: Object to the form, asked and
        12   BY MR. HEGARTY:                                              12     answered.
        13   Q. I'm talking about the very results that you report in     13            THE WITNESS: I guess I'm not understanding
        14     your study --                                              14     the question because, again, these are cell lines from
        15   A. I don't think anybody did them.                           15     ovarian cancer patients, and doing work with cell lines
        16            MS. O'DELL: Let him finish.                         16     is the closest you can get to in vivo. If there is
        17            MR. HEGARTY: Let me finish the question.            17     work that has been done to depict all the work I have
        18            MS. O'DELL: Let me object.                          18     done here, this is none, to my knowledge, but there are
        19   BY MR. HEGARTY:                                              19     reports that clearly indicates an in vivo effect.
        20   Q. You cannot cite to any published literature showing the   20   BY MR. HEGARTY:
        21     same results that you found in your cell studies in any    21   Q. What reports are you referring to?
        22     in vivo model, animal or human, correct?                   22   A. Animal studies.
        23            MS. O'DELL: Object to the form.                     23   Q. Cite for me the author or name of the animal studies
        24            THE WITNESS: I have seen in animals, yes.           24     you're referring to.
        25                                                                25            MR. DONATH: Move to strike, nonresponsive.

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                                                 Ghassan Saed, Ph.D.
                                                        Page 194                                                         Page 196
         1              THE WITNESS: So, yeah, I think I referenced       1     rats and mice, not the ovaries, correct?
         2     some animal studies work here. Let's see. This is the      2   A. No, it was summarize a review of everything, the actual
         3     manuscript? I'm trying to find references. Yes.            3     study, yes.
         4     Where is that paper? I can't remember this. I know         4   Q. The NTP didn't look at ovarian cancer, correct?
         5     it's in the report. Yeah, it's right here, sorry. I        5   A. I'm not sure. I read from that study that they have
         6     know I referenced it here.                                 6     summary, summary, and somewhere there I read that there
         7   BY MR. HEGARTY:                                              7     was in vivo association of the talcum powder use with
         8   Q. How much more time do you need, Doctor?                   8     ovarian cancer. So that's called reference reference.
         9   A. It's been a while, so I need to find out exactly where    9   Q. Your report --
        10     this is, but I know it's here. So it is some cited in     10   A. May I add something? I also read it somewhere else, I
        11     reference 50, but that's not the author -- that's not     11     cannot remember right now.
        12     the original reference, this is a cross-reference.        12   Q. Your report in your manuscript say that you in your
        13   Q. You said cited in 50?                                    13     experiments found genotype switches at 72 hours; is
        14   A. Number 50, but that's a cross-reference, if I recall     14     that correct?
        15     correctly.                                                15   A. Genotype switches, what are you referring to?
        16   Q. You need more time?                                      16             MS. O'DELL: What page?
        17   A. I do. I'm trying to look for it.                         17   BY MR. HEGARTY:
        18   Q. Let's go off the record.                                 18   Q. You report in your manuscript.
        19              THE VIDEOGRAPHER: Going off the record at        19   A. Which particular --
        20     2:57 p.m.                                                 20   Q. Well, let me ask you about your manuscript. Did your
        21             (An off-the-record discussion was held.)          21     manuscript report genotype switches at 72 hours?
        22              THE VIDEOGRAPHER: Back on the record at 2:59     22   A. The effect of talcum 72 hours induced SNP in genetic
        23     p.m.                                                      23     mutations.
        24   BY MR. HEGARTY:                                             24   Q. And do you claim that those genetic mutations occurred
        25   Q. Doctor, when we went off the record momentarily you      25     in all cells treated with talc, in your experiments?

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         1     were going through your references in your report to       1   A. There is a table actually that summarize the results,
         2     identify any in vivo animal models that you claim show     2     and it doesn't show it with all markers, so we can
         3     the same results that you report in your manuscript.       3     refer to it, so if you look, for example --
         4     Can you cite for us the publications that you contend      4             MS. O'DELL: What figure?
         5     show the same results as your manuscript in an animal      5             THE WITNESS: The figure Table 2, if you look
         6     model?                                                     6     at GSR, GSR no effect, SOD3 no effect, catalase there
         7            MS. O'DELL: Object to the form.                     7     is an effect in some cells, not others, you can see
         8            You may answer.                                     8     that A2780 has no effect, the talc treatment.
         9            THE WITNESS: So I am responding that I read         9   BY MR. HEGARTY:
        10     in some references and reviews that there was an in       10   Q. But with regard to the cells that it did have an
        11     vivo animal studies that showed association of talcum     11     effect, SKOV-3, for example, with regard to --
        12     powder use with increased risk of ovarian cancer in       12   A. SKOV with regard to catalase, for example, has no
        13     animal models, and the reference for that is in the NTP   13     effect.
        14     studies.                                                  14   Q. With regard to --
        15   BY MR. HEGARTY:                                             15   A. TOV112 with catalase there is an effect.
        16   Q. That study did not measure the pro-oxidant and           16   Q. And was that effect in all the cells tested with talc?
        17     anti-oxidant markers that you measure in your study,      17             MS. O'DELL: Object to the form.
        18     correct?                                                  18             THE WITNESS: I don't understand your
        19   A. They talk about oxidative stress in general,             19     question.
        20     inflammation in general.                                  20   BY MR. HEGARTY:
        21   Q. But they don't -- that study doesn't measure the         21   Q. Well, don't you -- do you contend that those genotype
        22     pro-oxidant or anti-oxidant markers that you report in    22     changes occurred in all cells treated with talc?
        23     your study, correct?                                      23   A. I didn't say that.
        24   A. That study, no.                                          24   Q. Did that happen?
        25   Q. The NTP study concerned findings in the lungs of the     25   A. No. What I'm saying is if you treat the cell line,

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                                                  Ghassan Saed, Ph.D.
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         1     okay, TOV112, with talc for 72 hours, there will be an      1   Q. What do you mean when you say induces significant
         2     increase, an acquisition of this mutation. Now, you're      2     changes? What does that mean, what does the word
         3     asking if I determined whether all cells in that            3     significant there mean?
         4     population got this mutation.                               4   A. Got you. So this means marginal change, it's not --
         5   Q. Correct.                                                   5     here the words does not imply statistically significant
         6   A. The answer is I don't know.                                6     is that you're referring to, although the results were
         7   Q. Are you able to determine the quantity of cells -- let     7     statistically significant, this is referring to the
         8     me back up. How many cells are in the culture?              8     magnitude.
         9   A. Yeah, so this is DNA extracted from 1 million cells        9   Q. And how do you define -- how did you define the
        10     treated with 100 microgram per ml of talcum powder.        10     magnitude as significant?
        11     Now, there is another way you can quantitate if we need    11   A. You don't, many readers assume significant is
        12     to proceed further with this.                              12     statistically significant.
        13   Q. Are you able to estimate the volume of cells that this    13   Q. Was the choice of the word significant a subjective
        14     genotype switch occurred in?                               14     word choice by you?
        15            MS. O'DELL: Object to the form.                     15   A. I chose this word because it applies that there is a
        16            THE WITNESS: The volume?                            16     significant effect which I know it is.
        17   BY MR. HEGARTY:                                              17   Q. And when you say significant effect, what do you mean?
        18   Q. Yes, the number.                                          18   A. I mean both marginal and statistically significant.
        19            MS. O'DELL: Object to form.                         19   Q. What does it mean to have a marginal effect?
        20            THE WITNESS: I just said, no, we can't.             20   A. Marked like, for example, it is not like 1 versus 1.35,
        21     This technique will tell you yes or no, doesn't tell       21     it is 1 versus 3, that's mean marginal.
        22     you how much -- how many, sorry.                           22   Q. You say about the middle of that paragraph that in all
        23   BY MR. HEGARTY:                                              23     talc treated cells, do you see where I'm reading?
        24   Q. So would it tell you, yes, if it -- (coughing in          24   A. Yes.
        25     room) -- only one of the 1 ml cells?                       25   Q. There was a significant dose-dependent increase in

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         1             MS. O'DELL: Object to the form.                     1     pro-oxidants iNOS, nitrate/nitrite, and MPO with a
         2             THE WITNESS: Again, this is not                     2     concomitant decrease in anti-oxidants CAT, SOD, GSR,
         3     quantitative. This will tell you if there is a              3     and GPX. Do you see where I'm reading?
         4     mutation or there is no mutation.                           4   A. Yes.
         5   BY MR. HEGARTY:                                               5   Q. What do you mean when you use the phrase significant
         6   Q. Without regard to the number of cells the mutation         6     there?
         7     occurred in?                                                7   A. It is indicated by the P value, so once you have the P
         8             MS. O'DELL: Objection to the form.                  8     value, that's -- indicates statistically significant.
         9             THE WITNESS: Okay. I will repeat myself             9   Q. And when you say an increase and a decrease as compared
        10     again. This is -- this technique will tell you if          10     to what?
        11     there are population of cells that acquired this           11   A. To untreated. It says all talc treated cells.
        12     genotype.                                                  12   Q. There is no data that correlates your findings and your
        13   BY MR. HEGARTY:                                              13     experiments to ovarian cancer risk in humans, correct?
        14   Q. Does it tell you the number of such a population?         14             MS. O'DELL: Objection, form.
        15   A. I just said no.                                           15             THE WITNESS: One more time, please.
        16   Q. If you look at Page 2 of your abstract, I'm sorry, your   16   BY MR. HEGARTY:
        17     manuscript, the abstract, looking at the Abstract          17   Q. Sure. There is no data that correlates your findings
        18     Section, second line towards the end, you say here         18     in this manuscript to ovarian cancer risk in women,
        19     we've demonstrated that talc induces significant           19     correct?
        20     changes in key redox enzymes and enhances the              20             MS. O'DELL: Objection to form.
        21     pro-oxidant state in normal and EOC cells.                 21             THE WITNESS: So my data explain, explain and
        22   A. Where are you reading? Sorry.                             22     actually classify and characterize epithelial ovarian
        23   Q. The second line, towards the end of the second line.      23     cancer cells to have a pro-oxidant state, and we were
        24   A. Towards the end of the second line -- here, yes, I see    24     the first lab to actually demonstrate that epithelial
        25     it I see it.                                               25     ovarian cancer cells manifest a pro-oxidant state by

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                                                        Page 202                                                         Page 204
         1     increasing in these pro-oxidants that we have here and     1   BY MR. HEGARTY:
         2     decreasing the anti-oxidant that we studied. So this       2   Q. And that's been recognized to be associated in a genome
         3     is a -- I have written a review article about this, I      3     wide significantly way?
         4     have written a book chapter about this, this is the        4             MS. O'DELL: Object to the form.
         5     major focus of my lab is to characterize the ovarian       5             THE WITNESS: I don't know what you mean by
         6     cancer cells as a pro-oxidant, that they manifest a        6     genome wide.
         7     pro-oxidant state and we characterize it.                  7   BY MR. HEGARTY:
         8   BY MR. HEGARTY:                                              8   Q. Well, you're familiar with what the --
         9   Q. There is no data showing that these increases or          9   A. SNP is --
        10     decreases increase the risk of ovarian cancer in women,   10   Q. -- GWAS --
        11     correct?                                                  11   A. Yes.
        12             MS. O'DELL: Objection to form.                    12   Q. -- the GWAS study is, correct? Are you familiar with
        13             THE WITNESS: Okay, so there are data that --      13     that?
        14     recent data that showing, for example, I'll give you an   14             MS. O'DELL: Would you repeat the question?
        15     example, myeloperoxidase is a marker of inflammation.     15     I couldn't hear it.
        16     My lab was the first lab in the entire world to report    16   BY MR. HEGARTY:
        17     that myeloperoxidase is expressed by epithelial ovarian   17   Q. I asked him if he's familiar with what GWAS is.
        18     cancer cells, although this marker is only supposed to    18   A. Yes.
        19     be a myeloid marker, which is a blood marker, a blood     19   Q. What is it?
        20     cells marker, not a nonmyeloid. Several reports later     20   A. It's the genome wide association where they list all
        21     they confirm my finding, and not only that, other labs    21     the SNPs and their frequency of occurrence and their
        22     have just -- they reported that the SNP that we use       22     what they call it -- frequency of occurrence in general
        23     here, it is correlated with increased risk of ovarian     23     population.
        24     cancer, that's reported. That's number one.               24   Q. And what SNPs in your manuscript have been associated
        25             Another example, SOD, catalase, those two         25     by the GWAS studies with ovarian cancer?

                                                        Page 203                                                         Page 205
         1     enzymes and one more -- okay, but for those two, I know    1   A. So this, okay, we're mixing up two things. I need to
         2     for a fact that their SNPs has also been reported to be    2     clarify this. So the GWAS, they identify the SNP.
         3     associated with increased risk of ovarian cancer in        3     Then investigators after the SNP has been identified by
         4     human, so that's for the genotype.                         4     the GWAS, they pick that SNP and they say, hmm, there's
         5            For the markers, there are several studies in       5     a lab that published that myeloperoxidase in ovarian --
         6     the literature that talk about alteration of oxidative     6     in epithelial ovarian cancer where it's not supposed to
         7     stress and inflammation in ovarian cancer. Our lab,        7     be there, well, let's do this study where we see if
         8     other labs have published, repeatedly published this,      8     this SNP is indeed associated with increased risk of
         9     so this is, as far as I'm concerned, this is a fact for    9     ovarian cancer. So that's not part of the GWAS study.
        10     me, we have documented this, others documented this,      10     They use the GWAS study information like I did it.
        11     and to confirm my work with a report from a different     11   Q. That's not my question, Doctor. My question is which
        12     lab saying there is this myeloperoxidase SNP minus        12     of the SNPs that you report in your manuscript have
        13     463AA correlates with increased risk of ovarian cancer,   13     been shown to be associated with ovarian cancer by the
        14     and we have this to be the genotype that changes in       14     GWAS studies?
        15     talc powder, that's incredible to me.                     15            MS. O'DELL: Objection to form.
        16   BY MR. HEGARTY:                                             16            THE WITNESS: I just said what I have to say.
        17   Q. Identify the SNPs that you report in your manuscript     17   BY MR. HEGARTY:
        18     that have been shown to have reached genome wide          18   Q. Well, none of the SNPs that you referred to in your
        19     significance of association with ovarian cancer.          19     manuscript have been identified by the GWAS studies as
        20   A. Risk.                                                    20     being associated with ovarian cancer risk, correct?
        21            MS. O'DELL: Object to form.                        21            MS. O'DELL: Object to the form.
        22            THE WITNESS: Risk, so the minus, the same          22            THE WITNESS: No, it's not correct because I
        23     SNP that we use here, minus 63, 463, which is the MPO     23     repeat again, the GWAS have no responsibility to tell
        24     SNP, this SNP is recognized to be associated with         24     you, they don't do studies looking at association.
        25     increased risk of ovarian cancer in a human.              25     They just list SNP and prevalence in general

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         1     population, very clear.                                     1     you reference in your manuscript and ovarian cancer.
         2   BY MR. HEGARTY:                                               2            MS. O'DELL: Object to the form.
         3   Q. So it's your contention that the GWAS, the genome wide     3            THE WITNESS: So I'm not -- I am objecting to
         4     significance of association doesn't list SNPs that are      4     the word statistically significant, but I can identify
         5     associated with ovarian cancer?                             5     several studies that, for example, looking at catalase
         6            MS. O'DELL: Object to the form.                      6     SNP and its association with increased risk of ovarian
         7            THE WITNESS: What I'm saying is, to my               7     cancer, myeloperoxidase SNP and its association with
         8     understanding, GWAS is an information bank where you go     8     increased risk of ovarian cancer, there was one more
         9     and you say, okay, there is -- there exists a catalase      9     I'm skipping, and so those two were definitely there.
        10     SNP, which is this SNP, this specific sequence that is     10   BY MR. HEGARTY:
        11     present in .01 percent of general population. Above        11   Q. Why do you object to my use of the phrase statistical
        12     that will be characterized as risk factor. So now in       12     significance?
        13     the GWAS they identified the MPO SNP, the catalase SNP,    13   A. Because I am not sure if they did -- they did molecular
        14     the SOD SNP, all SNPs that it's like an information        14     study or they did a different type of study, so I'm
        15     bank where you go to to find your information and then     15     just, you know, not familiar with the epidemiological
        16     you go and study them. I study them, others study          16     studies that they performed.
        17     them, different labs can study them, but they do it for    17   Q. Well, cite for me any studies that show, as you say, an
        18     us. It's like the gene sequencing bank, it's the same      18     association between MPO or CAT and ovarian cancer.
        19     thing, same concept, protein sequence bank. I don't        19            MS. O'DELL: Object to the form.
        20     need necessarily to go and sequence the whole thing to     20            THE WITNESS: MPO?
        21     understand, it's already sequenced for me.                 21   BY MR. HEGARTY:
        22   BY MR. HEGARTY:                                              22   Q. Yes.
        23   Q. What does it mean for a SNP to reach genome wide          23   A. The MPO SNP?
        24     significance?                                              24   Q. Yes.
        25   A. So there is a cutoff that they have in their website to   25   A. That's what we're talking about?

                                                        Page 207                                                          Page 209
         1     each based on epidemiological studies that there is         1   Q.  Yes.
         2     association, if it increased over this level, it could      2   A.  Yes, I can cite.
         3     be associated with diseases.                                3   Q.  Cite for me a study.
         4   Q. Which of the SNPs that you reference in your manuscript    4   A.  I don't remember it now, but there is study.
         5     have been associated with ovarian cancer, in other          5   Q.  Did you cite it in your manuscript?
         6     words, which have reached genome wide significance?         6   A.  I believe so. Let's talk -- let's see about where we
         7             MS. O'DELL: Object to the form.                     7     talk about SNP. Okay, were the first to do this --
         8             THE WITNESS: I can answer this. I know for          8     sorry -- I would be very happy to provide you with
         9     a fact it's catalase, not only ovarian but also in          9     these references that I mentioned, MPO and catalase and
        10     breast cancer, and they are twins.                         10     the SNP in ovarian cancer.
        11   BY MR. HEGARTY:                                              11   Q. Can you cite for me here today any studies associating
        12   Q. Any others?                                               12     catalase or MPO with ovarian cancer?
        13   A. I'm not -- I can't remember the actual -- for me, the     13             MS. O'DELL: Object to the form. You mean
        14     GWAS was an information bank where I get my -- the         14     the SNP?
        15     information I need to perform the studies, like me and     15             THE WITNESS: I can't remember where I put
        16     others in the same situation.                              16     it.
        17   Q. Cite for me any published literature that is              17   BY MR. HEGARTY:
        18     associated -- that has shown a clinical significant        18   Q. How much time do you need to look, Doctor?
        19     association between the SNPs that you reference in your    19   A. See, I write this every day so I get so overwhelmed.
        20     paper and ovarian cancer.                                  20   Q. Let's go off the record.
        21   A. I'm sorry, one more time.                                 21   A. So we're looking for catalase SNP for --
        22             MS. O'DELL: Object to the form.                    22             MS. O'DELL: Stay on, if you're -- do you
        23   BY MR. HEGARTY:                                              23     need more time, Doctor, or are you --
        24   Q. Identify for me any published literature that shows a     24             THE WITNESS: I'm trying to find it in my --
        25     statistically significant association between the SNPs     25             MR. HEGARTY: Let's go off the record.

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         1             THE WITNESS: I mean I may not even reference        1     am -- if you define lead author as corresponding author
         2     it here so I don't know.                                    2     or first author?
         3             THE VIDEOGRAPHER: Going off the record at           3   Q. First author.
         4     3:23 p.m.                                                   4   A. Is Dr. Belotte, he was an M.D., Ph.D. trained in my
         5            (An off-the-record discussion was held.)             5     laboratory. I was his Ph.D. advisor.
         6             THE VIDEOGRAPHER: We're back on the record          6   Q. What year? What is the year of the article?
         7     at 3:26 p.m.                                                7   A. Oh, sorry, 2015.
         8   BY MR. HEGARTY:                                               8   Q. What is the name of the article?
         9   Q. Doctor, when we went off the record I asked you for any    9   A. Single Nucleotide Polymorphism in Catalase is Strongly
        10     studies associating catalase or MPO with ovarian           10     Associated With Ovarian Cancer Survival.
        11     cancer. You've had a chance to look for such studies,      11   Q. So that article doesn't have anything to do with
        12     and what is your response?                                 12     ovarian cancer initiation, correct?
        13   A. So there's one study by Olson, et al., that was           13            MS. O'DELL: Object to the form.
        14     published in Gynecology Oncology 2004.                     14            THE WITNESS: Is that another question?
        15   Q. How do you spell his first name?                          15   BY MR. HEGARTY:
        16   A. O-l-s-o-n, and it's looking at SOD and MPO SNP. There     16   Q. Yes.
        17     is an increased risk of ovarian cancer. I couldn't         17   A. Saying --
        18     find the catalase one, but it is there, I can search       18   Q. In that article, it associated catalase with ovarian
        19     for it, it is hundred percent there. There is another      19     cancer survival, correct?
        20     one looking at Superoxide dismutase published in JBC       20   A. Uh-huh.
        21     Journal by Yumin, et al.                                   21   Q. It didn't associate catalase with causing ovarian
        22   Q. How do you spell that?                                    22     cancer, correct?
        23   A. Y-u-m-i-m, Hu, H-u. And there is one more which is        23            MS. O'DELL: Object to the form.
        24     about catalase if you -- SNP.                              24            THE WITNESS: So in this article what we did,
        25   Q. What is the date of the Yumin article?                    25     we actually, this is -- we identified the SNP and

                                                        Page 211                                                          Page 213
         1   A. What's the data?                                           1     catalase that others also identified, and we looked at
         2   Q. What's the date?                                           2     the presence of the SNP in chemoresistance versus
         3   A. Oh, the date, I'm sorry. Can I look?                       3     sensitive looking at different parameters, and we
         4   Q. Yes.                                                       4     actually reversed the SNP using the CRISPR editing,
         5   A. So the date was 2005.                                      5     gene editing, and we induced apoptosis, so there was
         6   Q. And then you believe there's an article that associates    6     like a survival mechanism.
         7     catalase to ovarian cancer?                                 7   BY MR. HEGARTY:
         8   A. Yes.                                                       8   Q. Doctor, the article you actually cite and which you
         9   Q. You can't recall that article sitting here today?          9     included as an author found that with regard to the
        10   A. I have it here, it's Catalase Nucleotide SNP Strongly     10     seven selected SNP study, no association -- you found
        11     Associated With Ovarian Cancer, this is by -- from our     11     no association with ovarian cancer risk, correct?
        12     lab and from another lab, also.                            12            MS. O'DELL: Object to the form.
        13   Q. What is the -- who is the first author?                   13            THE WITNESS: Which article you talking
        14   A. From my lab?                                              14     about?
        15   Q. Well, you said --                                         15   BY MR. HEGARTY:
        16   A. This second one, the second one is by -- so this is our   16   Q. The article with the lead author Belotte, Belotte.
        17     paper, and there's one here.                               17   A. Jimmy Belotte, okay, what about it?
        18   Q. When you say our paper, who's the lead author?            18   Q. Your article looked at CAT, CYBA, GPX1, GSR, MnSOD,
        19   A. Okay. Can I just tell you the paper? So this is           19     MPO, and NOS2, correct?
        20     published in -- it says The Effect of Catalase SNP and     20   A. Yes.
        21     Susceptibility to Ovarian Cancer, and this is by --        21   Q. You found doing the same kind of testing you did here
        22     published in -- doesn't -- it's in 2017, and it doesn't    22     that none of those SNPs was associated with ovarian
        23     tell me the journal, Journal of Obstetrics and             23     cancer risk, correct?
        24     Gynecology, Volume 38, 2018, Issue 4.                      24            MS. O'DELL: Object to the form.
        25            And going back to your previous question, I         25            THE WITNESS: No.

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         1            MS. O'DELL: Excuse me. Object to the form.          1     that it? And it's also in your notebook at 34 if you
         2     If you need to see the paper --                            2     both need it so.
         3            THE WITNESS: Yeah, it's been a while but --         3            THE WITNESS: Can I look at it?
         4            MS. O'DELL: If you need to see the paper.           4   BY MR. HEGARTY:
         5         SAED DEPOSITION EXHIBIT NUMBER 17,                     5   Q. Yes, go ahead and look at 34.
         6         RESEARCH ARTICLE,                                      6   A. I can't remember if we did the same SNP in both
         7         WAS MARKED BY THE REPORTER                             7     studies, so I just want to make sure that we did that,
         8         FOR IDENTIFICATION                                     8     because there are several SNPs for the same enzyme
         9   BY MR. HEGARTY:                                              9     reported in the GWAS.
        10   Q. I marked as Exhibit 17 the paper.                        10   Q. How long will it take you to look at -- you did the
        11   A. Very good.                                               11     same SNPs in the Belotte article as you did here?
        12   Q. Show me in that paper where you found an association     12   A. I have to look at the accession numbers and compare
        13     with the listed SNPs and ovarian cancer risk.             13     them.
        14   A. Okay. So there is no -- this study we looked at, this    14   Q. Well, we'll maybe get to that, but my question goes
        15     particular SNP and catalase that we found, the other we   15     back to your reference on Page --
        16     found that they are not associated with survival, so      16            MS. O'DELL: 34.
        17     this study was basically looking at survival of ovarian   17            MR. HEGARTY: Your reference to that article
        18     cancer. So this is not a study meant to study risk.       18     on Page 11 of your manuscript, you quote that article
        19            MR. KLATT: Objection, nonresponsive.               19     as saying that you examined several selected known gene
        20   BY MR. HEGARTY:                                             20     mutations corresponding to SNPs known to be associated
        21   Q. If you look over at Page 11 of your manuscript.          21     with altered enzyme activity and increased cancer risk.
        22            MS. O'DELL: Which page --                          22     What part of that Belotte article shows that the SNPs
        23            MR. HEGARTY: It's Exhibit 7.                       23     that you examined are associated with increased cancer
        24            MS. O'DELL: Well, he just has one manuscript       24     risk?
        25     in his hand. Do you know where we are, Doctor?            25            THE WITNESS: So if you look at the table,

                                                       Page 215                                                          Page 217
         1            THE WITNESS: Page 11 --                             1     Page 3, Dr. Belotte's article, there is a table here
         2   BY MR. HEGARTY:                                              2     that lists what is the SNP, what is the mean allele
         3   Q. Yes, Page 11. The first sentence of the third             3     frequency occurrence, the chromosomal equation, and if
         4     paragraph beginning To Elucidate the Mechanism, do you     4     it is known nucleotide switch, and the effect of
         5     see that?                                                  5     activity. So there are SNPs that affect activity of
         6   A. Yes.                                                      6     the enzymes, and if they do, they are, according to our
         7   Q. You state later in that sentence, we have examined        7     findings, they are associated with anything that alters
         8     selected known gene mutations corresponding to SNPs        8     oxidative stress to the pro-oxidant state can
         9     known to be associated with altered enzymatic activity     9     contribute to increased risk.
        10     and increased cancer risk. Do you see where I'm           10   BY MR. HEGARTY:
        11     reading?                                                  11   Q. But you in your paper, Exhibit 17, say that the SNPs
        12   A. To elucidate the mechanism, that paragraph?              12     you studied showed no association with ovarian cancer
        13   Q. Yes.                                                     13     risk, correct?
        14   A. Okay.                                                    14   A. Which one?
        15   Q. And at the end of that sentence you cite Reference 28.   15   Q. The Belotte paper.
        16   A. Okay.                                                    16   A. Oh, keep saying what paper.
        17   Q. And Reference 28 is that Belotte article, correct?       17   Q. You look at the abstract.
        18   A. 28 is Belotte, yes.                                      18   A. So, again, we're looking at specific SNPs.
        19   Q. Can you hand me the Belotte article back, please.        19   Q. Correct.
        20   A. (Witness complied.)                                      20   A. Right, so --
        21   Q. In the Belotte article you say of the seven selected     21   Q. And in the specific --
        22     SNPs studied, no association with ovarian cancer risk     22   A. Some of the SNPs that we looked at when we did this
        23     was found. That's what you found, correct, Doctor?        23     study, they were associated with survival of ovarian
        24            MS. O'DELL: Objection to form. If you need         24     cancer, that's what we tested.
        25     to see Belotte -- do you have another copy, Mike, or is   25   Q. None of the SNPs --

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         1            MR. KLATT: Nonresponsive.                            1     with it.
         2   BY MR. HEGARTY:                                               2             MS. O'DELL: It is not.
         3   Q. Doctor, you also examined whether the SNPs reported in     3             MR. KLATT: He's perfectly entitled to look
         4     this study were associated with ovarian cancer risk,        4     things up to answer them, but it doesn't count against
         5     correct, not just survival?                                 5     our time.
         6            MS. O'DELL: Objection, form.                         6             MS. O'DELL: He's not looking things up.
         7            THE WITNESS: Give me a moment to see, to             7     He's looking at the exhibit that had been placed before
         8     refresh my memory. This is 2015, so I need to remember      8     him.
         9     what we did. I have done many work.                         9             THE COURT REPORTER: Excuse me --
        10   BY MR. HEGARTY:                                              10             (Simultaneous crosstalk.)
        11   Q. How much time do you need to study that article?          11             MS. O'DELL: We are on the record.
        12   A. Just -- okay, so in this study we only did survival,      12             And, Doctor, if you are prepared to respond
        13     the Jimmy Belotte study, this is my -- yeah, so this       13     to the question, you may do so. If you need a minute,
        14     here we only did analysis of survival.                     14     let us know that.
        15   Q. Doctor, if you turn over to Page 6 of that article at     15   BY MR. HEGARTY:
        16     the very bottom, third from -- third line from the         16   Q. How much time do you need to review the article,
        17     bottom, you write that currently we demonstrated that      17     Doctor?
        18     there is no association between the selected SNPs and      18   A. I'm just asking you, please, where do you see in Table
        19     risk of developing ovarian cancer, citing Table 2,         19     2.
        20     those are your words, correct?                             20   Q. I'm referring to your words at the bottom of Page 6
        21   A. Yeah, Table 2 is, let's see --                            21     that's referring over to Table 2, and I'm asking you is
        22            MS. O'DELL: What were you reading?                  22     it your testimony that you did not investigate the
        23            MR. HEGARTY: The bottom of Page 6 of 12.            23     association in this paper between these SNPs and
        24            THE WITNESS: Yeah, I see that.                      24     ovarian cancer risk, is that your testimony?
        25                                                                25             MS. O'DELL: Are you quoting a sentence?

                                                        Page 219                                                          Page 221
         1   BY MR. HEGARTY:                                               1     What sentence are you referring to?
         2   Q. Doctor, is it your testimony that in this study you did    2            MR. HEGARTY: I'm not -- you're not taking
         3     not investigate whether the SNPs listed in Table 2 were     3     this deposition of me. I'll let my question stand.
         4     associated with ovarian cancer risk?                        4            MS. O'DELL: Object to the form of the
         5            MS. O'DELL: Object to the form.                      5     question, it's unclear. If there's a specific sentence
         6            THE WITNESS: Let me just look at this,               6     you're referring to in the manuscript, you said bottom
         7     sorry.                                                      7     of Page 6, so if there's something you're referring to,
         8            MR. HEGARTY: Let's go off the record.                8     I'd ask you direct the witness to it.
         9            MS. O'DELL: He's just looking at the table.          9   BY MR. HEGARTY:
        10     Ask him a question, he's entitled --                       10   Q. Can you answer my question, Doctor?
        11            MR. HEGARTY: Let's go off the record.               11            MS. O'DELL: Object to the form.
        12            MS. O'DELL: No, we're not.                          12            THE WITNESS: Where is the -- can you
        13            MR. HEGARTY: We're going off the record.            13     please --
        14            MS. O'DELL: No, we're not.                          14   BY MR. HEGARTY:
        15            MR. KLATT: We're going to call Judge Pisano.        15   Q. Bottom of Page 6 for the second time.
        16            MS. O'DELL: Wait a minute. Let me speak.            16   A. Yes.
        17     If you ask the doctor about his manuscript, he is not      17   Q. I'm reading this to you, it says currently we
        18     required to have put to memory every word and table in     18     demonstrated that there is no association between the
        19     the manuscript. If you ask him about something, he is      19     selected SNPs and risk of developing ovarian cancer,
        20     entitled to look at it and reply completely. And to        20     Table 2. Do you see that?
        21     somehow suggest if he takes more than 15 seconds we're     21   A. Yes.
        22     going off the record, that's ridiculous.                   22   Q. Is it your testimony that this article did not
        23            MR. KLATT: It's every single time he's asked        23     investigate an association between the selected SNPs
        24     a question, he wants to look something up. This is         24     and ovarian cancer risk?
        25     slow walking the deposition, we're not going to put up     25   A. In this study that we did with this number of people

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         1     that we looked at, we found, okay, that the only           1     answer it again.
         2     catalase SNP is associated with ovarian cancer             2            MS. O'DELL: You can go ahead and finish.
         3     survival, none of the other SNPs were associated from      3            Stop interrupting.
         4     these patients to increased risk of ovarian cancer.        4            THE COURT REPORTER: I cannot take
         5   Q. Right.                                                    5     everybody --
         6   A. We only did 143, I believe, 94.                           6            MS. O'DELL: Here's my objection. The
         7   Q. So the sentence that I read to you on Page 11 of your     7     witness is being interrupted while he's trying to
         8     manuscript it's citation 28 is wrong, correct?             8     respond to the question, and so if there's a question
         9            MS. O'DELL: Objection to form.                      9     pending the doctor is trying to answer, you cannot
        10            THE WITNESS: What's the citation?                  10     interrupt him.
        11   BY MR. HEGARTY:                                             11            MR. HEGARTY: Well, the record's going to
        12   Q. Well, you support the sentence that says we have         12     speak for itself as far as his nonresponsiveness to my
        13     examined selected known gene mutations corresponding to   13     question.
        14     SNPs known to be associated with altered enzymatic        14            MS. O'DELL: Were you finished with your
        15     activity and increased ovarian cancer risk citing 28.     15     answer?
        16     28 doesn't support a finding that the SNPs you tested     16            MR. HEGARTY: I withdrew the question.
        17     show increased ovarian cancer risk, correct?              17            MS. O'DELL: Were you finished with your
        18            MS. O'DELL: Object to the form.                    18     answer?
        19            THE WITNESS: What we -- again, this --             19            THE WITNESS: So what I'm trying to tell you,
        20     what -- the SNPs that we are used here in this study,     20     I cannot remember that we did the same exact SNP in
        21     they were used in response to test the effect of talc     21     Jimmy Belotte study and this study.
        22     treatment, talcum powder treatment to the genetic -- to   22   BY MR. HEGARTY:
        23     the specific genetic mutations. Now, we link survival     23   Q. That was not my question. My question is specific to
        24     to risk, so, for example, if you look, most of our        24     this study.
        25     hypothesis --                                             25   A. To the Jimmy Belotte study.

                                                        Page 223                                                         Page 225
         1   BY MR. HEGARTY:                                              1   Q. Correct.
         2   Q. I object to it's nonresponsive. Doctor, you're not        2   A. Yes.
         3     answering my question. I'm going to withdraw the           3   Q. And reading from your study in the abstract, starting
         4     question.                                                  4     on the third line it says we sought to evaluate the
         5            MS. O'DELL: Don't cut him off if he's               5     association of SNPs in key oxidant and anti-oxidant
         6     finishing --                                               6     enzymes with increased risk in survival in epithelial
         7            MR. HEGARTY: He's not finishing, he's               7     ovarian cancer. So you agree in this study that you
         8     answering something else.                                  8     looked at certain specific SNPs with regard to
         9            MS. O'DELL: He's trying to answer your              9     increased risk of ovarian cancer, correct?
        10     question.                                                 10   A. Those SNPs, yes.
        11            MR. HEGARTY: I withdrew the question.              11   Q. You found from your study that those SNPs were not
        12            Listen to my question, Doctor. Does the            12     associated with increased ovarian cancer risk, correct?
        13     Belotte paper show that the SNPs you looked at are        13   A. Correct.
        14     associated with increased cancer risk?                    14            MS. O'DELL: Object to the form.
        15            THE WITNESS: Ovarian cancer risk.                  15            THE WITNESS: Correct.
        16   BY MR. HEGARTY:                                             16   BY MR. HEGARTY:
        17   Q. Ovarian cancer risk.                                     17   Q. Can you cite for me any study that has shown the SNPs
        18   A. So what I'm trying to tell you, according to this        18     you report, you discuss in your manuscript to occur in
        19     paper, we only tested limited number of patients.         19     women using talc?
        20   Q. Listen to my question.                                   20            MS. O'DELL: Object to the form.
        21   A. And I'm not sure, I'm answering, trying to answer.       21            THE WITNESS: That the SNP that we used in
        22   Q. You're not answering the question. I'm going to          22     this study --
        23     withdraw the question.                                    23   BY MR. HEGARTY:
        24   A. Can I finish?                                            24   Q. In the manuscript.
        25   Q. I'm going to withdraw the question. I'm going to         25   A. In the manuscript, any of these SNPs has been

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         1     associated with woman using talc?                          1            THE WITNESS: So other than the similarities
         2   Q. Correct.                                                  2     in the mechanism, direct link with woman who use
         3   A. I don't know.                                             3     specific talc on that day, I don't know.
         4   Q. Can you report -- can you cite for me any studies         4   BY MR. HEGARTY:
         5     showing the enzyme activity that you report to have        5   Q. Let's take a break.
         6     occurred with application of talc use to be in women       6            THE VIDEOGRAPHER: We're going off the record
         7     using talc?                                                7     at 3:49 p.m.
         8            MS. O'DELL: Object to the form.                     8            (A short recess was taken.)
         9            THE WITNESS: So if other people have done           9            THE VIDEOGRAPHER: We're back on the record
        10     the same work that I did with samples from woman who      10     at 4:05 p.m.
        11     got ovarian cancer and they used talc?                    11   BY MR. HEGARTY:
        12   BY MR. HEGARTY:                                             12   Q. Doctor, in looking at your manuscript again Page 13,
        13   Q. Can you cite for me any study showing your findings as   13     I'm sorry, in looking at your report, sorry, Page 13,
        14     to decrease in the expression of anti-oxidant enzymes     14     you describe the cell lines that you use for purposes
        15     and the increased expression in pro-oxidant enzymes in    15     of your experiments, is that correct?
        16     women using talc?                                         16   A. In the cell lines section?
        17            MS. O'DELL: Object to the form.                    17   Q. Yes.
        18            THE WITNESS: I can cite to you several             18   A. Yes.
        19     studies that have indicated the pro-oxidant state and     19   Q. Which of those cell lines -- strike that. What sub
        20     the anti-oxidant state in several human, animal, in       20     type of ovarian cancer are these cells?
        21     vitro studies of cells with ovarian cancer.               21   A. Sorry. Unknown.
        22   BY MR. HEGARTY:                                             22   Q. You don't know whether they're high grade, serous,
        23   Q. That's not my question. My question, Doctor, is can      23     endometrioid, mucinous, clear cell?
        24     you cite for me any studies showing your findings as to   24            MS. O'DELL: Object to the form.
        25     decrease in the expression of anti-oxidants and the       25            THE WITNESS: When we purchased these cell

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         1     increase expression of pro-oxidants in women using talc    1     lines from ATCC, they have described them where they
         2     on their bodies?                                           2     isolated from and what's the patient and all that, but
         3             MS. O'DELL: Object to the form.                    3     I can't remember exactly which one is which.
         4             THE WITNESS: I don't know.                         4   BY MR. HEGARTY:
         5   BY MR. HEGARTY:                                              5   Q. So are any of these cell lines or have any of these
         6   Q. Can you cite for me any study showing the results --      6     cell lines been qualified as high grade serous ovarian
         7     showing any of the results in your manuscript to           7     cancer cell lines?
         8     occur -- to have occurred in women applying talc to        8             MS. O'DELL: Object to the form.
         9     their bodies?                                              9             THE WITNESS: I can't remember.
        10             MS. O'DELL: Object to the form.                   10   BY MR. HEGARTY:
        11             THE WITNESS: So let's go back. I have --          11   Q. You say that your experiments used what you call --
        12     this is important. Good question. My answer is            12     well, you say immortalized human fallopian tube
        13     simple. The fact that you -- that talc has been shown     13     epithelial cells FT33, is that right?
        14     to elicit a molecular response, that is same response     14   A. FT33, yes.
        15     that you get in the pro-oxidant state that has been       15   Q. Those, as you note in your paper, are immortalized cell
        16     published by many people in ovarian cancer, that is, to   16     lines, correct?
        17     my understanding, link talcum powder to increased risk    17   A. Correct.
        18     of ovarian cancer.                                        18   Q. And such cell lines are considered abnormal or
        19   BY MR. HEGARTY:                                             19     precancerous, isn't that correct?
        20   Q. Object as nonresponsive. Listen to my question,          20   A. Not necessarily.
        21     Doctor. My question is can you cite for me any studies    21   Q. Well, they were modified to essentially live forever,
        22     showing the findings you report in your manuscript or     22     correct?
        23     in your expert report in this case to have occurred or    23   A. No, it's not correct.
        24     been reported in women using talc on their bodies?        24   Q. Well --
        25             MS. O'DELL: Object to the form.                   25   A. They're modified so they can be consistent.

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         1   Q. But normal cells are not immortalized cells, correct?     1             THE WITNESS: So, again, I said one of the
         2   A. Correct.                                                  2     cell lines, I can't remember which, is from high grade,
         3   Q. And to immortalize a cell, you have to fundamentally      3     high serous grade. The others are not clearly
         4     change the cell, correct?                                  4     identified by the ATCC information provided. But that
         5   A. Not correct.                                              5     was not my point of my research. My point of my
         6   Q. Well, you typically have to induce something like the     6     research is to see does talcum powder induces or alter
         7     SV40 DNA tumor virus, correct?                             7     oxidative stress markers that we know and we have
         8   A. Correct.                                                  8     published in several documents that is associated with
         9   Q. And that alters the makeup of the cells, correct?         9     ovarian cancer.
        10   A. Not necessarily.                                         10   BY MR. HEGARTY:
        11   Q. Well, it essentially shuts off, for example, the P53     11   Q. Can you cite for me any data showing that the
        12     cell, P53 marker, correct?                                12     concentrations of exposure that you used in your
        13   A. Oncogene.                                                13     experiments are similar or the same as would be
        14   Q. Oncogene, correct? And these cells carry essentially a   14     occurring in women using talc on the perineum?
        15     functional equivalent of four critical oncogenes,         15   A. I can't tell you that.
        16     oncogenic mutations in tumor suppression pathways that    16   Q. Can you cite for me any data that shows that the level
        17     have been implicated in ovarian carcinogenesis,           17     of concentration of talc that you used in your cell
        18     correct?                                                  18     studies has ever occurred in women applying talc to
        19   A. Let me explain to you, I have been conducting research   19     their bodies?
        20     all my career using primary cultures of cells             20             MS. O'DELL: Object to the form.
        21     established from -- fresh from patient tissues as well    21             THE WITNESS: My response to this is I
        22     as immortalized cell lines. The problem with using        22     consider, according to my studies, I consider talc
        23     primary cultures, the results cannot be reproduced,       23     powder to be carcinogenic, and in my understanding of
        24     because if you passage the cells, they change their       24     biology of cancer, there is no minimum threshold beyond
        25     phenotype with passages, so researcher agreed upon this   25     which you are protected from developing cancer. Every

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         1     is the best utility that you have in vitro, that you       1     time you're exposed to the insult. It's like
         2     can use immortalized cell lines, at least they are         2     radiation, it is a accumulative, it is registered in
         3     all -- their machinery of gene expression is controlled    3     your body; that's my opinion.
         4     and it's consistent and reproducible with passages.        4   BY MR. HEGARTY:
         5   Q. Did you do anything to correlate the cell lines you       5   Q. So your opinion is that one particle of talc is enough
         6     used to, for example, serous ovarian cancer cells in       6     to cause inflammation to lead to ovarian cancer?
         7     vivo?                                                      7   A. I did not say that.
         8             MS. O'DELL: Object to the form.                    8   Q. Well, how much talc must there be introduced in vivo to
         9             THE WITNESS: Yeah, so from patients, this is       9     cause ovarian cancer?
        10     our -- my next interest to do, to go -- I have            10   A. I don't know.
        11     extensive experience and expertise in isolating primary   11   Q. At what -- strike that. What data shows that a woman
        12     cultures at zero passages from patients' tissues,         12     using talc will have the same level of talc exposure to
        13     blood, and the fluid, and it is in my mind to do          13     her ovarian cells or fallopian tube cells as you used
        14     further testing of talcum powder and see if we can        14     in your experiments?
        15     reproduce the effect on those cells.                      15            MS. O'DELL: Object to the form.
        16   BY MR. HEGARTY:                                             16            THE WITNESS: So when you want to test the
        17   Q. When you say those cells, what do you mean?              17     effect of any substance in the biology of the body, you
        18   A. The primary freshly established cells from different     18     always start with cell cultures, cell lines, so this is
        19     histotypes of ovarian cancer.                             19     pretty accepted standard. Now, the amount of exposure
        20   Q. Did you do anything --                                   20     in cell lines, because it's direct and it is an
        21   A. Because this is not available commercially.              21     isolated environment, it is definitely not -- does not
        22   Q. Did you do anything to establish that the cell lines     22     correlate with the in vivo and how much you will get
        23     you were looking at are, for example, high grade          23     with that exposure. The answer is I don't know how
        24     serious ovarian cancer cell lines?                        24     much a woman need to be exposed and for how long to
        25             MS. O'DELL: Object to the form.                   25     develop ovarian cancer in response to talcum powder

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         1     use. But what I do know, talcum powder induces -- is a      1   A. The blood of woman with ovarian cancer.
         2     carcinogenic and induces similar response to the            2   Q. No studies have reported those same results in the
         3     profile that we see in pro-oxidant state that we            3     blood of women who do not have ovarian cancer but are
         4     extensively characterize in studies in ovarian cancer       4     using talc on their bodies, correct?
         5     in our laboratory and others.                               5   A. One more time.
         6   BY MR. HEGARTY:                                               6           MS. O'DELL: Object to the form.
         7   Q. It induces -- talc induces a similar response to the       7   BY MR. HEGARTY:
         8     profile that you see in pro-oxidant state in the cell       8   Q. No studies have reported those same results in the
         9     cultures that you experimented, correct, experimented       9     blood of women who do not have ovarian cancer that are
        10     with, correct?                                             10     using talc on their bodies, correct?
        11            MS. O'DELL: Object to the form.                     11   A. I don't know.
        12            THE WITNESS: We and others have reported,           12   Q. When you say you don't know, what do you mean?
        13     for example, there was a report showing that patients      13   A. I don't know if there are studies. So you talking --
        14     with ovarian cancer, their blood is contain high levels    14     are you referring to the study -- I'm only referring to
        15     of pro-oxidants, so that's an indication that ovarian      15     patients with ovarian cancer, blood, their blood have
        16     cancer -- as a result of getting ovarian cancer your       16     high oxidants. Now, if normal, talk about normal
        17     blood is -- have high levels of oxidants that we           17     people with normal woman with no ovarian cancer, they
        18     characterized. And there are many other studies that       18     have -- I don't know, if they use talc they will have
        19     have shown that -- in vivo that there is an association    19     higher level of oxidants, maybe that's something we
        20     between oxidative stress and the risk of developing        20     need to do.
        21     ovarian cancer.                                            21   Q. You don't know -- you're not aware of any data showing
        22   BY MR. HEGARTY:                                              22     high oxidant levels in women using talc who do not have
        23   Q. But none of those studies have shown those effects in     23     ovarian cancer?
        24     women using talc, correct?                                 24   A. I would be very much interested to do it.
        25   A. I don't know.                                             25   Q. You're not aware of any such studies?

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         1   Q. You don't know of any such studies?                        1   A. No.
         2   A. I don't know if those studies included in their            2   Q. Can you can cite for me anyone in the scientific
         3     population women that who have used talc or not.            3     community who has accepted that talcum powder causes
         4   Q. You can't site for me any studies that have shown the      4     ovarian cancer by the mechanism that you refer to in
         5     levels of pro-oxidant or anti-oxidant states that you       5     your report?
         6     report in your papers in women using talc, correct?         6   A. Give names?
         7            MS. O'DELL: Object to the form.                      7   Q. Yes.
         8            THE WITNESS: I just answered you.                    8   A. The co-authors of my manuscript.
         9   BY MR. HEGARTY:                                               9   Q. Anyone else?
        10   Q. And the answer is no?                                     10   A. I'm not aware, this is a very recent study.
        11   A. No, no, I just -- my previous answer is the same.         11   Q. Is it your testimony that the scientific community has
        12   Q. Which is what?                                            12     accepted your opinion as establishing the causal
        13   A. Which I said oxidative -- there have been shown that in   13     mechanism between talc and ovarian cancer?
        14     the blood of a woman with ovarian cancer, there is an      14             MS. O'DELL: Object to the form.
        15     elevated levels of oxidants, and we're saying that if      15             THE WITNESS: My opinion is not out there
        16     talcum powder induces oxidative stress, alter oxidative    16     yet, it's -- this is -- the manuscript is still under
        17     levels and redox balance by increasing oxidants and        17     press, it's in press so it's not really out for the
        18     decreasing anti-oxidants, according to our data, that      18     readers.
        19     is an indication that it is doing -- manifesting the       19   BY MR. HEGARTY:
        20     pathogenesis of ovarian cancer.                            20   Q. You agree that the medical community has not generally
        21   Q. The studies you're referring to --                        21     accepted that talc use causes ovarian cancer?
        22            MR. KLATT: Objection, nonresponsive.                22             MS. O'DELL: Object to the form.
        23   BY MR. HEGARTY:                                              23             THE WITNESS: That they accept --
        24   Q. The studies you're referring to have been reported to     24   BY MR. HEGARTY:
        25     have occurred in women with ovarian cancer, correct?       25   Q. Yes.

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         1   A. Which community you talking about?                        1     ovarian cancer is in a hypothesis is a cause and
         2   Q. Well, I'm talking about the medical community.            2     effect. My opinion is based on that.
         3   A. The doctors?                                              3   Q. Are the methods that you used to reach those opinions
         4   Q. Doctors.                                                  4     published anywhere?
         5   A. Researchers?                                              5   A. The method that we used to do -- to test the effect of
         6   Q. Researchers.                                              6     talcum powder on reactive oxygen species, oxidative
         7           MS. O'DELL: Object to the form.                      7     stress, and inflammation is very basic methodology --
         8   BY MR. HEGARTY:                                              8     let me finish, please -- basic methodology that is
         9   Q. You agree that the medical community, doctors and         9     known since early 70s or even mid 70s, some of it,
        10     researchers, have not generally accepted that talc use    10     ELISA is a very well method, very standard method, we
        11     causes ovarian cancer?                                    11     and others use this all the time. PCR is another well
        12           MS. O'DELL: Object to the form.                     12     established method. Every single study now you see PCR
        13           THE WITNESS: I don't know, I really don't           13     all over the places. So what the methodology that we
        14     know if they do or not.                                   14     employed here is really standard methodology, and I'm
        15   BY MR. HEGARTY:                                             15     really surprised that this work that has not been done
        16   Q. You include in your report, in particular in the         16     till now.
        17     summary of your report over on Page 20, in Paragraphs 5   17   Q. Are your opinions based solely on the experiments that
        18     and 6 that use of Johnson's Baby Powder can cause         18     you did that are set out in your manuscript?
        19     ovarian cancer, and in Paragraph 6 can worsen the         19            MS. O'DELL: Object to the form.
        20     prognosis of patients with ovarian cancer, correct?       20            THE WITNESS: My opinion is based on the data
        21   A. Correct.                                                 21     from this manuscript and this work that I did and,
        22   Q. By what methodology did you use to come to those         22     also, in published literature that identify the
        23     opinions?                                                 23     pattern, the signature of pro-oxidants in ovarian
        24   A. Okay. So I have to distinguish between opinions versus   24     cancer.
        25     conclusion from results. So here I cite my personal       25

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         1     opinion. Now, my personal opinion is based on my data      1   BY MR. HEGARTY:
         2     that I got here. The data that I tested, my                2   Q. The opinions that you set out in Paragraphs 5 and 6
         3     methodology that I used, and the results of this study     3     have never been published in the peer-reviewed
         4     strongly divert -- pushed my opinion towards this.         4     literature, correct?
         5   Q. My question is a little bit different, Doctor. By what    5   A. My opinion?
         6     published methodology did you use to reach your            6            MS. O'DELL: Object to the form.
         7     causation opinions in this case?                           7   BY MR. HEGARTY:
         8            MS. O'DELL: Objection, asked and answered.          8   Q. Yes. The opinions in Paragraphs 5 and 6 have never
         9   BY MR. HEGARTY:                                              9     been published in the peer-reviewed literature,
        10   Q. For example, are you familiar with the Bradford Hill     10     correct?
        11     factors or criteria?                                      11            MS. O'DELL: Object to the form.
        12   A. Okay, so are you referring to epidemiological studies?   12            THE WITNESS: I don't understand published
        13   Q. No, let me back up. Have you ever heard of the           13     means.
        14     Bradford Hill factors?                                    14   BY MR. HEGARTY:
        15   A. No.                                                      15   Q. Well, published in peer-reviewed literature.
        16   Q. Is there -- can you cite for me any published            16   A. As what, as a manuscript?
        17     methodology that you used to look at the data, look at    17   Q. In any format. You have never set out the opinions in
        18     your experiments, and come to the opinions that you set   18     Paragraphs 5 and 6 in any public --
        19     out in the summary of your report?                        19   A. So I read this somewhere else?
        20   A. Yes. I just said to you that based on my results and     20   Q. Somewhere else.
        21     my previous finding, previous publications with other     21   A. I never read this somewhere else.
        22     publications from other laboratories, that all agreed     22   Q. So you have never provided your opinions to any of your
        23     that a factor that causes inflammation and alter these    23     peers in any published article, correct?
        24     signature factors, the signature for reactive oxygen      24            MS. O'DELL: Object to the form.
        25     species the way it does it for -- that simulates          25            THE WITNESS: That's very general. What do

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         1     you mean?                                                   1   BY MR. HEGARTY:
         2   BY MR. HEGARTY:                                               2   Q. By you.
         3   Q. Well, my question is the opinions you said in              3   A. My opinion?
         4     Paragraphs 5 and 6 have never been published anywhere,      4   Q. Yes.
         5     correct?                                                    5   A. Has never been -- I never said this before, this
         6            MS. O'DELL: Object to the form.                      6     study --
         7            THE WITNESS: No. What I'm saying is these            7   Q. Correct.
         8     are my own, my own opinion, my own writing, writing.        8   A. -- is that what you're saying?
         9     If someone stole this and published it, I'm not aware       9   Q. Before your report.
        10     of that, but this is my language, my words, my opinion,    10   A. About specifically talc and ovarian cancer?
        11     and this is based, as I told you and as I mentioned, on    11   Q. Yes.
        12     my data and the results of this study as well as what      12   A. Yes.
        13     is known for the strong link of ovarian cancer and         13   Q. And you never said in any other writing that use of
        14     oxidative stress.                                          14     baby powder worsens the prognosis for patients with
        15   BY MR. HEGARTY:                                              15     ovarian cancer?
        16   Q. Listen to my question. You have never published the       16   A. I didn't write about this subject prior to starting
        17     opinions of yours set out in Paragraphs 5 and 6 of your    17     these experiments.
        18     report, correct?                                           18   Q. Even in your manuscript, you don't include the opinion
        19            MS. O'DELL: Object to the form.                     19     that talcum powder use causes ovarian cancer, correct?
        20            THE WITNESS: I have published that ovarian          20   A. You cannot include opinions in manuscripts.
        21     cancer is characterized and ovarian cancer cells           21   Q. That's not my question. My question is that your
        22     manifest a pro-oxidant state, I have published that --     22     manuscript does not include your opinion that talcum
        23   BY MR. HEGARTY:                                              23     powder use causes ovarian cancer, correct?
        24   Q. Nowhere have you --                                       24   A. I answered you.
        25   A. -- that can lead to a mechanism to identify --            25             MS. O'DELL: Object to the form.

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         1     actually, we did identify a pathogenesis, a mechanism       1   BY MR. HEGARTY:
         2     that involves these specific pro-oxidants to be unique      2   Q. Am I correct?
         3     mechanism of survival in ovarian cancer.                    3            MS. O'DELL: Object to the form.
         4   Q. Nowhere have you published in any literature that talc     4            THE WITNESS: Excuse me, one more time. I
         5     use can cause ovarian cancer, correct?                      5     said in manuscripts you are not allowed to publish to
         6   A. Previous to this study?                                    6     draw opinions, in manuscripts you're allowed to draw
         7   Q. This study -- your report has not been published,          7     conclusions, so conclusions are different than
         8     correct?                                                    8     opinions. Conclusions are based solely on the results.
         9   A. No.                                                        9     Opinions, you can say it, if you say it, then if they
        10   Q. It's not been peer reviewed, correct?                     10     accept it, it's fine, but opinions are based on not
        11   A. No, my report? No.                                        11     just the study but your opinion in it, too, based on
        12   Q. What you say in your report that Johnson's Baby Powder    12     your expertise.
        13     exposure can cause ovarian cancer has never been           13   BY MR. HEGARTY:
        14     published in the medical literature, correct?              14   Q. Move to strike as nonresponsive. Doctor, listen to my
        15            MS. O'DELL: Object to the form.                     15     question.
        16            THE WITNESS: My report has not published            16   A. I'm trying.
        17     yet.                                                       17   Q. Your manuscript does not include your opinion that baby
        18   BY MR. HEGARTY:                                              18     powder exposure can cause ovarian cancer, you don't say
        19   Q. The opinions in your report that talcum powder exposure   19     that in your manuscript, correct?
        20     can cause ovarian cancer have never been published,        20            MS. O'DELL: Object to the form.
        21     correct?                                                   21            THE WITNESS: I have to look in my
        22            MS. O'DELL: Object to the form, by him or           22     manuscript.
        23     others?                                                    23   BY MR. HEGARTY:
        24            THE WITNESS: Okay. By me?                           24   Q. Doctor, you can't tell me sitting here today --
        25                                                                25   A. I'm sorry, I can't remember everything I wrote.

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                                                 Ghassan Saed, Ph.D.
                                                        Page 246                                                          Page 248
         1   Q. Listen to my question.                                     1   A. What I know is CA-125 is accepted, it's the only
         2   A. Okay.                                                      2     accepted marker because that's the only one available,
         3   Q. Does your manuscript say that Johnson's Baby Powder        3     although not specific to ovarian cancer, but we use it
         4     exposure can cause ovarian cancer?                          4     for preliminary following up treatment and diagnosis.
         5   A. In this specific language?                                 5     You can, you know, I can defer to a clinician to answer
         6   Q. Yes.                                                       6     more about that, but what I know is that it is not
         7   A. I have to look.                                            7     specific to ovarian cancer, endometriosis can increase
         8   Q. Okay. How about do you have to look --                     8     levels of CA-125, some other inflammatory can do that.
         9   A. Because you're asking me -- it's not fair, you're          9   Q. Doctor, listen to my question. My question was that no
        10     asking me for a specific language, and I am saying, I'm    10     studies have correlated CA-125 levels with ovarian
        11     answering back saying that my opinion, it does. Based      11     cancer risk, correct?
        12     on the results in my manuscript, I concluded that it       12            MS. O'DELL: Object to the form.
        13     will -- it has increased risk of ovarian cancer, yes,      13            THE WITNESS: Again, I told you, I'm not an
        14     somewhere. I have to read. That's what I'm saying. I       14     expert in CA-125 and its clinical utility. What I'm
        15     don't remember where I did that.                           15     trying to tell you is that CA-125 is a marker that
        16   Q. Okay.                                                     16     clinician, OB-GYN oncologist, use to help them diagnose
        17   A. I have to go and refer to the manuscript. Is that         17     and follow up the effect of -- the efficacy of
        18     fair?                                                      18     treatment. Now, this molecule is a marker of
        19   Q. In Paragraph 6, what do you mean when you say Johnson's   19     inflammation, and we and our results shows clearly that
        20     Baby Powder exposure worsens the prognosis for patients    20     talcum powder can induce this inflammatory marker that
        21     with ovarian cancer?                                       21     has been clinically used by clinicians to help them
        22   A. Oh, we're still here? I'm sorry, where --                 22     diagnose and, more importantly, follow up the efficacy
        23   Q. Paragraph 6 in your report.                               23     of treatment.
        24   A. Oh, my report now?                                        24   BY MR. HEGARTY:
        25   Q. On Page 21.                                               25   Q. Dr. Listen, to my question. I'll ask a different

                                                        Page 247                                                          Page 249
         1   A.  21?                                                       1     question. CA-125 is used only in monitoring disease
         2   Q.  Yes.                                                      2     progress in women who have ovarian cancer, correct?
         3   A.  Okay, yes, so same, same discussion.                      3   A. I don't know if that's the only use of it.
         4   Q.  Listen to my question. My question is what do you mean    4   Q. It's not used to diagnose ovarian cancer, correct?
         5     that Johnson's Baby Powder exposure worsens the             5   A. I don't know. I'm not a clinician. I really don't
         6     prognosis for patients with ovarian cancer?                 6     know.
         7   A. Can I answer?                                              7   Q. It's not used to determine the cause of ovarian cancer,
         8   Q. Yes.                                                       8     is it?
         9   A. Okay. So based on our results here, we have shown that     9   A. I don't know, you can ask. I defer these questions to
        10     there is a dose response effect of talcum powder on        10     a physician, OB-GYN oncologist who can answer you. I
        11     these key markers of oxidative stress. That's my           11     am a biological chemist, I'm molecular biologist. I
        12     answer.                                                    12     will answer you within my expertise.
        13   Q. And how do those key -- strike that.                      13   Q. CA-125 is not used to determine whether women have an
        14   A. Dose response.                                            14     inflammatory process going on in their bodies, correct?
        15   Q. What is the measure that you apply for worsening the      15             MS. O'DELL: Object to the form.
        16     prognosis of ovarian cancer?                               16             THE WITNESS: If the levels of CA-125 is
        17   A. Is increasing redox balance -- reactive oxygen species,   17     increased in a woman, my understanding, this is a
        18     tilting the balance, adding more inflammatory markers      18     strong indication to an inflammatory process going on,
        19     with time with exposure.                                   19     yes.
        20   Q. You make reference in your paper to CA-125, when I say    20   BY MR. HEGARTY:
        21     your paper I'm talking about your report and in your       21   Q. You're talking about in women who have ovarian cancer?
        22     manuscript, correct?                                       22   A. It is also increased in women with, yes, with ovarian
        23   A. Correct.                                                  23     cancer.
        24   Q. No studies have correlated CA-125 levels with ovarian     24   Q. CA-125 is not used to diagnose whether inflammation is
        25     cancer risk, correct?                                      25     going on in women who do not have ovarian cancer?

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                                                  Ghassan Saed, Ph.D.
                                                         Page 250                                                         Page 252
         1             MS. O'DELL: Object to the form.                     1     results in further inhibition of apoptosis and increase
         2             THE WITNESS: Ask the OB-GYN oncologist.             2     of survival -- apoptosis, cell death, cell death.
         3   BY MR. HEGARTY:                                               3   Q. Doctor, listen to my question. Can you cite for me any
         4   Q. If you look at your manuscript over at Table 2.            4     other substances that have ever been reported to cause
         5   A. Okay.                                                      5     these kinds of mutations after 72 hours of treatment in
         6   Q. What is the mechanism by which talc causes the SNP         6     cell cultures?
         7     changes or switches you report in this table?               7   A. I cannot recall now.
         8   A. Do I know the mechanism that does that?                    8   Q. The cell cultures you used are at high oxygen levels,
         9   Q. Yes.                                                       9     are at high oxygen levels than in vivo, correct?
        10   A. Precisely, no, but we have previously published a         10   A. I don't understand the question.
        11     report showing that development of chemoresistance,        11   Q. Well, the cell cultures that you use for purpose of
        12     which is an ovarian cancer -- ovarian cancer disease       12     your experiments are at higher oxygen levels than these
        13     that is characterized by even further enhancement of       13     cells would experience in vivo, correct?
        14     oxidative stress, we have published that is associated     14   A. You mean the whole world of researcher used?
        15     with these SNPs. So the precise mechanism I'm              15   Q. No, that the cell lines that you used --
        16     proposing that according to my understanding is that       16   A. The whole world of researcher used, same 20 percent
        17     the higher the oxidative stress level, the more chances    17     oxygen in CO2, okay, it's the same exact standard
        18     that you induce these switches, these mutations.           18     protocol all over the research field. I never heard
        19   Q. Can you cite for me any published data showing these      19     that there's anyone culturing cancer cells in a
        20     same or similar type of switches in cells that have        20     different environment than -- we have done many work
        21     been exposed to any other substance, whether it's a        21     looking at the effect of hypoxia and hyperoxia on the
        22     carcinogen or otherwise?                                   22     expression of these markers in normal cells. We have
        23   A. If there is any other substance that induces mutations?   23     done several, I have published several publications.
        24   Q. That induces the kinds of mutations that you report       24     Let me help you with this information.
        25     here.                                                      25   Q. Let me withdraw the question, Doctor. You're going on

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         1   A. In the literature, there are several, many substance       1     not answering my question.
         2     that have been associated with certain mutations in the     2   A. I'm trying.
         3     DNA, yes.                                                   3   Q. No, you're not answering my question.
         4   Q. Well, let me ask it a different way. Can you cite for      4   A. I'm answering what I understood.
         5     me any substance that has been shown to cause -- or         5   Q. The tests you conducted, the experiments you conducted
         6     strike that, let me back up. Is it your testimony that      6     are higher oxygen levels than cells are exposed to in
         7     what you're reporting here -- that you're reporting         7     vivo, correct?
         8     here that talc causes mutations in DNA in 72 hours?         8   A. I'm trying to -- no, it's not, I'm trying to explain it
         9            MS. O'DELL: Object to form.                          9     to you.
        10            THE WITNESS: My results indicates that if           10   Q. They're not higher levels?
        11     you treat cells with talcum powder for 72 hours and        11   A. What do you mean by in vivo? In blood?
        12     look for whatever showed positive here, some showed        12   Q. Cells inside the body.
        13     negative, that there is an induction of this specific      13   A. It's PO20, it's the same.
        14     mutation in response to the treatment of talc.             14   Q. So the oxygen levels of the cells in the body are at
        15   BY MR. HEGARTY:                                              15     the same level as the oxygen levels of the cells in
        16   Q. Can you cite for me any other substance that's ever       16     your cell --
        17     been reported to cause these kinds of mutations after      17             MS. O'DELL: Objection.
        18     72 hours of treatment in cell cultures?                    18             THE WITNESS: No, I said the oxygen levels in
        19   A. I cannot recall now. I'm sure I can find them. There      19     the circulation in vivo is the same as the oxygen level
        20     are many in the literature, by the way, but I am citing    20     in the media where we culture cells. This is where we
        21     you specifically my work that I have done in my            21     get it from, not from a dream, we got it from there.
        22     laboratory that was shown that when oxidative stresses     22     Now, if you're referring to the oxygen levels that
        23     further -- increased and enhanced, we develop some of      23     cells are exposed to in tissues --
        24     these mutations, cell would acquire these mutations in     24   BY MR. HEGARTY:
        25     certain key pro-oxidants and anti-oxidant enzymes that     25   Q. Yes.

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                                                 Ghassan Saed, Ph.D.
                                                        Page 254                                                         Page 256
         1   A. Nobody knows that. There's only one single report that    1     that -- why do your control cell lines have such high
         2     says in a physiology book where I was a student at that    2     levels of Caspase?
         3     time, they're saying 6 percent, 5 to 6 percent. But        3   A. So it is known, as we have previously published and all
         4     that is inside the tissues without the circulation.        4     other researcher who was interested in this, that
         5     Now, you have to remember all cells get food from          5     cancer cells have almost shut down their apoptosis,
         6     circulation, so you will have eventually enough oxygen     6     because they have to increase their survival. So when
         7     that you're getting for. So this is within my              7     you compare apoptosis of any cancer cell from any type,
         8     expertise, I've done many, many work on this.              8     okay, you will find their apoptosis is way, way lower
         9   Q. The glucose levels in your cell cultures are also         9     than normal cells. Normal cells, they have -- they
        10     higher than what the cells would experience in the        10     divide, they die, they reproduce, all the times.
        11     body, correct?                                            11     Cancer cells don't like to die, they love to survive,
        12   A. The glucose level that we use in the media, again, is    12     so their apoptotic pathways are not normal.
        13     standard with all of any researcher on the face of this   13   Q. So then what you're reporting here are as to control
        14     earth use. It is standard accepted levels. So if you      14     cells, controls in ovarian cancer cells?
        15     are trying to make that what we use is different than     15   A. No, no. The controls here are macrophages, it's normal
        16     in vivo, it could be, but this is what agreed upon in     16     ovarian epithelial, and fallopian tube epithelial.
        17     the research community.                                   17   Q. Why are your -- the Caspase levels higher in your
        18   Q. Move to strike as nonresponsive. Listen to my            18     controls than in your talc treated cells?
        19     question, Doctor. Are the glucose levels in cell          19   A. Maybe I missed the question. I just answered that,
        20     cultures that you performed for purposes of your          20     right?
        21     experiments higher than the glucose levels of the cells   21   Q. Well, I don't think you answered my question.
        22     inside the body?                                          22   A. Well, let me try to understand what you want.
        23            MS. O'DELL: Objection, form, asked and             23   Q. Well, the Figure 6 shows that the controls have higher
        24     answered.                                                 24     levels of Caspase-3 than the talc treated cells,
        25            THE WITNESS: I don't know.                         25     correct?

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         1   BY MR. HEGARTY:                                              1             MS. O'DELL: Object to the form. Do you need
         2   Q. Aren't the cells that you experiment with in a            2     to see that in color, Doctor? Would that help?
         3     hyperglycemic state?                                       3             THE WITNESS: Yes, please.
         4   A. I just told I don't know.                                 4             MS. O'DELL: (Handing.)
         5   Q. Can high glucose levels cause an increase in reactive     5             THE WITNESS: So here, the control cells, so
         6     oxygen species?                                            6     let's look at the normal cells -- okay, the normal
         7   A. Okay, so --                                               7     cells -- well, that's the whole idea, the whole
         8   Q. Can they or can't they?                                   8     objective of this research, the whole point, that if
         9             MS. O'DELL: He gets to -- you asked the            9     you treat with talcum powder, talcum powder induces --
        10     question, he --                                           10     enhances oxidative stress that stimulate apoptosis
        11             THE WITNESS: There is no yes or no answer.        11     pathways and shut them down, inhibit them. So in the
        12   BY MR. HEGARTY:                                             12     treated -- in the treated, they should be lower than
        13   Q. Okay. I withdraw the question.                           13     the untreated.
        14   A. If you are trying to take me to say "yes" or "no" to     14   BY MR. HEGARTY:
        15     something that I have explanation for, I think you        15   Q. What are the normal Caspase levels in a normal cell?
        16     should just listen to my explanation. I am actually --    16   A. It's different for different cell types, but normal
        17     this field, this field is my field, and I will tell       17     cell types, normal cells always have way higher
        18     you, okay, I'll tell you that the cancer cells are --     18     apoptosis than cancer cells. This is well known
        19     their metabolism is different than normal cells because   19     phenomenon.
        20     their uptake, their uptake of glucose, they don't go in   20   Q. At the levels you report in Figure 6?
        21     aerobic metabolism, they go anaerobic metabolism, so it   21   A. It depends on the cells, again, I said, it depends on
        22     doesn't matter how much glucose you give them, it         22     the cell type. So maybe other people in their work,
        23     doesn't really.                                           23     they have different response. But it is accepted that
        24   Q. If you look over on Page -- Figure 6 of your             24     is cancer cells, all cancer cells, no exception, have
        25     manuscript, why do your normal cell lines -- strike       25     lower, way lower apoptosis than normal cells. I

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                                                 Ghassan Saed, Ph.D.
                                                        Page 258                                                         Page 260
         1     published previously that lower apoptosis in cancer        1   A. I believe we have published a different study with the
         2     cells is due to overexpression of nitric oxide             2     same subject. You want me to look for it?
         3     synthase, which is a pro-oxidant, and myeloperoxidase,     3   Q. Not right now.
         4     which is another pro-oxidant, and they work together to    4   A. Okay, but we did publish that before.
         5     nitrisolate Caspase-3, that's what we're measuring         5   Q. Did you measure changes in peroxide levels as part of
         6     here, and shutting down its activity and its apoptosis.    6     your experiment?
         7   Q. The type of SNP changes that you report in your           7   A. Excuse me, one more time.
         8     manuscript can be detected by Sanger sequencing,           8   Q. Did you measure changes in peroxide levels as part of
         9     correct?                                                   9     your experiments?
        10   A. Now, that's -- we're moving from this?                   10   A. What is peroxide level?
        11   Q. Yes.                                                     11   Q. Hydrogen peroxide level.
        12   A. Okay, sorry, I thought we were still here.               12   A. Oh, H2O2?
        13   Q. Different question.                                      13   Q. Yes.
        14   A. Okay. Give me a --                                       14   A. Indirectly, yes.
        15   Q. Can you answer my question?                              15   Q. When you sat indirectly, what do you mean?
        16   A. What's the question?                                     16   A. Because it's the substrate for an enzyme, so it's an
        17   Q. The type of SNP changes that you report in your          17     enzymatic reaction.
        18     manuscript can be detected by Sanger sequencing,          18   Q. Did you find any changes in hydrogen peroxide levels in
        19     correct?                                                  19     the talc treated cells?
        20   A. Yes.                                                     20   A. We didn't measure the actual H2O2 levels in these
        21   Q. Did you use this method?                                 21     cells. We did measure the catalase activity that turns
        22   A. No.                                                      22     H2O2 to H2O, which is the turnover.
        23   Q. Have you ever used Sanger sequencing to detect changes   23   Q. Have you ever measured hydrogen peroxide levels in
        24     in SNPs or to analyze SNPs?                               24     these types of studies?
        25   A. You mean gene mutations?                                 25   A. Have I measured -- H2O2, I don't think so, directly,

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         1   Q. Gene mutations, yes.                                      1     directly H2O2 levels, no.
         2   A. So the answer is nowadays no one does this from the       2   Q. You've referred earlier to the fact that you have
         3     research community. There are core facilities, labs        3     published abstracts that have talked about the results
         4     that you send to. You don't need -- I don't believe        4     of the experiments we've marked as -- let me start
         5     people will in their laboratories that sit down and do     5     again. You mentioned earlier that you published the
         6     experiments that takes forever. They just rather send      6     results of the experiments documented in lab notebooks
         7     it to this lab, we have -- every university have this,     7     marked as Exhibits 2 and 3 in the past, correct?
         8     we have a core facility that you can send to, and then     8            MS. O'DELL: Object to the form.
         9     they will do it for you and they will give you the         9   BY MR. HEGARTY:
        10     results, so you don't need to do it yourself.             10   Q. You didn't get that question?
        11   Q. Is Sanger sequencing considered more accurate than       11   A. No.
        12     TaqMan?                                                   12   Q. You mentioned you had published the results of your
        13   A. Pretty much I think they are the same level.             13     experiments that we've been talking about here today in
        14   Q. And you said you have used Sanger sequencing before?     14     abstracts, correct?
        15   A. No, personally no.                                       15   A. There was an SRI abstract that I presented at the SRI
        16   Q. What is the mechanism by which the SNP change, as you    16     meeting March of '18, last year, that was reflected or
        17     say, talc induces cause the redox changes that you        17     involved this initial work that we did with Fisher with
        18     report in your study?                                     18     PCR.
        19   A. So talcum powder treatment increase, induces the         19   Q. And you also presented at an SGO meeting, correct?
        20     specific mutations that are associated with altering      20   A. I believe I did.
        21     the activity of the redox, the key oxidant enzymes that   21   Q. In either case did you disclose that you were a
        22     the results will be altering the oxidated balance.        22     consultant for plaintiffs counsel in litigation,
        23   Q. And what studies show that?                              23     correct?
        24   A. This study.                                              24   A. When you submit the abstract, they will not let you
        25   Q. What studies besides your study, your manuscript?        25     proceed until you -- yes, the answer is yes.

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                                                 Ghassan Saed, Ph.D.
                                                        Page 262                                                         Page 264
         1   Q. The answer is that you did disclose?                      1     specific.
         2   A. I did disclose, yes.                                      2   Q. Are your opinions in this case premised on talc
         3   Q. It's not included -- the disclosure's not included in     3     containing asbestos?
         4     the abstracts, correct.                                    4   A. (Witness shakes head from side to side.) I don't know,
         5   A. They don't have it like that, no.                         5     no, my opinion has nothing to do with that.
         6   Q. When you presented the abstracts, did this involve        6   Q. Are your opinions in any way based on talc having heavy
         7     standing there in front of a poster?                       7     metals in them?
         8   A. Yes.                                                      8   A. No.
         9   Q. And did people come up and talk to you about your         9   Q. Is it your opinion that talc without asbestos or
        10     posters?                                                  10     without any other constituents can cause ovarian
        11   A. Yes.                                                     11     cancer?
        12   Q. Did you identify yourself as an expert in litigation     12   A. The one that I got in this bottle from J & J, yes.
        13     involving talc and ovarian cancer?                        13   Q. Is it your opinion, Doctor, that your studies or your
        14            MS. O'DELL: Object to the form.                    14     experiments show that talc increases cellular
        15            THE WITNESS: No one asked me.                      15     proliferation and decreases apoptosis?
        16   BY MR. HEGARTY:                                             16   A. I'm sorry, one more time, one more time.
        17   Q. Did you tell them that you were?                         17   Q. Sure. Is it your opinions or is it your opinion that
        18   A. I didn't volunteer anything.                             18     talc use increases cellular proliferation and decreases
        19   Q. Have you provided your opinions in this case to anyone   19     apoptosis in normal ovarian cells?
        20     outside of plaintiff's counsel or your colleagues on      20   A. My finding clearly indicates that if you treat cells
        21     the manuscript?                                           21     with talcum powder, the results of this treatment is a
        22            MS. O'DELL: Object to the form.                    22     dose response increase in proliferation and decrease in
        23            THE WITNESS: So you just asked me if I             23     apoptosis, yes.
        24     discussed this with people that I presented to in the     24   Q. In normal ovarian cells?
        25     whole meeting.                                            25   A. In normal and in cancer cells.

                                                        Page 263                                                         Page 265
         1   BY MR. HEGARTY:                                              1   Q. Cell proliferation does not mean cancer, correct?
         2   Q. Well, let me ask it a different way because I can see     2   A. Cell -- increase in cell proliferation beyond normal is
         3     where you're confused. We talked about your opinions       3     a highlight of cancer cells.
         4     that talc can cause ovarian cancer.                        4   Q. There is cell proliferation in normal cells in the
         5   A. Oh, so we're going back here now?                         5     absence of cancer, correct?
         6   Q. Yes, we're going back to your opinions.                   6   A. So good question. So cell -- normal cells in response
         7   A. Okay.                                                     7     to agents can be temporally transit induces their
         8   Q. Have you ever told anyone at the medical school, at       8     proliferation, but they come back. Cancer cells don't
         9     Wayne State Medical School that talc use can cause         9     come back. They will proliferate forever.
        10     ovarian cancer?                                           10   Q. But you agree that cell proliferation does not equate
        11   A. I don't recall.                                          11     to cancer?
        12   Q. Have you ever told anyone at Wayne State School of       12   A. Okay, I am answering you. According to my knowledge,
        13     Medicine that talc use can worsen the prognosis of        13     transit, transit or let's say temporary or initial
        14     ovarian cancer?                                           14     induction of proliferation, it is a normal response of
        15   A. Again, I don't recall. I don't remember.                 15     all normal cells to agents. If this response
        16   Q. Can you tell for me, when you say you can't recall       16     continues, now, this is a hallmark of cancer. It is
        17     having had a discussion with anyone --                    17     indication that this cell is going that route.
        18   A. I can't remember that I said that.                       18   Q. In the tests you conducted, the results would be
        19   Q. Can you cite for me anyone that you've spoken with at    19     considered an acute response to talc, correct?
        20     the Wayne State School of Medicine where you've told      20            MS. O'DELL: Object to the form.
        21     them your opinions that talc use can cause ovarian        21            THE WITNESS: Yes, I understand. In cell
        22     cancer or can worsen ovarian cancer?                      22     culture you cannot distinguish between acute response
        23   A. Other than the co-authors of this study?                 23     versus chronic response. In cell culture you cannot do
        24   Q. Yes.                                                     24     that. So in cell culture it is a response.
        25   A. I haven't talked to anyone, in my school, to be          25   Q. That you cannot say would occur in a chronic way?

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         1            MS. O'DELL: Objection.                              1     contaminant decrease in apoptosis is a hallmark of
         2            THE WITNESS: I don't know if this -- okay,          2     ovarian cancer.
         3     here's the question, so the answer is you expose cells,    3   BY MR. HEGARTY:
         4     talcum powder, cells go crazy and they increase their      4   Q. Not my question, Doctor. My question was are there any
         5     proliferation. If they don't come back, so that's the      5     studies showing that an increase in cell proliferation,
         6     response to the acute, if they don't come back and         6     as you showed in your experiments, is associated with
         7     there is talcum powder particles in there, and they        7     an increase in ovarian cancer risk?
         8     keep provoking the inflammation, that transit goes into    8            MS. O'DELL: Object to the form, asked and
         9     chronic inflammation. I'm trying to think of               9     answered.
        10     simulation to in vivo, but in cell culture you cannot     10            THE WITNESS: Okay, so you're asking if there
        11     tell.                                                     11     are reports showing that there is the increased
        12   BY MR. HEGARTY:                                             12     proliferation is associated with increased cancer risk?
        13   Q. Can you cite for me any studies showing increase in      13   BY MR. HEGARTY:
        14     cell proliferation in the presence of talc in vivo?       14   Q. Correct.
        15            MS. O'DELL: Objection, form.                       15   A. Okay, again, I'm answering, the answer is I don't know
        16            THE WITNESS: Very complicated question,            16     because I believe that you cannot measure proliferation
        17     break it down for me, please.                             17     in vivo.
        18   BY MR. HEGARTY:                                             18   Q. Are there any studies showing that a decrease in
        19   Q. I don't know if I can break it down. Can you cite for    19     apoptosis, as you showed in your experiments, is
        20     me any study showing an increase in cell proliferation    20     associated with an increase in ovarian cancer risk?
        21     in the presence of talc in women using talc?              21   A. So I would respond the same way. I would say, again,
        22   A. How would you measure --                                 22     these -- to determine apoptosis, you have to isolate
        23            MS. O'DELL: Objection.                             23     the cells from the patient outside and do cell culture
        24            THE WITNESS: How would you measure cell            24     and look into that, so I'm not aware.
        25     proliferation in woman?                                   25   Q. Are there any studies showing either an increase in

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         1   BY MR. HEGARTY:                                              1     cell proliferation or a decrease in apoptosis as you
         2   Q. Well, I'm asking you if you're aware of any such          2     have shown in your report in women using talc?
         3     studies?                                                   3            MS. O'DELL: Object to the form.
         4   A. I'm answering. I said how would you measure that? I'm     4            THE WITNESS: I'm not aware of that.
         5     not aware, I don't know.                                   5            MR. HEGARTY: Why don't we take a break, go
         6   Q. Are you aware of any studies showing a decrease in        6     off the record. I need to converse with counsel for
         7     apoptosis in the cells of women using talc?                7     Imerys about how much time that he needs for his
         8   A. Again, these studies only done in cell culture. You       8     questioning.
         9     cannot do this in vivo. This has to be isolated from       9            MS. O'DELL: Okay.
        10     the woman of ovarian cancer who use talc, who didn't      10            THE VIDEOGRAPHER: Going off the record at
        11     use talc, and then you look at their cells in culture     11     5:04 p.m.
        12     to determine those parameters. You cannot determine       12            (A short recess was taken.)
        13     those in vivo. Although there are pathology they can      13            THE VIDEOGRAPHER: We're back on the record at
        14     do, they can do proliferation markers like KI67, it's     14     5:26 p.m.
        15     been done, it's all over, there are indications, but      15   BY MR. HEGARTY:
        16     they cannot do this in vivo. This has been done in        16   Q. Doctor, in your cell experiments, how did you control
        17     tissues. With woman, yes, you can do it, but to do        17     for cross-contamination?
        18     that you have to isolate the cells and then look at the   18            MS. O'DELL: I'm sorry, I didn't hear, for
        19     cell response.                                            19     cross-contamination?
        20   Q. Are there any studies showing that an increase in cell   20            MR. HEGARTY: Yes.
        21     proliferation, as you showed in your experiments, is      21            THE WITNESS: Cross-contamination, so cross-
        22     associated with an increase in ovarian cancer risk?       22     contamination from each -- from the cells that I used?
        23            MS. O'DELL: Object to the form.                    23   BY MR. HEGARTY:
        24            THE WITNESS: There are several studies that        24   Q. How did you control to keep from mixing up of samples?
        25     shows that enhanced proliferation and reduce with         25            MS. O'DELL: Object to the form.

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         1             THE WITNESS: I'm not sure that I understood         1     There's two different controls, okay. We did negative
         2     your question. Are you referring to mixing the two          2     and positive for the treatment, so this is with talc,
         3     cell lines, for example?                                    3     this is with no talc. For the markers, for the
         4   BY MR. HEGARTY:                                               4     markers, we have standards that with serial dilution
         5   Q. Yes.                                                       5     tells you exactly how much you expect to get in there.
         6   A. With each other?                                           6   Q. Did you use a negative control in your cell studies
         7   Q. Correct.                                                   7     with a known inert substance?
         8   A. That's not possible.                                       8             MS. O'DELL: Object to the form.
         9   Q. Why is that not possible?                                  9             THE WITNESS: That's not a negative control
        10   A. Because each cell line is done in one experiment          10     to me, it does not apply to my study. The only
        11     treatment with all the doses on its own.                   11     negative control that applies to my study is talc with
        12   Q. What about mixing normal cells with the -- I'm sorry,     12     no talc.
        13     how about mixing control cells with the treated cells,     13   BY MR. HEGARTY:
        14     is that possible?                                          14   Q. How can you rule out in your studies that any
        15   A. What do you mean by control cells, not treated?           15     particulate you added to the cell cultures would cause
        16   Q. Not treated?                                              16     the same thing?
        17   A. So, also, that's not possible because you -- we divide,   17   A. Again, we tested several fold. So our study does not
        18     we grow the cells, one lot, one lot of cells, and then     18     qualify for a positive positive control that you're
        19     we aliquot, we put 1 million cells here, 1 ml cells        19     referring to or a negative negative control.
        20     here, and then we separate them and give the different     20   Q. How are you able to rule out that glass beads wouldn't
        21     doses for each cell lines. And the -- this thing, the      21     cause the same --
        22     treatment was repeated for PCR for RNA, for protein for    22   A. Glass beads?
        23     ELISA, for proliferation assays, so it's not possible      23   Q. -- effect? How are you able to rule out that some
        24     that there is a mix between treated and untreated.         24     inert part, other part -- strike that. How would you
        25   Q. Do you know what positive and negative controls are in    25     rule out that any particle wouldn't cause the same

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         1     cell studies?                                               1     effect that you saw in your studies?
         2   A. I do.                                                      2   A. Very simple, the untreated didn't show that.
         3   Q. You did not use positive and negative controls in your     3   Q. Well, how do you rule out that the treated cells would
         4     cell studies, correct?                                      4     react the same way regardless of what you put on them?
         5   A. Not correct.                                               5     In other words, if you put -- how did you rule out that
         6   Q. Well, I'm going to define positive controls as applying    6     any particle would not cause the same thing if you
         7     a known cancer causing substance to the cells. Is that      7     mixed it with DMSO and applied it to talc?
         8     your understanding of positive control?                     8   A. Yeah, so we did DMSO control.
         9   A. Not in these studies.                                      9            MS. O'DELL: Object to the form.
        10   Q. I'm talking about generally.                              10            THE WITNESS: So we did -- took the talc,
        11   A. Generally a positive control that something that you      11     mixed it with DMSO, took the DMSO, treat the cells with
        12     know it's there and you're looking for it.                 12     DMSO alone and with DMSO and talc. So if the effect
        13   Q. What is in general terms a negative control?              13     was due to DMSO, you would see the response in the
        14   A. A negative control, something you're not looking for,     14     untreated cells.
        15     it is not there.                                           15   BY MR. HEGARTY:
        16   Q. Well --                                                   16   Q. Would cornstarch cause the same result?
        17   A. So there is negative negative and there is positive       17   A. I did not test it.
        18     positive.                                                  18   Q. How can you rule out that cornstarch wouldn't do the
        19   Q. Did you do any of your tests -- I'm sorry, did you do     19     same thing if applied to cells?
        20     any of your experiments using any substances known to      20            MS. O'DELL: Object to the form.
        21     be a carcinogen?                                           21            THE WITNESS: I didn't rule anything, I did
        22   A. One more time. I will answer you. The answer is no,       22     not test it.
        23     okay, but you're referring to -- so there are two          23   BY MR. HEGARTY:
        24     different controls, negative and positive for the          24   Q. Does cornstarch cause cancer?
        25     target, and negative and positive for the treatment.       25   A. I did not test it.

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         1   Q. Well, in your opinion, does --                             1   A. I didn't say I did not agree. I said I am not -- I
         2   A. In my opinion?                                             2     don't have any molecular data in my laboratory to
         3   Q. Yes.                                                       3     support the direct effect of talcum powder on my
         4   A. From my information? I don't think so.                     4     markers that I studied in my lab, and I would like to
         5   Q. Could you have tested cornstarch in the same way you       5     do that.
         6     tested talc?                                                6   Q. When in relation to the first call that you had with
         7   A. Could I have?                                              7     Miss Thompson did you agree to serve as a consultant
         8   Q. Yes.                                                       8     for Beasley Allen?
         9   A. I can use my methodology to test that, yes, of course.     9   A. I think it was like October sometime.
        10   Q. And are you able to say that no other particle exposed    10   Q. And in between the time of the first call and October,
        11     in the same way that you would expose cells with talc      11     did you have any additional calls with anyone from --
        12     would not have caused the same result?                     12   A. We had the meeting September 7, if I remember.
        13            MS. O'DELL: Object to the form.                     13   Q. At the time of that meeting, had you agreed to serve as
        14            THE WITNESS: I already answered.                    14     a consultant for Beasley Allen?
        15   BY MR. HEGARTY:                                              15   A. I agreed in principle to serve as a consultant for what
        16   Q. What's your answer?                                       16     I am an expert in, which is oxidative stress and
        17   A. Okay, I'm saying that in this study, the way this         17     ovarian cancer, and I promised to run data, do some
        18     study's designed to look at the effect with talc,          18     work, because I wanted to find out if there is
        19     without talc, if you are looking at one marker only,       19     molecular evidence to support the effect of talcum
        20     then maybe we should consider more, but we're looking      20     powder on the markers that I study, which are the
        21     at several markers at several levels. So we're looking     21     markers of risk of ovarian cancer.
        22     at mRNA DNA mRNA protein activity, several levels here.    22   Q. And you agreed to serve as a consultant, at least as to
        23   Q. But you cannot say that cornstarch wouldn't do the same   23     oxidative stress and ovarian cancer, as of the time of
        24     thing as talc did in your experiments?                     24     the meeting in September?
        25   A. I did not study cornstarch, so I cannot tell you.         25            MS. O'DELL: Object as to form.

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         1   Q. We talked earlier at the beginning of the deposition       1            THE WITNESS: I agreed to serve as a
         2     about you receiving a call from Miss Thompson, correct?     2     consultant for oxidative stress and ovarian cancer in
         3   A. Yes.                                                       3     actually the first phone call.
         4   Q. Do you know how she came to call you in the first          4   BY MR. HEGARTY:
         5     place?                                                      5   Q. With regard to your work in this litigation, have you
         6   A. From according to her?                                     6     reviewed any of the expert reports of any other experts
         7   Q. Yes.                                                       7     designated by plaintiffs?
         8   A. Or according to me?                                        8   A. Barely I remember one or two, just briefly. I don't
         9   Q. Well, what is your understanding as to why she             9     even remember names.
        10     initiated that initial call, how she came to get your      10   Q. Have you reviewed, for purposes of your opinions in
        11     name?                                                      11     this case, anything that you did not bring with you
        12   A. She found me on what do you call it -- Med Web, because   12     here today?
        13     I had published this review article in this very           13   A. Good question, no.
        14     prestigious journal called OB-GYN Oncology. Want to        14   Q. Are there any necessary changes to your expert report?
        15     let me finish?                                             15   A. As --
        16             MS. O'DELL: Yes, you may finish.                   16   Q. As you sit here today.
        17   BY MR. HEGARTY:                                              17   A. As of now today, no.
        18   Q. Are you finished?                                         18   Q. Have you ever had your deposition taken before?
        19   A. No.                                                       19   A. No.
        20   Q. How much more is there?                                   20   Q. Have you ever been designated to serve as an expert
        21   A. Okay --                                                   21     witness in any lawsuit?
        22             MS. O'DELL: You may finish, Doctor.                22   A. No.
        23   BY MR. HEGARTY:                                              23   Q. You are not a medical doctor, correct?
        24   Q. You mentioned that you did not agree to serve as a        24   A. No.
        25     consultant at the time of the first call, correct?         25   Q. You brought with you a copy of your updated CV; is that

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         1     correct?                                                    1     and ovarian cancer for purposes of developing your
         2   A. Correct.                                                   2     opinions in this case?
         3   Q. Yes. I'm going to mark this Exhibit Number 18.             3   A. To my best knowledge, yes, only like three papers out
         4        SAED DEPOSITION EXHIBIT NUMBER 18,                       4     there.
         5        CURRICULUM VITAE,                                        5   Q. I'm sorry?
         6        WAS MARKED BY THE REPORTER                               6   A. There are only like three papers out there that I can
         7        FOR IDENTIFICATION                                       7     remember.
         8   BY MR. HEGARTY:                                               8   Q. Did you do a search yourself for literature concerning
         9   Q. The CV you brought with you today, is that your current    9     talc and ovarian cancer?
        10     curriculum vitae?                                          10   A. Yes.
        11   A. Yes.                                                      11   Q. What search engines or tools did you use?
        12   Q. Okay. Thank you. You don't treat ovarian cancer           12   A. I used what I always use, the PopMed.
        13     patients, correct?                                         13   Q. You say in your report that an enhanced redox state has
        14   A. I am not an M.D., I'm not a medical doctor.               14     been described with epithelial ovarian cancer.
        15   Q. Do you teach any courses?                                 15   A. I'm sorry, one more time.
        16   A. In the university, yes.                                   16   Q. Is it your opinion that an enhanced redox state has
        17   Q. What courses do you teach?                                17     been described in patients with epithelial ovarian
        18   A. They are listed here in my CV.                            18     cancer?
        19   Q. Listed in your CV?                                        19   A. With ovarian cancer patients, yes.
        20   A. Yes.                                                      20   Q. And enhanced redox state has been described with other
        21   Q. Do you teach medical students?                            21     types of cancer, too, correct? It's not unique to
        22   A. I do.                                                     22     ovarian cancer?
        23   Q. Those would be listed in your CV?                         23   A. Okay, I don't know about other cancer, that's not my --
        24   A. Everything I teach is listed here.                        24     what I do. What I do, what I talk about, what I work
        25   Q. What percentage of your time is spent teaching?           25     with is ovarian cancer. So we did work in my lab only

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         1   A. Okay, so we have two types of teaching in our              1     with ovarian cancer and these markers.
         2     institution they consider teaching. We have formal          2   Q. Has an enhanced redox state been described with other
         3     courses and then we have hands-on teaching, which is        3     diseases besides cancer?
         4     required for our residency program and fellowship           4   A. One more time, please.
         5     program. I do more of the hands-on for the medical          5            MS. O'DELL: Object to form.
         6     doctors for our residents and fellows in the                6   BY MR. HEGARTY:
         7     department, then I help them write their thesis, design     7   Q. Has an enhanced redox state been described with
         8     their experiments, do the work, so that's my primary --     8     diseases other than cancer?
         9     I spend almost significant time. I can't tell you           9   A. I don't know.
        10     exactly what I spend on that part, but I do.               10   Q. You have done research looking at that pathogenesis of
        11   Q. Have you applied to be a full professor at Wayne State    11     tissue fibrosis, correct?
        12     University?                                                12   A. Correct.
        13   A. No.                                                       13   Q. Tissue fibrosis does not increase the risk of
        14   Q. Why not?                                                  14     developing cancer, correct?
        15   A. Applying for a full professor at our institution          15   A. Not correct.
        16     requires current NIH NCI only funding, which is very       16   Q. So it's your opinion that having -- that fibrosis
        17     hard to get these days.                                    17     increases the risk of cancer?
        18   Q. Is it your opinion that talc induces chemoresistance?     18   A. Not correct, that's not my opinion.
        19   A. Talc induces chemoresistance -- so we -- I have not       19   Q. What is your opinion with regard to the relationship
        20     tested that, so this needs to be tested.                   20     between fibrosis and cancer?
        21   Q. In connection with developing and setting out your        21   A. Good, I like that question. So initially when I
        22     opinions in this case, did you review all of the animal    22     started all this work, I was interested in tissue
        23     literature looking at talc and ovarian cancer?             23     fibrosis and, in particular, keloids, hypertrophic
        24   A. All of the literature, no.                                24     scars, postoperative adhesions development, and
        25   Q. Did you review all of the cell studies looking at talc    25     fibroids, endometriosis, trying to answer one question

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         1     in my mind, which is -- which started this whole focus      1     postoperative adhesions development may develop into
         2     of work, why, how come we have an overgrowth that is --     2     cancer. I'm not aware of that.
         3     has similar pathogenesis, yet it's not malignant, for       3   BY MR. KLATT:
         4     example, fibroids, they're benign tumors, they're           4   Q. You're not aware of any evidence of that, is that what
         5     tumors, they're benign, what is the difference between      5     you're saying?
         6     what makes this tumor benign versus malignant? So this      6   A. I'm not aware of a certain -- a specific situation
         7     is my focus and my long-term interest in my life is to      7     where a patient developed postoperative adhesions, that
         8     figure out why is this overgrowth that has oxidative        8     postoperative adhesions causes some type of cancer
         9     stress, high this, high this, high this, but it's not       9     somewhere.
        10     malignant, fibroids, possibility of adhesions, keloids,    10   Q. I'm going to skip around just to follow up on some
        11     although some keloids develop -- some fibrosis             11     stuff that Mr. Hegarty brought up during the day. You
        12     development of cancer, and endometriosis, for example.     12     mentioned your company DS Biotech this morning. What
        13     So that's the question that I'm really interested in.      13     does DS stand for?
        14     So that's why we look everything in comparison. I have     14   A. A name I chose.
        15     published in here and I have published in here             15   Q. The D and the S don't stand for anything in particular?
        16     extensively.                                               16   A. Oh, sorry, I missed the question. So D is Diamond Saed
        17   Q. You have published that fibrosis causes cancer?           17     Biotech, that's my partner, used to be long time ago.
        18   A. No, I have published that the process of fibrosis is      18   Q. You had a partner named Diamond?
        19     very similar to the process of oncogenesis.                19   A. Michael Diamond. When we first initiated this, we
        20   Q. Does fibrosis cause cancer?                               20     started it, but then he moved from my institution to
        21            MS. O'DELL: Object to form.                         21     his institution, and then I acquired the whole company.
        22            THE WITNESS: In some cases it may.                  22   Q. So Dr. Diamond -- is it a Dr. Diamond?
        23   BY MR. HEGARTY:                                              23   A. Dr. Diamond, yes.
        24   Q. Give me an example of a type of fibrosis that can cause   24   Q. He has no affiliation with DS Biotech any longer, is
        25     cancer.                                                    25     that true?

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         1   A. Keloids, fibroblastoma can develop, endometriosis can      1   A. No, for the last even seven, eight years.
         2     induce maybe ovarian cancer, there's a link between the     2   Q. When's the last time you had an NIH NCI grant?
         3     two.                                                        3   A. It should be in my CV, really bad memory, although I
         4   Q. Do postoperative adhesions cause cancer?                   4     should remember such a great thing. You want me to
         5   A. We don't know.                                             5     look for it?
         6   Q. Doctor, I'm going to rest for a moment and let my          6   Q. How long's it going to take you?
         7     colleague representing Imerys ask you some questions as     7   A. I don't know, I have to look in my list of grants --
         8     well.                                                       8     when was it, when was it -- do you want me to
         9   EXAMINATION BY MR. KLATT:                                     9     approximate?
        10   Q. Hello, Dr. Saed. My name is Mike Klatt and I represent    10   Q. Sure.
        11     Imerys Talc America in this case. Have you ever heard      11   A. NIH -- I think it's 2005 -- pending, submitted --
        12     of Imerys Talc America before today?                       12     previously funded, okay, here we go. So I was part of
        13   A. Heard on the news, yes.                                   13     the -- I was co-principal investigator in the Wayne
        14   Q. I'm sorry?                                                14     State University partnership to promote diversity for
        15   A. Heard about it, yes.                                      15     reproductive sciences, that was 3,020,000 something. I
        16   Q. What do you know about Imerys?                            16     was a co-investigator with Dr. Michael Diamond as a
        17   A. I know that very small thing, mining company.             17     principal investigator to this Wayne State Clinical
        18   Q. How did you learn that?                                   18     Translational Science Award.
        19   A. From the news.                                            19   Q. What year is the question?
        20   Q. You said just a minute ago that we don't know whether     20   A. So there are many, 2015, 2012, 2012, 2012, this was the
        21     postoperative intra-abdominal adhesions cause cancer;      21     major one where I was the principal investigator
        22     is that true?                                              22     looking for adhesions and the role of hypoxia, and that
        23   A. I am not aware --                                         23     was 2012.
        24            MS. O'DELL: Object to the form.                     24   Q. What level NIH grant was that?
        25            THE WITNESS: -- that incidence of                   25   A. That's an RO1.

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         1   Q. Can ovulation cause the DNA damage that results in        1   A. Not correct.
         2     ovarian cancer?                                            2   Q. You don't know that?
         3   A. You are asking my opinion?                                3             MS. O'DELL: Object to the form.
         4   Q. Yes.                                                      4             THE WITNESS: It's a theory; I just answered
         5   A. Or my -- based on science?                                5     you.
         6   Q. Well, I hope your opinion's based on science, but what    6   BY MR. KLATT:
         7     is your opinion?                                           7   Q. Are you aware of the data that lifetime ovulations is
         8   A. Okay. So ovulation theory has been there for a long       8     directly related to ovarian cancer risk?
         9     time, and I don't know if there is a link between          9             MS. O'DELL: Object to the form.
        10     ovulation and damage to DNA particular to that.           10             THE WITNESS: So do you mean that there are
        11   Q. Is ovulation an inflammatory event?                      11     data out there that is showing a direct link to normal
        12   A. It is.                                                   12     ovulation process and the development -- increased risk
        13   Q. And in a woman that has a normal reproductive life,      13     of getting ovarian cancer?
        14     that can occur 2, 400 times in her lifetime, correct?     14   BY MR. KLATT:
        15   A. I am not a reproductive scientist.                       15   Q. Thank you.
        16   Q. You don't know?                                          16             MR. LAPINSKI: Doctor, was that an answer or
        17   A. I don't know.                                            17     a question?
        18   Q. Woman that has a 40-year reproductive life times 12?     18             THE WITNESS: That was a question to you.
        19   A. I do know that.                                          19   BY MR. KLATT:
        20   Q. That's 480 ovulatory cycles, correct?                    20   Q. Well, I'm asking the questions, you're giving me the
        21   A. If you say so, I don't know.                             21     answers. Are you aware of data that increased number
        22   Q. You don't know about this?                               22     of lifetime ovulations increases ovarian cancer risk?
        23   A. I do know --                                             23             MS. O'DELL: Object to the form.
        24             MS. O'DELL: Object to the form.                   24             THE WITNESS: And then I answered you, I
        25             THE WITNESS: Excuse me, okay, I am not --         25     answered you, if you mean that you're looking for

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         1     again, I am not a reproductive scientist, so I know as     1     specific data that linking normal ovulation to
         2     much as anybody know, like ovulation, yes, I do know       2     inflammation that causes or increases the risk of
         3     about it, I know about the ovulation theory, I know        3     ovarian cancer, is that what you mean?
         4     that ovulation is cause of inflammation, I do know all     4   BY MR. KLATT:
         5     that.                                                      5   Q. I'm simply asking you if you're aware of data that
         6   BY MR. HEGARTY:                                              6     number of lifetime or of ovulations correlates with
         7   Q. And is it your opinion, as a scientist who studied in     7     increased ovarian cancer risk; that's all I'm asking.
         8     the field you studied, that ovulation can cause ovarian    8   A. My answer again, I'm aware that this is a theory, and I
         9     cancer?                                                    9     don't know if it's based on data.
        10   A. I don't know, it needs to be tested.                     10   Q. Is the mechanism that causes post-surgical adhesions
        11   Q. Even though it's an inflammatory event that occurs       11     the same mechanism that you think can result in ovarian
        12     every month, correct?                                     12     cancer?
        13   A. Maybe that's a natural inflammatory response.            13   A. No, they have similarities but not the same.
        14   Q. But you don't know, one way or the other, correct?       14   Q. Can oxidative stress be induced by low vitamin E?
        15   A. Yeah, there's a big difference between a naturally-      15   A. I don't know.
        16     induced inflammatory response versus an external          16   Q. Can oxidative stress be induced by low vitamin C?
        17     exogenous induced inflammation.                           17   A. I don't know.
        18   Q. Certainly you're aware it's the opinion of many in the   18   Q. Can oxidative stress be induced by low uric acid?
        19     field that incessant ovulation does cause ovarian         19   A. We never tested that.
        20     cancer, correct.                                          20   Q. Can oxidative stress be induced by albumin levels?
        21   A. That was just a theory.                                  21   A. We never tested that.
        22   Q. I'm sorry?                                               22   Q. You said you'd never given a deposition before,
        23   A. A theory.                                                23     correct?
        24   Q. And certainly ovarian cancer risk is directly related    24   A. Correct.
        25     to number of lifetime ovulations, correct?                25   Q. And you've also never testified in a court before, is

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         1     that right?                                                1   Q. And in the lower right-hand corner there's two page
         2   A. Correct.                                                  2     numbers. One's a stamped page number that we call a
         3   Q. Early this morning you said that high, very high doses    3     Bates Number, and the other is a handwritten page
         4     of talc were toxic to cells. What did you mean by          4     number, correct?
         5     that?                                                      5   A. This and this? Yes.
         6   A. We tried 1,000 micrograms per ml, 1,000 micrograms per    6             MS. O'DELL: Yes.
         7     ml, induced toxicity, so decreased viability, yes.         7   BY MR. KLATT:
         8   Q. How are you defining toxicity at this time?               8   Q. When were those handwritten page numbers added to the
         9   A. Decreases cell viability.                                 9     lab book?
        10   Q. Does that mean decrease in cell number?                  10   A. I don't know.
        11   A. No, I said cell viability.                               11   Q. Because we had gotten a black and white copy of the lab
        12   Q. What does that mean?                                     12     book, and there were no page numbers on it, so were
        13   A. Death.                                                   13     they added recently?
        14   Q. Okay.                                                    14   A. No, definitely not. They should have them, you should
        15   A. Okay.                                                    15     have them in your black, white and black.
        16   Q. Do you agree with me that CA-125 levels can be           16   Q. Would you look at Exhibit 1 handwritten Page 31 Bates
        17     increased or elevated by pregnancy?                       17     Number, and I'll just say the last two Bates Numbers
        18   A. I don't know this information.                           18     02.
        19   Q. Can CA-125 levels be increased during the menstrual      19   A. Page 2, you said?
        20     period?                                                   20   Q. Yes, Page 02 is the stamp number and Page 31 --
        21   A. I am not an OB-GYN oncologist, I am not an expert in     21   A. Yes.
        22     this. I defer this to a clinician.                        22   Q. -- is the handwritten number.
        23   Q. Can CA-125 levels be increased by women who have         23   A. I'm looking at it.
        24     uterine fibroids?                                         24   Q. Down at the bottom it says cells doubled in one day.
        25   A. Again, I gave you my answer.                             25     What's that referring to?

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         1   Q. Can CA-125 be increased by coronary heart disease?        1   A. Okay, so when you culture the cells, you want to get --
         2   A. I don't know.                                             2     cells divide and they double, so you want to have them
         3   Q. Can you look at Exhibit Number 1, please, which I         3     in the stage -- that's just a notation that the cell
         4     believe is the copy of your lab book.                      4     doubled so we can start the experiment.
         5   A. Lab report, okay.                                         5   Q. And so were these cells doubling each day?
         6   Q. And I'm going to -- does your copy have the Bates         6   A. No, no, not necessarily. This is just to follow up the
         7     Numbers down on the right-hand corner?                     7     progress of cell growth. And then we take from that 1
         8            MS. O'DELL: He's looking at the actual lab          8     million cells, and then we start, because the space for
         9     notebook.                                                  9     the cell is very important, so if they don't double in
        10            MR. KLATT: Is it Bates Numbered?                   10     one day, it means that the space is not good and they
        11            MS. O'DELL: Not the lab notebook, no. We           11     are overcrowded, so now we split them. So this is an
        12     have not made markings on this.                           12     indication that they're ready for us so we can use.
        13            MR. KLATT: Do you have a copy of Exhibit 1?        13   Q. Did you try to measure cell proliferation in the
        14     Let's make sure we're referring --                        14     presence of talc by BRDU incorporation?
        15            MS. O'DELL: I think that may be yours, and,        15   A. What is PRDU?
        16     Mike, if you wouldn't mind directing us to the page       16   Q. BRDU incorporation, are you familiar with that method?
        17     number that's written on the actual book itself.          17   A. BRDU? I've never heard of that.
        18            MR. KLATT: Yeah, I'll give both the Bates          18   Q. What about Ki-67, did you use that method --
        19     number and the page number.                               19   A. No.
        20            MS. O'DELL: That would be good.                    20   Q. -- in your experiments to measure cell proliferation?
        21   BY MR. KLATT:                                               21   A. As I stated earlier, Ki-67 is used by pathologists
        22   Q. Are you looking now at Exhibit 1, Doctor?                22     mainly or researchers in tissue sections.
        23   A. Yes.                                                     23   Q. My question is did you use it in this --
        24   Q. And it's a copy of the lab notebook, correct?            24   A. No.
        25   A. Yes.                                                     25   Q. -- experiment? Did you try to count cells to measure

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         1     proliferation using a hemocytometer?                       1   A. Oh, that's a different question. I thought you were
         2   A. Okay, for cell proliferation we use MTT assay, that's     2     talking about the sample ID refers to what. That's my
         3     even more accurate than what you're referring to, but      3     answer.
         4     we always count cells with hemocytometer to start with     4   Q. I'm talking about in your experiment.
         5     1 million cells, this is how we start.                     5   A. In my experiment, we took like, for example, normal
         6   Q. But did you try to measure cell proliferation in your     6     macrophages from one plate, and we divided that into
         7     experiments by using a hemocytometer in cell counting?     7     two. One plate got treatment, the other plate no
         8   A. Cell proliferation cannot be measured by cell count.      8     treatment. And then we continue, we isolated RNA.
         9   Q. Would you agree with me that MTT is not the optimal       9   Q. So for, for example, let's take Sample ID 357, EL1 5
        10     method to measure cell proliferation?                     10     micrograms of talc?
        11   A. It is one of the best methods we have tested.            11   A. Yes.
        12   Q. It simply measures cell metabolism, doesn't it?          12   Q. That was on one plate?
        13   A. It measures the -- it differentiates between cells,      13   A. Okay, let me explain this one more time. So you
        14     cells that incorporate the dye versus cells that it       14     take -- this is the stock samples, we call it 356,
        15     doesn't incorporate the dye, which means it               15     okay. We split that into -- we take -- we can --
        16     differentiates between viable cells and proliferative     16     that's why when you said one plate, it's not true,
        17     cells.                                                    17     because we take one, two, three, four plates, okay, so
        18   Q. And if you increase the metabolism of a certain number   18     each plate will get the treatment like 5 micrograms, 20
        19     of cells, that will increase the dye level even if you    19     micrograms, 100 micrograms.
        20     don't have a greater number of cells?                     20   Q. I understand that. I'm just talking about Sample 357?
        21   A. I don't know about metabolism that you're throwing in    21   A. 357 is 1 million cells of macrophages treated with 5
        22     here.                                                     22     microgram per ml of talc.
        23   Q. You don't know about that?                               23   Q. And it was one plate?
        24   A. No.                                                      24   A. 1 million cells, one plate.
        25   Q. Can you look again, referring to Exhibit 1, and I'm      25   Q. And then from that you took mRNA, correct?

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         1     referring to the Bates Stamped page that ends in -- the    1   A. Correct.
         2     stamp number is 03 and the handwritten Page 32.            2   Q. And then from the mRNA from that one plate of cells,
         3   A. Yes.                                                      3     you took -- or created CDNA, correct?
         4   Q. And there's a list there of sample IDs, is that           4   A. Correct.
         5     correct?                                                   5   Q. And then at the end of the day, you measured that CDNA
         6   A. Correct.                                                  6     three separate times, correct?
         7   Q. And are those the cell lines that you tested in your      7   A. Correct.
         8     experiments?                                               8   Q. And from the process I just described, that all
         9   A. Yes, in this experiment.                                  9     originated for 357 from that one plate that was treated
        10   Q. And I want to make sure I understand, for each sample    10     with 5 micrograms of talc, correct?
        11     ID, let's just take the first one Sample ID 356, the      11   A. One plate, yes.
        12     EL1 untreated, so would that sample represent one plate   12   Q. And did you do that for each of the cell lines listed
        13     of those cells?                                           13     Samples 356 through 386?
        14   A. The 356?                                                 14   A. Yes, let me explain something here. So we --
        15   Q. Right?                                                   15   Q. That's all I needed.
        16   A. It represents an aliquot of normal macrophages with no   16   A. Okay. Can I explain something?
        17     treatment with talc.                                      17   Q. Sure.
        18   Q. And is it one plate of cells?                            18   A. So I know what you're referring to that this is called
        19   A. It could be one if we need or two or three or four,      19     N = 1, but we have even better and more precise way of
        20     depends on --                                             20     measuring this very old method of doing it. We chose
        21   Q. What was it in this case?                                21     to do instead of repeat the same one three times, so
        22   A. Any sample that carry this number is a normal            22     N = 3, we actually chose three different normal cells
        23     macrophages, you can have it in one plate, two plates,    23     and three different ovarian cancer cells, and that is
        24     five plates, 10 plates.                                   24     more powerful than using the same one three times.
        25   Q. And what did you have it in your experiment?             25   Q. Okay.

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         1            MR. LOCKE: Can I just make an objection.             1   Q. The major source of ROS comes from inside the cells
         2     Those are the kind of answers that your counsel can ask     2     from mitochondria, correct?
         3     you the question so you can give an explanation. All        3   A. Not accurate answer, no.
         4     of the defendants don't have time to question you, so       4   Q. Can you distinguish between ROS produced inside the
         5     "yes" or "no" would be helpful, particularly at this        5     mitochondria of the cell from ROS produced outside the
         6     point where we're really running out of time.               6     cell?
         7            MS. O'DELL: Well, he's been asking specific          7   A. There are some enzymes that are produced from the
         8     questions about plates, and for it not to be clear, and     8     mitochondria like SOD in different forms, and there are
         9     he needs to -- he needs to give a responsive answer.        9     SODs that are produced from the membrane of the cell
        10            MR. LOCKE: We're wasting time.                      10     and the cytoplasm, so it depends.
        11   BY MR. KLATT:                                                11   Q. Do you agree that the persistent generation of cellular
        12   Q. What I want to know is for 357 and all the sample IDs     12     ROS is a consequence of aging?
        13     listed here, there was one individual plate for each       13   A. I didn't study aging.
        14     sample ID treated with a certain level of talc,            14   Q. You haven't said that before?
        15     correct?                                                   15   A. That --
        16   A. Correct.                                                  16   Q. The persistent generation of cellular ROS is a
        17   Q. Easy, Doctor.                                             17     consequence of aging.
        18   A. Thank you.                                                18   A. I don't remember. Aging of the cells or aging of
        19   Q. Gene expression, measuring gene expression is not the     19     people?
        20     same thing as measuring gene mutations, correct?           20   Q. Aging of people.
        21   A. Gene expression refers to mRNA levels that is reflected   21   A. I don't remember I said that.
        22     in protein levels.                                         22   Q. You didn't sequence the DNA in your studies to
        23   Q. Gene expression is something that occurs all the time     23     determine mutations, correct? You only used the SNP
        24     in our bodies every day, correct?                          24     gene assay?
        25   A. Correct.                                                  25   A. I used the SNP gene assay, yes.

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         1   Q. It's how we live as people, right?                         1   Q. You realize the same company that made the SNP gene
         2   A. Yes.                                                       2     assay that you used also makes a gene mutation assay?
         3   Q. If we didn't have gene expression, we'd be dead?           3   A. No, I'm not aware of that.
         4   A. I don't know why you're saying that.                       4   Q. You're not aware of that?
         5   Q. Is it true?                                                5   A. No.
         6   A. Of course.                                                 6   Q. But so, therefore, you did not use that company's gene
         7   Q. You would agree with me that a reactive oxygen species,    7     mutation assay in your experiments, correct?
         8     and can we call that ROS for short, Doctor?                 8            MS. O'DELL: Object to the form.
         9   A. Yes, I'm thinking, reactive oxygen and reactive            9            THE WITNESS: I used the core facility at our
        10     nitrogen species, let's call them oxidants.                10     institutions, and this is what they ran and this is
        11   Q. I'm sorry?                                                11     what I have.
        12   A. Oxidants.                                                 12   BY MR. KLATT:
        13   Q. Oxidants? Well, what if I'm specifically asking about     13   Q. So you did not use the gene mutation assay made by the
        14     ROS, reactive oxygen --                                    14     same company that makes the SNP assay that you used in
        15   A. You can, it depends on which one you would specify I      15     your studies, correct?
        16     would answer, yes.                                         16            MS. O'DELL: Object to the form.
        17   Q. Okay. So if I say ROS, can we agree I'm talking about     17            THE WITNESS: The core facility ordered the
        18     reactive oxygen species?                                   18     kits, and they are the one who choose which company to
        19   A. Yes. Which one, though? You have to tell me.              19     buy it from. I have no influence in that.
        20   Q. As a category.                                            20   BY MR. KLATT:
        21   A. Okay, keep going.                                         21   Q. So was the core facility the one that decided to use
        22   Q. ROS aren't the same thing as inflammation, correct?       22     the SNP assay rather than the gene mutation assay or
        23   A. Not correct.                                              23     was that your decision?
        24   Q. ROS are a part of normal cell physiology, correct?        24   A. That was what is available in the core facility, and I
        25   A. Normal levels of ROS found in cells, yes.                 25     said I want to use it.

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         1   Q. But you were unaware that the same company that makes     1   A. Saying it, I don't recall saying it.
         2     the SNP assay also makes a gene mutation assay; is that    2   Q. Do you recall writing it?
         3     true?                                                      3   A. Maybe, but that does not agree with what you just said,
         4             MS. O'DELL: Object to the form.                    4     what you read.
         5             THE WITNESS: I don't even know what company        5   Q. Can oxidative stress both promote apoptosis and promote
         6     you're talking about.                                      6     cell survival?
         7   BY MR. KLATT:                                                7   A. Oxidative stress is a balance, so it's not just simple
         8   Q. Do you know what company made the SNP assay?              8     process. So the outcome of this balance promote
         9   A. The core facility ordered the SNP kit, they just give     9     proliferation, promote survival, and decrease
        10     you -- I'm interested in doing the SNP mutation and       10     apoptosis.
        11     this is what we run, so please run these samples for      11   Q. Can oxidative stress be both pro-tumorigenic and
        12     me.                                                       12     anti-tumorigenic?
        13   Q. Did you ask them not to use a gene mutation assay?       13   A. You mean marker, some certain markers of oxidative
        14   A. Not to use? I didn't ask them, no.                       14     stress? Is that what you're referring to?
        15   Q. Would you agree with me that the determination of the    15   Q. Sure.
        16     redox state of a cell is determined by far more enzymes   16   A. Certain markers of oxidative stress can have -- can
        17     and proteins and substances than just the ones you        17     induce tumors and can inhibit tumor, I'm not really
        18     looked at in your talc studies?                           18     aware of that.
        19             MS. O'DELL: Object to the form.                   19   Q. Are you aware of any study case report or case series
        20             THE WITNESS: We -- in my studies we looked        20     that says that women that use talc in the external
        21     at there are many enzymes, but we're looking at key       21     genital area have increased fibrosis or adhesions
        22     enzymes that control the redox balance.                   22     anywhere in their reproductive tract?
        23   BY MR. KLATT:                                               23            MS. O'DELL: Object to the form.
        24   Q. Object, nonresponsive. Do you agree with me that redox   24            THE WITNESS: Have I -- am I aware of people
        25     balance in cells is controlled by far more enzymes,       25     use talcum powder is linked to development of

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         1     proteins, and substances than you looked at in your        1     possibility of adhesions?
         2     talc studies?                                              2   BY MR. KLATT:
         3            MS. O'DELL: Object to the form.                     3   Q. I'm asking you a very specific question. Are you aware
         4            THE WITNESS: And I answered. I said                 4     of any articles in the medical or scientific
         5     these -- the one we looked at are the main, there are      5     literature, any case studies, any case reports of women
         6     others, but they're not major players. Those are, the      6     who used external talc having increased adhesions,
         7     one we studied are the major contributor to the overall    7     fibrosis, granulomas anywhere in their reproductive
         8     pro-oxidant state of the cell.                             8     tract?
         9   BY MR. KLATT:                                                9            MS. O'DELL: Object to the form.
        10   Q. And some of those enzymes in some cancers are pro-       10            THE WITNESS: What do you mean by external?
        11     tumorigenic and some of those same enzymes in other       11   BY MR. KLATT:
        12     cancers are anti-tumorigenic, correct?                    12   Q. What does external mean to you?
        13   A. I'm not aware of that.                                   13   A. I'm asking you.
        14   Q. You haven't said that before?                            14   Q. I'm asking the questions, Doctor.
        15   A. Said that exact word? No.                                15   A. Okay, I understand, I just want to clarify.
        16   Q. Do you recall ever saying this: Decreasing oxidative     16   Q. Do you understand what external talc application means?
        17     stress and increased SOD promotes apoptosis in the        17            MS. O'DELL: You didn't say that, you just
        18     cancer cell lines studied, but multiple other studies     18     said external, so, anyway.
        19     performed using other cell lines have shown the           19            If you understand his question, answer the
        20     opposite, that decreased SOD can promote apoptosis?       20     question or define what you mean.
        21            MS. O'DELL: Object to the form.                    21   BY MR. KLATT:
        22            THE WITNESS: So this -- I said that? Or you        22   Q. Let me ask the question again. Are you aware of any
        23     took this from my --                                      23     study in the medical or scientific literature, case
        24   BY MR. KLATT:                                               24     report, that shows that external genital application of
        25   Q. I'm asking if you recall saying that?                    25     talc results in increased fibrosis, granulomas, or

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         1     adhesions anywhere inside the female reproductive          1     look and see if I have any other notes.
         2     tract?                                                     2             THE VIDEOGRAPHER: Going off the record at
         3            MS. O'DELL: Object to the form.                     3     6:18 p.m.
         4            THE WITNESS: I'm not aware.                         4            (An off-the-record discussion was held.)
         5   BY MR. KLATT:                                                5             THE VIDEOGRAPHER: Back on the record at 6:19
         6   Q. Are you aware that according to studies, anywhere from    6     p.m.
         7     30 to 50 percent of U.S. women have used talc in the       7   BY MR. KLATT:
         8     external genital area?                                     8   Q. Doctor, in your PCR studies, did you normalize for
         9   A. I'm sorry, say that again, sorry.                         9     actin?
        10   Q. Are you aware from studies that anywhere from 30 to 50   10   A. Yes.
        11     percent of U.S. women have used talcum powder in the      11   Q. And how did you do that?
        12     external genital area?                                    12   A. So we did PCR for beta-actin.
        13   A. I'm not sure about the number.                           13   Q. And where is that indicated in your lab --
        14   Q. Are you aware of any epidemic of granulomas, fibrosis,   14   A. It is page -- every experiment we did with PCR we ran
        15     or adhesions in women who use externally applied          15     beta-actin, and if you go to Page -- what's this page
        16     genital talc?                                             16     here --
        17            MS. O'DELL: Object to the form.                    17             MS. O'DELL: What's the ending Bates Number
        18            THE WITNESS: I don't know if -- I don't know       18     on there?
        19     if any relation between talc powder use and adhesions.    19   BY MR. KLATT:
        20   BY MR. KLATT:                                               20   Q. There may be a Bates Number in the lower right hand
        21   Q. Is there a way to measure the redox state directly       21     corner.
        22     inside of cells?                                          22   A. 10.
        23   A. Very difficult.                                          23   Q. Okay. I'm with you.
        24   Q. Can it be done?                                          24   A. Are you there?
        25   A. The data will not be very reliable.                      25   Q. Yes.

                                                       Page 307                                                          Page 309
         1   Q. Is there a method to do that?                             1   A. It's even cut off from here, I don't know why. But you
         2   A. You can measure H2O2, you can measure nitrosylation,      2     see the standard curve?
         3     degree of nitrosylation of protein, we have done that      3   Q. Yes.
         4     with Caspase-3 and S-nitrosylation of Caspase-3 as a       4   A. Okay, so what we do here, we do a realtime RT-PCR where
         5     measure of how the level of antioxidants. The accurate     5     we design a small oligo that is flanked by the primers,
         6     way to measure it is to measure the key players            6     and we order that to be synthesized, and we know the
         7     together to have the complete picture.                     7     concentration, we dilute it down, and we create a
         8   Q. Those two methods that you just named, did you use        8     standard curve, and we use this standard curve to
         9     those in any of your talc studies?                         9     extrapolate the results and normalize for our level of
        10   A. What methods?                                            10     mRNA with the treatment.
        11   Q. The methods you just listed for me which were a way to   11   Q. Can I ask you a question. On Page 10, that indicates
        12     directly measure the redox state of cells.                12     raw data, correct?
        13   A. Measuring all markers? Oh, the other method, yes, they   13   A. Page 10?
        14     are listed here.                                          14   Q. The page you were just looking at.
        15   Q. Did you use those?                                       15   A. I just want to see, it's not clear here. I just want
        16   A. I'm sorry, I'm missing you. Am I use ever in my lab or   16     to see what page is this here. I'm with you.
        17     in this study?                                            17            MS. O'DELL: What's the question, Mike?
        18   Q. In the talc studies.                                     18   BY MR. KLATT:
        19   A. The S-nitrosylation of Caspase-3, we did not use in      19   Q. Looking at Page 10 on Exhibit 1, and I'm not talking
        20     this study.                                               20     about the lab page number, I'm talking about the Bates
        21   Q. And there was one other method that you mentioned.       21     Number, if you look for Sample 356, you see to the
        22   A. The H2O2.                                                22     right there's numbers 285995.18, 273439.209?
        23   Q. Did you use that method in your talc --                  23   A. Uh-huh.
        24   A. No, we used it for catalase activity indirectly.         24   Q. And 409589.891?
        25   Q. Can we go off the record for a second. I just need to    25   A. Correct.

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                                                        Page 310                                                          Page 312
         1   Q. If you turn to the next page, those numbers are            1   A. Yeah. Is it Page 41?
         2     replicated for Sample 356.                                  2            MS. O'DELL: You're on Page 11?
         3   A. What next page?                                            3            MR. KLATT: Correct.
         4   Q. The very next page in the --                               4            MS. O'DELL: So I think it's this page.
         5   A. Here?                                                      5            THE WITNESS: Oh. Isn't it this page?
         6   Q. Yeah.                                                      6            MS. O'DELL: No, I think it's back, if I'm
         7   A. Okay. Where are they? 356, this is copies per              7     not mistaken.
         8     micrograms of CDNA.                                         8            THE WITNESS: Oh, here. We were on this
         9   Q. And that corresponds to those numbers, those same three    9     page, right?
        10     numbers on the previous page, correct?                     10   BY MR. KLATT:
        11   A. So this is the copy number, 28274095, yeah, I see         11   Q. I'm confused because you're looking at the real lab
        12     they're the same.                                          12     notebook and I'm looking at --
        13   Q. But for the 357 sample, the numbers don't correspond      13   A. No, no, no, we were on the same page. I thought you
        14     between those two pages, correct?                          14     asked me to go to a different page. I see that column.
        15   A. Correct.                                                  15   Q. Just so we're on the same wavelength --
        16   Q. And can you explain why?                                  16   A. I see it.
        17   A. So that's why we normalize, because you will have         17   Q. -- I'm referring to Page 11 Bates Number, correct?
        18     different copy numbers all the time, so we normalize       18   A. Picogram per microgram for RNA.
        19     it.                                                        19   Q. Right.
        20   Q. Can you go to the next page, which would be notebook      20   A. 4.58, the first number.
        21     page -- handwritten Page 39 and Bates Number 11.           21   Q. 4.58?
        22   A. 39? I'm still on the same page, right?                    22   A. Uh-huh.
        23            MS. O'DELL: That's where we were I thought,         23   Q. Right, and if you go -- that whole column's full of
        24     unless I was confused about your question.                 24     numbers, correct?
        25   BY MR. KLATT:                                                25   A. This column, yes.

                                                        Page 311                                                          Page 313
         1   Q. Well, Bates Number -- my Bates Number's cut off, excuse    1   Q. And then to the right of that you have an average,
         2     me, my handwritten number's cut off so I'm going to the     2     correct?
         3     Bates Number, which is 11.                                  3   A. Yes.
         4            MS. O'DELL: Okay, it's Page --                       4   Q. Sometimes you average two of the three numbers,
         5            THE WITNESS: The next page.                          5     sometimes you average all three numbers.
         6   BY MR. KLATT:                                                 6   A. Correct.
         7   Q. Okay. And do you see the column toward the right           7   Q. Why do you only average two of the three numbers
         8     called picograms per microgram of RNA?                      8     sometimes?
         9   A. Where is that?                                             9   A. If we have outlier, really high, different.
        10   Q. The third column from the right-hand side.                10   Q. And what's your criteria for throwing out an outlier?
        11   A. On Page -- in this page, right?                           11   A. So if you have 4.5, 4.3, and 6.5, that's an outlier.
        12   Q. Page 11, Bates Stamped Page 11.                           12   Q. What's your threshold for classifying something as an
        13   A. This is the page, okay, this is the page. So you're       13     outlier to not include it in your calculations?
        14     looking at microgram?                                      14   A. So if the two numbers match, the closer they match and
        15   Q. Picograms per microgram per RNA, do you see that          15     the higher the outlier is is what we determine.
        16     column?                                                    16   Q. So do you always throw out the outlier of the three
        17   A. I see copies per microgram for RNA, I see copies per      17     values?
        18     microgram for RNA, thintogram (sic) per microgram for      18   A. Not always, not necessarily.
        19     RNA. Is what you're looking at?                            19   Q. So I'm just trying to figure what's your criteria
        20   Q. I'm looking right here, picograms per micrograms RNA      20     for --
        21     the third column from the right.                           21   A. So if they are like, for example, close like, for
        22   A. 1, 2, 3, that's called thintogram (sic).                  22     example, here, if we don't know that it is an outlier,
        23   Q. And what's the first number in that column?               23     like, for example, here, 3.6, 4.3, 3.2, it's very hard
        24   A. 125. Is that what you're looking at?                      24     to determine an outlier, but if you have 6 and 6 and 7,
        25   Q. I think we're not looking in the same place.              25     it is not hard.

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                                                 Ghassan Saed, Ph.D.
                                                        Page 314                                                         Page 316
         1   Q. Do you have a certain numerical criteria that you use     1
         2     to classify something as an outlier that you're going      2     RE-EXAMINATION BY MR. HEGARTY:
         3     to exclude from your calculations?                         3   Q. Doctor, I'm showing you what I'm marking as Exhibit 19.
         4   A. I just told you.                                          4     Do you recognize Exhibit 19?
         5   Q. What's the numerical value?                               5   A. It looks like the abstract we submitted to SGO.
         6   A. I don't have a numerical value.                           6   Q. This abstract in the middle refers to testing done at
         7   Q. You just eyeball it?                                      7     48 hours; is that correct?
         8            MS. O'DELL: Object to the form.                     8   A. 48 hours is a typo everywhere you see it, I acknowledge
         9            THE WITNESS: No, no, no, no, please, so I           9     that.
        10     just said that if the two numbers, okay, agrees very      10   Q. So you reported 48 hours in this abstract to SGO?
        11     close, the closer the two numbers together and the more   11   A. Correct. It is wrong. All the work that I did it's 72
        12     further is the other number, that is considered an        12     hours.
        13     outlier to me.                                            13         SAED DEPOSITION EXHIBIT NUMBER 20,
        14   BY MR. KLATT:                                               14         ABSTRACT,
        15   Q. But, again, you don't have any numerical formula that    15         WAS MARKED BY THE REPORTER
        16     you follow to make that determination, correct?           16         FOR IDENTIFICATION
        17            MS. O'DELL: Object to the form.                    17   BY MR. HEGARTY:
        18            THE WITNESS: I told you what I follow.             18   Q. I'm going to mark as Exhibit Number 20 another abstract
        19   BY MR. KLATT:                                               19     of yours; is that correct?
        20   Q. When it's close together, you exclude the third one.     20   A. Where is it -- talcum powder -- where was this?
        21     When it's further apart, you --                           21   Q. Do you recognize this abstract?
        22   A. I did not say that.                                      22   A. March 2018, okay.
        23            MS. O'DELL: Object to the form.                    23   Q. In the middle you report treating cells at 0, 200, and
        24   BY MR. KLATT:                                               24     500 micrograms per milliliter; is that correct?
        25   Q. Then please explain numerically how you make the         25   A. Yes, that was the initial study that we did.

                                                        Page 315                                                         Page 317
         1     decision to exclude one of the three values --             1   Q. And that data is reflected in the notebooks we looked
         2   A. Okay.                                                     2     at?
         3   Q. -- or include it.                                         3   A. It's here, yes.
         4   A. One more time. So if the two number -- we have three      4            MR. KLATT: Which notebook?
         5     numbers, right, three values. If two of the three          5            MS. O'DELL: Exhibit 3.
         6     values are very close, the closer they are together,       6         SAED DEPOSITION EXHIBIT NUMBER 21,
         7     and they are more further from the third one, that         7         ABSTRACT FROM SRI,
         8     third one qualifies for outlier.                           8         WAS MARKED BY THE REPORTER
         9   Q. How close do the two have to be to exclude the third?     9         FOR IDENTIFICATION
        10   A. Very close, have to be very close.                       10   BY MR. HEGARTY:
        11   Q. Numerically how --                                       11   Q. I'm going to mark next as Exhibit Number 21 another
        12   A. I don't know, I don't have a numerical value.            12     abstract of yours from SRI; is that correct?
        13   Q. That's all the questions I have, Doctor.                 13   A. SRI, March 16, this one is -- what is the title --
        14            MR. HEGARTY: How much time do we have left?        14     yeah, talcum powder -- yes.
        15            THE VIDEOGRAPHER: Two minutes left.                15   Q. In the method section you report treating cells with
        16            MS. O'DELL: Do you have questions?                 16     1,000 micrograms per milliliter of talc; is that
        17            MR. LOCKE: I do have a few.                        17     correct?
        18            MS. O'DELL: You've got two minutes.                18   A. That's a typo that's 100.
        19            MR. LOCKE: I know you've got some, too.            19   Q. That's another mistake?
        20            MR. HEGARTY: I do.                                 20   A. Yes, it's 100.
        21            MR. LOCKE: Go ahead, Mark.                         21            MS. O'DELL: I think your time's gone.
        22         SAED DEPOSITION EXHIBIT NUMBER 19,                    22            MR. HEGARTY: Okay. Well, we --
        23         ABSTRACT SUBMITTED TO SGO,                            23            THE WITNESS: And all those are the
        24         WAS MARKED BY THE REPORTER                            24     preliminary that we did.
        25         FOR IDENTIFICATION                                    25            MR. HEGARTY: We have request for several

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                                                 Ghassan Saed, Ph.D.
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         1     documents to be produced, so we can go on the record        1     actually, maybe I should do it this way, I apologize.
         2     before we finish the deposition. And then, also, we         2     If you would, let me hand to you what was marked as the
         3     reserve the right, as we indicated at the beginning of      3     lab notebook for your -- the experiments that were done
         4     the deposition, to seek additional time because of the      4     to and reported on in your manuscript and your report,
         5     late productions and, also, because of the                  5     Exhibit 1. Do you see those?
         6     nonresponsive nature Dr. Saed has been throughout the       6   A. Yes.
         7     deposition.                                                 7   Q. And if you turn to I think it was Page 57, Bates Number
         8            MS. O'DELL: I think the objection for one            8     57 -- make sure I'm at the right page. Let me know
         9     was objection for all, I think you made that rule,          9     when you get there, Doctor.
        10     Mike, but I'm glad you put -- we're going to go off the    10   A. 57?
        11     record, and I may have a few questions for Dr. Saed.       11   Q. Uh-huh.
        12     Before I do, I will say I think to state that Dr. Saed     12   A. This page?
        13     has not been responsive in his answers today is a          13   Q. Maybe I wrote the page down -- oh, yeah, it's actually
        14     misstate. The record and his testimony will be             14     84 in -- it's 57 in there and it's 84 in your main lab
        15     reflective that he was attempting to respond to the        15     notebook. You recall a number of questions about or
        16     questions, very difficult technical questions, and so      16     two questions at least that I recall, and it refers to
        17     he's attempted to do his best, and as we said before,      17     Page 84 in Exhibit 2 that corresponds to Bates Number
        18     we've complied with all the orders of the Court and the    18     57 of Exhibit 1, do you recall that, and there was --
        19     Notice of Deposition, and we'll oppose efforts at this     19     you were asked about a missing data table --
        20     point for any additional time with him. So let's go        20   A. Correct.
        21     off the record.                                            21   Q. -- that did not make it into the scanned version.
        22            MR. HEGARTY: And to the extent that you             22   A. Correct.
        23     don't have any additional questions, I just want to go     23   Q. Is the data contained in the table on Page 57 of the
        24     back on the record and make a note of the additional       24     scanned -- excuse me -- 84 of the lab notebook
        25     documents we want from Dr. Saed. We can do it now or       25     contained in the figure below?

                                                        Page 319                                                          Page 321
         1     we can do it at the end.                                    1   A. Yes.
         2            MS. O'DELL: Why don't we wait until the end.         2   Q. And was that figure included in the version that was
         3            MR. HEGARTY: Okay.                                   3     provided to defense counsel?
         4            THE VIDEOGRAPHER: Going off the record at            4   A. Yes.
         5     6:32 p.m.                                                   5   Q. Okay. I've got one more situation like this. If
         6            (A short recess was taken.)                          6     you'll turn to page -- let me get it -- it's 62 at the
         7            THE VIDEOGRAPHER: We're back on the record           7     Bates Stamp Number version, Exhibit 1, and for the lab
         8     at 6:56 p.m.                                                8     notebook it's Page 87.
         9   EXAMINATION BY MS. O'DELL:                                    9   A. Yes.
        10   Q. Doctor, I wanted to follow up on a few questions.         10   Q. And I think in this instance there was a table on
        11     First, when you were acting as a consultant, you           11     Page 87 of the lab notebook that was not scanned in the
        12     referred to yourself as a consultant a number of times     12     electronic version. Is the data that's contained in
        13     today, was it your understanding as a consultant you       13     the table on Page 87 also in the figure that was
        14     were also an expert witness?                               14     produced to Defendants?
        15   A. Yes.                                                      15            MR. HEGARTY: Objection, form. You can
        16   Q. And so during all the time that you were conducting the   16     answer.
        17     studies that you testified to today, that you were         17            THE WITNESS: Yes.
        18     preparing certain publications, you were working as an     18   BY MS. O'DELL:
        19     expert witness?                                            19   Q. You were also asked a series of questions about your
        20            MR. KLATT: Objection, leading.                      20     manuscript and the use of the word marginal. Do you
        21   BY MS. O'DELL:                                               21     recall that discussion?
        22   Q. Were you working during that time period as an expert     22   A. Yes.
        23     witness?                                                   23   Q. What did you intend by the use of the word marginal?
        24   A. Yes.                                                      24   A. I meant marked increase, marked difference.
        25   Q. Okay. Let me see if I can direct you back to --           25   Q. Okay. Let me change directions with you. We got your

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                                                  Ghassan Saed, Ph.D.
                                                        Page 322                                                          Page 324
         1     notebook that's been marked or two notebooks that have      1   BY MS. O'DELL:
         2     been marked Exhibit 11, and does that contain your          2   Q. You were asked a number of questions about your
         3     expert report in this case as well as the references        3     manuscript today. In your manuscript you state that
         4     noted in your expert report?                                4     your findings provide a molecular mechanism for linking
         5   A. Correct.                                                   5     genital talcum powder use to increased ovarian cancer
         6   Q. And do you have any changes that you would like to make    6     risk?
         7     in your expert report?                                      7   A. Yes.
         8   A. Yes, I do.                                                 8   Q. And does that statement relate to the pathogenesis of
         9   Q. Okay.                                                      9     ovarian cancer?
        10   A. So I think during that note there were some references    10   A. Yes.
        11     that were mislabeled, so I would like to --                11   Q. Does pathogenesis refer to the molecular mechanism that
        12   Q. Tell us what page you're on.                              12     results in the development of a disease?
        13   A. Page 10, I'd like to add -- where it says 49, I would     13   A. Yes.
        14     like to add 51 there.                                      14   Q. Also, in relation to your manuscript, has your
        15   Q. And when you say 51, do go --                             15     manuscript been peer reviewed and accepted for
        16   A. Reference number 51.                                      16     publication?
        17   Q. Okay.                                                     17   A. Yes.
        18   A. Okay. And next page, Page 11, where it says 50 on the     18   Q. Is the use of immortalized cells in laboratory research
        19     top of the page, first line, I'd like to add the NTP       19     generally accepted in your field?
        20     study 1993.                                                20   A. Yes.
        21   Q. Okay.                                                     21            MR. HEGARTY: Objection, form.
        22   A. And on Page 12, I'd like to remove 4575.                  22   BY MS. O'DELL:
        23   Q. Okay. And where is that on Page 12?                       23   Q. Is it widely accepted?
        24   A. On the middle paragraph.                                  24            MR. HEGARTY: Objection, form.
        25   Q. All right.                                                25            THE WITNESS: Yes.

                                                        Page 323                                                          Page 325
         1            MR. HEGARTY: I'm sorry, we're not getting            1   BY MS. O'DELL:
         2     realtime.                                                   2   Q. Is it a generally accepted practice for researchers in
         3            MS. O'DELL: Let's go off the record. Do you          3     your field to correlate findings from immortalized
         4     need that or can we move on?                                4     cells to in vivo application in humans?
         5            MR. HEGARTY: No, I need it. I just wanted            5   A. Yes.
         6     to see what he just said, and I can't, I obviously          6   Q. In terms of the studies that you have conducted on
         7     can't see it so --                                          7     talc, you mentioned that you use multiple types --
         8            MS. O'DELL: Off the record.                          8     multiple lines of each type of cell; do you recall
         9            THE VIDEOGRAPHER: Going off the record at            9     that?
        10     7:03 p.m.                                                  10   A. Yes.
        11           (An off-the-record discussion was held.)             11   Q. How many lines of or types of ovarian cells did you
        12            THE VIDEOGRAPHER: We're back on the record          12     use?
        13     at 7:05 p.m.                                               13   A. Three different ovarian cancer cell lines and three
        14   BY MS. O'DELL:                                               14     different normal cell lines.
        15   Q. You may continue, Doctor?                                 15   Q. And what's the reason for doing that?
        16   A. Yes. So the Page 12, the middle paragraph, I would        16   A. The reason is to get a rebox finding to show that it is
        17     like to delete references 4575 from the whole              17     not repeated three times but the finding is reproduced
        18     paragraph, they don't belong there.                        18     from three different normal or three different ovarian.
        19   Q. Okay.                                                     19   Q. And could another scientist with your expertise in and
        20   A. That's it.                                                20     background in research, could they replicate the
        21   Q. Anything else? Okay. Doctor, do in vitro models           21     studies that you've conducted?
        22     reliably predict the pathogenicity of potentially          22   A. Yes.
        23     harmful particulates or other carcinogens in humans?       23   Q. In terms of the outcomes for oxidative stress and
        24            MR. HEGARTY: Objection, form.                       24     inflammation that you saw demonstrated in your studies,
        25            THE WITNESS: Yes.                                   25     are there any alternative explanations for those

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                                                  Ghassan Saed, Ph.D.
                                                        Page 326                                                          Page 328
         1     results?                                                    1   RE-EXAMINATION BY MR. HEGARTY:
         2            MR. HEGARTY: Objection, form.                        2   Q. Doctor, in connection with your work in this
         3            THE WITNESS: That talcum powder induces              3     litigation, did the lawyers for Plaintiff provide you
         4     inflammation that leads to increased risk of ovarian        4     with any medical or scientific literature?
         5     cancer.                                                     5   A. No.
         6   BY MS. O'DELL:                                                6   Q. So none of the materials we marked as Exhibit Number 11
         7   Q. Are there any other alternative explanations other than    7     were provided by Counsel for Plaintiffs?
         8     the presence of talc treating a cell?                       8             MS. O'DELL: Object to the form.
         9   A. This is a direct experiment showing isolated effect.       9             THE WITNESS: Yeah, this was copied and
        10   Q. Based on your academic training and years of experience   10     provided by them, the references I made.
        11     studying ovarian cancer, does the cause and effect         11   BY MR. HEGARTY:
        12     observed in your studies make sense?                       12   Q. In connection with you -- strike that. In connection
        13            MR. HEGARTY: Objection, form.                       13     with any other testing you have done involving cell
        14            THE WITNESS: It does.                               14     cultures, have you ever served as an expert witness or
        15   BY MS. O'DELL:                                               15     a consultant in litigation involving the same topic of
        16   Q. In terms of the particular data that you evaluated, I     16     those experiments?
        17     want to ask you to take a look at I think it was Bates     17             MS. O'DELL: Object to the form.
        18     Number Page 11 of Exhibit 1, and you were asked some       18             THE WITNESS: I never served, as I stated, as
        19     questions about occasions when you averaged two            19     an expert witness in any litigation.
        20     findings?                                                  20   BY MR. HEGARTY:
        21   A. Outliers.                                                 21   Q. In connection with any experimental testing you've done
        22   Q. Yes. So address the outliers --                           22     involving cell cultures, have you ever served as a paid
        23   A. Yeah, so what I forgot to say that when I was asked       23     expert for plaintiffs lawyers on the same topic for
        24     by -- this whole statistics, I did not touch. This was     24     which you were doing those experiments?
        25     done by a professional, by a statistician, and the         25             MS. O'DELL: Object to the form.

                                                        Page 327                                                          Page 329
         1     results, his finding is in the section in the notebook.     1            THE WITNESS: Have I been hired by and paid
         2     He determined everything.                                   2     for by another? I'm sorry --
         3   Q. Would you have published your results even if they had     3   BY MR. HEGARTY:
         4     shown there was no biological effect?                       4   Q. Other lawyers at the same time you were doing cell
         5             MR. HEGARTY: Objection, form.                       5     culture tests involving the same topic that you were
         6             THE WITNESS: Of course.                             6     consulting with them on.
         7   BY MS. O'DELL:                                                7            MS. O'DELL: Object to the form.
         8   Q. Is it a standard cell culture technique generally          8            THE WITNESS: No.
         9     accepted in your field to split the cell culture right      9   BY MR. HEGARTY:
        10     after the cells have -- (coughing in room) -- in a         10   Q. You said in response to counsel's question that when
        11     24-hour period?                                            11     you used the word marginal, you meant marked. What
        12   A. It is.                                                    12     is -- where is a written definition for marked?
        13   Q. Is it a standard cell culture technique that's            13   A. Marked.
        14     generally accepted in your field to start experiments      14   Q. I think I said that, but where is a published standard
        15     right after splitting the cells?                           15     for what marked means?
        16   A. Cells have to reach confluency and then you split them,   16   A. This is marked is to me, but we can go the
        17     yes.                                                       17     statistically significance. To me, when you have an
        18   Q. And it's generally accepted to begin your experiments     18     increase of 1 versus 6 fold, that's a marked increase.
        19     right after that point?                                    19   Q. Is there a written standard for what constitutes a
        20   A. Correct.                                                  20     marked increase?
        21             MS. O'DELL: Nothing further.                       21   A. No.
        22             How long was that?                                 22            MS. O'DELL: Object to the form.
        23             THE VIDEOGRAPHER: 14 minutes.                      23   BY MR. HEGARTY:
        24             MR. HEGARTY: Give me a second.                     24   Q. When I asked you not long ago if you had any revisions
        25                                                                25     to your expert report, you answered no. Do you recall

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         1     telling me that?                                            1   A. What's the name of the lady I met today --
         2            MS. O'DELL: I don't recall the question              2             MS. O'DELL: Michelle.
         3     being asked.                                                3             THE WITNESS: Michelle, I just met her today.
         4   BY MR. HEGARTY:                                               4     Sorry, I'm not good at names.
         5   Q. I did ask. I asked you, Doctor, didn't I, if you had       5             MS. O'DELL: Alastair.
         6     any -- if you needed to revise in any way your report.      6             THE WITNESS: And Alastair, we met today.
         7     Do you recall me asking that?                               7   BY MR. HEGARTY:
         8            MS. O'DELL: Object to the form.                      8   Q. You testified a moment ago that an in vitro model
         9            THE WITNESS: Probably I forgot that those            9     reliably predicts that, I think, pathogenesis of
        10     references need to be done.                                10     potentially harmful particles and other carcinogens --
        11   BY MR. HEGARTY:                                              11     let me back up and find that testimony -- you said
        12   Q. When did this revelation come to you?                     12     do -- you agreed with the question that in vitro models
        13   A. I mean I don't --                                         13     reliably predict the pathogenesis of potentially
        14            MS. O'DELL: Object to the form.                     14     harmful particulates or other carcinogens in humans.
        15            THE WITNESS: I'm not sure, we've been               15     Do you recall agreeing with that statement?
        16     through many, many, many questions, so I don't really      16   A. Yes.
        17     remember be accurately.                                    17   Q. What data does it take for an in vitro model to
        18   BY MR. HEGARTY:                                              18     reliably predict the carcinogenicity of a particle?
        19   Q. Well, I asked that you question about --                  19   A. What data?
        20   A. Make you did, I'm not denying, maybe you did, but I'm     20   Q. Is it your testimony that in vitro models by themselves
        21     saying there are too many things that we're covering       21     reliably predict the carcinogenicity of a particle to a
        22     today in very small time.                                  22     human?
        23   Q. Well, did you discover the need to make those revisions   23   A. Yes.
        24     before today?                                              24             MS. O'DELL: Object to the form.
        25   A. Yes, they actually they were marked in my -- with my      25             THE WITNESS: They do.

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         1     handwriting, this is my handwriting, they were marked       1   BY MR. HEGARTY:
         2     with my handwriting.                                        2   Q. Cite for me an instance when a carcinogen has been
         3   Q. When did you make those handwritten marks?                 3     identified in humans based solely on an in vitro model.
         4   A. Last night, I was reviewing this, and I -- what I          4   A. I can't remember.
         5     understood maybe your question as if I want to make         5   Q. When have you ever classified a substance as a
         6     something to the text, but this is like probably the        6     carcinogen based on the result in an in vitro model?
         7     end notes without the references.                           7   A. In vitro model is a good predictor to determine whether
         8   Q. Did you meet with counsel for Plaintiffs yesterday?        8     a substance is carcinogenic or not, if the same effect
         9   A. Did I meet with -- yes, I did.                             9     is replicated in vivo.
        10   Q. For how long?                                             10   Q. You did not replicate your results in an in vivo model,
        11   A. I can't remember, three, four hours, five hours, I        11     correct?
        12     don't know.                                                12   A. Not yet.
        13   Q. From when to when?                                        13   Q. You were asked with regard to your experimental results
        14   A. When was it, 10 maybe to 2, 3.                            14     whether there was any other alternative explanation for
        15   Q. Who did you meet with?                                    15     the results. What did you do to rule out alternative
        16   A. The three -- Leigh, Margaret, John, right, and who        16     explanations for the results that you found in your
        17     else -- I think that's it right, I don't remember,         17     testing?
        18     Leigh, Margaret, John, and Dan.                            18   A. Because treatment without talc did not induce it, we're
        19   Q. At any point in time during your consultation with        19     doing a comparison, very simple comparison with and
        20     Plaintiff's Counsel, have you met with any other           20     without, and with did this, without, this didn't do.
        21     lawyers that you've not identified here today?             21   Q. You claim that your test results show that talc
        22   A. Have I met at any point?                                  22     increases the risk of ovarian cancer. How did you show
        23   Q. At any point.                                             23     by your test results that talc increases the risk --
        24   A. I met Allison, right?                                     24     I'm sorry -- yeah, increases the risk of ovarian
        25   Q. Any others who we haven't talked about?                   25     cancer?

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         1   A. One more time, please.                                    1     I don't understand what you're trying to do, seriously.
         2   Q. How do you remember test results show that talc           2   BY MR. HEGARTY:
         3     increases the risk of ovarian cancer?                      3   Q. Well, have you ever reported finding a pro-oxidative or
         4   A. By showing that the treatment with talcum powder          4     an anti-oxidative state in normal ovarian cells?
         5     induces the same oxidative oxidant and anti-oxidant        5            MS. O'DELL: Object to the form.
         6     profile that we observe in epithelial ovarian cancer       6            THE WITNESS: As compared to what?
         7     cells.                                                     7   BY MR. HEGARTY:
         8   Q. But no study has shown those results in women using       8   Q. As compared to nothing.
         9     cosmetic talc, correct?                                    9   A. How you not compare to nothing?
        10            MS. O'DELL: Object to the form.                    10   Q. Right.
        11            THE WITNESS: So you're saying there's no           11   A. So we comparing ovarian cancer to normal cells.
        12     studies out there showing woman using the talc powder     12   Q. My question is simply in normal cells, have you ever
        13     have increased any of these markers?                      13     found pro-oxidative or anti-oxidative state?
        14   BY MR. HEGARTY:                                             14   A. We found -- okay, maybe I know what you want me to say.
        15   Q. Correct.                                                 15     So there are the players, the key oxidants and key
        16   A. I think you asked me the same question before.           16     anti-oxidants, they are expressed in all cells
        17   Q. Let me ask it a different way, if you -- I already       17     including normal. Now, the amount of -- the degree of
        18     asked you the same question. How do you go from your      18     expression, that what gets screwed up and altered when
        19     test results to concluding there's an increased risk of   19     you develop -- you start -- cells start developing that
        20     cancer with applying talc to the body?                    20     oncogenesis phenotype.
        21            MS. O'DELL: Object to the form.                    21   Q. I need to leave Mr. Klatt a minute or two. You
        22            THE WITNESS: Again, as I stated, the               22     mentioned that you would still have published your
        23     treatment of ovarian cancer cells, three different        23     article if you found no biologic effect. Do you recall
        24     ovarian cancer cell lines and three different normal      24     answering that question?
        25     cells with talcum powder induces a profile of oxidative   25   A. Correct.

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         1     stress that we in our lab have extensively published       1   Q. Is it your belief that anyone would publish your paper
         2     and characterized for ovarian cancer cells.                2     if you showed no biologic effect?
         3   BY MR. HEGARTY:                                              3             MS. O'DELL: Object to the form.
         4   Q. You characterized that state in ovarian cancer cells,     4             THE WITNESS: Anyone not me, you talking
         5     correct?                                                   5     about me?
         6             MS. O'DELL: I'm sorry --                           6   BY MR. HEGARTY:
         7             THE WITNESS: State?                                7   Q. Yes, any publisher.
         8   BY MR. HEGARTY:                                              8   A. That it would be published, yes, I would consider this
         9   Q. Well, the pro-oxidant and anti-oxidant state, you've      9     a very positive and very negative, same thing.
        10     characterized that to exist in ovarian cancer cells,      10   Q. But do you think a journal would publish --
        11     correct?                                                  11   A. Absolutely, it's a finding.
        12   A. We characterized that there is an enhanced pro-oxidant   12   Q. What is that based on?
        13     state in -- that manifest in ovarian cancer cells, yes.   13   A. It's a finding.
        14   Q. You've not done any studies showing a pro-oxidant or     14   Q. Have you ever approached a journal and had them publish
        15     decreased anti-oxidant state in normal ovarian cancer     15     an article on a negative finding?
        16     cells, correct?                                           16   A. I don't know what you call negative.
        17             MS. O'DELL: Object to the form.                   17   Q. Well, showing no biologic --
        18             THE WITNESS: Normal ovarian cancer?               18   A. That's not negative, that's a huge finding.
        19   BY MR. HEGARTY:                                             19   Q. Okay. All right.
        20   Q. Yes. I'm sorry -- you have not shown a pro-oxidative     20             You have questions, Mike? Go ahead.
        21     or anti-oxidative state in normal ovarian cells?          21     RE-EXAMINATION BY MR. KLATT:
        22   A. In response to what?                                     22   Q. Dr. Saed, are you aware that a plaintiff's expert named
        23   Q. In response to anything.                                 23     John Godlesky has tested dozens of women's ovarian,
        24             MS. O'DELL: Object to the form.                   24     reproductive, and peritoneal tissue, and found many,
        25             THE WITNESS: That's a very vague question.        25     many nontalc particles, foreign particles in that

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         1     tissue; are you aware of that?                              1     many questions as I can in 20 seconds. You're the
         2   A. No.                                                        2     first expert to reach the conclusions that you have in
         3   Q. If you tested those other foreign particles that aren't    3     your report, is that correct?
         4     talc in the same test that you tested talc, could you       4            MS. O'DELL: Object to the form.
         5     get the same results?                                       5            THE WITNESS: That were looking at the
         6             MS. O'DELL: Object to the form.                     6     molecular mechanism and molecular effect of talcum
         7             THE WITNESS: I didn't test them.                    7     powder?
         8   BY MR. KLATT:                                                 8   BY MR. LOCKE:
         9   Q. But is it possible that if you tested them, you could      9   Q. Right.
        10     get the same results?                                      10   A. I wasn't the first one.
        11   A. If I didn't test them, I will not give you an answer.     11   Q. Who did it before?
        12   Q. I'm sorry?                                                12   A. Was Shukla and there was the -- what was the other guy
        13   A. I did not test them.                                      13     name, I can't remember names, but there were two or
        14   Q. So you have no idea whether any other foreign particle    14     three papers that look at molecular mechanisms,
        15     other than talc would result in the same findings you      15     molecular effects.
        16     found for talc, correct?                                   16   Q. Okay.
        17             MS. O'DELL: Object to the form.                    17            MS. O'DELL: I'm sorry, time's up.
        18   BY MR. KLATT:                                                18            MR. LOCKE: I'm going to still object to not
        19   Q. Because you haven't done the test.                        19     being able to ask a couple quick questions here.
        20   A. When I test, I will tell you.                             20            MS. O'DELL: Tom, I'm sorry, I mean this
        21   Q. So you can't give us any information on what any other    21     is between --
        22     particles other than talc would do under the tests that    22            MR. LOCKE: You're cutting me off.
        23     you -- let me finish -- the tests that you submitted       23            MS. O'DELL: I've tried to be very
        24     talc to, correct?                                          24     accommodating, but this is between you and your
        25             MS. O'DELL: Object to the form.                    25     co-counsel.

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         1            THE WITNESS: I only can give you information         1            MR. LOCKE: No, it's really not.
         2     to the experiments that I did and --                        2            MS. O'DELL: Yes, it is, it is.
         3   BY MR. KLATT:                                                 3            MR. LOCKE: Okay. We'll be back with this
         4   Q. And you didn't do any tests on any foreign particles       4     witness.
         5     other than talc, correct?                                   5            MR. HEGARTY: Do you have anything further?
         6   A. Correct.                                                   6            MS. O'DELL: I have nothing further.
         7   Q. And has all your testing on talc been paid for by the      7            MR. HEGARTY: I just want to put on the
         8     Beasley Allen firm?                                         8     record several document requests, and I certainly don't
         9            MS. O'DELL: Object to the form.                      9     expect you to agree to them right now.
        10            THE WITNESS: My time?                               10            We would like copies of Dr. Saed's prior
        11   BY MR. KLATT:                                                11     drafts of his manuscript; copies of any correspondence
        12   Q. Well, the testing, yeah, the time that you spent          12     with OB-GYN Oncology and its reviewers, whether it's in
        13     testing talc.                                              13     his possession or maintained on a website; any cover
        14            MS. O'DELL: Object to the form.                     14     letters accompanying submissions of the manuscript to
        15            THE WITNESS: No, testing is not -- what are         15     either OB-GYN Oncology or Reproductive Sciences; all
        16     you trying to -- we already discussed this. Time, they     16     communications with Dr. Saed, between Dr. Saed and
        17     paid for my time for consultation, I paid for the          17     Beasley Allen and other plaintiffs lawyers with regard
        18     expenses from the lab. We already talked about that.       18     to his manuscript; and the budget that Dr. Saed
        19            MR. KLATT: Okay. Anybody else?                      19     prepared for his manuscript; as well as all accounting
        20            MR. LOCKE: Yeah. Are you finished?                  20     documents, invoices, or other original documents that
        21            MR. KLATT: Yes.                                     21     memorialize the expenses, costs, et cetera, hours
        22     EXAMINATION BY MR. LOCKE:                                  22     worked on the manuscript that we -- that are reported
        23   Q. I just want to clarify for you, Doctor --                 23     in Exhibit Number 5.
        24            MS. O'DELL: You've got 20 seconds.                  24            MS. O'DELL: You're referring to the budget
        25            MR. LOCKE: Okay, well, I'm going to ask as          25     officer at Wayne State?

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         1          MR. HEGARTY: Correct, and the documents that        1           ------
         2   Sharon Pepe used to put together the numbers that are                  ERRATA
         3   reported in that exhibit. And those are at least the       2           ------
         4   document requests that I can think of right now, but we    3   PAGE LINE CHANGE
         5   reserve the right to go back and look at the transcript    4   ____ ____ ____________________________
         6   to see if there are any additional requests, and we        5    REASON: _____________________________
         7   will make them in a timely manner.                         6   ____ ____ ____________________________
         8          MS. O'DELL: We will be happy to meet and            7    REASON: _____________________________
         9   confer on all of those items, some of which we might       8   ____ ____ ____________________________
        10   work an agreement out, some of which we might need some    9    REASON: _____________________________
        11   assistance by the Court.                                  10   ____ ____ ____________________________
        12          THE VIDEOGRAPHER: This concludes the
                                                                       11    REASON: _____________________________
        13   deposition. We're going off the record at 7:29 p.m.
                                                                       12   ____ ____ ____________________________
        14          (The deposition was concluded at 7:29 p.m.)
                                                                       13    REASON: _____________________________
        15
                                                                       14   ____ ____ ____________________________
        16
                                                                       15    REASON: _____________________________
                                                                       16   ____ ____ ____________________________
        17
                                                                       17    REASON: _____________________________
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                                                                       18   ____ ____ ____________________________
        19
                                                                       19    REASON: _____________________________
        20                                                             20   ____ ____ ____________________________
        21                                                             21    REASON: _____________________________
        22                                                             22   ____ ____ ____________________________
        23                                                             23    REASON: _____________________________
        24                                                             24   ____ ____ ____________________________
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         1              CERTIFICATE OF NOTARY                           1       ACKNOWLEDGMENT OF DEPONENT
                                                                        2
         2
                                                                                     I,_____________________, do
         3    STATE OF MICHIGAN                )                        3   hereby certify that I have read the
         4                       ) SS                                       foregoing pages, and that the same
                                                                        4   is a correct transcription of the answers
         5    COUNTY OF OAKLAND                  )                          given by me to the questions therein
         6        I, Laurel A. Frogner, Certified Shorthand             5   propounded, except for the corrections or
         7    Reporter, a Notary Public in and for the above county         changes in form or substance, if any,
                                                                        6   noted in the attached Errata Sheet.
         8    and state, do hereby certify that the above deposition    7
         9    was taken before me at the time and place hereinbefore        _______________________________________
                                                                        8   Ghassan Saed, Ph.D. DATE
        10    set forth; that the witness was by me first duly sworn    9
        11    to testify to the truth, and nothing but the truth,      10
        12    that the foregoing questions asked and answers made by   11
                                                                       12
        13    the witness were duly recorded by me stenographically    13
        14    and reduced to computer transcription; that this is a    14
        15    true, full and correct transcript of my stenographic          Subscribed and sworn
                                                                       15   to before me this
        16    notes so taken; and that I am not related to, nor of          _____ day of ______________, 20____.
        17    counsel to any party, nor interested in the event of     16
                                                                            My commission expires:______________
        18    this cause.                                              17
        19                                                             18   ____________________________________
        20                                                                  Notary Public
                                                                       19
        21             Laurel A. Frogner, CSR-2495, RMR, CRR           20
        22             Notary Public,                                  21
        23             Oakland County, Michigan                        22
                                                                       23
        24             My Commission expires: 4-22-2022                24
        25                                                             25

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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON                           MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY
    LITIGATION

    THIS DOCUMENT RELATES TO ALL CASES




                                RULE 26 EXPERT REPORT OF
                                JACK SIEMIATYCKI MSc, PhD




    Date: November 16, 2018
                                         Jack Siemiatycki MSc, PhD
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            EXPERT REPORT OF JACK SIEMIATYCKI MSc, PhD

                                         On

              TALCUM POWDER USE AND OVARIAN CANCER




                           Jack Siemiatycki, MSc, PhD, FCAHS

                                106 Columbia Avenue

                             Westmount, Quebec, Canada

                                 November 16, 2018
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   1.   My mandate
   I have been retained to assess the epidemiologic evidence regarding the general causation
   between perineal (or genital) use of talcum powder products and risk of ovarian cancer.
   The question is: “Can application of talcum powder products in the perineal region cause
   ovarian cancer?”

   All of my opinions in this report are stated to a reasonable degree of scientific certainty.


   2.   My credentials, expertise and experience
   I am a tenured Professor of epidemiology at the University of Montreal and an Adjunct
   Professor of epidemiology at McGill University in Montreal. I have received prestigious
   national research awards in Canada, such as National Health Scientist Salary Award,
   Medical Research Council Distinguished Scientist Award, Canada Research Chair in
   Environment and Cancer and, currently, I hold the Guzzo-Cancer Research Society Chair in
   Environment and Cancer. I am an elected fellow of the Canadian Academy of Health
   Sciences. I was awarded a lifetime achievement award by the Canadian Society for
   Epidemiology and Biostatistics, the premier professional organisation in our discipline.

   Trained in statistics and in epidemiology, I have devoted most of my research career to
   investigating links between environmental, occupational and lifestyle factors and various
   types of cancer. My research has been both substantive – namely, looking at particular
   factors and their possible relationship to particular cancers - and methodological – namely,
   exploring how to evaluate and enhance the validity of epidemiologic research through
   various prisms: study design, data collection methods and statistical analysis. Of my
   approximately 250 research publications, about one quarter would be considered to have
   methodological focus.

   I have held various leadership positions, including the elected presidency of the Canadian
   Society for Epidemiology and Biostatistics, and elected membership on the Board of the
   American College of Epidemiology. I have been invited to serve on over 160 Boards,
   Scientific Councils and Expert Panels for a host of governments, universities or research
   agencies. Examples include: Board of Directors of the Canadian National Cancer Institute,
   member of expert panel tasked with recommending priorities for action under the
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   Canadian Environmental Protection Act, member of external peer review panel of the
   Epidemiology branch of the US National Cancer Institute (NCI), member of two different
   expert advisory bodies to research projects at the NCI, consulted by President Clinton’s
   Cancer panel, member of external peer review panel for the Helmholtz German national
   medical research agency, Chair of the Scientific Council of the largest prospective study of
   causes of cancer being conducted in France, and others of that nature.

   I have been associate editor of the American Journal of Epidemiology and the International
   Journal of Environmental Health. In addition, I have served as reviewer for about 20
   journals. I have served as a chair and as a member of grant review panels for major
   Canadian scientific funding agencies.

   My research programme has been well funded by Canadian funding agencies for over 35
   years. I have conducted research and published on the carcinogenicity of a large number of
   agents in the occupational environment (e.g. asbestos, silica, welding fumes) and in the
   general environment (e.g. smoke from wood stoves, urban air pollution) and lifestyle
   factors (e.g. smoking, alcohol, use of cell phones).

   I have taught and supervised epidemiology students and many of my former trainees are
   now faculty members in universities around the world.

   I have had a long association with the International Agency for Research on Cancer (IARC).
   IARC is the premier institution in the world for cancer epidemiology and for environment
   and cancer research. It has several mandates, including the organisation and compilation of
   standardised high quality data on cancer incidence around the world, the conduct of
   original research, and the evaluation of the carcinogenicity of different agents with which
   humans come into contact. The latter is achieved through a process that involves
   identifying chemical or physical agents for evaluation, convening specially selected
   international expert panels that are mandated to review all pertinent evidence on the topic
   and write a thorough review culminating in an evaluation of whether the agent(s) are
   human carcinogens. Since the inception of this program in 1971, there have been about
   120 meetings held and approximately 1100 agents have been evaluated.



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   A particular point of pride for me is that over the years, research results from my team
   have been cited as part of the information base on 69 of the 1100 agents that have been
   evaluated, probably making my team the most cited epidemiology team in the history of
   the IARC Monograph program.

   My association with IARC began when I did a post-doctoral fellowship there in 1977-79.
   Over the intervening years I have collaborated with scientists at IARC on various research
   projects. I was a member of the 18-member Scientific Council of IARC from 2006 to 2010
   including two years as elected Chairman of the Council. The Scientific Council oversees all
   of the scientific activities at IARC; its members are named by the member states of IARC. I
   have been invited to sit on IARC Monograph international expert panels for 5 of the 60
   panels convened in the past 25 years. One of the IARC Monograph panels of which I was a
   member was tasked with evaluating: “Carbon black, titanium dioxide and non-asbestiform
   talc.” Out of the 16 invited experts who participated in the meeting as members of the
   Working Group, I was selected to chair the meeting.

   Subsequent to the IARC meeting and the report of the meeting, a small subgroup of
   members of the IARC Working Group, of which I was a member, conducted and published a
   meta-analysis of the results of the studies that had been available to the IARC Working
   Group (Langseth, 2008)

   Although I have not personally produced original data collection studies on the topic, I am
   well qualified to review the epidemiologic evidence. I have participated in two published
   reviews of the issue. The methodologic expertise and analytical skills required to critically
   review and evaluate such evidence is generic to the vast area of environmental
   epidemiology of cancer. I am routinely asked by journals and grant agencies to provide
   expert opinions on topics for which I have not produced original data collection studies,
   but that are within the purview of my expertise. The invitation by IARC to chair the
   meeting at which talc was evaluated is testimony to the fact that my competence and
   expertise in this matter are internationally recognized by peers. I do not claim expertise in
   various adjoining domains that inform this issue, including physiology, pathology, clinical
   oncology, experimental toxicology, geology and mineral chemistry. However, I do have the


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   expertise and skill to assimilate information that is provided by experts in these areas. I
   have previously submitted a report on my review of the evidence regarding talcum powder
   products and ovarian cancer in October 2016.

   I have previously served as an expert witness for plaintiffs in one U.S. court case, and that
   was a talc litigation in Los Angeles in 2017. (Eva Echeverria, BC628228, Johnson and
   Johnson Talcum Powder Cases, CA JCCP No. 4872), and I testified that the genital use of
   talcum powder products can cause ovarian cancer.

   I have served as an expert witness in two Canadian court cases, neither having to do with
   talc or hygiene powders or ovarian cancer. One case dealt with a class action lawsuit on
   behalf of a town in Canada adjoining a Canadian military base where there had allegedly
   been a spill of trichloroethylene that seeped into the water table of the town. The residents
   claimed that the contamination had caused cases of cancer. I was an expert for the defence,
   the Canadian government, and I testified in 2012. (Province of Quebec Superior Court file
   200-06-000038-037).

   The other case was a class action on behalf of Quebec residents who contracted cancer and
   had been smokers, claiming that the tobacco companies were responsible for their
   diseases. I was an expert for the plaintiffs and I testified in 2014. (Province of Quebec
   Superior Court file 500-06-000076-980).

   In my work as an expert for legal cases, my time is billed at the rate of $450 per hour for
   research, report preparation, communications with counsel, participation in depositions,
   and testimony in court.


   3.   Overview of my methodology
   The basis of my opinions derive from my education, training, experience, research and
   what is accepted within the community of leading scientists practicing in the field of
   epidemiology. My opinions are based on my review of the relevant materials, published in
   the scientific literature and/or produced in this case; including internal company
   documents, as well as relevant depositions, reports and testimony in the talcum powder
   product litigation. To reach my conclusions, I have employed the same scientific

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   methodology and rigor that I use in my research, in my publications and in the consulting
   and advising that I carry out on behalf of governments, public health agencies and research
   institutes. This includes a review of the relevant published literature, expert judgment to
   assess the quality and meaning of the various studies that were reviewed, and syntheses of
   the available evidence and any other pertinent medical and scientific evidence of which I
   am aware. The methods I used to derive and present my opinions are those used in general
   in the assessment of causal relations in medicine and public health, and more specifically in
   epidemiology. The methods are based on the experience and insight I have accumulated
   over 40 years of research, consulting, reviewing and student supervision, from discussions
   and interactions with leading epidemiologists, service on multiple IARC panels, and from
   reading evolving ideas in the scientific literature, including such seminal works as Bradford
   Hill’s (Hill 1965) writings on assessing causality.

   My opinions may be further supplemented and refined, subject to results that may come
   from further medical and scientific study and research and the continued review of
   additional information and discovery materials produced in this litigation.


   4.   The science of epidemiology
   This section is designed to provide a non-specialist reader with information and definitions
   about epidemiology and biostatistics that are needed to understand the basis of my
   evaluation on talcum powder products and ovarian cancer. I do not present in this section
   the actual data and evidence regarding talcum powder products and ovarian cancer.

   Epidemiology is the science of occurrence of diseases in human populations. It is concerned
   with the patterns of disease occurrence and also with identifying the factors that influence
   disease occurrence. These two sets of concerns are sometimes referred to respectively as
   descriptive epidemiology and analytic epidemiology. The first addresses such issues as the
   incidence of the disease in different geographic areas, in different time periods, or at
   different ages and sexes. The second addresses more focused questions on the specific
   environmental and/or lifestyle and/or genetic factors that might influence the incidence of
   disease.


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   The word “epidemiology” has the same etymologic roots as the word “epidemic”, which
   signifies that, initially, epidemiology grew out of the study of epidemics. Such epidemics
   were often of a microbial origin (e.g. viruses, bacteria, parasites). But increasingly in the
   19th and especially in the 20th century, it became clear that the etiology (i.e. causation) of
   chronic diseases such as cancer could also be elucidated by studying their patterns of
   occurrence.

   While there were many studies carried out in the early to mid-20th century that we would
   now qualify as epidemiological in nature, the discipline of epidemiology and its methods
   started to become formalized in the 1950’s and 1960’s. There are now departments of
   epidemiology in most large universities that have health science research and teaching
   activities and there are many national and international societies of epidemiology.

   Epidemiology is characterized by its mainly observational and non-experimental
   approaches. It is a discipline that is not primarily based in the laboratory; rather it is based
   in society. That is the source of its strength, and its weakness. Because it deals with people
   in the reality of their lives, it is the most pertinent approach to understanding the links
   between people’s lifestyles and environments and their health and disease. However,
   because it is based in society, it by necessity confronts the extreme complexity of human
   lifestyles, environments and diseases. And because we cannot experiment with people’s
   lives, we cannot control the conditions in which people are exposed. The methods of
   epidemiologic research are complex and differ from study to study. Statistical methods play
   an important role in trying to tease out the role of different variables and in determining
   whether the observed results may be attributable to chance, to bias or to real effects of
   putative risk factors. It is usually necessary to assemble evidence from several data-
   collection studies on a given topic before being able to draw inferences about causality.

   4.1 Some basic measures and notions used in epidemiology

   In this section I will review a number of concepts that need to be understood in order to
   properly understand my review of the evidence regarding talc powder and ovarian cancer.
   It is intended for readers who may not be expert in epidemiology. In this section I will not
   necessarily tie the concepts and definitions to the talc-ovarian cancer issue; that part will
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   be left for later. For now, I am simply introducing the non-epidemiologist reader to
   terminology and concepts with which she/he may not be very familiar.

   Prevalence of disease. The prevalence of a disease refers to the proportion of a
   population who are living with the disease at any given point in time.

   Incidence of disease. The incidence of a disease refers to the proportion of a population
   who are newly diagnosed with the disease during a certain period of time. The bridge
   between incidence rate and prevalence rate is the average duration of the disease, or how
   long people live with it before they are cured or pass away. In fact, while incidence and
   prevalence are foundational concepts in epidemiology, it is only incidence that figures
   prominently in the evaluation of carcinogenicity of talc.

   Risk of disease. The risk of disease is a term that can refer to incidence or prevalence. The
   meaning should be clear from the context in which it is used. For studies of cancer, it
   almost always refers to incidence of disease. This is the way I will use the term in this
   report.

   “Cause” of disease. A cause of a disease is any agent or characteristic (environmental,
   lifestyle or genetic) that increases the probability of getting the disease or it may simply
   advance or hasten the onset of the disease. It may act alone or it may act in concert with
   other factors over a lifetime to cause the disease. It may act immediately (e.g., cyanide as a
   cause of poisoning; lack of seat belt use as a cause of car accident mortality) or it may take
   many years for the effect to become manifest (e.g., lack of physical activity as a cause of
   obesity). There may be many different causes for the same disease. (See explanation of
   Multifactorial Etiology below.)

   Risk factor. As defined in the Dictionary of Epidemiology (Last 2001), a risk factor is an
   aspect of personal behavior or life-style, an environmental exposure, or an inborn or
   inherited characteristic, that, on the basis of epidemiologic evidence, is known to be
   associated with a health-related condition. The term risk factor is used rather loosely and
   depending on the context it can refer to a factor that directly causes a disease or a factor
   that is a strong marker for the proximal cause of the disease. As it is often used, I will


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   mainly use the term “risk factor” as a synonym for the noun “cause” of the disease. (eg.
   “Smoking is a risk factor for lung cancer.”)

   Association. As defined in the Dictionary of Epidemiology (Last 2001), association refers
   to the degree of statistical dependence between two or more events or variables. Events
   are said to be associated when they occur more frequently together than one would expect
   by chance. Association does not necessarily imply a causal relationship.

   Risk among unexposed (Ru) refers to the risk of disease among persons who are not (or
   were not) exposed to the agent under investigation. In this case, it would refer to the risk of
   getting ovarian cancer among women who have never used talc in the perineal region.

   Risk among exposed (Re) refers to the risk of disease among persons who are (or were)
   exposed to the agent under investigation. In this case, it would refer to the risk of getting
   ovarian cancer among women who have used talc in the perineal region.

   Relative Risk: RR = Re/Ru = Risk among exposed/Risk among unexposed

   When RR > 1.0, it indicates that exposure to the agent increases the risk of developing the
   disease. When RR < 1.0, it indicates that exposure to the agent prevents the disease.

   When RR = 1.0, it indicates that the exposure to the agent has no bearing on the risk of
   getting the disease.

   95% Confidence interval (95% CI). This refers to the precision of an estimate of a
   parameter. When we estimate the 95% CI for the RR, we are approximately saying that we
   are 95% certain that the true parameter underlying the study is within these limits. (The
   true interpretation is more subtle.)

   Statistical significance of an association: Statistical significance is a measure of the
   departure of a set of data from some null hypothesis. Most commonly in epidemiology, the
   null hypothesis would state that there is no association between a factor and a disease. The
   null hypothesis can be operationalized in different ways, such as that the RR = 1.0, or that
   there is no trend between the degree of exposure and the RR. Once a study is conducted,
   the results can be compared with the expected results based on the null hypothesis, and
   the discrepancy from the null hypothesis is measurable with probabilities. This is done

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   either by computing a p-value or a confidence interval. If the p-value is very small or the
   confidence interval does not include the null value, then we say that an observed
   association between the putative risk factor and the disease is unlikely to be due to chance
   alone.

   It is important to note that while statistical significance is a tool for assessing whether an
   observed association is attributable to chance alone, it is not a very effective tool for
   establishing the absence of an association. That is, the absence of statistical significance is
   not tantamount to proof of the absence of an association. The absence of statistical
   significance can be due to the true absence of an association, but it can also be due to the
   study not having sufficient statistical power or to bias or confounding in the research
   methods. Furthermore, it should be noted that the conventional dichotomization of results
   as “statistically significant” or not, based on a particular cutpoint on the p-value scale (eg. p
   = 0.05), is a gross simplification. The compatibility of the data with the null hypothesis of
   no association is in truth on a continuous scale and the dichotomization is arbitrary and
   potentially misleading, especially when the observed p-value is close to the arbitrary
   cutpoint.

   In practice, epidemiologists have been moving away from using and reporting p-values and
   statistical significance, as it has become clear that the main contribution of an individual
   study is to provide an estimate of the relative risk and its range of plausible values,
   embodied in a confidence interval.

   Cohort studies and case-control studies: Epidemiologic research projects can take many
   different forms. The two most common types of analytic epidemiologic studies are cohort
   studies and case-control studies. (Rothman, Greenland, & Lash 2008)

   In a cohort study, it is typical to enrol a large number of subjects, determine which ones are
   or have been exposed to the factor of interest (e.g., talc) and follow them for some period of
   time to evaluate whether those who were exposed subsequently experienced different
   disease rates from those who were not exposed.

   In a case-control study, by contrast, we start with people who have the disease under study
   (e.g. ovarian cancer) and a set of controls who do not have the disease, and we collect data

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   to determine whether the cases and the controls had different histories of exposure to the
   factor under study (e.g. talc).

   It may be said that a cohort study proceeds from the cause to the effect, whereas a case-
   control study starts from the effect and backtracks to the cause. There are many variants
   on these basic designs. These descriptions of these types of study are somewhat simplified.

   It is sometimes claimed that a prospective cohort design produces more valid and reliable
   RR estimates than a case-control study. But this is incorrect as a generalization. The
   validity and reliability are not determined by the overall architecture of the study, but
   rather by the specifics of the study, including how the study subjects were assembled, the
   nature of the variables under study (exposure, disease, confounders), exactly how the
   information was collected, the statistical power, and so on. There may be many reasons
   why a particular case-control study is more valid than a particular cohort study.

   Relative Risk (RR) and Odds Ratio (OR). The cohort study design leads naturally to the
   estimation of risk of disease among exposed, and risk of disease among unexposed, and
   then to the ratio of those two, which is the RR. In case-control studies, because of the way
   the study samples are selected, it is impossible to estimate the risk of disease or the ratio of
   the two risks, Re/Ru. However, under certain conditions which are well met in studies of
   cancer, it is possible to estimate an approximation of the RR. This is called the odds ratio,
   referred to as OR. In the rest of this report, I will consider evidence obtained from both
   cohort studies and case-control studies, and I will refer to the findings of these studies as
   RRs, even if technically speaking, the results from case-control studies are ORs.

   Bias, confounding, effect modification. The aim in an epidemiologic investigation of a
   putative risk factor is to derive an accurate estimate of the RR between exposure to the
   agent and the disease at issue. Because the investigator does not control the conditions in
   which people live and are exposed to different agents and their willingness to participate in
   research, there are many potential sources of distortion in epidemiologic research. While
   there are many sources of distortion, they can be bundled into a few large families of
   sources of distortion.



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   Bias refers to a systematic distortion in study findings, resulting from the way the study
   was designed or the way the data are collected. Specific examples of types of bias will be
   discussed below as they pertain to talc and ovarian cancer.

   Confounding is sometimes considered to be a type of bias, and sometimes it is considered a
   type of distortion on its own. This is merely a semantic distinction. Confounding refers to
   the situation where the association under study between factor F and disease D is distorted
   because there is a third factor X which happens to be correlated with F and which is a cause
   of disease D. For instance if we want to study the association between occupational
   exposure to talc in mines (factor F) and lung cancer (disease D), we need to be mindful of
   whether cigarette smoking (factor X) is more common in talc miners than in the rest of the
   population. Confounding differs from other types of bias in that it depends on relationships
   among different variables in the population, rather than characteristics of the study design
   and data collection.

   Effect modification refers to the phenomenon whereby a given factor has a different effect
   in one sub-population than in another. If we study the association between that factor and
   the disease in the entire population without distinguishing the two sub-populations, we
   might end up with an estimate of the association that does not convey accurately the
   association in either sub-population. For instance, if it were the case that a certain genetic
   characteristic G increases the risk of pre-menopausal ovarian cancer but has no impact on
   post-menopausal ovarian cancer, then a study of the association between G and ovarian
   cancer that does not discriminate by menopausal status, would find an RR result
   somewhere between the null value among post-menopausal women and the true RR value
   among pre-menopausal women. Depending on the proportions of pre- and post-
   menopausal women in the sample, the overall RR might be so close to the null, that we
   might erroneously conclude that there is no association at all. In this example, it might
   actually be quite simple to detect the effect modification, since age is always recorded and
   menopausal status is usually recorded and investigators are sensitized to the possible
   effect modification of female cancers by hormonal status. Other potential effect modifiers
   may not be so easily available and they might not be on the radar screens of investigators.
   Effect modification can in some unusual circumstances completely wipe out a true causal
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   association (as when the agent causes cancer in some people but prevents cancer in
   others!). But generally, if there is a causal effect of the agent in one stratum of the
   population and no association in another stratum, and if we fail to stratify the population
   according to the effect modifier, it will have the effect of producing an overall RR that is
   lower than it truly is in the sensitive stratum and higher than it truly is in the insensitive
   stratum.

   Effect modification is closely related to and sometimes synonymous with interaction or
   synergism.

   Publication bias refers to the tendency for some evidence never to “see the light of day”.
   Namely, when results are “negative” or “null”, it may be that investigators never bother to
   submit them for publication, or alternatively that editors refuse to publish them. This
   happens, most likely, when the hypothesis under study is not particularly topical or
   controversial, and when the study is small.

   In this section I have briefly outlined some potential sources of distortion of a typical
   epidemiologic study. I have done this in a high-level generic way. Below, after presenting
   results of my review of pertinent literature on powders and ovarian cancer I will return to
   commenting on the possible impact of such distortions in this body of literature.

   Exposure variable and exposure metric

   An exposure variable can be anything that can influence the occurrence or outcome of
   disease. The term is used for such disparate entities as external components of what we
   eat, drink, breathe, hear or see and microbiological organisms, chemicals or forms of
   radiation.

   Depending on the nature of the variable, information on an exposure variable can often be
   ascertained from epidemiologic study participants by questioning them. This is the case for
   variables like cigarette smoking or use of talc powders. For some variables, like exposure to
   a virus or to specific air pollutants or occupational chemicals, it is usually necessary to
   invoke more intensive data collection methods to ascertain exposure.




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   An exposure metric signifies a way of defining a variable for statistical analysis. The
   simplest metric is a binary variable: exposed or unexposed. For most exposure variables,
   like exposure to talc powder, there can be a very wide range of degree of exposure. And it is
   pertinent to create more nuanced exposure metrics that take into account the degree of
   exposure that different people have experienced, metrics such as duration of exposure,
   intensity or frequency of exposure and even cumulative measures of exposure over long
   periods of time.

   Measurement error. Whenever we are measuring a variable in an epidemiologic study, be
   it smoking, or weight, or socio-economic status, or blood pressure, or any other variable, it
   is virtually inevitable that there will be some degree of error in the measurement. There
   are ways of collecting data that make them more or less likely to involve error, but it is
   almost impossible to ensure that variables are measured with perfect validity and
   precision. Even such a variable as the diagnosis of ovarian cancer is subject to differences
   of opinion among pathologists and oncologists and the presence or absence and the
   histologic type of tumour is not a guaranteed 100% perfect diagnosis. The ascertainment of
   the lifetime history of talc exposure by means of an interview with a woman in middle age
   or later in life is certainly susceptible to the caprices of memory and the way the questions
   are formulated may influence the validity of respondents’ reports of lifetime exposure
   patterns. It is likely that habits that were performed regularly are more reliably recalled
   than activities that were sporadic or that only occurred many decades earlier. Similar
   issues arise for all other variables collected in such studies. We refer to measurement error
   as random (or non-differential) if the degree of measurement error does not differ between
   cases and controls in case-control studies or between exposed and unexposed in cohort
   studies. As a general rule of thumb, it can be asserted that random (or non-differential)
   measurement error has a predictable distorting effect on the RR. Namely, while there are
   some rather obscure exceptions, non-differential measurement error tends to attenuate the
   RR towards the null value of 1.0, and the more measurement error, the greater the
   attenuation. A full explanation for why this is so is quite technical and can be found in
   advanced epidemiology textbooks, such as Rothman, Greenland and Lash 2008. A very
   simple explanation is that the presence of measurement error in assigning exposed vs

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   unexposed status leads to dilution of both the exposed group and the unexposed group.
   That is, the ostensible exposed group (i.e. the folks who will be labelled as exposed based
   on the study data collection) will contain some folks who are truly unexposed and the
   ostensible unexposed group will contain some folks who are truly exposed. If there really is
   a difference in risk between the true exposed group and the true unexposed group, this
   difference will be watered down by the inadvertent inclusion in each group of folks who
   are really in the opposite group. An analogy is the cross-contamination of two cans of paint.
   Suppose we have a can of pure white paint and a can of pure red paint. Suppose we have a
   way of quantifying the difference in color tone between the two paints. Then suppose we
   take some spoonfuls from the red can and pour them into the white can, and likewise take a
   few spoonfuls of the white paint and pour them into the red can. Now the color contrast
   between the two cans has been attenuated. The color contrast in this example is like the
   relative risk in an epidemiological study which has been attenuated because the exposed
   and unexposed groups have been cross-contaminated.

   Dose-response. It is important not only to assess whether there is an association between
   a variable and a disease when the variable is defined in a binary (exposed vs unexposed)
   way, but also when the variable is defined in a quantitative or semi-quantitative way. When
   we analyse the risk as a function of the degree or duration or intensity of exposure, we
   refer to this as a dose-response (or exposure-response) analysis. The example of the
   smoking and lung cancer is instructive about the value of different metrics, though it
   cannot be assumed that all risk factors act the same way. Studies using the binary metric
   for smoking (smoker/non-smoker) have been very consistent and persuasive in
   demonstrating an association between smoking and lung cancer. Further, when data are
   collected and analysed regarding the degree of smoking, it becomes clear that there is a
   monotonic dose-response relationship. That is, the more smoking, the higher the risk. And
   the quantitative metric that manifests the strongest association with lung cancer is the
   cumulative amount smoked over the lifetime. This is perfectly logical. Since the cumulative
   exposure metric embodies information on duration and on intensity, it can hardly be less
   predictive of risk than either of the dimensions alone.



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   We cannot assume that there is a universal form of a dose-response relationship for every
   true causal relationship. Most commonly, in toxicology and epidemiology, the relationship
   between exposure and risk is monotonic; that is, as one increases, so does the other. This
   can include linear relationships (i.e. where a straight line on a graph describes the
   relationship) or exponential or many other curvilinear forms. It is also possible that there
   may be a threshold effect (the risk only becomes apparent after a certain level of effective
   exposure) or some other non-standard relationship.

   Both the qualitative metrics (ever/never) and quantitative metrics (a lot of use compared
   with a little use) are valid and useful metrics.

   Sample size refers to the number of participants in the study. As a generalization, large
   studies produce more statistically stable and precise estimates than small studies. In fact
   the stability of estimates or precision of estimates is not a simple function of the number of
   participants, or subjects, in a study. The precision of estimates depends, among other
   things, on the type of epidemiologic design.

   In a case-control study the main determinants are the numbers of cases and controls and
   the prevalence of exposure in the two groups; in a cohort study the main determinants are
   the numbers of participants, prevalence of exposure, and the incidence of the disease of
   interest over the period of follow-up in the exposed and unexposed groups.

   There is sometimes confusion about the notion of sample size when we compare cohort
   studies with case-control studies. The operational aspect of an epidemiologic study of
   cancer that most influences the precision of an estimate of RR is not the total number of
   participants; rather, it is the smaller number between the number of exposed cases of
   disease and the number of unexposed cases. In a typical prospective cohort study, one
   might need to enroll 100,000 participants in order to end up with a certain number of cases
   (say, 500 cases) of the disease of interest (e.g. ovarian cancer). In a case-control design we
   might only need to enroll around 500 cases and 1500 controls to achieve the same
   statistical power as would be achieved by a cohort study of 100,000. The formal
   justification for this assertion is quite mathematical, and has to do with the fact that a
   sample of a population can give very accurate estimates of the characteristics of an entire

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   population. Thus, the simple comparison of 100,000 participants in a cohort study and
   2,000 participants in a case-control study is in no way a valid marker for the relative
   statistical power of the two hypothetical studies. There are admittedly other advantages
   and disadvantages of the cohort vs the case-control design, and reviewers should consider
   the various aspects before deciding on the relative weight to give to the results of the
   different studies. But it is definitely not appropriate to merely compare the numbers of
   participants as an indicator of study validity.

   While precision is based on multiple factors and different ones in case-control and cohort
   studies, there is a parameter which embodies the different factors quite well, and which is
   common to both case-control and cohort studies, namely, the number of exposed cases. For
   this reason, in laying out the various study results below, in addition to the relative risk
   estimates and their confidence intervals, I will show the numbers of exposed cases.

   While it may affect the precision of estimates of RR, the size of the study does not in itself
   systematically affect the estimates of RR. That is, it is not the case that small studies
   produce systematically exaggerated RR estimates or systematically low RR estimates.
   However small studies can produce more wildly divergent RR estimates than large ones, in
   either direction, towards the null or away from the null.

   Meta-analysis and pooled analysis: There are two distinct ways that evidence from
   multiple studies can be combined to derive a new overall statistical summary or synthesis
   of those studies, a meta-analysis and a pooled analysis. A meta-analysis uses the published
   results from each study and averages those results using some optimal weighting
   procedures. In order to implement a meta-analysis it is necessary to find all relevant
   studies on a topic that have published results in a fairly standardized way. The statistical
   algorithms typically used to average the results from different studies also provide
   statistics that evaluate how heterogeneous are the results from the different studies. The
   interpretation of such heterogeneity statistics is not straightforward. If the results from
   different studies are homogeneous, it adds to the confidence in the meta-estimate. If they
   are heterogeneous, it may indicate that the association is really different in different
   populations, or that there are some methodological characteristics of the different studies


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   that have influenced the results in different ways. Unless a significant methodological flaw
   can be identified that has caused the heterogeneity, the best overall estimate remains the
   meta-estimate.

   A pooled analysis is one in which the investigator gets access not only to the published
   results from different studies, but rather to the individual data of every person in the
   studies. The latter is harder to achieve because it requires high buy-in and input from the
   investigators of the original studies; a meta-analysis is much easier to organise. Because a
   pooled analysis allows for standardization in the definition of variables and statistical
   models, it can be a more powerful means of summarizing data than the original studies
   themselves.

   Multifactorial etiology of disease. Chronic diseases such as cancer are multifactorial in
   two distinct ways. On the one hand, each case of disease results from the unfortunate
   conjuncture of a combination of factors (these might include for example, genetic
   predisposition, diet, environmental pollutant, occupational exposure, medical intervention,
   viral infection, lifestyle habits, etc.) which combine over a lifetime to initiate and promote
   development of the disease. In this sense, each of the factors that are part of the
   combination for that person was a necessary contributor to the disease process, although it
   was not sufficient on its own to provoke the disease. Despite the fact that none of the
   factors were sufficient to produce the disease on their own, each of the contributory factors
   may be considered to be a cause of the disease. The disease would not have arisen if any of
   the contributory factors had been absent. This is one meaning of the multifactorial etiology
   of disease.

   The second meaning is that the combination of factors that induce cancer in one person
   may not be the same as the combination that induces cancer in another person. Indeed, at
   the population level, there may be many combinations of causal factors for the same
   disease. Some factors may be common to different combinations. For example, it may be
   that in one case of lung cancer, the combination of factors included genetics, exposure to air
   pollution, exposure to radon in the home, and smoking; while in another person, the



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   combination of factors included genetics, insufficient dietary consumption of anti-oxidants
   like carotene, exposure to asbestos, and smoking.

   Some characteristics of carcinogens and epidemiologic research on cancer: The
   following characteristics of most known carcinogens provide a framework for some of the
   thinking behind the design and interpretation of epidemiologic studies of cancer.

      -   There is typically a long induction period between exposure to a carcinogen and
          appearance of the disease. Thus, if a study has not allowed for a sufficient passage of
          time between the exposure and the disease, the result may report that there is no
          risk, where in fact there is a risk, but insufficient time has elapsed to make the risk
          visible.

      -   There is variability in the carcinogenic potency of different carcinogenic agents;
          some induce much greater relative risks than others.

      -   For any given carcinogen, the degree of risk due to exposure generally increases as
          the exposure level increases, but the shape of the dose-response curve may differ
          from one carcinogen to another.

      -   Most known human carcinogens were first discovered as such either by means of
          astute observation of a clinician noticing a cluster of cases among people who shared
          a common characteristic (such as working in a particular workplace) or by means of
          epidemiological research. In most cases, there was no known mechanism to explain
          the association at the time. Where the mechanisms have been elucidated, they were
          usually discovered subsequent to the epidemiologic demonstration of a causal
          relationship. (Siemiatycki 2014)

   4.2 Bradford Hill “guidelines”

   Because of the complexities of epidemiologic research, there has been some concern with
   how epidemiologic evidence should be used to draw causal inferences. Various authors
   have written about the types of information that might be considered in assessing whether
   a body of evidence demonstrates a causal relationship. A set of guidelines, developed in the
   context of the Surgeon-General’s Report on Smoking and Health (1964) and authored by
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   Bradford Hill in 1965, has achieved a wide consensus in the epidemiologic community as a
   pedagogical guide. Hill himself referred to these guidelines as “aspects” or “features” or
   “characteristics” of an association, and warned against treating them as “hard-and-fast
   rules of evidence that must be obeyed”. (Hill, 1965) He deliberately avoided referring to
   them as “criteria.”

          Since Hill wrote those thoughts at the beginning of the era of modern epidemiology,
   without the benefit of decades of practical experience in the way those thoughts were
   taken up, and how they applied to issues other than smoking and cancer, it is
   understandable that the practice of evaluation of causality has evolved. A first observation,
   often overlooked, is that Hill took as a starting point for his writings that chance had been
   considered as an explanation for the smoking-cancer association and determined to be
   unlikely. In the historic context of 1964-1965 and the debates around smoking and cancer,
   this was a reasonable assumption to make, but for any other putative associations, this
   must be considered. Over the years, respected authors have paraphrased and updated
   these aspects in various ways, and this will undoubtedly continue. For instance, leading
   textbooks of epidemiology as well as the Reference Guide on Epidemiology of the Manual
   on Scientific Evidence (2011) all have different formulations of Hill’s guidelines.

           In the light of 50 years of practical experience after these guidelines were written,
   and based on my practical experience of evaluating causality in many forums and on many
   topics, I would paraphrase (and modernize) Hill’s guidelines as follows:

   Strength of the association: This can be measured by different parameters, but for cancer
   studies it is usually measured by the magnitude of the relative risk or odds ratio.

   Statistical significance of the association: While this guideline was not explicitly listed by
   Hill, it is nonetheless in practice an implicit and distinct consideration in assessing
   causality. If the estimated RR is quite high, indicating a strong association, but is based on a
   very small study with low precision, this might be solely due to statistical variability. (For
   instance, when we flip a balanced coin 10 times, we do not always end up with 5 heads and
   5 tails. Sometimes, by chance, we may end up with 6 heads and 4 tails. Does this prove that
   the coin was not balanced?) Evaluating the role of statistical chance as a possible

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   explanation of the observed association is important. As explained above, the absence of
   statistical significance is not strong evidence of an absence of a real relationship.

   Dose-response relation: If the relative risk increases when the exposure increases, it
   enhances the likelihood that the observed association is really causal. There are some
   counter-examples however where the effect is only observed after a threshold of exposure
   has been crossed. There are various ways to assess whether there is a dose-response
   relation. Hill pointed out that the main challenge is to establish reliable and measurable
   quantification of exposure. In studies of lifestyle habits like use of talcum powder products,
   the most common way is to estimate the RR in increasing categories of exposure metrics
   such as duration (years) of usage, or intensity of usage (frequency per day or per week or
   per month), or cumulative amount of usage (a combination of duration and frequency).

   Absence of bias: There are many forms of bias that can infiltrate an epidemiologic study. It
   enhances the likelihood of a true causal association if we can confidently exclude all the
   plausible sources of bias explanations for the observed findings. This guideline can also be
   considered as a component of a guideline to consider other possible explanations for the
   association.

   Temporality: It is clear that the exposure should precede the outcome (i.e. the disease). To
   ascertain whether the cancer was a result of the exposure or the exposure occurred after
   the cancer onset seems like a simple thing, but sometimes it can be difficult to ascertain
   with certainty.

   Cessation of exposure: It would add to the credibility of the association if it had been
   demonstrated that subjects who cease exposure to the agent experience reduced risks of
   disease compared with those who continue to be exposed. In practice this is an extremely
   difficult characteristic to demonstrate, partly because of the difficulty or even ethical
   impossibility of changing people’s habits for scientific experimentation purposes. But
   occasionally there may be a “natural experiment” wherein large numbers of people cease
   their exposure and the effects can subsequently be measured in an epidemiologic fashion.

   Specificity of the association: It was believed that individual risk factors have specific
   pathological effects, and Hill posited that if we observe that a given agent is associated with

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   many different pathologies, it increases the likelihood that these are somehow spurious
   observations, resting on some type of bias in the studies of that agent. In reality, this Hill
   characteristic has fallen out of usage in the intervening years with the demonstration that
   some agents can indeed provoke multiple different pathologies. Examples include cigarette
   smoking, ionizing radiation and asbestos fibers.

   Consistency of findings between studies (or replication of findings): Because epidemiologic
   research is susceptible to errors from random variability and from different kinds of study
   biases, before accepting the apparent association as a generalized phenomenon, it is
   important to see that similar results are replicated in different studies. When these
   different studies also encompass different study populations in different communities, it
   enhances the generalizability of the inferences. Generally speaking, the observation of
   consistent results in different studies adds to the credibility of an inference that there
   really is a causal relationship.

   Coherence with other types of evidence: In the case of tobacco and cancer, it was seen that
   the historic trend in lung cancer mortality rates in the US and UK followed quite closely the
   national trends in consumption of tobacco, with a 20 year lag. This was interpreted by Hill
   as corroboration of the results observed in case-control and cohort studies. Epidemiologic
   evidence of coherence could conceivably take many forms, and the opportunity to assess
   coherence is something that is specific to the factor under investigation. Assessment of
   coherence with historic mortality trends would only be possible in the case of a factor
   whose exposure in the population changed quite dramatically over time in a way that can
   be documented, and for which the attributable fraction of the disease due to that factor is
   very high. This was the “perfect storm” of circumstances that allowed for an assessment of
   the tobacco-lung cancer association by means of time trend correlations.

   Analogy: Hill reasoned that if a factor is somehow similar to another factor that has already
   been shown to be a risk factor for the disease, then it increases the plausibility of a similar
   impact due to that putative factor. This is such a vague guideline, with no clear
   implementation suggestions, that it is not often referred to and rarely implemented.



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   Biologic plausibility: This guideline can encompass many dimensions of information,
   including physiology (can the agent or its metabolites reach the organ?), animal
   carcinogenesis (does the agent produce tumours in experimental animals?), cell studies
   that reveal mechanistic data, and other biologic information on the toxicology of the agent.

   Implementing Hill’s guidelines: As Hill himself insisted, sophisticated users of these
   guidelines do not use them as a formal checklist. He summarized his views as follows:

          « What I do not believe … is that we can usefully lay down some hard-and-fast rules
          of evidence that must be obeyed before we accept cause and effect. None of my nine
          viewpoints can bring indisputable evidence for or against the cause-and-effect
          hypothesis and none can be required as a sine qua non. What they can do, with
          greater or less strength, is to help us to make up our minds on the fundamental
          question - is there any other way of explaining the set of facts before us, is there any
          other answer equally, or more, likely than cause and effect? »

   The authors of the Reference Guide on Epidemiology of the Manual on Scientific Evidence
   (2011) clearly stated that Hill’s guidelines are not formal criteria, but rather are more in
   the nature of a memory aid to help us review the evidence about any given causal
   association. They stated it this way: “There is no formula or algorithm that can be used to
   assess whether a causal inference is appropriate based on these guidelines.”

   I have served on many panels to review evidence of causality on one topic or another,
   including on several IARC Monograph panels that reviewed evidence of carcinogenicity.
   The IARC process, like the others I have participated in, does not use the Hill guidelines in
   any rigid formal way. The ideas embodied in Hill’s guidelines permeate our thinking about
   how to evaluate causality, but the operationalization of these guidelines is specific to the
   problem and to the expert making these determinations. Thus any suggestion that Hill’s
   “aspects” or “features” or “characteristics” of an association should be used as a formal
   checklist of criteria is simplistic and wrong. To do so would contradict the opinions of
   experienced epidemiologists, the Manual on Scientific Evidence, and Bradford Hill himself.




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   In this section, I have laid out and explained the Bradford Hill guidelines in a generic way.
   Below, in section 8, I will consider how these apply in the context of the talcum powder –
   ovarian cancer issue.


   5.       Epidemiologic evidence regarding talc and ovarian cancer
   Following some reports in the early 1980’s that raised questions about a possible link
   between use of cosmetic talc powder by women and the risk of ovarian cancer, there were
   several epidemiologic studies on the topic. By the early 2000’s the issue was garnering
   some attention in the scientific community. The International Agency for Research on
   Cancer, the premier agency for evaluation of carcinogens, decided to conduct a review of
   the issue in 2006. Following that review, there have been further studies conducted on the
   topic.

   In the context of a legal action, my mandate is to review all relevant scientific evidence
   available to date, in order to provide the court with my opinion regarding the link between
   talc powder exposure and ovarian cancer. The methodology I employed is the same one I
   have used in my career as an internationally recognized researcher.

   5.1 IARC review and evaluation of talcum powder products

   As mentioned above in Section 2, the International Agency for Research on Cancer (IARC) is
   the premier institution in the world for cancer epidemiology and for environment and
   cancer research. One of its mandates is the evaluation of the carcinogenicity of different
   agents with which humans come into contact, and this mandate is carried out by the
   Monograph Programme of IARC. This is achieved through a process that involves
   identifying chemical or physical agents for evaluation, convening specially selected
   international expert panels that are mandated to review all pertinent evidence on the topic
   and write a thorough review culminating in an evaluation of whether the agent(s) are
   human carcinogens.

   In February 2006, there was such an IARC Monograph meeting to evaluate some agents,
   including talc. The IARC Working Group comprised 16 highly respected and recognized
   scientists from around the world; I was asked to Chair the Working Group. We reviewed all
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   the evidence that was available up to that point in time. This certainly included
   epidemiologic evidence, but it also included evidence from experimental toxicology,
   physiology, molecular biology and other domains. The IARC Monograph programme has a
   formal system for classifying agents. The Working Group must classify an agent into one of
   the following categories:

      1      Carcinogen

      2A     Probable carcinogen

      2B     Possible carcinogen

      3      Not classifiable

      4      Not carcinogen

   After reviewing the evidence, the panel concluded that talc was a “possible carcinogen”,
   based primarily on evidence regarding the association between dusting powders and
   ovarian cancer. Here is the definition of this category from the IARC Monograph:

      “Group 2B: The agent is possibly carcinogenic to humans.

      This category is used for agents for which there is limited evidence of carcinogenicity in
      humans and less than sufficient evidence of carcinogenicity in experimental animals.”

   This 2B categorization was based on the panel’s decision that there was “limited evidence
   of carcinogenicity in humans”, which is in turn defined by IARC as follows:

      “Limited evidence of carcinogenicity in humans: A positive association has been
      observed between exposure to the agent and cancer for which a causal interpretation is
      considered by the Working Group to be credible, but chance, bias or confounding could
      not be ruled out with reasonable confidence.”

   Subsequent to the completion of the IARC Monograph on talc, a subgroup of the
   epidemiologists who were on the IARC Working Group, including myself, reviewed the
   evidence again, but with a view to producing a meta-analysis of the results from the most
   informative studies conducted to that time. This resulted in the paper by Langseth et al.
   (2008). This paper was not an IARC publication.

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   5.2 Information consulted for the present review

   In preparation for formulating my current opinions on this topic I assessed, researched,
   reviewed and consulted a large number of documents, including, but not limited to: all
   original epidemiological studies published on this topic, all meta-analyses and opinion
   pieces, experimental toxicology, molecular biology, mechanistic studies, and the IARC
   Monograph on talc which reviewed all informative studies that had been published before
   2006. I was given access to and also reviewed the various expert reports and depositions
   that have been submitted in various talc cases, either on behalf of the Plaintiff or
   Defendant, and various internal company documents obtained in discovery.

   I systematically reviewed the lists of references of all relevant studies referenced in the
   IARC report as well as in various meta-analyses and in all recent articles on the topic to
   identify yet more relevant publications on talc and cancer.

   Because some studies have been published in multiple papers and because some papers
   have included reports on multiple studies, there is not a one-to-one relationship between
   studies and published papers.

   Additionally, I considered evidence regarding the toxicology of talc by reviewing the
   toxicology evaluation conducted by the IARC Working Group, the summary of talc’s
   putative toxicology referenced in various scientific publications, and the expert reports of
   various scientific/medical experts in this case.

   The central focus of my review is on the epidemiologic evidence.

   A complete listing of the documents I consulted, as well as references cited explicitly in this
   report, is provided in the Bibliography. The Bibliography is in two Parts; Part A comprises
   all the publications and reports that can be found in publicly available scientific literature.
   Part B comprises company documents or documents from reports or testimonies of
   experts.




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   5.3 My methodology for this review

   Table 1 lists the steps I undertook to accomplish my mandate.

   5.3.1   Selecting studies for review

   To aid in the present assessment of whether or not there is a causal relationship between
   talcum powder exposure and ovarian cancer, I carried out an up-to-date review of the
   scientific literature, primarily the epidemiologic literature, concerning the association
   between use of talc powder and risk of ovarian cancer. This involved meta-analyses to
   estimate the effect of having ever used perineal powdering, and an assessment of evidence
   regarding dose-response.

   The first task was to find the relevant publications and to set out the distinct pieces of
   epidemiologic evidence, namely the results of different studies. Based on a number of
   reviews on the topic of talc and ovarian cancer, including the IARC report, I systematically
   went through the reference lists to identify all publications that seemed to contain results
   on the topic. I further conducted a Pubmed search and this did not produce any new
   informative publications that had not already been identified. In preparation of the meta-
   analysis, I eliminated from consideration papers that were outside the bounds of what a
   meta-analysis should contain (i.e. eliminate review articles, commentaries, meta-analyses,
   and articles that do not really pertain to the issue of perineal talc and ovarian cancer).
   From the 40 publications that remained, namely those that contained original results on
   the association between powdering and ovarian cancer, I extracted all results showing RRs
   between talc powdering and ovarian cancer, and I had these results put into a Filemaker
   database. This was a value-free exercise. I made no judgement at that stage about relevance
   or quality of the study or the published results. It was only an attempt to lay out in one
   “place” the whole of the evidence and to prepare for subsequent analyses. There were over
   730 results in this database. On average each publication contained about 18 different RR
   results of various aspects of talc powder exposure and various types of ovarian cancer.
   Some contained fewer and some contained many more. (For instance, one study
   publication contained 180 results, with varying types of ovarian cancer and varying
   definitions of exposure to powdering.)
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   In deciding which results to include in a meta-analysis I had to respect the following
   principles:

      -   The results have to pertain to the issue of risk of ovarian cancer in relation to use of
          talc-based powders.

      -   Where there are sufficient numbers of results to support meta-analyses, there can be
          meta-analyses for different types of ovarian cancer, and for different routes of
          exposure to talc-powders.

      -   In each meta-analysis, each study should only provide one result, so as to avoid
          double-counting evidence.

      -   The decision about inclusion of a study should in no way be influenced by whether
          or not a particular study demonstrated high risks or low risks.

   While these seem like simple principles to respect, there were complicating features of the
   scientific literature:

      -   Some studies were reported in multiple publications, sometimes the same study
          subjects were analysed and reported in different ways and sometimes different
          subsets of the study population were included in different publications. Sometimes
          the authors fail to clearly enunciate how the data used in one of their papers
          overlaps with data used in another of their papers from the same study.

      -   Different studies used different questions about powder use in their questionnaires,
          and sometimes the same study reported results by different ways of asking about or
          defining exposure.

      -   A given study may have presented one result or many results, each addressing a
          different definition of the talc exposure variable and different way of grouping the
          ovarian cancer cases.

      -   Different studies dealt differently with the histologic sub-types of ovarian cancer,
          sometimes grouping them all, or sometimes separating them, or sometimes
          reporting both grouped and separate results for different sub-types.


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      -   Different studies used different metrics for analysing powder exposure and
          estimating its corresponding RR.

      -   Different studies dealt differently with the challenge of adjusting powder-related
          risks for possible confounding by other factors.

   Decisions had to be made regarding which types of exposure to consider, which types of
   ovarian cancer to consider, which metrics of exposure to consider and which studies and
   publications to consider. It is necessary to be rigorous in making such decisions ahead of
   time, rather than “cherry-picking” results from different studies that appear to support one
   theory or another.

   Appendix Table A1 provides a list of those 40 publicly available publications that have
   included some original results that might pertain to the association between powdering
   and ovarian cancer. Appendix Table A1 shows which publications were included and
   which papers were excluded from my meta-analyses. For each of the 14 excluded papers,
   the table also shows the reason. Some papers were excluded because the results did not
   pertain to ovarian cancer and powdering in the perineal region. Some papers were
   excluded because the results presented therein were subsumed by a subsequent
   publication by the same research team or as part of a pooled analysis of multiple studies.
   Notwithstanding my intention to identify all unique studies and to extract a best “bottom
   line” result from each study, the nature of the studies and how they were analysed and
   reported led to many judgement calls. It must be acknowledged that there can be
   differences of opinion among equally competent and equally well-motivated scientists in
   how to choose among the different publications and the different results within
   publications.

   Fortuitously, and unbeknownst to me at the time, two other sets of investigators (Berge et
   al 2018; Penninkilampi et al 2018) carried out separate meta-analyses on this topic at
   about the same time as I was carrying out mine, and this gives an opportunity to do some
   cross-comparison of different reviews and meta-analyses. I will comment on these after
   presenting the results of my meta-analyses.



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   5.3.2   What were women exposed to in body powders?

   Talc has been the main ingredient of body powders used by women over the past century.
   “Talc particles are normally plate-like. When viewed under the microscope in bulk samples
   or on air filters, they may appear to be fibers ... Talc may also form as true mineral fibers
   that are asbestiform; asbestiform describes the pattern of growth of a mineral that is
   referred to as a ‘habit’. Asbestiform talc fibers are very long and thin.”(IARC 2010) The
   structure of platy talc is characterized by a hexagonal sheet arrangement of silicon-oxygen
   tetrahedral groups in a common plane which creates a double-sheeted structure. These
   sheets are easily separated which accounts for the “silky” or “smooth” feel of talcum
   powder products (IARC, 2010). As a mined mineral, the precise chemical and physical
   characteristics of talc are in part determined by the particular geological formations from
   which it is extracted. The local conditions can also produce “impurities” in the extracted
   talc including asbestos, quartz and various metals. It is claimed that cosmetic talcum
   powder products normally contain >98% talc (Zazenski et al., 1995) but the purity may
   have been lower in the past. (IARC 2010) When I refer to talc or talcum powder products in
   this report, I am referring to commercially available talcum powder products and all
   constituent elements contained in those products.


   Asbestos is a commercial term that comprises six minerals that occur in the asbestiform
   habit: actinolite, anthophyllite, chrysotile, grunerite, riebeckite and tremolite. Similarly to
   talc, these six minerals can occur in a non-asbestiform habit. Some types of asbestos are
   found in the same geological formations as talc.(IARC 2010)



   By the 1970’s it was reported that asbestos fibers were found in commercial talcum
   powder (Cralley 1968; Rohl 1976), though there was some doubt expressed regarding the
   quantification of the exposure and the ability to discriminate between asbestiform and
   non-asbestiform talc. (Krause 1977; IARC 2010) The talc industry was constrained to
   remove asbestos from talcum powder products. Representatives of the industry have
   claimed that talcum powders were free of asbestos fibers since the 1980’s (Hopkins 2018;
   Pier 2018), but this assertion has increasingly come under doubt as number of labs have
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   reported finding asbestos fibers in talcum powder products. (Blount 1991; Paoletti 1984;
   Gordon 2014; Longo et al 2017; Longo et al 2018; Blount deposition 2018; Pier deposition
   2018) These various studies that have reported finding asbestos in historic talcum powder
   samples have been challenged by other reports that failed to find meaningful amounts of
   asbestos in historic talcum powder samples. (CIR 2013; Anderson 2017) These various
   findings and opinions are somewhat complicated by the fact that both talc and asbestos
   have varied chemical and physical characteristics and various methods can be used to
   measure them.

   What is clear is that asbestos, and all forms thereof, has been evaluated to be carcinogenic.
   It has long been recognized that inhalation of asbestos carries with it a risk of lung cancer
   and of mesothelioma, a cancer of the lining of the lungs, as well as larynx cancer. What has
   only recently been recognized is that women who are exposed to asbestos experience an
   excess risk of ovarian cancer. (Straif 2009; IARC 2012) This conclusion was based on five
   studies; a subsequent meta-analysis reported that the RR of ovarian cancer among
   asbestos-exposed women was a highly statistically significant 1.77 (1.37-2.28).(Camargo
   2011) The route of exposure that generates risk of ovarian cancer among women exposed
   to asbestos is not clear, but inhalation and migration of asbestos particles to the ovaries has
   been proposed as a credible biologically plausible mechanism. (Miserocchi 2008)

   Among the metals detected in talcum powder products are some which are recognized
   carcinogens, namely nickel and chromium. It is not known how widespread was the
   “contamination” of talcum powder products by these metals and how high were the
   concentrations in the entire commercial production of talcum powder products of the past
   several decades, and how these exposures measure up to exposures that may cause cancer.
   However, evidence that asbestos and some other known carcinogens have been detected in
   some commercial cosmetic talcum powder products and credible mechanisms that such
   particles can translocate to the ovaries is an important consideration in deriving an opinion
   on biological plausibility, and I will consider it below in my section on biological
   plausibility of a causal link between talcum powder products and ovarian cancer.




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   Alternative formulations of baby powder include cornstarch formulations, which have
   become available in the past 30 years. It was possible for women to purchase and use
   cornstarch products or talcum powder products. Most epidemiological studies have not
   tried to ascertain whether the women in their studies used talc-based or cornstarch-based
   formulations and many women may have been unaware of the composition of the powders
   they used at different times. It is impossible to ascertain with certainty from most of the
   publications whether the reported epidemiologic results pertain to talc-based powders or
   cornstarch-based powders or both. Those studies that did report results for cornstarch had
   few women self-reporting use of cornstarch and the risk estimates were rather imprecise
   and unstable. For those studies that did report separately the findings for talc-based and
   cornstarch-based formulations, I used the results for talc-based powders. For those that did
   not make such distinction, I used the results combining all types of powders as reported. If
   it turns out that there is an increased risk associated with talc but not with cornstarch, the
   inability to discriminate the two in statistical analyses would have the effect of diluting the
   estimates of risk due to talc. That is, the RR estimates would be attenuated.

   5.3.3   Routes of exposure

    Some studies reported results based on particular ways of using the powders, such as on
   feet or perineal use or use after bathing or use on sanitary napkins or use on diaphragms or
   use by male partners, and so on. And many studies just reported results for all routes of
   perineal exposure combined. For my Main analyses, I aimed to use the reported results
   pertaining to all types of perineal use combined. Where the results were reported for
   individual routes of exposure rather than all perineal use combined, I identified the one
   that came closest to powdering in the perineal area from all routes.

   The number of studies providing results pertaining to any of those specific routes of
   exposure was much less than the number providing evidence for all routes combined and
   insufficient to provide reliable meta-analysis results for route-specific estimates of RR.
   Among the route-specific reports, the one that had most often reported RR results was
   exposure from dusting of sanitary napkins. I will conduct a separate meta-analysis
   regarding the risk of ovarian cancer in relation to use of powder on sanitary napkins.

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   5.3.4   Questionnaire items on use of talc powders

   In the case of exposure to cosmetic talc powder, the most common and realistic way of
   ascertaining exposure has been to question women. But there are many ways this can be
   done, and indeed many types of questionnaires have been used. A very simple format that
   has been used is to ask a question such as “have you ever used powders in your genital
   area?” But, the validity of the response would be enhanced if the question is framed in a
   more specific manner, so long as the respondent can be expected to know the answer to the
   more specific question. One possibility would be: “have you ever used powders that
   contained talc on your genital area more than once a week for at least 6 months of your
   life? This would include powdering your genital area directly or powdering your
   underwear or powdering your diaphragm or powdering your sanitary napkin.” There are
   scores of ways such questions can be asked, and there has been variability in the methods
   of questioning among the different studies of powder use and ovarian cancer. In most
   studies, the questionnaire question about Ever Use was actually about Ever Regular Use,
   not Ever Occasional Use.

   Among women who used powders, there can be an enormous range of usage from a few
   occasions in a lifetime to profuse daily usage. Among the many dimensions of talcum
   powder exposure that might influence the risk of cancer are the following: manner in
   which the talc was applied, age at which exposure began; if it ended, age at which it ended
   and years since it ended, frequency of use per day, week or per month, multiple
   applications including to genitals, undergarments, sanitary napkins, etc., and whether and
   how that varied at different ages. Some studies have used a single simple question, while
   others have used scores of questions to get at the lifetime history and many facets of
   powder use.

   While I believe there are quality differences between the different studies in the way talc
   powder data have been collected, I have refrained from imposing my judgement about the
   quality of the questionnaire data on the selection of studies to include in meta-analyses.




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    5.3.5    Metrics of exposure

    I used the reported results for the binary metric Ever Regular Use vs Never Regular Use,
    given the limitations of the available data, and using the investigators’ decisions about how
    best to measure this. While this may seem like a simple tactic to implement, some studies
    were reported in such a way that in fact I had to make “judgement calls” about which of the
    reported results came closest to the desired metric.

    For “dose-response” assessment, I used three pertinent metrics of exposure: duration
    (years), intensity/frequency (uses per day, week or per month), and cumulative number of
    applications, measured sometimes in absolute numbers or sometimes in quantiles. Of the
    three, the most meaningful is the cumulative number of applications.


    6.      My meta-analyses regarding talcum powder products and ovarian cancer: data
            included and results

    6.1 Features of the studies

   Following the exclusions indicated in Appendix Table A1, Appendix Table A2 shows the
   studies that ended up being included in one or more of my meta-analyses, and brief
   descriptions of administrative and contextual features of each study. Appendix Table A3
   shows, for the same studies, some information about the talcum powder exposure variable
   and the covariates used by the authors in their control for confounding.

    Appendix Table A2 shows that most studies were conducted in the USA. All but three were
    case-control studies and of the case-control studies, all but four used some type of
    population control series. Most studies had fieldwork data collection in the 1970’s and
    1980’s; only a few studies started data collection after 2000. Table 3 shows for each study
    what exposure variable I was able to use to approach the notion of Ever exposed regularly
    to talc powder in the perineal region. Different studies had different questions in the
    questionnaire and different studies reported different variables. The questionnaires
    usually elicited lifetime use that was more than very sporadic, with terms like “regular”
    use. Only the Gonzalez 2016 study failed to ask about lifetime exposure before the
    interview; they asked about usage only in the preceding 12 months. The Gates 2010 study

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   asked about use of talc up to 1982 but not afterwards. Some studies asked separately about
   different routes of exposure and then rolled them together in statistical analyses, while
   some rolled all routes of exposure together in their questioning. The term that I show in
   Appendix Table A3 is the term that the authors reported in their publication of results; it is
   sometimes rather cryptic. Appendix Table A3 also shows which variables that the authors
   reported having used as adjustment variables. Sometimes these are variables that were
   explicitly included in final statistical models, and sometimes these were dealt with in a
   more indirect way such as a staged analysis in which a screening is conducted using a
   change-in-estimate procedure.

   All meta-analyses were conducted using the well-known package Comprehensive Meta-
   Analysis Version 3. (Borenstein, M., Hedges, L., Higgins, J., & Rothstein, H. Biostat,
   Englewood, NJ 2013; https://www.meta-analysis.com/index.php?cart=BFZW2135997

   6.2 Association between binary variable talc powdering and all types of ovarian
           cancer combined – data and results

   6.2.1    Individual studies and results on binary exposure variable

   Table 2 shows RR results, as well as the corresponding 95% confidence intervals, for each
   informative study included in the Main meta-analysis or in any sensitivity analyses. (I will
   explain this distinction below.) As I explained in Section 4.1, the single number which
   reflects quite well the statistical strength of a study, be it case-control or cohort, is the
   number of exposed cases, and I have included this parameter in Table 2. Table 2 shows the
   RR reported in each study by Ever (regular) use of powder in the perineal region (all routes
   of perineal exposure including direct powdering on genital area, on sanitary napkins, on
   underwear and on diaphragms). The table shows results for all types of ovarian cancer
   combined.

   Before conducting any meta-analyses, we can peruse the results in Table 2 to observe
   certain patterns.

   Of the 33 RR results shown in Table 2, two are below 1.0, one equals 1.0, and 30 are greater
   than 1.0. On the null hypothesis that there is no true association between powdering with

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   talc and ovarian cancer, we would expect as many of the RR estimates to be above 1.0 as to
   be below 1.0. The observed distribution (2 below and 30 above) is clearly and strongly in
   defiance of the null hypothesis. Further if we rank the RR estimates from lowest to highest,
   the median value, the one in the middle, would be 1.34.

   This informal analysis does not take into account that the 33 estimates in Table 2 are not
   strictly independent of each other. There are various ways to carve out independent sets of
   results from this list of results in Table 2, and the meta-analyses will be designed to do that.
   But no matter how the studies are configured, it will be found that one or two of the RR
   estimates are below 1.0 and somewhere between 20 and 26 are above 1.0. Such an
   imbalance cannot be due to chance.

   6.2.2   Strategy for Main analysis and sensitivity analyses

   An investigator typically has in mind a strategy for analysing and presenting the results.
   There may be some judgement or assumptions involved in deciding on the strategy. The
   investigator may wish to see how the results would be affected if other judgements or
   assumptions were made. In other words, how robust are the results to alternative
   judgements and assumptions. Such alternative analyses are referred to as sensitivity
   analyses.

   There were several dilemmas in selection of studies and results to include in the meta-
   analysis. I made decisions in each case that I believe provides the best basis for a meta-
   analysis. But in deference to other possible decisions that might have been made, I
   conducted some sensitivity analyses as well. I list what the dilemmas were and which
   options were selected for Main analyses and for sensitivity analyses.

   a. Terry 2013 and Wu 2015. The Terry 2013 paper brought together data from 8 different
   research teams. Some of those teams had previously published their results on talc and
   ovarian cancer and some had not. Normally, a pooled analysis would take precedence over
   the individual component studies. In this case, however, there were complicating factors.
   The Los Angeles component study of Terry 2013 (Wu, Pike and colleagues) was conducted
   in stages and the Terry 2013 pooled analysis only had access to the early stage.
   Subsequently, Wu and colleagues carried on with their data collection, and published a
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   more complete set of results from their study in Wu 2015. The Terry 2013 paper contained
   208 exposed cases from the Los Angeles study, whereas the Wu 2015 paper contained 701
   exposed cases. In the entire Terry 2013 paper there were 2600 exposed cases. Ideally, we
   would wish to exclude from the 2600 exposed cases in the Terry 2013 paper, the 208
   exposed cases that came from the early Los Angeles data. But that information was not
   available. Thus there is an 8% overlap between the exposed cases in the Terry 2013 paper
   and those in the Wu 2015 paper.

   I adopted the following strategy. For the Main analysis, I included both Terry 2013 and Wu
   2015. The 8% overlap of exposed cases is unfortunate but I believe its impact would be
   trivial, and in any case we will have some empirical evidence of its impact from a sensitivity
   analysis.

   I conducted sensitivity analyses using a different strategy. The Terry 2013 paper contained
   a table in which the individual results of the 8 component studies were reported. I used the
   results as reported there for 6 of the 8 component studies, for which the Terry paper
   contained the latest results. For the Los Angeles study I used the result reported in Wu
   2015 which was much more complete than the L.A. study result in Terry 2013. The eighth
   study was the study of Cramer that was one of the components of Terry 2013 but that was
   also reported subsequently in Cramer 2016. It is not clear whether the Cramer 2016 paper
   contains more up to date data than the corresponding component in Terry 2013, but it
   possibly does.

   To summarize, the Main analysis contained pooled result from Terry 2013 and the result
   from Wu 2015. There were sensitivity analyses that dropped the pooled result from Terry
   2013, but included the (apparent) latest published result for each of the 8 components.

   b. Nurses Health Study. This cohort study was initiated in 1976 and was not a study of
   talcum powder products and ovarian cancer . The study involved a wide-ranging annual
   questionnaire which inquired about many health related issues. In 1982 there was a very
   succinct question about use of body powders. The cohort has been followed-up to ascertain
   the occurrence of cancers (or other diseases). There was a publication that contained
   results on talc and ovarian cancer from this study in 2000 (Gertig 2000); later, after more

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   years of follow-up there were two further papers presenting results on talc and ovarian
   cancer (Gates 2008 and Gates 2010). Clearly the Gertig result did not belong in my meta-
   analysis, since it was subsumed by subsequent analyses, but the choice between the Gates
   2008 and Gates 2010 was not so obvious. Gates 2008 was based on a nested analysis of a
   subset of the cohort that probably entailed better control for confounding. Gates 2010 was
   based on the entire cohort and thus on a much larger sample size. The two RR estimates
   from the Gates papers are quite different from one another (RR=1.24 in Gates 2008 and
   RR=1.06 in Gates 2010). It is not clear whether the difference in results is due to the
   different design and analytic procedures used in the two papers. The authors did not
   comment on the inconsistent results.

   My Main analysis included Gates 2010 but not Gates 2008. Some sensitivity analyses
   contained Gates 2008, but not Gates 2010.

   It should be noted that whereas I did not use the Gertig paper results in the meta-analysis
   of Ever / Never Use of talcum powder products, I did use some dose-response results from
   Gertig because subsequent publications from the Nurses’ Health Study did not present such
   results.

   c. Schildkraut (2016). This was a case-control study of ovarian cancer among African
   American women. The fieldwork and interviewing was carried out from 2010 to 2015. The
   authors speculated that publicity surrounding two class action lawsuits on talc and ovarian
   cancer in 2014 may have subsequently induced bias in the validity of reporting of talc
   exposure. Consequently, in their analysis and report, they presented two sets of results,
   one for all women in the study, and another for those interviewed before 2014. It is
   impossible for me to evaluate the validity of the speculation, as it was for the authors.
   Consequently I will use the results from the entire sample and those from the pre-2014
   sample. I refer to the entire Schildkraut study result as Schildkraut A and the pre-publicity
   result as Schildkraut B.

   The Main analysis contained Schildkraut A. Some sensitivity analyses contained Schildkraut
   B.



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   d. Shushan (1996). This ovarian cancer case-control study, conducted in Israel, reported
   results on talc and ovarian cancer, but the report was quite cryptic regarding the data
   collection and the talc exposure variable.

   The Main analysis excluded Shushan 1996. Some sensitivity analyses included Shushan
   1996.

   6.2.3   Results of meta-analyses on binary exposure variable for all ovarian cancers

   Figure 1 shows the printout from the Comprehensive Meta-analysis (CMA) package for the
   Main meta-analysis for the association between ever regular use of talc powder in the
   genital area and all types of ovarian cancer combined. 21 RR results were used in the Main
   meta-analysis, but the Terry 2013 study represents 8 different study teams and 10 distinct
   studies. In the forest plot, I have ordered the studies in increasing magnitude of the RR
   estimate. It can be seen that only one study produced an RR estimate to the left of the null
   value of 1.0, while 19 studies produced an RR estimate to the right of the null value of 1.0.

   The meta-estimate of RR is 1.28 with a 95% confidence limit from 1.19 to 1.38. The p-value
   is too small to register in 2 digits. This is a very highly statistically significant result. The
   probability of this result being attributable to chance is vanishingly small.

   The 21 RR estimates in this Main meta-analysis had a fairly low p-value for heterogeneity,
   0.07, but it was not statistically significant. This means that there was considerable
   variation in RR results across the studies, but this might have been due to chance. That
   there is significant variation in RR estimates is not surprising. The different studies were
   conducted among different populations, using different methodologies. It would be
   surprising if there was no variation. It is nevertheless true that in the current state of
   knowledge the best estimate of RR is the meta-estimate of 1.28.

   Table 3 shows the results of the Main meta-analysis again and contrasts it with the results
   of seven sensitivity analyses that embody alternative plausible strategies for selecting
   studies and selecting results within studies. These alternative strategies had almost no
   effect. The meta-estimates of RR varied in a narrow range from 1.26 to 1.30. Even the
   lowest of these would lead to the conclusion that there is a highly significant association.


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   It can be affirmed, quite confidently, that the apparent overall elevated risk for women who
   had ever used such powders is not an artefact of chance variation. This conclusion is not
   new. It has been stated by the authors of previous meta-analyses. However, I believe this
   conclusion is based on the most current and reliable data now available.

   From a statistical point of view, each of the studies listed in Table 2, except for one or two
   outliers, shows a 95% confidence interval that overlaps substantially with the confidence
   interval of the meta-RR estimate (1.19 – 1.38). Further, the majority of the study-specific
   confidence intervals (including 2 of the 3 cohort studies) include the overall meta RR of
   1.28. This shows that there are few if any studies that are not compatible with the overall
   RR estimate.

   6.2.4   Other contemporaneous meta-analyses on binary exposure variable for all ovarian
           cancers

   I started to conduct my meta-analyses in 2015 and revised it in 2018. Towards the end of
   my analyses, I discovered that two other teams of researchers were carrying out meta-
   analyses on the same topic at almost the same time. The simultaneous and independent
   conduct of these three meta-analyses provides a unique opportunity to cross-validate the
   methodologies and results. (I knew nothing about the two others and I assume they did not
   know either about mine or the other meta-analysis.) It is sometimes portrayed that meta-
   analysis is a fairly automated procedure which should produce identical results
   irrespective of who carries it out. This is far from true.

   Even before the statistical part of the meta-analysis is conducted, the author of a meta-
   analysis has to assemble all of the relevant data. That usually consists of two steps:
   identifying all informative studies on the topic and identifying the relevant result from each
   study to include in the meta-analysis. There are many ways to do these steps, and it is not
   surprising that different, equally competent, investigators may make different decisions
   about how to identify the studies and how to identify the most relevant results. This is
   particularly true in the area of observational epidemiology research, as opposed to clinical
   trials research. Research designs and methods of conduct and reporting are much more
   standardized in clinical trials research than they are in observational epidemiology. In the

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   area of research on talc and ovarian cancer (which is observational) there are many
   opportunities for judgement of the author of the meta-analysis to come into play, and in
   section 5.3.1 I have listed some of the decisions that I made, in the way I managed the
   selection of studies.

   The two other meta-analyses were conducted by Berge et al (2018) and by Penninkilampi
   et al (2018). They conducted rather different search procedures than I did. Since I had
   already participated in the IARC review and the Langseth 2008 paper, I already had a head
   start on collecting the relevant scientific literature. Appendix B shows a 3-way
   comparison of the studies that were included in the meta-analyses by the three authors,
   and the data from each study that were judged to be most relevant by each author.

   As a generalization, it can be seen that the three synchronous meta-analyses identified
   more or less the same studies and that in general they extracted the same result from each
   study; but this was not always the case. For my own meta-analysis, I was comforted to note
   that there was no study that was identified by one of the other meta-analyses that I had
   missed in my search of the literature (Appendix Table A1).

   One of the main points of discordance in procedure was how the three analyses dealt with
   the Terry 2013 study. Namely, in my Main analysis I used the result of the pooled
   Ever/Never RR that was quoted by the Terry study, and dropped from consideration the
   various component studies of the Terry analysis. By contrast, the two others (Berge and
   Penninkilampi) adopted the strategy of using the results of the individual component
   studies rather than the overall pooled result. Berge 2018 used the results of the individual
   component studies as reported by Terry 2013, for most component studies, but for two
   component studies they used results that were reported in publications that gave results
   with additional cases. Penninkilampi 2018 also used individual component study results
   rather than the Terry 2013 pooled result. There are trade-offs between these different
   approaches. I prefer to use the Terry 2013 pooled result for two reasons. First, a pooled
   analysis with a standard set of covariates and a standard statistical model is considered
   superior to a meta-analysis of the components study results. Second, each publication
   tends to show a variety of results, and the author of the meta-analysis has to choose a


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   “best” one to represent the “bottom line” from each study. In the Terry pooled analysis, it
   was the investigators of the original studies, who were also co-authors of the pooled
   analysis, who chose which would be the “best” result to represent the study, and this in my
   opinion is more reliable than outside authors making that decision.

   Table 4 shows the meta-RR results from each of the three meta-analyses. Notwithstanding
   the differences in choices and strategies of the three meta-analyses, the meta-RR results
   are quite similar, ranging from 1.22 (1.13 – 1.30) in the Berge analysis, to 1.28 (1.19 – 1.38)
   in my analysis, to 1.31 (1.24-1.39) in the Penninkilampi analysis. These three sets of results
   are really quite close to each other.

   The methodology I used is sound and reliable and consistent with the high standards of my
   discipline. The strategy and decisions I made in relation to the studies selected and the data
   abstracted from each informative study is consistent with that methodology I use in my
   professional practice, and that has earned me recognitions and honors throughout the
   world.

   The results shown in Table 4, are in the same “ballpark” as the meta-analysis previously
   conducted by Langseth 2008 and they are based on a larger pool of accumulated
   publications. This indicates that recent evidence is consistent with older evidence and
   reinforces the consistency of the evidence.

   6.2.5    Meta-analysis on powdering of sanitary napkins

   Tables 2-4 pertain to RRs for the combination of all routes of exposure to the perineum,
   including direct dusting and dusting on sanitary napkins, diaphragms, underwear, and
   condoms. When such an exposure variable was not provided in the paper, I used the one
   that came closest, with priority to dusting on the body directly. Most studies did not report
   RR results for every route of exposure separately. For the studies that did so, the numbers
   exposed were much lower than for all routes combined and there was limited statistical
   power in those analyses. Of the different routes, the dusting on sanitary napkins was
   generally the most commonly reported route apart from direct dusting. Consequently I
   assembled the data pertaining to dusting on sanitary napkins and conducted a meta-
   analysis of those results.

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   Table 5 shows both the individual studies that had results on sanitary napkin dusting and
   the meta-analysis result for those studies. The meta-RR was 1.08 (95%CI 0.89 - 1.31),
   heterogeneity p=0.09. Given the overlap between the confidence intervals between this
   meta-RR estimate for sanitary napkin powdering and the meta-RR for powdering the
   perineal area via any route (1.28; 95%CI 1.19 - 1.38), it cannot be affirmed that the result
   for sanitary napkins is statistically significantly lower than the meta-RR results in Table 3
   for all routes of exposure; but the tendency is in that direction.

   Berge 2018 and Penninkilampi 2018 also meta-analysed the data on use of powder on
   sanitary napkins. By contrast with my results, Berge 2018 reported an RR of 1.00 (95% CI
   0.84-1.16) and Penninkilampi 2018 reported an RR of 1.15 (95% CI 0.94-1.41). Since their
   publications do not make it clear which studies and which results were used in these
   analyses, I cannot see easily what explains the discordance among the three meta-analyses
   for sanitary napkins powdering. In any case, it certainly appears that the RR was lower for
   application to sanitary napkins than it was for general perineal application. The
   interpretation of this finding is not self-evident. The different routes of exposure may
   entail very different frequency of exposure. For instance, whereas use of powders on
   sanitary napkins might involve exposure on only a few days per month, regular use on the
   perineal region often involves daily or near daily application. I am unaware of any evidence
   that would address the question of whether regular use on sanitary napkins leads to
   greater or lesser delivery of talc particles to the portal to the ovary than does regular
   powdering on the perineal region.

   In any case, irrespective of the evidence regarding sanitary napkin exposure, the results in
   Tables 2 and 3 clearly show an association between exposure to talc in the perineal region
   and risk of ovarian cancer.

   6.3 Dose-response – cumulative exposure, duration and frequency

   An important part of the evaluation of causality is to determine whether the results display
   any kind of dose-response pattern. Tables 6 to 8 show results for various quantitative
   metrics of exposure.


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   Trends by cumulative exposure: Table 6 shows results from five publications that presented
   results based on a cumulative amount metric. Four of the studies were based on counts of
   numbers of powderings, while the Cook 1997 result was based on counts of the number of
   days on which powdering occurred. As can be seen by perusing the column of numbers of
   exposed cases, the Terry 2013 results dwarf the others in terms of the statistical
   information they contain. The Schildkraut study, with about one-tenth as many subjects as
   the Terry study, nevertheless has as many subjects as the other three studies combined.
   The relative statistical power of the different studies is also manifested in the width of the
   confidence intervals.

   The evaluation of the statistical significance of a trend is not a methodologically
   straightforward endeavour. Of particular concern is the question of whether or not the test
   for trend among subjects in different “dose” categories should include or exclude the
   unexposed category. My view is that it depends on whether or not the study results for
   Ever/Never exposure are part of the buffet of results presented by the authors. Namely, if
   the only result presented is a dose-response analysis, then it is appropriate to include the
   unexposed category as part of the study results. If the Ever/Never result is presented and
   then a dose-response analysis is conducted, it is preferable to maintain statistical
   independence of the two analyses by excluding the baseline unexposed category from the
   dose-response analyses. I will interpret the data from these studies in light of this
   interpretation of trend tests.

   The three smallest studies in Table 6 show no evidence of a dose-response pattern.
   However, the estimates are so imprecise, as evidenced by the very wide confidence
   intervals, that they are virtually uninformative regarding the presence or the absence of
   dose-response.

   When looking at the Terry 2013 results, which assemble data from eight teams and 10
   studies, the confidence limits are much tighter and the estimates of RR much more precise.
   The p-value for trend (excluding the unexposed group) is 0.17. Nevertheless, with a
   reference value of RR=1.0 among unexposed, and with point estimates of RR in four
   quartiles of cumulative exposure of 1.14, 1.23. 1.22, and 1.32, these results are certainly


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   compatible with the presence of an underlying dose-response relationship. Note that the
   absence of statistical significance of the trend among the four exposed subsets is not
   equivalent to the demonstration of an absence of dose-response. Similarly, the Schildkraut
   2016 study results, while based on only two lifetime cumulative “dose” categories with
   point estimates of 1.16 and 1.67, are also compatible with a dose-response pattern.

   Trends by duration of exposure: Table 7 shows the results of those studies that presented
   RRs by duration of use. The Terry 2013 pooled analysis did not report results by duration
   of use; however, some of its constituent studies did so and are included here. The numbers
   in each of the duration categories in each of these studies is quite small, and consequently
   the RR estimates are very imprecise, with wide confidence intervals. The categorisation of
   duration differed quite a bit among the studies and it is not easy to compare results
   between studies. There is no indication of a dose-response relationship in these results.
   Though, the wide confidence intervals make it impossible to affirm that there is evidence
   against dose-response. Further, the largest study showing results by duration of use, Wu
   2015, did find a significant increase in risk with increasing duration.

   Trends by intensity of exposure: Table 8 shows results of those studies that reported by
   intensity (i.e. frequency) of usage. This ignores duration of usage. Like the results in Table
   7, the results in individual studies are based on rather small numbers and they entail
   imprecise estimates of RR. Also like Table 7, the pattern of results is equivocal. There is no
   clear evidence for or against an underlying dose-response.

   The Berge 2018 paper also looked at dose-response. They only looked at trends by
   duration of usage and frequency of usage, analogous to my Tables 7 and 8. However they
   actually fitted continuous variable models and found that there were significant trends in
   risk by duration and by frequency of exposure. They did not examine trends by cumulative
   exposure, and in particular they did not use the results from the Terry 2013 pooled
   analysis, which in my view is the most informative evidence available on dose-response.

   Penninkilampi 2018 looked at risk according to long duration of usage and found no trend.
   They also looked at cumulative exposure with total number of applications, and they
   reported a slightly higher RR for women with greater than 3600 applications (RR=1.42)

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   compared with women who had fewer than 3600 applications (RR=1.32). I cannot
   determine from the paper which studies were included in this analysis and in particular
   whether the pooled Terry 2013 dataset was included. While the Terry 2013 and
   Penninkilampi 2018 papers both contained some results on dose-response, they are not
   included in Tables 6-8 because they are not original data collection studies; like mine,
   their’s is a review of other studies which are contained in Tables 6-8.As indicated above, all
   other things being equal, the best metric of the three quantitative ones is the cumulative
   exposure metric, and that is the one that happens to provide the most statistically reliable
   data. Thus, the evidence from Table 6 overrides the weaker evidence from Tables 7 and 8.
   The evidence from the Terry 2013 paper is the most important piece of evidence we have
   on dose-response. The evidence from the Terry 2013 paper is compatible with the
   presence of a dose-response relationship between use of powder and ovarian cancer.

   6.4 Subtypes of ovarian cancer - in particular, serous invasive tumors

   Most studies that provide results on RR between talc powder and ovarian cancer provide
   results for all types of ovarian cancer combined. Less than half of the published studies
   have also provided results of the associations between talc powder exposure and various
   subtypes of ovarian cancer.

   To the extent that talc exposure might have different effects on different subtypes of
   ovarian cancer, there would be a clear advantage to segregating the evidence by type of
   ovarian cancer and evaluating the evidence for each subtype. The serous-invasive
   subgroup comprises over half of all cases, and the rest are split among several other
   histology-behaviour subgroups (mucinous, endometroid, clear cell, others, and these can
   be further subdivided by invasive or borderline). Those latter subgroups entail very small
   numbers each and barely provide enough data, in most studies, to produce informative risk
   estimates. In those studies, where results were presented by histologic-behaviour
   subgroups, it is my judgement that there is no strong consistent pattern indicating that one
   subtype has higher risk than another. Of course, there is variability in point estimates of
   RR, but on the one hand the variability in RR estimates between ovarian cancer subtypes
   within studies is not greater than would be expected from chance variability (mostly, the

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   confidence limits overlap considerably), and on the other hand, from study to study, it is
   not always the same subtype that seems to have the highest or lowest relative risks.




   In the largest assembly of cases subdivided by histologic subtype, the Terry 2013 pooled
   analysis, the results by subtype were as follows:

      -   Serous: n=1197; RR=1.24(1.13-1.35)

      -   mucinous: n=94; RR=1.06 (0.82-1.36)

      -   endometroid: n=304; RR=1.20 (1.03-1.40)

      -   clear cell: n=187; RR=1.26 (1.04-1.52).

   Other than serous invasive tumors, there is no other subtype for which there are sufficient
   numbers of studies and sufficiently precise estimates of RR in each study to provide
   reliable estimates of the overall RR. While the results for endometroid and clear cell tumors
   show risks that are closely aligned with those for serous tumors, the result for mucinous
   tumors are so imprecise, because of the very small numbers of such tumors, that the
   estimated RR of 1.06 is very unreliable.

   Consequently, and because there were multiple studies apart from Terry 2013 that
   presented results for serous tumors, I decided to conduct a meta-analysis for
   serous/invasive ovarian cancers, but not for other subgroups. The meta-analysis on serous
   invasive tumors will indirectly inform us also about the relative risks for other types of
   ovarian cancer. Namely, if the RR for serous invasive tumors is similar to that for all
   ovarian tumors, it will imply that the risks for other types (the complement of serous
   invasive tumors) will not be very different from the overall RR. If the RR for serous invasive
   tumors is much greater than that for all ovarian tumors, it will imply that the risks for other
   types (the complement of serous invasive tumors) are lower than the overall RR. Similarly,
   if the RR for serous invasive tumors is much lower than that for all ovarian tumors, it will


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   imply that the risks for other types (the complement of serous invasive tumors) are higher
   than that for all ovarian cancer.

   Table 9 shows all the studies that reported results concerning the link between talc
   exposure and serous/invasive tumors. There were 8 informative studies, including Terry
   2013, which carried by far the most statistical weight. The meta-RR estimate for
   serous/invasive tumours was 1.25 (1.1.15- 1.36). This is very similar to meta-RR for all
   ovarian tumors, albeit based on a smaller number of informative studies. Thus there is no
   persuasive evidence in these studies, taken as a whole that the effect of talc differs by
   histologic subtype of epithelial ovarian cancer. That is, with such a tiny difference in RRs
   between that for all ovarian cancers combined and that for serous invasive ovarian cancers,
   it can be safely inferred that the RR for other types of ovarian cancer (the complement of
   serous invasive) would not be far from the overall RR of 1.28.

   6.5 Conclusion from meta-analyses and dose-response considerations

   My opinion, based on up-to-date data and meta-analyses, is that the RR between ever
   perineal use of talcum powder products and ovarian cancer (all types combined) is
   1.28 (95%CI 1.19-1.38). This result is highly statistically significant.

   We can rule out random variability as a possible explanation for the apparent excess risks.

   Further, the examination of results according to the “amount” of exposure, and notably the
   cumulative exposure variable used by Terry 2013, shows that the higher the exposure, the
   higher the risk.

   Such a pattern of findings can have only two possible explanations: it must be the result of
   some sort of bias or confounder that operated in multiple studies or it must be the result of
   a real causal association.


   7.   Misconceptions and possible biases
   In reaching my opinions, I have objectively looked at the data and scientific literature and
   considered the points of view of others who do not share the conclusions I have reached.
   There are generally two sources of disagreement: misconceptions of epidemiologic or

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   statistical concepts which I address below in Section 7.1 and professional judgement of the
   likelihood of errors and biases in the various epidemiological studies, which I address in
   Section 7.2.




   7.1 Some prominent misconceptions in reviewing the evidence

   Table 10 lists some prominent misconceptions, and I will address them here.

   Misconception: “Cohort studies are more valid and informative than case-control studies.”

   As can be seen in Table 2, the case-control studies tended to produce higher RR estimates
   than the cohort studies. It has sometimes been claimed that cohort studies are more valid
   than case-control studies. There is no theoretical or practical reason why such a blanket
   assertion should be universally true. There are many factors that influence the validity of a
   particular result in a particular study and it cannot be reduced to any simplistic assertion
   that cohort studies are more valid than case-control studies, or vice versa. In the next
   section, I will go through a number of potential sources of distortion of results from
   epidemiologic studies, and I showed that some of them might occur in cohort studies, some
   in case-control studies, and some in both. Some of these distortions very likely occurred in
   some or all of these studies that provide data on talc and ovarian cancer. On balance, I
   believe the results of each of these case-control studies concerning female use of powders
   and ovarian cancer are credible, and perhaps more so (for reasons given in section 7.2),
   than the analogous results of each of these cohort studies.

   Misconception: “Hospital-based case-control studies are more valid and informative than
   population-based case-control studies.”

   In a case-control study, the design objective is to define a study base, or a population base,
   in which the cases might occur, and to identify representative samples of cases and of
   controls in that study base. The purpose of a control group is to provide an estimate of the
   prevalence of exposure to the factor under study in the base population that gave rise to
   the cases. In many instances, the best source of controls for case-control studies is a
   population list of some sort. But sometimes using a population list is not feasible or
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   desirable, and an alternative can be to select controls from among hospital patients with
   conditions other than ovarian cancer. This was done in some of the ovarian cancer case-
   control studies.

   The most common generalization made by epidemiologists is that population-based case-
   control studies are more valid than hospital-based case-control studies. In fact, neither this
   nor the opposite statement that I articulated as a Misconception, is universally correct.
   Validity of a case-control study depends on the specific design features and circumstances
   of the study.

   It is possible that some types of hospital controls have patterns of usage of powders that
   are different from those of women in the general population, either because the powders
   are actually causally associated with the diseases that those women have or because their
   disease or condition that led them to be hospitalised induces some women to take up the
   use of such powders. If such a mechanism was present in a hospital-based case-control
   study, it would likely lead to an artificially attenuated RR, not an artificially inflated RR.

   Misconception: “Counting the number of statistically significant results is a valid way of
   assessing consistency of results among multiple studies.”

   This misconception betrays a lack of understanding of statistical significance. As can be
   seen in Table 2, several of the individual studies listed in my meta-analysis did not find a
   statistically significant increase in RR. This has been cited by some as evidence that there is
   no real causal link.

   In fact, meta-analysis is a method that was developed precisely because counting
   significant results is an invalid way of synthesising knowledge. Namely, a result from a
   single study may fail to achieve statistical significance either because there is no risk in that
   study, or because the statistical power of the study was limited. Meta-analysis was
   developed in order to combine evidence from multiple studies that may be under-powered
   on their own, but when combined show an effect that might be statistically significant. The
   meta-analysis cannot conjure a statistically significant meta-RR if the individual study RRs
   do not systematically lean in the direction of an excess risk, and they do so in the area of
   talc and ovarian cancer to a degree that cannot be explained by random fluctuation.

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   Misconception: “You cannot prove causality with an RR less than 2.0.”

   There is nothing in epidemiologic theory or practice that justifies such a statement. Indeed,
   this assertion about an RR > 2.0 threshold does not exist in epidemiology. There are many
   well-established causal relations where the RR is less than 2.0. Table 11 lists a number of
   such examples. In clinical medicine also, it is very common to strive to find therapies that
   reduce the risk of death from some disease by as little as 10%, and several such discoveries
   are well documented and have been integrated in medical practice, even though the change
   in risk is small.

   Misconception: “If a product has been used for a long time it must be safe.”

   It has been argued that since talc powder has been used for many decades by millions of
   women (and men and children), it has stood the test of time and should be considered safe.
   This is a specious argument.

   Most agents in our environment or in our lifestyle which are now considered dangerous
   were used for decades or centuries without falling under a cloud of suspicion. These
   include such factors as cigarette smoking (many cancers and cardiovascular disease),
   asbestos (lung cancer), sunlight (skin cancer), ingesting very hot liquids (esophageal
   cancer), and many others.

   Misconception: “Government agencies provide the most reliable and authoritative statements
   regarding the lack of carcinogenicity of talc.”

   Various national and international agencies have websites which list carcinogens.
   Examples are: National Cancer Institute (NCI), National Toxicology Program Report on
   Carcinogens (NTP-RoC), International Agency for Research on Cancer (IARC). It can be
   argued that these agencies, which undoubtedly have scientific credibility, would not put on
   their websites information that is out of date or invalid. However, that claim is false.

   IARC has a rigorous evaluation process which is considered quite authoritative throughout
   the world, including in the U.S. But the evaluation is carried out at a certain point in time.
   The last time talc was evaluated by IARC was in 2006. Based on the evidence available then,
   the panel rated talc as a “possible” carcinogen. Additional evidence has been accumulated

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   and come to light since then, but there has not been a new evaluation by IARC. (There are
   potentially thousands of agents to evaluate, and IARC has resources to only evaluate a few
   each year. Thus they cannot keep re-evaluating the same ones as soon as new evidence is
   published.)

   NTP-RoC is a congressionally-mandated program whereby the agency is obligated to
   periodically publish lists of known and suspected carcinogens. Unlike IARC, it appears that
   the people who make the decisions are internal RoC scientists, rather than external experts,
   with advice from outside experts. Also unlike IARC, the biennial reports only contain
   listings of those agents that have been deemed to be definite or likely carcinogens, so there
   does not seem to be a statutory listing of all agents that have been considered. From the
   minutes of a meeting of the Board of Scientific Counsellors of NTP held in 2000, it appears
   that the issue was deferred. I am not aware that the RoC has conducted a subsequent
   review of talc; although, when renominated in 2004, NTP deferred to IARC.

   NCI provides a website for doctors where they indicate for each type of cancer, what are
   the known risk factors. Based upon my understanding, they do not carry out a rigorous
   evaluation along the lines of the IARC evaluations or even the NTP evaluations. It is a rather
   superficial process compared with the IARC process and it depends on the existing
   knowledge of the committee members which in a short time opines about possible
   associations between each of the scores of cancer types and scores of potential risk factors.
   This is not to argue that the members of these committees are less expert than the
   members of the IARC committees, but the NCI committee members have a short time
   (apart from their main jobs) to review hundreds of possible factor-cancer associations,
   whereas the IARC committee members have weeks to review just a few.

   Scientists and public health agencies regularly consult the IARC evaluations and those of
   the NTP. The NCI website for doctors is not considered an up-to-date and cutting edge
   source of information. This is, of course, no reflection on the gravitas of the NCI as a whole,
   which has much more invested in its original research mission than in its website for
   doctors.



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   There are other organizations which may put some information about causes of cancer on
   their websites. Importantly, I have not seen any agency or organization, including the FDA,
   that conducted a rigorous evaluation of the epidemiologic and non-epidemiologic studies
   like we did at IARC in 2006.



   Misconception: “A biological mechanism must be proven before we can establish causality”

   There are innumerable examples in medical history of discoveries of risk factors or
   treatments that did not require knowledge of the mechanisms of pathogenesis in order to
   determine causality. I have compiled a few such examples from medical history and show
   them in Appendix C.

   Very often, the initial suggestion was met with scepticism from the vantage point of
   biologic plausibility. In fact, very seldom have the essential features of biologic plausibility
   been worked out by the time the epidemiology has convincingly demonstrated that the
   association is causal. This can be asserted for the early discoveries such as the cancer
   causing effects of certain chemicals in dye production facilities, certain metals in various
   heavy industry facilities, certain emissions of combustion of fossil fuels, ionising radiation,
   and even cigarette smoking. In most of these examples, it was decades after the
   epidemiologic evidence became convincing that credible mechanistic theories were
   proven; though, for some, the biologic mechanisms remain unknown.

   Indeed in the guidelines of the IARC Monographs, it is stated that if there is “sufficient”
   evidence of a risk of cancer from epidemiologic studies, then irrespective of the evidence
   from animal experimentation and other biologic evidence, the agent in question should be
   considered a Group 1 carcinogenic agent. My point here is that the demonstration of a
   proven biologic mechanism is not a prerequisite for demonstrating that an agent is a
   human carcinogen. Reliable empirical epidemiologic evidence of an association is a
   sufficient basis for demonstrating causality; the presence of a credible biologic mechanism
   enhances the degree of proof, though that often lags decades behind the general
   recognition of causality, as exemplified by the examples in Appendix C.


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   It is not my opinion that we should ignore or set aside consideration of biologic plausibility.
   As Hill (1965) indicated in outlining the thought process for establishing causality, biologic
   plausibility is one of the dimensions to be considered. But, he also cautioned that, “this is a
   feature I am convinced we cannot demand”. Thus, as I have done in other contexts in
   regard to other putative carcinogens, I am able to draw causal inferences about talc
   irrespective of whether a causal mechanism has been proven.

   Misconception: “Bradford Hill criteria comprise a checklist of necessary conditions”

   As I explained in section 4.2, the “aspects” that Hill listed are not “criteria” and they are not
   necessary. This point has been made and is widely accepted by epidemiologists. The list of
   “aspects” in Hill’s original paper have been rephrased and reworked in many textbooks and
   by most agencies that refer to them. They provide a framework and not a checklist.

   7.2     Alternative explanations - Biases and errors

   Before inferring that the strong statistical evidence that use of powder in the perineal area
   by women is associated with ovarian cancer may represent a causal relationship, I
   considered alternative explanations for these observations. In this section I will consider a
   number of potential sources of distortion of the risk estimates, under various rubrics. Some
   of the potential sources of distortion are unique to cohort studies, some are unique to case-
   control studies, and some can affect both types.

   7.2.1   Bias due to non-response or non-participation

   This is a potential source of bias in case-control studies.

   Among all potential cases and controls who meet the study’s eligibility criteria, some
   participate and some don’t. The most common reasons for non-participation are: refusal;
   inability of the researchers to contact the person because they moved or are too sick or
   died or are otherwise unavailable; if access to the subject is via the treating physician or
   medical staff, there could be obstacles at that level. If the factor under study, hygiene
   powder use, is correlated with the likelihood of participation and if the participation rate is
   low, this could lead to biased estimates of RR. Such bias could artificially inflate or deflate
   the RR depending on how the various variables are related to each other. If response rates
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   are low, say below 70%, and differential both by case-control status and by exposed – non-
   exposed status, this could lead to biased RR estimates. For such a bias to explain the
   outcomes seen, it would require quite strong associations between likelihood of
   participation and powder use, and quite strong differences in such associations between
   cases and controls. In my opinion, it is very unlikely in the context of these studies that
   response rate differentials would be great enough to induce such large bias.

   7.2.2   Recall or reporting bias

   This is a potential source of bias in case-control studies.

   Because the exposure history is collected retrospectively, it is subject to both non-
   differential recall errors (see below), and to recall or reporting bias between cases and
   controls. Cases and controls may have different motivation and proclivities to recall and
   report use of powders. If it were true that cases had a greater tendency to over-report
   powdering history or if controls had a greater tendency to under-report powdering, then
   this would lead to an artefactual exaggeration of the RR.

   There are a few possible causes of such differential reporting. First, it might be
   hypothesized that there is a general tendency for cases in case-control studies to
   acknowledge behaviours or exposures with much greater frequency than controls just
   because they are more invested in the research than are controls. They may wrack their
   brains during the interview to find instances of the queried behaviour or exposure that
   controls don’t pay much attention to during the interview, because the controls just “want
   to get the interview over with”. If this were the case, we would systematically see elevated
   RRs from case-control studies for all manner of variables in all kinds of studies. But in my
   experience, this does not occur. (I have conducted many case-control studies, each study
   eliciting information on many lifestyle factors and exposures. It has not been the case that
   cases systematically report more exposures than controls.) Furthermore, and more
   pointedly, if such a phenomenon were operative in these case-control studies of ovarian
   cancer, we would see elevated RRs when women were questioned about the use of
   powders on other parts of their bodies than the perineal area. In fact, several studies did
   ask such questions. In the Terry 2013 analyses, based on very large numbers of women, the

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   overall RR for ever use of hygiene powder on non-genital areas of the body was 0.98 (0.89-
   1.07), in stark contrast to the analogous result for genital use of 1.24 (1.16-1.33). In other
   words, when questioned about powdering in non-genital areas, controls were as likely to
   say “yes” as cases. Clearly there was no tendency for cases to indiscriminately report
   exposures more frequently than controls.

   A second possible reason for such a situation to arise is if there was widespread knowledge
   about powdering being under suspicion for ovarian cancer. In such a situation women who
   have heard about this might internalize the notion that powdering may have caused their
   cancer, and they might ruminate with such intensity on the notion that they might imagine
   that they had used powders at some point in the past. But for most of the period of data
   collection in these studies, there was very little public discussion of a possible linkage
   between powdering and ovarian cancer and I doubt if more than a handful of the thousands
   of women interviewed in these studies would have heard of such a hypothesis before being
   interviewed.

   In my opinion recall bias is not likely to have produced the kinds of RRs we see in these
   studies.

   7.2.3   Non-differential (or random) error in recall or reporting of exposure to powders

   This is a potential source of bias that would affect both case-control and cohort studies, but
   not exactly in the same ways.

   Reporting past history of activities and exposures is always subject to some degree of
   error; it can result from ambiguity or misunderstanding of the questions, failures of
   memory, or inattention. And this is certainly true for history of powdering. If such error is
   non-differential (i.e. equally present for cases and controls in the case-control context) it
   has an effect on RR estimates that is rather predictable. Namely, as I explained above, it has
   the effect of artifactually decreasing the RR. The degree of attenuation is roughly
   proportional to the degree of error or misclassification. If there really is a causal
   association between powdering and ovarian cancer, then we can be rather certain that the
   true RR is higher than what we can see in the various studies that have reported RRs.


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   Furthermore, we might make some reasonable inferences about the impact of reporting
   error on dose-response trends as well as on the overall RR. It is reasonable to surmise that
   the amount of reporting error is quite a bit higher for the details of past usage (duration of
   usage, intensity and frequency of past usage) than it is for the simple fact of usage. That is,
   there is less error in a woman’s report of whether or not she ever used powders on a
   regular basis than in her report of the details of the usage, even if powdering behaviour
   may be a relatively stable habit. The consequence of this is that the RR based on ever/never
   usage (Table 2) is less subject to artefactual attenuation than the RRs based on categorizing
   the duration or intensity or cumulative amount of usage (Tables 6-8). This is a possible
   explanation of why there has been a much clearer signal of elevated RR for ever/never
   usage than there has been for dose-response.

   There is likely to be more measurement error of exposure to powders in cohort studies
   than in case-control studies, for several reasons. First, because the cohort study
   questionnaires attempted to broach topics that could be relevant to many types of cancer
   and indeed many diseases, the questions posed in the cohort study questionnaires about
   talc powder use tended to be much briefer and probably less effective at eliciting valid
   information than the questionnaires used in case-control studies of ovarian cancer. For
   instance, the cohort studies did not elicit information on timing or duration of past usage,
   and one of the cohort studies did not even attempt to elicit information about use of talcum
   powder products over 12 months before the interview. Second, whereas a case-control
   design involves a woman looking backwards over her life from the time of incident cancer
   onset and thereby addressing the entire relevant period of potential exposure, the woman
   in a cohort study reports on her past usage as of a certain point in her life, but there may be
   10-20 years subsequent in which her habits could have changed, and of which the cohort
   study has no knowledge. The women in the cohort studies were “locked into” their
   exposure category at baseline of the cohort study. If there were women who in fact started
   using powders after the baseline, they would be incorrectly labelled as non-users. And, if
   there were indeed a risk associated with use of talc powders, the risk estimate would be
   diluted by the incorrect inclusion of users among non-users. Accordingly, the longer such
   subjects are followed, the more likely such misclassification is to occur.

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   The age at which information is collected is a relevant consideration. In most case-control
   studies, the mean age of the study subjects was between 50 and 60. In the NHS cohort
   study the mean age at baseline questionnaire was around 40 and in the WHI it was over 60.
   In each study, women were asked about their past history of powder usage. Clearly the
   WHI women had a further stretch of time to consider than the women of the NHS and even
   of the case-control studies.

   A particular form of measurement error may well have occurred in the Gonzalez 2016
   study and produced even more attenuation of RR estimates. Namely, in their brief
   questionnaire on talc exposure, the question was formulated to ask women about their use
   of powders in the 12 months preceding the interview. While exposure to talc over the past
   12 months may be correlated with exposure over the entire etiologically relevant period,
   which might go back decades in the life of the woman, the correlation is probably weak,
   and this is another source of measurement error.

   7.2.4   Short follow-up periods for disease ascertainment

   This is a potential source of bias that would affect cohort studies.

   In a cohort study, if the period of follow-up after baseline is relatively short; and if the
   latency period between exposure and cancer is long, the excess risk may not be detectable
   because cases that would occur after long latency have not had time to occur. If this did
   occur, it would lead to an artificially low RR estimate.

   This could have been an issue in the initial publication from the NHS, the Gertig 2000
   paper. As of the Gates 2008 and Gates 2010 analyses of the NHS, the follow-up period was
   probably long enough and this bias should have abated. For the WHI study it was likely an
   issue in the Houghton 2014 paper, and it would remain so until there is much longer
   follow-up. It would also be an issue in the Gonzalez 2016 paper from the Sister Study,
   which had only 6 years of follow-up after exposure was ascertained.

   7.2.5   Diagnostic error

   This is a potential source of bias that would affect both case-control and cohort studies, but
   not exactly in the same ways.

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   The diagnosis of cancer is never error-free. And details of histology and staging are even
   more error-prone. Further, there are trends in diagnostic criteria and methods over time,
   as well as in the terminology and classifications used. So what we observe in these various
   studies of ovarian cancer represents imperfect estimates of true biologic/pathologic status.
   The impact of such “errors” is mainly the same as exposure measurement error, namely it
   would tend to artificially reduce RR estimates. Since most case-control studies start from
   hospital-based cancer diagnoses as the point of entry, they usually have reasonably valid
   diagnostic information.

   In general, cohort studies tend to be more vulnerable to this source of error and bias,
   because disease diagnosis information is often obtained from sub-optimal sources, such as
   the information provided by the study subject or her family, or information obtained from
   death certificates. In the three cohort studies included in the meta-analysis, there were
   high quality verifications of diagnostic information that had been provided by the women
   or their families. But such verification may not be as reliable as information coming
   straight from hospital pathology or oncology services. I expect that this was not a major
   issue here, but to the extent that it did operate, it too would have led to some additional
   attenuation of RR estimates, as I explained above.

   7.2.6   Initiation of powdering as a result of ovarian cancer

   This is a potential source of bias that would affect case-control studies.

   It has been speculated that women with early symptoms of ovarian cancer might take up
   the use of powders to help with relief of their symptoms. If so they might report that they
   used powders before their cancer was diagnosed and this could artificially inflate the RRs.
   While the women are usually questioned about the period before their cancer was
   diagnosed, there could be some “telescoping” so that women who start dusting after
   diagnosis respond in the affirmative to the questionnaire.

   In the same vein, it has been speculated that treatment for ovarian cancer might produce
   side effects that could be relieved by powdering. And again, it might be posited that women
   ignore the instruction to refer the exposure question to the time before the onset of the
   cancer.
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   If the early symptoms of ovarian cancer provoke some women to start dusting the
   perineum to relieve some of the discomfort, or if the treatment provokes women to start
   dusting, this would lead to an artefactual excess RR.

   I have not found any empirical evidence to support this hypothesis.

   In the few datasets I have seen which describe the age distribution of initiation of
   powdering, there were very few patients who started in the year or two before diagnosis of
   the cancer. I am inclined to believe that it is virtually a non-issue, and that if it operated at
   all, it would only have operated on a handful of the thousands of women who were part of
   the various case-control studies.

   7.2.7   Confounding

   This is a potential source of bias that would affect both case-control and cohort studies.

   If women who use powders are also more likely to be exposed to other risk factors for
   ovarian cancer, then it might distort the relationship between powdering and OC. The
   direction and the degree of distortion (bias) that would be induced depends on two
   components, a) the true association between the confounder and ovarian cancer, and b) the
   association between the confounder and dusting behaviour. Thus, depending on the
   direction of these two component associations, the confounding can result in artificially
   decreased or increased RRs. Typically, the degree of confounding is much lower than the
   strength of the association between the confounder and ovarian cancer. In order for a
   confounder to induce an artificial RR of 1.25 for dusting, it would have to have an RR much
   greater than 1.25 with ovarian cancer and a fairly strong correlation with dusting
   behaviour. Given that the main studies have controlled for the main risk factors, I consider
   it unlikely that this operates. Table 1 shows the covariates that were controlled for in each
   study, and while there is some variability between studies in the list of covariates, the main
   known potential confounders (age, BMI or weight, parity) have been controlled for in
   almost all studies. It should be noted that while smoking is a well-established risk factor for
   many types of cancer, it is not a risk factor for ovarian cancer; thus, there is no need to
   control for smoking status in studies of ovarian cancer.


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   A thorough and reliable investigation of potential confounders was conducted by Cramer
   (2016); in the large database of New England-based studies, they explored the potential
   confounding effect of a host of personal characteristics including demographic,
   reproductive, hormonal, comorbidities, activities, and exposures. None of the covariates
   that they explored had any meaningful confounding effect on the association between talc
   and ovarian cancer.

   7.2.8   Publication bias

   This is a potential source of bias that would affect case-control and cohort studies.

   This refers to the tendency for some evidence never to “see the light of day”. Namely, when
   results are “negative” or “null”, it may be that investigators never bother to submit them for
   publication, or alternatively, that editors refuse to publish them. This happens, most likely,
   when the hypothesis under study is not particularly topical or controversial, and when the
   study is small. In the talc-ovarian cancer literature this would have been more likely in the
   pre-2000 era when there was much less scientific interest in the hypothesis linking talc to
   ovarian cancer. As a sensitivity analysis, I conducted a meta-analysis on the subset of
   studies in Table 2 that had at least 20 exposed cases. That is, I eliminated the studies from
   that stratum of the universe of studies that were most susceptible to publication bias. The
   resulting meta-RR was almost identical to those shown in Table 4. Because this has been a
   somewhat controversial topic in epidemiologic circles over the past 20 years, I doubt if
   there were large important studies with null findings on talc-ovarian cancer that went
   unpublished.

   In their meta-analyses, Berge 2018 and Pennikilampi 2018 both showed funnel plots of the
   results. These are meant to detect so-called publication bias. Both of those analyses
   concluded that there was no publication bias.

   In summary, I consider that the observed association between talc and ovarian cancer is
   not an artefact due to publication bias.




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   7.2.9    Summary comments regarding biases and errors

    While the results of epidemiologic studies strongly supports the hypothesis of an
   association between perineal use of powders and risk of ovarian cancer, we must be wary
   of potential sources of error and bias that can distort an association before concluding that
   this association is causal. I have therefore gone through the plausible sources and types of
   error and bias that could potentially explain the positive association seen across the
   relevant studies to ascertain how likely it is that each such type was actually operative and,
   if so, what the nature of the impact may have been. These evaluations are based on my
   professional opinion as an epidemiologist having conducted, reviewed, and evaluated many
   hundreds if not thousands of epidemiologic studies.

   Of the various types of error listed, some could artificially inflate the RR estimates and
   some could artificially decrease the RR estimates. Some are likely to have occurred and
   some are unlikely to have occurred. The one that certainly occurred and that has a non-
   trivial attenuating effect on RRs is random exposure misclassification (section 7.2.3). As
   explained above, if there is a true association, then the true RR is almost certainly greater
   than the estimates seen in these studies and in the resulting meta-analyses. Other types of
   error and bias that are highly likely to have occurred are the two that are specific to cohort
   studies. Namely, the Nurses’ Health Study papers (Gates 2008 and Gates 2010) almost
   certainly suffered from an attenuated RR estimate because of the compromised reference
   category of “unexposed” while the Women’s Health Initiative paper (Houghton 2014) and
   the Sister Study paper (Gonzalez 2016) almost certainly suffered from a too short follow-
   up period (section 7.2.4). In my opinion, the occurrence and the possible impact of other
   listed types of bias and error are more speculative, and less likely.

   Consequently, in my opinion, the observed association between talcum powder products
   and ovarian cancer is unlikely to be explained by any methodological problems with the
   studies.


   8.      Bradford Hill guidelines applied to talc and ovarian cancer
   The Reference Guide on Epidemiology of the Manual on Scientific Evidence (2011) states:
   “There is no formula or algorithm that can be used to assess whether a causal inference is
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   appropriate based on these guidelines.” These guidelines are simply aspects that might be
   considered in assessing causality. I will give my assessment of how the evidence regarding
   talcum powder products and ovarian cancer fit into those aspects. I will use the version
   listed in the Reference Manual on Scientific Evidence. While there is no objective basis or
   scientific precedent or “scientific jurisprudence” for quantification or weighting of the
   various “aspects”, to help the reader to understand the relevance that I attached to each
   “aspect” in my evaluation, I will provide an informal ranking of the importance that I attach
   to each aspect, in the specific context of the assessment of causality of evidence regarding
   talcum powder products and ovarian cancer. I will list the aspects in descending order of
   importance that I attach to them.

   My opinions are briefly summarized in Table 12.

   Highly important aspects in my weighting

   There is a set of B-H aspects that are utterly inter-related and cannot be disassociated one
   from the other. In combination, they represent the most important aspect to consider in
   evaluation of causality of talcum powder for ovarian cancer. These include strength of
   association, dose-response, consideration of biases, and consistency of findings.

   Strength of the association. This can embody both the magnitude of the RR and its
   statistical significance. The meta-RR estimate is 1.28. That means that the best estimate
   from the epidemiologic literature is that women who regularly used talcum powder
   products in the genital area had 28% higher risk of ovarian cancer than women who did
   not use such powders. As I illustrate in Table 11 with a few examples, this RR is in line with
   many well-recognized risk factors for cancer and other diseases. For example, it is well
   accepted now that people living in an urban neighborhood in which the air is highly
   polluted with particulate matter have between 5% and 10% excess risk of lung cancer
   compared with people living in a less polluted urban neighborhood. Also, it is well accepted
   now that workers exposed to a solvent called trichloroethylene have about a 40% higher
   risk of kidney cancer compared with workers not exposed to trichloroethylene. Thus, the
   28% increase of ovarian cancer for women who used talcum powders is in line with many
   recognized risk factors. This increased risk as manifested by the meta-RR is highly

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   statistically significant. (Note that the statistical significance of individual studies is
   irrelevant to the consideration of causality; it is the totality of evidence embodied in the
   meta-analysis that counts.) Such a high and significant meta-RR could not have occurred by
   chance. This is a very important factor in how I view the evidence of causality, and it
   supports causality.

   Dose-response relationship. If the relative risk increases when the exposure increases, it
   enhances the likelihood that the observed association is really causal. In studies of lifestyle
   habits like use of talcum powder products, the most common way is to estimate the RR in
   increasing categories of exposure metrics such as duration (years) of usage, or intensity of
   usage (frequency per day or per week or per month), or cumulative amount of usage (a
   combination of duration and frequency). The most sensitive of these metrics is the
   cumulative amount. I evaluated the published studies reported on risks according to the
   different metrics. By far, the most important set of results on dose-response is that from the
   Terry 2013 pooled analysis of 10 studies using the cumulative exposure metric. And, the next
   most important from a statistical weight point of view is that from Schildkraut 2016. In both
   of those studies, there is a clear indication of increasing risk with increasing cumulative
   exposure. Since the statistical power to detect a trend is less than the power to detect an
   overall risk, it is not surprising that the p-value for trend does not attain the conventional
   0.05 level, but it remains true that these studies support a dose-response. This is an
   important consideration in my assessment of causality, and the evidence on dose-response
   that our IARC committee had available in 2006 was much less persuasive than the evidence
   available now.

   Consideration of alternative explanations - absence of bias. There are many potential sources
   of bias in observational research, including in epidemiology. It is important to consider the
   presence of bias in each study performed or reviewed in an evaluation of causality. The
   possibility of bias is so multifaceted that it is impossible to reliably assign an explicit score
   to the likelihood of bias in a study or in a body of studies. It is also important to understand
   that identifying a potential source of bias is not tantamount to identifying the presence of
   bias. In section 7.2, I have reviewed the potential role of several types of biases and errors


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   that can bedevil such research. I concluded there that none of those factors would cause the
   apparent associations.

   Consistency of findings between studies (or replication of findings). Because epidemiologic
   research is susceptible to errors from random variability and from different kinds of study
   biases, before accepting the apparent association as a generalized phenomenon, it is
   important to see that similar results are replicated in different studies. When these different
   studies also encompass different study populations in different communities, it enhances the
   generalizability of the inferences. Generally speaking, the observation of consistent results
   in different studies adds to the credibility of an inference that there really is a causal
   relationship. In my review of the published epidemiological studies and meta-analysis, I am
   impressed by the consistently elevated risk across studies. Almost all of the 30 or so studies
   have produced an RR greater than the null (neutral) value of 1.0. If there really were no
   association between talcum powder use and ovarian cancer, we would expect to see as many
   RRs lower than 1.0 as higher than 1.0. The pattern we see is like flipping a coin 30 times and
   getting a heads 28 or 29 times. The individual study RRs are not all necessarily statistically
   significant, but that is irrelevant because most individual studies did not have sufficient
   statistical power to detect RR in the range of 1.2-1.4. It is the statistical significance of the
   meta-RR, representing the combined evidence that has the requisite power, and that excess
   RR is highly statistically significant. I place great weight upon this evidence of causality and,
   here, believe it to be amongst the most important findings.

   Moderately important aspects in my weighting

   Temporal relationship. Exposure should be seen to have preceded disease. It is almost a
   logical truism. This is the only aspect that Bradford Hill considered to be necessary. In all of
   the studies I reviewed, the information elicited about talc exposure concerned the time
   period before cancer onset. Since it is so obviously important, the reader may wonder why
   I place lesser weight on this aspect. It is simply because the presence of this condition of
   temporality is so obvious in these studies.

   Biological plausibility (coherence with existing knowledge). It is both conventional and
   natural to consider whether any putative association is biologically plausible. The notion of

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   biological plausibility is multi-facetted. In the case of talcum powder products and ovarian
   cancer, it can include such issues as: how such powders have been used, female anatomy
   and physiology, toxico-kinetics and toxicology of talc, in vitro and in vivo mechanisms of
   carcinogenesis, and others.

   The first thing to note about this aspect that Bradford Hill listed is that it is called
   “biological plausibility”, not “biological proof”. That is, there was never any implication that
   a determination of causality should rest on a demonstrated proven biological mechanism.
   Hill was always reserved about this aspect, stating that it was not an essential prerequisite
   to establishing causality. As I have mentioned above, it has been common in the history of
   medicine and epidemiology for the elaboration of a validated biological mechanism to
   come much later than the discovery and demonstration of a causal association. Appendix C
   gives a handful of such examples but there are scores more.

   Insofar as the issue of talcum powder products and ovarian cancer is concerned, there is
   evidence to support a few biologically plausible mechanisms. First of all, there are two
   possible routes that talcum powder products can take to reach the ovaries. There is
   published evidence that talcum powder products (and its constituents and contaminants)
   that are applied to the vaginal area can migrate from there to the fallopian tubes and
   ovaries (Venter 1979; Henderson 1986; Heller 1996) or to pelvic lymph nodes. (Cramer
   2007) In addition, as has been hypothesisized and partially demonstrated in the discussion
   of asbestos and ovarian cancer, such particles might reach the ovaries via inhalation and
   translocation. (Miserocchi 2008; IARC 2012) Once the particles reach the ovaries,
   carcinogenesis can be triggered by the inflammation engendered by the particles. (Ness
   1999; Ness 2000) There is considerable evidence that inflammation is an important
   mechanism for carcinogenesis (Coussens and Werb 2002; Grivennikov 2010). Alternative
   plausible mechanisms of carcinogenicity include talc induced oxidative stress (Buz’Zard
   2007; Saed 2017; Fletcher 2018), and genotoxicity (Shukla 2009).

   The evidence that commercial cosmetic talcum powder products have been shown to
   contain asbestos, fibrous talc, and heavy metals (Blount 1991; Paoletti 1984; Longo et al
   2017, Crowley report 2018) provides a reasonable basis for hypothesizing that these


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   chemicals may contribute to the carcinogenicity of the talcum powder products. Asbestos is
   a well-known carcinogen, as are chromium and nickel compounds. It is plausible that any
   of these, in contact with the ovaries, can be carcinogenic.

   The fact that there are credible biologically plausible mechanisms by which talcum powder
   products can reach the upper genital tract causing an inflammatory response, along with
   the presence of asbestos fibres and other carcinogens is an important consideration in
   support of my opinion that the genital use of talcum powder products can cause ovarian
   cancer.

   Aspects of lesser importance in my weighting

   Cessation of exposure. It is rare that there is valid evidence available to assess the impact of
   cessation of exposure in an observational study. In the studies on talcum powder and ovarian
   cancer, there is no evidence one way or the other concerning the effect of cessation of
   exposure. This aspect is not applicable and I place almost no weight on it.

   Specificity of the association. This aspect is premised on the notion that an agent-disease
   association is more likely to reflect a causal association if the agent is not also associated
   with other diseases. In the 1960’s, this seemed like a reasonable argument. In light of
   evidence from the past 60 years, this argument is no longer made and this aspect has fallen
   out of usage with the demonstration that some agents can indeed provoke multiple
   different pathologies. Examples include cigarette smoking, ionizing radiation and asbestos
   fibers.

   So, I do not place much stock in this aspect. However, if I did, I would have to say that
   genital exposure to talc is associated with ovarian cancer and no other morbidity, which
   supports the ‘specificity’ of the relationship.”

   Analogy

   Hill argued that if the agent is similar to another agent that has been shown to be a cause of
   the disease, then the agent under investigation is more likely to be a cause. The fact that
   exposure to asbestos fibers can cause cancers in lung, larynx mesothelial tissue and ovaries
   (IARC 2012) can indicate that, by analogy, talc, which is similar in some respects, might be

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   able to induce carcinogenesis. Thus, there is an argument for an analogy between talc and
   asbestos. While this aspect supports causality in Hill’s framework, I consider it much less
   important an aspect than the ones listed above.

   Coherence with other types of knowledge: Coherence with other knowledge can
   encompass a multitude of possibilities. This aspect is both vague and very open-ended,
   with no real operational instruction on how to use it. Hill gave an example in his paper, but
   the example was only applicable to tobacco and lung cancer. This is an aspect that, if it can
   be demonstrated, can enhance the likelihood of causality, but its absence cannot detract
   from causality. I don’t consider it to have much weight in this context.


   9.   Contrast with IARC Monograph and other reviews
   The 2006 IARC Monograph meeting, which I chaired, found that a causal relationship was
   “possible” between perineal talc powder exposure and ovarian cancer. I concurred with
   that evaluation.

   It is now my professional opinion, based on the totality of the evidence that, to a reasonable
   degree of scientific certainty, the causal relationship between perineal talc powder
   exposure and ovarian cancer is “probable. “

   What has changed in the years since the IARC review?

   The RR estimates in Table 2 are remarkably consistent in showing a highly statistically
   significant excess risk. The number of published study results and scientific literature
   addressing the epidemiology, toxicology, molecular biology, and mechanistic studies has
   increased since 2006, and the evidence of excess risk has been consistently demonstrated
   across the past three decades.

   The various possible biases that are on the table remain substantially similar to the ones
   that were considered by the IARC panel. At the time, we were not convinced that the
   apparent excess risk could be explained by those potential biases or confounding. As
   stated above, my review of the relevant studies and potential biases has led me to conclude
   that bias does not explain the consistent increased risks seen across the credible studies.



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   There is important new information with regard to the issue of dose-response. Contrary to
   the impression that the IARC panel had of a total absence of dose-response, and even a
   possible trend in the opposite direction, the results of three recent publications, Terry
   2013 and Schildkraut 2016, using cumulative exposure metrics, and Wu 2015 using
   duration of exposure, all demonstrate a clear compatibility with a dose-response
   relationship. The recent meta-analysis of Berge 2018 supports the presence of dose-
   response in both duration and frequency of use. The most convincing of these is the Terry
   2013 pooled analysis, which assembled a larger dataset than all other attempts to assess
   dose-response combined. Clearly, earlier reviews could not have integrated the results
   from these recent studies.

   It is my opinion, based upon the above the data, there is evidence of a dose-response
   relationship. Penninkilampi 2018 has recently expressed a similar opinion.




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   10. Conclusion
   The totality of evidence demonstrates that perineal or genital use of talcum powder
   products is associated with ovarian cancer. Based on contemporary data, my estimated RR
   between ever perineal use of talc powder products and ovarian cancer (all types
   combined) is 1.28 (95%CI 1.19-1.38). The body of epidemiologic evidence is remarkably
   consistent in demonstrating an excess risk. The evidence summarized in Table 6 is
   compatible with the presence of a dose-response relationship between cumulative
   exposure to talcum powder products and ovarian cancer. There are various potential
   sources of bias in these studies, some of which could have inflated the true RR estimate and
   some of which would have deflated the true RR estimate. Apart from random measurement
   error, which is inevitable in such studies and which tends to deflate the RR estimates, there
   is no certainty that the other potential biases were in fact operative and to what degree. It
   is my opinion, however, that neither bias nor confounding explains the consistent positive
   association seen across studies. Additionally, there are biologically plausible mechanisms
   by which talcum powder products can cause ovarian cancer.

   Based on the totality of the evidence, it is my opinion, to a reasonable degree of scientific
   certainty, that the perineal use of talcum powder products can cause ovarian cancer. Given
   the seriousness of ovarian cancer and its associated morbidity, this causal risk represents
   an important public health issue.




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   11. Tables




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Table 1. Steps in my evaluation of general causation between talcum powder product use and ovarian cancer



      1.      Identify all epidemiology study papers that present results on talc and Ovarian Cancer.

      2.      Extract all RR results from every paper into a database.

      3.      Determine which of the papers and results present truly independent relevant results.

      4.      Extract from each study the RR for Ever/Never use of talc in the genital area in relation to OC risk.

      5.      Conduct a Meta-analysis.

      6.      Examine the evidence about a possible dose-response relationship.

      7.      Consider issues of bias, confounding and other sources of error in the various studies.

      8.      Consider relevant opinion pieces, review articles, and agency reports.

      9.      Consider opinions from experts regarding possible biological mechanisms.

      10.     Consider all relevant aspects of association to infer causation.

      11.     Write report.




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Table 2. Relative risk estimates between ever regular use of talcum powders products1 in the perineal area and ovarian cancer2,
from various studies used in the Main Meta-analysis or in one or more of seven sensitivity analyses



                          Included in                                         All tumours
                          Main meta-          Number
 Author                     analysis                                  RR3                             95% CI4
                                           exposed cases
 Booth 1989                                      141                  1.29                  0.92                  1.80
 Chen, 1992                                         7                 3.9                   0.91                  10.6

 Cook 1997                                       159                  1.5                    1.1                   2.0

 Cramer 1982                                      60                  1.55                  0.98                  2.47

 Cramer 2016                                     642                  1.33                  1.16                  1.52
 Gates 2008                                       57                  1.24                  0.83                  1.83
 Gates 2010                                     2315                  1.06                  0.89                  1.28

 Godard 1998                                      18                  2.49                  0.94                  6.58

 Gonzalez 2016                                    17                  0.73                  0.44                   1.2

 Harlow 1989                                      49                  1.1                    0.7                   2.1

 Harlow 1992                                     114                  1.5                    1.0                   2.1

 Hartge 1983                                        7                 2.5                    0.7                  10.0


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                       Included in                                All tumours
                       Main meta-       Number
 Author                  analysis                          RR3                         95% CI4
                                     exposed cases
 Houghton 2014                            181              1.12                 0.92             1.36

 Mills 2004                               106              1.37                 1.02             1.85

 Ness 2000                                161               1.5                 1.1               2.0

 Purdie 1995                              467              1.27                 1.04             1.54

 Rosenblatt 1992                           22               1.7                 0.7               3.9

 Schildkraut 2016 A5                      248              1.44                 1.11             1.86

 Schildkraut 2016 B5                      128              1.19                 0.87             1.63
 Shushan 1996                              21              1.97                 1.06             3.66
 Terry 2013                             2600               1.24                 1.15             1.33

 Terry-AUS 2013                           705              1.13                 0.92             1.38
 Terry-DOV 2013                           272              1.13                 0.93             1.36
 Terry-HAW 2013                            74              0.99                 0.70             1.41
 Terry-HOP 2013                           194              1.34                 1.07             1.67
 Terry-NCO 2013                           195              1.37                 1.05             1.80
 Terry-NEC 2013                           755              1.28                 1.12             1.47
 Terry-SON 2013                           197              1.35                 1.03             1.76
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                                Included in                                               All tumours
                                Main meta-           Number
     Author                       analysis                                      RR3                                 95% CI4
                                                  exposed cases
     Terry-USC 2013                                    208                      1.36                      1.06                     1.74
     Tzonou 1993                                            6                   1.05                      0.28                     3.98

     Whittemore 1988                                      67                    1.36                      0.91                     2.04

     Wong 1999                                           157                     1.0                      0.8                       1.3

     Wu 2015                                             701                    1.46                      1.27                     1.69

1.      In all of these studies the exposure was defined as ever use of powder in the perineal area. In most studies it was further explicitly
        indicated that the use was regular.
2.      In this table we report the result for all types of ovarian cancer combined. With the exception of the Harlow 1989 study that was
        restricted to borderline tumours, we have assumed that all studies included both borderline and invasive tumours, although this was
        not always clear in the publications.
3.      RR or OR.
4.      The confidence intervals are the ones reported by the authors of the respective studies. However in its implementation procedures, the
        Comprehensive Meta-analysis package recomputes them to be symmetric around the point estimate, on a log scale. Consequently, in
        the printout of the forest plot of meta-analyses, the printed confidence interval is not always identical to the one shown in this table.
5.      Estimated based on Table 1 of Gates 2010.
6.      The Schildkraut 2016 case-control study presented two sets of results that both have some legitimacy for the present purpose.
        Schildkraut 2016A shows the results for all subjects who were interviewed in the study from 2010-2015. Schildkraut2016B shows the
        results for those subjects who were interviewed before 2014, and who, according to the authors, were not susceptible to having been
        tainted by publicity from a class action suit.




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Table 3. Main meta-analysis and sensitivity analyses conducted on the association between ever regular use of talcum powder
products in the perineal area and ovarian cancer (all types combined).
                                                                                RR-estimate                 Heterogeneity

 Studies in meta-analysis                                        N*   Meta-RR    95% CI       p-value        I2       p-value

 Main Meta-Analysis - list in Figure 1 Forest plot               21    1.28     1.19 1.38      0.00         32.9       0.07


 Sensitivity analyses

 Substitute Gates 2008 for Gates 2010                            21    1.30     1.21 1.40      0.00         22.9       0.16

 Substitute Schildkraut B for Schildkraut A                      21    1.27     1.17 1.37      0.00         30.8       0.08

 Add Shushan                                                     22    1.29     1.19 1.39      0.00         33.8       0.06

 Substitute List A** for Terry                                   27    1.27     1.19 1.35      0.00         26.2       0.10

 Substitute List A for Terry and Gates 2008 for Gates 2010       27    1.29     1.21 1.37      0.00         16.6       0.22

 Substitute List A for Terry and Schildkraut B for Schildkraut   27    1.26     1.18 1.34      0.00         24.5       0.12
 A

 Substitute List A for Terry and add Shushan                     28    1.28     1.20 1.36      0.00         27.4       0.09

*N:                Number of RRs that went into the meta-analysis. This is not synonymous with the number of studies because
                   some RRs (e.g. Terry 2013, Cramer 2016) embody multiple studies.


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**List A studies:   Cramer 2016; Wu 2015; Terry-Aus 2013; Terry-DOV 2013; Terry-Haw 2013; Terry-HOP 2013; Terry-NCO
                    2013; Terry SON 2013




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Table 4. Comparison of results of three contemporaneous and independent meta-analyses of the association between ever
regular use of talcum powder products in the perineal area and ovarian cancer.



      Meta-analysis author                   N*         Meta-RR      95% CI                    Heterogeneity

                                                                                               p-value

      Siemiatycki 2018                       21         1.28         1.19-1.38                 0.07

      Berge 2018                             27         1.22         1.13-1.30                 0.02

      Penninkilompi 2018                     26         1.35         1.24-1.39                 0.31



      * Number of published RR estimates that went into the meta-analysis. This does not necessarily correspond to the
         number of studies, since, for example, the Terry 2013 pooled estimate used in the Siemiatycki meta-analysis embodied
         10 studies.




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Table 5. Relative risk estimates between ever regular use of talcum powder products on sanitary napkins and ovarian cancer, and
results of meta-analysis.


                                   Number exposed
     Author                                                                RR1                               95% CI2
                                       cases

     Chang 1997                             51                            1.26                        0.81                 1.96
     Cook 1997                              38                             0.9                         0.5                  1.5
     Cramer 1999                            20                            1.45                        0.68                 3.09
     Gertig 2000                            32                            0.89                        0.61                 1.28
     Harlow 1989                             8                             2.6                         0.9                 22.42
     Harlow 1992                             9                             1.1                         0.4                  2.8
     Houghton 2014                          93                            0.95                        0.76                 1.20
     Ness 2000                              77                             1.6                         1.1                  2.3
     Rosenblatt 1992                        21                             4.8                         1.3                 17.8
     Rosenblatt 2011                        55                            0.82                        0.58                 1.16
     Whittemore 1988                         5                            0.62                        0.21                 1.80
     Wong 1999                              13                             0.9                         0.4                  2.0

     Meta-analysis                                                        1.08                        0.89                 1.31

                                                                              p-value for heterogeneity = 0.09
      1.      RR or OR.
      2.      The confidence intervals are the ones reported by the authors of the respective studies. However in its implementation
              procedures, the Comprehensive Meta-analysis package recomputes them to be symmetric around the point estimate, on a
              log scale. Consequently, in the printout of the forest plot of meta-analyses, the printed confidence interval is not always
              identical to the one shown in this table.

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Table 6. Relative risk estimates between subgroups defined by cumulative exposure measures1 and ovarian cancer2, from various
studies.
                                          Cumulative            Number
        Author                                                                       RR4                    95% C.I.
                                         applications3       exposed cases

        Cook 19974                    < 2000                        20                1.8            0.9               3.5
                                      2001-5000                     24                1.6            0.9               2.9
                                      5001-10000                    21                1.2            0.6               2.4
                                      >10000                        28                1.8            0.9               3.4
        Harlow 1992                   <1000                         18                1.3            0.7               2.7
                                      1000-10000                    54                1.5            0.9               2.4
                                      >10000                        42                1.8            1.0               3.0
        Mills 2004                    Quartile 1                   18                 1.0             0.6           1.8
                                      Quartile 2                   28                 1.8             1.1           3.0
                                      Quartile 3                   34                 1.7             1.1           2.7
                                      Quartile 4                   20                 1.1             0.6           1.8
                                      10000+                       18                0.87            0.48          1.57
        Schildkraut 2016              <3600                        92                1.16            0.83          1.63
                                      >3600                        152               1.67            1.23          2.26
        Terry 20135                   Quartile 1                   534               1.14            1.00          1.31
                                      Quartile 2                   541               1.23            1.08          1.41
                                      Quartile 3                   542               1.22            1.07          1.40
                                      Quartile 4                   586               1.32            1.16          1.52

1.      These were all studies that collected information on perineal use of hygiene powders in such a way as to allow
        construction of a cumulative measure. All of these were case control studies.
2.      In this table we report the result for all types of ovarian cancer combined, as reported by the authors.
3.      For the Cook study the metric was the number of days on which the woman had ever applied the powder. For the other
        studies the metric is based on an estimate of the total number of applications.

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4.     RR or OR.
5.     This study was based on a pooling of studies from 8 teams. Two of the teams (Cramer 2016 and Rosenblatt 2011)
       published separate analyses of risk by cumulative number of applications. But these are not shown here because they are
       rendered redundant by the Terry 2013 pooled results.




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Table 7. Relative risk estimates between subgroups defined by duration of use1 and ovarian cancer2, from various studies.

                                                       Number exposed
    Author                      Duration of use                                      RR4                     95% C.I.
                                                           cases

    Chang 1997                 <30                             60                    1.7               1.1              2.6
                               30-40                           71                    1.4               1.0              2.2
                               >40                             41                    0.9               0.5              1.4
    Cramer 1999                <20 years                       55                    1.9               1.2              3.0
                               20-30 years                     32                    1.3               0.8              2.3
                               >30 years                       59                    1.4               0.9              2.3
    Cramer 2016                < 8 years of use               133                    1.31             1.03              1.68
                               8-19 years of use              126                    1.31             1.02              1.68
                               20-35 years of use             147                    1.35             1.07              1.70
                               >35 years of use               129                    1.33             1.03              1.71
    Harlow 1992                <10 years                       14                    1.2               0.5              2.6
                               10-29 years                     49                    1.6               1.0              2.7
                               > 30 years                      51                    1.6               1.0              2.7
    Houghton 2014              <9 years                       135                    1.09             0.88              1.36
                               10+ years                      97                     1.02             0.80              1.30
    Ness 2000                  <1 year                        17                     2.0               1.0              4.0
                               1-4 years                      76                     1.6               1.1              2.3
                               5-9 years                      40                     1.1               0.8              1.9
                               >10 years                      233                    1.2               1.0              1.5
    Mills 2004                 <3 years                        18                    1.0               0.6              1.8
                               4-12 years                      32                    1.9               1.2              3.0
                               13-30 years                     29                    1.5               0.9              2.3
                               >30 years                       21                    1.2               0.7              2.1


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                                                         Number exposed
   Author                        Duration of use                                        RR4                     95% C.I.
                                                             cases

   Rosenblatt 2011              1-9 years                        33                     1.39             0.85              2.28
                                10-19 years                      29                     1.46             0.87              2.45
                                20-34 years                      30                     1.28             0.78              2.10
                                35+ years                        19                     0.91             0.51              1.62
   Schildkraut 2016             <20 years                       101                     1.33             0.95              1.86
                                >20 years                       144                     1.52             1.11              2.07

   Whittemore 1988              1-9 years                        34                     1.6               1.0              2.6
                                10+                              50                     1.1               0.7              1.7
   Wong 1999                    1-9 years                       39                      0.9               0.6              1.5
                                10-19 years                     49                      1.4               0.9              2.2
                                >20 years                       101                     0.9               0.6              1.2
   Wu 2015                      Per 5 years of                  1273                    1.14             1.09              1.20
                                exposure
  1.   These were all studies that collected information on perineal use of hygiene powders in such a way as to allow
       construction of a measure of duration.
  2.   In this table we report the result for all types of ovarian cancer combined, as reported by the authors.
  3.   Years of case ascertainment or follow-up: For case-control studies this indicates the years in which cases were ascertained
       and data collected; for cohort studies it indicates the years of enrolment and follow-up.
  4.   RR or OR.




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Table 8. Relative risk estimates between subgroups defined by measures of frequency of use1 and ovarian cancer2, from various
studies.

                                                        Number exposed
       Author                   Frequency of use                                  RR4                  95% C.I.
                                                            cases

       Booth 1989            Rarely                              6                 0.9          0.3           2.4
                             Monthly                             7                 0.7          0.3           1.8
                             Weekly                             57                 2.0          1.3           3.4
                             Daily                              71                 1.3          0.8           1.9

       Chang 1997            <10 per month                      76                 1.8          1.2           2.7
                             10-25 per month                    54                 1.1          0.7           1.7
                             Per 10 applications per                               0.9          0.7           1.1
                             month

       Cramer 1999           <30 per month                      64                 2.2          1.4           3.6
                             30-39 per month                    59                 1.7          0.8           1.8
                             >40 per month                      23                 1.7          0.8           3.1

       Cramer 2016           1-7 days per month                220                1.17          0.96          1.44
                             8-29 days per month               110                1.37          1.05          1.78
                             >30 days per month                205                1.46          1.20          1.78

       Gates 2008            <1 per week                        18                0.98          0.54          1.79
                             1-6 per week                       22                1.01          0.57          1.79
                             Daily                              35                1.44          0.88          2.37

       Harlow 1992           <5 per month                       32                 1.5          0.8           2.7
                             5-29 per month                     24                 1.2          0.6           2.2
                             >30 per month                      58                 1.8          1.1           3.0



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                                                           Number exposed
       Author                     Frequency of use                                    RR4                  95% C.I.
                                                               cases

       Mills 2004              <1 per week                         34                  1.3           0.9          2.1
                               1-3 per week                        31                  1.6           0.7          1.8
                               4-7 per week                        41                  1.7           1.1          2.6
       Schildkraut 2016        <Daily                              88                 1.12          0.80          1.58
                               Daily                              158                 1.71          1.26          2.33

       Whittemore 1988         1-20 per month                      41                  1.3           0.8          2.0
                               >20 per month                       44                  1.5           0.9          2.2

        1.      These were all studies that collected information on perineal use of hygiene powders in such a way as to allow
                construction of a measure of frequency of use.
        2.      In this table we report the result for all types of ovarian cancer combined, as reported by the authors.
        3.      Years of case ascertainment or follow-up: For case-control studies this indicates the years in which cases were
                ascertained and data collected; for cohort studies it indicates the years of enrolment and follow-up.
        4.      RR or OR




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Table 9. Relative risk estimates between ever regular use of talcum powder products1 in the perineal area and invasive serous
ovarian cancer, from various studies.


           Author                         Number exposed cases                    RR2                     95% CI3
           Cook 1997                                   71                         1.7                   1.1             2.5

           Gates 2010                                1314                        1.06                 0.84             1.35

           Harlow 1992                                 60                         1.4                   0.9             2.2

           Houghton 2014                              105                        1.13                 0.84             1.51

           Mills 2004                                  42                        1.77                 1.12             2.81

           Schildkraut 2016                           165                        1.38                 1.03             1.85

           Terry 2013                               1197                         1.24                 1.13             1.35

           Wong 1999                                  136                         1.2                   0.7             2.1

           Meta-analysis                                                         1.25                 1.15             1.36

                                                                                          p-value for heterogeneity 0.06
            1.   In all of these studies the exposure was defined as ever use of powder in the perineal area. In most studies it
                 was further explicitly indicated that the use was regular.
            2.   RR or OR.
            3.   The confidence intervals are the ones reported by the authors of the respective studies. However in its implementation
                 procedures, the Comprehensive Meta-analysis package recomputes them to be symmetric around the point estimate, on a
                 log scale. Consequently, in the printout of the forest plot of meta-analyses, the printed confidence interval is not always
                 identical to the one shown in this table.
            4.   Estimated based on Table 1 of Gates 2010.

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Table 10. Some major misconceptions in reviewing evidence on talc and ovarian cancer


 1.       Cohort studies are more valid and informative than case-control studies.
 2.       Hospital-based case-control studies are more valid and informative than the population-based case-control studies.
 3.       Counting the number of “statistically significant” results is a valid way of assessing the consistency of results among
          multiple studies.
 4.       If a product has been used for a long time, it must be safe
 5.       You cannot prove causality with an RR less than 2.0.
 6.       Government agencies provide a reliable up-to-date source of scientific information.
 7.       A biological mechanism must be proven before we can establish causality
 8.       Bradford-Hill “aspects” represent a recipe list of necessary ingredients.




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Table 11. Selected examples of some of the recognized causal associations that have RR less than 2.0

 Agent                                                                       Disease                                   Approximate RR

 Urban air pollution                                                         Lung cancer                                      1.091

 Trichloroethylene                                                           Kidney cancer                                    1.322

 Diesel engine emissions                                                     Lung cancer                                      1.423

 Benzene                                                                     Leukemia                                         1.724

 Domestic radon gas                                                          Lung cancer                                      1.295

 Second hand cigarette smoke                                                 Lung cancer                                       1.64

 Intermittent intense sun exposure                                           Melanoma of the skin                             1.616

 Estrogen-progestin menopausal therapy                                       Breast cancer                                    1.597



1 Hamra GB, Guha N, Cohen A, et al (2014). Outdoor Particulate Matter Exposure and Lung Cancer: A Systematic Review and Meta-Analysis, Environ Health

Perspect 122:906-911.
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 Cigarette smoking                                                             Cardiovascular disease                             1.68

 Physically inactive (compared with physically active) 9                       Hypertension                                      1.19
                                                                               Diabetes                                          1.12

 Low fruit and vegetable diet                                                  Cardiovascular disease                           1.0910




8 Doll R, Peto R, Boreham J, Sutherland I (2004). Mortality in relation to smoking: 50 years’ observations on British male doctors, British Medical Journal,

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Cardiovascular Disease Risk Factors. JAMA, 290(23):3092–3100
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of cardiovascular disease, total cancer and all-cause mortality – a systematic review and dose-response meta-analysis of prospective studies, International
Journal of Epidemiology 43(3):1029-1056. (This RR estimate is computed from the reciprocal of the High fruit and vegetable variable that was reported by
the authors. That is, 1/0.92).
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Table 12. Bradford Hill aspects in relation to perineal talc exposure and ovarian cancer



                                                                                                     Weight in evaluating
 Aspect                                 Brief comment
                                                                                                     causality

 Strength of the association            There are stronger associations and there are weaker         High
                                        associations
 Dose response relationship             Reasonably clear increase in risk with increasing exposure   High

 Consideration of alternative                                                                        High
                                        Yes considered, and none is compelling
 explanations – absence of bias

 Replication of the findings            Very strong, almost all studies support association          High

 Temporal relationship                  Exposure preceded disease in all studies                     Moderate

 Biological plausibility                There are plausible mechanisms                               Moderate

 Cessation of exposure                  Not applicable.                                              Less

 Specificity of the association         Yes, talc is not associated with a multitude of diseases     Less

 Coherence with other knowledge         Could be similar to asbestos carcinogenicity                 Less

 Analogy                                                                                             Less




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12. Figures




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Figure 1. Meta-analysis of relative risk of ovarian cancer (all types combined) among women who regularly used talc powder in
the perineal area, based on all informative studies, studies ordered by magnitude of RR.




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Figure 2. Meta-analysis of relative risk of ovarian cancer (all types combined) among women who regularly used talcum powder
products on sanitary napkins, based on all informative studies.




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Figure 3. Meta-analysis of relative risk of invasive serous ovarian cancer among women who regularly used talcum powder
products in the perineal area, based on all informative studies


                                                                       Relative risk and 95% CI




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13. Appendix A


Appendix Table A1. Papers that contain some results on the association between exposure to perineal talc and ovarian cancer,
and whether the paper was included in my meta-analyses of the binary Ever/Never exposed variable



 Author                      Included/excluded                 Reasons for exclusion

 Booth 1989                  Core Inclusion
 Chang 1997                  Core Inclusion

 Chen 1992                   Core Inclusion

 Cook 1997                   Core Inclusion

 Cramer 1982                 Core Inclusion

 Cramer 1995                 Excluded                          Included in Terry 2013 and in Cramer 2016

 Cramer 1999                 Excluded                          Included in Terry 2013 and in Cramer 2016

 Cramer 2005                 Excluded                          Included in Terry 2013 and in Cramer 2016

 Cramer 2016                 Excluded when Terry 2013 is       Considerable overlap between this and the Terry 2013 NEC
                             included                          component
 Eltabbakh 1998              Excluded                          Cases were peritoneal cancer and controls were ovarian cancer

 Gates 20082-                Included in one sensitivity       Overlap with Gates 2010
                             analysis


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 Author                  Included/excluded                 Reasons for exclusion

 Gates 20102             Included in all analyses except   This may be a more complete analysis than Gates 2008, but the
                                                           degree of overlap is unclear.
                         one sensitivity analysis

 Gertig 2000             Excluded                          Subsumed in Gates 2008 and Gates 2010

 Godard 1998             Core inclusion

 Gonzalez 2016           Core inclusion

 Green 1997              Excluded                          This appears to be an analysis of a subset of the subjects in
                                                           Purdie 1995
 Hankinson 1993          Excluded                          Numerical results were not presented.

 Harlow 1989             Core inclusion

 Harlow 1992             Core inclusion

 Hartge 1983             Core inclusion

 Houghton 2014           Core inclusion

 Jordan 2007             Excluded                          Benign tumours only

 Kurta 2012              Excluded                          Included in Terry 2013

 Langseth 2004           Excluded                          Not based on perineal application of cosmetic powder.

 Lo-Ciganic 2012         Excluded                          Same study as Kurta 2012 and included in Terry 2013.

 Merrit 2008             Excluded                          Included in Terry 2013

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 Author                  Included/excluded                  Reasons for exclusion

 Mills 2004              Core inclusion

 Moorman 2009            Excluded                           Included in Terry 2013

 Pike 2004               Excluded                           Included in Terry 2013

 Purdie 1995             Core inclusion

 Ness 2000               Core inclusion

 Rosenblatt 1992         Core inclusion

 Rosenblatt 2011         Core inclusion

 Schildkraut 2016        Core inclusion

 Shushan 1996            Included in sensitivity analysis   Unclear on how they obtained data on talc exposure or what the
                                                            route of exposure was
 Terry 2013              Included in Main analysis, but
                         replaced by component studies
                         in sensitivity analyses
 Tzonou 1983             Core inclusion

 Whittemore 1988         Core inclusion

 Wong 1999               Core inclusion

 Wu 2015                 Core inclusion



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Appendix Table A2. Some administrative and contextual information on the studies used in the following tables

                                                     Years of case
 Author            Study location                                                            Type of study
                                              ascertainment/ follow-up1
 Booth 1989        London, Oxford UK                   1978-1983                  Case-control;
                                                                                  Hospital controls
 Chen 1992         Beijing Cancer Registry             1984-1986                  Case-control;
                                                                                  Population controls
 Cook 1997         Washington State                    1986-1988                  Case-control;
                                                                                  Population controls
 Cramer 1982       Boston                              1978-1981                  Case-control;
                                                                                  Population controls
 Cramer 2016       New England                         1992-2008                 Case-control;
                                                                                 Population controls
 Gates 20082-      USA – NHS study                     1976-2004                 Case-control nested in Cohort (US nurses)
 Gates 20102       USA – pooled 2 cohorts              1976-2004                 Cohort (US Nurses)
                   of nurses NHS and                   1989-2005
                   NHSII
 Godard 1998       Montreal, Canada                    1995-1996                  Case-control;
                                                                                  Population controls
 Gonzalez 2016     Puerto Rico and 11                  2003-2014                  Cohort
                   States USA
 Harlow 1989       Washington State                    1980-1985                  Case-control;
                                                                                  Population controls
 Harlow 1992       Boston                              1984-1987                  Case-control;
                                                                                  Population controls

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                                                    Years of case
 Author            Study location                                                    Type of study
                                             ascertainment/ follow-up1
 Hartge 1983       Washington, DC                     1974-77            Case-control;
                                                                         Population controls
 Houghton 2014     USA                              1993-2012            Cohort (WHI)
 Mills 2004        California                       2000-2001            Case-control;
                                                                         Population controls
 Ness 2000         Pennsylvania, New                1994-1998            Case-control;
                   Jersey, Delaware                                      Population controls
 Purdie 1995       Australia                        1990-1993            Case-control;
                                                                         Population controls
 Rosenblatt        Baltimore                        1981-1985            Case-control;
 1992                                                                    Hospital controls
 Schildkraut       USA                              2010-2015            Case-control;
 2016                                                                    Population controls
 Shushan 1996      Israel                           1990-1993            Case-control
                                                                         Population controls
 Terry 2013        Pooled 8 studies: USA &          1984-2008            Case-control;
                   Australia                                             Population controls
 Terry-AUS         Australia                        2002-2006            Case-control
 2013                                                                    Population controls
 Terry – DOV3      Washington State                 2002-2009            Case-control
 2013                                                                    Population controls
 Terry – HAW       Hawaii                           1993-2008            Case-control
 2013                                                                    Population controls


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                                                      Years of case
 Author            Study location                                                              Type of study
                                               ascertainment/ follow-up1
 Terry – HOP       Pennsylvania, Ohio,                 2003-2008                  Case-control
 2013              Western NY State                                               Population controls
 Terry – NCO       North Carolina                      1999-2008                  Case-control
 2013                                                                             Population controls
 Terry – NEC       Massachusetts, New                  1992-2006                  Case-control
 2013              Hampshire                                                      Population controls
 Terry – SON       Southern Ontario                    1989-1992                  Case-control
 2013                                                                             Population controls
 Terry – USC       Los Angeles County                  1992-1998                  Case-control
 2013                                                                             Population controls
 Tzonou 1983       Athens                              1989-1991                  Case-control;
                                                                                  Controls – hospital visitors
 Whittemore        San Francisco                       1983-1985                  Case-control;
 1988                                                                             Hospital & population controls
 Wong 1999         Buffalo                             1982-1992                  Case-control;
                                                                                  Hospital controls
 Wu 2015           Los Angeles County                  1992-2008                  Case-control;
                                                                                  Population controls
  1.      Years of case ascertainment or follow-up: For case-control studies this indicates the years in which cases were
          ascertained and data collected; for cohort studies it indicates the years of enrolment and follow-up.
  2.      The Gates 2008 and Gates 2010 papers are both derived from the U.S. Nurses Cohort. The latter represent results for
          all cases diagnosed up to 2006 and analysed in the cohort framework. The former represents results for a sub-set of
          cases that were selected for a nested c-c analysis. The number of exposed cases was not given in the Gates 2010 paper.
  3.      Terry – DOV 2013: the information in Terry 2013 is updated information included in Rosenblatt 2011.


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Appendix Table A3. Covariates used in the analyses and exposure variables in the studies used in the following tables.

 Author                 Exposure variable selected                 Covariates used in analysis

 Booth 1989             At least monthly use                       Since the authors did not present results for “ever” exposed, I
                                                                   calculated the OR from crude numbers in their tables.
                                                                   Therefore the OR presented is a crude one. However, results
                                                                   presented in Table 7 adjusted for age and social class

 Chen 1992              Dusting perineum or lower abdomen > 3 Education
                        months

 Cook 1997              Lifetime perineal application              Age

 Cramer 1982            Any use as dusting powder and/or on        Parity; menopausal status
                        sanitary napkins

 Cramer 2016            Any talc use                               Age; study center (MA, NH); BMI; primary relative with breast
                                                                   or ovarian cancer; parity; OC use; tubal ligation

 Gates 20081-           Regular genital talc use (1 per week or    Age; OC2 use; parity; BMI; post-menopausal hormone use
                        more)

 Gates 20101            Regular genital talc use (1 per week or    Age; BMI; physical activity; smoking; family history of breast
                        more)                                      or ovarian ca; OC use; tubal ligation; hysterectomy; age
                                                                   menopause; estrogen use

 Godard 1998            Ever use of talc on perineum               Age; reproductive factors; OC use; tubal ligation; alcohol use;
                                                                   breast and abdominal surgery

 Gonzalez 2016          Talc use in the past 12 months             Race; body mass index; parity; duration of oral contraceptive
                                                                   use; baseline menopause status; and patency


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Author              Exposure variable selected                  Covariates used in analysis

Harlow 1989         Any genital talc use                        Age; county; parity; OC use

Harlow 1992         Any genital talc use                        Age; county; parity; marital status; education; religion; weight;
                                                                use of sanitary napkins; douching

Hartge 1983         Any genital talc use                        Race; age; gravidity

Houghton 2014       Combined use: longest duration of use       Age; race; OC use; HRT3 use; family history of ovarian ca; age
                    among the applications to genitals,         at last birth; BMI; smoking; tubal ligation; parity
                    sanitary napkins and diaphragms

Mills 2004          Ever use of talcum powder in genital        Age; race/ethnicity; OC use; breast-feeding
                    area

Ness 2000           Genital rectal talc use                     Age; parity; family history of ovarian ca;

Purdie 1995         Ever used talc in perineal region           Age; parity; duration of OC use; education; BMI; smoking;
                                                                family history of ovarian ca

Rosenblatt 1992     Ever use of bath talc                       Number of live births

Schildkraut 2016    Regular use of talc, cornstarch, baby or    Age at diagnosis/interview; study site; education; tubal
                    deodorising powder – at least once a        ligation; parity; BMI duration of
                    month for 6 months                          OC use first degree family history of breast or ovarian cancer;
                                                                and interview year

Shushan 1996        Talc use – never, seldom, moderate, a lot   Crude OR




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 Author                Exposure variable selected                 Covariates used in analysis

 Terry 2013 – all      Genital powder use                         Age; OC use; parity; BMI; tubal ligation; ethnicity; race; tubal
 components of the                                                ligation; hysterectomy; breastfeeding
 pooled analysis

 Tzonou 1983           Ever use of talc in perineal region        Age; years of schooling; weight before onset of the disease; age
                                                                  at menarche; menopausal status and age at menopause; parity
                                                                  and age at first birth; tobacco smoking; coffee drinking;
                                                                  consumption of alcoholic beverages; hair dyeing; use of
                                                                  analgesics and tranquilizers/hypnotics

 Whittemore 1988       Talcum powder used on any two of           Age; race; hospital; parity
                       perineum, sanitary pads and diaphragm

 Wong 1999             Ever use of talc on genital region or      Age; income; education; geographic location; OC use; smoking;
                       thighs                                     family history of ovarian ca; age at menarche; menopausal
                                                                  status; tubal ligation or hysterectomy

 Wu 2015               Genital talc use >1 year                   Age; race/ethnicity; interviewer; reproductive variables;
                                                                  sociodemographic variables; medical history; hormonal
                                                                  variables; BMI.

1.    The Gates 2008 and Gates 2010 papers are both derived from the U.S. Nurses Cohort. The latter represent results for all
      cases diagnosed up to 2006 and analysed in the cohort framework. The former represents results for a sub-set of cases
      that were selected for a nested c-c analysis. The number of exposed cases was not given in the Gates 2010 paper.
2.    OC: oral contraceptive
3.    HRT: hormone replacement therapy




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14. Appendix B
Comparison of studies used and results extracted from articles referenced in three different meta-analyses.*

  Penninkilampi 2018                        Berge 2018                                 Siemiatycki 2018
  Study / RR(95%CI)                         Study / RR(95%CI)                          Study / RR(95%CI)

  Booth 1989                                Booth 1989                                 Booth 1989
  1.30 (0.94-1.80)                          1.29 (0.92 - 1.80)                         1.29 (0.92 - 1.80)

  Chang 1997                                Chang 1997
  1.42 (1.08 – 1.86)                        1.35 (1.03 - 1.76)

  Chen, 1992                                Chen, 1992                                 Chen, 1992
  3.90 (1.43 – 10.60)                       3.90 (0.91 - 10.60)                        3.90 (0.91 - 10.60)

  Cook 1997                                 Cook 1997                                  Cook 1997
  1.50 (1.11 – 2.02)                        1.50 (1.10 - 2.00)                         1.50 (1.10 - 2.00)

  Cramer 1982                               Cramer 1982                                Cramer 1982
  1.60 (1.21 – 2.12)                        1.92 (1.27 - 2.89)                         1.92 (1.27 - 2.89)

  Cramer 2016                               Cramer 2016                                Cramer 2016
  1.42 (1.03 – 1.95                         1.32 (1.14 - 1.50)                         1.33 (1.16 – 1.52)

                                                                                       Gates 2008
                                                                                       1.24 (0.83 - 1.83)

                                            Gates 2010                                 Gates 2010
                                            1.06 (0.89 - 1.28)                         1.06 (0.89 - 1.28)

  Gertig 2000
  1.09 (0.86 – 1.38)

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 Penninkilampi 2018                  Berge 2018                          Siemiatycki 2018
 Study / RR(95%CI)                   Study / RR(95%CI)                   Study / RR(95%CI)

 Godard 1998                         Godard 1998                         Godard 1998
 2.49 (0.94 - 6.58)                  2.49 (0.94 - 6.58)                  2.49 (0.94 - 6.58)

 Gonzalez 2016                       Gonzalez 2016                       Gonzalez 2016
 0.73 (0.44 - 1.20)                  0.73 (0.44 - 1.20)                  0.73 (0.44 - 1.20)

                                     Goodman 2008
                                     0.99 (0.7 - 1.41)

 Green 1997
 1.30 (1.06 – 1.60)

 Harlow 1989                         Harlow 1989                         Harlow 1989
 1.10 (0.58 – 2.10)                  1.10 (0.70 - 2.10)                  1.10 (0.70 – 2.10)

                                     Harlow 1992                         Harlow 1992
                                     1.50 (1.00 - 2.10)                  1.50 (1.00 – 2.10)

 Hartge 1983                         Hartge 1983                         Hartge 1983
 2.50 (0.66 – 9.45)                  2.50 (0.70 - 10.00)                 0.70 (0.40 - 1.10)

 Houghton 2014                       Houghton 2014                       Houghton 2014
 1.12 (0.92 – 1.36)                  1.06 (0.87 - 1.28)                  1.12 (0.92 – 1.36)

 Kurta 2012
 1.40 (1.16 – 1.69)

                                     Lo-Ciganic 2012
                                     1.34 (1.07 - 1.66)

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 Penninkilampi 2018                  Berge 2018                          Siemiatycki 2018
 Study / RR(95%CI)                   Study / RR(95%CI)                   Study / RR(95%CI)

 Merritt 2008                        Merritt 2008
 1.17 (1.01 – 1.36)                  1.13 (0.92 - 1.38)

 Mills 2004                          Mills 2004                          Mills 2004
 1.37 (1.02 - 1.85)                  1.37 (1.02 - 1.85)                  1.37 (1.02 - 1.85)

                                     Moorman 2009
                                     1.37 (1.05 - 1.8)

 Ness 2000                           Ness 2000                           Ness 2000
 1.50 (1.10 - 2.02)                  1.50 (1.10 - 2.00)                  1.50 (1.10 - 2.00)

 Purdie 1995                         Purdie 1995                         Purdie 1995
 1.27 (1.04 - 1.54)                  1.27 (1.04 - 1.54)                  1.27 (1.04 - 1.54)

 Rosenblatt 1992                     Rosenblatt 1992                     Rosenblatt 1992
 1.70 (0.72 – 4.01)                  1.70 (0.70 - 3.90)                  1.70 (0.70 - 3.90)

 Rosenblatt 2011                     Rosenblatt 2011
 1.27 (0.97 – 1.66)                  1.13 (0.93 - 1.36)

 Schildkraut 2016                    Schildkraut 2016                    Schildkraut 2016 A
 1.44 (1.11 - 1.86)                  1.44 (1.11 - 1.86)                  1.44 (1.11 - 1.86)

                                                                         Schildkraut 2016 B
                                                                         1.19 (0.87 - 1.63)

 Shushan 1996                                                            Shushan 1996
 2.00 (1.11 – 3.60)                                                      1.97 (1.06 – 3.66)

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 Penninkilampi 2018                         Berge 2018                                 Siemiatycki 2018
 Study / RR(95%CI)                          Study / RR(95%CI)                          Study / RR(95%CI)

                                                                                       Terry 2013
                                                                                       1.24 (1.15 - 1.33)

 Tzonou 1993                                Tzonou 1993                                Tzonou 1993
 1.05 (0.28 - 3.96)                         1.05 (0.28 - 3.98)                         1.05 (0.28 - 3.98)

 Whittemore 1988                            Whittemore 1988                            Whittemore 1988
 1.40 (0.98 – 2.00)                         1.36 (0.91 - 2.04)                         1.36 (0.91 - 2.04)

 Wong 1999                                  Wong 1999                                  Wong 1999
 0.92 (0.24 – 3.57)                         1.00 (0.80 - 1.30)                         1.00 (0.80 - 1.30)

 Wu 2015                                    Wu 2015                                    Wu 2015
 1.32 (1.14 – 1.52)                         1.46 (1.27 - 1.69)                         1.46 (1.27 - 1.69)


         * When two or three of the meta-analyses extracted the identical results from the source paper, it is indicated with
          italic characters.




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15. Appendix C
Examples of historic discoveries made on the basis of empirical observation of an association, without the existence of a validated
biological mechanism of action.


  -   Jenner (18th century) discovered that smallpox could be prevented by “vaccinating” people. This was based on observation
      of the effect of exposure to cowpox. He had no idea about viruses or the biology of smallpox. He only knew that the
      “association” he observed between vaccination and the prevention of smallpox was so strong as to convince him it was
      causal. Millions of lives were saved as a result.

  -   Snow (19th century) discovered that cholera was caused by something in the water supply. He did not know what the
      pathogen was or how it produced the disease, but he showed with sufficient epidemiologic proof that drinking water from
      a polluted source produced much higher rates than drinking water from a clean source. Despite the ignorance of biological
      mechanisms, the public health authorities acted on his findings and thereby greatly reduced the incidence of cholera.

  -   Rheumatic fever and rheumatic heart disease were quite common causes of disease and death, striking relatively young
      people. For many decades it was recognized that there was an association between infection with the streptococcus
      bacterium and rheumatic heart disease, but it was not understood how the bacterium could have such an effect. The lack of
      understanding of the biological mechanisms did not get in the way of prevention of rheumatic heart disease by preventing
      and treating streptococcus infection.

  -   In the 1930’s and 1940’s, it was noticed that communities with high natural levels of fluoride in the water had much lower
      levels of dental caries than communities with low fluoride levels. Additional observational research confirmed the clear
      causal relationship and this led to extensive use of fluoride in various ways to reduce dental disease. But, all this occurred



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      before the mechanisms by which fluoride acted on teeth were understood. And, indeed the mechanisms are still not fully
      understood.

  -   In the late 1940’s and early 1950’s, evidence was accumulating that cigarette smokers had higher rates of lung cancer than
      non-smokers. This “association” was ridiculed at the time, among other reasons, because there was no proven biological
      mechanism. Attempts to replicate smoking-related lung cancer incidence in laboratory animals were largely unsuccessful.
      Nor was there a deep understanding of the cellular processes that allow the inhalation of cigarette smoke to culminate in a
      tumor. Scores of studies later and many decades later, the outlines of a credible biological mechanism began to emerge.
      The absence of a proven biological mechanism did not hinder the US Surgeon General and other national bodies from
      concluding that there was a causal link as early as the 1960’s.

  -   Many chemicals have been found to be carcinogenic as a result of epidemiologic studies among workers. Examples of these
      are asbestos, silica, nickel compounds, chromium compounds, benzene, and others. Some of these discoveries go back to
      the first half of the 20th century, and, for most of them, many decades passed between the time they were recognized as
      carcinogens, on the basis of epidemiologic associations, and the elaboration of credible mechanisms of how they induce
      cancer. (Siemiatycki 2015) Most known carcinogens were first discovered empirically by medical doctors or
      epidemiologists, usually as part of large data collection activities or just plain astute observation on the part of medical
      doctors.




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   John J. Godleski, M.D. - Expert Report from Blaes Case

   John Godleski Report - Echeverria

   John Godleski Supplemental Report - Echeverria

   Hopkins, J. (2015). Letter to Gene M. Williams. Unpublished letter.

   Johnson's Baby Powder - website, product description

   Kemp Hearing Transcript - Douglas Weed

   Longo, Rigler, Egeland. MAS Project 14-1852: Below the Waist Application of Johnson &
          Johnson Baby Powder, September 2017

   Longo, Rigler - Analysis of Johnson & Johnson Baby Powder & Valiant Shower to Shower
          talc products for amphibole (tremolite) asbestos, August 2017

   Longo, Rigler - Analysis Report MAS Project #14-1683 Johnson's Baby Powder Sample Set,
          April 2017

   Longo, Rigler - TEM Analysis of historical 1978 Johnson's Baby Powder Sample for
          amphibole asbestos, February 2018

   Longo, Rigler – Expert Report In re: Talcum Power Prod. Liab. Litig., MDL No. 2738
          (November 14, 2018).

   “Making it up as he goes along: Paolo Boffetta, Italian Epidemiologist, distorts power line
          health risks” - https://microwavenews.com/news-center/boffetta-post-truth.

   Material Safety Data Sheet from Luzenac America, Inc.; Version 45.0, updated 6/18/08
          (Group 1)

   Material Safety Data Sheet from Luzenac America, Inc. (Group 3)

   Material Safety Data Sheet from Luzenac America, Inc.; Version 2.0, updated 2/26/09
          (Group CAN)

   Material Safety Data Sheet from Luzenac America, Inc. (Group 1)

   MBS Invoices – December 2007, April 2012, May 2013, July 2013, December 20013,
          January 2015, March 2015
   16 November 2018                                                                              138
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   MSDS Sheet, Version 2.0

   Muscat, J. E. (2015). Report on the Relationship between Hygienic Use of Talc and the Risk
          of Ovarian Cancer. Unpublished report.

   NPR Article Johnson & Johnson Pledges to Purge Controversial Chemicals April 16, 2015

   Ness, R. B. (2015). Report on the question of whether genital talc use causes ovarian cancer.
          Unpublished report.

   Ness, R. Expert Report - Jacqueline Fox

   Ness, R. Commentary "A plaintiff's witness in the baby powder case"

   NTP "The Report on Carcinogens Tenth Edition - Factsheet"

   Omiecinski, C. J. (2015). Opinion on the Relationship Between Chronic Perineal/Genital
          Exposures to Cosmetic Talc and Ovarian Cancers: Mechanistic Aspects and
          Biological Plausibility Unpublished report.

   Osann, K. (2016). Report on Perineal Talc Exposure and Risk of Ovarian Cancer.
          Unpublished report.

   Personal Care Products Council Letter – July 21, 2009 to FDA re: Comments to FDA
          Citizen’s Petition to the Commissioner of the Food and Drug Administration Seeking
          a Cancer Warning on Talc Products

   Photographs of Johnson's Baby Powder

   Photographs of Shower to Shower

   Riham Sheble, Shabina Khatri. DOHA News - Johnson's baby powder of Qatar shelvees after
          US cancer lawsuit verdict

   Roe. Controversy: Cosmetic tlac and ovarian cancer (1979)

   Rosenthal, G. J. (2015). Opinion on Relationships Between the Toxicology of Cosmetic Talc
          and the Pathogenesis of Ovarian Cancer. Unpublished report.

   Rosenthal, G - Expert Report from Blaes Case: "Opinion on Relationships Between the
          Toxicology of Cosmetic Talc and the Pathogenesis of Ovarian Cancer"

   16 November 2018                                                                          139
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   Report on talcum powder use and ovarian cancer               Jack Siemiatycki


   Rothman, Pastides, Samet. (2000) Interpretation of epidemiologic studies on talc and
          ovarian cancer

   Slemp v. Johnson & Johnson, et al., Trial Transcript

   Summary Minutes of the NTP Board of Scientific Counselors Report on Carcinogens (RoC)
          Subcommittee Meeting

   Talc Removed from 12th RoC- The Rose Sheet October 24, 2005

   WHMIS Classification for Talc, non fibrous - CNESST; CAS Number: 14807-96-6

   Weed, Douglas. A Report Regarding General Causation and an Evaluation of the Reliability
          and Validity of the Plaintiffs’ Experts’ Reports Designated for the Plaintiff, Lori Oules
          (Feb. 1, 2017)




   16 November 2018                                                                              140
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   Report on talcum powder use and ovarian cancer               Jack Siemiatycki


   17. Curriculum Vitae – Jack Siemiatycki




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                                                                   CURRICULUM VITAE
                                                                         Jack Siemiatycki

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 Curriculum Vitae                                                                           Jack Siemiatycki




 STATISTICAL SUMMARY OF SELECTED ACCOMPLISHMENTS


 Publications in peer-reviewed journals                                                                 245
 Book chapters, IARC Monographs                                                                          20
 Other publications, reports                                                                             42
 Book (authored)                                                                                          1

 Invited presentations                                                                                  173
 Conference presentations, posters, abstracts : offered and accepted                                    181

 Grants received as P.I. (number)                                                                         36
 Grants received as P.I. ($)                                                                         $15.4M
 Grants received as co-investigator (number)                                                              59
 Grants received as co-investigator ($)                                                              $27.9M




 H-factor (google scholar)                                                                                64


 Instances of participation on expert panels, committees, boards of directors, at invitation of
 governments or public health agencies or research agencies or universities                             126

 Grant review panels or referee for external institution or
 journal editorial boards                                                                                 65

 Honours                                                                                             several




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 Curriculum Vitae                                                                               Jack Siemiatycki


 GENERAL INFORMATION
 Work address
 Université de Montréal
 Research Center of CHUM
 850 rue St Denis, Montréal, QC, Canada H2W 1V1

 Tel:    (514) 890-8166
 Fax: (514) 412-7106
 E-mail: j.siemiatycki@uMontréal.ca

 EDUCATION
 1967   B.Sc. (mathematics); McGill University
 1970   M.Sc. (mathematical statistics); McGill University
 1976   Ph.D. (epidemiology and medical statistics); McGill University
 1977   Post-doctoral (cancer epidemiology); International Agency for Research on Cancer, Lyon

 CURRENT ACADEMIC APPOINTMENTS
 Professor, Department of Social and Preventive Medicine, Université de Montréal (since 2001)
 Cancer Research Society-Guzzo Research Chair in Environment and Cancer, Université de Montréal (since
 November 2007)
 Adjunct Professor, Department of Epidemiology, Biostatistics and Occupational Health, McGill University.
 (since 1979)
 Fellow, Canadian Academy of Health Sciences (since 2008)

 PREVIOUS ACADEMIC APPOINTMENTS AND WORK EXPERIENCE
 1967-71      Research Fellow; Department of Epidemiology and Health, McGill University.
 1970-72      Research Director; Pointe St. Charles Community Clinic, Montréal.
 1978         Consultant; International Agency for Research on Cancer, Lyon.
 1978-2001    Assistant, then Associate (1979), then full Professor (1983):
              Epidemiology Research Center, Institut Armand-Frappier, Laval, Québec.
 1982-1986    Associate member, McGill Cancer Center, McGill University.
 1996-1997    Visiting Scientist. International Agency for Research on Cancer, Lyon.
 2001-2015    Canada Research Chair (Tier 1), Université de Montréal (resigned 2011).
 2003-2009    Affiliate Scientist. McLaughlin Centre for Pop’n Health Risk Assessment, Univ of Ottawa.

 SIGNIFICANT INTERNAL ADMINISTRATIVE APPOINTMENTS
 1982-86      Director, Équipe associée de l’Institut de Recherche en Santé et Sécurité du Travail sur les cancers
              professionnels (affiliated research team of the Quebec Institute for Occupational Health and
              Safety on Occupational Cancer).
 1988-91      Director, Epidemiology Research Center, Institut Armand-Frappier.
 1990-98      Director, Équipe prioritaire de recherche en épidémiologie environnementale du FRSQ. (Priority
              research team in environmental epidemiology)
 1998-2001    Member, Governing Council (Conseil d’administration). Institut national de la recherche
              scientifique, Université du Québec.
 2000-2007    Coordinator. Program of Research in Environmental Epidemiology of Cancer (PREECAN), a
              national program funded by the National Cancer Institute of Canada.
 2002-2005    Associate Director for Population Health Sciences, Research Center of the University of Montréal
              Hospital Center.

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 Curriculum Vitae                                                                              Jack Siemiatycki

 2006-2007    Director, Epidemiology program, PhD public health, Université de Montréal.
 2006-2014    Director, Axe risques à la santé (Health Risks Division). Centre de recherche du Centre hospitalier
              de l’Université de Montréal.

 SIGNIFICANT INSTITUTIONAL COMMITTEES
 1979-80      Member of faculty committee to negotiate a collective agreement with the Institut Armand-
              Frappier administration.
 1982-92      Member, Research Council. Institut Armand-Frappier.
 1998-2001    Member, Institutional advisory council. Institut Armand-Frappier. Institut national de la recherche
              scientifique
 2002-2006    Comité de direction. Centre de recherche du CHUM
 2002-2017    Member, Various committees of the Dept Med Soc et Preventive, including Promotions, and
              Recruitment.
 2006-2009    Member, Various committees established to set up a new School of Public Health at l’Université
              de Montréal
 2006-2014    Comité Scientifique de la Recherche du CHUM.

 CURRENT MAJOR EXTERNAL BOARDS, SCIENTIFIC COMMITTEES (INVITED)
 1.     Chair of Scientific Advisory Committee of CONSTANCES, a large prospective cohort established in
        France, under aegis of INSERM, Ministère de la Santé, and other agencies. Since 2011.
 2.     Member of Comité national d'épidémiologie en cancérologie. Ministère de la Santé et des Services
        sociaux, Quebec. Since 2014.
 3.     Member, Advisory committee to Directors of Cartagene, a Quebec population cohort.

 PAST MAJOR EXTERNAL BOARDS, SCIENTIFIC COMMITTEES, CONSULTATIONS (INVITED)
 1.    Expert consultative committee to Commission de la santé et sécurité du travail du Québec on the
       epidemiologic function of the CSST. 1979-80.
 2.    President of Organizing Committee of Annual Congress of Quebec Public Health Association, Montréal.
       1982.
 3.    Consultative committee of International Agency for Research on Cancer on feasibility of SEARCH
       programme. 1982.
 4.    Canadian representative. International Joint Commission (U.S. and Canada) Committee on the
       Assessment of Human Health Effects of Great Lakes Water Quality. 1982-89.
 5.    Task Force on Chemicals in the Environment and Human Reproduction Effects in New Brunswick. 1983-
       85.
 6.    Chairman and organizer of international workshop sponsored by International Agency for Research on
       Cancer, Lyon, on use of job exposure information in cancer case-control studies. 1984.
 7.    Quebec Government Consultative Committee on Alachlor. 1985-86.
 8.    Chairman and organizer of the International Joint Commission Workshop on the Role of Epidemiology in
       Assessing the Effects of Great Lakes Water Quality on Human Health, Scarborough, March 1988. 1986-
       88.
 9.    Priority Substances Advisory Panel. Panel established under terms of Canadian Environmental Protection
       Act by Health and Welfare Canada. 1988.
 10.   Working Group on Electromagnetic Fields under auspices of Health Effects Institute. 1991.
 11.   Consultative Committee on Environment-related Cancer Surveillance, LCDC, Health and Welfare
       Canada. 1993-1996.
 12.   Consultative Committee on an Investigation of Lung Cancer and Environmental Tobacco Smoke,
       Environmental Health Directorate, Health Canada. 1994-1995.
 13.   Working Group on Evaluation of Carcinogenicity of Carbon Black, Printing Trades and Various
       Substances. Monograph Programme. International Agency for Res. on Cancer, Lyon, 1995.

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 Curriculum Vitae                                                                             Jack Siemiatycki

 14.   Working Group on Human Cancer Risks associated with Chrysotile Asbestos. World Health Organization
       (IPCS) Geneva, June 1995.
 15.   Secretariat on Evaluation of Chemopreventive Effect of Aspirin and Other NSAIDS for Cancer.
       International Agency for Res. on Cancer, Lyon, Apr. 1997.
 16.   Chair. Symposium on Health Risks of Water Disinfection By-products. Convened by Health Canada.
       Ottawa. May 1997.
 17.   Working Group. Meeting on Species-specificity in response to carcinogens. Monograph Programme.
       International Agency for Res. on Cancer, Lyon, Nov. 1997.
 18.   Board of Directors. Canadian Society for Epidemiology and Biostatistics. 1997-1999.
 19.   Working Group. Evaluation of Carcinogenicity of Various Industrial Substances. Monograph
       Programme. International Agency for Res. on Cancer, Lyon, Feb. 1998.
 20.   Canadian Coalition on Cancer Surveillance. 1997-2002.
 21.   External site review panel. U.S. National Cancer Institute Epidemiology Branch. June 1999.
 22.   Organizing Committee for Medical Research Council Workshop on Privacy of Health Data. 1999-2000.
 23.   Organizing Committee, EPI2001. Joint North American Congress of Canadian Society for Epidemiology
       and Biostatistics, Society for Epidemiologic Research, American Public Health Association (Epid) and
       American College of Epidemiology, Toronto, 14 – 16 June 2001. 1999-2001.
 24.   Coordinator of national initiative of the public health community to provide guidance on the structures
       and functioning of the new Canadian Institutes of Health Research. 1999-2000.
 25.   Organizing Committee. World Congress of the International Epidemiological Association, Montréal, 18-
       22 August 2002. 2001-2002.
 26.   President. Canadian Society for Epidemiology and Biostatistics. 2001-2003. Member of Board. 1997-
       1999.
 27.   Working Group. Evaluation of Carcinogenicity of Various Substances. Monograph Programme.
       International Agency for Res. on Cancer, Lyon, 2003.
 28.   Jury of Consensus Conference on risks and benefits of vaccination for hepatitis B. For Minister of Health
       of France. Organized by INSERM and ANAES. Paris 2003.
 29.   Public Advisory Panel. Vinyl Council of Canada. 1998-2004.
 30.   Advisory Panel. U.S. National Cancer Institute Brain Tumor Study. 1998-2003.
 31.   Scientific Advisory Committee. Boeing/UAW Workers’ Health Studies. 1999-2005.
 32.   Institute Advisory Board. Canadian Institutes for Health Research – Institute of Circulatory and
       Respiratory Health. 2001-2005.
 33.   National Occupational Research Agenda (NORA). Joint consultative committee for US National Cancer
       Institute and US National Institute for Occupational Safety and Health. 2002-2005.
 34.   Canadian Cancer Surveillance Alliance. Consultative committee of Health Canada, Canadian Cancer
       Society, Provincial Cancer Registries, Statistics Canada. 2002-2003.
 35.   Co-president. Organizing Committee of Joint SER-CSEB Congress, Toronto 27-30 June 2005. (2004-
       2005).
 36.   Chair. Monograph Program Meeting. International Agency for Research on Cancer (WHO), France.
       February 2006.
 37.   Advisory Committee on Research Ethics and Databanks. Quebec Health Research Council (FRSQ).
       2003-2011.
 38.   Board of Directors. American College of Epidemiology. 2003-2006.
 39.   Board of Directors. National Cancer Institute of Canada. 2003-2007.
 40.   Member Scientific Council International Agency for Research on Cancer (WHO). Lyon, France 2005-
       2009.
 41.   Elected Chair. Scientific Council International Agency for Research on Cancer (WHO). Lyon, France
       2008-2009.
 42.   Scientific Advisory Council Canadian Partnership Against Cancer 2007-2009.
 43.   Advisory Committee. Occupational Cancer Research Centre of Ontario. Since 2009.
 44.   Working Group on Cancer Prevention, CPAC, 2007-2010.

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 Curriculum Vitae                                                                            Jack Siemiatycki

 45.   Subgroup Chair and Working Group Member. Evaluation of Carcinogenicity of Non-Ionizing Radiation,
       Radiofrequency Electromagnetic Fields. Monograph Programme. International Agency for Research on
       Cancer, Lyon May 2011.
 46.   Member of Scientific Advisory Board of Bordeaux cancer research center SIRIC-BRIO, Bordeaux
       France. Since 2013.
 47.   Member of external review panel. Helmholtz Center Munich Research Institute. Germany. July 2011.
 48.   Conseil Scientifique de l’Institut de Recherche en Santé Publique (IReSP). Under aegis of INSERM and
       Ministère de la Santé, France. 2004-2009.
 49.   Adviser and expert witness for legal team conducting a major class action lawsuit against the Canadian
       tobacco industry. 2007-2014.

 OTHER SIGNIFICANT EXTERNAL CONSULTATIONS (INVITED)
 1.    Consultation with Quebec Ministry of Justice regarding compensation for homeowners who were advised
       to use formaldehyde-base home insulation - 1983.
 2.    Invited participant. Workshop convened by the Science Council of Canada on the future of Epidemiology
       in Canada, Ottawa - 1985.
 3.    Consultation with Government of Alberta regarding the evaluation of a report alleging significant health
       impact in the environment of a sour-gas plant - 1985.
 4.    Consultation with Quebec Ministry of Environment regarding health effects of residency near an
       abandoned toxic waste site in LaSalle, Quebec - 1987.
 5.    Invited participant. Workshop convened by Canadian Public Health Association, Environment Canada
       and Health and Welfare Canada on Environmental Impact Assessment, Ottawa - 1987.
 6.    Invited participant. Annual workshops convened by Health Protection Branch of Health and Welfare
       Canada to discuss the role of Canada in the SEARCH programme of the International Agency for
       Research on Cancer, Ottawa - 1987-1989.
 7.    Consultation with Quebec Cree Band Council regarding a research proposal to study developmental
       effects of consuming fish with high mercury levels - 1989.
 8.    Invited participant. Workshop convened by Ontario Industrial Disease Standards Panel on the use of
       epidemiologic data in workers’ compensation, Toronto - December 1989.
 9.    Invited participant. Workshop convened by National Academy of Sciences (U.S.) on Carcinogenicity of
       Complex Mixtures, Tucson, Arizona - Jan 1990.
 10.   Invited participant. Workshop convened by Laboratory Centers for Disease Control, Health and Welfare
       Canada on Multiple Chemical Sensitivities, Ottawa - May 1990
 11.   Member of expert advisory panel to the pan-Canadian case-control study of electromagnetic fields and
       childhood leukemia. Sponsored by Canadian Electrical Assoc, EPRI (U.S.A.), Health and Welfare
       Canada. 1990-1996.
 12.   Organizer of Workshop to Plan a Pan-North American Case-control Study of Lung Cancer. Sponsored by
       Health and Welfare Canada. Toronto. March 1991.
 13.   Invited participant. Workshop convened by Environmental Health Directorate of Health and Welfare
       Canada, on Environmental Epidemiology in Canada. Ottawa. March 1992
 14.   Invited participant. Workshop convened by Harvard Center for Risk Analysis on implementing a new type
       of risk assessment. Maryland. April 1992.
 15.   Member of Technical Advisory Panel for epidemiology studies of foundry workers - CIIT. Research
       Triangle Park, N.C. Feb. 1993
 16.   Consultant to Health Effects Institute - Asbestos Research, on Options for Characterizing Worker
       Activities in Buildings, Boston. Feb. 1993.
 17.   Advisory panel to Laboratory Centers for Disease Control, Health and Welfare Canada, on Environmental
       Epidemiology under the Green Plan. March 1993.
 18.   Member of External Advisory Committee. Champlain Adirondack Biosphere Environmental Health
       Sciences Center, University of Vermont. 1993.
 19.   Consultant to Michigan Cancer Foundation on a variety of epidemiologic studies. 1993-1996.

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 Curriculum Vitae                                                                                Jack Siemiatycki

 20.   Invited to address President Clinton’s Panel on Cancer regarding priorities in cancer research. Bethesda,
       MD. April 1994.
 21.   Invited participant. Science and Technology Review Consultation. Government of Canada. Montréal.
       September 1994.
 22.   Invited participant. Strategic planning workshop to reduce Environmental Tobacco Smoking exposure.
       Laboratory Centre for Disease Control. Health Canada. Oct 1995.
 23.   Invited participant. Meeting to establish new priorities for funding. National Health Research and
       Development Programme of Canada. Montréal. Feb 1996.
 24.   Chair Scientific Advisory Committee for the Dalhousie University study of health effects of
       environmental and occupational pollution in the area of the Sydney, Nova Scotia steel industry. 1996.
 25.   Member of two Ministerial missions of the Quebec and Canadian governments to France to discuss with
       French experts the risks associated with low level exposure to chrysotile asbestos. Paris. Oct 1996.
 26.   Chair. Meeting of collaborators of European network of studies on lung cancer and smoking.
 27.   International Agency for Res. on Cancer, Lyon. June 1997.
 28.   Member of Canadian scientific delegation to United Kingdom to discuss with British experts the risk
       associated with low level exposure to chrysotile asbestos. London, Sept. 1997.
 29.   Symposium chair. Workshop to discuss methods of predicting numbers of cases of mesothelioma to be
       expected in various countries. Paris. Dec. 1997.
 30.   Invited participant and subgroup reporter. Peer Review on Hazard Assessment and Dose-Response
       Characterization for the Carcinogenicity of Formaldehyde by the Route of Inhalation. Health Canada and
       U.S. EPA. Ottawa. March 1998.
 31.   Co-chair. Workshop to explore the feasibility of an international collaborative study on use of cellular
       phones and risk of cancer. International Agency for Research on Cancer. Lyon. Feb 1999.
 32.   Panellist. Consensus Meeting for a Proposed Integrated National Health Surveillance Network. Health
       Canada. 1999.
 33.   Invited participant. Medical Research Council Summit Meeting on the new Canadian Institutes of Health
       Research. Toronto. June, 1999.
 34.   Invited participant. Planning group for an Institute of Population Health Research in CIHR. Jul-Dec 1999.
 35.   Invited speaker. Workshop for a Canadian Institute for Genetics Research. May 2000.
 36.   Invited participant. Workshop to explore the use of prospective cohorts to investigate gene-environment
       interactions in cancer etiology. National Cancer Institute. Rockville, MD. May 2000.
 37.   Invited participant. Founding meeting of Canadian Association for Workplace Safety and Health.
       Montréal. Jan 2001.
 38.   Invited participant. Workshop to advise Canadian Foundation for Innovation on its role in supporting
       population health research in Canada. Toronto, Feb 2001.
 39.   Invited participant. Consultative committee to advise Cancer Care Ontario on priorities in environmental
       cancer. April 2001.
 40.   Invited participant. Workshop on national priorities in cancer research. Institute for Cancer Research.
       CIHR. Toronto. May 2001.
 41.   Invited participant. Delphi process to advise Canadian Institutes of Health Research on priorities in cancer
       research. October-December 2001.
 42.   Invited participant. Delphi process to advise Cancer Care Ontario on priorities in cancer prevention.
       November-April 2002.
 43.   Session Chair. NIOSH workshop “Applying New Biotechnologies to the Study of Occupational Cancer”,
       Washington, D.C. May 2002.
 44.   Member of Advisory Panel. U.S. National Cancer Inst. Study of a Cohort of Chinese Workers Exposed to
       Benzene. 2002- .
 45.   Invited participant. Delphi process to advise Cancer Care Ontario on priorities in cancer prevention.
       November-April 2002.
 46.   Session Chair. NIOSH workshop “Applying New Biotechnologies to the Study of Occupational Cancer”,
       Washington, D.C. May 2002.

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 Curriculum Vitae                                                                             Jack Siemiatycki

 47.   Organizer and Session Chair. International Epidemiological Association Meeting. Occupation and Health.
       Montréal. August, 2002.
 48.   Co-Organizer and Session Chair. Epidemiological Association Meeting. Asbestos and mesothelioma.
       Montréal. August, 2002.
 49.   Session Chair. Epidemiological Association Meeting. Environment and Health. Montréal Aug, 2002.
 50.   Invited participant. CIHR National Forum to devise a National Research Programme for Environmental
       Health. Ottawa. Sept 2002.
 51.   Invited participant. CIHR national forum on privacy of health data. Ottawa, November, 2002.
 52.   Member. Environmental and Occupational Carcinogens Advisory Group. Canadian Cancer Society.
       2002 - 2004.
 53.   Participant. Meeting to discuss the establishment of a prospective childhood cohort in Canada. CIHR-
       IPPH. March 2004.
 54.   Member of working group on national cohort project. National Cancer Research Initiative. January-June
       2004.
 55.   Member of advisory group on development of IDEES, Université de Montréal. January-June 2004.
 56.   Member, ad-hoc group to explore the feasibility of a Canadian cohort on cancer and chronic disease.
       2004-2008.
 57.   Invited participant. Workshop to discuss the enhancement of population health research in Canada. CIHR-
       IPPH. June 2004.
 58.   Invited participant. Workshop on occupational cancer surveillance. Occupational Cancer Research &
       Surveillance Project (Cancer Care Ontario and the Ontario Workplace Safety & Insurance Board).
       February 2005.
 59.   Invited participant. Workshop on long-term large-scale cohorts. CIHR, December 2005.
 60.   Member. Advisory Scientific Committee. IBM – University of Alabama project on health of IBM
       manufacturing plant workers. 2006 - 2008.
 61.   Advisor and meeting participant. Ontario Workplace Safety and Insurance Board. Recommendations on
       how to develop occupational cancer research in Ontario. Toronto, 2005.
 62.   Invited participant. Workshop to estimate the burden of occupational cancer in the United Kingdom. UK
       Health and Safety Executive. Manchester. June 2006.
 63.   Advisory Committee to British Energy Networks Association. Workshop on the Future Needs of Electro-
       magnetic Fields Occupational Studies in the Electric Utility Industry. Edinburgh. September 2006.
 64.   Advisory Committee. IARC Monograph Programme Planning of Special Volume 100. Lyon. September
       2006.
 65.   Grant Review Panel. IVRSP. Paris. September 2006.
 66.   Advisory Committee to CCRA and ICR (CIHR) on the nature of a national cohort platform. Toronto,
       September 2006.
 67.   Invited participant. Comité d’éthique de la recherche de la faculté de médecine (CERFM) : Discussion
       d’un projet soumis pour la création d’une banque de données et de matériaux biologiques (Research
       Ethics Committee of the Faculty of Medicine: Review of a submitted project to create a bank of data and
       biologic samples). Université de Montréal. March 2007.
 68.   Invited participant. Workshop to Design and Implement the Ontario Cohort Consortium Research
       Platform. Toronto. June 2007.
 69.   Invited participant. Canadian Cancer Research Agencies. Strategic Planning Consultation in Montréal.
       May 2009.
 70.   Invited participant. IARC-NORA workshop to identify gaps of knowledge on occupational carcinogens,
       Lyon. June 2009.
 71.   Consultant. State of the science workshop: evaluation of epidemiological data consistency for application
       in regulatory risk assessment. US EPA and Johns Hopkins School of Public Health. Baltimore. September
       2010.
 72.   Consultant. World Health Organisation. Re-evaluation of Risk Assessments related to DDT exposure.
       Geneva. November 2010.

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 Curriculum Vitae                                                                           Jack Siemiatycki

 73.   Invited participant. WHO workshop to develop international guidelines for control of environmental
       carcinogens. Asturias. March 2011.
 74.   Session Chair. Discovering occupational carcinogens. Congress of Epidemiology. Montréal June 2011.
 75.   Invited co-organiser. Symposium of Environment and Cancer. Canadian Cancer Research Conference.
       Toronto. November 2011.
 76.   Invited organiser and Chair. Symposium on Cellphones and Cancer. American Association for Cancer
       Research. Chicago, April 2012.
 77.   Member Scientific Program Committee for the 2013 Canadian Cancer Research Conference, Toronto.
       November 2013.
 78.   Member of Advisory Committee to National Cancer Institute (U.S.) study on carcinogenicity of diesel
       emissions. 2017.

 HONOURS
 1.    Biographee in various Who’s Who in America versions. Since 1982
 2.    Perron-Desrosiers Prize. Granted by the Governing Council of the Institut Armand-Frappier. 1985.
 3.    Invited to give the annual Elizabeth Stern Memorial Lecture in U.C.L.A. School of Public Health. 1985.
 4.    National Health Scholar. National Health Research and Development Programme of Canada. 1988-1998.
 5.    Visiting Scientist Award. International Agency for Research on Cancer, Lyon. 1996-97.
 6.    Prix d’excellence. Institut national de la recherche scientifique. Université du Québec. 1999.
 7.    Distinguished Scientist Award. Medical Research Council, Canada. 1999-2004.
 8.    Canada Research Chair in Environmental Epidemiology and Population Health. 2001-2015.
 9.    Distinguished Scientist Lecturer. US National Cancer Institute. Division of Cancer Epidemiology and
       Genetics. 2006.
 10.   Cancer Research Society–Guzzo Chair in Environment and Cancer. Since 2007.
 11.   Fellow Canadian Academy of Health Sciences. Since 2008.
 12.   Geoffrey R Howe Distinguished Contributions Award, Canadian Society for Epidemiology &
       Biostatistics. 2011.
 13.   Ranked top Canadian public health researcher in terms of research productivity by Jarvey et al. 2012.


 GRANT REVIEW, JOURNAL REVIEW AND PERSONNEL REVIEW
 Associate Editor
 American Journal of Epidemiology (1989-1998)
 International Journal of Environmental Health (1991- )
 Contributing Editor
 Journal of Public Health Policy (1982-87)
 American Journal of Industrial Medicine (1996- )
 The Open Epidemiology Journal (2007- )
 Chairman of grant review panels
 National Health Research and Development Programme. Canada. (1990-94)
 National Cancer Institute of Canada (1994-1995)
 Member of grant review panels
 40 times
 External referee for tenure or promotion of personnel in other institutions
 15 times




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 Curriculum Vitae                                                                             Jack Siemiatycki

 THESES
 1.    Siemiatycki J. “Space-time clustering: finding the distribution of a correlation-type statistic”.
       M.Sc. thesis, McGill University, 1971.
 2.    Siemiatycki J. “Evaluation of strategies for household health surveys”. Ph.D. thesis, McGill University,
       1976.

 ARTICLES PUBLISHED PEER REVIEW
 1.    Thurlbeck WM, Horowitz I, Siemiatycki J, Dunnill MS, Maisel JC, Pratt P, et al. Intra- and inter-observer
       variations in the assessment of emphysema. Archives of Environmental Health. 1969;18:646-59.
 2.    Becklake MR, Fournier-Massey G, McDonald JC, Siemiatycki J, Rossiter CE. Lung function in relation to
       chest radiographic changes in Quebec asbestos workers. Bulletin de Physio-Pathologie Respiratoire.
       1970;6:637-59.
 3.    McDonald JC, McDonald AD, Gibbs GW, Siemiatycki J, Rossiter CE. Mortality in the chrysotile asbestos
       mines and mills of Quebec. Archives of Environmental Health. 1971;22:677-86.
 4.    Siemiatycki J, McDonald AD. Neural tube defects in Quebec: a search for evidence of `clustering' in time
       and place. British Journal of Preventive and Social Medicine. 1972;26:10-4.
 5.    Siemiatycki J. Mantel's space-time clustering statistic: computing higher monents and a comparison of
       various data transforms. Journal of Statistical Computation & Simulation. 1978;7:13-31.
 6.    Siemiatycki J. A comparison of mail, telephone, and home interview strategies for household health
       surveys. American Journal of Public Health. 1979;69(3):238-45.
 7.    Siemiatycki J, Brubaker G, Geser A. Space-time clustering of Burkitt's lymphoma in east Africa: analysis
       of recent data and a new look at old data. International Journal of Cancer. 1980;25:197-203.
 8.    Siemiatycki J, Richardson L. Statut socio-économique et utilisation des services de santé à Montréal.
       L'Actualité Economique. 1980(Avril-Juin):194-210.
 9.    Siemiatycki J, Richardson L, Pless IB. Equality in medical care under national health insurance in
       Montréal. New England Journal of Medicine. 1980;303:10-5.
 10.   Colle E, Siemiatycki J, West R, Belmonte MM, Crepeau MP, Poirier R, et al. Incidence of juvenile onset
       diabetes in Montréal - demonstration of ethnic differences and socio-economic class differences. Journal
       of Chronic Diseases. 1981;34(12):611-6.
 11.   Siemiatycki J, Day NE, Fabry J, Cooper JA. Discovering carcinogens in the occupational environment: a
       novel epidemiologic approach. Journal of the National Cancer Institute. 1981;66(2):217-25.
 12.   Siemiatycki J, Thomas DC. Biological models and statistical interactions: an example from multistage
       carcinogenesis. International Journal of Epidemiology. 1981;10(4):383-7.
 13.   Siemiatycki JA, Richardson LJ. Le défi prioritaire en santé communautaire : Élargir notre vision pour
       atteindre nos véritables objectifs. L'Union Médicale du Canada. 1981;110:1008-12.
 14.   Pampalon R, Siemiatycki J, Blanchet M. Pollution environnementale par l'amiante et santé publique au
       Québec [Environmental asbestos pollution and public health in Quebec]. L'Union Medicale du Canada.
       1982;111(5):475-82, 87-89.
 15.   Siemiatycki J, Gérin M, Richardson L, Hubert J, Kemper H. Preliminary report of an exposure-based,
       case-control monitoring system for discovering occupational carcinogens. Teratogenesis, Carcinogenesis,
       and Mutagenesis. 1982;2:169-77.
 16.   *Baumgarten M, Siemiatycki J, Gibbs GW. Validity of work histories obtained by interview for
       epidemiologic purposes. American Journal of Epidemiology. 1983;118(4):583-91.
 17.   Hours M, Fabry J, Siemiatycki J, Francois R. Diabète insulino-dépendant juvénile. Étude descriptive dans
       le département du Rhône. Revue d'épidémiologie et de santé publique. 1984;32:107-12.
 18.   Siemiatycki J, Campbell S. Nonresponse bias and early versus all responders in mail and telephone
       surveys. American Journal of Epidemiology. 1984;120(2):291-301.


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 19.   Siemiatycki J, Campbell S, Richardson L, Aubert D. Quality of response in different population groups in
       mail and telephone surveys. American Journal of Epidemiology. 1984;120(2):302-14.
 20.   *Dewar RAD, Siemiatycki J. A program for point and interval calculation of odds ratios and attributable
       risks from unmatched case-control data. International Journal of Bio-Medical Computing. 1985;16:183-
       90.
 21.   Gérin M, Siemiatycki J, Kemper H, Bégin D. Obtaining occupational exposure histories in epidemiologic
       case-control studies. Journal of Occupational Medicine. 1985;27(6):420-6.
 22.   Siemiatycki J. Long-term funding for epidemiologic research. Journal of Chronic Diseases.
       1985;38(3):211-2.
 23.   Thomas DC, Siemiatycki J, Dewar R, Robins J, Goldberg M, Armstrong BG. The problem of multiple
       inference in studies designed to generate hypotheses. American Journal of Epidemiology.
       1985;122(6):1080-95.
 24.   Gérin M, Siemiatycki J, Bégin D, Kemper H, Lakhani R, Nadon L, et al. Dépistage épidémiologique des
       facteurs cancérogènes de l'environnement de travail montréalais: un premier bilan. Travail et Santé.
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 25.   *Goldberg MS, Siemiatycki J, Gérin M. Inter-rater agreement in assessing occupational exposure in a
       case-control study. British Journal of Industrial Medicine. 1986;43:667-76.
 26.   Siemiatycki J, Colle E, Aubert D, Campbell S, Belmonte MM. The distribution of type I (insulin-
       dependent) diabetes mellitus by age, sex, secular trend, seasonality, time clusters, and space-time clusters:
       evidence from Montréal, 1971-1983. American Journal of Epidemiology. 1986;124(4):545-60.
 27.   Siemiatycki J, Richardson L, Gérin M, Goldberg M, Dewar R, Désy M, et al. Associations between
       several sites of cancer and nine organic dusts: results from an hypothesis-generating case-control study in
       Montréal, 1979-1983. American Journal of Epidemiology. 1986;123(2):235-49.
 28.   Thomas DC, Goldberg M, Dewar R, Siemiatycki J. Statistical methods for relating several exposure
       factors to several diseases in case-heterogeneity studies. Statistics in Medicine. 1986;5:49-60.
 29.   *Guay D, Siemiatycki J. Historic cohort study in Montréal's fur industry. American Journal of Industrial
       Medicine. 1987;12:181-93.
 30.   Siemiatycki J, Dewar R, Nadon L, Gérin M, Richardson L, Wacholder S. Associations between several
       sites of cancer and twelve petroleum-derived liquids. Results from a case-referent study in Montréal.
       Scandinavian Journal of Work, Environment and Health. 1987;13:493-504.
 31.   Siemiatycki J, Wacholder S, Richardson L, Dewar R, Gérin M. Discovering carcinogens in the
       occupational environment: methods of data collection and analysis of a large case-referent monitoring
       system. Scandinavian Journal of Work, Environment and Health. 1987;13:486-92.
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       dependent diabetes mellitus. Diabetes. 1988;37:1113-9.
 33.   Siemiatycki J. Epidemiologic approaches to evaluation of carcinogens. In: Living in a Chemical World.
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       by ethnic group and by social class and comparisons with ethnic groups living elsewhere. Diabetes.
       1988;37(8):1096-102.
 35.   Siemiatycki J, Gérin M, Stewart P, Nadon L, Dewar R, Richardson L. Associations between several sites
       of cancer and ten types of exhaust and combustion products. Results from a case-referent study in
       Montréal. Scandinavian Journal of Work, Environment and Health. 1988;14:79-90.
 36.   Siemiatycki J, Wacholder S, Dewar R, Cardis E, Greenwood C, Richardson L. Degree of confounding
       bias related to smoking, ethnic group, and socioecomomic status in estimates of the associations between
       occupation and cancer. Journal of Occupational Medicine. 1988;30(8):617-25.
 37.   Siemiatycki J, Wacholder S, Dewar R, Wald L, Bégin D, Richardson L, et al. Smoking and degree of
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 38.   Gérin M, Siemiatycki J, Nadon L, Dewar R, Krewski D. Cancer risks due to occupational exposure to
       formaldehyde: results of a multi-site case-control study in Montréal. International Journal of Cancer.
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 39.   Siemiatycki J. Friendly control bias. Journal of Clinical Epidemiology. 1989;42(7):687-8.
 40.   Siemiatycki J, Colle E, Campbell S, Dewar RAD, Belmonte MM. Case-control study of IDDM. Diabetes
       Care. 1989;12(3):209-16.
 41.   Siemiatycki J, Dewar R, Lakhani R, Nadon L, Richardson L, Gerin M. Cancer risks associated with 10
       inorganic dusts: results from a case-control study in Montréal. American Journal of Industrial Medicine.
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 42.   Siemiatycki J, Dewar R, Richardson L. Costs and statistical power associated with five methods of
       collecting occupation exposure information for population-based case-control studies. American Journal
       of Epidemiology. 1989;130(6):1236-46.
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       cases of juvenile diabetes in the district of Rhône (1960-1980)]. Revue d'épidémiologie et de santé
       publique. 1990;38(4):287-95.
 45.   Terracini B, Siemiatycki J, Richardson L. Cancer incidence and risk factors among Montréal residents of
       Italian origin. International Journal of Epidemiology. 1990;19(3):491-7.
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       matrix in occupational case-control studies. Applied Occupational & Environmental Hygiene.
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 47.   Gérin M, Siemiatycki J. The occupational questionnaire in retrospective epidemiologic studies: recent
       approaches in community-based studies. Applied Occupational & Environmental Hygiene. 1991;6(6):495-
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 48.   Payment P, Franco E, Richardson L, Siemiatycki J. Gastrointestinal health effects associated with the
       consumption of drinking water produced by point-of-use domestic reverse-osmosis filtration units.
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       the risk of gastrointestinal disease due to consumption of drinking water meeting current microbiological
       standards. American Journal of Public Health. 1991;81(6):703-8.
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       exposition multisectorielles en hygiène industrielle. Revue de médecine du travail. 1992;XIX:74-9.
 51.   Soskolne CL, Jhangri GS, Siemiatycki J, Lakhani R, Dewar R, Burch JD, et al. Occupational exposure to
       sulfuric acid in southern Ontario, Canada, in association with laryngeal cancer. Scandinavian Journal of
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       premenopausal bilateral breast cancer: a case-control study. Epidemiology. 1992;3(5):414-9.
 53.   Payment P, Franco E, Siemiatycki J. Absence of relationship between health effects due to tap water
       consumption and drinking water quality parameters. Water Science & Technology. 1993;27(3/4):137-43.
 54.   Siemiatycki J. Problems and priorities in epidemiologic research on human health effects related to wiring
       code and electric and magnetic fields. Environmental Health Perspectives. 1993;101(Suppl. 4):135-41.
 55.   Case BW, Dufresne A, Fraser R, Siemiatycki J, Perrault G, Takahashi K. Decoding occupational history
       from total lung particulate analysis: Concordance between physico-chemical analysis and occupational
       histories. Annals of Occupational Hygiene. 1994;38(Supplement 1):469-82.
 56.   Korner-Bitensky N, Wood-Dauphinee S, Siemiatycki J, Shapiro S, Becker R. Health-related information
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 Curriculum Vitae                                                                               Jack Siemiatycki

 57.   Siemiatycki J, Dewar R, Krewski D, Desy M, Richardson L, Franco E. Are the apparent effects of
       cigarette smoking on lung and bladder cancers due to uncontrolled confounding by occupational
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 58.   Siemiatycki J, Dewar R, Nadon L, Gérin M. Occupational risk factors for bladder cancer: results from a
       case-control study in Montréal, Quebec, Canada. American Journal of Epidemiology. 1994;140(12):1061-
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 59.   Takahashi K, Case BW, Dufresne A, Fraser R, Higashi T, Siemiatycki J. Relation between lung asbestos
       fibre burden and exposure indices based on job history. Occupational & Environmental Medicine.
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 60.   Case BW, Dufresne A, Richardson L, Siemiatycki J, Takahashi K. Lung-retained dose following
       occupational exposure to silica. Applied Occupational & Environmental Hygiene. 1995;10(12):1031-6.
 61.   Nadon L, Siemiatycki J, Dewar R, Krewski D, Gerin M. Cancer risk due to occupational exposure to
       polycyclic aromatic hydrocarbons. American Journal of Industrial Medicine. 1995;28(3):303-24.
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 63.   Siemiatycki J, Krewski D, Franco E, Kaiserman M. Associations between cigarette smoking and each of
       21 types of cancer: a multi-site case-control study. International Journal of Epidemiology.
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       joint effect of smoking and radon. Environmental Health Perspectives. 1995;103(1):58-63.
 65.   Ursin G, Paganini-Hill A, Siemiatycki J, Thompson WD, Haile RW. Early adult body weight, body mass
       index, and premenopausal bilateral breast cancer: data from a case-control study. Breast Cancer Research
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 66.   Aronson KJ, Siemiatycki J, Dewar R, Gerin M. Occupational risk factors for prostate cancer: results from
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       International Journal of Cancer. 1996;67(4):498-503.
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 70.   Haile RW, Witte JS, Ursin G, Siemiatycki J, Bertolli J, Thompson WD, et al. A case-control study of
       reproductive variables, alcohol, and smoking in premenopausal bilateral breast cancer. Breast Cancer
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 71.   *Parent ME, Siemiatycki J, Renaud G. Case-control study of exposure to carbon black in the occupational
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 72.   Siemiatycki J. Exposure assessment in community-based studies of occupational cancer. Occupational
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 73.   *Parent ME, Siemiatycki J, Menzies R, *Fritschi L, Colle E. Bacille Calmette-Guerin vaccination and
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       * First author was under supervision of J. Siemiatycki when this work was carried out.



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 4.    Siemiatycki J, Slodovnick A. La Estampa de béisbol. Illustrated by Laura Watson. Translated. Lobster
       Press, Montréal, 2005, 32 pp.

 SCIENTIFIC PRESENTATIONS - INVITED
 1.    Siemiatycki J. Monitoring the occupational environment for carcinogens: a pilot study in Montréal.
       Working Environment and Health Seminar, McGill University, Department of Epidemiology, September
       1978.
 2.    Siemiatycki J, Richardson L. Le défi prioritaire en santé communautaire: la protection et l’amélioration
       de l’environnement. Association pour la santé publique du Québec, Montréal, Quebec, October 1979.
 3.    Siemiatycki J. Occupational carcinogenesis. Séminaire départemental, Direction générale de la protection
       de la santé, Santé et Bien-être Social Canada, Ottawa, January 1981.
 4.    Siemiatycki J. An overview of problems in identifying occupational carcinogens. Canadian Labour
       Congress Meeting on Occupational Cancer, Montréal, February 1981.
 5.    Siemiatycki J. Feasibility of an exposure-based case-control approach to discovering occupational
       carcinogens: preliminary findings. Cold Springs Harbor Conference on Quantification of Occupational
       Cancer, Cold Springs Harbor, New York, March 1981.
 6.    Siemiatycki J. Dépistage des facteurs cancérigènes dans les milieux professionnels montréalais.
       Séminaire départemental, Département de médecine du travail et d’hygiène du milieu, Université de
       Montréal, Montréal, Quebec,March 1981.
 7.    Siemiatycki J. Surveillance program for occupationally related cancer. Société de Toxicologie du Canada,
       Montréal, Quebec, December 1981.
 8.    Gérin, J, Siemiatycki J. Translating job histories into histories of occupational exposure in an interview-
       based case-control Study. Medical Research Council Symposium on Job-Exposure Matrices,
       Southampton, England, April 1982.
 9.    Siemiatycki J. Rapporteur’s report. Medical Research Council Symposium on Job-Exposure Matrices,
       Southampton, England, April 1982.
 10.   Siemiatycki J. Mortality in the general population in Quebec’s asbestos mining areas. World Symposium
       on Asbestos, Montréal, May 1982.
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 Curriculum Vitae                                                                             Jack Siemiatycki

 11.   Siemiatycki J. Occupational cancer epidemiology. McGill Department of Epidemiology seminar series,
       Montréal, Quebec, October 1982.
 12.   Siemiatycki J. Rapport d’une étude pilote qui vise à découvrir des agents cancérogènes de
       l’environnement professionnel. Institut Armand-Frappier, Laval, Quebec, October 1982.
 13.   Siemiatycki J, Richardson L, Gérin M. Discovering occupational carcinogens by an exposure-based case-
       control approach: feasibility and pilot study results. American Public Health Association Meeting,
       Montréal, Quebec, November 1982.
 14.   Siemiatycki J. Discovering occupational carcinogens by means of a novel exposure-based case-control
       approach. U.S. National Institute of Occupational Safety and Health seminar series. Cincinnati.
       November 1982.
 15.   Siemiatycki J. Dépistage des facteurs cancérigènes dans le milieu professionnel montréalais - rapport
       d’une étude pilote. Conférence-midi de l’Institut de recherche en santé et sécurité au travail, Montréal,
       Quebec, December 1982.
 16.   Siemiatycki J. Rapport d’une étude qui vise à découvrir des agents cancérigènes dans l’environnement
       professionnel. Conférence départementale, Université de Sherbrooke, Sherbrooke, Quebec, February
       1983.
 17.   Siemiatycki J. Contribution of epidemiology to discovery of occupational carcinogens: case-control study
       in the Montréal area. Seminar Series, Lady Davis Institute, Jewish General Hospital, Montréal, March
       1983.
 18.   Siemiatycki J. Hospital-based studies of environmental causes of cancer. Seminar series, McGill Cancer
       Centre and Montréal General Hospital, March 1983.
 19.   Siemiatycki J. Analyse préliminaire d’une enquête cas-témoins sur les expositions professionnelles et le
       cancer, INRS-Santé, Paris, France, April 1983.
 20.   Siemiatycki J. Découvrir les cancérigènes professionnels par des méthodes épidémiologiques. Congrès de
       l’ACFAS, Trois-Rivières, Quebec, May 1983.
 21.   Siemiatycki J. Surveillance of occupational cancer. University of Ottawa Special Course in
       Environmental Epidemiology, Ottawa, October 1983.
 22.   Gérin M, Richardson L, Siemiatycki J. Obtaining job exposure histories based on interview and expert
       assessment. Job Exposure Assessment Meeting. International Agency for Research on Cancer, Lyon,
       France, February 1984.
 23.   Siemiatycki J. Associations between bladder cancer and coffee and cigarette consumption: preliminary
       results of a case-control study. Environmental Risk Factors in Bladder Cancer Symposium, Lyon,
       February 1984.
 24.   Siemiatycki J. Preliminary results of an occupational cancer monitoring program. Kellogg Center
       Seminar Series. Montréal General Hospital, April 1984.
 25.   Siemiatycki J. Nickel, chromium and cancer: preliminary results from a case-control study. School of
       Occupational Health. McGill University, Montréal, April 1984.
 26.   Siemiatycki J. Les premiers résultats d’une stratégie épidémiologique visant à découvrir des produits
       cancérigènes dans l’environnement industriel. Micro-hebdo, Institut Armand-Frappier, May 1984.
 27.   Siemiatycki J. Cancer mortality in a general population highly exposed to asbestos. CAN-AM Chemical
       Congress. Montréal, June 1984.
 28.   Siemiatycki J. Some occupational and non-occupational risk factors for cancer: results from a multi-site
       case-control study in Montréal. Special seminar. Health Protection Branch of Health and Welfare Canada,
       January 1985.
 29.   Siemiatycki J. Premiers résultats d’un système de surveillance en épidémilogie visant à découvrir des
       agents cancérogènes dans le milieu industriel. Micro-Hebdo-Actualités, Institut Armand-Frappier, Laval,
       February 1985.
 30.   Siemiatycki J. Discovering environmental carcinogens. Elizabeth Stern Memorial Lecture. U.C.L.A.
       School of Public Health, Los Angeles, California, May 1985.
 31.   Siemiatycki J. Cancer surveillance. International Conference on Environmental and Occupational
       Significance of Industrial Carcinogens, Bologna, Italy, October 1985.


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 32.   Siemiatycki J. Overview of an epidemiologic case-control approach to discovering occupational
       carcinogens. Special seminar. Health Department of Torino and Epidemiology Department of University
       of Torino, Torino, Italy, October 1985.
 33.   Siemiatycki J. Epidemiology of juvenile-onset diabetes in Montréal. Special lecture to Association of
       endocrinologists of Rhone-Alpes Region of France, Lyon, October 1985.
 34.   Siemiatycki J. Cancer risks associated with exposure to organic dusts. Special seminar. International
       Agency for Research on Cancer, Lyon, October 1985.
 35.   Siemiatycki J. Organic dusts and cancer. School of Occupational Health Seminar Series, McGill
       University, December 1985.
 36.   Gérin, M, Siemiatycki J, Richardson L, Begin, D, Kemper, H, Lakhani, R, Nadon L. Associations entre
       cancer et exposition professionnelle à diverses substances. Résultats d’une étude épidémiologique à
       Montréal. Association pour l’hygiène industrielle au Québec, VIII Congrès, City of Québec, Quebec,
       May 1986.
 37.   Siemiatycki J. Synthèse des résultats d’un système de surveillance épidémiologique des expositions
       professionnelles cancérogènes, Université Laval, May 1986.
 38.   Siemiatycki J. L’analyse des données appliquée à la santé et à la sécurité du travail. Symposium sur
       l’analyse de données, IRSST, Montréal, October 1986.
 39.   Siemiatycki J. An overview of epidemiologic contributions to the discovery of occupational carcinogens.
       Society of Toxicology of Canada, Montréal. December 1986.
 40.   Siemiatycki J, Wacholder, S, Dewar R, Begin, D, Richardson L, Rosenman, K, Gerin M. Smoking and
       degree of occupational exposure: are internal analyses likely to be confounded by smoking status?
       Symposium on Smoking in Occupational Cancer Studies. National Cancer Institute, Washington,
       December 1986.
 41.   Siemiatycki J. Petroleum-derived liquids and cancer risk: findings from a case-control study. McGill
       University, Department of Epidemiology, April 1987.
 42.   Siemiatycki J. Methods and findings from a case-control study of insulin-dependent diabetes mellitus in
       Montréal. Montréal Children’s Hospital, May 1987.
 43.   Colle, E, Siemiatycki J. Epidemiologic and immunologic evidence concerning the etiology of insulin-
       dependent diabetes. Institut Armand-Frappier, May 1987.
 44.   Siemiatycki J. The role of epidemiology in environmental impact assessment. Symposium on Health in
       Environmental Impact Assessment. Canadian Public Health Association and Environment Canada,
       Ottawa, May 1987.
 45.   Siemiatycki J. Methods and results of a monitoring system for occupational carcinogens. Johns Hopkins
       University School of Public Health Seminar, Baltimore, Maryland, October 1987.
 46.   Siemiatycki J. Cancer risks associated with petroleum-derived liquids and combustion products. National
       Cancer Institute, Occupational Studies Section, Bethesda, Maryland, October 1987.
 47.   Gerin M, Siemiatycki J. Assessment of exposure to multiple agents in the workplace - experience from a
       population-based case-control study in Montréal. Workshop of European Economic Community on
       Methods of Assessment of Occupational Exposures for Epidemiologic Detection of Cancer Risks, Paris,
       February 1988.
 48.   Siemiatycki J. Overview of epidemiologic tasks. International Joint Commission Workshop on the Role
       of Epidemiology in Assessing the Effects of Great Lakes Water Quality on Human Health. Toronto,
       March 1988.
 49.   Siemiatycki J. Results of an exposure-based case-control study of occupational carcinogens. Ontario
       Cancer Treatment and Research Foundation, Toronto, April 1988.
 50.   Siemiatycki J. Methodology of cancer case-control studies. Special Lecture Series in McGill Summer
       Program in Epidemiology, Montréal, May 1988.
 51.   Siemiatycki J. Costs and benefits of various approaches to estimating occupational cancer risks in case-
       control studies. Symposium on Occupational Cancer Epidemiology. Vancouver, June 1988.
 52.   Richardson L.R, Siemiatycki J, Dewar R. How well does a job exposure matrix reflect the exposure
       assessment of individually coded job histories? Workshop on job exposure matrices held at INSERM,
       Paris, October 1988.

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 Curriculum Vitae                                                                             Jack Siemiatycki

 53.   Siemiatycki J. Methodologic issues in an exposure-based case-control study for discovering occupational
       carcinogens. Medical Research Council, Biostatistics Unit, Cambridge, England, December 1988.
 54.   Siemiatycki J. A synthesis of findings from an occupational cancer case-control study. Invited seminar in
       Department of Epidemiology, School of Public Health, University of North Carolina. Chapel Hill, North
       Carolina, April 1989.
 55.   Siemiatycki J. Methodologic problems in assessing exposure status for case-control studies. National
       Cancer Institute Seminar, Silver Spring, Maryland. April 1989.
 56.   Siemiatycki J. Environmental causes of cancer. McGill Cancer Center Public Lecture Series, Montréal.
       May 1989.
 57.   Siemiatycki J. Approches épidémiologiques dans l’investigation des facteurs cancérogènes. Summer
       course in community health, Université Laval, City of Québec, Quebec, June 1989.
 58.   Krewski, D, Siemiatycki J, Nadon L, Dewar R, Gerin M. Cancer risks due to occupational exposure to
       PAH’s. International Conference on Genetic Toxicology of Complex Mixtures, Washington, District of
       Columbia, September 1989.
 59.   Siemiatycki J. Discovering environmental carcinogens by means of a case-control methodology.
       Dalhousie University, Faculty of Medicine seminar, December 1989.
 60.   Siemiatycki J. Using epidemiologic evidence in compensation of industrial disease. Special workshop of
       Industrial Disease Standards Panel of Ontario, Toronto, December 1989.
 61.   Siemiatycki J. Epidemiologic approaches to evaluating the carcinogenicity of complex mixtures.
       Workshop on carcinogenicity of Complex Mixtures. National Academy of Sciences of the U.S.A.,
       Tucson, January 1990.
 62.   Siemiatycki J. Review of findings from a registry-like database designed to discover occupational
       carcinogens. Workshop on Indicators of Environmental Health. Waterloo Institute for Risk Research and
       Health and Welfare Canada, Ottawa, March 1990.
 63.   Siemiatycki J. Findings from an occupational cancer case-control study. Invited seminar in Department of
       Clinical Epidemiology, Royal Victoria Hospital. Montréal, March 1990.
 64.   Siemiatycki J. Effect of exposure strategies on risk estimates and statistical power. International
       Workshop on Retrospective Exposure Assessment for Occupational Epidemiologic Studies, Leesburg,
       Virginia, March 1990.
 65.   Siemiatycki J. Discovering environmental carcinogens: an epidemiologic perspective. Invited seminar in
       Department of Epidemiology, School of Public Health, University of North Carolina. Chapel Hill, North
       Carolina, March 1990.
 66.   Siemiatycki J. Discovering environmental carcinogens: review of an epidemiologic surveillance project.
       Invited seminar in Occupational & Environmental Health Unit, University of Toronto, Toronto, April
       1990.
 67.   Siemiatycki J. Environnement et cancer: une perspective épidémiologique. 58th Association canadienne
       française pour l’avancement des sciences. Colloque santé et environnement, City of Québec, Quebec,
       April 1990.
 68.   Payment P, Richardson L, Edwards M, Franco E, Siemiatycki J. Drinking water related illness: an
       epidemiological study. Second International Biennial Water Quality Symposium: Microbiological
       Aspects, Vina Del Mar, Chile, August 1990.
 69.   Siemiatycki J. Occupational cancer. Seminar series of Laboratory Centre for Disease Control, Health and
       Welfare Canada, Ottawa, March 1991.
 70.   Siemiatycki J. A decade of searching for occupational carcinogens: methods and results of a case-control
       study. Seminar series of the Division of Clinical Epidemiology, Montréal General Hospital, Montréal,
       March 1991.
 71.   Siemiatycki J. Detecting occupational carcinogens using epidemiologic methods: results and their
       interpretation. McGill University, Department of Epidemiology and Biostatistics, Summer Lecture Series,
       Montréal, June 1991.
 72.   Siemiatycki J. Overview of results of an occupational cancer monitoring study. School of Public Health,
       University of California at Berkeley, Berkeley, October 1991.


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 73.   Siemiatycki J. Discussant of paper on Mortality of oil refinery and distribution workers. International
       Symposium on the Health Effects of Gasoline, Miami, November 1991.
 74.   Begin, D, Gerin M, De Guire L, Siemiatycki J, Adib G, Fournier C. Étude sur la validité des matrices
       emploi-exposition multisectorielles en hygiène industrielle. Scientific Committee on Computing in
       Occupational and Environmental Health, III International Workshop, Paris, November 1991.
 75.   Siemiatycki J. Cancer et travail : connaissances actuelles, approches antérieures et nouvelles. Colloque de
       l’Association des médecins du travail du Québec, Montréal. June 1992.
 76.   Siemiatycki J. Risques de cancers reliés aux expositions chimiques en milieu de travail: résultats d’une
       étude épidémiologique à Montréal. IRSST, Montréal, November 1992.
 77.   Siemiatycki J. Carcinogens in the occupational environment. Invited seminar in School of Public Health,
       University of North Carolina, Chapel Hill, North Carolina. December 1992.
 78.   Siemiatycki J. Discussant of invited seminar on risk assessment. School of Occupation Health, McGill
       University, March 1993.
 79.   Siemiatycki J. Are the effects of smoking on lung and bladder cancer confounded by occupational
       carcinogens? Invited seminar given at the Michigan Cancer Foundation, Detroit and at the University of
       Michigan, Ann Arbor, May 1993.
 80.   Siemiatycki J. Are the apparent effects of cigarette smoking on lung and bladder cancers due to
       uncontrolled confounding by occupational exposures? McGill University, Department of Epidemiology
       and Biostatistics, Montréal, December, 1993.
 81.   Siemiatycki J. Occupational causes of cancer. President’s Cancer Panel Meeting on Avoidable Causes of
       Cancer, Bethesda, April 1994.
 82.   Siemiatycki J. Retrospective exposure assessment in community-based studies. Conference on
       Retrospective assessment of occupational exposures in epidemiology, IARC, Lyon, April 1994.
 83.   Siemiatycki J. Are the apparent effects of cigarette smoking on lung and bladder cancers due to
       uncontrolled confounding by occupational exposures? Department of Human Oncology, University of
       Torino, Torino, Italy, April 1994.
 84.   Siemiatycki J. Risque de cancer dû au tabagisme. Département de médecine sociale et préventive,
       Université Laval, Québec, May 1994.
 85.   Siemiatycki J. Registry studies of bladder cancer. NCI Workshop on Occupational Exposures and
       Urogenital Cancers, Rockville, May 1994.
 86.   Siemiatycki J. Facteurs de risques environnementaux pour le cancer: une perspective épidémiologique.
       Atelier sur la recherche en cancer, Université du Québec à Rimouski, April 1995.
 87.   Camus M, Siemiatycki J. Non-occupational exposure to asbestos: how to assess dose and risk. McGill
       University, Department of Epidemiology and Biostatistics. Montréal, May 1995.
 88.   Siemiatycki J. Occupational carcinogens in Montréal. Seminar - International Agency for Research on
       Cancer, Lyon, France, June 1995.
 89.   Siemiatycki J. Occupational causes of cancer: findings from a large scale case-control study of
       occupational cancer. Department of Medical Informatics, Biometry and Epidemiology, University of
       Essen, Essen, Germany, July 1995.
 90.   Siemiatycki J. Assessing occupational exposures in community based epidemiological studies. Bremen
       Institute for Preventive and Social Medicine, Bremen, Germany, July 1995.
 91.   Case, B, Camus M, Richardson L, Siemiatycki J. Ascertainment of mesothelioma among Québec women
       from 1970 to 1990. Special Symposium on Mesothelioma, IRSST, Montréal, August 1995.
 92.   Siemiatycki, J. Une nouvelle approche épidémiologique pour le dépistage de cancérogènes en milieu de
       travail. Club de recherches cliniques du Québec, Bromont, Quebec, September 1995.
 93.   Siemiatycki J. Occupational causes of cancer: findings from a large scale case-control study of
       occupational cancer. Special seminar. School of Public Health, Univ. of Michigan, Ann Arbor, Michigan,
       June 1996.
 94.   Siemiatycki J. An empirical evaluation of the magnitude of confounding bias. Statistical Society of
       Canada, Waterloo, June 1996.



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 95.    Siemiatycki J. Occupational exposures and cancer risk: recent results and methodological insights from a
        population-based case-control study in Montréal. Department of Epidemiology & Biostatistics, McGill
        University. October, 1996.
 96.    Siemiatycki J. Utilités et limites des études épidémiologiques dans l’évaluation des risques
        environnementaux. ACFAS, City of Québec, Quebec, May 1998.
 97.    Siemiatycki J. International collaboration in cancer epidemiology. Society for Epidemiology Research,
        Chicago, June 1998.
 98.    Siemiatycki J. Accuracy of the EPA risk assessment model for predicting the risk of lung cancer at
        environmental levels of asbestos exposure. National Cancer Institute, Rockville, Maryland, March 1999.
 99.    Siemiatycki J. Risk of lung cancer at environmental levels of asbestos exposure. University of Toronto,
        Toronto, September 1999.
 100.   Siemiatycki J. Estimating risks due to low level exposures. Society for Epidemiology Research, Seattle,
        June 2000.
 101.   Siemiatycki J. Debater on the proposition that research is a top priority in occupational cancer prevention.
        Preventive Oncology Seminar, Cancer Care Ontario, Toronto, April 2001.
 102.   Rachet B, Siemiatycki J, Abrahamowicz M, Leffondre K. Various aspects of smoking behavior on lung
        cancer risk: a flexible modeling approach. National Cancer Institute, Bethesda, May 2001.
 103.   Siemiatycki J. Challenges to epidemiology and challenges to Canadian epidemiologists. National Student
        Conference of Epidemiology, Toronto, June, 2001.
 104.   Siemiatycki J. President’s address. Congress of Epidemiology, Toronto, June, 2001.
 105.   Siemiatycki J. Découvrir les cancérigènes dans l’environnement: bilan des activités de recherche passées
        et perspectives d’avenir. Département de médecine sociale et préventive, Université de Montréal, October
        2001.
 106.   Siemiatycki J. Risque de cancer chez les femmes résidantes des villes des mines d’amiante québécoises:
        Évaluation du risque attribuable à des « faibles » niveaux d’expositions et validation de la méthode
        d’évaluation de risque (« risk assessment ») du E.P.A. Département de santé environnementale,
        Université de Montréal, October 2001.
 107.   Rachet B, Siemiatycki J, Leffondre K, Abrahamowicz M. Relations dose-réponse entre la fumée de
        cigarette et le cancer pulmonaire à partir d’une étude cas-témoins à Montréal : Estimations utilisant une
        modélisation flexible. Congrès INRS-Institut Armand-Frappier, Sainte-Adèle, Quebec, November 2001.
 108.   Siemiatycki J, Camus M, Case B, Desy M, Parent, M.-É. Risque de cancer chez les résidantes des villes
        de l’amiante au Québec: Évaluation du risque attribuable à des « faibles » niveaux d’expositions et
        validation de la méthode d’évaluation de risque de l’E.P.A. Symposium sur l’amiante of Institut national
        de santé publique du Québec, Montréal, December 2001.
 109.   Laplante O, Parent M.-É, Siemiatycki J. Risque de mésothéliome et de cancer du poumon associé à
        l’exposition professionnelle aux fibres d’amiante, Montréal 1979-85. Symposium de l’Institut national de
        santé publique du Québec, Montréal, December 2001.
 110.   Siemiatycki J. Occupational causes of cancer: overview of the contribution of a study in Montréal,
        Research Day at Dept of Epidemiology and Community Medicine, University of Ottawa, April 2002.
 111.   Siemiatycki J. Biostatistical problems in epidemiologic case-control studies. Statistical Society of
        Canada, Hamilton, Ontario, May 2002.
 112.   Leffondre K, Abrahamowicz M, Siemiatycki J. Definition of risk sets for Cox’s analysis of case-control
        data with time-varying exposures: A simulation study. Intended Society for Clinical Biostatistics (ISCB),
        Dijon, France, September 2002.
 113.   Siemiatycki J. Occupational causes of cancer. CCERN and Health Canada Research Workshop,
        Montebello, Quebec. October 2002.
 114.   Siemiatycki J. Occupational causes of cancer. Departmental seminar, McGill University, Montréal.
        November 2002.
 115.   Siemiatycki J. Facteurs environnementaux dans l’étiologie du cancer. Retraite annuelle du centre de
        recherche du CHUM, St-Sauveur, Quebec. November 2002.
 116.   Siemiatycki J. Environmental and occupational causes of cancer. Seminar. Cancer Care Ontario, Toronto,
        February 2003.

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 117.   Siemiatycki J. The state of epidemiology in Canada. Plenary address. CSEB Student Congress, Halifax,
        Nova Scotia, June 2003.
 118.   Siemiatycki J. Occupational cancer epidemiology: the evolving big picture. Distinguished Scientist
        Lecture, Division of Cancer Epidemiology and Genetics, National Cancer Institute, Rockville MD,
        October 2003.
 119.   Siemiatycki J. Challenges in cancer epidemiology. Meeting of the Institute Advisory Board of Institute
        for Cancer Research, CIHR, Montréal, June 2004.
 120.   Siemiatycki J. Keynote address. Occupation and cancer. International Association of Cancer Registries,
        Beijing, September 2004.
 121.   Siemiatycki J. Which cancers are most important, what are the associated occupational situations and
        which confounders are involved? Burden of Cancer Epidemiologic Workshops, Health and Safety
        Executive. Manchester, UK, November 2004.
 122.   Siemiatycki J. Occupational causes of cancer. New Strategies for Recognizing and Preventing
        Occupational Disease, Canadian Center for Occupational Health and Safety, Toronto, March 2005.
 123.   Siemiatycki J. Occupational causes of cancer. The Respiratory Epidemiology & Clinical Research Unit,
        Montréal Chest Institute, Montréal, March 2005.
 124.   Siemiatycki J. Environnement et cancer : quels sont les risques? Les Belles Soirées public lecture series,
        Université de Montréal, Montréal, April 2005.
 125.   Siemiatycki J. An overview of environmental, occupational & lifestyle causes of lung cancer. Cancer
        Axis, McGill University Hospital Centre Research Institute, Montréal, June 2005.
 126.   Siemiatycki J. Les règles des comités d’éthique vont amputer notre capacité de prévenir des maladies et
        sauver des vies. Réunion de FRSQ sur les banques de données et des matières biologiques, Montréal,
        June 2005.
 127.   Siemiatycki J. Introductory comments. Joint Meeting of the Canadian Society for Epidemiology and
        Biostatistics and the Society for Epidemiologic Research, Toronto, June 2005.
 128.   Siemiatycki J. The burden of occupational cancer on workers and on society. Joint Meeting of the
        Canadian Society for Epidemiology and Biostatistics and the Society for Epidemiologic Research,
        Toronto, June 2005.
 129.   Siemiatycki J. Revue des expositions professionnelles associées au cancer (Review of occupational
        exposures associated with cancer): pre-conference training session. Environnement et santé. Congrès
        international de l’Association des Épidémiologistes de Langue Française (ADELF), City of Québec,
        Quebec, September 2005.
 130.   Siemiatycki J. Opening session. Environnement et santé. Congrès international de l’Association des
        Épidémiologistes de Langue Française (ADELF), City of Québec, Quebec, September 2005.
 131.   Siemiatycki J. Impact de l’environnement et du milieu de travail sur le cancer : connaissances récentes.
        9es Journées annuelles de santé publique (JASP), City of Québec, Quebec, November 2005.
 132.   Siemiatycki J. La recherche épidémiologique sur le cancer. Canadian Cancer Society - 2005 Annual
        Conference, City of Québec, Quebec, November 2005.
 133.   Siemiatycki J. Occupational EMF exposure and risk of cancer – methodological considerations.
        Workshop on the Future Needs of Electro-magnetic Fields Occupational Studies in the Electric Utility
        Industry, Edinburgh, September 2006.
 134.   Siemiatycki J. What is known about the modifiable causes of cancer and why we will not learn much
        more: Reflections on the decline of epidemiology as a tool to elucidate disease etiology. Department of
        Epidemiology, Biostatistics & Occupational Health, McGill University, Montréal, October 2006.
 135.   Siemiatycki J. Keynote Speaker. Environmental causes of cancer. 28th Annual Meeting of the
        International Association of Cancer Registries, Goiania, Brazil, November 2006.
 136.   Parent M.-E, Rousseau M.-C, Siemiatycki J, Boffetta P, Cohen A. Using the workplace as a window to
        study the role of diesen and gasoline engine emissions in lung cancer developpement. Invited abstract
        submitted to the Eleventh International Congress of Toxicology, Montréal, Quebec, July 2007.
 137.   Siemiatycki J. Keynote Speaker. The future of occupational epidemiology? 19th International Conference
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        Health and the environment. Health Canada, Ottawa, February 2008.
 139.   Siemiatycki J. Freedom of research - is it threatening or threatened? Conference of Institutional Review
        Boards of Quebec, (4e Journées d’étude des CER), City of Québec, Quebec, October 2008.
 140.   Siemiatycki J. Cancer and Environment – Annual University of Montréal Medical Faculty Assembly,
        Montréal, December 2008.
 141.   Siemiatycki J. Impact de l’environnement et du milieu de travail sur les risques de cancer : méthodologie
        de recherche et résultats. Conférence en santé publique, Université Laval, May 2009.
 142.   Siemiatycki J. CIHR and Epidemiologic Research. CSEB, Ottawa, May 2009.
 143.   Siemiatycki J. Mode de vie, milieu de vie: les causes modifiables du cancer. (Lifestyles and environment:
        modifiable causes of cancer). Keynote address. Conference nationale pour vaincre le cancer, Montréal
        April 2010.
 144.   Siemiatycki J. Montréal case-control studies on occupation and cancer. Presentation for II International
        Course on occupational cancer. Instituto Nacional de Cancerologia, Bogota, Colombia, August 2010.
 145.   Siemiatycki J. Modifiable causes of cancer and estimates of attributable fractions. Presentation for II
        International Course on occupational cancer, Instituto Nacional de Cancerologia, Bogota, Colombia,
        August 2010.
 146.   Siemiatycki J. Asbestos and cancer in Quebec: a presentation of studies in three populations. Presentation
        for II International Course on occupational cancer. Instituto Nacional de Cancerologia, Bogota,
        Colombia, August 2010.
 147.   Siemiatycki J. An overview of recognized environmental and lifestyle causes of cancer, and their
        contribution to the overall burden of cancer. International Congress of Pathophysiology, Montréal,
        September 2010.
 148.   Siemiatycki J. Les causes modifiables du cancer (Lifestyles and environment: modifiable causes of
        cancer). Conference annuelle de la Société du cancer du Canada, division Québec, November 2010.
 149.   Siemiatiycki J. Alison McDonald’s research on the impact of Medicare in Québec. Department of
        Epidemiology and Biostatistics, McGill University, Montréal, Quebec, May 2011.
 150.   Siemiatycki J. An overview of environmental causes of cancer. Special Symposium to honour Nobel
        Prize winner CRCHUM, Montréal, Quebec, June 2011.
 151.   Siemiatycki J. Review of IARC evaluation on cellphones and cancer. Congress of Epidemiology,
        Montréal, Quebec, June 2011.
 152.   Siemiatycki J. L’évidence concernant les risques de cancer liés à l’utilisation du téléphone cellulaire.
        Institut national de santé publique du Québec, October 2011.
 153.   Siemiatycki J. Do cellphones cause brain cancer? Canadian Cancer Research Conference, Toronto,
        November 2011.
 154.   Siemiatycki J. Do cellphones cause brain cancer? Canadian Center for Architecture. Public science
        lecture series, Montréal, Quebec, January 2012.
 155.   Siemiatycki J. Do cellphones cause brain cancer? McGill University Department of Epidemiology lecture
        series, Montréal, Quebec, March 2012.
 156.   Siemiatycki J. L’environnement et le risque de cancer. Table ronde. Conference annuelle de la Coalition
        Cancer, Montréal, Quebec, March 2012.
 157.   Siemiatycki J. An Overview of Modifiable Risk Factors for Cancer. CHUM Department of Medicine,
        Montréal, Quebec, March 2012.
 158.   Siemiatycki J. Do cell phones cause brain cancer? The epidemiologic evidence. Grand Rounds, St-Mary’s
        Hospital, Montréal, Quebec, September 2012.
 159.   Siemiatycki J. The epidemiology of cell phones and brain cancer. Centre hospitalier universitaire
        Vaudois, Lausanne, Suisse, October 2012
 160.   Siemiatycki J. Occupational causes of cancer. Annual meeting of Occupational & Environmental Medical
        Association of Canada, Montréal, Quebec, September 2013.
 161.   Siemiatycki J. Fraction of lung cancer that is legally attributable to smoking: a novel parameter. ISPED,
        Bordeaux, France, November 2013.

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 162.   Siemiatycki J. Some challenges in environmental cancer research. Boston University School of Public
        Health, Boston, Massachusetts, February 2014.
 163.   Siemiatycki J. Les causes modifiables du cancer: le cancer peut être évité. Symposium de La Fondation
        Sauve Ta Peau, Montréal, Quebec, September 2014.
 164.   Siemiatycki J. Using epidemiologic research to combat the tobacco industry. BIPS, Bremen, Germany,
        September 2015.
 165.   Siemiatycki J. Insights into the use of epidemiologic data in a class action lawsuit against the tobacco
        industry. CRCHUM division seminar, Montréal, Quebec, September 2015.
 166.   Siemiatycki J. Development of a methodology to estimate legally attributable fraction of lung cancer
        attributable to cigarette smoking. McGill Univ Dept of Epidemiology, Montréal, Quebec, October 2015.
 167.   Siemiatycki J. Using epidemiologic research to combat the tobacco industry. SIRIC-BRIO Cancer Centre.
        Bordeaux, France, November 2015.
 168.   Siemiatycki J. Do cell phones cause brain cancer? The epidemiologic evidence. Dept of Medicine,
        CHUM, Montréal, Québec, November 2015.
 169.   Siemiatycki J. Occupation and cancer. Conference for the 50th Anniversary of IARC, Lyon, June 2016.
 170.   Siemiatycki J. Contribution of epidemiology to knowledge on occupational risk factors for cancer. 34e
        Congrès national de Médecine et Santé au Travail, Paris, France, June 2016.
 171.   Siemiatycki J. The influence of JC McDonald on the evolution of epidemiology in Canada. Symposium
        in honour of JC McDonald. McGill Univ., Montréal, Quebec, May 2017.
 172.   Siemiatycki J. A survey of knowledge on occupational causes of cancer. Keynote address. International
        Association of Cancer Registries, Utrecht, Netherlands, October 2017.
 173.   Siemiatycki J. La preuve statistique au tribunal : recours collectif en situation d'incertitude. Café-
        statistique de la Société des statisticiens français de la région parisienne, Paris, France, May 2018.

 SCIENTIFIC PRESENTATIONS - OFFERED AND ACCEPTED
 1.     Siemiatycki J. Comparison of mail, telephone and home interview methods for health surveys.
        International Epidemiologic Association Meeting. Puerto Rico. August 1977.
 2.     Siemiatycki J, Day NE, Fabry J, Cooper, JA. Identification d’agents cancérigènes dans le milieu de
        travail: un nouveau système épidémiologique de monitoring. Deuxième conférence internationale sur la
        science des systèmes dans le domaine de la santé. Montréal, July 1980.
 3.     Siemiatycki J, Richardson L, Pless B. Equality in Medical Care under National Health Insurance in
        Montréal. Deuxième conférence internationale sur la science des systèmes dans le domaine de la santé.
        Montréal, July 1980.
 4.     Siemiatycki J. Discovering occupational carcinogens. International Symposium on Chemical
        Mutagenisis, Human Population Monitoring and Genetic Risk Assessment. Ottawa. October 1980.
 5.     Siemiatycki J, Richardson L, Gerin M. Discovering occupational carcinogens by a substance-based case-
        control approach-fieldwork considerations. International Epidemiologic Association Meeting. Edinburgh.
        August 1981.
 6.     Siemiatycki J, Colle E, West R, Belmonte M. Space-time clustering of juvenile-onset diabetes in
        Montréal. International Epidemiologic Association Meeting. Edinburgh. August 1981.
 7.     Siemiatycki J, Gerin M, Richardson L. Discovering occupational carcinogens by an exposure-based case-
        control approach: exposure assessment aspects. Second International Symposium on Epidemiology in
        Occupational Health. Montréal, August 1982.
 8.     Siemiatycki J, Gerin M, Lakhani R, Dewar R, Pellerin J, Richardson L. Nickel and ancer associations
        from a multicancer occupation exposure case-referent study. Symposium on Nickel in the Environment.
        Lyon, March 1983.
 9.     Gerin M, Siemiatycki J. La traduction des histoires professionnelles en histoires d’expositions chimiques:
        un défi pour l’hygiéniste du travail. Congrès de l’Association pour l’hygiène industrielle du Québec.
        Quebec, May 1983.
 10.    Siemiatycki J, Colle E, Campbell S, Belmonte M. Preliminary analysis of a case-control study of Type I
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 11.   Siemiatycki J, Richardson L, Gerin M, Goldberg M, Dewar R. Associations between nine sites of cancer
       and nine organic dusts: results from a hypothesis-generating case-control study in Montréal. Society for
       Epidemiologic Research. Chapel Hill, North Carolina, June 1985.
 12.   Richardson L, Siemiatycki J, Gerin M, Goldberg, M, Dewar R, Desy M, Campbell S, Wacholder S.
       Associations between several sites of cancer and nine organic dusts: results from a case-control study.
       Fourth International Symposium on Epidemiology in Occupational Health. Como, Italy, September 1985.
 13.   Richardson L, Siemiatycki J. Case-control study methods: when to interview subjects and non-response
       bias. Fourth International Symposium on Epidemiology in Occupational Health. Como, Italy,
       September 1985.
 14.   Soskolne C, Jhangri G, Checkoway, Risch H, Siemiatycki J, et al. Sulphuric acid exposure in laryngeal
       cancer: induction and latency estimates from a lagged exposure window analysis. XII Scientific Meeting
       of the International Epidemiology Assoc. Los Angeles, August, 1990.
 15.   Payment P, Richardson L, Edwardes M, Franco E, Siemiatycki J. (1989). Gastrointestinal illness and
       drinking water: a prospective epidemiological study. 57th Conjoint Meeting on Infectious Diseases
       (CACMID), Montréal, 25-29 November 1989, Résumé C-30.
 16.   Payment P, Richardson L, Edwardes M, Franco E, Siemiatycki J. (1990). Drinking water related
       gastrointestinal illnesses. 1990 Annual Meeting of the American Society for Microbiology, Anaheim
       California, 13-17 May 1990.
 17.   Payment P, Richardson L, Edwardes M, Franco E, Siemiatycki J. (1990). A prospective epidemiological
       study of drinking water related gastrointestinal illnesses. International Association on water Pollution
       Research and Control, Health Related Water Microbiology Group, Tubingen, West Germany, 1-6 April
       1990.
 18.   Case BA, Dufresne A, Siemiatycki J, Fraser R. Decoding occupational history from total lung particulate
       analysis. II: A comparative study. Brit. Occ. Hyg. Soc.; Seventh International Symposium on Inhaled
       Particles, Edinburgh, September 1991, S4.5.
 19.   Suarez-Almazor M, Soskolne C, Fung K, Jhangri G, Burch D, Howe G, Miller A, Siemiatycki J, Lakhani
       R, Dewar R. Choice of summary worklife exposure measures in the estimation of risk: an empirical
       assessment. Canadian Epidemiology Symposium. Edmonton. May. 1991.
 20.   Siemiatycki J, Nadon L, Dewar R. Cancer risks due to occupational exposure to polycyclic aromatic
       hydrocarbons. 8th International Symposium on Epidemiology in Occupational Health, Paris, France,
       September 1991.
 21.   Bourbonnais R, Siemiatycki J. Socioeconomic variables and cancer risk. Canadian Society for
       Epidemiology and Biostatistics. Edmonton, May 1991.
 22.   Gerin M, Begin D, Siemiatycki J, Dewar R. Study on the validity of the NOES job-exposure matrix using
       industrial hygiene measurements obtained in Montréal. Conference on Retrospective Assessment of
       Occupational Exposure. IARC Lyon. April 1994.
 23.   *Camus M, Siemiatycki J. Estimating past asbestos fiber levels in the general population of asbestos
       mining towns in Quebec. International Society Environmental Epidemiology, Research Triangle Park,
       N.C. Sept. 1994.
 24.   Goldberg MS, Dewar R, Siemiatycki J. Confounding and other design issues in cancer incidence studies
       of hazardous waste sites. Canadian Society for Epidemiology and Biostatistics. St-John’s, Newfoundland,
       Aug 1995.
 25.   Goldberg MS, Dewar R, Siemiatycki J. Confounding and other design issues in cancer incidence studies
       of hazardous waste sites. International Society for Environmental Epideemiology. Noordwijkerhout,
       Netherlands, Aug, 1995.
 26.   Case BW, Camus M, Siemiatycki J. Trends in Pathologic Diagnosis of Malignant Mesothelioma among
       Quebec Women 1970-1990. Royal College of Medicine. Montréal. Sept. 1995.
 27.   Aronson KJ, Siemiatycki J. Dewar R, Gerin M. Occupational Risk Factors for Prostate Cancer. Canadian
       Society for Epidemiology and Biostatistics, St-John’s, Newfoundland, Aug 1995.
 28.   *Camus M, Siemiatycki J. The Estimation of Past Asbestos Fiber Levels in Quebec Asbestos Mining
       Towns from 1900 to 1984. Canadian Society for Epidemiology & Biostatistics, St-John’s, Newfoundland,
       Aug 1995.

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 29.   *Camus M, Siemiatycki J, Dewar R. Non-Occupational Asbestos Exposure and Risk of lung Cancer in
       the Female Population of Asbestos-Mining Towns: Implications for Risk Assessments. Canadian Society
       for Epidemiology and Biostatistics Meeting, St-John’s, Newfoundland, Aug 1995.
 30.   Payment P, Franco E, Siemiatycki J, Richardson L, Renaud G, Prevost M. Epidemiology studies of tap-
       water related gastrointestinal illnesses. Water Quality Technology Conference, New Orleans, Nov. 1995.
 31.   *Fritschi L, Siemiatycki J. Self-assessed versus expert-assessed occupational exposures. Canadian
       Society for Epidemiology and Biostatistics Meeting, St Johns, Newfoundland, Aug 1995.
 32.   Payment P, Siemiatycki J, Richardson L, Renaud G. Épidémiologie des maladies gastro-intestinales et
       respiratoires: incidence, fraction attribuable à l’eau et coûts pour la société. ACFAS, Montréal, May
       1996.
 33.   *Fritschi L, Parent M-É, Siemiatycki J. Gastric cancer and occupation. Australasian Epidemiological
       Association, Victoria, Australia. July 1996.
 34.   *Camus M, Case BW, Siemiatycki J. Risk assessment for women living in chrysotile mining towns.1:
       Environmental exposure assessment. Fourth International Mesothelioma Conference, Philadelphia, May
       1997.
 35.   Case BW, Camus M, Siemiatycki J. Risk assessment for women living in chrysotile mining towns.2:
       Mesothelioma: observed vs. predicted. Fourth International Mesothelioma Conference, Philadelphia, May
       1997.
 36.   *Camus M, Siemiatycki J. Cancer risks due to non-occupational asbestos exposure. Can. Soc. for
       Epidemiol. & Biostat. London, Ontario, May 1997.
 37.   Weston TL, Aronson KJ, Howe GR, Nadon L, Siemiatycki J. Cancer mortality risk in a cohort of
       working men. Canadian Society for Epidemiology and Biostatistics, London, Ontario, May 1997.
 38.   *Parent M-É, Siemiatycki J, Menzies L, Fritschi L, Colle E. Can Bacille-Calmette Guérin vaccination
       prevent insulin-dependent diabetes mellitus (IDDM)? Canadian Society for Epidemiology and
       Biostatistics, London, Ontario, May 1997.
 39.   Wolf, S, Siemiatycki J, Beyersmann, D, Jockel, K. H. A case-control study of lung cancer - performance
       of a job-exposure matrix for cadmium, chromium, nickel, and stainless steel dust. Internat. Epidemiol.
       Assoc. European Region Meeting. Munster, Germany, Sept. 1997.
 40.   *Parent, M.E. Siemiatycki J. Exposition professionnelle aux émissions d’essence et de diesel, et cancer
       du poumon. ACFAS, Quebec, May 1998.
 41.   *Parent M-É, Siemiatycki J, Boffetta P. Occupational exposure to gasoline and diesel engine emissions
       and lung cancer. Soc. Epid. Res, Chicago, June 1998.
 42.   *Parent M-É, Siemiatycki J, Boffetta P, Cohen A. Occupational exposure to gasoline and diesel exhausts
       and lung cancer. Inter. Soc. Environ. Epid, Boston, August 1998.
 43.   *Parent M-É, Siemiatycki J, Boffetta P, Cohen A. Gasoline and diesel engine emissions in the workplace
       and lung cancer. PREMUS-ISEOH ‘98, Helsinki, Finland, Sept. 1998.
 44.   Leffondre K, Abrahamowicz M, Rachet B, Siemiatycki J. Modeling smoking history: A comparison of
       different approaches. Congress of Epidemiology, Toronto, June 2001.
 45.   Fritschi L, Nadon L, Benke G, Lakhani R, Latreille B, Parent M-É, Siemiatycki J. Validation of expert
       assessment of occupational exposures X2001 – Occupational Exposure Assessment for Epidemiology and
       Practice, Gothenburg, Sweden, June 2001.
 46.   Parent M-É, Siemiatycki J, Desy M. Case-control study of occupational exposures and risk of prostate
       cancer among farmers. Case-control study of occupational exposures and risk of prostate cancer among
       farmers, Toronto, June 2001.
 47.   Siemiatycki J, Camus M, Parent M-É, Richardson L, Desy M, Case BW. Case-control study of pleural
       mesothelioma among women in Quebec chrysotile mining regions. Inhaled Particles IX (BOHS),
       Cambridge, United Kingdom, September 2001.
 48.   Jockel K-H, Wolf S, Ahrens W, Jahn I, Pohlabeln H, Beyersmann D, Siemiatycki J. Cadmium as a
       human lung carcinogen. Jahrestagung der Deutschen Arbeitsgemeinschaft fur Epidemiologie (DAE)
       [Annual convention of the German epidemiology working group], Garmisch-Partenkirchen, Germany,
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 49.   Leffondre K, Abrahamowicz M, Siemiatycki J. Comparison of Cox’s model versus logistic regression for
       case-control data with time-varying exposure: a simulation study. Annual Meeting of the Statistical
       Society of Canada (SSC). Hamilton, Ontario. May 2002.
 50.   Parent M-É, Siemiatycki J, Desy M. Association between Alcohol Consumption and Each of 23 Types of
       Cancer in Men. Soc. Epid. Res, Palm Desert, California, June 2002.
 51.   Leffondre K, Abrahamowicz M, Siemiatycki J. Comparison of Cox’s model versus logistic regression for
       case-control data with time-varying exposure: a simulation study. Society for Epidemiologic Research
       (SER), Palm Desert, California, June 2002.
 52.   Rachet B, Parent M-É, Siemiatycki J. Welding Fumes and Lung Cancer: A Case-Control Study, Soc.
       Epidemiol. Res, Palm Desert, California, June 2002.
 53.   Rachet B, Abrahamowicz M, Sasco A, Siemiatycki J. Flexible estimation of the distribution of lag in the
       effects of exposures and interventions. 34th Annual SER Meeting. Palm Desert, California. June 2002.
 54.   Abrahamowicz M, Mackenzie T, Leffondre K, Du Berger R, Siemiatycki J. Joint modeling of time-
       dependent and non-linear effects of continuous predictors in survival analysis, with application to re-
       assess the impact of intensity of past smoking on the risks of lung cancer in ex-smokers. 17th
       International Workshop on Statistical Modeling, Chania, Greece, July 2002.
 55.   Parent M-É, Siemiatycki J, Desy M. Exposure to chemical agents during leisure activities and risk of non-
       Hodgkin’s lymphoma. Inter. Epidemiology Association, Montréal, August 2002.
 56.   Leffondre K, Abrahamowicz M, Siemiatycki J. Comparison of Cox’s model versus logistic regression for
       case-control data with time-varying exposure: a simulation study. International Epidemiological
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 57.   Rachet B, Siemiatycki J, Leffondre K, Abrahamowicz M. Exposure-response relationships between
       cigarette smoking and male lung cancer from a case-control study in Montréal: generalized additive
       model approach. International Epidemiology Association (IEA) XVI World Congress of Epidemiology.
       Montréal, Québec. August 2002.
 58.   Parent M-É, Rousseau M-C, Siemiatycki J, Desy M. Body mass index and male cancer incidence at
       twelve different sites. Body mass index and male cancer incidence at twelve different sites. Halifax, Nova
       Scotia, June 2003.
 59.   Desautels N, Siemiatycki J, Parent M.E. Association between lifetime consumption of coffee, tea, and
       soft drinks, and incidence of eleven types of cancer: a case-control study. CSEB 2003 Biennial Meeting.
       Halifax, Nova Scotia, June 2003.
 60.   Parent M-É, Siemiatycki J, Desy M. Association between beta-carotene intake and risk of cancer at
       several sites. Society for Epidemiologic Research, Atlanta, Georgia, June 2003.
 61.   Parent M-É, Siemiatycki J, Laplante O, Desy M. Risk of lung cancer and mesothelioma associated with
       occupational exposure to Asbestos: A population-based case-control study in Montréal, Canada.
       International Society for Environmental Epidemiology, Perth, Australia, September 2003.
 62.   Parent M-É, Siemiatycki J, Laplante O, Désy M. Occupational exposure to asbestos and risk of lung
       cancer and mesothelioma: results from a population-based-case-control study in Montréal. CARWH
       Conference. Montréal, Québec, October 2003.
 63.   Parent M-É, Siemiatycki J, Latreille B, Désy M. Lifetime Occupational Physical Activity and Prostate
       Cancer Risk. Society for Epidemiologic Research. Salt Lake City, Utah, June 2004.
 64.   Parent M-É, Rousseau M.C, Siemiatycki J, Boffetta P, Cohen A. Contrasting evidence when using
       hospital or population controls: the example of the association between exposure to gasoline and diesel
       exhaust, and lung cancer. 16th conference of the International Society for Environmental Epidemiology
       (ISEE). New York City, August 2004.
 65.   De Guire L, Lebel G, Gingras S, Levesque B, Camus M, Provencher S, Case B, Langlois A, Laplante O,
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 66.   Richardson H, Aronson K, Parent M-É, Siemiatycki J. Risk of cancer due to occupational exposure to six
       types of chlorinated hydrocarbons. EPICOH, Melbourne, Australia, October 2004.



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       Siemiatycki J, Lajoie P. Épidémiologie des maladies reliées à l’exposition à l’amiante au Québec. Board
       Meeting, Canadian Association of University Teachers. Ottawa, November 2004.
 68.   Rousseau M-C, Parent M-É, Siemiatycki J. Occupational exposure to lead and risk of cancer in a
       population-based case-control study from Montréal, Canada. Canadian Association for Research on Work
       and Health, Vancouver, May 2005.
 69.   Parent M-É, Rousseau M-C, Siemiatycki J, Desy, M. Using proxy respondents when assessing
       occupational circumstances in a case-control study of cancer: For better or for worse? Canadian
       Association for Research on Work and Health, Vancouver, May 2005.
 70.   *Momoli F, Siemiatycki J, Parent M-É, Abrahamowicz M. Semi-Bayes modeling in a study of lung
       cancer and multiple occupational chemicals: Comparison of results for five suspected lung carcinogens.
       Canadian Association for Research on Work and Health, Vancouver, May 2005.
 71.   *Momoli F, Siemiatycki J, Parent M-É, Abrahamowicz M. Semi-Bayes models: An empirical
       comparison of modeling approaches in a study of lung cancer and occupational chemicals. Joint Meeting
       of the Canadian Society for Epidemiology and Biostatistics and the Society for Epidemiologic Research,
       Toronto, June 2005.
 72.   Rousseau M-C, Camus M, Case B, Siemiatycki J. Incidence of pleural mesothelioma among women in
       Québec, 1970-1989: A comparison between asbestos mining and non-mining areas. Joint Meeting of the
       Canadian Society for Epidemiology and Biostatistics and the Society for Epidemiologic Research,
       Toronto, June 2005.
 73.   Leffondre K, Abrahamowicz M, Siemiatycki J. Modeling smoking history using an overall indicator of
       exposure. Joint Meeting of the Canadian Society for Epidemiology and Biostatistics and the Society for
       Epidemiologic Research, Toronto, June 2005.
 74.   Parent M-É, Siemiatycki J, Latreille B, Desy M. Is occupational physical activity associated with cancer
       risk among men? Joint Meeting of the Canadian Society for Epidemiology and Biostatistics and the
       Society for Epidemiologic Research, Toronto, June 2005.
 75.   *Ramanakumar AV, Parent M-É, Menzies R, Camus M, Siemiatycki J. Previous history of lung disease
       and risk of lung cancer in Montréal. Joint Meeting of the Canadian Society for Epidemiology and
       Biostatistics and the Society for Epidemiologic Research, Toronto, June 2005.
 76.   *Benedetti A, Parent M-É, Siemiatycki J. Alcohol consumption and lung cancer risk in two case-control
       studies in Montréal, Canada. Joint Meeting of the Canadian Society for Epidemiology and Biostatistics
       and the Society for Epidemiologic Research, Toronto, June 2005.
 77.   Leffondre K, Abrahamowicz M, Siemiatycki J. Modeling smoking history using an overall indicator of
       exposure. 26th Annual Conference of the International Society for Clinical Biostatistics (ISCB), Szeged,
       Hungary, August 2005.
 78.   Rousseau M.-C, Parent M-É, Siemiatycki J. Exposition professionnelle au plomb et risque de cancer :
       Étude de cas-témoin basée sur la population de Montréal, Qc. Environnement et santé : Congrès
       international de l’Association des épidémiologistes de langue française (ADELF), Québec, September
       2005.
 79.   *Ramanakumar AV, Parent M-É, Siemiatycki J. Residential fuel exposures and risk factors for lung
       cancer: Evidence from two population-based case-control studies in Montréal. Spring Colloquium:
       Environmental Health Research Network (RRSE), Montréal, May 2006.
 80.   Sharek M, Rousseau M-C, Siemiatycki J, Parent M-É. Antioxydants et prévention du cancer du poumon :
       où en sommes-nous? Spring Colloquium: Environmental Health Research Network (RRSE), Montréal,
       May 2006.
 81.   Parent M-É, Shareck M, Désy M, Rousseau M-C, Siemiatycki J. Night Work and Risk of Prostate and
       Colon Cancers. Second North American Congress of Epidemiology, Seattle, June 2006.
 82.   Rousseau M-C, Parent M-É, Siemiatycki J. Exposure to lead compounds, occupation, and risk of cancer.
       Second North American Congress of Epidemiology, Seattle, June 2006.
 83.   *Ramanakumar AV, Parent M-É, Siemiatycki J. Risk of lung cancer from traditional heating and cooking
       fuels in Montréal. 2006 American Association for Cancer Research (AACR) International Conference on
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 84.   Shareck M, Rousseau M-C, Siemiatycki J, Parent M-E. Antioxydants et prévention du cancer du poumon:
       où en sommes-nous? Second Conference of the Association des étudiantes et étudiants en Santé Publique
       de l’Université de Montréal, Montréal, February 2007.
 85.   *Liu A, Abrahamowicz M, Siemiatycki J. Selected Methodological Issues in Testing and Estimating Sex
       Interactions with Multi-dimensional Exposures: a Simulation Study. 3rd Annual GENESIS (Gender and
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 156.   *Karumanchi S, Hatsopoulou M, Richardson L, Siemiatycki J. Methodology for exposure assessment for
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 157.   *Carrier M, Apparicio P, Kestens Y, Séguin AM, Pham H, Crouse D, Siemiatycki J. Application of a
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 172.   Bowman JD, Vila J, Richardson L, Kincl L, Cardis E on behalf of the INTEROCC Study Group.
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        atmospheric metals in environmental epidemiology: the example of the bramm network and the gazel
        cohort. Poster. SEE Young 2018, Early Career Researchers Conference on Environmental Epidemiology
        – Together for a Healthy Environment, Freising, Germany, 19–20 March 2018. Occup Environ Med
        2018;75:A27.
 177.   Ho V, Parent MÉ, Lavoué J, Zhu Y, Siemiatycki J, Koushik A. Gender Differences in Occupational
        Physical Activity. Oral presentation. ISES-ISEE 2018 Joint Annual Meeting, Ottawa, Ontario. 26-30
        August 2018.


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 Curriculum Vitae                                                                            Jack Siemiatycki

 178.   *Xu M, Ho V, Siemiatycki J. Association between occupational exposure to textile fibre dusts and lung
        cancer in a population-based case-control study in Montréal: a preliminary analysis comparing results
        from three analytical methods. Oral presentation. ISES-ISEE 2018 Joint Annual Meeting, Ottawa,
        Ontario, 26-30 August 2018.
 179.   Zhu Y, Lavoué J, Parent MÉ, Siemiatcyki J, Koushik A, Ho V. Occupational Physical Activity and Lung
        Cancer Risk among Participants of the Alberta’s Tomorrow Project. Poster. ISES-ISEE 2018 Joint
        Annual Meeting, Ottawa, Ontario, 26-30 August 2018.
 180.   *Karumanchi S, Siemiatycki J, Richardson L, Hatzopoulou M. Estimating exposure to Ultrafine Particles
        in the Greater Montreal Area among case-control study subjects: Comparison of classical land use
        regression model with a model based on Bayesian principles - Proposal. Poster. ISES-ISEE 2018 Joint
        Annual Meeting, Ottawa, Ontario, 26-30 August 2018.
 181.   van Tongeren M, Dirkx E, Lavoué J, Siemiatycki J, Ho V. Assessment of Occupational Exposure to
        Endocrine Disrupting Agents. Poster. ISES-ISEE 2018 Joint Annual Meeting, Ottawa, Ontario, 26-30
        August 2018.

 * First author was under supervision of J. Siemiatycki when this work was carried out

 GRANTS AND CONTRACTS RECEIVED
 1.     Comparison of three methods for conducting household health surveys; Nat. Health Res & Devel. Prog.
        (NHRDP); $27,000; 1974-76.
 2.     Pilot study of a case-control monitoring system for discovering occupational carcinogens; Conseil de la
        recherche en santé (CRSQ); $80,000; 1978-1980.
 3.     Établissement du jeune chercheur; CRSQ; $15,000; 1979-80.
 4.     Analyse de santé auprès de 1600 ménages montréalais; Ministère des affaires sociales (MAS); $12,708;
        1980
 5.     Dépistage des facteurs cancérigènes de l’environnement professionnel montréalais: étude pilote;
        Commission des accidents du travail; $59,093 ; 1980-82.
 6.     Registry of patients with Juvenile Onset Diabetes in Québec; NHRDP; $35,478*; 1980-85; (P.I. Dr E.
        Colle).
 7.     Secondary analysis of a health survey in Montréal: methodologic issues and comparison of morbidity and
        health care utilization between social groups; NHRDP-H&W Can.; $15,000; 1981-82.
 8.     Exposure-based case-control approach to discovering occupational carcinogens; NHRDP-H&W Can.;
        $129,258; 1981-83.
 9.     An exposure-based case-control approach to discovering occupational carcinogens; NCIC; $131,842;
        1981-83.
 10.    Variation in sex ratios of cancer between geographic areas; NCIC; $3,227; 1982-84.
 11.    Équipe associée en épidémiologie des cancers professionnels (Team grant); Institut de la recherche en
        santé et sécurité du travail (IRSST); $1 120,000; 1982-85.
 12.    Formaldehyde et cancer; IRSST; $9,500; 1983.
 13.    Retrospective cohort study in the Montréal fur industry; IRSST; $34,019; 1983-85.
 14.    Statistical analysis of a case-control study designed to discover occupational carcinogens; NHRDP-H&W
        Can.; $484,022; 1985-87.
 15.    Completion of chemical coding of exposures in a case-control study designed to discover occupational
        carcinogens; IRSST; $102,180; 1986.
 16.    Risks of cancer due to exposure to asbestos in a range of occupations; IRDA; $61,206; 1986-87.
 17.    Biological estimation of exposure: a tissue registry for the identification and quantification of
        occupational carcinogens; NCIC; $3,500*; 1986-87; (P.I. Dr B. Case)
 18.    Development of a proposal to study cancer risk and non-occupational exposure to asbestos; H&W Can.;
        $29,500; 1987-88.
 19.    Evaluation of cancer risk and occupational exposure to formaldehyde; H&W Can.; $30,000; 1987-88.
 20.    A genetic-epidemiologic study of breast cancer; NIH-NCI; $90,945(US)*; 1987-92; (P.I. Dr. R. Haile).

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 Curriculum Vitae                                                                                Jack Siemiatycki

 21.   Scholar award; NHRDP-H&W Can.; $298,689; 1987-93.
 22.   An intervention trial to assess the risks of gastro-intestinal illness associated with consumption of treated
       tap water; NHRDP; $225,000*; 1987-89; (P.I. Dr P. Payment).
 23.   Evaluation of cancer risk and occupational exposure to polycyclic aromatic hydrocarbons; H&W Can.;
       $29,500; 1988-89.
 24.   Evaluation of cancer risk and occupational exposure to benzene, toluene and xylene; H&W Can, $40,000;
       1988-89.
 25.   Health risks due to chrysotile asbestos in the non-occupational environment: a workshop to evaluate a
       research protocol; H&W Can, $20,000; 1988-89.
 26.   A population-based, case-control study of occupational exposure to sulphuric acid and the development
       of laryngeal cancer: an augmented secondary data analysis; NHRDP; $11,120*; 1988-89; (P.I. Dr. C.
       Soskolne).
 27.   Mortality due to asbestos in the general environment of the Quebec mining areas; H&W Can.; $130,000;
       1989-90.
 28.   A case-control approach to discovering occupational carcinogens: an analysis of data; NHRDP; $55,508;
       1989-90.
 29.   Continued analysis of a large case control study of many types of cancer: occupational and non-
       occupational risk factors; NHRDP; $463,827 1988-1992
 30.   Risk of cancer due to cigarette smoking - results of a multi-site case-control study; H&W Can.; $30,000;
       1989-90.
 31.   Étude sur la validité de matrice emploi-expositions multisectorielles; IRSST; $18,207*; 1990-1992; (P.I.
       Dr. M. Gérin).
 32.   Équipe en épidémiologie environnementale (Team grant in environmental epidemiology) ; Fonds de
       recherche en santé du Québec; $526,297; 1990-1994.
 33.   Leukemia in children due to parental occupational exposures; NHRDP; $108,000*; 1990-1994; (P.I. Dr
       Claire Infante-Rivard).
 34.   Risk of cancer due to exposure to chlorinated solvents - results of a multi-site case-control study; H & W
       Can.; $30,000; 1991-92.
 35.   Non-occupational exposure to Quebec chrysotile asbestos and risk of cancer retrospective assessment of
       exposure; H & W Can.; $60,000; 1991-92.
 36.   Feasibility of epidemiologic methods to investigate health outcomes near waste sites; H & W Canada;
       $33,000; 1991-92
 37.   A pilot study to evaluate the prevalence of hip arthritis in the Montréal urban setting, and an evaluation of
       methods of recruitment of a population aged 65+; Montréal General Hospital Clinical Epidemiology;
       $15,000*; 1991-92; (P.I. Dr. J. Esdaile).
 38.   Non-occupational exposure to Quebec chrysotile asbestos and risk of cancer; mesothelioma
       ascertainment; NHRDP; $164,000; 1991-95.
 39.   Multivariate Regression Analyses of Occupational Risk Factors for Several Types of Cancers; NHRDP;
       $128,827; 1992-96.
 40.   Development of a Job-Exposure Matrix for Use in Epidemiologic Case-Control Studies of Occupational
       Risk Factors; NHRDP; $85,003; 1992-95.
 41.   A prospective epidemiological study of gastrointestinal health effects due to consumption of drinking
       water. E.P.A. (US)/ NHRDP/ Nat. Water Res. Inst.; $300,000*; 1993-95. (P.I.: Dr. P. Payment)
 42.   A population-based, case-control study of occupational exposure to acidifying agents and the
       development of lung cancer: an augmented, secondary data analysis. NHRDP; $72,220*; 1993-1995. (P.I.
       Dr. C. Soskolne).
 43.   Scholar award; NHRDP-Health Canada; $126,990; 1993-95.
 44.   Équipe en épidemiologie environnementale (Team grant in environmental epidemiology) ; Fonds de
       recherche en santé du Québec; $242,652; 1994-1998.
 45.   Examen pathologique de cas présumés de mésothéliome recensés chez des femmes depuis 1970 dans des
       hôpitaux du québec. Health and Welfare Canada. $30,000. 1994.

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 Curriculum Vitae                                                                                Jack Siemiatycki

 46.   Cohort Study of a Ten Percent Sample of the Canadian Labour Force. NHRDP; $12,000*; 1994-97. (P.I.
       Dr. K. Aronson)
 47.   A health survey of persons living near the Miron Quarry Sanitary Landfill site, Montréal: a pilot study.
       NHRDP; $88,931 ; 1994-95. (P.I. Dr. M. Goldberg)
 48.   Occurrence of pathogenic microorganisms in water from St Laurent hydrological basin. FRSQ/ NHRDP
       & St Laurent Vision 2000; 1995-97. (P.I. P Payment)
 49.   Case-control study of lung cancer and environmental tobacco smoke; Health Canada; $544,344; 1995-
       1997.
 50.   Case-control study of lung cancer and occupational exposures: NHRDP; $840,000.;
       1995–1998.
 51.   Occupational exposure to solvents and risk of breast cancer; National Cancer Institute of Canada;
       $300,000*; 1995-1997. (P.I.: M Goldberg).
 52.   Scholar Award; NHRDP-Health Canada; $263,329, 1995-1998.
 53.   Reanalysis of US data relating general mortality to air pollution; Health Effects Institute; 1998-2000 (P.I.
       D Krewski)
 54.   A case-control study of occupational risk factors for lung cancer; Medical Research Council of Canada;
       $554,757, 1998-2001
 55.   Évaluation du risque de cancer du poumon et de mésothéliome associé à l’exposition à l’amiante chez les
       travailleurs de la région montréalaise; Ministère de la Santé et des Services sociaux; $12,000. 1998.
 56.   Feasibility of a case-control study of the association between cell phone use and brain, salivary gland
       cancer and acoustic neurinoma. International Agency for Research on Cancer; $12,000, 1998.
 57.   Inorganic particulate retained dose markers in lung cancer and mesothelioma. CIHR (P.I. Bruce Case)
       $66,096. 1999-2003
 58.   Distinguished Scientist Award, Medical Research Council of Canada; $330,000; 1999-2004.
 59.   Évaluation du risque de mésothéliome associé à l’exposition à l’amiante chez les femmes de la
       région minière; Ministère de la Santé et des Services sociaux; $27,500. 1999-2000.
 60.   Program of research in environmental epidemiology of cancer (a national program to enhance capacity to
       conduct research) PREECAN; National Cancer Inst of Canada; $1,000,000; 2000-2004.
 61.   Designing a national research agenda in environmental epidemiology of cancer. Medical Research
       Council of Canada Opportunities Program; $40,000; 2000-2001.
 62.   Multi-centric case-control study of cell phone use and cancer risk in Montréal. CIHR; $500,000; 2000-
       2004.
 63.   Trainee award for: Bernard Rachet, Post-doctoral fellow. PREECAN – NCIC; $46,750; 2001-2003.
 64.   Cardiogene: a consortium to explore the gene-environment paradigm of major cardiovascular disorders in
       human and animal models. Canadian Institutes of Health Research, (P.I. P. Hamet) $2,632,272; 2001-
       2007.
 65.   Canada Research Chair in Environmental Epidemiology. Federal CRC program. $1,400,000; 2001-2008.
 66.   Installation of CRC. Canadian Foundation for Innovation. $312,000; 2002-2004.
 67.   Occupational and lifestyle factors in the etiology of prostate cancer, and establishing a platform for
       studying susceptibility biomarkers (Part 1). Canadian Cancer Society, Prostate Cancer Research Initiative,
       National Cancer Institute of Canada, (P.I. M-É Parent) $947,360; 2002-2007.
 68.   Center for research on environmental etiology of cancer. For the application process. Centre Hospitalier
       de l’Université de Montréal (CHUM); $7,000; 2002-2003.
 69.   Traffic-related air pollution and socioeconomic gradients in the incidence of cancer. CIHR, (P.I. M
       Goldberg) $497,000; 2004-2007.
 70.   Development and validation of new statistical methods for modeling intermediate events in survival
       analysis. CIHR, (P.I. M Abrahamowicz) $68,250; 2004-2005.
 71.   New survival analytic methods for time-dependent exposures in case-control studies, with applications to
       cancer. CIHR (P.I. K Leffondré) $52,791; 2004-2007.
 72.   Trainee award for: Venkata Ramana Kumar, Post-doctoral fellow. PREECAN – NCIC; $66,000; 2004-
       2007.

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 Curriculum Vitae                                                                               Jack Siemiatycki

 73.   Environmental Cancer Research Team. Development grant for the preparation of the full team grant
       application. CIHR (P.I. J. Siemiatycki) $9,500; 2005-2006.
 74.   Trainee award for: Franco Momoli, PhD student. PREECAN – NCIC; $25,600; 2005-2006.
 75.   Occupational and selected non-occupational risk factors for lung cancer: Analysis of a case-control study
       in Montréal. CIHR (co-P.I.’s: J Siemiatycki & M-É Parent) $1,920,447; 1999.2011.
 76.   Development and evaluation of a cost-effective approach for retrospective assessment of occupational
       exposures in population-based studies (pilot study). Canadian Cancer Etiology Research Network - NCIC
       (P.I. M-É Parent) $35,000; 2006-2007.
 77.   Trainee award for: Aihua Liu, PhD student. PREECAN – NCIC; $12,600; 2006-2007.
 78.   Prostate cancer and occupational whole body vibration. Ontario Workplace Insurance Board: Research
       Advisory Council; Solutions for Workplace Change (P.I. J Purdham); $140,480; 2006-2008.
 79.   Guzzo-SRC Chair in Environment and Cancer. Cancer Research Society, $1,285,000; 2007-2020.
 80.   INTEROCC: Occupational exposures and brain cancer. NIH (P.I. E Cardis: To support the analysis of the
       occupational component of an international case-control study involving 13 countries and coordinated at
       the International Agency for Research on Cancer of the WHO [France]); $1,626,757 US; 2008-2010.
 81.   Development and validation of a lung cancer risk prediction model. NCIC (P.I. I Karp); $102,099; 2008-
       2010.
 82.   Occupational and lifestyle factors in the etiology of prostate cancer, and establishing a platform for
       studying susceptibility biomarkers (Part 2). NCIC (P.I.: M-É Parent); $756,000; 2008-2011.
 83.   Preparation and development of an epidemiological study of modifiable and genetic factors associated
       with ovarian cancer risk (pilot project). Ovarian Cancer Canada (P.I.: A Koushik); $28,330; 2008-2009.
 84.   SYNERGY - Pooled analysis of case-control studies on the joint effects of occupational carcinogens in
       the development of lung cancer: Montréal component. German Statutory Accident Insurance (DGUV)
       (P.I.: A Koushik); $119,177; 2008-2010.
 85.   The risk of lung cancer related to occupational and recreation physical activity and to dietary intake of
       flavonoids. Canadian Cancer Research Society. (P.I.: A Koushik); $208,317; 2009-2012.
 86.   A case-control study of modifiable and genetic factors associated with the risk of ovarian cancer.
       Canadian Cancer Society Research Institute (P.I: A Koushik); $498,997; 2010- 2013.
 87.   Occupational and selected nonoccupational risk factors for lung cancer: analysis of a case-control study in
       Montréal. CIHR (P.I: J Siemiatycki, M-É Parent); $850,620; 2011-2015.
 88.   Quebec Research Program for Prostate Cancer Prevention. Cancer Research Society (P.I.: M-É. Parent, P
       Karakiewics) $4,728,203; 2011-2015.
 89.   Extreme weather and maternal-child health: targeting future impacts of climate change. CIHR. (P.I.: N
       Auger) $85,333; 2015-2019.
 90.   Development of an instrument for assessing occupational exposures in cancer case-control studies and its
       application to cancers of lung, brain, ovary. Cancer Research Society- Programme GRePEC (Groupe de
       recherche et de prévention en environnement-cancer). (P.I.: J Siemiatycki, M Pollak) $2,510,890; 2011-
       2018.
 91.   Occupational physical activity and lung cancer. (P.I.: V Ho, A Koushik).CIHR. $75,000. 2017-2018.
 92.   Analyses of existing Canadian cohorts and databases related to occupational physical activity and lung
       cancer risk. CIHR. (P.I.: V Ho, A Koushik) $74,989; 2017-2018.
 93.   The role of lifestyle factors in ovarian cancer prognosis. Department of Defence – Ovarian Cancer
       Research Program. (P.I.: A Koushik) $216,458 USD (est. $293, 000 CAD); 2015-2017. Extended August
       2018.
 94.   Occupational Exposure to Endocrine Disrupting Chemicals and Colorectal Cancer risk. CIHR (P.I.: V
       Ho, J Siemiatycki) $252,450; 2018-2021.
 95.   Occupational exposures of women: improvement of an existing job exposure matrix to provide gender-
       specific estimations of exposure. IRSST. (P.I.: V Ho) $491,484; 2018-2021.




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                         Exhibit 31
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                                         Perineal use of talc and risk of ovarian cancer
                                         H Langseth,1 S E Hankinson,2 J Siemiatycki,3 E Weiderpass1,4,5
     1
       The Cancer Registry of            ABSTRACT                                                    null (10 studies), with odds ratios (ORs) ranging
     Norway, Institute of population-    Ovarian cancer is one of the most common gynaecological     from 1.0 to 3.9. None of the studies reported
     based Cancer Research, Oslo,
                                         neoplasms, especially in industrialised countries. The      relative risks below 1.0. The population-based case-
     Norway; 2 Channing Laboratory,
     Department of Medicine,             aetiology of the disease is not well understood, except     control studies,11 15–17 20–26 28–30 included studies with
     Brigham and Women’s Hospital        that inherited mutations in the breast cancer genes BRCA-   112–824 ovarian cancer cases, and had odds ratios
     and Harvard Medical School,         1 and BRCA-2 account for up to 10% of all cases,1 and       ranging from 1.1 to 3.9 (fig 1). The hospital-based
     Boston, MA, USA; 3 Department                                                                   case control studies12–14 18 19 27 included studies with
                                         child-bearing, oral contraceptive use and breast-feeding
     of Social and Preventive
     Medicine, University of             reduce the risk.2 Some environmental exposures, notably     77–462 cases, and reported odds ratios between 1.0
     Montreal, Montreal, Canada;         talc and asbestos, have been suspected as ovarian           and 2.5. Pooled odds ratios were calculated by fixed
     4
       Department of Medical             carcinogens.                                                effects model. As shown in figure 1 pooled ORs
     Epidemiology and Biostatistics,                                                                 were 1.40, 1.12 and 1.35 for population-based,
     Karolinska Institutet, Stockholm,
     Sweden; 5 Samfundet                                                                             hospital-based and all case control studies com-
     Folkhälsan, Helsinki, Finland      Talc refers to both mineral talc and industrial             bined, respectively. Some studies13 14 22 23 26 28 tried
                                         products that contain mineral talc. Mineral talc            to assess exposure-response associations, in terms
     Correspondence to:                  occurs naturally in many regions of the world and           of frequency of use or length of use in years but
     E Weiderpass, The Cancer
     Registry of Norway, 0310 Oslo,      is valued for its softness, platyness, and ability to       found no clear trend.
     Norway; eliwei@ki.se                absorb organic matter. Mineral talc occurs natu-               Methodological factors such as recall bias should
                                         rally in a platy (flat) form, but may also occur as         always be considered in case-control studies. It
     Accepted 15 October 2007            asbestiform fibres, which describes its physical            could have been a problem had there been wide-
                                         form and does not imply the presence of asbestos.           spread publicity about the possible association
                                         The purer forms (approximately 90% mineral talc)            between use of body powder and cancer. The
                                         are used for cosmetic and hygiene products                  International Agency for Research on Cancer
                                         including baby powders and feminine hygiene                 (IARC) working group considers that there has
                                         products. Perineal use of cosmetic talc is a common         not been widespread public concern about this
                                         practice in the United Kingdom, North America,              issue and therefore considers it unlikely that such a
                                         Australia and some other countries. To our knowl-           bias could explain the consistent findings. Another
                                         edge accurate estimates of prevalence of use of             source of recall bias could result from the fact that
                                         cosmetic talc are not available. However, the use           women with the cancer tend to remember or over-
                                         for female hygiene of body powders, baby pow-               report their use of body powder. The influence of
                                         ders, talcum powders and deodorising powder,                this type of recall bias cannot be ruled out.
                                         most of which contain cosmetic talc in varying                 Eight of the population-based case-control stu-
                                         amounts, has been reported to be as high as 50% in          dies11 16 22–24 26 28 29 were identified, by the IARC
                                         some countries.3                                            working group as being most informative in terms
                                            From pathological studies it is known that               of size of the studies, whether the studies were
                                         particles and fibres that enter the body can migrate        population-based, participation rates and adjust-
                                         to distant organs. For instance, asbestos fibres have       ments of confounding variables. The selected studies
                                         been found in ovaries from women exposed to                 included at least 188 cases and had participation
                                         asbestos.4 5 Analogously, following perineal appli-         rates ranging from 60% to 75%. Among these eight
                                         cation, talc particles can migrate from the vagina to       studies, the prevalence of perineal use of talc-based
                                         the peritoneal cavity and ovaries.6 A majority of           body powder among controls ranged from 16% to
                                         women experience retrograde menstruation7; this             52%. The relative risks of ovarian cancer among
                                         suggests a mechanism by which talc particles can            body powder users were homogeneous across this
                                         travel through the female reproductive tract to the         set of eight studies, each of which indicated a 30–
                                         ovaries. Furthermore, epidemiological studies have          60% increase in risk. Among the other 12 case-
                                         shown decreased risks of ovarian cancer after tubal         control studies, most also reported relative risks of
                                         ligation and/or hysterectomy, suggesting that               this magnitude or higher.
                                         removing a pathway by which carcinogenic sub-                  Information on talc use in infancy is generally
                                         stances can reach the ovaries reduces the risk.8 9          insufficient in the case-control studies. However, in
                                            The association between talc use in the perineal         one study the exposure to baby powder was
                                         region and ovarian cancer was investigated in one           reported by 42.2% of the cases and 40.5% of the
                                         cohort study,10 and 20 case-control studies.11–30 In        controls.15 In several of the other studies patients
                                         the cohort study, arguably the strongest study              were asked about age at first use of perineal talc, as
                                         because of its partly prospective ascertainment of          an indicator for use in infancy or other periods of life.
                                         exposure, there was no association between                     Only four case-control studies16 23 29 30 and one
                                         cosmetic talc use and risk of all subtypes of ovarian       cohort study10 provided results by histological type.
                                         cancer combined. The various case-control studies           In four of these studies, in particular the cohort
                                         provided indications of either a significant excess         study, there were hints of higher risks of serous
                                         risk (10 studies) or non-significant excess risk or         tumours related to talc exposure.

     358                                                                                  J Epidemiol Community Health 2008;62:358–360. doi:10.1136/jech.2006.047894
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     Figure 1 Results from case-control studies contributing data on perineal talc use and ovarian cancer. Results are presented as odds ratios (ORs) and
     their corresponding confidence intervals (95% CIs) and represented by squares and lines, respectively. Results are separated in 14 population-based
     and six hospital-based case-control studies. Pooled ORs for all population-based studies combined and all hospital-based studies combined are given.
     OR pooling by fixed effect models (Mantel-Haenszel method).


        Before 1976, talc was to some extent contaminated with                    limited evidence for the carcinogenicity of perineal use of talc-
     asbestos, so that the early studies relating talc to ovarian cancer          based body powder, and classified this use as possibly
     may have been confounded by the asbestos.31 However, the                     carcinogenic to human beings (that is, group 2B).34
     association between talc exposure and ovarian cancer is as
     strong in recent studies,28 29 as in earlier ones, diminishing the
                                                                                  PROPOSAL: TO RESEARCH COMMUNITY
     likelihood that all these results are influenced by contamination            The current body of experimental and epidemiological evidence
     of talc by asbestos.                                                         is insufficient to establish a causal association between perineal
        To summarise the evidence in favour of an association, a very             use of talc and ovarian cancer risk. Experimental research is
     large number of studies have found that women who used talc                  needed to better characterise deposition, retention and clearance
     experienced excess risks of ovarian cancer; some results were                of talc to evaluate the ovarian carcinogenicity of talc.
     statistically significant and some were not. There was some                     The majority of the epidemiological studies carried out so far
     indication in the cohort study of an increase in serous tumours.             have been among American women. It would be instructive to
     The evidence of talc migrating to the ovaries lends credibility to           seek evidence in other countries where perineal use of talc has
     such a possible association. The main epidemiological evidence               been common.
     against the association is the absence of clear exposure-response               While there has been some efforts to measure the degree of
     associations in most studies, as well as the absence of an overall           use, these have mainly been measured simply as the reported
     excess risk in the cohort study.                                             years of use. It is possible that the ostensible lack of exposure
        On balance, the epidemiological evidence suggests that use of             response trends is the result of crudeness of the exposure metric
     cosmetic talc in the perineal area may be associated with                    used. Therefore, it is important that future studies, irrespective
     ovarian cancer risk. The mechanism of carcinogenicity may be                 of study design, devote some effort to better assessment of
     related to inflammation.32                                                   exposure. The use of body powders should be assessed both in
        The carcinogenicity of non-asbestiform talc was assessed by a             terms of calendar time and age of the subject. Subjects should be
     monograph working group at IARC in 2006.33 After considering                 asked about lifetime use, including age at initial use (infancy,
     biases and possible confounding factors, the IARC working                    childhood, teenager years, adulthood), age at which they
     group concluded that the epidemiological studies provided                    stopped using such powders, gaps in the lifetime period of use

     J Epidemiol Community Health 2008;62:358–360. doi:10.1136/jech.2006.047894                                                                      359
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                                                                                                3.    International Agency for Research on Cancer. IARC monographs on the
      What this study adds                                                                            evaluation of carcinogenic risks to human, Vol 93, Carbon black, titanium dioxide, and
                                                                                                      non-asbestiform talc. Geneva: WHO (in press).
                                                                                                4.    Heller DS, Gordon RE, Westhoff C, et al. Asbestos exposure and ovarian fiber
      c Epidemiological evidence suggests that use of cosmetic talc in                                burden. Am J Ind Med 1996;29:435–9.
        the perineal area may be associated with ovarian cancer risk.                           5.    Langseth H, Johansen BV, Nesland JM, et al. Asbestos fibers in ovarian tissue from
                                                                                                      Norwegian pulp and paper workers. Int J Gynecol Cancer 2007;17:44–9.
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     some contamination by asbestos and also whether the exposure                                     risk. Obstet Gynecol 1992;80:19–26.
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     Competing interests: None.                                                                       mucinous epithelial ovarian tumors. Obstet Gynecol 2007;109:647–54.
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           and future perspectives. J Mol Med 2006;84:16–28.                                   33.    International Agency for Research on Cancer. Preamble to the IARC
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           evidence and hypotheses from epidemiological findings. J Steroid Biochem Mol Biol   34.    Baan R, Straif K, Grosse Y, et al. Carcinogenicity of carbon black, titanium dioxide,
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                         Exhibit 32
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                              Jack Siemiatycki, Ph.D.

                                                                         Page 1
                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


               -----------------------------x
               IN RE JOHNSON & JOHNSON               ) MDL No.
               TALCUM POWDER PRODUCTS                ) 16-2738 (FLW)(LHG)
               MARKETING SALES PRACTICES,            )
               AND PRODUCTS LIABILITY                )
               LITIGATION                            )
                                                     )
               THIS DOCUMENT RELATES TO              )
               ALL CASES                             )
               -----------------------------x




                               VIDEOTAPED DEPOSITION OF

                                JACK SIEMIATYCKI, Ph.D.

                                    MONTREAL, CANADA

                              THURSDAY, JANUARY 31, 2019

                                        9:49 A.M.




               Reported by: Leslie A. Todd


                 Golkow Litigation Services - 1.877.370.DEPS
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                                          Jack Siemiatycki, Ph.D.
                                                       Page 2                                              Page 4
        1     Deposition of JACK SIEMIATYCKI, Ph.D., held at     1   APPEARANCES (Continued):
        2   the offices of:                                      2
        3                                                        3     RICHARD GOLOMB, ESQUIRE
        4                                                        4     GOLOMB & HONIK, LLP
        5         CHUM Research Center                           5     1835 Market Street
        6         Montreal, Canada                               6     Suite 2900
        7                                                        7     Philadelphia, Pennsylvania 19103
        8                                                        8     (215) 278-4449
        9                                                        9     rgolomb@golombhonik.com
       10                                                       10   ON BEHALF OF THE JOHNSON & JOHNSON DEFENDANTS:
       11                                                       11     KIMBERLY OLVEY BRANSCOME, ESQUIRE
       12     Pursuant to notice, before Leslie Anne Todd,      12     KIRKLAND & ELLIS LLP
       13   Court Reporter and Notary Public in and for the     13     333 South Hope Street
       14   District of Columbia, who officiated in             14     Los Angeles, California 90071
       15   administering the oath to the witness.              15     (213) 680-8370
       16                                                       16     kimberly.branscome@kirkland.com
       17                                                       17     JESSICA BRENNAN, ESQUIRE
       18                                                       18     DRINKER BIDDLE & REATH LLP
       19                                                       19     600 Campus Drive
       20                                                       20     Florham Park, New Jersey 07932
       21                                                       21     (973) 540-1000
       22                                                       22     jessica.brennan@dbr.com
       23                                                       23
       24                                                       24
       25                                                       25

                                                       Page 3                                              Page 5
        1              APPEARANCES                               1   APPEARANCES (Continued):
        2                                                        2
        3   ON BEHALF OF THE PLAINTIFFS:                         3   ON BEHALF OF THE PCPC:
        4     CHRISTOPHER V. TISI, ESQUIRE                       4     RENEE APPEL, ESQUIRE (Telephonically)
        5     LEVIN PAPANTONIO, LLP                              5     SEYFARTH SHAW LLP
        6     316 South Baylen Street                            6     975 F Street, N.W.
        7     Pensacola, Florida 32502                           7     Washington, DC 20004
        8     (850) 435-7184                                     8     (202) 828-5371
        9     ctisi@levinlaw.com                                 9     rappel@seyfarth.com
       10     MICHELLE A. PARFITT, ESQUIRE                      10   ON BEHALF OF THE IMERYS DEFENDANTS:
       11     ASHCRAFT & GEREL, LLP                             11     MICHAEL R. KLATT, ESQUIRE
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       13     Alexandria, Virginia 22311                        13     816 Congress Avenue, Suite 1510
       14     (703) 997-1774                                    14     Austin, Texas 78701
       15     MParfitt@ashcraftlaw.com                          15     (512) 391-0183
       16     ALASTAIR J.M. FINDEIS, ESQUIRE                    16     mklatt@grsm.com
       17     NAPOLI SHKOLNIK, PLLC                             17   ON BEHALF OF PTI:
       18     360 Lexington Avenue                              18     CAROLINE M. TINSLEY, ESQUIRE (for PTI)
       19     11th Floor                                        19     TUCKER ELLIS, LLP
       20     New York, New York 10017                          20     100 South 4th Street, Suite 600
       21     (212) 397-1000                                    21     St. Louis, Missouri 63102
       22                                                       22     (314) 571-4965
       23                                                       23     caroline.tinsley@tuckerellis.com
       24                                                       24   ALSO PRESENT:
       25                                                       25     FABIO DEFELICE (Videographer)

                                                                                            2 (Pages 2 to 5)
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                                             Jack Siemiatycki, Ph.D.
                                                             Page 6                                                  Page 8
         1             CONTENTS                                        1         E X H I B I T S (Continued)
         2   EXAMINATION OF JACK SIEMIATYCKI, Ph.D.            PAGE    2          (Attached to transcript)
         3     By Ms. Branscome          9, 322                        3   SIEMIATYCKI DEPOSITION EXHIBITS             PAGE
         4     By Mr. Klatt         274, 336                           4   No. 16 Excerpt from the book entitled
         5     By Ms. Parfitt          290                             5        Risk Factors For Cancer in the
         6                                                             6        Workplace by Dr. Jack Siemiatycki
         7            EXHIBITS                                         7        (Not attached)              309
         8          (Attached to transcript)                           8   No. 17 Article entitled "Degree of
         9   SIEMIATYCKI DEPOSITION EXHIBITS                 PAGE      9        Confounding Bias Related to
        10   No. 1 Notice of Oral and Videotaped                      10        Smoking, Ethnic Group, and
        11        Deposition of Jack Siemiatycki                      11        Socioeconomic Status in Estimates
        12        and Duces Tecum (not attached)     15               12        of the Associations Between
        13   No. 2 Plaintiffs' Steering Committee's                   13        Occupation and Cancer," Journal of
        14        Response and Objections to the                      14        Occupation Medicine/Volume 30
        15        Notice of Oral and Videotaped                       15        No. 8/August 1988              317
        16        Deposition of Jack Siemiatycki                      16
        17        and Duces Tecum                16                   17
        18   No. 3 Addendum to Expert Report of                       18
        19        Jack Siemiatycki, MSc, PhD, on                      19
        20        Talcum Powder Use and Ovarian                       20
        21        Cancer                     17                       21
        22   No. 4 Binder containing various studies 43               22
        23   No. 5 Binder containing original                         23
        24        epidemiological studies         46                  24
        25   No. 6 Binder containing meta-analyses    46              25

                                                             Page 7                                                  Page 9
         1         E X H I B I T S (Continued)                         1             PROCEEDINGS
         2          (Attached to transcript)                           2             -------------------
         3   SIEMIATYCKI DEPOSITION EXHIBITS                   PAGE    3          THE VIDEOGRAPHER: Good morning. We're
         4   No. 7 JS EpiTech Inc. bill for                            4   now on the record. My name is Fabio DeFelice.
         5        Professional Services, August 9 -                    5   I'm the videographer for Golkow Litigation
         6        November 16, 2018                  46                6   Services. Today's date is January 31st of 2019.
         7   No. 8 JS EpiTech Inc. bill for                            7   The time is 9:49 a.m.
         8        Professional Services, July 1 -                      8          This video deposition is being held at
         9        August 2, 2018                  48                   9   the CHUM Research Center in Montreal, Canada, in
        10   No. 9 Report of Jack Siemiatycki dated                   10   the matter In Re: Johnson & Johnson Talcum Powder
        11        October 4th, 2016 (not attached) 58                 11   Products in the United States District Court for
        12   No. 10 Expert Report of Jack Siemiatycki                 12   the Eastern District of New Jersey. The case
        13        Msc, PhDn Talcum Powder Use and                     13   number is 16-2738.
        14        Ovarian Cancer (not attached)         61            14          The deponent is Jack Siemiatycki, Ph.D.
        15   No. 11 Expert Report of Jack Siemiatycki                 15          The counsel will be noted on the
        16        MSc, PhD on Talcum Powder Use and                   16   stenographic record. The court reporter is Leslie
        17        Ovarian Cancer (with handwritten                    17   Todd, and will now swear in the witness.
        18        notations)                 110                      18            JACK SIEMIATYCKI, Ph.D.,
        19   No. 12 Berge 2012 report (not attached) 194              19        and having been first duly sworn,
        20   No. 13 Schildkraut report (not attached) 214             20       was examined and testified as follows:
        21   No. 14 Anita Koushik information from                    21             DIRECT EXAMINATION
        22        Environepi website               278                22   BY MS. BRANSCOME:
        23   No. 15 Pages from Environepi website                     23       Q Good morning, Dr. Siemiatycki.
        24        discussing Group Research Topics 285                24       A Good morning. Nice to meet you.
        25                                                            25       Q We met just before the deposition

                                                                                                3 (Pages 6 to 9)
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                                       Jack Siemiatycki, Ph.D.
                                                  Page 10                                                   Page 12
        1   started, but my name is Kimberly Branscome, and I    1   anyone else present at those meetings?
        2   am here to ask you questions today on behalf of      2        A No.
        3   Johnson & Johnson.                                   3        Q You didn't have anyone from your team,
        4           Is that all right?                           4   for example, present?
        5        A Thank you. Yes.                               5        A No.
        6        Q All right. We are taking your                 6           MS. PARFITT: Objection. Form.
        7   deposition today in the case of In Re: Johnson &     7   BY MS. BRANSCOME:
        8   Johnson Talc Litigation, MDL.                        8        Q What did you do to prepare for your
        9           Is it your understanding that you have       9   deposition today?
       10   been designated as a testifying expert in that      10        A Do you mean from the beginning of my
       11   case?                                               11   involvement in the MDL case back last summer or do
       12        A Yes.                                         12   you mean just in the last few days?
       13        Q When were you first contacted about          13        Q Let's take it more broadly.
       14   serving as an expert witness in the MDL             14           What have you done to develop your
       15   litigation?                                         15   opinions in this case, and then specifically to
       16        A I believe it was in the spring or summer     16   prepare for your deposition?
       17   of 2018, but I'm not positive about that.           17        A I reviewed -- I rereviewed the
       18        Q Who contacted you?                           18   literature about talc and ovarian cancer,
       19        A Ms. Parfitt.                                 19   scientific literature. I evaluated it, I wrote a
       20        Q Have you communicated with any other         20   report about it. And in the last few days, I went
       21   lawyers regarding your work on the talc MDL?        21   over all of the -- not all, but a lot of the
       22        A I've had a couple of meetings with           22   material that I had gone through initially and
       23   Ms. Parfitt and her colleagues that she works       23   just clarified for myself, looked for any issues
       24   with.                                               24   that I had missed the first time around, things
       25        Q Can you identify the individuals with        25   like that.
                                                  Page 11                                                   Page 13
        1   whom you have met in addition to Ms. Parfitt?        1       Q As part of your review of materials in
        2       A Yes, there are two, and they are here          2   preparation for today, did you identify anything
        3   present. Chris Tisi and Alastair --                  3   in your review that changed the opinions that you
        4          MR. FINDEIS: Findeis.                         4   have offered in the expert report in the MDL?
        5          THE WITNESS: Say that again.                  5       A No. Those opinions remain valid.
        6          MS. PARFITT: Findeis.                         6       Q When you say that you rereviewed the
        7          THE WITNESS: And that's -- thank you.         7   scientific literature in preparation for the
        8   BY MS. BRANSCOME:                                    8   development of your opinions in the MDL, what did
        9       Q How many meetings have you had to              9   you mean by "rereviewed"?
       10   prepare for your expert opinions in the MDL?        10       A Well, I had reviewed -- I've reviewed
       11       A One yesterday and one about a month --        11   evidence around talc and ovarian cancer on a few
       12   about three weeks ago.                              12   different occasions. The first time was in 2006
       13       Q Where did those meetings take place?          13   when I was on an international review committee on
       14       A Here.                                         14   the topic. Then in 2015, '16, '17, in preparation
       15       Q And by "here," do you mean in Montreal?       15   for another litigation regarding talc and ovarian
       16       A In Montreal, yes.                             16   cancer. Then in the summer/fall of 2018, in
       17       Q How long did each meeting last?               17   preparation for writing a report that was
       18       A Yesterday's was about four, five hours        18   submitted for this case. And then in the last
       19   maybe. Four or five hours. And the earlier one,     19   week or two, roughly speaking, I went over all of
       20   I guess all told, about ten hours maybe.            20   that. So I refer to that as a rereview.
       21       Q Did the ten-hour meeting take place over      21       Q Have you ever discussed your deposition
       22   one day?                                            22   with any of -- of the other experts designated by
       23       A Over two days.                                23   the plaintiffs in the MDL?
       24       Q In addition to the attorneys that you         24       A No, I haven't.
       25   just identified for the record and yourself, was    25       Q Have you discussed your expert opinions
                                                                                    4 (Pages 10 to 13)
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                                        Jack Siemiatycki, Ph.D.
                                                    Page 14                                                  Page 16
        1   with any of the other experts designated by the       1   your deposition that were submitted by plaintiffs'
        2   plaintiffs in the MDL?                                2   counsel in the MDL. And this one we actually will
        3       A No, I haven't.                                  3   need to mark a copy, because it's not in your
        4       Q Are you aware of the list of experts            4   binder.
        5   that have been designated by the plaintiffs in the    5           (Exhibit No. 2 was marked for
        6   MDL?                                                  6           identification.)
        7       A I'm aware of at least some of them. I'm         7           MS. BRANSCOME: Do you have an extra
        8   not sure if I'm aware of all of them, but I'm         8   copy, Michelle?
        9   aware of some of them.                                9           MS. PARFITT: I do. Not a worry. I got
       10       Q Who specifically are you aware of?             10   it.
       11       A Singh, McTiernan, Laura Plunkett. And          11   BY MS. BRANSCOME:
       12   there are a few more, and I could look it up.        12        Q Dr. Siemiatycki, have you ever seen the
       13       Q I'd like to start by just marking the          13   document that has been marked as Exhibit 2, which
       14   deposition notice for your deposition as             14   is the plaintiffs' general objections to your
       15   Exhibit 1.                                           15   deposition notice?
       16           Dr. Siemiatycki, you will see two large      16        A I'm not sure.
       17   binders over there in front of you. This will be     17           MS. PARFITT: I will represent for the
       18   tab 1.                                               18   record that's not been provided to
       19           So I'd like --                               19   Dr. Siemiatycki.
       20       A I see it.                                      20   BY MS. BRANSCOME:
       21       Q I'd like to mark for identification            21        Q All right. So if you could,
       22   the document behind tab 1, which is                  22   Dr. Siemiatycki, did you bring any materials with
       23   Dr. Siemiatycki's deposition notice as Exhibit 1     23   you today to the deposition?
       24   to this deposition.                                  24        A Yes, I brought a lot of documents, just
       25           MS. PARFITT: Do you want to give me --       25   in case.
                                                    Page 15                                                  Page 17
        1          Do you want me to just mark them? Will         1       Q Can you identify for me, and we can
        2   that help you, instead of reaching across the         2   start with a general category first, if that's
        3   table? It's up to you. I can put the stickers on      3   helpful, the materials that you brought with you
        4   it.                                                   4   today to your deposition?
        5          (A discussion was held off the record.)        5       A Well, I brought my report. I brought an
        6          (Exhibit No. 1 was marked for                  6   addendum to my report, which I think has been
        7          identification.)                               7   provided to you.
        8   BY MS. BRANSCOME:                                     8          MS. PARFITT: Yes, that was the table.
        9       Q Dr. Siemiatycki, are you familiar with          9          THE WITNESS: It's a long -- it's a set
       10   the document that we have just marked as             10   of --
       11   deposition Exhibit 1?                                11          MS. PARFITT: I have a copy of that if
       12       A I've seen something like this. I'm --          12   you wish to have it marked. Do you want it -- if
       13   not reading through it, I'm not sure if it's         13   you give me a number, I will put it on this one.
       14   exactly the same document that I have seen before,   14   BY MS. BRANSCOME:
       15   but I guess this is kind of the standard format of   15       Q Let's see. Yeah, let's go ahead and
       16   notice that is sent to experts ahead of time. So     16   mark the addendum to your expert report as
       17   I've seen -- I've seen that.                         17   Exhibit 3.
       18       Q Do you understand that what has been           18          (Exhibit No. 3 was marked for
       19   marked as Exhibit 1, which is the notice for your    19          identification.)
       20   deposition, requests that you bring certain          20   BY MS. BRANSCOME:
       21   documents with you to this deposition?               21       Q Dr. Siemiatycki, could you just confirm
       22       A Yes.                                           22   for the record that what we have marked as
       23       Q All right. And just for completeness           23   Exhibit 3 is in fact the complete addendum to your
       24   and at the request of plaintiffs' counsel, I will    24   MDL expert report?
       25   also mark as Exhibit 2 the general objections to     25       A I -- I believe it is. I believe it is.
                                                                                     5 (Pages 14 to 17)
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                                        Jack Siemiatycki, Ph.D.
                                                    Page 18                                                   Page 20
        1       Q What else did you bring with you today?         1   Agency for Research on Cancer, of the meeting held
        2       A I'm not sure if this is the right time          2   in Lyon in 2006. The book was published in 2010,
        3   to mention it, but there were a couple of -- in       3   and it contains an evaluation of talc
        4   the past few days I picked up a couple of typos in    4   carcinogenicity as of 2006.
        5   my report, and I've hand scribbled them on my         5           The next one is a textbook of
        6   copy, and I can tell you about those very quickly,    6   epidemiology that is probably considered the most
        7   but I'm not sure if this is now the right time for    7   respected one in the field at this point, authored
        8   this or later.                                        8   by Rothman, T -- R-O-T-H-M-A-N, Greenland,
        9       Q I will ask you about any corrections            9   G-R-E-E-N-L-A-N-D, and Lash, L-A-S-H.
       10   that you have, but it is good to know that the       10           MR. KLATT: Dr. Siemiatycki, is there a
       11   report you brought with you has some handwriting     11   particular edition or is there --
       12   on it, so we will make sure to mark that copy.       12           THE WITNESS: Oh, yeah. Yeah, this one
       13       A Okay.                                          13   is third edition. Thank you.
       14       Q What else did you bring with you today?        14           The fourth one is kind of a handbook
       15       A I brought -- well, I brought three             15   called Dictionary of Epidemiology, edited by
       16   binders of material that were part of the -- the     16   Porta, P-O-R-T-A, which is kind of a very basic
       17   references to my report.                             17   book of definitions.
       18           MS. PARFITT: And if I may, I provided        18           And the fifth one is called An
       19   counsel in advance of the deposition a thumb drive   19   Introduction to Meta-Analysis. The first author
       20   that contains all of Dr. Siemiatycki's report but    20   is Borenstein, B-O-R-E-N-S-T-E-I-N.
       21   also the references related to that report.          21   BY MS. BRANSCOME:
       22           THE WITNESS: I brought a couple of           22        Q All right. Focusing first on the books
       23   binders -- well, more than a couple. It looks        23   that you brought with you, why did you bring with
       24   like five binders of different documents that I      24   you a book about Risk Factors --
       25   thought might be useful in answering questions       25        A For cancer.
                                                    Page 19                                                   Page 21
        1   that you might ask. So it was -- I was just           1       Q -- for Cancer in the Workplace?
        2   speculating on the types of questions you might       2       A Because it has -- in that book I -- I
        3   ask and brought documents that might help to          3   described my research. I described the research
        4   answer or to support arguments or statements that     4   findings from my projects in this area. I also
        5   I would make. I brought five --                       5   described the process of conducting epidemiologic
        6           MS. PARFITT: You can get --                   6   research and drawing inferences from epidemiologic
        7           THE WITNESS: -- which --                      7   data, and how -- what are the considerations that
        8           MS. PARFITT: -- the texts --                  8   would be used in drawing inferences from
        9           THE WITNESS: The textbooks. I brought         9   epidemiologic data for cancer causation. And I
       10   five books with me, again in the same spirit that    10   thought this might come up during the day.
       11   things might come up that it would be helpful to     11       Q Do the methodological principles that
       12   refer to material in these books. One -- should I    12   you outline in your book, Risk Factors for Cancer
       13   tell you what they are?                              13   in the Workplace, are those still current in your
       14   BY MS. BRANSCOME:                                    14   view today?
       15        Q If you would, please, identify each of        15       A Yes.
       16   the books --                                         16       Q And why specifically did you want to
       17        A Okay.                                         17   have this book available to you during your
       18        Q -- for the record, and we will return to      18   deposition?
       19   the eight binders that you just mentioned.           19       A In case any of the statements that I've
       20        A One is a book called Risk Factors for         20   made in my report about evaluating causation and
       21   Cancer in the Workplace. And it's a book that I      21   how epidemiology is used for evaluating causation
       22   wrote 30 years ago about occupational causes of      22   are challenged. And specifically, I was
       23   cancer.                                              23   anticipating that there may be challenges to the
       24           The other one -- the next one is the         24   fact that my approach to this question might be
       25   monograph of IARC, which is the International        25   new and just sort of concocted in the context of
                                                                                     6 (Pages 18 to 21)
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                                                   Page 22                                                   Page 24
        1   the litigation, and I wanted to show that in my       1       A Yeah.
        2   own sort of intellectual history, these ideas have    2       Q -- in the MDL?
        3   been there forever but certainly for the last 30      3       A I -- yes, I -- I collected as much
        4   years, and that these are commonly held views.        4   information, data from different research studies
        5       Q Are there specific chapters within the          5   as possible. I evaluated those studies. I
        6   book that you brought with you that you would         6   ordered them according to the types of evidence
        7   direct someone to to gain information about the       7   that they provide. I tried to synthesize the
        8   methodology that you applied in the MDL?              8   evidence in particular in the basket of
        9           MS. PARFITT: Objection. Form.                 9   epidemiologic research on the topic. And I
       10           THE WITNESS: I'm sorry. Could you            10   juxtaposed the information from epidemiologic
       11   repeat the question?                                 11   evidence with evidence derived from other domains
       12   BY MS. BRANSCOME:                                    12   which are provided by other experts. And I made a
       13       Q Understanding that what you brought with       13   professional judgment about how all of that fits
       14   you --                                               14   with different ways of understanding the
       15       A Yes.                                           15   relationship between perennial use of talc and the
       16       Q -- is a complete book --                       16   risk of ovarian cancer.
       17       A Yes.                                           17       Q Is the methodology that you just
       18       Q -- are there specific chapters that you        18   described that you used in forming your opinions
       19   contend contain an explanation of the methodology    19   in the MDL described in the textbook that you
       20   that is similar to what you have applied in your     20   brought with you about risk factors in the
       21   analysis in the MDL?                                 21   workplace?
       22           MS. PARFITT: Objection. Form, broad.         22       A It is implicit. It is implicit in the
       23           THE WITNESS: So I would say there are        23   work of epidemiologists, and it's implicit in the
       24   two chapters that have relevance to the issue at     24   way we synthesize information. So, in
       25   hand. The last chapter contains a discussion of      25   epidemiologic practice, the role of -- there's no
                                                   Page 23                                                   Page 25
        1   causality and how to use epidemiology in the          1   cookbook recipe in how you start the day and
        2   process of determining causality.                     2   finish the day. You collect data. You use your
        3          The first -- the second chapter contains       3   best judgment about how to synthesize and
        4   information -- excuse me, I think it's the second     4   integrate it. And I guess it comes under the
        5   chapter -- contains information about different       5   rubric of weight of evidence. You look at all of
        6   epidemiologic research designs, and it's a            6   the evidence, and you (weigh it according to your
        7   discussion of case-controlled studies, cohort         7   professional judgment.
        8   studies, and other types of epidemiologic designs     8           And most of the agencies that have any
        9   and their relative advantages and disadvantages.      9   policies or statements about synthesizing
       10   BY MS. BRANSCOME:                                    10   information will talk about collecting
       11       Q Is there a description of the                  11   information, evaluating it, weighing it, and
       12   methodology that you have applied in your analysis   12   making a judgment about it.
       13   in the MDL that is directly described in the book    13        Q If someone were reviewing just your
       14   that you just referenced?                            14   report in the MDL, would they be able to replicate
       15          MS. PARFITT: Objection. Form.                 15   the weight that you gave different pieces of
       16          THE WITNESS: I'm not sure what you mean       16   evidence that you considered?
       17   by "directly," and I'm not sure what you mean by     17        A The synthesis of scientific information
       18   "methodology."                                       18   is not an automated process. It can't be done by
       19   BY MS. BRANSCOME:                                    19   a robot. And in every description of how such
       20       Q Did you apply a specific methodology in        20   evidence is synthesized and integrated, the final
       21   reaching your opinions here in the MDL?              21   step always involves professional judgment, and as
       22       A What do you mean by "a specific                22   it should, because there are too many moving parts
       23   methodology"?                                        23   in all of this to be able to, a priori, set up an
       24       Q Did you -- did you use a methodology in        24   algorithm that allows you to automate and arrive
       25   forming your opinions --                             25   at some score that tells you, yes or no, this
                                                                                     7 (Pages 22 to 25)
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        1   agent is dangerous or not dangerous or something      1   selected, when they were selected, when they were
        2   like that.                                            2   followed up, how -- all of these things may have a
        3           So in line with everything I've done in       3   different score, and you may have a hundred
        4   my career, everything that I've been involved with    4   dimensions to evaluate on each study. And nobody
        5   in international and national agencies, whether       5   has come up with a -- a usable, useful,
        6   it's USNCI or the World Health Organization or        6   replicatable method for integrating all of this.
        7   other agencies, the process depends critically on     7   There have been some attempts and there are some
        8   judgment of the people who are making the             8   scoring systems out there. The fact that there
        9   decisions or who are making the evaluations.          9   are scoring -- that someone has published a
       10        Q Respectfully, Dr. Siemiatycki, that was       10   scoring system, and that even a committee has,
       11   not my question.                                     11   does not mean that it's valid.
       12           My question was, could someone by            12           But I -- my professional opinion, and
       13   reviewing the report that you have provided in the   13   that of I think many other people -- because
       14   MDL replicate your analysis in the sense that they   14   typically studies are not scored in this way.
       15   would understand the weight that you gave to each    15   That's -- when people review evidence. Or if
       16   piece of evidence you considered?                    16   they -- anyway, typically they are not, and my
       17        A I think to a considerable extent I've         17   feeling is that there is no valid way really of
       18   given fairly explicit information in the report on   18   doing it.
       19   all of the components of information that I used     19           But the -- in order to sort of complete
       20   and the relative weight, but -- not in a             20   the answer to I think what's behind your question
       21   quantitative way, but the relative importance that   21   of why I didn't do such a thing in my report with
       22   I attribute to different parts of the evidence       22   all of the studies is that I adopted early on -- I
       23   package.                                             23   made a decision early on to avoid excluding
       24        Q You did not do any type of scoring            24   studies from my analysis based on my opinion about
       25   system, for example, in considering the various      25   the quality of the study. This is a decision that
                                                    Page 27                                                  Page 29
        1   underlying studies that you evaluated. Is that        1   other meta-analyses have also made implicitly. I
        2   fair?                                                 2   don't know if they've made it explicitly, but
        3       A No -- no, I did not, because I don't            3   there are no studies that have -- as far as I
        4   consider that a valid procedure.                      4   know, there are no meta-analyses that have
        5       Q Why is that not a valid procedure?              5   literally excluded studies on the basis of quality
        6       A Because I don't think epidemiologic             6   or -- or done a systematic attempt to do this.
        7   studies can be summarized in single-digit scores.     7           And I made a decision early on that if I
        8   There are too many different aspects of a study,      8   tried to -- if I went down the road of eliminating
        9   and any attempt to do so, I think is flawed and --    9   some studies from my analysis, this would be
       10       Q Why is the attempt to assigning a score,       10   criticized as some form of cherry-picking, and in
       11   single digit or otherwise, a flawed methodology?     11   an attempt to avoid that criticism, I decided I
       12       A Because there are so many -- a study can       12   would include all pieces of evidence,
       13   be good in one dimension, mediocre in a third,       13   notwithstanding my opinion of the overall quality
       14   excellent in a fourth, bad in a fifth, so-so in a    14   of the study.
       15   sixth, and so on.                                    15        Q Okay. Dr. Siemiatycki, that was a very
       16           There are so many dimensions of a study,     16   long answer, but I will try to unpack a few --
       17   and each one of them can be rated. And that's --     17        A Yes.
       18   that is something that I do do. I evaluate           18        Q -- portions of that.
       19   everything from participation rate to the            19           So you would agree that in order for a
       20   population in which the study was carried out, to    20   methodology to be valid, it has to be a process
       21   the way the questions were asked in the              21   that can be replicated?
       22   questionnaire, to the way the information from the   22           MS. PARFITT: Objection. Form.
       23   questionnaire was -- was coded and categorized, to   23           THE WITNESS: What do you mean by
       24   the way the design of the -- whether its case        24   "replicated"? You mean that someone else
       25   controlled or otherwise, how the subjects were       25   following exactly the same steps and the -- making
                                                                                     8 (Pages 26 to 29)
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        1   the same assumptions as the -- the person who did     1   giving to the pieces of evidence that he or she is
        2   the analysis would be able to end up with the same    2   considering in reaching their ultimate conclusion.
        3   statistical estimates at the end? Is that what        3   Is that fair?
        4   you mean? Or do you mean that they would make the     4           MS. PARFITT: Objection. Form.
        5   same judgments?                                       5           THE WITNESS: It depends what you mean
        6   BY MS. BRANSCOME:                                     6   by "weight." If you mean by "weight" a
        7       Q Well, Dr. Siemiatycki, you indicated one        7   quantitative number, then, no, that's not
        8   of the reasons why you don't agree with using a       8   necessary.
        9   quantitative point system was that a methodology      9           If you mean sort of a heuristic,
       10   had not been developed that was, I believe you       10   qualitative understanding of the relative
       11   said, useful, usable and replicable.                 11   importance of different components of evidence,
       12           What did you mean by the word                12   then I would say yes. It's important to know what
       13   "replicable" when you used it in your own answer?    13   played into a -- a reviewer's opinion.
       14       A Did I use the word "replicable" in that        14   BY MS. BRANSCOME:
       15   sentence? Can I -- can I read that? (Peruses         15        Q You also indicated that you do in fact
       16   monitor.)                                            16   rate studies. What did you mean by that?
       17           I'm not sure what I had in mind with the     17        A Sorry. Can we read back where I said
       18   use -- the word -- yes, you can produce a            18   that? I -- (peruses monitor.)
       19   replicable system, but it doesn't mean that it's     19           I haven't found it, but I -- I think I
       20   valid. So useful and usable, yes. I don't think      20   meant it as a synonym for evaluate. I think I
       21   that there is one that would capture, for            21   meant I evaluate different studies.
       22   observational epidemiology, the -- all of the        22        Q Okay. If I could direct your
       23   components that are necessary really to tease out    23   attention --
       24   good and/or bad studies.                             24        A Yes.
       25   BY MS. BRANSCOME:                                    25        Q -- to pages -- page 19, lines 6
                                                    Page 31                                                  Page 33
        1       Q My question to you, though,                     1   through 8.
        2   Dr. Siemiatycki, is that, is it important for a       2        A Of -- 19 of -- of what?
        3   methodology to be replicable?                         3        Q Of the transcript that's --
        4       A It is important -- the most important is        4        A Okay.
        5   for it to be valid. The replicability is an issue     5        Q -- in front of you, which understanding
        6   that involves judgment. Different scientists may      6   is just a rough, but if you want to review your
        7   have different judgments about the value of           7   answer.
        8   different components of evidence. That diversity      8        A Sure. (Peruses document.)
        9   of judgment is not a bad thing, and there's no        9           Yes, here by "rated," I meant evaluated.
       10   benefit to science in forcing everyone to have the   10        Q Did you rank the different pieces of
       11   same judgment within some scoring system.            11   evidence that you considered in forming your
       12            So science progresses from collection of    12   opinion with respect to talc and the risk of
       13   data and from different scientists evaluating the    13   ovarian cancer?
       14   data, and from the same information base different   14        A I -- I've never done that in the
       15   scientists can make different judgments about it,    15   hundreds and hundreds of evaluations I've carried
       16   and in that sense, the final evaluations are not     16   out, nor in this one do I actually put a score on
       17   necessarily replicable because different             17   different components of -- of a study. Yeah.
       18   scientists can make different judgments.             18        Q My question is slightly different,
       19            But they are understandable. You need       19   Dr. Siemiatycki.
       20   the different processes to be sufficiently           20           It's ranking them relative to each
       21   understandable that different readers and so on of   21   other. So whether or not you're assigning a
       22   reports can understand how you came to the           22   specific quantitative number to the study, do you
       23   conclusions.                                         23   evaluate this is, for instance, the most important
       24       Q And so it is important to be able to           24   study and this is the least important study on a
       25   understand what weight a particular scientist is     25   particular topic?
                                                                                     9 (Pages 30 to 33)
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                                                   Page 34                                                    Page 36
        1           MS. PARFITT: Objection. Form.                 1   conclusion.
        2           THE WITNESS: You mean overall or in --        2   BY MS. BRANSCOME:
        3   in each dimension that the -- that a study is         3        Q When I asked you the question of whether
        4   comprised of?                                         4   or not the methodology you applied here in forming
        5   BY MS. BRANSCOME:                                     5   your opinion in the MDL is contained in the book
        6        Q Did you do any type of ranking of that         6   that you wrote about Risk Factors for Cancer in
        7   nature, be it in a subtopic or overall?               7   the Workplace, you said it was implicit.
        8        A Not -- not explicitly, no.                     8            Is that methodology explicitly described
        9        Q You mentioned at the -- at the end of          9   in that textbook or any of the other textbooks you
       10   your answer that you made a decision not to          10   brought with you today?
       11   exclude studies because you would not want to face   11        A I'm not sure that the methodology -- you
       12   the criticism of cherry-picking; is that correct?    12   know, I think it -- the collection of data, the
       13        A Yes, I said that.                             13   evaluation of data, the judgment about the
       14        Q What is your understanding of the             14   collection of data is a part of the scientific
       15   criticism of cherry-picking?                         15   method, and it is so engrained and implicit in
       16        A My understanding is that one would --         16   epidemiology and in other sciences that you don't
       17   one might look at a body of evidence, have a         17   really need to -- and scientists don't write in
       18   preconceived notion about the topic, the             18   their books or in their -- unless they're talking
       19   hypothesis under consideration, and use those        19   to first-year students -- talk about this. It's
       20   studies that support that hypothesis and discard     20   so elementary that those aspects are not really
       21   the other ones in some way.                          21   described. One goes further in describing
       22        Q Is that good science, in your opinion?        22   specific methodologies that would pertain to the
       23        A No, that's not good science.                  23   topic under consideration.
       24        Q Why not?                                      24        Q Are there different ways to perform a
       25        A Because it doesn't produce an objective       25   meta-analysis?
                                                   Page 35                                                    Page 37
        1   portrait of reality.                                  1        A Yes.
        2       Q If a scientist were to selectively              2        Q Okay. Did the method that you chose in
        3   identify studies that were supportive of his or       3   developing your meta-analysis, is that explicitly
        4   her preconceived notion, would you consider that      4   described in any of the materials you either
        5   analysis to be a valid one?                           5   brought here with you today or of which you are
        6           MS. PARFITT: Objection. Form.                 6   aware in the scientific community?
        7           THE WITNESS: Do you mean -- just -- I'm       7        A So it partly depends what you mean by "a
        8   just trying to parse your question. You said if a     8   meta-analysis." And in my lexicon, meta-analysis
        9   scientist were to identify studies that were          9   is a statistical procedure for summarizing a body
       10   supportive, et cetera, but also that were in         10   of -- a set of results from individual studies.
       11   opposition or to exclude ones that are in            11   And that procedure is pretty standard -- has been
       12   opposition?                                          12   pretty standard since the 1980s and 1990s, and
       13   BY MS. BRANSCOME:                                    13   there are some refinements since then.
       14       Q Fair enough.                                   14           Sorry, I may have lost the thread of
       15           So referring back to the scenario that       15   your question.
       16   you have described as cherry- picking --             16        Q If I were to try to look at a piece of
       17       A Yes.                                           17   scientific literature, be it in a book or an
       18       Q -- if a scientist were to engage in            18   article, to find a published description of the
       19   cherry-picking, would you consider the ultimate      19   method that you used to perform your meta-analysis
       20   conclusion that that scientist reached with          20   in the MDL, where would I look?
       21   respect to causation or increased risk of an agent   21        A The meta-analysis was conducted using a
       22   to be a valid one?                                   22   software that is well known, that is commercially
       23       A It should be suspect --                        23   available, and I think everyone would recognize
       24           MS. PARFITT: Objection. Form.                24   the validity of the statistical procedures under
       25           THE WITNESS: It would be a suspect           25   those -- under that.
                                                                                   10 (Pages 34 to 37)
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                                                   Page 38                                                   Page 40
        1           If you're asking about which -- you           1   clarify.
        2   know, there are decisions to be made about which      2           So the three -- the three binders that
        3   studies to include, about which results from          3   you referred to as sort of this first set of
        4   studies to include, and all of that sort of thing,    4   materials, are those all references that are
        5   which is not strictly part of the statistics of       5   identified specifically in your report from the
        6   meta-analysis, it's sort of the step before           6   MDL?
        7   meta-analysis, and that part is utterly unique to     7       A Yes, I believe so. And just to be
        8   each situation.                                       8   clear, when I was sent this material from the
        9           So if you're doing a meta-analysis of         9   lawyers' office, it arrived in four binders. I'm
       10   clinical trials that have all been designed          10   not sure if you received the same four binders. I
       11   basically in an identical way for an                 11   have re- -- I've taken some things out of there,
       12   antihypertensive medication, and whether the study   12   so I have three binders of those things. Just --
       13   is done in Australia or California or Canada, the    13   I don't know if there's confusion just between the
       14   design is pretty standard, and a lot of it can       14   three and four, but...
       15   be -- you can -- and you end up basically with a     15       Q What did you remove from the set of
       16   single result from the study, what is the impact     16   materials that you were provided by plaintiffs'
       17   on blood pressure -- the average impact on blood     17   counsel?
       18   pressure among people who use it who were given      18       A I removed the IARC reports, which I have
       19   the drug, the experimental group versus a            19   in books, so I didn't need to carry around
       20   comparison group, et cetera, that is one type of     20   hundreds and hundreds of pages extra.
       21   preparation for a meta-analysis.                     21           I removed some other -- there was
       22           If you're dealing with observational         22   another report with, you know, thousands of --
       23   epidemiology, as we are in the case of ovarian       23   hundreds or -- at least of pages where I thought
       24   cancer, and some of the particularities of the       24   the relevant material was in -- contained in about
       25   literature in this domain, there are a lot of        25   20 pages. So I kept -- in material that I carry
                                                   Page 39                                                   Page 41
        1   decisions that need to be made in the run-up to       1   around, I kept the 20 pages and put the rest away
        2   the meta-analysis.                                    2   in a box.
        3       Q So in the situation where you are               3       Q Do you remember which document that was?
        4   dealing with observational epidemiology, would it     4       A If you give me a minute, I'll try to
        5   be fair to say that you are applying unique           5   recreate that.
        6   judgment in the selection of the studies that you     6       Q We can check that at the break if you
        7   include in your meta-analysis and, more               7   want --
        8   specifically, what data from those studies you        8       A Yeah. Sure, sure.
        9   include.                                              9       Q -- to identify that document.
       10           MS. PARFITT: Objection. Form.                10           So then you -- you spoke about an
       11           THE WITNESS: Any meta-analysis in this       11   additional five binders --
       12   area would absolutely need to apply professional     12       A Yeah.
       13   judgments to those things.                           13       Q -- that you brought with you that
       14   BY MS. BRANSCOME:                                    14   contain documents that might help you answer
       15       Q Okay.                                          15   questions during the deposition.
       16       A Mine included and every -- everyone            16           Can you describe the contents of those
       17   else's included.                                     17   five binders. I'm trying to avoid marking all of
       18       Q All right. So, Dr. Siemiatycki, getting        18   these as exhibits.
       19   back to the materials that you brought with you      19       A Yeah. Please.
       20   today, you mentioned that you brought three          20           Okay. Let me just reach down and look
       21   binders of scientific literature. Was that           21   at their covers.
       22   correct?                                             22           Yeah, so one contains the recent
       23       A Three binders of the references to my          23   manuscript of a study by Taher, et al., a Canadian
       24   report.                                              24   meta-analysis of the issue, plus -- let me see if
       25       Q Okay. So that's what I wanted to               25   there's anything else in there. I -- I think
                                                                                   11 (Pages 38 to 41)
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                                                   Page 42                                                   Page 44
        1   that's it. It's such a -- such a big report with      1           identification.)
        2   all the appendices and so on, that it takes up a      2   BY MS. BRANSCOME:
        3   whole binder.                                         3       Q Now, Dr. Siemiatycki, with the exception
        4            Another one, a smaller one, contains the     4   of a copy of your report, which you previously
        5   meta -- the main meta-analyses that have been done    5   testified has some handwritten annotations on it,
        6   in this area, apart from the Taher one. So the        6   do any of the other materials that you brought
        7   Berge, Penninkilampi, a few other older ones,         7   with you today have any notes, handwritten or
        8   Langseth and some of the older ones.                  8   typed, or highlighting or any other form of
        9        Q Are those materials that are in the set        9   annotation?
       10   of meta-analysis, the second binder, if you will,    10       A Yes. The -- the epidemiology studies
       11   are they replicated also in the other set of three   11   and probably the meta-analyses, the previous
       12   binders that you brought with you?                   12   meta-analyses. I -- I tend to scribble notes when
       13        A Yes, they are.                                13   I'm reading an article on the side, so some of
       14        Q Okay.                                         14   those may very well have scribbled notes on -- in
       15        A Yes, they are.                                15   the margins or things underlined.
       16            Sorry. There's -- there's another one       16       Q Dealing first with the binder of the
       17   in -- like that which contains all of the original   17   original epidemiological studies that you said you
       18   epidemiology studies that I used or that were        18   had at a prior deposition, have you annotated that
       19   available to be used in the meta-analysis. And I     19   in any way since you brought that to another
       20   had this binder in my previous -- in the previous    20   deposition?
       21   case that I testified on, and I thought I -- I'd     21       A Since today? Sorry.
       22   like to have one binder here just of the             22           MS. BRANSCOME: Michelle, perhaps you
       23   epidemiology studies because the thick binders,      23   could help me.
       24   it's harder for me to find articles, so it would     24           MS. PARFITT: Sure. Yeah, absolutely.
       25   be easier for me to find them in this binder. So     25           MS. BRANSCOME: Has that specific binder
                                                   Page 43                                                   Page 45
        1   all of these are in the big binders.                  1   been marked as an exhibit at a prior deposition?
        2           And there's another one with Health           2           MS. PARFITT: Let me see which one.
        3   Canada weight of evidence guidelines. Also            3           Ms. Branscome, I don't want to
        4   guidelines from a European agency on weight of        4   represent -- and I would tell you that these were
        5   evidence and evaluation. I think there might be       5   all the studies that he's had over the course of
        6   something from FDA about that, and also some of       6   the last few years. I can't imagine it wasn't
        7   the information regarding agency -- what agencies     7   asked for in prior depositions, but I can't -- I
        8   have put on their websites, if anything, about        8   can't represent --
        9   talc, which would include the National Cancer         9           MS. BRANSCOME: Okay.
       10   Institute and some other agencies.                   10           MS. PARFITT: -- one way or another. I
       11           So these are mainly -- well, partly          11   really can't.
       12   printouts from websites. Partly the Canadian Risk    12           MS. BRANSCOME: Let's go ahead. I would
       13   Management scope for talc published very recently    13   like to mark the binder --
       14   from the Canadian Department of Health. And this     14           MS. PARFITT: I will tell you this --
       15   sort of information. Not -- not all of those are     15   maybe I can. There are pink numbers, number 10,
       16   in the thick binders.                                16   number 14, which suggest to me that they might
       17        Q Are all of the documents in the binder        17   have been referenced in a deposition at one point
       18   that you are holding there, which I think is your    18   in time as an exhibit.
       19   fifth binder, are all of those documents             19           THE WITNESS: Not -- some of them, but
       20   identified within your report or in your reference   20   not all of them, have those numbers.
       21   materials?                                           21           MS. PARFITT: Okay.
       22        A No.                                           22           THE WITNESS: They also have numbers in
       23        Q I would like to mark that binder as           23   the corner of my -- my team's personal filing
       24   Exhibit 4.                                           24   system of articles, so things like that.
       25           (Exhibit No. 4 was marked for                25           MS. BRANSCOME: Out of an abundance of
                                                                                   12 (Pages 42 to 45)
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                                                   Page 46                                                   Page 48
        1   caution, we will mark the binder that has been        1       A Okay.
        2   described as containing the original                  2       Q So why don't we mark as Exhibit 8 the
        3   epidemiological studies as Exhibit 5, and the         3   bill for professional services that covers the
        4   binder that contains the meta-analyses as             4   month of July.
        5   Exhibit 6.                                            5           (Exhibit No. 8 was marked for
        6          (Exhibit Nos. 5 and 6 were marked              6           identification.)
        7          for identification.)                           7           MS. PARFITT: Sure. I don't have extras
        8   BY MS. BRANSCOME:                                     8   of those. Does anyone have a clamp? If I could
        9       Q Did you bring anything else with you to         9   have one of those? Thank you.
       10   the deposition today?                                10           MR. TISI: Number 7, for the record, is
       11       A Cell phone, glasses, et cetera, but no.        11   the one that goes to November.
       12       Q I was provided before the deposition           12           MS. BRANSCOME: We'll -- we'll clear it
       13   began with a single piece of paper that I            13   up.
       14   understand to be a bill for professional services.   14           MR. TISI: Thank you.
       15          If we could mark a copy of that as            15           THE WITNESS: Got it.
       16   Exhibit 7.                                           16   BY MS. BRANSCOME:
       17          MS. BRANSCOME: Michelle, I don't know         17       Q So, Dr. Siemiatycki, you have two
       18   if you have an extra copy.                           18   exhibits in front of you there, an Exhibit 7 and
       19          MS. PARFITT: I do.                            19   an Exhibit 8.
       20          (Exhibit No. 7 was marked for                 20           Do they both contain bills for
       21          identification.)                              21   professional services for the work that you have
       22          MS. PARFITT: I have additional copies         22   done in connection with this litigation?
       23   for counsel, if you would like.                      23       A Yes, they do.
       24          MS. BRANSCOME: I think we passed one          24       Q And what has been marked as Exhibit 7
       25   around.                                              25   covers a work period of August 9th through
                                                   Page 47                                                   Page 49
        1   BY MS. BRANSCOME:                                     1   November 16th, 2018, during which you billed 136
        2       Q Dr. Siemiatycki, do you recognize the           2   hours; is that correct?
        3   document that's been placed in front of you that's    3       A That's correct.
        4   been marked as Exhibit 7?                             4       Q And then Exhibit 8 covers the period of
        5       A Yes, I do.                                      5   time July 1st through August 2nd, 2018, over which
        6       Q And could you describe for the record           6   you billed 56 hours; is that correct?
        7   what this document is.                                7       A That's correct.
        8       A It's a bill for services that I sent to         8       Q And you bill for your time at $450 an
        9   Ms. Parfitt dated November 18, 2018, in which I       9   hour, correct?
       10   billed for work done between August and November     10       A That's correct.
       11   2018 on the MDL case.                                11       Q Do the two bills for professional
       12       Q Is it correct that this is a bill that         12   services that have been marked as Exhibits 7 and 8
       13   covers 56 hours that you billed in connection with   13   contain any time for work done by others at your
       14   your work on this case in the month of July          14   direction?
       15   through August 2nd, 2018?                            15       A They contain work that has been done by
       16       A Sorry, do -- July? Is this the same --         16   a couple of -- by one research assistant, and I
       17           MS. PARFITT: August. I have August to        17   make an arrangement with her to reimburse her for
       18   November.                                            18   her time. So it's -- it's covered in these, yes.
       19           THE WITNESS: Do you have a bill labeled      19       Q Okay. And so how is your research
       20   July?                                                20   assistant's time billed to plaintiffs' counsel?
       21           MS. PARFITT: We have July to August,         21       A It's not billed. I -- I adjust the
       22   and here's the August --                             22   billable hours to reflect the time that she works
       23   BY MS. BRANSCOME:                                    23   for me.
       24       Q Sorry, we had different pieces of paper,       24       Q So if I was looking at Exhibit 7 and
       25   Dr. Siemiatycki.                                     25   Exhibit 8, how much in terms of hours of this
                                                                                   13 (Pages 46 to 49)
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        1   reflects your personal time?                          1   paper and the Health Canada statement?
        2       A Between 95 percent and 98 percent,              2        A No, I didn't.
        3   almost all of it.                                     3        Q Did you annotate any of the materials
        4       Q And do the two exhibits that you have in        4   that you reviewed?
        5   front of you there, Exhibit 7 and Exhibit 8, does     5        A I'm -- I'm not sure. I typically have a
        6   that cover all of the work that you have done in      6   pen in my hand when I'm reading, so I couldn't say
        7   connection with forming your opinions in this         7   that I never underlined anything or -- I just
        8   case, meaning the MDL?                                8   don't recall making any -- and I don't know that I
        9       A In forming the opinions for the report,         9   could find -- if I did look at it in December, I'm
       10   yes.                                                 10   not sure I could find that copy because I -- I
       11       Q These bills do not include time that you       11   tend to print things over when -- and I -- there
       12   spent preparing for today's deposition, correct?     12   was nothing written that I wanted to retain. I
       13       A That's correct.                                13   didn't write anything that I have used or -- yeah.
       14       Q About how much time have you spent             14           MS. BRANSCOME: We've been going for a
       15   preparing for today's deposition?                    15   little over an hour. Is now a good time to take a
       16       A I would say the time since November 18,        16   break?
       17   which is referenced here, to today, there were       17           THE WITNESS: It's a great time.
       18   actually two components. One was preparing for       18           THE VIDEOGRAPHER: We are going off the
       19   the deposition. Another was a bit of a flurry of     19   record at 10:55 a.m.
       20   activity in December, I think it was, when a         20           (Recess.)
       21   couple of reports from Health Canada and from        21           THE VIDEOGRAPHER: This begins disc
       22   the Taher group were published, and I reviewed and   22   number 2 in the deposition of Jack Siemiatycki.
       23   tried to think about that information as well.       23   We're going back on the record at 11:15 a.m.
       24           So just to be as precise as possible, I      24   BY MS. BRANSCOME:
       25   just want to make that clear. It's not -- it         25        Q Before we took the break,
                                                   Page 51                                                   Page 53
        1   wasn't only preparation. But I -- I guess we're       1   Dr. Siemiatycki, we were looking at the two bills
        2   talking about a couple of weeks' work in -- since     2   for professional services that have been marked as
        3   November, but between six and ten days maybe,         3   Exhibit 7 and Exhibit 8.
        4   something in that ballpark.                           4            And so in addition to the 56 hours that
        5       Q And how would -- what would that be in          5   are on Exhibit 8, the 136 hours on Exhibit 7, and
        6   terms of hours?                                       6   the approximately 40 to 60 hours you have spent
        7       A Between 40 and 60 hours or -- subject to        7   since mid-November of 2018, how much time have you
        8   revision, I could -- I could look that up.            8   spent in connection with your opinions across all
        9       Q Have you billed plaintiffs' counsel for         9   talc litigation?
       10   that time yet?                                       10            MS. PARFITT: Objection to form.
       11       A No, I haven't.                                 11            THE WITNESS: Including the previous
       12       Q Presumably you will be billing them for        12   case that I was involved in, you're saying?
       13   the time you spend here today during your            13   BY MS. BRANSCOME:
       14   deposition as well, correct?                         14        Q Yes.
       15       A I -- I presume so as well.                     15        A Whew. I -- four to six weeks maybe
       16       Q You referenced a flurry of activity in         16   or -- I spent, I think, nearly two weeks in LA
       17   December related to the Health Canada information    17   while that case was going on, so that's one big
       18   becoming public.                                     18   block of time. And then I -- at least a month
       19           Did you produce or generate any type of      19   full time, the equivalent of, before that. But,
       20   written work product in connection with your         20   I'm sorry, I can't be more precise.
       21   review of those materials?                           21        Q What would that be in terms of hours?
       22       A No, I didn't.                                  22        A Hours. Let's say eight hours a day --
       23       Q Did you take any notes while reviewing         23   30, 40 -- 400 hours plus or minus 200.
       24   the materials that came out in December -- around    24        Q So a range of between 200 to 600 hours,
       25   December 2018 related to the Taher manuscript and    25   do you think?

                                                                                   14 (Pages 50 to 53)
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                                                    Page 54                                                  Page 56
        1           MS. PARFITT: Object.                          1   do you currently spend performing work in
        2           THE WITNESS: It would be more than 200        2   connection with litigation?
        3   for sure. So -- to the best of my recollection,       3        A By presently, can you give me a time
        4   it might be between 400 and 600. But...               4   frame? You don't mean today, I presume. When you
        5   BY MS. BRANSCOME:                                     5   say -- do you mean in the last year? In the last
        6        Q How much have you billed to date for all       6   10 years?
        7   of the work you've done in connection with talc       7        Q Let's say over -- over the past 12
        8   litigation?                                           8   months, what percent of your professional time was
        9        A Well, I -- I don't remember.                   9   spent performing work in connection with
       10           MS. PARFITT: Don't guess.                    10   litigation?
       11           THE WITNESS: I don't remember a total.       11        A Ten to 20 percent ballpark.
       12   BY MS. BRANSCOME:                                    12        Q And has that percentage of time spent on
       13        Q Do you charge $450 per hour for all           13   work in connection with litigation changed over
       14   types of work that you have done in connection       14   the past five years, for example?
       15   with the talc litigation?                            15        A Yes, it's very variable depending on
       16        A Yes, I do.                                    16   requests for participation in litigation. So in
       17        Q Do the fees that you charge in                17   the past five years, my main contact with
       18   connection with your work as an expert witness in    18   litigation has been in the ovarian cancer cases,
       19   the talc litigation go directly to you personally?   19   but at -- around five years ago, I was also
       20        A Yes, they do. Well, they go to a              20   working on two other cases in Canada.
       21   corporation that -- that I control, as you see in    21           Sorry, what was the question?
       22   the bills.                                           22        Q Sure. How -- I'll ask a new one.
       23        Q Do you pay anyone else for the -- using       23           How has the percentage of time that --
       24   the funds that the corporation has received for      24        A Oh, oh.
       25   the expert work you've done in connection with the   25        Q -- you spend in connection with work
                                                    Page 55                                                  Page 57
        1   talc litigation?                                      1   done related to litigation changed?
        2            MS. PARFITT: Objection. Form.                2       A Any litigation, right?
        3            THE WITNESS: Yes, when I ask someone to      3       Q Yes.
        4   do some specific tasks, I pay them for that.          4       A Or -- or talc litigation?
        5   BY MS. BRANSCOME:                                     5       Q I'll start with all litigation.
        6       Q And are the fees that you pay to other          6       A So it's -- as I said, it's very variable
        7   individuals for tasks that they do in support of      7   from month to month. And -- and -- I mean, I
        8   your work, do those fees get billed to plaintiffs'    8   guess over the past five years, it has kind of
        9   counsel?                                              9   averaged out at about 10 percent of my time, 10 to
       10       A No, they don't.                                10   20 percent of my time.
       11       Q Can you give me an approximation of how        11       Q And over the past two years, has all of
       12   much you have paid to others from the fees you       12   the litigation work you've been doing, has that
       13   have billed to plaintiffs' counsel?                  13   been exclusively focused on talc?
       14       A In MDL or in total?                            14       A Yes.
       15       Q In all of the talc litigation.                 15       Q The report that -- sorry, the report you
       16       A My guesstimate would be that it's in the       16   prepared in connection with the MDL is not the
       17   order of 2 or 3 or 4 percent -- maybe 2 percent of   17   first expert report you have generated with
       18   the total that I've billed.                          18   respect to a potential link between talc and
       19       Q So it's fair to say that approximately         19   ovarian cancer, correct?
       20   96 to 98 percent of all the fees that have been      20       A That's correct.
       21   billed to plaintiffs' counsel for your work as an    21       Q You produced a report in connection with
       22   expert in the talc litigation will come to you       22   the talcum powder litigation dated October 4th,
       23   personally?                                          23   2016, correct?
       24       A Yes.                                           24       A That's correct.
       25       Q What percent of your professional time         25       Q If you could turn in your binder there
                                                                                   15 (Pages 54 to 57)
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        1   to tab 2.                                             1   specific to the Echeverria case, correct?
        2       A In this big binder?                             2       A Correct.
        3       Q Yes, please.                                    3       Q So the expert report that described the
        4           Is the document behind tab 2 your expert      4   opinions that you were offering in that case is
        5   report dated October 4th, 2016, that related to       5   the one that we have just marked as Exhibit 9. Is
        6   the talcum powder litigation?                         6   that fair?
        7       A Yes, it is.                                     7           MS. PARFITT: Objection. Form.
        8           MS. BRANSCOME: I would like to mark           8           THE WITNESS: I -- I'm -- I'm hesitating
        9   that as Exhibit 9.                                    9   because I'm not sure what the significance of the
       10           (Exhibit No. 9 was marked for                10   phrase "the expert report that you offered" is. I
       11           identification.)                             11   didn't -- I didn't in a sense offer this report
       12   BY MS. BRANSCOME:                                    12   for -- at that trial. I testified at that trial,
       13       Q The report marked as Exhibit 9 was not         13   and they had this expert report available to them.
       14   drafted for a particular case; is that correct?      14   BY MS. BRANSCOME:
       15       A I -- I -- I'd have to defer -- I'm not         15       Q Okay. Let me ask it this way: You
       16   exactly sure sometimes whether these reports refer   16   generated an expert report specific to the MDL,
       17   to a specific case or not.                           17   correct?
       18       Q Okay. Let me do it this way: What was          18       A Yes.
       19   the question that you were attempting to answer in   19       Q And we are going to look at that --
       20   the report that has been marked as Exhibit 9?        20       A Yes.
       21       A So the question was the generic question       21       Q -- but that is a report that is dated at
       22   of whether there is a causal relationship between    22   some point in 2018, correct?
       23   use of talcum powder products and ovarian cancer.    23       A Correct.
       24       Q And specifically, the report marked as         24       Q Did you generate an expert report at any
       25   Exhibit 9, were you looking specifically at          25   time in between the expert report that you
                                                   Page 59                                                    Page 61
        1   perineal or genital use of talc?                      1   generated there in October 2016 and the expert
        2        A That was the focus, yes.                       2   report you have supplied that's dated November
        3        Q Did your 2016 report address any cancer        3   2018?
        4   risk associated with the inhalation of talc?          4       A No, I did not.
        5        A Not that I recall. It certainly wasn't         5       Q All right. So if I may, I would like to
        6   a focus. There may have been some reason to           6   actually mark your copy of your 2018 report. And
        7   allude to that issue, but I can't recall that         7   that will be marked as Exhibit 10, if you have
        8   it -- that there was.                                 8   that in front of you.
        9        Q Okay. You had your deposition taken on         9           (Exhibit No. 10 was marked for
       10   December 15th and 16th, 2016, correct?               10           identification.)
       11        A I believe so.                                 11           (Counsel conferring.)
       12        Q And that deposition was for two specific      12   BY MS. BRANSCOME:
       13   cases, the Oules and the Daniels case, correct?      13       Q To be clear, for the record, I'm marking
       14        A I guess so. But again, I -- that --           14   as Exhibit 10 your MDL expert report, but it is
       15   I'm -- I don't recall exactly which cases.           15   your copy.
       16        Q You also have testified at trial in a         16       A Yes.
       17   case involving allegations about Johnson's Baby      17       Q Okay. And as I understand it, the copy
       18   Powder, correct?                                     18   that you brought with you here today that's now
       19        A That's correct.                               19   been marked as Exhibit 10 contains some
       20        Q And that was the Echeverria case?             20   corrections. Is that -- is that fair?
       21        A Yes, it was.                                  21       A Yes.
       22        Q And you testified in trial in August of       22       Q Could you please walk me through the
       23   2017, correct?                                       23   corrections that you have made to your 2018 MDL
       24        A Correct.                                      24   report that has been marked as deposition
       25        Q You did not issue an expert report            25   Exhibit 10.
                                                                                   16 (Pages 58 to 61)
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        1        A Yes. So the first is on page 47. And           1   your copy of your report that there were other
        2   in the first full paragraph that begins with          2   handwritten annotations.
        3   "Table 9," on the fourth line --                      3        A Yeah.
        4        Q Let me pause you there for a moment,           4        Q Can you please walk me through -- unless
        5   Dr. Siemiatycki. Are we both looking at page 47?      5   it's voluminous, in which case we can do it after
        6        A Now, I -- I'm not sure whether I printed       6   a break -- any notations that you have made in
        7   this in a way that is not -- does not correspond      7   your copy of your MDL report.
        8   to the version that you have. I'm sorry. I            8        A It's not voluminous. I didn't make
        9   printed this just for my own use, so I didn't --      9   many. One is on page 49. And in the middle of
       10        Q No, looking at it, it looks similar.          10   the page in italics, there is a misconception
       11        A Oh, okay.                                     11   counting, et cetera, and just before that, I was
       12        Q So why don't you direct me to the             12   talking about hospital-based studies and
       13   specific correction. I thought you were referring    13   population-based studies. So the section that
       14   to the image of Table 9.                             14   begins on page 48 is about hospital-based versus
       15           MS. PARFITT: No, no. I think we're           15   general population-based studies. And I made a
       16   all on the same -- it's the same one you have --     16   note to myself after that -- at the end of that
       17           THE WITNESS: Okay.                           17   section, also --
       18           MS. PARFITT: -- on your thumb drives.        18           I mean, do you want me to quote what I
       19           THE WITNESS: Okay.                           19   wrote?
       20   BY MS. BRANSCOME:                                    20        Q Yes, please.
       21        Q All right, we'll start again. So,             21        A Sure. I said: "Also the basin for
       22   Dr. Siemiatycki, if you could identify for me the    22   hospital controls may differ from the basin for
       23   corrections that you are making to your MDL report   23   cases."
       24   from November 2018.                                  24        Q And what did you mean by that?
       25        A Right. So on page 47, the first full          25        A So, you're familiar with the idea, a
                                                   Page 63                                                   Page 65
        1   paragraph, the fourth line, there are some            1   hospital-based study? There are actually
        2   numbers. It says "1.25," and then in parentheses,     2   different types of hospital-based studies, which
        3   there is a 1.0 that was really a literal typo.        3   is something that has not come out in, really, in
        4   Someone's -- my fingers were too heavy, and the       4   any of the discussion of this literature.
        5   one -- the first 1.0 should be dropped, and so the    5           But one of the problems with hospital-
        6   correct number is 1.15 to 1.36. Okay?                 6   based studies is that when you choose a control
        7           The next one -- I'm sorry. Oh, the next       7   group, let's say for a series of ovarian cancer
        8   one is on page 45, so a couple of pages earlier,      8   cases from a given hospital, and you go to a
        9   in the second line -- are you with me? -- the         9   different ward in that hospital to look for
       10   sentence that begins "While the Terry 2013." It      10   controls who are not -- don't have ovarian
       11   should be the Berge -- "While the Berge" -- the      11   cancer -- the reasons for referral and the -- the
       12   first Terry -- I'm just thinking out loud again.     12   pattern of patients coming to hospitals differs
       13   Whether in fact the Terry was the correct --         13   for different diseases. So serious -- it
       14   anyway, yesterday when I was correcting this         14   generally is the case that serious diseases in
       15   quickly, I thought that it -- that I had             15   specialized hospitals tend to come from a wider
       16   miswritten "Terry 2013" in that sentence and that    16   geographic and social area than cases of traffic
       17   it should have been Berge 2018.                      17   accident injuries or things that are treated in
       18           Do you mind if I look at this again at       18   general hospitals more easily.
       19   lunchtime and just verify which I was referring      19           And if you just take a series of cases
       20   to? I'm now confusing myself about that.             20   of ovarian cancer and go to the emergency
       21        Q Not a problem. We can come back to that       21   department to choose controls or you go to the GI
       22   after -- either the next break or the lunch break.   22   surgery department where they do appendectomies
       23        A And that -- those are the only                23   routinely or something like that, you're picking
       24   corrections I picked up as I was going through it.   24   up populations who are quite different.
       25        Q I noticed as you were flipping through        25           And this is one of the disadvantages of
                                                                                   17 (Pages 62 to 65)
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                                        Jack Siemiatycki, Ph.D.
                                                   Page 66                                                   Page 68
        1   a hospital-based control strategy, and it's one of    1           THE VIDEOGRAPHER: We're going back on
        2   the reasons why, in general, epidemiologists favor    2   the record at 11:41 a.m.
        3   population-based studies rather than hospital --      3   BY MS. BRANSCOME:
        4   case control studies, population-based case           4       Q Do you have any other annotations there
        5   control studies, rather than hospital-based case      5   with you on your copy of your report?
        6   control studies, because the cases and the            6       A No. I have one other green sticky on
        7   controls -- one of the requisites in a case           7   page 67, but there's nothing written on that page,
        8   control design is that the patients -- the cases      8   and I don't remember why I put that sticky there.
        9   and the controls should represent the same study      9       Q Okay. The report that we just marked as
       10   base, the same basin of people who if they were      10   Exhibit 10, does that define the scope of your
       11   cases with the disease in question, ovarian          11   opinions in the MDL?
       12   cancer, this is where they would end up, and all     12       A The scope of my opinions. It defines my
       13   of them would end up there.                          13   opinions, yes.
       14       Q Are there any studies that were relevant       14       Q Does it contain all of the opinions that
       15   to your analysis for your MDL report that you        15   you intend to offer at any trial or hearing in the
       16   think this particular criticism that you have just   16   MDL?
       17   explained applies to?                                17       A I mean, I guess if I'm asked a question
       18       A I'm not sure. I didn't examine them            18   that veers off from something I said in my report,
       19   from that point of view.                             19   and I address the question, would that be
       20          In this section of my report, it was          20   considered going off -- you know, offering an
       21   kind of a generic discussion of the issue of -- of   21   opinion that is not in my report?
       22   the merits of hospital-based versus population-      22           It's just that -- I'm just not sure
       23   based studies.                                       23   about the technicality of your question. I mean,
       24       Q Okay. Do you have any other annotations        24   I will offer -- I will answer questions even if
       25   that you made in your copy of your MDL report?       25   they lead off the content of my report.
                                                   Page 67                                                   Page 69
        1       A At the bottom of that same page, 49, I          1       Q As you sit here today --
        2   wrote, quote, "Borenstein." And right now I'm --      2       A Yes.
        3   oh, yes. So this misconception about counting the     3       Q -- does the report that has been marked
        4   number of statistically significant results as a      4   as Exhibit 10 contain all of the opinions that you
        5   valid way of assessing consistency of results         5   have formed as of today about which you would
        6   among different studies is a basic flaw in the        6   intend to testify at trial or a hearing on this
        7   conduct and interpretation of how to review a         7   matter?
        8   series of studies.                                    8       A I -- I believe so.
        9           It's well known. I've known and I -- I        9       Q What was the question that you were
       10   said it in my report that this is absolutely not     10   asked to answer in connection with the report you
       11   the way to synthesize evidence from multiple         11   generated in 2018?
       12   studies, to count the number of significant ones.    12       A I guess I -- I'll just refer back to
       13   And in addition to me saying it and many others, I   13   what it says in the report: "Can application of
       14   thought that I could -- if you asked me questions    14   talcum powder products in the perineal region
       15   about it or challenged my opinion on that score, I   15   cause ovarian cancer?"
       16   could quote the textbook on meta-analysis, which     16       Q Is that question different from the
       17   gives some good examples of why that's wrong.        17   question you were answering in your 2016 report?
       18           MS. PARFITT: Let's stop here for a           18       A I -- I don't see them as different.
       19   minute --                                            19       Q You would agree with me, though, that
       20           MS. BRANSCOME: If we could go off the        20   there are differences between the report that you
       21   record.                                              21   produced in November 2018 and the report that you
       22           MS. PARFITT: -- and go off the record.       22   produced in October 2016?
       23           THE VIDEOGRAPHER: We're going off the        23          MS. PARFITT: Objection. Form. Vague.
       24   record at 11:39 a.m.                                 24          THE WITNESS: Yes, there are some
       25           (Pause.)                                     25   differences.
                                                                                   18 (Pages 66 to 69)
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                                        Jack Siemiatycki, Ph.D.
                                                    Page 70                                                  Page 72
        1   BY MS. BRANSCOME:                                     1   sequence, and I use both of them now but in
        2       Q When you began drafting the report              2   different places.
        3   that's been marked there as Exhibit 10, your MDL      3          But -- so is your question, is it
        4   report, did you begin by using your 2016 report as    4   exactly the same computer that all the files were
        5   an initial draft?                                     5   kept on or -- is that the sense of your question?
        6       A Yes. But I also had some ideas about            6   BY MS. BRANSCOME:
        7   new things that I would want to do. Sort of           7       Q How about I ask it this way: Can you
        8   coming out of the Echeverria experience, I            8   describe for me the process by which you drafted
        9   realized that there were -- there were a couple of    9   your 2018 report that's been marked as Exhibit 10?
       10   errors in that -- my original report that I wanted   10       A So I guess there were two parallel
       11   to correct. There were ways of doing the analyses    11   things going on, or maybe more. One was to do
       12   that, on reflection, I thought were not optimal      12   some reanalyses of the statistical meta-analysis.
       13   and that I could improve on, even if I anticipated   13   And so that I initiated at a certain point
       14   that the bottom line results would not change        14   between -- probably in 2018.
       15   much. But when I came to actually drafting the       15          At the same time, and I'm not sure if
       16   text, I certainly used the previous report as a      16   this was after or before the statistical analyses
       17   primary source for revising -- for -- for drafting   17   were started, I looked at the old draft. I
       18   the new one.                                         18   reviewed what was there, what I thought were
       19       Q You mentioned that you wanted to make          19   weaknesses in the way of expressing things or
       20   some modifications because there were things in      20   things that could be brought to the report that
       21   the 2016 report that were either not optimal or      21   would enhance the clarity or the force of the --
       22   were errors.                                         22   the exposition, and I started redrafting. So I'm
       23           Were any of the modifications that you       23   not sure if that answers your question.
       24   made done at the suggestion of plaintiffs'           24       Q Did you personally type the words that
       25   counsel?                                             25   are contained in Exhibit 10?
                                                    Page 71                                                  Page 73
        1           MS. PARFITT: Objection.                       1        A All -- maybe all of them, and maybe
        2           THE WITNESS: No.                              2   there were some paragraphs that I handwrote
        3   BY MS. BRANSCOME:                                     3   because I was on a plane or a train, and when I
        4       Q So any of the changes that you made             4   got back to the office, I asked someone to type up
        5   between your 2016 report and the MDL report in        5   that paragraph or two. But basically it was done
        6   2018, were those all at your own prompting?           6   by me.
        7       A Yes.                                            7        Q And did you save draft versions along
        8           MS. PARFITT: Objection. Form.                 8   the way?
        9           THE WITNESS: Yes.                             9           MS. PARFITT: Objection. Form.
       10   BY MS. BRANSCOME:                                    10           THE WITNESS: Not really. Not --
       11       Q Did you work in the same computer file         11   certainly not systematically. I didn't see any
       12   to draft the 2018 report from start to finish?       12   reason to save discarded versions of things.
       13           MS. PARFITT: Objection. Form.                13   Yeah.
       14           THE WITNESS: You're -- you're referring      14   BY MS. BRANSCOME:
       15   to the text, not the statistical analyses, which     15        Q Did you conduct a new literature review
       16   were done in a separate -- I mean, they -- they --   16   in connection with the 2018 report?
       17   the statistical analyses were based on the           17        A I knew that I had all of the literature
       18   addendum that I presented to you, and those are      18   that was pertinent and published as of 2016.
       19   kept on a FileMaker software, which is not on my     19   Updating what was available was partly done by
       20   personal computer, but that my assistant has         20   asking my research assistant to do a PubMed search
       21   access to.                                           21   of anything new on the topic; asking the lawyers
       22           But as far as the text is concerned --       22   if they had come across anything new in the past
       23   yeah, I think it was the same computer, but I've     23   year; my own antenna of knowing a lot of
       24   changed computers since then, so I'm just            24   epidemiologists and people who work in this area,
       25   hesitating because I'm trying to think of the time   25   whether they are aware of anything. So sort of an
                                                                                   19 (Pages 70 to 73)
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                                        Jack Siemiatycki, Ph.D.
                                                   Page 74                                                   Page 76
        1   informal updating process from many branches.         1   statistical analysis for your meta-analysis?
        2        Q Did plaintiffs' counsel provide you with       2        A It's -- I think it's called
        3   studies that had come out since you had generated     3   Meta-Analysis, but -- it's called Comprehensive
        4   your 2016 report?                                     4   Meta-Analysis, Version 3. It's listed in my
        5        A I think they sort of pointed me to a           5   report on page 34.
        6   couple of things that I didn't have at the time.      6        Q And is that the only software that you
        7   I think one was the Penninkilampi review.             7   used to perform the statistical analyses in your
        8           We're talking about the epidemiology          8   report?
        9   literature or everything? Because the                 9        A It's the only software that I used to
       10   epidemiology literature I was pretty much in         10   perform the meta-analyses. Are there any other --
       11   control of through my networks and my people and     11   I'm just trying to think if there are any other
       12   so on.                                               12   analyses in the report besides meta-analyses or
       13           The stuff that I asked counsel to help       13   statistical.
       14   with was identifying literature in the areas of      14           There were a couple of studies, and I --
       15   toxicology, composition of talcum powder products,   15   I couldn't point them out just this minute, that
       16   mechanistic research that would bear on the issue.   16   did not provide full information allowing -- that
       17   So I asked them if they would provide me any new     17   didn't provide full information on odds ratios or
       18   data that they had available on those topics.        18   relative risks in a format that was useful for the
       19        Q Do you consider yourself an expert in         19   meta-analysis. And -- but they did provide the
       20   toxicology?                                          20   numbers of cases and controls who were exposed and
       21        A No. I'm sufficiently familiar to be           21   unexposed. And that would typically -- I think in
       22   able to integrate the expertise of -- of real        22   at least one instance, maybe two, but at least one
       23   experts.                                             23   instance, there was a situation where they
       24        Q Do you consider yourself an expert on         24   provided odds ratio estimates in different
       25   the composition of talc?                             25   categories of usage of talc or either different
                                                   Page 75                                                   Page 77
        1        A No.                                            1   durations or different amounts used per day or
        2        Q And do you consider yourself an expert         2   something like that, but didn't summarize that in
        3   on potential biological mechanisms of the             3   an overall ever-used-it-at-all versus
        4   development of ovarian cancer?                        4   never-used-it, which was what I was looking to use
        5        A No.                                            5   in the meta-analysis.
        6        Q Other than being aware of the opinions         6           And I think in those -- in that
        7   of others in those particular fields, are you         7   instance, I did almost a hand calculation.
        8   offering any expert opinions in toxicology, the       8   Because it's pretty straightforward how you do
        9   composition of talc, or the biological mechanism      9   this, just re- -- picking the numbers in their
       10   by which ovarian cancer may develop?                 10   tables and recalculating the overall odds ratio.
       11        A I'm --                                        11           But this is a few years ago, and I --
       12           MS. PARFITT: Objection. Form.                12   I -- I would have to go back and review that, but
       13           Go ahead.                                    13   it was -- I think in the other meta-analyses,
       14           THE WITNESS: I'm -- I reviewed the           14   Berge and Penninkilampi, which were carried out
       15   information that I was provided, and I took note     15   completely independently of mine, and I didn't
       16   of the types of evidence that are available in       16   know about theirs, I think they had to do
       17   those domains, and I used it mainly in thinking      17   something similar and arrived at the same answers.
       18   about biological plausibility of the association.    18           So -- but, no, I mean there was no -- no
       19   It -- those areas of evidence did not in any way     19   other statistical package used. That kind of
       20   influence my opinions about the strength and         20   calculation can be done by hand.
       21   consistency and so on of the epidemiological         21        Q How would -- how would I, if I'm looking
       22   evidence.                                            22   at your report, identify which studies you
       23   BY MS. BRANSCOME:                                    23   actually calculated the odds ratio or relative
       24        Q Did you -- oh, before I forget, what is       24   risk that you input into your meta-analyses?
       25   the name of the software that you used to do the     25        A I -- I -- I'd have to look at it at
                                                                                   20 (Pages 74 to 77)
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                                                   Page 78                                                   Page 80
        1   lunchtime, if you don't mind, and see if there was    1   from one to another was perfectly in line with
        2   one.                                                  2   what I would expect.
        3           There was one. I don't know if that was       3           Furthermore, the results that we
        4   retained in the end or if -- I'm sorry. It's --       4   obtained are almost identical to the results that
        5       Q When you say you don't know if a study          5   others have independently obtained doing
        6   was retained in the end, are there studies that       6   meta-analyses on these topics using basically the
        7   you considered including in your meta-analysis and    7   same studies. Sometimes the difference of --
        8   ultimately did not?                                   8   minor differences of which result from each study
        9       A Only if they didn't provide evidence on         9   they selected, but basically the results are so
       10   the relationship between talcum powder used in the   10   similar that I'm confident that there was no
       11   perineal area and ovarian cancer.                    11   glitch.
       12       Q All right. If you wouldn't mind looking        12       Q Did you save the results of these
       13   at that at lunch, we will come back --               13   sensitivity analyses?
       14       A Yes. Thank you.                                14       A Do you mean the output from the computer
       15       Q -- to that after the lunch break.              15   software for each one? Is that what you're --
       16           THE WITNESS: Someone make a note for         16       Q Is there any way from the materials that
       17   me.                                                  17   you have produced in connection with your report
       18   BY MS. BRANSCOME:                                    18   for someone to replicate the sensitivity analyses
       19       Q Did you --                                     19   that you performed?
       20           MS. PARFITT: Yes, a note.                    20           MS. PARFITT: Objection. Form.
       21   BY MS. BRANSCOME:                                    21           THE WITNESS: Well -- I reproduced in
       22       Q Did you personally conduct the                 22   the report a few plots of -- that come straight
       23   meta-analysis that was performed as part of your     23   out of the program. So for those, it's absolutely
       24   2018 report?                                         24   replicatable. Anybody can then go to the package
       25       A No, I did not do the --                        25   and put -- punch in the same input, and they'll --
                                                   Page 79                                                   Page 81
        1       Q Who did that?                                   1   they'll get the same output. For the -- I didn't
        2       A My student.                                     2   do that for every single sensitivity analysis,
        3       Q And what is your student's name?                3   just for economy -- to save the reader the burden
        4       A Mengting, M-E-N-G-T-I-N-G, Xu, X-U.             4   of that. But I'm pretty sure -- I'm pretty sure
        5       Q And -- and what are -- is it Mr. or             5   that Mengting kept files of each of those
        6   Dr. Xu?                                               6   analyses.
        7       A It's -- she's a Ph.D. student at the            7   BY MS. BRANSCOME:
        8   moment. She will be a doctor.                         8       Q Did anyone else -- you mentioned a
        9       Q What are her qualifications for                 9   research assistant helped you with PubMed
       10   conducting a meta-analysis?                          10   searches. Who was the research assistant?
       11       A She is very skilled at statistical             11       A She's a woman, who was with me for 30
       12   analyses and at -- at computer packages. I'm not     12   years or so, who was basically the bibliographic
       13   sure if she's taken a course in meta-analysis        13   expert in our team and helped people find articles
       14   specifically, but it's not rocket science to do      14   and do things necessary, like PubMed searches and
       15   that with a package like the one we have.            15   so on. So she -- while she was here -- she
       16       Q Did you verify that the meta-analysis          16   retired a year or so ago. While she was here, I
       17   was performed correctly using the software?          17   asked her to look at the ovarian cancer/talc
       18       A I looked at the results in various ways        18   thing, and she dug out some -- she found some
       19   to assure myself that everything looked good. By     19   articles for me.
       20   looking good, I mean that there was internal         20       Q Is that Sally Campbell?
       21   coherence, like she carried out many different       21       A Yes, it is.
       22   meta-analyses under different conditions and --      22       Q Okay. After Ms. Campbell retired, did
       23   not different conditions, but including some         23   anyone else help you perform literature searches?
       24   studies and excluding studies -- these are called    24       A Not in a routine way for sure. If I
       25   sensitivity analyses -- and the pattern of results   25   wanted to find a specific article that I knew
                                                                                   21 (Pages 78 to 81)
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                                                   Page 82                                                   Page 84
        1   about, I would typically ask my student Mengting      1        Q Okay. And you mentioned reviewing the
        2   to dig it out and print it for me.                    2   materials that came out in connection with Health
        3       Q So in addition to Ms. Campbell and              3   Canada and the Taher manuscript, and we'll talk
        4   Ms. Xu --                                             4   about that in more detail, but did anything you
        5       A Xu, yes.                                        5   reviewed since the production of your 2018 report,
        6       Q -- did anyone else help prepare the             6   has any of that changed your opinions or any of
        7   materials that are in your 2018 report?               7   the information that is contained in your MDL
        8       A Yes. So I have another research                 8   report?
        9   assistant who's been with me even longer than         9        A It doesn't really change anything. I
       10   Sally Campbell, who retired a month ago, and her     10   would say that the Health Canada report reinforces
       11   name is Lesley Richardson. And she set up and        11   the notion that this issue is becoming a front
       12   maintained the database system in which we           12   burner issue for public health agencies. But
       13   integrated all of the results that are in that       13   it -- since I didn't explicitly address that
       14   addendum that I provided you, and that involved      14   question in my report, I would say it doesn't
       15   reviewing each article and taking every single       15   change anything that's in my report.
       16   result and plugging it into this software.           16        Q Do you intend to offer expert opinions
       17       Q Did Ms. Richardson exercise any of her         17   about the different positions of the different
       18   own judgment in selecting which data to include in   18   public agencies and the relative importance of a
       19   the meta-analyses?                                   19   potential connection between talc and ovarian
       20       A The instruction was to extract                 20   cancer?
       21   everything. Simple instructions can become           21            MS. PARFITT: Objection. Form.
       22   difficult in operation. And some of the              22            THE WITNESS: Did I intend -- while
       23   frustration in this area and some of the reason      23   writing my report, do you mean, to make -- no. I
       24   why there is some variability in which studies and   24   don't think that those agencies and those
       25   which results are included in different              25   positions necessarily reflect the most up-to-date
                                                   Page 83                                                   Page 85
        1   meta-analyses occur because authors are sometimes     1   science, and I think the most up-to-date science
        2   cryptic about what they say about their data and      2   is in the science community through publications
        3   their results. And specifically things like what      3   and so on, and public health policies tend to lag
        4   kind of talc use a certain table describes is not     4   behind scientific knowledge.
        5   always perfectly clear.                               5   BY MS. BRANSCOME:
        6           And so she would need to make a judgment      6        Q Are there instances where public health
        7   sometimes as to whether this result pertained to      7   policies are more conservative than the scientific
        8   all use of talc in the perineal area or only          8   literature out of sort of a principle of
        9   powdering, excluding sanitary napkins or other --     9   precaution?
       10   sometimes it -- there's ambiguity in the write-up    10           MS. PARFITT: Objection. Form.
       11   of these things that therefore requires --           11           THE WITNESS: Sorry, I'm not sure I
       12   required some judgment on her part. And several      12   understand the question.
       13   of these things she would ask my opinion about,      13   BY MS. BRANSCOME:
       14   and we would discuss it and say, Well, it looks      14        Q Sure.
       15   like this or it looks like that, and let's go with   15           Are there examples where the public
       16   this interpretation.                                 16   health policy is actually, for instance, more
       17        Q Okay. And at the end of the day,              17   protective than the science might support because
       18   despite receiving help from others in developing     18   the public health agency is exercising an
       19   your 2018 report, do you personally stand behind     19   abundance of caution?
       20   everything that is in the report?                    20           MS. PARFITT: Objection. Form.
       21        A Yes. Barring more typos. I know that          21           THE WITNESS: I -- I believe so. I
       22   every time I look at anything I've ever written      22   mean, I've not done any kind of survey of how
       23   or, you know, things that are expressed not in the   23   public health policy in, you know, Sweden over
       24   most clear way. But, yes, I stand behind             24   Argentina or everywhere -- you're talking about
       25   everything.                                          25   generally in the world public health or are you
                                                                                   22 (Pages 82 to 85)
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                                                   Page 86                                                    Page 88
        1   talking about United States or -- but I -- I          1        A So, yeah, yeah.
        2   imagine there are instances like that, and I think    2        Q -- Dr. Siemiatycki, is how -- how do you
        3   there is a strand in public health to be              3   maintain all of the documents that are listed in
        4   precautionary in developing policies. But I'm not     4   your reference section? Do you main hard copies?
        5   sure it's universal. I just don't know.               5   Do you keep electronic copies?
        6   BY MS. BRANSCOME:                                     6        A It's a bit of a mix and match of
        7        Q You have a References section in your          7   electronic and hard copies. And these are all the
        8   report. It begins at page 109, if you need to         8   materials that were collected over the years, you
        9   refer to it.                                          9   know, I would say from the beginning of my
       10           How did you maintain all of the              10   involvement in the previous trial and so on, that
       11   documents that are identified under that list?       11   concern talc and ovarian cancer, including
       12   It's quite voluminous.                               12   materials that were provided by the lawyers and
       13        A So let me --                                  13   materials that we found.
       14        Q And by that, I mean did you keep hard         14           I prefer to work with paper -- I prefer
       15   copies? Do you keep electronic copies?               15   to read paper, but at a certain point, that gets
       16        A Okay. So the first thing I'll point out       16   overwhelming, and the material -- I can't tell you
       17   is that I deliberately didn't call it a reference    17   right now for sure that everything here is -- that
       18   section. You'll see that it's called a               18   I have it electronically in a file or that I have
       19   Bibliography.                                        19   it in paper.
       20        Q Could you turn to page 109 in your            20        Q There are different sections of your
       21   report.                                              21   References section. You have Bibliography Part A,
       22        A That -- that's where I am.                    22   B, so on and so forth. Who made the decision of
       23        Q Could you turn to the page right before       23   which articles or documents fell into which of
       24   that.                                                24   the -- of each category?
       25        A Oh. Ah, yes, I see that.                      25        A I -- I guess I made it, but it was
                                                   Page 87                                                    Page 89
        1        Q What is the page -- you have that as           1   pretty self-evident. The material in Part A is
        2   page 108?                                             2   material that is generally publicly available.
        3        A Yes, I have that page with the word            3   It's easy to identify that. And the materials in
        4   "References" on page 108. Section 16.                 4   Part B is material that is not publicly available.
        5        Q Perhaps we could check at the break. My        5   And all of that came from the lawyers, I think.
        6   page numbering got off of yours at some point.        6        Q So that was going to be one of my
        7        A Okay.                                          7   questions. Did all of the materials identified in
        8        Q But in any event, you do have a                8   Bibliography Part B come to you from plaintiffs'
        9   Section 16 that's titled "References," correct?       9   counsel?
       10        A Yes. Yes, I do. I do.                         10        A Okay. So let me look through this
       11           Okay. My -- my conscious volition was        11   quickly.
       12   to call this a bibliography, and the word            12           MS. PARFITT: Mm-hmm. Go ahead.
       13   "references" got in -- into the heading of this      13           THE WITNESS: (Peruses document.)
       14   section.                                             14           I think so. I -- I think all of it came
       15           And the reason for that distinction is       15   from plaintiffs' counsel.
       16   that I have not -- not everything that is listed     16   BY MS. BRANSCOME:
       17   is referred to in the text of my report. So          17        Q I'm not going to ask you about all of
       18   technically speaking, a reference section should     18   these, but I noticed on page, at least in my copy,
       19   be those materials that you refer to in your         19   135, maybe 134 on yours, there's reference to the
       20   report. And this is not what I have here. And        20   Berg v. Johnson & Johnson case.
       21   that's why I -- consciously I wanted to call this    21           Do you see that?
       22   a bibliography, and somehow the word "references"    22        A Yes, I see that.
       23   got -- when they -- when we were compiling it --     23        Q What relevance is it to you as an
       24   anyways.                                             24   epidemiologist evaluating the potential risk of
       25        Q Okay. So my question again --                 25   ovarian cancer from perineal use of talc to look
                                                                                   23 (Pages 86 to 89)
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        1   at the final jury instructions, judgment, and         1   informative of your opinions?
        2   verdict form from the Berg case?                      2       A No. There's no way for anyone else to
        3       A I'm not sure. I relied on plaintiffs'           3   know that.
        4   counsel to decide what they thought it would be       4       Q Okay. Did you ask plaintiffs' counsel
        5   pertinent for me to be aware of. So these were        5   for specific company documents, using that term
        6   documents that they thought would be pertinent for    6   loosely, to refer to documents that are kept
        7   me to -- to be aware of, and I can't say why, and     7   internally within the various companies at issue
        8   I don't remember -- frankly, I don't remember         8   in this litigation?
        9   these documents.                                      9       A I asked to be sent any information they
       10       Q As a scientist, do you typically               10   had about the composition of talcum powder
       11   consider jury instructions in forming an opinion     11   products, historically as well as currently, but
       12   with respect to risk of the use of a product in      12   actually mainly historic -- I was mainly
       13   epidemiology?                                        13   interested to know what was the history of the
       14           MS. PARFITT: Objection.                      14   composition of talcum powder products.
       15           THE WITNESS: Outside of a legal -- no,       15           And so many of these materials that they
       16   we wouldn't have access to it or -- no, it never     16   sent me -- and I can't tell you which ones because
       17   comes up.                                            17   I don't identify them with these obscure numbers,
       18   BY MS. BRANSCOME:                                    18   they don't mean anything to me -- but some of them
       19       Q As you sit here today, can you come up         19   dealt with internal company documents or internal
       20   with any reason why the jury instructions in a       20   reports that discussed different types of talc --
       21   case would be relevant to you in evaluating the      21   of powdering products, whether talc products or
       22   question you were asked to answer, which is          22   cornstarch products in different eras, when they
       23   whether or not there is a risk of ovarian cancer     23   started and when, what the market share was in
       24   from the perineal use of talc?                       24   different eras. So I was interested in that to
       25           MS. PARFITT: Objection. Form.                25   get a sense of what were the women exposed to who
                                                   Page 91                                                   Page 93
        1           THE WITNESS: You're asking me to              1   were part of these epidemiologic studies.
        2   speculate as to why plaintiffs' counsel would have    2        Q Do you rely on any of the information
        3   sent this to me?                                      3   that you obtained from documents in Part B of your
        4   BY MS. BRANSCOME:                                     4   reference list as a basis for forming your expert
        5       Q I'm asking --                                   5   opinion in the MDL?
        6       A Is that what you're asking?                     6        A No. No.
        7       Q I'm asking if you, as the scientist             7        Q Have you viewed any of the deposition
        8   whose name is on this expert report, can you think    8   transcripts of the depositions that have been
        9   of any reason why that would be informative to you    9   taken in the MDL?
       10   as a scientist?                                      10        A I have looked at a few of them.
       11       A If I had it in front of me, I might            11        Q And which deposition transcripts have
       12   recognize something in there that would make it      12   you reviewed?
       13   relevant. But I -- I don't know what is typically    13        A Plunkett, McTiernan, is it? And Singh.
       14   in such jury instructions. I don't know how --       14   Not fully -- not the entire transcripts, but
       15   what the sweep is of those things. I'm just not      15   portions thereof. Blount. I've seen excerpts
       16   sure. So I -- I can't answer the question.           16   from, is it, Hopkins? And a table from Pier, but
       17       Q As you sit here today, do you recall           17   not the full text. I didn't review the full text
       18   reading the final jury instructions from Berg --     18   -- transcript. There may be one or two more, and
       19       A I don't --                                     19   I can't recall right now.
       20       Q -- v. Johnson & Johnson?                       20        Q Okay. Focussing specifically on the
       21       A I don't actually recall reading it.            21   expert deposition transcripts from the MDL, did
       22       Q Okay. So is there any way for someone          22   you ask specifically for Drs. Plunkett, McTiernan
       23   reviewing your report to identify within the         23   and Singh's deposition transcripts?
       24   reference section, Part B, which of these            24        A I didn't know who the other experts
       25   documents you, Dr. Siemiatycki, found relevant and   25   were, so I didn't ask for them by name. And I
                                                                                   24 (Pages 90 to 93)
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                                                   Page 94                                                    Page 96
        1   think that I asked if they could share with me        1   I specifically asked at some point to be provided
        2   transcripts of depositions and reports. So I also     2   with information that would inform on the presence
        3   had some of the reports from those experts. I'm       3   of asbestos fibers in talcum powder products.
        4   not sure I had all of them but at least some of       4   BY MS. BRANSCOME:
        5   them.                                                 5       Q Did you review that material before
        6       Q Well, what materials had you reviewed           6   completing your MDL report?
        7   with respect to other experts in the MDL before       7           MS. PARFITT: Do you understand the
        8   you completed your report that we've marked as        8   question?
        9   Exhibit 10?                                           9           THE WITNESS: Yeah.
       10       A None. All of what I've just described          10           Yes, I think I did look at that before
       11   was after I completed my report.                     11   completing my report.
       12       Q Did you rely on the work or opinions of        12   BY MS. BRANSCOME:
       13   any other expert witnesses in forming your own       13       Q When you say the asbestos is an issue
       14   opinions in the MDL?                                 14   that has come up in the last few months, what do
       15       A No, I don't think I did.                       15   you mean by that?
       16       Q So understanding that more depositions         16       A Well, my understanding back in 2016,
       17   have been taken than just Drs. Plunkett, McTiernan   17   '17, was that while asbestos had been detected in
       18   and Singh, what specifically was your request to     18   talcum powder products as far back as the '70s --
       19   plaintiffs' counsel for which deposition             19   1970s, there was an industry directive or promise
       20   transcripts you would like to see?                   20   or instruction that they would somehow get rid of
       21           MS. PARFITT: Objection. Asked and            21   the problem of asbestos contamination.
       22   answered, form.                                      22       Q And what was your basis for that
       23           THE WITNESS: I'm not sure if my request      23   understanding?
       24   was to see the ones that they thought were most      24       A I guess things I've read, and possibly
       25   relevant to -- to me or whether I specifically       25   in some of the company documents, possibly in
                                                   Page 95                                                    Page 97
        1   said the epidemiology ones, but I think probably      1   publications. I think there have been various
        2   the former, because they sent me, for example,        2   publications that have said so that have -- and I
        3   Dr. Plunkett, who is not an epidemiologist. Yeah.     3   can't right now point to those, but that for the
        4   BY MS. BRANSCOME:                                     4   last 10 or 20 years have said that asbestos
        5       Q Which expert reports have you reviewed          5   contamination may have been a problem up to the
        6   that are from the MDL?                                6   1970s, but that the industry has basically managed
        7       A I looked at the Plunkett report. I              7   to eliminate that contamination. So I've read
        8   think I looked at the Singh and the McTiernan         8   that, and it seemed to be repeated often enough
        9   report. But just dipping into it, not -- not          9   that I came to take it as a fact.
       10   reading it fully. Yeah.                              10           And then I received some -- I guess I
       11       Q Any other reports?                             11   received some reports from plaintiffs' counsel of
       12       A Not that I recall offhand.                     12   some new studies carried out more recently in
       13       Q Okay. The Blount transcript, the               13   the -- by Longo and his team, and some others, put
       14   Hopkins transcript, and the table from Julie         14   in question whether asbestos fibers were present
       15   Pier's deposition, were those items that were        15   in talcum powder products. And so this caused me
       16   provided to you by plaintiffs' counsel?              16   to revisit that whole thing.
       17       A Yes.                                           17           My opinions offered in 2016, '17, about
       18       Q Did you request them specifically or           18   talc and ovarian cancer were premised on the
       19   were they simply given to you?                       19   assumption that whereas there may have been some
       20           MS. PARFITT: Objection. Form.                20   contamination up to the 1970s, it was basically a
       21           THE WITNESS: I requested them to             21   nonissue after the 1970s. So the opinions I
       22   provide me with information that would help me to    22   expressed in -- in 2016, '17, were independent of
       23   understand the issue. And one of the issues that     23   any hypotheses about asbestos in talc.
       24   has come up in the past few months was the issue     24           When I saw the reports from Longo and
       25   of asbestos in talcum powder products, and I think   25   maybe others in the fall -- I think it was in the
                                                                                   25 (Pages 94 to 97)
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        1   fall of 2018, I specifically asked counsel to         1   of the investigators. I know many of the people
        2   provide me with other information that they had,      2   in the area that I work in, and I can -- often
        3   and I made a point of saying, you know, Are there     3   have a gut feeling about the quality of their
        4   studies that contradict these -- is there evidence    4   work.
        5   that contradicts these evidence -- these claims of    5       Q Do you know anything about Dr. Longo's
        6   asbestos contamination? And they sent me some         6   qualifications such that you could render an
        7   material at that point.                               7   opinion about the quality of his work?
        8        Q Okay. The work that Dr. Longo had              8       A It's in a different area than mine, so
        9   conducted with respect to analyzing talcum powder     9   the answer is I -- I couldn't render an opinion
       10   products, to your knowledge, has that ever been      10   about it.
       11   published?                                           11       Q When you asked for evidence that might
       12        A I'm not sure. I -- to my knowledge, no,       12   contradict the work that Dr. Longo had done in
       13   but maybe it has been. I don't know.                 13   connection with litigation, what specifically were
       14        Q Okay. What were you -- when you               14   you provided by plaintiffs' counsel?
       15   referred to the study that Dr. Longo conducted,      15       A I'm sorry, without digging around and
       16   what -- are you referring to the work that he has    16   looking at e-mail exchanges, offhand I can't tell
       17   done in connection with litigation on behalf of      17   you. I was provided with a batch of -- of
       18   plaintiffs' counsel?                                 18   documents. I can't remember how many were on one
       19        A I'm referring to a few reports that I         19   side or the other side. I remember there -- well,
       20   think are dated or -- not -- 2017, 2018. I guess     20   in my report I refer to a few pieces of evidence
       21   they're connected to litigation, but I'm -- I'm      21   that -- yes. So -- can I -- well, on page 30 in
       22   not absolutely certain of that. But those are --     22   my copy --
       23   that's what I'm referring to.                        23       Q Okay.
       24        Q Separate and apart from your role as an       24           MS. PARFITT: Why don't you give the
       25   expert witness, when you're evaluating a             25   category, the title.
                                                   Page 99                                                  Page 101
        1   scientific question, do you typically consult         1            THE WITNESS: Oh, the -- so it's in
        2   expert reports that are generated for purposes of     2   Section 5.3.2, "What were women exposed to in body
        3   litigation?                                           3   powders?"
        4           MS. PARFITT: Objection. Form.                 4   BY MS. BRANSCOME:
        5           THE WITNESS: I would -- if I had              5         Q Were you provided, for example, with the
        6   access -- I mean, usually we don't know about such    6   expert reports generated by the expert retained by
        7   reports if we're not in the litigation process.       7   Johnson & Johnson and Imerys to rebut Dr. Longo's
        8   So it's a hypothetical question, I guess. It --       8   report?
        9   it just doesn't come up in reality that I would be    9         A Can you give me the author's name or --
       10   looking at carcinogenicity of diesel engine          10         Q Sure. Were you provided any reports by
       11   emissions, and I would have access to reports        11   Dr. Matthew Sanchez?
       12   produced in litigation that are not published.       12         A I don't recall. I don't recall that.
       13   I -- I don't know that I -- I wouldn't have access   13         Q Are you offering an expert opinion about
       14   to such information unless I was part of the         14   the contents of any of the talcum powder products
       15   litigation. But...                                   15   sold or manufactured by Johnson & Johnson?
       16   BY MS. BRANSCOME:                                    16         A I only take note of what has been
       17        Q Okay. When you're evaluating scientific       17   provided in the various documents I have access
       18   literature, do you place a different amount of       18   to.
       19   weight on a study that has been peer reviewed as     19         Q What does that mean?
       20   compared to one that has not?                        20         A It means -- can I read the sentence?
       21        A Yes, it's one of the considerations.          21   Basically, I think it summarizes what I mean. And
       22        Q Okay. And --                                  22   I'll start -- so I'll start on the sentence that
       23        A There -- there are many considerations        23   on my copy is on the bottom of page 29, still in
       24   that I weigh, including my knowledge of and          24   that Section 5.3.2.
       25   evaluation of the skill and reputation and quality   25            "So representatives of the industry have

                                                                                 26 (Pages 98 to 101)
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        1   claimed that talcum powders were free of asbestos     1   and answered.
        2   fibers since the 1980s" -- and there are a couple     2           THE WITNESS: You know, I would say the
        3   of references there --                                3   sentences that I read summarize my opinion on that
        4           MS. PARFITT: Read them.                       4   question.
        5           THE WITNESS: "Hopkins 2018, Pier 2018.        5   BY MS. BRANSCOME:
        6           -- "but this assertion has increasingly       6       Q So in your opinion, is it -- is it a
        7   come under doubt as a number of labs have reported    7   question for debate in the scientific community at
        8   finding asbestos fibers in talcum powder              8   the moment?
        9   products." And it references Blount, '91;             9           MS. PARFITT: Objection. Form.
       10   Paoletti, '84; Gordon, 2014; Longo, et al., 2017     10   Misstates his testimony.
       11   and 2018; Blount deposition, 2018; Pier              11           THE WITNESS: It's not an area in which
       12   deposition, 2018.                                    12   I feel confident to pronounce that the issue has
       13           "These various studies that have             13   been resolved or not.
       14   reported finding asbestos in historic talcum         14           MS. BRANSCOME: Is now a good time for a
       15   powder samples have been challenged by other         15   break? I don't now how long --
       16   reports that failed to find meaningful amounts of    16           MR. TISI: We've been going about an
       17   asbestos in historic talcum powder samples." And     17   hour and 25 minutes.
       18   the two citations are CIR 2013 and Anderson 2017.    18           MS. PARFITT: We have lunch at 1:00, and
       19   BY MS. BRANSCOME:                                    19   I don't think it's here.
       20       Q So what I'm trying to understand,              20           (A discussion was held off the record.)
       21   Dr. Siemiatycki, is what role this information       21           MS. BRANSCOME: We can go off the
       22   plays in your opinions, if any.                      22   record.
       23       A Not much. You know, I would say that           23           THE VIDEOGRAPHER: This ends disc number
       24   the -- my opinions about the association are         24   in the deposition of Jack Siemiatycki. We're
       25   driven by the strength and consistency of the        25   going off the record at 12:42 p.m.

                                                  Page 103                                                  Page 105
        1   epidemiologic evidence. And this information          1           (Lunch recess.)
        2   about asbestos contamination of talcum powder         2           THE VIDEOGRAPHER: This begins disc
        3   products would be capable of moving the dial in       3   number 3 in the deposition of Jack Siemiatycki.
        4   the direction of increasing my belief that there      4   We're going back on the record at 1:46 p.m.
        5   is a causal assoc- -- a causal relationship, if it    5   BY MS. BRANSCOME:
        6   is demonstrated that there were in fact asbestos      6       Q Good afternoon, Dr. Siemiatycki.
        7   fibers contaminating.                                 7           Did you have a chance to look at the
        8           So if it is shown that they are present,      8   various subjects we were going to return to after
        9   that would increase my level of belief. If it is      9   the lunch break?
       10   not shown, if it is not demonstrated, it would not   10       A I did.
       11   detract from my finding based on the epidemiologic   11       Q Okay. So we'll take them one at a time.
       12   evidence. It could move the dial in one              12       A Yes, please.
       13   direction. It wouldn't move the dial in another,     13       Q Let's start first with, did you identify
       14   because there -- there are different conceivable     14   the document that you had been provided by
       15   ways that talcum powder products could increase      15   plaintiffs' counsel that you said you took out all
       16   the risk of ovarian cancer. This is one. I'm not     16   but about 20 pages that you found relevant?
       17   capable of adjudicating whether this one is          17       A Right. So I -- I think I mentioned the
       18   correct or not.                                      18   IARC monographs as being two of them, and I think
       19        Q So as you sit here today,                     19   the third one was the Reference Manual on
       20   Dr. Siemiatycki, do you have an opinion to a         20   Scientific Evidence. There was a huge pack of
       21   reasonable degree of scientific certainty that       21   pages that were sent to me, and I took out most of
       22   there are in fact contaminants like asbestos or      22   them, but I retained some that I thought were
       23   heavy metals in Johnson & Johnson's talcum powder    23   relevant.
       24   products?                                            24       Q What portions of the Reference Manual on
       25           MS. PARFITT: Objection. Form. Asked          25   Scientific Evidence did you retain?
                                                                               27 (Pages 102 to 105)
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        1        A I think it was the Epidemiology section        1   think what it is, we've got the signature page on
        2   and maybe the Statistics section.                     2   the one report, and then the one he has in his
        3        Q All right. During the break, you were          3   binder appears to not have a signature page on it,
        4   also going to check which of the epidemiological      4   and the font seems to be -- when the signature
        5   studies that you included in your meta-analysis.      5   page was put in, the font was slightly larger,
        6           Did you or someone at your direction          6   which sort of throws off the page numbers. Same
        7   independently calculate an odds ratio or relative     7   report.
        8   risk figure that was not published in the report      8           MS. BRANSCOME: So what I would --
        9   itself?                                               9           MS. PARFITT: Single --
       10        A Sorry, what? That was not published in        10           MS. BRANSCOME: -- request so that we
       11   the original report. So I'm not sure. The answer     11   keep the record clean going forward and not every
       12   is in the time I had available, I couldn't really    12   question has to say page 108 in mine and page 107
       13   identify anything like that, and I'm not sure if     13   in your copy is that we actually mark the version
       14   that occurred at all, and it -- the impact of        14   of the report that has been produced to us as
       15   that, if -- if it had occurred, would have been      15   Exhibit 11 -- well, let me just, Ms. Parfitt,
       16   negligible.                                          16   would you be comfortable marking his copy as
       17        Q If --                                         17   Exhibit 11 and switching them and putting the new
       18        A It would have meant -- I'm sorry. It          18   clean copy as Exhibit 10? I'm only thinking that
       19   would have meant that most likely I added -- I put   19   there are many prior questions --
       20   together a two-by-two table by aggregating across    20           MS. PARFITT: Sure, I'm fine with that.
       21   two or three or four levels of exposure. If -- if    21           MS. BRANSCOME: -- that refer to his
       22   it had happened, I think that's what would have      22   report --
       23   happened. And the impact of that would be to         23           MS. PARFITT: As long as his --
       24   produce an odds ratio estimate that is not           24           MS. BRANSCOME: -- as Exhibit 10.
       25   adjusted for the covariates that they adjusted for   25           MS. PARFITT: Yeah, and just so the
                                                  Page 107                                                  Page 109
        1   in their analysis by the categories of dose or        1   record is clear, and what appears to have happened
        2   whatever they adjusted for.                           2   is there was a signature page that was put on the
        3       Q Is there any way by examining your 2018         3   report to represent the matter was filed in the
        4   report and the addendum that an outside reader        4   United States District Court, the District of New
        5   could determine which studies, if any, were           5   Jersey, in light of the prior report that was in a
        6   subject to this independent calculation?              6   state court, and that has thrown off not only the
        7       A So the one thing I didn't check during          7   page numbers but I think even it might have been a
        8   the break was whether there's a note in the           8   different font.
        9   addendum, and it would take me a while, I'd have      9           Sure, so we will put on --
       10   to go through each study and see if there's any      10           THE WITNESS: So do you want to modify
       11   notation in the margin that would indicate that      11   the -- this?
       12   this was done. So I -- I -- I'm not sure of the      12           MS. PARFITT: Sure. I think what we're
       13   answer to your question.                             13   going to do is the one that Dr. Siemiatycki has
       14       Q If an adjustment like that or an               14   brought will be now Exhibit 11, and the one that's
       15   independent calculation had been done, would it be   15   in -- on the thumb drive and --
       16   your expectation that a notation would have been     16           MS. BRANSCOME: It is tab 3 in the
       17   made in the addendum?                                17   binder in front of you will be the correct
       18       A Yes. Yes.                                      18   Exhibit 10.
       19       Q All right. Did you look at anything            19           MS. PARFITT: And this will be
       20   else over the lunch break?                           20   Exhibit 11.
       21       A Well, we looked to see -- the page --          21           MR. TISI: And Exhibit 11 will be his
       22   pagination discrepancy between the different         22   copy, the one that he brought.
       23   versions, and I think Ms. Parfitt could fill you     23           MS. PARFITT: And this will be 3 -- 3,
       24   in on -- or maybe she has. I don't know.             24   correct?
       25           MS. PARFITT: No. No, I haven't. I            25           MS. BRANSCOME: 11 -- I mean 10. It's
                                                                               28 (Pages 106 to 109)
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        1   tab 3.                                               1   would like to make at this time?
        2          MS. PARFITT: 11 -- 10. Tab 3, correct.        2       A Yes. I'd like to make one -- oh, yes.
        3          (Exhibit No. 11 was marked for                3   Well, page 72 in this version.
        4          identification.)                              4          MS. PARFITT: Just refer to the exhibit
        5   BY MS. BRANSCOME:                                    5   number, so 11.
        6       Q So, Dr. Siemiatycki, can you confirm           6          THE WITNESS: Exhibit 11, page 72,
        7   that Exhibit 10 is a complete copy of your report    7   Table 2. Table 2 of the report.
        8   that was submitted in the MDL? It is a clean copy    8   BY MS. BRANSCOME:
        9   and does not contain any annotations.                9       Q What is the correction you would like to
       10       A Yes.                                          10   make?
       11       Q Can you also confirm that what we have        11       A The correction is -- there's a column
       12   now marked as Exhibit 11 is the copy of your MDL    12   called "Included in main meta-analysis," and I
       13   report that you brought with you here today? It     13   think in your copy, as in mine in this version,
       14   does contain handwritten annotations and the page   14   there are a bunch of question marks. In the
       15   numbers are just slightly misaligned.               15   original Word document that I submitted, these
       16       A Yes.                                          16   were not question marks. They were tick marks,
       17       Q Okay. So if you could, in Exhibit --          17   checkmarks. And somehow in the translation of
       18   oh, there was one other --                          18   Word to PDF, this -- the tick mark -- the tick
       19       A There was one other, and -- and there's       19   marks got changed to these funny little question
       20   another -- yet another one that I -- a correction   20   marks. So they should all be tick marks.
       21   to be made, a small one.                            21       Q Are there any other corrections you
       22          So do you want to point out what that --     22   would like to make to your report?
       23       Q Yes. So, Dr. Siemiatycki, do you have         23       A Not that I'm aware of at this time.
       24   any corrections that you would like to make to      24       Q Okay. So if you could turn to
       25   your report at this time?                           25   Exhibit 10 -- which is in front of you there -- if
                                                 Page 111                                                  Page 113
        1        A So the one outstanding one that we had        1   you could turn to your Conclusion section. It
        2   highlighted -- or we've gone through the three of    2   should be on page 69.
        3   them.                                                3       A Yes.
        4           MS. PARFITT: 45.                             4       Q You state in the second paragraph below
        5           THE WITNESS: Have we --                      5   the Conclusion section that: "Based on the
        6           MS. PARFITT: No, 45. Page --                 6   totality of the evidence, it is my opinion to a
        7           MR. TISI: No, 47. 45.                        7   reasonable degree of scientific certainty that the
        8           MS. PARFITT: Page 45. Excuse me, it's        8   perineal use of talcum powder products can cause
        9   47.                                                  9   ovarian cancer."
       10           THE WITNESS: Oh, yes, that -- the           10           First, did I read that correctly?
       11   question of whether that sentence should refer to   11       A Yes, you did.
       12   Berge or Terry on that page. It's Berge 2018, not   12       Q Does that conclusion accurately
       13   Terry. I was right the first time.                  13   summarize your opinion in this case as to whether
       14           MS. PARFITT: Oh, and it is page 45,         14   or not perineal use of talcum powder can cause
       15   just for the record. It is not 47. That was the     15   ovarian cancer?
       16   first correction is on page 45.                     16       A Yes, it does.
       17           THE WITNESS: In this version.               17       Q You state that your opinion is to a
       18   BY MS. BRANSCOME:                                   18   reasonable degree of scientific certainty,
       19        Q So just to be clear, Dr. Siemiatycki, on     19   correct?
       20   the third line of page 45 of Exhibit 10, the        20       A Correct.
       21   reference to Terry 2013 in the sentence beginning   21       Q Is that a phrase that you have ever used
       22   with the word "while" should in fact be Berge       22   in a scientific publication?
       23   2018?                                               23       A I don't think so.
       24        A Yes.                                         24       Q Why did you use it here?
       25        Q Do you have any other corrections you        25       A I've seen this phrase used in all of the
                                                                              29 (Pages 110 to 113)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 114                                                  Page 116
        1   expert opinions in the legal cases that I've seen,    1   that exists today enable a scientist to parse that
        2   and I inferred that it's a -- a formula that is       2   out?
        3   de rigueur in legal communications for this sort      3           MS. PARFITT: Objection. Form.
        4   of thing.                                             4           THE WITNESS: I'm not sure I understand
        5       Q When you say "to a reasonable degree of         5   the premise of the question, the "if" part.
        6   scientific certainty," what do you mean by that       6   BY MS. BRANSCOME:
        7   phrase?                                               7       Q Okay. So if the biological mechanism by
        8       A So my -- you know, I think somewhere            8   which a talcum powder product can cause ovarian
        9   else in the document, I -- I phrase it in a way       9   cancer is because of a particular contaminant in
       10   that I'm comfortable with, which is a way that       10   that talcum powder product, but that contaminant
       11   also is sort of derivative from my understanding     11   does not exist in all talcum powder products,
       12   of legal jargon and precedence. I think that it's    12   would the epidemiological evidence that exists
       13   more likely than not that there is a causal          13   today allow you to see that distinction?
       14   relationship.                                        14           MS. PARFITT: Objection. Form.
       15       Q You anticipated where I was going with         15           THE WITNESS: The epidemiologic evidence
       16   my question. Do those two sentences mean anything    16   as -- as it exists today would not allow one to
       17   different to you?                                    17   parse out anything about the particular
       18       A No.                                            18   manufacturer, the particular product, if I
       19       Q What is your understanding of "more            19   understand your question correctly.
       20   likely than not"?                                    20   BY MS. BRANSCOME:
       21       A From a strictly mathematical point of          21       Q And so therefore, the epidemiological
       22   view, it implies that I feel that there's greater    22   evidence as it exists today does not have a level
       23   than 50 percent probability that this thesis is      23   of detail by which someone reviewing that data
       24   true. And I wouldn't put a more quantitative         24   could determine if there were different
       25   meaning onto it.                                     25   contaminants present in different talcum powder
                                                  Page 115                                                  Page 117
        1        Q Is your opinion that perineal use of           1   products that were used by individuals who
        2   talcum powder products can cause ovarian cancer,      2   developed ovarian cancer --
        3   is it specific to a single brand or manufacturer      3           MS. PARFITT: Objection. Form.
        4   of talcum powder?                                     4   BY MS. BRANSCOME:
        5        A No, it isn't.                                  5        Q -- correct?
        6        Q Why not?                                       6           MS. PARFITT: Objection. Form.
        7        A Because as I understand it, the                7           THE WITNESS: May I read the --
        8   epidemiologic evidence that supports the thesis of    8           MS. PARFITT: Yes, you can.
        9   a causal relationship is derived from evidence        9   BY MS. BRANSCOME:
       10   among women who used all types of talcum powder      10        Q Of course.
       11   products that were available in their consumer       11        A Just to make sure I understand.
       12   area of purchase of these products. And whatever     12   (Peruses document.)
       13   was the frequency distribution of different          13           So I -- I don't think that the
       14   manufacturers and types of powdering that were       14   epidemiological evidence would allow you to
       15   available in the consumer -- various consumer        15   attribute causality to a specific type or -- or
       16   markets were the types that lead to the overall      16   not. If one knew -- if part of your hypothetical
       17   inference about causality, and there's no way for    17   is the knowledge of what the constituents were of
       18   me to parse out which particular manufacturer        18   different products used in different markets, and
       19   would have been more or less responsible for any     19   the biological mechanism has been established to a
       20   of this.                                             20   high degree of certainty, there might be some room
       21        Q If in fact, and we're just talking            21   for making inferences about this. But that seems
       22   hypothetically, the biological mechanism by which    22   like a tenuous possibility.
       23   some talcum powder products can cause ovarian        23        Q But you agree that the current
       24   cancer is related to a contaminant in that talcum    24   epidemiological evidence as it exists does not
       25   powder product, does the epidemiological evidence    25   enable someone to distinguish between brands of
                                                                               30 (Pages 114 to 117)
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                                                  Page 118                                                  Page 120
        1   cosmetic talc products, for example?                  1   ovarian cancer in that area, it would be
        2           MS. PARFITT: Objection. Form.                 2   improbable that the product of that company were
        3           THE WITNESS: I don't think it does.           3   not part of the responsibility, but one of the
        4   BY MS. BRANSCOME:                                     4   companies that produced 5 or 10 percent of the
        5       Q Does -- is your opinion that perineal           5   market share.
        6   use of talcum powder products can cause ovarian       6   BY MS. BRANSCOME:
        7   cancer, is that limited to talcum powder products     7       Q Okay. But as you sit here today, based
        8   manufactured during a certain time period?            8   on the analysis that you have done, you are not
        9       A The evidence as it exists today pertains        9   able to draw an opinion specifically about an
       10   to products manufactured over half a century,        10   increased risk of ovarian cancer that is tied to a
       11   roughly speaking, so I don't think that there's      11   particular brand or a particular time period,
       12   any way to link it to products manufactured in a     12   correct?
       13   particular time period.                              13          MS. PARFITT: Objection. Form.
       14           In -- in answer to that question,            14          THE WITNESS: That's correct, in part
       15   actually, and to the previous one, hypothetically,   15   because I don't have data on market share at
       16   one might imagine looking at the different           16   different times and in different places.
       17   study -- the 30-odd studies that have been carried   17   BY MS. BRANSCOME:
       18   out in different communities and different cities    18       Q Okay. In forming your opinion that
       19   and different countries, and if one could obtain     19   perineal talc use can cause ovarian cancer, did
       20   reliable, reasonably precise and time relevant       20   you reach an opinion about how much talcum powder
       21   information on market shares of products in          21   is needed to cause ovarian cancer?
       22   different markets at different times, that could     22       A No.
       23   give a first approximation of whether certain        23       Q Is there an amount of talcum powder that
       24   company products are more closely linked to the      24   can be used perineally without increasing a risk
       25   excesses that are seen in the epidemiological        25   for ovarian cancer?
                                                  Page 119                                                  Page 121
        1   studies.                                              1       A So let me go back to the previous
        2       Q The application, though, of a market            2   question, and clarify what do you mean by amount?
        3   share analysis to the users of talcum powder          3   Do you mean like the amount in grams? The amount
        4   products, if you're looking at causality, would       4   in number of applications? The amount in number
        5   require that the individuals who developed ovarian    5   of day -- days on which the powder is applied?
        6   cancer had purchased their talcum powder according    6   These are all different metrics of exposure, and
        7   to the market share, correct?                         7   the answer might depend on what kind of -- you
        8          MS. PARFITT: Objection. Form.                  8   know, we're starting with these studies. There
        9          THE WITNESS: Approximately, yes.               9   are now some hints about the dose-response
       10   BY MS. BRANSCOME:                                    10   relationship and what kind of levels of exposure
       11       Q So, for example, if one type of talcum         11   in terms of number of applications in use,
       12   powder product or one time period of talcum powder   12   observable excess risks.
       13   product is the only type that actually causes        13       Q So let me ask it this way: Did you
       14   ovarian cancer, so all of the positives were         14   calculate how much talcum powder is needed to
       15   derived from those users, you -- you could not       15   cause ovarian cancer in any of the forms, be it
       16   determine that simply by applying market share,      16   frequency of application, the amount in grams that
       17   for example?                                         17   was used?
       18          MS. PARFITT: Objection. Form.                 18       A I --
       19          THE WITNESS: That -- that's true,             19          MS. PARFITT: Objection. Form.
       20   except in the circumstance that market share were    20          THE WITNESS: I did not carry out such a
       21   very, very high in most of the communities that      21   calculation. I'm -- my emphasis was on
       22   have been investigated. So if one company            22   determining whether there's a dose-response
       23   produced 90 percent or 85 percent or something of    23   relationship. Going beyond that might involve
       24   the product in a certain area -- that was consumed   24   trying to quantify the dose-response relationship
       25   in a certain area, and there's an excess risk of     25   to the extent of determining what the shape of
                                                                               31 (Pages 118 to 121)
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                                                  Page 122                                                  Page 124
        1   such a relationship is and how the curve looks,       1   ovarian cancer, is that the question? Almost.
        2   whether there's a threshold effect, and so on.        2   But the one qualification I would make in
        3   But I don't think there's enough data now to be       3   answering that question is that I have a colleague
        4   able to make such estimates.                          4   who started working with -- in my academic
        5   BY MS. BRANSCOME:                                     5   department about 12 years ago, and she was
        6       Q Can you rule out the possibility that           6   interested in ovarian cancer as a topic of
        7   there is a threshold below which perineal use of      7   research, and she wanted to organize a case-
        8   talc presents no risk of ovary -- of ovarian          8   control study of ovarian cancer in relation to
        9   cancer?                                               9   various factors, and she asked me to kind of
       10            MS. PARFITT: Objection. Form.               10   mentor her -- she was just starting out -- mentor
       11            THE WITNESS: No, I -- I don't think --      11   her in getting grants, in setting up the study,
       12   I can't, and I don't think it's possible to do       12   and this sort of thing, and this is what I did
       13   that with most carcinogens. It's -- it's an          13   with her.
       14   extremely difficult and controversial issue of how   14           So I worked on grant applications with
       15   to detect sort of a minimum level of exposure        15   her on some aspects of setting up her study, and
       16   produces a carcinogenic effect.                      16   that has been going on now for -- I don't know --
       17   BY MS. BRANSCOME:                                    17   I think since 2010 maybe that she started. So --
       18       Q In your view, has a dose-response              18   but that has not -- I've been what we call a
       19   relationship for the perineal application of talc    19   coinvestigator on that project, not a principal
       20   and the development of ovarian cancer been           20   investigator.
       21   established in the scientific literature?            21           But apart from that, the next stage in
       22       A My view is that the data are certainly         22   my involvement with talc and ovarian cancer was in
       23   compatible with the notion of a dose-response        23   the litigation.
       24   relationship. It -- it trends in that direction      24        Q What is your colleague's name?
       25   of that conclusion. It's not definitive yet.         25        A Anita Koushik.
                                                  Page 123                                                  Page 125
        1   It's not definitive. But I believe the bulk of        1        Q If you had to give me your best
        2   the evidence, especially from the Terry study and     2   estimate, how many hours total have you spent
        3   partly from, I think it's the, Schildkraut study,     3   assisting her with the case-control study?
        4   which are the most powerful ones for that             4           MS. PARFITT: Objection. Form,
        5   question, but certainly the Terry study is by far     5   misstates his testimony.
        6   the most important one, does tend to indicate         6           THE WITNESS: It's very hard to answer
        7   dose-response relationship.                           7   that. I mean, ten years ago discussions over
        8        Q Is the data that exists today also             8   coffee about studies and how to write grant
        9   compatible with no dose-response relationship?        9   applications and reviewing and revising and so on.
       10            MS. PARFITT: Objection. Form.               10   I -- I don't -- not a trivial amount and not an
       11            THE WITNESS: Yes. It could be -- in         11   overwhelming amount.
       12   other words, it could be a chance finding. Is --     12   BY MS. BRANSCOME:
       13   that's what you're saying. I think it's unlikely,    13        Q When was the last time that you spent
       14   but it's -- it can't be ruled out.                   14   hours in connection with that case-control study?
       15   BY MS. BRANSCOME:                                    15           MS. PARFITT: Objection. Form.
       16        Q Are you offering an expert opinion that       16           THE WITNESS: There was a manuscript
       17   the inhalation of talc increases or presents any     17   that came -- a publication that came from that
       18   risk of ovarian cancer?                              18   study. It was -- the study was only completed in
       19        A I -- I don't have an opinion on -- on         19   the field, the data collection, around two years
       20   that. No.                                            20   ago, and spending a year cleaning data and so on,
       21        Q Aside from your participation in the          21   and then starting to analyze it.
       22   IARC panel in 2006 and the Langseth article on       22           And there was an analysis of
       23   2008, has all of your work on talc and ovarian       23   reproductive and hormonal factors in relation to
       24   cancer been in connection with litigation?           24   ovarian cancer, and I helped her review and revise
       25        A On talc and -- sorry, work on talc and        25   that manuscript. That would have been a year and
                                                                               32 (Pages 122 to 125)
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                                                  Page 126                                                  Page 128
        1   a half ago or so, and I don't know, maybe I spent     1        A That's correct.
        2   three or four days on it at the time.                 2        Q Have you done anything since 2016 to
        3   BY MS. BRANSCOME:                                     3   publicly announce your view that the perineal use
        4       Q Did that study reach any conclusions            4   of talc can cause ovarian cancer?
        5   with respect to a potential link between perineal     5        A No, I've not had really an opportunity.
        6   use of talc and ovarian cancer?                       6   And in a way the -- the publication by Berge,
        7       A The talc information was collected in           7   which appeared as a -- after I completed my
        8   the questionnaire and has not yet been analyzed.      8   meta-analyses, and they -- they kind of beat me to
        9       Q Other than what we just discussed with          9   the punch with one type of publication output that
       10   respect to the case-control study and then your      10   I might have produced. So I'm thinking about
       11   work in connection with the IARC panel and the       11   different ways of communicating my results and my
       12   Langseth paper, have you ever done any original      12   opinions, but mainly my results.
       13   research on the association between perineal         13           I mean, the other part of the answer
       14   talcum powder use and ovarian cancer?                14   to -- another part of the answer to your question
       15       A No. No, I haven't.                             15   is that I'm not particularly a fan of individual
       16           It's common -- it's common for me to be      16   scientists going into press with opinions before
       17   asked to review information on which I have not      17   some sort of consensus starts to appear. I mean,
       18   directly worked. You know, topics. You know, I       18   you can -- you can publish hypotheses and ideas,
       19   recently was asked by the government of France to    19   but proclaiming conclusions is something that
       20   evaluate a problem of possible cancer risks          20   should come later in the scientific process. I
       21   related to a pesticide that's used in the banana     21   mean, I -- I think it's best if IARC or an agency
       22   industry in Guadeloupe and Martinique. I've never    22   like IARC would take on that role, and that would
       23   studied that pesticide and I've never been to        23   be my hope actually.
       24   Martinique. But the kind of expertise that I have    24        Q In your opinion, has consensus formed
       25   can be applied to studying different sorts of        25   that peri- -- perineal use of talc can cause
                                                  Page 127                                                  Page 129
        1   problems.                                             1   ovarian cancer?
        2        Q You have not published the meta-analyses       2       A I think among people who have reviewed
        3   that you -- meta-analysis you performed in            3   the evidence who -- sort of competent scientists
        4   connection with the MDL, have you?                    4   who have reviewed the evidence, I think there's
        5        A No, I haven't.                                 5   starting to be a ground swell of consensus about
        6        Q Have you ever published in any peer-           6   it. You know, I've never done a survey, so I
        7   reviewed article the opinion that the perineal use    7   can't say if it's majority or minority.
        8   of talcum powder can cause ovarian cancer?            8           If your denominator is all medical
        9        A I -- I've never had occasion to opine          9   researchers, then the answer is, well, most of
       10   about this in any publication, and one doesn't       10   them have never heard of this issue, so it's
       11   just announce to the New England Journal of          11   not -- they wouldn't be susceptible to holding
       12   Medicine that you want to, you know, write an        12   such an opinion. But among the people who have
       13   article about opining about something like this.     13   reviewed, are familiar with the issues, I think
       14   There has to be some sort of platform basis of       14   there's certainly a much higher level of
       15   research evaluation and so on.                       15   receptivity to this thesis than there was ten
       16           And my involvement in this case might        16   years ago.
       17   lead to such a publication, but in the past I        17       Q Has a consensus been reached that
       18   would have not -- I had no reason to publish or to   18   perineal use of talc probably causes ovarian
       19   try to publish such an opinion.                      19   cancer?
       20        Q But you had formed an opinion with            20           MS. PARFITT: Objection. Asked and
       21   respect to the perineal use of talcum powder and     21   answered. Form.
       22   an increased risk of ovarian cancer at the time      22           THE WITNESS: I can't answer that
       23   that you published your report in October of 2016.   23   question. I -- it's too -- are you trying to make
       24           And by "published," I mean within the        24   the distinction between probably and -- I -- so --
       25   litigation context, correct?                         25   BY MS. BRANSCOME:
                                                                               33 (Pages 126 to 129)
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                                                  Page 130                                                  Page 132
        1        Q Well, what do you understand the phrase        1            THE WITNESS: I don't know -- I haven't
        2   "can cause ovarian cancer" to mean?                   2   carried out a survey among people. I don't know
        3        A Well, it's a synonym with "is a risk           3   whether a consensus has been reached. I don't
        4   factor for" or -- that's how I understand it.         4   know what proportion of that community would
        5        Q All right. And is that in your mind the        5   subscribe to this point of view or not.
        6   same as "it probably causes cancer"?                  6   BY MS. BRANSCOME:
        7            MS. PARFITT: Objection. Form.                7        Q Okay. Setting aside conducting a survey
        8            THE WITNESS: "It probably can cause,"        8   of individuals in the scientific community, would
        9   is that what you said, or "probably does cause"?      9   you say that the scientific literature reflects a
       10   BY MS. BRANSCOME:                                    10   consensus that the causal relationship between
       11        Q Probably does cause.                          11   perineal talc powder exposure and ovarian cancer
       12        A So I don't think any risk factor can be       12   is probable?
       13   described as -- in a way with the wording "does      13            MS. PARFITT: Objection. Form.
       14   cause." You know, smoking does not cause lung        14            THE WITNESS: I think the scientific
       15   cancer. It can cause lung cancer when there's a      15   literature supports that conclusion. I'm not sure
       16   constellation of other favorable circumstances.      16   that it reflects it.
       17   You know, this is part of multifactorial causation   17            So there's kind of a lag period between
       18   of disease. So, you know, each factor in itself      18   the production of research findings and the
       19   is not the cause, but it's part of a constellation   19   consens- -- a consensus building around it and
       20   of factors that together can cause the disease.      20   being expressed in print. You know, if we take
       21   So each of them can cause the disease.               21   sort of the classic smoking and lung cancer
       22        Q So -- you -- you state in your report         22   historical example, evidence was accumulating
       23   that -- let me see if I can get the exact            23   rapidly in the 1950s. There were several studies
       24   language.                                            24   through the 1950s and early 1960s, and it was only
       25            And perhaps you can get me there more       25   in 1964, so many years after some of this evidence
                                                  Page 131                                                  Page 133
        1   quickly. You talk about that now you would give a     1   had been published and been accepted by many
        2   different rating under the IARC standard.             2   scientists, but rejected by others -- there was
        3           Ah, here we go. Page 67 in your 2018          3   still controversy around it -- that the Surgeon
        4   report. You state: "It is now my professional         4   General's report reflected and created a
        5   opinion based on the totality of the evidence,        5   consensus.
        6   that to a reasonable degree of scientific             6   BY MS. BRANSCOME:
        7   certainty, the causal relationship between            7        Q So in early 2019, are we still in the
        8   perineal talc powder exposure and ovarian cancer      8   lag period or the period in which the production
        9   is," quote, "probable."                               9   of research findings is still behind consensus
       10           Did I read that correctly?                   10   building in the literature?
       11        A You did.                                      11           MS. PARFITT: Objection. Form,
       12        Q Do you hold that opinion?                     12   misstates his testimony.
       13        A Yes, I do.                                    13           THE WITNESS: Does that mean I should
       14        Q What do you mean when you say a "causal       14   answer or --
       15   relationship between perineal talc powder exposure   15           MS. PARFITT: I'm objecting. I said it
       16   and ovarian cancer is," quote, "probable"?           16   misstates your prior testimony.
       17        A I mean it's more likely than not.             17           THE WITNESS: Okay. Sorry. Let me read
       18        Q Okay. Has a consensus been reached in         18   the question again. (Peruses monitor.)
       19   the scientific community, understanding we're        19           So I can't point to hallmark
       20   looking at those who have an interest in this        20   publications analogous to the Surgeon General's
       21   issue, been reached that the causal relationship     21   report for smoking and lung cancer that would
       22   between perineal talc powder and ovarian cancer is   22   reflect such a bend in the road kind of general
       23   probable?                                            23   perception of the talc ovarian cancer issue. It
       24           MS. PARFITT: Objection. Form, asked          24   doesn't mean that the evidence isn't there, but
       25   and answered.                                        25   the process of recognizing and generalizing and so
                                                                               34 (Pages 130 to 133)
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                                                  Page 134                                                  Page 136
        1   on is not -- has not been achieved yet.               1   think. (Peruses document.)
        2   BY MS. BRANSCOME:                                     2       Q Okay.
        3        Q Okay. Have you ever given a lecture,           3       A No, I've never spoken to any of them
        4   either to students or to other scientists, in         4   about -- I -- I crossed paths with Dr. Cramer in
        5   which you have presented your view that the           5   Los Angeles for a -- you know, we were in the same
        6   perineal use of talcum powder can cause ovarian       6   hotel. He was leaving, I was coming, that sort of
        7   cancer?                                               7   thing, but I don't think we had any substantive
        8        A I have to my students -- I mean to the         8   discussion, and I can't -- I know some of the
        9   students in my department. I teach epidemiologic      9   others, but I've never spoken to them about this
       10   methods. I don't teach about ovarian cancer. I       10   issue.
       11   don't teach about talc. That's not what I'm paid     11       Q Do you know personally or professionally
       12   to do. I'm paid to teach about the methodology       12   any of the other plaintiffs' experts in the MDL?
       13   and the conduct of -- and the interpretation of      13       A No, I don't.
       14   epidemiologic -- and I've used the talc/ovarian      14       Q You were chair of the working group --
       15   cancer as an example and walked my students          15   the IARC Working Group that published the
       16   through the evidence. So, yes, I have.               16   monograph on talc in 2006 -- or, well, that met in
       17        Q When did you start teaching that as part      17   2006, and then was subsequently published in 2010,
       18   of your epidemiological methods course?              18   correct?
       19        A Probably two years ago. As soon as I          19       A That's correct.
       20   started gathering the information and synthesizing   20       Q And there were roughly 20 members of
       21   it, so two -- two or three years ago.                21   that working group?
       22        Q Other than presenting to your students        22       A I think so.
       23   your analysis of talc and ovarian cancer as an       23       Q In 2006, you agreed with the IARC
       24   illustration of an epidemiological method, have      24   classification of, quote, "possible" describing
       25   you presented your opinion that perineal use of      25   the relationship between perineal talc use and
                                                  Page 135                                                  Page 137
        1   talcum powder can cause ovarian cancer in any         1   ovarian cancer, correct?
        2   other context outside of litigation?                  2           MS. PARFITT: Objection. Form.
        3        A No, I haven't.                                 3           THE WITNESS: That's correct. I could
        4        Q Have you spoken with other scientists          4   read the exact wording of what "to be" means, but
        5   about the issue of whether perineal use of talcum     5   that's the gist of it.
        6   powder can cause ovarian cancer? Setting aside        6   BY MS. BRANSCOME:
        7   your students.                                        7       Q Okay. IARC has not changed its
        8        A Yeah. Yes, I've spoken to -- to                8   clarification of talc, and specifically with
        9   colleagues, friends over -- over coffee, over         9   respect to the peri- -- perineal use of talc since
       10   drinks at conferences, you know, what are you up     10   it published the 2010 monograph, correct?
       11   to, what are you doing, and then describe my         11       A Technically correct, but actually,
       12   involvement in this case. And then we dig a          12   what -- the correct statement is IARC has not
       13   little further into, Well, what -- what do you       13   evaluated talc since 2006 -- has not reevaluated.
       14   think, and so on. So I -- I have discussed it in     14   So there are no changes made to IARC evaluations
       15   that kind of format.                                 15   except through a formal complete reevaluation, and
       16        Q Have you ever spoken with any of the          16   there has not been a formal complete reevaluation
       17   authors on any of the papers that you cite in your   17   of talc since the 2006 meeting. So there's no
       18   report about the potential link between perineal     18   opportunity for IARC to change anything in one
       19   use of talc and ovarian cancer?                      19   direction or another failing another complete
       20        A I don't think so. I can quickly scroll        20   evaluation.
       21   through the list to see if anything jogs my --       21       Q What, if you know, can initiate a formal
       22   yeah -- no, let me --                                22   complete evaluation of a constituent like talc?
       23        Q If you can do that quickly, we could do       23       A Well, it comes I think from different
       24   it now, or we can save that for the next break.      24   sources. I'm not entirely certain. I know that
       25        A It will take just three minutes, I            25   there is now a public process whereby public
                                                                               35 (Pages 134 to 137)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 138                                                  Page 140
        1   parties can write to the monograph program and        1   sentence -- you know, in the context of a
        2   make suggestions for chemicals to be evaluated.       2   conversation about many things, as we do when we
        3   There are -- they get requests from governments.      3   catch up when we meet. What -- you know, what's
        4   They get requests from groups of scientists. They     4   on the agenda for the monograph program? By the
        5   have their own internal scientific staff that has     5   way, I think talc might be an interesting thing to
        6   its antenna out for different problems that arise,    6   put on a list for you to consider. And probably
        7   and they generally have sort of a five-year           7   the conversation ended -- that part of the
        8   program of agents that they are going to evaluate     8   conversation ended and moved on to other things.
        9   in every -- in the next five-year period.             9   But...
       10           These things are not quick and easy to       10           MR. KLATT: Should we take a break?
       11   organize, and so there's a lot of lead time.         11           MS. BRANSCOME: I understand the noise,
       12   There's a lot of, in a way, competition for agents   12   but I -- I don't know that Dr. Siemiatycki was
       13   to get onto the list to be evaluated. There are a    13   finished with his answer.
       14   lot of interested parties that would like the        14           MS. PARFITT: We'll keep going. I
       15   agent that they are exposed to or the "et cetera"    15   didn't -- I was trying to keep a clean record for
       16   to be evaluated. So the exact mechanics of how       16   you. That's fine. Keep going.
       17   they make decisions, I haven't been involved in      17           MS. BRANSCOME: Well, we -- we can
       18   that process, but that's, roughly speaking, how      18   pause. I just was trying to let him finish his
       19   it's done.                                           19   answer.
       20        Q Have you ever submitted a request to          20           MS. PARFITT: We'll keep it paused here
       21   IARC for them to conduct a complete evaluation of    21   on the screen. Just a little bit more activity.
       22   talc?                                                22           THE VIDEOGRAPHER: We will pause for a
       23        A Have I ever?                                  23   second. We're going off the record, 2:41 a.m. --
       24        Q Have you since the publication of the         24   p.m.
       25   monograph in 2010 submitted a request to IARC for    25           (Pause.)
                                                  Page 139                                                  Page 141
        1   them to conduct another complete evaluation of        1          THE VIDEOGRAPHER: We're going back on
        2   talc?                                                 2   the record at 2:43 p.m.
        3       A I had a quick word with the director of         3   BY MS. BRANSCOME:
        4   the monograph program a few months ago, and I         4       Q When you spoke with the director of the
        5   suggested it might be time for that. But I'm          5   monograph program for IARC last summer, did you
        6   intending to submit a more formal request along       6   inform him that you have been serving as an expert
        7   those lines. So...                                    7   witness on behalf of plaintiffs in litigation
        8       Q Okay. Who -- who specifically did you           8   involving talcum powder products and the claim
        9   speak with a few months ago?                          9   that they cause ovarian cancer?
       10       A The director of the monograph program is       10       A I'm not sure if I told him at that time,
       11   Kurt Straif, S-T-R-A-I-F.                            11   but I certainly have told him since then.
       12       Q And how did you have occasion to be            12       Q When you were talking to him about the
       13   speaking with the director?                          13   possibility of including talc in a formal,
       14       A We're acquaintances, and I met him at a        14   complete evaluation subsequent to the one that was
       15   conference in August, I saw him when I was in Lyon   15   done in 2006 and published in 2010, did you tell
       16   in November at a meeting that he organized. So       16   him anything about your opinions with respect to
       17   I've seen him a few times in the last six months.    17   the likelihood that perineal use of talc can cause
       18       Q When did you have this conversation with       18   ovarian cancer?
       19   the director?                                        19       A I don't think I did.
       20       A I think it was in the summer.                  20       Q What did he say about -- if anything,
       21       Q So the summer of 2018?                         21   about conducting a formal evaluation of talc?
       22       A Yeah.                                          22       A I -- I can't remember if he said
       23       Q And what specifically did you discuss          23   anything about it.
       24   with him?                                            24       Q Have you had any conversations with him
       25       A I -- I think it might have been a one          25   other than the conversation you had last summer

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                                         Jack Siemiatycki, Ph.D.
                                                   Page 142                                                  Page 144
         1   about IARC conducting another examination of talc     1   sufficient growth in the information base that
         2   and its potential carcino- -- carcinogenicity --      2   would justify it. And the question is whether
         3   whoops, butchered that one -- about it's ability      3   there are other priorities -- that they have
         4   to cause cancer?                                      4   things with even higher priorities for them to
         5        A No. I don't think I did.                       5   look at.
         6        Q Now, you said you have an -- you have          6        Q We agree the perineal use of talc
         7   the intention to submit something formal to IARC;     7   currently is classified by IARC as a Group 2B
         8   is that correct?                                      8   chemical, correct?
         9        A Yes. I've been thinking about it, and          9        A Correct.
        10   I -- when I have time, I'll look into the process.   10        Q So the classification or the definition
        11        Q What specifically would you request that      11   of a Group 2A chemical still applies when there is
        12   IARC do at this time with respect to talc?           12   limited evidence of carcinogenicity in humans and
        13        A Carry out an evaluation like they did in      13   then sufficient evidence of carcinogenicity in
        14   2006 but with up-to-date data.                       14   experimental animals, correct?
        15        Q What data specifically do you think an        15        A Yes.
        16   IARC Working Group would need to consider that was   16        Q Has there been developments in the
        17   not available in 2006? What are the key pieces of    17   experimental animal data since the IARC Working
        18   data that you think should be considered by a        18   Group evaluated the risks associated with the
        19   working group?                                       19   perineal use of talc in 2006?
        20        A So from an epidemiological database           20        A I'm not aware whether there has been.
        21   point of view, there have been a number of           21   I -- it does not spring to mind. I can't think of
        22   publications, as you know, since 2006, including     22   any examples.
        23   some cohort studies, various case-control studies,   23        Q Now, I noticed in your report you have a
        24   various meta-analyses, a pooled analysis from the    24   description, it's on page 24, of the different
        25   Terry group. All of that information bears on the    25   categories that IARC might rate a chemical.
                                                   Page 143                                                  Page 145
        1    evaluation of cancer risk. It -- it may or may        1           Do you see where I am?
        2    not change the view of a working group vis-à-vis      2       A Yes, I see where you are.
        3    the view held by the 2006 working group, but          3       Q Okay. And there's a rating system that
        4    there's enough new information there that it could    4   IARC uses that ranges from 1 to 4, correct?
        5    potentially change points of view.                    5       A Yes.
        6            And in the mechanism area, I understand       6       Q That -- you have indicated here on
        7    that there has been additional work on various        7   page 24 on your report that number 4 is not a
        8    possible areas of -- concerning the migration of      8   carcinogen. Is that accurate? Is that an
        9    particles around the body and how this might          9   accurate description of category 4?
       10    influence the -- the biological plausibility of      10       A The wording is longer than that, but
       11    such a -- a process. The possible role, roles of     11   this is my potted version of what that longer
       12    inflammation or oxidative stress. There have been    12   version means.
       13    developments -- there are new publications in        13       Q The actual definition is that it is
       14    those areas that might influence a new working       14   probably not carcinogenic, correct?
       15    group or a working group looking at it with new      15       A Correct.
       16    eyes.                                                16           MS. BRANSCOME: Would now be a good time
       17            For all of those reasons, I think it         17   for a break?
       18    would be timely, and in any case, if a decision      18           MS. PARFITT: I think so. We can take a
       19    were made today to do this, such a meeting would     19   break. Thank you.
       20    probably not be held before 2022 or 2023 at the      20           THE VIDEOGRAPHER: We are going off the
       21    earliest. They have a horizon of priorities that     21   record at 2:51 p.m.
       22    they're working on. So -- and by then, there         22           (Recess.)
       23    would likely be additional work that would be        23           THE VIDEOGRAPHER: This is the beginning
       24    available.                                           24   disc number 4 in the deposition of Jack
       25            So it's an area where I think there is       25   Siemiatycki. We're going back on the record at

                                                                                37 (Pages 142 to 145)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 146                                                  Page 148
        1   3:27 p.m.                                             1   this -- there are not many that have such high
        2   BY MS. BRANSCOME:                                     2   relative risks.
        3       Q Good afternoon, again, Dr. Siemiatycki.         3           I'm just giving you a bit of background
        4       A Hi.                                             4   because the terminology is controversial, and I
        5       Q Do you still agree with the IARC                5   know it plays into the case of how we -- how we
        6   characterization that the case-control studies        6   characterize the associations around talc and
        7   evaluating a potential connection between perineal    7   ovarian cancer.
        8   talc powder exposure and ovarian cancer are           8           There are a lot of associations that are
        9   unusually consistent?                                 9   much less than -- with relative risks much lower
       10       A Unusually -- they're very consistent.          10   than ten that are very well accepted as being
       11   I'm not sure I would choose the word "unusually."    11   causal associations. And so the idea that
       12   Sometimes when 20 people write a document,           12   associations have to be, quote/un- -- quote,
       13   everyone doesn't agree with every word, but they     13   strong in the sense that the smoking-lung cancer
       14   are very consistent.                                 14   association was strong is not really tenable any
       15       Q Do you agree with the IARC determination       15   more. There are so many -- most known carcinogens
       16   that the excess in risk in those case-control        16   don't have such strong -- don't have such high
       17   studies is, quote, modest?                           17   relative risks. So where you draw the line
       18       A That the what, the increase in risk?           18   between strong, moderate, weak, and so on, is a
       19       Q Or the excess of risk.                         19   kind of -- is a vague notion.
       20       A Yeah, the -- I mean, the terminology           20           If you're asking me how I would
       21   around strength of association -- weak, modest,      21   characterize it or how it's characterized -- I'm
       22   strong, very strong, medium, et cetera -- it         22   not sure whether you want to go -- to ask how I
       23   doesn't have -- there are no regulations. There's    23   would characterize it or how it's characterized by
       24   no epidemiologic handbook that says if a relative    24   other people or --
       25   risk is in this range, you call it weak or           25       Q So, respectfully, Dr. Siemiatycki, my
                                                  Page 147                                                  Page 149
        1   moderate and so on and so forth.                      1   question was, do you agree with the IARC
        2           So the term "moderate" -- actually, the       2   classification of the increase in risk as, quote,
        3   terminology around strength of associations was       3   modest?
        4   probably most influenced by the smoking and lung      4        A So there was no such classification. It
        5   cancer situation in the '50s and '60s where there     5   was a word used in a sentence, I guess. There
        6   were relative risks of ten approximately, ten         6   is -- they never classified the association as
        7   times as high of risk for smokers as for              7   being strong, weak, moderate or whatever. It was
        8   nonsmokers of getting lung cancer, and that was       8   part of a narrative about the -- the body of
        9   considered a benchmark for strong associations.       9   evidence.
       10   And it was not known then whether most carcinogens   10           Do I agree that -- yeah, I would use
       11   would fall -- most carcinogens that would be         11   that term today.
       12   discovered later than that era would fall into the   12           I'm sorry if I digressed from your
       13   category, you know, of relative risks, around ten    13   question.
       14   or around five or around two or whatever.            14        Q You would agree that the point estimate
       15           So the -- the use of the terms "strong,"     15   of the meta-analysis that you conducted in 2018
       16   "medium," "weak" has kind of been -- what's the      16   that's contained in your report marked Exhibit 10
       17   word? -- benchmarked, I guess, by the smoking-lung   17   is actually lower than the point estimate that was
       18   cancer association. And things that --               18   reported in the Langseth 2008 study, correct?
       19   subsequently relative risks that were less than in   19        A That's correct.
       20   that order of magnitude of ten or so where people    20        Q And the Langseth 2008 paper, the
       21   didn't refer to them as strong because they were     21   meta-analysis that you and your coauthors
       22   not as strong as smoking and lung cancer.            22   conducted resulted in a 1.35 relative risk,
       23           It has subsequently turned out that the      23   correct?
       24   level of relative risk for smoking and lung cancer   24        A That's correct.
       25   is exceptional among known carcinogens, and that     25        Q And in Exhibit 10, your report in the
                                                                               38 (Pages 146 to 149)
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                                        Jack Siemiatycki, Ph.D.
                                                 Page 150                                                   Page 152
        1   MDL, the relative risk point for your 2018            1   causality, but it's not a one-to-one kind of
        2   meta-analysis is 1.28, correct?                       2   relationship.
        3       A In the 2018 -- yes, that's correct.             3           Now I've lost the thread. I'm sorry.
        4       Q Is it your opinion -- well, let me just         4   BY MS. BRANSCOME:
        5   ask you, what classification should perineal use      5       Q That's okay. I'm going to ask you the
        6   of talc get with respect to ovarian cancer under      6   question again.
        7   the IARC scale?                                       7           Simply the fact that the epidemiological
        8            MS. PARFITT: Objection. Form.                8   evidence --
        9            THE WITNESS: I -- I'm very reluctant to      9       A Yeah.
       10   answer that question because it takes a lot of       10       Q -- may support a conclusion that more
       11   input from different disciplines to produce an       11   likely than not perineal talc use can cause
       12   IARC evaluation and then IARC classification. And    12   ovarian cancer, that fact alone is not sufficient
       13   I feel it's presumptuous for any one person from     13   to result in a Group 2A classification of a
       14   one discipline to take on that function.             14   chemical under IARC.
       15            What I can say is that in this              15           MS. PARFITT: Objection. Form.
       16   situation, the epidemiologic evidence alone is       16   BY MS. BRANSCOME:
       17   sufficient to make the -- make me think that it's    17       Q Is that fair?
       18   more likely than not that there is a causal          18       A It's fair -- in principle, it's a fair
       19   association. How that proposition would feed into    19   statement. My feeling is that if that occurred in
       20   an IARC evaluation is something that would -- that   20   a meeting, and if -- you know, in an IARC Working
       21   a multidisciplinary group would need to work out,    21   Group, the group is subdivided into four
       22   but I think there's at least enough evidence to      22   subgroups: Initially, an epidemiology group,
       23   say it's more likely than not.                       23   animal experimentation group, other biological
       24   BY MS. BRANSCOME:                                    24   mechanisms, and then expose -- an exposure group.
       25       Q Because you would agree that a work --         25           If the epidemiology group came back, had
                                                 Page 151                                                   Page 153
        1   an IARC Working Group, for example, if a former --    1   a feeling that there likely -- it was more likely
        2   formal evaluation was done on talc, in order to       2   than not that there is a causal association, they
        3   classify talc as say a Group 2A, that working         3   have the prerogative to categorize the evidence as
        4   group would need to consider multiple lines of        4   being sufficient or limited. And it's not clear
        5   evidence, correct?                                    5   how they would categorize the epidemiologic
        6           MS. PARFITT: Objection. Form.                 6   evidence. That would feed into the final
        7           THE WITNESS: That's correct.                  7   evaluation.
        8   BY MS. BRANSCOME:                                     8       Q So you would say, as you sit here today,
        9       Q And simply the determination, if it were        9   based on what you know about the epidemiological
       10   the case that the epidemiological evidence might     10   evidence with respect to the perineal use of talc
       11   support the conclusion that perineal use of talc     11   and ovarian cancer, it's not clear whether that
       12   more likely than not can cause ovarian cancer,       12   would satisfy the criteria for sufficient evidence
       13   would not by itself be sufficient for a Group 2A     13   of carcinogenicity. Is that fair?
       14   rating. Is that fair?                                14           MS. PARFITT: Objection. Misstates his
       15           MS. PARFITT: Objection. Form.                15   testimony.
       16           THE WITNESS: The IARC classification         16           THE WITNESS: For -- for a particular
       17   was developed in the 1970s. It was not developed     17   working group. Because the other particularity of
       18   in order to fit into a template that can be used     18   the IARC process, as with other -- from high level
       19   in the courtroom. So terms like "more likely than    19   scientific processes, is that it depends a lot on
       20   not" or, you know, whatever terminology would be     20   scientific judgment. There's -- there are
       21   used in a courtroom around this sort of thing does   21   guidelines for how to combine animal evidence and
       22   not fit perfectly on the IARC classification         22   basic biology evidence in epidemiology, but all of
       23   scale.                                               23   these guidelines are just models of how the final
       24           I understand why courts use IARC             24   evaluation might be determined.
       25   evaluations as an input to understanding             25           Each working group is sovereign and can
                                                                               39 (Pages 150 to 153)
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                                         Jack Siemiatycki, Ph.D.
                                                   Page 154                                                  Page 156
        1    take the entire body of evidence and make a           1           (A discussion was held off the record.)
        2    decision outside the -- the template -- the -- the    2   BY MS. BRANSCOME:
        3    typical template. So a working group could look       3       Q Do you remember what you were answering
        4    at the evidence and decide is it Group 1, it's        4   or should we --
        5    Group 2B, Group 2A, based on the totality of          5       A I prefer if -- I'm sorry. If you could
        6    evidence.                                             6   ask again and --
        7             In general, if the epidemiology is           7       Q Let me ask it a different way. Is it
        8    convincing, it would be Group 1 or Group 2A if        8   possible for a confounding variable to essentially
        9    it's convincing but not -- or let's say if it's --    9   infect all of the epidemiology on a particular --
       10    if it indicates a risk but it's not definitive.      10   looking at a particular causal relationship?
       11    BY MS. BRANSCOME:                                    11           MS. PARFITT: Objection. Form.
       12         Q So you would say if the epidemiology          12           THE WITNESS: It is possible.
       13    indicates a risk but is not definitive, you think    13   BY MS. BRANSCOME:
       14    there's a possibility a chemical would be            14       Q Okay. If that were to happen and you
       15    classified as Group 1?                               15   see evidence in the epidemiology that shows a
       16             MS. PARFITT: Objection. Form.               16   consistent increase in risk but there's the
       17             THE WITNESS: It depends how close to        17   potential for a confounding variable, would it be
       18    definitive it is. So if the feeling of the group     18   important to look at the potential biological
       19    is that it's almost certain on the basis of          19   mechanism to see whether or not the agent might be
       20    epidemiologic evidence, then they could classify     20   causing the outcome?
       21    it as Group 1, and they would classify the           21       A So the confounding factor is -- is a
       22    epidemiologic evidence as sufficient in that case.   22   factor that could be captured in epidemiologic
       23    BY MS. BRANSCOME:                                    23   studies but hasn't been. Is that what you are
       24         Q Okay. On the scale of definitiveness,         24   alluding to? And the biologic -- but the biologic
       25    where would you place the evidence of the perineal   25   mechanism that you're referring to would involve
                                                   Page 155                                                  Page 157
         1   use of talc and ovarian cancer as of today?           1   that confounding factor or is this -- are you --
         2       A Based on the epidemiologic evidence.            2   are you confounding "confounding" with -- with
         3       Q Correct.                                        3   biologic mechanism issues?
         4       A I -- I go back to more likely than not.         4       Q Okay. Let me -- let me give you a
         5   Not -- not definite, but more likely than not.        5   specific hypothetical.
         6       Q Is it possible to have a situation where        6       A Yes.
         7   the epidemiological evidence is supportive of a       7       Q Okay. So let's say hypothetically, for
         8   causal association, but the group working on          8   example, recall bias --
         9   biological mechanism determines that there isn't a    9       A Okay.
        10   sufficient mechanism by which that chemical could    10       Q -- affects the epidemiology related to
        11   have caused that outcome?                            11   looking at the causal relationship, and whether
        12       A That can happen.                               12   you agree with it or not, but we'll just say
        13       Q And what would the explanation for an          13   hypothetically that affected the epidemiology of
        14   inconsistency like that be?                          14   talc use and ovarian cancer.
        15       A It would require quite a high level of         15       A Can I just interrupt for a
        16   understanding of the mechanistic evidence.           16   terminological thing? So typically we don't refer
        17           So -- I -- I don't know if it has            17   to recall bias as a confounding factor.
        18   happened, so I'm -- I'm trying to think through      18       Q Ah.
        19   memory whether I can think of any examples. I'm      19       A We refer to it as a bias, a type of
        20   not sure that it has happened.                       20   bias, but -- you know, that's just technical, but
        21           THE VIDEOGRAPHER: Excuse me, Counsel.        21   for the record, if we're going to be discussing
        22   The microphone just fell.                            22   this further.
        23           THE WITNESS: Oh, I'm sorry.                  23       Q I appreciate the clarification.
        24           MS. BRANSCOME: That's okay. You just         24       A Thank you.
        25   knocked off your microphone.                         25       Q Well, first of all, let me just ask you,
                                                                                40 (Pages 154 to 157)
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                                        Jack Siemiatycki, Ph.D.
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        1   is recall bias something that could affect the        1   exposures, all -- you know, environmental things
        2   reliability of conclusions drawn from                 2   that they've been exposed to, et cetera, there --
        3   epidemiological studies that rely on recall to        3   there's no reason why exposure to talc would be
        4   define exposure to the agent?                         4   the one item in epidemiologic questionnaires that
        5        A Yes, it could, hypothetically.                 5   would provoke recall bias where nothing else does.
        6        Q Okay. Is recall bias something that            6           So if it's a part of a general
        7   potentially could affect the epidemiological          7   phenomenon, this recall bias, which is certainly a
        8   studies of the perineal use of talc?                  8   hypothetical possibility, we would see that most
        9        A Yes, theoretically, it could.                  9   of the associations that were tested in case-
       10        Q Okay. In situations where there is a          10   control studies would be found to be high risks,
       11   potential bias or a confounding variable that has    11   maybe significantly high risks.
       12   not been identified, how should epidemiological      12           That's not what we observed. That's not
       13   evidence be evaluated in comparison to the other     13   what I've observed in my research. I have
       14   categories of evidence that are considered, for      14   estimated -- and in the book that I showed this
       15   example, by an IARC Working Group?                   15   morning, there are literally thousands of odds
       16        A Well, these things would typically be         16   ratio estimates in there. But in all of my
       17   evaluated in a -- a nonquantitative way. You         17   research on over nearly four decades, I've
       18   can't really quantify what is the potential impact   18   published a lot of evidence, and I can show some
       19   of a confounder that you don't know about or that    19   examples, where there's no difference between
       20   you haven't measured. It's kind of a theoretical     20   cases and controls because there is no effect,
       21   thing.                                               21   there's no causal association between the two
       22           And the same with -- with recall bias        22   things, and the case -- although people were --
       23   where there could be some evidence about it. And     23   cases were asked about, let's say, alcohol
       24   certainly when I reviewed the evidence on this       24   consumption, and controls were asked about alcohol
       25   topic, the possibility of recall bias was one of     25   consumptions, the cases didn't overreport. They
                                                  Page 159                                                  Page 161
        1   the main stumbling blocks to arriving at an           1   didn't say, Oh, well, they want to know if this
        2   opinion, as it was for the IARC panel in 2006.        2   caused my cancer, and therefore I'm going to tell
        3   You know, we are all aware of that hypothetical       3   them, yes, I consumed a lot of beer and wine and
        4   possibility, and we think about whether something     4   so on, or smoking or whatever.
        5   of that magnitude -- something like that could        5           So we don't see this as a general
        6   artifactually generate an appearance of a relative    6   phenomenon that people overreport -- that cases
        7   risk.                                                 7   overreport compared to controls.
        8           My own way of dealing with that was to        8        Q Have you looked at the phenomenon of
        9   look at the phenomenon of recall bias from the        9   recall bias specifically when the agent being
       10   perspective of both my own research, which has       10   investigated is part of public wide -- wide scale
       11   mainly involved case-control studies, some cohort    11   litigation?
       12   studies but mainly case-control studies, and         12           MS. PARFITT: Object to form.
       13   research that I've read about, experienced,          13           THE WITNESS: So I haven't personally --
       14   reviewed for journals, et cetera.                    14   let me just think if any of my research has
       15           And if the phenomenon of recall bias         15   involved situations analogous to that.
       16   were sort of a general across-the-board phenomenon   16           Yes. Cell phones and brain cancer. So
       17   that infects and in a way discredits all             17   I was involved in a large cell phone and brain
       18   case-control studies -- interviewing cases, people   18   cancer study, and we asked cases about their use
       19   who are sick people, interviewing people who are     19   of cell phones, and we asked controls about their
       20   well and comparing the responses -- if this were     20   use of cell phones. And while the interpretation
       21   an inherent systemic problem, what we would          21   of the results of the study were somewhat
       22   observe in general would be a plethora of fake       22   controversial, there was no generalized phenomenon
       23   excess risks. Because almost everything you would    23   of cases reporting more cell phone use than
       24   ask people about, whether it's smoking, alcohol      24   controls in that particular study.
       25   consumption, physical activity, diet, workplace      25           So that -- I can't think of another
                                                                               41 (Pages 158 to 161)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 162                                                  Page 164
        1   example in my career of sort of one of these          1        A Yeah.
        2   generally suspected things. I mean, I've studied      2        Q Are those areas in which you contend
        3   a lot of occupational exposures, but those tend to    3   there is developments in the scientific literature
        4   be more obscure, and people don't, you know, have     4   that is relevant to the question of the connection
        5   the same visceral reaction maybe to were you          5   between perineal use of talc and ovarian cancer?
        6   exposed to formaldehyde or benzene or this or         6        A Yes.
        7   that.                                                 7        Q Okay. So I just wanted to talk to you
        8   BY MS. BRANSCOME:                                     8   about which of those categories you are
        9       Q For purposes of your meta-analysis, you         9   independently offering an expert opinion as
       10   looked at the binary question of ever having used    10   opposed to you are deferring to others. Does that
       11   talc and never having used talc, correct?            11   make sense?
       12       A Among other -- not only that, but that         12        A Yes.
       13   in addition to, yeah.                                13        Q All right. So you are offering an
       14       Q Yes. For example, you were not -- your         14   expert opinion about developments in the
       15   data isn't stratified based off of having used it    15   epidemiology, correct?
       16   to a certain degree of frequency, correct?           16        A Correct.
       17       A The -- the meta-analysis, no.                  17        Q Are you testifying as an expert in
       18       Q Okay.                                          18   developments in the scientific literature with
       19       A I -- I looked at dose-response                 19   respect to toxicology?
       20   information within the studies that provided it,     20        A No.
       21   but I didn't do any meta-analyses of the -- of the   21        Q Are you testifying as an expert with
       22   dose-response data.                                  22   respect to developments in the scientific
       23       Q Okay. So I -- I asked you sort of the          23   literature in molecular biology?
       24   broad question about what has changed in the         24        A No. I -- I'm aware that there have been
       25   scientific literature with respect to perineal use   25   some publications since 2006 in that domain, but
                                                  Page 163                                                  Page 165
        1   of talc since the 2006 IARC Working Group, but I      1   I'm not offering an opinion about those.
        2   want to point you now sort of specific to what you    2        Q Are you offering an opinion with respect
        3   say in your report and ask you some more detailed     3   to the biological mechanism by which the perineal
        4   questions about what's changed.                       4   use of talc may or may not cause ovarian cancer?
        5           So if you could turn to page 67 of            5        A Not an opinion. Again, I'm -- I'm
        6   Exhibit 10 there.                                     6   acknowledging that there is new evidence, and I
        7       A Yes.                                            7   mention some of that, yes.
        8       Q Sorry, just one moment. My pencil has           8        Q But as an expert, you're not here to
        9   died on me. Just give me one second. All right.       9   opine on the strengths and weaknesses of that
       10           All right. So you have a Section 9 here      10   evidence or how it might be weighted against other
       11   that says: "Contrast with IARC monograph and         11   evidence that's in the field related to biological
       12   other reviews." Do you see that?                     12   mechanism; is that fair?
       13       A I do.                                          13           MS. PARFITT: Objection. Form.
       14       Q All right. And you asked the question          14           THE WITNESS: That's correct.
       15   in your report: "What has changed in the years       15   BY MS. BRANSCOME:
       16   since the IARC review?" Correct?                     16        Q Okay. Now, you state in your report
       17       A Correct.                                       17   that: "The various possible biases" -- this is
       18       Q All right. And you talk about                  18   still on page 67 -- "that are on the table remain
       19   additional studies and scientific literature         19   substantially similar to the ones that were
       20   addressing a variety of topics, including            20   considered by the IARC panel." Correct?
       21   epidemiology, toxicology, molecular biology and      21        A Correct, I said that.
       22   mechanistic studies; is that correct?                22        Q Okay. What are the various possible
       23       A Sorry, are -- you're saying that I             23   biases that you refer to there?
       24   referred to those domains?                           24        A Well, I -- I'd have to go back to the
       25       Q Yes.                                           25   IARC 2006 report to give you a full answer, but I
                                                                               42 (Pages 162 to 165)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 166                                                  Page 168
        1   guess the main things that were highlighted at the    1   there is error in diagnose -- I guess you -- what
        2   time were measurement error, how to assess            2   you're alluding to -- let me make sure, you're
        3   exposure to talc, and what the impact of              3   alluding to possible misdiagnosis between
        4   measurement error might be on the estimates,          4   mesothelioma and ovarian cancer. Is that where
        5   recall bias and the possible impact that that         5   you're going?
        6   might have.                                           6       Q That -- that is one possibility, yes.
        7        Q What do you mean by "measurement error"?       7       A So in the case of a -- in this situation
        8        A Measurement error is closely related to        8   of a cohort study, following up a group of women,
        9   recall bias, but it's not the same thing.             9   some of them really get mesotheliomas that are not
       10   Measurement -- recall bias refers to differences     10   linked to talc exposure, but those women are
       11   between cases and controls in the way they           11   classified as ovarian cancers erroneously.
       12   respond. Measurement error refers to inaccurate      12   They -- that error would have the effect of
       13   recall and reporting, irrespective of whether        13   reducing the apparent risk compared to the real
       14   there are cases and controls. There can be           14   risk of talc and ovarian cancer. In that context,
       15   exactly the same degree of error in -- in recall     15   it would have that effect.
       16   between cases and controls.                          16           In the context of a case-control study,
       17            So it's not differential. It's not --       17   where you start with a group of women who have
       18   it's not a recall bias between the two groups.       18   been diagnosed with ovarian cancer but in truth
       19   But if there's error, if some people report high     19   some of them had peritoneal mesotheliomas, and you
       20   use, and in fact they had medium use and all --      20   compare them to controls, the women who -- and
       21   all this sort of thing, that impacts the estimates   21   assuming that talc has no effect on peritoneal
       22   of relative risk -- even though those errors are     22   mesothelioma, which is another assumption to make,
       23   the same in the cases and controls, that impacts     23   but -- but assuming that it does on ovarian
       24   the estimates of relative risk, and that generally   24   cancer, just for the sake of argument, lumping in
       25   impacts it in the direction of attenuating the       25   the mesotheliomas with the ovarian cancer cases
                                                  Page 167                                                  Page 169
        1   relative risk estimates, lowering them from what      1   would again create a reduction in the estimate of
        2   they really are.                                      2   relative risk.
        3            So that's one error -- one type of error     3           So in both situations -- I would have to
        4   that is -- that permeates epidemiology and that is    4   work it out on a pad of paper, but I think in both
        5   present, and that we have to be conscious of and      5   cases -- and I did write something about this in
        6   try to evaluate.                                      6   my report, so if you don't --
        7        Q Could there be measurement error related       7       Q Feel free to take a look. Sure.
        8   to misdiagnoses?                                      8       A -- mind. Thinking out loud in the
        9        A Yes.                                           9   middle of a deposition is sometimes harder than
       10        Q And if there was misdiagnoses in the          10   thinking out loud at home. (Peruses document.)
       11   sense that someone was diagnosed with ovarian        11           So I'm looking at page 57,
       12   cancer but in fact had a different form of cancer,   12   Section 7.2.5, at the bottom of the page and then
       13   that could actually result in an artificially        13   going on to the next page, and see if what I said
       14   inflated relative risk, correct?                     14   then is -- corresponds roughly to what I just
       15            MS. PARFITT: Objection. Form.               15   said.
       16            THE WITNESS: So that kind of error in       16           I think basically it -- it agrees with
       17   diagnosis has subtly different meaning in the        17   what I just said. Basically the effect would be
       18   context of a case-control study and a cohort         18   to attenuate estimates in this situation.
       19   study. And if -- if you want, I'll -- I could try    19       Q So we discussed -- of the various
       20   to answer your question in -- in each context.       20   possible biases that might affect the
       21   BY MS. BRANSCOME:                                    21   epidemiology, we talked about measurement error,
       22        Q Okay.                                         22   recall bias, diagnostic error.
       23        A So it has an effect in both contexts,         23           Are there any other potential biases
       24   but it's a slightly different effect.                24   that should be considered when evaluating the
       25            So in the context of a cohort study, if     25   epidemiology on the use of talc peritoneally?
                                                                               43 (Pages 166 to 169)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 170                                                  Page 172
        1       A Yes. So I -- I did list a bunch of              1   other biases. And this is why I corrected you at
        2   possible biases in my report. And one of them --      2   the beginning when we were talking about
        3   if you don't mind, I'll just go through the titles    3   confounding and bias. I mean it's not -- I'm not
        4   of the different things that -- starting on           4   criticizing you in any way for this. It's --
        5   page 53.                                              5   there is terminological gray zones in
        6           Bias due to nonresponse or                    6   epidemiology, so it's not always clear. But --
        7   nonparticipation. If you carry out a case-control     7        Q Would it be fair to describe a
        8   study, and you get -- you identify a group of a       8   confounding variable in the context of ovarian
        9   hundred women who are cases, and you ask them to      9   cancer as something that as of now is unknown that
       10   participate and only 50 agree to participate, and    10   makes a particular individual more likely to
       11   the ones who agree to participate happen to be the   11   develop ovarian cancer that also, for whatever
       12   only ones who used talcum powder, and the other 50   12   reason, makes them more likely to use talcum
       13   that you don't know about never used it, that        13   powder?
       14   would be a problem. And -- but it also depends       14        A Yes. That would be a correct
       15   what happens among the controls. Among the           15   interpretation of "confounding."
       16   controls, do you get the same nonresponse bias?      16        Q And that is something that should be
       17   So there's a -- that is one possible bias in         17   taken into account in evaluating the epidemi- --
       18   case-control studies.                                18   epidemiological literature, correct?
       19           The second one I listed was recall or        19        A That's correct.
       20   reporting bias that we've discussed.                 20        Q And you would agree that the scientific
       21           The third one is what I call                 21   community at large has not yet understood all of
       22   nondifferential or random error, which we            22   the potential factors that might contribute to a
       23   discussed. It's error in reporting that is equal     23   susceptibility to develop ovarian cancer, correct?
       24   in cases and controls, but it has an impact on       24           MS. PARFITT: Objection. Form.
       25   relative risk estimates.                             25           THE WITNESS: Sorry, I -- I was hearing
                                                  Page 171                                                  Page 173
        1           The fourth one, which we haven't              1   two things with my two ears.
        2   discussed, has to do -- it's mainly a problem for     2           MS. PARFITT: Sorry.
        3   cohort studies. And if you carry out a cohort         3           THE WITNESS: Can you repeat the last
        4   study of -- focused on cancer, and you collect        4   part?
        5   information about exposure, and then follow them      5   BY MS. BRANSCOME:
        6   for two years to find out how many of them got        6        Q Yeah. You would agree that all of the
        7   cancer, and whether there is a difference between     7   factors that might make someone susceptible to
        8   the people who were exposed and the people who are    8   developing ovarian cancer are not currently known.
        9   not exposed, well, that would be pretty hopeless      9        A That's correct.
       10   because it takes more than two years for cancers     10           So are -- are you -- are you getting at
       11   to develop and be diagnosed. So short follow-up      11   the potential impact of confounding as -- from
       12   periods in cohort studies would be a source of       12   unknown factors as something that hasn't been
       13   bias in cohort studies.                              13   properly evaluated or that is part of this
       14           Diagnostic errors, we've just discussed.     14   picture?
       15           Initiation of powdering as a result of       15        Q I am simply asking you --
       16   ovarian cancer, is it possible that some women       16        A Yes.
       17   who -- that there is a statistical association       17        Q -- questions about your opinions.
       18   between powdering and ovarian cancer, but it's       18        A Yes, yeah.
       19   because the women who get ovarian cancer in the      19        Q But you agree that the possibility of an
       20   early stages, to relieve symptoms or to deal with    20   unknown confounding variable is something that, as
       21   discomfort start to use powdering. And so that is    21   an epidemiologist, you would at least consider
       22   a potential bias.                                    22   when looking at the strength of association
       23           Confounding is the next category, and        23   established by epidemiological studies, correct?
       24   that's -- it's a huge category of potential          24        A I would consider it, and I've considered
       25   distortion that is a little bit different from the   25   it in the context of this literature, and in my
                                                                               44 (Pages 170 to 173)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 174                                                  Page 176
        1   opinion, it's unlikely that any confounding factor    1   illustrate the potential impact of confounding in
        2   or factors would create the pattern of results        2   this issue of ovarian cancer and talc, and what --
        3   that we see.                                          3   to explain why I believe that the excess risks
        4           And if I could give you one piece of          4   that we observe are unlikely to be explained by
        5   evidence about why I -- you know, that illustrates    5   confounding.
        6   why I think that. A confounding factor can only       6       Q Okay. You would agree, though, that if
        7   bias the result by a certain amount; not as strong    7   there was a confounding variable that had a
        8   as its own relationship to the risk factor.           8   relationship with, in this case, ovarian cancer
        9           So if there's a risk fact- -- if the          9   that was stronger than 1.3, it could explain an
       10   relative risk that we see around 1.3 -- ballpark,    10   increase of 1.3 associated with the use of talc if
       11   let's for the sake of argument say 1.3 -- is due     11   it was similarly connected to the use of talcum
       12   to a confounding factor, that confounding factor     12   powder products --
       13   would have to have an association with ovarian       13           MS. PARFITT: Objection. Form.
       14   cancer much strong -- stronger than 1.3, but much    14   BY MS. BRANSCOME:
       15   stronger than 1.3.                                   15       Q -- correct?
       16           And I can -- just to illustrate that, I      16           MS. PARFITT: Objection. Form.
       17   actually have a publication -- I think I gave you    17           THE WITNESS: Well, one of the points
       18   a copy of that publication of mine that              18   that I want to illustrate is that not only would
       19   illustrates my own research on occupational causes   19   it have to be stronger than 1.3, it would have to
       20   of cancer --                                         20   be a lot stronger than 1.3.
       21           THE VIDEOGRAPHER: Sorry.                     21   BY MS. BRANSCOME:
       22           THE WITNESS: Am I again disconnected?        22       Q How strong would it need to be?
       23   Okay. When I get excited...                          23           MS. PARFITT: Objection. Form.
       24           Yes, that's the one. If I could --           24           THE WITNESS: I'll answer that by -- by
       25           MS. PARFITT: Make a copy.                    25   showing you what -- what we found when we were
                                                  Page 175                                                  Page 177
        1           THE WITNESS: Do you have any copies?          1   examining the associations between different
        2           MS. PARFITT: I'm looking to see.              2   occupations and lung cancer.
        3           THE WITNESS: So -- well, if I could           3           So occupation and lung cancer, there are
        4   just read a couple of sentences from the abstract     4   some true associations there, as you probably
        5   of this, I'll tell you what this is about. It's       5   know, but -- and we collected information about
        6   a study of --                                         6   people's occupations. We also collected
        7   BY MS. BRANSCOME:                                     7   information about their smoking history, their
        8       Q Could you, please, Dr. Siemiatycki,             8   socioeconomic status, their ethnicity and so on.
        9   identify for me --                                    9   A lot of factors.
       10       A Oh.                                            10           But the most important part of this was
       11       Q -- what is the paper from which you are        11   looking at the association between lung cancer and
       12   reading.                                             12   smoking and -- lung cancer and occupation. We
       13       A Yes. This is a paper called "Degree of         13   chose I think 15 occupations, estimated the odds
       14   confounding bias related to smoking, ethnic group,   14   ratios for 15 different associations between
       15   and socioeconomic status in estimates of the         15   occupations and lung cancer, and we controlled for
       16   associations between occupation and cancer."         16   smoking or we didn't control for smoking. We
       17       Q Is this something that you cite to or          17   compared the results when you control for smoking
       18   reference anywhere in the report that you            18   and when you don't compare -- control for smoking.
       19   submitted in the MDL?                                19   BY MS. BRANSCOME:
       20       A It's only in my CV, which is I think           20       Q Respectfully, Dr. Siemiatycki, I only
       21   part of the record.                                  21   have seven hours to ask you questions.
       22       Q What led you to specially identifying          22       A Okay.
       23   this article, which you seem to have handy today     23       Q Your -- your -- counsel for the
       24   here at the deposition?                              24   plaintiffs can ask you to fully explain other
       25       A Because I was thinking about how to            25   research that you've done.
                                                                               45 (Pages 174 to 177)
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                                        Jack Siemiatycki, Ph.D.
                                                 Page 178                                                  Page 180
        1       A Okay.                                          1            In -- one of the differences between --
        2       Q It sounds very interesting.                    2   as I mentioned earlier, between -- some types of
        3       A Thank you.                                     3   meta-analyses are carried out on clinical trials,
        4       Q But my question to you is, in your             4   in fact, I would say the bulk of meta-analysis is
        5   opinion, how strong would an association have to     5   conducted in clinical trials research where the
        6   be with a confounding variable in order to play a    6   research protocols are really very standardized
        7   significant role in a 1.3 relative risk?             7   from one study to another, and that enhances the
        8       A My --                                          8   ability to make inferences from the results of a
        9          MS. PARFITT: Objection. Form.                 9   meta-analysis.
       10          THE WITNESS: -- guess, it would have to      10            In observational epidemiology, this
       11   be in the order of 3 to 5. Because it also          11   isn't true. We have very different kinds of study
       12   depends on the association between a talc           12   design and problems that arise in different
       13   powdering behavior and this unknown confounder.     13   studies, and this leads in itself to variability
       14   BY MS. BRANSCOME:                                   14   and heterogeneity. And it is sometimes imagined
       15       Q Okay. Are there limitations to                15   that heterogeneity is a reflection -- some sort of
       16   performing a meta-analysis?                         16   a reflection of different risks in different
       17          MR. TISI: Do you want to mark that or        17   populations or something like that. It's mainly
       18   no?                                                 18   -- it's at least in part a reflection of the fact
       19          MS. BRANSCOME: No.                           19   that different study designs and different -- just
       20          THE WITNESS: Are there --                    20   not just the overall architecture of the design,
       21   BY MS. BRANSCOME:                                   21   but the implementation, how people were
       22       Q -- limitations to performing a                22   interviewed, what the questions were and so on,
       23   meta-analysis?                                      23   influences the results of a study. That varies
       24       A I -- I'm not sure what -- like --             24   from study to study, and that creates
       25       Q I believe you referenced earlier that         25   heterogeneity. So --
                                                 Page 179                                                  Page 181
        1   you teach a class on epidemiological                 1       Q Does heterogeneity -- do you want
        2   methodologies; is that correct?                      2   heterogeneity in a meta-analysis? Is it a good
        3       A Yes.                                           3   thing or does it weaken the meta-analysis?
        4       Q Okay. So presumably, when you teach a          4       A It depends on the purpose of the
        5   class you discuss the strengths and the              5   meta-analysis. So some meta-analyses have as one
        6   limitations of different types of analyses. Fair?    6   of their objectives to identify populations in
        7       A It comes into the course, yes.                 7   which the effect of the drug or the -- whatever
        8       Q Okay. So in the context of looking at          8   you're studying is different from one population
        9   the strengths and the weaknesses of different        9   to another. That is a situation where you want to
       10   types of analyses, are there any weaknesses or      10   identify heterogeneity, and you want to try to
       11   limitations to a meta-analysis?                     11   target heterogeneity and the different
       12       A Weakness, okay. Because the word              12   populations, different studies, the different
       13   "limitation" doesn't always mean weaknesses.        13   methods of administering medication, or whatever
       14           Meta-analysis depends on having reliable    14   the differences are between studies.
       15   data. So the basic studies that you use and the     15           In observational epidemiology, it's
       16   basic data that you use in a meta-analysis has to   16   rarely the case that heterogeneity -- that a
       17   be sufficiently reliable to support a good          17   formal evaluation of heterogeneity is -- is useful
       18   meta-analysis.                                      18   or actionable. Usually the bottom line result
       19           The data have to be sufficiently            19   doesn't change. For example, there are
       20   comparable in nature. So putting apples and         20   meta-analyses of smoking and lung cancer where the
       21   oranges and grapes into the same meta-analysis      21   meta-analysis demonstrates heterogeneity of the
       22   would be a problem. Different kinds of apples,      22   results. The results are always between a
       23   yes, but different -- et cetera. So you have to     23   relative risk of 5 or 6 and a relative risk of 10
       24   be careful that you're really measuring the same    24   or 12.
       25   thing, have the same outcomes.                      25           Now, for the question of -- for the
                                                                              46 (Pages 178 to 181)
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                                        Jack Siemiatycki, Ph.D.
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        1   qualitative question does smoking cause lung          1   of the weaknesses is that it is sometimes
        2   cancer, it really doesn't matter if the relative      2   fetishized, and that people put too much -- you
        3   risk is 5 or 12. So that heterogeneity has            3   know, have sort of a magical belief in the value
        4   absolutely no bearing on the question that is         4   of meta-analysis result, which is not justified.
        5   being asked, and the best answer ignore -- would      5   Often the results of certain critical studies are
        6   ignore heterogeneity. It doesn't really matter.       6   as valuable or more valuable than those of a
        7           If you're trying to find out in which         7   meta-analysis, especially when -- especially in
        8   populations does smoking have a greater impact,       8   observational epidemiology when it's hard to
        9   then you might want to say, Okay, let's -- which      9   really identify all of the parameters that
       10   are the populations where the relative risks were    10   influence the quality of a study.
       11   5 and which are populations where the relative       11           And so determining what studies to
       12   risks are 12? Can we identify differences between    12   include and which data from each study to include
       13   it? Are they different countries, different          13   is tricky. It requires judgment. Those judgments
       14   ethnic groups, and so on and so forth.               14   can be wrong. They can be contested. Sometimes
       15           So it's a longwinded answer, and I'm not     15   one very good study is as powerful, but -- it's
       16   sure if that gets to the question that you were      16   part of -- a meta-analysis is part of a package of
       17   asking.                                              17   information that I would look at in evaluating the
       18        Q Well, you said in your report -- and          18   risks.
       19   it's on page 17, if you want to look at it -- you    19        Q Okay. You mentioned the concept that a
       20   stated -- it's at the top of the page.               20   scientific judgment needs to be used in
       21        A Yes.                                          21   determining what studies and, more specifically,
       22        Q "Unless a significant methodological          22   what data within those studies to include in a
       23   flaw can be identified that has caused the           23   meta-analysis, correct?
       24   heterogeneity, the best overall estimate remains     24        A That's correct.
       25   the meta-estimate."                                  25        Q And you would agree that -- and I
                                                  Page 183                                                  Page 185
        1             Did I read that correctly?                  1   believe you just referenced it -- that there can
        2        A Yeah. I guess we should read the               2   be errors in judgment in determining what studies
        3   beginning of the sentence just to -- oh, yes. Oh,     3   to include or not include or what data to include
        4   yes, I see. Sorry. Yes, I agree with you.             4   or not include, correct?
        5        Q So what is the basis for that statement?       5       A I --
        6        A The basis is that it's correct. Are you        6           MS. PARFITT: Objection. Form.
        7   offering an alternative to this that I should         7           THE WITNESS: I would not characterize
        8   consider?                                             8   these things as errors in judgment. There can be
        9        Q Is there -- I guess my question is, is         9   differences in judgment that are legitimate
       10   it -- is it correct because you think it is          10   that -- where people, equally well motivated and
       11   correct? Or can you point me to something that       11   well trained and experienced, can arrive at
       12   would support that principle and explain it more     12   different judgments on some of these things.
       13   fully?                                               13   BY MS. BRANSCOME:
       14        A I -- I haven't looked for any                 14       Q Did you have a specific methodology that
       15   documentary evidence that this has been written up   15   you used in determining which relative risk or
       16   in this way anywhere. I've been interpreting         16   odds ratio to include from each of the studies
       17   meta-analyses in this way, and I believe this to     17   that you include in your meta-analysis?
       18   be true.                                             18       A Carefully reading the study, carefully
       19        Q Okay. So we talked about a few                19   reading the tables and the reports of what is in
       20   different things that you articulated as potential   20   the paper, understanding what is there, and then
       21   weaknesses to a meta-analysis. Are there any         21   making a determination on that basis.
       22   other weaknesses to a meta-analysis?                 22       Q And those were, to use your words,
       23        A Possibly. Are there any that you can          23   quote, judgment calls; is that fair?
       24   identify? I will be happy to -- you know, I'm        24       A Yes.
       25   just -- to meta-analysis as a concept, I think one   25       Q Okay.
                                                                               47 (Pages 182 to 185)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 186                                                  Page 188
        1       A There is no alternative to judgment in          1   is the difference doing it this way or doing it
        2   science.                                              2   that way.
        3       Q The meta-analysis in your MDL report is         3         Q Okay.
        4   different than the meta-analysis in your 2016         4         A But it's largely overlapped. I mean,
        5   report; is that correct?                              5   I'll look at it and see if I can quickly recognize
        6       A The bottom line result, you're saying?          6   which studies might have been --
        7   Well, yes, but also in the 2016 report, I             7         Q Well, I can point you --
        8   presented I think eight different estimates,          8         A Okay. If you've done it, that's great.
        9   depending on scenarios of which studies to include    9         Q Yeah. So you included Green 1997 in
       10   and which result from which studies to include,      10   your 2016 meta-analysis, correct?
       11   because there were some borderline judgments where   11         A Yes.
       12   I thought the best thing would be just -- just       12         Q And you did not include Green 1997 in
       13   provide all of the different options.                13   your 2018 meta-analysis, correct?
       14          In 2018, I adopted a different strategy.      14         A Correct.
       15   I thought, well, the best service I can provide      15         Q Why did you -- did including Green 1997
       16   the court is to give my best estimate of which       16   in your earlier report, do you consider that to be
       17   studies and which data to include, and then to       17   a flaw?
       18   provide a set of alternatives that I call            18           MS. PARFITT: Objection to form.
       19   sensitivity analyses. So that's one difference       19           THE WITNESS: I don't consider any of
       20   between the two reports.                             20   these things flaws. They were judgment calls, and
       21       Q Okay.                                          21   I -- actually, in that case, I learned in between
       22       A But there were some differences in which       22   some information that I didn't know in 2016 that
       23   studies were included and which result in which      23   made that decision the right one.
       24   studies were included from the one to the other.     24   BY MS. BRANSCOME:
       25       Q Well, let me start at the very basic           25         Q What information did you learn?
                                                  Page 187                                                  Page 189
        1   level. Are there any studies that are included in     1       A Well, a case-control study was carried
        2   your 2018 meta-analysis that were not available at    2   out in Australia by a team that involved Green and
        3   the time that you did your 2016 meta-analysis?        3   Purdie, and the publication in 1995, I think it
        4        A I don't think so.                              4   was, described their analysis -- sorry, do you
        5        Q Okay. So you mention that you made some        5   want me to stop while you're --
        6   changes to which studies you included and even        6       Q Keep going.
        7   within that, some of your numbers are slightly        7       A The paper in Purdie 1995, I think it is,
        8   different.                                            8   described the association between talc and ovarian
        9           Can you explain to me what changes you        9   cancer. I had that in my database.
       10   made with respect to which studies to include?       10           And I also had -- a couple of years
       11        A So somewhere I did the side-by-side           11   later, there was a paper by Green that was not
       12   comparison, and I don't think I have -- I don't      12   focused on talc. It was focused on risks that
       13   think I have that with me. So it would take me a     13   were related to -- to other -- well, to other
       14   bit of time to just compare the two and see how --   14   gynecological issues in relation to ovarian
       15   how they compare.                                    15   cancer. But in there she -- in the text, not in
       16        Q So you generated actually a side-by-side      16   any table but in the text, she provided a result
       17   comparison of your 2016 meta-analysis and your       17   on talc and ovarian cancer.
       18   2018 meta-analysis?                                  18           Because that paper was published in
       19        A Well, of -- of the studies that went          19   2000 -- in 1997, the Green, et al., paper, I
       20   into them. Well, generated is a kind of a            20   assumed that that was an extension of the 2000 --
       21   highfalutin word. I listed on a piece of paper,      21   of the data that was used for the 1995 paper, and
       22   and then I -- beside it I listed the other ones.     22   that it actually included more information and
       23   So I'm pretty sure I did that at some point just     23   more up-to-date information than the 1995 paper
       24   to make sure. If I didn't do it on paper, I did      24   published two years earlier. I had some doubts
       25   it in my mind. I wanted to know, you know, what      25   about that. But that was the decision I made in
                                                                               48 (Pages 186 to 189)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 190                                                  Page 192
        1   2016. In general, when there were different           1   studies over time, the relative risk for the
        2   reports from the same study at different              2   association between peritoneal use of -- I mean
        3   intervals, I took the most recent one as being the    3   perineal use of talc and the development of
        4   more definitive one.                                  4   ovarian cancer has actually gone down?
        5           When I started analyzing for the 2018         5           MS. PARFITT: Objection. Form.
        6   report, I had lingering -- I remained with the        6           THE WITNESS: I -- I haven't evaluated
        7   lingering doubts about the Green study -- the         7   that, and I have no reason to agree or disagree
        8   Green report and whether it actually was an           8   with it. If you want me to spend a bit of time
        9   updated version of the talc results from 2016 --      9   looking to see if I can --
       10   from my 2016 report.                                 10   BY MS. BRANSCOME:
       11           And I wrote to Adele Green, who I know       11       Q Well, for example --
       12   as an acquaintance, not well but enough to write     12       A -- confirm or --
       13   and say, You know, what's going on with these --     13       Q You are familiar with the Berge 2018
       14   what was going on with these two papers? Is it       14   paper, correct?
       15   the fact that the result -- which one has the most   15       A Yeah, yeah.
       16   definitive result on talc and ovarian cancer, the    16       Q And the authors in that paper said: "We
       17   earlier one or the more recent one? And she wrote    17   confirm the trend toward lower overall risk
       18   back and said, The earlier one does. That the        18   estimates as more evidence accumulated."
       19   later one -- and I can't remember the exact          19           MS. PARFITT: Can we get that article in
       20   explanation, but it had to do with some cases        20   front of him?
       21   being dropped because of reasons having nothing to   21           MS. BRANSCOME: Of course.
       22   do with talc but having to do with other             22           MS. PARFITT: Thank you.
       23   hypotheses that she was examining.                   23           MS. BRANSCOME: It is tab 48.
       24           So in any case, the two results are          24           (A discussion was held off the record.)
       25   identical. So it makes no difference. But that       25           MS. PARFITT: It's tab 18?
                                                  Page 191                                                  Page 193
        1   is, in answer to your question, why did it change,    1           THE WITNESS: Tab 48?
        2   it wasn't capricious issues. It wasn't wrong. It      2   BY MS. BRANSCOME:
        3   was the right thing to do.                            3       Q Tab 48.
        4        Q Did you retain copies of the e-mail            4       A I don't have a tab 48.
        5   correspondence that you had with Green?               5       Q It may be in your second binder.
        6        A I imagine that I did, but I -- this            6       A Oh.
        7   would have been eight months ago maybe or             7           MS. PARFITT: I will take this one out.
        8   something.                                            8   And I'll take this one for you.
        9        Q Would it be fair to say that you relied        9           THE WITNESS: Thank you.
       10   on Green's representation of which dataset was       10           MS. PARFITT: Of course.
       11   more fulsome in determining what to use in your      11           THE WITNESS: Thank you.
       12   2018 metadata?                                       12   BY MS. BRANSCOME:
       13        A Yes.                                          13       Q Dr. Siemiatycki, are you familiar with
       14        Q And that was something she communicated       14   the article that is located there behind tab 48?
       15   to you by e-mail, correct?                           15       A Yes, I am.
       16        A That's right.                                 16       Q Berge is the lead author on this
       17           MS. BRANSCOME: We can meet and confer        17   publication titled "Genital use of talc and risk
       18   about this offline, but we would request             18   of ovarian cancer: A meta-analysis." Correct?
       19   production of those e-mails.                         19       A Yes, correct.
       20           MS. PARFITT: We'll take it under             20       Q I believe earlier you said that Berge
       21   advisement. Thank you.                               21   "beat you to the punch" might have been the phrase
       22           MS. BRANSCOME: Okay.                         22   that you used.
       23   BY MS. BRANSCOME:                                    23           What did you mean by that?
       24        Q Do you agree that in terms of the trend       24       A If this had never appeared, I might have
       25   for relative risk, with the addition of newer        25   worked on a manuscript to submit for publication
                                                                               49 (Pages 190 to 193)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 194                                                  Page 196
        1   on my meta-analysis before today, sometime in the     1   here that I'm -- I haven't fully integrated into
        2   past.                                                 2   my evaluation of this paper. But I know what's in
        3        Q Do you rely on Berge 2018?                     3   it. I know what's the other one. I know what's
        4           MS. BRANSCOME: Let's go ahead and mark        4   in this one.
        5   that actually as Exhibit 12.                          5        Q Okay. So back to my question,
        6           (Exhibit No. 12 was marked for                6   Dr. Siemiatycki.
        7           identification.)                              7        A Yeah.
        8           MR. TISI: How long have we been going?        8        Q You stated that you believe that the
        9   How long have we been going?                          9   Berge 2018 study supports the conclusions that you
       10           MS. BRANSCOME: Just under five hours.        10   have reached in this litigation, and my question
       11           MR. TISI: No, how long have we been          11   to you was, what do you mean by that?
       12   going on this one?                                   12        A Well, it supports it in a few ways.
       13           MS. BRANSCOME: We can take a break           13   One -- and from my point of view, the most
       14   if -- do you need a break?                           14   important one, but probably not for anyone else --
       15           MR. TISI: I'm just asking.                   15   is that they carried out a search of the
       16           MS. PARFITT: Do you want a break?            16   literature using a much more intensive and -- a
       17           THE WITNESS: No, let's finish -- let's       17   much more intensive procedure than I had. I had
       18   finish with this.                                    18   full confidence in the procedure that I had used,
       19           MS. PARFITT: Okay.                           19   but it was not as long, as lengthy, as costly, et
       20           (A discussion was held off the record.)      20   cetera, et cetera, as what -- and the bottom line
       21   BY MS. BRANSCOME:                                    21   was that they didn't find any papers -- relevant
       22        Q Do you rely in forming your opinions on       22   papers that I hadn't found. So I was very
       23   this case on the Berge article that we just marked   23   reassured by this.
       24   as Exhibit 12?                                       24           The second thing is that the bottom line
       25        A I formed my opinions before knowing           25   meta-analysis result -- well, no, the second thing
                                                  Page 195                                                  Page 197
        1   about this article.                                   1   is that the actual results that they chose from
        2       Q Do you believe that the Berge 2018 study        2   the different studies were very similar in most
        3   supports the conclusions that you have reached in     3   cases to the ones I had chosen from the different
        4   your own meta-analysis?                               4   study. So there was a degree of corroboration
        5       A Yes, I think it does.                           5   there that I was happy about.
        6       Q In what way?                                    6           They adopted a different strategy in one
        7       A Well, let me preface that also by saying        7   important respect, and that concerned how to deal
        8   that there's been a bit of a -- a history to this     8   with the Terry paper and the various components of
        9   article of -- I thought the publication -- there      9   the Terry paper. And with all due respect to this
       10   was a version published in 2017, which I thought     10   team, I don't think that there -- theirs was in
       11   was the definitive version that I've always kept     11   error. I prefer my approach that maintained the
       12   in my binders as the Berge article, and it's only    12   integrity of the pooled analysis, which has some
       13   very recently that I actually came upon this         13   advantages. But there's -- you know, I wouldn't
       14   particular version, which is not greatly changed     14   expect any large differences on the bottom line
       15   from the 2017 but slightly changed, and I haven't    15   estimates from their strategy or my strategy. And
       16   fully digested the small changes that have been      16   the bottom line results were very similar.
       17   made.                                                17           They -- also in the previous version,
       18       Q If you could -- sorry for the multiple         18   their evaluation of dose-response was, in my view,
       19   binders, but if you want to look at your first       19   deficient in not devoting adequate weight to what
       20   binder, tab 13, we can see if that's the paper       20   I think is the most important evidence around
       21   that you previously had reviewed as the Berge        21   dose-response in this area, which is the Terry
       22   paper.                                               22   pooled analysis. They focused on studies which
       23       A I -- I don't mind answering questions in       23   provided results by duration of exposure and by
       24   relation to this version. Just -- I just wanted      24   frequency of exposure. And I think it's the
       25   to point out that there are a couple of things       25   combination of those two which is the most
                                                                               50 (Pages 194 to 197)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 198                                                  Page 200
        1   important metric.                                     1           That's 2016. Okay.
        2           And the fact that the Terry analysis was      2        Q Dr. Siemiatycki, if you could just
        3   able to combine an enormous dataset for evaluating    3   identify for the record where you're looking so I
        4   dose-response, much greater than any of the           4   can follow along and the record reflects it.
        5   studies looking at duration or any of the studies     5        A Right. I'm looking in my report of 2018
        6   looking at frequency, meant that in my view they      6   in the appendix, page 103, Appendix B.
        7   missed an opportunity to properly evaluate            7        Q So looking at Appendix B, which also
        8   dose-response by cumulative exposure.                 8   helpfully compares Penninkilampi as well, are
        9           I note very recently that they have --        9   there studies specifically focused on the Berge
       10   they've now used a different statistical procedure   10   2018 that in your opinion the authors should have
       11   for evaluating dose-response by duration and         11   included in their meta-analysis?
       12   frequency, which is embodied in their Table 3,       12           MS. PARFITT: Objection. Form.
       13   which I don't fully understand. It seemed -- this    13           THE WITNESS: Okay. Well, just
       14   was the new part of this study, which I haven't --   14   following this table, I see that Gates 2008 was in
       15   I looked quickly in the method section to see a      15   my report, but not in theirs. Now, it wasn't in
       16   description of exactly what they did, and I          16   my main analysis; it was in one of my sensitivity
       17   couldn't find it, but I don't deny that it's         17   analyses. So I have no -- my main analysis and
       18   somewhere in the article. I just haven't had time    18   their main analysis concurred about Gates.
       19   to properly evaluate that part of it.                19           The next one that I see that was in my
       20        Q As you sit here today, do you have any        20   analysis but not in theirs was what I call
       21   criticisms of the statistical analysis that they     21   Schildkraut B. And Schildkraut B, for the record,
       22   performed?                                           22   is -- there's no such study, but I've named it
       23        A All of it? You're referring to all of         23   Schildkraut B. It's the result of the analysis of
       24   it? Well, I --                                       24   the Schildkraut study of cases that were
       25           MS. PARFITT: Objection. Form.                25   interviewed before 2014, I think it was.
                                                  Page 199                                                  Page 201
        1           THE WITNESS: I note that their bottom         1   BY MS. BRANSCOME:
        2   line meta-relative risk is lower than the one that    2       Q And we will discuss that in more detail,
        3   I estimated. And I'm not sure why that is. To me      3   but do you consider it an error for the Berge
        4   the -- the difference in -- the minor differences     4   authors to just have taken the Schildkraut 2016
        5   in the studies included or excluded is not            5   data as a whole?
        6   sufficient to explain that, and I wonder if it's a    6       A No, I don't consider it an error. In
        7   software issue, of them having used a different       7   fact, I used it -- not in my main analysis but in
        8   software for meta-analysis than I used. But it's      8   one of my sensitivity analyses.
        9   not a criticism necessarily. I just note this         9           The same with Shushan. So Shushan '96
       10   discrepancy.                                         10   was in my -- one of my sensitivity analyses, not
       11   BY MS. BRANSCOME:                                    11   in my main analysis, and they did not include it
       12       Q Are there any studies that you included        12   in their main analysis. So we agreed on the main
       13   in your meta-analysis in 2018 that the Berge         13   analyses there.
       14   authors failed to consider that you think they       14           Terry, I included in mine, and they
       15   should have included?                                15   didn't include Terry. They included the component
       16       A So I'll go back to my report, because I        16   parts of Terry.
       17   do have a table outlining that in my report.         17           So there was no -- there was no study
       18           MS. PARFITT: You want your report?           18   that was in my main analysis that was not in
       19           THE WITNESS: Yeah, my report, back to        19   theirs.
       20   my report.                                           20       Q Okay. And looking quickly back at the
       21           MS. PARFITT: Let me get you that.            21   Berge article, coming full circle to the question
       22   BY MS. BRANSCOME:                                    22   that I started with, if you could look on page 253
       23       Q And we'll take a break after we finish         23   of that paper.
       24   this paper.                                          24           MS. PARFITT: Yes, 253.
       25       A Thank you.                                     25   BY MS. BRANSCOME:
                                                                               51 (Pages 198 to 201)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 202                                                  Page 204
        1       Q Under the Discussion section, do you see        1   BY MS. BRANSCOME:
        2   where I am?                                           2       Q Based on the evidence that's available
        3       A Yes, I do.                                      3   today, do you think there is strong enough
        4       Q All right. The second paragraph under           4   epidemiological evidence to reach a conclusion
        5   Discussion from the Berge paper states: "This         5   about the association between talc -- genital talc
        6   meta-analysis suggests that genital powder use is     6   use and other specific subtypes of ovarian cancer?
        7   associated with a small increased risk of             7       A I think it becomes very fragile to draw
        8   developing ovarian cancer. However, this positive     8   inferences about other types. And in the absence
        9   association appears to be limited to the serous       9   of reliable evidence about other types, you know,
       10   histological type and to case-control studies."      10   especially those that have a smaller fraction of
       11           Did I read that correctly?                   11   all ovarian cancers than serous type, I think the
       12       A You read it correctly.                         12   prudent thing to do is to consider that all
       13       Q It continues on: "This estimate is             13   ovarian cancers are affected the same way.
       14   somewhat lower than that of previous                 14           The same way as with -- we do with lung
       15   meta-analysis," and in parentheses, it refers        15   cancer and smoking and histologic types of lung
       16   specifically to Huncharek and Langseth, colon, "In   16   cancer. While there is some variability in the
       17   our cumulative meta-analysis, we confirmed the       17   degree of relative risk between smoking and
       18   trend toward lower overall risk estimates as more    18   adenocarcinoma or squamous cell carcinoma or other
       19   evidence accumulated."                               19   types, small cell, large cell, for lung cancer,
       20           First, did I read that correctly?            20   there is some variability in the degree of
       21       A You read it correctly.                         21   relative risk. Generally speaking, we say smoking
       22       Q Do you have any basis to disagree with         22   causes cancer. Smoking causes all kinds of --
       23   the statement by the Berge authors in this           23   causes lung cancer, all kinds of lung cancer.
       24   paragraph in the Discussion section?                 24       Q Are you qualified to evaluate the
       25           MS. PARFITT: Objection. Form.                25   reasonableness of making an extrapolation from one
                                                  Page 203                                                  Page 205
        1           THE WITNESS: So there are a few               1   subtype of ovarian cancer to all types of ovarian
        2   statements in this paragraph, not just one.           2   cancer in terms of what is biologically plausible?
        3           Do you want me to take them one by one?       3          MS. PARFITT: Objection to form.
        4   BY MS. BRANSCOME:                                     4          THE WITNESS: My inferences would be
        5       Q Sure.                                           5   based on the statistical and epidemiological
        6       A So whether "the positive association            6   evidence, and if there is biological,
        7   appears to be limited to the serous histological      7   physiological evidence that would indicate that
        8   type," I have some problem with that. I -- I was      8   talcum powder is more likely to influence one type
        9   looking in their publication for which studies --     9   of ovarian cancer than another, I would be
       10   let me just see if I can -- which studies provided   10   absolutely open to that interpretation.
       11   evidence on serous type, and I couldn't find that.   11   BY MS. BRANSCOME:
       12           In my -- in my analysis, the evidence        12       Q All right. So moving along in that
       13   that I was able to -- to compile that's in this      13   paragraph, are there --
       14   addendum and meta-analyze showed an approximately    14       A Okay.
       15   similar meta-relative risk between serous and all    15       Q -- any other sentences or portions of
       16   ovarian cancers.                                     16   sentences with which you disagree?
       17           So there is no -- I found no evidence        17       A So, the statement about case-control
       18   that this -- that there was a particular peak of     18   studies and whether the positive association is
       19   risk for serous types compared to other types.       19   limited to case-control studies is -- is a bit
       20       Q As you sit here today --                       20   contentious. And I understand very well that the
       21           MS. PARFITT: Are you done -- are you         21   evidence does not -- if we only had the cohort
       22   done with your -- is that --                         22   studies, if that's all the evidence that existed,
       23           THE WITNESS: Yeah, for -- for that           23   it would be fair to say that that evidence does
       24   point on serous, yes.                                24   not argue for an association with -- between
       25           MS. PARFITT: Thank you.                      25   ovarian cancer and -- so I would -- I'm not -- I
                                                                               52 (Pages 202 to 205)
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        1   guess if I were writing this, I would qualify it      1   misstates his testimony.
        2   somehow, and -- no, I think I'll just leave --        2           THE WITNESS: It requires looking at
        3   leave that there, and you may have follow-up          3   which studies were included in each of these
        4   questions about the case-control/cohort               4   meta-analyses, and which results were chosen by
        5   comparison.                                           5   the meta-analysis people who did these
        6       Q Is there anything else in this paragraph        6   meta-analyses from each paper. The meta-analysis
        7   in the Discussion section of Berge 2018 with which    7   is somewhat sensitive to which studies are
        8   you disagree?                                         8   selected and -- so the same study might have been
        9           MS. PARFITT: And can you refer him to         9   selected in the 2004 meta-analysis as in the 2016,
       10   the left-hand side of the discussion or the          10   but they chose -- they decided to choose an
       11   entire --                                            11   estimate from -- a result from that paper that
       12           MS. BRANSCOME: The second full               12   they thought was the most reasonable one and
       13   paragraph in the Discussion section.                 13   that's different.
       14           MS. PARFITT: Which starts with "An           14           So one would have to do side-by-side
       15   important."                                          15   comparisons of which studies were included and
       16           THE WITNESS: So I -- I think what --         16   which results before concluding that this is
       17   BY MS. BRANSCOME:                                    17   because of a downward trend. You also need to
       18       Q No, it begins with "This meta-analysis         18   know when the data were collected.
       19   suggests."                                           19           You know, I'm not sure if the -- if you
       20       A Yeah. Yeah.                                    20   are implying or if they are implying that -- you
       21           So your question -- the question is          21   know, I -- a declining trend, if there is one, in
       22   about that sentence that says: "This estimate is     22   meta-analyses -- these are the years of the
       23   somewhat lower. In our cumulative meta-analysis,     23   meta-analysis, not the years that women were
       24   we confirmed the trend towards lower," da, da, da,   24   exposed. So there's no implication -- direct
       25   and that refers I guess specifically to Figure 4     25   implication here that the risks to women are
                                                  Page 207                                                  Page 209
        1   on the following page.                                1   declining over time. So if it's only the fact
        2           Certainly the confidence intervals, if        2   that meta-analyses carried out at different points
        3   you look at the confidence intervals of the           3   in time showed very slightly different results, I
        4   meta-estimates in that Figure 4, from 1988 through    4   don't find that a noteworthy observation. But...
        5   2016, everything is embedded in everything. So        5   BY MS. BRANSCOME:
        6   from the point of view of statistical variability,    6        Q And you agree that meta-analyses are
        7   it would be difficult to argue that there is a        7   sensitive to the judgments applied by the authors
        8   real statistical -- statistically meaningful          8   of those studies, correct?
        9   difference between the trendline from -- through      9        A Yes, they are, but to -- to a degree. I
       10   that whole period.                                   10   mean you have to weigh the -- the degree of
       11           There is a tendency by eye for a             11   bias -- or not the bias, but the -- the influence
       12   decline. I don't know in their paper, in the text    12   of particular decisions that you might make.
       13   whether they've characterized the decline with any   13           I've done an analysis looking at what
       14   regression coefficients or not. I don't remember.    14   happens when you include or exclude studies, and
       15   It seems to me like a rather weak trend to make a    15   you could exclude any study from my meta-analysis
       16   big point about. So I wouldn't disagree with         16   and you'd find the same result. So if any of
       17   the -- the point they're making, but I think it's    17   these studies in my meta-analysis are completely
       18   not strongly supported. There isn't a strong         18   wrong, if they were completely invented, if the
       19   trend downwards in this line, in this figure.        19   women were never actually interviewed but the
       20        Q So you would agree with the authors that      20   investigator just wrote a paper on a Sunday
       21   there is a downward trend in the risk assessment     21   afternoon, and you're suspicious that this study
       22   over time as more evidence accumulated, but you      22   was -- or badly -- whatever, if you take any one
       23   might disagree with them about the strength of       23   of these studies and take it out of the mix, it
       24   that trend. Is that fair?                            24   wouldn't affect the meta-relative risk.
       25           MS. PARFITT: Objection. Form,                25           MS. BRANSCOME: Okay. I think this is a
                                                                               53 (Pages 206 to 209)
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        1   good place to take a break.                           1       Q But if it's your preference to look at
        2           MS. PARFITT: Very good. Thank you.            2   the paper now, it is tab 15.
        3           THE VIDEOGRAPHER: We're going off the         3       A It's in this binder, I think.
        4   record at 5:07 p.m.                                   4           MS. PARFITT: Here it is. Thank you.
        5           (Recess.)                                     5           THE WITNESS: Thank you.
        6           THE VIDEOGRAPHER: This begins disc            6           Okay. The -- so one includes all --
        7   number 5 in the deposition of Jack Siemiatycki.       7   Schildkraut A includes all of the cases
        8   We're going back on the record at 5:36 p.m.           8   interviewed the whole period, and the
        9   BY MS. BRANSCOME:                                     9   Schildkraut B includes cases after 2014, but I'm
       10       Q One of the decisions that you had to           10   not sure if it includes 2014. But...
       11   make in conducting your meta-analysis was how to     11   BY MS. BRANSCOME:
       12   treat the Schildkraut 2006 study, correct?           12       Q Let me ask a clarification on that one,
       13       A 2000 --                                        13   Dr. Siemiatycki.
       14       Q -- '16.                                        14           Schildkraut 2016-B shows results for
       15       A Thank you. Yes.                                15   individuals interviewed before 2014, correct?
       16       Q Okay. For purposes of your                     16       A I'm sorry, which one, B? Schildkraut B?
       17   meta-analysis, you divided Schildkraut 2016 into     17       Q Schildkraut 2016-B.
       18   two sets of results, correct?                        18       A B.
       19       A "Divided" isn't quite the right word.          19       Q I believe you just stated after, so I --
       20       Q How would you describe it?                     20       A I see. Okay.
       21       A Because they're not separate, one              21       Q -- wanted to seek clarification there.
       22   includes the other.                                  22       A Okay. Yeah, I'm --
       23       Q Okay.                                          23       Q If it's helpful --
       24       A So just the word "divided" -- I'm not          24       A It's late in the day. Let me --
       25   sure what the right word is, but there were two      25       Q Sure. If it's helpful to you to
                                                  Page 211                                                  Page 213
        1   sets of results reported, and I used both sets of     1   reference in your report, you discuss your
        2   results. One is embedded -- one set is embedded       2   separation of Schildkraut on page 74, Note 6.
        3   in the other.                                         3       A That's why I wanted my report in a small
        4       Q So correct me if I'm wrong, Schildkraut         4   binder, rather than -- before 2014, yes.
        5   2016-A shows results from all subjects who were       5       Q And the reason that you divided --
        6   interviewed in the study from 2010 through 2015.      6   separated the study into those two groups, one
        7   Schildkraut 2016-B is a subset of that that           7   which is inclusive of the other, is to account for
        8   includes the results for subjects who were            8   the possibility that publicity surrounding two
        9   interviewed before 2014, correct?                     9   class action lawsuits on talc and ovarian cancer
       10           MS. PARFITT: And, Counsel, if we could       10   in 2014 may have induced bias in the validity of
       11   get Schildkraut in front of him, would that be all   11   reporting talc exposure; is that correct?
       12   right?                                               12       A That's correct.
       13           MS. BRANSCOME: Sure.                         13       Q Okay. But in your main meta-analysis
       14   BY MS. BRANSCOME:                                    14   you use Schildkraut A, which includes all subjects
       15       Q If you need to reference it --                 15   interviewed from 2010 to 2015, correct?
       16           MS. PARFITT: Sure.                           16       A That's correct.
       17   BY MS. BRANSCOME:                                    17       Q When you substituted Schildkraut B,
       18       Q -- to answer my questions, certainly.          18   which included only subjects interviewed before
       19       A If you're going -- yes, I think you're         19   2014, for Schildkraut A, all subjects interviewed
       20   right in what you said, but if you want me to look   20   from 2010 to 2015, the relative risk estimate for
       21   at specific results in the paper, maybe I should     21   the meta-analysis goes down, correct?
       22   have it in front of me.                              22       A Yes. From 1.28 to 1.27.
       23       Q I was going to direct you there when we        23          MS. BRANSCOME: If we could mark
       24   got to those questions.                              24   Schildkraut as Exhibit 13.
       25       A Okay.                                          25          THE WITNESS: There's a label here
                                                                               54 (Pages 210 to 213)
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        1   already.                                              1       A Yes, that's correct.
        2          MS. PARFITT: There is. I will go ahead         2       Q All right. And the -- those are for the
        3   and just -- you don't care -- there's a defense       3   cases, meaning individuals who had been diagnosed
        4   label of 1436. Can I go ahead and put the exhibit     4   or reported as diagnosed with ovarian cancer,
        5   over top of it? Does it matter to you? Okay.          5   correct?
        6   This will be 13.                                      6       A Correct.
        7          (Exhibit No. 13 was marked for                 7       Q And if you compare that against the
        8          identification.)                               8   controls, 34 percent is the reported number for
        9   BY MS. BRANSCOME:                                     9   women without ovarian cancer who reported any
       10       Q All right. If you could,                       10   genital use of talcum powder that were interviewed
       11   Dr. Siemiatycki, please turn to Table 2, which is    11   before 2014, correct?
       12   on page 1414 of Exhibit 13.                          12       A That's correct.
       13       A I see it.                                      13       Q And if we look at those same
       14       Q Before doing that, can you just simply         14   percentages for the individuals who were
       15   confirm that Exhibit 13 is in fact the Schildkraut   15   interviewed after 2014, the percentage of cases,
       16   study?                                               16   meaning individuals who have been diagnosed or
       17       A Yes, it is.                                    17   reported as diagnosed with ovarian cancer who
       18       Q And we see in Table 2 that there is a          18   claim to have used talc genitally at any point in
       19   category for interview date less than 2014, and      19   time, goes up to 51.5 percent compared to a
       20   then another category for interview date greater     20   control of 34.4 percent, correct?
       21   than 2014. Correct?                                  21       A That's correct.
       22       A Yes, I see that.                               22       Q All right. And so if we compare
       23       Q All right. And we see that there are           23   individuals interviewed before 2014 who have been
       24   odds ratios for any genital use for both of these    24   diagnosed or reported as diagnosed with ovarian
       25   categories, correct?                                 25   cancer to those individuals in the same category
                                                  Page 215                                                  Page 217
        1       A Yes, I see that.                                1   who were interviewed after 2014, you see at least
        2       Q And the odds ratio for any genital use          2   a 12 percent increase in those figures; is that
        3   for individuals who were interviewed after 2014 is    3   correct?
        4   higher than the odds ratio for any genital use for    4       A 12 percent representing which -- which
        5   those individuals who were interviewed before         5   two numbers?
        6   2014, correct?                                        6       Q Representing the difference between the
        7       A That's correct.                                 7   cases who reported genital use of talcum powder --
        8       Q And it also shows the number of                 8       A The 36.5?
        9   individuals that fell in those respective             9       Q -- as compared to the 51.5 percent.
       10   categories, correct?                                 10       A So you -- you said it's 12 percent? I
       11       A Yes, correct.                                  11   think it's like 14 percent.
       12       Q And so just simply looking at the              12       Q It is.
       13   reported data, the percentage of women with --       13       A Okay.
       14   with ovarian cancer who reported any genital use     14       Q That is correct.
       15   of talc who were interviewed before 2014 was         15           But if you do the same comparison for
       16   36.5 percent, correct?                               16   the control group, you don't see a similar
       17       A Can you run that by me again? Show me          17   increase or a similar difference in the reporting
       18   where the --                                         18   percentages for individuals interviewed before
       19       Q Sure.                                          19   2014 as after 2014, correct?
       20       A So interview date before 2014, any             20       A That's correct.
       21   genital use, the percentage 36.5, number 128, is     21       Q Okay. Are those results compatible with
       22   that what --                                         22   the existence of recall bias for individuals
       23       Q Yes.                                           23   interviewed after 2014?
       24       A -- you are looking at? Okay.                   24       A I would say they are compatible with
       25       Q Was that correct?                              25   recall bias.
                                                                               55 (Pages 214 to 217)
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                                                  Page 218                                                  Page 220
        1        Q Okay. Was litigation-related recall            1   column seems to suggest that data was collected
        2   bias considered by IARC as a possible bias that       2   from a number --
        3   could explain the association between perineal        3        A Oh.
        4   talc use and ovarian cancer?                          4        Q -- of different states across the United
        5        A In 2006?                                       5   States, correct?
        6        Q Correct.                                       6        A Correct. Correct.
        7        A I -- I can't remember verbatim the             7        Q And so at least based on your review as
        8   discussions, and I can't remember a discussion of     8   you sit here today, the authors do not seem to
        9   litigation-related impact on response bias. I         9   have limited the potential effect of publicity of
       10   doubt if there would have been any at that time,     10   the class action lawsuits to a precise region,
       11   but -- and I don't recall any discussion of it.      11   correct?
       12        Q And at least the Schildkraut authors are      12        A That seems to be the case.
       13   identifying 2014 as a significant year with          13        Q Okay.
       14   respect to widespread knowledge of lawsuits          14        A Yes.
       15   involving talcum powder and a claim of ovarian       15        Q And so your understanding or your
       16   cancer --                                            16   testimony earlier that the publicity was only
       17           MS. PARFITT: Objection. Form.                17   localized, you're not able to point me to anything
       18   BY MS. BRANSCOME:                                    18   in the article to support that, correct?
       19        Q -- correct?                                   19        A That's correct.
       20           MS. PARFITT: Objection. Form.                20        Q And in fact, in the two portions of the
       21           THE WITNESS: I -- if you may, I think        21   Schildkraut article that discuss the publicity,
       22   what they refer to is localized publicity, not       22   there is no specific reference to it being limited
       23   widespread publicity.                                23   to an area, correct?
       24   BY MS. BRANSCOME:                                    24           MS. PARFITT: Objection. Form.
       25        Q If you can, can you refer me to the           25           THE WITNESS: In the two -- sorry.
                                                  Page 219                                                  Page 221
        1   language in the paper that references that.           1   BY MS. BRANSCOME:
        2        A So I see a mention of it in the -- on          2        Q So there's one discussion of the
        3   page 1412, second column, last paragraph, about       3   potential public -- the potential effect of
        4   seven or eight lines from the bottom, the sentence    4   publicity, which is on page 1412.
        5   beginning: "Two class action lawsuits were filed      5        A Yeah.
        6   in 2014 concerning possible carcinogenic effects      6        Q And then there is a second discussion of
        7   of body powder, which may have influenced recall."    7   it on page 1416 --
        8           Now, there's a reference there, but the       8        A Yes.
        9   reference doesn't indicate where those class          9        Q -- in the Discussion section, and
       10   actions were. And now I'm going to look in the       10   neither of those two sections talk about awareness
       11   Discussion section to see if there's any             11   of the class action lawsuits being limited to a
       12   indication. If anyone knows whether there is or      12   specific geographic region, correct?
       13   if there is not -- I haven't looked for this         13        A That's correct.
       14   specifically. I just have a vague memory of them     14        Q In fact, the language that the authors
       15   referring to localized publicity, but... (peruses    15   use is a heightened awareness of the exposure as a
       16   document.)                                           16   result of two recent class action lawsuits, and
       17           Well, in my very quick scanning, I don't     17   they discuss just publicity, correct?
       18   see reference to these being local. You people       18        A Yes, I think so.
       19   might know whether these two lawsuits that they      19        Q Okay. Are you relying --
       20   refer to in the Reference section, whether they      20        A In that second paragraph in the
       21   were local in this area. And this is North           21   discussion, the authors seem to discount the --
       22   Carolina, is it?                                     22   the recall bias hypothesis or to minimize it, and
       23        Q Well, so that's -- that's a question I        23   I -- I -- I don't support -- or the opposite of
       24   have for you, Dr. Siemiatycki. On page 1412, the     24   what they're saying. I just note that they don't
       25   paragraph -- the last full paragraph on the second   25   seem to be enthusiastic about that hypothesis that
                                                                               56 (Pages 218 to 221)
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        1   it's strictly due to response bias.                   1   impact on the bottom line result. Some errors
        2            But go ahead and --                          2   might have large effects, so it would depend what
        3        Q The authors do recognize, though, that         3   the errors were.
        4   there is a possibility of recall bias may have        4           But since his studies were mostly the
        5   caused some inflation of the odds ratios, correct?    5   same as the ones I had used and the same ones that
        6        A Yes.                                           6   Berge had used, and since the results that he had
        7            MS. PARFITT: Wait, that's part --            7   taken out of those studies were mostly the same
        8   that's part of the sentence. Objection.               8   ones I had taken out and that Berge had taken out,
        9            THE WITNESS: Yeah. Yeah.                     9   I fully expected his bottom line meta-analysis to
       10   BY MS. BRANSCOME:                                    10   produce the same results.
       11        Q Are you relying on Penninkilampi 2018         11   BY MS. BRANSCOME:
       12   for your opinions in this litigation?                12       Q The Penninkilampi study does not
       13        A My opinions were informed before I knew       13   consider or include the Gates 2010 cohort study,
       14   about that article.                                  14   correct?
       15        Q Do you believe that the Penninkilampi         15       A Correct.
       16   2018 study supports your conclusions in this         16       Q Do you think Gates 2010 - and if you
       17   litigation?                                          17   would prefer to refer to Penninkilampi, it is
       18        A It's consistent with my conclusions. A        18   tab 20.
       19   little bit like Berge, the fact that they didn't     19       A Yeah.
       20   pick up any studies that I hadn't -- that I had      20       Q In your opinion, is --
       21   not picked up reassures me that there was nothing    21           MS. PARFITT: I have a clean one right
       22   amiss in my search of the literature.                22   here with the -- if we use two books, we can do it
       23            There were some differences in which        23   to save time, but --
       24   studies they included in their meta-analysis and     24           THE WITNESS: Sorry?
       25   which data. I'm happy with the decisions -- the      25           MS. PARFITT: Do you want that?
                                                  Page 223                                                  Page 225
        1   judgments I had made about it. So there are some      1            THE WITNESS: No. I'm actually looking
        2   minor variations there. But essentially they          2   for my copy of the Gates 2010.
        3   found the same thing that I found, because we're      3            You're going to ask me about his use
        4   all working with the same data.                       4   of -- Gates 2010?
        5       Q Okay. Did you do an independent                 5   BY MS. BRANSCOME:
        6   verification that the data Penninkilampi reports      6        Q I was simply just going to ask you, is
        7   in his article is indeed accurate?                    7   Gates 2010 a significant study, in your opinion,
        8           MS. PARFITT: Objection. Form.                 8   to leave out of a meta-analysis on this topic?
        9           THE WITNESS: By the data, you mean the        9            MS. PARFITT: Objection. Form.
       10   results that he put into his meta-analysis?          10            THE WITNESS: A significant study.
       11   BY MS. BRANSCOME:                                    11   It -- in my view there are flaws with that study,
       12       Q For example, did you look at the               12   but there are flaws with many epidemiologic
       13   reported data in the tables in the Penninkilampi     13   studies. It's not -- that's not a reason to
       14   article and compare it to the underlying studies     14   exclude them. I would include it but take note of
       15   to see if they matched?                              15   the flaws, including the fact that their reference
       16       A I don't recall doing that comparison.          16   category for their odds ratios for their relative
       17   I'm not sure why I would want to.                    17   risk estimates was not an unexposed group, but it
       18       Q If there were errors in the reporting of       18   was a group that combined women who had never used
       19   any of the odds ratios or confidence intervals in    19   talc with women who had used it occasionally.
       20   the Penninkilampi 2018 paper, would that call into   20   BY MS. BRANSCOME:
       21   reliability the meta-analysis, in your opinion?      21        Q Are there any other errors in the Gates
       22           MS. PARFITT: Objection. Form.                22   2010 study? And if you'd like to refer to it --
       23           THE WITNESS: It depends on the nature        23            MS. PARFITT: Thank you.
       24   of the errors. If there was one decimal point        24            THE WITNESS: Okay. Let me find my copy
       25   typo sort of thing, it would have absolutely no      25   of -- yeah, here we are -- Gates 2010.

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                                                  Page 226                                                  Page 228
        1             Well, yes, there are some flaws with it,    1   authors of the Penninkilampi 2018 publication?
        2   but they're related to the fact that this builds      2       A No, I don't.
        3   on the Nurses' Health Study, which is a good and      3       Q Do you know or have any information
        4   well deservedly recognized, good prospective          4   about the source or sources of funding for the
        5   cohort study which focused on many factors in         5   Penninkilampi article?
        6   women's lives, including predominantly nutritional    6       A No, I don't, no. I -- I would add,
        7   reproductive, hormonal factors, and all kinds of      7   though, that the inclusion or exclusion of Gates
        8   diseases, all heart disease, diabetes, et cetera,     8   2010 probably didn't affect the bottom line result
        9   et cetera. There have been hundreds and hundreds      9   of their meta-analysis by more than 0.01 decimal
       10   of publications that have come out of it.            10   point of the odds ratio.
       11             Their collect- -- the collection of talc   11       Q But did they publish any type of
       12   information in the Nurses' Health Study was very     12   sensitivity analysis that would let you
       13   weak. The questionnaire was conducted in 1982.       13   specifically draw that conclusion?
       14   It was part of a biannual follow-up mailed           14       A Well, I -- I have done one myself where
       15   questionnaire. The question itself and the           15   I dropped each of the studies in order to see what
       16   structure of the question itself I find very weak    16   would be the impact if that study had been
       17   from the point of view of designing questions for    17   dropped. And there's hardly -- no study has more
       18   questionnaires. I mean, I -- I could read it into    18   than a 1 decimal -- you know, 0.01 decimal point
       19   the record, but it's in the -- it's in the -- it's   19   on the odds ratio.
       20   quoted in the Gertig paper, and it's actually --     20           So we could argue about the merits of
       21   I've seen that page of the questionnaire, and        21   any of these studies or demerits, but the impact
       22   it's -- I find it ambiguous as to how women would    22   of including them or excluding an individual study
       23   answer that question.                                23   is pretty minimal.
       24             And it's only one question for that        24       Q Shushan 1996 is one of the studies you
       25   point in time. There was never any follow-up. So     25   did not include in your main meta-analysis,
                                                  Page 227                                                  Page 229
        1   between 1982 and 2007 or so, when the follow-up of    1   correct?
        2   the -- for the Gates analysis ended, they had no      2        A Correct.
        3   idea whether women were exposed -- whether women      3        Q And you reported that you did not
        4   who had been exposed in 1982 were in exactly the      4   include it because the report was quite cryptic
        5   same exposure category in 1990, in 2000, in 2005      5   regarding the data collection and the talc
        6   and so on. They made the assumption that women's      6   exposure variable, correct?
        7   exposure status was stable for 25 years. And so       7        A That's correct.
        8   that's a major weakness of the analysis of talc       8        Q What did you mean by the report was
        9   and ovarian cancer in -- from this study.             9   quite cryptic regarding the data collection?
       10   BY MS. BRANSCOME:                                    10        A So I have to take a couple of minutes to
       11       Q So in your view, was it proper for the         11   review that -- to look at that paper to answer
       12   Penninkilampi authors to leave Gates 2010 out of     12   your question.
       13   their meta-analysis?                                 13           Well, so the first thing that strikes
       14       A That's not what I said. That's not what        14   me -- and I haven't read the description of how
       15   I said.                                              15   they collected the data. The first thing that
       16           I -- I think to go down the road of          16   strikes me is they have a table, Table 2 on
       17   making value judgments about each of these studies   17   page 15, with some information about these various
       18   and including them or not including them would end   18   variables, including talc exposure. And the two
       19   up in the need for many days of deposition and       19   categories of talc exposure that they describe in
       20   cross-examination, because each of those -- any      20   this table, one is called "Never - seldom," and
       21   decision about any study can be argued umpteen       21   the other one is called "Moderate - a lot." I
       22   ways. And that's why I took the decision early on    22   don't know what that means. So that's one
       23   not to make exclusions based on my judgment of the   23   element -- how they present it and how they
       24   quality of the study.                                24   analyze the data.
       25       Q Do you personally know any of the              25           But I think actually how they collected
                                                                               58 (Pages 226 to 229)
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        1   the data also led me to describe the -- the           1        Q Which author do you know?
        2   information on exposure as being cryptic.             2        A Daniel Krewski.
        3       Q Okay. Are you familiar with the 2018            3        Q You have published many papers with, is
        4   paper by Mohamed Taher and others entitled "The       4   it, Dr. Krewski?
        5   systematic review and meta-analysis: The              5        A Yes.
        6   association between perineal use of talc and risk     6        Q Is that correct?
        7   of ovarian cancer"?                                   7        A Yes. Yes, it is.
        8       A Yes, I am.                                      8        Q How many papers have you published with
        9       Q Okay. Have you read the Taher 2018              9   him?
       10   manuscript?                                          10        A I'll look at my CV and count.
       11       A Yes. I haven't read all the appendices,        11        Q Would it be fair to say over 20?
       12   but I basically read enough that I know what's in    12        A Oh, I would be surprised if it was that
       13   it.                                                  13   high. But if you've counted, I won't contradict
       14       Q Did you have access to the Taher 2018          14   what you -- what you say.
       15   article before it was published?                     15        Q Let's do it this way: Would all of the
       16       A I don't think it's been published.             16   papers that you have coauthored with Dr. Krewski
       17       Q How did you get access to the Taher            17   be listed on your CV?
       18   manuscript and the appendices?                       18        A Yes.
       19       A I heard about -- I first heard about the       19        Q Have you discussed your opinion on talc
       20   Canadian Department of Health advisory, or           20   and ovary -- ovarian cancer with Dr. Krewski?
       21   whatever the word is, about talc and ovarian         21        A No.
       22   cancer in the public media. And I -- I think in      22        Q Have you discussed your opinion on talc
       23   the news report that I saw, there was a reference    23   and ovarian cancer with any of the authors of the
       24   to Taher -- the Taher paper. That's how I first      24   Taher manuscript?
       25   learned about something by them.                     25        A No.
                                                  Page 231                                                  Page 233
        1           And I wrote to Ms. Parfitt -- I sent a        1       Q Have you spoken to or otherwise
        2   message to Ms. Parfitt asking her if she knows        2   communicated with Dr. Krewski about your
        3   anything about this and has that information, and     3   involvement as an expert in this litigation?
        4   she wrote back, I think, and said, No, I thought      4       A No, I haven't.
        5   you might have -- know something about it and have    5       Q Do you know if the Taher manuscript has
        6   information.                                          6   been accepted for publication?
        7           MS. PARFITT: And -- and,                      7       A I don't know if it's been submitted for
        8   Dr. Siemiatycki, you're not to discuss --             8   publication.
        9           THE WITNESS: Okay.                            9       Q Do you know anything about the source or
       10           MS. PARFITT: -- discuss our                  10   sources of funding for the Taher 2018 manuscript?
       11   communications.                                      11       A I don't have any privileged information
       12           THE WITNESS: Okay.                           12   about that, but I seem to recall in the manuscript
       13           Subsequently, Ms. Parfitt sent me the        13   they're saying something about funding from Health
       14   Taher paper.                                         14   Canada.
       15   BY MS. BRANSCOME:                                    15       Q Is it fair to say that your knowledge
       16       Q And when -- when did you first request         16   with respect to the source or sources of funding
       17   the Taher paper and appendices from Ms. Parfitt?     17   of the Taher manuscript is limited to what is
       18       A I think in December 2018.                      18   written in the manuscript itself?
       19       Q When were you provided with the Taher          19       A Yes.
       20   manuscript and the appendices and supplemental       20       Q Did you attend the National Cancer
       21   tables?                                              21   Institute directors meeting held in Lyon, France,
       22       A Within a few days after that.                  22   on July 11th through 13th, 2018?
       23       Q Do you know personally any of the              23       A No, I did not.
       24   authors on the Taher manuscript?                     24       Q Now, the Taher 2018 manuscript contains
       25       A I know one of them.                            25   a meta-analysis, correct?
                                                                               59 (Pages 230 to 233)
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        1       A Correct.                                       1   one in the binders you gave him? That may help.
        2       Q And Taher 2018 calculates an overall           2          MS. BRANSCOME: It's tab 31.
        3   relative risk of 1.28, correct?                      3          MS. PARFITT: Thank you.
        4           MS. PARFITT: If we could just get that       4          Tab 31. I appreciate that.
        5   in front of him.                                     5          No, you can keep yours.
        6           MS. BRANSCOME: Oh, of course.                6          THE WITNESS: Okay.
        7           MS. PARFITT: Do you have your copy? I        7          MS. PARFITT: There you go, just for the
        8   appreciate that.                                     8   record. Okay. Thank you.
        9           MS. BRANSCOME: It is tab --                  9   BY MS. BRANSCOME:
       10           MS. PARFITT: I think he may have it as      10       Q So my question to you, Dr. Siemiatycki,
       11   well and --                                         11   is Taher 2018 calculates an overall relative risk
       12           THE WITNESS: I have it --                   12   of 1.28. Is that correct?
       13           MS. PARFITT: Make that a little easier      13       A That's what it says in the abstract,
       14   and more quicker.                                   14   yes.
       15           MR. TISI: Do you want to mark it?           15       Q And the confidence interval that they
       16           MS. BRANSCOME: We have already marked       16   report is 1.2 to 1.37, correct?
       17   Dr. Siemiatycki's binder.                           17       A Yes.
       18           MR. TISI: Okay. We can --                   18       Q So the overall relative risk as well as
       19           MS. BRANSCOME: I believe that contains      19   the confidence interval reported in the Taher 2018
       20   the -- the manuscript and the exhibits.             20   paper is very similar to the overall relative risk
       21           MS. PARFITT: And that is binder 6,          21   and confidence interval that you report in your
       22   Exhibit 6.                                          22   analysis for the MDL, correct?
       23           MR. TISI: You said binder, going with       23       A That's correct. Which is not
       24   his or the one --                                   24   surprising.
       25           MS. PARFITT: Exhibit 6.                     25       Q And if you could turn to page 49 of the
                                                 Page 235                                                  Page 237
        1          MS. BRANSCOME: Exhibit 6 is                   1   Taher paper. You see the Conclusion section?
        2   Dr. Siemiatycki's copy of the Taher manuscript       2       A Yes.
        3   with the appendices and supplemental tables.         3       Q The authors of the Taher paper state in
        4   BY MS. BRANSCOME:                                    4   the Conclusion section: "Consistent with previous
        5       Q Is that correct?                               5   evaluations, the IARC in 2010 and subsequent
        6       A That's correct.                                6   evaluations by individual investigators, the
        7          MR. TISI: And that's in his binder,           7   present comprehensive evaluation of all currently
        8   Exhibit 6.                                           8   available relevant data indicates that perineal
        9          THE WITNESS: I don't -- I didn't bring        9   exposure to talc powder is a possible cause of
       10   the supplemental tables and appendices with me.     10   ovarian cancer in humans."
       11   BY MS. BRANSCOME:                                   11           First, did I read that correctly?
       12       Q Okay. So could you just describe for          12       A Yes.
       13   the record the contents of Exhibit 6. It is         13       Q Okay. Do you agree first that the Taher
       14   marked, but just so that I can follow along.        14   2018 paper represents a comprehensive evaluation
       15       A This document?                                15   of all currently available relevant data?
       16          MR. TISI: No, the whole thing.               16       A Yes. I haven't -- I haven't done the
       17          THE WITNESS: Oh, the whole -- the whole      17   same comparison between which studies and which
       18   thing. It contains various meta-analyses, so the    18   data points from each study they used compared to
       19   Berge, Penninkilampi, Huncharek, just the meta --   19   the ones that I've used. I did that for the Berge
       20   main meta-analyses that have been done.             20   and for the Penninkilampi, comparing theirs with
       21          MS. PARFITT: And, Counsel --                 21   mine. I haven't done that for theirs. So I -- I
       22          THE WITNESS: Langseth.                       22   assume that they used basically the same studies
       23          MS. PARFITT: Right.                          23   and the same results from each study.
       24          -- in light of the fact he has his in        24           But, you know, to answer -- I'm quite
       25   front of him, Exhibit 6, is there a corresponding   25   sure that they did this comprehensive evaluation
                                                                              60 (Pages 234 to 237)
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                                                  Page 238                                                  Page 240
        1   of all currently available, but to answer that        1       Q And that they examined those studies
        2   strictly, I would want to do a comparison of the      2   closely enough at least to reach the conclusion in
        3   two. But I'm willing to accept.                       3   their own mind that their results were consistent
        4        Q Okay. And we see here even in this             4   with those findings.
        5   sentence that we just read that there's a             5          MS. PARFITT: Objection. Form.
        6   reference there to the IARC publication in 2010.      6          THE WITNESS: Yes.
        7   We've already discussed that, correct?                7   BY MS. BRANSCOME:
        8        A Yes.                                           8       Q Are there any scientific publications
        9        Q And then there's a reference to                9   that were available to you during your review in
       10   subsequent evaluations by individual                 10   connection with your formation of opinions in the
       11   investigators, and there's a reference there to      11   MDL that were not available to the authors of the
       12   articles or studies 3, 5 and 69. Do you see that?    12   Taher manuscript?
       13        A I see that.                                   13          MS. PARFITT: Objection. Form.
       14        Q And looking at the reference pages,           14          THE WITNESS: So are you talking about
       15   beginning on page 51, would you agree that           15   the meta-analysis that -- are you talking about
       16   reference 3 is the Berge analysis, this citation     16   studies that went into meta-analysis or are you
       17   is to 2017, correct?                                 17   talking about the, you know, 200 or 300 references
       18        A Correct.                                      18   in my bibliography?
       19        Q Five is Penninkilampi, correct?               19   BY MS. BRANSCOME:
       20        A Correct.                                      20       Q Fair enough.
       21        Q And the last reference, which is 69, is       21          Are there any studies that you included
       22   to the Terry meta-analysis. Do you see that?         22   in your meta-analysis that, at least to your
       23        A Terry is not a meta-analysis. It's a          23   knowledge, were available to you and were not
       24   pooled analysis. But I see that, yes.                24   available to the Taher authors?
       25        Q Okay. So the reference in the Taher           25          MS. PARFITT: Objection. Form.
                                                  Page 239                                                  Page 241
        1   manuscript to reference 69 is to the Terry pooled     1           THE WITNESS: Oh, they would have been
        2   analysis from 2013, correct?                          2   available because all of my -- the studies I used
        3        A Correct.                                       3   are in publicly available literature, and I'm sure
        4        Q And so you agree that at least the Taher       4   they were available.
        5   authors considered the Berge, Penninkilampi, and      5   BY MS. BRANSCOME:
        6   Terry studies.                                        6        Q Okay. Do you have any criticisms of the
        7           MS. PARFITT: Objection. Form.                 7   Taher 2018 meta-analysis?
        8           THE WITNESS: Were aware of. I'm not           8        A I haven't evaluated it closely enough
        9   sure what you mean by considered. They -- they        9   to -- to formulate criticisms or praise or --
       10   referenced it. I don't know that they considered     10        Q Now, you testified earlier that there
       11   it in their -- I don't imagine that there's any      11   was a flurry of activity in December surrounding
       12   place in their statistical analysis where they       12   the information from Health Canada and the Taher
       13   introduced data from any of those papers. They're    13   manuscript.
       14   just acknowledging that those other meta-analyses    14           Is there a reason why you have not
       15   found the same thing that they found.                15   reviewed the Taher manuscript in detail and formed
       16   BY MS. BRANSCOME:                                    16   an opinion about whether you agree or disagree
       17        Q So perhaps we have a different                17   with its analysis?
       18   understanding of the word "considered."              18           MS. PARFITT: Objection. Fully
       19        A Okay.                                         19   misstates his testimony. Form.
       20        Q Would you agree that a fair reading of        20           THE WITNESS: I -- I thought that it
       21   their Conclusion paragraph would indicate that the   21   would have absolutely no bearing on the results
       22   Taher authors were first aware --                    22   and the opinions that I expressed in my report,
       23        A Yes.                                          23   plus I didn't have time to do such a review. And
       24        Q -- of Terry, Berge and Penninkilampi?         24   so the combination of those two things made it a
       25        A Yes.                                          25   simple decision not to devote precious time and
                                                                               61 (Pages 238 to 241)
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        1   effort to a -- a futile activity.                     1   criteria, but which are not criteria and shouldn't
        2           I'm not uninterested in what they did or      2   be called criteria.
        3   what they found, but I can predict pretty quickly     3        Q Understanding that you have specific
        4   what they did and what they found, and I -- I know    4   views about the appropriateness and application of
        5   the studies that they reviewed, that they had         5   it, you are at least familiar with what is
        6   access to. There's nothing that they would find       6   sometimes referred to as a Bradford Hill analysis
        7   that I wouldn't be able to predict.                   7   or the Hill criteria, correct?
        8           MS. BRANSCOME: Okay.                          8        A I don't -- again, the phrase "Bradford
        9           Now may be a good time to take a break.       9   Hill analysis" doesn't mean anything. I don't
       10           MS. PARFITT: Sure. Okay. Very good.          10   think you would find that phrase in any
       11           MS. BRANSCOME: Let's go off the record.      11   epidemiology or statistics textbook.
       12           MR. TISI: Are we switching examiners         12        Q Are you saying as you sit here today,
       13   too?                                                 13   Dr. Siemiatycki, you've never heard of the Hill
       14           MS. BRANSCOME: I don't know. That's          14   criteria?
       15   why --                                               15           MS. PARFITT: Objection. Misstates his
       16           MS. PARFITT: Oh, fair enough. Fair           16   testimony.
       17   enough.                                              17           THE WITNESS: No, I've heard of it, and
       18           THE VIDEOGRAPHER: We're going off the        18   I'm saying that it's a misnomer. And so I'd
       19   record at 6:22 p.m.                                  19   prefer if the correct terminology is used when --
       20           (Recess.)                                    20   if you're asking me questions about it.
       21           THE VIDEOGRAPHER: This begins disc           21   BY MS. BRANSCOME:
       22   number 5 in the deposition of Jack Siemiatycki.      22        Q The authors of the Taher manuscript use
       23   We are going back on the record at 6:40 p.m.         23   the term "Hill criteria" --
       24   BY MS. BRANSCOME:                                    24        A Yes.
       25       Q So, Dr. Siemiatycki, if you could open         25        Q -- in their Table 2, correct?
                                                  Page 243                                                  Page 245
        1   back up to the Taher manuscript again. I believe      1         A Yes, they do.
        2   it's in your binder that's been marked as             2         Q And there is a discussion under the --
        3   Exhibit 6, and specifically, if you could go to       3   what they refer to as a criterion for strength of
        4   Figure 3 on page 39.                                  4   association, correct?
        5            Have you looked at Figure 3 from the         5         A Yes.
        6   Taher 2018 manuscript before now?                     6         Q And the Taher authors report that out of
        7         A No, I haven't. I may have glanced at it       7   30 epidi- -- epidil- -- epidemiological studies --
        8   going through it, but I haven't examined it.          8   it's late in the day -- six reported positive
        9         Q Did you look at anything in the Taher         9   association of statistical significance with a
       10   manuscript to support your opinion that there is     10   risk value, relative risk or odds ratio of 1.5 or
       11   at least evidence compatible with the dose-          11   greater.
       12   response relationship between perineal use of talc   12            Is that description of the
       13   and ovarian cancer?                                  13   epidemiological studies accurate?
       14         A I didn't look for that in this paper.        14         A I don't know. I haven't counted. I
       15         Q If you could look at page 25 of the          15   haven't done that kind of counting, which is
       16   Taher paper.                                         16   irrelevant and wrong from a statistical and
       17            Do you see here that the authors of the     17   epidemiological point of view to do it. So I
       18   Taher manuscript describe the summary of evidence    18   haven't done it, and I can't confirm that there
       19   for each of the Hill criteria of causation? Do       19   are six that report odds ratios greater than 1.5.
       20   you see that?                                        20   I could do that if you want me to. I can look
       21         A I see that.                                  21   through studies and see.
       22         Q And you are familiar with the Hill --        22            But there's no -- there's no scientific
       23   the Hill criteria of causation, correct?             23   purpose in doing that. It's a meaningless piece
       24         A I'm familiar with what they call the         24   of information.
       25   Hill criteria and what some people call the Hill     25         Q Would you criticize the Taher authors
                                                                               62 (Pages 242 to 245)
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        1   for their discussion of the Hill criteria?            1       Q 48 in my binder, but I don't know if you
        2        A Yes.                                           2   have a copy in yours, which might be faster.
        3        Q And you have explained your criticisms         3       A No, this -- I have the -- I have the
        4   about the Hill criteria in both your trial            4   current Berge paper. So...
        5   testimony and in your prior deposition testimony,     5       Q At page 9, I believe.
        6   correct?                                              6          Well, that's confusing to say page 9.
        7        A I can't remember the details, but I -- I       7       A Okay, I see that.
        8   guess if I was asked about it, I explained what I     8       Q Okay. In reviewing the conclusion that
        9   thought about it.                                     9   the Berge authors reached, would -- did the Berge
       10            My criticism -- I'm not sure what you       10   authors conclude that genital talc use was a
       11   mean by my criticisms of the term or of the          11   probable cause of ovarian cancer?
       12   concepts that the paper that Hill wrote in 1965,     12       A They did not indicate that they
       13   the ways -- the umpteen different ways that other    13   concluded that.
       14   people have interpreted it. What -- what are you     14       Q Okay. And same for the Penninkilampi
       15   referring to when you say I criticized? What did     15   study.
       16   I criticize?                                         16          MS. PARFITT: Had you finished? Had you
       17        Q Have your views with respect to the use       17   finished your statement.
       18   and application of the so-called Hill criterion      18          THE WITNESS: Not quite.
       19   changed since you testified in the Echeverria        19          There's a difference between the
       20   trial?                                               20   findings of a study and the inferences that are
       21            MS. PARFITT: Objection. Form.               21   drawn from those findings. So the findings of
       22            THE WITNESS: They -- they haven't           22   their meta-analyses and the findings of the
       23   changed in 40 years.                                 23   Penninkilampi meta-analyses and findings of the
       24   BY MS. BRANSCOME:                                    24   Taher meta-analyses are the same as my findings.
       25        Q Okay. Thank you.                              25   All four agree on the findings.
                                                  Page 247                                                  Page 249
        1           Now, we have just discussed three             1           Interpreting and making inferences is a
        2   meta-analyses: The Berge meta-analyses, the           2   whole other bailiwick, a whole other activity, and
        3   Penninkilampi meta-analyses, and the Taher            3   they don't -- didn't conclude in this section that
        4   meta-analyses. Correct?                               4   it's a probable cause. From the same evidence, I
        5        A Yes.                                           5   do conclude that it's a probable cause.
        6        Q Would you agree that none of the authors       6   BY MS. BRANSCOME:
        7   of those three meta-analyses concluded that talc      7        Q Right. And the same is true for the
        8   was a probable cause of ovarian cancer?               8   Penninkilampi officer -- authors, correct?
        9           MS. PARFITT: Objection. Form.                 9        A Sorry, I have to go through it.
       10           THE WITNESS: The purpose of those            10   (Peruses document.)
       11   meta-analyses was to estimate the meta-estimate of   11           I don't really agree with your
       12   relative risk. In terms of the conclusion about      12   statement. I don't think they conclude that it's
       13   probable causation, I think they all commented on    13   probable or not probable. I don't see -- can you
       14   it in their discussions.                             14   point me to a statement that would imply that it's
       15           And can you specify your question again,     15   not -- that they think it's not probable?
       16   whether they concluded that it was a probable        16        Q Do the authors of the Penninkilampi
       17   cause?                                               17   paper use the phrase, quote, suggestive of a
       18   BY MS. BRANSCOME:                                    18   causal association, in the Conclusion section?
       19        Q Correct.                                      19        A Yes, they do.
       20        A I'd have to look at the way they -- what      20        Q Okay. Would you say that "suggestive of
       21   conclusions they drew, I'd have to look at that.     21   a causal association" is equivalent to probable
       22        Q Okay. If we could look at the Berge           22   causation?
       23   paper, which should be tab --                        23           MS. PARFITT: Objection. Form.
       24        A Let me see, I think I have the latest         24           THE WITNESS: That's a semantic
       25   issue of the Berge paper.                            25   question, and how different people and different
                                                                               63 (Pages 246 to 249)
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                                                  Page 250                                                  Page 252
        1   cultures -- and I think these people are              1   "possible" here can cover a range of possibilities
        2   Australians -- how Australians tend to use the        2   that includes probable.
        3   word "suggestive." I -- I don't read this in a        3           So if something is possible, that means
        4   way as to suggest that they don't think it's          4   it could happen, and in their view or in some of
        5   probable.                                             5   their -- those authors' view, the possibility or
        6   BY MS. BRANSCOME:                                     6   the probability of -- of such a thing happening
        7       Q So you don't know from reviewing the            7   might be greater than 50 percent, and they might
        8   Conclusion section one way or the other whether       8   still describe it as a possible cause of ovarian
        9   the Penninkilampi authors view perineal use of        9   cancer.
       10   talc as a probable cause of ovarian cancer.          10        Q You would be --
       11           MS. PARFITT: Objection. Form,                11           MR. KLATT: Object. Nonresponsive.
       12   misstates his testimony.                             12           Sorry.
       13           Just answer the question.                    13   BY MS. BRANSCOME:
       14           THE WITNESS: Yes, that's right, I -- I       14        Q You would be purely speculating to opine
       15   don't.                                               15   that the Taher authors, for example, when they
       16   BY MS. BRANSCOME:                                    16   used the term "possible" to describe the
       17       Q Okay. And as we just looked at in the          17   association, they actually meant probable,
       18   Taher manuscript, the Taher authors describe that    18   correct?
       19   the data indicates perineal exposure to talc         19           MS. PARFITT: Objection. Form.
       20   powder is a possible cause of ovarian cancer in      20           THE WITNESS: I didn't say they -- they
       21   humans, correct?                                     21   actually -- I meant -- I said that it could
       22           And if you need the reference, it's          22   include probable.
       23   page 49.                                             23           And so you are -- the sense of your
       24       A That's correct.                                24   question is to suppose or assume that their use of
       25           Possible does not preclude probable, by      25   the word "possible" excludes the concept of
                                                  Page 251                                                  Page 253
        1   the way. I'm not -- I'm not assume- -- are you        1   probable, that they did not think it's -- because
        2   assuming that they had in mind the IARC               2   they used the word "possible," they absolutely
        3   classification system and that these two              3   denied that it's probable. And I -- that's what
        4   categories are mutually exclusive?                    4   I'm disagreeing with.
        5        Q My question to you, Dr. Siemiatycki, is        5   BY MS. BRANSCOME:
        6   did any of the authors of the three other             6       Q Where I'm coming from is not relevant to
        7   meta-analyses, Berge, Penninkilampi or Taher,         7   the question that I'm asking, Dr. Siemiatycki.
        8   conclude in their papers that perineal talc use is    8   The question that I'm asking you is, do any of the
        9   a probable cause of ovarian cancer?                   9   authors of the three meta-analyses that we just
       10            MS. PARFITT: Objection. Form. Asked         10   reviewed, Berge, Penninkilampi, and Taher,
       11   and answered.                                        11   describe in their papers the association between
       12            THE WITNESS: They did not use that          12   perineal use of talc and ovarian cancer as a
       13   word. But I would not infer that they don't think    13   probable causal association?
       14   it's a probable cause from the write-up of           14          MS. PARFITT: Objection. Form.
       15   their -- from their write-up. It is possible that    15   BY MS. BRANSCOME:
       16   they consider the description of this as a --        16       Q Do any of them use that term?
       17   where is the word "possible"? Is that in the         17          MS. PARFITT: Objection. Form.
       18   Conclusion?                                          18          THE WITNESS: None of them use that
       19   BY MS. BRANSCOME:                                    19   term, but that doesn't preclude that they -- some
       20        Q It is.                                        20   of them believe it is probable.
       21        A Oh, yeah, possible cause.                     21          MR. KLATT: Object. Nonresponsive.
       22            You know, they are -- I mean, I can't       22   BY MS. BRANSCOME:
       23   speak for them because I haven't spoken to any of    23       Q You have no basis for concluding or even
       24   them about this, but I don't think they're           24   suggesting that any of these authors have the
       25   speaking to a legal audience. And the word           25   opinion that it is a probable causal association
                                                                               64 (Pages 250 to 253)
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                                        Jack Siemiatycki, Ph.D.
                                                 Page 254                                                  Page 256
        1   other than speculating based off of what you're      1   bureau or division. I'm not quite sure.
        2   reading on the page, correct?                        2       Q Okay. And the document that you're
        3           MS. PARFITT: Objection. Form.                3   looking at there is contained within a binder that
        4           THE WITNESS: Correct. Nor do I have          4   we have previously marked as Exhibit 4, correct?
        5   any basis for assuming that they don't think it's    5       A Correct.
        6   probable on the basis of what I read.                6       Q All right. Is this an item -- is this
        7   BY MS. BRANSCOME:                                    7   an item.
        8        Q When you write scientific manuscripts,        8           Is this Draft Screening Assessment a
        9   Dr. Siemiatycki, are you careful about your word     9   document that you considered in forming your
       10   choice, particularly in your conclusion section?    10   opinions in this case?
       11           MS. PARFITT: Objection. Form.               11       A No, it isn't.
       12           THE WITNESS: I try to be. I try to be.      12       Q Why not?
       13   BY MS. BRANSCOME:                                   13       A Because I was only aware of it a month
       14        Q Okay. If you could turn to tab 33 in         14   or -- a month and a half or two months after I
       15   your binder.                                        15   completed my report, and two years after I formed
       16           Are you familiar with the document that     16   the main part of my opinion.
       17   is located behind tab 33 in your binder there?      17       Q How did you obtain a copy of the Draft
       18        A I -- I think so. I -- mine had a             18   Screening Assessment by Health Canada?
       19   different cover page when I printed it off, but     19       A I think that this was on the internet.
       20   that's fine. I'm -- I assume it's the same one      20   I think I --
       21   I -- I had.                                         21           THE WITNESS: Yeah, some other -- there
       22           MR. TISI: It's not. It's not.               22   should be a light button that we can press.
       23           MS. PARFITT: What are you referring to?     23           Excuse me. Excuse me, just maybe off
       24           MR. TISI: The draft article is not --       24   the record for a second.
       25           MS. PARFITT: Yeah, I know that.             25           (A discussion was held off the record.)
                                                 Page 255                                                  Page 257
        1          THE WITNESS: Is it the Draft Screening        1           THE VIDEOGRAPHER: We are going off the
        2   Assessment?                                          2   record at 7:03 p.m.
        3          MR. TISI: No, that's not the same.            3           (Pause in the proceedings.)
        4          THE WITNESS: No?                              4           THE VIDEOGRAPHER: We are back on the
        5          MR. TISI: It's not.                           5   record at 7:03 p.m.
        6          MS. PARFITT: Do you have a copy of            6   BY MS. BRANSCOME:
        7   yours?                                               7       Q Dr. Siemiatycki, we paused because the
        8          THE WITNESS: Yeah.                            8   lights turned off, but my question to you is, how
        9          MS. BRANSCOME: Can we go off the record       9   did you obtain a copy of the Draft Screening
       10   while we figure this out?                           10   Assessment by Health Canada?
       11          MS. PARFITT: Sure, that would be fine.       11       A Either it was sent to me by Ms. Parfitt
       12          THE VIDEOGRAPHER: We're going off the        12   or her staff, or I found it on the internet. And
       13   record at 6:58 p.m.                                 13   I can't quite remember now.
       14          (Pause in the proceedings.)                  14       Q Do you remember when you first obtained
       15          THE VIDEOGRAPHER: We're back on the          15   a copy of the Draft Screening Assessment?
       16   record at 7:01 p.m.                                 16       A My guess is just before I went on
       17   BY MS. BRANSCOME:                                   17   vacation for Christmas and New Years. So it would
       18       Q Dr. Siemiatycki, you have a document in       18   have been mid -- mid to -- mid-December, I guess,
       19   front of you that is labeled a "Draft Screening     19   something like that.
       20   Assessment" dated December 2018; is that correct?   20       Q Are you familiar with the process by
       21       A Yes, I do.                                    21   which draft screening assessments are generated by
       22       Q And this is a screening assessment by         22   Health Canada?
       23   the Environment and Climate Change Canada, Health   23       A No, not really. I was involved with
       24   Canada, correct?                                    24   this department of Health Canada 30 years ago, and
       25       A It's a branch of Health Canada or a           25   I haven't been involved since. I don't know how

                                                                              65 (Pages 254 to 257)
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                                                 Page 258                                                 Page 260
        1   they function really to produce these evaluations    1        A Yes.
        2   and reports.                                         2        Q Do you believe --
        3       Q Did you have any involvement, even             3        A If I make such a submission, yes.
        4   tangentially, in the development of the Draft        4        Q Why -- well, first of all, do you think
        5   Screening Assessment by Health Canada?               5   it's important to disclose your involvement in the
        6       A No.                                            6   litigation if you were to submit something for
        7       Q Were you ever asked to consult on any of       7   public comment?
        8   the content that ultimately ended up in the Draft    8        A Yes, I think it is.
        9   Screening Assessment?                                9        Q And why is that?
       10       A No, I wasn't.                                 10        A Because there's a potential conflict of
       11       Q Were you ever contacted about                 11   interest, and they should know about it.
       12   potentially being involved in a Draft Screening     12        Q Would you also notify IARC of your role
       13   Assessment of talc for Health Canada?               13   in litigation involving talcum powder products if
       14       A No. Never.                                    14   you submitted something to them to suggest that a
       15       Q You are aware that this is in fact a          15   formal evaluation of talc be conducted?
       16   draft assessment by Health Canada, correct?         16        A Yes, I would.
       17           MS. PARFITT: Objection. Form.               17        Q Is that for the same reason?
       18           THE WITNESS: I see that's what it says      18        A Yes, it is.
       19   on the cover page.                                  19        Q Is the Draft Screening Assessment the
       20   BY MS. BRANSCOME:                                   20   type of material that you think it is reliable to
       21       Q Are you aware of what further steps in        21   base an expert opinion on?
       22   the process must be taken before the draft          22           MS. PARFITT: Objection. Form.
       23   assessment is potentially accepted or modified?     23           THE WITNESS: An expert opinion about
       24           MS. PARFITT: Objection. Form.               24   what?
       25           THE WITNESS: I'm not familiar with the      25   BY MS. BRANSCOME:
                                                 Page 259                                                 Page 261
        1   details, no.                                         1       Q About the potential relationship between
        2   BY MS. BRANSCOME:                                    2   talc and ovarian cancer.
        3       Q What are you familiar with, if not the         3          MS. PARFITT: Objection. Form.
        4   details?                                             4          THE WITNESS: Are you asking if it would
        5       A I remember seeing that there's a public        5   influence my opinion on the issue or --
        6   consultation opportunity, and -- so I guess there    6   BY MS. BRANSCOME:
        7   will be a period of time during which they will      7       Q So under- -- understanding that the
        8   accept public recommendations and comments. And I    8   Draft Screening Assessment came out after you had
        9   don't know if it's the same committee that will      9   formed your opinion, I'm asking you that if that
       10   then review all of that or a committee that's       10   had not been the case, if it had come out while
       11   higher up on the administrative pecking order. I    11   you were still forming your expert opinion, is
       12   don't -- I don't know what happens internally.      12   this something that you would rely on?
       13       Q Do you intend to submit anything for          13       A I would take cognizance of it, and I'm
       14   the -- during the public comment period?            14   not sure whether it would persuade me in one
       15       A I -- yeah, I hope to do so. I hope to         15   direction or another on the strength of the
       16   do so.                                              16   evidence, but it -- it would certainly give me --
       17       Q What specifically do you intend to            17   increase my comfort level to draw inferences to
       18   submit?                                             18   see what inferences other people draw. I won't
       19       A I'm not sure yet. I -- I would probably       19   necessarily follow their opinions, but I find it
       20   submit an opinion supporting the notion that        20   useful to know what inferences they would draw
       21   perineal use of talc is more likely than not        21   from it.
       22   related to ovarian cancer.                          22       Q Is a Draft Screening Assessment the type
       23       Q In your submission, do you intend to          23   of report or publication that you see cited in
       24   disclose your role in litigation involving talcum   24   published scientific literature?
       25   powder products?                                    25          MS. PARFITT: Objection. Form.
                                                                              66 (Pages 258 to 261)
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                                                  Page 262                                                  Page 264
        1           THE WITNESS: Not -- not -- in                 1   describing the conclusion as a proposal? Or --
        2   scientific literature, not so much, no.               2   yeah.
        3   BY MS. BRANSCOME:                                     3   BY MS. BRANSCOME:
        4       Q The draft assessment -- first of all,           4       Q Focusing specifically on the second
        5   are you familiar with the proposal with respect to    5   paragraph where it says: "It is proposed to
        6   talc that's contained in the draft assessment?        6   conclude that talc meets the criteria under
        7       A Which proposal are you referring to?            7   paragraph 64(c) of CEPA as it is entering or may
        8       Q I could refer you specifically to               8   enter the environment in a quantity or
        9   page --                                               9   concentration or under conditions that constitute
       10           MR. TISI: I spilled coffee on it too.        10   or may constitute a danger in Canada to human life
       11   Sorry. You get what you get.                         11   or health."
       12   BY MS. BRANSCOME:                                    12          MS. PARFITT: Objection. Form.
       13       Q -- on page 29.                                 13          THE WITNESS: It's not a way of
       14       A The Conclusion section?                        14   describing scientific evidence that I'm intimately
       15       Q Yes. Have you reviewed this before?            15   familiar with. So I would need to review this
       16       A I -- I might have looked at it quickly.        16   document in more detail and be aware of the
       17   But let me -- let me review it -- let me read it     17   paragraph 64(c) of the CEPA.
       18   now. (Peruses document.)                             18   BY MS. BRANSCOME:
       19           You know, it refers to the fit of the --     19       Q And that is not something you --
       20   their findings and conclusions with various          20       A So I'm not --
       21   articles of law in the Canadian Environmental        21       Q -- have done as of today?
       22   Protection Act. I would have to know what those      22       A It's not something I base -- today I
       23   articles of law are that this conforms to, that      23   couldn't say I agree with this or I don't agree
       24   these sentences purportedly conform to. I -- I       24   with this.
       25   have no reason to doubt what they say, but I -- I    25       Q Okay. And so this is not -- the Draft
                                                  Page 263                                                  Page 265
        1   can't confirm.                                        1   Screening Assessment by Health Canada is not
        2        Q So as you sit here today, are you              2   something that you are relying upon in any way in
        3   capable or prepared to offer an opinion as to how     3   offering your expert opinions in this case; is
        4   the conclusions in the Draft Screening Assessment     4   that correct?
        5   relate to other pieces of literature that we've       5          MS. PARFITT: Objection. Form,
        6   discussed today?                                      6   misstates his testimony.
        7            MS. PARFITT: Objection. Form.                7          THE WITNESS: No. As I said, I didn't
        8            THE WITNESS: How they relate to -- or        8   rely on this to form my opinion.
        9   whether they're concordant with other pieces?         9   BY MS. BRANSCOME:
       10   It's difficult for me to say without studying this   10       Q Okay.
       11   document more and seeing what the conformity is      11          MS. BRANSCOME: Could we go off the
       12   with the Canadian pieces of legislation that they    12   record just briefly?
       13   refer to. So I -- I can't -- I can't give you        13          MS. PARFITT: Of course.
       14   much more than that.                                 14          THE VIDEOGRAPHER: We're going off the
       15   BY MS. BRANSCOME:                                    15   record at 7:15 p.m.
       16        Q So as you sit here today, could you --        16          (Pause in the proceedings.)
       17   do you have an opinion as to how the proposal in     17          THE VIDEOGRAPHER: We're back on the
       18   the Draft Screening Assessment with respect to       18   record at 7:16 p.m.
       19   talc relates to the current IARC classification of   19   BY MS. BRANSCOME:
       20   talc?                                                20       Q Dr. Siemiatycki, can you describe -- can
       21            MS. PARFITT: Objection. Form.               21   you identify for me specifically the pieces of
       22            THE WITNESS: By proposal, you mean the      22   evidence that you would cite to in support of your
       23   conclusion?                                          23   opinion that there is evidence consistent with a
       24            MS. PARFITT: The entire document.           24   dose-response relationship that was not considered
       25            THE WITNESS: You're -- you're               25   by the IARC 2006 working group?
                                                                               67 (Pages 262 to 265)
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                                                  Page 266                                                  Page 268
        1       A Can --                                          1   use your own copy if that's more convenient.
        2       Q And I'm just looking for an                     2        A Yep. There we go. Okay.
        3   identification of the papers.                         3        Q Did the authors of the Terry 2013 paper,
        4       A Let me just dig out -- I keep hiding            4   did they conclude in their manuscript that they
        5   things from myself.                                   5   had observed a statistically significant dose-
        6           MS. PARFITT: Okay.                            6   response relationship between the perineal use of
        7           THE WITNESS: Oh, there.                       7   talc and ovarian cancer?
        8           The primary pieces of evidence -- the         8        A They reported two different ways of
        9   primary piece of evidence is the analysis carried     9   calculating the statistical significance of a
       10   out in the Terry, et al., paper where they           10   trend. One of them was significant, and the other
       11   combined ten different studies from eight            11   was formal, in terms of the conventional 0.05
       12   different research teams. They had by far the        12   statistical significance level, was not
       13   largest sample size of any conglomeration of         13   significant at that level.
       14   studies ever conducted, enough to properly           14        Q And in fact in the abstract, the authors
       15   evaluate dose-response. And that's one of them.      15   of the Terry paper state that: "Among genital
       16           The second one is the Schildkraut study,     16   powder users, we observed no significant trend,
       17   which is much smaller than the Terry study in        17   p equals 0.17, in risk with increasing number of
       18   terms of numbers.                                    18   lifetime applications," in parentheses, "assessed
       19           And the third -- a third one, which was      19   in quartiles."
       20   not part of the evidence that influenced my          20           Did I read that correctly?
       21   evaluation, is the latest version of the Berge       21        A That's correct.
       22   paper which has some dose-response results in a      22        Q Okay. Now, in your 2016 report --
       23   table whose origin I don't completely understand,    23        A Yeah.
       24   but ostensibly it gives dose-response trends that    24        Q -- you had the statement that: "The
       25   are significant and meaningful for duration and      25   appropriate statistical test for trend is one that
                                                  Page 267                                                  Page 269
        1   frequency of exposure. But I would put less           1   excludes the baseline unexposed category."
        2   weight on that until I fully understand what --       2           Do you remember having that sentence in
        3   how they derived those estimates.                     3   your 2016 report?
        4   BY MS. BRANSCOME:                                     4       A I remember the -- the idea being there,
        5        Q Okay. So the pieces of evidence that           5   yes.
        6   you would cite to in support of the idea that         6       Q Okay. And you would agree that if you
        7   there has been a development that is supportive of    7   apply that statistical test for trend, meaning you
        8   a dose-response relationship between perineal talc    8   exclude the baseline unexposed category, the Terry
        9   and ovarian cancer since the IARC classification      9   2013 paper does not demonstrate a dose-response
       10   of talc as a 2B would be the Terry, the              10   relationship, correct?
       11   Schildkraut, and potentially the Berge analysis;     11           MS. PARFITT: Objection.
       12   is that correct?                                     12           THE WITNESS: No.
       13           MS. PARFITT: Objection --                    13           MS. PARFITT: Misstates testimony.
       14           THE WITNESS: Yes.                            14           THE WITNESS: So I would not conclude --
       15           MS. PARFITT: -- to the reference of          15   I would say that it demonstrates dose-response,
       16   "potentially the Berge." Form.                       16   but not at a statistical -- at a 0.05 statistical
       17   BY MS. BRANSCOME:                                    17   significance level.
       18        Q You did not rely in any way on the            18           And I would also -- I can't remember the
       19   analysis in the Berge 2018 paper for your            19   wording and the context in the 2016 report that
       20   conclusion that there is evidence compatible with    20   you're referring to, but I would imagine that I
       21   a dose-response relationship between perineal talc   21   preceded that statement with some mention of the
       22   use and ovarian cancer, correct?                     22   fact that it depends if you are using the overall
       23        A That's correct.                               23   risk among all exposed people compared to
       24        Q Okay. So looking first at the Terry           24   unexposed people as a complementary piece of
       25   2013 paper. This is tab 14 or you're welcome to      25   information.
                                                                               68 (Pages 266 to 269)
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        1           And it's only in the context when you         1   are you positing?
        2   are using the -- all the exposed compared to all      2   BY MS. BRANSCOME:
        3   the unexposed, and at the same time carrying out      3       Q Of those ten studies, which, if any of
        4   an analysis of the different levels of exposure,      4   them, postdate 2006? Do you know?
        5   that including the unexposed among the -- in that     5       A Most of them do. I would say -- I think
        6   trend analysis becomes overlapping information        6   the only one -- ones that were published before
        7   with the overall -- the significance of the           7   2006 were a study by Chang and one or two of the
        8   overall estimate.                                     8   components of Cramer's studies. I think the rest
        9   BY MS. BRANSCOME:                                     9   were all published post-2006.
       10       Q Okay.                                          10       Q Okay. Did you independently do an
       11       A This -- I'm not quite finished. Sorry.         11   analysis of the potential dose-response
       12           So -- and because I don't want you to        12   relationship of perineal talc use and ovarian
       13   think that I believe or believed that on its own     13   cancer?
       14   there is no evidence of dose-response. There is      14           MS. PARFITT: Objection. Form.
       15   evidence of dose-response in the Terry analysis.     15           THE WITNESS: By "independently," you
       16   The choice of which p-value to report on the trend   16   mean trying to replicate the Terry analysis? No.
       17   analysis depends completely on how one combines      17   I don't see why I would be motivated to do
       18   that information with the ever exposed/never         18   something that someone else has already done.
       19   exposed information and the p-value for that.        19   BY MS. BRANSCOME:
       20   That when we want completely independent and         20       Q Okay. So you are relying on the data as
       21   separate strands of evidence to corroborate each     21   reported by Terry 2013 that you consider to be
       22   other, then it's appropriate to exclude the          22   evidence in support of a dose-response
       23   unexposed from the p-value computation.              23   relationship, correct?
       24           When you are using -- when you are not       24       A That's correct.
       25   using the binary exposed/unexposed as part of the    25       Q Okay. But the authors themselves do not
                                                  Page 271                                                  Page 273
        1   package of information to demonstrate causation,      1   conclude that there has been a statistically
        2   then the correct p-value is the one that includes     2   significant dose-response relationship established
        3   the unexposed. So it depends how you use these        3   for the perineal use of talc and ovarian cancer,
        4   things.                                               4   correct?
        5           If I didn't qualify that statement that       5           MS. PARFITT: Objection. Form,
        6   you read before, then I was in error.                 6   misstates the evidence.
        7       Q If you did not have the Terry 2013              7           THE WITNESS: I -- I didn't review what
        8   study --                                              8   they concluded in the Discussion section. If you
        9       A Yes.                                            9   want, I could review that. And I -- I don't
       10       Q -- set that aside for a moment, you did        10   remember what -- what kind of narrative inferences
       11   not have that data, would it still be your opinion   11   they made about it.
       12   that the perineal use of talc probably causes        12   BY MS. BRANSCOME:
       13   ovarian cancer?                                      13       Q Okay.
       14       A So --                                          14       A You're asking me to confirm that they
       15           MS. PARFITT: Objection. Form.                15   didn't conclude, so I would want -- their data in
       16           THE WITNESS: So just to be clear what        16   my mind indicates dose-response. How they
       17   the hypothetical supposition is, so the Terry        17   interpret it -- as I said before, they're two
       18   paper doesn't exist, but the studies underlying      18   separate things, the production of findings from
       19   the Terry paper still do exist, correct? Or they     19   research and the interpretation of those findings.
       20   don't exist either?                                  20           I am as capable of interpreting -- they
       21           So there are ten studies underlying the      21   aren't as capable of interpreting my findings from
       22   Terry reanalysis. Is your hypothetical question      22   my studies as I am or they are as capable -- they
       23   about the possibility that none of those studies     23   have the right to. I have the right to interpret
       24   existed or that they existed, but nobody actually    24   their findings. It's a different activity
       25   put them together to combine an analysis? What       25   producing findings and then interpreting them. So
                                                                               69 (Pages 270 to 273)
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                                                   Page 274                                                  Page 276
         1   how they interpreted their findings, I don't quite    1   people at IARC and the public generally to know
         2   remember exactly what they said about it.             2   that you had been a retained and paid expert by
         3       Q Okay.                                           3   plaintiffs' counsel in the talc ovarian cancer
         4           MS. BRANSCOME: I am going to pass to          4   litigation; is that correct?
         5   counsel for Imerys at this time.                      5        A Sir, can you -- I think I already said
         6           MR. KLATT: Can we go off the record for       6   that, but could you repeat? Maybe I'm
         7   just a couple of minutes? Let me get organized.       7   misunderstanding.
         8           THE VIDEOGRAPHER: We are going off the        8        Q Yes. I'm just saying such a conflict of
         9   record at 7:31 p.m.                                   9   interest disclosure on your part, it would be
        10           (Pause in the proceedings.)                  10   important to disclose not merely that you had been
        11           THE VIDEOGRAPHER: We are going back on       11   a consultant or merely that you had been involved
        12   the record at 7:32 p.m.                              12   in litigation involving ovarian cancer, but it
        13              DIRECT EXAMINATION                        13   would be important to specifically disclose that
        14   BY MR. KLATT:                                        14   you had been a retained and paid expert by
        15       Q Good afternoon -- good evening,                15   plaintiffs' counsel in the talc/ovarian cancer
        16   Dr. Siemiatycki.                                     16   litigation. Correct?
        17       A Good evening. How are you?                     17           MS. PARFITT: Objection. Form, asked
        18       Q I'm Mike Klatt. I represent Imerys Talc        18   and answered.
        19   America in this case.                                19           THE WITNESS: I -- I'm not sure I
        20           I don't know if you recall or not, but       20   understand the distinction between this last
        21   you and I had met about two years ago when you       21   affirmation and the one before. I -- yes, it --
        22   were giving a deposition in the Oules and Swan       22   BY MR. KLATT:
        23   cases. Do you recall that?                           23        Q Well, we've had -- we've had other
        24       A I do recall that.                              24   conflict of interest disclosures, and I put that
        25       Q Okay.                                          25   in quotes, where people said that they had been a
                                                   Page 275                                                  Page 277
        1         A Very fondly.                                   1   consultant, period. That wouldn't be sufficient,
        2         Q Thank you.                                     2   would it?
        3            I just have a few questions for you, and      3        A I would --
        4    I want to go back and just make sure the record is    4           MS. PARFITT: Objection. Form.
        5    clear on something.                                   5           THE WITNESS: I would not do that.
        6            Your testimony is you've had no contact       6   BY MR. KLATT:
        7    or communications whatsoever with anyone with         7        Q And we've had people say, I've been
        8    Health Canada regarding talc; is that correct?        8   involved as an expert in ovarian cancer
        9         A That's correct.                                9   litigation. That wouldn't be sufficient either,
       10         Q And you've had no contact or                  10   correct?
       11    communications whatsoever with Dr. Krewski or        11           MS. PARFITT: Objection. Form.
       12    anyone else who's an author of the Taher             12           THE WITNESS: I would not do that.
       13    meta-analysis regarding talc?                        13   BY MR. KLATT:
       14         A That's correct.                               14        Q What you would do is you would say, I
       15         Q That's correct. Okay.                         15   have been a retained and paid expert by
       16            A minute ago I believe you told              16   plaintiffs' counsel in the talc/ovarian cancer
       17    Ms. Branscome that if you continued to interact      17   lawsuits, or something essentially equivalent to
       18    with IARC or have contact with Health Canada         18   that.
       19    regarding the issue of talc and ovarian cancer,      19        A I -- I would say something essentially
       20    it's incumbent upon you to have a conflict of        20   equivalent. It's quite possible that if there was
       21    interest disclosure, correct?                        21   a submission to a journal, for example, or a
       22         A Yes. I said that.                             22   manuscript, the journal may have a formulaic way
       23         Q And you would agree with me it would be       23   of expressing that. So...
       24    important in evaluating any potential bias you       24        Q But wouldn't it be important to the
       25    have for the people at Health Canada and the         25   readers to know which side of the litigation you
                                                                                70 (Pages 274 to 277)
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                                        Jack Siemiatycki, Ph.D.
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        1   had been on in evaluating your bias?                 1   PROVAQ study, correct?
        2           MS. PARFITT: Objection. Form, asked          2       A Correct.
        3   and answered.                                        3       Q And that's the study she is working on
        4           THE WITNESS: I -- I would -- I would         4   with you, correct?
        5   disclose the nature of my involvement.               5       A More I'm working on with her, but she's
        6   BY MR. KLATT:                                        6   the lead on that.
        7        Q Including which side?                         7       Q And with the help of others in your
        8        A Including which side I was consulting         8   group as well --
        9   for.                                                 9       A With the help of others, yes.
       10        Q Okay.                                        10       Q -- correct?
       11           MR. KLATT: Can we mark this as the next     11          And what I've handed you --
       12   exhibit?                                            12          MR. KLATT: And what was the exhibit
       13           MS. PARFITT: 14.                            13   number?
       14           (Exhibit No. 14 was marked for              14          MR. TISI: 14.
       15           identification.)                            15   BY MR. KLATT:
       16   BY MR. KLATT:                                       16       Q Exhibit 14 is Dr. Koushik's web pages
       17        Q Dr. Siemiatycki, you said earlier that       17   from the Environ Epi website. You're familiar
       18   you worked with Dr. Koushik; is that correct?       18   with that website, correct?
       19        A Yes.                                         19       A Yes, I am.
       20        Q And what is your professional                20       Q And you'll turn to the back page of the
       21   relationship with Dr. Koushik?                      21   exhibit, the final page, and you will see it's
       22        A We are members of the same academic          22   copyrighted 2019, correct?
       23   department. We are down the hall from each other.   23       A Correct.
       24   Our offices are nearby each other. We have worked   24       Q And let's just see what Dr. Koushik says
       25   together on various projects.                       25   about her research on the first page. She says:
                                                 Page 279                                                 Page 281
        1       Q For how long?                                  1   "My research program focuses on the epidemiology
        2       A Ten -- 10 or 12 years now.                     2   of ovarian and lung cancers." Correct?
        3       Q And she's very well educated, correct?         3       A Mm-hmm, yes.
        4          MS. PARFITT: Objection.                       4       Q "Ovarian cancer is by far the most
        5          THE WITNESS: I'm not sure what you mean       5   deadly of all gynecologic cancer. Most patients
        6   by that. She has a --                                6   are diagnosed at advanced stages, leading to the
        7   BY MR. KLATT:                                        7   poor prognosis, and we are currently limited in
        8       Q Well, she has a Bachelor --                    8   our ability to detect disease early." Correct?
        9       A She has a --                                   9       A Correct.
       10       Q -- of Science in pharmacology from the        10       Q She says: "There is overwhelming
       11   University of Alberta.                              11   evidence that healthy lifestyle choices can reduce
       12       A Correct.                                      12   the risk of several cancers. However, we do not
       13       Q She has a Master's in community health        13   yet know of any effective ways to prevent the
       14   and epidemiological from Queen's University in      14   onset of ovarian cancer."
       15   Kingston, Ontario?                                  15           Would you agree with that?
       16       A Uh-huh.                                       16           MS. PARFITT: Objection. Form.
       17       Q She has a Ph.D. in epidemiology from --       17           THE WITNESS: I'm sorry, I'm trying to
       18   in epidemiology and biostatistics from McGill       18   think of what this sentence really means. It's
       19   University here in Montreal, correct?               19   kind of a -- it's kind of a stock sentence that is
       20       A Correct.                                      20   used in -- by epidemiologists when they're looking
       21       Q And she's had a postdoctoral fellowship       21   for funding and trying to convince funders that
       22   at Harvard in the U.S., correct?                    22   we don't know a lot, and therefore they need to
       23       A Correct.                                      23   give us money. So I can imagine part of this is
       24       Q And she is the principal investigator of      24   cut-and-pasted from that sort of document.
       25   the Prevention of Ovarian Cancer in Quebec, the     25   BY MR. KLATT:
                                                                              71 (Pages 278 to 281)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 282                                                 Page 284
        1        Q Well, what it means is --                      1   intake, and recreational physical activity."
        2           MS. PARFITT: Wait, wait. Please let           2   Correct?
        3   him finish.                                           3        A Correct.
        4   BY MR. KLATT:                                         4        Q She doesn't say a word about talc there,
        5        Q Go ahead.                                      5   does she?
        6           MS. PARFITT: Thanks, Mike.                    6           MS. PARFITT: Objection. Form.
        7           THE WITNESS: There are some risk              7           THE WITNESS: She doesn't there because
        8   factors that are well established for -- for          8   she hasn't started those analyses yet. She has
        9   ovarian cancer, which Anita is very well aware of,    9   started analyses -- or her -- with students on
       10   genetic and certain reproductive and hormonal        10   those other factors.
       11   factors.                                             11   BY MR. KLATT:
       12           The evidence on talc is accumulating,        12        Q And then flipping over to the next page,
       13   and in my view is sufficient. Anita has not          13   Dr. Koushik says: "Healthy lifestyle choices may
       14   reviewed that evidence. And --                       14   also positively impact the health of ovarian
       15   BY MR. KLATT:                                        15   cancer survivors. Indeed, until we know how to
       16        Q Have you talked to Dr. Koushik at all         16   prevent ovarian cancers from occurring in the
       17   about your involvement in the talc ovarian cancer    17   first place, cancer control through tertiary
       18   litigation?                                          18   prevention aimed at improving prognosis and
       19        A She's aware that I'm involved in this.        19   quality of life among those diagnosed is
       20        Q Well, let's go on to see what she says        20   critical." Correct?
       21   here.                                                21        A Correct.
       22           After saying: "However, we do not yet        22        Q And again, no mention at all of talc,
       23   know of any effective ways to prevent the onset of   23   correct?
       24   ovarian cancer," she says, "the evidence on some     24           MS. PARFITT: Objection. Form.
       25   lifestyle factors, such as alcohol intake,           25           THE WITNESS: Correct.
                                                  Page 283                                                 Page 285
        1   physical activity, and smoking, is suggestive but     1           MR. KLATT: Let's mark that.
        2   currently remains unclear." Correct?                  2           MS. PARFITT: This is now 15.
        3       A Correct.                                        3           MR. KLATT: Have we marked that?
        4       Q She doesn't say one word about talc,            4           MS. PARFITT: I just now did. I was
        5   does she?                                             5   looking for the stickers. I'm going to get one --
        6       A No.                                             6   here they are.
        7           MS. PARFITT: Objection. Form.                 7           THE WITNESS: I have a different cover.
        8           THE WITNESS: Not here, no.                    8           MS. PARFITT: It's a different one.
        9   BY MR. KLATT:                                         9   That's yours.
       10       Q And then she goes on to say: "More             10           THE WITNESS: Oh.
       11   research is greatly needed, especially in light of   11           MS. PARFITT: This is different, this is
       12   recent discoveries that demonstrate that ovarian     12   a new item. Let me just put an exhibit on this
       13   cancer is a heterogeneous disease." She says: "I     13   one.
       14   am the principal investigator of the Prevention of   14           (Exhibit No. 15 was marked for
       15   Ovarian Cancer in Quebec, PROVAQ study, a            15           identification.)
       16   population-based case-control study conducted in     16           MS. PARFITT: Thank you.
       17   2011, 2016."                                         17           Okay. You're done with this. And he's
       18           And one of the things she's evaluating       18   just showing you this one.
       19   in that study is talc, correct?                      19           Do we have an extra copy, Mike, or is
       20       A Correct.                                       20   this it?
       21       Q "This study provides" -- and I'm reading       21           MR. KLATT: I've got an extra copy if
       22   on -- "This study provides a rich data source for    22   you need it.
       23   the study of multiple hypotheses on lifestyle        23           MS. PARFITT: Okay, that would be great.
       24   factors and ovarian cancer. Current projects         24   I will give him that one. Thank you very much.
       25   focus on associations with shift work, caffeine      25   BY MR. KLATT:
                                                                               72 (Pages 282 to 285)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 286                                                  Page 288
        1        Q So, Dr. Siemiatycki, I'm now showing you       1   reproductive factors is limited. There is
        2   what we marked as exhibit -- what?                    2   suggestive evidence that modifiable factors in the
        3            MS. PARFITT: 15.                             3   vitamin D pathway, (sun exposure, diet), and
        4            MR. KLATT: 15?                               4   inflammation pathway (antiinflammatory medication
        5            MS. PARFITT: Yes.                            5   use, talc use for feminine hygiene) may play a
        6   BY MR. KLATT:                                         6   role in ovarian cancer risk, though this research
        7        Q And it's from the Environ Epi website,         7   has been limited by small sample sizes, crude
        8   your website, and it's the web pages discussing       8   exposure measurement and lack of control for
        9   group research topics, correct?                       9   important confounders." Correct?
       10        A I -- I have to tell you I don't look at       10       A That's what it says.
       11   this website, and I haven't actually constituted     11       Q Did I read that correctly?
       12   it. It's my secretary or my assistant who does       12       A Yes, you did.
       13   this. So I'm looking at it afresh to see what's      13       Q So on this public website, your
       14   there. Yeah.                                         14   Environmental Epi website, Dr. Jack Siemiatycki
       15        Q Okay. Let's -- let's turn to the very         15   doesn't say talc use causes ovarian cancer,
       16   back page, and again the copyright is 2019.          16   correct?
       17   That's this year, correct?                           17           MS. PARFITT: Objection. Form.
       18        A Yeah. Yes.                                    18           THE WITNESS: I don't say anything on
       19        Q And then if you will flip over to --          19   that website.
       20   let's see. Well, let's start -- let's see.           20   BY MR. KLATT:
       21            Go first page, second page, third           21       Q Well, you -- your group doesn't say talc
       22   page -- the fourth page, there's a discussion        22   causes ovarian cancer, does it?
       23   there of the PROVAQ study of Dr. Koushik that we     23           MR. TISI: Objection. Form.
       24   just talked about, correct?                          24           THE WITNESS: In my opinion, this was
       25        A Yes.                                          25   created somewhere around 2009, 2010, 2012, in that
                                                  Page 287                                                  Page 289
        1        Q And the topic says: "Prevention of             1   ballpark. This feels to me like a cut and paste
        2   Ovarian Cancer in Quebec, the PROVAQ study, a         2   from the grant application of 2009 or 2010 that
        3   case-control study of modifiable and genetic          3   hasn't been changed.
        4   factors associated with the risk of ovarian           4            There's not really a lot of motivation
        5   cancer." Correct?                                     5   for us to -- besides just sort of putting our
        6        A I see that.                                    6   names and faces up there, our institution asks us
        7        Q And it says Anita Koushik, that's              7   to put something on this institutional website
        8   Dr. Koushik, who we've just been talking about,       8   for a researcher. I haven't -- I've never looked
        9   and it says Jack Siemiatycki. That's you,             9   at this.
       10   correct?                                             10   BY MR. KLATT:
       11        A That's right.                                 11        Q You or your organization --
       12        Q And then it goes on to describe what the      12            MS. PARFITT: Wait. Mike -- Mike,
       13   PROVAQ study is, and it says -- and I'll skip the    13   excuse me, I think we're done.
       14   first few sentences -- it says: "Primary             14            THE WITNESS: I've never contributed to
       15   prevention thus offers the most promising approach   15   this or looked at it.
       16   to reducing the morbidity and mortality associated   16            MS. PARFITT: No, no, Mike,
       17   with this deadly disease. Established preventive     17   unfortunately, your time is up.
       18   factors for ovarian cancer include high parity,      18            MR. KLATT: You've --
       19   long duration of lactation, oral contraceptive       19            MS. PARFITT: Mike, no more questions.
       20   use, and tubal ligation." Correct?                   20   I have a few questions. I think we're --
       21        A That's what it says.                          21            MR. KLATT: Are we -- are we done?
       22        Q Talc is not included in that list of          22            THE VIDEOGRAPHER: Yes.
       23   established preventive factors, is it?               23            MR. KLATT: All right.
       24        A It's not listed there, no.                    24            MS. PARFITT: Thank you. I do have a
       25        Q "However, the ability to modify these         25   few.
                                                                               73 (Pages 286 to 289)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 290                                                  Page 292
        1           Dr. Siemiatycki, I'm going to stay right      1           MS. BRANSCOME: Objection.
        2   over here for a moment, okay? And we can get          2           THE WITNESS: I think it was ordered --
        3   through this. Okay?                                   3   it was contracted in order to underpin the Health
        4           MR. KLATT: Here, I'll give this back to       4   Canada evaluation. That's my --
        5   you.                                                  5   BY MS. PARFITT:
        6           THE WITNESS: Hi.                              6       Q All right. Now, it was not the only
        7           MS. PARFITT: Tell me when you are             7   study or research that was conducted by Health
        8   ready.                                                8   Canada; is that correct? It was the meta-analysis
        9           THE WITNESS: Who are you?                     9   that was conducted by them.
       10           MS. PARFITT: I know.                         10           MS. BRANSCOME: Objection.
       11           MR. TISI: Are we back on? Are we back        11           THE WITNESS: Sorry, I -- what --
       12   on?                                                  12   BY MS. PARFITT:
       13           THE VIDEOGRAPHER: I didn't stop.             13       Q The Taher study --
       14   Sorry, I --                                          14       A Study.
       15           MR. TISI: Oh, I thought we were off.         15       Q -- is a meta-analysis; is that correct?
       16           MS. PARFITT: Okay. We didn't -- we           16       A Yes. Yes.
       17   didn't know that.                                    17       Q All right. And the Taher meta-analysis
       18               CROSS-EXAMINATION                        18   was one part of the information that formulated
       19   BY MS. PARFITT:                                      19   part of the Health Canada draft assessment?
       20       Q Dr. Siemiatycki, good evening --               20       A That's my understanding, yes.
       21           Okay. Dr. Siemiatycki, good evening. I       21       Q All right. Now, Daniel Krewski, you
       22   know it's been a long day, and I have a few          22   indicated, was one of the authors of the Taher
       23   questions, and I will be wrapping -- or jumping      23   paper.
       24   around a bit, so hopefully try and keep pace with    24       A Yes. He's listed.
       25   me, and I'll try and speak slowly and -- so that     25       Q And I believe you testified that you
                                                  Page 291                                                  Page 293
        1   we can move through the remainder of your             1   know Daniel Krewski.
        2   deposition.                                           2       A Yes, I do.
        3           Dr. Siemiatycki, do you have an opinion       3       Q And I believe Mr. Klatt asked you
        4   as to whether the elimination of talcum powder use    4   whether or not you had reached out or perhaps
        5   in the genital area is a lifestyle activity that      5   Ms. Branscome asked you whether or not you have
        6   is modifiable?                                        6   had any communication with anyone, verbal, oral,
        7           If you need me to ask the question            7   written, that had anything to do with Health
        8   again, I'm happy to.                                  8   Canada. Do you remember that?
        9       A Yeah, I'm trying to think of how the            9       A Yes, I do remember.
       10   word "modifiable" is used.                           10       Q All right. And it's been many hours,
       11       Q Is it preventable? Is the use of talcum        11   but it was my understanding in response to that
       12   powder products in the genital area a preventable    12   question, you did indicate that you had sent an
       13   activity?                                            13   e-mail to Daniel Krewski; is that correct?
       14       A Yes.                                           14           MS. BRANSCOME: Objection.
       15           MS. BRANSCOME: Objection.                    15           THE WITNESS: I don't remember saying
       16   BY MS. PARFITT:                                      16   that.
       17       Q All right. Thank you.                          17   BY MS. PARFITT:
       18           All right. You were asked some               18       Q Okay, let me ask you. Have you ever
       19   questions about the Taher article. You remember      19   reached out to any member or author of the Taher
       20   that?                                                20   meta-analysis?
       21       A Yes.                                           21       A I -- when I learned about it, I sent an
       22       Q All right. And is it your understanding        22   e-mail to Dan Krewski asking if this report was
       23   that the Taher article is a meta-analysis that was   23   intended for publication; and if so, when it would
       24   formed as part of the Health Canada                  24   appear, and I haven't -- I didn't have any
       25   recommendation?                                      25   response.
                                                                               74 (Pages 290 to 293)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 294                                                  Page 296
        1        Q All right. So you have had no                  1   you?
        2   communication with any of the authors of the Taher    2       A Yes, I do.
        3   study or any of the members of Health Canada?         3       Q And I believe it's a continuation of the
        4        A No.                                            4   Results section --
        5        Q Okay. Now, you were asked some                 5       A Yes.
        6   questions with regard to the Schildkraut study in     6       Q -- which starts on 815 and continues all
        7   particular. Now, what I'd like you to do is, if       7   the way over to the end of the document. Do you
        8   you can get that in front of you, and I believe       8   see that?
        9   it's part of the documentation in your binder,        9       A I do.
       10   number 4.                                            10       Q All right. And specifically about
       11            And what I'd ask you to also do, if you     11   halfway down on page 817 of the Results section of
       12   will, is pull out your paper, your Terry paper --    12   the Terry paper, what did the authors find as it
       13   your copy of the Terry paper, and maybe we'll go     13   pertains to whether or not there is evidence
       14   there first.                                         14   demonstrating dose-response as it relates to
       15        A Terry?                                        15   genital powder use and ovarian cancer?
       16        Q If you get the Terry. Do you have the         16       A So are you referring to the sentence
       17   Terry in front of you?                               17   that begins "Although a significant increase"?
       18        A Yeah, I've got it in front of me, yes.        18       Q Correct.
       19        Q Okay. Now, Ms. Branscome asked you and        19       A Or before that?
       20   referred you to the abstract of the Terry paper.     20       Q Whatever you need to read, but I was
       21   Do you recall that --                                21   specifically --
       22        A Yes.                                          22       A Okay.
       23        Q -- examination?                               23       Q -- referring to the "although." And you
       24        A Yes.                                          24   can read that paragraph, please.
       25        Q And I believe she focused your attention      25       A Okay. So I'll start at the beginning of
                                                  Page 295                                                  Page 297
        1   on the very last sentence of the Terry paper, the     1   that paragraph.
        2   next to last sentence which started with "Among       2       Q Please, if you will.
        3   genital powder users."                                3       A Read out loud?
        4           Do you see that?                              4       Q If you will.
        5       A I see that.                                     5       A "We evaluated cumulative genital powder
        6       Q All right. And she asked you whether or         6   exposure as a composite variable of frequency and
        7   not indeed the abstract section of the Terry paper    7   duration of use. We have observed similar
        8   said: "Among genital powder users, we observed no     8   increased risks of all nonmucinous subtypes of
        9   significant trend, p equals 0.17, in risk with        9   epithelial ovarian cancer combined across
       10   increasing numbers of lifetime applications          10   quartiles of genital powder compared with nonuse."
       11   (assessed in quartiles)."                            11   The OR in the first quartile is 1.18 with
       12       A I see that.                                    12   confidence intervals. In the second quartile, it
       13       Q All right. You've had an opportunity to        13   was 1.22. In the third quartile, it's 1.22. And
       14   read this --                                         14   the fourth quartile it's 1.37.
       15       A I've read it --                                15           I didn't read the confidence intervals.
       16       Q -- article?                                    16       Q Are the confidence intervals for the
       17       A -- several times over the last three           17   quartiles you just discussed all statistically
       18   years.                                               18   significant?
       19       Q All right. Let me direct your attention        19       A Yes, they are.
       20   to the actual paper, and specifically to -- not      20       Q All right. Please continue.
       21   the abstract of the paper but to the section         21       A "Although a significant increase in risk
       22   that's entitled -- I believe it's the Discussion     22   with an increasing number of genital powder
       23   section and it's over on page 817.                   23   applications was found for nonmucinous epithelial
       24       A Yes.                                           24   ovarian cancer when nonusers were included in the
       25       Q All right. Do you have that in front of        25   analysis with a p-value that's extremely small,"
                                                                               75 (Pages 294 to 297)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 298                                                  Page 300
        1   highly significant, "no trend in cumulative use       1        Q The Draft Screening Assessment, right.
        2   was evident in analyses restricted to ever users      2        A Yes.
        3   of genital powder for trend .17. Taken together,      3        Q Okay. And specifically, let me direct
        4   these observations suggest that the significant       4   your attention to Roman number -- Roman numeral
        5   trend test largely reflects the comparison of ever    5   III of that document.
        6   regular use with never use."                          6        A Yes.
        7        Q Okay, and if you would stop there.             7        Q Okay.
        8           What is the significance of the findings      8            MS. BRANSCOME: Michelle, would you mind
        9   of the authors in that paragraph you just read as     9   helping me follow along?
       10   it pertains to whether or not this study shows a     10            MS. PARFITT: Oh, I'm sure.
       11   dose-response increase?                              11            MR. TISI: I can give you my copy.
       12        A Well, so my interpretation is that            12            MS. PARFITT: Sure. Absolutely.
       13   overall there is, for users compared to nonusers,    13            MR. KLATT: You may want those.
       14   a highly significant trend, and four -- among the    14            MS. BRANSCOME: Thank you. What page
       15   four - there are four quartiles, and there is a      15   are we on?
       16   fifth group called nonusers -- they have a           16            MS. PARFITT: Counsel, I'm on Roman
       17   relative risk of 1.0. And in those five groups,      17   numeral III.
       18   the relative risk -- the relative risk estimates     18            MS. BRANSCOME: Oh, the page -- I had a
       19   go from 1.0 to 1.18 to 1.22, 1.22, 1.3,              19   section number that I couldn't find --
       20   something, 7. Those five values indicate to me a     20            MS. PARFITT: No. At the bottom it has
       21   tendency of increasing risk with increasing          21   a Roman numeral III.
       22   exposure. Whether it is -- whether there's formal    22   BY MS. PARFITT:
       23   proof of that in a -- from a statistical             23        Q Dr. Siemiatycki, referring you to the --
       24   significance point of view is a secondary issue as   24   first, second, third -- fourth full paragraph of
       25   to compared with whether the data are compatible     25   the Draft Screening Assessment, the fourth full --

                                                  Page 299                                                  Page 301
        1   with dose-response.                                   1       A    Begins with "full"?
        2            So as you may recall, in the IARC 2006       2       Q    No, it begins with "The meta-analysis."
        3   evaluation and in -- I guess in the Langseth          3       A    "The meta-analysis." Yep.
        4   paper, I think we indicated that we were very         4       Q    Correct.
        5   concerned about the consistency of increased          5           Would you please -- does it state: "The
        6   risks, but found no evidence of dose-response, and    6   meta-analysis of the" -- am I reading this
        7   that held back any inference that the                 7   correctly?
        8   categorization should be greater than a 2B.           8           "The meta-analysis of the available
        9            The findings from Terry turn on its head     9   human studies in the peer-reviewed literature
       10   the assumptions that were made at IARC that there    10   indicate a consistent and statistically
       11   was no evidence of dose-response. Now there is       11   significant positive association between perineal
       12   evidence of dose-response, whether or not it's       12   exposure to talc and ovarian cancer."
       13   significant by one test or another test.             13           Did I read that correctly?
       14         Q All right. Thank you.                        14       A Yes, you did.
       15            All right. Let me direct your               15       Q All right. Is that your opinion,
       16   attention, if I may, to the Health Canada            16   Dr. Siemiatycki, based upon your review of the
       17   document, specifically the Draft Screening           17   totality of the literature on talc powder --
       18   Assessment dated December 2018. Again, I believe     18   talcum powder use and ovarian cancer in the
       19   it's in your notebook 4.                             19   genital area?
       20         A 6 -- yeah. Yes.                              20       A Yes, it is.
       21         Q All right.                                   21       Q All right. It goes on to say: "Further
       22         A Okay, I have it.                             22   available data are indicative of a causal effect."
       23         Q Now -- now --                                23           Did I read that correctly?
       24         A Sorry, the Taher or the Draft Screening      24       A Yes, you did.
       25   Assessment?                                          25       Q All right. Is it your opinion based
                                                                               76 (Pages 298 to 301)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 302                                                  Page 304
        1   upon the totality of not only the epidemiological     1   assessment?
        2   data and findings but mechanistic data, animal and    2           MS. BRANSCOME: Objection.
        3   in vivo data, that indeed the data is indicative      3           THE WITNESS: When you say
        4   of a causal effect?                                   4   "methodology" --
        5           MS. BRANSCOME: Objection.                     5   BY MS. PARFITT:
        6           MR. KLATT: Objection. Form.                   6       Q Mm-hmm.
        7           THE WITNESS: I believe it is more             7       A -- I'm not sure if you're referring to
        8   likely than not that there is a causal                8   sort of high level methodology like collecting
        9   relationship between exposure to talc powder and      9   original data, evaluating it, weighing it, and
       10   ovarian cancer. And if those two sentences are       10   making inferences on the basis of that data.
       11   taken to be equivalent, then I agree with the        11   BY MS. PARFITT:
       12   sentence.                                            12       Q What I'm asking is, did the authors
       13   BY MS. PARFITT:                                      13   perform a Bradford Hill-like causality assessment
       14        Q Well, let me ask you this,                    14   in the performance of their study entitled Draft
       15   Dr. Siemiatycki: You've read the draft               15   Screening Assessment?
       16   assessment, and do you have -- is it fair to say     16           MR. KLATT: Objection. Form.
       17   that the methodology that the authors performed      17           THE WITNESS: You're saying in the pages
       18   throughout the course of this particular draft       18   between 15 and --
       19   assessment is the same type of methodology that      19   BY MS. PARFITT:
       20   you have performed for purposes of preparing your    20       Q Correct. I'll shorten it by --
       21   report and offering the opinions that you have and   21       A -- 21?
       22   will continue to offer the court in -- in the        22       Q Correct. Correct.
       23   litigation involving talcum powder use and ovarian   23           And if I can refer your attention to or
       24   cancer?                                              24   direct you to page 20.
       25           MS. BRANSCOME: Objection.                    25       A They commented on various considerations
                                                  Page 303                                                  Page 305
        1           THE WITNESS: The authors of this report       1   that Bradford Hill mentioned in his article.
        2   I think include a group -- a multidisciplinary        2        Q And which ones did they provide
        3   group, including toxicologists and possibly           3   information and findings on?
        4   environmental scientists. I'm not familiar with       4        A They commented on the strength of the
        5   them, so I can't say for sure. And in that sense,     5   association, on consistency, specificity,
        6   they cover a broader disciplinary background than     6   temporality, biological gradient, biological
        7   I cover myself. So in that sense, they have a         7   plausibility, and coherence.
        8   broader scope to evaluate the totality of the         8        Q And what did the authors conclude --
        9   evidence than I have.                                 9   after looking at the various Bradford Hill
       10           Their evaluation of the epidemiologic        10   factors, what did they conclude in that last
       11   evidence seems in line with my own, and I have no    11   paragraph of their Bradford Hill assessment?
       12   reason to doubt the validity of their toxicologic    12        A "Suggests a small but consistent
       13   analyses of the evidence.                            13   statistically significant positive association
       14   BY MS. PARFITT:                                      14   between ovarian cancer and perineal exposure to
       15        Q All right. Dr. Siemiatycki,                   15   talc. Further available data are indicative of a
       16   specifically let me refer you to page 15, and it's   16   causal effect."
       17   entitled "Perineal Exposure to Talc." And let me     17           Is it -- is that what you're referring
       18   know when you get there.                             18   to?
       19        A Yes, I'm there.                               19        Q Yes. And do you agree with the authors
       20        Q All right. Based upon your review of          20   of the draft report of December 2018, when they
       21   that section beginning on page 15, and I believe     21   conclude that: "The most recent meta-analysis
       22   it goes all the way through page 21, are you able    22   detailed, Taher 2018, and consistent with the Hill
       23   to -- do you have a sense as to the methodology      23   criteria suggest a small but consistent
       24   again that the authors of the draft assessment       24   statistically significant positive association
       25   employed in order to arrive at their causal          25   between ovarian cancer and perineal exposure to
                                                                               77 (Pages 302 to 305)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 306                                                  Page 308
        1   talc. Further available data are indicative of a      1   you have copies in that binder that you had
        2   causal effect"?                                       2   printed out.
        3        A Yes.                                           3          MS. BRANSCOME: May I have a copy if he
        4           MR. KLATT: Objection to form.                 4   is going to read from it?
        5   BY MS. PARFITT:                                       5          MS. PARFITT: Absolutely. And I thought
        6        Q Thank you. All right.                          6   we had -- do you have any copies in there?
        7           Let me ask a couple other questions, and      7          THE WITNESS: Oh, for this --
        8   I need you -- if you will, can you reach over         8          MS. PARFITT: No.
        9   there, I believe it was exhibit number -- do you      9          MR. TISI: It wasn't marked. It was in
       10   see your book on occupational diseases? I think      10   the stuff you printed out.
       11   it's under -- there you go. Okay.                    11          MS. PARFITT: I think I've got one here.
       12           Okay. Now, you were asked many hours         12          (A discussion was held off the record.)
       13   ago some questions regarding the book Risk Factors   13          MS. PARFITT: Ms. Branscome, here you
       14   for Cancer in the Workplace.                         14   go. Here's copies.
       15           Do you recall that?                          15          And let's have this marked as now
       16        A Yes, I do.                                    16   exhibit -- I'm not sure what we're up to.
       17        Q All right. And that is indeed a book          17          MR. TISI: We're up to 18. 18.
       18   that was authored by you, Jack Siemiatycki,          18          MS. PARFITT: 18. Okay.
       19   correct?                                             19          And for the record, we are marking the
       20        A Correct.                                      20   face sheet of the book Risk Factors for Cancer in
       21        Q All right. And I believe you were asked       21   the Workplace by Jack Siemiatycki, and
       22   whether there was anything in your book that         22   specifically the table --
       23   described the methodology that you have employed     23          MS. BRENNAN: I have 16.
       24   over the course, and I believe you said the last     24          MR. TISI: No, because he marked --
       25   four decades or almost four decades.                 25          MS. BRENNAN: Yeah, 14 --
                                                  Page 307                                                  Page 309
        1           Do you recall those questions?                1           MR. KLATT: Actually, it should be 16.
        2       A Yes, I do.                                      2           MS. PARFITT: 16? Thank you. 16.
        3           MS. BRANSCOME: Objection.                     3           All right. We are now marking as
        4   BY MS. PARFITT:                                       4   Exhibit 16 the book entitled Risk Factors for
        5       Q All right. Where in that book, if there         5   Cancer in the Workplace by Dr. Jack Siemiatycki,
        6   is something in that book, does it describe the       6   which specifically includes the table of contents,
        7   methodology that you have employed over the course    7   Chapter 7, "Interpretation of Findings," pages 297
        8   of the last four decades that you still employ        8   through 308.
        9   today in your analysis and opinions and findings      9           MR. DONATH: Is that an excerpt, not the
       10   in the talcum powder product litigation and          10   whole thing?
       11   ovarian cancer?                                      11           MS. PARFITT: It is -- it is not. We'll
       12           MS. BRANSCOME: Object to form.               12   make the book available, but it's just the
       13           THE WITNESS: I'm looking for -- well, I      13   excerpt.
       14   guess the main thing I would -- I would summarize    14           (Exhibit No. 16 was marked for
       15   that --                                              15           identification.)
       16   BY MS. PARFITT:                                      16           MS. BRANSCOME: Did someone just join
       17       Q And could you tell us for the record --        17   the line?
       18       A Yes.                                           18           THE REPORTER: They hung up.
       19       Q -- Dr. Siemiatycki, where you are?             19           THE WITNESS: Shall I read a couple of
       20       A Where I'm reading?                             20   paragraphs from this?
       21       Q Yes, please.                                   21   BY MS. PARFITT:
       22       A Thank you. I'm looking at page 298 in          22       Q Well, the question was -- the question
       23   this book, and I -- did you provide a copy of that   23   was whether or not there was any bases or writings
       24   chapter?                                             24   that discussed the methodology that you've
       25           MR. TISI: Doctor, you have copies --         25   employed over the last four decades, and you
                                                                               78 (Pages 306 to 309)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 310                                                  Page 312
        1   commented that it was in your book.                   1   Is that what you were --
        2           MS. BRANSCOME: Object --                      2        Q That's what I wanted to know.
        3   BY MS. PARFITT:                                       3        A -- asking?
        4       Q So please tell us what's in your book.          4        Q Thank you. All right.
        5           MS. BRANSCOME: Object to form.                5           Now, do you recall, Dr. Siemiatycki,
        6           THE WITNESS: Well, I -- I won't read          6   that you were asked some questions about the
        7   the whole book.                                       7   mechanism underlying exposure to talc and genital
        8   BY MS. PARFITT:                                       8   use of talcum powder products and ovarian cancer?
        9       Q I appreciate that. We all --                    9   Do you remember Ms. Branscome asked you some
       10       A I have a phone book downstairs that I          10   questions about that?
       11   could -- no, I will just read a couple of            11        A The mechanism of exposure or the
       12   paragraphs that talk about interpreting and          12   mechanism of carcinogenesis?
       13   conducting epidemiologic research in general, not    13        Q The mechanism of exposure --
       14   specifically related to this particular study --     14        A Okay.
       15   set of studies that I describe in the book.          15        Q -- between talcum powder products and
       16           "The main purpose of epidemiology is to      16   ovarian cancer. Do you remember there were a
       17   find the cause of disease. Despite some              17   series of questions that were asked about that?
       18   controversy concerning the validity of drawing       18           MS. BRANSCOME: Object to form.
       19   causal inferences in epidemiology. There is a        19           THE WITNESS: I'm -- I'm not --
       20   consensus that sanctions and provides guidelines     20   BY MS. PARFITT:
       21   for the practice. The evaluation of causality        21        Q Okay. Let me -- okay. Let me -- let me
       22   between a putative risk factor and disease is a      22   do this. Let me refer you to your report, if you
       23   complex and subjective process. Equally competent    23   will, and I believe it's been marked as -- I think
       24   scientists examining the same information can        24   this is 10 -- as 10.
       25   arrive at different conclusions. However, as         25           Do you have your report in front of you?
                                                  Page 311                                                  Page 313
        1   additional evidence is accumulated, beliefs and       1        A Yes.
        2   consensuses may change. The criteria that are         2        Q Very good. Okay.
        3   most relevant to the problem of evaluating            3           All right. And specifically I'm
        4   causality between cancer and an antecedent            4   referring to page 64 and 65.
        5   occupational exposure may be paraphrased as           5        A So I'm one or two pages off, so just
        6   follows:                                              6   tell me which section.
        7          Number 1: "Is sampling variability a           7        Q Okay. I believe it's -- it's under
        8   plausible explanation for the observed                8   "Biological Plausibility." Do you see that in the
        9   association?"                                         9   lower part? Let's see.
       10          Number 2: "How strong is the                  10        A "Biological Plausibility" -- (reading to
       11   association and is there a dose-response             11   himself.) Strength. Okay. I've got it
       12   relationship?"                                       12   somewhere -- consistency. Here.
       13          Number 3: "Is bias or confounding a           13        Q Okay.
       14   plausible explanation for the observed               14        A "Biological Plausibility," yes.
       15   association?"                                        15        Q Now, I specific -- I believe
       16          Number 4: "Is the association                 16   specifically the question that you were asked is
       17   biologically plausible?"                             17   whether or not you will be testifying with regard
       18          Number 5: "Is there relevant supporting       18   to the mechanism and the biological mechanism for
       19   evidence from other epidemiologic studies or from    19   causing cancer with genital use of talcum powder
       20   non-human test systems, such as animal               20   products. Do you remember that?
       21   experimentation or tests of mutagenicity?"           21        A Yes.
       22          I'll stop there. But in answer to your        22        Q Okay. Now, in the course of your
       23   question, this text, published 30 years ago now,     23   analysis and in looking at that issue of
       24   encapsulates my approach to how to interpret and     24   biological mechanism for causing cancer, what did
       25   use epidemiologic evidence in assessing causality.   25   you consult and review and assess for purposes of
                                                                               79 (Pages 310 to 313)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 314                                                  Page 316
        1   formulating your opinions on that topic?              1   causality.
        2           MS. BRANSCOME: Objection.                     2          So the bar for establishing plausibility
        3           THE WITNESS: I actually started with          3   for me is, are there credible scientists who are
        4   the IARC 2006 report where there was a high level     4   persuaded or have reasonable confidence that there
        5   subgroup of toxicologists and basic scientists who    5   is a mechanism that can explain the observation.
        6   reviewed the evidence. So I read that material.       6   And if so, I would defer to that point of view as
        7           I've read various articles concerning         7   being plausible.
        8   migration of particles, articles about                8          I would not accept that one or more
        9   inflammation as a carcinogenic process, oxidative     9   scientists developing a mechanistic theory are
       10   stress as part of the carcinogenic process. And      10   definitely proven, but if there is a credible
       11   towards the end, started looking at articles about   11   point of view in the scientific community about
       12   asbestos in talc as filling in some of the           12   the mechanism, I would call that plausible. It
       13   information about what the content of talcum         13   doesn't mean it's proven. It's plausible.
       14   powder products were. I at one point was looking     14          And to my satisfaction, when I looked at
       15   at company documents to try to figure out what       15   the different reports, including reports of
       16   were the time relationships of using talc versus     16   experts in the litigations, I was reasonably
       17   using substitutes for talc. So all of those kinds    17   assured that there are plausible theories and
       18   of things I was looking for.                         18   plausible hypotheses.
       19   BY MS. PARFITT:                                      19        Q All right. In your section of your
       20       Q So for purposes of evaluating the              20   expert report on page 64 through 66, did the
       21   evidence and opining on the issue of talcum powder   21   factors you identify under the subtitle
       22   products and ovarian cancer, did you consider the    22   "Biological Plausibility" provide support for your
       23   issue of biological plausibility?                    23   opinions that indeed there is biological
       24           MS. BRANSCOME: Objection.                    24   plausibility between the use of genital use of
       25           THE WITNESS: Yes, I considered it.           25   talcum powder products and ovarian cancer?
                                                  Page 315                                                  Page 317
        1   BY MS. PARFITT:                                       1       A I think they provide evidence of
        2       Q All right. And what was the basis of            2   plausibility for those theories.
        3   your opinion as to whether or not there was           3       Q And did you consider those for purposes
        4   biological plausibility between talcum powder         4   of opining that talcum powder products in the
        5   product use in the genital area and ovarian           5   genital area, used, can cause ovarian cancer?
        6   cancer?                                               6       A Yes, I considered them.
        7          MS. BRANSCOME: Objection. Assumes he           7       Q All right. Dr. Siemiatycki, I'm not
        8   formed an opinion.                                    8   sure of the -- I don't think we marked it as an
        9          THE WITNESS: Well, my --                       9   exhibit, so let me do that now. I believe we're
       10   BY MS. PARFITT:                                      10   up to 17.
       11       Q Dr. Siemiatycki, did you formulate an          11           (A discussion was held off the record.)
       12   opinion with regard to whether there was             12           (Exhibit No. 17 was marked for
       13   biological plausibility between the use of talcum    13           identification.)
       14   powder products and ovarian cancer?                  14   BY MS. PARFITT:
       15       A Yes, I did.                                    15       Q All right. Dr. Siemiatycki, do you
       16       Q Okay.                                          16   recall the discussion you had with Ms. Branscome,
       17       A And the first part of the discussion is        17   again several hours ago, on the issue of
       18   what one means by "plausibility." And so one         18   confounding and how that can impact study designs?
       19   issue that I took off the table quite soon is the    19       A Oh, yes.
       20   notion that biological plausibility is synonymous    20       Q All right. Let me show you a document
       21   with biological proof. Neither Bradford Hill nor     21   we have marked as Exhibit No. 17, and it's
       22   anyone else who has described the use of             22   entitled "Degree of confounding bias related to
       23   biological plausibility as a criterion has ever      23   smoking ethnic group, and socioeconomic status and
       24   claimed that biological proof of a mechanism is      24   estimates of the association between occupation
       25   necessary before you can opine about the -- about    25   and cancer," and I believe that's an article that
                                                                               80 (Pages 314 to 317)
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                                        Jack Siemiatycki, Ph.D.
                                                  Page 318                                                  Page 320
        1   you were an author, correct?                          1   low probability.
        2       A That's correct, yes.                            2           And this is part of what leads me and
        3       Q All right. What, if any, support did            3   what led me in my report to opine that confounding
        4   that particular article that you wrote, I guess       4   is unlikely to be the explanation for the observed
        5   back in 1988, provide, if any, for the opinions       5   relative risks.
        6   that you've rendered in this case on the topic of     6       Q Thank you. All right.
        7   confounding and bias?                                 7           THE VIDEOGRAPHER: Excuse me, Counsel.
        8       A In this study we evaluated 75                   8           MS. PARFITT: Off the record, yes.
        9   associations, 25 occupations in relation to lung      9           THE VIDEOGRAPHER: Off the record?
       10   cancer, to bladder cancer and to stomach cancer,     10           MS. PARFITT: Yeah, it's a good time,
       11   each of them. And we looked at the association       11   because you're running out of tape. I could tell.
       12   between each occupation and each of the three        12           THE VIDEOGRAPHER: Going off the record
       13   types of cancer, adjusting for the smoking history   13   at 8:27 p.m.
       14   of the patients and the subjects. But another set    14           (Recess.)
       15   of analyses not adjusting for their smoking          15           THE VIDEOGRAPHER: We're going back on
       16   histories, and their socioeconomic status and        16   the record at 8:31 p.m.
       17   their ethnic group. These are factors that are       17           MS. PARFITT: Thank you.
       18   strongly associated with cancer and with different   18   BY MS. PARFITT:
       19   occupations. We wanted to see how large a            19       Q Dr. Siemiatycki, just one last question.
       20   confounding bias could be generated by not having    20           Let me direct your attention to again
       21   proper confounder information.                       21   the documents in your Exhibit No. 4, specifically
       22           And so I will just read a couple of          22   the "Weight of Evidence: General Principles and
       23   sentences from the abstract of this article.         23   Current Applications at Health Canada," which
       24           "Of the 75 associations studied, only        24   formed part of the Health Canada recommendation.
       25   one OR was distorted by more than 40 percent. A      25   All right?
                                                  Page 319                                                  Page 321
        1   40 percent distortion would correspond to an odds     1       A I'm not sure if it formed part of the
        2   ratio of 1.4 when comparing unadjusted with           2   recommendation or if it's a background document.
        3   adjusted estimates. Three were distorted by           3       Q Very good. I think you're probably
        4   between 30 percent and 40 percent, and four others    4   right.
        5   by between 20 percent and 30 percent."                5           All right. And you have -- you have had
        6           So of these 75 associations, not taking       6   a chance to review that, correct?
        7   account of very powerful confounders -- smoking is    7       A Yes.
        8   the most powerful confounder we know. Ethnicity       8       Q All right. Specifically let me direct
        9   and socioeconomic status are important                9   your attention to page 7 of that document. And
       10   confounders. They have strong relative risks with    10   I'm going to go down to the very last paragraph,
       11   these different cancers. Not taking them into        11   and it starts with: "The majority of risk
       12   account could create artifactual odds ratios,        12   assessment reports, however, provide a logical
       13   maximum of 1.4, even though the original odds        13   narrative description of the relative strengths or
       14   ratios of the confounders with these cancers could   14   weakness of various lines of evidence considered.
       15   be as high as 10.                                    15   For most risk assessments, individual lines of
       16           So there's a very -- the confounding         16   evidence are polled and integrated into a final
       17   effect, at most, would be 10 percent or 20           17   conclusion based on best professional judgment and
       18   percent, but the likelihood that there is some       18   not mathematical formula."
       19   unknown confounder with -- with ovarian cancer       19           Did I read that correctly?
       20   that is artifactually creating across the board,     20       A Yes, you did.
       21   across all these studies, an artifactual relative    21       Q Do you agree with the statement by
       22   risk of around 1.3 would require some -- that        22   Health Canada in their "Weight of Evidence:
       23   unknown confounder to have an extremely high         23   General Principles"?
       24   relative risk, certainly higher than 2, maybe        24       A Yes, I do.
       25   higher than 3 or 4, which is not inconceivable but   25           MS. PARFITT: All right. I have no
                                                                               81 (Pages 318 to 321)
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                                         Jack Siemiatycki, Ph.D.
                                                   Page 322                                                 Page 324
         1   further questions. Thank you.                         1   gist of it was whether the paper has been or will
         2           THE WITNESS: This is also in conformity       2   be submitted for publication. I don't recall if
         3   with all guidelines from agencies and experts who     3   there were other important components. It was a
         4   understand science.                                   4   brief message, besides pleasantries of people
         5           MS. PARFITT: Very good.                       5   who've known each other for 30 years.
         6           THE WITNESS: The best data is                 6           But, you know, I said I -- I've learned
         7   collected, compiled, and then interpreted by human    7   about this work that you were involved with. I
         8   expert judgment.                                      8   can't remember what else I said.
         9           MS. PARFITT: Thank you very much,             9       Q In your e-mail communication to
        10   Dr. Siemiatycki. I believe counsel has some          10   Dr. Krewski, did you alert him to the fact that
        11   follow-up.                                           11   you were serving as a -- an expert on behalf of
        12           MS. BRANSCOME: I do, but I think I need      12   plaintiffs' counsel in litigation involving talcum
        13   to take a break to confer amongst ourselves.         13   powder?
        14           MS. PARFITT: Go ahead.                       14       A I don't recall. Your question used the
        15           THE VIDEOGRAPHER: We're going off the        15   plural, and in my -- you said "in your
        16   record at 8:33 p.m.                                  16   communications." That's what I heard. No? Okay.
        17           (Recess.)                                    17       Q I meant it in the singular.
        18           THE VIDEOGRAPHER: We are going back on       18       A You meant it in the singular, so I guess
        19   the record at 8:46 p.m.                              19   the record will reflect.
        20             REDIRECT EXAMINATION                       20           In my one message to Dr. Krewski -- let
        21   BY MS. BRANSCOME:                                    21   me -- if I may.
        22        Q Good evening, Dr. Siemiatycki.                22       Q My question again, Dr. Siemiatycki --
        23           I have some follow-up questions to the       23       A Yeah, please.
        24   questions that were just asked to you by             24       Q -- is in your e-mail to Dr. Krewski with
        25   plaintiffs' counsel.                                 25   respect to the Taher paper, did you notify him in
                                                   Page 323                                                 Page 325
        1            Both myself and counsel for Imerys asked      1   that e-mail that you were serving as an expert
        2    you very specifically if you had had contact with     2   witness retained on behalf of plaintiffs' counsel
        3    any of the authors in connection with the Taher       3   in litigation involving talcum powder?
        4    paper or the Health Canada paper. Do you recall       4        A I -- I -- I don't recall if I did or
        5    the questions that we asked you?                      5   not. I -- I wouldn't have thought it was a
        6        A I -- I recall that you asked questions          6   crucial thing to indicate in this first message
        7    about it, yes.                                        7   asking him if his paper was in press or in
        8        Q Yeah. Is there a reason why during my           8   publication or something like that.
        9    questioning and questioning by counsel for Imerys     9        Q Why did you want to know whether it had
       10    you did not recall having sent an e-mail to          10   been submitted for publication?
       11    Dr. Krewski with respect to the potential            11        A I wanted to know what the status of that
       12    publication of the Taher paper?                      12   report was. I had no -- I didn't follow up my --
       13        A I -- I guess I consider -- well, two           13   it wasn't an important issue for me. I was -- it
       14    parts. I consider a contact sort of a two-way        14   was kind of an idle gesture of, you know, Hi, I
       15    process, and there was no two-way process. I sent    15   haven't heard from you for a while. I see that
       16    him a message. He never responded.                   16   you have this thing. Are you sending it for
       17            And number two, it -- it dropped off of      17   publication? Something like that.
       18    my memory screen. I -- I just forgot about it        18           And I -- the motivation, was there a
       19    until she asked.                                     19   specific ulterior motive? No, there was no --
       20        Q When did you contact Dr. Krewski about         20   there was nothing I would have done differently.
       21    the Taher paper?                                     21   I guess if he had told me, yes, it's about to be
       22        A In December, when I first learned about        22   submitted, I would have wanted to see the final
       23    it.                                                  23   version, because the version that I saw was
       24        Q What specifically did you ask him?             24   obviously an early manuscript. It was much too
       25        A My recollection, I asked him if -- the         25   long for a -- for a publication submission. But
                                                                                82 (Pages 322 to 325)
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                                                  Page 326                                                  Page 328
        1   it wasn't a big deal for me to -- to have             1           Did I read that correctly?
        2   information about that manuscript.                    2           MS. PARFITT: Counsel, just with one
        3       Q Including communications in which you           3   correction. It came out as "estimates." The
        4   unilaterally reached out to individuals but may       4   article says "estimates," and it came out on the
        5   not have received a response, have you                5   transcript as "assessments."
        6   communicated in any form with any of the              6           MS. BRANSCOME: Okay.
        7   participants in the development of the Health         7           THE WITNESS: That -- do you understand
        8   Canada Draft Screening Assessment or the Taher        8   what she's indicated?
        9   paper, other than what we have discussed with         9   BY MS. BRANSCOME:
       10   respect to Dr. Krewski?                              10       Q Yes. Did I read it correctly?
       11       A No.                                            11       A You misread one word.
       12       Q The Health Canada Draft Screening              12       Q Okay.
       13   Assessment, you were asked a number of questions     13       A But it's not important, but if you want
       14   about that by counsel for plaintiffs. Is that a      14   to have it for the record.
       15   document that you have reviewed closely in forming   15       Q Well, we can continue on.
       16   your opinions in this case?                          16       A Yes.
       17          MS. PARFITT: Objection. Form.                 17       Q "This consideration follows from the
       18          THE WITNESS: I wouldn't say that I            18   recognition that some degree of bias is quite
       19   reviewed it closely the way I've reviewed the        19   likely in any non-experimental study."
       20   evidence before submitting my report. No.            20           Did I read that correctly?
       21   BY MS. BRANSCOME:                                    21       A Yes.
       22       Q All right. I want to talk to you about         22       Q "Small excess relative risks, even if
       23   Exhibit 17. You have that over there. It's the       23   they are statistically significant, are often
       24   "Degree of confounding bias related to smoking."     24   interpreted with great caution, if not
       25       A Oh, yeah.                                      25   skepticism."
                                                  Page 327                                                  Page 329
        1       Q All right. Dr. Siemiatycki, is                  1          Did I read that correctly?
        2   Exhibit 17 an article that you identified to          2        A Yes.
        3   address the likelihood that a confounding variable    3        Q "Although there has been no explicit
        4   could explain the increased risk that you have        4   consensus on what level of excess relative risk
        5   found in your meta-analysis with respect to the       5   should be considered too small to be taken
        6   use of talc?                                          6   seriously, we believe that many epidemiologists
        7       A Yes.                                            7   use a cut point in the range of 1.2 to 1.5 for
        8       Q Okay. So I just want to direct you to           8   this purpose. Our results indicate that a cut
        9   page 623. In the right-hand column, do you see a      9   point in this range is reasonable for studies of
       10   paragraph that begins "One of the criteria"?         10   cancer occupation associations."
       11       A Yes.                                           11          Did I read that correctly?
       12       Q Does it state: "One of the criteria            12        A Yes, you did.
       13   used by epidemiologists to distinguish true from     13        Q And the references in those sentences to
       14   false associations is the strength of the            14   the words "we" and "our" would include you,
       15   association"? Did I read that correctly?             15   Dr. Siemiatycki, correct?
       16       A Yes, you did.                                  16        A Correct.
       17       Q And again, this is an article on which         17        Q And then if we could turn the page to
       18   you are the lead author, correct?                    18   page 624, the paragraph at the top on the
       19       A Correct.                                       19   left-hand column, I direct your attention to the
       20       Q It continues on: "That is, among two           20   last complete sentence of that paragraph.
       21   relative risk assessments which have equal levels    21          "On the other hand, our results also
       22   of statistical significance but one of which is      22   imply that relative risk estimates as low as 1.2
       23   much greater than 1, while the other is closer       23   for lung cancer associations or 1.1 for bladder or
       24   to 1, the larger one is considered more likely to    24   stomach cancer associations run a fair chance of
       25   reflect a true association than the smaller one."    25   being attributable to confounding bias, even if
                                                                               83 (Pages 326 to 329)
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                                                  Page 330                                                  Page 332
        1   they are," quote, "statistically significant."        1            MS. PARFITT: Object to form.
        2          Did I read that correctly?                     2            THE WITNESS: Correct.
        3       A Yes, you did.                                   3   BY MS. BRANSCOME:
        4       Q Is that a conclusion that you and your          4        Q You indicated in response to questions
        5   authors reached in the paper that's been              5   by plaintiffs' counsel that you were persuaded by
        6   identified as Exhibit 17?                             6   the opinions of other experts in the litigation
        7       A Yes, it was.                                    7   with respect to biological plausibility. Who are
        8       Q Your opinion with respect to the                8   those experts?
        9   existence of biological plausibility of the           9        A I -- I think I indicated that such
       10   perineal use of talc and ovarian cancer is limited   10   experts contributed to the information that I had,
       11   to the evaluation of whether or not there are        11   not that they were the only ones who persuaded me.
       12   credible scientists who are persuaded that there     12   So there was literature and there were depositions
       13   is a mechanism; is that correct?                     13   and reports.
       14          MS. PARFITT: Objection. Form.                 14            So -- I'm trying to remember the names
       15          THE WITNESS: Can you repeat that? I'm         15   of the various expert reports that I have read and
       16   sorry.                                               16   depositions. I do -- there's the Plunkett, the
       17   BY MS. BRANSCOME:                                    17   Saed papers, but I don't know if there was a
       18       Q Your opinion with respect to the               18   report by Saed. There was -- let me look in my
       19   existence of biological plausibility of the          19   list of references. (Peruses document.)
       20   perineal use of talc and its potential to cause      20            I'm sorry, I'm drawing a blank on the
       21   ovarian cancer is limited to an evaluation of        21   names of the people whose reports and testimonies
       22   whether or not there are credible scientists who     22   I've read in the last month or two.
       23   are persuaded that there is a mechanism, correct?    23        Q When were you provided with copies of
       24          MS. PARFITT: Objection. Form.                 24   these expert reports?
       25   Misstates his testimony.                             25        A In the fall. Some before November 15th
                                                  Page 331                                                  Page 333
        1           THE WITNESS: I would say is based on,         1   and some after November 15th. And -- but also
        2   rather than is limited to.                            2   I'm -- I'm reflecting on the various reports and
        3   BY MS. BRANSCOME:                                     3   testimonies from the earlier trial, and I read
        4       Q Do you have expertise that would allow          4   various expert reports from that time.
        5   you to determine what the most likely biological      5        Q Did you draft the section in your MDL
        6   mechanism is, if there is one, for perineal use of    6   expert report related to biologic plausibility?
        7   talc to cause ovarian cancer?                         7        A Yes, I did.
        8       A No, I wouldn't pretend to -- to have            8        Q You personally summarized each of the
        9   that kind of expertise.                               9   various studies that you refer to in that section?
       10       Q Okay. Is it also true that you are not         10        A What do you mean by summarized the
       11   qualified to opine on the ability or not of talc     11   studies? I -- I summarized the evidence that's
       12   particles to migrate to the ovaries from the use,    12   captured there, and I provided references for
       13   the perineal application of talc?                    13   those statements, yes.
       14           MS. PARFITT: Objection. Form.                14        Q You're the original author of the
       15           THE WITNESS: Not on the basis of my          15   language in that section is my question.
       16   research, not on the basis of my training, but on    16        A Yes. Yes.
       17   the basis of my reading of literature concerning     17        Q Can you identify for me which expert
       18   that issue, I have an opinion based on what I've     18   reports related to biological plausibility you had
       19   read from experts in the -- that field.              19   reviewed before forming your opinion as
       20   BY MS. BRANSCOME:                                    20   represented in the MDL report?
       21       Q But in forming that opinion, you are           21        A As I said, it's partly a number of
       22   relying on --                                        22   reports that I had seen in the previous trial, and
       23       A Yes.                                           23   I -- I'm drawing a blank on the names of -- of the
       24       Q -- the expertise of others, correct?           24   people.
       25       A Yes.                                           25        Q You understand that there will be
                                                                               84 (Pages 330 to 333)
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                                                  Page 334                                                  Page 336
        1   experts retained by defense counsel who will          1           THE VIDEOGRAPHER: We are going off the
        2   provide reports addressing biological                 2   record at 9:05 p.m.
        3   plausibility, correct?                                3           (Pause in the proceedings.)
        4       A I assume so, yeah.                              4           THE VIDEOGRAPHER: We're back on the
        5       Q Okay. Are you qualified to evaluate             5   record at 9:06 p.m.
        6   between competing expert reports who is correct       6           MS. BRANSCOME: At this time I will pass
        7   about the biological mechanism?                       7   questioning to counsel for Imerys.
        8           MS. PARFITT: Objection. Form.                 8           MS. PARFITT: Thank you.
        9   BY MS. BRANSCOME:                                     9              REDIRECT EXAMINATION
       10       Q To the extent one exists.                      10   BY MR. KLATT:
       11           MS. PARFITT: Objection. Form.                11        Q Dr. Siemiatycki, a few more questions,
       12           THE WITNESS: No -- no, I wouldn't be.        12   sir.
       13   I mean I -- I can read reports from people outside   13           I'm going to read a statement and ask if
       14   my area and form an opinion about the general        14   you agree with it. Okay?
       15   coherence and -- and form an initial sense of the    15        A Yes.
       16   credibility of the various reports. And I'd be       16        Q "When a pronounced binary association is
       17   happy to review the reports of the experts for the   17   present, use of the never or no category in
       18   defense on these issues.                             18   assessing trend can induce a trend where none
       19   BY MS. BRANSCOME:                                    19   exists."
       20       Q But to the extent, for example, that           20        A Okay. Can you -- yeah, thank you.
       21   there are credible experts on both sides of the      21        Q And my question is, do you agree or
       22   debate, whether or not there has been an             22   disagree with that statement?
       23   established biological mechanism and whether or      23        A Yes, I agree it can -- I agree with it.
       24   not there have not been, you are not qualified to    24   There are some qualifiers that I would add to that
       25   evaluate between the two credible experts?           25   sentence, but I agree with it.
                                                  Page 335                                                  Page 337
        1           MS. PARFITT: Objection. Form.                 1        Q Could you look at your report, please,
        2           THE WITNESS: That's correct. And I've         2   sir, in the case on page 65, the discussion of
        3   never pretended that -- make -- that it is            3   biologic plausibility.
        4   necessary for me to establish the correct             4        A Yes.
        5   biological mechanism before drawing inferences        5        Q And actually I think your biologic
        6   about causality.                                      6   plausibility discussion actually begins near the
        7   BY MS. BRANSCOME:                                     7   bottom of the previous page, 64, and there's a
        8        Q It is your conclusion that more likely         8   general discussion on the rest of 64 and the first
        9   than not perineal use of talc can cause ovarian       9   paragraph or two of 65. Is that correct?
       10   cancer is based on the epidemiological evidence,     10        A I -- I believe it's correct. The
       11   correct?                                             11   version I have in front of me is that version that
       12           MS. PARFITT: Objection. Misstates his        12   has a slightly different formatting, so -- but I'm
       13   evidence and testimony today.                        13   with you.
       14           THE WITNESS: In part -- in large part.       14        Q Okay.
       15   Yes.                                                 15            MS. PARFITT: And I believe, just for
       16   BY MS. BRANSCOME:                                    16   completeness, it starts on 60 --
       17        Q Okay. Well, my question now is about          17            THE WITNESS: Mine starts on --
       18   the, in small part, the evidence in addition to      18            MS. PARFITT: His document starts on 65,
       19   that. What evidence are you considering that you     19   goes all the way over to 66. Mike, yours probably
       20   are qualified to independently evaluate?             20   starts on the bottom of 64, goes all the way over
       21        A I am qualified to evaluate whether there      21   to the top of 66.
       22   is a plausible theory about it. Not to establish     22   BY MR. KLATT:
       23   whether that theory is correct or not.               23        Q And what I'm focusing on is the
       24           MS. BRANSCOME: Okay. All right. If we        24   paragraph that you wrote that begins with
       25   could just go off the record very briefly.           25   "Insofar" --
                                                                               85 (Pages 334 to 337)
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                                                  Page 338                                                  Page 340
        1        A Yes.                                           1        A I think so. Is this --
        2        Q -- which is where your specific                2        Q And the --
        3   discussion of biologic plausibility regarding         3        A Is this the South African study?
        4   talcum powder products begins.                        4        Q I believe you're right.
        5        A Yes.                                           5        A Okay.
        6        Q Do you -- do you see that paragraph,           6        Q And the women were not women using
        7   sir?                                                  7   perineal talc. They were women who were being
        8        A Yes, I do.                                     8   prepared to undergo gynecologic surgery, correct?
        9        Q And moving down, did you read the              9        A Correct.
       10   articles that you cited here carefully?              10        Q And after this solution of albumin
       11        A I read them. I'm not capable of fully         11   microspheres was injected at the top of the
       12   understanding articles in areas that are outside     12   vaginal vault, the women were tilted in a head
       13   my area of -- of expertise. But to the --            13   down/pelvis up position for two hours beforehand,
       14        Q Well --                                       14   correct?
       15           MS. PARFITT: Wait, let him finish.           15        A Correct.
       16           THE WITNESS: To the extent that I was        16        Q So --
       17   able to understand them, I read these articles.      17        A Now I'm saying correct, but I don't
       18   BY MR. KLATT:                                        18   remember the details that you're quoting. I
       19        Q I'm focusing on the sentence that you         19   remember the article. I'm -- I -- it doesn't --
       20   wrote in your report saying: "First of all, there    20   my recollection doesn't contradict anything you're
       21   are two possible routes that talcum powder           21   saying.
       22   products can take to reach the ovaries."             22        Q So Venter doesn't tell us anything at
       23           Do you see where I am?                       23   all about dry talc particles applied externally to
       24        A Yes, I do.                                    24   the genital area being able to migrate up the
       25        Q The next sentence says: "There is             25   vagina, across the cervix, up the uterus, up the
                                                  Page 339                                                  Page 341
        1   published evidence that talcum powder products and    1   fallopian tubes to the ovaries, correct?
        2   its constituents and contaminants that are applied    2           MS. PARFITT: Objection. Form.
        3   to the vaginal area can migrate from there to the     3           THE WITNESS: I guess I use this as a
        4   fallopian tubes and ovaries," citing Venter 1979,     4   reference because some other experts used it as a
        5   Henderson 1986, Heller 1996, "or to pelvic lymph      5   reference for such a statement. And I read the
        6   nodes," citing Cramer 2007.                           6   article, and it sounded plausible.
        7           Is that correct?                              7   BY MR. KLATT:
        8        A Yes, that's correct.                           8       Q But you'd agree with me that the Venter
        9        Q Do you recall, Dr. Siemiatycki, that the       9   1979 article doesn't involve talc particles,
       10   Venter 1979 article has nothing to do with talc at   10   doesn't involve external application, and is a
       11   all?                                                 11   very artificial situation compared to the
       12           MS. PARFITT: Objection. Form.                12   situation of women applying talc to the --
       13           THE WITNESS: Is that the article about       13           MS. PARFITT: Objection.
       14   asbestos?                                            14   BY MR. KLATT:
       15   BY MR. KLATT:                                        15       Q -- external genital area?
       16        Q Venter 1979 is the article about albumin      16           MS. PARFITT: I'm sorry, Michael.
       17   microspheres.                                        17           Objection. Form.
       18        A Oh, yeah. Yes.                                18           THE WITNESS: I -- I -- I don't disagree
       19        Q Do you recall that article?                   19   with what you said.
       20        A I do. Well, I don't recall it well, but       20   BY MR. KLATT:
       21   I recall reading it a year or two ago.               21       Q And then the other two articles you
       22        Q And in Venter, nothing was applied to         22   cite, Henderson 1986 and Heller 1996, say nothing
       23   the perineal area, correct? These albumin            23   at all about migration of talc particles. They
       24   microspheres were actually injected at the top of    24   simply observe talc particles in tissue already
       25   the vaginal vault, correct?                          25   without any reference to how they got there,
                                                                               86 (Pages 338 to 341)
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                                                  Page 342                                                  Page 344
        1   correct?                                              1            MS. PARFITT: Objection. Form.
        2           MS. PARFITT: Do you need to see the           2            Make sure you've read the article.
        3   articles?                                             3            THE WITNESS: (Peruses document.) So
        4           THE WITNESS: Yes, I think I need to see       4   I -- I've skimmed it quickly. I haven't read
        5   those articles.                                       5   everything, but I don't see that it -- sorry, are
        6           MS. PARFITT: Do we have Henderson or          6   we on?
        7   Heller?                                               7            MS. PARFITT: Yes.
        8           MR. KLATT: I'm sorry, I don't have them       8            THE VIDEOGRAPHER: We're on the record.
        9   with me.                                              9            THE WITNESS: I don't see that it
       10           MS. PARFITT: Okay. Let's see. In your        10   directly addresses talc moving from the vagina
       11   report -- they're in your report.                    11   into pelvic lymph nodes, but it certainly concerns
       12   BY MR. KLATT:                                        12   the detection of talc in pelvic lymph nodes.
       13        Q And you might want to pull Cramer 2007        13   BY MR. KLATT:
       14   while you're at it, because again my question is     14        Q But it says nothing in the article
       15   the same, it doesn't say anything at all about       15   itself about establishing migration, correct?
       16   migration. It simply identifies particles already    16            MS. PARFITT: Objection. Misstates his
       17   in tissue without saying how they got there.         17   testimony.
       18           MS. PARFITT: Okay. Well, let's wait          18   BY MR. KLATT:
       19   for a question and let's get the articles. Let's     19        Q That you -- that you see.
       20   see. It would be tab -- it's a big binder.           20            MS. PARFITT: Objection. Form,
       21   BY MR. KLATT:                                        21   misstates his testimony.
       22        Q Can I -- can I --                             22            THE WITNESS: I -- I guess, you know --
       23           THE WITNESS: I have it in my office.         23   the question I would have is if it gets to the
       24   BY MR. KLATT:                                        24   pelvic lymph nodes, it has to migrate there from
       25        Q Can I short-circuit this?                     25   somewhere. It's not deposited there deliberately.
                                                  Page 343                                                  Page 345
        1       A Yes.                                            1   BY MR. KLATT:
        2       Q I think this -- I can short-circuit             2       Q Well --
        3   this. If you just look at Cramer 2007. Do you         3       A That was my interpretation of -- of
        4   have that handy?                                      4   this.
        5           MS. PARFITT: Cramer 2007. Do you have         5       Q Well, look at the very first page of
        6   it? I don't, Michael.                                 6   this article, Cramer. You see at the very top
        7           THE WITNESS: It would be in my office.        7   under where the authors are listed?
        8           MR. KLATT: Could we go off for a second       8       A Yes, I do.
        9   while you are looking?                                9       Q It says "Background"?
       10           THE VIDEOGRAPHER: We're going off the        10       A Yeah.
       11   record at 9:15 p.m.                                  11       Q "Although epidemiologic studies suggest
       12           (Pause in the proceedings.)                  12   talc use may increase ovarian cancer risk, there
       13           THE VIDEOGRAPHER: We are back on the         13   is no proof that talc used externally reaches the
       14   record at 9:17 p.m.                                  14   pelvis." Correct?
       15   BY MR. KLATT:                                        15           MS. PARFITT: Objection. Form.
       16       Q So, Dr. Siemiatycki, at my request,            16   BY MR. KLATT:
       17   you've pulled the 2007 article, first author         17       Q That's what it says.
       18   Cramer, called "Presence of talc in pelvic lymph     18       A That's the background to this study.
       19   nodes of a woman with ovarian cancer and long-term   19   That's not --
       20   genital exposure to cosmetic talc," correct?         20       Q And it's 2007, correct?
       21       A That's correct.                                21       A Correct.
       22       Q And my question was simply, this -- this       22       Q Which is after the Henderson study that
       23   article says nothing about talc migrating. It        23   you cite. Correct?
       24   simply observes that talc was found in a lymph       24       A Correct.
       25   node. Is that correct?                               25       Q And so after -- and what -- so we have
                                                                               87 (Pages 342 to 345)
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        1   Venter that you cited and Henderson, and what         1   proof. They haven't -- they didn't say there is
        2   else?                                                 2   no evidence. They said, There is no proof.
        3       A Heller -- Heller?                               3   BY MR. KLATT:
        4       Q What was the third? Heller, yes. Thank          4        Q Do you understand -- my question,
        5   you. 1995. And here is --                             5   Dr. Siemiatycki, was simply, did Dr. Cramer say
        6           MS. PARFITT: No, excuse me. 1996, I           6   there was no proof? Correct?
        7   believe.                                              7           MS. PARFITT: Objection.
        8   BY MR. KLATT:                                         8           THE WITNESS: He said there was no
        9       Q Excuse me, 1996.                                9   proof.
       10           And here in 2007, we have Dr. Cramer         10           MS. PARFITT: Asked and answered.
       11   saying that there's no proof that externally         11           THE WITNESS: He didn't say there was no
       12   applied talc reaches the ovaries, correct?           12   evidence.
       13           MS. PARFITT: Objection. Misstates the        13   BY MR. KLATT:
       14   science and the article and his testimony. Form.     14        Q Okay. Can you go back -- let's see,
       15   BY MR. KLATT:                                        15   let's go back to your expert report on biologic
       16       Q I'm just asking what the article -- what       16   plausibility.
       17   Dr. Cramer and Dr. Godleski said in the Background   17           MS. PARFITT: Right here.
       18   section to this article that you cite in 2007.       18   BY MR. KLATT:
       19           MS. PARFITT: Objection. Form.                19        Q Oh, one other thing. When you were just
       20           THE WITNESS: You want me to comment on       20   scanning Cramer 2007, I saw you were looking on
       21   whether their background -- the Background section   21   the page where he discussed the Heller paper. Did
       22   of this abstract contradicts the thesis that there   22   you see that?
       23   was evidence of migration before 2007? Is that       23           MS. PARFITT: Just give him a moment to
       24   correct?                                             24   get that again. I think it was 17.
       25   BY MR. KLATT:                                        25           THE WITNESS: Sorry. No. 17?
                                                  Page 347                                                 Page 349
        1        Q I'm -- my question is, you cited Venter        1          MS. PARFITT: Yeah.
        2   and Henderson and Heller for evidence of              2          THE WITNESS: You have very good eyes if
        3   migration, correct?                                   3   you saw me looking at the Heller. I actually
        4        A Right. Right.                                  4   wasn't, but --
        5        Q And those all predate well before 2007,        5   BY MR. KLATT:
        6   correct?                                              6       Q I thought you were on that page.
        7        A Correct.                                       7       A Well, I was -- I scanned each of the
        8        Q And here we have Dr. Cramer saying in          8   four pages. There aren't that many pages. The --
        9   2007 there is no proof that talc used externally      9   I see mention of the Heller article.
       10   reaches the pelvis, correct?                         10       Q On page 500?
       11           MS. PARFITT: Objection. Form,                11       A Yes, I do see that.
       12   misstates the article.                               12       Q Do you see where Dr. Cramer in 2007 is
       13   BY MR. KLATT:                                        13   suggesting that the explanation for the Heller
       14        Q Is that what he said?                         14   study may be contamination that was introduced
       15        A That's what it says.                          15   during the processing of the tissue specimens?
       16        Q And you --                                    16       A So I see that he says it might have been
       17           MS. PARFITT: Wait. Wait. Wait. Wait,         17   introduced during processing, and it's a potential
       18   you let him finish. He said, That's what he said     18   weakness. He doesn't affirm that it is. He says
       19   -- finish, please. Thank you, Michael.               19   it might be.
       20           THE WITNESS: The -- the word "proof" in      20       Q So contamination is another explanation
       21   that sentence is a red flag. I'm not sure what       21   potentially for why you might find talc in ovarian
       22   they mean -- they meant by proof. They might         22   or gynecologic tissues?
       23   have -- well have said, There is evidence that,      23          MS. PARFITT: Objection. Form.
       24   but it is not yet conclusive. That is one            24          THE WITNESS: I -- I guess so. Not
       25   interpretation of a sentence like, There is no       25   being an expert in pathology and physiology, I --
                                                                               88 (Pages 346 to 349)
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        1   that seems like a plausible -- seems to me like a     1          THE VIDEOGRAPHER: This ends -- this
        2   plausible alternative explanation.                    2   ends the deposition of Jack Siemiatycki.
        3   BY MR. KLATT:                                         3          We are going off the record at 9:28 p.m.
        4       Q You go on and comment in the next               4          (Whereupon, the deposition
        5   paragraph of your biologic plausibility on two        5          of JACK SIEMIATYCKI, Ph.D. was
        6   trace heavy metals, chromium and nickel compounds,    6          concluded at 9:28 p.m.)
        7   correct?                                              7
        8       A So where are we -- oh, yeah. Yes.               8
        9       Q You're aware that IARC has made                 9
       10   determinations regarding chromium and nickel         10
       11   compounds, correct?                                  11
       12       A Yes, correct.                                  12
       13       Q And neither one of the determinations          13
       14   found they were linked to ovarian cancer at all,     14
       15   correct?                                             15
       16       A That's correct.                                16
       17       Q They found they were related to nasal,         17
       18   sinus and lung cancers in people, primarily          18
       19   workers, who had breathed the fumes, correct?        19
       20       A That's correct.                                20
       21       Q So that's no way analogous to any trace        21
       22   heavy metals in talc, correct?                       22
       23          MS. PARFITT: Objection. Form.                 23
       24          THE WITNESS: It's -- it's not directly        24
       25   relevant. It may be indirectly relevant. The         25
                                                  Page 351                                                       Page 353
        1   evidence that allowed IARC to make determinations     1      CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
        2   about lung cancer risks is evidence from              2       The undersigned Certified Shorthand Reporter
        3   industrial cohorts of males.                          3   does hereby certify:
        4          And so there has never been an                 4       That the foregoing proceeding was taken before
        5   evaluation of ovarian cancer risks in relation to     5   me at the time and place therein set forth, at
        6   exposed women to chromium and nickel. It's terra      6   which time the witness was duly sworn; That the
        7   incognita basically.                                  7   testimony of the witness and all objections made
        8   BY MR. KLATT:                                         8   at the time of the examination were recorded
        9       Q And so following up on that, you're not         9   stenographically by me and were thereafter
       10   aware of any evidence at all that women who have     10   transcribed, said transcript being a true and
       11   used externally applied talcum powder to the         11   correct copy of my shorthand notes thereof; That
       12   genital area have higher blood or tissue levels of   12   the dismantling of the original transcript will
       13   chromium or nickel compounds than women who've       13   void the reporter's certificate.
       14   never ever used talc at all, correct?                14       In witness thereof, I have subscribed my name
       15          MS. PARFITT: Objection. Form.                 15   this date: February 4, 2019.
       16          THE WITNESS: I've -- I'm not aware of         16
       17   any evidence.                                        17              ________________________
       18          MR. KLATT: I think that's all the             18              LESLIE A. TODD, CSR, RPR
       19   questions I have.                                    19              Certificate No. 5129
       20          MS. PARFITT: I have no further                20
       21   questions.                                           21   (The foregoing certification of
       22          Dr. Siemiatycki, you are done. We will        22   this transcript does not apply to any
       23   read and sign.                                       23   reproduction of the same by any means,
       24          Thank you, Leslie.                            24   unless under the direct control and/or
       25          Thank you all.                                25   supervision of the certifying reporter.)

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        1             INSTRUCTIONS TO WITNESS                      1            ACKNOWLEDGMENT OF DEPONENT
        2        Please read your deposition over carefully and    2       I,___________________________, do hereby
        3    make any necessary corrections. You should state      3   certify that I have read the foregoing pages, and
        4    the reason in the appropriate space on the errata     4   that the same is a correct transcription of the
        5    sheet for any corrections that are made.              5   answers given by me to the questions therein
        6    After doing so, please sign the errata sheet          6   propounded, except for the corrections or changes
        7    and date it.                                          7   in form or substance, if any, noted in the
        8        You are signing same subject to the changes       8   attached Errata Sheet.
        9    you have noted on the errata sheet, which will be     9
       10    attached to your deposition. It is imperative        10   __________________________________________________
       11    that you return the original errata sheet to the     11   JACK SIEMIATYCKI, Ph.D.         DATE
       12    deposing attorney within thirty (30) days of         12
       13    receipt of the deposition transcript by you. If      13
       14    you fail to do so, the deposition transcript may     14   Subscribed and sworn to
       15    be deemed to be accurate and may be used in court.   15   before me this
       16                                                         16   ______day of_______________,20___.
       17                                                         17   My commission expires:_______________
       18                                                         18   _____________________________________
       19                                                         19   Notary Public
       20                                                         20
       21                                                         21
       22                                                         22
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON                          MDL NO. 16-2738 (FLW) (LHG)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES PRACTICES,
    AND PRODUCTS LIABILITY
    LITIGATION

    THIS DOCUMENT RELATES TO ALL CASES




                                RULE 26 EXPERT REPORT OF
                                  SONAL SINGH, MD, MPH




    Date: November 16, 2018
                                         Sonal Singh, MD, MPH
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          TALCUM POWDER PRODUCTS AND RISK OF OVARIAN CANCER
                                   EXPERT REPORT
                                      Prepared by
                                Sonal Singh, MD, MPH
                     University of Massachusetts School of Medicine
                                     Nov 16, 2018




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 I.     INTRODUCTION AND SUMMARY.


 I have been retained to review scientific evidence and analyze the epidemiological data and,
 based on these data and other relevant evidence, to provide my professional opinion about
 whether talcum powder products are causally related to ovarian cancer. I have used a weight of
 evidence approach in examining the causal relationship between talcum powder products and
 ovarian cancer. I have relied upon my own systematic review of the literature and the
 cumulative body of evidence as the basis upon which I provide my opinions. This included
 gathering all relevant data based on in vitro, animal, and human epidemiologic studies on this
 topic. Although the weight of my opinions is derived from findings published in the peer-
 reviewed literature, relevant unpublished documents are also noted when applicable. The
 individual studies were examined for both reliability and validity noting their strengths and
 limitations. The cumulative body of evidence was then synthesized and examined and weighed
 using a widely accepted organizing framework- the Bradford Hill approach. (1). Using these
 materials, my education, and my prior clinical and research experiences, I have employed the
 methods generally accepted by the scientific community that would be used to develop a peer-
 reviewed manuscript.


 In summary, it is my opinion, to a reasonable degree of scientific and medical certainty, that
 talcum powder products, specifically here Johnson’s Baby Powder and Shower to Shower, can
 cause ovarian cancer. This finding is based on the totality of the medical and scientific evidence
 from meta-analysis, and consistent findings of a statistically significantly increased risk in
 observational studies, evidence of retrograde migration and inhalation of talc, presence of
 known or suspected carcinogens in Talcum Powder Products, and inflammatory tissue response
 that initiates multiple pathways and biological mechanisms by which talcum powder products
 can cause ovarian cancer While these factors carry the most weight in my assessment, available
 data on the biological gradient of Talc exposure and ovarian cancer (dose response) also support
 my opinion.


 II.    BACKGROUND AND QUALIFICATIONS.


 I am an Associate Professor in the Department of Family Medicine and Community Health and
 the Meyers Primary Care Institute, with a joint appointment in the Department of Quantitative
 Health Sciences at the University of Massachusetts Medical School, Massachusetts. I received



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 my M.B.B.S. (equivalent to M.D.) in 1998 from Patna Medical College, India. I then completed
 my internal medicine internship and residency in the Department of Medicine at the Unity
 Health Center, affiliated with the University of Rochester School of Medicine in 2005.
 Subsequently, I served on the Faculty as an Instructor of Medicine at Wake Forest University
 until 2007, and then as an Assistant Professor of Medicine in 2007. I received a joint appointment
 as an Assistant Professor of Epidemiology at Wake Forest University in 2008. While on the
 faculty at Wake Forest University, I obtained my master’s in public health at Johns Hopkins
 University in 2008. I was an Assistant Professor in the School of Medicine at Johns Hopkins
 University as a recipient of the NIH Johns Hopkins Clinical Research Scholars Award in 2009. I
 held joint appointments in the Department of International Health and Health Policy and
 Managements and served as the Associate Director at the Center for Drug Safety and
 Effectiveness at Johns Hopkins University until 2016.


 In my current position, I devote most of my professional time to epidemiologic research. I
 conduct clinical research with a focus on drug safety, evidence synthesis, and shared decision
 making. The major focus of my research is understanding the adverse effects of pharmacologic
 therapies. The remainder of my professional effort is dedicated to practicing general medicine
 and teaching activities. I have taught courses in systematic reviews, clinical epidemiology,
 pharmacoepidemiology, and the practice of internal medicine to medical students, interns,
 residents, and public health students at Johns Hopkins University and Wake Forest University.
 I have taught courses in clinical epidemiology and pharmacoepidemiology to researchers in the
 Bloomberg School of Public Health at Johns Hopkins University


 I have served as an advisor to the World Bank, WHO International Agency for Research on
 Cancer and various pharmaceutical firms. I was part of World Health Organization
 International Agency for Research (WHO-IARC) panel which evaluated the carcinogenicity of
 various drugs and herbal products. (2). I currently serve as a member of the American College
 of Chest Physicians Guideline Panel. I have also been part of a panel that developed the
 PRISMA-HARMS (Preferred Item for Reporting Harm in Systematic Reviews and Meta-
 Analyses) checklist with an aim to improve the reporting of systematic reviews and meta-
 analysis of adverse effects. (3). My research has been funded by the Food and Drug
 Administration, the Agency for Health Care Research and Quality, the National Institute of
 Health and the Patient Centered Outcomes Research Institute. I am a recipient of numerous
 awards including the prestigious Johns Hopkins Clinical Research Scholars Award from the



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 National Institute of Health and the Tinsley R. Harrison Master Teachers Award at Wake Forest
 University School of Medicine. My systematic review on varenicline and the risk of
 cardiovascular events published in the prestigious Canadian Medical Association Journal was
 awarded the Best Research Paper of the year among hundreds of articles submitted to the
 Journal. I also serve as a peer reviewer for more than 50 journals and serve on the editorial board
 of prominent journals such as BMJ Evidence Based Medicine. I have reviewed grants for numerous
 federal and international organizations. I have conducted several epidemiological studies and
 systematic reviews and meta-analysis featured in prominent medical journals such as the Journal
 of the American Medical Association and the British Medical Journal. I have authored or co-authored
 more than 100 original peer-reviewed scientific articles and my work has been cited more than
 13,000 times and my h-index is 48 [h number of papers which has been cited by others at least h
 times]. My work has been featured in Science, Journal of the American Medical Association, British
 Medical Journal, and the Lancet, as well as media outlets such as the NYTIMES, Wall Street Journal
 and Washington Post.


 This background provides experise in the use of epidemiological research methods in diverse
 settings, and in the clinical practice of medicine, both relevant to the present scenario. I have
 charged a rate of $600.00 per hour in the preparation of this report. Attached as Exhibit A is a
 copy of my curriculum vitae.


 III.    PUBLICATIONS.


     Below is a representative sampling of those articles published in leading medical journals
     such as Journal of American Medical Association, Journal of American Medical Association-Internal
     Medicine, and British Medical Journal. Please refer to my attached curriculum vitae for a
     complete listing of all publications.
    Singh S, Loke YK, Furberg CD. Long-term risk of cardiovascular events with rosiglitazone- A
     systematic review and meta-analysis. Journal of the American Medical Association 2007; 298:
     1189-1195.
    Singh S, Loke YK. Furberg CD. Inhaled anticholinergics and the risk of major adverse
     cardiovascular events in Patients with Chronic Obstructive Pulmonary Disease: A systematic
     Review and Meta-analysis. Journal of the American Medical Association 2008; 300: 1439-1450.
     (CME Article in JAMA).




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    Mills EJ, Wu P, Chong G, Ghement I, Singh S, et al. Efficacy and safety of statin treatment for
     cardiovascular disease: a network meta-analysis of 170 255 patients from 76 randomized
     trials. Q J Med 2011; 104: 109-24.
    Singh S, Loke YK, Enright P, Furberg CD. Mortality Associated with Tiotropium Respimat ®
     in Patients with Chronic Obstructive Pulmonary Disease- A Systematic Review and Meta-
     Analysis of Randomized Controlled Trials. British Medical Journal 2011; 342: d3215.
    Singh S, Loke YK, Spangler JG, Furberg CD. Risk of serious adverse cardiovascular events
     with Varenicline: A Systematic Review and Meta-Analysis of Randomized Controlled Trials.
     Canadian Medical Association Journal 2011; 1831359-66. (with an editorial by JT Hays.
     Varenicline for smoking cessation. Is it a heart breaker?)- Best Research paper of the year
     award.
    Singh S, Loke YK. Drug Safety Assessment in Clinical Trials: Methodologic Challenges and
     Opportunities. Trials 2012, 13: 138.
    Singh S, Chang HY, Richards TM, Weiner JP, Clark JM, Segal JB. Glucagonlike Peptide 1-
     Based Therapies and Risk of Hospitalization for Acute Pancreatitis in Type 2 Ovarian cancer
     Mellitus: A Population-Based Matched Case-Control Study. Journal of the American Medical
     Association Intern Med. 2013 25:1-6.
    Grosse Y, Loomis D, Lauby-Secretan B, El Ghissassi F, Bouvard V, Benbrahim-Tallaa L, Guha
     N, Baan R, Mattock H, Straif K; International Agency for Research on Cancer Monograph
     Working Group. Collaborators: Stewart BW, Biggar RJ, Lachenmeier DW, Singh S, Tsuda H,
     Baguley B, Marques MM, Tseng CH, Knight TL, Beland FA, Betz JM, Carcache de Blanco EJ,
     Cunningham ML, Dunnick JK, Guo L, Jameson CW, Karagas M, Lunn RM, McCormick DL,
     Witt KL, Zhou S. Carcinogenicity of some drugs and herbal products. Lancet Oncol. 2013;
     14(9):807-8.
    Zorzela, L., Loke, Y.K., Ioannidis, J.P., Golder, S., Santaguida, P., Altman, D.G., Moher, D.,
     Vohra, S., Boon, H., Clark, J., Derry, S., Gallivan, J., Gardiner, P., Gøtzsche, P., Loder, E.,
     Napoli, M., Pilkington, K., Shekelle, P., Singh S, Witt, C., Lasserson, T., Wu, T., Shamseer, L.,
     Mulrow, C. PRISMA harms checklist: improving harms reporting in systematic reviews.
     British Medical Journal 2016;352: i157.
    Onasanya O, Iyer G, Lucas E, Lin D, Singh S, Alexander GC. Association between exogenous
     testosterone and cardiovascular events: an overview of systematic reviews. Lancet Diabetes
     Endocrinol. 2016 Nov;4(11):943-956.
    Alexander GC, Iyer G, Lucas E, Lin D, Singh S. Cardiovascular risks of exogenous testosterone
     among men. Am J Med. 2017 Dec;130(12):1449-1457.



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 IV.     STUDY DESIGN CONSIDERATIONS.


 I will examine the strengths and weaknesses of the study designs that are relevant to the present
 scenario. Each of the study-types discussed below has its advantages and disadvantages. Every
 study is subject to biases and error; none is appropriate and feasible for every situation. Instead,
 the evidentiary value of each study must be assessed and weighed on an individual basis, and
 in the context of the totality of the body of literature or scientific studies.


 IV.I Randomized controlled trials. In double blind randomized controlled trials (RCTs) both the
 investigator and the participant are blinded to treatment assignment. All characteristics whether
 known or unknown, are evenly distributed at random between the intervention and placebo
 arm. Thus, if there are differences in incidence of outcome, it can be inferred to be a consequence
 of the exposure itself (i.e. causative).


 However, the prospective nature of RCTs also results in several significant drawbacks for effects
 that are rare and/or slow to develop, like ovarian cancer. In addition to the ethical difficulties of
 administering a substance that may be harmful, such as talcum powder products, it is difficult
 prospectively to ensure study-subject compliance over the decade-plus timeframes required to
 assess ovarian cancer risk, and obviously impractical to have researchers administer a daily
 perineal talc application to study subjects. Similarly, there is no mechanism by which to
 randomly assign participants for non-modifiable exposures or the event may be sufficiently rare,
 such as in the present case of ovarian cancer to be evaluated in a randomized trial. The definitive
 randomized controlled trial in which patients would be randomized to talcum powder products
 and/or placebo and measure the outcome of ovarian cancer would be ideal. However, such a
 randomized trial does not exist, and such a randomized trial would be unethical.1 Then again,
 randomized clinical trials are not necessary to establish causal evidence of harm. For instance,
 there is no randomized trial which supports the causal role of smoking in lung cancer. As a
 result, to address this question, we must rely on other study designs including observational
 studies and their meta-analysis to draw inferences on causation. The preponderance of evidence
 we have on harms of products are derived from such epidemiological studies.


 1Defendants here have admitted this fact. Deposition of Linda Loretz 562:14-563:6 (October 1, 2018) (4);
 Deposition of Joshua Muscat 408:21-410:20 (September 25, 2018) (5).


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 IV.II Systematic reviews and Meta-analysis. A systematic review and meta-analysis is a study
 design wherein systematic searches are carried out to identify studies reporting on a question
 of interest. Systematic reviews provide a high level of evidence when evaluating the effect of
 interventions. (6).


 The meta-analytic point estimate represents the sum of evidence from all the included studies.
 When individual studies may be underpowered to detect an effect, meta-analysis of cumulative
 studies may allow one to distinguish whether the entire body of evidence supports the presence
 or argues against evidence of a causal association. Apart from the P-value as a measure of
 statistical significance, the confidence intervals are used to assess the statistical variability
 around the estimate. In a meta-analysis the studies are weighted by the sample size of included
 studies with larger studies contributing more weight to the final estimate. Studies are examined
 to determine whether the findings are clinically and statistically homogenous or heterogenous.
 Clinical heterogeneity includes any differences in populations and interventions. It is also
 important to evaluate statistical heterogeneity among studies included in the meta-analysis. (7).
 Although some amount of variation in individual estimates of treatment effect is expected by
 chance, the excess of variation which cannot be explained by chance alone is referred to as
 statistical heterogeneity. I2 is used as a measure of statistical heterogeneity—a percent of variation
 due to heterogeneity compared to chance, the higher the value the more the proportion of
 statistical heterogeneity.


 The different approaches to modelling data across studies may yield slightly different results.
 Fixed effects meta-analysis which assumes that all the studies are measuring the same effect
 yield tighter confidence intervals, whereas random effects meta-analysis which assume that
 studies are measuring different effects in the population yield more conservative effects.
 Random-effects models may be more appropriate when the amount of statistical heterogeneity
 is high. Some amount of heterogeneity is expected when the database includes observational
 studies.


 However, it must be noted that while meta-analysis can overcome issues of limited statistical
 power and provide information on consistency or inconsistency of effects, one needs to carefully
 examine the individual studies for their limitations and susceptibility to bias and confounding.



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 Thus, for example, if a study is too short to detect the effect in question, then even a patient-level
 pooled analysis of several such studies will very likely fail to detect a true causal relationship,
 even when one exists. This is an illustration of why it is important to consider study design, bias,
 and confounding in weighing the results from both individual studies and their meta-analysis.
 Systematic reviews are also susceptible to various publication and funding biases which need
 to be considered in interpreting results.


 Meta-regression in using summary or group level published data may be susceptible to
 ecological or group level biases and result in spurious conclusions. (8). As a result, it is not
 recommended to evaluate the association between treatment effect, such as the difference in the
 risk of ovarian cancer, and participant characteristics at the study level (e.g., mean age of all
 participants) using aggregate level data, (9) as these may be susceptible to group level or
 ecological biases. An individual participant pooled analysis in which investigators have access
 to the patient-level data, such as that by Terry et al. discussed below, (10) is considered of higher
 quality than meta-analysis of summary data and provides the ability to reliably assess the effect
 of other patient and outcome related variables.


 Umbrella reviews and overviews of systematic reviews. An umbrella review systematically
 collects and reviews evidence from multiple systematic reviews and meta-analysis and allows
 integration of evidence from multiple systematic reviews and meta-analysis, (11) to offer a much
 broader view of the evidence landscape. Individual systematic reviews and/or meta-analysis
 included in an umbrella review or overview should be critically appraised for quality. The 11-
 item critical appraisal tool AMSTAR (Assessing the Methodological Quality of Systematic
 Reviews) is a reliable and valid tool which provides an assessment of the quality of included
 systematic reviews and meta-analysis in an overview. (12).


 What is the precise causal question or the hypothesis being tested? One cannot interpret the
 scientific evidence without being precise about the causal question that is being addressed when
 evaluating the association between any exposure and an outcome in any epidemiologic study.
 An exclusively narrowly framed hypothesis (e.g., evaluating only one route of exposure such as
 using talcum powder on contraceptive diaphragm), (13) while disregarding other important and
 relevant routes and mechanisms of exposure, is inherently limited by design. Since we may not
 have a complete picture of the underlying mechanisms or the timings of risk of products at the




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 time of study design, it is even more critical that studies on safety evaluate all potential routes
 of exposure.


 IV.III. Cohort and Case-Control Studies. There are several considerations in interpreting data
 from prospective or retrospective observational studies or case-control studies. However, it is
 important to consider issues of study design, random error, systematic error, bias, and
 confounding in the interpretation of data. Random errors are statistical fluctuations in the
 measured data due to the limitations of the measurement instrument. They may occur in both
 direction because of the inability to measure exposure and outcomes in precisely the same
 manner. There is also the possibility of measurement error in the measurement of outcome and
 exposure in both study designs. If the measurement error is non-differential, such
 misclassification of exposure or outcomes usually biases findings towards the null. Systematic
 errors, by contrast, are reproducible inaccuracies that are consistently in the same direction,
 often due to a problem which persists throughout the entire study and are difficult to correct.


 Case-control studies involve subjects diagnosed with the disease at issue, such as ovarian cancer
 (the “cases”), and a suitable number of subjects without the disease (the “controls”). Exposure
 is ascertained retrospectively among both cases and controls. The results are then analyzed to
 see if there is an association between the exposure and the disease. In contrast, prospective
 cohort studies are study designs in which subjects with and without the exposure of interest are
 recruited and followed up in time for the development of outcomes. This study design
 establishes temporality wherein the exposure precedes the outcome. It is important to determine
 the latency and induction between the exposure and the disease to assess the duration of follow-
 up. As an example, a 12-month follow-up study to evaluate the association between exposure
 to smoking and lung cancer would be unlikely to demonstrate an increase in the risk of lung
 cancer.


 There are several strengths to the case-control design including the ability to ascertain long-term
 exposure-outcome relationships, particularly important to the present scenario because ovarian
 cancer develops over many years. Once cases and controls have been established, one can
 evaluate the association between multiple exposures and outcomes. In contrast, prospective
 cohort studies may be limited by the short-duration of follow-up which may be insufficient to
 ascertain the effect of exposure on long-term outcomes and bias their findings towards the null.
 Secondly, for relatively rare diseases, such as ovarian cancer, case-control studies are more



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 efficient. Because we are looking at the incidence of disease between the two arms of a study, a
 cohort study may have limited statistical power regardless of the actual number of subjects
 enrolled if the number of cases is small. For example, the Nurses’ Health Study recruited almost
 80,000 participants for only 307 cases of ovarian cancer. (14).


 Both study designs are susceptible to selection bias when the selection of the participants into
 the study (or their likelihood of being retained in a cohort study) leads to a result that is different
 from the result had we enrolled the entire target population. In other words, the exposure-
 outcome relationship in controls or cases may be different from the target population. This can
 arise due to selection of controls not representative of the target population, non-response that
 is related to exposure and outcome, or differential loss to follow-up in a cohort study related to
 exposure and outcome status. Selection bias can bias findings either away from the null or
 towards the null.


 Case-control studies, by their design, are generally not blinded and are also susceptible to bias
 as a result. They are also susceptible to recall bias, i.e. the concern that subjects with the disease
 may be more diligent in recollecting past uses. However, the degree of recall bias will depend
 on the type of exposure with chronic daily long-term exposures, such as talcum powder product
 use, being less likely to be subject to recall bias than intermittent short-term exposures. In
 contrast, prospective cohort studies in which subjects are recruited and then followed up for the
 development of outcomes are less susceptible to recall bias.


 In addition, there is the issue of what may be called “behavior change” bias in cohort studies
 which may also bias their findings towards the null if exposure is only ascertained at baseline
 and not updated during follow up. This bias towards the null reduces the apparent effect of the
 exposure on the outcome. For example, if the subjects accurately report their talcum powder
 product use (or lack there-of) at baseline, but there is no follow-up, then the “ever” users’ status
 will still be correct at the end of the study, because once having used talc, their “ever” status
 cannot change. This will not be true, however, of the “never” users; if they subsequently use
 talc, then without follow-up, their status will still be incorrectly recorded as “never.” If there is
 a true causal connection, some ovarian cancers caused in the “never” category will, in fact,
 belong in the “ever” category, potentially biasing the study towards the null. Cohort studies are
 also susceptible to attrition bias and efforts should be used to minimize loss to follow-up. The
 main strengths of cohort studies are that if an effect (after adjusting for other confounding



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 factors) is found despite these biases towards the null, then it is more likely to be a causal
 relationship; the limitations being that they are less sensitive to determining a causal
 relationship. Case-control studies are based on past behavior and are not affected by this bias.
 Cohort studies are also susceptible to several prevalent user biases including potential bias due
 depletion of susceptibles. (15). A cohort study evaluating the association between talc use and
 ovarian cancer which limits the analysis to prevalent users (rather than new users), may largely
 be composed of survivors of the early effect of talc exposure on ovarian cancer, since new users
 who developed ovarian cancer after talc exposure may be ineligible for inclusion. This will
 potentially bias the estimates towards the null.


 One important distinction to note is between risk factors for the disease and confounders. (16).
 A risk factor is an exposure which may explain the development or cause of disease in the
 population. These could be potentially modifiable or non-modifiable risk factors such as genetic
 risk factors. Confounding represents a special case of bias that results when the relationship
 between the risk factor -disease relationship is altered. A variable is considered a confounder
 only when ALL three criteria are present: a) the confounder is associated with the exposure in
 the population; b) the variable is related to the disease in the population; and c) the variable is
 not a link in the causal pathway to the disease. Risk factors that do not meet all the above
 criterion are not considered confounders of the exposure-outcome relationships (and thus may
 not require adjustment in the analysis).


 Observational studies may also be susceptible to unmeasured confounding. Importantly, the
 potential for confounding does not mean that such a confounding exists. To address bias,
 confounders of the disease-outcome relationship need to be adjusted for in the analysis of
 epidemiologic studies. The methods for adjustment for known confounders include regression
 or propensity score methods. In establishing the effect of any exposure on an outcome it is
 important to disentangle the direct effect of an exposure of an outcome vs the indirect effect
 because of some mediators. The strength of association, in and of itself, does not denote whether
 a risk factor causes the disease. It is reflective of the background rate of the disease in the
 population and the relative risk of other competing risk factors. When the strength of association
 is weak, restricting the disease to a low risk population with low background rates of the
 diseases will magnify the association due to lack of competition among risk factors. (16)




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 One must be careful in interpreting data from subgroup analysis, such as analysis of various
 dose categories or age or ethnic groups, such as the case here with pre-menopausal women vs
 post-menopausal women or subgroup of women stratified by age, sex and ethnicity. The results
 of tests of interaction are important in interpreting data from such studies. If the test of
 interaction is not significant, this suggests that there is a lack of significant difference between
 the two groups. However, such subgroup tests can be underpowered because of reduction in
 sample size. Additionally, while a study may be internally valid it may not be generalizable to
 participants in the overall population beyond those included in the study. As an example, the
 cohort study of post-menopausal women reporting a non-significantly increased risk of ovarian
 cancer with genital talc use may not be generalizable to premenopausal women. (17). Despite
 the limitations noted above, most of our knowledge of the adverse effects of therapies has been
 derived from observational studies, since randomized controlled trials are not practical for
 several agents and rare outcomes.


 It is also important to draw attention to the proper interpretation of P-values, confidence
 intervals and statistical significance. (18). I have followed the general principles laid out by the
 American Statistical Association on the interpretation of P-values and statistical significance. P-
 value can only indicate how incompatible data are with a statistical model. P-values do not
 indicate the probability that the studied hypothesis is true or the probability that data were
 produced by random chance alone. A P-value does not measure the size of an effect or the
 importance of a result and undue reliance should not be placed on whether a P-value passes a
 specific threshold. Full reporting and transparency are needed for interpretation of results.
 Confidence intervals (CI) measure statistical significance, (19) and indicate the precision and
 degree of uncertainty associated with a sample statistic. A 95% CI means that if we used the
 same sampling method to select different samples and computed an interval estimate for each
 sample, we would expect the true population parameter to fall within the interval estimates 95%
 of the time. CIs that remain elevated above 1 for relative risks (RRs) or odds ratios (ORs) are
 considered statistically significant. A narrow CI indicates a relatively higher level of precision.
 Non-overlapping CIs across two studies suggest a statistically significant difference between the
 study findings, whereas overlapping CIs may suggest consistent results. Thus, it is not
 necessary, and it is highly unlikely to have identical point estimates across studies to establish
 the presence of a consistent exposure-outcome association.




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 V.     EPIDEMIOLOGY AND PATHOGENESIS OF OVARIAN CANCER.
 Ovarian cancer is the most lethal gynecologic cancer in women. It is the leading cause of cancer
 death among gynecologic cancer in the US and the fifth most common cause of cancer with more
 than 14,000 deaths per year. The incidence is 11.4 cases per 100,000 women per year, with a
 mortality rate of 7.4 deaths per 100,000 women. (20). Approximately 1.3 percent of women will
 be diagnosed with ovarian cancer at some point during their lifetime. Approximately 22,400
 new cases of ovarian cancer would be diagnosed in the US in 2017 with 14,080 deaths. (21).


 Most women are diagnosed at an advanced stage of the disease and it is usually asymptomatic
 but may present as abdominal distention, bloating, and in a minority of cases vaginal bleeding.
 The prognosis is relatively poor when it presents at the advance stage where therapeutic options
 including chemotherapy offer little benefit. As discussed in more detail in Section X below,
 inflammation is known to play an important role in the pathogenesis of ovarian epithelial cancer
 through a mechanism of cell proliferation, oxidative stress DNA damage and gene mutations.


 VI.    WHAT CONSTITUTES COSMETIC TALCUM POWDER PRODUCTS?


       While I will examine the evidence of talcum powder products and their causal association
 with ovarian cancer, ascertaining what constitutes “talcum powder“ it is important to
 emphasize that Talcum powder cosmetic products are not “pure talc.” The evidence I reviewed
 demonstrates talcum powder products contain asbestos, fibrous talc, heavy metals such as
 cobalt, chromium, nickel, and various fragrance chemicals (22)(23). This report evaluates the risk
 of ovarian cancer associated with talcum powder products and its constituents. When I refer to
 talc or talcum powder products in this report, I am referring to commercially available talcum
 powder products and all constituent elements contained within.


       Talc is a naturally occurring mineral and its chemical composition is hydrous magnesium
 silicate with a chemical formula of Mg3Si4O10(OH)2. In its natural form, talc may contain
 asbestos, also a naturally occurring silicate mineral, with a different crystal structure. Both talc
 and asbestos belong to the family of silicates that may occur in fibrous form, which is known to
 cause cancer. The structure of talc is characterized by a hexagonal sheet arrangement of silicon
 oxygen tetrahedral groups in a common plane. This results in a double-sheeted structure where
 the sheets are held together by weak van der Waals bonds. Talc consists mostly of these plate-




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 like structures (“platy talc”) but talc can occur in fibrous form. Talc fibers are like asbestos fibers
 in size and shape. (22, 24).


       Despite claims that talcum powder products manufactured after the mid-1970s were
 “asbestos free,” published articles, internal company documents, and testing of historical
 samples I reviewed demonstrate that talcum powder products can contain asbestos and other
 carcinogenic constituents as discussed below. For example, talc powders from national and
 international markets were analyzed by Paoletti et al. in a 1983 study to assess fiber content. (25).
 Samples of talc powders demonstrated fiber contents up to 30% of total particles. About half of
 the talc powders revealed the presence of asbestos. In some samples, a very high level of asbestos
 was revealed. (25). Consistently, the 1991 Blount study also found asbestos in cosmetic talcum
 powder. (26). In a recent deposition, the author of the 1991 study testified she had detected
 specifically in Johnsons and Johnsons baby powder. (27).


       Although the FDA conducted a survey of talc manufacturers in 2009-2010 and found no
 asbestos fibers or structures in any of the samples of cosmetic-grade raw material talc or
 cosmetic products containing talc, (28) the results were limited; only four out of nine talc
 suppliers submitted samples, and the number of products tested was low. The failure to detect
 asbestos could either be due to the technique used or the use of a non-representative sample.
 The FDA itself noted the study could not “prove that most or all talc or talc-containing cosmetic
 grade products currently marketed in the United States are likely to be free of asbestos
 contamination.” (29).


       I reviewed Longo et al.’s report from August 2017 where he tested 30 bottles of Johnson’s
 Baby Powder. (30). They found 17 samples contained detectable amounts of asbestos. They also
 found half of the samples contained fibrous talc. I also reviewed two additional reports from Dr.
 Longo where he found fibrous talc and asbestos in Johnson’s Baby Powder. (31, 32). I reviewed
 the depositions and exhibits of Dr. John Hopkins, corporate representative for Johnson and
 Johnson, who testified to numerous positive tests for asbestos and fibrous talc. (33).


       In a recent report, Longo et al. (34) estimates that 37 out of 56 random samples ( 66%) of
 bottles of talcum powder products tested contain asbestos, which indicates that approximately
 2 out of 3 bottles of talcum powder containing products are contaminated with asbestos. Talcum
 powder products are generally used by women habitually for months or years, rather than a


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 single application or a single bottle of use. Each successive use of a bottle of talcum powder
 product by an individual further accentuates the cumulative probability of their exposure to
 asbestos, beyond the probability conferred by the use of a single bottle. I reserve the right to
 supplement my report in order to estimate this probability of exposure to asbestos through
 habitual use of talcum powder products contaminated with asbestos, once the analysis of
 additional samples of talc is complete. Longo et al. also estimates that 41 of 42 random samples
 of bottles of talcum powder products tested contain fibrous talc. I reserve the right to
 supplement my report in order to estimate this probability of exposure to fibrous talc through
 habitual use of talcum powder products contaminated with fibrous talc, once the analysis of
 additional samples of talc is complete.


       I also reviewed the deposition and exhibits of Julie Pier, corporate representative for
 Imerys Talc America, Inc., who testified to numerous positive tests for asbestos and heavy
 metals between 1985 and 2002. (35).


       My review of monographs published by the International Agency for Research on Cancer
 (IARC) show that asbestos is a well-established carcinogen and unequivocally known to cause
 several cancers including mesothelioma of the lung, larynx, and ovarian cancer. (36). Overall,
 the International Agency for Research on Cancer Working Group classiﬁed asbestos compounds
 as “carcinogenic to humans” (Group 1) in 2012. (36, 37). IARC has also concluded that talc
 including asbestiform fibers grown in an asbestiform habit - commonly termed “fibrous talc” -
 is “carcinogenic to humans” (Group 1). (38).


       I also reviewed documents demonstrating talcum powder products may contain heavy
 metals such as chromium, nickel, and cobalt. (22). Asbestos, chromium, and nickel were all
 classified as a Group 1 carcinogens by IARC. (36) Cobalt is also present in talcum powder
 products and classified by IARC as a Group 2B carcinogen.


 VII.   SUMMARY OF OPINIONS.


 1.     Statistical Significance. There is a statistically significant increased risk of ovarian cancer
 with talcum powder products as demonstrated by most meta-analyses to date. (10, 39-42).
 Although a flawed analysis conducted limited to the use of talc dusted diaphragms and ovarian
 cancer conducted on behalf of the manufacturer reported an excess risk which was not


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 statistically significant, (13) it had several data extraction errors and was of lower
 methodological quality. (43). Several independent meta-analysis by academic researchers, some
 of which include individual participant data, (10) and the most recent meta-analysis reported a
 statistically significantly increased risk of ovarian cancer associated with perineal talc use, (42)
 rendering the previous findings of Huncharek et al obsolete. The studies of the highest rated
 methodologic quality as shown in Table 1 which provides a methodologic grading of the quality
 of the included systematic reviews using the AMSTAR checklist have reported a statistically
 significantly increased risk of ovarian cancer associated with genital talc use. (10, 41, 42). See
 Section IX.IV for a summary of findings from epidemiological studies.
 2.     Consistency and Replication. These findings of a statistically significantly increased risk
 of ovarian cancer with talc use have been consistently replicated by several independent
 investigators in different population, and different settings across different data sources using
 different study designs. These slight differences in magnitude of risk reflect differences in
 inclusion or exclusion criteria and the accumulation of evidence over time. The meta-analysis of
 case-control studies has consistently shown a statistically significantly increased risk, whereas
 the meta-analysis of cohort studies has also shown an excess risk, (42) which failed to reach
 statistical significance, due to inadequate statistical power and low number of events; but the
 confidence intervals of results between the two study designs overlap providing evidence of
 consistency. The number of ovarian cancers in the case-control studies exceeds the number of
 ovarian cancers in the cohort studies by several fold. (42).
 3.     Strength of Association. The cumulative strength of association for the increased risk of
 ovarian cancer associated with talcum powder containing products is significant and ranges
 from 30 % to 60% %. The strength of association is similar to estimates of other established
 carcinogens (e.g., 24 % increased risk of lung cancers in non-smokers exposed to environmental
 tobacco smoke) (44), hormone replacement therapy and breast cancer (RR 1.33, 95% CI: 1.24-
 1.44) (45), particulate matter and lung cancer (PM2.5: RR 1.09, 95% CI: 1.04, 1.14 and PM10: 1.08,
 95% CI: 1.00-1.17). (46). Beyond carcinogens, there are well established examples of causal
 associations in epidemiology, such as in the case of particulate matter and myocardial infarction,
 where the statistically significant excess risks are in the order of even less than a percent (carbon
 monoxide: 1.048, 95% CI: 1.026-1.070; nitrogen dioxide: 1.011, 95% CI, 1.006-1.016; sulfur dioxide:
 1.010, 95% CI: 1.003-1.017; PM(10): 1.006, 95% CI: 1.002-1.009; and PM(2.5): 1.025, 95% CI: 1.015-
 1.036 and ozone: RR 1.003, 95% CI: 0.997-1.010; P = .36). (47).
 4.     Exposure-Response Assessment. The assessment of exposure–response or biological
 gradient is hindered by the difficulty in quantifying talcum powder use usually collected by



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 self-reported data (frequency, amount, and duration), timing and patterns of use (e.g.,
 douching), and other individual factors (e.g., co-existence of inflammatory conditions such as
 endometriosis and or vaginal bleeding) resulting in differences in measurement of exposure
 across studies. As discussed in the dose-response summary of epidemiological studies below,
 some studies have measured the frequency of exposure, others the duration of exposure with
 few studies measuring the combined duration and frequency or intensity of exposure. (48). It is
 important to interpret the exposure-response data in the context of mechanistic studies which
 report that talc accelerates the development of ovarian cancer through alteration of the redox
 state in epithelial ovarian cancer cells, (49) and a monotonic dose-response curve may not
 accurately reflect this mechanism of development of ovarian cancer mediated via inflammation
 and alterations in redox states. Some epidemiologists have argued that it is difficult to know
 how dose-response should be modelled and it is unclear why nature would mandate a
 monotonic dose-response gradient. (50). Although it is difficult to know how to model the talc-
 ovarian cancer exposure-response assessment, it is possible that an agent which accelerates the
 development of cancer could account for threshold effects rather than monotonic dose-response
 effect. Despite these challenges, I address studies which have shown evidence of dose-response
 as measured by an increased risk with increased frequency, (48, 51-55) or increased duration,
 (52, 54, 56) or a combination of frequency and duration of exposure. (52, 57). Some studies have
 also shown evidence of increased risk with increased number of lifetime applications, (10, 48,
 52) which may be a more accurate measure for long term exposure outcome association
 mediated via inflammation. The most updated meta-analysis reported an increased risk with
 >3600 lifetime applications compared to <3600 lifetime applications of perineal talc based on
 data from case-control studies. (42). A limited number of studies have shown no evidence of
 dose-response either with increased frequency or duration of exposure. (58-60).
 5.    Retrograde Migration of Talc and Routes of Talc Exposure. Talcum powder particles
 can migrate to the fallopian tubes and ovaries. (61-63). Talc and/or other constituents have been
 detected within the ovaries of women who report perineal talc use, (64) and found deeply
 embedded within ovarian tumors. (62, 65). Talc has also been reported in the lymph nodes which
 could occur through migration absorption or inhalation with transport through the lymphatic
 system. (66). Although an industry funded study performed by the Cosmetic, Toiletry, and
 Fragrance Association failed to detect translocation of “measurable quantities of talc” in
 unrelated monkey models, (67) the timing and techniques of assessment and intraspecies
 differences could not completely rule out migration of talc particles. Furthermore, supportive
 evidence for migration comes from the findings of a decreased risk of ovarian cancer with tubal



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 ligation and hysterectomy, (62) evidence of migration of other particles such as starch. (68). The
 FDA concluded that the “potential for particles to migrate from the perineum vagina to the
 peritoneal cavity is indisputable.” (69). A secondary route of exposure is inhalation. (36, 70).
 6.     Multiple Biological Mechanisms of Talc Induced Ovarian Cancer. Although not an
 absolute requirement for demonstrating causality, there is strong evidence that talcum powder
 products can induce ovarian cancer through established biological mechanisms (Section X). (39,
 49, 71, 72). Inflammation plays a leading role in ovarian cancer and talc has pro-inflammatory
 effects; it also induces alterations in redox potential and pro-oxidant effects. (49) In ovarian cells
 talc has been shown to increase proliferation, increase neoplastic transformation and increase
 reactive oxygen species in the ovarian cells. (71). Talc has also been shown to be mutagenic in
 human ovarian epithelial cells through increased activation of gene activating transcription
 factors. Finally, the presence of asbestos and other Group 1 carcinogens likely contributes to the
 carcinogenicity of talcum powder products, and provides biologic plausibility for the consistent
 and significant increased risk seen in the epidemiologic studies on Talc and Ovarian cancer.


 VIII. METHODS          FOR      THE      OVERVIEW         OF     SYSTEMATIC          REVIEW        OF
        OBSERVATIONAL STUDIES OF GENITAL TALC USE AND OVARIAN CANCER.


 I conducted an overview of systematic reviews and meta-analysis of observational studies of
 genital talc use and ovarian cancer. I included systematic reviews regardless of the performance
 of quantitative synthesis as meta-analysis may occasionally not be performed for data from
 observational studies. To inform the causal question, I also evaluated additional studies which
 provided evidence on the causal question of whether talcum powder products induce ovarian
 cancer. I critically appraised the meta-analysis using the 11- item AMSTAR (Assessing the
 methodologic quality of Systematic Review) checklist for systematic reviews and meta-analysis.
 (12) The individual epidemiological studies were also evaluated and summarized for their key
 strengths and limitations.


 VIII.I. Systematic search. I performed an initial systematic search of Scopus and PubMed with
 the following search terms on June 12, 2017:


        Pubmed:       ("talc"[MeSH Terms] OR "talc"[All Fields]) AND ("ovarian
                      neoplasms"[MeSH Terms] OR ("ovarian"[All Fields] AND "neoplasms"[All




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                       Fields]) OR "ovarian neoplasms"[All Fields] OR ("ovarian"[All Fields]
                       AND "cancer"[All Fields]) OR "ovarian cancer"[All Fields])

        Scopus:        (TITLE-ABS-KEY (talc) AND TITLE-ABS-KEY (ovarian AND cancer)


 VIII.II Eligibility Criteria. I included and considered epidemiological studies, including case-
 control studies, cohort studies and systematic review and meta-analysis which reported on the
 association between talc and ovarian cancer. I searched the references of included studies and
 citing articles to find additional original articles. I also included in vitro, animal, and human
 epidemiologic studies that reported data that either support or refute the role of talc in the
 development of ovarian cancer. I excluded duplicate articles identified in the two databases,
 articles with no original data, narrative reviews, commentaries and opinion pieces , and citations
 not relevant to the present scenario. The title and abstracts of each manuscript were reviewed to
 identify potential studies for inclusion in this report. I also searched the reference of included
 studies to find relevant citing articles. New studies were identified after evaluating citing
 articles. I reviewed the full length of each of these manuscripts and provide a summary of their
 key findings below.


 IX.    RESULTS.


 The results of the initial search yielded 273 citations. I included 9 studies in the section on
 overview of systematic reviews and meta-analysis. (10, 13, 39-42, 57, 73, 79 ). I also assessed the
 29 case-control studies, (48, 51-60, 62, 66, 75-91) and 3 cohort studies (14, 17, 92-93). The list of
 excluded citations is shown. The difference in the citation count of included and excluded
 articles largely reflects excluded duplicate articles retrieved from the two databases. I also
 evaluated several studies (36, 37, 49, 64-68, 72, 94-109) which reported on the biological
 mechanisms that supported or refuted the causal association between talcum powder products
 and ovarian cancer.


 IX.I. Overview of Systematic Reviews and Meta-analysis. Three meta-analysis were not
 preceded by a systematic search (57, 73, 79). There were 4 systematic reviews and meta-analysis
 which evaluated the link between perineal talc use and ovarian cancer (39-42) using summary
 data, while an individual participant data analyses pooled data from case-control studies in the
 Ovarian Cancer Consortium (10). Another systematic review and meta-analysis analysis
 conducted on behalf of the manufacturer only evaluated the use of cosmetic talc on


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 contraceptive diaphragms and ovarian cancer (13) and was not directly relevant to the causal
 question of genital talc use and the development of ovarian cancer, but was critically evaluated
 for strengths and weaknesses. The results of the methodologic assessment of each of these using
 the AMSTAR checklist is summarized in the Table 1. Two meta-analysis (13, 40) are of poor
 methodological quality. Regardless, the findings of older meta-analysis have been superseded
 given the publication of new meta-analysis. (41, 42).



 1.     In 1992, Harlow et al. combined crude odds ratios from their case-control study,
 discussed below with 5 pre-existing existing case-control studies (79) to evaluate the association
 between perineal talc exposure and ovarian cancer. The studies included 1106 cases and 1756
 controls, with talc exposure reported among 50.7% of cases and 46.9% of controls. Using crude
 odds ratios from the individual studies, perineal exposure to talc was associated with a
 statistically significantly increased risk of ovarian cancer (OR 1.3, 95% CI: 1.1-1.6). Major
 limitations include the lack of a systematic search methodology.


 2.     A 1995, meta-analysis by Gross and Berg (39) was conducted on behalf of the
 manufacturer Johnson and Johnson. A search of PubMed issuing the terms “ovarian cancer” and
 “talc or cosmetic” identified 9 case-control studies and reported a statistically significant
 increased risk of ovarian cancer in both the crude odds ratio (1.27, 95% CI: 1.09-1.48) and
 adjusted odds ratio (1.31, 95% CI: 1.08-1.58). They also examined the odds ratio by tumor type
 and notes that all the analyses produced relative risks greater than 1 with confidence intervals
 that exceeded 1. Despite the statistically significantly increased risk seen in analyses, the authors
 concluded that the “literature does not unequivocally support the hypothesis…. But [does] suggest the
 possibility of an increased risk of ovarian cancer due to perineal talc use.” The description of study
 procedures was incomplete, and the search strategy was limited. The study was supported in
 part by the manufacturer.


 3.     Cramer et al. 1999 combined crude odds ratio data from their case-control study with pre-
 existing case-control studies in a meta-analysis of 14 total case-control studies, (57) and reported
 a statistically significant OR of 1.36 (95% CI: 1.24-1.49). The tests for statistical heterogeneity
 were not significant (p=0.085). Limitations include the lack of a systematic search.




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 4.     Huncharek, for his 2003 publication, conducted a meta-analysis of 16 studies including
 11,933 subjects. (40). They searched MEDLARS, Embase and Cancer Lit databases using search
 term “talc exp ovarian neoplasms.” They excluded studies on borderline tumors or those which
 did not report on types of perineal exposure (dusting vs sanitary napkins). The meta-analysis
 was conducted using adjusted measures of effect using the inverse variance method. It included
 15 population-based and 1 hospital-based study and excluded the 1983 Hartge study. (76). The
 pooled analyses yielded a significantly increased risk of ovarian cancer (RR 1.33, 95% CI: 1.16-
 1.45) associated with the perineal use of talc without evidence of statistical heterogeneity. Seven
 studies reporting on the number of talc applications per month were evaluated where the
 highest risk category (RR 1.21, 95% CI: 1.00-1.45) and lowest risk category (RR 1.83, 95% CI: 1.55-
 2.15) reported an increased risk. In sensitivity analyses, hospital-based studies showed no
 statistically significant excess risk between talc use and ovarian cancer risk, i.e., RRs 1.19 (95%
 CI: 0.99-1.41) versus population-based studies which showed an increased risk (RR 1.38, 95% CI:
 1.25-1.52), despite the proportion of controls using talc being similar across the two designs. The
 confidence intervals were overlapping suggesting that the findings were consistent. Recent
 updated meta-analysis discussed below report similar estimates from hospital and population
 based studies. (42). The RRs were relatively stable even after exclusion of the single cohort study
 or limiting the analysis to studies that controlled for body weight and BMI. The authors stated
 that the association between talc use and ovarian cancer could also be attributed to exposure
 misclassification among prevalent cases or side effects of treatment such as radiotherapy and
 chemotherapy which may predispose to talc use (“reverse causality”). Study limitations include
 the inability to conduct meaningful dose-response analysis because only nine of the 16 studies
 provided data on dose-response, with substantial differences in dose stratification levels among
 these studies.


 5.     Langseth reported on a meta-analysis of 20 case-control studies and one cohort study in
 2008. The various case-control studies provided a significant excess risk (10 studies) and non-
 significant excess risk in 10 studies. (73). The prospective cohort study reported no association
 between cosmetic talc use and all types of ovarian cancer combined but showed evidence of an
 increase in serous tumors. The hospital-based case-control studies reported a pooled OR of 1.12
 (95% CI: 0.92-1.36) and population-based case-controls studies reported a pooled OR of 1.40
 (95% CI: 1.29-1.52). The combined OR from all case-control studies using the fixed effects model
 was 1.35 (95% CI: 1.26-1.46).




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 6.     Terry et al conducted an individual participant pooled analysis of eight case-control
 studies was conducted by the investigators for the Ovarian Cancer Consortium. (10). Genital
 powder use was defined as any powder use (talc, cornstarch, deodorizing) applied directly or
 indirectly (with sanitary pads, tampons or underwear) to genital, perineal or rectal area. Criteria
 for exposure varied from ever use to one year or longer. Women who reported both genital and
 non-genital powder use were considered genital users. Cumulative exposure was calculated by
 multiplying months of use by frequency of use. Never users and women who reported non-
 genital powder use were considered as the reference group. Analyses were adjusted for
 potential confounders such as age, duration of contraceptive use, parity, tubal ligation history,
 BMI and race/ethnicity. Family history of breast and ovarian cancer was not included in the final
 model. Genital powder use was reported in 25% of controls and 31% of cases. The rates of genital
 powder use varied widely between studies ranging from 15-45% in the control group. Ever
 regular uses of genital powder reported a statistically significantly increased risk of ovarian
 cancer (OR 1.24, 95% CI: 1.15–1.33) compared to non-users. There was no evidence of
 heterogeneity in the studies regardless of the reference group (Pheterogeneity=0.61). Results were
 similar when the reference group included those with genital powder use and never users. Risk
 was elevated for various histologic subtypes of ovarian cancer including invasive serous (OR
 1.20, 95% CI: 1.09–1.32), endometrioid (OR 1.22, 95% CI: 1.04–1.43), and clear cell (OR 1.24, 95%
 CI: 1.01–1.52) tumors, and for borderline serous tumors (OR 1.46, 95% CI: 1.24–1.72). There was
 an increased risk of all nonmucinous subtypes of epithelial ovarian cancer combined across
 quartiles of genital powder use compared with nonuse: (ORQ1 1.18, 95% CI: 1.02–1.36; ORQ2 1.22,
 95% CI: 1.06–1.41; ORQ3 1.22, 95% CI: 1.06–1.40; ORQ4 1.37, 95% CI: 1.19–1.58). Although a
 signiﬁcant increase in risk with an increasing number of genital powder applications was found
 for nonmucinous epithelial ovarian cancer when nonusers were included in the analysis (P trend
 < 0.0001), no significant trend was seen when analyses were restricted to ever users (P=0.17).
 After excluding those with tubal ligation or hysterectomy, the results were similar. Restricting
 analysis to applications before tubal ligation made no substantive difference. There was an
 evidence of interaction by BMI, with the risk being higher for women with BMI < 30 kg/m2 (OR
 1.28, 95% CI: 1.17-1.39) than women with BMI ≥ 30 kg/m2 (OR 1.14, 95% CI: 0.98-1.32;
 Pinteraction=0.01). There was no evidence of interaction by tubal ligation, parity, endometriosis or
 post-menopausal status. The association was similar for women who used powder during
 varying time periods (1952-1961; 1962-1972; and after 1972). The strengths of this meta-analysis
 include the use of individual participant data, which allowed them to conduct dose-response
 analysis and analysis by histologic subtype. The lack of statistically significant evidence on non-



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 mucinous cancer could be attributed to the low number of users, or talc may not be relevant to
 these tumor types which have different biological mechanisms. The limitations include the
 definition of exposure as genital powder user varied from ever user, ever regular user to powder
 use for at least 6 months or at least 1 year in the studies.


 7.     Berge et al. 2018, a meta-analysis of 27 studies (41) (24 case-control studies and 3 cohort
 studies) was conducted according to the Preferred Item for Reporting of Systematic Reviews
 and Meta-Analysis Guidelines. (110). The authors searched multiple databases including
 Pubmed, Embase and Scopus. They examined the citations independently and in duplicate.
 They rated the studies using the New Castle Ottawa scale for study quality. They conducted
 meta-regression for duration (RR for every 10-year increase in duration) and frequency of
 genital talc use (RR for one time/week increase in frequency) for studies reporting at least three
 categories of duration or frequency after excluding the non-exposed category. Dose-response
 analysis was conducted using two methods. Study specific slopes were estimated from the
 natural logarithm of the risk estimates within each study; in a second step the slopes were
 pooled using a random-effects model. The study specific estimates were pooled in a single meta-
 analysis in the second method. Six of the case-control studies were hospital-based and the
 remainder were population-based. Most of the studies were conducted in North America and
 Europe. They reported a statistically significant increase in risk of developing ovarian cancer
 with talc use (adjusted RR 1.22, 95% CI: 1.13-1.30). A statistically significant risk was seen in the
 case-control studies (RR 1.26, 95% CI: 1.17-1.35), whereas the excess risk in the cohort studies
 did not reach statistical significance (RR 1.02, 95% CI: 0.85-1.20; Pheterogeneity = 0.007). There was no
 difference between results for borderline (RR 1.27, 95% CI: 1.09–1.44) and invasive ovarian
 cancer (RR 1.20; 95% CI: 1.08–1.31). There was a trend in RR with duration and frequency of
 genital talc use and suggestion of dose-response. There was a statistically significant risk for
 only serous carcinoma (RR 1.24, 95% CI: 1.15–1.34) and no other histologic subtypes (Pheterogeneity
 between histologic types was 0.04). Use of talcum powder in the “early” period showed
 increased risk of ovarian cancer (RR 1.18, 95% CI: 0.99–1.37). The use in the “late" period was
 higher (RR 1.31, 95% CI: 1.03–1.61; P-value for test for heterogeneity between the groups of
 studies was 0.37), arguing against the hypothesis that a higher risk would be seen only among
 those with earlier exposure during time-periods in which talcum powder was reported to
 contain asbestos. The cut-off points varied between studies was variable between 1970 and 1980.
 Use of sanitary napkins or diaphragms was not associated with an increased risk of ovarian
 cancer (RR 1.00: 95% CI: 0.84–1.16, and RR 0.75, 95% CI: 0.63–0.88, respectively).



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 Stratified analysis based on the adjustment for confounders (use of oral contraceptives and
 hormone replacement therapy, socioeconomic status/ education, BMI) found no evidence of
 heterogeneity. Meta-regression using the two different approaches yielded similar results.
 Based on the two-step approach, a 10-year increase in genital talc use was associated with a RR
 of 0.97 (95% CI: 0.82–1.12; nine studies reporting on duration), whereas the RR for an increase
 of one application per week was 1.03 (95% CI: 0.82–1.25; five studies reporting on frequency).
 There was no evidence of publication bias on visual inspection of funnel plot and the Egger test
 (P=0.7), with the cumulative meta-analysis reporting stabilization RR of in the range of 1.20–
 1.25. Stratified analyses conducted did not suggest the possibility of residual confounding (i.e,
 higher adjusted estimates than unadjusted estimates).


 There are some limitations to the analysis. While the role of selection and recall bias is a
 possibility, given higher estimates reported from recent studies, such biases should account for
 increase in recall for all histologic cancer subtypes and not just serous ovarian cancer.
 Importantly, the dose-response analyses analyzed duration and frequency separately and not
 the intensity of exposure (duration combined with frequency) or cumulative exposure to talc
 and the exclusion of the reference category from the dose-response curve diminished the power
 of the dose response analysis to detect any threshold effects.


 8.     Penninkilampi, et al. 2018 (42), the most recent and comprehensive meta-analysis which
 focused on studies with greater than 50 cases of ovarian cancer also reported on data from 26
 case-control studies (13,421 cases and 19,314 controls) and 3 cohort studies (890 cases). The study
 was also conducted according to the PRISMA protocol and included a search of multiple
 databases (MEDLINE, PubMed, EMBASE, Cochrane Central Register of Controlled Trials) and
 LILACS. They also evaluated the quality of studies using the Newcastle Ottawa Scale. They also
 evaluated long term talc use in which OR were extracted for group with the longest duration of
 exposure compared to controls, if there was a minimum of 10 years of talc exposure. Lifetime
 applications within each study were divided into < 3600 lifetime applications (equivalent to less
 than 10 years) and >3600 applications or more than 10 years of exposure. The number of lifetime
 applications is a better marker of intensity of exposure compared to duration or frequency of
 exposure alone. They assessed publication bias using the failsafe method where the failsafe
 number is the number of studies missed to nullify the findings of meta-analysis.




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 This was a well-conducted analysis and some strengths and limitations are notable. They found
 all studies to be of reasonable quality and did not exclude studies based on study quality. None
 of the analyses in this review had statistically significant heterogeneity except for non-perineal
 application arguing for the consistency of estimates. Any perineal talc use was associated with
 an increased risk of ovarian cancer (OR 1.31, 95 % CI: 1.24-1.39). Greater than 3600 lifetime
 applications were more associated with ovarian cancer than lifetime applications of less than
 3600, although risks were significantly elevated in both groups. While the case-control studies
 reported a statistically significantly increased risk of ovarian cancer (OR 1.35, 95% CI: 1.27-1.43),
 the cohort studies reported an increased risk which was not statistically significant (OR 1.06, 95
 % CI: 0.90-1.25).


 9.     Meta-analysis on Talc-Dusted Diaphragms and Ovarian Cancer. Another meta-analysis
 of 9 case-control studies by Huncharek et al. (13) reported on exposure to talc dusted
 diaphragms and ovarian cancer. On one hand, the authors dismissed the “talc hypothesis” for
 potential carcinogenicity, but then argued that talc dusted diaphragms was a more “intuitive
 model” for testing whether talc exposure increased the risk of ovarian cancer without any
 biological evidence (or references) to support this intuition. They searched MEDLARS, Cancer
 Lit and Current Contents. They included 9 studies and the pooled analyses yielded an excess
 risk of ovarian cancer which was not statistically significant (RR 1.03, 95% CI: 0.80-1.33).
 Exclusion of the study in which exposure to dusted diaphragms was assumed rather than
 measured further elevated the OR, which was not statistically significant (OR 1.12, 95% CI: 0.84–
 1.48) similar to a non-significant elevation in OR after the exclusion of the studies not published
 as full research articles.


 This meta-analysis was flawed for several reasons. The most important limitation was its
 exclusive focus on talc powder dusted diaphragms as the route of exposure which could not
 inherently address the causal question of whether genital talcum powder dusting is associated
 with increased risk of ovarian cancer. As a result of this narrow hypothesis, they excluded
 several available studies that reported a statistically significant excess risk of ovarian cancer with
 perineal talc use. Several methodological flaws include the exclusion of the lowest category of
 exposure for some studies, (51) data extractions errors for others (56), and inclusion of ineligible
 studies that did not disaggregate data between talc and cornstarch users. (77) The study was by
 Johnson & Johnson and Luzenac America and was of poorer methodological quality than those
 conducted by their academic counterparts (43). As a result of these serious methodological



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 flaws, and the publication of several newer, higher quality meta-analysis with updated data,
 (10, 41, 42) the findings of this study have been superseded.


 It is important to note here that while the AMSTAR checklist evaluates the methodologic quality
 of systematic reviews, several studies shown below were published prior to the publication of
 the AMSTAR checklist.


 IX.II. Case-Control Summaries.
 1.     More than three decades ago Cramer et al. (75) evaluated 215 white women diagnosed
 with epithelial ovarian cancer identified through 12 hospitals in the greater Boston area. They
 were randomly matched by age, race and residence to 215 population-based controls. Surgical
 specimens were reviewed to confirm and classify tumors by histologic type. Talc exposure was
 determined through in person interviews. Multivariable logistic regression was used to
 estimate the Relative Risk. Ninety-two (42.8%) cases regularly used talc either as a dusting
 powder on the perineum or on sanitary napkins compared with 61 (28.4%) controls.

 Adjusted for parity and menopausal status, this difference yielded a RR of 1.92 (95% CI: 1.27-
 2.89) for ovarian cancer associated with talc exposure. Women who had regularly engaged in
 both practices had an adjusted RR of 3.28 (95 % CI: 1.68-6.42; P < 0.001) compared to women
 with neither exposure. After adjusting for religion, marital status, educational levels, ponderal
 index, age at menarche, parity, oral contraceptive or menopausal hormone use and smoking
 the RR was attenuated but remained statistically significant (RR 1.61, 95% CI: 1.04-2.49). The
 limitations of the study include the potential for selection bias in controls because of high rates
 of non-participation, although RR remained statistically significantly elevated even though the
 analysis was restricted to 121 cases matched with controls without a referral. Since
 approximately 50% of ovarian cancer cases in the Boston area was sampled, any potential for
 pervasive selection bias of cases was minimal. Other potential limitations include the
 adjustment for only a limited set of confounders such as parity and menopausal status.

 2.     Hartge et al. 1983 (76) conducted a hospital-based case-control study of women with
 pathologically confirmed primary epithelial ovarian cancers matched to equal number of
 women for conditions other than gynecologic, psychiatric, or malignant diseases or pregnancy
 in the same hospitals in Washington, DC. Controls were frequency matched for age, race and
 hospital. Exposure to talc was ascertained through questions about reproductive and sexual
 history, medical history, drug use, and other exposures. The questions for talc use were added
 after the study began yielding 135 cases and 171 controls.


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 Among the women users of talc in sanitary napkins, underwear, or the genital area there was
 an excess risk of ovarian cancer (unadjusted RR 2.5, 95 % CI: 0.7-10.0) which was not
 statistically significant due to small sample size (n= 7 cases and 3 controls). The limitations to
 the study include the limited number of cases and controls reporting genital use of talc (n=10)
 and publication as a letter to the editor which may or may not undergo peer review depending
 on editorial practices at the journal. They did not report adjusted results of ovarian cancer after
 perineal exposure to talc. Another limitation is the potential for recall bias; however, this was
 likely minimal given similar reporting of douching practices in cases and controls.

 3.     In 1988, Whittemore et al. (58) evaluated 188 pre-menopausal and postmenopausal
 women between the ages of 18 and 74 with primary epithelial ovarian cancer in Santa Clara
 County hospitals or at the University of California, San Francisco Medical Center. The
 diagnoses were subsequently histologically verified. One group of controls was selected from
 the hospital (n=280); and a second group was selected from the population using random digit
 dialing (n=259). Exposure to talcum powder products was determined through a structured in-
 person interview at home where subjects were asked about whether they had used talcum
 powder products on the perineum, sanitary pads and/or diaphragms. Data was recorded by
 type (perineum, sanitary pads, diaphragm or some combination thereof), and duration of use.

 Population cases were more likely to be younger and more likely to be premenopausal than
 cases and hospital-based controls. Approximately 52% of cases reported talc use compared to
 46% controls (RR 1.40, p=0.6). After adjusting for parity and oral contraceptive use, perineal
 use of talc was associated with an excess risk of ovarian cancer that was not statistically
 significant (RR 1.45, 95% CI: 0.812.60). Women who used talc an average of 1-20 times per
 month reported an excess risk in comparison to those who used it less frequently which was
 not statistically significant (RR 1.27, p=0.29). The risk among users of more than 20 times per
 month was 1.45 times greater than non-users, but the findings were not statistically significant
 (p=0.09). The overall increased risk in overall applications per month was 1.30 (p=0.19).
 Although the data showed a trend of increasing risk with increasing frequency of perineal
 exposure, the trends were not statistically significant and there was no trend with increasing
 duration of exposure. The risk of ovarian cancer with talc use between one and nine years was
 1.6 times the risk of those with a shorter duration (95% CI: 1.00-2.57; p=0.05), and the risk
 among those with more than 10 years of exposure was 1.11 higher than that of non-users (95%
 CI: 0.74-1.65; p=0.61).




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 The limitations of the study are the inability to interview cases and the choice of two controls.
 Some amount of non-differential misclassification of exposure may bias findings towards null.
 The dose-response analysis was limited by the inability to determine the combined effect of
 frequency and duration of exposure. The study reported a statistically increased risk of
 ovarian cancer with coffee consumption and a non-significant reduction in risk with smoking.
 Subsequent meta-analysis (111) or Mendelian randomization (112) studies have confirmed that
 there is no association between coffee consumption and ovarian cancer, whereas smoking has
 a heterogenous relationship to ovarian cancer which varies by histologic subtypes. (112) The
 reports of such additional spurious associations suggest an element of measurement error in
 their database.

 4.     Harlow et al. 1989 (77) conducted a population-based case-control study which
 included 116 females 20-79 years old h serous and mucinous borderline ovarian tumors identified
 using International Classification of Disease (ICD)-9 codes from the cancer registries of three
 western urban counties in Washington State. An independent pathology review confirmed
 diagnosis for 73% of tumors with 94% agreement, so the additional 33 cases were included. A
 sample of 158 controls of white women was identified through random digit dialing. Women
 with bilateral oophorectomy were excluded from the analysis. Any exposure to talc including
 any perineal exposure to powder, method of use, type of powder use (cornstarch, baby
 powder, talc, deodorizing powder), and combinations of method and type was ascertained
 through in-person interviews.

 The study reported no statistically significant increased risk of ovarian cancer with perineal
 use of dusting powders (RR 1.1, 95% CI: 0.7-2.1). When looking at unspecified talc adjusted for
 the same factors, the RR was 1.0 (95% CI: 0.4-2.4). However, women who reported any use of
 talc containing powder on sanitary napkins showed an excess risk which was not statistically
 significant due to limited statistical power (RR 2.2, 95% CI: 0.8-19.8). However, among the
 sample of women who used deodorizing powders alone or in combination with talc, the risk
 of ovarian cancer was RR 2.8 (95% CI: 1.1-11.7) attributed to the potential exposure to asbestos.
 The limitations to the study include the potential for selection bias since 30% of cases and
 controls did not participate, although their characteristics were like the included participants
 which may have limited any impact. It is also possible that these findings are limited to
 borderline rather than malignant ovarian cancers.

 5.     In 1989, Booth et al. (51) conducted a population-based case-control study of 280 cases
 of ovarian cancer in women under 65 years of age from 13 hospitals in London and two in



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 Oxford. 451 controls were selected from other hospitals as enough age-matched controls were
 unavailable. The study included both pre- and post-menopausal women. Ovarian cancer was
 determined through hospital diagnoses with pathological specimens being histologically
 classified. Serous tumors were most prevalent, though mucinous, endometroid and clear cell
 carcinoma was included. Information regarding talc exposure was obtained through a
 questionnaire and frequency of talc use was reported as never, rarely, monthly, weekly, or
 daily talc use.

 After adjusting for age and social class (based on occupation of the husband for married
 women, and their own occupation for women who were not married) talc users reporting use
 more than once a week had a higher risk compared to never users. (RR 2.0, 95 % CI: 1.3-3.4).
 Those who reported daily use also had a non-significantly higher risk (RR 1.3, 95% CI: 0.8-1.9).
 There was some amount of missing data (8% of cases and 4% of controls), and no consistent
 trend of increasing risk with increasing frequency of use. However, data was not available on
 the duration of talc exposure to conduct meaningful dose-response analysis.

 6.     In 1992, Harlow et al. (79) included 235 cases of white women between the ages of 18
 and 76 who had been diagnosed with ovarian cancer at one of 10 hospitals in the Boston
 metropolitan area. Controls were randomly selected from the town books; annual publication
 lists and address lists within 2 years of the age of case as potential controls. Cancer was
 confirmed through an independent pathology review. Talc exposure was determined through
 in-person interviews. Talc exposure from infancy with diapering, or use on other parts of the
 body, was not included. Talc use in other parts of body was considered unexposed. Talc use
 was reported as any genital application, type of application (sanitary napkin/underwear, via
 partner or application to diaphragm, via dusting to perineum), number of applications per
 month, years of use, age at first use, years since last use, whether use was before or after 1960,
 brand of application, estimated total lifetime applications, estimated applications excluding
 use after hysterectomy or tubal ligation, and estimated applications excluding use after
 hysterectomy or tubal ligation and use during nonovulatory months. The Chi square test for
 change in linear trend based on change in deviance in models.

 Most participants reported use of baby powder. Perineal talc use was associated with an
 increased risk for ovarian cancer (OR 1.5, 95% CI: 1.0-2.1) when adjusted for parity, education,
 marital status, religion, use of sanitary napkins, douching, age, and weight. Perineal use of talc
 via dusting powder to perineum was associated with a significantly increased risk of ovarian
 cancer OR 1.7 (95% CI: 1.1-2.7), whereas use by sanitary napkins, underwear, use via



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 diaphragms was not associated with a significantly increased risk. Adjusted risk was highest
 for endometrioid tumors (OR 2.8, 95% CI: 1.2-6.4) and borderline tumors. A greater proportion
 of women with endometroid tumors reported more than 10,000 lifetime applications of talc
 during ovulatory cycles while having an intact genital tract compared to other histologic types
 (34 % vs 16%, respectively). The risk of cancer increased significantly with increased frequency
 of applications per month using a linear test trend as a continuous variable. The risk was
 highest among the women who applied talc once daily relative to non-users. Women who
 applied talc for more than 10 years were at 60% greater risk for ovarian cancer relative to non-
 users. An 80% excess risk was associated with an estimated exposure of more than 10,000
 applications. The association between talc and ovarian cancer was greater than in talc products
 before 1960. Restricting the analysis to exposure during ovulatory months, women with intact
 genital tract and more than 10,000 applications during ovulatory cycles had a threefold
 increase in risk of ovarian cancer. Limitations included the high rates of non-response (n=31%
 cases and 19% of controls) and failure to adjust for family history of ovarian cancer and oral
 contraceptive use.

 7.     Chen et al. 1992 (78) evaluated 112 cases of ovarian cancer in Beijing China. The
 diagnosis was confirmed by laparotomy and pathological examination. Serous cancer
 accounted for 51% of cases, mucinous for 19%, and miscellaneous epithelial for 30% of cases.
 Two controls were matched for each case using random selection from the same street, office,
 or township. A comprehensive questionnaire was administered through face-to-face
 interviews and collected information about menstrual, obstetric, marital, medical, familial, and
 dietary histories with reference to events 3 years or more prior to diagnosis. A total of 224
 controls were selected. Talc exposure was measured through a yes or no metric, for exposure
 occurring 3 or years prior to date of diagnosis or equivalent date in controls. Logistic
 regression was conducted to estimate relative risk.

 The mean age of participants was 48.5 and 49 years among cases and controls respectively.
 After adjusting for education and parity, there was an excess risk of ovarian cancer associated
 with a history of long-term (>3 months) application of dusting powder to the lower abdomen
 and perineum (RR 3.9, 95% CI: 0.9-10.6) which was not statistically significant due to limited
 statistical power (n=7 cases and 5 controls reporting powder use). The limitations of the study
 include the small sample size, loss to follow up and death, the inability to fully ascertain all
 cases of ovarian cancer and the exclusion of controls with other health problems. Although the
 applicability of these findings from a Chinese population to a US population is limited, the




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 findings of an increased risk in different parts of the world provide evidence in support of an
 increased risk of ovarian cancer with dusting powder use.

 8.     In 1992 Rosenblatt et al. (80) conducted a hospital-based case-control study of the
 association between genital and respiratory talc exposure and the development of epithelial
 ovarian cancer at the Johns Hopkins Hospital. Among 140 diagnosed cases of epithelial
 ovarian cancer, approximately 108 were successfully interviewed. Seventy-seven
 pathologically-confirmed incident cases diagnosed within 6 months of admission were
 matched to age-race matched controls (n=46). Exposure was ascertained using a structured
 questionnaire administered at home and in the hospital. Conditional logistic regression was
 used to obtain strength of the association.

 Although genital powder use was not associated with an increased risk of ovarian cancer,
 statistically significant increased risk was observed for exposure to talc on sanitary napkins
 (OR 4.79, 95% CI: 1.29-17.79) after adjusting for confounders such as obesity, socioeconomic
 status, religion, reproductive status and oral contraceptive use, with a smaller risk after genital
 bath exposure (RR 1.7, 95% CI: 0.7-3.9). An excess risk of borderline significance was seen for
 exposure of ≥ 37.4 years (RR 2.4, 95% CI: 1.0-5.8). The limitations include the small sample size,
 lack of data on frequency of talc use, and the limited generalizability of the findings from one
 hospital. The control group also reported a very high rate of talc use (90%) which may have
 limited the ability to detect any differences.

 9.     In 1993, Tzonou et al. (81) reported on a hospital-based study of 189 women under 75
 years of age with histopathologically confirmed ovarian cancer in Athens, Greece compared
 with 200 hospital visitor controls in two hospitals. Control patients were those hospitalized in
 the same ward as cancer cases. Talc exposure was determined by asking participants to report
 talc use (over an extended period before the onset of illness for cases and for a comparable
 period among controls) among other characteristics, through interviews in the hospital. Talc
 use was reported as a yes/no metric. Estimates were adjusted for age, years of schooling,
 weight before onset of the disease, age at menarche, menopausal status and age at menopause,
 parity and age at first birth, tobacco smoking, coffee drinking, consumption of alcoholic
 beverages, hair dyeing and mutual (analgesics-tranquilizers/hypnotics) tranquilizers.

 An exceedingly small number of cases (n=6) and controls (n=7) reported perineal use of a talc.
 There was no statistically significant increased risk of ovarian cancer associated with perineal
 application of talc (RR 1.05; 95% CI: 0.28 to 3.98). The limitations of the study include the low




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 proportion of talc exposure, which was ascertained in only approximately 3% of cases and
 controls.

 10.    In 1995, Purdie et al. (82) evaluated 824 histologically confirmed cases of epithelial
 ovarian cancer and 860 controls from gynecological oncology treatment centers in the three
 most populous Australian states. Controls were selected from electoral rolls in Australia where
 electoral participation is mandatory using a random procedure to match the age distribution of
 cases. Talc exposure was determined through face-to-face interviews conducted by trained
 interviewers using a standard questionnaire.

 After adjusting for parity, there was a statistically significant increase risk of ovarian cancer
 reported with talc use on the abdomen or perineum (OR 1.27, 95% CI: 1.04-1.54). The
 limitations include high non-response rates in controls which may differ from the source
 population, but the age distribution of controls was like non-responders suggesting minimal
 response bias by age. There is also the possibility of bias in the selection of cases. They only
 adjusted for a limited set of confounders. Some misclassification of outcome is also possible
 given borderline and malignant cases were lumped together, although no differences were
 found when results were analyzed separately. Recall and interviewer bias was minimized by
 trained interviewers who administered standardized questionnaires.

 11.    In 1996 Shushan et al. (83) reported on findings from a study of two hundred living
 cases aged 36-64 years with history confirmed diagnosis of primary invasive or borderline
 invasive ovarian cancer in the Israel Cancer registry. There were 408 women from the same
 area selected by random digit dialing. Both were interviewed using standardized
 questionnaires.

 A larger proportion of cases than controls reported using moderate to a large amount of talc
 (10.5% vs 5.6%; P=0.04) compared to never users or seldom users, a difference which was
 statistically significant. Limitations include high refusal rate for cases (30%), the low rates of
 talc exposure among controls and limited adjustment for confounders. (14)

 12.    In 1997, Cook et al. (84) reported on 329 white women between the ages of 20-79
 diagnosed with epithelial and borderline ovarian cancer identified through the Cancer
 Surveillance System of Western Washington. Women were randomly selected as controls
 using random digit dialing from a larger pool of women for cancer studies. Genital powder
 exposure was collected through structured in person interviews and reported as any lifetime
 powder application, method of use (perineal dusting only, diaphragm only, sanitary napkin
 only, or genital deodorant spray only). Additional exposure information included cumulative


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 lifetime days of use for dusting and similar metrics for other methods of use. Genital powder
 use was also separated into use of talcum powder, baby powder, cornstarch, deodorizing
 powder, bath/body powder, or unspecified powder. Analysis was presented by age because
 adjustment for other confounders such as income, marital status, body mass index, oral
 contraceptive or parity did not change results.

 Genital powder exposure was more common among cases (50.8%) than controls (39.3%). After
 adjusting for age, any use of genital powder was associated with a statistically significant
 increased of ovarian cancer (RR 1.5, 95% CI: 1.1-2.0) compared to non-use, although there was
 no clear pattern of increasing risk after increasing duration of use. After adjusting for age,
 exclusive use of perineal dusting was also associated with a statistically significant increased
 risk of ovarian cancer (RR 1.8, 95% CI: 1.2-2.9), whereas the risks for use via other routes of
 exposure (e.g. diaphragms, powder) were not significant. There was a statistically significant
 increased risk of serous tumors associated with any genital powder application (RR 1.7, 95%
 CI: 1.1-2.5), but not for the smaller number of mucinous or endometroid tumors. Limitations
 include low participation rates (64.3% for cases, 68% for controls), the potential for recall bias,
 and confounding by family history of ovarian cancer in a study where more than 50% of
 controls were less than 45 years of age.

 13.    In 1997, Chang et al. (56) conducted a population-based case study of cases of
 borderline and invasive histologically confirmed ovarian cancer among participants aged 35 to
 79 years from Canada. Talc exposure was determined through a questionnaire conducted
 during an in-home in person interview to detail medical and reproductive histories. Powder
 use was reported as talc, cornstarch, or a mixture. Information was provided for type of
 exposure, number of uses per month, years of use, years of use pre- and post-1970, and well as
 years of use before and after a tubal ligation or hysterectomy. They adjusted for age, years of
 oral contraceptive use, number of full-term pregnancies, duration of breastfeeding per
 pregnancy, tubal ligation, hysterectomy, and having a mother or sister with breast or ovarian
 cancer.

 Talc exposure was reported in 44% of cases and 35.6% of controls. After adjusting for
 confounders there was a statistically significantly increased risk of ovarian cancer associated
 any talc exposure via sanitary napkins, direct application to the perineum or both (OR 1.42,
 95% CI: 1.08-1.86). The dose-response analysis showed a borderline-significant association was
 detected between duration of after-bath talc exposure and risk (OR 1.09, 95% CI: 0.98-1.21, per
 10 years of exposure), without any significant association between frequency of exposure and



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 risk. Although risk was elevated for both invasive and borderline carcinomas, it was
 statistically significant only for invasive carcinoma. The limitations of the study include the
 potential for recall bias and the high rates of non-response (28.7% for cases and 35.5% for
 controls)

 14.    Green et al. 1997 (62) conducted a population based case-control study of 824 women
 aged 18-79 with histologically confirmed ovarian cancer compared to 824 controls. The
 methods and limitations were similar to the study by Purdie et al. (82). The prevalence of talc
 use was approximately 40% in the control use. Perineal talc was significantly associated with
 ovarian cancer (RR 1.3, 95% CI: 1.1-1.6), without any effect of longer duration of talc use.
 Compared to women who had neither used talc nor had sterilization, the risk was highest
 among talc users without surgery like the findings by Whittemore et al. (58). There is the
 potential for recall bias, and the quantity of talc use was unknown.

 15.    In 1998, Godard et al. (85) examined 170 French-Canadian women with a histologic
 diagnosis of ovarian cancer from 2 large Montreal teaching hospitals. Cancer diagnoses were
 histologically confirmed, and pathology reports were reviewed for tumor classification. 170
 population-based controls were identified using modified random digit dialing to match the
 age distribution of cases. Talc exposure was obtained through a 57-item questionnaire. 70% of
 interviews were conducted in person in clinics and 30% were conducted via phone. Talc use
 was reported through an ever/never metric for perineal use.

 Only 10.6% of cases and 4.7% of controls reported talc use. As a result, perineal talc use was
 associated with an increased risk for ovarian cancer which was not statistically significant (RR
 2.49, 95% CI: 0.94-6.58; P = .066) because of limited statistical power. Similar patterns of excess
 risk which did not reach statistical significance were seen in both the comparisons for sporadic
 and familial cases and controls. The limitations of the study include a modest non-response
 rates among cases (13%) and controls (10.7%).

 16.    In 1999, Cramer et al. (57) evaluated 563 ovarian cases identified through tumor boards
 and statewide cancer registries in Massachusetts or New Hampshire in a population-based
 control study. Pathology reports were reviewed, and slides were sought in any case where
 there was a discrepancy between histologic description and final diagnosis. Controls were
 selected from the population using random digit dialing with a response rate of 72% among
 eligible controls. Talc exposure was obtained through questionnaires in which potential
 controls and cases were blinded. Specific hypothesis regarding talc use were not discussed.
 Exposure was assessed prior to 1 year before date of diagnosis or date of interview for



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 controls. Talc use in the genital or rectal area, on sanitary napkins and on underwear was
 considered as exposure whereas non-use and non-genital use was considered as unexposed.
 Exposure from condoms and diaphragms was not assessed.

 Genital talc exposure was reported in 27% of cases and 18.2% of controls and the average
 duration of talc use exceeded more than 20 years in cases and controls. There was a statistically
 significantly increased relative risk of ovarian cancer with genital talc exposure 1.60 (95% CI:
 1.18-2.15) after adjusting for age, study center, tubal ligation, BMI, parity, or primary relative
 with breast or ovarian cancer. The highest risk was seen among women whose age at first use
 was between 20 and 25 (RR 1.87, 95% CI: 1.03-3.39) those who have used talc for less than 20
 years (RR 1.86, 95% CI: 1.16-3.00), those whose total applications is less than 3000 (1.84, 95% CI:
 1.12-3.03), women who used talc when nulliparous (RR 2.80, 95% CI: 0.64-12.20), and those
 with serous invasive tumors (RR 1.70, 95% CI: 1.22-2.39). Only one case and 3 controls reported
 primarily using cornstarch, these numbers are likely accurate for talc use, despite the potential
 for including other kinds of powders. There was little evidence of effect by confounders such
 as age, oral contraceptive use and parity. Linear trends were significant in models that
 included women who were not exposed without any clear trend in duration or intensity of
 exposure in models that excluded women who were not exposed. Analysis of dose-response
 censured after closure of female tract or non-ovulatory cycles, and models showed a trend this
 was statistically significant only after inclusion of non-genitally exposed categories
 (Ptrend=0.022).

 Potential limitations include the potential for recall bias, although this is likely to be minimal
 and more likely to occur for short term exposures rather than long term exposures. The
 evidence for substantial degree of recall bias is refuted by the findings that there is no evidence
 of higher proportion of perineal talc exposure reported among cases in more recent compared
 to older studies to suggest stimulated reporting, no evidence of significant excess of non-
 genital talc exposure among cases, and the excess is limited to invasive serous carcinoma,(84)
 rather than all types of ovarian cancer or endometrial carcinoma.

 17.    In 1999, Wong et al. (86) reported-on a hospital-based study of 499 patients with
 epithelial ovarian cancer and 775 age-matched controls with non-gynecologic cancer
 diagnoses. Cancer diagnoses were confirmed in the cancer registry. Exposure was ascertained
 through self-administered questionnaire in which approximately 15% of participants did not
 respond to questions about talc use or its frequency.




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 Talc use was reported by 47.8% of cases and 44.9% of controls. Genital talc use was reported
 by 34% of cases and 32.2% of cases. The mean duration of talc use was 22 years in controls and
 21 years in the study population. After adjusting for age at diagnosis, parity, oral contraceptive
 use, smoking history, family history of epithelial ovarian cancer, age at menarche, menopausal
 status, income, education, geographic location, history of tubal ligation, and previous
 hysterectomy there was no statistically significant increased risk of ovarian cancer among ever
 users of talc (OR 0.92, 95% CI: 0.24-3.62). There was no significant association between
 duration of use and development of ovarian cancer even after prolonged exposure of more
 than 20 years. However, when evaluating genital talc use via histologic subtypes of cancer, all
 ORs were above 1 (except for undifferentiated carcinoma) but were not statistically significant.
 Similarly, those who had no history of genital tract interruption the ORs were elevated but not
 statistically significant. However, the study was limited by the non-response rate and the
 choice of a controls with malignancies. (113). Additionally, data on exposure were reported on
 a self-administered questionnaire rather than administered by interviewers. The results could
 not rule out the effect of talc exposure via condom use and data was not available on the
 frequency of talc use.

 18.    Ness et al. (87) conducted a population-based control study. Cases (20-69) years of age
 with recent diagnosis of ovarian cancer ( n=) were compared with community-based controls
 65 years or younger through random digit dialing. Controls were age-matched as well as
 matched by last 3 digits of the phone number. Approximately 72% of controls were selected.
 As a part of detailed interviews with calendars women were asked about their reproductive
 history including talc use. The question was, “As an adult and prior to [reference date] did you
 ever use talc, baby or deodorizing powder, at least once per month for 6 or more months on
 your: 1) feet, arms, or breasts, but not the genital or rectal areas? 2) genital or rectal area? 3) on
 your sanitary napkins? 4) on your underwear? 5) on your diaphragm or cervical cap?” They
 were then asked whether they had a male sexual partner(s) for more than a year who regularly
 used such products on his genital area or underwear. The duration of use of talc for each of
 these modes of use was also queried. The estimates were analyzed using conditional logistic
 regression after adjusting for age and gravidity (each as continuous variables), race
 (white/black/other), history of ovarian cancer in any first degree relative (yes/no), oral
 contraceptive use (yes/no), tubal ligation (yes/no), hysterectomy (yes/no), and breast-feeding
 (yes/no).

 Talc use was reported in 53.2 % of controls. Compared to never talc use, talc use on all parts of
 the body (OR 1.4, 95% CI 1.1-1.6), genital/rectal ( OR 1.5, 95% CI 1.1-2.0) on sanitary napkins


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 OR 1.6, 95% CI 0 1.1- 2.3) and underwear OR 1.7, 95% CI. 1.2-2.4) was associated with a
 statistically significantly increased risk of ovarian cancer after adjusting for confounders.
 However, talc use on diaphragms ( OR 0.6, 95% CI 0.3-1.2) or by male partner ( OR 1.0, 95% CI
 0.7 to 1.4) was associated with an increased risk which was not statistically significant.
 Although duration of talc use did not show a pattern of increased risk with increased risk with
 duration of exposure, the OR for each categories ( > 1 year, 1-4 years, 5- 9 years and > 10 years)
 were elevated and were statistically significant for 1-4 years. Tubal ligation and hysterectomy
 decreased ovarian cancer risk. Limitations to the study include the low response rates among
 cases and controls due to exclusion of prevalent ovarian cancer. Recall bias while always a
 concern was less likely to be a concern given that risk factors overall did not increase risk but
 were limited to those linked to inflammation.

 19.    In 2004, Mills et al. (59) conducted a population-based case-control study of 256 women
 with histologically confirmed incident epithelial ovarian cancer from 22 counties in Central
 California. They also selected 1122 controls who were residents of that area who had one intact
 ovary and no history of ovarian cancer. Talc exposure was determined through phone
 interviews conducted by trained interviewers. Talcum powder use in the genial area was
 reported as an ever/never metric, as well as by frequency, duration, and cumulative use. The
 final parsimonious model adjusted for age, race, duration of oral contraceptive use and breast
 feeding.

 The rates of talc use in controls was 37.1 % and higher among white non-Hispanics. Controls
 were more likely to have been outside the US. Most of talc exposed cases and controls were
 non-white. There was a statistically significant risk of ovarian cancer associated with genital
 talcum powder use (OR 1.37, 95% CI: 1.02-1.85) after adjusting or age, race, duration of oral
 contraceptive use, and breast feeding. Although increasing frequency of use showed a 74%
 increased risk among women who used talcum powder more than 4-7 times per week (Ptrend=
 0.015), this risk was not monotonic because risk the decreased between second (rarely to
 several times per month) and third categories (1 to 3 times per week). Duration of use also
 showed increasing risk and peaking between 4-12 years of use and declining thereafter (Ptrend
 =0.045). Cumulative exposure increased in the second and third quartiles of exposure but
 declined among the highest quartile of users (Ptrend=0.051). The risk was highest among those
 who had stopped using talcum powder in the last 1-2 years compared to those in the more
 distant past. The risks were primarily elevated for serous and mucinous tumors. Risk was
 higher among those reporting use after 1975 which may be related to the recency of use, and
 those after age 20. Limitations of the study include a low response fraction which was only


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 40% for eligible cases and 57% for eligible cases, and high rates of non-participation- 34.2%
 among cases and 29.3% among controls. The dose-response analysis did not exclude exposure
 during non-ovulatory periods or after gynecologic surgery which may have diluted the
 relative risk estimates. However, strengths include the ability to rule out prevalent cases by
 examining incident cases alone.

 20.    In 2004, Langseth et al. (88) conducted a case-control study of pulp and paper workers
 from different mills in Norway. Only one of these mills reported use of fibrous talc. They
 included 46 cases and reviewed histological records for each case. Most of the cases were
 invasive tumors. Four controls free of ovarian cancer and having intact ovaries were matched
 by birth year +/- 2 years and were drawn by incidence density sampling. A total 179 controls
 were available for analysis. Talc exposure was determined through personal interviews which
 took place in mill offices, at home, at a medical institution, or by phone. Talc exposure was
 reported environmentally and as use by personal hygiene (diapers, sanitary napkins, non-
 genital area or husbands use in genital area)

 Talc exposure was reported among 50% of cases and 48% of controls. After adjusting for
 number of children, breastfeeding, age at birth of first and last child, age at menarche, age at
 menopause, smoking, and family history the use of talc use by personal hygiene was
 associated with an excess risk of ovarian cancer OR 1.15 (95% CI: 0.41-3.21), which was not
 statistically significant. The study has significant limitations. The sample size of the study was
 low with limited statistical power to detect a two-fold increased risk with a probability of only
 53 % and response rate for interviews were low -76.1% for cases and 65.7% for controls. The
 inclusions of non-genital or husband’s use in genital area among the exposed category diluted
 the estimates of relative risk for ovarian cancer associated with talc exposure. More
 information on cases was collected from relatives than controls because 71.5 of cases were
 deceased compared to only 28.6% of controls. The rates of missing data on talc use was high,
 because it was obtained from proxy respondents introducing an element of uncertainty in the
 estimates for relative risk of ovarian cancer associated with talc use.

 21.    In 2008, Merritt et al. (89) reported on a population-based study of 1,576 women with
 epithelial ovarian cancer as part of the Australian Ovarian Cancer Study. Pathology reports
 and diagnostic slides were reviewed for a sample of 87 women with 97% agreement with
 original abstracted data. Cases were confirmed by histopathology. 1509 controls were selected
 from the electoral rolls and were matched by age and residence. Talc exposure was identified
 through a comprehensive health and lifestyle questionnaire. Talc use was reported as



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 ever/never for perineal use (powder or talc in the genital area or on underwear or on sanitary
 napkins), years of use prior to surgery, use post-surgery, and use stratified by age at diagnosis.
 All analyses were conducted for talc use while the reproductive tract was patent and exposure
 occurring 12 months prior to the diagnosis of cases and similar period in controls was
 excluded.

 The rate of talc use was 43% among controls and 46% among cases. When adjusted for age,
 education, parity, and oral contraceptive use of talc in the perineal region among women with
 patent tubes there was a statistically increased risk of ovarian cancer (OR 1.17, 95% CI: 1.01-
 1.36) with the highest risk reported for serous tumors (OR 1.21, 95% CI: 1.03-1.44). The tests for
 trends for duration of use were of borderline statistical significance for all cancers and serous
 subgroup (Ptrend =0.02 for both). No significant associations between number of years used pre-
 or post-surgery and significantly elevated risks for overall cancer and serous ovarian cancer
 were seen in women both above 70 years of age, and below 50 years of age suggesting that
 timing of talc exposure (before or after 1976) did not affect results. There was no association
 between PID and the risk of ovarian cancer or the protective effect of NSAIDs. Limitations
 include low response rates and the lack of data on the frequency of exposure.

 22.    In 2008 Gates et al. (55) conducted a nested case-control study as part of the New
 England Case-Control study and the Nurses’ Health Study (NHS). Further cohort analysis
 from the NHS are presented in the section on cohort studies below. Section IX.III.I Ovarian
 cancer diagnoses were confirmed by the researchers. They included 1385 cases and 1802
 controls. 76.7 % of cases were incident with respect to the timing of DNA collection in the
 NHS. Exposure was accessed through a questionnaire that asked questions related to use of
 talcum powder. The NECC questionnaires included questions about regular use of talcum,
 baby or deodorizing powder as an adult. Specific questions asked about type of use (as a
 dusting powder to the genital area, sanitary napkins, underwear, or non-genital areas),
 frequency of use, age at first use, number of years used, and brand of powder used. The 1982
 NHS questionnaire requested information on whether the participant had ever commonly
 applied talcum, baby, or deodorizing powder to the perineal area (no, <once/week, 1-6
 times/week, or daily) or to sanitary napkins (yes/no). The study defined regular genital talc use
 as application of powder to the genital/perineal region at least once per week. We also created
 a categorical variable for frequency of talc use, using the categories from the NHS
 questionnaire.




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 Most of the participants were white. Regular genital talc was reported among 56 cases and 44
 controls, and daily genital talc use reported among 35 cases and 25 controls, respectively.
 There was a statistically significant increased risk of total epithelial ovarian cancer (RR 1.36,
 95% CI: 1.14-1.63; P<0.001) and of serous invasive subtype (RR 1.60, 95% CI: 1.26-2.02)
 associated with regular use of talc when adjusted for age, study center, duration of oral
 contraceptive use, parity, tubal ligation, BMI, and duration of hormone use. The New England
 Case-control study had a higher RR associated with genital talc use than the Nurses’ Health
 which had a smaller sample size. There was a statistically significant trend between increasing
 frequency of talc use and risk of both total and serous invasive ovarian cancer in the pooled
 analyses (P trend < 0.001 for both total and serous invasive ovarian cancer). The association
 between talc and ovarian cancer was stronger among women with the glutathione S-
 transferase M1 (GSTM1) null genotype (P interaction = 0.03), particularly in combination with
 the GSTM1 present genotype alone (P interaction = 0.03) in two independent study
 populations. The strengths of the study include robust findings from two independent study
 populations. Although talc exposure was only measured in the 1982 NHS questionnaire when
 participants were between 36 to 61 years of age, the number of users who began talc use after
 this is likely small as shown by the fact that more than 95% of controls with regular talc in the
 NECC reported talc use before age 35. The consistent findings from the prospective NHS study
 and the NECC may have minimized any potential biases due to the case-control design. Since
 talc exposure was defined as at least once per week, such habitual exposure is less susceptible
 to recall bias than sporadic exposure.

 23.    In 2009, Wu et al. (48) conducted a population-based study of 609 cases of women and
 688 controls between the ages of 18 and 74 residing in Los Angeles with histologically
 confirmed incident invasive or borderline ovarian cancers. Cases were identified through the
 Surveillance, Epidemiology and End Results (SEER) Program. Cases were matched to
 neighborhood controls on age and race/ethnicity. Controls were women with one intact ovary
 with no history of cancer except non-melanomatous skin cancer matched on age and
 race/ethnicity. Talc exposure was determined through a detailed interview by the same person
 which included a comprehensive questionnaire that used a reference date of 2 years before the
 date of diagnosis (or date of interview for controls). Talc use was reported as a yes or no metric
 (including yes or no for perineal area use), frequency and duration, total times of use, and total
 times of use before and after 1975. Few users of talc (24) had tubal ligation or hysterectomy
 prior to talc use and were considered as non-users.




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 The cases were primarily white woman but also included 41 African American women, 136
 Hispanic women, and 51 Asian women. After adjusting for race, age, education, tubal ligation,
 family history, menopausal status, use of oral contraceptives, and parity perineal use of talc
 was associated with a statistically significantly increased risk of ovarian cancer (RR 1.53, 95%
 CI: 1.13-2.09). Elevated risks were also noted among those who used it on sanitary napkins,
 underwear and on diaphragms but not significant due to limited statistical power. There was a
 clear trend of increasing risk with increasing frequency of use among users who had used it
 for more than 20 years. The risk of ovarian cancer increased signiﬁcantly with increasing
 frequency and duration of talc use; compared to never users, risk was highest among long
 duration (20 years), frequent (at least daily) talc users (RR 2.08, 95% CI: 1.34-3.23). The risk
 increased signiﬁcantly with lifetime total times of talc use, but the association was limited to
 those who started talc use before 1975 (Ptrend <0.001). The association between talc use and
 ovarian cancer was strongest for serous ovarian cancer. Risk of ovarian cancer increased with
 the diagnosis of endometriosis. Limitations include the rates of non-response among cases and
 controls, and classification of talc use among a small number of users with prior hysterectomy
 as being non-exposed. However, the effect of this misclassification is likely to be minimal.

 24.    In 2009, Moorman et al. (90) reported on a study involving 1,114 cases with
 histopathologically confirmed tumors as part of the North Carolina Ovarian Cancer Study.
 newly diagnosed cases were identified through the North Carolina Central Cancer Registry.
 All cases were confirmed by histopathologic review. Controls were frequency matched to
 cases and recruited from the same geographic region using random digit dialing. The controls
 could not have had a bilateral oophorectomy. Talc exposure was reported through in-person
 interviews conducted by nurses with life calendar and pictures of contraceptives, menopausal
 hormones, and other medications were used to help aid recall. Talc use was reported as a
 yes/no metric.

 The analysis focused on invasive ovarian cancer which comprised of 78% of cancers for
 African-Americans and 79% for whites. Among controls, talc use was reported by 23.9%
 among whites and 31.2% of African-Americans. After adjusting for age there was an excess
 risk reported for both whites (OR 1.04, 95% CI: 0.82-1.33) and African Americans (RR 1.19, 95
 % CI: 0.68-2.09) which were not statistically significant. Limitations include the high rates of
 non-response (33.5% among cases, 39.1% among controls), with higher non-response rates
 among African-Americans. There was a large proportion of missing data on talc use for cases
 and controls; 23.6% and 38.5% among whites, respectively, and 25.2% and 29.1% among
 African Americans, respectively, resulting in misclassification of exposure. The authors did not


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 clarify the route of talc exposure and may have classified non-genital talc exposure to the talc
 exposed group which may have diluted the RR. Additionally, the study did not adjust for
 confounders to address the timing, frequency and duration of talc exposure, or whether talc
 exposure occurred before or after tubal ligation or hysterectomy.

 25.    In 2011, Rosenblatt et al. (60) reported on a study of women between the ages of 35 and
 74 from 13 counties in Washington state. Cases of borderline or invasive epithelial ovarian
 cancer were identified through the Cancer Surveillance System. Controls were selected from
 the population using digit dialing. Talc exposure was determined through in person
 interviews which included a reference period of unstated length before diagnosis or interview.
 For powder use on sanitary napkins and deodorant spray, the total number of months of use
 was recorded. For powder use on perineum after bathing, only intervals of at least one year
 when powder was usually used was recorded. Talc use was reported as genital powder
 exposure by type of use, duration of use, lifetime applications, age at first use, age at last use,
 calendar year of first use, time since first use, and time since last use.

 Perineal use of powder after bathing was reported in 12% of controls. Reporting of cornstarch
 was uncommon in the study. After adjusting for age, calendar year of diagnosis, county of
 residence, number of full term live births, and duration of hormonal contraception the perineal
 use of powder after bathing was associated with an increased ovarian cancer risk (OR 1.27,
 95% CI: 0.97-1.66) which was not statistically significant, but a statistically significant increased
 risk was seen among women with borderline tumors (OR 1.55, 95% CI: 1.02-2.37), similar to
 that reported by Harlow et al. (79) There were no differences in risk among various types of
 powder use, as the risk among those who reported use of talcum powder was RR 1.38 (95% CI:
 0.77-2.47). There was no difference in exposure outcome relationship between talc use before
 and after 1980. There was no pattern of risk associated with perineal dusting powder and the
 increasing extant of use as defined by years in which it was used or number of lifetime
 applications. The participation rate of cases and controls was modest at 76.8% and 69%. Some
 misclassification of exposure is possible as participants may be unable to provide accurate
 information on whether the specific powder contained talc. However, the presence of talc,
 rather than a specific dose, is the primary determinant of exposure in which case genital
 powder use is a reasonable proxy for talc exposure.

 26.    Kurta et al. 2012 (91) reported on a case-control study from the Hormones and Ovarian
 Cancer Project using 902 ovarian cancer cases and 1802 controls. Participants were diagnosed
 with histologically confirmed ovarian, fallopian tube or peritoneal cancers. They were at least



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 9 years old and within 9 months of diagnosis. Controls were frequency matched by age and
 area code to cases at 2:1 ratio. Trained interviewers collected data via questionnaires. Perineal
 talc use was defined as ever using dusting powder or deodorizing spray on the genital or
 rectal areas, on sanitary napkins or underwear or on diaphragms or cervical caps.

 Perineal talc use was reported among 20.9% of controls and 27.6% of cases. After adjusting for
 age, race, education perineal talc was associated with a statistically significantly increased risk
 of ovarian cancer OR 1.40 (95% CI: 1.16-1.69). Limitations include the population which was
 women seeking treatment for infertility which may limit generalizability.

 27.    In 2015, Wu et al. (53) evaluated 1,701 newly diagnosed histologically confirmed cases
 of invasive epithelial ovarian cancer cases of ovarian cancer among participants aged 18 and 74
 in Los Angeles county identified through the USC Cancer Surveillance Program. Cases were
 primarily white but 308 Hispanic Women and 128 African American women were also
 included. Controls were selected from residents of LA county and were matched to cases on
 race/ethnicity and year of birth. Talc exposure was ascertained through in person interviews
 conducted using standardized questionnaires with a reference date of 12 months prior to
 diagnosis (or date of interview for controls). Genital talc was reported as no use or less than
 one year of use, yes use, and use per 5 years of talc.

 Among controls the prevalence of talc use ≥ 1 year was 30.4% in non-Hispanic whites, 28.9% in
 Hispanics and 44.1%. After adjusting for several confounders including race, age group,
 menopausal status, age at menarche, hormone therapy use, BMI, income, education, life births,
 tubal ligation, oral contraception, endometriosis, and first-degree family history of ovarian
 cancer there was a statistically significant increased risk of ovarian cancer associated with
 genital talc use across all races (OR 1.46, 95% CI: 1.27-1.69), non-Hispanic whites (OR 1.41, 95%
 CI: 1.21-1.67), and Hispanics (OR 1.77, 95% CI: 1.20-2.62) compared to non-use or less than 1
 year of use. The risk was elevated but not statistically significant among African-Americans
 (OR 1.56, 95% CI: 0.80-3.04) because of low statistical power for the subgroup. Every 5-year use
 of talc was associated with a statistically significant risk of cancer among the overall
 population (OR 1.14, 95% CI: 1.09-1.20) and non-Hispanic whites and Hispanics, whereas the
 excess risk among African-Americans was not statistically significant. The non-response rate
 for cases (36.8%) and controls was modest. There was no evidence of systematic bias in the
 ascertainment of exposure as prevalence of various conditions such as endometriosis was
 consistent with other prior studies.




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 28.    Schildkraut et al. 2016 (52) evaluated African women aged 20-79 years of as part of the
 African-American Cancer Epidemiology Study. They selected 584 cases of newly diagnosed
 epithelial ovarian cancer and matched 745 controls to cases on age and region of residence
 using random digit dialing. Talc exposure was determined through a telephonic interview
 which included information on baby powder use. Participants were considered regular users if
 they reported use at least more than 1 time per month for 6 months. Regular users were asked
 about genital or nongenital use, frequency, duration, and lifetime applications (number of
 applications per month by number of months used). Since there was a small number of users
 who reported only genital powder use, they were grouped with genital and non-genital users
 to “any” genital use. Exposure was examined by frequency of use (less than 30 times per
 month, daily), duration of use (<20 years, ≥20 years) and lifetime number of applications
 (<3600, ≥3600). They also assessed for reporting biases and the effect of stimulant reporting
 because of the filing of class action lawsuits.

 The median duration of body powder use in both cases and controls was 20 years and body
 powder use were reported among 52.9% of controls. After adjusting for age at
 diagnosis/interview, study site, education, tubal ligation, parity, BMI, duration of oral
 contraceptive use, first degree family history of breast or ovarian cancer, and interview year
 there was a statistically significant increased risk of ovarian cancer with any genital powder
 use (OR 1.44, 95% CI: 1.11 to 1.86). There was a stronger association for ≥20 years of any genital
 powder exposure compared with <20 years of exposure and the test for trend was significant
 (Ptrend =0.002). Similarly, the ORs for association between daily any genital powder users and
 EOC were larger in magnitude than never users, and the test for trend was significant (Ptrend
 <0.01) There was also evidence of dose-response for any genital powder for the cumulative
 number of life-time applications with a higher risk among those with lifetime applications
 ≥3600; the test for trend was significant (Ptrend <0.01). A stronger association was reported
 among post-menopausal women who used HRT compared to non-users. There was also an
 increase associated with non-genital powder exposure (OR 1.31, 95% CI: 0.95-1.79) which was
 not statistically significant. There was no evidence of statistically significant increased risk
 with “only” non-genital users and serous ovarian cancer but was statistically significant
 increased for non-serous ovarian cancer.

 Limitations include the assessment of data by self-report. The underreporting of powder use in
 the abdomen which may reach the genital area may have resulted in a spuriously increased
 risk among ”only” non-genital users or such an effect may be specific to African-American
 users. Although there was some evidence that there was more reporting of genital powder use


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 after class action lawsuits in 2014, recall bias alone is insufficient to explain these findings
 because there was a statistically significantly increased risk both before and after 2014.

 29.    In 2016, Cramer et al. (54) included 2,041 ovarian cancer cases from Eastern
 Massachusetts and New Hampshire as part of the Nurses’ Health Study and the Ovarian
 Cancer Association Consortium. Pathology reports were reviewed to confirm diagnosis. The
 population was primarily white with less than 30 participants who were African Americans,
 Hispanics, Asians, or other race/ethnicities. Controls were identified through random digit
 dialing, driver license and town-resident lists and were frequency matched to cases by age and
 residence. Talc exposure was determined through in person interviews with a reference point
 1 year prior to diagnosis or date of interview (for controls). Subjects were asked whether they
 regularly or monthly applied powder to the genital or rectal area, or on sanitary napkins,
 tampons or on other non-genital areas. Talc exposure was reported as personal use, potential
 exposure with no personal use (diaphragm, condoms, partner use), any genital powder use,
 type of genital powder use (cornstarch, baby powder, other), age of first use, time since
 exposure ended, frequency of use, years used, months per year of use, and total applications.
 Lifetime application was assessed by multiplying frequency of application per month with
 months of exposure. This was divided by 360 to yield talc years which were partitioned into
 separate quartiles for dose-response analysis. The study adjusted for a variety of confounders,
 with adjustments for age, study center, study phase, race, BMI, height, weight, parity,
 breastfeeding, oral contraceptive use, IUD use, ovulatory cycles, endometriosis or painful
 periods, Jewish ethnicity, family history, personal history of breast cancer, menopausal status,
 current smoking, ever smoked, asthma, alcohol consumption, and acetaminophen, aspirin or
 ibuprofen use.

 Any genital powder use was reported in 26% of controls. The women who exclusively used
 cornstarch were considered unexposed. Most talc users began talc exposure around the age of
 20. Overall, genital powder use was associated with a statistically significant increased risk of
 ovarian cancer (OR 1.33, 95% CI: 1.16-1.52) adjusted for age, study center and phase. BMI,
 smoking and alcohol use did not alter the association by more than 10% suggesting a lack of
 confounding. Most women reported using Johnson’s Baby Powder and Shower to Shower
 with a trend for increasing risk by talc years. The trend for frequency of use was significant,
 but the trend for duration of use was flat. The talc ovarian cancer association was largely
 confined to premenopausal women and post-menopausal women with hormonal therapy.
 Sensitivity analysis indicated that the risk of misclassification of exposure in controls would
 have to very high (18%) to nullify the increased risk shown in the study. No data is available


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 on the extent of misclassification of talc exposure. Although some amount of misclassification
 is possible in retrospective studies, such a large amount is unlikely as shown by estimates from
 other analogous exposure-outcome association such as alcohol and breast cancer in the
 Nurses’ Health Study. (114).

 IX.III Cohort Studies. I will discuss the cohort studies below. However, it is important to
 emphasize that none of the cohort studies discussed below were designed to evaluate the
 association between talc use and ovarian cancer at the time of cohort assembly. In other words,
 evaluating the association between talc use and ovarian cancer was not the a-priori primary
 objective of the study but evaluated as a subsequent hypothesis, with its inherent limitations.
 For example, the NHS cohort was assembled in 1976 but data on talc use was not collected
 until 1982. (14). In contrast the primary objective of most case-control studies noted above was
 to evaluate the risk of ovarian cancer associated with talc use.

 IX.III.I. In 2000, Gertig et al. (14) reported on an analysis from the U.S. Nurses’ Health Study.
 121,700 registered nurses were enrolled in the study; 78,630 were included in the cohort study;
 and 307 cases of ovarian cancer in 11 states. Notably, the Nurses’ Health Study was a broad-
 based study of women’s health. Ovarian cancer information was obtained through a
 questionnaire mailed to married female nurses 30-55 years which were updated every 2 years.
 Talc exposure was obtained from a survey question which asked “Have you ever commonly
 used talcum, baby powder, or deodorizing powder a) to apply to perineal (private) area? No,
 daily, one to six times per week, or less than once per week or b) to apply on sanitary napkins?
 No, Yes.” Frequency was thus both reported as an “ever, never” metric as well as applications
 per week but duration of use was not recorded. Information gathered by a questionnaire
 requesting information on perineal talc use was ascertained only in 1982, and never updated
 during follow-up. Medical records were obtained for women reporting diagnoses of ovarian
 cancer or those participants who died (mortality follow up was 98% complete). Histologic
 subtypes of ovarian cancer were determined from pathology reports and classified as serous
 (cystadenocarcinoma and papillary adenocarcinoma), mucinous (mucinous papillary
 adenocarcinoma and adenocarcinoma), endometrioid (clear cell and mixed epithelial), and
 borderline. Cases of epithelial ovarian cancer (ICD 183.0) confirmed by medical record review
 or death certificate between 1982-1996 were included in the analyses. Participants who did not
 respond to the 1982 question on talc use were excluded, as were participants with cancer other
 than non-melanomatous skin cancer, bilateral oophorectomy, ovarian removal and those with
 radiation therapy. They included 307 cases of ovarian cancer among 984,212 person-years of
 follow up (0.03% PYs or 31.2/100,000 PYs). Information on covariates was obtained from the


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 biennial questionnaire and included oral contraceptive use, tubal ligation, parity, family history
 (not asked until 1992), smoking and BMI. Age adjusted incidence rates were calculated after
 adjusting for covariates above, as well as age at menarche, duration of breast feeding, age at
 menopause. 40.4% (n=31789) reported ever talc use of which 14.5% were ever daily talc users.
 Women who were talc users and did not have a tubal ligation had no increased risk of epithelial
 ovarian cancer with talc use- no evidence of interaction. There was an increased risk for
 histologic subtypes of ovarian cancer with talc use which was not statistically significant (RR
 1.09, 95 % CI: 0.86-1.37) after adjusting for age, duration of oral contraceptive use, body mass
 index, tubal libation history, smoking status, and postmenopausal hormone use. While daily
 talc use on perineum (RR 1.12, 95% CI: 0.82-1.55) or use less than once/week (RR 1.14, 95% CI:
 0.81-1.59) was associated with an excess risk which was not statistically significant, the point
 estimates for talc use on perineum 1-6 times/week (RR 0.99, 95% CI: 0.67-1.46) and on sanitary
 napkins (yes/no) (RR 0.89, 95% CI: 0.61-1.28) were lower than 1, and these confidence intervals
 may not rule out an increased risk. Importantly, there was a statistically significant increased
 risk for ever talc use for serous invasive cancers (RR 1.40; 95% CI: 1.02–1.91). For women who
 reported ever daily use, the RR for serous invasive cancer was 1.49 (95% CI: 0.98-2.26). The RRs
 for ever-users of less than 1 time/week and of 1-6 times/week were 1.29 (95% CI: 0.81-2.04) and
 1.49 (95% CI: 0.77-2.11), respectively (Ptrend=0.05). Women above age 45 in 1982 who reported ever
 talc use had a higher risk of serous invasive cancer (RR 1.51, 95% CI: 1.07-2.15).


 The strengths of the study include the prospective design which reduces the risk of recall bias.
 The relatively short follow up period may have been unable to determine ovarian cancer. The
 NHS cohort was not primarily designed to evaluate the association between talc and ovarian
 cancer. Further, as discussed above, determining “never” use based only on a one-time question
 near the start of the study (14 years prior to terminating the study in 1996) introduces
 unidirectional “behavioral change” bias, likely misclassifying some “ever” users who used talc
 during the study as “never” users; and biased the findings towards the null. The exclusion of
 prevalent cases of ovarian cancer allows one to determine the influence of exposure on incident
 ovarian cancer, it also introduces an element of selection bias. Of the initial cohort of 121,700
 volunteers, only 78,630 women were enrolled. It is not known whether any (or how many) of
 the 43,000 excluded women had ovarian cancer, nor whether any (or how many) of any such
 ovarian cancer volunteers excluded were talc users. They could not determine the intensity of
 exposure as they had no information on duration of talc exposure, or number of life-time
 applications or the age at which talc was initiated. The study was not a ”new user design” and



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 used prevalent rather than incident users, and is susceptible to “prevalent user biases.” (15)
 Prevalent users are “survivors” of the early period of talc use, which can introduce substantial
 bias if risk varies with time. This may bias findings towards the null due to the “depletion of
 susceptibles.” They had no data on the intensity of exposure because there was no data on the
 duration of talc use, or number of life-time applications. The analysis on tubal litigation could
 not determine whether talc use was initiated after tubal ligation. Any such misclassification of
 exposure is also likely to be non-differential and bias towards the null.


 As a continuation of the Nurses’ Health Study, in 2010, Gates et al. reported on 924 cases of the
 ovarian cancer as part of Nurses’ Health Study with ovarian cancer confirmed by a gynecologic
 pathologist review of medical records. (92). They evaluated the findings between risk factors for
 ovarian cancer and histologic subtypes of ovarian cancer and information on talc exposure was
 collected through biennial questionnaires. Talc use was reported as either greater than or less
 than once a week. After adjusting for body mass index activity, past smoking, current smoking,
 family history of breast or ovarian cancer, age, parity, parous status, breastfeeding, oral
 contraceptive use, tubal ligation, hysterectomy, age at natural menopause, and estrogen use they
 reported a non-significantly increased risk of all epithelial ovarian cancer (RR 1.06, 95% CI: 0.89
 to 1.28) with genital talc use > once/week compared to < once a week. Although the estimates
 for the RR were higher for mucinous subtype (RR 1.50, 95% CI 0.84-2.66), there was no evidence
 of interaction across the subtypes (Pheterogeneity =0.55) in this analysis. The strengths and
 weaknesses of this study are largely like the Gertig analysis of the NHS cohort above, with the
 additional limitations in the low number of cases (only 29 cases of epithelial ovarian cancer
 among genital talc users in 108, 870 women).


 IX.III.II. In Houghton et al. (17) reported on finding from the Women’s Health Initiative
 Observational Study (50-79 years at enrollment and post-menopausal). Among the 93,676
 volunteers, only 61,576 participants were in the study cohort, and 429 adjudicated incident
 ovarian cancer (0.7%). Participants completed annual mailed questionnaires. Participants with
 bilateral oophorectomy, unknown number of ovaries, history of cancer (except non-
 melanomatous skin cancers were excluded). Perineal powder exposure (rather than specifically
 talc use) was obtained via self-report at baseline, and not updated during follow-up. Participants
 were asked whether powder had been used on genital areas, diaphragm or sanitary napkin or
 pad. If the participant answered affirmatively, there were further questions regarding duration
 of use where participants indicate use for less than 1 year, 1-4 years, 5-9 years, 10-19 years, or 20



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 or more years, but frequency of use was not recorded. The area of use was assessed
 dichotomously, and duration of use was categorized as never, 9 years or less and 10 years or
 more for analysis. Analysis was conducted for ever perineal powder use (ever use for any of the
 three categories) and duration for any powder use (maximum duration of any single area of
 application). Cancer cases were self-reported and confirmed through medical records including
 pathology reports. Data on covariates for age, race, education, alcohol, metabolic equivalents,
 smoking, recreational physical activity, oral contraceptive use duration, hormone replacement
 therapy, family history, age at last birth, BMI, self-reported family history of ovarian cancer were
 evaluated. They also evaluated reproductive factors such as age at menarche, age at menopause,
 age at first birth, age at last birth, parity, breastfeeding duration, history of tubal ligation,
 hysterectomy, irregular cycles, endometriosis. The covariates were obtained at baseline and not
 updated. The proportional hazards analysis was conducted to examine the risk of ovarian cancer
 and proportional hazards was tested using Schoenfied residuals. Participants with other cancers
 were still considered at risk for ovarian cancer. Covariates were selected for the multivariate
 analyses, if they had P-values of less than 0.1 during the backward regression until they had a
 parsimonious model. Additional variables from the literature were also included although they
 were not statistically significant. They analyzed ever perineal use, perineal use by application
 area, duration of use and combinations. Test for linear trend was evaluated across duration
 categories by modeling categories as continuous variables.


 The average age of participants was 63.3 years at baseline with 12.4 years of mean follow-up.
 Most participants were white and were obese. Approximately 52.6% of the population reported
 ever use of perineal powder. Ever users were more likely to be heavier, used oral contraceptives
 and/or diaphragms. Perineal use of powder was associated with a 12% excess risk which was
 not statistically significant (HRadj,1.12, 95% CI: 0.92- 1.36) whereas point estimates for use on
 sanitary napkins and diaphragms were lower than 1 but could not rule out an excess risk.
 Duration of perineal, sanitary napkin or diaphragms were not associated with ovarian cancer.
 Strengths include the prospective design which reduces the risk of recall bias. Limitations
 includes the lack of information on whether the perineal powder use constituted talc use, and
 the inability to measure the frequency of exposure. It is possible that the analysis by duration
 included infrequent long duration users with short term frequent users which may result in bias
 towards null. Since exposure was not updated during follow-up, some never users who became
 ever users were misclassified as never users resulting in a bias towards the null. The exclusion
 of prevalent cases of ovarian cancer introduced an element of selection bias. Of the initial cohort



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 of 93,676 volunteers, only 61,576 women were enrolled; 10,622 volunteers who had already
 developed cancer at baseline were excluded. It is not known whether any (or how many) of
 these excluded women had ovarian cancer, nor whether any (or how many) were talc users. The
 inclusion of “prevalent users” rather than “incident users,” leads to depletion of susceptibles
 and may bias findings towards the null. Data on covariates was not available after baseline
 resulting in the potential inclusion of participants (e.g., oophorectomy) not at risk of ovarian
 cancer and resulting bias towards the null. The generalizability of the study findings to younger
 pre-menopausal women is also unknown as the study findings are limited to older post-
 menopausal women (average age =63.3 years).


 IX.III.III. In 2016 Gonzales et al. (93) examined the relationship between douching, talc use, and
 ovarian cancer among 50,884 women aged 35-74 years of age (84 % white and 64% post-
 menopausal) who had never had breast cancer but had a full or half-sister who with breast
 cancer. They excluded participants with bilateral oophorectomy and ovarian cancer. Among
 41,654 participants 154 incident ovarian cancers (n=135 ovarian cancers) were reported (0.3%).
 Participants completed a telephone interview which included questions about reproductive
 history (oophorectomies), health and lifestyle and use of personal care products before
 enrollment, including the use of douching and use of genital talc applied as a powder or spray
 applied to underwear, sanitary napkin, diaphragm, cervical cap, or vaginal area. The frequency
 of use was categorized as no use, less than once a month, 1-3 times per month, 1-5 times per
 week, > 5 times per week, but duration of use was not recorded. As with the WHI and Nurses’
 study exposure was only measured at baseline and not updated during follow-up. Updated
 information on oophorectomy was collected during follow-up and information on cancer cases
 was collected via annual health update. Data on 37.6% of ovarian cancer cases was available
 only by self-report and the remainder confirmed by medical record review or death certificate.
 Cancer cases included tumors of the ovary, fallopian tubes, peritoneum, or of uncertain origin.
 Those who were BRCA1 or BRCA 1 positive test or those who had a sister with a positive test
 but had no report of negative test were considered BRCA positive. Cox proportional hazards
 analysis was conducted until diagnosis of ovarian cancer, oophorectomy, censoring or death.
 Generalized estimation equations was used to account for familial clustering at baseline. The
 proportional hazards assumption was evaluated by the goodness of fit test. A joint analysis of
 talc and douching use was also conducted. The included covariates were patency (yes or no for
 tubal ligation or hysterectomy), menopausal status, duration of OC use (none, < 2 2 to <10, 10 or
 more years), parity (yes/no) race and BMI.



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 The median duration of follow up was only 6.6 years. The average age was mean 57.8 years for
 cases. These cases were more likely to have a family history of ovarian cancer and carry a BRCA1
 or BRCA2 mutation. More non-cases than cases used oral contraceptives. Talc use was only
 reported by 12% of cases and 14% of non-cases. Talc users were more likely to have BMI >30
 kg/m2. Talc use in the last 12 months after adjusting for race, BMI, parity, duration of oral
 contraceptive use, baseline menopausal status, and patency, was not associated with a
 statistically significant increased risk of ovarian cancer (HR 0.73, 95% CI: 0.44-1.20], but could
 not rule out an excess risk. There was no change in estimates when adjusted for douching.
 Douching at baseline, more common among talc users, was associated with increased risk of
 ovarian cancer (HR: 1.8 95% CI: 1.2-2.8).


 There were significant limitations to the study. The authors acknowledge that an important
 limitation of their study was that they collected douching and talc information for the year
 before the study and did not account for the latency. As with the other two cohort studies, the
 Sister Study was limited by the issue of selection bias through the exclusion of women who had
 already developed ovarian cancer (and who could also have been lifetime talc users). Secondly,
 the Sister Study was vulnerable to behavioral change bias. The bias towards the null of this
 inaccurate assessment of “ever” user status prospectively, at the start of the study, was
 compounded by the fact that it was also vulnerable to retrospective inaccuracy, because it was
 based only on the 12 months preceding baseline. Thus, a participant who had last used talc 13
 months before baseline would be categorized as a never-user, as would a participant who started
 using talc after baseline. Thirdly, the Sister Study’s median follow-up of only 6.6 years is likely
 insufficient to detect any risk of ovarian cancer which likely takes more than 6.6 years to develop.
 The study also suffered from the limitations of prevalent user biases. Additionally, exposure
 was measured as ever/never use in 12 months prior rather than total applications resulting in
 non-differential misclassification towards the null. Data was only available by self-report on the
 diagnosis of ovarian cancer for many cases (37.6%) resulting in misclassification of outcome,
 which was likely non-differential and may bias findings towards the null. The study reported
 the lowest rate of talc use among the cohort studies (13.8%), further compounding the limited
 statistical power due to a short duration of follow-up. The generalizability of these findings is
 also limited as they included women without breast cancer who all had a family history of breast
 cancer and may be at a higher risk (60%). The missing data were not missing at random and
 unclear whether analyses were adjusted for missing data. The authors concluded that the study



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 could not exclude a increased risk despite these findings. The study findings are limited to the
 predominant cohort of white post-menopausal women who constituted the majority of
 participants.


 IX. IV. Summary of Findings from Epidemiological Studies.
 1.      The cumulative evidence from these studies demonstrates a statistically significant
 increased risk of ovarian cancer associated with perineal talc powder use which has been
 independently replicated by several investigators in different populations, different settings,
 across different sources using different study designs and time periods. Slight differences in
 magnitude of risk among these studies may reflect differences in inclusion or exclusion criteria
 and the accumulation of evidence over time and some variation due to chance. The updated
 meta-analyses in 2018, which have included all the studies, reported a statistically significant
 increased risk of perineal talc use and ovarian cancer, (41, 42), with little evidence of statistical
 heterogeneity or publication bias. The case-control studies provided 13,421 cases compared to
 890 cases in the cohort studies. (42). Most case-control studies demonstrate an increased risk of
 ovarian cancer associated with talc use with an OR between 1.3 and 1.6, even after adjusting for
 various risk factors.
 2.      Meta-analysis which evaluate the association between perineal talc use and ovarian
 cancer have consistently shown an increased risk of ovarian cancer, (39, 41, 42, 73, 79), including
 pooled analysis using individual participant data. (10). My conclusions about the causal increase
 in the risk of ovarian cancer associated with talc exposure are heavily weighted by recent
 cumulative meta-analysis published in 2018, (41, 42). These meta-analyses provide the most
 comprehensive evidence base given the size of the study database and their methodologic
 superiority as assessed by the AMSTAR rating above. (Table 1). Also, importantly, there is no
 meta-analysis which has reported a statistically significant decreased risk of ovarian cancer with
 talc.
 3.      The only case-control study in which point estimates are below one was limited by the
 poor choice of controls and very high non-response rates. Despite these limitations it could not
 rule out a 21% increased risk of ovarian cancer associated with talc use which is not inconsistent
 with other studies. (86). Although the exposure rate to talc in the case-control studies has been
 variable in the control group from 5%-45%, this reflects the varying practices in the use of talc
 rather than the lack of an increased risk of ovarian cancer with talc use.
 4.      Although all studies are at potential risk of outcome misclassification, most of the studies
 used histologically verification for the diagnosis of ovarian cancer. Any such potential



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 misclassification of outcomes is likely to be non-differential and would have biased the findings
 towards the null.
 5.     There is no reason to believe, from the studies, that ovarian cancer would result in talc
 use, so the temporality of the association is established.
 6.     Case-control studies are susceptible to recall bias particularly when data on exposure are
 self-reported. However, several studies have included these questions on talc exposure as a part
 of larger questionnaires on other risk factors minimizing the possibility of recall bias. Recall bias
 is less likely to occur for chronic daily exposures such as talc as compared to intermittent short
 exposures. Further, recall bias is equally likely to affect other histologic types of ovarian (and
 endometrial) cancer but here the increased risk was limited to only epithelial ovarian cancer in
 most studies. Finally, the findings that only perineal talc use was associated with ovarian cancer
 but not with non-genital talc use argues against recall bias alone as a potential explanation of
 these findings.
 7.     Confounding is one potential explanation for these findings. However, several case-
 control studies adjusted for major confounders including the more recent case-control studies.
 (54). Although residual confounding is always possible in an observational study, studies that
 have reported adjusted and non-adjusted findings have reported similar results minimizing the
 impact of residual confounding. (41). Although there are some risk factors for ovarian cancer
 (e.g., genetic risk factors, family history, obesity and reproductive history), for any of them to be
 confounding to an extent that could account for the positive relations that have been reported,
 they would have to be strongly correlated with talc use. Family history, ethnicity, obesity and
 some reproductive risk factors are positively associated with the risk of ovarian cancer, but the
 magnitude of these associations does not appear high enough to introduce enough confounding,
 even jointly, to explain completely the positive association. To invalidate the statistically
 significant findings of an increased risk of ovarian cancer from the studies, one would have to
 postulate a degree of selection, recall bias and confounding pervasive across different time
 periods, different populations which is highly implausible.
 8.     Case-control studies are also at risk of selection bias which may introduce bias in both
 directions. As opposed to hospital-based controls, which may be less susceptible to selection
 bias, the population-based case-control studies have consistently showed a higher estimate of
 increased risk of ovarian cancer associated with talc use.
 9.     Reverse causality, where the diagnosis of ovarian cancer results in perineal use of talc,
 may be one possible explanation of the nonsignificantly increased risk in the group exposed to
 perineal talc. However, this is also likely minimal in the case of ovarian cancer in which most



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 cases present at advanced stages with abdominal bloating, and vaginal symptoms only occur in
 a small minority of cases.
 10.    One of the cohort studies reported an increased risk with perineal talc exposure and
 serous invasive cancer (14). The pooled results from all three cohort studies, reported an excess
 risk of ovarian cancer, (42) which failed to reach statistical significance because of several
 limitations. The duration of follow up was limited resulting in low number of events and
 inadequate statistical powder. The only cohort study which reported an inverse association
 between perineal talc use and ovarian cancer included several other cancers beyond the ovary
 (such as peritoneum, endometrial) (93), which may have diluted an increased risk. It had a very
 short duration of median follow up of approximately 6.6 years which is insufficient to ascertain
 the development of ovarian cancer. Since talc induced carcinogenesis occurs via a foreign body
 mechanism, the latency period required to demonstrate such an effect is long. Despite these
 limitations, the upper bounds of the confidence intervals exceeded one and could not rule out
 an increased risk of ovarian cancer with perineal talc use. The cohort studies were at risk of
 significant other biases. Exposure was measured at baseline and not updated during follow-up
 (14, 17), which may have misclassified those participants at baseline who were never users but
 used talc during the study as never users resulting in a bias towards the null. The exclusion of
 prevalent cases of ovarian cancer (some of whom may have been exposed to talc) may also bias
 their findings. (14, 17) The cohort studies were also susceptible to “depletion of susceptibles”
 biasing their findings towards the null. None of the cohort studies were primarily designed to
 study the association between genital talc use and ovarian cancer as their primary objective.
 Despite these limitations, the meta-analysis of cohort studies demonstrated a statistically
 significant increased risk of serous invasive ovarian cancer.
 11.    Ascertaining dose response relationship with talc and ovarian cancer is difficult because of
 the challenges in quantifying talcum powder use usually collected by self-reported data
 (frequency, amount and duration), timing and patterns of use (e.g. douching), and other
 individual factors (e.g. co-existence of inflammatory conditions such as endometriosis and or
 vaginal bleeding) resulting in differences in measurement of exposure across studies. The dose
 response depends on both the amount of talc exposure, the frequency of talc uses and the
 duration. It is difficult to quantify the amount of powder actually used and degree of perineal
 dusting that might constitute an ‘‘application of talc.’ Another factor that may affect the dose-
 response relationship is whether use occurred at a time when the female tract was open, the age
 of initiation of talc use since the talc/ovarian cancer association is modiﬁed by closure of the
 female tract as a result of tubal ligation or hysterectomy (79). The presence of other risk factors



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 such as post-menopausal status, cancers other than invasive serous ovarian cancer may make it
 difficult to ascertain a dose-response relationship among older post-menopausal. The lack of
 statistical trend (58, 60) in some earlier studies may reflect some of these challenges as well the
 lack of a monotonic dose response effect. The exposure-response data need to be interpreted in
 the context of mechanistic studies which report that talc accelerates the development of ovarian
 cancer in susceptible individuals through accelerating the redox state in epithelial ovarian
 cancer cells. (49). Thus, an assessment of the gradient through a monotonic dose-response curve
 may not provide a complete picture of the biological gradient. It unclear why nature would
 mandate an increasing mono-tonic dose-response mechanism for causation, and some have
 argued that among Bradford-Hill viewpoints it is difficult to know how dose-response should
 be modelled. (50). Cumulative lifetime exposure may be a more appropriate measurement of
 exposure given the inflammatory mechanisms by which talc induces the development of
 ovarian cancer. It is important to recall that if the carcinogenicity of talc induced ovarian cancer
 most likely resembles that of asbestos induced mesothelioma (with which it shares histologic
 similarities), asbestos induced mesothelioma does not have a dose-response relationship. In the
 case of asbestos induced mesothelioma, latency may be more important whereas in the case of
 talc induced ovarian cancer induced by inflammation latency may be of lesser importance.
 12.    Despite these challenges, several studies have shown evidence of dose-response as
 measured by an increased risk with increased frequency (51-55) or increased duration, (52, 54)or
 combination of frequency and duration of exposure. (48, 54). Some studies show a exposure-
 response trend, (54) and the most updated meta-analysis show evidence of duration dose and
 responsiveness. (42). In the individual participant data meta-analysis a signiﬁcant increase in
 risk with an increasing number of genital powder applications was found for nonmucinous
 epithelial ovarian cancer when nonusers were included in the analysis, but no significant trend
 was seen when analyses were restricted to ever users. (10) Importantly, the most recent meta-
 analysis reported an evidence of dose-response with risk being higher among those with >3600
 applications of talc compared to participants with <3600 applications. (42) Both of these
 categories of exposure were associated with an increased risk of ovarian cancer. None of the
 cohort studies were able to conduct meaningful dose-response analysis because they did not
 collect data either on duration, (14, 93) or frequency of exposure. (17).




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 X.     BIOLOGICAL MECHANISMS OF TALCUM POWDER INDUCED OVARIAN
        CANCER.


 Although not an absolute requirement for determination of causation there are multiple well-
 established biological and molecular mechanisms by which talcum powder products induce
 ovarian cancer. The key routes of exposure and biological mechanisms are noted below.


 X.I. Retrograde Migration of Talc Particles. Genital talc can migrate up to the fallopian tubes
 and ovaries and talc particles have been detected within the ovaries of women who report
 perineal talc use. Heller et al. detected talc in the ovaries of 24 women undergoing incidental
 oophorectomy demonstrating that it can reach the upper genital tract (64) although the fact that
 talc particle counts were unrelated to reported levels of perineal talc exposure reflects the
 challenges in measuring exposure to talc. Talc has been found deeply embedded within ovarian
 tumors, (65) and subsequent studies have confirmed that these are not due to contamination.
 (94). Talc has also been demonstrated in pelvic lymph nodes of women with perineal talc
 exposure.(66). Supportive evidence of migration comes from studies showing retrograde
 migration of additional particles such as starch after gynecological examination, (68) findings of
 a decreased risk of ovarian cancer with tubal ligation and hysterectomy in case-control studies,
 (87) and meta-analysis, (115) which may minimize exposure to inflammatory particles.
 Although an industry funded study performed by the Cosmetic, Toiletry, and Fragrance
 Association failed to detect translocation of “measurable quantities of talc’ in monkey models,
 (67) the timing and techniques of assessment and intraspecies differences could not rule out
 migration of talc particles. The FDA response to Citizen’s Petition 2014 concluded the “potential
 for particles to migrate from the perineum vagina to the peritoneal cavity is indisputable’. Johnson &
 Johnson and IMERYS documents also acknowledge migration. In one document it was stated,
 “A review of the literature suggests that it is biologically plausible for talc particles to migrate
 from the vagina to the peritoneal cavity and ovaries following perineal application.” (63, 116).



 X.II. Inhalation of Perineal Talcum Powder. Inhalation of talcum powder is another potential
 route of exposure that is biologically plausible and can cause inhaled fibrous talc (and asbestos)
 fibers to reach the ovary and thus increase the risk of ovarian cancer in women using these
 products. Approximately 50 percent of talc particles in commercially available talcum powder
 are less than 10 microns in size, (117) which have the potential for inhalation and reach the
 alveolar regions of the respiratory tract. (118) Asbestos fibers can pass from the alveoli to the


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 lung interstitium, from which they can travel via the lymphatic system to the bloodstream and
 other organs including ovaries. (119, 120) Inhaled fibrous talc shares extensive physical and
 chemical similarities with asbestos, and inhaled fibrous talc generated from perineal application
 may also reach the ovaries by inhalation. This mechanism was confirmed in a September 2017
 study, “Below the Waist Application of Johnson & Johnson Baby Powder,” Longo, et al. showed
 that normal application of Johnson’s Baby Powder can produce airborne asbestos and talc fibers
 which could be inhaled. (70).

 X.III. Talcum Powder Induced Inflammation and Alteration of Redox Potential. Inflammation
 has long been understood to be an important mechanism underlying the development of
 ovarian cancer. (61). Inflammation may underlie ovulatory events because an inflammatory
 reaction is induced during the process of ovulation. Risk factors for ovarian cancer include
 endometriosis (i.e., ectopic implantation of uterine lining tissue) and pelvic inflammatory
 diseases (PID). (121). PID was associated with an increased risk of borderline ovarian tumors,
 particularly among women who had had multiple episodes of pelvic inflammatory disease in a
 meta-analysis. (122). Consistent with the inflammatory mechanism for ovarian cancer, a
 prospective nested case-control study from the Prostate, Lung, Colorectal and Ovarian Cancer
 has also shown that global markers of inflammation such as C-reactive protein, Interleukin L-
 1α, Interleukin-8 and Tumor Necrosis Factor-α are associated with a significantly increased in
 the risk of ovarian cancer. (123). Supportive evidence for the role of inflammation also comes
 from a meta-analysis showing a decreased risk of ovarian cancer with tubal ligation and
 hysterectomy. (115). Studies have demonstrated increased risk of ovarian cancer with talcum
 powder use, and increased risk of ovarian cancer with endometriosis. (87). This risk is 3-fold
 higher among women exposed to talc who have endometriosis. (48).


 Oxidative stress in the form of reactive oxygen species (ROS) and reactive nitrogen species
 (RNS) plays a role in the pathogenesis, neo-angiogenesis (formation of new vessels) and the
 dissemination of both early and late stage epithelial ovarian cancer. (124, 125). Epithelial ovarian
 cancer cells manifest a persistent pro-oxidant state characterized by upregulation of certain key
 oxidant and downregulation of key antioxidant enzymes, (125) and the presence of oxidative
 stress triggers cancer cells to favor anaerobic metabolism. Oxidative stress induces phenotypic
 modification of tumor cells by altering cross-talk between tumor cells and surrounding stroma.
 Talc can alter this redox state and cause a marked increase in mRNA levels of the prooxidant
 enzymes, iNOS (nitrous oxide) and MPO (myeloperoxidase) in talc treated ovarian cancer cells
 as compared to control as early as 24 hours in all doses, (49) as well as a marked decrease in the



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 mRNA levels of the antioxidant enzymes catalase CAT, glutathione peroxidase (GPX), and
 superoxide dismutase (SOD3) providing a mechanism by which talcum powder products can
 induce the development of ovarian cancer.


 Cancer antigen [CA-125] a tumor marker secreted by the epithelial cell for monitoring
 recurrence after treatment of ovarian cancer, was elevated when both normal ovarian cell lines
 [1.7 +/- 0.5-fold] and ovarian cancer cell lines [1.4±0.5 and 4.4±0.5-fold increase in OV90 and TOV-
 21G EOC cell lines] were exposed to talc, providing another molecular mechanism by which talc
 can increase the risk of ovarian cancer. (106).


 Talc has been shown to increase proliferation, induce neoplastic transformation and increase
 ROS generation time‐dependently in the normal human epithelial and granulosa ovarian cells
 and dose‐dependently in the polymorphonuclear neutrophils. (71). In studies of human
 mesothelial cells, both nonfibrous talc and asbestos have shown evidence of genotoxicity. (109)
 Some have suggested that perineal talc use may also increase risk of ovarian cancer by the
 induction of anti-MUC1(monoclonal antibodies) possibly via heat-shock protein, (72) although
 the data are not definitive. (101).


 X.IV. Carcinogenicity in Animal Studies. Among animal studies a study among rats
 demonstrated the development of papillary changes after intrabursal injection of talc. Such
 papillary changes may be precursors of serous papilloma precursors of epithelial cancers. (107).
 Another 2-year inhalation study with cosmetic grade talc in rats and mice showed evidence of
 carcinogenic activity in male (an increased incidence of pheochromocytomas of the adrenal
 gland) and female (increased incidences of alveolar/bronchiolar adenomas) rats and carcinomas
 of the lung and pheochromocytomas of the adrenal gland. (108). There was no evidence of
 carcinogenicity in mice. However, limitations of this study include the lack of a suitable control
 (e.g. titanium dioxide), alternative explanations of these findings via particle overload, (127) and
 the fact that ovulatory patterns in rats are not fully applicable to humans.


 X.V. Presence of Asbestos and other carcinogens in Talcum powder products. In assessing the
 biological plausibility of talcum powder products as a cause of ovarian cancer, it is important to
 consider the constituents of talcum powder products including whether it contains known or
 suspected carcinogens. The presence of asbestos in talcum powder products can and does
 provide a plausible biological explanation of the development of ovarian cancer. (36, 37).



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 Occupational exposure to asbestos is a well-established causal agent for the development of
 pleural and peritoneal mesothelioma, larynx and ovarian cancer. (36, 127). Talc and asbestos
 also share chemical similarities. The carcinogenicity of asbestos relies on shape of particles with
 long thin fibers-such as those occurring in crocidolite asbestos being particularly carcinogenic.
 Although talc consists primarily of platy talc, it may also contain fibrous talc or other asbestiform
 minerals. Epithelial ovarian cancer, one most closely associated with talc, histologically most
 closely resembles mesothelioma providing further evidence of biological mechanisms. As
 Huncharek notes in their meta-analysis of ovarian cancer associated with talc dusted diaphragm
 meta-analysis on page 427 “If one is exposed to a mixture of talc and asbestos, it is reasonable to expect
 a carcinogen effect as it contains a known carcinogen.” (13). In addition talcum products contain
 fibrous talc, heavy metals and fragrance ingredients which are known or suspected carcinogens.
 (26, 33, 35, 36). Like the presence of Asbestos Fibers, the presence of these known or suspected
 carcinogens provide a plausible biologic explanation for the increased risk seen in the
 epidemiologic studies.


 XI.    ASSESSMENT OF CARCINOGENECITY OF TALC BY THE IARC IN 2006.


 The International Agency for Research on Cancer (IARC) expert panel evaluates the
 carcinogenicity of various products using the following criterion after review of animal studies,
 experimental studies and epidemiological data. (128). The data is examined to determine
 whether there is sufficient evidence, limited evidence, inadequate evidence, or evidence suggesting lack
 of carcinogenicity for both cancer in humans and animals, respectively. The mechanistic and other
 relevant data are examined to identify established and likely mechanisms and determines whether each
 mechanism could operate in humans. The agents are then classified into several groups. Group 1
 are agents carcinogenic to humans (e.g., asbestos,) (37), Group 2A are agents probably carcinogenic
 to humans, Group 2B possibly carcinogenic to humans, Group 3 agents which are unclassifiable
 and Group 4 agents which are probably not carcinogenic to humans.


 In 2006 IARC concluded that perineal use of talc not containing asbestos or asbestiform fibers
 was possibly carcinogenic to humans (129) based on limited evidence in humans for the
 carcinogenicity of perineal use of talc based body powder and the limited evidence in experimental animals
 for the carcinogenicity of talc (93) (Group 2B-b). (38). Although a positive association has been
 observed between exposure to the agent and cancer for which causal interpretation is considered
 by the Working Group to be credible, but chance, bias, or confounding could not be ruled out



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 with reasonable confidence. For purposes of their evaluation, IARC considered 19 case-control
 studies and 1 cohort study. (14). The Working Group concluded that 8 of the more informative
 case-control studies (as well as most of the less informative ones) showed a consistent excess
 risk in the order of 30-60%. The cohort studies neither supported or refuted the evidence from
 case-control studies.


 The IARC assessment was carried under the assumption that talcum powder products did not
 contain asbestos based on the published findings at the time- an assumption that is not
 supported by current data. In such a case, talcum powder products would be unequivocally
 classified as a Group 1 carcinogen like asbestos. Importantly, even absent a finding of asbestos
 in talcum powder products, the consistent cumulative evidence of peritoneal use of talcum
 powder products demonstrates an increased risk of ovarian cancer. Several new systematic
 reviews based on recently published studies have further added to the accumulating evidence on an
 increased risk of ovarian cancer with talc use. (10, 41, 42). There is now further evidence of exposure
 response relationships, with measured by an increased risk with increased duration (52, 54) or
 combination of frequency and duration (48) and the most updated meta-analysis show evidence
 of duration dose and responsiveness. (42). Finally, in addition to the epidemiologic evidence
 there is evidence from toxicology , molecular biology and other mechanistic data which supports
 my opinions .


 XII.   COSMETIC EXPERT REVIEW PANEL REPORT.


 For the sake of completeness I also reviewed a report on the safety of cosmetic talc by an industry
 sponsored panel. (130). The panel was primarily composed of dermatologists, with limited
 expertise in epidemiology and carcinogenicity. The review was carried out under the flawed
 assumption that cosmetic-grade talc must contain no detectable fibrous, asbestos minerals and
 thus limited its assessment to animal and clinical studies on talc that did not contain asbestos,
 and erroneously concluded that there was no evidence of talc migration. As a result of these
 serious methodologic shortcomings and funding biases it arrived at its erroneous conclusions
 that talc was safe for use in cosmetics. (130) As discussed above, the findings of this panel have
 been superseded by findings from several new epidemiological studies, mechanistic studies and
 systematic reviews which have further added to the accumulating evidence on an increased risk
 of ovarian cancer with talcum powder product use.




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 XIII. ASSESSMENT OF CAUSALITY.


 While talc is clearly associated with development of ovarian cancer, we must assess whether the
 observed association leads to an inference about causation. In 1965, in the President’s Address
 to the newly-established Section of Occupational Medicine of the Royal Society of Medicine, Sir
 Austin Bradford Hill, Professor Emeritus of Medical Statistics at the University of London,
 attempted to encapsulate the aspects of a causal relationship, as it was understood at the time.
 (1). As he described them, they were: 1. strength of association, 2. consistency, 3. specificity, 4.
 temporality, 5. biological gradient, 6. plausibility, 7. coherence, 8. experiment, and 9. analogy.
 As Professor Hill explained, no aspect alone is either necessary or sufficient: “What I do not
 believe . . . is that we can usefully lay down some hard-and-fast rules of evidence that must be
 obeyed before we accept cause and effect. None of my nine viewpoints can bring indisputable
 evidence . . . and none can be required as the sine qua non.” Further, according to Professor
 Bradford Hill, these are not the only aspects of causation, but they are informative. It must also
 always be remembered, as highlighted in a recent statement by the American Statistical
 Association, that a lack of statistical significance does not imply lack of clinical significance (18)
 – a point also highlighted by Bradford Hill, who noted that while statistical tests can remind us
 of the role of chance, “No formal tests of significance can answer those questions.”


 With respect to the analysis at issue, that is, the association between talcum powder products
 and ovarian cancer—the results are not only statistically significant, but, as described above,
 have been replicated by several independent authors in multiple studies across a range of study
 designs. The cumulative body of evidence was appraised using the Bradford Hill viewpoints.
 In this regard, and as described in this report, I put significant weight on the Strength,
 Consistency, Temporality, Biologic Plausibility, and coherence factors and, to a lesser extent,
 Gradient (Dose-Response) and Analogy data to support my opinion that Talcum Powder
 Products can cause ovarian cancer. For the reasons stated below, I do not weigh heavily the
 Experiment and Specificity data in light of the totality of the evidence supporting a causal
 inference. My assessment is described below.


 1. Strength of Association. This aspect of a causal relationship refers to the degree or magnitude
 of effect to which the exposure is associated with the outcome. (1). According to Bradford Hill ,
 the more likely the exposure is associated with the outcomes, the more likely is it to be causal.
 As summarized in the meta-analysis in section above, I conclude that the association of talc with



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 ovarian cancer shows an approximate 30-60% relative increase in the risk of ovarian cancer, after
 adjustment for multiple confounders of the talc and ovarian cancer relationship. (10, 42). The
 strength of the association, replicated in multiple studies, provides evidence in support of a
 causal association. There are several noteworthy examples of well-established causal
 relationships (e.g. second hand smoking and lung cancer), (131) where the strength of the
 association is in the order of 20-40%. Such causal associations can have significant effects on the
 population if a large segment of the population is exposed, as in the case of air pollutants and
 myocardial infarction, which are significantly associated with an increase in MI risk with small
 relative risk (carbon monoxide: 1.048; 95% CI, 1.026-1.070; nitrogen dioxide: 1.011; 95% CI, 1.006-
 1.016; sulfur dioxide: 1.010; 95% CI, 1.003-1.017; PM10: 1.006; 95% CI, 1.002-1.009; and PM2.5: 1.025;
 95% CI, 1.015-1.036) but a large population burden because of the large percentage of the
 population that is exposed. (47). Similarly, 75-100 mg of daily Aspirin has been shown to reduce
 the risk of cardiovascular events among those weighing 50-69 kg by 25 % [HR 0.75, 95% CI, 0.65-
 0.5] (132) in an individual participant data meta-analysis of randomized controlled trials. An
 increment of one serving a day of fruit and vegetables reduced all-cause mortality by 5% (HR
 0.95 95% CI: 0.92 - 0.98) in a meta-analysis of cohort studies. (133). As discussed below, I place
 significant weight on the fact that studies demonstrate a strong association between talcum
 powder use and ovarian cancer and show consistency of the data.


 2. Consistency. This viewpoint assesses whether the finding is repeated in different settings,
 place and time. (1). As shown in detail above, the direction and strength of association of talc
 and ovarian cancer is generally consistent across studies, including observational studies of
 various designs and their meta-analysis, and observational studies. These studies have been
 conducted in different clinical settings across the world, with different duration of follow up
 and the cumulative evidence has consistently shown a significantly increased risk of ovarian
 cancer with the use of talcum powder products. As expected, there are slight differences in the
 point estimates which reflect differences in study population with nearly all point estimates
 showing a direction of increased risk of ovarian cancer. The confidence intervals, however,
 across study designs overlap, indicating consistent results. I place significant weight on the fact
 that the consistency and strength of the association found in multiple independent studies
 demonstrates that the association is causative.


 3. Specificity. This viewpoint considers whether the outcome of the disease appears to be
 specific to the exposure, (1) although since the original publication of the Bradford Hill we know



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 in most cases, absolute specificity for an exposure outcome association is not generally possible
 for many diseases, particularly cancer, and not required to provide proof of causation. Even the
 well-established, causal relationship between cigarette smoking and lung cancer or heart disease
 is not characterized by specificity. Genetic factors may also play a role in the occurrence of
 ovarian cancer. As discussed above, the occurrence of ovarian cancer is consistently higher
 among talcum powder users compared to non-users, even after adjusting for several
 confounders. I placed less weight on absolute specificity of the association between talcum
 powder exposure and ovarian cancer given the multi-causal nature of the outcome, particularly
 in light of the strength and consistency of association factors.


 4. Temporality. The temporality viewpoint assesses whether the exposure always predates the
 development of disease. (1). In each of the epidemiologic studies noted above, talc exposure
 occurred before the diagnosis of ovarian cancer. Although some have argued that some of the
 symptoms of ovarian cancer (vaginal bleeding, irritation) may lead to talcum powder use, since
 most ovarian cancers present with abdominal bloating and advanced stages of the disease it is
 difficulty to attribute how development of ovarian cancer would lead to talc use (e.g., reverse
 causality). I placed significant weight that the exposure to talc preceded the development of
 ovarian cancer in the studies above.


 5. Biological Gradient. This viewpoint assesses whether there is a biological gradient or dose-
 response effect, (1) recognizing that presence of dose-response is not an absolute requirement
 for causation. In order to determine dose-response, it is necessary first to determine dose. While
 the presence of a dose-response relationship supports a causal link, the absence of such a
 relationship does not preclude a causal association. The causal relationship between asbestos
 and mesothelioma, which most closely resembles the current scenario is not dose-dependent.
 Assessing dose-response is challenging in the context of perineal talc use for several reasons:
 first, unlike, say, birth-control pills, the amount of talc powder product use is not fixed, nor is
 the number of uses per time (day, week, or month). At a minimum, to assess total dose, it is
 necessary to acquire information about both duration and frequency. Ascertaining a dose-
 response relationship with talc and ovarian cancer is particularly challenging given that the risk
 of ovarian cancer may vary with age, premenopausal and post-menopausal status and the
 presence of other risk factors. The dose-response depends on both the amount of talc exposure,
 the frequency of talc uses and the duration. The presence of other risk factors such as post-
 menopausal status, cancers other than invasive serous ovarian cancer and the “depletion of



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 susceptibles” over time may make it difficult to ascertain a dose-response relationship. Several
 studies show evidence of dose-response as measured by an increased risk with increased
 frequency, (48, 51-55) or increased duration, (52, 54, 56) or a combination of frequency and
 duration of exposure. (52, 54). Some studies have also shown evidence of increased risk with
 increased number of lifetime applications, (10, 48, 52) which may be a more accurate measure
 for long term exposure outcome association mediated via inflammation. The most updated
 meta-analysis show evidence of duration dose and responsiveness, (42) with risk being higher
 among those with >3600 applications of talc compared to participants with < 3600 applications,
 although with overlapping confidence intervals. (42). Based on the above limitations with study
 design to ascertain dose effect, specificity of dosing of talc and the possibility of threshold effect,
 I find biological gradient less compelling, but still compelling of my causation analysis than the
 other Bradford Hill overviews as referenced above.


 6. Plausibility. Although this is not a requirement for causation, an association that is
 biologically plausible is more likely to be causal. (1). While this viewpoint only requires
 biological mechanism to be plausible, which is necessarily limited to the state of biological
 knowledge at the time of assessment, evidence from the literature described in detail in the
 section in biological mechanisms shows multiple routes of exposure, multiple pathways and
 multiple mechanism by which talc can cause ovarian cancer. Section X demonstrates how
 talcum powder products can migrate to the ovaries, induce inflammation, alter redox potential
 resulting in a pro-oxidant state, (49) and act as a mutagen. (109). As a results of the significant
 body of evidence that has accumulated on biological mechanisms, I place significant weight on
 the fact biological plausibility provides evidence in support of the causal role of talc in the
 development of ovarian cancer and there is a highly biological plausible mechanism here for
 carcinogenicity which supports my opinion.


 7. Coherence. This viewpoint assesses whether the cause-and-effect interpretation of data
 conflicts with the generally known facts of the natural history and biology of the disease. (1).
 The evidence on the risk of ovarian cancer with talcum powder exposure is consistent with the
 nature of the disease. Multiple studies suggest that talcum powder products have biological
 effects which plausibly explain the occurrence of ovarian cancer. Given the biological
 mechanisms related to inflammation described above, this mechanism and causal association
 itself fit easily within the current framework of scientific knowledge about the development of




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 ovarian cancer mediated by inflammation. I placed a significant weight on the coherence of
 findings in support of the causal role of talc in the development of ovarian cancer.


 8. Experiment. Occasionally, in making a causation assessment, it is possible to appeal to
 experimental, or semi-experimental, evidence. The definitive experimental evidence would be a
 placebo controlled randomized trial among patients who are assigned to use talc and others who
 do not use talc in which the outcome of incident ovarian cancer would be actively ascertained.
 However, such evidence does not exist and would not be ethical nor feasible with a rare outcome
 such as ovarian cancer with an incidence of 11.4/100, 000 person-years noted above. While there
 is no randomized controlled trial here, that is common when dealing with a suspected cancer
 risk. For instance, there is no randomized controlled trial which supports the causal role of
 smoking in lung cancer. Such a trial to provide absolute proof of harm, which ignores the body
 of evidence that has accumulated and places patients at risk for developing ovarian cancer raises
 significant ethical concerns when data from robust observational studies and their meta-analysis
 have consistently shown an increased risk of ovarian cancer. In the absence of experimental
 evidence, this overview is weighted as less important than the other more important viewpoints
 noted above.


 9. Analogy. Asbestos has been shown to cause ovarian cancer which offers an appropriate
 analogy, (40) but this viewpoint was considered less significant than other viewpoints noted
 above.


 XIV. CONCLUSIONS.


 Based on my background, training and education as a physician and epidemiologist, review and
 analysis of the totality of the evidence, using the weight of evidence analysis, including
 considering and weighting the Hill viewpoints, as described in this report, it is my opinion
 stated to a reasonable degree of scientific and medical certainty that peritoneal use of talcum
 powder products can cause ovarian cancer.


 Signed this 16th day of November 2018




 Sonal Singh, MD, MPH


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Table 1. AMSTAR (Assessing the Methodologic Quality of Systematic Reviews) Rating of Systematic Reviews and/or Meta-analysis of Genital Talc use and Ovarian Cancer
                                Gross and
                    Harlow et                 Cramer et al     Huncharek et al      Langseth et al    Terry et al   Berge et al    Penninkilampi and         Huncharek et
Criterion                       Berg et al
                    al 19921                  1999 3           2003 4               2007 5            2013 # 6      2018 7         Eslick 2018. 8            al 2007 9*
                                19952
A priori design     UA          Y             N                UA                   UA                Y             Y              Y                         UA
Duplicate study
selection &         N           N             N                Y                    N                 NA            Y              Y                         Y
extraction
Comprehensive
                    N           N             N                UA                   N                 NA            Y              Y                         N
search
Status of
publication used as        UA          N             UA              Y                   UA               NA            Y             N                     Y
criterion
List of included &
                           N           N             N               N                   N                Y             Y             Y                     N
excluded studies
Characteristics of
                           N           Y             N               N                   N                Y             Y             Y                     Y
studies provided
Scientific quality of
                           N           UA            N               N                   Y                Y             Y             Y                     N
studies addressed
Scientific quality of
studies used in
                           N           Y             UA              N                   Y                Y             Y             Y                     N
formulating
conclusions
Methods of
combining studies          N           Y             Y               Y                   Y                Y             Y             Y                     N
appropriate
Likelihood of
publication bias           N           N             N               N                   N                NA            Y             Y                     N
addressed
Conflict of interest
                           Y           Y             Y               UA@                 Y                Y             Y             Y                     UA@
included


                        *Meta-analysis by Huncharek et al in 2007 et al evaluated only talc on contraceptive diaphragms
                        # Terry et al 2013 conducted an individual participant data pooled analysis so several items for systematic review NA
                        @ Incomplete financial disclosures of role of sponsor in meta-analysis
                        Y= Yes N= No; NA= Not applicable; UA : Unable to answer

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    3.     IMERYS241994-IMERYS242004
    4.     IMERYS242050
    5.     IMERYS322241-IMERYS322242

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    6.      IMERYS422289- IMERYS422290
    7.      JNJ000087166-JNJ000087230
    8.      JNJ000251888-JNJ000251890
    9.      JNJ000261010-JNJ000261027
    10.     JNJ000460665-JNJ000460673
    11.     JNJ000526231-JNJ000526676
    12.     JNJAZ55_000000577-JNJAZ55_000000596
    13.     JNJAZ55_000003357
    14.     JNJAZ55_000012423-JNJAZ55_000012430
    15.     JNJI4T5_000004099-JNJI4T5_000004100
    16.     JNJI4T5_000006431-JNJI4T5_000006432
    17.     JNJMX68_000004996-JNJMX68_000005044
    18.     JNJNL61_000001534-JNJNL61_000001535
    19.     JNJNL61_000014431-JNJNL61_000014437
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    25.     Deposition Transcript & Exhibits – John Hopkins, Aug. 16 & 17, 2018, Oct. 26, 2018, Nov.
    5, 2018
    26.     Deposition Transcript & Exhibits – Joshua Muscat, Sept. 25, 2018
    27.     Deposition Transcript & Exhibits – Julie Pier, Sept. 12 & 13, 2018
    28.     Deposition Transcripts - Linda Loretz, Oct. 2, 2018
    29.     Deposition Exhibits for Linda Loretz - Exh. 106, 107, 108, Oct. 2, 2018
    30.     Deposition Transcript of Alice Blount, Apr. 13, 2018
    31.     Educational report of Thomas Dydek
    32.     Expert report of Jack Siemiatycki.
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    carcinogenic labeling on all cosmetic talc products, Nov. 17, 1994.
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    38.     Letter from Personal Care Products Council to FDA re: Comments on Citizen’s Petition
    to the Commissioner of the Food and Drug Administration Seeking a Cancer Warning on Talc
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    39.     Transcripts of CIR meeting (Unpublished)



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                                   EXHIBIT A
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                                     62908
                                                                        Sonal Singh M.D., M.P.H
                                      Sonal Singh, MD MPH
                                         55 Lake Ave North
                                   Worcester, MA 01655-0002 USA
                                          Tel: 774 442 6611.
                                  Sonal.Singh@umassmemorial.org

  Education
  MPH, Bloomberg School of Public Health, Johns Hopkins University
  Baltimore, MD                                                                    6/2005 to 5/2008

  Internal Medicine Residency, Unity Health System, affiliate University of Rochester
  Sch of Medicine and Dentistry, Rochester, NY                                     7/2002 to 6/2005

  MD, Patna Medical College, Patna, India                                          12/91 to 05/1999

  Academic Appointments
  Associate Professor, Department of Family Medicine & Comm Health                 10/2016 to date
  Department of Medicine, University of Massachusetts Medical School

  Assistant Professor, Dept of Medicine, Johns Hopkins Univ SOM                    7/2009 to 9/2016

  Assistant Professor, Center for Public Health and Human Rights
  Bloomberg School of Public Health, JHU (joint)                                   7/2009 to 9/2016

  Assistant Professor, Department of Medicine, Wake Forest University              7/2007 to 6/2009

  Instructor, Department of Medicine, Wake Forest University                       7/2005 to 06/2007

  Employment History
  Associate Professor, Department of Fam Medicine & Comm Hlth                      10/2016-present
  Meyers Primary Care Institute & Department of Medicine (Joint)
  University of Massachusetts Medical School
  Role: Clinician- Investigator

  Associate Professor, Department of Quantitative Health Sciences                  10/2018-present
  University of Massachusetts Medical School
  Role: Clinician- Investigator

  Assistant Professor, Dept of Medicine, Johns Hopkins University.                 7/2009 to 9/2016
  Role: Clinician- Investigator

  Assistant Professor, Department of Medicine, Wake Forest University              7/2007 to 6/2009
  Role: Clinician- Educator

  Instructor, Department of Medicine, Wake Forest University                       7/2005 to 6/2007
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Case 3:16-md-02738-MAS-RLS Document 9886-12 Filed 05/29/19 Page 763 of 1525 PageID:
                                     62909
                                                                        Sonal Singh M.D., M.P.H
  Role: Clinician- Educator

  Residency (Medicine) Unity Healthy System, affiliate of the University of Rochester, Rochester,
  NY                                                                               7/2002 to 6/2005

  Role: PGY 1, PGYII and PGY III Internal Medicine Resident

  Research Associate, Clinical Pharmacology, Ohio State University                 3/2001 to 6/2002
  Role: Research assistant in clinical trials

  Voluntary Research Associate, Clinical Pharmacology, Ohio State University       8/2000 to 2/2001
  Role: Research assistant in clinical trials

  USMLE STEP 1, II, III and Clinical Skills Exam Preparation                       2/2000 to 7/2000
  Role; Medical student

  Resident, Medicine, Patna Medical College, Patna, Bihar, India                   2/1998 to 1/2000
  Role: Junior Resident in Medicine

  Compulsory rotatory internship, Patna Medical College, Patna, India              12/97 to 12/98
  Role: Fulfilling requirements for completion of medical degree in India

  Certification and Licensure
  Diplomate, American Board of Internal Medicine                                   8/2005-12/25

  Massachusetts Board of Physicians                                                8/2016-8/2019

  Physicians and Surgeons of Maryland (Inactive)                                   2009-2017

  North Carolina Medical Board (Inactive)                                          2005 to 2009

  Professional Memberships and Activities
  Massachusetts Medical Society                                                    2017-current

  American College of Physicians                                                   2003-2019

  International Society of Pharmacoepidemiology                                    2011-current

  Society of General Internal Medicine                                             2003 to 2016

  International Society of Pharmacoeconomic Outcomes Research                      2016 to 2017

  Academy Health                                                                   2013

  Global Health Council                                                            2006 to 2010
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                                     62910
                                                                          Sonal Singh M.D., M.P.H

  Honors and Awards
  Finalist W. Leigh Thompson Excellence in Research: Faculty Award, JHU               2016

  Visiting Professor, Department of Medicine, Univ of Alabama                         2013

  3rd Best Abstract (trainee) 29th ICPE Montreal, Canada                              2013

  Bruce Squires Award for the Best Research Paper, CMAJ                               2011

  Scholars Abstract Award, Society for Clinical and Translational Sciences.           2010

  Society of General Internal Medicine Clinical Investigator Award (Mid-Atlantic)     2010

  Elected, Delta Omega Honorary Public Health Society, Johns Hopkins University 2008

  Master Teacher Award, WFUSOM                                                        2008

  Tinsley R Harrison Faculty Outpatient Teaching Award, WFUSOM                        2007

  Tinsley R Harrison Faculty Outpatient Teaching Award, WFUSOM                        2006

  Senior–Resident Scholarship award, Unity Health System, NY                          2005

  ACP Health and Public Policy Scholarship, NY                                        2005

  Committee Assignments and Administrative Services

  American College of Physicians, Massachusetts Chapter, Health Policy Committee 2018

  Chairs Advisory Council, Department of Fam Medicine & Comm Hlth                     10/2016-present

  American College of Chest Physicians, Cough Guideline Expert Panel                  2017- present

  Associate faculty, Welch Ctr for Prevention, Epi & Clin Research, JHU               2015 to 2016

  Associate-Director, Center for Drug Safety and Effectiveness, JHU                   2013 to 2016

  Affiliate faculty, Center for Hlth Services and Outcomes Research, Johns Hopkins Bloomberg
  School of Public Health                                                           2012 to 2016

  World Health Organization, International Agency of Research on Cancer (IARC) Monograph- 108
  Working group, Lyon, France.                                                  2013



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                                     62911
                                                                        Sonal Singh M.D., M.P.H
  Preferred Items for Reporting of Systematic Reviews and Meta-analysis of harms Working Group
  Alberta Canada.                                                                 2012

  Member, Health & Human Rights Working Group, JHU Center for Aids Research 2012

  Core faculty, Center for Public Health and Human Rights, Johns Hopkins Bloomberg School of
  Public Health                                                                 2009 to 2016

  Core faculty, Evidence-Based Practice Center, JHU                                 2009 to 2016

  Medical Director, Outpatient Clinic, WFUSOM                                       7/2005-6/2009



  Teaching Activities
  Classroom
  Comparative effectiveness research (2 cr), Johns Hopkins Medicine                 2015 to 2016
  Role: Developed course in CER for MD and MD/PhD trainees in the CTSA

  Health and Human Rights, Johns Hopkins Bloomberg School of Public Health          2011 to 2015
  Role: Annual lecture in the course for MPH students

  Health Economic, Johns Hopkins Bloomberg School of Public Health                  2013
  Role: Annual lecture in the course for master’s students

  Pharmacoepidemiology, Johns Hopkins Bloomberg School of Public Health             2011-2015
  Role: Annual lecture in the course for Masters and Doctoral students

  Evidence-based Medicine, Johns Hopkins University School of Medicine              2012
  Role: Course facilitator

  Intro to Clinical Investigation, Johns Hopkins University School of Medicine      2012
  Role: Annual lecture in the course

  Clinical Epidemiology, Johns Hopkins Bloomberg School of Public Health,           2010-2014
  Role: Annual lecture in the course

  Patient Physician and Society, Johns Hopkins University School of Medicine        2009
  Role: Course facilitator




  Clinical Teaching
  Outpatient medicine                                                              2016-2018

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                                     62912
                                                                        Sonal Singh M.D., M.P.H
  Role: Precepting residents and medical students in clinic at University of Massachusetts Medical
  School

  Evidence Based Medicine                                                       2012-2014
  Role: Developed a novel course to teach Evidence based Medicine to Osler medical residents at
  Johns Hopkins University School of Medicine

  Outpatient medicine                                                              2005 to 2009
  Role: Precepting residents in clinic at Wake Forest University

  Inpatient Medicine                                                               2005 to 2009
  Role: Precepting internal medicine residents at Wake Forest University




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                                     62913
                                                                    Sonal Singh M.D., M.P.H



  Trainee /Junior      Mentoring      Title of Research           Current Position      Training
  Faculty Name         Role           Project/Paper               and Institution       Period
  Univ of
  Massachusetts
  Mayuko               Faculty        Systematic review of        Assistant Professor- 2017-18
  Itofukunaga, MD      mentor         decision aids for lung      Pulmonary
                                      cancer screening            Medicine and
                                                                  Critical Care
  Nathaniel, Erskine   Scholarly      SR of herpes zoster and     MD/PhD Student       2017
  MD, PhD (student)    activity       cardiovascular disease      Umass Med School
  Richeek Pradhan MS   Scholarly      Comparison of data on       Phd Student          2017-18
                       activity       Adverse events              McGill University
  Johns Hopkins Univ
  Omar Mansour         Scholarly    SGLT2inhibitors and           Masters student       2018
                       activity     cardiovascular outcomes
  Geetha Iyer, MD      Faculty      Multiple                      Doctoral student,     2015-16
                       mentor       Pharmacoepidemiologic         HSPH
                                    studies
  Sathiya Priya        Faculty      Generic drugs and patient     MHS Student,        2015-16
  Marimathu            mentor       oriented outcomes             JHMI
  Yohalakshmi          RA Scholarly Review of varenicline         Resident physician, 2013
  Chelladurai, MD,     activity                                   Mercer, Atlanta
  MPH
  Hsien-Yen Chang      Faculty        Pharmacoepidemiologic       Assistant Scientist   2011-15
  PhD                  mentor         studies                     at JHU
  Hasan Shihab, MD,    RA Scholarly   Review of GLP-based         Resident, Franklin    2013-14
  MPH                  activity       therapies                   Square, Baltimore
  Joshua Sclar, MD,    Scholarly      Systematic review of        General Preventive    2013
  MPH                  activity       attacks on health workers   Medicine Resident
  Crystal Ng, MPH      Scholarly      Human Rights measures       MPH Student,          2013
                       activity                                   JHSPH
  Ekta Agarwal, MPH    Capstone       Safety of novel             MPH student           2013
                                      anticoagulants              JHSPH
  Meijia Zhou, MHS     Scholarly      Adherence to novel          Doctoral student,     2013
                       activity       anticoagulants              Univ of
                                                                  Pennsylvania
  Kaitlin Hayman, MD   Capstone       SR of the impact of         MPH student,          2013
                                      disasters                   JHSPH
                                      On CVD outcomes
  Wenze Tang, MPH      Scholarly      SCCS analysis of GIB        Doctoral student,     2013
                       activity       bleeding with dabigatran    HSPH


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                                     62914
                                                                       Sonal Singh M.D., M.P.H
  Omar Mansour           Scholarly      SGLT2inhibitors and         Masters student       2018
                         activity       cardiovascular outcomes     JHSPH
  Shabana Walia MD       Scholarly      SR of CVD among             ER physician, UT      2016-
                         activity       refugees and displaced      Houston               2018
  Wake Forest Univ
  Aman Amin, MD          Resident       Inhaled corticosteroids     Practicing internist, 2007-09
                                        and pneumonia               NC
  Apurva Trivedi, MD     Scholarly      SSRIs and bleeding          Gastroenterologist 2007-09
                         activity
  Other institutions

  Tonya Breaux-          Scholarly      Systematic review           Post-doctoral         2015
  Shropshire PhD,        activity                                   trainee, UAB
  MPH
  Abhay Kumar, MD        Resident       Wernicke encephalopathy     Assistant Professor   2007
                         Scholarly      after gastric bypass:       St Louis University
                         activity       systematic review

  Current Grants and Contracts
  Grants
  (Ming Tai-Seale)                                                 2/2016-12/2021
  PCORI
  Improving Patient-Centered Communication in Primary Care: A Cluster Randomized Controlled
  Trial of the Comparative Effectiveness of Three Interventions
  The aim is to compare three interventions to improve patient communication in primary care
  Role: co-investigator

  (PI Jerry Gurwitz)                                                  08/2018- 09/2019
  NIH/NIA-1 R56 AG061813-01
  Project Title: Controlling and Stopping Cascades leading to Adverse Drug Effects Study in
  Alzheimer's Disease (CASCADES-AD)
  Role : co-investigator
  The aim is to develop interventions to prevent prescribing cascades among those with Alzheimer’s
  related Dementia (ADRD)

  Past Grants
  Death Data Exploration                                        08/01/17- 03/02/18
  FDA Foundational Elements 3 HHSF223200910006I
  Task Order Number: HHSF22301012T
  Efforts to Develop the Sentinel Initiative HHSF223200910006I.
  Role (Project Lead)

  Effect of Therapeutic Class on Generic Drug Substitutions.               2014-2016
  U01FD005267-01 (PI, Jodi Segal)

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                                     62915
                                                                          Sonal Singh M.D., M.P.H
  FDA                                                                              349,480
  Role: Co-Investigator                                                             0.6 CM

  Comparative effectiveness Research & The Cochrane Eyes and Vision Group                2013-2016
  U01 EY020522 (PI, Kay Dickersin)
  NIH/NEI                                                                          825,397
  Role: Co-Investigator                                                             2.4 CM

  Systematic review of gabapentin for neuropathic pain using multiple data sources       2015-2016
  (PI, Caleb Alexander)
  FDA Center of Excellence in Regulatory Science
  Role: Co-Investigator      (20% effort)

  Integrating multiple data sources for meta-analysis to improve patient-centered outcomes
  research                                                                    2014-2016
  (PI- Dickersin)
  PCORI (ME-1303-5785)                                                           $698,174
  Role: Advisor (2% effort)

  Development of a scale for human rights violations.                                    2013-2014
  (PI, Chaisson & Beyrer)
  NIH Johns Hopkins Center for AIDS Research                                       $ 18,873
  Role: Pilot Awardee

  Comparative effectiveness review of therapeutic options for obesity in the Medicare population.
  Johns Hopkins Evidence Based Practice Center.                                2013-2014
  PI (Eric Bass)
  AHRQ                                                                                 $125,000
  Role: Project Principal Investigator (20% effort)

  Center for Excellence in Comparative Effectiveness Education                        2012-2013
  PHRMA Foundation (PI Jodi Segal)                            Total Direct Cost: $250,000
  Role: Co-investigator (5% effort)

  A multi criteria decision analysis to assist with regulatory decisions around benefit and risk
  Partnership in Applied Comparative Effectiveness Science:                   2010 to 2013
  PI (PI, Jodi Segal).
  FDA                                                                            $3,509,657
  Role: Project Principal Investigator (25% effort)

  Combination therapy vs. intensification of statin mono-therapy: An update.                  2012-
  2013
  PI (E. Bass- P.I of EPC.)
  AHRQ
  Role: Advisor (5% effort)
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                                     62916
                                                                       Sonal Singh M.D., M.P.H

  Troponin cardiac marker during renal impairment.                2012-2013
  (E. Bass- P.I of EPC.)
  Agency for Health Care Quality and Research
  Role: Advisor (5% effort)

  To develop an instrument for attacks on health workers.        2012-2013
  PI (Len Rubenstein)
  US Institute of Peace
  Role: Co-investigator (10% effort)

  To develop an instrument for attacks on health workers.        2012-2013
  PI (Len Rubenstein)
  McArthur Foundation                                                                    $434,782
  Role: Co-investigator (15% effort)

  To conduct a benefit and harm assessment of roflumilast in COPD.    2012-2013
  Johns Hopkins ICTR
  Role: Co-investigator (5% effort)

  To develop a China-JHU consultation for civil society public health professionals.          2012
  Open Society Foundation                                                         $49,534
  Role: PI (20% effort). Proposal for a public health training program.

  PACER.                                                                          2012
  PI (Rothman)
  Google-Flu
  Role: Coinvestigator (5%) Systematic reviewer and meta-analysis expert.

  Methods for Balancing Benefits and Harms in Systematic Reviews
  Johns Hopkins Evidence Based Practice Center. (PI, Bass)                    2011-2012
  AHRQ                                                                                $188,871
  Role: Project Task Leader and co-Investigator (10% effort)

  Comparative effectiveness review of Meditation Programs for Stress and Wellbeing
  Johns Hopkins Evidence Based Practice Center. (PI, Bass)                 2011-2012
  AHRQ                                                                              $375,666
  Role: Project Task Leader and co-Investigator (15% effort)

  Comparative effectiveness review of prevention of VTE in special populations
  Johns Hopkins Evidence Based Practice Center. (PI, Bass)                   2011-2012
  AHRQ                                                                               $375,666
  Role: Project Principal Investigator (20% effort)



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                                     62917
                                                                       Sonal Singh M.D., M.P.H
  To prevent and respond to gender-based violence (GBV) in refugee and conflict-affected
  populations.                                          2010-2011
  (PI, Vu & Rubenstein)                                                               $293,946
  Role: Co-investigator (10% effort)

  Comparative effectiveness review of oral hypoglycemic medications
  Johns Hopkins Evidence Based Practice Center. (PI, Bass)                           2009-2010
  AHRQ                                                                                $125,000
  Role: Co- Investigator (0% effort)

  Johns Hopkins Clinical Research Junior Faculty Award.                            2009-2012
  NIH-KL2
  ICTR
  Role: Recipient (75% salary support)

  Measuring exposure to human rights violations among men who have sex with men.
  (PI, Mullany).                                                             2009-2010
  Center for Global Health Johns Hopkins                                      $50,000
  Role: Co-investigator (0% effort).

  Research ethics for conducting research in vulnerable populations and unstable settings.
  (PI, Mills)                                                                   2007-2009
  CIHR                                                                           $99, 887
  Role: Co-investigator (10% effort).


  Patents None.
  Editorial work
  Editor-in-chief and founder
  BMC Conflict and Health                                                        2007-12

  Editorial Board Membership
  Evidence Based Medicine (BMJ Group of Journals)                                2017-current
  Drug Safety                                                                    2008-16
  American College of Physicians-PIER

  Grant review                                                                    2012-current
  Medical research foundation of New Zealand
  Johns Hopkins Center for Public Health and Human Rights
  Junior Faculty Research Grants
  Medical Research Council of South Africa
  Catalina Health Technology Assessment, Spain
  Diabetes, UK
  Johns Hopkins Medicine Research Council Synergy Awards
  Johns Hopkins Institute for Clinical and Translational Research

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                                     62918
                                                          Sonal Singh M.D., M.P.H

  Peer Review
       1. Acta Diabetologica
       2. American Heart Journal
       3. American Journal of Addictions
       4. American Journal of Cardiovascular Drugs
       5. American Journal of Managed Care
       6. American Journal of Psychiatry
       7. Annals of Internal Medicine
       8. Annals of Medicine
       9. Australian Medical Journal
       10. BMJ
       11. BMC Clinical Pharmacology
       12. British Journal of Clinical Pharmacology
       13. Bulletin of the World Health Organization
       14. Chest
       15. Circulation
       16. Canadian Medical Association Journal
       17. Clinical Pharmacology and Therapeutics
       18. Clinical Trials
       19. Cardiovascular Drugs & Therapy
       20. Cochrane Collaboration
       21. Disasters
       22. Diabetolgia
       23. Drug and Alcohol Dependence
       24. Diabetes Obesity and Metabolism
       25. Drug Safety
       26. Epidemiology
       27. European Journal of Neurology
       28. European Journal of Pharmacology
       29. European Respiratory Journal
       30. Expert Opinion in Drug Safety
       31. Global Public Health
       32. Health Policy
       33. International Journal of Epi
       34. International Journal of Obesity

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                                     62919
                                                                           Sonal Singh M.D., M.P.H
       35. Journal of the American College of Cardiology
       36. Journal of the American Medical Association (5 in last 12 mo)
       37. Journal of the American Medical Association-Internal Medicine
       38. Journal of Cardiac Failure
       39. Journal of Medical Case Reports
       40. Journal of the Pancreas
       41. Journal of General Internal Medicine
       42. Medscape General Medicine
       43. Medical Journal of Australia
       44. Nephrology Dialysis Transplantation
       45. North Carolina Medical Journal
       46. Nutrition, Metabolism & Cardiovascular Diseases
       47. Pediatric Infectious Disease Journal
       48. Pharmacoepidemiology & Drug Safety-Best Reviewer Award 2013
       49. Public Library of Science Medicine
       50. Primary Care Respiratory Journal
       51. Pediatrics
       52. Research Synthesis Methods
       53. Respiratory Medicine
       54. Respirology
       55. Southern Medical Journal
       56. The Lancet
       57. Thorax
       58. Tropical Medicine & International Health


  Abstracts and Presentations
  Oral Presentations
  National/International
  1. GLP-1-based therapies and risk of pancreatitis: A matched case-control study. 29th
     International Society of Pharmacoepidemiology, Annual Meeting, Montreal Convention
     Center, August 26. Montreal, Quebec, Canada.2013
  2. GLP-1 based therapies and risk of pancreatitis. 36th SGIM Annual Meeting, Denver, Colorado
     Posters. 2013
  3. Risk of fractures with inhaled corticosteroids in COPD: Systematic review and meta-analysis of
     randomized controlled trials and observational studies, Society of General Internal Medicine,
     Minneapolis, Minnesota. 2011




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                                     62920
                                                                         Sonal Singh M.D., M.P.H
  4. Odds of fractures with inhaled corticosteroids in COPD: Systematic review and meta-analysis
     of clinical trials and observational studies, 27th International Society of Pharmacy-
     Epidemiology, Annual Meeting, Hyatt Regency August 24th. Chicago, Illinois. 2011


  Local/Regional
  Not applicable


  Posters
  National/International Meetings
  1. Diagnostic algorithms for cardiovascular death in administrative claims databases. A
     systematic review 2018. International Society of Pharmacoepidemiology, Prague, August 24,
     2018.
  2. Risk of gastrointestinal bleeding among dabigatran users-a self-controlled case series analysis.
     Health Care Systems Research Network, San Deigo, March 22, 2017.
  3. GLP-1 based therapies and risk of pancreatitis. Pancreatitis, Diabetes, and Pancreatic Cancer
     Workshop. NIH, Bethesda, Maryland. 2013
  4. Thiazolidinediones and risk of bladder cancer: A systematic review and meta-analysis. 36th
     SGIM Annual Meeting, Denver, Colorado.2013
  5. Who is the patient's doctor? Primary care responsibility and co-management relationships
     among generalist and non-generalist physicians in the National Ambulatory Care Survey, 2002
     SGIM 29th Annual Meeting, Los Angeles, California.2006
  6. The educational value of case reports from the SGIM national meeting in the internal medicine
     clerkship. SGIM 29th Annual Meeting, Los Angeles, California.2006
  7. Using IPod technology to create a self-guided clinic tour for resident orientation SGIM 29th
     Annual Meeting, Los Angeles, California.2006
  8. Narcotic management in chronic non-malignant pain. A survey of resident’s knowledge and
     attitudes. SGIM 29th Annual Meeting, Los Angeles, California.2006
  9. Formulary conversion programs pose a significant risk to patients, SGIM 27th Annual Meeting,
     Chicago, Illinois.2004


  Local regional meetings
  Inhaled corticosteroids and the risk of fractures in COPD: A systematic review and meta-analysis.
  DOM Annual retreat, Johns Hopkins University 2011


  Invited presentations
  National/International
  1. Oral direct acting antivirals and the incidence or recurrence of hepatocellular carcinoma. NIH
     Collaboratory Grand Rounds [ Web] March 2, 2018
  2. Resurgence of hepatocellular carcinoma in the era of oral direct acting antivirals. Cause or
     Consequence? Fundamentals of Biomedicine Seminar Series. Texas Tech University Health
     Sciences Center. El Paso, Texas Dec 13, 2017

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                                     62921
                                                                          Sonal Singh M.D., M.P.H
  3. Aligning evidence with preferences: Methodological Challenges and Opportunities. -
     Department of Medicine. Dartmouth-Hitchcock Medical Center, Dartmouth, New Hampshire,
     June 15, 2016
       •   Dartmouth-Hitchcock Medical Center, Dartmouth, New Hampshire, June 15, 2016
       •   Department of Health Services and Research, Michael De-Bakey VA and Baylor University,
           Houston, Texas, May 16, 2016.
       •   Meyers Primary Care Institute and Department of Family and Community Medicine,
           University of Massachusetts, Massachusetts, March 31 and June 9 2016.
       •   VA Center for Chronic Disease and Outcomes Research, Minnesota VA, March 2016.
       •   Department of Medicine. University of Central Florida, Orlando, Florida, November 2015.
       •   Center for Health Policy and Research Grand Rounds. UC Davis, Sacramento California,
           Oct 9 2015;
       •   Center for Evidence and Outcomes, Agency for Health Care Research and Quality.
           Gaithersville Maryland, August 31, 2015.
  4. Risks of Spiriva Respimat outweigh its benefit: A Debate. Inhalation Asia, University of Hong
     Kong, Department of Pharmacology and Pharmacy, Hong Kong. 2013
  5. GLP-1-based therapies and risk of pancreatitis. Center for Clinical Epidemiology and
     Biostatistics Seminar Series, Philadelphia, Pennsylvania. 2013
  6. Visiting Professor. Department of Medicine. University of Alabama. 2013
  7. Value based health care: Can shared decision making methods get us there? Center for Value
     and Effectiveness, Medicine Institute, Cleveland Clinic, Noon Conference.2013
  8. Role of Multi-criteria decision analysis in regulatory policy
           •   Stanford Prevention Research Center, Stanford University, Palo Alto, Stanford,
               California. 2013
           •   South Carolina College of Pharmacy, Columbia, South Carolina.2013
           •   Department of Medicine. UC Davis, Sacramento, California.2013
           •   Department of Clinical Sciences, UT Southwestern, Dallas, Texas.2013
           •   Department of Medicine, Geisenger Medical Center, Danville, Pennsylvania. 2013
  9. Weighing benefits and risks: Role of shared decision making in type 2 diabetes. CTSA Grand
     Rounds, Mayo Clinic, Rochester, Minnesota. 2013
  10. Are long-acting muscarinic agents safe for patients with COPD: A Debate. Airway Vista, Asan
      Medical Center, Seoul, Korea
  11. Academia and industry collaboration for cardiovascular risk mitigation. CBI and Applied
      Clinical Trials. 6th Annual Summit, Closing Address. Ritz Carlton, Arlington, Virginia.2012
  12. Varenicline: Where are we today? Tobacco Disease Research Program, UCSF. San Francisco
      California. Varenicline debate.2012
  13. The Maoist Insurgency in Nepal: Health Systems Challenges and Opportunities Conference on
      Health in Fragile States: Challenges for the Next Decade. United States Institute of Peace.
      Washington DC.2011

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                                     62922
                                                                        Sonal Singh M.D., M.P.H
  14. Standards of Care and the Role of Community Advocacy in Clinical Trials. Clinical Research in
      Developing Countries, IIIrd Annual Marcus Evans Conference, Washington, DC.2008
  15. Nepal-A Case study. Integrating public health methods into Conflict Analysis. Norman
      Patterson School of International Affairs, Carleton University, Ottawa, Canada.2007
  Local/Regional
  1. Oral direct acting antivirals and the incidence or recurrence of hepatocellular carcinoma.
     Research Seminar Series, Department of Family Medicine and Community Health. University
     of Massachusetts Medical School. June 15.2018
  2. Safety of novel anticoagulants vs warfarin- a case study using complementary study designs.
     Quantitative Health Sciences, University of Massachusetts Medical School, February 28, 2017
  3. GLP-1-based therapies and risk of pancreatic adverse events. University of Maryland, Division
     of Endocrinology, Metabolism and Nutrition, Grand Rounds, Baltimore, Maryland. 2013
  4. Thiazolidinediones and Patient-Oriented Outcomes in Type 2 Diabetes, GIM Grand Rounds.
     Johns Hopkins University School of Medicine. 2012
  5. Patient-Centered Benefit and Risk Assessment. Center for Health Services and Outcomes
     Research. Johns Hopkins University 2012
  6. Varenicline and cardiovascular and neuropsychiatric adverse events: Do benefits outweigh
     risks? Welch Center Grand Rounds. Johns Hopkins University. 2011
  7. The new wave, HIV, Human Rights and Men who have Sex with Men in Nepal. Johns Hopkins
     Bloomberg School of Public Health, 2011.
  8. Network Meta-analysis and Serious Adverse Events. Network Meta-Analysis Methods
     Workshop. Johns Hopkins Bloomberg School of Public Health. 2010
  9. Thiazolidinediones and Cardiovascular Outcomes in Type 2 Diabetes. Internal Medicine
     Grand Rounds. Wake Forest University School of Medicine, 2008
  10. How Safe Are Our Drugs and How Do We Know? North Carolina ACP, Durham.2008
  11. Clinico Pathologic Conference. Internal Medicine Grand Rounds. Wake Forest University
      School of Medicine, 2007
  12. Globalization and Health Equity: An emerging Challenge for Academic Medicine. Internal
      Medicine Grand Rounds. Wake Forest University School of Medicine, 2007
  13. Thiazolidinediones and Cardiovascular Disease: The Seduction of Common Sense.
      Epidemiology Seminar Series, Public Health Sciences. Wake Forest University 2007
  Workshops and Precourses
  1. ISPOR National Meeting, Next Generation Comparative Effectiveness Research- Are we
     getting organized to facilitate research for the individual patient? Washington, DC May 24,
     2016 (workshop)
  2. SGIM national meeting, developing high-quality search strategies for systematic reviews. 2010
  3. SGIM national meeting, Systematic Review. 2009
       Peer reviewed original research publications (reverse chronological order)
  Trainees *
  1. Singh S, Fouyazi H, Anzuoni K, Goldman L, Min JY, Griffin M, Grijalva CG, Morrow JA,
     Whitmore C, Leonard CE, Selvan M, Nair V, Zhou Y, Toh S, Petrone A, Williams J, Fazio-
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                                     62923
                                                                         Sonal Singh M.D., M.P.H
       Eynullayeva E, Swain R, Cole DT, Andrade S. Diagnostic algorithms for cardiovascular death
       in administrative claims databases. A systematic review. Drug Safety 2018 ( accepted)
  2. Singh S, Zeiman S, Alan Go, Fortmann S, Wenger N, Fleg JL, Radziszewska B, Stone NJ,
      Zoungas S, Gurwitz J. Statins for Primary Prevention in Older Adults – Moving toward
      Evidence-Based Decision-Making. J Am Geriatr Soc. 2018 Oct 2. doi: 10.1111/jgs.15449. [Epub
      ahead of print]
  3. Tisminetzky M, Nguyen HL, Gurwitz J, McManus D, Gore J, Singh S, Yarzebski J, Goldberg
      RJ. Magnitude and impact of multiple chronic conditions with advancing age in older adults
      hospitalized with acute myocardial infarction. International Journal of Cardiology. Published
      Online: August 22, 2018. https://doi.org/10.1016/j.ijcard.2018.08.062.
  4. Chang HY, Singh S, Mansour O, Baksh S, Alexander GC. Association Between Sodium-
      Glucose Cotransporter-2 (SLGT-2) Inhibitors and Lower Extremity Amputation: A
      Retrospective Cohort Study. JAMA Internal Medicine 2018. 10.1001/jamainternmed.2018.3034
      http://dx.doi.org/10.1001/jamainternmed.2018.3034. August 13, 2018
  5. Birring SS, Kavanagh JE, Irwin RS, Keogh K, Lim KG, Ryu JH; CHEST Expert Cough Panel.
      Treatment of Interstitial Lung Disease Associated Cough: CHEST Guideline and Expert Panel
      Report. Chest. 2018 Jul 20. pii: S0012-3692(18)31075-4. doi: 10.1016/j.chest.2018.06.038. [Epub
      ahead of print]
  6. Singh S, Nautiyal A, Loke YK. Oral Direct-acting antivirals and the incidence or recurrence of
      hepatocellular carcinoma: a systematic review and meta-analysis. Frontline Gastroenterology
      Published Online First: 30 July 2018. doi: 10.1136/flgastro-2018-101017
  7. Chang AB, Oppenheimer JJ, Rubin BK, Weinberger M, Irwin RS; CHEST
      Expert Cough Panel. Chronic Cough Related to Acute Viral Bronchiolitis in Children. Chest.
      2018 Apr 26. pii: S0012-3692(18)30632-9. doi: 10.1016/j.chest.2018.04.019. [Epub ahead of print]
  8. Haar RJ, Risko CB, Singh S, Rayes D, Albaik A, Alnajar M, et al. (2018) Determining the scope
      of attacks on health in four governorates of Syria in 2016: Results of a field surveillance
      program. PLoS Med 15(4): e1002559. https://doi. org/10.1371/journal.pmed.1002559
  9. Pradhan R, * Singh S. Comparison of data on Serious Adverse Events and Mortality in
      ClinicalTrials.gov corresponding journal articles and medical reviews: A cross-sectional
      analysis. Drug Safety 2018 Apr 11. doi: 10.1007/s40264-018-0666-y. [Epub ahead of print]
  10. Wu CH, Tu ST, Chang YF, Chan DC, Chien JT, Lin CH, Singh S, Dasari M, Chen JF, Tsai KS.
      Fracture liaison services improve outcomes of patients with osteoporosis-related fractures: A
      systematic literature review and meta-analysis. Bone. 2018 2018 Jun; 111:92-100. doi:
      10.1016/j.bone.2018.03.018. Epub 2018 Mar 16
  11. Field SK, Escalante P, Fisher DA, Ireland B, Irwin RS; CHEST Expert Cough Panel. Cough Due
      to TB and Other Chronic Infections: CHEST Guideline and Expert Panel Report. Chest. 2018
      Feb;153(2):467-497. doi: 10.1016/j.chest.2017.11.018. Epub 2017 Nov 28.
  12. Erkskine NA, *Tran H, Levin LL, Ulbricht CM, Fingeroth JD, Kiefe CI, Goldberg RJ, Singh S. A
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                                     62936
                                                                     Sonal Singh M.D., M.P.H
  2 credit Course for MD and MPH in comparative effectiveness research for the Johns Hopkins
  ICTR                                                                           2015-2016




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Case 3:16-md-02738-MAS-RLS Document 9886-12 Filed 05/29/19 Page 791 of 1525 PageID:
                                     62937
                                                                         Sonal Singh M.D., M.P.H
  Sonal Singh MD, MPH received his MD from Patna Medical College India (1999). He completed
  internal medicine residency training at Unity Health System, affiliate of Strong Memorial Hospital
  Rochester, NY. (American Board of Internal Medicine 2005) He obtained an MPH from Johns
  Hopkins Bloomberg School of Public Health (2008) and completed subsequent research training at
  the Johns Hopkins Hospital (2012) as a Junior Faculty Research Scholar supported by the National
  Institute of Health. He was the Associate Director for the Center for Drug Safety and core faculty
  Evidence Based Practice Center and the Center for Public Health and Human Rights at Johns
  Hopkins University. He has taught and held faculty appointments at Wake Forest University
  School of Medicine and Johns Hopkins University. He has received numerous awards including
  the Senior Scholarship Award from the Unity Health System (2005), Tinsley R Harrison Teaching
  Award for Education at Wake Forest University in 2007, Master Teacher Award at Wake Forest
  University (2008), Mid-Atlantic Society of General Internal Medicine Clinician Investigator of the
  Year Award ( 2010), the Bruce P Squires Award for the best research paper of the year from the
  Canadian Medical Association Journal (2011) and the third best student abstract award from the
  International Society of Pharmacoepidemiology (2013). He conducts clinical research with a focus
  on evidence synthesis, drug safety and shared decision making. Dr Singh has conducted research
  in several countries and has published more than 150 academic manuscripts to advance research
  and clinical care. His research efforts have been supported by the NIH, FDA, Agency for Health
  Care Research and Quality and the Patient Centered Outcome Institute and various private
  foundations. His research has been published in Science, NEJM, Journal of the American Medical
  Association, Annals of Internal Medicine, Lancet and the British Medical Journal, and featured in
  various outlets including Nature Medicine, NYTIMES, CNN, Washington Post and the Wall Street
  Journal. He currently serves on the editorial board of the Evidence Based Medicine Journal published
  by the BMJ, as a panel member of the American College of Chest Physician guideline writing
  group, and American College of Physicians Health Policy committee (Massachusetts chapter) He
  has served as a consultant to the World Bank, World Health Organization International Agency
  for Research Cancer, the Agency for Health Care Research and Quality, pharmaceutical sponsors
  and research firms and several non-governmental organizations. He is a practicing general
  internist with a passion for managing patients with complex medical conditions.




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                                   EXHIBIT B
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    Trial Testimony

    I have not provided trial testimony.

    Expert deposition (last 5 years)

       1. US District Court of South Carolina, Charleston; In Re Lipitor (Atorvastatin

          Calcium) marketing, sales practices and products liability litigation, MDL No. 2:14-mn-

          02502-rmg, April 28, 2015; supplementary deposition, in 2016.

       2. US States District Court, Eastern District Court of California; Kristi Lauris

          Individually and as Successor in Interest to the Estate of Dainis Lauris; vs Defendants

          Novartis AG, Case No. 1:16 cv 00393 –LJO-SAB. Case 2:17-cv-14302-RLR

          Document 49 Entered on FLSD Docket, 2017.

       3. Circuit Court of Camden County, Missouri; Grace Arlene Rahmoeller v. Walmart

          Stores, Inc. and Nicholas B. Collins, Case No.: 15CM-CC00238, April 16, 2018.

       4. US District Court, Southern District of Florida, Dennis McWilliams and Lori

          McWilliams v. Novartis AG and Novartis Pharmaceuticals Corp., Case No. 17-14302,

          May 2, 2018.

       5. Mary Brufett and Jefferey Brufett, vs Iskra Pusic, MD, Keith E. Stocker Goldstein and

          Washington University, Cause No 1622-CC01117 (Division 8), May 10, 2018.

       6. US District Court Northern District of California, San Francisco Division; In Re:

          Viagra (Sildenafil Citrate) and Cialis (Tadalafil) Products Liability Litigation, Civil

          Case No.: 3:16-md-02691-RS, MDL No. 2691, August 9, 2018.




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                         Exhibit 34
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                            Sonal Singh, M.D., M.P.H.

                                                                         Page 1
                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
               ------------------------------------x
               IN RE:    JOHNSON & JOHNSON TALCUM
               POWDER PRODUCTS MARKETING, SALES
               PRACTICES, AND PRODUCTS                    MDL NO:
               LIABILITY LITIGATION                       16-2738 (FLW)(LHG)
               ------------------------------------x
               THIS DOCUMENT RELATES TO
               ALL CASES
               -------------------------------------x




                VIDEOTAPED DEPOSITION UNDER ORAL EXAMINATION OF
                             SONAL SINGH, M.D., M.P.H.
                            January 16, 2019, 9:07 a.m.


                                        -   -   -
                REPORTED BY: JANET M. SAMBATARO, RMR, CRR, CLR
                                        -   -   -
                             GOLKOW LITIGATION SERVICES
                         877.370.3377 ph | 917.591.5672 fax
                                   deps@golkow.com




                 Golkow Litigation Services - 1.877.370.DEPS
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         1                                                         1   APPEARANCES: (Continued)
         2                                                         2
         3                                                         3   TUCKER ELLIS
         4                                                         4   BY: MICHAEL C. ZELLERS, ESQ.
         5                                                         5   515 South Flower Street
         6       Deposition of SONAL SINGH, M.D., M.P.H.,          6   Los Angeles, California 90071
         7   held at the Beechwood Hotel, 363 Plantation Street,   7   (213) 430-3400
         8   Worcester, Massachusetts, pursuant to Agreement       8   michael.zellers@tuckerellis.com
         9   before Janet Sambataro, a Registered Merit Reporter,  9   Representing the Defendant, Johnson & Johnson,
        10   Certified Realtime Reporter, Certified LiveNote      10   Johnson & Johnson Consumer Companies, Inc.
        11   Reporter, and a Notary Public within and for the     11
        12   Commonwealth of Massachusetts, on January 16, 2019, 12
        13   commencing at 9:07 a.m.                              13
        14                                                        14   DRINKER BIDDLE AND REATH, LLP
        15                                                        15   BY: KATHERINE MCBETH, ESQ.
        16                                                        16   One Logan Square, Suite 2000
        17                                                        17   Philadelphia, Pennsylvania 19103-6996
        18                                                        18   (215) 988-2700
        19                                                        19   katherine.mcbeth@dbr.com
        20                                                        20   Representing the Defendant, Johnson & Johnson,
        21                                                        21   Johnson & Johnson Consumer Companies, Inc.
        22                                                        22
        23                                                        23
        24                                                        24   - Continued -
        25                                                        25
                                                     Page 3                                                  Page 5
        1    APPEARANCES:                                        1     APPEARANCES: (Continued)
        2                                                        2     GORDON & REES
        3    ASHCRAFT & GEREL, LLP                               3     BY: MICHAEL R. KLATT, ESQUIRE
        4    BY: MICHELLE A. PARFITT, ESQ.                       4     816 Congress Avenue, Suite 1510
        5    4900 Seminary Road                                  5     Austin, Texas 78701
        6    Alexandria, Virginia 22311                          6     (512) 391-0197
        7    (703) 931-5500                                      7     Representing the Defendants,
        8    mparfitt@ashcraftlaw.com                            8     Imerys Talc America, Inc.
        9    Representing the Plaintiffs                         9
       10                                                       10     COUGHLIN DUFFY LLP
       11    LEVIN PAPANTONIO                                   11     BY: MARYAM M. MESEHA, ESQ.
       12    BY: CHRISTOPHER V. TISI, ESQ.                      12     350 Mount Kemble Avenue
       13    316 South Baylen Street                            13     Morristown, New Jersey 07962
       14    Pensacola, Florida 32502                           14     (973) 267-0058
       15    (850) 435-7000                                     15     mmeseha@coughlinduffy.com
       16    ctisi@levinlaw.com                                 16     Representing Imerys Talc America, Inc.
       17    Representing the Plaintiffs                        17
       18                                                       18     TUCKER ELLIS
       19    RESTAINO LAW LLC                                   19     BY: JAMES W. MIZGALA, ESQ.
       20    BY: JOHN RESTAINO, ESQ.                            20     233 South Wacker Drive
       21    130 Forest Street                                  21     Chicago, Illinois 60606
       22    Denver, Colorado 80220                             22     (312) 624-6300
       23    (303) 839-8000                                     23     james.mizgala@tuckerellis.com
       24    JRestaino@RestainoLLC.com                          24     Representing PTI
       25    Representing the Plaintiffs                        25
                                                                                         2 (Pages 2 to 5)
                     Golkow Litigation Services - 1.877.370.DEPS
Case 3:16-md-02738-MAS-RLS Document 9886-12 Filed 05/29/19 Page 797 of 1525 PageID:
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        3   SEYFARTH SHAW LLP                                 3   Exhibit 11 Letter dated June 1, 2015        21
        4   BY: THOMAS T. LOCKE, ESQ.                         4   Exhibit 12 Email string with top e-mail
        5   975 F Street, N.W.                                5          dated December 27, 2018            23
        6   Washington, D.C. 20004                            6   Exhibit 13 Invoices from Dr. Singh           25
        7   (202) 463-2400                                    7   Exhibit 14 Plaintiffs' Steering Committee's
        8   Representing PCPC                                 8          Response and Objections to the
        9                                                     9          Notice of Oral and Videotaped
       10   ALSO PRESENT:                                    10          Deposition of Sonal Singh and
       11   Jody Urbati, Videographer                        11          Duces Tecum                    28
       12                                                    12   Exhibit 15 Article entitled "Ovarian,
       13                                                    13          Fallopian Tube, and Primary
       14                                                    14          Peritoneal Cancer Prevention
       15                                                    15          (PDQ) - Health Professional
       16                                                    16          Version                     89
       17                                                    17   Exhibit 16 Document entitled "Health Canada
       18                                                    18          Decision-Making Framework for
       19                                                    19          Identifying, Assessing, and
       20                                                    20          Managing Health Risks -
       21                                                    21          August 1, 2000"                101
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       23                                                    23          Review and Meta-Analysis of the
       24                                                    24          Association between Perineal Use
       25                                                    25
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        4   By Mr. Zellers       11                           4         of Talc and Risk of Ovarian
        5   By Mr. Klatt              301                     5         Cancer"                      109
        6   By Mr. Locke                337                   6   Exhibit 18 Printout entitled "Ovarian
        7             EXHIBITS                                7         Cancer: Risk Factors"             120
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        9   Exhibit 1 Notice of Oral and                      9   Exhibit 20 IARC Classifications              133
       10         Videotaped Deposition of                   10   Exhibit 21 Article entitled "Perineal use of
       11         Sonal Singh and Duces Tecum           13   11         talc and risk of ovarian cancer" 143
       12   Exhibit 2 Rule 26 Expert Report of               12   Exhibit 22 Article entitled "Genital use of
       13         Sonal Singh, MD, MPH              14       13         talc and risk of ovarian cancer:
       14   Exhibit 3 Sonal Singh, MD, MPH, FACP,            14         a meta-analysis"                157
       15         curriculum vitae              16           15   Exhibit 23 Article entitled "Perineal Talc
       16   Exhibit 4 List of references           17        16         Use and Ovarian Cancer, A Systematic
       17   Exhibit 5 Additional Materials and               17         Review and Meta-Analysis"             172
       18         Data Considered                17          18   Exhibit 24 Article entitled "The Association
       19   Exhibit 6 Updated Materials List          18     19         Between Talc Use and Ovarian Cancer,
       20   Exhibit 7 List of Trial Testimony         18     20         A Retrospective Case-Control Study
       21   Exhibit 8 List of Expert Deposition        19    21         in Two US States"                179
       22   Exhibit 9 Table 1 AMSTAR                   20    22   Exhibit 25 Article entitled "Tubal Ligation
       23   Exhibit 10 Rule 26 Expert Report of              23         Induces Quiescence in the Epithelia
       24         Sonal Singh, MD, MPH, with                 24         of the Fallopian Tube Fimbria"        206
       25         attachments                 21             25         - Continued -
                                                                                     3 (Pages 6 to 9)
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                                                  Page 10                                                   Page 12
        1             EXHIBITS                                   1   deposition as an expert for the plaintiffs in the
        2   Number        Description               Page         2   Talc MDL; is that correct?
        3   Exhibit 26 Article entitled "New Insights            3       A. Yes.
        4         into the Pathogenesis of Ovarian               4       Q. You are familiar with depositions?
        5         Cancer: Oxidative Stress"          228         5       A. Yes.
        6   Exhibit 27 Federal Register, Vol. 81,                6       Q. You've given a number of depositions in
        7         No. 243                     233                7   your career?
        8   Exhibit 28 Document entitled "Interpretation         8       A. I don't know about a number. Yes, I
        9         of Epidemiologic Studies on Talc               9   have.
       10         and Ovarian Cancer"               244         10       Q. Can you estimate for us the number of
       11   Exhibit 29 Article entitled "Association            11   depositions that you've given?
       12         between Body Powder Use and Ovarian           12       A. I think I've provided that list in the
       13         Cancer: The African American                  13   last five years.
       14         Cancer Epidemiology Study (AACES) 261         14       Q. I understand. My question is a little
       15   Exhibit 30 Article entitled "Does Exposure to       15   different.
       16         Asbestos Cause Ovarian Cancer?                16       How many have you given in your career?
       17         A Systematic Literature Review and            17       A. I can't tell you in my career. Maybe
       18         Meta-analysis"                 289            18   ten. Approximately.
       19   Exhibit 31 Article entitled "Occupational           19       Q. Have you ever testified at trial?
       20         Exposure to Asbestos and Ovarian              20       A. No.
       21         Cancer: A Meta-analysis"            293       21       Q. You understand today that I'm going to
       22   Exhibit 32 Chart                      316           22   ask you a number of questions and other counsel
       23                                                       23   may as well; correct?
       24                                                       24       A. Yes.
       25                                                       25       Q. Please don't answer any question that
                                                  Page 11                                                   Page 13
        1            PROCEEDINGS                                 1   you don't understand.
        2          THE VIDEOGRAPHER: We are now on the           2        Can you do that?
        3   record. My name is Jody Urbati. I am a               3        A. Yes.
        4   videographer for Golkow Litigation Services.         4        Q. If you don't understand a question, let
        5   Today's date is January 16, 2019, and the time is    5   me know, and I'll repeat the question or rephrase
        6   9:07 a.m.                                            6   it, so that we can make it clear to you.
        7          This video deposition is being held in        7        Can you do that?
        8   Worcester, Massachusetts, in the matter of Talcum    8        A. Yes.
        9   Powder Litigation, MDL No. 2738, for the United      9        Q. If you answer a question that I ask,
       10   States District Court, District of New Jersey.      10   then I'm going to assume that you understood it.
       11          The deponent today is Sonal Singh,           11   Is that fair?
       12   M.D., M.P.H.                                        12        A. Yes.
       13          Counsel will be noted on the                 13        Q. You are here today pursuant to a Notice
       14   stenographic record.                                14   of Deposition, which we have marked as Exhibit 1.
       15          The court reporter is Janet Sambataro        15             (Notice of Oral and Videotaped
       16   and will now swear in the witness.                  16        Deposition of Sonal Singh and Duces Tecum
       17          SONAL SINGH, M.D., M.P.H.,                   17        marked Exhibit 1.)
       18   having been duly sworn, after presenting            18   BY MR. ZELLERS:
       19   identification in the form of a driver's license,   19        Q. Is that correct?
       20   deposes and says as follows:                        20        A. Yes.
       21             DIRECT EXAMINATION                        21           MR. ZELLERS: Katherine, when I mark an
       22   BY MR. ZELLERS:                                     22   exhibit, I'm going to need to hand them to you.
       23      Q. State your name, please.                      23           MS. MCBETH: Sure.
       24      A. Sonal Singh.                                  24           MR. ZELLERS: Thank you.
       25      Q. Dr. Singh, we are here to take your           25

                                                                                    4 (Pages 10 to 13)
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                                                   Page 14                                                 Page 16
        1   BY MR. ZELLERS:                                      1       A. Yes.
        2       Q. Did you have an opportunity to review         2       Q. If at any time today you need to look
        3   Deposition Exhibit 1 before today's deposition?      3   at any of those documents, they're available, and
        4       A. Yes.                                          4   you're free to do that. Understood?
        5       Q. Have you brought with you or provided         5       A. It is understood.
        6   to counsel for production all materials in your      6       Q. You had attached or provided with your
        7   possession that are responsive to the Notice of      7   report a curriculum vitae, which I understand has
        8   Deposition?                                          8   been updated; is that right?
        9       A. I have.                                       9       A. Yes.
       10           MR. ZELLERS: I will mark, as                10          MR. ZELLERS: We will mark your updated
       11   Deposition Exhibit 2, your report in this matter    11   CV or curriculum vitae as Deposition Exhibit 3.
       12   dated November 16 of 2018.                          12            (Sonal Singh, MD, MPH, FACP,
       13             (Rule 26 Expert Report of Sonal           13       curriculum vitae marked Exhibit 3.)
       14       Singh, MD, MPH marked Exhibit 2.)               14          MR. ZELLERS: Folks, I believe that
       15   BY MR. ZELLERS:                                     15   Ms. Parfitt has distributed to you, before the
       16       Q. Is that correct?                             16   deposition, Exhibit 3.
       17       A. It is. It doesn't have the references.       17   BY MR. ZELLERS:
       18       Q. Deposition Exhibit 2 is just a copy of       18       Q. Can you tell us, just briefly, in what
       19   your report itself. It ends at Page 66.             19   respect has Exhibit 3 been updated from the CV
       20       Attached to your report were some additional    20   that was produced with your report in this
       21   materials; is that right?                           21   matter?
       22       A. Yeah. Yeah. I just want to make sure         22       A. A few publications, and then I was
       23   because when I refer to the report, I understand    23   elected to the fellowship of the American College
       24   it to include references and tables and so on.      24   of Physicians on January 1st. So I'm an FACP,
       25       Q. Your report includes everything that         25   and, yes, just a couple of publications,
                                                   Page 15                                                 Page 17
        1   was produced by plaintiffs' counsel as part of       1   presentations.
        2   that report; is that right?                          2      Q. Is the curriculum vitae that we have
        3       And, Dr. Singh, I'm going to mark separately     3   marked as Deposition Exhibit 3 complete and up to
        4   a number of the attachments --                       4   date?
        5       A. Okay.                                         5      A. Yes. Up to January 3rd. Yes.
        6       Q. -- to your report. Right now, I'm just        6      Q. Of 2019?
        7   trying to identify, is the body of your report --    7      A. 2019. Yeah.
        8       A. Yeah.                                         8      Q. Are there any further additions or
        9       Q. -- what we have identified and marked         9   corrections that need to be made to that CV?
       10   as Exhibit 2?                                       10      A. No.
       11           MS. PARFITT: And if I may,                  11          MR. ZELLERS: Deposition Exhibit 4 is
       12   Mr. Zellers, object. The body of the report,        12   the list of references from your report. And
       13   Dr. Singh may include as the body of the report     13   that goes from Page 67 to Page 75.
       14   plus all of its attachments.                        14      Q. Is that correct?
       15           So just so the record is clear, but I       15      A. Yes.
       16   understand how you'd like to conduct it, and        16             (List of references marked
       17   that's fine.                                        17      Exhibit 4.)
       18           MR. ZELLERS: Understood.                    18          MR. ZELLERS: Deposition Exhibit 5 is
       19   BY MR. ZELLERS:                                     19   also from your report, and it's a listing of
       20       Q. Your counsel today has provided us with      20   additional materials and data considered.
       21   two bankers boxes of your report, plus all of the   21             (Additional Materials and Data
       22   references from the report. Is that correct?        22      Considered marked Exhibit 5.)
       23       A. Yes.                                         23   BY MR. ZELLERS:
       24       Q. You also have brought that along with        24      Q. Is that right?
       25   you; is that right?                                 25      A. Yes.
                                                                                    5 (Pages 14 to 17)
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                                                   Page 18                                                  Page 20
        1          MR. ZELLERS: Deposition Exhibit 6 is          1   testimony list, several additional documents that
        2   an updated list of materials that defendants were    2   counsel for plaintiffs has indicated are
        3   provided on January 13th of 2019.                    3   responsive to the deposition notice.
        4             (Updated Materials List marked             4       Let me mark these. I have not had a chance
        5       Exhibit 6.)                                      5   to look at them yet substantively.
        6   BY MR. ZELLERS:                                      6           THE WITNESS: Sure.
        7       Q. Is that correct?                              7           MR. ZELLERS: But I will and may, at a
        8       A. Yes.                                          8   later time today, have some questions for you.
        9          MR. ZELLERS: Folks, I need one more of        9           THE WITNESS: Actually, I will say
       10   those back. Can I get one more? Thank you.          10   there's a substantive document that's not here.
       11          Deposition Exhibit 7 is a listing of         11   That's the table of rating that I created for the
       12   the trial testimony and expert deposition           12   report, and that should be part of the report.
       13   testimony that you have provided in the last five   13           MR. ZELLERS: Let me see if I can find
       14   years.                                              14   that.
       15             (List of Trial Testimony marked           15   BY MR. ZELLERS:
       16       Exhibit 7.)                                     16       Q. It would be helpful to have that marked
       17   BY MR. ZELLERS:                                     17   as well; is that right?
       18       Q. Is that right?                               18       A. Yes.
       19       A. Yes. Actually, I have provided them an       19           MR. ZELLERS: I will mark, as
       20   update, as well, of that. So I don't know if        20   Deposition Exhibit 9, the Amstar rating of
       21   that was with you, but --                           21   reviews, Pages 77 and 78 from your full report.
       22       Q. You have brought with you today an           22            (Table 1 AMSTAR marked
       23   updated list of expert deposition testimony for     23       Exhibit 9.)
       24   the last five years?                                24   BY MR. ZELLERS:
       25       A. Yes. No. 7 is the update.                    25       Q. Is that right?
                                                   Page 19                                                  Page 21
        1           MR. ZELLERS: We will mark the updated        1      A. Thank you.
        2   trial testimony list as Deposition Exhibit 8.        2          MR. TISI: That was No. 9?
        3             (List of Expert Deposition                 3          MR. ZELLERS: No. 9.
        4       marked Exhibit 8.)                               4          Let's go off the stenographic record.
        5           MR. ZELLERS: And I understand that's         5   You can keep the video going.
        6   out of order, but I premarked one other exhibit.     6     (Discussion off the stenographic record.)
        7   BY MR. ZELLERS:                                      7          MR. ZELLERS: Let's go back on the
        8       Q. What is the difference between                8   stenographic record here.
        9   Deposition Exhibit 8, your updated list of           9          Doctor, counsel for plaintiffs have
       10   deposition testimony, and Exhibit 6, which is the   10   requested, and I am agreeable to marking a
       11   list of testimony you provided with your report     11   complete copy of your report, including all of
       12   in November?                                        12   the reference list and other materials that we've
       13       A. Yes. So there's an updated deposition        13   marked individually, so the complete copy of your
       14   in a medical-legal case regarding standard of       14   report with all attachments, we will mark as
       15   care.                                               15   Deposition Exhibit 10.
       16       Q. You've added that --                         16            (Rule 26 Expert Report of Sonal
       17       A. Yes.                                         17      Singh, MD, MPH, with attachments marked
       18       Q. -- to --                                     18      Exhibit 10.)
       19       A. No. 7.                                       19   BY MR. ZELLERS:
       20       Q. -- what we have marked as Deposition         20      Q. Have we, though, marked individually
       21   Exhibit 8?                                          21   your complete record -- strike that.
       22       A. Yes, it is.                                  22      Have we marked individually your complete
       23       Q. In addition to the materials that we         23   report prior to marking Exhibit 10?
       24   have marked already, which were provided, other     24      A. Yes.
       25   than the updated CV and the updated expert          25            (Letter dated June 1, 2015
                                                                                    6 (Pages 18 to 21)
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                                                   Page 22                                                  Page 24
        1      marked Exhibit 11.)                               1      A. Yes.
        2   BY MR. ZELLERS:                                      2         MS. PARFITT: And for the record,
        3      Q. The documents that were produced by            3   Mr. Zellers, and we can go ahead and redact the
        4   counsel this morning, Deposition Exhibit 11, is a    4   copy later, but just so the record is clear, that
        5   June 1st, 2015 letter with Janssen                   5   communication at the top to me from Dr. Singh was
        6   Pharmaceuticals at the top to you from a             6   simply, we asked him, do you have any
        7   Dr. Zanca. Is that right?                            7   communications, and then he sent it to me.
        8      A. Yes.                                           8         MR. TISI: We'll redact the part with
        9      Q. Is this inviting you to a program?             9   your agreement.
       10      A. Yes. Consultation for a panel on              10         MR. ZELLERS: Yes. We can do that at a
       11   products discussion manufactured by Johnson and     11   break --
       12   Janssen Pharmaceuticals.                            12         MS. PARFITT: At a break.
       13      Q. You're producing this in response to          13         MR. ZELLERS: -- or, you know, at the
       14   the request asking for all communications between   14   conclusion --
       15   yourself and any Johnson & Johnson company; is      15         MS. PARFITT: I appreciate that. Thank
       16   that right?                                         16   you.
       17      A. That's what I understood it to be,            17         MR. ZELLERS: -- of the deposition.
       18   but -- yeah.                                        18   BY MR. ZELLERS:
       19      Q. You've gone and you've made a search,         19      Q. Do you -- strike that.
       20   and in the search for additional records            20      The date of your e-mail at the bottom of
       21   responsive to the Notice of Deposition, which we    21   Page 1 is December 13th of 2018; is that right?
       22   marked as Exhibit 1, you have brought these         22      A. Yes.
       23   additional documents that we're marking here; is    23      Q. You had been retained as an expert?
       24   that correct?                                       24      A. Yes.
       25      A. Well, I wouldn't say I made a search.         25      Q. And had submitted, in fact, your expert
                                                   Page 23                                                  Page 25
        1   I sort of read it, you know, decided, okay, what     1   report that we have marked previously; is that
        2   other additional things that are requested and,      2   right?
        3   you know, recalled that I had had this               3      A. Yes.
        4   interaction with Johnson & Johnson employees.        4      Q. In this communication, Exhibit 12, do
        5       Q. Are you comfortable that you have             5   you at all identify yourself as a paid, retained
        6   brought with you today all of the documents that     6   expert for the plaintiffs in the talc litigation?
        7   are responsive to the Notice of Deposition?          7      A. No. This was just a communication
        8       A. Yes.                                          8   about references, and I did not.
        9             (Email string with top e-mail              9          MR. ZELLERS: Dr. Singh, the next set
       10       dated December 27, 2018 marked Exhibit 12.)     10   of documents that you have brought with you and
       11          MR. ZELLERS: All right.                      11   that we will mark collectively as Exhibit 13 are
       12   BY MR. ZELLERS:                                     12   your invoices.
       13       Q. Deposition Exhibit 12 is an e-mail           13            (Invoices from Dr. Singh marked
       14   string. The very last e-mail is from you to --      14      Exhibit 13.)
       15   well, it's to Michelle Parfitt. I'm assuming        15   BY MR. ZELLERS:
       16   that you were forwarding to Ms. Parfitt just the    16      Q. The first invoice is dated July 14 of
       17   e-mail below, which is from you to Mr. Restaino     17   2010. There's a total of five invoices.
       18   and then, apparently, the substantive e-mail is     18      The last invoice is from July 11, 2018, to
       19   at the bottom of the first page of Exhibit 12.      19   November 19, 2018. Is that right?
       20       And this is a communication e-mail from you     20      A. It should be 2017, not 2010. I'm
       21   to Lee-May Chen and others; is that right?          21   sorry. You mentioned 2010.
       22       A. Yes.                                         22      Q. And the date is 2017?
       23       Q. The subject is "Up-to-date references."      23      A. Yeah. I wanted to correct that.
       24   And the section on epidemiology and risk factors    24      Q. No. Thank you for correcting that.
       25   of ovarian cancer; is that right?                   25      I also have not had a chance to review,
                                                                                    7 (Pages 22 to 25)
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                                                   Page 26                                                 Page 28
        1   substantively, the invoices.                         1            (Plaintiffs' Steering
        2       A. Sure.                                         2      Committee's Response and Objections to the
        3       Q. And I don't think we have a complete          3      Notice of Oral and Videotaped Deposition of
        4   copy. I'm going to ask you some questions in a       4      Sonal Singh and Duces Tecum marked Exhibit
        5   bit.                                                 5      14.)
        6       A. We do have a complete copy. I mean, in        6          MR. ZELLERS: Back on the stenographic
        7   terms of --                                          7   record.
        8       Q. No. I understand that Exhibit 13 is a         8          Dr. Singh, at the request of
        9   complete copy of your invoices.                      9   plaintiffs' counsel, we will mark and
       10       A. Yeah.                                        10   incorporate, as an Exhibit 14, the objections
       11       Q. That you now have the copy in front of       11   that plaintiffs have filed to the deposition
       12   you. I don't have the copy in front of me. Keep     12   notice.
       13   it. I'll have some questions for you a bit          13          MS. PARFITT: Thank you.
       14   later.                                              14   BY MR. ZELLERS:
       15       Have we now marked all documents that are       15      Q. Have we identified and marked all of
       16   responsive to the Notice of Deposition which you    16   the documents that you have produced pursuant to
       17   have produced here today? And let me withdraw       17   the Notice of Deposition?
       18   that.                                               18      A. We have.
       19       Have we now marked all of the documents that    19      Q. To your knowledge, there are no
       20   you have produced in response to the Notice of      20   additional documents that you have in your
       21   Deposition?                                         21   possession to produce; is that right?
       22       A. Yeah. And I think that, you know,            22      A. I don't have any additional documents.
       23   there were some updated materials that I reviewed   23      Q. The report that we have marked as
       24   that are part of this list.                         24   Deposition Exhibit 10, does that contain all of
       25       Q. All right. And we need to be more            25   the opinions that you intend to offer at trial?
                                                   Page 27                                                 Page 29
        1   specific --                                          1       A. Actually, it's Deposition Exhibit 2.
        2       A. Sure.                                         2       Q. I understand.
        3       Q. -- as you understand from doing this          3       A. Sorry. I'm a little confused here.
        4   before.                                              4       Q. That's fine. We don't want you to be
        5       You are referring to the list of updated         5   confused. And I asked you in the beginning to
        6   materials that was produced about a week ago?        6   tell me if you were getting confused.
        7       A. Yeah.                                         7       We have marked Deposition Exhibit 10, which
        8       Q. And that is Deposition Exhibit -- well,       8   contains all of the attachments --
        9   strike that.                                         9       A. Okay.
       10       Just for the record, it was produced on         10       Q. -- that we have separately marked; is
       11   January 13th of 2019. The updated materials that    11   that right?
       12   you have reviewed are listed on Deposition          12       A. Yeah. Yeah.
       13   Exhibit 6; is that right?                           13       Q. All right. The substance of your
       14       A. I have not reviewed these materials. I       14   report in terms of your written opinions, we have
       15   was provided these materials. I have reviewed       15   marked separately as Exhibit 2; correct?
       16   portions of these. I have not had a chance to       16       A. Yes.
       17   review all of these materials.                      17       Q. Does that report, Exhibit 2, and also
       18       Q. Anything else that you have responsive       18   marked as Exhibit 10, contain all of the opinions
       19   to the deposition notice that we have not marked?   19   that you intend to offer at any trial or hearing
       20       A. Give me a second. Let me read.               20   in this matter?
       21          MS. PARFITT: If we can go off the            21       A. Well, I mean, it's hard to say it
       22   stenographic record for one moment while he's       22   contains all the opinions because there have been
       23   doing it.                                           23   some updates since then and, you know, science
       24          MR. ZELLERS: Sure.                           24   evolves.
       25     (Discussion off the stenographic record.)         25       Q. Go ahead. Finish your answer.
                                                                                    8 (Pages 26 to 29)
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        1       A. Science evolves, and, you know, we            1   that you intend to provide at any hearing or
        2   update our opinions. So it's not like you offer      2   trial in this matter?
        3   an updated opinion one day and that stays that       3       A. No. I'm relying on additional evidence
        4   way.                                                 4   since then that has become available on this.
        5       Q. Dr. Singh, this is our opportunity to         5       Q. Let's -- I will ask you a new question.
        6   ask you questions about the opinions that you        6       Are all of the materials that you are
        7   have formed in this matter.                          7   relying on in forming the opinions that you
        8       As of today, does your report, which we've       8   expect to testify to at any hearing or trial,
        9   marked as Exhibit 2 and also --                      9   identified either in your report, which we have
       10          MS. PARFITT: 10.                             10   marked as Exhibit 10, or the updated list of
       11       Q. -- Exhibit 10, does that include all         11   materials, which we have marked as Exhibit 6?
       12   of the opinions that you intend to testify to at    12       A. Yes.
       13   any trial or hearing of this matter?                13           MS. PARFITT: And 5.
       14       A. Yes. In terms of the causation               14           THE WITNESS: Okay. That's the part of
       15   opinions, it does. But in terms of what             15   the whole report.
       16   additional evidence has been reviewed or what       16           MR. ZELLERS: Yes.
       17   additional evidence has come up that, you know,     17   BY MR. ZELLERS:
       18   supports or refutes that, that might have           18       Q. Exhibit 5 had previously been produced
       19   changed.                                            19   as part of your report; is that right?
       20       Q. Dr. Singh, do you have any new or            20       A. Yes.
       21   additional opinions today that you intend to        21       Q. Is your report accurate?
       22   offer at any trial or hearing of this matter        22       A. Yes.
       23   beyond the opinions that are included in your       23       Q. Is your report complete?
       24   report which we've marked as Exhibit 2 and          24       A. Yes, it is. It has some typos, but...
       25   Exhibit 10?                                         25       Q. As we go along, if there's a typo --
                                                   Page 31                                                 Page 33
        1       A. I'm sorry. I'm just not -- it's not           1   strike that.
        2   like I don't want to answer. I'm trying to           2       Are there any typos that are substantive
        3   understand. When you say "additional opinions,"      3   typos?
        4   does it just mean like a causal opinion or does      4       A. No. But sometimes it's we and they. I
        5   it mean --                                           5   can point that out at some point in time.
        6       Q. Dr. Singh, you have done this before;         6       Q. Are there any documents that were in
        7   right?                                               7   your possession that you produced to counsel
        8       A. Yeah. I'm trying to understand and I'm        8   responsive to the deposition notice that have not
        9   trying to be responsive.                             9   been produced here?
       10       Q. This is the defense opportunity to ask       10       A. No. Not that I can think of.
       11   you what opinions you intend to offer at any        11       Q. When were you first contacted by anyone
       12   hearing or trial of this matter.                    12   regarding the talc ovarian cancer litigation?
       13       As of today, do you have any additional         13       A. So this was in 2017 by Attorney John
       14   opinions beyond the opinions that are set forth     14   Restaino and Attorney Parfitt. I don't know the
       15   in your report which you intend to offer at any     15   exact day, but it has to be the, you know, spring
       16   trial or hearing of this matter?                    16   or summer of 2017. Spring or summer.
       17       A. I don't -- yeah -- I mean, it's, you         17       Q. Your invoice, your first invoice is
       18   know, the opinions that I've offered are included   18   dated July of 2017; is that right?
       19   in the report.                                      19       A. Yeah. But, you know, it just covers a
       20       Q. Does your report identify -- and by          20   period of background. It's not that they
       21   "report," we can refer to the report that we've     21   contacted me and may have contacted me prior to
       22   marked as Exhibit 10.                               22   that.
       23       A. Mm-hmm.                                      23       Q. Sometime in the first part of 2017, you
       24       Q. Does that report identify everything         24   were contacted by Mr. Restaino and by
       25   that you are relying on in forming the opinions     25   Ms. Parfitt; is that right?
                                                                                    9 (Pages 30 to 33)
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        1       A. Yes.                                          1   you asked to do?
        2       Q. Anyone else?                                  2       A. So to clarify, I don't know I was
        3       A. No.                                           3   retained at that time.
        4       Q. What attorneys have you met with or           4       I was asked to consult on and provide, you
        5   communicated with in the talc ovarian cancer         5   know, a review and look at -- look at the
        6   litigation other than Ms. Parfitt and                6   literature on this topic. So I'm not sure --
        7   Mr. Restaino?                                        7   depending on semantics, you can define it as
        8       A. So Attorney Chris Tisi, and then I have       8   being retained or, you know -- I don't think we
        9   communicated on the phone with Attorney Gates.       9   had an "agreement," but I was asked to provide a
       10   Is that -- no. Margaret?                            10   consultation on that matter. And these invoices
       11       Q. Margaret Thompson?                           11   include that consult.
       12       A. Thompson. Yeah.                              12       Q. In the first part of 2017, what were
       13       Q. Do you know Margaret Thompson?               13   you asked by counsel for plaintiffs in the talc
       14       A. I mean, I know her as an attorney. I         14   litigation, ovarian cancer talc litigation, to
       15   just spoke to her on the phone for 30 minutes.      15   do?
       16       Q. Have you ever met in person with             16           MS. PARFITT: Objection. Limit your
       17   Ms. Thompson?                                       17   response to communications with regard to simply
       18       A. No.                                          18   the requests, not the conversations.
       19       Q. Have you ever had any communications or      19       A. Yeah. So I was asked to review, you
       20   interactions with Ms. Thompson other than the       20   know, the literature on talcum powder products
       21   30-minute-or-so phone call?                         21   and ovarian cancer.
       22       A. No.                                          22       Q. Had you ever done that before?
       23       Q. When was that conversation with              23           MS. PARFITT: Objection. Form.
       24   Ms. Thompson?                                       24       A. I mean, when I say "review," yes, I had
       25       A. I don't know. A couple of days ago.          25   read about talcum powder products and ovarian
                                                   Page 35                                                 Page 37
        1   Yeah.                                                1   cancer.
        2       Q. It was in preparation for the                 2       Q. You were asked to make a systematic
        3   deposition; is that right?                           3   review of the literature relating to talcum
        4       A. Yes.                                          4   powder products and ovarian cancer; is that
        5       Q. How much time did you spend with the          5   right?
        6   lawyers for plaintiffs preparing for this            6       A. Not necessarily a systematic review,
        7   deposition?                                          7   but they asked me to, you know, review the
        8       A. With the lawyers, I've spent -- yeah,         8   literature, and I had been reading it from
        9   I'd have to go back, maybe five or six hours.        9   other -- from my own reading in different
       10   But, again, I can't be very precise.                10   journals, and they asked me to, you know, review
       11       Q. Any other attorneys that you've              11   and, you know, provide my own opinion on that
       12   communicated with that you understand to            12   matter.
       13   represent the plaintiffs other than the attorneys   13       Q. At some point, you were retained,
       14   that you have identified?                           14   agreed --
       15       A. No. Not that I can recall.                   15       A. Yes.
       16       Q. Do you understand that you are -- or         16       Q. -- to work with the attorneys for
       17   strike that -- have been retained as an expert by   17   plaintiffs; is that right?
       18   plaintiffs in the MDL talc ovarian cancer           18       A. Yes.
       19   litigation?                                         19          MS. PARFITT: Objection. Form.
       20       A. Right now, I do. Yes.                        20       Q. Were you ever given any new or
       21       Q. Is there any other ovarian cancer            21   additional assignment in the MDL talc ovarian
       22   litigation matter that you have been retained in?   22   cancer litigation other than to do a literature
       23       A. No.                                          23   review?
       24       Q. When you were retained back in early         24          MS. PARFITT: Objection. Form.
       25   2017 by Mr. Restaino and Ms. Parfitt, what were     25       A. Well, I mean, I guess I was, you know,
                                                                                  10 (Pages 34 to 37)
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                                                   Page 38                                                 Page 40
        1   asking the causal question that is the use of        1   that right?
        2   talcum powder products a cause of ovarian cancer.    2       A. Yes.
        3       Q. You looked at the literature --               3       Q. How much are you charging per hour for
        4       A. Mm-hmm.                                       4   your time in this case?
        5       Q. -- to try to determine if you could           5       A. $600 an hour.
        6   answer that question; is that right?                 6       Q. You have invoices in front of you.
        7       A. Yeah. So we looked at -- I looked at          7       What is the total value of the time that
        8   the literature and, you know, obviously, looked      8   you've spent on the talc ovarian cancer
        9   at other documents and performed a methodology,      9   litigation, whether that's been billed or not
       10   and we can discuss that in detail later.            10   billed, paid or not paid?
       11       But the primary question of interest is --      11       A. I can't calculate the time. I can
       12   was, is the use of perineal use of talcum powder    12   calculate --
       13   products associated with and causally related to    13       Q. Can you estimate it for us?
       14   the development of ovarian cancer.                  14       A. I don't want to give a number that's
       15       Q. That has been the request from               15   inaccurate; right? I mean, these are accurate
       16   plaintiffs' counsel to you in terms of providing    16   numbers. But I will just have to sum it up --
       17   expert opinions in this matter; is that right?      17       Q. Let's try to do this as quickly as we
       18       A. Yes.                                         18   can.
       19       Q. When were you first asked to prepare a       19       A. Yeah.
       20   report setting forth your opinions?                 20       Q. The five invoices that you've marked
       21       A. Again, I can't recall the specific           21   or -- strike that -- that we have marked as
       22   timelines. I'm sorry. It's been a while.            22   Deposition Exhibit 13 --
       23       Q. Were you asked by plaintiffs to assume       23       A. Mm-hmm.
       24   any facts?                                          24       Q. -- does that capture all of your time
       25       A. No. I mean, at that time, you know,          25   on the ovarian cancer talc litigation through
                                                   Page 39                                                 Page 41
        1   and even prior to that, I was reading the            1   November of last year?
        2   literature. I was, you know, agnostic to it.         2       A. Yes.
        3       And, yeah, I didn't -- in fact, I didn't         3       Q. Is there any additional time that you
        4   form an opinion on this topic until -- until the     4   have spent on the talcum powder litigation up
        5   very end of, you know, 2018.                         5   through November of last year that's not
        6       Q. When you say you were "agnostic" --           6   reflected in the invoices we've marked as
        7       A. Mm-hmm.                                       7   Exhibit 13?
        8       Q. -- to this issue, whether or not              8       A. No.
        9   talcum powder products are associated with           9       Q. All right. First invoice, what is the
       10   ovarian cancer, do you mean that you had not        10   total?
       11   formally come up with or developed any opinions     11       A. 9,300.
       12   prior to becoming involved as an expert for         12       Q. The second invoice, total?
       13   plaintiffs?                                         13       A. Twenty, one, zero, zero.
       14           MS. PARFITT: Objection. Form.               14       Q. 21,000?
       15       A. Yeah. So my -- what I mean is I had          15       A. 20,100.
       16   not systematically reviewed the literature to       16       Q. Next invoice, total?
       17   form an opinion whether talcum powder products      17       A. 5,100.
       18   is, so I had not done the processes required to,    18       Q. Next invoice, total?
       19   you know, develop an opinion.                       19       A. 19,200.
       20       Q. All right. You have now done that and        20       Q. Last invoice, total?
       21   you're here to talk about it; is that right?        21       A. 40,800.
       22       A. Yes.                                         22       Q. Since November of 2018, can you
       23       Q. Plaintiffs' counsel have paid you for        23   estimate for us the number of hours that you have
       24   your time to review documents, the literature,      24   spent on this matter?
       25   prepare a report, and render your opinions; is      25       A. So, I mean, apart from three to five
                                                                                  11 (Pages 38 to 41)
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        1   hours that I spent with the lawyers, I don't         1       A. Okay.
        2   know. Maybe I've spent 10, 15 hours on my own.       2       Q. What percentage of income is from
        3   Maybe more. I just don't have that exact number.     3   consulting on litigation matters? Give us an
        4   I'll have to look.                                   4   estimate.
        5        Q. At some point, you will submit an            5       A. Okay. Yeah. Maybe 30 percent. I'm
        6   invoice --                                           6   doing my best to give you --
        7        A. Yes.                                         7       Q. Is that your -- you're here to be
        8        Q. -- for your time; is that right?             8   truthful; correct?
        9        A. After today. Yeah.                           9       A. Yeah.
       10        Q. Have you been disclosed as an expert in     10       Q. Is 30 percent of your income from
       11   any other talcum powder proceeding aside from       11   consulting on litigation matters, is that your
       12   this case?                                          12   best estimate as you sit here today?
       13        A. No.                                         13          MS. PARFITT: Objection. Some clarity
       14        Q. What percent of your professional time      14   as to over what period of time?
       15   do you currently spend performing work as a         15       A. Yeah. Over five years, I mean, that's
       16   consultant?                                         16   my best estimate.
       17        A. Yeah. It could be -- you know, varies.      17       Q. Is it a little bit more now?
       18   It could be 20 to 30 percent of my time.            18          MS. PARFITT: Objection.
       19   Sometimes 20 percent.                               19       A. Well, over the last year, yes, but over
       20        Q. Has that 20 to 30 percent of your           20   five.
       21   professional time spent working as a consultant,    21       Q. Over the last year, what are you
       22   has that been consistent for the past five, ten     22   working on? You're working on the talc
       23   years?                                              23   litigation; is that right?
       24        A. Yeah. So, actually, it's been less in       24          MS. PARFITT: Objection. Form.
       25   the past, sometimes a little more, but, you know,   25       Q. Doctor, did you hear my question?
                                                   Page 43                                               Page 45
        1   overall, I would average out, you know, sort of      1       A. Yeah. Yeah.
        2   as I was preparing over the last five years, it      2       Q. What other litigations are you serving
        3   would probably be 15 to 20 percent, but, you         3   as an expert for?
        4   know --                                              4       A. Viagra.
        5       Q. Currently, though, best estimate is 20        5       Q. You're an expert for plaintiffs in
        6   to 30 percent; is that right?                        6   Viagra; is that right?
        7       A. Over the last six months. Yes.                7       A. Yes.
        8       Q. What percent of your income is from           8       Q. What other litigations are you serving
        9   consulting on litigation matters?                    9   as an expert for plaintiffs in?
       10       A. Again, I can't give you my gross             10       A. None other than that, that I know of.
       11   income. I mean, I --                                11       Q. Are you still working as an expert for
       12       Q. I don't want your gross income. I'm          12   plaintiffs in the Lipitor litigation?
       13   asking just for -- I just want to know a            13       A. That ended several years ago, as far as
       14   percentage of your income that comes from           14   I recall.
       15   consulting in litigation cases.                     15       Q. You list two Tasigna cases against
       16       A. Well, again, you know, consulting is         16   Novartis.
       17   not just litigation for me. As I said, I've         17       Are you still working on those cases?
       18   consulted, you know, including for J&J, Eli         18       A. That ended in, I think, in -- yeah, it
       19   Lilly, others, that's, you know, on my CV.          19   ended.
       20   Overall, and other, you know, insurers. So it's     20       Q. You list on your expert testimony,
       21   not just -- first of all, it's not litigation       21   2018; is that right?
       22   consulting that I do.                               22       A. Yes. I mean, but I listed everything
       23       Q. Dr. Singh --                                 23   that was -- I have done in the five years. It
       24       A. Yes.                                         24   doesn't mean that those are ongoing.
       25       Q. -- listen to my question, if you can.        25       Q. You are no longer serving as an expert,
                                                                                 12 (Pages 42 to 45)
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                                                  Page 46                                                   Page 48
        1   to your knowledge, in the Tasigna cases; is that     1       A. I don't understand. Like, what is a
        2   right?                                               2   personal injury? Is it like somebody -- MVA kind
        3       A. Yes.                                          3   of case or --
        4       Q. How about the Rahmoeller versus Walmart       4       Q. Well, you've been involved in Lipitor.
        5   litigation, is that still ongoing?                   5   You have been involved in a number of other
        6       A. That stopped, but, you know, it's been        6   litigations. Let me withdraw that question. Let
        7   a year since I've heard anything, so I don't         7   me make it a little more precise.
        8   know.                                                8       Have you ever been retained in a case
        9       Q. You also provided testimony in a matter       9   involving cosmetic products?
       10   of Brufett versus Washington University.            10       A. No.
       11       Is that still ongoing?                          11       Q. In the preparation of your report, did
       12       A. That has ended.                              12   you review the other expert reports provided by
       13       Q. Is it fair to say that all of the cases      13   plaintiffs in this MDL litigation?
       14   in which you have been retained in the past --      14       A. I mean, other than those cited, I have
       15       A. Sure.                                        15   not had a chance to review them.
       16       Q. -- as an expert for plaintiffs               16       Q. The updated materials list that you
       17   involving a pharmaceutical company defendant have   17   have produced here today, which we've marked as
       18   involved prescription medications?                  18   Exhibit 6, it contains a number of expert reports
       19       A. Yeah. Prescription medications, issues       19   from plaintiff experts in the MDL talcum powder
       20   of systems. I mean, that's my area of research.     20   ovarian cancer litigation; is that right?
       21       Q. How much of your work is for plaintiffs      21       A. Yes.
       22   versus defense as a litigation consultant?          22       Q. What is Exhibit 6? It says "Updated
       23           MS. PARFITT: Objection. Form.               23   materials."
       24       A. Yeah. I mean, over the last ten years,       24       Does that mean updated materials that you
       25   I've provided opinions to both sides, but I have    25   have reviewed and considered?
                                                  Page 47                                                   Page 49
        1   not been, you know -- when you say how much of       1       A. They were provided to me at some point
        2   your work, is it time spent or --                    2   in time between November 15th, and I haven't
        3      Q. In terms of time spent, most of your           3   even -- I have actually not reviewed any of the
        4   work is for plaintiffs; is that right?               4   expert reports other than those that have been
        5      A. I would say, yeah, 70 percent. Yeah.           5   cited in my report.
        6      Q. And it can be more than 70 percent; is         6       Q. This list of updated materials is
        7   that right?                                          7   something that was provided to you by plaintiffs'
        8          MS. PARFITT: Objection to form.               8   counsel; is that right?
        9   Objection to form.                                   9       A. Yes.
       10      A. Well, it depends, again, for frame of         10       Q. Have you reviewed any of the materials
       11   time and, you know, if you say yes, in the last     11   that are on the updated materials list, which we
       12   year, yes. More than --                             12   have marked as Exhibit 6?
       13      Q. Last year, it's been more than                13       A. Yeah. I had a chance to review some of
       14   70 percent --                                       14   them.
       15      A. Sure.                                         15       Q. Which materials that are identified on
       16      Q. -- for plaintiffs; is that right?             16   Exhibit 6, updated materials, have you actually
       17      A. Yes.                                          17   looked at, reviewed, and considered?
       18      Q. Have you ever been retained in a case         18       A. Yeah. So, I mean, I was already aware
       19   involving asbestos?                                 19   of the Health Canada assessment and, you know, so
       20      A. No.                                           20   that's -- I've reviewed.
       21      Q. Have you ever been involved in a              21       I have reviewed, obviously, the Up to Date,
       22   case -- strike that.                                22   that childs sent.
       23      Have you ever been retained in a case            23       I have reviewed the state of the science. I
       24   involving personal injuries?                        24   have reviewed --
       25          MS. PARFITT: Objection. Form.                25       Q. What do you mean "state of science"?
                                                                                  13 (Pages 46 to 49)
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                                                Page 50                                                 Page 52
        1   Where is that listed?                            1       Q. Did you review Talc Information Sheet,
        2      A. No. 2. No. 2.                              2   Health Canada?
        3      Q. All right. You've reviewed Chen Up to      3       A. Yes.
        4   Date. You have reviewed the second reference,    4       Q. Talc Potential Risk of Lung Effects?
        5   Committee on the State of Science.               5       A. Yes.
        6      A. Yeah.                                      6       Q. Task Force on Science Risk Assessment?
        7      Q. Have you reviewed the Evolving             7       A. Yes.
        8   Paradigms and Research and Care?                 8       Q. The Weed Reference?
        9      A. Yes.                                       9       A. Yes.
       10      Q. The Draft Screening Assessment, Talc      10       Q. And the Zervomanolakis citation?
       11   Health Canada?                                  11       A. Yes.
       12      A. Yes.                                      12       Q. Have we covered all of the materials
       13      Q. The EFSA Science Committee?               13   that you've reviewed on the updated materials
       14      A. Yes.                                      14   list? Is that right?
       15      Q. The EPA documents that are listed?        15       A. Yes.
       16      A. No.                                       16       Q. Have you communicated or had any
       17      Q. The FDA Ingredients Talc?                 17   discussions with any of the other plaintiffs'
       18      A. No.                                       18   experts in the talc ovarian cancer litigation?
       19      Q. The Fadak Burnola citation?               19       A. No.
       20      A. Yes.                                      20       Q. Have you reviewed any deposition or
       21      Q. The Federal Register, Volume 81?          21   trial transcripts from prior talcum powder cases?
       22      A. Yes.                                      22       A. Not prior cases, but I reviewed the
       23      Q. Have you reviewed the Kemp hearing        23   deposition of Dr. Plunkett.
       24   opinion and order?                              24       Q. Plunkett?
       25      A. I don't think so.                         25       A. Plunkett.
                                                Page 51                                                 Page 53
        1      Q. The Keys Model Information Bias?           1       Q. Have you reviewed any other depositions
        2      A. Yes.                                       2   of experts that have been taken in the MDL
        3      Q. Kunz?                                      3   ovarian cancer talcum powder litigation?
        4      A. Yes.                                       4       A. No.
        5      Q. Official Journal of the European Union?    5       Q. Did you conduct any independent
        6      A. No.                                        6   investigation to reach your opinions?
        7      Q. Qiao, Q-I-A-O?                             7       A. I mean, I -- my opinion is independent
        8      A. No.                                        8   of these.
        9      Q. Risk Management Scope, Talc Health         9       Q. As I understand it, what you did is you
       10   Canada?                                         10   were asked by plaintiffs to review and consider
       11      A. No.                                       11   and form an opinion regarding the causal
       12      Q. You have not reviewed any of the          12   question. Is that right?
       13   plaintiff expert reports submitted in this      13       A. Yes.
       14   matter. Is that your testimony?                 14       Q. To do that, you went and you reviewed a
       15      A. Yeah. They were provided to me and,       15   number of different literature sources; is that
       16   you know, I formed my opinion independent of    16   right?
       17   them.                                           17          MS. PARFITT: Objection. Misstates his
       18      Q. Have you reviewed any of the reports      18   opinion. He indicated he had reviewed some prior
       19   prepared and submitted by plaintiffs that are   19   to that.
       20   identified in your updated materials?           20          MR. ZELLERS: Ms. Parfitt, just object,
       21      A. No. Except if any of them were cited,     21   form. And let's not have speaking objections.
       22   that's the one that I reviewed it in.           22          MS. PARFITT: And you won't find that I
       23      Q. Yup. Did you review Talc Canada Plain     23   will. I want to make sure we have an accurate
       24   Language Summary?                               24   record.
       25      A. Yes.                                      25          I can wait until the very end and do a
                                                                              14 (Pages 50 to 53)
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        1   recross, but I'm trying to clean it up.           1   not necessarily the ones who may have helped me
        2   BY MR. ZELLERS:                                   2   in printing articles.
        3       Q. Doctor, go ahead.                          3      Q. My question is: Who helped prepare
        4       A. I didn't get the question. Can you         4   your report other than yourself?
        5   repeat?                                           5          MS. PARFITT: Objection. Objection. I
        6       Q. Sure. The question is: You were asked      6   believe you've asked that. He's answered it.
        7   to form an opinion by plaintiffs. You went out    7      A. Okay. Let me answer.
        8   and you reviewed the literature.                  8      Q. Sure. Go ahead, Doctor. Please
        9       You considered the literature and you         9   answer.
       10   formulated an opinion; is that right?            10      A. I prepared my report.
       11       A. Yes.                                      11      Q. I understand you prepared your report.
       12          MS. PARFITT: Objection.                   12      My question is: Did anyone assist you in
       13       A. And it was an independent opinion.        13   preparing your report?
       14       Q. An independent opinion based upon your    14          MS. PARFITT: Objection.
       15   review of the literature; is that right?         15      A. No.
       16       A. Yeah. Based upon my review of the         16      Q. You were provided some materials by
       17   literature and the documents and, you know,      17   plaintiffs' counsel; is that right?
       18   whatever was available to me.                    18      A. Yes.
       19       Q. And those -- all of those materials       19      Q. You reviewed some of those materials,
       20   that you reviewed, considered and relied upon    20   but not all of those materials; is that right?
       21   have been included in the exhibits that we've    21      A. Yes.
       22   marked in this deposition; is that right?        22      Q. In terms of the references, Exhibit 4.
       23       A. That is correct.                          23   And that is identified as Pages 67 through 75 in
       24       Q. Was there anything that you asked         24   your full report that we marked as Exhibit 10.
       25   plaintiffs' counsel for to prepare your report   25      But looking at your references, Exhibit 4,
                                                Page 55                                                 Page 57
        1   that you were not provided with?                  1   some of these references were provided by counsel
        2       A. No.                                        2   for plaintiffs to you; is that right?
        3       Q. Did anyone assist you in the               3          MS. PARFITT: Objection.
        4   preparation of your report?                       4       A. Yes.
        5       A. Well, I may have asked them to print,      5       Q. Some, you went out and found on your
        6   like, these things and, you know, I may have      6   own; is that right?
        7   asked my -- I had means to print some articles    7       A. Well, it's not that way. It's the
        8   when I was preparing that.                        8   majority of the references, I would say
        9       Q. Do you have a staff?                       9   95 percent of, are my own work, and, you know, I
       10       A. Yes.                                      10   had questions about the product and the
       11       Q. All right. Who is your staff?             11   mechanism, what additional documents were
       12       A. I have several staff. I have, you         12   available.
       13   know, three offices.                             13       And that's a process. And documents were
       14       Q. So you have three offices?                14   provided, and they need to be cited and are
       15       A. Yes.                                      15   cited.
       16       Q. In those three offices, do you have       16       Q. Are you able to tell us, of the
       17   folks who help you?                              17   references that you cite, Deposition Exhibit 4,
       18       A. Yeah.                                     18   which ones came from plaintiffs' counsel and
       19          MS. PARFITT: Objection to form.           19   which ones you came up with on your own?
       20       Q. Do you have folks who do research?        20          MS. PARFITT: Objection. Form.
       21          MS. PARFITT: Objection. Form.             21       A. Sure.
       22       A. So, I mean -- so I have a dual            22       Q. You could do that if we went through
       23   appointment in my research, and so I have        23   one by one?
       24   clinical staff and my research staff. I have     24       A. Yeah.
       25   people who work with me on projects. They are    25       Q. Let me ask you the same question with
                                                                               15 (Pages 54 to 57)
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        1   respect to the additional materials and data         1   additional materials and data considered, items
        2   considered, Exhibit 5.                               2   that are listed in Exhibit 5?
        3       Do you see that?                                 3       A. By reviewed and considered, I mean,
        4       A. Yes.                                          4   have I read every word of it? No. I reviewed
        5       Q. What's the difference between                 5   and considered.
        6   Exhibit 4, references, and Exhibit 5, additional     6       Q. Who prepared the additional materials
        7   materials and data considered?                       7   and data considered list?
        8       A. So as I went about and did my, you            8          MS. PARFITT: Objection.
        9   know, systematic review and, you know, umbrella      9       A. I prepared the list, but I asked them
       10   review, I gathered all the materials and, you       10   also to help me with what materials they had
       11   know, I included studies and data that provided     11   sent.
       12   original data on the causal question that we        12       Q. The lawyers for plaintiffs; is that
       13   discussed.                                          13   right?
       14       Q. Doctor, my question was simply, what's       14       A. Yes.
       15   the difference between references and additional    15       Q. So in your documents, you do have a
       16   materials and data considered?                      16   listing of the materials that were provided to
       17       A. So the additional materials are those        17   you by plaintiffs' counsel for consideration; is
       18   that were, I would say, you know, reviewed, were    18   that right?
       19   still reviewed in forming the opinion, but they     19          MR. LOCKE: Objection. Misstates the
       20   are not -- they don't -- they don't form the        20   testimony.
       21   basis of my opinion.                                21       A. I'm sorry. Can you repeat?
       22       Q. The materials that you relied on in          22       Q. Sure. The question is: You do have,
       23   forming your opinion are what you've set forth as   23   because you requested it, a listing of the
       24   your references, Exhibit 4; is that right?          24   documents and materials that were provided to you
       25           MS. PARFITT: Objection.                     25   by plaintiffs' counsel for you to consider;
                                                   Page 59                                                 Page 61
        1      A. Yeah. I mean, and then things that,            1   correct?
        2   you know -- obviously, for the report, it is the     2          MS. PARFITT: Objection. Misstates his
        3   references. Yeah.                                    3   testimony.
        4      I did rely on these to review them and, you       4          He didn't say he got a list.
        5   know --                                              5          MR. ZELLERS: Okay. Ms. Parfitt,
        6      Q. Did you -- strike that.                        6   please, form, foundation. You know, he can
        7          MS. PARFITT: For the record, that was         7   testify, and whatever he's testified to, it's
        8   Exhibit 5.                                           8   part of the record.
        9          MR. ZELLERS: Well, no -- well, the            9          MS. PARFITT: Sure. And, Mr. Zellers,
       10   references is Exhibit 4. The additional             10   I am not trying to interrupt your deposition,
       11   materials and data considered is Exhibit 5.         11   trust me on that, but I do want some clarity to
       12          MS. PARFITT: Correct.                        12   the record.
       13   BY MR. ZELLERS:                                     13          MR. ZELLERS: Great. That's what we're
       14      Q. So looking at Exhibit 5, additional           14   doing right here.
       15   materials and data considered, were some of these   15          MS. PARFITT: Well --
       16   materials provided to you by counsel for            16          MR. ZELLERS: We've now asked the
       17   plaintiffs?                                         17   question two or three times.
       18      A. Yeah. They may have been. These are           18   BY MR. ZELLERS:
       19   data considered. So I'm not as familiar with        19       Q. Do you have the question?
       20   these as --                                         20          MS. PARFITT: It's a little different.
       21      Q. Have you -- are you finished?                 21   But go ahead.
       22      A. Yeah. I'm not -- I mean, I reviewed           22       A. So I had asked for additional materials
       23   them. I, you know --                                23   in understanding the causal question between
       24      Q. Is it your testimony that you have            24   talcum powder products and ovarian cancer.
       25   reviewed and considered each and every one of the   25       Q. What additional materials did you
                                                                                  16 (Pages 58 to 61)
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                                                  Page 62                                                  Page 64
        1   request?                                             1   material, I can tell you, there's not enough time
        2       A. I requested additional materials              2   to review all of it. I mean, if somebody has,
        3   regarding what are the constituents of talcum        3   that's great. I can't.
        4   powder products. I -- you know, additional           4       Q. Are you done?
        5   materials regarding testing of talcum powder         5       A. Yes.
        6   products -- I -- you know, anything to, you know,    6       Q. Did you, when you made that request,
        7   enhance my understanding whether there's evidence    7   intend for plaintiffs to provide you with all of
        8   to support or refute what we are seeing in the       8   the information that was available related to
        9   epidemiologic studies about an increased risk of     9   testing or related to ingredients or whatever
       10   ovarian cancer with talcum powder products.         10   other issues you requested documents on?
       11       Q. When you requested these materials,          11           MS. PARFITT: Objection. Form.
       12   testing materials, ingredient materials and any     12       A. Yes.
       13   other materials, did you want to see all of the     13       Q. All right. In your report, you cite --
       14   materials that were available so that you could     14   and this is in references -- to the depositions
       15   form your opinion?                                  15   of witnesses in the talcum powder litigation.
       16          MS. PARFITT: Objection. Form.                16   For example, and let's take a look at Exhibit 4,
       17       A. All is -- you know, there's only so          17   your references, Cite No. 4 is to the deposition
       18   many hours. I mean, you know, I think I wanted      18   of Linda Loretz.
       19   to see as much as, you know, was relevant to        19       Did you review this?
       20   forming an opinion.                                 20       A. Yes, I did.
       21       Q. Well, you asked for records of testing       21       Q. And who is she?
       22   and you were provided with records, and we'll       22       A. I don't recall offhand, who she is.
       23   take a look at it --                                23       Q. Is that information that was provided
       24       A. Sure.                                        24   to you by plaintiffs' counsel?
       25       Q. -- that purport to show that there is        25       A. Yes.
                                                  Page 63                                                  Page 65
        1   asbestos or asbestos has been found in talcum        1      Q. Who is Joshua Muscat, reference list,
        2   powder; correct?                                     2   Cite No. 5?
        3       A. I mean, that's not the only -- that's         3      A. I think he did one of the
        4   not only --                                          4   meta-analyses. He's an author of one of the
        5       Q. Understood.                                   5   meta-analyses as well.
        6          MS. PARFITT: Excuse me. Let him               6      Q. Who is Alice Blount, Cite 27?
        7   finish his answer, if you will, please. I'm not      7      A. Yeah. They did a study on talc and
        8   sure he was done. Appreciate that.                   8   also I was deposed on that.
        9       Q. Are you done?                                 9      Q. Did you request that deposition or was
       10       A. No. I'm not. I want to finish my             10   that provided to you?
       11   answer.                                             11          MS. PARFITT: Objection.
       12       Q. Okay.                                        12      A. I requested information on -- as I
       13       A. So I requested documents because I           13   said, my request wasn't for deposition -- you
       14   wanted to understand what constitutes talcum        14   know, all documents that helped me answer the
       15   powder products, and whether it is asbestos or      15   causal question.
       16   whether it is other heavy metals, that's sort of    16      Q. Whether they support plaintiffs'
       17   a separate answer, and we can discuss that, and     17   position or refute plaintiffs' position; is that
       18   I'm sure we will.                                   18   right?
       19       But I wanted to understand the constitution     19      A. To answer the causal question. That's
       20   of the product and, you know, whether there were    20   what --
       21   additional studies on, you know, whether it was     21      Q. You wanted, though, all relevant
       22   mechanisms that -- so because -- so that's what     22   documents, whether they supported plaintiffs'
       23   the request was for.                                23   position or whether they refuted plaintiffs'
       24       And the documents were provided. And my         24   position; correct?
       25   review, looking at the complexity and volume of     25      A. To answer the causal questions. I
                                                                                  17 (Pages 62 to 65)
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                                                   Page 66                                                  Page 68
        1   don't --                                             1      A. So we can -- we can go back to the
        2       Q. Can you not answer that question?             2   sections where I cite these and then we can
        3           MS. PARFITT: Objection. I believe --         3   discuss. Is that okay?
        4       A. I'm answering your question.                  4      Q. No. Well, and if you need to -- if you
        5           MS. PARFITT: -- he did.                      5   can't answer a question, tell me you can't answer
        6       Q. My question is: When you requested            6   a question.
        7   documents from plaintiffs' counsel on various        7      My question is: For these five or six folks
        8   topics, did you expect to receive whatever           8   who you have quoted a snippet from their
        9   documents may support plaintiffs' position and       9   deposition, did you review their entire
       10   whatever documents may refute plaintiffs'           10   transcript or did you just review an excerpt?
       11   position?                                           11          MS. PARFITT: Objection to the form.
       12       A. Yes.                                         12      A. So the answer will be, we have to go
       13       Q. All right. Who is John Hopkins,              13   one by one.
       14   reference item -- strike that -- reference list,    14      Q. All right. For Mr. Hopkins, did you
       15   Cite 33?                                            15   review his entire deposition?
       16       A. I think it's -- yeah. It's a                 16      A. No.
       17   deposition on behalf of J&J, I think.               17      Q. For Ms. Pier, did you review her entire
       18       Q. Do you know who Mr. Hopkins is?              18   deposition?
       19       A. No, I don't.                                 19      A. No.
       20       Q. Do you know what role he had with            20      Q. For Ms. Blount, did you review her
       21   talcum powder?                                      21   entire deposition?
       22           MS. PARFITT: Objection. Form.               22      A. I recall, yes.
       23       A. I mean, he was deposed in this               23      Q. Yes, you did?
       24   litigation and he provided testimony.               24      A. Yes.
       25       Q. The question is: Do you know what role       25      Q. For Ms. Loretz, did you review her
                                                   Page 67                                                  Page 69
        1   Mr. Hopkins played in and with talcum powder?        1   entire deposition?
        2       A. He was providing testimony on behalf of       2       A. Yes.
        3   the company. Is that --                              3       Q. Did -- strike that.
        4       Q. Other than that, do you know anything         4       For Mr. Muscat, did you review his entire
        5   about what he did on behalf of the company?          5   deposition?
        6       A. No.                                           6       A. Yes, I did.
        7       Q. Do you know what his positions were?          7       Q. Did you review all of the exhibits to
        8       A. I don't recall.                               8   those depositions?
        9       Q. Do you know what his duties and               9       A. Again, those are pages and pages of
       10   responsibilities were?                              10   documents. I don't know that -- if I reviewed
       11       A. I don't review that as a part of my          11   every single page of it.
       12   deposition, is to review positions and do           12       Q. Is it your practice, outside of
       13   responsibilities.                                   13   litigation, to rely on excerpts of deposition
       14       Q. And who is Julie Pier, Item 35?              14   testimony?
       15       A. She was testifying on behalf of Imerys,      15       A. Well, I mean, when you say "excerpts of
       16   I think.                                            16   depositions," when I reviewed evidence, when I
       17       Q. Do you know her position?                    17   try to gather evidence, as I said, you know, I
       18       A. I don't review -- you know, she was          18   was trying to answer the causal question; I try
       19   testifying for the company, as that's as far as I   19   to gather all relevant evidence to the relevant
       20   know. Again, I don't know what role she was         20   causal question at hand.
       21   playing and what she does.                          21       And sometimes these are unpublished
       22       Q. Did you read, for each of these              22   documents, and sometimes these are regulatory
       23   depositions that you reference and cite to, did     23   documents and sometimes, as is in this case, they
       24   you read just that section or did you read the      24   are depositions. And this approach is quite
       25   entire transcript?                                  25   consistent with other -- other approaches, such
                                                                                  18 (Pages 66 to 69)
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                                                   Page 70                                                 Page 72
        1   as those conducted by, you know, Health Canada.      1   as humanly possible.
        2       I mean, they clearly state that, you know,       2      Q. My question is a little more specific.
        3   you gather all relevant available evidence.          3   I'm talking now just about any documents produced
        4       Q. That was your goal; is that right?            4   by Johnson & Johnson defendants or any documents
        5       A. Yes.                                          5   produced by Imerys defendants.
        6       Q. Did Health Canada review deposition           6      You do cite to several of those in your
        7   testimony of company witnesses, to your              7   reference list; correct?
        8   knowledge?                                           8      A. Yes.
        9       A. Well, they were not available to them.        9      Q. You were provided those documents by
       10       Q. When you practice, outside of being a        10   counsel for plaintiffs; correct?
       11   litigation consultant, do you rely on excerpts of   11      A. Yes.
       12   deposition testimony?                               12      Q. Were you provided a large set of
       13       A. Well, again, you know, outside of this,      13   materials, company documents from the J&J
       14   when I do papers -- I mean, I do include            14   defendants and from the Imerys defendants, or
       15   unpublished or whatever you can collect,            15   were you provided with select documents?
       16   whether -- whether it's excerpts of -- I mean, I    16          MS. PARFITT: Objection. Form.
       17   haven't -- if I look at my past papers, I can't     17      A. I mean, these are company documents. I
       18   say that I've used excerpts of deposition           18   mean, what is the difference between the two?
       19   transcripts.                                        19   Like explain to me by example.
       20       Q. Did -- strike that.                          20      Q. Were you provided a box of J&J
       21       You also cite company documents in your list    21   documents or documents produced by J&J for your
       22   of references; is that right?                       22   review by plaintiffs' counsel?
       23       A. Which one is that?                           23          MS. PARFITT: Objection. Form.
       24       Q. Exhibit 4.                                   24      A. I don't know. I mean, they provided
       25       A. Which company?                               25   documents. I see them as documents. I don't see
                                                   Page 71                                                 Page 73
        1      Q. Well, for example, Item 116 refers to          1   a difference between. You can -- you know, you
        2   an Imerys document, item 63 refers to a document     2   can make that connection.
        3   or set of documents produced by the                  3       Q. Let me do it this way.
        4   Johnson & Johnson defendants; correct?               4       A. Sure.
        5      A. What was the second one? I'm sorry.            5       Q. Are the documents that you reviewed
        6   You said 116 and then?                               6   relating to those produced by J&J or produced by
        7      Q. Yes. Sixty --                                  7   Imerys, do you list those in your references,
        8          MS. PARFITT: 63.                              8   Exhibit 4, and your additional materials and data
        9      Q. 63.                                            9   considered, Exhibit 5?
       10      A. I'll have to go back and see what do          10       A. They are listed. Yes.
       11   they cite about, to refresh my memory.              11       Q. All right. When you are doing your day
       12      Q. As you sit here, you don't remember           12   job, outside of your litigation consulting work,
       13   what those documents are, do you?                   13   do you rely on internal company documents?
       14      A. Yeah. Yeah. I'd have to go back.              14          MS. PARFITT: Objection. Form.
       15      Q. Is that correct?                              15       A. I mean, I have relied on company
       16      A. Yeah. I mean, I have to go back to my         16   documents. When you say "internal company
       17   report and see them.                                17   documents," that's, you know -- yeah. I have
       18      Q. My question is: Did plaintiffs'               18   relied on company documents. We have relied on
       19   counsel provide you with a large set of J&J         19   company trial registries for publications. We
       20   and Imerys company documents and you went through   20   have relied on -- whether you're talking about
       21   and whittled them down, or did they provide you     21   company communication, that's different.
       22   with select documents?                              22       But in terms of if we have data available
       23          MS. PARFITT: Objection. Form.                23   from the company, there's no reason not to rely
       24      A. Well, I mean, I feel it's a large set.        24   on that.
       25   As you can see, I've reviewed, you know, as much    25       Q. I'm talking about company
                                                                                  19 (Pages 70 to 73)
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        1   communications, the types of documents that you     1   testimony.
        2   cite from or produced by J&J and by Imerys in       2       A. I've already stated that when I publish
        3   your reference list.                                3   articles, the approach is to gather all relevant,
        4       Those are not the types of materials that       4   available evidence.
        5   you typically would rely on if you were doing a     5       And I have, in fact -- you can go back at my
        6   study for publication; correct?                     6   articles -- and included data from company
        7          MS. PARFITT: Objection. Form.                7   documents in various systematic reviews and
        8       A. And, again, I've just said that, you         8   meta-analyses. So this idea that I have not
        9   know, I gathered all the relevant evidence, as      9   relied on company documents is -- you know, is
       10   would -- you know, as a methodology that's         10   not.
       11   acceptable and considered.                         11       The question is about deposition transcripts
       12       But, you know, in my previous reviews, I've    12   and communiques. Those are generally not
       13   not had access to -- access to those documents.    13   available in the published domain, and even for
       14   And that's the only -- that's the only place       14   this particular instance, you know, for there's a
       15   where you can get access to these documents.       15   confidentiality order. I'm just trying to
       16       Q. The answer to my question is no, you        16   explain what happens.
       17   know, when you publish articles, you do not rely   17       Q. So that our record is clear, when you
       18   on internal company documents or communications    18   talk about internal communiques, we're talking
       19   as you are in this litigation matter; correct?     19   about internal communications, in this case,
       20          MS. PARFITT: Objection. Form.               20   materials that you have been provided by
       21       A. The reason is because there's a             21   plaintiffs that have been produced by J&J and by
       22   confidentiality order. And so you can't say you    22   Imerys.
       23   can't publish articles when you can't access       23       Those are not the types of documents that
       24   them. I mean, there's a chicken and egg, here,     24   you typically have available and rely upon in
       25   right?                                             25   your published work; correct?
                                                  Page 75                                                  Page 77
        1      Q. Understood.                                   1         MS. PARFITT: Objection. Misstates his
        2      The answer, though, to my question is yes;       2   testimony.
        3   correct?                                            3       Q. Is that correct, Doctor?
        4         MS. PARFITT: Objection. Form.                 4         MS. PARFITT: Objection. Misstates his
        5      A. The reason is because these                   5   testimony.
        6   documents --                                        6       A. These are just not available to form an
        7      Q. Doctor, you need to answer the                7   opinion in the published domain.
        8   question.                                           8       Q. You have an additional --
        9         MS. PARFITT: Wait, Mr. Zellers.               9         THE WITNESS: Can I take a break?
       10   Excuse me. Let the witness answer the question.    10         MR. ZELLERS: Sure. Of course. At any
       11         MR. ZELLERS: I'm asking him to answer        11   time.
       12   the question and then I'll be happy to move on.    12         THE WITNESS: Sorry about that.
       13         MS. PARFITT: No. You're telling him,         13         MR. ZELLERS: No. That's fine.
       14   say yes. He's trying to answer your question.      14         THE VIDEOGRAPHER: Off the record.
       15         Ask him again. He'll answer the              15   10:22 a.m.
       16   question. He's done it twice.                      16           (A recess was taken.)
       17      Q. Do you need me to repeat the question?       17         THE VIDEOGRAPHER: Here begins media
       18      A. Yes, please.                                 18   No. 2 in today's deposition of Sonal Singh, M.D.,
       19         MR. ZELLERS: Could you read the              19   M.P.H. Back on the record, 10:35 a.m.
       20   question?                                          20   BY MR. ZELLERS:
       21         I'll ask it again.                           21       Q. Dr. Singh, are you ready to continue?
       22      Q. Dr. Singh, when you publish articles,        22       A. Yes, I am.
       23   you do not rely on internal company documents;     23       Q. When we broke, we were looking at the
       24   correct?                                           24   additional materials and data considered list,
       25         MS. PARFITT: Objection. Misstates his        25   which we have marked as Deposition Exhibit 5.
                                                                                 20 (Pages 74 to 77)
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        1       Do you have that?                                1   answer the causal question in this case; is that
        2       A. Yes.                                          2   right?
        3       Q. There are some documents on this list         3       A. Yes.
        4   that have a preface of Imerys. And if you look       4          MS. PARFITT: Objection.
        5   on Page 87, you list those documents out. And        5       Q. You did not have access to internal
        6   then turning to Page 88, there's a series of         6   documents of J&J companies or of Imerys; is that
        7   documents that begin with J&J.                       7   right?
        8       Do you see those?                                8       A. Yes.
        9       A. Yes.                                          9       Q. You asked for those documents, the ones
       10       Q. Did you rely on those documents in           10   that would be relevant to you in forming an
       11   informing your opinions?                            11   answer to the question you were asked of
       12       A. No. I mean, I reviewed -- I don't know       12   plaintiffs' counsel; correct?
       13   if I reviewed them in full. I just -- you know,     13       A. Yeah. Relevant to consider or support
       14   they were provided to me.                           14   or refute. Yeah.
       15       Q. That is, the set of documents that were      15       Q. The documents that were provided to you
       16   provided to you by counsel for plaintiffs; is       16   are the documents that appear with a J&J
       17   that right?                                         17   preface -- preface and an Imerys preface in the
       18       A. Yes.                                         18   reference list, Exhibit 4, and in the additional
       19       Q. Are you able, as we sit here, to tell        19   materials and data considered list, Exhibit 5;
       20   me what those documents are?                        20   correct?
       21       A. Yeah. I mean, for example, some of           21       A. Yes.
       22   them is, you know, duplicative of expert reports    22       Q. Once you got those documents and you
       23   that are listed here. I don't know by number and    23   looked at those documents -- and you're not sure
       24   number, J&J, what that means.                       24   you looked at all of them; is that right?
       25       Q. I'm referring to, for this series of         25       A. Yes. I did not. I mean --
                                                   Page 79                                                 Page 81
        1   questions, just to the other materials that you      1       Q. All right.
        2   have listed, the ones that begin with Imerys. So     2       A. -- because it is not possible to look
        3   starting at Item 2 on Page 87. And then also         3   at all of them.
        4   including the documents that begin J&J that go       4       Q. Did you make any follow-up request for
        5   through Item 23 on Page 88.                          5   additional company documents, either documents
        6       Are you able to identify and tell us what        6   produced by J&J or documents produced by Imerys,
        7   those documents are?                                 7   of plaintiffs' counsel?
        8       A. I mean, I was provided them. I don't          8       A. I was inundated with these, and I don't
        9   know what specifically they are, you know.           9   think it was practical of me to request for
       10       Q. Do you know how they were compiled?          10   additional documents.
       11       A. No. I'm not aware of the process.            11       Q. In terms of internal company documents
       12       Q. Do you know what percentage of internal      12   and communications produced either by
       13   documents, internal to Johnson & Johnson            13   Johnson & Johnson and by Imerys, the only
       14   companies and to Imerys, have been produced in      14   documents you reviewed are the ones that were
       15   the case that appear on your reliance list?         15   hand selected by lawyers for plaintiffs; is that
       16       A. I'm not aware of that proportion.            16   right?
       17       Q. Did you request any additional J&J or        17           MS. PARFITT: Objection. Form.
       18   Imerys documents other than the ones that were      18       A. The documents that I reviewed are
       19   provided to you by plaintiffs' counsel?             19   listed, you know, in 4 and 5.
       20       A. So, it's hard to say request                 20       Q. My question --
       21   additional. I requested question -- materials to    21       A. I don't know what -- so you're asking
       22   answer my question. How would I know what           22   me to infer what they hand selected; right? I
       23   additional -- you know, I requested materials.      23   mean, whether they provided all, whether they
       24       Q. The way it worked is you asked               24   provided hand selected, that's not my -- I don't
       25   plaintiffs for materials that would be helpful to   25   know that. You know that. But I don't.
                                                                                  21 (Pages 78 to 81)
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                                      Sonal Singh, M.D., M.P.H.
                                                   Page 82                                                 Page 84
        1       So how can I answer that they were hand          1      Q. It's fair to say you did not rely on
        2   selected?                                            2   the updated materials list in forming your
        3       Q. The company documents that you                3   opinions and preparing your report in this case;
        4   reviewed, internal company documents, they came      4   correct?
        5   from plaintiffs; is that correct?                    5      A. Yeah. I did not rely on this, on these
        6       A. Yes.                                          6   materials in preparing the report, but several of
        7       Q. The updated materials list, we marked         7   these materials are, you know, are helpful in
        8   that as Exhibit 6.                                   8   explaining my opinions on this, which were, you
        9       Those are materials that were provided to        9   know, provided in the report.
       10   you by plaintiffs' counsel; is that right?          10      Q. Have you published anywhere your theory
       11       A. No. I submitted -- I mean, I had             11   that baby powder causes ovarian cancer?
       12   access to several of these documents, you know,     12      A. I don't consider it my theory. I mean,
       13   after the submission of my report, and I reviewed   13   several other people have studied this. I don't
       14   them and I actually sent them some of them.         14   know how many studies. There have been more than
       15   So...                                               15   30 studies.
       16       Q. What documents on this list did you          16      So I don't consider it my theory. But, no,
       17   provide to plaintiffs and what documents on this    17   I have not published a study on it.
       18   list -- we're looking at Exhibit 6 -- did they      18      Q. Do you plan to publish on this?
       19   provide to you?                                     19      A. Yes, I do.
       20       A. Like I had the Fadak article. I had          20      Q. Are those plans underway?
       21   the Health Canada Assessment. They provided the     21      A. Well, I mean, a lot of it will, again,
       22   submitted reports. I had the Weed article. They     22   depend on, you know, the questions you asked
       23   provided the Zervo -- I don't know how to           23   about how much of this material will become
       24   pronounce that name. Yeah.                          24   eventually -- you know, I have signed a
       25       So, yeah, I had access to some of these, and    25   confidentiality order. So, you know, how much is
                                                   Page 83                                                 Page 85
        1   I provided the up-to-date article, and the           1   allowed to be published.
        2   remainder, they provided.                            2       And so, you know, a lot of it will depend
        3          MR. KLATT: May I interject? I didn't          3   on, I guess, the permission of the judge, who
        4   understand the very first article you said. It       4   allows -- who oversees these kind of -- I would
        5   sounded like dark.                                   5   like to, eventually.
        6          THE WITNESS: Fadak.                           6       Q. Have you previously published on any
        7          MS. PARFITT: F-A-D-A-K.                       7   topic relating to talc and ovarian cancer?
        8          THE WITNESS: Fadak, that's a paper --         8       A. No.
        9          MR. KLATT: Okay. I see. Thank you.            9       Q. Have you conducted any test or
       10          THE WITNESS: That's a 2015 paper.            10   experiments to confirm your theory that talc
       11          MR. KLATT: I saw it. Thank you.              11   migrates to the ovaries and causes cancer via
       12   BY MR. ZELLERS:                                     12   inflammation?
       13      Q. When did you review the materials that        13       A. So, again, that is not a theory that I
       14   are listed on the updated materials list,           14   have propounded, that talc migrates through the
       15   Exhibit 6?                                          15   ovary, that talc migrates up to cause ovarian
       16      A. So, again, maybe we circle back earlier       16   cancer, that I have evaluated the epidemiologic
       17   when I said I did not review all of them, like I    17   studies, which show a causal link between talc
       18   did not review the expert reports. Yeah.            18   and ovarian cancer, and several other
       19      Q. Of the materials that you did review,         19   investigators, some of them which I cite, have
       20   on the updated materials list, when did you         20   provided evidence that -- of talc-induced, you
       21   review those?                                       21   know, migration.
       22      A. Sometime between December and January.        22       So it's not my theory, as you say.
       23      Q. It was after you had prepared your            23          MR. ZELLERS: Move to strike as
       24   written report and produced it; is that right?      24   nonresponsive. Try to listen.
       25      A. Yes.                                          25       Q. My question is, I think, a simple
                                                                                  22 (Pages 82 to 85)
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                                                   Page 86                                                 Page 88
        1   question.                                            1       A. Yeah. It was available to everyone in
        2       Have you, Dr. Singh, conducted any test or       2   December.
        3   experiments to confirm your statement in your        3       Q. Have you looked into what other public
        4   report that talc migrates to the ovaries and         4   health authorities have to say about talc and
        5   causes cancer via inflammation?                      5   ovarian cancer?
        6       A. No. I have not done any experiments.          6       A. Yes.
        7       Q. Can you identify for me a single              7       Q. Would it be important for you to know
        8   article that identifies inflammation anywhere in     8   that CDC does not list talc as a risk factor for
        9   a woman's reproductive tract resulting from          9   ovarian cancer?
       10   external genital talc application?                  10          MS. PARFITT: Objection. Form.
       11          MS. PARFITT: Objection. Form.                11       A. I mean, it would be important to know,
       12       A. Can you repeat the question?                 12   you know, various agencies, you know, CDC,
       13       Q. Sure. Can you identify for me a single       13   whatever. I mean, you would like to know of
       14   article that identifies inflammation anywhere in    14   many, many agencies.
       15   a woman's reproductive tract resulting from         15       But, again, you'd have to -- you'd have to
       16   external genital talc application?                  16   see the quality of their judgment. I mean, what
       17       A. I mean, again, this is, you know, when       17   is their rationale? What are the studies they
       18   I reviewed -- so this relates to the biological     18   reviewed? What is the data available?
       19   question about talc. And when I reviewed the        19       Just like as you said, what is the data
       20   biological evidence, I was on migration and         20   available to me to make that judgment, what is
       21   inflammation, I was looking for evidence, support   21   data available to them? Just because they are
       22   or refute that.                                     22   the CDC doesn't mean that, you know -- yes, I
       23       And there's studies that show that talc         23   would like to know their opinion, but then what
       24   migrates through HS, you know, whatever,            24   is the underlying basis of their opinion?
       25   hysterosalpingography, and induces inflammation.    25       Q. You're familiar with the CDC; correct?
                                                   Page 87                                                 Page 89
        1   I mean, the definitive study is not there.           1       A. I'm very familiar with the CDC.
        2       And, again, I did not do these studies. So       2       Q. It is an unbiased governmental entity;
        3   I can only rely on people who have done such         3   correct?
        4   studies.                                             4       A. Well, it would depend on the opinion.
        5       Q. Can you cite a single study, animal or        5       I mean, you know, we cannot say an entity is
        6   human, that traces externally applied talc up        6   unbiased. It would depend what is the particular
        7   through the reproductive tract to the ovaries?       7   opinion -- you know, if the CDC provides
        8          MS. PARFITT: Objection. Form.                 8   vaccination. We have to look at the particular
        9       A. Again, but I do not believe that's            9   context.
       10   necessary to, you know, provide my causal opinion   10       Q. Are you aware that the CDC does not
       11   in support of a causal hypothesis.                  11   list talc as a risk factor for ovarian cancer?
       12          MR. KLATT: Objection. Nonresponsive.         12       A. Yes.
       13       Q. Is the answer to my question, no?            13           MS. PARFITT: Objection.
       14          MS. PARFITT: Objection. Form.                14       Q. Are you aware that the Mayo Clinic does
       15       A. No, with context.                            15   not list talc as a risk factor for ovarian
       16       Q. Health Canada Risk Assessment, that was      16   cancer?
       17   not something that you included in your             17       A. I'm not aware of Mayo Clinic.
       18   references or materials considered as part of       18       Q. You are aware of NIH; correct?
       19   your report; is that right?                         19       A. Yes. I'm funded by the NIH.
       20       A. Yes. It was not available at that            20       Q. Do you know that NIH does not list talc
       21   time.                                               21   as a risk factor for ovarian cancer?
       22       Q. All right. It is listed, the Health          22       A. Yes. And I have been aware of, you
       23   Canada Risk Assessment is listed in your updated    23   know, changes in the past to their -- to their
       24   materials list that we got over the weekend;        24   statements.
       25   correct?                                            25             (Article entitled "Ovarian,
                                                                                  23 (Pages 86 to 89)
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                                                   Page 90                                                  Page 92
        1      Fallopian Tube, and Primary Peritoneal            1   not a risk factor for ovarian cancer?
        2      Cancer Prevention (PDQ) - Health                  2           MS. PARFITT: Objection.
        3      Professional Version marked Exhibit 15.)          3       A. So the National Cancer Institute hasn't
        4          MR. ZELLERS: Take a look at Deposition        4   opined on that talc is not a causal -- you know,
        5   Exhibit 15.                                          5   is causally linked to ovarian cancer. It has
        6          MS. PARFITT: Thank you.                       6   provided a listing of documents. It has not gone
        7   BY MR. ZELLERS:                                      7   through any systematic process, that I'm aware
        8      Q. Deposition Exhibit 15 is a publication         8   of, of looking at the epidemiologic data
        9   from the National Cancer Institute; is that          9   systematically.
       10   right?                                              10       It has not provided any evidence of
       11      A. It is.                                        11   inflammation or lack thereof or migration or lack
       12      Q. National Cancer Institute is a leading        12   thereof or to even, you know, arrive at this
       13   health authority; is that right?                    13   causal hypothesis.
       14      A. Yes.                                          14       Q. Because it's important to look at both
       15      Q. It's a leading cancer research                15   sides of an issue; correct?
       16   institution in the world?                           16       A. Yes. I did look -- so I'm saying that
       17          MS. PARFITT: Objection. Form.                17   I did look at this and my opinion --
       18      A. Yes.                                          18       Q. Did you --
       19      Q. Have you ever received a grant from the       19           MS. PARFITT: Please let him finish.
       20   National Cancer Institute?                          20       Q. Are you finished?
       21      A. I've applied. I have not received any.        21       A. I'm saying I did look at this, and I'm
       22   I am applying again.                                22   aware of this document.
       23      Q. They fund more cancer research than any       23       Q. Did you cite to the CDC in your report
       24   organization in the world; correct?                 24   or references?
       25          MS. PARFITT: Objection.                      25       A. I don't -- I wasn't aware of the CDC.
                                                   Page 91                                                  Page 93
        1       A. I don't know that particular number,          1       Q. Did you cite to the NIH in your report
        2   but -- I just don't know that answer.                2   or your references?
        3       Q. Are you aware that the National Cancer        3       A. I should have. And if it isn't, it is
        4   Institute reviews the peer-reviewed literature as    4   remiss.
        5   it relates to risk factors for ovarian cancer?       5       Q. Did you cite to the National Cancer
        6           MS. PARFITT: Objection. Form.                6   Institute in your report or references?
        7       A. Yes. And I don't know how updated they        7       A. I have to look at it.
        8   are. Based on the document you've provided me,       8       Q. The National Cancer Institute, in fact,
        9   they have four citations for perineal talc and       9   has done an analysis, a very detailed analysis
       10   ovarian cancer.                                     10   which we have marked as Exhibit 15 to this
       11       So, again, I'm not questioning the NCI's        11   deposition; correct?
       12   motivation, but I am -- I am raising, what is the   12          MS. PARFITT: Objection to form.
       13   quality of their judgment.                          13       A. I don't think it's a detailed analysis
       14       Q. Did you consider the CDC's                   14   of perineal talc and ovarian cancer.
       15   determination that talc is not a risk factor for    15       There is how many lines? We can look at it
       16   ovarian cancer in formulating your opinions?        16   and read it together. It's, you know -- it's 15
       17       A. Yes.                                         17   lines. And they have references 41 to 45, which
       18       Q. Did you consider NIH's determination         18   is five references.
       19   that talc is not a risk factor for ovarian cancer   19       So I don't know it is a detailed analysis.
       20   in formulating your opinions?                       20       Q. National Cancer Institute, one of the
       21       A. Yes. Because they did not have               21   things that it does is to review peer-reviewed
       22   sufficient information, based on what they          22   literature as it relates to risk factors for
       23   provided in their PDQs.                             23   ovarian cancer. Is that right?
       24       Q. Did you consider National Cancer             24          MS. PARFITT: Objection. Form.
       25   Institute's opinion or conclusion that talc is      25       A. It does do that.
                                                                                  24 (Pages 90 to 93)
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                                                   Page 94                                                  Page 96
        1       Q. All right. This document, this                1      A. I don't know if it's the conclusion,
        2   document that we're looking at from the National     2   but, yes, you read that part of the statement
        3   Cancer Institute, Exhibit 15, was updated in         3   correctly.
        4   January of 2019; is that right?                      4      Q. Why would you rely on Health Canada,
        5       A. Yeah. But it doesn't mean the review          5   but not these other public health organizations?
        6   was updated, because it has no recent citations      6          MS. PARFITT: Objection. Misstates his
        7   of studies that have been conducted.                 7   testimony.
        8       Q. We --                                         8      A. In fact, I did rely on the Health
        9       A. We should look at the citation. Let's         9   Canada when my report was conducted. So you
       10   look at it, because we are discussing this          10   see -- I relied on the quality of the review and
       11   document, so we should look at it in detail.        11   the breadth of my review, which had hundreds of
       12       Q. Doctor, turn to Page 6.                      12   studies, the breadth of review of biological
       13       A. No. Let me finish. I'm not finished          13   plausibility, the breadth of review of, you know,
       14   with this document.                                 14   animal studies, applying the Bradford Hill
       15           MS. PARFITT: Go ahead. Let him              15   framework, and then forming an opinion.
       16   finish.                                             16      Q. How -- are you done?
       17       Q. Doctor, you have to answer my                17      A. No. I'm not done.
       18   questions.                                          18      And the Health Canada Assessment came after
       19       A. But I haven't answered it.                   19   that. And it so happened their methodology --
       20       Q. My question is look at Page 6. Can you       20   methodology -- methodology and opinions are
       21   do that?                                            21   consistent with mine.
       22       A. Okay.                                        22      So it's not that I'm relying on that. I'm
       23       Q. All right. Page 6 is a section on            23   just saying that they are consistent and they
       24   perineal talc exposure; is that right?              24   came to the same conclusions.
       25       A. Yes.                                         25      Q. What materials and analysis was done by
                                                   Page 95                                                  Page 97
        1       Q. This is part of the National Cancer           1   the CDC in determining that talc is not a risk
        2   Institute's publication on ovarian, fallopian        2   factor for ovarian cancer?
        3   tube and primary peritoneal cancer prevention; is    3          MS. PARFITT: Objection. Form.
        4   that right?                                          4       A. I don't have that.
        5       A. Yes.                                          5       Q. What materials were reviewed and relied
        6       Q. On Page 6, the first sentence under           6   upon by NIH in determining that talc is not a
        7   perineal talc exposure states, "The weight of        7   risk factor for ovarian cancer?
        8   evidence does not support an association between     8       A. References 41 to 45.
        9   perineal talc exposure and an increased risk of      9       Q. How do you know that that's all that
       10   ovarian cancer."                                    10   the NIH and National Cancer Institute reviewed?
       11       Is that right?                                  11       A. Because that's what they cite.
       12       A. Based on what? Based on these 41 to 45       12       Q. Have you been privy to the complete
       13   citations? Which are an incomplete listing of       13   review and analysis of the National Cancer
       14   studies and an incomplete review of the evidence.   14   Institute?
       15       So I'm just stating that, yes, what is the      15       A. But you just stated that this was the
       16   underlying basis?                                   16   complete review and analysis of the National
       17       Q. Doctor --                                    17   Cancer Institute?
       18           MS. PARFITT: Wait. Let him finish.          18       Q. I'm asking you: Do you know what
       19   He's in the middle of a sentence.                   19   specific studies and materials were reviewed and
       20       A. What is the underlying basis of this         20   what analysis was done by NIH and by the National
       21   opinion?                                            21   Cancer Institute?
       22       Q. Dr. Singh, my question is: Did I read        22       A. Yeah. These are the studies that were
       23   the conclusion of the National Cancer Institute     23   reviewed.
       24   correctly?                                          24       Q. You are assuming that this is the
       25           MS. PARFITT: Objection.                     25   entire analysis and review that was done by the
                                                                                  25 (Pages 94 to 97)
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                                                   Page 98                                                Page 100
        1   National Cancer Institute; is that right?            1   assessment prior to its publication?
        2           MS. PARFITT: Objection. Form.                2      A. No.
        3       A. I'm not assuming anything. I'm                3      Q. Have you submitted any comments to
        4   assuming that, just as the conclusions that you      4   Health Canada?
        5   are assuming are definitive, I'm also, you know,     5      A. No.
        6   stating that these are the studies that they         6      Q. Do you intend to submit any comments to
        7   relied on to form those conclusions.                 7   Health Canada?
        8       So we can't pick and choose, assess              8      A. I don't know. I mean, it will depend
        9   statement of the excerpt that you -- supports        9   on the timeline and I don't know what their
       10   your opinion, but then not look at the underlying   10   timeline is and what my -- you know, I
       11   evidence base that supports that opinion.           11   haven't -- I haven't thought about it.
       12       Q. But we should consider all of that           12      Q. Outside of your litigation consulting,
       13   information; correct?                               13   do you generally rely on draft assessments by
       14       A. Yeah. And the studies underlying.            14   regulatory agencies?
       15       Q. And you did not consider the CDC's           15          MS. PARFITT: Objection. Form.
       16   opinion in your report, did you?                    16      A. Yes. I mean, you know, we look at
       17       A. I mean, CDC -- so let's just step back       17   draft assessments on regulatory. There's no
       18   a little.                                           18   reason not to.
       19       When I say CDC opinion, I mean, I'm looking     19      Q. Have you ever cited a draft assessment
       20   at original studies. I'm looking at data in         20   by a regulatory agency in any study that you've
       21   forming my opinion. I did look at what IARC         21   published?
       22   considered and other agencies considered.           22      A. Oh, I've published 200 papers, and I
       23       My opinion is based on my review and the        23   can't recall, you know, which one, but I know
       24   methodology and I was, you know, obviously,         24   that I have looked at draft assessments by the
       25   taking into account what agencies say, but          25   FDA.
                                                   Page 99                                                Page 101
        1   agencies' opinion is not necessarily the             1       Q. Have you cited any?
        2   underlying basis of my causal opinion.               2       A. I can't recall and tell you that. It's
        3      Q. Whether it's CDC, NIH, NCI or Health           3   just something I can't recall.
        4   Canada; correct?                                     4       Q. Are you familiar with the precautionary
        5      A. Yeah. I mean, they're informing. I             5   principle?
        6   want to look at their thinking and what is the       6       A. Yes.
        7   quality of their judgment on this.                   7       Q. What is the precautionary principle?
        8      Q. You understand Health Canada has simply        8       A. It is to, you know, apply, as my
        9   produced a draft assessment; is that right?          9   understanding, is to warn when there is, you
       10           MS. PARFITT: Objection. Form.               10   know, evidence of a hazard.
       11      A. Yes.                                          11       Q. That's your understanding of the
       12      Q. We are at the beginning of the public         12   precautionary principle?
       13   comment period; is that right?                      13       A. Yeah.
       14      A. I don't know the timeline of that.            14       Q. Do you understand that, as defined by
       15      Q. Are you aware that Health Canada can          15   Health Canada, a precautionary principle means
       16   take up to two years to take any action or no       16   taking a precautionary approach to
       17   action at all?                                      17   decision-making that emphasizes the need to take
       18      A. Well, I mean, I was not asked a causal        18   timely preventative action even in the absence of
       19   question on what to do about this. I was just       19   a full scientific demonstration of cause and
       20   asked a question on causality. And I'm not sort     20   effect?
       21   of -- I'm not privy to their process.               21       A. If you're stating -- well, let's get
       22      Q. How did you come to learn of the Health       22   the document out before we --
       23   Canada Risk Assessment?                             23       Q. Sure. Take a look at deposition
       24      A. News, news documents.                         24   Exhibit 16.
       25      Q. Were you involved in the risk                 25             (Document entitled "Health
                                                                                26 (Pages 98 to 101)
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                                                Page 102                                                 Page 104
        1       Canada Decision-Making Framework for            1   precautionary approach. A key feature of
        2       Identifying, Assessing, and Managing Health     2   managing health risk is that decisions are often
        3       Risks - August 1, 2000" marked Exhibit 16.)     3   made in the presence of considerable scientific
        4       A. Okay. Can you point out which page?          4   uncertainty. A precautionary approach to
        5       Q. Sure. Take a look at Pages 8 and 9.          5   decision-making emphasizes the need to take
        6   So we identify it for the record, Exhibit 16 is     6   timely and appropriately preventative action,
        7   the Health Canada Decision-Making Framework for     7   even in the absence of a full scientific
        8   Identifying, Assessing and Managing Health Risk;    8   demonstration of cause and effect."
        9   is that right?                                      9      Did I read that correctly?
       10       A. Yes.                                        10      A. Okay.
       11       Q. If you go to Page 8 and 9, Section 1.3      11      Q. Do you agree that the recommendation by
       12   are the underlying principles for Health Canada;   12   Health Canada does not require a finding of
       13   is that right?                                     13   causation like is required in a court; correct?
       14          MS. PARFITT: Objection.                     14          MS. PARFITT: Objection. Form.
       15          MR. TISI: You're looking at the wrong       15      A. But I mean, that's what they conclude,
       16   document. You're not looking at the draft          16   that there is a cause. We can look at the Health
       17   assessment. You're looking at the --               17   Canada document.
       18          MR. ZELLERS: Counsel, I am --               18      Q. Is a guiding principle of the Health
       19          MR. TISI: But you identified something      19   Canada Decision-Making and Assessment to use a
       20   as something different than what it is.            20   precautionary approach?
       21          MR. ZELLERS: I identified the document      21          MS. PARFITT: Objection. Form.
       22   as Health Canada Decision-Making Framework for     22      A. Well, no. I mean, precautionary --
       23   Identifying, Assessing and Managing Health Risk.   23   they are just defining a precautionary approach.
       24   I'm reading the title of the document.             24   But when they assess talc for its whatever, you
       25          MR. TISI: Okay. I have it wrong. Go         25   know, the talcum powder products, their
                                                Page 103                                                 Page 105
        1   ahead.                                              1   particular assessment clearly states it's causal.
        2         MR. ZELLERS: That's okay.                     2   And we should open that document. We should not
        3      A. Wherever we are.                              3   talk about it in hypotheticals.
        4      Q. No problem, Doctor.                           4       Q. On what basis are you relying to state
        5         MS. PARFITT: We'll orient ourselves.          5   that Health Canada did not use a precautionary
        6      Q. Are we oriented?                              6   approach in assessing talcum powder?
        7      A. Yeah. I know the document. But the            7          MS. PARFITT: Objection. Form.
        8   page number.                                        8       A. No. No. No. Let me answer that
        9      Q. Look at Pages 8 and 9.                        9   question.
       10      A. Okay.                                        10       You were asking about decision-making.
       11      Q. 1.3 are the underlying principles for        11   Decision-making would be removal of talc, removal
       12   Health Canada decision-making.                     12   of that.
       13      Do you see that?                                13       But there's two parts to that question about
       14      A. Yes.                                         14   cause and effect. So let's bring the document
       15      Q. They list out a number of underlying         15   out and say where they state there is a causal
       16   principles on Pages 8 and 9.                       16   relationship.
       17      One of those is to use a precautionary          17       Why aren't you bringing that document out?
       18   approach; is that right?                           18   I mean, you can't talk about documents without
       19      A. Yes.                                         19   documents.
       20      Q. If you then turn to Page 11, at the          20       Q. Dr. Singh --
       21   bottom, they define use of a precautionary         21       A. Yeah.
       22   approach; is that right?                           22       Q. -- do you have any basis to state
       23      A. Yes.                                         23   that, in evaluating talcum powder, Health Canada
       24      Q. Health Canada states in this document,       24   did not follow its underlying principle of using
       25   which we've marked as Exhibit 16, "Use a           25   a precautionary approach?
                                                                             27 (Pages 102 to 105)
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                                      Sonal Singh, M.D., M.P.H.
                                                  Page 106                                                Page 108
        1          MS. PARFITT: Objection. Form.                 1      A. No.
        2   Misstates the evidence.                              2      Q. Hold on. Stop. Stop.
        3      A. Yeah. But that does not preclude at            3      A. Sure.
        4   arriving at a causal opinion. Just because you       4      Q. Just so we're clear, the updated
        5   have a precautionary approach, you can still         5   materials list is a list that was created by
        6   arrive at causal opinion, which they did.            6   plaintiffs' counsel; correct?
        7      So this is -- this principle is not               7          MS. PARFITT: It was based upon
        8   inconsistent with their report on a causal           8   materials that we had either sent or we had sent
        9   opinion.                                             9   that he also had; correct.
       10      Q. The standard under a precautionary            10          MR. ZELLERS: This Exhibit 6 is a list
       11   approach is that decisions can be made even in      11   of materials that were provided by plaintiffs'
       12   the absence of a full scientific demonstration of   12   counsel to Dr. Singh, understanding that
       13   cause and effect; correct?                          13   Dr. Singh has testified that he independently had
       14          MS. PARFITT: Objection. Form.                14   access to some of the materials.
       15      A. That is a threshold, but that does not        15          MS. PARFITT: Correct. Including
       16   preclude the determination of cause and effect,     16   Taher.
       17   which has been done already.                        17          THE WITNESS: Yeah. And some of them,
       18      Q. Are you familiar with the Taher 2018          18   I added, such as some of the published articles
       19   publication?                                        19   and Health Canada.
       20      A. Taher. I don't know which one.                20   BY MR. ZELLERS:
       21      Q. T-A-H-E-R.                                    21      Q. You have read the Taher 2018
       22      A. Yes.                                          22   manuscript; is that right?
       23      Q. Are you familiar with that publication?       23      A. I mean, I read the -- yeah, I mean,
       24      A. Yeah. It was cited in the Health              24   primarily, I read their assessment in Health
       25   Canada document.                                    25   Canada.
                                                  Page 107                                                Page 109
        1       Q. Have you reviewed and analyzed that           1          MR. ZELLERS: Deposition Exhibit --
        2   publication?                                         2   well, strike that.
        3       A. I mean, I reviewed it. I don't know if        3       Q. What you told me, when I asked you
        4   I analyzed it.                                       4   about CDC and NIH and NCI, is you got to look at
        5       What do you mean by "analyzed"?                  5   the underlying documents, the underlying studies;
        6       Q. You have not included it on your              6   is that right?
        7   references or additional materials considered or     7       A. Yes.
        8   updated materials; is that right?                    8       Q. One of the underlying documents and
        9          MS. PARFITT: Objection.                       9   studies on which Health Canada reviewed was the
       10       A. It was part of the Health Canada. It         10   Taher article; is that right?
       11   should have been part, because it was part, in my   11       A. Yes.
       12   mind, part of the Health Canada Assessment.         12             (Document entitled "Systematic
       13       Q. Can you show me where --                     13       Review and Meta-Analysis of the Association
       14       A. Well, I haven't.                             14       between Perineal Use of Talc and Risk of
       15       Q. -- the Taher publication is listed in        15       Ovarian Cancer" marked Exhibit 17.)
       16   your updated materials which we marked as           16   BY MR. ZELLERS:
       17   Exhibit 6?                                          17       Q. The Taher article is what we have
       18          MS. PARFITT: For the record, we              18   marked as deposition Exhibit 17; is that right?
       19   created this list, Mr. Zellers, and part of the     19          MS. PARFITT: Thank you.
       20   Canadian, just for form, and you can inquire.       20          MR. TISI: Is it Thayer or Taher?
       21          MR. ZELLERS: That's okay.                    21       A. It is Taher, T-A-H-E-R.
       22          MS. PARFITT: But since we did create         22       Q. Did you have access to the Taher 2018
       23   Exhibit No. 6, additional materials, we had         23   article before it was published?
       24   included, I will tell you, we had given him         24       A. Yes.
       25   Taher. He may have found it himself.                25       Q. How did you have access to the Taher
                                                                              28 (Pages 106 to 109)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 110                                                 Page 112
        1   2018 article?                                        1       Q. Why did you rely on this article,
        2        A. Yeah. I requested access from the            2   Taher, Exhibit 17?
        3   attorneys, if they had it. They provided it.         3           MS. PARFITT: Objection to form.
        4        Q. So plaintiffs' attorneys provided you        4       A. I mean, when you say I relied on, I
        5   with access to the article we've marked as           5   mean, I reviewed the, again, Health Canada
        6   Exhibit 17 prior to its publication; is that         6   Assessment. So none of this is in isolation.
        7   right?                                               7       I mean, this is just a part of, you know,
        8        A. Yeah.                                        8   the body of evidence. You know, my testimony
        9            MS. PARFITT: Objection.                     9   relies on -- and my report relies on the evidence
       10        A. I don't know if it has been published       10   cited there.
       11   yet.                                                11       This is, you know, another meta-analysis
       12        Q. Did you have access to the appendices       12   that, you know, I reviewed the evidence in
       13   or supplemental tables referenced in the Taher      13   slightly different ways and came to the same
       14   publication?                                        14   conclusions and, you know, also did a causal
       15        A. Yes, I did.                                 15   analysis. So it's sort of, you know, you have to
       16        Q. In your epidemiologic -- strike that.       16   review what evidence comes out.
       17        Is the Taher publication, which we've marked   17       If another meta-analysis comes out tomorrow,
       18   as Exhibit 17, is that peer-reviewed?               18   then I would review it.
       19        A. It's peer-reviewed, and I assume that       19       Q. Do you know the source of funding for
       20   it's going to be published. And it was reviewed     20   this publication?
       21   by Health Canada. So I mean, it is                  21       A. I don't know. I mean, Health Canada or
       22   peer-reviewed, is my understanding.                 22   something else, I don't know that. I can't
       23        It is -- I don't know the exact status of      23   answer that question.
       24   that manuscript.                                    24       Q. You're assuming that Health Canada is
       25        Q. What organization has peer-reviewed the     25   the source of funding for this publication?
                                                 Page 111                                                 Page 113
        1   Taher publication, Exhibit 17?                       1       A. I don't know. I shouldn't answer that.
        2       A. So I don't -- yeah, again, I take it --       2       Q. Do you know the credentials of the
        3   I don't know the status of that manuscript, where    3   authors of the Taher 2018 publication,
        4   it is.                                               4   Exhibit 17?
        5       Q. You do not know, one way or the other,        5       A. I have no idea.
        6   as to whether the Taher publication, Exhibit 17,     6       Q. Do you personally know any of the
        7   has been peer-reviewed; is that right?               7   authors that are listed?
        8       A. Yeah. Whether it's been accepted or           8       A. No.
        9   submitted or -- I don't know.                        9       Q. Do you know whether or not any of the
       10       Q. Are you finished?                            10   authors of the Taher publication, as listed out
       11       A. I don't know the status. I'm trying to       11   on the first page of Exhibit 17, have conflicts
       12   say that.                                           12   of interest?
       13       Q. In your epidemiological work, outside        13          MS. PARFITT: Objection.
       14   of litigation, do you rely on articles that have    14       A. Not that -- I didn't -- again, I read
       15   not been peer-reviewed?                             15   the article. I don't know what their, you know,
       16       A. Yes. Several times, we rely on               16   declarations are. Yeah.
       17   articles. Several times, we actually request        17       And it does say it was conducted under
       18   articles if it's key to something that we are       18   contract to Health Canada. So it seems like the
       19   working on and we know that a particular            19   funding source is Health Canada. And let's look
       20   investigator is active in that area and he may      20   at their source of funding.
       21   have.                                               21       Q. Doctor, we'll never finish if you want
       22       So, yes, we actually -- sometimes we request    22   to just go through and look at things.
       23   that. And the majority of the times people don't    23       My specific question is whether or not you
       24   provide their work until it's published. But        24   know whether or not any of the authors have
       25   sometimes we get it. Yeah.                          25   conflicts of interest?
                                                                              29 (Pages 110 to 113)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 114                                                 Page 116
        1           MS. PARFITT: Objection.                      1   sentence. And I'll read it. Have you found
        2       A. That's a very vague and broad question.       2   Page 41 of Exhibit 17?
        3   I mean, conflicts of interest as it relates to       3       A. 41?
        4   what?                                                4       Q. Yes. Page 41. Do you have that?
        5       Q. Do you know?                                  5       A. Yeah. Yeah.
        6           MS. PARFITT: Objection. Form.                6       Q. The very last --
        7       A. As it relates to what?                        7       A. Yeah. I'm looking at it.
        8       Q. You told me you don't know any of the         8       Q. Tell me if I read this correctly. "The
        9   authors; right?                                      9   similarity of findings between studies published
       10       A. Yeah.                                        10   prior to and after this point suggest asbestos
       11       Q. I've now asked you if you know if any        11   contamination does not explain the positive
       12   of the authors had conflicts of interest.           12   association between perineal use of talc powder
       13       A. And I'm saying that I'm reading the          13   and risk of ovarian cancer."
       14   article and I'm reading their declaration, and      14       Did I read that correctly?
       15   that's the only way to find out that they have      15       A. Yes.
       16   conflicts of interest, right.                       16       Q. Do you disagree with the authors on
       17       Q. I should be more precise.                    17   that point?
       18       A. Yeah.                                        18       A. Let me just read it.
       19       Q. Of your own personal knowledge, do you       19       Well, I mean, to the extent that they are
       20   know whether or not any of the authors have         20   aware that asbestos does not contaminate -- talc
       21   conflicts of interest?                              21   is not contaminated with asbestos, I do agree.
       22       A. That's a separate --                         22   But, again, I have, you know, obviously more
       23           MS. PARFITT: Objection.                     23   information on that.
       24       A. So what I'm trying to say is, you know,      24       Q. On Page 25 of Exhibit 17, the Taher
       25   when you ask about conflicts of interest, if you    25   2018 article, is a table entitled "Summary of
                                                 Page 115                                                 Page 117
        1   want to ask about my article, you'd have to go       1   Evidence for Each of the Hill Criteria of
        2   and read the article and see that, what is stated    2   Causation as Applied to Perineal Application of
        3   there.                                               3   Talc and Ovarian Cancer."
        4      So that's what I'm trying to answer when you      4      Is that right?
        5   ask. I'm trying to be honest and truthful about      5      A. Yes.
        6   my answers.                                          6      Q. One of the Hill criteria is
        7          MR. KLATT: Objection; nonresponsive.          7   consistency; is that right?
        8          MR. ZELLERS: Move to strike as                8          MS. PARFITT: Objection. Form.
        9   nonresponsive.                                       9      A. Yes.
       10          THE WITNESS: I didn't understand the         10      Q. Looking at authors' statement on
       11   question.                                           11   consistency, it states, "15 out of the 30 studies
       12          MR. LOCKE: We all have questions to          12   reported positive and significant associations."
       13   ask this witness. We're not going to make the       13      Is that right?
       14   seven hours with these answers that do not answer   14      A. Yes.
       15   the questions.                                      15      Q. 15 out of 30, that's 50 percent; is
       16          THE WITNESS: Maybe I'm not                   16   that right?
       17   understanding the question. I'm sorry. It's not     17          MS. PARFITT: Objection. Form.
       18   that I'm trying to --                               18      A. Yeah. But I have -- I disagree with
       19      Q. Dr. Singh, the authors of the Taher           19   their interpretation of consistency as being, you
       20   paper concluded that the evidence suggests that     20   know, statistically significant. I mean, you
       21   asbestos contamination does not explain the         21   know, my assessment is, you know, estimates
       22   positive association between perineal use of talc   22   towards greater than one.
       23   powder and ovarian cancer; is that right?           23          MR. ZELLERS: Move to strike as
       24      A. Where do you --                               24   nonresponsive.
       25      Q. Take a look at Page 41, the last              25      Q. My question was: 15 out of 30 is
                                                                              30 (Pages 114 to 117)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 118                                                 Page 120
        1   50 percent?                                          1   consistent evidence. There are studies that
        2      A. Yes.                                           2   provide dose-response and other studies that
        3          MS. PARFITT: Objection. Let me                3   don't.
        4   object, please.                                      4      Q. You currently work for the University
        5      Q. That's no better than a coin toss;             5   of Massachusetts; is that right?
        6   correct?                                             6      A. Yes.
        7          MS. PARFITT: Object to the form.              7      Q. You work for both the medical school
        8      A. It is 50 percent.                              8   and the medical center; is that right?
        9      Q. Would you say that 15 out of 30 means          9      A. Yes.
       10   there are consistent results across studies?        10      Q. Are you aware that the University of
       11      A. Well, I mean, again, my definition of         11   Massachusetts does not claim that talcum powder
       12   inconsistency, as noted in my report, is            12   causes ovarian cancer?
       13   different from theirs.                              13          MS. PARFITT: Objection. Form.
       14      Q. These are just the case control               14      A. I don't know what -- they're listed on
       15   studies; is that right?                             15   their website. I'm not sure they provide any
       16      A. When you say -- they just say 30              16   information sheet that I am aware of.
       17   studies. Yeah.                                      17           (Printout entitled "Ovarian
       18      Q. These are case-control studies; is that       18      Cancer: Risk Factors" marked Exhibit 18.)
       19   right?                                              19   BY MR. ZELLERS:
       20          MS. PARFITT: Objection. Form.                20      Q. Take a look, if you will, at Deposition
       21      A. Well, they're both, right? Case               21   Exhibit 18.
       22   control and core.                                   22          MR. TISI: What is 16?
       23      Q. The authors in Taher also recognize           23          MR. ZELLERS: Exhibit 16 was the Health
       24   that there's no consistent dose-response across     24   Canada Decision-Making Framework. It's right
       25   studies; is that right?                             25   here.
                                                 Page 119                                                 Page 121
        1           MS. PARFITT: Objection. Form.                1          MR. TISI: Oh. I have that, Counsel.
        2       A. Well, let me look at the dose-response        2   Thank you.
        3   section.                                             3   BY MR. ZELLERS:
        4       Q. Page 21. And I'm looking at the very          4       Q. Have you had an opportunity, Dr. Singh,
        5   last sentence above Section 3.3.2.                   5   to review Deposition Exhibit 18?
        6       A. Tell me, which page number?                   6       A. Yes.
        7       Q. Sure. Page 21.                                7       Q. This is a website from the University
        8       A. We do have to slow down so that I can         8   of Massachusetts Memorial Healthcare; is that
        9   move between pages, if you don't mind.               9   right?
       10       Yes.                                            10       A. Yes.
       11       Q. This is in the section "Evidence from        11       Q. Are you familiar with the website?
       12   Human Studies"; correct?                            12       A. I mean, overall website, but not this
       13       A. Okay.                                        13   particular document.
       14       Q. Is that a yes?                               14       Q. On the second page of Exhibit 18,
       15       A. Yes.                                         15   there's a statement by your employer, the
       16       Q. The statement by the authors, "When          16   University of Massachusetts, on use of talcum
       17   conducted, findings from trend analyses were not    17   powder.
       18   consistent."                                        18       Do you see that?
       19       Is that right?                                  19       A. Yes.
       20       A. The last line?                               20       Q. The statement is, "It's not clear if
       21       Q. Yes.                                         21   using talcum powder on the genital area raises
       22       A. Yes. But the criteria for                    22   the risk for ovarian cancer. Talk with your
       23   dose-response is just exposure-response             23   healthcare provider if you decide you want to use
       24   gradients. I mean, it doesn't, you know, say        24   talcum powder."
       25   as -- even in -- I state in my report, there's no   25       Did I read that correctly?
                                                                              31 (Pages 118 to 121)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 122                                                 Page 124
        1       A. Yes, you did.                                 1   take a look at Exhibit 2 or Exhibit 10, whichever
        2       Q. Why doesn't your institution list talc        2   is easier for you.
        3   exposure as a risk factor for ovarian cancer?        3       A. Page 66?
        4           MS. PARFITT: Objection. Misstates the        4       Q. Yes. Your conclusion.
        5   evidence.                                            5       A. Yes.
        6       A. So, yeah, I mean, first of all, this          6       Q. You state that peritoneal use of talcum
        7   is -- I've seen this the first time here, but as     7   powder products can cause ovarian cancer;
        8   you can see, again, this is -- we have to go to      8   correct?
        9   Page 3 of 4 and it's medical reviewers and they      9       A. Yes.
       10   are, you know, basing their opinion on whatever.    10       Q. Is it your opinion that it does cause
       11   This was done in 2013.                              11   ovarian cancer or just that it can?
       12       So it depends on the -- it's not that, you      12          MS. PARFITT: Objection to form.
       13   know, my medical, you know, employer is listing     13       A. I don't know the semantics of what
       14   it. Obviously, it's listed there.                   14   would be -- if -- semantics of can and does. I
       15       And but it's based on the quality of the        15   mean, you can explain to me. Maybe my English is
       16   evidence. This was reviewed on 2016, and it was     16   not as good as yours.
       17   reviewed by, as you see, the credentials of --      17       Q. What type of exposure causes ovarian
       18   did they review the -- did they review the          18   cancer?
       19   biological evidence? Did they have any              19       A. Perineal application. So I mean, are
       20   additional information?                             20   you asking specific to talc?
       21       So I don't disagree with their opinion, I'm     21       Q. Yes. With respect to talc exposure,
       22   just saying.                                        22   what type of talc exposure causes ovarian cancer?
       23       Q. Dr. Singh, do you recommend to your own      23          MS. PARFITT: Objection. Form.
       24   patients that they avoid talcum powder use?         24       A. You know, perineal application of talc
       25       A. Now, I do.                                   25   can, you know, use of talc.
                                                 Page 123                                                 Page 125
        1      Q. When did you begin doing that?                 1       Q. What types of -- strike that.
        2      A. Last year.                                     2       What types of talcum powder cause ovarian
        3      Q. Do you ask them if they use talcum             3   cancer?
        4   powder as part of a routine screening?               4          MS. PARFITT: Objection. Form.
        5      A. In people that -- sorry.                       5       A. So, again, I -- I -- my causal question
        6      In patients that I talk about ovarian             6   was the use of talcum powder products and ovarian
        7   cancer.                                              7   cancer. I did not disaggregate between X and Y
        8      Q. Is that something that you began doing         8   and Z in terms of, you know, this type of talcum
        9   over the past year?                                  9   powder product.
       10      A. I would say sometime last year.               10       Q. What type of ovarian cancer does talcum
       11      Q. What about patients with a long history       11   powder cause?
       12   of use? Do you consider them at elevated risk of    12          MS. PARFITT: Objection. Form.
       13   developing cancer?                                  13       A. Talcum powder products are, you know,
       14          MS. PARFITT: Objection. Form.                14   causally linked to the development of ovarian
       15      A. So I haven't thought about it that way.       15   cancer, but the link is strongest for serous
       16   I mean, you know, when that discussion about        16   epithelial ovarian cancer.
       17   ovarian cancer comes up, we talk about risk         17       Q. Any other types of ovarian cancer that
       18   factors and, you know, I recommended that.          18   you believe talcum powder causes?
       19      Q. Have you ever recommended prophylactic        19          MS. PARFITT: Objection. Form.
       20   surgery to remove the fallopian tubes and ovaries   20       A. You know, other studies have provided,
       21   that you think -- patients that you think may       21   you know, causal links to borderline, you know,
       22   have had long-term exposure to talc?                22   other tumors. But, you know, it's mainly the
       23          MS. PARFITT: Objection. Form.                23   epithelial ovarian cancer.
       24      A. No.                                           24       Q. What dose of talcum powder is required
       25      Q. Causation. On Page 66 of your report,         25   to cause ovarian cancer?
                                                                              32 (Pages 122 to 125)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 126                                                Page 128
        1          MS. PARFITT: Objection. Form.                 1      Q. You did not conduct a meta-analysis
        2       A. I examined, you know, the causal link         2   here; is that right?
        3   between talcum powder products and ovarian cancer    3      A. Yes. And I -- partly pragmatic
        4   as the data was available in the available           4   reasons. Partly, there were so many other
        5   studies. You know, I could not -- there was          5   meta-analyses that I, you know -- although I
        6   no -- I mean, there was data on                      6   would have done things a little bit differently,
        7   dose-responsiveness, and we can discuss that.        7   and I just didn't feel the need for one more
        8       But, you know, I don't know if it's a single     8   meta-analysis that would be informative.
        9   application or it's 20 years. I mean, it is          9      Q. What was your methodology for focusing
       10   regular use and that would cause it.                10   on certain studies or excluding other studies?
       11       Q. It's correct that you have not               11      A. So I'm not aware that I excluded
       12   evaluated specifically what dose of talcum powder   12   certain studies, because I, as I compare, I have
       13   is required to cause ovarian cancer; correct?       13   included all the epidemiologic studies that are
       14          MS. PARFITT: Object to form.                 14   here. There's always a possibility that once,
       15       A. Yeah. I mean, I don't know a specific        15   you know, when you do a review, that you may
       16   dose that would cause ovarian cancer.               16   have.
       17       Q. What was your methodology for                17      But, you know, I included all the relevant
       18   concluding that talc causes ovarian cancer or, I    18   case-control studies and the cohort studies and
       19   guess to be more precision, serous ovarian          19   the systematic review and meta-analysis that I
       20   cancer?                                             20   identified.
       21       A. Yeah. I mean, mainly --                      21      And, yeah, I mean, I may have weighed
       22          MS. PARFITT: Objection.                      22   studies differently based on their quality,
       23       A. Yeah. Epithelial ovarian cancer.             23   validity and reliability.
       24       Q. What was your methodology?                   24      Q. That's how you tried to make a
       25       A. So, yeah, I did, you know -- so prior        25   distinction?
                                                 Page 127                                                Page 129
        1   to that, I was aware of systematic reviews and       1       A. Yeah.
        2   other reviews in this area.                          2       Q. Do you believe the standard for proving
        3       So I, as a broad -- you know, we should look     3   causation in the scientific literature is the
        4   at the methods section of this report.               4   same as the one that applies in litigation?
        5       Do you want to look at the methods?              5           MS. PARFITT: Objection. Form.
        6       Q. Well, if you have to. I mean, my              6       A. Yeah. I mean, the standard for
        7   question was just simply: What was your              7   causation, you know, is -- at least I was
        8   methodology for concluding that talc causes          8   applying the same standard.
        9   epithelial ovarian cancer?                           9       Q. Are you familiar with the FDA analysis
       10          MS. PARFITT: Dr. Singh, anytime you          10   of the Bradford Hill factors and that they have
       11   need to consult your report.                        11   concluded that causation is not established with
       12       A. Yeah. I mean, the methodology was, you       12   respect to talc and ovarian cancer?
       13   know, gathering lines of evidence. You know,        13           MS. PARFITT: Objection. Misstates the
       14   assessing for relevance, reliability and, you       14   evidence.
       15   know, again, assembling other lines of evidence     15       A. I am aware of a FDA letter. I'm not
       16   for animal, human studies, the constituents of      16   sure that there's a Bradford Hill analysis. And
       17   talc. And then assessing them within an analytic    17   if you can share that with me, that would be --
       18   framework, the Bradford Hill, and then, you know,   18       Q. Please review Deposition Exhibit 19.
       19   providing a weight-of-evidence opinion based on     19             (Letter dated April 1, 2014
       20   my professional judgment.                           20       marked Exhibit 19.)
       21       Q. In other cases in which you've been          21           MS. PARFITT: Thank you.
       22   retained as an expert, you've conducted a           22   BY MR. ZELLERS:
       23   meta-analysis of the available data to reach a      23       Q. Deposition Exhibit 19 is a letter from
       24   conclusion about the relative risk; correct?        24   the FDA to Sam Epstein, dated April 1st of 2014;
       25       A. I have.                                      25   is that right?
                                                                              33 (Pages 126 to 129)
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                                                Page 130                                                 Page 132
        1       A. Yes.                                         1          MS. PARFITT: Objection. Form.
        2       Q. And when I say "dated," there's a stamp      2       A. So just to clarify, where do they say
        3   at the top that says April 1, 2014; correct?        3   they apply the Bradford Hill in this document?
        4       A. Yes.                                         4       Q. You're familiar with the Bradford Hill
        5       Q. Have you reviewed this FDA analysis          5   criteria; is that right?
        6   before today?                                       6       A. Yes. I use it, but in this FDA
        7       A. Yes. I have reviewed the letter.             7   document, where does it state they apply the --
        8   Yeah.                                               8       Q. It is one of the criteria for
        9       Q. On Page 4 of the FDA document, at the        9   consistency across studies. Is that a Bradford
       10   bottom, do you see that?                           10   Hill criteria?
       11       A. I do.                                       11       A. But exactly they don't go through all
       12       Q. The FDA noted that selection bias           12   of them. So I don't know if they did a Bradford
       13   and/or uncontrolled confounding result in          13   Hill. So how can I just assume that? They don't
       14   spurious positive associations between talc use    14   talk about, you know, specificity. They don't
       15   and ovarian cancer; is that right?                 15   talk about strength of association. So I can't
       16          MS. PARFITT: Objection. Form.               16   assume that they're applying Bradford Hill.
       17       A. Yes. That's what they conclude.             17       Q. IARC did address the Bradford Hill
       18       Q. The FDA notes a lack of consistency in      18   considerations; is that right?
       19   the study results; is that right?                  19       A. Yes. In the year 2005. That was
       20          MS. PARFITT: Objection.                     20   around 15 years ago.
       21       A. Yes. And this was conducted in, I           21       Q. IARC rejected classification of talc as
       22   don't know, 2014, 2013.                            22   carcinogenic and, instead, assigned it to the
       23       Q. The FDA specifically states, "Results       23   classification of possibly carcinogenic to
       24   of case-control studies do not demonstrate a       24   humans; is that right?
       25   consistent positive association across studies";   25          MS. PARFITT: Objection. Misstates the
                                                Page 131                                                 Page 133
        1   is that right?                                      1   evidence.
        2       A. Yes. That's what they state.                 2       A. So, again, you know, just clarifying
        3       Q. The FDA also states that,                    3   that this was done in 2005, with evidence that
        4   "Dose-response evidence is lacking"; is that        4   has accumulated since then. And I wouldn't
        5   right?                                              5   classify it -- I have served on IARC panels, and
        6           MS. PARFITT: Objection.                     6   I'm very familiar with their process. They don't
        7       A. Where is that? I'm sorry.                    7   reject anything. They classify drugs in the
        8       Q. Look at Paragraph 3 at the bottom of         8   particular categories that they're supposed to
        9   Page 4.                                             9   be.
       10       A. Yes.                                        10       So it was actually classified as possibly
       11       Q. The FDA further concludes that, "A          11   carcinogenic.
       12   cogent biological mechanism by which talc might    12       Q. Take a look at Exhibit 20.
       13   lead to ovarian cancer is lacking"; is that        13             (IARC Classifications marked
       14   right?                                             14       Exhibit 20.)
       15           MS. PARFITT: Objection to form.            15   BY MR. ZELLERS:
       16       A. Yeah. But it also concludes, in the         16       Q. Deposition Exhibit 20 are the IARC
       17   same letter, that there is, you know, the          17   classifications; is that right?
       18   potential for talc to migrate. So, I mean, I'm     18       I'm sorry. Did you answer the question?
       19   just trying to be -- that's what I reviewed.       19       A. Yes. Sorry.
       20       Yes, it does say that there's no biological    20       Q. That's okay.
       21   mechanism.                                         21       A. Yes.
       22       Q. You reviewed -- or strike that.             22       Q. All right. It lists out, starting with
       23       In addition to the FDA looking at and          23   Group 1, carcinogenic to humans, down to Group 4;
       24   applying the Bradford Hill criteria, IARC does     24   is that right?
       25   that as well; is that right?                       25       A. Yes.
                                                                             34 (Pages 130 to 133)
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                                                 Page 134                                                Page 136
        1      Q. There are 120 agents that have been           1       A. Yes.
        2   determined by IARC, the International Agency for    2       Q. So out of the 1,000 agents that IARC
        3   Research on Cancer, as Group 1 agents,              3   has reviewed, it has placed only one agent in
        4   carcinogenic to humans; is that right?              4   Group 4, probably not carcinogenic; is that
        5      A. Yeah. That includes asbestos, many            5   right?
        6   others.                                             6       A. Yeah. But 499 are not classifiable as
        7      Q. That is the only category in which IARC       7   it relates, so.
        8   finds sufficient evidence in humans; correct?       8       Q. IARC doesn't even have a Group 5, not
        9      A. No. To clarify, they have -- it may be        9   carcinogenic, does it?
       10   in my report, that they have a particular way of   10       A. Well, I mean, all the -- once it's
       11   defining that category. And it may not be just     11   probably not carcinogenic, it's not carcinogenic.
       12   sufficient evidence in humans. They may be         12       Q. The best that IARC can state is that an
       13   something else. If I can look back at my report.   13   agent is probably not carcinogenic to humans,
       14      Q. Well, if it's in your report, it's in        14   which is Group 4; is that right?
       15   your report. And we can all read that.             15       A. Yes.
       16      My question to you is: Group 1 is a             16           MS. PARFITT: Objection.
       17   category where IARC has determined that there is   17       Q. All right. As with -- strike that.
       18   sufficient evidence in humans to classify an       18       With genital talc, the IARC group 2B
       19   agent as carcinogenic; is that right?              19   designation is based on limited evidence in
       20          MS. PARFITT: Objection. Misstates           20   humans; is that right?
       21   Dr. Singh's testimony.                             21           MS. PARFITT: Objection.
       22      A. I mean, do I get time to --                  22       A. Yes. There was some animal
       23      Q. Doctor, I only have seven hours here.        23   consideration. There were some biological
       24      So go to Exhibit 20. I'll make this quick.      24   mechanisms, but, again, in 2005, and as I state
       25      Do you see Exhibit 20 in front of you?          25   in my report, which I have, and there have been
                                                 Page 135                                                Page 137
        1       A. Yeah.                                        1   multiple studies since then. And that, you know,
        2       Q. This is the IARC classifications; is         2   that they should be revisited.
        3   that right?                                         3      Q. That means IARC cannot rule out chance,
        4       A. Okay. Mm-hmm.                                4   bias or confounding with reasonable confidence;
        5       Q. Group 1 states, "Carcinogenic to             5   correct?
        6   humans."                                            6      A. Based on the data they had at that
        7       A. Yes.                                         7   time.
        8       Q. Do you see that?                             8      Q. What else is in 2B, possibly -- strike
        9       A. Yeah.                                        9   that.
       10       Q. All right. Group 2A, there are 82           10      What else is in class 2B, possibly
       11   agents that are probably carcinogenic to humans;   11   carcinogenic? Are you familiar with Ginkgo
       12   is that right?                                     12   biloba?
       13       A. Yes.                                        13          MS. PARFITT: Objection to form.
       14       Q. IARC is certainly capable of reaching a     14      A. I know the name.
       15   decision that something is a known or probable     15      Q. Are you aware that that's classified as
       16   carcinogen; is that right?                         16   a 2B agent by IARC?
       17           MS. PARFITT: Objection.                    17      A. I don't know. I mean, you know, they
       18       A. Yes. I mean, 15 years ago, yes, based       18   also classify as it relates to exposure. So I
       19   on the evidence.                                   19   haven't reviewed Ginkgo biloba to be able to
       20       Q. It has placed at least 200 agents in        20   answer the question.
       21   Group 1 or Group 2A; is that right?                21      Q. Pickled vegetables, 2B; is that right?
       22       A. Yes.                                        22      A. How do I know? Show me.
       23       Q. There's only one agent in Group 4,          23      Q. Occupational --
       24   probably not carcinogenic to humans; is that       24      A. That's what you're saying.
       25   right?                                             25      Q. -- carpentry and joinery, 2B? Are you
                                                                             35 (Pages 134 to 137)
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                                                 Page 138                                                Page 140
        1   aware of that?                                      1       Q. Doctor, I'm asking you questions.
        2       A. Again, this is 2015. And, you know,          2       My question is: Epidemiologists consider a
        3   yes. I don't know I'm aware of that. I mean,        3   1.3 odds ratio in case-control studies to be a
        4   you can't put words in my mouth that pickle --      4   weak or modest association; correct?
        5   how do I know that?                                 5           MS. PARFITT: Objection. Misstates the
        6       Q. There's no chance of my putting words        6   evidence and the science.
        7   in your mouth. IARC can change its                  7       A. Not the epidemiologists that I
        8   classification for a substance; is that right?      8   contacted. You know, we look at various, you
        9       A. It does. I mean, from what I                 9   know -- as I state in my report, you know, you
       10   understand.                                        10   can have modest associations and you can have a
       11       Q. It has not changed its Group 2B             11   relative risk of one that are lower, and if you
       12   classification since it determined that talc was   12   go to a low-prevalence population, and then
       13   a 2B agent; is that right?                         13   remove competing risk factors, those can be
       14          MS. PARFITT: Objection. Form.               14   attenuated.
       15       A. It has not carried out an assessment        15       So the epidemiologists that I interact with,
       16   since 2005, that I'm aware of.                     16   and we don't look at this as weak or modest or
       17       Q. Has IARC changed its group 2B               17   high. We just look at it in the whole causal
       18   classification?                                    18   framework.
       19       A. No --                                       19       Q. Can you point to any peer-reviewed
       20          MS. PARFITT: Objection.                     20   literature on talc and ovarian cancer that states
       21       A. -- and as far as I'm aware, no              21   that 1.3 odds ratio is a strong association?
       22   assessment has been carried out.                   22       A. Again, that's not -- I'm not looking at
       23       Q. Bradford Hill, strength of association      23   talc at 1.3 is a strong association. I'm stating
       24   is one of the criteria; is that right?             24   that, yeah, I can't point to the talc literature
       25       A. I don't consider them criteria.             25   that states that.
                                                 Page 139                                                Page 141
        1   There's overviews. I think -- I'm just picking      1      Q. IARC does not refer to this as a strong
        2   the terms. I mean, they're overviews of Bradford    2   association; correct?
        3   Hill. Doesn't list them as criteria, because        3          MS. PARFITT: Objection. Form.
        4   criteria implies a list of things that you can      4      A. I don't know what -- the particular
        5   pick and choose from.                               5   objective or qualifier they use. I mean --
        6       Q. You would call them what?                    6      Q. FDA doesn't refer to this as a strong
        7       A. Overviews. Actually, that's what he          7   association, do they?
        8   calls them.                                         8          MS. PARFITT: Objection to form.
        9       Q. Overviews. Strength of association is        9      A. Again, you have to sort of just show me
       10   a Bradford Hill overview; is that right?           10   where they are, and I'll agree with it.
       11       A. Yes.                                        11      Q. Have you seen any statement from IARC
       12       Q. Epidemiologists consider a 1.3 odds         12   that there is a strong association between
       13   ratio in case-control studies to be a weak or      13   genital talc use and ovarian cancer?
       14   modest association; is that right?                 14      A. I don't recall that particular phrase.
       15          MS. PARFITT: Objection. Misstates the       15      Q. All right. The National Cancer
       16   evidence.                                          16   Institute doesn't refer to this as a strong
       17       A. No. I mean, again, strength of              17   association; correct?
       18   association based on -- depends on the study       18          MS. PARFITT: Objection to form.
       19   question at hand, the study design, and, you       19      A. I don't recall that particular
       20   know, the quality of the underlying data. So       20   objective.
       21   strength of association, in and of itself, does    21      Q. Do your opinions on strength of
       22   not provide any -- any -- any sort of -- any       22   association apply equally to all forms of ovarian
       23   answer to the causal question. Again, I'll go      23   cancer?
       24   back to my report, because I have to go back to    24          MS. PARFITT: Objection. Form.
       25   my report.                                         25      A. Again, I'm -- you know, my opinions are
                                                                             36 (Pages 138 to 141)
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                                                 Page 142                                                 Page 144
        1   not -- again, we can parse this out. I mean, I       1   me when you have that.
        2   was just looking at the causal question. Is talc     2       A. Yeah.
        3   causally related to the development of ovarian       3       Q. "Proposal to research community." Do
        4   cancer?                                              4   you see that?
        5       And, you know, most of the evidence that I       5       A. Yes.
        6   examined were -- was provided in terms of serous     6       Q. Tell me if I read this statement by the
        7   epithelial cancer, and --                            7   authors correctly.
        8       Q. I thought you told me that your               8       "The current body of experimental and
        9   methodology was to look at the Bradford Hill         9   epidemiological evidence is insufficient to
       10   overview factors; is that right?                    10   establish a causal association between perineal
       11       A. Yeah.                                        11   use of talc and ovarian cancer risk.
       12       Q. All right. And one of those factors is       12   Experimental research is needed to better
       13   strength of association; is that right?             13   characterize deposition, retention, and clearance
       14       A. Yes.                                         14   of talc to evaluate the ovarian carcinogenicity
       15       Q. And that's a factor that you looked at;      15   of talc."
       16   correct?                                            16       Did I read that correctly?
       17       A. Yes.                                         17       A. Yes.
       18       Q. Do your opinions on strength of              18       Q. You're drawing conclusions from this
       19   association apply equally to all forms of ovarian   19   study that are broader than the study authors'
       20   cancer?                                             20   own conclusions; is that right?
       21          MS. PARFITT: Objection. Form.                21          MS. PARFITT: Objection.
       22       A. Well, I did not disaggregate my, you         22       A. I didn't draw. So you were asking me
       23   know, opinion by histologic subtype.                23   that whether I drew a single conclusion from the
       24       Q. You cite to the Langseth paper; is that      24   Langseth. I mean, there are -- I think I cite
       25   right?                                              25   all the meta-analyses first, and then -- so I'm
                                                 Page 143                                                 Page 145
        1       A. I do.                                         1   not just drawing inferences from there.
        2       Q. You state that the authors in Langseth        2       And the authors, as far as I am aware, A,
        3   2008 found an odds ratio ranging between 1.12 to     3   there have been several other studies published
        4   1.4, depending upon the type of study design. Is     4   since then. This is 2007. So we have 12 years
        5   that right? This is on Page 22 of your report.       5   and several publications. And, B, the authors
        6       A. Okay.                                         6   themselves have provided opinions that they are
        7       Q. Langseth, in fact, rejects causation          7   causally related. Dr. Siemiatycki, as far as I'm
        8   and says more study is needed; correct?              8   aware.
        9           MS. PARFITT: Objection. Form.                9       Q. Did you cite this paper in your report?
       10       A. I don't know why you have stated they        10       A. Yes.
       11   reject causation. Show me that statement in that    11       Q. The authors in this paper state that
       12   article.                                            12   the current body of experimental and
       13       Q. Take a look, if you will, at Deposition      13   epidemiological evidence is insufficient to
       14   Exhibit 21.                                         14   establish a causal association between perineal
       15             (Article entitled "Perineal use           15   use of talc and ovarian cancer risk; is that
       16       of talc and risk of ovarian cancer" marked      16   right?
       17       Exhibit 21.)                                    17          MS. PARFITT: Objection. Misstates the
       18           MS. PARFITT: Thank you.                     18   evidence in this case. The science and
       19           MR. ZELLERS: Mm-hmm.                        19   testimony.
       20   BY MR. ZELLERS:                                     20       A. It says the current body of evidence.
       21       Q. Deposition Exhibit 21 is the Langseth        21   This is current as of two thousand and whenever.
       22   2008 meta-analysis that you cite in your report;    22       Q. This is the paper. 2008, Exhibit 21,
       23   is that right?                                      23   that you relied on --
       24       A. Yeah. It's one of the meta-analyses.         24       A. Yeah.
       25       Q. Turn to Page 359 of Exhibit 21. Tell         25       Q. -- and cite in your report; correct?
                                                                              37 (Pages 142 to 145)
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                                                 Page 146                                                 Page 148
        1       A. This is not the only --                       1   overall evidence, my testimony is that the cohort
        2          MS. PARFITT: Objection. Form.                 2   study estimates are in line with the case-control
        3       A. -- paper. I cited on 2017, 2018.              3   evidence and provide evidence of consistency.
        4       Q. Go to the acknowledgments section.            4       Q. The cohort studies themselves, looking
        5       Do you see the acknowledgments off to the        5   just at those studies, and I'm going to ask you
        6   left?                                                6   about the others --
        7       A. Yes.                                          7       A. Sure, sure.
        8       Q. The authors are IARC members; is that         8       Q. -- do not show a consistent
        9   right?                                               9   association between talc use and ovarian cancer;
       10       A. Yes.                                         10   correct?
       11       Q. The authors of this paper, Langseth?         11           MS. PARFITT: Objection. Misstates the
       12       A. Yes.                                         12   testimony.
       13       Q. Another overview factor of Bradford          13       A. So that's not the way I look at
       14   Hill is consistency; is that right?                 14   evidence. I look at everything. That's what you
       15       A. Yes.                                         15   want to look at. You can look at it.
       16       Q. The literature does not show a               16       I just look at evidence, you know, whatever
       17   consistent association between talc use and         17   is out there. So I didn't look at cohort studies
       18   ovarian cancer; right?                              18   in and of themselves.
       19          MS. PARFITT: Objection to form.              19       And that's why we do systematic reviews.
       20       A. I disagree.                                  20   That's why we do meta-analyses, because you want
       21       Q. The cohort studies do not show an            21   to look at everything at the same time.
       22   association between talc use and ovarian cancer;    22       Q. You did not look at the cohort studies
       23   correct?                                            23   individually; correct?
       24          MS. PARFITT: Objection to form.              24       A. I did. And they're in my report.
       25       A. I disagree. The cohort studies show          25       Q. If you looked at the cohort studies
                                                 Page 147                                                 Page 149
        1   significant -- you know, increased risk, which is    1   individually, they do not show a consistent
        2   in the same direction as the case-control            2   association between talc use and ovarian cancer;
        3   studies, which, as several of the authors, such      3   correct?
        4   as Penninkilampi and others and me, interpret as     4         MS. PARFITT: Objection. Misstates the
        5   evidence of consistency.                             5   evidence.
        6       Q. The cohort studies are what?                  6      A. So how can you look at individually and
        7       A. I'm sorry?                                    7   answer questions about consistency? To answer
        8       Q. List out the cohort studies for us.           8   questions about consistency, you have to look
        9       A. Penninkilampi is a meta-analysis. They        9   across studies. And when you look across
       10   are an interpretation of the cohort studies.        10   studies, you have to bring all studies.
       11       Q. You told me before that to do a proper       11      And that's when you can opine on
       12   analysis, you have to go and look at the            12   consistency.
       13   individual studies; is that right?                  13      Q. Doctor, my question relates just to the
       14       A. I do. I did.                                 14   cohort studies.
       15       Q. And you went and you reviewed the            15      A. I understand.
       16   cohort studies; is that right?                      16      Q. The cohort studies do not demonstrate
       17       A. Yes.                                         17   an association between talc use and ovarian
       18       Q. And it's your testimony that those           18   cancer; correct?
       19   cohort studies do show an association between       19         MS. PARFITT: Objection. Misstates the
       20   talc use and ovarian cancer. Is that your           20   evidence.
       21   testimony?                                          21      Q. Just the cohort studies.
       22       A. So I reviewed the cohort studies in          22         MS. PARFITT: Objection. Misstates the
       23   line with 30 case-control studies in line with      23   evidence.
       24   70, you know -- sorry -- seven other                24      A. First of all, you know, they do
       25   meta-analyses and, you know, synthesizing the       25   increase -- an increase of serous epithelial
                                                                              38 (Pages 146 to 149)
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        1   ovarian cancer in one of them, and cumulative        1          MS. PARFITT: Wait. Are you in the
        2   evidence from cohort studies shows an excess risk    2   middle?
        3   of ovarian cancer which is not statistically         3       A. Yeah. That's incorrect. It should be
        4   significant.                                         4   the population-based case studies. That's my --
        5      Q. Hospital-based, case-control studies           5   you know, that's a misstatement on my part.
        6   collectively do not show an association between      6       Q. So you need to amend your report?
        7   talc use and ovarian cancer; correct?                7       A. Yeah. Yeah.
        8          MS. PARFITT: Objection. Misstates the         8       Q. So if we go to Page 54 --
        9   evidence.                                            9       A. Yeah.
       10      A. That is incorrect, because                    10       Q. -- Paragraph 8, you state that it's an
       11   hospital-based, case-control studies also show an   11   error when you state, "As opposed to
       12   association between talc use and ovarian cancer     12   hospital-based controls, which may be less
       13   which is not, you know -- and I would have to       13   susceptible to selection bias, the
       14   look again. Please bring out the studies,           14   population-based, case-control studies have
       15   because I want to look at some of the studies       15   consistently showed a higher estimate of
       16   before I, you know, provide specific -- you're      16   increased risk of ovarian cancer associated with
       17   asking very specific questions about                17   talc use."
       18   hospital-based studies, so I have to look at the    18       A. Yeah. And I was applying the less
       19   studies.                                            19   susceptible to the population-based statement.
       20      Q. If you can't answer a question, tell me       20       Q. How do you need to correct this
       21   you can't answer it. But my question is,            21   statement?
       22   hospital-based, case-control studies collectively   22       A. I don't know how, you know. Yeah, it
       23   do not show an association between talc use and     23   would be as opposed to hospital-based controls,
       24   ovarian cancer; correct?                            24   population-based, case-control studies may be
       25          MS. PARFITT: Objection. Misstates the        25   less susceptible to selection bias.
                                                 Page 151                                                 Page 153
        1   evidence.                                            1       Q. You believe that population-based
        2       A. No. I disagree. And, again, I'd have          2   studies may be susceptible to less selection
        3   to -- can we pull the Penninkilampi paper?           3   bias?
        4       Q. Doctor, I'm going to ask you about that       4       A. May be less susceptible.
        5   paper.                                               5       Q. Take a look at Exhibit 21. That's the
        6       A. No. But then how can I answer                 6   article we looked at a few minutes ago.
        7   questions?                                           7       Do you see that?
        8       Q. I need you to answer my questions.            8       A. That's the Langseth?
        9       If you can't answer a question, then tell me     9       Q. Yes. The Langseth article.
       10   you can't answer the question.                      10       Do you see that?
       11       A. I'm willing to answer the question.          11       A. Yes.
       12   Just bring me the evidence so that I can look at    12       Q. Take a look under the hospital-based
       13   it.                                                 13   studies.
       14       I'm sorry. I'm trying my best.                  14       Do you see that on Page 359?
       15       Q. In your report, you state that               15       A. Yes.
       16   hospital-based, case-control studies may be less    16       Q. You are the one who cites this paper
       17   susceptible to selection bias than                  17   and relies on it; is that right?
       18   population-based, case-control studies; correct?    18       A. Yes.
       19       A. Where do I state that?                       19       Q. If we look at pooled odds ratio for
       20       Q. Look at your report on Page 54,              20   hospital-based studies --
       21   Paragraph 8.                                        21       A. Mm-hmm.
       22       A. Actually, I state entirely the               22       Q. -- the odds ratio is 1.2 and the
       23   opposite. I state that the population-based         23   confidence interval is a .92 to 1.36; is that
       24   studies may have --                                 24   right?
       25       Q. So --                                        25       A. Yes.
                                                                              39 (Pages 150 to 153)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 154                                                 Page 156
        1        Q. That means that it may or may not be --      1   behavioral change bias, which attenuates towards
        2   show an association between talc use and ovarian     2   the null. It induces an element of
        3   cancer. The pooled result; is that right?            3   misclassification of exposure, which goes towards
        4            MS. PARFITT: Objection to form.             4   null. It limits the duration of assessment,
        5        Q. Given that confidence interval.              5   which, you know, limits assessment. So it
        6            MS. PARFITT: Objection to form.             6   doesn't have power to suggest.
        7        A. Yeah. Again, this is -- you know, at         7       So, yes, recall bias is a feature that is
        8   that time. I don't know what studies have been       8   better assessed in the cohort studies, but recall
        9   added. We can look in the new paper, which I'm       9   bias, for exposures that are daily use, such as
       10   not sure why it's not been brought up.              10   talc, are less likely, you know, to be in play.
       11        But, yes, it does show an excess risk, not     11   Recall bias -- let me finish my explanation.
       12   statistically significant, consistent with the      12       Recall bias would less likely be in play
       13   population studies.                                 13   because we don't see evidence with nonperineal
       14        Q. All right. Hospital-based control           14   talc exposure. Recall bias are less likely to be
       15   studies, you're more likely to be comparing         15   in play because we only see it with epithelial
       16   hospitalized patients to hospitalized patients;     16   ovarian cancer.
       17   is that right?                                      17       So, yes, cohort studies less, but there are
       18        A. Yes. That's why they're hospital            18   other biases.
       19   based.                                              19       Q. Couldn't recall bias explain the
       20        Q. Population-based studies, you're more       20   difference between cohort studies and
       21   likely to be comparing ill people to healthy        21   retrospective case-control studies?
       22   people; is that right?                              22          MS. PARFITT: Objection. Form.
       23        A. Yeah. Your source of control. I             23       A. I don't think so. There's multiple
       24   mean -- well, it depends. How do you know if        24   other biases and multiple other strengths and
       25   it's ill people? If you are sourcing from the       25   limitations that would have to be considered.
                                                 Page 155                                                 Page 157
        1   population in both, it's a population-based          1      Q. You cite to Berge, a 2017 paper, in
        2   study.                                               2   your report; is that right? Is that correct?
        3       Q. Population-based, case-control studies,       3      A. Yes.
        4   the ones that you look at only show a weak           4          MR. ZELLERS: Take a look at
        5   association between talc use and ovarian cancer;     5   Exhibit 22.
        6   is that right?                                       6            (Article entitled "Genital use
        7           MS. PARFITT: Objection. Misstates the        7      of talc and risk of ovarian cancer: A
        8   evidence.                                            8      meta-analysis" marked Exhibit 22.)
        9       A. I think we went about that weak. I            9          MR. ZELLERS: Ms. Court Reporter, where
       10   don't believe that they are weak. We went           10   do you want me to put it, maybe here, on top?
       11   through that.                                       11          COURT REPORTER: Sure.
       12       Q. That's your --                               12          MR. TISI: Thank you.
       13       A. Yeah. My opinion is that they're not         13   BY MR. ZELLERS:
       14   weak evidence.                                      14      Q. Deposition Exhibit 22 is a paper that
       15       Q. Isn't the absence of an association in       15   you cite by Berge, is the first named author,
       16   the cohort studies especially significant in that   16   2017. It's a recent meta-analysis; is that
       17   the study design reduces the likelihood of recall   17   right?
       18   bias?                                               18      A. Yes.
       19           MS. PARFITT: Objection to form.             19      Q. Go to Page 6 of the Berge paper,
       20       A. Yes. I mean, it is important to look         20   Exhibit 22.
       21   at recall bias in the cohort studies. But the       21      The authors conclude that, "Information bias
       22   study design introduces several elements of other   22   from retrospective self-report of talc use is a
       23   bias for an outcome such as ovarian cancer.         23   possible explanation for the association detected
       24       You know, I'm answering your question,          24   in case-control studies." Is that right?
       25   because you asked about bias. It introduces         25      A. Yes.
                                                                              40 (Pages 154 to 157)
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                                                Page 158                                                 Page 160
        1       Q. What was your methodology for                1   that the case-control stories are more powered.
        2   discounting the effect of recall bias in the        2      Q. Do you agree that some case-control
        3   population-based, case-control studies?             3   studies have shown statistically significant
        4       A. I mean, it's not like there's a -- once      4   findings and others have not?
        5   recall is operational, there are no methods that    5      A. Yes.
        6   you can and do discount. But just the quality       6      Q. What is your methodology for weighing
        7   and, you know, the quantity of evidence over        7   the lack of consistency in statistical
        8   studies and the fact that even the cohort           8   significance across studies?
        9   studies, despite these limitations, show an         9          MS. PARFITT: Objection. Form.
       10   increased risk suggests that recall bias, while    10      A. I can answer that. Yeah.
       11   it is potential, cannot explain -- be the only     11      So the methodology for correcting the lack
       12   explanation for a causal link between talc and     12   of significance, that's why you do a
       13   ovarian cancer. You cannot adjust for recall       13   meta-analysis. That's an inverse variance
       14   bias after the completion of the study.            14   weighted meta-analysis. You -- so all of these
       15       Q. What is the rate of error in that           15   studies have accounted for the fact that their
       16   methodology?                                       16   confidence intervals are crossing 1. And that's
       17       A. I think that none of them have              17   how they have accounted for lack of a statistical
       18   calculated it. And Dr. Cramer has done in his      18   significance.
       19   last study. And it appears that you'd have to      19      So you can see that all of these estimates
       20   need a significant degree of recall bias. And I    20   are weighted by sample size. So --
       21   am going to reference my report.                   21      Q. Do you agree that if a study does not
       22       Q. Okay. Didn't the cohort studies             22   show a statistically significant association, it
       23   involve a much greater --                          23   could mean that no risk exists? Correct?
       24       A. I'm not done.                               24          MS. PARFITT: Objection. Form.
       25           MS. PARFITT: Excuse me.                    25      A. In the context of that study. But,
                                                Page 159                                                 Page 161
        1       A. I'm done.                                    1   again, I am looking at the cumulative evidence.
        2          MS. PARFITT: One moment. He wanted to        2       Q. It could mean -- strike that.
        3   reference something in his report.                  3       It could just be occurring by chance; is
        4       A. Yeah. The risk of exposure would have        4   that right?
        5   to be very high to nullify the increased risk.      5           MS. PARFITT: Objection. Form.
        6       Q. Didn't the cohort studies involve a          6       A. I'm looking at the whole body of
        7   much greater number of women than the               7   evidence.
        8   case-control studies?                               8       In the context of a single study, yes.
        9          MS. PARFITT: Objection. Misstates the        9       Q. If a study is underpowered it could be
       10   evidence.                                          10   because the difference in risk is too small to
       11       A. Yeah. But their combined number of          11   detect such as a risk ratio smaller than 1.15;
       12   ovarian cancer cases was 890. So power is only     12   isn't that right?
       13   -- depends on the number of cases.                 13       A. Yes. It's possible.
       14       Q. What was your methodology for weighing      14       Q. All right. You have a criticism in
       15   the power of the cohort studies versus the         15   your report of the Nurses' Health Study; is that
       16   case-control studies?                              16   right?
       17       A. I mean, retrospective calculations of       17           MS. PARFITT: Objection to form.
       18   power are, you know, not really recommended once   18       A. I don't have -- again, I don't have
       19   you already have the results. I mean, we already   19   criticisms. I have pointed out the strengths and
       20   see that the overall cumulative evidence           20   limitations.
       21   from many meta-analyses suggests an increased --   21       Q. Well, let's look at some of those.
       22   you know, provides an increased risk.              22       On Pages 40 and 41 of your report, you
       23       And we know that there's thousands of cases    23   discuss the Gates 2008 study; is that right?
       24   in the case control. There's, you know, I don't    24       A. 40. Yes.
       25   know how many cases in the cohort, so we know      25       Q. The Gates 2008 study showed a
                                                                             41 (Pages 158 to 161)
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                                                  Page 162                                                Page 164
        1   statistically significant increased risk of total    1   Study questionnaire; correct?
        2   epithelial ovarian cancer; is that right?            2       A. Yes.
        3      A. Let me just look at it. There's so             3       Q. And you cite that on Page 48 of your
        4   many of these. Yes.                                  4   report, second paragraph; is that right?
        5      Q. The Gates 2008 study used data                 5       A. Yes.
        6   collected in the Nurses' Health Study; is that       6       Q. You state, "Further, as discussed
        7   right?                                               7   above, determining never use, based only on a
        8      A. Yes. There was another part to it as           8   one-time question, near the start of the study,
        9   well.                                                9   14 years prior to terminating the study in 1996,
       10      Q. In the Nurses' Health Study, the              10   introduces undirectional behavioral change bias,
       11   participants were asked about their talc exposure   11   likely misclassifying some ever users who used
       12   in one questionnaire in 1982; is that right?        12   talc during the study as never users and biased
       13      A. Yes.                                          13   the findings toward the null."
       14      Q. When they were asked about their talc         14       Is that what you state in your report?
       15   use, the participants were between 36 and 61        15       A. Let me just read it. Yes.
       16   years of age; is that right?                        16       Q. So when you discuss the Gertig 2000
       17      A. Yes.                                          17   study, you say that, because the participants in
       18      Q. As you state in your report, you agree        18   the Nurses' Health Study were only about or only
       19   that, although talc exposure -- and I'm looking     19   asked about talc use once, near the beginning of
       20   at Page 41 --                                       20   the study, women who started using talc after
       21      A. Yes.                                          21   they completed that questionnaire could have been
       22      Q. The first paragraph. You agree that,          22   misclassified as never users; is that right?
       23   "Although talc exposure was only measured in the    23       A. Yeah.
       24   1982 Nurses' Health Study questionnaire, when       24       Q. But when you talk about the study that
       25   participants were between 36 to 61 years of age,    25   you believe supports your opinion --
                                                  Page 163                                                Page 165
        1   the number of users who began talc use after this    1       A. Yeah.
        2   is likely small, as shown by the fact that more      2       Q. -- Gates 2008, you recognize that the
        3   than 95 percent of controls with regular talc in     3   vast majority of women who use talc initiate use
        4   the NECC reported talc use before age 35."           4   before age 36; is that right?
        5       A. Yes.                                          5       A. Yeah. But it does not -- both points
        6       Q. Is that correct?                              6   are valid. I mean, I'm just stating the
        7       A. Yes.                                          7   limitations of the Gates study and the Gates
        8       Q. Later in your report, on Pages 47 and         8   analysis. So.
        9   48, you discuss the Gertig 2000 study; is that       9       I don't see an incongruity that you're
       10   right?                                              10   trying to point out. I'm just saying the
       11       A. Yes.                                         11   proportion of women who were never users, the
       12       Q. That study also uses the data from the       12   number of users who began is likely small. But
       13   Nurses' Health Study; correct?                      13   it still does not eliminate the possibility of
       14       A. Yes. It's all part of the same cohort.       14   unidirectional behavioral change bias.
       15       Q. That study, Gertig 2000, did not find a      15       Q. When you're looking at a cohort study,
       16   statistically significant relationship between      16   Gertig 2000 that does not support your opinion,
       17   daily talc use and all types of ovarian cancer;     17   you're talking about limitations; correct?
       18   is that right?                                      18            MS. PARFITT: Objection. Misstates his
       19       A. Yeah. Again, I mean, they are                19   testimony.
       20   different -- they're the same cohort with           20       A. I'm not talking about a study that does
       21   different follow-up time, different design. But     21   not support mine. I'm looking at the strengths
       22   it did not. And it found an increased risk for      22   and limitations of a study.
       23   serous ovarian cancer.                              23       Q. You state two different things,
       24       Q. Gertig 2000, that study also relied on       24   depending upon whether you're talking about Gates
       25   the national -- strike that -- the Nurses' Health   25   2008 or Gertig 2000; correct?
                                                                              42 (Pages 162 to 165)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 166                                                 Page 168
        1           MS. PARFITT: Objection. Misstates his        1   participants in the Houghton 2014 study was 63.3
        2   testimony.                                           2   years at baseline, with 12.4 years of follow-up
        3       A. I am not.                                     3   on average; is that right?
        4       First of all, they are two different             4       A. Yes.
        5   analyses of a cohort. So they're not two             5       Q. And then you say that, because
        6   different things about.                              6   participants were not asked again about talcum
        7       And I'm pointing out, you know, the reasons      7   powder use during follow-up, people who initiated
        8   that that -- so I'm, you know, pointing out in       8   talc use after the study began were being
        9   Gates that, yes, talc exposure is a single-time      9   misclassified as never users. Is that right?
       10   exposure. And it is -- you know, introduces an      10       A. Yes.
       11   element of bias.                                    11       Q. So, again, when the study supports your
       12       But I'm also pointing out in Gates why that     12   opinion, you recognize that the vast majority of
       13   bias is likely to be, you know, small coming from   13   perineal talc users begin that use well before
       14   the other consortium.                               14   age 63.
       15       Q. But you don't say that when you discuss      15           MS. PARFITT: Objection. Misstates
       16   Gertig 2000, do you?                                16   testimony.
       17       A. Yeah. Because it wasn't done in              17       A. I don't recognize that. How do I
       18   conjunction with the NECC consortium.               18   recognize that? I'm just citing that, in Gates,
       19       Q. All right. Look at Page 49 of your           19   they provided that opinion. Yeah.
       20   report. You discuss the Houghton 2014 study; is     20       In the Gates study, they quoted data from
       21   that right?                                         21   the NECC, that that's one study that provides. I
       22       A. Yes.                                         22   don't know what's happening in the -- in this
       23       Q. All right. Houghton did not find a           23   Houghton study, that vast majority. That's
       24   statistically significant increase in the risk of   24   something that you are providing. And you
       25   ovarian cancer with perineal talc use; is that      25   provide data that the vast majority of users
                                                 Page 167                                                 Page 169
        1   right?                                               1   began --
        2       A. Yes.                                          2       Q. It's something you cited in your
        3       Q. Houghton did not find a statistically         3   report; correct?
        4   significant increase in the risk of ovarian          4       A. Yeah. But it doesn't mean that that
        5   cancer with use of talcum powder on sanitary         5   applies to, you know, this Houghton study as
        6   napkins or diaphragms; is that right?                6   well.
        7       A. Yeah. They found an increased risk            7       Q. And that's my point. You take a piece
        8   which was not statistically significant.             8   of information in terms of when women begin their
        9       Q. And Houghton 2014 did not find a              9   talc use. You apply it differently in your
       10   statistically significant increase in risk of       10   analysis of studies that favor plaintiffs'
       11   ovarian cancer with increasing durations of use     11   position than studies that do not favor
       12   or when stratified by age or tubal ligation         12   plaintiffs' position?
       13   status; correct?                                    13       A. I'm sorry. I have to object.
       14           MS. PARFITT: Objection. Form.               14          MS. PARFITT: Objection.
       15       A. I don't know that specific. I mean,          15       A. I have to object. This is a
       16   you'd have to show me. Again, I don't remember      16   mischaracterization of my testimony. I mean, I
       17   these studies offhand.                              17   have to object to this. Because -- no, I have
       18       Q. Like the Nurses' Health Study, the           18   to.
       19   Houghton 2014 authors ask participants about        19          MS. PARFITT: Let him finish. Let
       20   their talcum powder use at the participants'        20   him --
       21   entry into the study; is that right?                21       A. Because you are mischaracterizing my
       22       A. Yes. And they don't update during a          22   testimony.
       23   follow-up, introducing, you know, bias.             23       Yes, I point out the limitations in one
       24       Q. On Page 50 of your report, second            24   section that, you know, a majority of women. And
       25   paragraph, you note that the average age of the     25   I also point out the unidirectional change bias,
                                                                              43 (Pages 166 to 169)
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                                                 Page 170                                                 Page 172
        1   and both are entirely congruent with each other.     1          MR. ZELLERS: So I'll ask just a few
        2   But yes --                                           2   questions about this study --
        3       Q. Tell --                                       3          MS. PARFITT: And if it's not here --
        4       A. Yes.                                          4          MR. ZELLERS: -- then we'll take a
        5       Q. Are you finished?                             5   break, because we've been going for a while.
        6       A. Yes.                                          6             (Article entitled "Perineal Talc
        7       Q. All right. On what are you relying to         7       Use and Ovarian Cancer, A Systematic Review
        8   opine that enough women begin talcum powder use      8       and Meta-Analysis" marked Exhibit 23.)
        9   in their 50s and 60s such that the results of        9   BY MR. ZELLERS:
       10   Houghton or Gates 2000 are biased toward the        10       Q. Doctor --
       11   null?                                               11       A. I think we need a break in five
       12       A. Well, I mean, we know -- exactly. I          12   minutes. I need a break. I don't know about
       13   mean, we don't know that. I mean, we can't --       13   you.
       14   even a small amount, and that's important to        14       Q. We don't want to wear you out.
       15   know, that even a small amount of users was         15       A. It's only half. Not even half the way.
       16   class- -- because we didn't ask those questions.    16       Q. I'm handing you Exhibit 23. This is
       17   So even a small amount of users who had moved to    17   the Penninkilampi meta-analysis that you have
       18   the other category would have nullified -- you      18   referred to in your report and also in your
       19   know, would have biased it towards the null.        19   testimony; is that right?
       20       Q. Based on all your review, the data that      20       A. Yes.
       21   you came across and that you cite in your report,   21       Q. You rely on this meta-analysis,
       22   are that the vast majority of women begin talc      22   Deposition Exhibit 23, in forming your opinions;
       23   use in their 20s or earlier; correct?               23   is that right?
       24       A. No. I cite that in the NECC. That's          24       A. As one of the studies. Yes.
       25   the data I came across. And that's why it is        25       Q. It's a 2018 meta-analysis; is that
                                                 Page 171                                                 Page 173
        1   cited. So to mischaracterize it as not being         1   right?
        2   cited is incorrect.                                  2      A. Yes.
        3       Q. What is the latency period for ovarian        3      Q. Are you aware that this meta-analysis
        4   cancer?                                              4   by Penninkilampi does not include the Gates 2010
        5       A. I don't know a specific number. It's,         5   update of the Nurses' Health Study?
        6   you know, several years.                             6      A. When you say the Gates 2002 -- the
        7       Q. Several years.                                7   study that we --
        8       That's your testimony based upon all of the      8      Q. What we looked at before was Gates
        9   data and material you've reviewed?                   9   2008. And we also looked at Gertig 2000 --
       10       A. Yes. I mean --                               10      A. All these different studies.
       11          MS. PARFITT: Objection.                      11      Q. That's all right.
       12       Q. You've -- you've been referring to           12      You're aware that there are several
       13   Penninkilampi; is that right?                       13   different cohort studies relating to the Nurses'
       14       A. I don't know the name. Yes.                  14   Health Study; is that right?
       15       Q. But let me give it to you and we can         15      A. Yes.
       16   both see if we can pronounce it together.           16      Q. What we talked about earlier was the
       17          MS. PARFITT: Before we start, it's           17   Gertig 2000 study.
       18   about 12:20. We do have lunch coming. May I         18      A. Okay.
       19   just take two minutes to see if it's here?          19      Q. Correct?
       20          MR. ZELLERS: Sure. Or you can let me         20      A. Yes. And before that, we talked
       21   ask a couple of questions about this study and we   21   about --
       22   can take a break, but whatever your preference      22      Q. The Gates 2008.
       23   is.                                                 23      A. Okay.
       24          MS. PARFITT: What's your preference?         24      Q. Are you aware that Gates, in 2010,
       25          THE WITNESS: Let's do it.                    25   updated the Nurses' Health Study, which we have
                                                                              44 (Pages 170 to 173)
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                                                 Page 174                                                 Page 176
        1   referred to as Gertig 2000?                          1       So I think it's quite reliable and, you
        2       A. Yeah. I have. It's cited in my report         2   know, they were justified. They said we're going
        3   as well, 92.                                         3   to look at case control with more than 50 cases.
        4       Q. Are you aware that Penninkilampi does         4   So I don't consider it unreliable for that
        5   not include the Gates 2010 update of the Nurses'     5   reason.
        6   Health Study?                                        6          MR. ZELLERS: Let's take a break.
        7          MS. PARFITT: Refer to your --                 7          THE VIDEOGRAPHER: Here ends Media
        8       A. Can I take a look?                            8   No. 2. Off the record, 12:24 p.m.
        9          MS. PARFITT: Of course, you can.              9           (Lunch recess was taken.)
       10       Q. Sure.                                        10          THE VIDEOGRAPHER: Here begins media
       11       A. Yeah. It cites Gertig.                       11   No. 3 in today's deposition of Sonal Singh, MD,
       12       Q. But it does not cite Gates 2010; is          12   M.P.H. Back on the record, 1:02 p.m.
       13   that right?                                         13   BY MR. ZELLERS:
       14       A. I don't see it.                              14       Q. Dr. Singh, another Bradford Hill
       15       Q. Do you weigh this study, the                 15   overview factor that you considered is
       16   meta-analysis by Penninkilampi, less because it     16   dose-response; is that right?
       17   does not include the Gates 2010 study?              17       A. Yes.
       18       A. I mean, all of these meta-analyses,          18       Q. Which studies show a dose-response?
       19   most of them have found, you know, similar odds     19       A. Let me just refer to my report.
       20   ratio. You know, some of them have made             20       So in -- you know, in assessing
       21   different decisions.                                21   dose-response, it's very challenging with an
       22       They have made -- for example, they made        22   exposure such as perineal talc, particularly
       23   decisions about more than 50 cases. Other -- if     23   because, you know, you need to know the amount,
       24   you look at the Taher meta-analysis, they           24   you need to know the duration, you need to know
       25   decided, based on -- that a New Castle Tawas        25   the intensity of exposure. So there are
                                                 Page 175                                                 Page 177
        1   Skill Rating will include studies.                   1   challenges.
        2       So you have to review that. Just because         2      The second is the challenge of modeling
        3   they excluded Gates 2010, I wouldn't weigh it        3   dose-response. When we say dose-response -- or
        4   differently. That's my answer.                       4   exposure outcome, is it linear monotonic
        5       Q. Gates 2010 tends to negate an                 5   relationships?
        6   association between perineal talc use and ovarian    6      And, you know, several studies, some measure
        7   cancer; correct?                                     7   duration, some measure intensity, some measure
        8           MS. PARFITT: Objection. Misstates the        8   duration and frequency. So as I cite in my
        9   evidence.                                            9   dose-response section, which I'm trying to
       10       A. So negates the evidence? I mean, in          10   find -- I'm sorry -- yeah, Page 56 of my report.
       11   fact, if you look at influence analyses conducted   11      Q. Which studies show a dose-response?
       12   by Taher, it sort of doesn't matter which study     12      A. I mean, this is, you know,
       13   you take out and which study you take in. All of    13   references -- with increased frequency, 51 to 55.
       14   the estimates are statistically significant.        14   Duration, 52 to 54. Frequency and duration,
       15       Q. If you're going to do a reliable             15   58 -- 48 to 54.
       16   meta-analysis, you should include the pertinent     16      Q. Doctor, which studies did you review
       17   studies; correct?                                   17   that show a dose-response?
       18           MS. PARFITT: Objection. Misstates his       18      A. These are the studies that I cited.
       19   testimony.                                          19      Q. What page are you looking at?
       20       A. Just give me a second.                       20      A. Page 56.
       21       Yeah. I mean, you have to include the           21      Q. Are there studies that do not show a
       22   permanent study -- but as we know, as we know,      22   dose-response?
       23   people have made different decisions, like Taher    23      A. Yes.
       24   made separate decisions, Berge has made             24      Q. Do you cite those studies that do not
       25   separate -- the previous analysis made.             25   show a dose-response in your report?
                                                                              45 (Pages 174 to 177)
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                                                 Page 178                                                Page 180
        1       A. Yes, I do.                                   1       Q. On 337, there's a table that shows the
        2       Q. On what page?                                2   risk of ovarian cancer for women who used talc
        3       A. Just give me a second. I know I have         3   daily for one year, one to five years, five to 20
        4   cited them, and I'm just trying to find where.      4   years, and more than 20 years. Is that right?
        5       Yeah. None of the cohort studies were able      5       A. Yes.
        6   to conduct meaningful dose-response because they    6       Q. There was only statistical significance
        7   did not collect durational.                         7   for the time periods of one to five years of use
        8       Q. Are those the only studies, the cohort       8   and more than 20 years of use; correct?
        9   studies that did not find a meaningful              9       A. Yes.
       10   dose-response?                                     10       Q. If there is a dose-response, shouldn't
       11       A. No. There were several --                   11   there continue to be statistical significance
       12          MS. PARFITT: Objection to form.             12   with increased exposure?
       13       A. There were other case-control studies.      13           MS. PARFITT: Objection. Form.
       14   No. If you take out 41, 55 -- I mean, these        14       A. Yeah. So that is -- I'm just
       15   references cite above -- that are, you know,       15   concluding what they concluded. The trend for
       16   included in the sections, and I talk about their   16   frequency of use was significant, but the trend
       17   dose-response in the respective section.           17   for use -- years use was flat. And if you look
       18       Q. What is your justification for              18   at Page 337, the last line of that paragraph,
       19   disregarding the studies that did not show a       19   "Even with this imprecision, the trend remained,
       20   dose-response?                                     20   although the increase was less monotonic."
       21          MS. PARFITT: Objection. Form.               21       Q. When we look at the data, there is only
       22       A. So I did not disregard these studies.       22   a dose-response -- strike that.
       23   They are included in the report. So, obviously,    23       The data only shows statistical significance
       24   the cohort studies already are, and we can go      24   for one to five years of use. It does not show
       25   through the case-control studies, which did not    25   statistical significance for one year or five to
                                                 Page 179                                                Page 181
        1   show dose-response and are included.                1   20 years; correct?
        2      Q. One of the studies you reviewed and           2            MS. PARFITT: Objection. Misstates the
        3   considered and relied upon was the Cramer 2016      3   evidence.
        4   study; is that right?                               4       A. Yeah. So let's go to --
        5      A. Yeah.                                         5       Q. Is that correct?
        6            (Article entitled "The                     6            MS. PARFITT: Objection.
        7      Association Between Talc Use and Ovarian         7       A. Yes. But let's go to the section of my
        8      Cancer, A Retrospective Case-Control Study       8   testimony in which -- report which discusses how
        9      in Two US States" marked Exhibit 24.)            9   dose-response analysis should be interpreted,
       10   BY MR. ZELLERS:                                    10   because they lose statistical power. So subgroup
       11      Q. Exhibit 24 is the Cramer 2016 study;         11   tests lose statistical significance, and I'll
       12   correct?                                           12   point out --
       13      A. Yes.                                         13       Q. You --
       14      Q. This is a retrospective case-control         14            MS. PARFITT: Excuse me. I think he's
       15   study published in 2016; is that right?            15   still --
       16      A. Yes.                                         16       A. Yeah. I'm trying to explain something.
       17      Q. You claim in your report that this           17   Yeah. We are talking on the subject of
       18   study shows a trend for increasing risk by talc    18   dose-response. And one must be careful in
       19   years on Page 46, the last paragraph; is that      19   interpreting data from the subgroup analysis such
       20   right?                                             20   as analysis of dose categories or, you know, as
       21      A. Yes.                                         21   subgroups. The results are important. If the
       22      Q. Let's take a look at whatever the study      22   test is not significant, there's lack of
       23   shows. Turn to Page 337 of Exhibit 24, the         23   significant difference. However, such subgroup
       24   Cramer 2016 study.                                 24   tests can be underpowered because of reduction in
       25      A. 337? Yes.                                    25   sample size.
                                                                             46 (Pages 178 to 181)
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                                                 Page 182                                                Page 184
        1       Q. Doctor, if there is a dose-response in        1   that testing to determine how much talcum powder
        2   a study such as the Cramer 2016 paper, looking at    2   reaches a woman's ovary after each application.
        3   the data, shouldn't there continue to be             3       Q. Do you have any idea how much asbestos
        4   statistical significance with increased exposure?    4   reaches a woman's ovaries each time she uses
        5           MS. PARFITT: Objection.                      5   talc, assuming that talc powder is contaminated
        6       A. No, no, you don't -- it doesn't have to       6   with asbestos?
        7   be statistical significance with, you know,          7          MS. PARFITT: Objection. Form.
        8   increased exposure. I mean, you look at the test     8       A. I have not conducted that assessment.
        9   score interaction.                                   9       Q. How much heavy metal exposure reaches a
       10       So I don't think that, with each category of    10   woman's ovaries, assuming that there are heavy
       11   exposure, you're already -- you have a power for    11   metals in talcum powder?
       12   a study. Now with each, you're decreasing the       12          MS. PARFITT: Objection. Form.
       13   number of users, so you're not going to get         13       A. I have not conducted that assessment.
       14   statistical significance.                           14       Q. Do you know that heavy metals,
       15       Q. Then why do you get statistical              15   chromium, cobalt and nickel, are in vitamins?
       16   significance at greater than 20 years of daily      16       A. Yeah. They are in, you know -- they
       17   use?                                                17   are ubiquitous in various other areas as well.
       18       A. Yeah. Because there's differential,          18       Q. They're in food; right?
       19   you know -- at that point, you know, there's        19       A. I don't know which one is in which.
       20   more -- there's, you know, more case subjects       20   Yeah. I can't be specific.
       21   have ovarian cancer.                                21       Q. In drinking water?
       22       Q. Why do you not have statistical              22       A. I don't know. I don't want to say yes
       23   significance at five to 20 years?                   23   to whichever.
       24       A. Because it's underpowered at that time.      24       Q. It's in bottled water?
       25       Q. Why do you not have statistical              25       A. I don't know that.
                                                 Page 183                                                Page 185
        1   significance at one year?                            1       Q. Are heavy metals, chromium, cobalt and
        2       A. It's underpowered.                            2   nickel, considered essential nutrients in the
        3       Q. But it is appropriately powered at one        3   body?
        4   to five years?                                       4           MS. PARFITT: Objection.
        5       A. Yes. Based on the number of cases.            5       A. Yeah. I mean, that's, you know,
        6       Q. Isn't this an instance where you're           6   it's -- pertaining to this case, the question is
        7   cherry-picking the data that is favorable to         7   not that, whether they are in drinking water.
        8   plaintiffs' position and ignoring all of the data    8       I asked myself this question, causal
        9   which would tend to refute plaintiffs' position?     9   question, what constitutes talcum powder
       10          MS. PARFITT: Objection. Form.                10   products. And to that effect, if there are
       11       A. I don't know what the plaintiffs'            11   substances such as, you know, chromium, cobalt,
       12   position -- but what I'm trying to say is this      12   and other heavy metals that have been, you know,
       13   is -- my interpretation of dose-response is based   13   classified as Grade I or Grade II carcinogens
       14   on, you know, not based on statistical              14   that provide further evidence of a causal link,
       15   significance. So that's all.                        15   whether they are present in air, ambient air,
       16       Q. Which studies show a dose-response for       16   that's not the assessment I've done, and I'm not
       17   asbestos exposure and ovarian cancer?               17   making a causal claim that chromium, per se, is
       18       A. I have not evaluated the causal link         18   causing that ovarian cancer in that causal
       19   between asbestos and ovarian cancer. Other          19   framework.
       20   agencies have, and they have opined that it         20       Q. You have no evidence whatsoever that
       21   causes ovarian cancer. But I have not.              21   the blood or tissue levels of any trace heavy
       22       Q. Do you have any idea how much talcum         22   metals are higher in genital talc users compared
       23   powder reaches a woman's ovaries each time she      23   to nonusers; correct?
       24   uses it?                                            24           MS. PARFITT: Objection. Form.
       25       A. I have not conducted that -- conducted       25       A. Blood or genital talc. I'm sorry. Can
                                                                              47 (Pages 182 to 185)
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                                                 Page 186                                                 Page 188
        1   you repeat?                                          1   infer from whatever the biological evidence that
        2       Q. Sure. I'll ask it again.                      2   I've reviewed, that there's, you know, evidence
        3       You have no evidence that the blood or           3   that supports biologic probability. There are
        4   tissue levels of any trace heavy metals are          4   some studies that, you know, don't support that
        5   higher in genital talc users compared to             5   claim.
        6   nonusers; correct?                                   6       Q. My question simply was if you defer to
        7          MS. PARFITT: Objection. Form.                 7   other experts on the topic of biologic
        8       A. Yeah. But I do know that there is             8   plausibility.
        9   perineal talc application, and at least from the     9          MS. PARFITT: Objection.
       10   documents I have reviewed, that, you know,          10       Q. You do; correct?
       11   asbestos is present in talc, at least from the      11          MS. PARFITT: Objection. That's not
       12   documents I've reviewed, from the studies that      12   his testimony.
       13   I've reviewed, and from a -- as you say, the        13       A. I won't just defer to them. I'm just
       14   excerpts of the deposition.                         14   providing my own opinion. Yeah. I mean, they
       15       And, you know, whether these are in blood       15   can provide -- you know, it depends. If it's a
       16   levels or, as you said, in the uterine tissue,      16   plaintiff expert, a defense expert. I mean, how
       17   no, I don't know that.                              17   do I know? I can't defer to somebody without
       18       Q. Another Bradford Hill overview factor        18   reading their opinion; right?
       19   is biological plausibility; right?                  19       Q. Is all ovarian cancer caused by the
       20       A. Well, it's actually plausibility.            20   same mechanism?
       21       Q. Plausibility means that a biological         21       A. No. And neither is any kind of cancer.
       22   mechanism exists; correct?                          22       Q. Different subtypes of cancer have
       23       A. Well, that's what we mean. But if you        23   different biological mechanisms; correct?
       24   actually go back and read Bradford Hill, he was     24       A. Yes. But we are dealing with biologic
       25   talking even about social factors. Yes, but, you    25   plausibility.
                                                 Page 187                                                 Page 189
        1   know, we've gone forward and interpreted that as     1       Again, I don't need to know the precise
        2   biologic plausibility.                               2   biological mechanisms to arrive at a causal
        3       Q. The biological mechanisms of cancer are       3   opinion.
        4   not your area of expertise; is that right?           4       Q. If talc is associated with all subtypes
        5          MS. PARFITT: Objection.                       5   of epithelial ovarian cancer, or with different
        6       A. Yes. But, again, the question for me          6   subtypes in different studies, doesn't that
        7   was not, you know, to elucidate every precise        7   suggest that the association is by chance?
        8   step either in the occurrence of ovarian cancer      8          MS. PARFITT: Objection. Misstates the
        9   or the talc installation into the development.       9   evidence.
       10       The precise question was, you know, the         10       A. I mean, again, I don't know enough
       11   epidemiology shows these findings. Whatever is      11   details about the biologic plausibility of each
       12   the data in biology, does it support or does it     12   ovarian cancer subtype to say that, you know,
       13   refute, you know, these findings in epidemiology?   13   talc would be, by chance, alone. I'd defer to,
       14       Q. On that topic, biologic plausibility,        14   you know, people who evaluate these.
       15   you defer to other experts; is that right?          15       Q. There is no one biological mechanism
       16          MS. PARFITT: Objection.                      16   that could tie all of these subtypes together, is
       17       A. Yeah. I would defer to other people          17   there?
       18   for more details on, you know, precise mechanisms   18       A. I will defer to people with more
       19   of ovarian cancer.                                  19   experience. I don't know that. What I know is
       20       But I do have -- and I'm an epidemiologist.     20   biological plausibility mechanisms that inform
       21   I mean, I can't -- so that's why I just can't       21   the hypothesis that I was looking at.
       22   look at whether it's Cramer or Penninkilampi or     22       Q. How does talc reach the ovaries?
       23   Berge in isolation. We have to look at the whole    23       A. Well, you know, talc migrates from, you
       24   evidence, including epidemiology, including --      24   know -- my understanding and opinion is that, you
       25   but, yes, I can -- I have that experience to        25   know, perineal application of talc, you know,
                                                                              48 (Pages 186 to 189)
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                                                Page 190                                                 Page 192
        1   migrates upwards and upwards through the, you       1       A. Yeah. I know that.
        2   know, vaginal canal and migrates to.                2       Q. Ness is an expert for plaintiffs in the
        3       Q. Is that an area of your expertise?           3   talc litigation; is that right?
        4       A. Again, no. But I have reviewed the           4           MS. PARFITT: Objection.
        5   studies, several studies that -- some studies       5       A. I'm not aware of that.
        6   that I cite, several studies that were added.       6       Q. So Justin, that dealt with glove
        7   And it's quite well accepted, at least in the       7   powder; is that right?
        8   gynecological community, that there's, you know,    8       A. Which one was that, 68?
        9   particulate matter can migrate upwards.             9       Q. 68.
       10       Q. What studies support the theory that        10       A. Yes.
       11   talcum powder applied externally migrates from     11       Q. Isn't it true that that study did not
       12   the perineal region to the ovaries?                12   involve perineal use, but an exam with force to
       13       A. Again, I reviewed various studies on        13   the cervix?
       14   migration.                                         14       A. Yeah. You know, and I'm relying on it,
       15       Q. Can you name them for me?                   15   again, for biologic plausibility. It does not
       16       A. I'm going to look at it.                    16   involve talc. So, you know, it's glove powder
       17       Yeah. So I cite several studies in this        17   in --
       18   section on migration. And, again, this in the      18       Q. Isn't it true that they found some
       19   context of biologic plausibility. Is it            19   particles in women who were examined with
       20   plausible that particulate matter, such as talc,   20   powder-free gloves?
       21   can migrate? And, again --                         21       A. Yes.
       22       Q. What page are you looking at?               22       Q. Heller, didn't Heller find talc in
       23       A. Sorry. 57.                                  23   tissues in all 24 patients, including the 12 who
       24       Q. What studies are you relying on?            24   did not use perineal talc?
       25       A. Yeah. So I'm relying on the studies         25       A. Yes.
                                                Page 191                                                 Page 193
        1   described by, you know, Heller, 64.                 1       Q. What is the evidence in the ovarian
        2       Q. Any others?                                  2   tissues that have been studied of granulomatous
        3       A. 65.                                          3   reaction which is what you would see if there was
        4       Q. What is 65?                                  4   a huge amount of talc?
        5       A. I'll have to go take a look.                 5       A. Well, I mean, I'm not opining that
        6       It's Henderson, I think, but I don't want       6   there is a huge amount of talc, but others have
        7   to -- these are big documents. Yeah, it is          7   found talc in the ovaries. I am just -- my
        8   Henderson.                                          8   opinion is that it is biologically plausible. I
        9       And then 66 is presence of talc in lymph        9   mean, you know, the FDA has stated that it is
       10   nodes and then --                                  10   biologically plausible for particles, retrograde
       11       Q. Who is the author?                          11   particles to migrate.
       12       A. Cramer.                                     12       And so I'm opining on that. I'm not saying
       13       And then supportive evidence of migration of   13   that talc is in the ovaries and it's inducing
       14   other, you know, particulate matter comes from,    14   this granulomatous reaction. I mean, these
       15   you know, 68, 87 and --                            15   people have found that it can occur.
       16       Q. 68 is what?                                 16       And this is sufficient evidence for my
       17       A. 68 is Justin.                               17   opinion to support on biologic plausibility.
       18       Q. Eighty -- is it -- 87 is what?              18       Other studies, which I cite in my report,
       19       A. Ness.                                       19   which, you know, for example, monkey models,
       20       Q. Is who?                                     20   couldn't, you know detect -- didn't detect
       21       A. Ness. Ness 2000.                            21   translocation. So there are studies that don't.
       22       Q. Cramer is a litigation consultant and       22       Q. Can you cite any article that shows
       23   expert for plaintiffs in the talc litigation; is   23   granulomas, fibrosis, or adhesions anywhere up
       24   that right?                                        24   the reproductive tract of a woman as a result of
       25           MS. PARFITT: Objection.                    25   her external genital talc application?
                                                                             49 (Pages 190 to 193)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 194                                                 Page 196
        1           MS. PARFITT: Objection. Form.                1   history of breast cancer, had a tubal ligation or
        2       A. I did not review those studies, if            2   hysterectomy, were pre-menopausal or were
        3   there are.                                           3   post-menopausal and used HT."
        4       Q. In your report, you say that, "The            4       Is that correct?
        5   migration theory is supported by findings of a       5       A. Yeah.
        6   deceased risk" -- strike that.                       6       Q. So, in fact, Cramer did find a
        7       In your report, you say that, "The migration     7   significantly greater association between talcum
        8   theory is supported by findings of a decreased       8   powder use and ovarian cancer for women who had a
        9   risk of ovarian cancer with tubal ligation and       9   tubal ligation; is that right?
       10   hysterectomy." Pages 18 and 19.                     10       A. Yeah. But my -- my point, in Page 57,
       11       Is that right?                                  11   is that, you know, first of all, that's more than
       12       A. Yes.                                         12   just one Cramer. There are several studies that
       13       Q. Don't the studies pertaining to tubal        13   -- in inferring biologic plausibility, tubal
       14   ligation show mixed results?                        14   ligation and hysterectomy are protective of
       15       A. No.                                          15   ovarian cancer. It is not that talc in this had
       16           MS. PARFITT: Objection.                     16   a higher risk among those.
       17       A. As far as --                                 17       I mean, those, again, those are not two
       18           MS. PARFITT: Sorry.                         18   incongruent arguments. I mean, Cramer is making
       19       A. I mean, as far as I'm aware, you know,       19   a separate argument that, in his study, he found
       20   tubal ligation and hysterectomy are protective      20   a higher risk among those who had tubal ligation
       21   risk factors for ovarian cancer.                    21   or hysterectomy.
       22       Q. That's your opinion based upon your          22       Q. If you're correct in the opinion that
       23   review and analysis of the literature; is that      23   you set forth in your report, you would have
       24   right?                                              24   expected the Cramer study to show a decreased
       25       A. Yeah.                                        25   risk of ovarian cancer for women who had tubal
                                                 Page 195                                                 Page 197
        1      Q. Take a look at the Cramer article that         1   ligation or hysterectomy; correct?
        2   we referred to before, Exhibit 24. This is           2           MS. PARFITT: Objection. Form.
        3   Cramer 2016.                                         3   Misstates his testimony.
        4      Do you have that in front of you?                 4       A. Yeah. I mean, I don't -- I mean,
        5      A. Oh, my copy?                                   5   that's probably, in that study. Yeah.
        6      Q. Yes. You have a copy.                          6       Q. How do you account for the fact that
        7      A. Yes. Which page?                               7   Cramer and the authors of this 2016 paper found a
        8      Q. Take a look -- well, Cramer found a            8   significantly greater association among women who
        9   significantly greater association between talcum     9   had a tubal ligation or hysterectomy?
       10   powder use and ovarian cancer for women who had a   10       A. I have no -- you know, you can find
       11   tubal ligation or hysterectomy. Isn't that true?    11   different studies have different findings, but,
       12      A. Where is that?                                12   overall, we know that tubal ligation and
       13      Q. Look at the bottom of Page 337 of             13   hysterectomy are protective.
       14   Exhibit 24 to the top of page -- look at 337.       14       Q. The Gertig 2000 Nurses' Health Study,
       15      A. And which table?                              15   that's also a study that you have reviewed; is
       16      Q. I'm sorry. Look at the bottom of              16   that right?
       17   Page 337, that carries over to the top of Page      17       A. Yes.
       18   339. This is Cramer describing his results; is      18       Q. That study did not show a reduction of
       19   that right?                                         19   ovarian cancer in talc users who have had a tubal
       20      A. Yes.                                          20   ligation; correct?
       21      Q. Tell me if I'm reading this correctly,        21       A. Which page is that?
       22   and I'm starting at the bottom of Page 337.         22       Q. I'm just asking, based upon your review
       23      "By test for interaction, Column 3, the          23   of that study.
       24   association was significantly greater for women     24       A. I can't answer. You know, there are so
       25   who were African American, had no personal          25   many different -- can I ask for the Taher
                                                                              50 (Pages 194 to 197)
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                                                 Page 198                                                Page 200
        1   appendix, because that actually breaks it down by    1   talc users who had a tubal ligation; correct?
        2   tubal ligation and hysterectomy.                     2       A. I mean, I think I need to look at the
        3       You're asking very specific questions. I         3   data. I think -- I don't have it. We are trying
        4   need to have specific materials.                     4   to get it, so we'll have to wait.
        5          MR. TISI: I have them.                        5       I mean, you're asking me questions. I mean,
        6       Q. What are you asking for?                      6   you have to show me documents. I mean --
        7       A. You asked a question about tubal              7       Q. Well, you made a statement in your
        8   ligation.                                            8   report --
        9       Q. I understand. What are you asking             9       A. How can I make a statement in the
       10   counsel for plaintiffs to get you?                  10   report around Taher, because it wasn't even
       11       A. The Taher appendix.                          11   available at that time?
       12       Q. You want to go back and look at the          12       Q. What I'm trying to do is ask you --
       13   Taher --                                            13       A. Sure.
       14       A. Appendix. Because they did stratify          14       Q. -- about the statement in your report,
       15   the analysis by hysterectomy and tubal ligation.    15   where you say that, "Migration theory is
       16       Q. That's the 2018, unpublished paper; is       16   supported by findings of a decreased risk of
       17   that right?                                         17   ovarian cancer with tubal ligation and
       18       A. Yes.                                         18   hysterectomy."
       19       Q. All right. Did the Houghton -- as            19       A. And I'm just stating that I just need
       20   they're looking for this --                         20   to look at a figure in the Taher appendix and
       21       A. Yeah. Sure.                                  21   then I'll be able to answer that. That's all.
       22       Q. Did the Houghton two thousand -- strike      22       Q. Well, we saw that Cramer doesn't show
       23   that.                                               23   that; right?
       24       The Houghton 2014 study also did not show a     24       A. Yes.
       25   reduction of ovarian cancer in talc users who       25       Q. You're not aware that Gertig 2000 or
                                                 Page 199                                                Page 201
        1   have had tubal ligation; correct?                    1   Houghton 2014 shows that. Are you?
        2       A. Again, you know, I don't want to agree        2          MS. PARFITT: Objection. Misstates his
        3   or disagree with you without just looking at it.     3   testimony.
        4   I don't think I comment on it.                       4       A. You have not shown me that. You have
        5       Q. Would you agree or can you agree that         5   not shown me documents to say one way or the
        6   both Gertig 2000 and Houghton 2014 were large        6   other.
        7   prospective cohort studies; right?                   7       Q. When you did your analysis, didn't you
        8       A. Yeah. But we've already discussed             8   look at the studies to try to see if they
        9   their limitation in terms of they were not           9   supported or refuted the points you were making?
       10   designed to study the talc ovarian cancer. They     10       A. I -- you know, I did not look at every
       11   had prevalent user biases. You know, they lost a    11   subanalysis by, you know -- by whether it's, you
       12   lot of users and cases of ovarian cancer. You       12   know, pre-menopausal, post-menopausal.
       13   know, they had misclassification.                   13       Q. You cite Cramer 2016 as supportive of
       14       And, yes, they were large studies, but had      14   your position and opinions.
       15   small number of ovarian cancer cases.               15       A. Sure.
       16           MR. KLATT: Objection. Nonresponsive.        16       Q. Is that right?
       17           MR. ZELLERS: Join.                          17       A. Well, again --
       18       Q. You read the Ter Riet 2013                   18          MS. PARFITT: Objection. Mis --
       19   meta-analysis; is that right?                       19       A. I don't.
       20       A. Yes.                                         20          MS. PARFITT: Let me get my objection
       21       Q. You rely on that; correct?                   21   in.
       22       A. Yes.                                         22          THE WITNESS: Sorry. Go ahead.
       23           MS. PARFITT: Objection.                     23          MS. PARFITT: No. My objection is in,
       24       Q. The Ter Riet 2013 meta-analysis also         24   I think.
       25   did not show a reduction of ovarian cancer in       25       Q. But then you ignore those portions or
                                                                              51 (Pages 198 to 201)
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                                                  Page 202                                                 Page 204
        1   parts of Cramer 2016, Gertig 2000, Houghton 2014,    1   by findings of a decreased risk of ovarian cancer
        2   Ter Riet 2013, Rosenblatt 2011, Wong 1999, Cook      2   with tubal ligation and hysterectomy.
        3   1997, Harlow 1992, that don't support your           3       A. Yeah. But it doesn't talk about, you
        4   position.                                            4   know -- so if you look at the reference, in
        5           MS. PARFITT: Counsel completely              5   case-control studies and meta-analysis, let's
        6   misstates his opinion. The question misstates --     6   look at the references. You know, so, yes,
        7       A. I don't even know what was the                7   there's one. And if -- let's look at --
        8   question, and I can't answer that because I don't    8       Q. Okay. Can you cite one reference?
        9   know what the question was.                          9       A. Yeah. Let's look at that.
       10       Q. The question is: When you opined in          10       Q. All right.
       11   your report that the migration theory is            11       A. Then let's look at 115. So when I cite
       12   supported by findings of a decreased risk of        12   115, that's not even about talc. That's about
       13   ovarian cancer with tubal ligation and              13   tubal ligation and hysterectomy, in general, is
       14   hysterectomy, did you pick out just a couple of     14   it -- you know, so taking talc out of the
       15   cases to look at and cite or did you try to see     15   equation, I'm trying to opine or understand
       16   if there was consistency to that finding across     16   whether tubal ligation and hysterectomy are
       17   all of the studies?                                 17   protective factors, and then I can infer on talc,
       18       A. Yeah. So when I cite that, and you can       18   yes, should only Ness have been cited? Yes,
       19   see the citation, I am trying to make an            19   there are other studies otherwise.
       20   inference about separate from talc use, and         20       Q. And there are other studies, many
       21   ovarian cancer, you know, is hysterectomy and       21   studies --
       22   tubal ligation protective of that.                  22       A. Yes.
       23       So that's the inference. It's not that each     23       Q. -- that do not support your position;
       24   of these studies, I'm trying to ignore, you know,   24   is that right?
       25   the studies that you mentioned. I'm just trying     25           MS. PARFITT: Objection. Form. His
                                                  Page 203                                                 Page 205
        1   to say, as you're looking at mechanisms, what        1   position on tubal ligation?
        2   would happen with tubal -- I'm trying to do the      2           MR. ZELLERS: Yes.
        3   best to explain, tubal ligation and ovarian          3           MS. PARFITT: Thank you.
        4   cancer.                                              4       A. Yeah. So it's -- it's -- I think
        5       If, in the individual studies, yes, as in        5   there's -- I mean, whether Ness and others should
        6   Cramer, and if we see that in the other studies,     6   have been cited there, that's a valid point. But
        7   then, you know, they provide a different opinion.    7   when I make a point about tubal ligation and
        8   But I'm trying to make an opinion, based on the      8   hysterectomy, it's a general point on the, you
        9   general knowledge of tubal ligation and              9   know, migration hypothesis.
       10   hysterectomy being, you know, protective.           10   BY MR. ZELLERS:
       11       Q. Do you agree with me, to have a              11       Q. You should at least cite to or make
       12   scientifically valid opinion --                     12   some reference --
       13       A. Sure.                                        13       A. Yeah.
       14       Q. -- you need to look at all of or at          14       Q. -- right, to the studies that do not
       15   least the important studies; correct?               15   support that position?
       16       A. Yeah. I did look at these studies.           16       A. Yeah. And I think that I have made it
       17       Q. And, in fact, a number of the studies        17   in the individual sections, and I can try to look
       18   that you cite in your report --                     18   for it, but it will take us time there.
       19       A. Sure.                                        19       Q. Isn't there evidence that if tubal
       20       Q. -- don't support your position;              20   ligation has a protective effect, the protective
       21   correct?                                            21   effect in ovarian cancer stems from the fact that
       22           MS. PARFITT: Objection. Form.               22   the ligation procedure itself changes the
       23           Support his position on tubal ligation?     23   fallopian tube cells?
       24       Q. Well, right now, we're talking about         24       A. I am not an expert --
       25   migration, that the migration theory is supported   25           MS. PARFITT: Objection.
                                                                              52 (Pages 202 to 205)
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                                                 Page 206                                                 Page 208
        1       A. -- in, you know, this area to provide,        1   concentration in the rectal, vulvar, vaginal,
        2   you know, why it would do that.                      2   cervical, and uterine tissues which are closer to
        3       Q. Did you review or are you familiar with       3   the area of the initial exposure; correct?
        4   Tiourin, T-I-O-U-R-I-N, a 2015 study?                4          MS. PARFITT: Objection. Misstates his
        5       A. Did I cite that? I don't remember.            5   testimony.
        6       Q. Are you -- is that study familiar to          6       A. I just don't have an opinion in terms
        7   you?                                                 7   of where it will be high or low. Because that's
        8       A. I just can't remember the names. There        8   not my area of expertise.
        9   are so many studies. If you show it to me, I         9       Q. Talc particles should be causing
       10   can --                                              10   inflammation in all those organs and areas;
       11       Q. I'll show it to you. You can tell me         11   correct?
       12   if it's familiar to you. And if it's not, I'll      12          MS. PARFITT: Objection.
       13   move on.                                            13       A. Again, that's -- that's, you know, I'm
       14             (Article entitled "Tubal                  14   opining on biological plausible mechanisms of
       15       Ligation Induces Quiescence in the              15   talc-induced ovarian cancer. I didn't look at,
       16       Epithelia of the Fallopian Tube Fimbria"        16   you know, whether it's vaginitis or vulvar or
       17       marked Exhibit 25.)                             17   whether it's, you know, rectal inflammation. And
       18            MR. ZELLERS: 25 is the --                  18   that's not my area of expertise again.
       19       A. No, it's not. I don't know about.            19       Q. In fact, there are no studies that show
       20   BY MR. ZELLERS:                                     20   inflammation as a result of genital talc use in
       21       Q. For the record, 25 is a 2015 study by        21   any of those areas; correct?
       22   Tiourin, T-I-O-U-R-I-N.                             22          MS. PARFITT: Objection. Misstates the
       23       That's not a study that you reviewed or         23   evidence.
       24   considered; is that right?                          24       A. Again, I have not -- you know, my
       25       A. You know, I have to go through all the       25   testimony and report on talcum powder products
                                                 Page 207                                                 Page 209
        1   references, but I can't recall straight off          1   and inflammation is looking at, are there
        2   whether it does.                                     2   biological plausible mechanisms.
        3       Q. If talcum powder migrates from the            3       And, again, if there's no studies that
        4   perineal region to the ovaries, shouldn't            4   provide that talc, in and of itself, causes
        5   exposure to talc be far greater in concentration     5   inflammation, then there are no studies. But,
        6   in the rectal, vulvar, vaginal, cervical and         6   you know, but there's still biologic
        7   uterine tissues?                                     7   plausibility.
        8           MS. PARFITT: Objection to form.              8          MR. KLATT: Objection. Unresponsive.
        9       Q. Because those are closer to the area of       9       Q. Are there any studies that you are
       10   initial exposure?                                   10   aware that show a link between external genital
       11           MS. PARFITT: Same objection.                11   talc use and rectal, vulvar, vaginal, cervical,
       12       A. Yes. So, again, my -- I did not              12   or uterine cancer?
       13   examine, you know, which areas of -- now, as an     13          MS. PARFITT: Asked and answered.
       14   epidemiologist, I examine general exposures to,     14   Objection.
       15   you know, products and their associations.          15       A. I'm not aware of those. I have not
       16   Whether, you know, we want to know, yes, route of   16   reviewed those studies.
       17   exposure, whether it's perineal application.        17       Q. As part of your report, you discuss a
       18       But, you know, the evidence that I examined     18   study published by Huncharik and others in 2007;
       19   was, you know, I did not distinguish within         19   is that right?
       20   whether it was perineal or vaginal, vulvar. That    20       A. Yes. Let's bring it out, I mean, if
       21   would have been different.                          21   you want to talk about that.
       22       Q. Let's go step by step.                       22       Q. I believe it's on Page 26 of your
       23       You do agree that if talcum powder migrates     23   report.
       24   from the perineal region to the ovaries, the        24       A. Sure.
       25   exposure to talc would be far greater in            25       Q. Huncharik 2007 is a meta-analysis of
                                                                              53 (Pages 206 to 209)
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                                                 Page 210                                                 Page 212
        1   studies on the relationship between ovarian          1   means that you cannot exclusively focus on one
        2   cancer and using diaphragms that are dusted with     2   route of exposure. So it does not mean that it
        3   talcum powder; is that right?                        3   cannot in and of itself. You have to look at
        4       A. Yes.                                          4   perineal-dusted diaphragm. You have to look at,
        5       Q. A diaphragm is inserted directly onto a       5   other, you know, perineal applications.
        6   woman's cervix; is that right?                       6       Q. So putting aside inhalation for the
        7       A. Yes.                                          7   moment, your opinion is that talcum powder
        8       Q. On Page 26 of your report, you say            8   travels from the perineal region to the ovaries
        9   that, "This meta-analysis is flawed because it       9   through the woman's reproductive tract; is that
       10   only focuses on powder-dusted diaphragms";          10   right?
       11   correct?                                            11       A. I mean, I don't even know through the
       12       A. Well, no. That's not the only flaw. I        12   ovaries. I know it migrates upwards. That's,
       13   mean, there are several other flaws, including      13   you know, my opinion.
       14   exclusion of loss category, data extraction         14       Q. So talcum powder must travel past the
       15   analysis, which is, you know, really inclusion of   15   labia, through the vagina, through the cervix,
       16   inability studies that did not disaggregate.        16   and then to the uterus; is that right?
       17       I mean, the question is if you're asking        17       A. Yes. It migrates upwards through the
       18   about perineal exposure, yes, perineal --           18   vagina, you know, the tract.
       19   diaphragms is one route of exposure. But that's     19       Q. And then the powder travels through the
       20   not the only route of exposure that you should be   20   uterus and into the fallopian tubes to reach the
       21   concerned about.                                    21   ovaries; is that right?
       22       Q. Do you state in your report, "The most       22       A. Well, I mean, I'm not -- again, I don't
       23   important limitation with the Huncharik 2007        23   intend to elucidate, you know, the precise link
       24   meta-analysis was its exclusive focus on talc       24   that a study has shown that talcum powder -- I
       25   powder-dusted diaphragms as the route of            25   think we answered this earlier, I answered this
                                                 Page 211                                                 Page 213
        1   exposure, which could not inherently address the     1   earlier -- that I am not aware of one study that
        2   causal question of whether genital talcum powder     2   shows that. But, you know, several shows that
        3   dusting is associated with increased risk of         3   talc ends up in the ovaries.
        4   ovarian cancer"?                                     4       Q. Well, given how talc, talcum powder
        5       Is that what you said?                           5   must travel to reach the ovaries, how can you
        6           MS. PARFITT: Counsel, do you have a          6   exclude data about the relationship between
        7   copy of the -- otherwise, may I show him the         7   ovarian cancer and talcum powder that is applied
        8   Huncharik study so he's got it in front of him?      8   directly to the cervix?
        9           MR. ZELLERS: I'm just asking general         9          MS. PARFITT: Objection. Misstates his
       10   questions right now. That was just a question,      10   testimony.
       11   does he say that in his report. If he needs to      11       A. Nobody is excluding data. So this is
       12   review the study, then he can look at the study.    12   not exclusion of this data.
       13           MS. PARFITT: I would appreciate that.       13       But I am saying that this particular
       14           MR. ZELLERS: Sure.                          14   question of talc-dusted diaphragms, A, is an
       15           MS. PARFITT: I just didn't want to          15   exclusive focus on one route of exposure, so it
       16   pass something to him without your permission.      16   does not answer the causal question about
       17       A. Yeah. I do state that.                       17   perineal exposure.
       18       Q. You say that, "Studies on the use of         18       And, two, it is not excluded. It's included
       19   talcum powder-dusted diaphragms cannot address      19   and discussed and several flaws are noted,
       20   the question of whether perineal use is             20   including, you know, data extraction errors for
       21   associated with an increased risk of ovarian        21   the most part, inclusion of studies.
       22   cancer"; correct?                                   22       And so -- and as can you see in my
       23       A. Where is that?                               23   methodological rating of meta-analyses, it is
       24       Q. It's what we just read.                      24   weighted differently than others. So it is not
       25       A. No. It doesn't mean that. It just            25   excluded.
                                                                              54 (Pages 210 to 213)
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                                                 Page 214                                                 Page 216
        1       Q. But you state, as the most important          1   don't know anything about. I don't -- you know,
        2   limitation of the Huncharik 2007 study, is the       2   I haven't reviewed it to answer that question.
        3   exclusive focus on talc powder-dusted diaphragms.    3      Q. Do you have an opinion on whether
        4       A. Yeah.                                         4   inhaled talc can migrate to the ovaries?
        5       Q. And those diaphragms are applied              5      A. Yeah. I mean, I think the primary
        6   directly to the cervix; is that right?               6   route of exposure is, you know, reproductive, but
        7       A. Yeah. Because -- because of its               7   there are some potential, I would say, you know,
        8   exclusive focus. If the study had, you know,         8   potential plausible mechanisms that, you know,
        9   other routes of exposure, yeah.                      9   when perineal application is applied, it can get
       10       What I'm trying to say is its exclusive         10   inhaled through the lungs and potentially reach
       11   focus on one route of exposure cannot -- if         11   the ovaries. But I think that that mechanism is
       12   you're just asking the question about dust,         12   probably not as plausible as the reproductive
       13   dusted diaphragm, then don't make inferences        13   mechanism.
       14   about perineal routes of exposure. You have to      14      Q. Well, in fact, studies of talcum powder
       15   look at broader exposures.                          15   use failed to show a statistically significant
       16       Q. On what studies are you relying to say       16   association between nongenital use of talcum
       17   that talcum powder affects the body differently     17   powder and ovarian cancer; correct?
       18   when it is applied to the perineal region and       18          MS. PARFITT: Objection. Form.
       19   travels to the cervix compared to when it is        19      A. Yeah. And I've cited those studies.
       20   applied directly to the cervix?                     20      Q. If inhaled talc could migrate to the
       21       A. I have not made a distinction between        21   ovaries, wouldn't you expect to see increased
       22   those studies.                                      22   ovarian cancer risk with nongenital use of talcum
       23       Q. And, in fact, when applied to the            23   powder?
       24   perineal region, the talcum powder would also be    24          MS. PARFITT: Objection.
       25   in close contact with a woman's urethra; is that    25      A. Well, I mean, it also depends on, you
                                                 Page 215                                                 Page 217
        1   right?                                               1   know, the quantity of inhalation, the degree of
        2           MS. PARFITT: Objection. Form.                2   talc that's -- and I don't know enough about that
        3       A. Yeah. I mean, anatomically.                   3   to say that, yes, there's a sufficient quantity,
        4       Q. Substances are capable of traveling up        4   you know, migration to cause that. I don't know
        5   the urethra; correct?                                5   which studies have evaluated sort of inhaled talc
        6       A. I mean, yes. Just as we agree that,           6   and ovarian cancer.
        7   you know, talc can migrate upwards, substances       7       Q. Well, let's look back at Cramer 2016,
        8   can migrate through the urethra. If you agree        8   Page -- or Exhibit 24. Do you have that in front
        9   talc can migrate upwards, then, you know,            9   of you?
       10   substances can migrate through the urethra.         10       A. Yeah.
       11       Q. Women get urinary tract infections when      11       Q. In that study, Cramer found no apparent
       12   bacteria travels up the urethra; correct?           12   risk associated with nongenital talc use; isn't
       13       A. Yeah.                                        13   that correct?
       14       Q. But studies do not show an increase in       14       A. Yeah. And I think I cite that in my
       15   bladder cancer with talcum powder use, do they?     15   report, too.
       16           MS. PARFITT: Objection to form.             16       Q. You don't disagree that Cramer, in his
       17       A. I did not ask the causal question about      17   study, 2016, did find no apparent risk associated
       18   that. And, you know, I have not evaluated.          18   with nongenital talc use; correct?
       19   Maybe there are studies that show decreased risk    19       A. Yeah.
       20   for all that I know. I just can't answer that       20       Q. The same result was found in the pooled
       21   question.                                           21   analysis that was done by OCAC, Ovarian Cancer
       22       Q. And studies do not show an increase in       22   Association Consortium; is that right?
       23   rectal cancer with talcum powder use; is that       23          MS. PARFITT: Objection. Which study
       24   right?                                              24   are you referring to? What year? There have
       25       A. I don't answer the questions that I          25   been many studies by OCAC.
                                                                              55 (Pages 214 to 217)
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                                                 Page 218                                                  Page 220
        1          MR. ZELLERS: I'm referring to Page 341        1   mechanisms that have been shown in terms of
        2   of the Cramer article. Page -- strike that.          2   increase in, you know, inflammatory enzymes, and
        3          The second and third paragraphs.              3   increase in alterations of redox potential that
        4   BY MR. ZELLERS:                                      4   are some of the potential plausible biological
        5       Q. Tell me when you have that, Doctor.           5   mechanisms. Again, other people who are
        6       A. 341. Discussion?                              6   biological experts will opine on them and detract
        7       Q. Yes. So in the second and third               7   from the strengths and weaknesses.
        8   paragraph, I'm reading the second sentence.          8       Q. You have not done an expert review of
        9   "Talc use regularly" -- strike that.                 9   inflammation evidence yourself; correct?
       10       "Talc used regularly in the genital area was    10       A. When you say -- I mean, expert review
       11   associated with a 33 percent increase in ovarian    11   of inflammation.
       12   cancer risk overall while no apparent risk was      12          MS. PARFITT: Object.
       13   associated with talc used only in nongenital        13       Q. You're deferring to other experts on
       14   areas."                                             14   the topic and subject of inflammation; is that
       15       A. Yeah. And I agree with their opinion.        15   right?
       16       Q. All right. Do you also agree with the        16          MS. PARFITT: Objection.
       17   next sentence? "Our results are consistent with     17       A. Yeah. I mean, other experts, I mean, I
       18   the recent pooled analysis from the OCAC which      18   can look at the evidence and see, A, one, that
       19   reported that use of powder on genitals is          19   inflammation plays a role in cancer. Two,
       20   associated with a 24 percent increased risk and     20   inflammation plays a role in ovarian cancer.
       21   no effect of nongenital use of talc."               21       At least my opinion is that, you know, talc
       22       A. Yeah.                                        22   can, you know, induce inflammation; others will
       23       Q. Have you ever performed any study            23   provide more detailed opinion.
       24   yourself pertaining to whether inhaled talc can     24       Q. In terms of the mechanism by which
       25   migrate to the ovaries?                             25   ovarian cancer may or may not be related to
                                                 Page 219                                                  Page 221
        1       A. No. And I would have a different job.         1   inflammation, you are deferring to other experts;
        2   That's not my area of expertise.                     2   correct?
        3       Q. And you can't, as we sit here, cite me        3         MS. PARFITT: Objection. Misstates his
        4   to such a study; correct?                            4   testimony. He just told you --
        5       A. Well, I don't know if it's -- I'll go         5         MR. ZELLERS: I'm asking him the
        6   back to my report and just cite that -- that         6   question. Okay?
        7   Dr. Luongo, you know, has done analyses which say    7         MS. PARFITT: Counsel, he did answer
        8   that inhaled talc can migrate.                       8   it. And you just asked the question again and
        9       Q. You're not expressing that opinion here       9   you misstated what he said.
       10   today; correct?                                     10         MR. ZELLERS: Ms. Parfitt, please. I
       11       A. No. I'm not. I'm not vouching for his        11   thought we had a discussion.
       12   testimony.                                          12         MS. PARFITT: We did.
       13       Q. Assuming baby powder can reach the           13         MR. ZELLERS: We ought not to have
       14   ovaries, what is the method by which baby powder    14   speaking objections.
       15   causes ovarian cancer?                              15         MS. PARFITT: We don't. But I'll tell
       16       A. So, yeah. I mean, we talked about, you       16   you the discussion we did have. You can't
       17   know, potential biological mechanisms of            17   misstate --
       18   inflammation.                                       18         MR. ZELLERS: I'm allowed to ask the
       19       And, again, I don't -- in my inference on       19   witness what his opinions are and are not.
       20   biologic plausibility, I don't intend to offer      20         MS. PARFITT: Absolutely. But not to
       21   the opinion that, A, I know the precise             21   misstate them. That's all. Let's ask it again.
       22   biological mechanisms which cause biological --     22         THE WITNESS: I'm sorry. I forgot.
       23   ovarian cancer or the precise steps by which talc   23         MR. ZELLERS: It was a question.
       24   causes it.                                          24         THE WITNESS: What was the question?
       25       But, you know, there are several, you know,     25         MR. ZELLERS: Can you read the
                                                                              56 (Pages 218 to 221)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 222                                                 Page 224
        1   question?                                            1       Q. Rheumatoid arthritis doesn't increase
        2          MS. PARFITT: Listen carefully to the          2   the risk of ovarian cancer, does it?
        3   question.                                            3       A. I don't know that question. I have not
        4          MR. ZELLERS: Okay. Again,                     4   evaluated it.
        5   Ms. Parfitt, let the witness handle himself.         5       Q. Psoriasis does not increase the risk of
        6   He's an experienced, capable person.                 6   ovarian cancer, does it?
        7          MS. PARFITT: Yes. I would certainly           7       A. For all, it could. We don't know that.
        8   both agree with that. He's quite good.               8   We can spend time reviewing that. We can't
        9            (The question was read by the               9   answer questions.
       10       reporter, as requested.)                        10       Q. We're here to talk about the science;
       11          MS. PARFITT: Objection. Misstates his        11   correct?
       12   testimony.                                          12       A. Yeah. So the science, you have to
       13       A. No. To the extent that my causal             13   look -- I haven't looked at psoriasis and cancer.
       14   question needs -- you know, evaluated the           14   I haven't looked at, for example, rheumatoid
       15   evidence on the link between, you know,             15   arthritis increases cardiovascular disease,
       16   inflammation, ovarian cancer and talc and           16   because I've looked at it. I can't answer
       17   inflammation, I can opine that, you know, this      17   questions that I haven't looked at.
       18   link supports my causal opinion. Whereas, to the    18       Q. Have you done an expert review of the
       19   precise details of such a link, I would obviously   19   role of inflammation in causing ovarian cancer?
       20   defer to other experts.                             20   Have you personally done that review?
       21   BY MR. ZELLERS:                                     21       A. No. I have just looked at, you know,
       22       Q. Not all inflammatory conditions lead to      22   what is the role of inflammation in ovarian
       23   cancer; correct?                                    23   cancer, and are there plausible biological
       24       A. Yes. And there are pro-oxidant               24   mechanisms that either support or refute whether
       25   conditions and there are antioxidants. And I        25   talc can induce inflammation.
                                                 Page 223                                                 Page 225
        1   examined the evidence which relates to if there      1      Q. How does an acute inflammatory response
        2   were -- you know, if talcum powder products, for     2   lead to cancer?
        3   example, had antioxidants or, in the Saed study,     3      A. Yeah. I mean, and I'm not making a
        4   they increased the level of antioxidant enzymes,     4   case for an acute inflammatory. I'm not sure.
        5   then that would be evidence against the link         5   Did I state that? You know, this is a chronic
        6   between redox potential and talc and ovarian         6   inflammatory process.
        7   cancer. So there are various pieces of the           7      Q. What evidence is there that externally
        8   evidence.                                            8   applied talcum powder causes chronic
        9       Q. All of us experience inflammatory             9   inflammation?
       10   reactions of one sort or another, including         10      A. Yeah. I mean, you know -- can you give
       11   chronic conditions, and they do not all lead to     11   me a second?
       12   cancer; correct?                                    12      Q. Sure.
       13          MS. PARFITT: Objection. Form.                13      A. Yeah. I'm not aware of a study that
       14       A. Yeah. But it's the balance of -- you         14   talc specifically itself causes chronic
       15   know, that is altered between pro-inflammatory      15   inflammation.
       16   and anti-inflammatory conditions and the            16      Q. There are no reports in the literature
       17   pro-oxidant state and the antioxidant state in my   17   of externally applied talc leading to
       18   understanding that, you know, is a plausible        18   inflammation, granulomas, fibrosis or adhesions
       19   mechanism for talc in ovarian cancer. Again,        19   anywhere along a woman's reproductive tract;
       20   based on my understanding. Others will provide      20   correct?
       21   details.                                            21          MS. PARFITT: Objection.
       22       Q. Rheumatoid arthritis is an inflammatory      22      A. Yeah. There are other studies that,
       23   condition; right?                                   23   you know, not externally applied.
       24       A. Heart disease is -- everything is            24      Q. If up to 50 percent of U.S. women have
       25   inflammation.                                       25   used genital talc, shouldn't this be a common
                                                                              57 (Pages 222 to 225)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 226                                                 Page 228
        1   finding?                                             1      A. Yeah. And I think it's the studies on
        2          MS. PARFITT: Objection. Form.                 2   NSAIDs. I don't remember the precise -- I don't
        3       A. So I'll step back and share with you          3   know if -- yeah. It's Ness or --
        4   what epidemiology.                                   4      Q. I will and do intend to ask you a few
        5       Yeah. I mean, ovarian cancer, the incidence      5   questions about NSAIDs and about some of those
        6   of ovarian cancer is, what, 11 by 100,000. It's      6   studies.
        7   a very rare cancer. Even if 50 percent use it,       7      A. I think that's where --
        8   you know, it increases, you know, it affects it.     8      Q. Well, let me talk about or ask you a
        9       So we are not -- nobody is saying that,          9   question about a study that you do cite in
       10   yeah, every woman who gets talc will get it. So     10   support of your inflammation opinion. You rely
       11   just because there's an increased risk with talc,   11   on -- is it Saed 2018 article?
       12   how much of the U.S. population should get          12      A. Yes.
       13   ovarian cancer is a different question. That's      13          MR. ZELLERS: I'll hand you the Saed
       14   not what I estimated.                               14   2018 paper.
       15       That's -- you're asking a question about        15            (Article entitled "New Insights
       16   attributable risk and population attributable       16      into the Pathogenesis of Ovarian Cancer:
       17   risk. Some have attributed it to 10 percent,        17      Oxidative Stress" marked Exhibit 26.)
       18   40 percent. I haven't done that estimation.         18          MS. PARFITT: Thank you.
       19          MR. KLATT: Move to strike.                   19          MR. ZELLERS: We'll mark that as
       20   Nonresponsive.                                      20   Deposition Exhibit 26.
       21          MR. ZELLERS: Join.                           21   BY MR. ZELLERS:
       22       Q. Granulomas, fibrosis or adhesions don't      22      Q. This is a study that you cite in
       23   cause ovarian cancer; correct?                      23   support of your position; is that right?
       24          MS. PARFITT: Objection.                      24      A. I don't know if I cite it as a support
       25       A. I'm not aware of precise biological          25   of my position. I cite it as an article that
                                                 Page 227                                                 Page 229
        1   mechanisms of, you know, ovarian cancer.             1   shares insight into the parthenogenesis of
        2       Q. Isn't the theory of inflammation as a         2   ovarian cancer. I mean, you know, he's the
        3   cause of ovarian cancer an unproven hypothesis?      3   expert and he'll form his opinion.
        4          MS. PARFITT: Objection.                       4       So it's a study cited in my report. In
        5       A. Well, it's a plausible hypothesis that,       5   fact, I won't even be able to discuss the details
        6   you know -- and it's well accepted that, you         6   of that study with you.
        7   know, one of the mechanisms is inflammation.         7       Q. You're not comfortable discussing the
        8       Q. It's still unproven; correct?                 8   details?
        9          MS. PARFITT: Objection. Misstates             9       A. Yeah. I mean --
       10   testimony.                                          10           MS. PARFITT: Objection.
       11       A. Well, I'm not -- my standard wasn't          11       A. -- you can ask a question and I'll try
       12   looking at absolute certainty that, A, talc         12   to answer to the best of my ability. And if I
       13   induces inflammation, and inflammation causes       13   won't, I'll be able --
       14   ovarian cancer. I'm looking for evidence for or     14       Q. The point is, this is really an area
       15   against whether inflammation, you know, induces     15   for other experts; agreed?
       16   or reduces ovarian cancer.                          16       A. Yes. This is an area for other
       17       Q. What studies or evidence do you cite in      17   expertise.
       18   your report against the proposition or theory       18       Q. Saed, that paper just looked at
       19   that inflammation is a cause of ovarian cancer?     19   immortalized cell lines; is that right?
       20       A. Yeah. I think -- I'm sorry. The              20           MS. PARFITT: Objection. Form.
       21   question was what studies --                        21       A. Yes.
       22       Q. You told me it was important to cite         22       Q. The authors do not identify what either
       23   both the studies that support your position and     23   the positive or the negative controls were; is
       24   also the studies that refute your position; is      24   that right?
       25   that right?                                         25           MS. PARFITT: Objection.
                                                                              58 (Pages 226 to 229)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 230                                                 Page 232
        1       A. So is this the study or is this just          1   users?
        2   their review article?                                2       A. Yeah. So I don't know if that's
        3       Q. This is the paper that you cite to in         3   consistently. But as I mentioned earlier, and I
        4   your report.                                         4   may have cited it in this study, that when I
        5       A. Can you point out in my report which          5   talked about Ness, and I'm trying to find it,
        6   reference number is that? I know I've cited          6   but, yes, there is, you know, NSAIDs have not
        7   them, but I'm just trying to orient myself.          7   been -- they don't consistently reduce the risk
        8       Q. Are you familiar with this paper? Have        8   of ovarian cancer, but in some studies, they have
        9   you looked at it before?                             9   shown to reduce the risk of ovarian cancer.
       10       A. Yes. I have looked at this paper, but        10       Q. If, in fact, inflammation was a
       11   they also have other abstracts and other papers.    11   causative factor in ovarian cancer, and if NSAIDs
       12   I think that's what I was relying on.               12   and aspirin use reduce inflammation, wouldn't you
       13       Yeah. So I'm relying on this and 125, Saed.     13   expect some consistency in the studies that would
       14       Q. The authors in this paper that you           14   show NSAIDs and aspirin use reduced the incidence
       15   support -- strike that -- that you cite and are     15   of ovarian cancer?
       16   relying on do not identify what either the          16       A. So, first of all, you're asking a broad
       17   positive or the negative controls were; correct?    17   question. Inflammation. What do you mean by
       18          MS. PARFITT: Objection. Misstates the        18   that?
       19   evidence.                                           19       And I don't know -- yeah. Exactly. So I
       20       A. Let me just look at 125, and then I'll       20   don't know the precise biological mechanisms of
       21   answer the question.                                21   ovarian cancer. And just because the ovarian
       22       No. That's not 125.                             22   cancer-mediated inflammation is different from,
       23       Q. I'll move on and ask another question.       23   you know, anti-inflammatory, so both may be
       24       A. Sorry about that.                            24   entirely consistent, I'm not saying they are, but
       25       Q. That's all right.                            25   both mechanisms, you could have NSAID-induced
                                                 Page 231                                                 Page 233
        1      Saed references unpublished data; correct?        1   reduce inflammation and NSAID-induced increase
        2          MS. PARFITT: Objection.                       2   inflammation. That's just not what -- that area
        3      A. Yeah. And I've just been informed by           3   where other people will provide, you know, more
        4   counsel that it has been accepted for                4   testimony.
        5   publication, but the data that I -- that I           5       Q. If inflammation is the issue, why would
        6   referenced were, you know, at the time, available    6   cornstarch be a superior alternative to talc?
        7   as abstracts.                                        7          MS. PARFITT: Objection. Form.
        8      Q. Saed referenced -- references                  8       Q. And to give you context, the FDA banned
        9   unpublished data that you rely on in coming up       9   the use of cornstarch on surgical gloves because
       10   with at least some of the opinions in your          10   of the risk of inflammation, granulomas,
       11   report; is that right?                              11   fibrosis, adhesions and irritation; is that
       12      A. Yeah. I mean, it's one of the, you            12   right?
       13   know, number of studies that I reviewed. It's       13       A. I'm not aware of all the particular,
       14   not the only study on, you know, on biological      14   you know, regulatory actions on cornstarch.
       15   mechanisms.                                         15       Q. Take a look at the FDA 21 C.F.R, parts
       16      Q. Why doesn't inflammation generally, for       16   878, 880, and 895.
       17   example, in pelvic inflammatory disease, cause      17          MR. ZELLERS: We'll mark that as
       18   ovarian cancer?                                     18   Deposition Exhibit 27.
       19      A. Again, that's not -- you know, that is        19            (Federal Register, Vol. 81, No.
       20   not -- I'm not going to be opining on the precise   20       243 marked Exhibit 27.)
       21   mechanisms of ovarian cancer in my testimony or     21   BY MR. ZELLERS:
       22   my report. That's not my area of expertise.         22       Q. If you look at the second page, first
       23      Q. Why don't NSAIDs and aspirin use, which       23   paragraph, last sentence, so I'm under executive
       24   supposedly reduce inflammation, consistently        24   summary. The last sentence in the last full
       25   reduce the incidence of ovarian cancer in chronic   25   paragraph.
                                                                              59 (Pages 230 to 233)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 234                                                 Page 236
        1       "However, the use of powder on medical           1   is that right?
        2   gloves presents numerous risks to patients and       2       A. I don't disagree -- what I am trying to
        3   healthcare workers, including inflammation,          3   define precisely confounding is that, you know,
        4   granulomas, and respiratory allergic reactions."     4   it creates a different relationship, had the
        5       Did I read that right?                           5   confounder not been present, and I'm just trying
        6       A. Yeah.                                         6   to say how it does that.
        7          MS. PARFITT: Do you know where it is?         7       It's associated with the outcome. It's
        8   Mm-hmm.                                              8   associated with the exposure and not, you know,
        9       A. Okay.                                         9   and not on the --
       10       Q. Why, then, given that, would cornstarch      10       Q. Let's use an example, so we're sure
       11   be considered a superior alternative to talc?       11   we're talking about the same thing.
       12          MS. PARFITT: Objection. Form.                12       If you are studying the association between
       13       A. Am I -- did I state in my -- I mean,         13   coffee and pancreatic cancer, you need to be
       14   you know, I'm not evaluating the causal role of     14   mindful of whether cigarette smoking is more
       15   cornstarch and, you know, its role in ovarian       15   common in coffee drinkers than in the rest of the
       16   cancer. I'm not even aware of the existence of      16   population; correct?
       17   this document and what it pertains to.              17       A. Yes.
       18       I don't see any reference to cornstarch         18       Q. Cigarette smoking could be a confounder
       19   here. I don't evaluate how they regulate various    19   in that situation; is that true?
       20   products, whether it's food or cornstarch.          20       A. Well, so there are several parts to
       21       Q. Are you familiar with the term               21   that. Just because it's more common in coffee
       22   "confounding"?                                      22   drinkers does not make it a confounder. To make
       23       A. Yes.                                         23   a confounder, you have to have three specific.
       24       Q. That's where the presence of another         24   What you're talking is, yeah, it's associated
       25   association confuses the relationship between the   25   with coffee. But is it associated with
                                                 Page 235                                                 Page 237
        1   exposure and disease being studied; correct?         1   pancreatic cancer? Is it on the causal pathway?
        2      A. I don't -- I don't think that's the            2      So a confounder is a very precise
        3   definition of confounding.                           3   epidemiologic term. It's not just everything we
        4      Q. What is wrong with that definition?            4   pull off the air and say because it's associated
        5      A. Confusion is not an epidemiologic term.        5   with the coffee, it becomes a confounder.
        6   There's no such thing as confusion in                6      Q. Listen to my question.
        7   epidemiology. You have bias. You have                7      A. Sure.
        8   misclassification. You have measurement error.       8      Q. Cigarette smoking could be a confounder
        9      Confounding is a case where you have a            9   in my hypothetical; right?
       10   variable that's related to the outcome and          10      A. If it was associated with pancreatic
       11   that's, you know, maybe associated with the         11   cancer and not present in the causal pathway and,
       12   exposure and is not on the causal pathway between   12   obviously, associated with coffee.
       13   exposure and outcome.                               13      Q. Because if more coffee drinkers are
       14      And, you know, it creates an artifactual         14   smokers than non-coffee drinkers --
       15   relationship between exposure and outcome.          15      A. It could be the other way around.
       16      Q. Confounding and confusion are similar         16      Q. Exactly. An association between coffee
       17   terms; correct?                                     17   drinking and pancreatic cancer might be due to
       18      A. No. They're not. Confounding is a             18   smoking and not the coffee drinking; correct?
       19   scientific term. Confusion is layman from that.     19      A. Yes.
       20   I don't think it has -- at least in my term, I      20      Q. Confounding can distort results in
       21   don't --                                            21   epidemiological studies; is that right?
       22      Q. So you disagree that confounding              22      A. Yes. And you have to adjust for
       23   relates to the presence of another association      23   confounding.
       24   which potentially confuses the relationship         24      Q. Residual confounding is possible in
       25   between the exposure and disease being studied;     25   every occupational study; is that right?
                                                                              60 (Pages 234 to 237)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 238                                                 Page 240
        1           MS. PARFITT: Objection.                      1      But most importantly, just because, A, first
        2       A. Sorry. Can you repeat the question?           2   of all, are they associated with the outcome?
        3           MS. PARFITT: Here it is.                     3   Then you have to ask, are they causally
        4       Q. Sure. Residual confounding is possible        4   associated, and they would have to be associated
        5   in every observational study; correct?               5   with the exposure talc to be considered a
        6       A. Observational. Yeah.                          6   confounder, just because they're a risk factor.
        7       It is possible; right? Is that what you          7   Every risk factor need not be controlled in a
        8   said?                                                8   study. You have to be associated with the
        9       Q. Yes.                                          9   exposure to, you know, consider the confounder.
       10       A. Yeah. Residual confounding is possible       10      That is the precise definition of
       11   because you can't measure, you know, every          11   confounding, is you have to be associated with
       12   variable that you can think of.                     12   the exposure. You have to be associated with the
       13       Q. And unmeasured confounders may be            13   outcome. And you can't be on the path.
       14   present in every observational study; correct?      14      So just because chlamydia -- let me finish.
       15       A. Yeah. There's always the potential for       15   Chlamydia, A, has a risk factor of ovarian
       16   unmeasured confounding. It doesn't mean that it     16   cancer. If I design a study tomorrow for X and
       17   exists.                                             17   ovarian cancer, you know, I'm not going to
       18       Q. It's impossible to say that all known        18   consider it a confounder for my analysis.
       19   and unknown confounding factors have been           19      Q. Confounders can distort the results in
       20   controlled for in any given study; correct?         20   epidemiological studies; correct?
       21       A. You don't -- you know, what you don't        21           MS. PARFITT: Objection. Form.
       22   know, you can't control for.                        22      A. Yeah. We've discussed that, I think.
       23       Q. In this case, new factors possibly           23           THE WITNESS: We'll take a break. If
       24   involved in ovarian cancer are just being           24   you want to finish this confounding thing.
       25   published in the literature; is that right?         25           MR. ZELLERS: No. We can take a break
                                                 Page 239                                                 Page 241
        1           MS. PARFITT: Objection. Vague.               1   now.
        2      A. Yeah. I don't -- I don't know what             2          MS. PARFITT: Good. Thank you.
        3   you're like -- just give me an example so I          3          THE VIDEOGRAPHER: This ends Media 3.
        4   can --                                               4   Off the record, 2:17 p.m.
        5      Q. Okay. History of chlamydia infection           5            (A recess was taken.)
        6   and history of weight gain during adolescence are    6          THE VIDEOGRAPHER: Here begins Media
        7   two recent examples that are being published in      7   No. 4 in today's deposition of Sonal Singh, MD,
        8   the literature as factors possibly involved with     8   M.P.H. Back on the record, 2:29 p.m.
        9   ovarian cancer; correct?                             9   BY MR. ZELLERS:
       10           MS. PARFITT: Objection. Form.               10       Q. Dr. Singh, in your report, at Page 54,
       11      A. I haven't seen them. But I mean,              11   Paragraph 7, you address the subject of
       12   weight gain has been adjusted for in several of     12   confounding in studies of talcum powder use and
       13   the analyses. So I don't know about that. Yeah.     13   ovarian cancer; is that right?
       14      Q. Well, let's assume --                         14       A. Yes.
       15      A. We're talking about chlamydia.                15       Q. On Page 54 of your report, you state,
       16      Q. Let's assume that that's correct.             16   "Although there are some risk factors for ovarian
       17      Those factors, history of chlamydia              17   cancer," and then it continues, "for any of them
       18   infection and history of weight gain during         18   to be confounding to an extent that could account
       19   adolescence, those factors were not controlled      19   for the positive relations that have been
       20   for in any of the published talc-ovarian cancer     20   reported, they would have to be strongly
       21   studies, were they?                                 21   correlated with talc use. Family history,
       22           MS. PARFITT: Objection. Form.               22   ethnicity, obesity and some reproductive risk
       23      A. Yeah. So if they're not known, first          23   factors are positively associated with the risk
       24   of all, you have to evaluate and, you know, is      24   of ovarian cancer, but the magnitude of these
       25   that a true -- true association?                    25   associations does not appear high enough to
                                                                              61 (Pages 238 to 241)
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                                      Sonal Singh, M.D., M.P.H.
                                                  Page 242                                                Page 244
        1   introduce enough confounding either jointly to       1   Cancer"; is that right?
        2   explain completely the positive associations."       2      A. If I haven't, then I haven't. Yeah.
        3       And it should be the positive association.       3      Q. You did put it on your additional
        4       A. Yes.                                          4   materials and data considered.
        5       Q. Is that the statement that you make?          5      Do you see that?
        6       A. Yes.                                          6      A. Yes.
        7       Q. There's no citation for that statement;       7      Q. It's on the last page.
        8   is that right?                                       8          MR. ZELLERS: I'm going to mark that
        9       A. Yes. But partly because I couldn't            9   paper as Exhibit 28.
       10   find evidence -- and, you know, about the risk of   10            (Document entitled
       11   talcum powder use and these risk factors. And so    11      "Interpretation of Epidemiologic Studies on
       12   that -- so the issue that I -- prior to the         12      Talc and Ovarian Cancer" marked
       13   statement, states that -- these other risk          13      Exhibit 28.)
       14   factors, which we know are risk factors for         14          MS. PARFITT: Thank you.
       15   ovarian cancer.                                     15          MR. ZELLERS: You're welcome.
       16       Q. Is this your statement that you made         16   BY MR. ZELLERS:
       17   here?                                               17      Q. Do you see Exhibit 28 in front of you?
       18       A. Yeah. Let me just explain what I did         18      A. Yes.
       19   here.                                               19      Q. Exhibit 28 is an article prepared by
       20       Q. That was a simple question.                  20   Kenneth Rothman entitled "Interpretation of
       21       A. Yeah. It is my statement.                    21   Epidemiologic Studies of Talc and Ovarian
       22       Q. Have I read your statement?                  22   Cancer."
       23       A. Yes. But it is about the fact that we        23      Is that right?
       24   don't have, you know, family history, ethnicity,    24      A. Yes.
       25   obesity and reproductive factors associated, but    25      Q. Take a look at Page 5 of that paper,
                                                  Page 243                                                Page 245
        1   these associations, as it relates to talc use, we    1   the second paragraph.
        2   don't have data on how these -- to be considered     2       Do you see where --
        3   a confounder, they have to be associated with        3       A. Confounding, you're talking about?
        4   talc use. We don't have data on that.                4       Q. Yes. Where Rothman discusses
        5       Q. My question just is: Did you write            5   confounding?
        6   that?                                                6       A. Yeah.
        7       A. I did. Yeah.                                  7       Q. Other than the list of four risk
        8       Q. All right. Now, do you know who Ken           8   factors in parentheses, you just copied the
        9   Rothman is?                                          9   language from Dr. Rothman's article and pasted it
       10       A. Yeah. He has written a textbook on           10   into Page 54 of your report; correct?
       11   epidemiology.                                       11          MS. PARFITT: Objection.
       12       Q. He is a well-respected epidemiologist;       12       A. No.
       13   is that right?                                      13       Q. All right. Do you have your report in
       14       A. Yeah. He's well respected.                   14   front of you, Page 54?
       15       Q. He has written a textbook on                 15       A. And you say that I don't cite this
       16   epidemiology that's widely recognized as one of     16   article or --
       17   the best; is that right?                            17       Q. If you don't cite that article, you
       18          MS. PARFITT: Objection.                      18   have just testified under oath that these are
       19       A. It is nice. I mean, I have a copy of         19   your words in your report.
       20   it.                                                 20       So take a look at Page 54 of your report.
       21       Q. I've looked at your report and your          21   Take a look at Page 5 of the Rothman paper.
       22   reliance list. In terms of your reliance list,      22       A. Yeah. I mean, you know, I may have --
       23   you do not cite to a paper by Ken Rothman and       23   I think I'm talking of different risk factors.
       24   others published in 2000 entitled "Interpretation   24       Q. Doctor --
       25   of Epidemiologic Studies in Talc and Ovarian        25          MS. PARFITT: Let him finish, please.
                                                                              62 (Pages 242 to 245)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 246                                                 Page 248
        1          MR. ZELLERS: Okay.                            1   factors, family history, obesity and reproductive
        2       A. I may have failed to cite that article.       2   history," what else is different? Show me one
        3   You know, it's okay. I mean, it's not okay, but      3   word that is different --
        4   I'm just saying I may have failed to cite that       4       A. Yeah.
        5   article.                                             5       Q. -- between what you've written here and
        6       Q. Do you agree that the entire first part       6   what is written by Rothman in his paper.
        7   of Rothman on confounding that you have cited        7       A. Yeah. It isn't, and I should have
        8   word for word in your report, and you can start      8   cited it.
        9   with "although there have been some strong risk      9       Q. All right. The paper by Rothman and
       10   factors for ovarian cancer, for any of them to be   10   others -- well, strike that.
       11   confounding."                                       11       A. And where was this published, just -- I
       12       A. Yeah.                                        12   mean, it doesn't have a citation in it.
       13       Q. If you read the rest, all the way            13       Q. If you're going to copy it word for
       14   through the next couple of sentences, down to       14   word --
       15   "positive association," it's --                     15       A. I did not.
       16       A. Yeah.                                        16          MS. PARFITT: Excuse me. Object to the
       17       Q. -- word for word; right?                     17   question. Don't be argumentive, Counsel. He
       18       A. Yeah. I wouldn't say I copy and              18   said he didn't cut and paste it. He said he
       19   pasted. I would say that I have not referenced      19   failed to cite it. That's his testimony.
       20   it.                                                 20       A. You can, you know, go forward and say
       21       Q. You copied and pasted it.                    21   that.
       22       A. No. I did not. I read it, and I wrote        22       Q. The question is: You don't know -- let
       23   it. And I did not reference it.                     23   me withdraw that. You're looking at something.
       24       Q. You didn't write it. It's exactly word       24       A. Yeah. Go ahead and ask the question.
       25   for word from the Rothman paper --                  25       Q. You thought that this was a reliable
                                                 Page 247                                                 Page 249
        1       A. No. It isn't.                                 1   source; correct?
        2       Q. -- with the exception of you added, in        2       A. Yes. And I did not cite it.
        3   parentheses --                                       3       Q. The Rothman paper, Exhibit 28?
        4       A. Yeah.                                         4       A. Yes.
        5       Q. -- "genetic risk factors, family              5       Q. All right. Now --
        6   history, obesity and reproductive history"; is       6       A. Well, it's a source. I mean, it's in
        7   that right?                                          7   with other source that I rely on.
        8       A. Yeah. And I didn't cite it, but -- so         8       Q. At least in these couple of
        9   you look at a study and a paper, and, you know, I    9   sentences --
       10   wrote it. And I was remiss in not citing it. I      10       A. In the paragraph.
       11   didn't copy and paste it.                           11       Q. -- you agree; correct?
       12       Q. Well, you copied it word for word;           12       A. Yeah.
       13   correct?                                            13           MS. PARFITT: Agree what? Agree what?
       14       A. I did not.                                   14       Q. Agree that the -- the two sentences
       15            MS. PARFITT: Objection. Misstates his      15   from Rothman are the same two sentences as in his
       16   testimony.                                          16   report and does he agree with those two
       17       A. I'm saying what I did. But I did not         17   sentences?
       18   cite it.                                            18       A. Well, obviously, the risk factors are
       19       Q. The fact are the facts.                      19   different, because I know more about the risk
       20       A. Well, the facts are that the content is      20   factors since 2000. And -- but the point that
       21   different and I did not cite it.                    21   I'm trying to make, and as you can see the
       22       Q. What content is different other than         22   language is the same, and it should have been
       23   you adding in --                                    23   cited.
       24       A. The risk factors.                            24       Q. You told us throughout this deposition
       25       Q. -- parens, "Example, genetic risk            25   that it's important for you to be -- as an
                                                                              63 (Pages 246 to 249)
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                                      Sonal Singh, M.D., M.P.H.
                                                  Page 250                                                Page 252
        1   expert, to be fair and to cite information,          1          MS. PARFITT: No worries. No worries.
        2   positions on -- that both support and refute your    2       A. Which line are you in there?
        3   position and plaintiffs' position; correct?          3       Q. Sure. Look at "recall bias." Does the
        4       A. Well, it's not about their position,          4   third sentence state, "Recall bias can readily
        5   support or refute the causal hypothesis.             5   introduce enough bias to produce the modestly
        6       And I'm agreeing that I was remiss in not        6   sized overall effect, relative risk equal 1.3,
        7   citing this.                                         7   that emerges from these studies"?
        8       Q. You also did not cite the next sentence       8       A. That's -- yeah, that's his
        9   of Rothman --                                        9   interpretation.
       10       A. Yes.                                         10       Q. You don't disagree with that, do you?
       11       Q. -- which states, "Of course, it remains      11       A. Well, I do disagree in the sense that,
       12   possible that yet unidentified risk factors for     12   you know, he's making inference on the magnitude.
       13   ovarian cancer could be important confounders,      13   I'm not disagreeing that there's a potential for
       14   and several such factors in the aggregate could     14   recall bias. But, you know, as I've discussed in
       15   give risk to an overall association as weak as      15   my report and -- and, again, if you say that,
       16   the one between talc and ovarian cancer."           16   then I should be writing the Rothman paper
       17       You did not cite that; correct?                 17   instead of my report. Right? You would want Ken
       18       A. Yeah. And -- but that is already             18   Rothman to testify.
       19   expressed. The same factor is also expressed in     19       You have to, you know, take -- you know, I
       20   the first sentence. Confounding is one potential    20   understand what he's trying to say. He's saying
       21   explanation for -- so, you know, again, if I had    21   that recall bias can introduce an element that
       22   placed that sentence, you would say that, well,     22   would produce 1.3.
       23   you're taking three lines, four.                    23       Q. In fact, Rothman and the other authors
       24       So I cite that confounding is one potential     24   of this paper conclude that the modest positive
       25   explanation.                                        25   association --
                                                  Page 251                                                Page 253
        1      Q. You don't disagree with that statement.        1       A. Yeah.
        2      A. Yeah. Yeah. Because that's one, you            2       Q. -- seen in epidemiological studies
        3   know, it's stated that, you know, one potential      3   could be explained by recall bias or an
        4   explanation.                                         4   unidentified confounding bias; correct?
        5      Q. All right. Look at, if you will, on            5       A. Yes.
        6   Page 1 of the Rothman paper, the middle              6       Q. You did not note in your report
        7   paragraph. Rothman states, "Most of the              7   Rothman's conclusion -- and if you turn to
        8   published studies are interview-based,               8   Page 8, his conclusion -- "More important, there
        9   case-control studies subject to recall bias which    9   is also positive evidence against a causal
       10   can readily give rise to associations of this       10   association. The inverse dose-response trend for
       11   magnitude."                                         11   both duration of use and frequency of use, a
       12      Did I read that correctly?                       12   pattern that could not be explained by a causal
       13      A. Yes.                                          13   relation. Based on these considerations, we
       14      Q. Go to Page 4, third paragraph of the          14   suggest that the evidence to date does not
       15   Rothman paper, Exhibit 28. I'm looking at the       15   indicate that talc can be 'reasonably anticipated
       16   section under "recall bias," and the third          16   to be a human carcinogen.'"
       17   sentence, "Recall bias can easily introduce         17       A. Yes. And this report was prepared on
       18   enough bias to produce the modestly sized overall   18   November 8, 2000. That's 20 years ago. And we
       19   effect, relative risk equals 1.3, that emerges      19   have many other studies subsequent to that
       20   from these studies."                                20   talking about dose-response, several other
       21          MS. PARFITT: The only correction --          21   understandings about biological mechanisms.
       22      Q. Is that what Rothman wrote?                   22       So if I wanted -- if you want me to just
       23          MS. PARFITT: I'm sorry. It does say          23   cite to the Rothman paper or -- there are 115,
       24   "can readily."                                      24   you know, papers. I mean, there are other --
       25          MR. ZELLERS: I'm sorry.                      25   others will have opined that talc doesn't cause
                                                                              64 (Pages 250 to 253)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 254                                                 Page 256
        1   ovarian cancer.                                      1   cigarette smoking and BMI.
        2       Q. What methodology did you use to rule          2       Q. That it did control for that?
        3   out the effect of an unidentified confounding        3       A. Yeah.
        4   bias or multiple unidentified confounding biases?    4       Q. All right. Show me where, in Gertig
        5       A. Yeah. So I mean, as the meta-analyses         5   2000, that they state that they did control for
        6   have shown, there are no differences between --      6   BMI and for cigarette smoking.
        7   most of the studies show no differences between      7       A. "For age-adjusted analysis, we
        8   adjusted and unadjusted estimates, suggesting        8   categorized values as oral contraceptive use,
        9   that the potential for confounding is minimal.       9   tubal ligation, post-menopausal, cigarette
       10       There is no way to rule out unmeasured          10   smoking and BMI."
       11   confounding. And that's always a possibility.       11       Q. What page?
       12   It doesn't mean that it exists.                     12       A. That's two -- whatever that page is,
       13       Q. As we discussed earlier, you did review      13   250. Yeah. That's my understanding.
       14   the Gertig 2000 paper and cite it in your report;   14       If you look at Table 1, they do have, you
       15   is that right?                                      15   know, cigarette smoking and whatnot. That's my
       16       A. Yes.                                         16   understanding.
       17       Q. On Page 48 of your report, you note          17       Q. Ter Riet 2013, you cite that in your
       18   that Gertig 2000 found a statistically              18   report; is that right?
       19   significant increased risk for ever talc use for    19       A. It is.
       20   serous invasive cancers; correct?                   20       Q. Terry 2013 did not adjust for a hormone
       21       A. Let me just come to that section.            21   replacement therapy usage; correct?
       22       Yes.                                            22           MS. PARFITT: Here is Ter Riet.
       23       Q. Gertig did not control for BMI or for        23       A. Just let me go back to my report. This
       24   cigarette smoking, did it?                          24   is the Ter Riet meta-analysis?
       25       A. And I'm writing age, duration of             25       Q. Yes. Ter Riet 2013, meta-analysis.
                                                 Page 255                                                 Page 257
        1   contraceptive use, BMI, smoking status.              1      A. Okay.
        2      Can I look at the study? Sorry.                   2      Q. The question is: Did Ter Riet 2013
        3      Q. You're not wasting my time, are you?           3   adjust for hormone replacement therapy usage?
        4      A. No. No. Because my writeup says that.          4      A. Ter Riet.
        5   I may be incorrect. And I just want to make sure     5          MS. PARFITT: Here is a copy.
        6   that my writeup is -- you know, if we need to        6      A. Mine doesn't say that. Usually,
        7   correct it, I need to correct it. I'm sorry.         7   Table 1 should answer that question.
        8         MR. TISI: Did you mark it?                     8      HRT, right? I don't have that data, and I
        9         MR. ZELLERS: No.                               9   haven't included it in my report.
       10         THE WITNESS: I'm not wasting it, I'm          10      Q. If hormone replacement therapy is a
       11   saying that because writeup -- I say that it        11   risk factor for ovarian cancer, and assuming that
       12   does.                                               12   Ter Riet did not account for that, that is a
       13         MS. PARFITT: Just so you know, mine is        13   potential confounding factor; correct?
       14   a marked-up copy of it.                             14      A. Again, I have a slight difference in
       15         MR. ZELLERS: I'm not going to mark it.        15   your and my definition of confounding, that you
       16   I'm not going to look at it. I just want the        16   would have to obviously know if there is an
       17   doctor to answer the question.                      17   association with talc exposure for it to be
       18         MS. PARFITT: Sure. Here's a copy of           18   considered a confounder in that specific study.
       19   Gertig.                                             19      Q. All right. You cannot say whether the
       20   BY MR. ZELLERS:                                     20   odds ratio of Ter Riet 2013 in that study would
       21      Q. And my question is very simply --             21   have been lower if the authors had adjusted for
       22      A. Age and smoking.                              22   hormone replacement therapy usage; correct?
       23      Q. -- Gertig -- yes -- did not -- well,          23          MS. PARFITT: Objection.
       24   BMI --                                              24      A. Or higher. I mean, we cannot say one
       25      A. Yeah. It says it conducted for                25   way or the other.
                                                                              65 (Pages 254 to 257)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 258                                                 Page 260
        1       Q. Recall bias, it's a concern in every          1   talc exposure as part of larger questionnaires on
        2   retrospective study; is that right?                  2   other risk factors, minimizing the possibility of
        3       A. Yeah, it is a potential concern in            3   recall bias."
        4   design of studies where, you know, you're asking     4       Did you write that?
        5   about past exposure.                                 5       A. Yes.
        6       Q. Recall bias can distort a scientific          6       Q. How does asking about other risk
        7   evaluation of whether an exposure is actually        7   factors minimize recall bias as to a particular
        8   related to a disease; correct?                       8   risk factor?
        9       A. Yes.                                          9       A. Yeah. Because, you know, you're not
       10       Q. For example, recall bias could distort       10   stimulating them to answer -- you know, if you're
       11   results if women with ovarian cancer were more      11   asking them ten questions about, say -- so it's
       12   likely to remember their exposure to talc than      12   like, well, were you -- you know, were you
       13   women without ovarian cancer; correct?              13   active, were you using oral contraceptives, were
       14       A. Yes. I mean, but the extent here is          14   you -- so if you are -- let me finish. Let me
       15   quite minimal, because we don't see it with a --    15   finish my explanation.
       16   you know, for daily use, you know, the likely       16       You're introducing the question of talc use
       17   magnitude is small. We've talked about that.        17   within ten different questionnaires, then you
       18       You know, if recall bias was operational, we    18   minimize the possibility of recall bias for that
       19   would see it with nongenital talc use. They         19   particular product versus you're asking talc
       20   would be reporting that. And we would be seeing     20   alone.
       21   it with other types of, you know, cancer beyond,    21       Q. On what literature are you relying to
       22   you know, ovarian.                                  22   say that asking about other risk factors
       23       So, yes, recall bias is a potential, but the    23   minimizes recall bias as to another risk factor?
       24   likely magnitude is small.                          24       A. I mean, that's just my general
       25       Q. On Page 54, Paragraph 6 of your              25   understanding of epidemiology. And maybe, you
                                                 Page 259                                                 Page 261
        1   report -- do you have Page 54, Paragraph 6?          1   know -- yeah, it's not -- I don't know if it's
        2       A. Yeah. Just to clarify on the question,        2   specific to talc usage. Just a general
        3   I disagree with Rothman. So just because it's in     3   understanding of epidemiology, about, you know --
        4   Rothman's study, doesn't mean that it's, you know    4   yeah, recall bias.
        5   --                                                   5       Q. Are you done?
        6       Q. I have a new question. Are you ready?         6       A. Yeah.
        7       A. No. I mean, I have to finish my last          7       Q. All right. Let's look at the effects
        8   question.                                            8   of recall bias in a study on talcum powder use in
        9       Q. I didn't ask you a question.                  9   ovarian cancer.
       10       A. Okay. Because we are still on the            10       Are you familiar with the Schildkraut 2016
       11   topic of recall bias.                               11   study?
       12       Q. I asked the question.                        12       A. Yes.
       13       A. Okay.                                        13       Q. That was one of the studies that you
       14       Q. Recall bias could distort results of         14   relied on in forming your opinions; is that
       15   women with ovarian cancer were more likely to       15   right?
       16   remember their exposure to talc than women          16       A. Yes.
       17   without ovarian cancer; correct?                    17          MR. ZELLERS: Let's mark that study as
       18       A. Yes.                                         18   Deposition Exhibit 29.
       19       Q. The next question is: Can you turn to        19            (Article entitled "Association
       20   Page 54, Paragraph 6 of your report?                20       between Body Powder Use and Ovarian Cancer:
       21       A. Okay.                                        21       The African American Cancer Epidemiology
       22       Q. You state, "case-control studies are         22       Study (AACES) marked Exhibit 29.)
       23   susceptible to recall bias, particularly when       23          MS. PARFITT: Got it. Thanks.
       24   data on exposure are self-reported. However,        24   BY MR. ZELLERS:
       25   several studies have included these questions on    25       Q. This is a study titled "Association
                                                                              66 (Pages 258 to 261)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 262                                                 Page 264
        1   Between Body Powder Use and Ovarian Cancer; The      1   that they used talc on their genitals was
        2   African American Cancer Epidemiology Study";         2   34 percent; is that right?
        3   correct?                                             3       A. Where is that? Yeah.
        4      A. Yes.                                           4       Q. The percentage of cases, meaning women
        5      Q. The study looked at, among other               5   with ovarian cancer, that said that they used
        6   things, what impact, if any, lawsuit filings in      6   talc on their genitals was 36.5 percent; is that
        7   2014 had on whether women recalled using talc in     7   right?
        8   the past; correct?                                   8       A. I'm just looking at this. Give me a
        9      A. Yeah. It examined the issue of                 9   second.
       10   stimulated reporting. And I note it in my           10       36 -- interview data after 2004?
       11   report. I don't -- I don't discount that in my      11       Q. No. My question here is: For women
       12   discussion of the Schildkraut study.                12   who were interviewed before 2014 --
       13      Q. We'll call it Schildkraut. Can we do          13       A. Mm-hmm.
       14   that?                                               14       Q. -- the control, so women without
       15      A. Whatever. I don't know.                       15   ovarian cancer, they stated they used talc on
       16      Q. The authors in that study, Exhibit 29,        16   their genitals, 34 percent; is that right?
       17   thought that the publicity from lawsuits might      17       A. Yes.
       18   influence the participants' recall of prior body    18       Q. For that same time period, women
       19   powder use; is that right?                          19   interviewed before 2014 --
       20         MS. PARFITT: Objection.                       20       A. Mm-hmm.
       21      A. Yes. And I noted on Page 45 of my             21       Q. -- with ovarian cancer that said that
       22   report that although there was some evidence that   22   they used talc on their genitals was
       23   there was more reporting after class action         23   36.5 percent.
       24   lawsuits in 2014, recall bias alone is              24       A. Yes.
       25   insufficient because there is a statistically       25       Q. Is that right?
                                                 Page 263                                                 Page 265
        1   significant risk both before and after 2014. But     1       So roughly the same reporting of genital
        2   the authors did, you know, think it was an           2   talc use between women with and without ovarian
        3   important thing to look at.                          3   cancer occurred before the lawsuits were filed in
        4       Q. The authors looked at this and tried to       4   2014.
        5   study this; is that right?                           5          MS. PARFITT: Objection.
        6       A. Yes.                                          6       Q. Correct?
        7       Q. All right. Go to Page 4, Table 2 of           7       A. I don't know the timing of lawsuits,
        8   the Schildkraut paper. Tell me when you have it.     8   but yes, 2014.
        9       A. I do.                                         9       Q. So then let's look at what happened
       10       Q. This is a table, Adjusted Odds Ratios        10   after the lawsuits were filed.
       11   for the Associations Between Mode, Frequency and    11       After 2014, what percentage of women without
       12   Duration of Body Powder Use and Ovarian Cancer;     12   ovarian cancer said that they used talc on their
       13   is that right?                                      13   genitals?
       14       A. Yes.                                         14       A. The case -- are you talking about cases
       15       Q. The second column shows the number of        15   or controls?
       16   cases. That's women with ovarian cancer;            16       Q. Yeah. I'm talking about controls.
       17   correct?                                            17       A. 34.4, 34.4.
       18       A. Yes.                                         18       Q. So based on this data, the lawsuits had
       19       Q. The third column shows the controls.         19   essentially no effect on how many of the women
       20   That's the women who do not have ovarian cancer;    20   without ovarian cancer, the controls, remembered
       21   correct?                                            21   or recalled using baby powder; correct?
       22       A. Yes.                                         22       A. Yes.
       23       Q. Looking at the data, before 2014,            23       Q. It was 34 percent before 2014 and
       24   before the lawsuits, the percentage of controls,    24   34.4 percent after; is that right?
       25   meaning women without ovarian cancer, who said      25       A. Yes.
                                                                              67 (Pages 262 to 265)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 266                                                Page 268
        1       Q. For women with ovarian cancer, before         1   action lawsuits in 2014, recall bias alone is
        2   the lawsuits were filed, 36.5 percent of them        2   insufficient to explain these findings, because
        3   said they recalled using baby powder; correct?       3   there was a statistically significant increased
        4       A. Yes.                                          4   risk both before and after 2014."
        5       Q. But after the lawsuits were filed, the        5       Is that what you state?
        6   percent of women with ovarian cancer who said        6       A. Yeah.
        7   they used baby powder went up to 51.5 percent; is    7       Q. Let's look at what the study actually
        8   that right?                                          8   shows. So go to --
        9       A. Yes.                                          9       A. Yeah. I correct it. Should be there
       10       Q. So after the lawsuits were filed, the        10   was an excess risk, because there was no
       11   percent of women with ovarian cancer who said       11   statistically significant.
       12   they used baby powder jumped by over 40 percent;    12       Q. Your report is in error; is that right?
       13   is that right?                                      13           MS. PARFITT: Objection.
       14          MS. PARFITT: Objection. Form.                14       A. Well, it should be corrected to an
       15       A. By 40 percent? Where is 40?                  15   excess risk.
       16       Q. A difference between the 36. --              16       Q. It is not, and there is not a
       17       A. 10 percent. It's 51 and 34. Right?           17   statistically significant risk; is that right?
       18       Q. It jumped -- I don't have a calculator.      18           MS. PARFITT: Objection. Form.
       19       A. You're subtracting 51 to 36 or 51 to         19       A. Yeah. The test for effect modification
       20   34?                                                 20   by year of interview was technique, but the
       21       Q. Well, there was --                           21   particular estimate for above -- for, you know,
       22       A. Sorry.                                       22   for before 2014 was not significant.
       23       Q. That's okay. It's late.                      23       Q. Exactly. So pre-2014, there was an
       24       There was a significant increase --             24   odds ratio of 1.19 with a confidence interval
       25       A. There was an increase.                       25   ranging from .87 to 1.63; is that right?
                                                 Page 267                                                Page 269
        1       Q. -- from 36.5 percent before the               1       A. Yeah. Yeah.
        2   lawsuits were filed to 51.5 percent after; is        2       Q. That is not statistically significant;
        3   that right?                                          3   is that right?
        4       A. Yes.                                          4       A. Yes.
        5       Q. So, suddenly, women who had ovarian           5       Q. In the absence of statistical
        6   cancer started reporting a higher incidence of       6   significance, that can be indicative of no risk
        7   talc use than women had reported before 2014; is     7   existing; correct?
        8   that right?                                          8          MS. PARFITT: Objection. Form.
        9          MS. PARFITT: Objection. Form.                 9       A. Yeah. But, you know, I'm opining on
       10       A. Yes. There was -- there was                  10   the study as a whole. That's just one element of
       11   incidence -- you know, evidence of stimulated       11   stimulated reporting in that study, you know.
       12   reporting. But that is just one element of          12   Yeah. So there's an excess risk, which is in the
       13   recall bias. That's not completely what is being    13   same direction, but not statistically
       14   addressed in my statement on recall bias. This      14   significant.
       15   is evidence about stimulated reporting, which is    15       Q. If the study had ended before 2014, it
       16   one -- one spectrum of recall bias.                 16   would have found no statistically significant
       17       Q. It's at least an example of the              17   relationship between talcum powder and ovarian
       18   potential effect of recall bias; correct?           18   cancer; is that right?
       19       A. Yes.                                         19       A. I'm not seeing the study. I have to
       20       Q. All right. Go to Page 45 of your             20   interpret the whole study; right?
       21   report, the last sentence.                          21       Q. Well, based upon this data that we just
       22       A. Yes.                                         22   looked at --
       23       Q. "Although" -- and I'm quoting you.           23       A. Yeah.
       24   "Although there was some evidence that there was    24       Q. -- had the study ended before 2014,
       25   more reporting of genital powder use after class    25   there was not a statistically significant
                                                                              68 (Pages 266 to 269)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 270                                                 Page 272
        1   relationship between talcum powder use and           1   reports for that.
        2   ovarian cancer; correct?                             2       Q. You have no personal expertise with
        3          MS. PARFITT: Objection. Misstates the         3   that; correct?
        4   data.                                                4       A. No.
        5      A. Yeah. There was an excess risk which           5       Q. Did you consider any testing that found
        6   was not statistically significant. But, you          6   no asbestos?
        7   know, we are picking and choosing analysis by        7       A. Yeah. I did. I think I'm citing the
        8   2004. Again, we talked about we are choosing by      8   FDA report in my assessment that there are
        9   duration. You can pick any one of these analyses     9   studies that suggest the -- I don't know if it's
       10   to cite it. You have to look at the cumulative      10   an FDA report. It's an FDA study that talks
       11   evidence and the cumulative evidence from           11   about it.
       12   meta-analyses.                                      12       Q. If your assumption about contamination
       13      Q. How did you account for this recall           13   of talcum powder products with asbestos were not
       14   bias in weighing the Schildkraut study?             14   true, would your opinions in this case change?
       15          MS. PARFITT: Object to the form.             15          MS. PARFITT: Objection. Form.
       16      A. So, again, I did not weigh one                16       A. Well, again, you know, this is a weight
       17   individual study. My weight of evidence is based    17   of evidence that, does it, you know, contain
       18   on the meta-analysis and the cumulative evidence    18   talcum powder -- I mean -- does talcum powder
       19   from meta-analysis, the biological studies,         19   product contain asbestos? Or, you know, these
       20   animal studies, human studies.                      20   other metals we've talked about.
       21      So, you know, I point out the limitations of     21       But my opinion was, in fact, arrived at
       22   the individual studies, as do the authors of the    22   before even I was aware of both of the deposition
       23   meta-analyses.                                      23   testimony, as well as the results of testing by
       24      Q. Are your opinions in this matter              24   Dr. Luongo that my causal opinion was that they
       25   dependent on talcum powder containing asbestos?     25   caused, you know, ovarian cancer.
                                                 Page 271                                                 Page 273
        1       A. No. I arrived at my causal opinion            1          MR. ZELLERS: Move to strike as
        2   independent of, you know, presence of asbestos       2   nonresponsive. I'm going to ask the question
        3   or, you know, or my understanding of the             3   again.
        4   constituents. But I asked to better understand       4          THE WITNESS: Sure.
        5   what are the constituents of, you know, talcum       5   BY MR. ZELLERS:
        6   powder products.                                     6       Q. If your assumption about contamination
        7       And I was, you know, some of the documents       7   of talcum powder products with asbestos were not
        8   and some of the literature even suggests and         8   true, would your opinions in this case change?
        9   shows that, and some of the testing and some of      9       A. No.
       10   the deposition testimony that I have been privy     10       Q. In support of your opinion that talcum
       11   to, suggests the presence of asbestos in talcum     11   powder products contain asbestos, you cite to
       12   powder product.                                     12   exhibits from the depositions of John Hopkins and
       13       Q. Do you believe that talcum powder that       13   Julie Pier; is that right?
       14   does not contain asbestos causes ovarian cancer?    14       A. Yes.
       15       A. Yes.                                         15       Q. Are you aware that those exhibits were
       16       Q. Is it fair to say that you have not          16   created by plaintiff attorneys?
       17   made any independent determination as to whether    17          MS. PARFITT: Objection. Misstates the
       18   or not the talcum powder products manufactured by   18   evidence.
       19   J&J Consumer Products are contaminated with         19       A. Yeah. I mean, I asked them whatever
       20   asbestos?                                           20   that -- you know, these are -- as I understand
       21       A. Yes. I have not made a determination.        21   them, they are, you know -- they are created as a
       22   I've looked at the literature. I have looked at     22   part of the testimony of these deponents on
       23   the testimony of the experts that was provided,     23   behalf of, you know, the defendants. That's my
       24   and I've looked at testimony -- sorry -- the        24   understanding.
       25   report of Dr. Luongo and I have relied on their     25       Q. Were you told that the exhibits
                                                                              69 (Pages 270 to 273)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 274                                                 Page 276
        1   Exhibit 28 to the deposition of John Hopkins and     1   than from communicating with plaintiffs' counsel?
        2   Exhibit 47 to the deposition of Julie Pier were      2       A. I'm not sure what -- so --
        3   exhibits that were created by plaintiffs'            3          MS. PARFITT: I'm going to object to
        4   attorneys?                                           4   the form.
        5          MS. PARFITT: Objection. Completely            5       Q. Sure. The source of data?
        6   misstates the evidence in this case.                 6       A. Like source of --
        7       A. You know. I asked for constituents. I         7       Q. I'm asking you if you know where the
        8   don't know what -- who created what. So I mean,      8   data in those exhibits came from.
        9   I'm not going to be able to answer that type of      9       A. So I'll try to answer to the best of my
       10   question, who created this.                         10   ability.
       11       I was asked for, you know, what are the         11       My understanding is that the data on J&J and
       12   constituents, that can I learn more about this?     12   Imerys were from mines tested over the years,
       13       Q. Outside of your work in litigation, do       13   ranging, you know, from several decades. And
       14   you normally rely on documents created by           14   that contained or -- you know, were contaminated
       15   advocates in order to evaluate epidemiological      15   with asbestos, various fibers that were created.
       16   data?                                               16       And the second was the Luongo report was
       17          MS. PARFITT: Objection. Again,               17   products that were purchased and that were tested
       18   misstates the evidence as to origin of the          18   in the laboratory. So that's where the source.
       19   Hopkins and Pier Exhibits 28 and 40.                19   I mean, I assume these other two sources.
       20          You may answer.                              20       Q. Have you made any effort to investigate
       21       A. Yeah. I mean, I do. As I said                21   the alternative explanations for the data in
       22   earlier, I rely on our published data. And as       22   those charts, Exhibit 28 and Exhibit 47?
       23   the Health Canada approach states, that we rely     23       A. I mean --
       24   on whatever evidence becomes available, and, A,     24          MS. PARFITT: Objection.
       25   is relevant to the particular testimony.            25       A. So, for example, I think that those
                                                 Page 275                                                 Page 277
        1       And, importantly, just as my causal opinion      1   data are, as I said earlier, my causal opinion
        2   was arrived at independent of the constitution of    2   is -- is, you know, this is only a -- my causal
        3   asbestos in talc, Health Canada also is unaware      3   opinion is only -- you know, this is only a small
        4   of the presence of -- or at least, you know, they    4   link in my causal opinion between talc and
        5   haven't assessed the presence of asbestos in         5   ovarian cancer, and it's not predicated on the
        6   talc, and they are, you know, both congruent.        6   presence of asbestos.
        7       Q. Your testimony is that outside of your        7       I don't have the expertise to determine
        8   work in litigation, that you normally do rely on     8   whether asbestos is present.
        9   data and documents created by plaintiffs'            9       Q. I'm trying to make it a simple
       10   counsel?                                            10   question. I'm just trying to find out what you
       11          MS. PARFITT: Objection. Form. Asked          11   did and what you did not do.
       12   and answered. And misstates the evidence.           12       Did you make any effort to investigate the
       13       A. So I, you know, rely on evidence that's      13   alternative explanations for the data in the
       14   available in terms of epidemiologic evidence.       14   charts which are marked as Exhibit 28 and
       15   And my testimony on asbestos was based on testing   15   Exhibit 47?
       16   and based on -- testing by -- based on some of,     16       A. So --
       17   you know, there are studies which suggest the       17           MS. PARFITT: Objection.
       18   presence of asbestos.                               18       A. What is 28, 47?
       19       Q. Do you know where the data in                19           MS. PARFITT: Yeah. Let's get them.
       20   Exhibit 28 to Hopkins and Exhibit 47 to Pier came   20   Do you have a copy of them here to show --
       21   from?                                               21           MR. ZELLERS: No.
       22       A. You know, I was seeing these were in         22           MS. PARFITT: You aren't going to show
       23   various mines conducted. That's my                  23   it to him?
       24   understanding.                                      24           MR. ZELLERS: He cites to these in his
       25       Q. Do you have an understanding, other          25   report.
                                                                              70 (Pages 274 to 277)
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                                     Sonal Singh, M.D., M.P.H.
                                                Page 278                                                 Page 280
        1          MS. PARFITT: Then let's get them.            1   knowledge on these issues; correct?
        2   We'll get them. Give him a moment.                  2       A. Yeah. I mean, for my purpose, you
        3          MR. ZELLERS: We don't need to get them       3   know, it was more an understanding of the
        4   to answer this question.                            4   constituents, whether that would provide, you
        5          MS. PARFITT: Do you need them,               5   know, proof against biologic plausibility, proof
        6   Dr. Singh?                                          6   for biologic plausibility.
        7          THE WITNESS: Yes.                            7       So, for example, you say, did I undertake
        8          MS. PARFITT: Do you want to take a           8   attempts to understand the constituents? Yes. I
        9   quick break?                                        9   mean, I was looking for, well, are there some
       10          MR. ZELLERS: And I object. And this         10   antioxidants that, if you had some antioxidants
       11   should not be time that gets charged me.           11   in that product, and I'm not aware of, or anti,
       12   BY MR. ZELLERS:                                    12   you know, carcinogens and maybe these scientists
       13       Q. My question simply is: Did he attempt       13   will be able to provide that.
       14   to investigate any alternative causes. He can      14       Q. Did you ask counsel for plaintiffs for
       15   either say yes, he can say no, or he can say I     15   any information or testimony from either J&J
       16   don't recall.                                      16   company folks or Imerys scientists as to what the
       17       A. Yes.                                        17   tests actually showed with respect to asbestos?
       18       Q. All right. What did you do to               18          MS. PARFITT: Other than Exhibits 28
       19   investigate alternative explanations?              19   and 47?
       20       A. I mean, you know, I was looking at          20       A. I assume those testifying were J&J
       21   the -- I was already looking at the published      21   scientists and Imerys, and they were speaking
       22   literature, but beyond that, I was looking at      22   about those tests.
       23   what are the alternate -- again, as I said, you    23       Q. My question is: Did you ask for any
       24   know, my expertise in determining -- I'm not a     24   additional information?
       25   mineralist that I can, you know, that I can        25       A. No. I mean, I asked -- as I said, I
                                                Page 279                                                 Page 281
        1   determine that. And, again, I'm not opining that    1   asked about the causal question and I got what I
        2   Dr. Luongo's report -- I mean, he will have to      2   got. We can go about it in various ways.
        3   vouch for his report.                               3       Like did I ask again? No, I didn't. And I
        4       Q. Let me ask it a different way.               4   don't want any more documents.
        5       A. Yeah.                                        5       Q. We'll try to shortcut this.
        6       Q. If scientists from the J&J companies         6       Do you believe Luongo? You reviewed his
        7   and Imerys scientists say that those tests don't    7   testimony; right?
        8   actually show asbestos, it was just tremolite       8          MS. PARFITT: Objection. Form.
        9   reported, for example, you have no expertise to     9          Go ahead.
       10   dispute that; correct?                             10       A. Yeah. It's like how do you believe,
       11          MS. PARFITT: Objection. Misstates the       11   you know -- again, it's an area of expertise. He
       12   evidence in this case, entirely.                   12   tests, you know, these products, you know, this
       13          Do you want to ask him a hypothetical?      13   is not my area of experience. At least based on
       14       Q. It's a hypothetical question.               14   his testing, there is presence of asbestos in
       15          MS. PARFITT: It's a hypothetical.           15   my -- and provides additional support.
       16       A. Again, with my limited expertise and my     16       Q. Did you look at any of the experts for
       17   understanding of whatever I was provided and       17   the defendants who have opined to the opposite
       18   cited there, my understanding was that there was   18   statement or the opposite?
       19   asbestos present in there and, you know, other     19          MS. PARFITT: I think -- objection.
       20   people can have different opinions and I think     20       A. I was told that the expert defendants
       21   mineralogists, geologists will --                  21   hadn't even been -- you know, haven't submitted
       22       Q. Those are the --                            22   reports or haven't been, you know, opined on.
       23       A. Yeah.                                       23   That's sort of my understanding.
       24       Q. -- expertise or the -- those are the        24       Q. You believed and accepted the Luongo
       25   types of experts that would have substantive       25   testing for purposes of this case; is that right?
                                                                             71 (Pages 278 to 281)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 282                                                 Page 284
        1           MS. PARFITT: Objection. Misstates the        1   I'm not trying to slow you down.
        2   heart of his testimony.                              2          MR. TISI: And you said you think he
        3       A. So, first of all, this report is 70           3   was.
        4   whatever pages. Luongo is maybe a paragraph or       4          MR. ZELLERS: Yes. And it was in jest,
        5   two. So, yes, I believe that was one study.          5   Counsel. We all chuckled and we all laughed.
        6       For the purposes of, you know, identifying,      6          MR. TISI: As long as it was in jest,
        7   you know, I identified his. I identified what        7   that's fine.
        8   was shown and what was in those notes. And I         8          THE WITNESS: I took it to be in jest.
        9   identified some epidemiologic -- I mean, some        9          I know I reviewed one, but I'm just
       10   findings in the published literature.               10   trying to see if I reviewed another one. There
       11       I mean, that's as much as I could know about    11   was -- yeah.
       12   it. I mean, you had Routers' study, you know,       12          So I said, No. 30 and then 31, 32, two
       13   talking about it in the media. So there's lots      13   additional reports. Sorry.
       14   of different things.                                14       Q. Have you ever met Luongo?
       15       I didn't go and, you know, go looking into      15       A. I don't know him.
       16   the Routers report. Maybe that's what I should      16       Q. Do you know his qualifications?
       17   be looking at.                                      17       A. No.
       18       Q. You did not confirm that any of the          18       Q. Had you ever heard of him before you
       19   talc samples mentioned in those charts were         19   got involved in this MDL talc ovarian cancer
       20   actually from talc that was used in baby powder;    20   litigation?
       21   correct?                                            21       A. No.
       22           MS. PARFITT: Objection. Misstates the       22       Q. Have you reviewed any Luongo testing
       23   evidence that was available to him. If you want     23   where he did not find asbestos?
       24   to show him the charts, you can do it.              24       A. These were the three reports I
       25       Q. Can you answer that question?                25   reviewed. So I don't know if he has conducted
                                                 Page 283                                                 Page 285
        1          MS. PARFITT: Objection.                       1   additional testing.
        2       A. I did not confirm it myself.                  2       Q. Let me ask again. Have you reviewed
        3       Q. You realize that the vast majority of         3   any Luongo testing where he did not find
        4   talc isn't even used for body powder; correct?       4   asbestos?
        5          MS. PARFITT: Objection. Misstates the         5       A. I did not review any additional beyond
        6   evidence.                                            6   what is cited here.
        7       A. I realize that -- yeah, I don't know          7       Q. Have you reviewed the FDA's testing of
        8   what -- you know, there are various other uses of    8   talcum powder products?
        9   talc.                                                9       A. I have cited it. I mean, I have not
       10       Q. Do you also rely on -- well, strike          10   reviewed the specific test, but I have, you know,
       11   that.                                               11   cited what -- what they -- what they found.
       12       How many Luongo reports have you reviewed?      12       Q. Have you made any effort to quantify
       13       A. I just have to take a look. I know           13   the amount of any alleged contaminant in the
       14   that I reviewed one. And I'm not trying to slow     14   Johnson & Johnson Consumer Products talcum powder
       15   you down. I'm just trying to be accurate.           15   products?
       16       Q. I think you are, but --                      16       A. That's way beyond my expertise.
       17          MS. PARFITT: Objection to the                17       Q. Is any amount safe?
       18   characterization, Counsel.                          18          MS. PARFITT: Objection.
       19       A. I'm trying to find this.                     19       A. Well, as of my understanding that
       20          MS. PARFITT: He's acted in a                 20   asbestos, you know, any amount of asbestos is not
       21   professional way throughout all this, so it's       21   safe, that's my understanding. And, obviously,
       22   good.                                               22   others can --
       23          MR. TISI: You asked him questions            23       Q. Do you defer to other experts on that
       24   looking at his report.                              24   issue?
       25          MR. ZELLERS: The witness said to me,         25       A. Yeah. But, you know, my understanding

                                                                              72 (Pages 282 to 285)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 286                                                 Page 288
        1   is that any amount -- and I think there's some       1   at meta-analysis that, you know, cause, as well
        2   testimony from others to that effect as well.        2   as the IARC report that, you know, talks about
        3   But I'll defer to others.                            3   asbestos and fibrous talc as a carcinogen and
        4       Q. Do you have an opinion on what type of        4   also cites studies that show that asbestos causes
        5   asbestos is in the baby powder products?             5   ovarian cancer. But, again, I wasn't doing a
        6       A. Again, you know, this whole -- you            6   formal causal analysis.
        7   know, this sort of questions around constituents     7       Q. Do you agree that research on the
        8   of the product, for me, it was more trying to        8   potential relationship between asbestos and
        9   understand whether it's asbestos or any other        9   ovarian cancer has only considered a small number
       10   constituents in the product, provide evidence in    10   of cases?
       11   support or against.                                 11          MS. PARFITT: Objection. Form.
       12       I can't tell you what amount would cause or,    12       A. I mean, ovarian cancer is a rare, rare
       13   you know, not cause baby -- in baby powder will     13   disease. And, you know, it's going to be a small
       14   cause ovarian cancer.                               14   number of cases, regardless of etiology, what
       15       Q. What types of asbestos are associated        15   they are trying to study.
       16   with ovarian cancer?                                16       Q. How many of the studies involve
       17       A. I haven't done a causal analysis of          17   occupational exposure?
       18   asbestos and ovarian cancer. I know that the        18       A. I think the predominant --
       19   IARC has classified asbestos as a carcinogen,       19          MS. PARFITT: Objection.
       20   Grade 1, and that also stated that it caused        20       A. -- studies have involved occupational
       21   ovarian cancer, but -- about asbestos and fibrous   21   exposure.
       22   talc, but obviously others will provide more --     22       Q. How many were nonoccupational, if any?
       23   more specifics.                                     23       A. I don't recall the numbers.
       24       Q. Do you have any -- strike that.              24       Q. Did any of the nonoccupational asbestos
       25       Do you have knowledge as to the different       25   studies reach statistical significance?
                                                 Page 287                                                 Page 289
        1   types of asbestos?                                   1          MS. PARFITT: Objection. Form.
        2      A. No.                                            2       A. Again, I would have to look at the
        3      Q. What dose of asbestos is associated            3   study that you're talking about. And I just -- I
        4   with ovarian cancer?                                 4   can't recall it off the top of my head.
        5      A. I have not evaluated the dose of               5       Q. Can you tell how many women were
        6   asbestos with ovarian cancer.                        6   studied?
        7      Q. What type of ovarian cancer is asbestos        7       A. No, I can't. I mean, you can't ask
        8   associated with?                                     8   questions about these things, and tell me how
        9      A. I have not -- as I said earlier, I have        9   many women. No. You have to show me the study
       10   not evaluated the specific causal link between      10   if you want to go down that line of questioning.
       11   asbestos and ovarian cancer. My causal question     11       Q. I'll show you a study.
       12   was, does talcum powder products cause ovarian      12       A. Sure.
       13   cancer. And whatever the constituents are, you      13       Q. Are you familiar with the Reid study
       14   know, whether they provide evidence in support or   14   published May 24th of 2011?
       15   against. And, as you said, there may be             15       A. Yes.
       16   additional testing.                                 16       Q. It's one of the studies you looked at;
       17      Q. Does the type of ovarian cancer vary          17   is that right?
       18   based upon the type of asbestos?                    18       A. Yes.
       19      A. Again, I didn't evaluate that -- that         19          MR. ZELLERS: We'll mark that as
       20   body of evidence.                                   20   Exhibit 30.
       21      Q. Did you evaluate studies that have            21             (Article entitled "Does Exposure
       22   explored the potential link between asbestos and    22       to Asbestos Cause Ovarian Cancer? A
       23   ovarian cancer?                                     23       Systematic Literature Review and
       24      A. Yeah. I mean, I didn't, again,                24       Meta-analysis" marked Exhibit 30.)
       25   evaluate the causal link between that. I looked     25          MS. PARFITT: Thank you.
                                                                              73 (Pages 286 to 289)
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                                      Sonal Singh, M.D., M.P.H.
                                                 Page 290                                                 Page 292
        1          THE WITNESS: Can you repeat the               1   Where are you pointing to?
        2   question for me?                                     2          MR. ZELLERS: Sure. I'm looking at
        3          MR. ZELLERS: Sure.                            3   the --
        4          THE WITNESS: I'm sorry.                       4          MS. PARFITT: Thank you.
        5   BY MR. ZELLERS:                                      5          MR. ZELLERS: -- No. 2.
        6       Q. Go to the first page, the right column.       6          MS. PARFITT: Uh-huh.
        7       A. Mm-hmm.                                       7          MR. ZELLERS: The last full sentence.
        8       Q. Reid. And this article is entitled            8          MS. PARFITT: Thank you. I appreciate
        9   "Does Exposure to Asbestos Cause Ovarian Cancer?"    9   it.
       10   Is that right?                                      10          MR. ZELLERS: On Page -- first page of
       11       A. Yes.                                         11   the article.
       12       Q. The authors state, on the first page,        12          MS. PARFITT: Thank you. I appreciate
       13   on the right-hand side, right above the No. 1 and   13   that.
       14   No. 2, "Studies that have examined this issue       14          MR. ZELLERS: Sure.
       15   have been limited for two major reasons. No. 1,     15       A. Yes.
       16   small number of cases"; is that right?              16       Q. Have the studies addressed confounding
       17       A. Yes.                                         17   and independent risk factors?
       18       Q. The authors state, "Much fewer women         18       A. Well, again, you know, my examination
       19   than men have been exposed to asbestos,             19   of asbestos -- I mean, I was not trying to
       20   particularly in more heavily exposed occupational   20   establish a causal link between asbestos and
       21   settings where relative risks are higher."          21   ovarian cancer, you know, when in trying to look
       22       You agree with that; correct?                   22   at talcum powder products and ovarian cancer, you
       23       A. Yes.                                         23   know, one of the questions was constituents.
       24       Q. Then the second major limitation deals       24       And, you know, the IARC agrees that, or at
       25   with difficulties of diagnosis; is that right?      25   least opines that it is, causally, is a
                                                 Page 291                                                 Page 293
        1       A. Yes.                                          1   carcinogen and lists that and lists the Kamargo
        2       Q. Are you aware of the difficulties that        2   study as, you know, that asbestos causes ovarian
        3   have existed over time in distinguishing between     3   cancer.
        4   peritoneal mesothelioma and ovarian cancer?          4      Q. Well, the Camargo 2011 study
        5       A. Yes. As a general idea of -- you know,        5   acknowledges an inability to account for
        6   because they share histologic similarities.          6   nonoccupational risk factors for ovarian cancer
        7       Q. Did those difficulties affect the             7   other than age; correct?
        8   reliability of the studies?                          8      A. Again, if I can --
        9       A. Yes, but if you look at Table 2 of that       9      Q. Take a look. Sure.
       10   report, you see that, despite if you look at        10      A. These statements -- it's getting to the
       11   studies that review the ovarian pathology, you      11   end of the day, so...
       12   still see a statistically significant increased     12          MR. ZELLERS: Deposition Exhibit 31.
       13   risk of incidence of mortality from ovarian         13            (Article entitled "Occupational
       14   cancer. So, yes, overall studies, it's a higher     14      Exposure to Asbestos and Ovarian Cancer: A
       15   estimate, but even if you take into account         15      Meta-analysis" marked Exhibit 31.)
       16   mesothelioma diagnoses and misclassification, you   16   BY MR. ZELLERS:
       17   still cannot, you know, account that -- we still    17      Q. Deposition Exhibit 31 is the Kamargo
       18   are left with that asbestos causes, you know,       18   paper; is that right?
       19   ovarian cancer.                                     19      A. Yes.
       20       Q. The authors of the Reid paper that you       20      Q. This is another paper that you have
       21   reviewed and relied on, Exhibit 30, stated, "It     21   reviewed?
       22   has been particularly difficult to distinguish      22      A. Yes.
       23   between peritoneal mesothelioma and ovarian         23      Q. On the first page, the overview --
       24   serous carcinoma"; is that right?                   24      A. Yes.
       25           MS. PARFITT: Counsel, I'm sorry.            25      Q. -- it states, "Objective: A recent
                                                                              74 (Pages 290 to 293)
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                                                  Page 294                                               Page 296
        1   monograph working group of IARC conducted" -- or     1      Q. And you're not making a causal
        2   strike that -- "concluded that there is              2   assessment or determination --
        3   sufficient evidence for a causal association         3      A. No.
        4   between exposure to asbestos and ovarian cancer.     4      Q. -- on asbestos; is that right?
        5   We performed a meta-analysis to quantitatively       5      A. Yes.
        6   evaluate this association."                          6      Q. Okay. Under "discussion," Page 1215 --
        7       Is that right?                                   7      A. And I'm going to take a break after
        8       A. Yes.                                          8   that whenever you're done. I'm sorry. I need to
        9       Q. If you look at Page 1216, middle              9   use the restroom.
       10   column -- are you there?                            10      Q. That's okay. That's fine. That's
       11       So I'm looking at the second full paragraph     11   fine.
       12   above "conclusion."                                 12      Do you see under "discussion," this is on
       13       "A further limitation of our analysis was       13   the left-hand column, second full paragraph,
       14   its inability to account for nonoccupational risk   14   where they're talking about Edelman?
       15   factors for ovarian cancer other than age."         15      A. Yes.
       16       Do you see that?                                16      Q. And the authors state, "They concluded,
       17       A. And what do you mean by that? I mean,        17   however, that despite the positive and
       18   I didn't -- again, you know, I --                   18   significant association, there was insufficient
       19       Q. Let me just ask. Is that a                   19   information to infer that ovarian cancers were
       20   limitation --                                       20   caused by occupational exposure to asbestos
       21       A. Yeah.                                        21   because of concerns about tumor
       22       Q. -- on the analysis?                          22   misclassification, inappropriate comparison
       23       A. It is a limitation.                          23   populations and the failure to take into account
       24       Q. Hasn't failure to account for                24   for known risk factors."
       25   misclassification and known risk factors been       25      Is that --
                                                  Page 295                                               Page 297
        1   cited as a reason why causality cannot be            1       A. Again --
        2   established?                                         2       Q. You don't disagree with that, do you?
        3          MS. PARFITT: Objection.                       3       A. Yeah. I mean, I don't -- but I don't
        4       A. We can't rely on IARC. As you said,           4   disagree -- I mean, I'm relying on the IARC
        5   one said that it is possibly associated and here,    5   assessment and others that, you know, there's a
        6   when they haven't arrived at a -- I mean,            6   causal association between exposure. Again, I
        7   causality is just not about association in one.      7   did not review. I would have gotten and reviewed
        8   I mean, they have to look at other biological        8   evidence, Edelman and White and others, if I had
        9   mechanisms of asbestos and ovarian cancer, you       9   to do it over again.
       10   know, what happens in the lab, what happens -- I    10          MR. ZELLERS: Let's take a break.
       11   haven't done that evaluation.                       11   We'll come back and I'll finish up. Thank you.
       12       So, yes, this is a limitation. But this         12          THE VIDEOGRAPHER: Off the record,
       13   needs to be taken into account with, you know,      13   3:32 p.m.
       14   the entire body of evidence on asbestos and         14             (A recess was taken.)
       15   ovarian cancer.                                     15          THE VIDEOGRAPHER: Here begins Media
       16       Q. You're looking at and relying on             16   No. 5 in today's deposition of Sonal Singh, MD,
       17   papers, including Reid, Exhibit 30?                 17   M.P.H. Back on the record, 3:43 p.m.
       18       A. The IARC monographs.                         18   BY MR. ZELLERS:
       19       Q. And Kamargo, Exhibit 31; is that right?      19       Q. Dr. Singh, do you agree that exposure
       20       A. Yes. And, again, I'm clarifying that         20   to asbestos through perineal cosmetic talc use,
       21   I'm not making a causal determination on IARC,      21   assuming the talc contains asbestos fibers, is
       22   you know. I'm just relying on that, you know,       22   different than the heavy occupational exposure
       23   that I'm not -- first of all, I didn't set out to   23   that's primarily been researched?
       24   make a causal determination on asbestos and         24          MS. PARFITT: Objection to form.
       25   ovarian cancer.                                     25       A. Again, you know, I've not professed to
                                                                              75 (Pages 294 to 297)
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                                                 Page 298                                                 Page 300
        1   be an expert in different kinds and routes of        1   may do testing and provide antioxidants and
        2   asbestos exposure. My -- my sort of -- at least      2   substances which reduce the risk. So that will
        3   my understanding of my causal question was           3   have to be weighed.
        4   exposure to talcum powder products and ovarian       4      But I am not providing that causal link
        5   cancer and whether the constituents can provide      5   between the individual constituent and ovarian
        6   evidence in support or refute that association.      6   cancer.
        7       So, you know, whether asbestos exposure,         7      Q. And that would be true for any of the
        8   what different kinds, others will opine on that.     8   individual fragrance chemicals and heavy metals
        9       Q. Do you know what a cleavage fragment          9   that may be present in the baby powder; correct?
       10   is?                                                 10         MS. PARFITT: Objection.
       11       A. No. And we can go on on this kind of         11      A. I don't have that area of expertise on
       12   stuff, and I'll say no.                             12   individual constituents in products.
       13       Q. Do you know how it differs from an           13         MR. ZELLERS: I have no further
       14   asbestos fiber?                                     14   questions. Thank you.
       15       A. No. And I'm not a mineralogist.              15         THE WITNESS: Thank you for your time.
       16       Q. If I ask you a whole line of questions       16         (Discussion off the record.)
       17   about different types of asbestos, you're going     17         THE WITNESS: Thank you.
       18   to defer to other folks?                            18         MR. ZELLERS: Thank you, Doctor.
       19       A. Yes.                                         19         MR. KLATT: Give me a minute to get
       20       Q. Is there any epidemiology                    20   organized here, Doctor.
       21   substantiating the theory that fragrance            21         THE WITNESS: Sure.
       22   ingredients can cause ovarian cancer?               22         MR. KLATT: Are we off the record?
       23       A. I'm not aware of such studies.               23         THE VIDEOGRAPHER: No.
       24       Q. Is there any epidemiology                    24         MR. LOCKE: Let's go off the record,
       25   substantiating the theory that exposure to trace    25   then.
                                                 Page 299                                                 Page 301
        1   amounts of the heavy metals at issue can cause       1          THE VIDEOGRAPHER: Off the record,
        2   ovarian cancer?                                      2   3:47 p.m.
        3       A. I'm not aware of -- you know, again, I        3            (A recess was taken.)
        4   didn't do the evaluation, trace the specific         4          THE VIDEOGRAPHER: Back on the record,
        5   constituents of ovarian cancer. I just was           5   3:51 p.m.
        6   trying to understand the constituents, what are      6              CROSS-EXAMINATION
        7   they. I just, you know, whether trace -- trace       7   BY MR. KLATT:
        8   elements cause inflammation and -- you know, but     8       Q. Good afternoon, Dr. Singh. My name is
        9   I am not aware of studies that link them directly    9   Mike Klatt, and I represent Imerys Talc America
       10   to ovarian cancer.                                  10   in this case.
       11       Q. You're not opining in this case that         11       Have you ever heard of Imerys Talc America
       12   the fragrance chemicals and heavy metals that may   12   before you got involved in this case?
       13   be present in baby powder are causally associated   13       A. I have, but, you know, I don't know in
       14   with ovarian cancer.                                14   what context and what, you know.
       15          MS. PARFITT: Objection.                      15       Q. Do you know what Imerys Talc America
       16       Q. Correct?                                     16   does?
       17          MS. PARFITT: Form.                           17       A. I don't know all the details of the
       18       A. Yes. I'm not -- again, I'm not opining       18   activities or, you know, Imerys.
       19   on the individual constituents of talcum powder     19       Q. As you know, Mr. Zellers has covered a
       20   products. My opinion is, you know, I look at the    20   fair amount of ground already. And so I'm going
       21   exposure and the exposure is talcum powder          21   to skip around just to ask you some follow-up
       22   products, and the presence of constituents, some    22   questions.
       23   of which are identified as, you know, Grade 1       23       You said earlier today, when you were
       24   carcinogens, others as Grade 2, provide evidence    24   talking to Mr. Zellers, that you potentially
       25   in support, and others may -- you know, others      25   intended to write up something about talc and
                                                                              76 (Pages 298 to 301)
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                                                 Page 302                                                 Page 304
        1   ovarian cancer?                                      1   subject; correct?
        2       A. Sure.                                         2           MS. PARFITT: Objection. Form.
        3       Q. And I just wanted to get a better             3        A. I mean, depending -- I don't know the
        4   understanding of what you were referring to.         4   specifics on arrangement, but the question is,
        5       A. Yeah. So after, sort of -- and I'm not        5   you know, as long as the disclosure is
        6   going to do it until this is all over, because I     6   transparent, and as long as, you know, the
        7   feel that there, you know, I have access to          7   funding mechanisms, what was the reasons, yeah.
        8   documents that are -- that are sort of protected     8   So it's not like they have commissioned this
        9   by court order.                                      9   review.
       10       But partly what I'm thinking of is -- like      10        I mean, first of all, I have just thought
       11   there have been so many systematic reviews and      11   about it. I haven't even done it. I'm not sure
       12   meta-analyses that I was thinking more on the       12   I'll do it with my time. But you would have to
       13   kind of like an umbrella review of all these        13   disclose that, yeah.
       14   reviews that I cite in my report and with, you      14        Q. But my question, and, again, I think
       15   know, some of the rating of reviews.                15   we'll go quicker if we just focus on the question
       16       And then -- and that's sort of my thinking,     16   asked and the answer to that question.
       17   was that what I would do is synthesize the          17        But my question is: It's entirely
       18   evidence, that -- what I do best is synthesize      18   appropriate for companies to contact and retain
       19   the evidence from other studies in trying to --     19   outside experts to advise them and then to
       20   you know, so it would be separate from, like,       20   publish articles in the literature.
       21   because he asked the question, would you do a       21        You've done it yourself; correct?
       22   systematic review? You know, meta-analysis. No.     22           MS. PARFITT: Objection. Form.
       23   Because there have been so many already.            23           You may answer.
       24       Q. Have you undertaken that project yet or      24        A. Yeah. I have actually been, you know,
       25   is this just something you're thinking of?          25   I have worked with Eli Lilly on systematic
                                                 Page 303                                                 Page 305
        1       A. Yeah. I'm thinking about --                   1   reviews of diabetes medications.
        2       Q. I'm sorry. Let me finish.                     2       And -- to a point of clarification, I was
        3       This is something you're just thinking about     3   not paid by them, but I was an expert on that,
        4   doing in the future?                                 4   which is sort of a strange arrangement; right?
        5       A. In the future. But I have                     5   You don't get paid, but you're still working for.
        6   conceptualized, if I were to do that, that's what    6   But, you know, that's my area of expertise. So,
        7   I would do.                                          7   yeah, companies hire and that's how science
        8       Q. And if you do do that, you would be           8   works.
        9   obliged, would you not, to disclose to whatever      9       Q. And, for example, if you contacted your
       10   entity, body, journal, that you submitted this      10   institution, the University of Massachusetts
       11   work to, that you had been a retained, paid         11   Medical Center, about this ovarian cancer risk
       12   expert by plaintiffs in the talc ovarian cancer     12   factors web pages that they have, and you had any
       13   litigation; correct?                                13   input on that, you would disclose that you're a
       14       A. Yeah. And that's been my standard            14   paid plaintiffs' expert in talc ovarian cancer
       15   practice. If you go back and look at my papers,     15   litigation; correct?
       16   you know, my papers on SGLT2 inhibitors, I've       16       A. Well, so to do that, I don't know where
       17   disclosed that I was funded by, you know,           17   that web page came from. I didn't contact them.
       18   Janssen. You know, a paper on statins that I        18   Yes, but, you know, I'm not trying. So I don't
       19   wrote last year, I was a paid expert.               19   know if you're thinking about like the up-to-date
       20       So it's just standard practice for us to do     20   example. I didn't want to change. I was just
       21   that.                                               21   providing them references.
       22       Q. And now that you bring that up, there's      22       But, yes, if I was trying to make changes to
       23   absolutely nothing wrong with a company like        23   a document that that's on, you know, I'm trying
       24   Janssen or any other company hiring an outside      24   to write something up, then if you look at my
       25   expert to advise them and to publish on a certain   25   letter, it's just a contact point. If I'm trying
                                                                              77 (Pages 302 to 305)
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                                                 Page 306                                                 Page 308
        1   to write something up and say, you know what, it     1   on time and other considerations.
        2   increases the risk of cancer, decreases, then,       2       Q. And, again, focusing my question very
        3   yes, I'd disclose that.                              3   specifically, the case-control studies on talc
        4      Q. And just to go over that point --              4   and ovarian cancer, the cohort studies on talc
        5      A. Yeah.                                          5   and ovarian cancer, the meta-analysis on talc and
        6      Q. -- when you wrote the editor about Up          6   ovarian cancer that you've reviewed in this case
        7   To Date, suggesting that they update their           7   and that you've cited in your expert report in
        8   website regarding talc and ovarian cancer, you       8   this case, none of those are bound by a
        9   did not disclose that, at that time, you were a      9   protective order that would prevent you from
       10   paid retained plaintiffs' expert; is that           10   reading them, analyzing or publishing on them;
       11   correct?                                            11   correct?
       12      A. Yes. But I asked them to clarify that         12       A. None of them are restrictive.
       13   this was just to update the references, if you      13   Everybody has access. I had, too.
       14   look at them.                                       14       Q. Okay. You talked briefly about the
       15      Q. Now, going back to what this                  15   Centers for Disease Control this morning.
       16   conceptualizing you're having of potentially one    16       A. Yes.
       17   day publishing something about talc and ovarian     17       Q. Have you ever worked with them?
       18   cancer, okay, that's what I'm asking about.         18       A. No. I've applied for grants with them,
       19      Are we on the same page?                         19   and I wasn't funded, but I'm aware of them.
       20      A. Yeah.                                         20   Yeah.
       21      Q. Wait. I just want you to know what I'm        21       Q. Have you ever conducted a
       22   asking about. Okay?                                 22   population-based, case-control study yourself?
       23      A. Okay.                                         23       A. Yes.
       24      Q. Now, you would agree with me, you             24       Q. As principal investigator?
       25   mentioned this morning there were confidentiality   25       A. Yes.
                                                 Page 307                                                 Page 309
        1   orders in place. But you'd admit that all of the     1       Q. Have you done so for cohort studies?
        2   case-control epidemiology and all the cohort         2       A. No. Not a cohort study.
        3   epidemiology and all the meta-analysis that          3       Q. Could we go to Langseth, whatever
        4   you've reviewed are all out there in the             4   exhibit number that is?
        5   published literature; correct?                       5          MR. TISI: I've got it. It's
        6       A. The majority of them, studies are,            6   Exhibit 21. I've got a copy of it here.
        7   yeah. I mean, Taher is not out in the                7          MS. PARFITT: Yeah. I know.
        8   literature. It's still in somewhere.                 8          MR. TISI: Do you mind me giving our
        9       Q. There's no -- there's no meta-analysis        9   copy?
       10   cohort study or case-control study you're aware     10          MR. KLATT: No. Not at all.
       11   of that is controlled or -- by some sort of         11   BY MR. KLATT:
       12   protective order that would limit you citing it     12       Q. I just have a few more questions. You
       13   in some sort of review; correct?                    13   were already asked about Langseth, but I just
       14          MS. PARFITT: Objection. Form.                14   have a few more questions for you.
       15       A. So, first of all, yeah. As you know,         15       At the time the Langseth study was
       16   Taher is sort of not published. So I don't know     16   published, you would agree with me, Doctor --
       17   how much of the data you can use.                   17          MS. PARFITT: I'm sorry, Mike. I
       18       But in terms of protective, I don't know all    18   didn't hear your question. I'm sorry.
       19   the rules about what you can use and not use.       19       Q. Yeah. Let me start over.
       20   So, I mean, it's just more my unfamiliarity with    20          MS. PARFITT: I appreciate that.
       21   the process, but nothing -- if you're asking the    21       Q. I'm talking about the Langseth paper
       22   question, is something preventing me from doing     22   that we've marked as Exhibit 21; is that correct?
       23   that? No.                                           23   It was published in 2008 by the IARC working
       24       Q. Okay.                                        24   group members; correct?
       25       A. Can I go ahead and do it? It depends         25       A. Yes. Some of the members. I suspect
                                                                              78 (Pages 306 to 309)
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                                                 Page 310                                                 Page 312
        1   the group is much larger than these folks.           1   it, in and of itself, was not statistically
        2       Q. Well, these happened to be                    2   significant; correct?
        3   epidemiologists on the IARC working group;           3           MS. PARFITT: Object to the form.
        4   correct?                                             4        A. Yes. But it was consistent with the
        5       A. I don't know all their qualifications.        5   overall estimates.
        6       Q. Do you know any of those people               6        Q. And the cohort study didn't show an
        7   personally who are listed as authors on              7   increased risk. And the two cohort studies since
        8   Exhibit 21?                                          8   Langseth have not shown an increased risk of
        9       A. No.                                           9   ovarian cancer in talc users; correct?
       10       Q. I'll represent to you that they're           10           MS. PARFITT: Objection. Misstates the
       11   epidemiologists. You would agree with me, that      11   evidence.
       12   if you turn over to Page 2, they listed 14          12        A. I see that, A, two of the cohort
       13   population-based, case-control studies up at the    13   studies have showed an excess risk, which is not
       14   top, and then they had six more hospital-based,     14   statistically significant. One study has showed
       15   case-control studies; correct?                      15   statistically significant increased risk, and the
       16       A. Yes.                                         16   third studies have showed, you know, risk
       17       Q. At this time, there was one cohort           17   estimates lower than one, but their upper bounds
       18   study all on the subject of talc and ovarian        18   are entirely consistent with what we see here and
       19   cancer at the time; correct?                        19   subsequent to this.
       20       A. Yes.                                         20        Q. So the population-based, case-control
       21       Q. You would admit that the                     21   studies collectively show an increased risk. But
       22   population-based, case-control studies did not,     22   they're inconsistent; correct?
       23   consistently across the board, show a               23        A. No.
       24   statistically significant increased risk            24           MS. PARFITT: Objection.
       25   according to the table in Exhibit 21, the           25        A. I mean, let's go to Penninkilampi. I
                                                 Page 311                                                 Page 313
        1   Langseth paper. Some were statistically              1   mean, they clearly opine that --
        2   significant, and others were not; correct?           2       Q. I'm asking you about Langseth.
        3       A. Yeah. But I mean, I don't view                3       A. Why are we looking at 2008 when we are
        4   statistical significance as --                       4   in 2019?
        5       Q. Doctor --                                     5       Q. Because I'm asking the questions.
        6       A. -- areas of consistency.                      6       A. Okay.
        7       Q. Doctor, I just asked whether they were        7       Q. You would agree with me that, of the
        8   statistically significant.                           8   three study designs, cohort studies,
        9       A. No. All of them were not statistically        9   hospital-based, case-control studies and
       10   significant.                                        10   population-based, case-control studies, only one
       11       Q. And we're talking about the 14               11   of those three study designs shows an overall
       12   population-based, case-control studies in the       12   increased risk of ovarian cancer in talc users;
       13   Langseth paper as of 2008; correct?                 13   correct?
       14       A. Yes. But I view them as consistent.          14           MS. PARFITT: Objection. Misstates the
       15       Q. And the hospital-based, case-control         15   evidence.
       16   studies that are on Page 2 of the Langseth paper,   16       A. No. I mean, at least at that time, you
       17   the six -- the hospital-based, case-control         17   had one, you know, cohort study. I believe that
       18   studies, none of them were statistically            18   all of them show an excess risk, which is
       19   significant; correct?                               19   consistent. Two of those study designs that
       20       A. Yes. But I still view them as                20   you're talking about, the hospital based and the
       21   consistent with the overall findings.               21   cohort, did not show a statistically significant,
       22       Q. And, in fact, when they did a                22   which I still believe a significant excess that's
       23   meta-analysis of the hospital-based, case-control   23   consistent.
       24   studies, that meta-analysis that added all          24       Q. And you said earlier that you consider
       25   hospital-based, case-control studies together,      25   and use the Bradford Hill considerations;
                                                                              79 (Pages 310 to 313)
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                                     Sonal Singh, M.D., M.P.H.
                                                 Page 314                                                 Page 316
        1   correct?                                             1   things you had reviewed was an Exhibit 47 to
        2      A. Sorry. Just give me a second.                  2   Imerys employee Julie Pier's deposition.
        3      Yeah. The Bradford Hill overviews as one.         3      Do you recall that?
        4      Q. And you know, Sir Bradford Hill himself        4      A. Yes. If you can show me that.
        5   said that, in evaluating consistency, you have to    5          MR. KLATT: Sure.
        6   look at consistency across different study           6          THE WITNESS: Thank you.
        7   designs; correct?                                    7          MR. KLATT: I'm sorry. I'm sorry.
        8      A. Yeah. And times and places and other           8          THE WITNESS: Exhibit --
        9   things.                                              9          MR. KLATT: Yeah. Let's mark it as the
       10      Q. But I'm correct that Dr. Bradford or          10   next exhibit. And that would be 33; is that
       11   Sir Bradford Hill said that you have to look at     11   correct?
       12   consistency across different study designs;         12          MS. PARFITT: 32.
       13   correct?                                            13          COURT REPORTER: Here is 32 that you
       14      A. That's what I state in my testimony, as       14   haven't used.
       15   well in my report cites that specific phrase,       15          MR. KLATT: Let me do this. Yes. That
       16   consistency across study designs, times and         16   will be 32.
       17   places. So I am not -- you know, I am, in fact,     17            (Chart marked Exhibit 32.)
       18   quoting him when I cite that.                       18          MR. TISI: The chart?
       19      Q. You said, on Page 15 of your report,          19          MR. KLATT: Yes.
       20   that, "Talc-based body powders are used             20   BY MR. KLATT:
       21   habitually for months or years rather than just a   21      Q. I'm going to show you what's been
       22   single application"; correct?                       22   marked as Exhibit 32 to this deposition. But for
       23      A. Where is that?                                23   future record references, it also has, in the
       24          MS. PARFITT: Page 15.                        24   upper right-hand corner, a photocopy, Exhibit
       25      Q. Page 15.                                      25   No. 47; correct?
                                                 Page 315                                                 Page 317
        1       A. Where is that? I'm sorry. Which part          1       A. Yeah.
        2   of it? 15. I know I have 15. Is it the last          2       Q. Exhibit 47 was the exhibit number at
        3   paragraph or --                                      3   Ms. Pier's deposition, and Exhibit 32 is the
        4          MS. PARFITT: Yeah.                            4   exhibit number we're marking this today; correct?
        5       A. I don't see -- okay. Yeah.                    5       A. Okay.
        6       Q. And what did counsel just point out to        6       Q. Would you agree with me that you don't
        7   you?                                                 7   have the expertise or knowledge to tell me that
        8       A. Yeah. I saw that. That's correct.             8   any of the samples on Exhibit 32 to today's
        9       Q. And can you read what you said there?         9   deposition show asbestos in Imerys talc that
       10       A. "Talcum powder products are used             10   ended up in Johnson & Johnson's baby powder, do
       11   habitually for months or years rather than a        11   you?
       12   single application or single body."                 12          MS. PARFITT: Objection.
       13       Q. Would you flip over to Page 54 of your       13       A. I mean, it says, you know,
       14   report, please. In Paragraph 6 there, you say,      14   anthophyllite -- yeah. I mean, I don't have
       15   in the third sentence that, "Recall bias is less    15   asbestos expertise here.
       16   likely to occur for chronic daily exposures such    16       Q. Let's -- you understand that most of
       17   as talc"; correct?                                  17   these samples, the source of these samples isn't
       18       A. That's, you know, that's my                  18   even identified?
       19   understanding.                                      19          MS. PARFITT: Objection. Form.
       20       Q. Talc, in your estimation, is a chronic       20       A. Yeah. But -- but, actually, can I
       21   daily exposure; correct?                            21   answer that?
       22       A. That's how -- that's my understanding        22       So, for example, separate from the source, I
       23   that, you know, women are using it.                 23   mean, I understand that it says chrysotile
       24       Q. You, in response to Mr. Zellers'             24   asbestos for the first one. It says serpentine.
       25   questions earlier today, said that one of the       25   It says chrysotile.
                                                                              80 (Pages 314 to 317)
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                                                 Page 318                                                 Page 320
        1       Q. And where on that first one, and we're        1   on your report where I think you refer to it.
        2   looking at the very first line across the top of     2      A. I know it's in the biologic
        3   Exhibit 32 --                                        3   plausibility section somewhere.
        4       A. Sure.                                         4      Q. Look on page -- I believe it's Page 61
        5       Q. -- where in the world does it say that        5   of your report.
        6   that was a sample of talc that ended up in           6      A. Yes.
        7   Johnson & Johnson's talc-based body powder           7      Q. No. I'm sorry. It's Page 59 of your
        8   products?                                            8   report. And it's the third paragraph down.
        9       A. Well, my understanding, and I can share       9      A. Mm-hmm.
       10   that, that this was -- this was that -- that        10      Q. And you say, in the middle of the third
       11   testimony was given that this was a testing of      11   paragraph, "In studies of human mesothelial
       12   mines that was being mined by Imerys or -- I        12   cells, both nonfibrous talc and asbestos have
       13   mean, that contained asbestos.                      13   shown evidence of genotoxicity," and the
       14       Whether it ended up in baby powder was not      14   reference is 109, and my understanding is
       15   the question. The question was: Does talc           15   reference 109 is the Shukla paper published in
       16   contain asbestos?                                   16   2009; correct?
       17       Q. Did plaintiffs' counsel ask you to make      17      A. Where are you referring? I'm sorry.
       18   that assumption?                                    18   In Page 59?
       19       A. No. No.                                      19      Q. Page 59 of your report, third
       20       Q. Okay. Well, then, I'm confused,              20   paragraph.
       21   because Imerys and its predecessors have tested     21      A. Yeah.
       22   literally thousands of samples of talc from         22      Q. Second sentence.
       23   competitors, from their own mines, from mines       23      A. Yeah. It says here, should be Shukla.
       24   that are never used for cosmetic purposes or baby   24   Yeah.
       25   powder, so how can you tell me that the first       25      Q. Did you read the Shukla paper?
                                                 Page 319                                                 Page 321
        1   sample on Exhibit 32 has anything to do with baby    1       A. I read -- you know, I didn't read it
        2   powder?                                              2   line by line. But, yes, I read it.
        3       A. Well, I'm not telling you anything to         3       Q. You know the Shukla paper has nothing
        4   do with baby powder. My question is that, you        4   to do with genotoxicity; correct?
        5   know -- that what constitutes talcum powder          5       A. I mean, we can look at it.
        6   products. And based on this and, you know, talc      6       Q. Sure. It's about gene expression;
        7   is mined together with all these other particles,    7   correct?
        8   I wanted to know, what are the results.              8           MS. PARFITT: Let's take a moment,
        9       And at least based on my understanding of        9   Mr. Klatt, see if he can look at the study here.
       10   these results, again, I'm not a mineralogist,       10       Q. Do you have it handy, Doctor?
       11   they can argue whether the amount of asbestos is    11       A. No. I don't.
       12   significant or, you know, these fibers, chromium,   12           MS. PARFITT: What is he referencing,
       13   cobalt, nickel are significant. My understanding    13   109?
       14   is that these particles are present.                14       A. Shukla. I mean, it might be in my
       15       Q. Can you tell me, based on your own           15   files.
       16   knowledge or expertise, that any sample listed on   16       Q. Well, I apologize. I thought I brought
       17   Exhibit 32 was from talc that ended up in           17   an extra copy, but I don't think I have one with
       18   Johnson & Johnson's baby powder or Shower to        18   me.
       19   Shower talcum powder products?                      19           (Discussion off the record.)
       20       A. No. I cannot.                                20       Q. Well, just look at the title. The
       21       Q. Okay. You referred in your report to         21   title is "Alterations in Gene Expression in Human
       22   the Shukla paper; correct?                          22   Mesothelial Cells Correlates with Neural
       23       Do you recall that?                             23   Pathogenicity." Correct?
       24       A. Show it to me. It's been a while.            24       A. Yes. I remember that title and
       25       Q. Sure. I'm going to give you the page         25   abstract. Yes.
                                                                              81 (Pages 318 to 321)
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                                                 Page 322                                                 Page 324
        1       Q. Gene expression is something that             1   common in these lawsuits, wasn't associated with
        2   occurs in our bodies every day; correct?             2   pelvic inflammatory disease; correct?
        3   Trillions of times every day; correct?               3      A. Again, I don't remember the papers.
        4       A. Yeah. Yeah.                                   4   Sorry.
        5       Q. And changes in gene expression, in and        5      Q. All right. Well, it's on Page 58 of
        6   of themselves, don't establish genotoxicity;         6   your report and it's reference 122.
        7   correct?                                             7      A. Which page of my report?
        8       A. Yeah. And I'm not -- again, this, you         8      Q. Page 58 of your report that cites
        9   know, in the section on biologic plausibility,       9   reference 122.
       10   I'm not making this argument that talc is an        10          MS. PARFITT: Here's the article.
       11   established mutagen and, you know, whether it's a   11      Q. Do you see the reference?
       12   genotoxic or nongenotoxic carcinogen. I'm just      12      A. Yeah. Yeah.
       13   citing the studies.                                 13      Q. Do you see the reference in your
       14       So, I mean, again, I don't have that            14   report?
       15   expertise, and, you know, does it provide           15      A. Sure.
       16   evidence for or against biological plausibility     16      Q. And reference 122 is to the Rasmussin
       17   mechanisms.                                         17   paper from 2017 on pelvic inflammatory disease
       18       Q. Okay. But you don't have the expertise       18   and ovarian cancer; correct?
       19   to judge that; correct?                             19      A. Yeah. And my citation is correct. I
       20          MS. PARFITT: Objection.                      20   mean, about borderline ovarian. I don't misquote
       21       A. No. I have expertise to judge whether        21   the study.
       22   these studies suggest evidence of, you know,        22      Q. I didn't say you misquoted it, but the
       23   changes and we should probably just look at it --   23   study does stand for the proposition that the
       24   give me a second.                                   24   most common form of ovarian cancer, both in the
       25       Q. Sure.                                        25   U.S. and in these lawsuits, high-grade serous
                                                 Page 323                                                 Page 325
        1           MS. PARFITT: Give me a second.               1   ovarian cancer is not associated with pelvic
        2       Q. My specific question is you cited             2   inflammatory disease; correct?
        3   Shukla for evidence of genotoxicity, but it says     3       A. Where does it show that? I didn't --
        4   nothing whatsoever about genotoxicity, does it?      4       Q. Can you go to the "Discussion" section.
        5       A. We have to look at the paper before we        5       A. Again, you know, my view of
        6   say that.                                            6   inflammation was, you know, I was looking for
        7       It's 109. Yeah. Let me look in my binder.        7   evidence for or against. And, you know, I wasn't
        8   I think I have all the studies.                      8   disaggregating by ovarian cancer subtype, but I'm
        9       Q. Doctor, I'll represent to you, in the         9   happy to look at it.
       10   interest of time, I've searched the Shukla paper,   10          MS. PARFITT: Mark, do you have a page
       11   and the word "genotoxicity" or "mutagenicity" is    11   in the article?
       12   never mentioned in the paper.                       12          MR. KLATT: I don't know if we have the
       13       A. I -- I don't want to deny that. It may       13   same pagination, but my page is --
       14   be. I just feel that I wouldn't have used that      14          MS. PARFITT: Here. I got it. It's 29
       15   term had I not seen it there.                       15   of 33.
       16       Q. In the interest of time, rather than         16          MR. KLATT: I believe that's right.
       17   wasting time, let's move on.                        17          MS. PARFITT: Okay.
       18       You'd agree with me that pelvic inflammatory    18          MR. KLATT: It's the "Discussion"
       19   disease is chronic inflammation of the ovaries,     19   section.
       20   fallopian tubes and peritoneum; correct?            20          MS. PARFITT: Yes.
       21       A. Yes.                                         21   BY MR. KLATT:
       22       Q. And, yet, you cited the Rasmussin            22       Q. And if you look at the "Discussion"
       23   paper, and the Rasmussin paper says that            23   section, Doctor --
       24   high-grade serous ovarian cancer, which is the      24       A. Yes.
       25   most common form of ovarian cancer and the most     25       Q. -- it starts -- the very first
                                                                              82 (Pages 322 to 325)
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                                                Page 326                                                 Page 328
        1   paragraph starts with "to our knowledge";           1       Q. So the paper you cited, the 2017
        2   correct?                                            2   Rasmussin paper on pelvic inflammatory disease
        3      A. Yeah.                                         3   and ovarian cancer is inconsistent with the
        4      Q. Okay. Go down one, two, three, to the         4   theory that chronic inflammation causes
        5   fourth paragraph starting with "in the present      5   high-grade serous ovarian cancer; correct?
        6   study"?                                             6       A. Let's go to Paragraph 3.
        7      A. Sure.                                         7       Q. Could you just answer my question?
        8      Q. And in that paragraph, tell me if I           8       A. Yeah. I'm trying to.
        9   correctly quote this sentence.                      9          MS. PARFITT: Objection.
       10      "Conversely, no convincing associations         10       A. No. It isn't inconsistent.
       11   between PID," which is pelvic inflammatory         11       Because if you look at Paragraph 3, they
       12   disease, "and the risk of high-grade serous,       12   state, "Furthermore, we observed similarly
       13   mucinous, clear cell or endometrioid ovarian       13   increased risks of serous and mucinous borderline
       14   cancer were noted in the main analysis."           14   tumors associated with PID status. Furthermore,"
       15      Did I read that correctly?                      15   and they also state, "Sensitivity analysis
       16      A. Yes.                                         16   revealed statistically significant increased risk
       17      Q. And then if you go down to the very          17   of low-grade serous and endometrial when using
       18   next paragraph that begins with "nevertheless."    18   data from the North American..."
       19      A. Yeah. I see that, but I --                   19       So I don't think your -- and concerning the
       20      Q. Wait. Wait.                                  20   histologic subtypes, indications of risk of
       21      A. No. No. I need to answer your                21   low-grade serous cancers were noted in the main
       22   question.                                          22   analysis. I wasn't disaggregating. But this
       23      Q. I'm just asking you, first of all, if        23   entirely consistent with what I quote here, that
       24   I'm reading this correctly.                        24   you increase serous type and you increase
       25      A. Sure.                                        25   low-grade type and you increase histologic.
                                                Page 327                                                 Page 329
        1      Q. In the next paragraph that begins with        1      You are trying to disaggregate this into a
        2   "nevertheless," do you see what I'm talking         2   high-grade serous. I don't know what's in the
        3   about?                                              3   lawsuit. I'm really not opining on --
        4      A. Yeah.                                         4      Q. I'm not trying to disaggregate
        5      Q. There's a sentence that says,                 5   anything, Doctor. I'm saying Rasmussin, the
        6   midparagraph, "In contrast, no associations         6   study that you --
        7   between pelvic inflammatory disease and             7      A. Yeah.
        8   high-grade serous ovarian cancer were observed";    8      Q. The study that you chose to cite --
        9   correct?                                            9      A. Sure.
       10      Did I read that correctly?                      10      Q. -- in your article indicates there's no
       11      A. Our results suggest -- I'm sorry.            11   association between pelvic inflammatory disease
       12   Where --                                           12   that is a chronic disease of the female
       13      Q. In contrast. Do you see the sentence         13   reproductive tract and high-grade serous ovarian
       14   that says "in contrast"?                           14   cancer; correct?
       15      A. Where was it? Is it in the same              15      A. And the same --
       16   paragraph?                                         16          MS. PARFITT: Objection is.
       17      Q. It's the paragraph starting with             17      A. -- study showed an increase risk of --
       18   "nevertheless, our results."                       18      Q. Is that correct?
       19      A. Yeah. But it says differentially.            19          MS. PARFITT: Let him finish, please.
       20   Where does it say in contrast? In contrast.        20      A. -- between PID and serous ovarian
       21   Yeah.                                              21   cancer. So it sort of is -- is consistent with
       22      Q. Okay. Can you read that sentence?            22   my hypothesis of inflammation and ovarian cancer.
       23      A. "In contrast, no associations between        23      I was not disaggregating histologic
       24   PID and high-grade serous ovarian cancers were     24   subtypes.
       25   observed."                                         25      Q. My question is not about low-grade
                                                                             83 (Pages 326 to 329)
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                                                 Page 330                                                  Page 332
        1   serous that doesn't occur very often. My             1   cancer. So if we disaggregate it, then we have
        2   question is about high-grade serous ovarian          2   to disaggregate the way they have defined it.
        3   cancer in the evidence from the Rasmussin paper,     3       Q. And when we disaggregate, you come to
        4   and they say clearly twice, that pelvic              4   the conclusion that inflammation is associated
        5   inflammatory disease is not associated with          5   with borderline ovarian cancer. But, in
        6   high-grade serous ovarian cancer; is that            6   fairness, you have to come to the conclusion that
        7   correct?                                             7   inflammation is not associated with high-grade
        8       A. That's what they state in the study.          8   serous ovarian cancer?
        9   But they also state clearly that serous ovarian      9          MS. PARFITT: Objection.
       10   cancer is associated with PID status. So that's     10       Q. If you're being objective; correct?
       11   also clearly stated.                                11          MS. PARFITT: Objection. Misstates
       12       Q. And if, indeed, as they state, there is      12   testimony.
       13   no association between high-grade serous ovarian    13       A. I am being objective. I am providing
       14   cancer and pelvic inflammatory disease, that's      14   that they conclude, not I conclude, that, you
       15   inconsistent with the theory that inflammation      15   know, inflammation is PID, you know, it's just
       16   causes high-grade serous ovarian cancer; correct?   16   one aspect of inflammation. PID is associated
       17          MS. PARFITT: Objection. Form.                17   with serous ovarian cancer. And, yes, it is not
       18       A. So, again, you know, first of all, you       18   associated with high-grade epithelial ovarian
       19   know, I -- other people will opine to the           19   cancer.
       20   biologic sort of arguments about inflammation and   20       Q. You talked with Mr. Zellers earlier
       21   ovarian cancer. And I did not disaggregate          21   today about recall bias, correct, and how it can
       22   specific, and I don't think this study is           22   operate in case-control studies?
       23   inconsistent with what I state here. And I note     23       A. I don't recall the details.
       24   that borderline ovarian cancer.                     24       Q. But you recall the subject was
       25       So this is entirely consistent with the         25   discussed --
                                                 Page 331                                                  Page 333
        1   inflammation hypothesis. And I just, you know --     1      A. Yes.
        2      Q. In your report, you cited what you             2      Q. -- correct?
        3   thought was consistent with the inflammation         3      A. Yes. And I'm going to take a break in
        4   theory, but you didn't cite the evidence from        4   a minute.
        5   Rasmussin that was inconsistent with the             5      Q. Sure. Do you know if, in any of these
        6   inflammation theory; correct?                        6   case-control studies -- well, let me back up.
        7          MS. PARFITT: Objection.                       7      A case-control study takes a group of cases
        8      A. No. I was not disaggregating to the            8   which are women with -- who already have ovarian
        9   level of each histologic subtype.                    9   cancer, and interviews them; correct?
       10      Q. Well, didn't -- in your report, on            10      A. Yes.
       11   Page 58 --                                          11      Q. And then it takes a group of controls
       12      A. Yeah.                                         12   and, in the context of a population-based
       13      Q. -- didn't you make the specific point         13   case-control study, those controls are healthy
       14   that Rasmussin said inflammation was associated     14   women out in the community; correct?
       15   with low-grade cancer?                              15      A. Yeah. In the context of -- yes.
       16      A. No. It just said increased risk of            16      Q. Do you know if any of these
       17   borderline ovarian cancer.                          17   case-control studies, when they were interviewing
       18      Q. Okay. Borderline. That's a specific           18   the case women who had ovarian cancer, asked them
       19   type of ovarian cancer.                             19   when they entered the study, "Do you have any
       20      A. Sure.                                         20   preconceived notions about what might have caused
       21      Q. So you did disaggregate in your report,       21   your ovarian cancer?"
       22   didn't you?                                         22      A. I didn't review that specific question.
       23      A. Sure. Yeah, but I mean, if you look at        23      Q. Wouldn't that be an important question
       24   the study, and we want to disaggregate it, the      24   to ask? Because if a woman already has a
       25   study still shows a risk of serous ovarian          25   preconceived notion from research or word of
                                                                              84 (Pages 330 to 333)
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                                                 Page 334                                                Page 336
        1   mouth what might cause her ovarian cancer, that      1   eliminate for the possibility of recall bias.
        2   may bias the results; correct?                       2   Others may design it differently.
        3         MS. PARFITT: Objection.                        3          THE WITNESS: I'm going to take a
        4      A. There's lots of different questions you        4   break.
        5   could ask them. You know, I would have, if I had     5          MR. KLATT: Sure.
        6   designed a study, I would have asked many other      6          THE VIDEOGRAPHER: Off the record,
        7   questions.                                           7   4:30 p.m.
        8      Q. And would you have asked that one, "Do         8            (A recess was taken.)
        9   you have preconceived notions as to what might       9          THE VIDEOGRAPHER: Back on the record.
       10   have caused your ovarian cancer," before you        10   4:36 p.m.
       11   entered the study?                                  11   BY MR. KLATT:
       12      A. I don't -- you know, I don't -- I             12      Q. Doctor, are you board certified in
       13   haven't thought about that conceptual or new        13   epidemiology?
       14   study. I'm not sure that is that important          14      A. No.
       15   question to ask.                                    15      Q. Are you a member of the American
       16      Q. It wouldn't be an important question to       16   College of Epidemiology?
       17   ask women entering a study, a case-control          17      A. No.
       18   study --                                            18      Q. Are you a member of the Society for
       19      A. Sure.                                         19   Epidemiologic Research?
       20      Q. -- women who have ovarian cancer, "Do         20      A. No.
       21   you have a preconceived notion about what caused    21          MR. KLATT: All right. I'm going to
       22   your ovarian cancer?"                               22   turn it over to Mr. Locke. Thank you for your
       23      A. You know, I've done -- designed               23   time.
       24   case-control studies of etiology cases and          24          THE WITNESS: Thank you.
       25   outcomes. I've never asked the participants         25          THE VIDEOGRAPHER: Off the record,
                                                 Page 335                                                Page 337
        1   about what is your preconceived notions about        1   4:36 p.m.
        2   certain outcomes.                                    2            (A recess was taken.)
        3       I mean, I'm just trying to understand, why       3          THE VIDEOGRAPHER: Back on the record,
        4   would you ask that, because --                       4   4:38 p.m.
        5       Q. Because you're trying to eliminate bias       5              CROSS-EXAMINATION
        6   from the study; correct?                             6   BY MR. LOCKE:
        7       A. Yeah.                                         7       Q. Doctor, my name is Tom Locke. I
        8       Q. And if you enter the study with a             8   represent the Personal Care Products Council.
        9   preconceived notion what caused your ovarian         9       Prior to this litigation, had you ever heard
       10   cancer, you already have a bias; correct?           10   of the Personal Care Products Council?
       11          MS. PARFITT: Objection.                      11       A. No.
       12       A. But I mean, aren't you introducing bias      12       Q. Sometimes it goes by the name of PCPC.
       13   by asking these questions? "Okay, what is your      13       Have you ever heard of that?
       14   preconceived notion?" I'm trying to understand      14       A. No.
       15   this question. I just don't think that --           15       Q. Previously, the Personal Care Products
       16       Q. So it's your testimony that, typically,      16   Council was known as the Cosmetics, Toiletries
       17   in these case-control studies, the women who have   17   and Fragrances Association.
       18   the disease of interest, in this case, ovarian      18       Prior to this litigation, had you heard of
       19   cancer, are not asked, when they enter the study,   19   that entity?
       20   if they already have preconceived notions about     20       A. No.
       21   what caused their ovarian cancer?                   21       Q. And sometimes that's abbreviated, CTFA.
       22       A. Yeah. In my opinion, if I were to            22       Had you heard of that entity?
       23   design a next case and control study, I'm not       23       A. No.
       24   sure that would be a question. I would have to      24       Q. Have you, prior to this talc
       25   think about why I would ask that question to        25   multi-district litigation that we're here on
                                                                              85 (Pages 334 to 337)
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        1   today, have you worked with any of the               1       A. I remember asking about this specific
        2   plaintiffs' lawyers with whom you've had dealings    2   trial. I have not asked for other trial
        3   in talc?                                             3   testimony, I don't think.
        4       A. Yeah. I mentioned that I worked with          4       Q. When you say "this specific trial,"
        5   Attorney Restaino in the atorvastatin that is        5   what do you mean?
        6   listed on my testimony.                              6       A. When I said -- you know, I said, in
        7       Q. Anyone else?                                  7   this litigation, have epidemiology testimony been
        8       A. No.                                           8   submitted. And I have asked for it. Yeah.
        9       Q. Have you worked with the Beasley Allen        9       Q. Would it be relevant to you that other
       10   firm?                                               10   scientists have analyzed the very same issues
       11       A. They're not -- I don't know if they're       11   that are encompassed in your report and testified
       12   part of this talc. The name sounds familiar. I      12   on behalf of defendants in other talc litigation?
       13   just don't know the name of the lawyers.            13       A. Yeah. And as you see that, I have not
       14       Q. Right. They're part of the lead              14   even had a chance to review the expert report
       15   plaintiffs' counsel in this multi-district          15   of -- on behalf of the plaintiffs that were
       16   litigation.                                         16   submitted in the list.
       17       A. But I just have had correspondence with      17       So, yes, it will be nice to do that. A, how
       18   these lawyers. So, you know, I may have had --      18   much time; and, B, you know, I think it would
       19   received, I don't know, documents or -- I don't     19   probably be more prudent to wait for the
       20   know if invoices or something that may have. But    20   epidemiologists on this particular case.
       21   I don't -- I haven't, like, corresponded with the   21       But, you know, as you said, I haven't even
       22   lawyers of Beasley Allen.                           22   had the chance to review the plaintiffs' experts.
       23       Q. What I'm asking about is whether you         23   And, you know, I asked for defendants' expert,
       24   had worked with the Beasley Allen firm prior to     24   you know, report.
       25   this talc litigation.                               25       Q. You asked for defendants' expert
                                                 Page 339                                                 Page 341
        1       A. I have listed the -- you know,                1   reports in this litigation.
        2   listed the cases I worked for. I don't remember      2       A. Sure.
        3   the name of the counsels and, you know, who were     3       Q. But you didn't ask for defendants'
        4   on the firms. So if it ended up that they were       4   expert reports, deposition transcripts or trial
        5   involved in Viagra or something else, that's just    5   testimony in the prior talc litigation?
        6   a recollection issue.                                6       A. How do I know? I mean, I'm not very
        7       Q. Okay. Mr. Klatt asked you about               7   familiar with how these, you know, different
        8   materials authored by defense experts. Let me        8   trials are occurring, what you can share, which
        9   elaborate on that a little bit.                      9   attorneys are involved in which trials.
       10       Are you aware that various defense experts      10       I'm sorry. I didn't ask for it. I know
       11   authored reports in connection with prior talc      11   that, but I'm just not familiar with that
       12   litigation?                                         12   process, what they can share.
       13       A. No. I'm not aware.                           13       Q. Okay. Can you go to Page 10 of your
       14       Q. Are you aware that there were prior          14   report. And I guess there are two exhibits to
       15   talc trials?                                        15   it, or it's referred to in two exhibits.
       16       A. I mean, I have seen it in the news           16       Are you looking at Exhibit 10 there?
       17   that -- I don't know if they're in state court,     17       A. Exhibit 10.
       18   federal court, you know. I see it in the news.      18       Q. On the front page.
       19       Q. Did you --                                   19           MS. PARFITT: It's your report. Yes.
       20       A. California or something. Yeah. I'm           20       A. Exhibit 10. Yes.
       21   not aware.                                          21       Q. So if you could go to Page 10, I'd
       22       Q. Did you ask for the testimony of any         22   appreciate that. And on Page 10, you're
       23   defense experts who may have testified regarding    23   discussing, among other things, the advantages
       24   epidemiology in connection with that other talc     24   and disadvantages of cohort and case-control
       25   litigation trials?                                  25   studies; is that correct?
                                                                              86 (Pages 338 to 341)
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                                                 Page 342                                                 Page 344
        1       A. Yes.                                          1   be useful, because you couldn't find all of the
        2       Q. Okay. If you would look at the                2   lung cancer cases.
        3   paragraph that begins with the phrase                3       A. Yes. And that sort of applies to
        4   "case-control studies."                              4   Gonzalez. And it was a six-month study, and some
        5       Do you see that there?                           5   of the other cohort studies that were of limited
        6       A. Yeah.                                         6   duration.
        7       Q. Okay. You're explaining your opinion          7       So, yes, I mean, I don't know about the time
        8   why case-control studies have some advantages        8   course exactly of lung cancer risk, but can apply
        9   over cohort studies in that paragraph; is that       9   to various outcomes.
       10   correct?                                            10       Q. Okay. So what is the latency period
       11       A. No. Not necessarily. I mean, that            11   for perineal talc exposure and ovarian cancer?
       12   just talks about the strength and weaknesses of     12       A. I do not have -- I don't know, because,
       13   various studies designs. I mean, in fact, you       13   you know, I don't -- again, I don't elucidate the
       14   know, it talks about whether, you know, that, in    14   mechanism of ovarian cancer and the precise link.
       15   fact, it says exposure is ascertained               15   So I cannot tell you that X number of days after
       16   retrospectively.                                    16   perineal talc or months after. I know that it is
       17       So I'm just talking about the strength and      17   long-term. It could be months to years. And
       18   limitations of various designs.                     18   that's as much as I can say.
       19       Q. Okay. I was using advantages and             19       Q. So your example, when you were talking
       20   disadvantages.                                      20   about 12 months, actually, that really wouldn't
       21       Is there a significant difference between       21   be a problem or we don't know whether that's a
       22   those two?                                          22   problem or not because it could be months?
       23       A. That's just the term we use. Yeah.           23       A. No.
       24       Q. Okay. Now, one of the strengths, in          24          MS. PARFITT: Objection.
       25   your opinion, of a case-control study, is that it   25          THE WITNESS: Sorry.
                                                 Page 343                                                 Page 345
        1   captures the entire time period when an ovarian      1       A. So, yeah, months would be a problem.
        2   cancer illness could occur; is that correct?         2   It's mostly -- I mean, yes, we have some bounds,
        3       A. That's not necessarily like an entire         3   but most of the studies we see, it is likely to
        4   time. First of all, we don't know the precise        4   have been, you know, several years after
        5   number of years.                                     5   exposure.
        6       But, yes, we know that it is a long-term         6       Q. And how do you know that? Which
        7   exposure. So case-control studies allow us to        7   studies have you reviewed or analyzed that say
        8   ascertain long-term exposure. So that's a much       8   that it's several years after exposure?
        9   more accurate reflection.                            9       A. Well, all of -- you know, the
       10       Q. And you were saying one of the               10   case-control studies that have provided data on
       11   weaknesses of a cohort study is that it might not   11   duration of exposure and show evidence of
       12   capture all of the ovarian cancer cases because     12   duration responsiveness suggest that -- so, for
       13   ovarian cancer can develop over a long period of    13   example, Penninkilampi and others suggest that
       14   time; is that correct?                              14   this is -- you know, while there are increased
       15       A. Yes. After a particular agent, if it's       15   risks before both more than 20 years or more than
       16   related, you know.                                  16   3,600 applications as well as those are less, the
       17       Q. Okay. And you mentioned, in fact,            17   risk is higher among those with higher duration.
       18   there's a sentence here, "It is important to        18       But, again, I cannot partition this at 20 or
       19   determine the latency and induction between the     19   15.
       20   exposure and the disease to assess the duration     20       Q. Okay. You have a phrase in here that
       21   of follow-up"; is that correct?                     21   says "because ovarian cancer develops over many
       22       A. It is.                                       22   years."
       23       Q. Okay. And then you give the example of       23       Is that an accurate assessment of your
       24   smoking. And you talked about, if you looked at     24   views?
       25   it for a 12-month follow-up study, that would not   25       A. Where is that?
                                                                              87 (Pages 342 to 345)
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                                                 Page 346                                                 Page 348
        1       Q. If you look at the next paragraph,            1   not even a citation. I mean, it's -- I feel
        2   first sentence, last clause.                         2   that, and we were discussing that, you know,
        3       A. Yeah.                                         3   could a randomized trial be here conducted. And
        4       Q. Other plaintiffs' experts have stated         4   to my mind, it would be unethical. So...
        5   in their reports that the latency period could be    5       Q. Well, yeah. But then you say,
        6   decades.                                             6   "Defendants here have admitted this fact."
        7       Would you disagree with that?                    7       And so I'm just wondering what brought you
        8       A. Yeah. I mean, when I say many years,          8   to that particular part midway in her deposition,
        9   it could be -- yeah, I just --                       9   the second day of her deposition of a three-day
       10       Q. You don't know?                              10   deposition.
       11       A. I don't know the precise. I don't want       11       A. Some of this has, you know -- it just
       12   to quantify the number of years.                    12   doesn't -- I don't know why I would, you know,
       13       Q. Okay. I want to shift topics a little        13   put it -- but it's sort of -- it's even
       14   bit here. You reference Linda Loretz's              14   irrelevant if you take her out of it. Because,
       15   deposition transcript in -- I think once in your    15   you know, it's like, are we really going to do a
       16   report.                                             16   randomized trial?
       17       If you would go to Page 7, I believe it is.     17       Q. I agree with you. It's irrelevant.
       18   It's in a footnote. Footnote 1.                     18       A. Yeah.
       19       A. Mm-hmm.                                      19       Q. If you could go to Page 62 of your
       20       Q. Now, did you read the entirety of            20   report. You've got a caption there "Cosmetic
       21   Dr. Loretz's deposition transcript?                 21   Expert Review Panel Report."
       22       A. Again, these are so many documents. I        22       Do you see that?
       23   mean, I reviewed, you know, not -- but I don't      23       A. Yes.
       24   know if I read the whole transcript. Yeah.          24       Q. Roman numeral XII?
       25       Q. Do you know how many days she was            25       A. Yes.
                                                 Page 347                                                 Page 349
        1   deposed?                                             1       Q. Do you know what the name of the
        2       A. I don't recall.                               2   organization is that you're referring to in that
        3       Q. More than one day?                            3   paragraph?
        4       A. I don't know that. I'm sorry.                 4       A. I don't know the name.
        5       Q. So her deposition transcript, I'll            5       Q. Do you know if Dr. Loretz testified
        6   represent to you, is 1,133 pages in length.          6   regarding that review?
        7       Did you read all that?                           7       A. If I have cited her, then I have.
        8       A. No. I didn't agree that I read all of         8       Q. Well, you didn't cite her on this
        9   them either. Yeah.                                   9   portion. That's why I'm asking about it.
       10       Q. Okay. I was a little confused because        10       A. I don't know. I mean, you're asking
       11   I thought you had said, for hers, that you had      11   all these different names. They're all -- if I
       12   read the whole thing.                               12   haven't cited her, then I haven't reviewed it.
       13       A. No. I didn't say I had read -- you           13       Q. Okay. Have you heard of the Cosmetic
       14   know, I have read the transcript, but it doesn't    14   Ingredient Review?
       15   mean that I read every, you know, precise word      15       A. Yes.
       16   and precise --                                      16       Q. Sometimes referred to as CIR?
       17       Q. Do you know what her background is?          17       A. Yes.
       18       A. No, I don't.                                 18       Q. Dr. Loretz, in her deposition,
       19       Q. Do you know if she's a scientist?            19   references the CIR dozens of times, doesn't she?
       20       A. I don't remember, you know, the              20       A. Again, as I said, I didn't review the
       21   specifics of the transcript.                        21   entirety of the thousand pages.
       22       Q. How is it that you picked out this           22       Q. Okay. I'm just trying to understand
       23   quote then on -- that's Footnote 1 or this          23   what you did review and you didn't. You wrote a
       24   citation, Footnote 1, Page 7?                       24   paragraph about the CIR. And I'm trying to
       25       A. Yeah. I mean, it's not even -- that's        25   understand why you didn't reference Dr. Loretz
                                                                              88 (Pages 346 to 349)
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                                                 Page 350                                                 Page 352
        1   when she testified about that.                       1      A. Yes.
        2       A. So, as you can see, it's reference to         2          MS. PARFITT: Objection.
        3   the published report, and, you know, I               3      A. But specific to talc, you would want
        4   reviewed -- again, even that was lengthy             4   more diverse representation with gynecologists,
        5   document, and, you know, I wanted to review that     5   oncologists, epidemiologists.
        6   for completeness and understand that.                6      So it's not that it was a criticism of the
        7       Q. Did you read the entirety of that             7   CIR review panel or whoever was on that as a
        8   report?                                              8   dermatologist, but specific to it, did they have
        9       A. As much as I can. Not every word in           9   the expertise to -- and maybe they did, but I'm
       10   every sentence.                                     10   just pointing that out.
       11       Q. Okay. Do you know if the FDA plays a         11      Q. So you don't know, one way or another,
       12   role in the CIR's review that you're referring to   12   whether they had the expertise?
       13   on Page 62 of your report?                          13      A. Yeah. I mean, from my understanding,
       14       A. I'm not aware of the specific                14   they didn't have expertise in carcinogenicity and
       15   composition, but I know that FDA is -- attends or   15   epidemiology.
       16   is a member or has some sort of role there.         16      Q. What do you base that on?
       17       Q. Do you know who the Consumer Federation      17      A. Yeah. I mean, you know, some of the
       18   of America is?                                      18   names that are here, they were dermatologists.
       19       A. No.                                          19   That's sort of my understanding.
       20       Q. Do you know if they play any role in         20      Q. Did you look them up and investigate
       21   the CIR report?                                     21   what they do or what they have done in their
       22       A. I don't know. And maybe it's in the          22   careers?
       23   study and I can't tell you offhand who is in this   23      A. No. I have not.
       24   panel.                                              24      Q. Okay. So you're criticizing them as
       25       Q. It's also in Dr. Loretz's deposition.        25   not having the capability of doing the review,
                                                 Page 351                                                 Page 353
        1   That's the reason I'm exploring it.                  1   but you don't really know their expertise?
        2       Do you know that one of the missions of the      2           MS. PARFITT: Objection. Misstates his
        3   Consumer Federation of America is to represent       3   testimony.
        4   consumers in connection with Cosmetic Ingredient     4        A. Yeah. It doesn't say -- first of all,
        5   Reviews?                                             5   it's not a criticism. It just says, what is the
        6       A. I'm not aware of that.                        6   composition of the panel. It says it was
        7       Q. Okay. Do you know who was on the panel        7   composed of, you know, expertise in epidemiology
        8   of the CIR review?                                   8   and carcinogen -- so it's just sometimes
        9       A. No.                                           9   panels -- and it may have been very appropriate
       10       Q. Do you know whether there were               10   for the 100 and whatever products that were
       11   toxicologists who were part of the panel?           11   evaluated by that panel.
       12       A. I don't know that.                           12        Q. Okay. One of the things that you
       13       Q. You criticize the panel makeup because       13   say --
       14   it was "primarily composed of dermatologists."      14        A. Sure.
       15       A. Sure.                                        15        Q. -- is that there was a -- the review
       16       Q. Do you see that?                             16   was limited or limited its assessment to animal
       17       A. Yes.                                         17   and clinical studies on talc that did not contain
       18       Q. Do you know why dermatologists would be      18   asbestos.
       19   relevant to a review of cosmetics?                  19        Do you see that?
       20       A. Yes. I mean, yeah. But, of course,           20        A. Yeah.
       21   the majority of cosmetics are on -- you know,       21        Q. You would agree that the CIR reviewed
       22   applied on the skin. Yeah. It would be              22   all of the epidemiological studies that were
       23   relevant.                                           23   available at that time; correct?
       24       Q. So they would be relevant to a CIR           24           MS. PARFITT: Objection. Misstates
       25   review?                                             25   testimony.
                                                                              89 (Pages 350 to 353)
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                                                 Page 354                                                 Page 356
        1      A. I don't know -- you know, I know that          1   they asked -- this statement is about the
        2   they reviewed the process and they looked at         2   question they asked. They asked the question,
        3   studies, and I don't know if it was all              3   that talc fiber not containing asbestos, does it
        4   epidemiologic studies, but I think and I             4   cause.
        5   understand that presumption was that talc does       5       So if they ask the question already, we know
        6   not contain asbestos. I mean, that's what -- the     6   that, they presume there was no presence of. So
        7   premise they started out with.                       7   it's about the question that I'm stating it.
        8      Q. Well, did the epidemiologic studies            8       Q. But the epidemiologic studies, when
        9   make a distinction between talc and its              9   they're analyzing talc use among women, they're
       10   constituents or alleged constituents?               10   not making a distinction between talc that
       11      A. Yeah. I mean, there are -- as I cite          11   contains or doesn't contain constituents.
       12   in my report, there are -- they don't make          12   They're talking about women who use products;
       13   distinctions, but they -- some of the studies --    13   correct?
       14   you know, some of the testimony we've discussed,    14       A. That is correct.
       15   some of the, you know, testing we've discussed,     15       Q. So if your theory is correct and talc
       16   and some, you know, small publications suggest      16   contains harmful substances in addition to talc,
       17   that talc may contain asbestos. So you have         17   then the epidemiologic studies would have
       18   these evidence.                                     18   reviewed women's exposure to those constituents;
       19      But the CIR review was already carried out       19   correct?
       20   with the presumption that talc did not contain      20       A. Yeah. So, I mean -- so if you look at
       21   asbestos.                                           21   what I've written, the review was carried out
       22      Q. But they reviewed all of those studies        22   under the flawed assumption that cosmetic grade,
       23   that you referenced, or do you not know what they   23   you know, talc was -- did not contain that. And
       24   reviewed?                                           24   also limited to talc that did not contain. And
       25          MS. PARFITT: Objection.                      25   also concluded that there was no evidence of talc
                                                 Page 355                                                 Page 357
        1      A. I mean, I do not know every study they         1   migration.
        2   reviewed. I'm just providing -- I don't know         2       I do not say that, you know, there was no --
        3   every study that IARC reviewed.                      3   they did not review the -- the epidemiologic
        4      Q. Well, you could find that out by               4   studies of talcum powder products. That's not --
        5   looking at the studies; right?                       5   you know, they reviewed it. But I'm just
        6      A. There's not enough time. There's so            6   pointing out the limitations of that.
        7   many studies in this and so many reports, so many    7       Q. Didn't CIR cite the very same studies
        8   assessments that --                                  8   that were available as of 2013 that you cite in
        9      Q. But you're criticizing the CIR.                9   your report?
       10      A. Yeah.                                         10       A. Yes.
       11      Q. And saying it limited its assessment.         11          MS. PARFITT: Objection. Form.
       12      A. Sure.                                         12       A. Again, you know, I don't know if they
       13      Q. And I just want to understand the basis       13   cite evidence of biologic plausibility. I don't
       14   for that statement, and what you're saying,         14   know if they cite evidence of talc migration. I
       15   testifying here today is you don't know what the    15   don't know how they interpreted the evidence
       16   CIR reviewed.                                       16   of -- just because they cited a study does not
       17          MS. PARFITT: Objection. Misstates            17   mean that they interpreted the data in the same
       18   testimony.                                          18   way that I did.
       19      A. No. That, and we can look at it.              19       So I don't know what studies specifically in
       20   Let's look at the, you know, the --                 20   each section they cited.
       21      Q. But you made the statement.                   21       Q. Okay. One of the things that you say,
       22      A. Sure.                                         22   "as a result of these serious methodological
       23      Q. And I'm asking you, sitting here today,       23   shortcomings and funding biases." Let me ask you
       24   can you say what they reviewed?                     24   about that.
       25      A. Yes. I know they reviewed -- because          25       A. Sure.
                                                                              90 (Pages 354 to 357)
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                                                 Page 358                                                 Page 360
        1       Q. Is a review that's funded by an entity        1   regulatory agency in late 2018. So things take
        2   with an interest in the outcome of that review       2   time. And, you know, people, scientists take
        3   inherently flawed?                                   3   time to come to conclusions.
        4       A. No. It isn't. And this is just, you           4      Q. Okay. Let's go to Exhibit 22.
        5   know, one of -- and, you know, it's a potential.     5      A. Which is?
        6   It should be potential for funding biases. It        6      Q. That's the Berge -- I believe that's
        7   doesn't mean that just because it was funded by      7   how it's pronounced -- report?
        8   PCPC or CIR, it is, you know, biased.                8         MS. PARFITT: The Berge study?
        9       But yes, I mean, so, for example, my report      9         MR. LOCKE: Yes, yes. I'm sorry.
       10   and testimony, because it's funded by, you know,    10   BY MR. LOCKE:
       11   should be examined for potential biases. Just       11      Q. So if you could turn to Page 9, can you
       12   like, you know, CIR's report should be.             12   read the last sentence right before
       13       Q. I want to ask you about the timing of        13   acknowledgments, beginning with the word
       14   things, because sometimes you have referred to      14   "several." If you could read it out loud,
       15   reports that were done a while ago. And in this     15   please.
       16   case, you do that with CIR. You say, "The           16      A. "Several aspects of our own results,
       17   findings of this panel have been superseded by      17   including the heterogeneity between case-control
       18   several new epidemiologic studies," and so forth.   18   studies and the lack of dose-response with
       19   The line goes on.                                   19   duration of and frequency of use, however, do not
       20       Is it your opinion that -- well, let me ask     20   support a causal interpretation of the
       21   this way: At what point in time can we say that     21   association."
       22   the epidemiologic studies have sort of been         22      Q. And they're referring to the
       23   completed so you could rely on that information?    23   association between talc and ovarian cancer?
       24           MS. PARFITT: Objection. Form.               24      A. Yes. But other scientists, you know,
       25       A. Yeah. I mean, so you rely on                 25   such as Penninkilampi, have concluded otherwise,
                                                 Page 359                                                 Page 361
        1   information from, what, 1982, Cramer one. But I      1   that there is, you know, suggestive of a causal
        2   guess the question is -- I don't know, I'm not       2   association. Health Canada has concluded
        3   trying to put questions in your mouth. But I         3   otherwise, that there's evidence of causal
        4   don't -- I can't -- because I evaluated the          4   association.
        5   causal question as of 2017 and didn't arrive at      5      Q. But here we are in 2018, there's a
        6   an opinion until late 2018.                          6   study that's published saying, "Does not support
        7       I did not go year by year and, say, okay, in     7   a causal interpretation of the association
        8   2005, when IARC looked at this, could we have        8   between talc and ovarian cancer"; correct?
        9   concluded, possible, a problem? In 2010, when        9      A. Yes. I mean, you know --
       10   Langseth looked, or 2015.                           10      Q. Let me just ask you: So scientists
       11       So I did not segmentate it by time. And         11   disagree about this issue?
       12   you're just asking, even by epidemiologic study.    12      A. That's why we are here. If we all
       13   It doesn't work. You have to look at the whole      13   agreed, we wouldn't be here.
       14   body of evidence and come to a conclusion.          14      Q. Okay. Let me move to a different
       15       Q. Isn't it true that, prior to the talc        15   topic.
       16   litigation, no scientist had published an article   16          MR. TISI: How much time do we have?
       17   stating that talc causes ovarian cancer?            17   How much time do we have? That's okay. Just
       18           MS. PARFITT: Objection to form.             18   write it on a paper.
       19       A. Yeah. I mean, you know, I think a lot        19          MR. LOCKE: We're getting close.
       20   of these articles have talked about -- and          20      Q. Okay. Can we go to Page 62 of your
       21   scientists don't necessarily publish statements     21   report.
       22   about causation, you know.                          22      Now, did we already do that? Maybe we
       23       You have seen that Health Canada has clearly    23   already did that. Sorry. I don't want to have
       24   stated that talc causes ovarian cancer. Yes, so,    24   to do things again.
       25   in fact, not even scientists, but now we have       25      A. Please don't.
                                                                              91 (Pages 358 to 361)
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                                                 Page 362                                                 Page 364
        1          THE VIDEOGRAPHER: 6:36.                       1   don't know about the specifics, who are
        2          THE WITNESS: So we have 6 minutes, 36         2   manufacturers and -- yeah. But I know the
        3   seconds?                                             3   limitations of the survey.
        4      Q. You have 24 minutes.                           4        And even they acknowledge that the study
        5      A. Oh, sorry.                                     5   could not prove that most or all talc-containing
        6      Q. Sorry. We already did that one. So             6   cosmetic products currently marketed are likely
        7   good there.                                          7   to be free. So even despite these -- whoever
        8      Let's go to Page 15 of your report. We were       8   supplied them and whoever, you know, tested them.
        9   talking just a moment ago about regulatory           9           MR. LOCKE: We're almost there. Then
       10   entities and what they found.                       10   I'll turn it back over.
       11      In the middle of that paragraph or middle of     11   BY MR. LOCKE:
       12   that page, there's a part that says, "Although      12        Q. Just one second. If you could go to
       13   the FDA conducted a survey."                        13   Page 59, please. Okay.
       14      Do you see that?                                 14        On Page 59, you've got a Roman numeral X
       15      A. Yes.                                          15   followed by a Roman Numeral III. Do you see
       16      Q. And they found no asbestos fibers or          16   that? Talcum powder-induced inflammation. Am I
       17   structures.                                         17   at the right place?
       18      But then you, whatever you want to call it,      18           MS. PARFITT: I'm sorry, Tom.
       19   you can call it criticism or deficiencies or        19           MR. TISI: 59 of the report?
       20   disadvantages, you state, "The results were         20           MR. LOCKE: Yeah.
       21   limited, only four out of nine talc suppliers       21        A. It's probably 58.
       22   submitted samples, and the number of products       22        Q. 58 of the report. Sorry.
       23   tested was low." Is that correct?                   23           MS. PARFITT: No worries.
       24      A. Well, that is a correct restatement of        24        Q. Okay. So you see that, Roman numeral
       25   the facts. So it is not something that I made       25   X, Roman Numeral III?
                                                 Page 363                                                 Page 365
        1   up. I mean, it is true that four out of nine         1       A. Have we gone through this? I'll be
        2   suppliers --                                         2   happy to go through it again.
        3       Q. J&J was one of the entities that              3       Q. I want to ask you about something.
        4   supplied talc to the FDA; correct?                   4       A. Sure.
        5       A. I didn't -- you know -- I didn't --           5       Q. You have a statement, the first
        6   that FDA document, you know, I'm not aware of who    6   sentence says, "Inflammation has long been
        7   supplied.                                            7   understood to be an important mechanism
        8       Q. You didn't look at it. You criticized,        8   underlying the development of ovarian cancer."
        9   but you didn't look at the fact that J&J             9       Do you see that?
       10   submitted talc samples and product to the FDA?      10       A. Yes.
       11          MS. PARFITT: Objection. Misstates his        11       Q. And then you referenced 61. And if you
       12   testimony.                                          12   go to Exhibit 4, that is your list of references;
       13       A. I reviewed the reference and I reviewed      13   correct?
       14   the -- you know, so I'm not testifying I reviewed   14       Well, for me, I was looking at it, because
       15   talcum powder products and ovarian cancer. You      15   it was broken out separately. But you could see
       16   know, and I was looking at the evidence. But I      16   it at the back of Exhibit 10 as well.
       17   didn't look at whether J&J submitted samples or     17       A. Yeah.
       18   Imerys submitted samples, no.                       18       Q. Do you see that, 61?
       19       Q. And you don't know whether, then, the        19       A. Yeah.
       20   FDA, in fact, tested the two J&J products at        20       Q. And if you -- can you read the title of
       21   issue in this litigation and found no asbestos      21   the reference that you're citing to there?
       22   fibers or structures in the samples?                22       A. The Ness study, is that?
       23          MS. PARFITT: Objection. Misstates the        23       Q. Right. The Ness study.
       24   survey.                                             24       A. Possible Risk of Ovarian in -- Cancer.
       25       A. I don't know -- I don't -- you know, I       25       Q. It's "Possible Role of Ovarian
                                                                              92 (Pages 362 to 365)
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                                                 Page 366                                                        Page 368
        1   Epithelial Inflammation in Ovarian Cancer."          1           ------
        2       Now, you're citing that for "long been                       ERRATA
        3   understood to be an important mechanism," but, in    2           ------
        4   fact, the first word in the title is "possible."     3   PAGE LINE CHANGE
        5       A. Yeah. And you can clarify that. I             4   ____ ____ ____________________________
        6   mean, this is about plausible mechanisms.            5    REASON: _____________________________
        7       Q. But it certainly doesn't say it's long        6   ____ ____ ____________________________
        8   been understood to be an important mechanism.        7    REASON: _____________________________
        9       A. Well, I disagree. I mean, you know,           8   ____ ____ ____________________________
       10   maybe that -- you can't cite all the articles for    9    REASON: _____________________________
       11   each statement you make. I wish I did.
                                                                10   ____ ____ ____________________________
       12       But inflammation, as I understand it, is an
                                                                11    REASON: _____________________________
                                                                12   ____ ____ ____________________________
       13   important mechanism. And at least has been known
                                                                13    REASON: _____________________________
       14   for a long time about ovarian cancer. And others
                                                                14   ____ ____ ____________________________
       15   can opine in more detail. Is that citation the      15    REASON: _____________________________
       16   most? Yeah, that particular citation has a          16   ____ ____ ____________________________
       17   possible, you know, clarifier on that.              17    REASON: _____________________________
       18           MR. LOCKE: Okay. Let me just see if         18   ____ ____ ____________________________
       19   I've got anything else here. That's all I have.     19    REASON: _____________________________
       20           THE WITNESS: Thank you.                     20   ____ ____ ____________________________
       21           MR. LOCKE: Thank you. Anyone else?          21    REASON: _____________________________
       22           MS. PARFITT: Let's take a quick break       22   ____ ____ ____________________________
       23   and see if we have any follow-up.                   23    REASON: _____________________________
       24           THE VIDEOGRAPHER: Off the record,           24   ____ ____ ____________________________
       25   5:13 p.m.                                           25    REASON: _____________________________
                                                 Page 367
        1            (A recess was taken.)                       1       ACKNOWLEDGMENT OF DEPONENT
                                                                 2
        2          THE VIDEOGRAPHER: Back on the record,                      I,_____________________, do
        3   5:26 p.m.                                            3   hereby certify that I have read the
        4          MS. PARFITT: Thank you. Dr. Singh,                foregoing pages, and that the same
                                                                 4   is a correct transcription of the answers
        5   the plaintiffs have no questions. I want to              given by me to the questions therein
        6   thank you for your time today.                       5   propounded, except for the corrections or
        7          We would ask that Dr. Singh read and              changes in form or substance, if any,
                                                                 6   noted in the attached Errata Sheet.
        8   sign.                                                7
        9          MR. ZELLERS: Thank you, Doctor.                   _______________________________________
                                                                 8   SONAL SINGH, M.D., M.P.H.    DATE
       10          THE WITNESS: Thank you.                       9
       11          MR. KLATT: Wait. I've got 30 seconds.        10
       12          THE WITNESS: I want to thank everybody       11
                                                                12
       13   for a very professional, you know -- I've done      13
       14   this a couple of times. And if I have raised my     14
       15   voice, it hasn't been anything personal. It's            Subscribed and sworn
                                                                15   to before me this
       16   just been trying to explain something.                   _____ day of ______________, 20____.
       17          MR. ZELLERS: Thank you, Doctor.              16
                                                                     My commission expires:______________
       18          THE VIDEOGRAPHER: And we're off the          17
       19   record at 5:27 p.m.                                 18   ____________________________________
       20       (Deposition concluded at 5:27 p.m.)                  Notary Public
                                                                19
       21                                                       20
       22                                                       21
       23                                                       22
                                                                23
       24                                                       24
       25                                                       25

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         1             CERTIFICATE
         2   COMMONWEALTH OF MASSACHUSETTS
         3   SUFFOLK, SS.
         4       I, Janet M. Sambataro, a Registered Merit
         5   Reporter and a Notary Public within and for the
         6   Commonwealth of Massachusetts do hereby certify:
         7       THAT SONAL SINGH, M.D., M.P.H., the witness
         8   whose testimony is hereinbefore set forth, was duly
         9   sworn by me and that such testimony is a true and
        10   accurate record of my stenotype notes taken in the
        11   foregoing matter, to the best of my knowledge, skill
        12   and ability; that before completion of the deposition
        13   review of the transcript was requested.
        14       I further certify that I am not related to any
        15   parties to this action by blood or marriage; and that
        16   I am in no way interested in the outcome of this
        17   matter.
        18       IN WITNESS WHEREOF, I have hereunto set my hand
        19   this 17th day of January, 2019.
        20
        21                  ____________________
                            JANET M. SAMBATARO
        22                  Notary Public
             My Commission Expires:
        23   July 16, 2021
        24
        25




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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


     IN RE JOHNSON & JOHNSON                       MDL NO. 16-2738 (FLW) (LHG)
     TALCUM POWDER PRODUCTS
     MARKETING, SALES PRACTICES,
     AND PRODUCTS LIABILITY
     LITIGATION

     THIS DOCUMENT RELATES TO ALL CASES




                                RULE 26 EXPERT REPORT OF
                               REBECCA SMITH-BINDMAN, MD




     Date: November 15, 2018
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      The Relationship Between Exposure to Perineal Talc Powder Products and Ovarian Cancer


                                           Expert Report



                                    Rebecca Smith-Bindman, MD
       Professor, Radiology and Biomedical Imaging, Epidemiology and Biostatistics, Obstetrics,
        Gynecology and Reproductive Science and Director, Radiology Outcomes Research Lab
                                University of California San Francisco




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     I. Executive Summary
     Substantial evidence supports a strong positive association between ovarian cancer and
     genital exposure to talcum powder products and that regular exposure to talcum powder
     products causes ovarian cancer in some women. Talc is a naturally occurring mineral used in
     cosmetic products because of its desirable chemical properties such as being soft and
     absorbent. Women who have had regular exposure of the genitals (specifically the perineal
     region from the pubic area to the anal area) to talcum powder products are at increased risk
     of developing invasive ovarian cancer, in particular serous cancer, the most common and
     most lethal form. In the United States, a substantial portion of women report having ever
     used talc powder products at some point in their life. The most commonly reported frequency
     of talcum powder product use is daily. Women who use talcum powder products daily
     increase their risk of developing ovarian cancer significantly. Regular exposure causes ovarian
     cancer in some women.

     I was asked to review the medical and scientific literature regarding the relationship between
     genital talcum powder product use and ovarian cancer and determine whether the
     relationship is causal. For this extensive analysis and report, I applied the same methodology
     with the same scientific rigor that I use in my research and clinical practice. I reviewed 43
     relevant publications presenting scientific data on the association between ovarian cancer
     and exposure to talc powder products: 4 cohort studies, 8 systematic reviews, 2 studies that
     pooled data from multiple individual studies, and 30 case-control studies. I also read
     numerous review articles, and systematic reviews on related topics such as those completed
     by the International Agency on Research on Cancer (IARC). I also completed my own, new
     systematic review on of the studies that I reviewed as part of this report. This report contains
     my overview of these publications plus a detailed new systematic review of the studies that I
     conducted. After reading, evaluating, and summarizing these publications, in my expert
     opinion, I do not have any uncertainty that regular exposure to talc powder products
     increases a woman’s chance of developing epithelial ovarian cancer. In my expert opinion,
     regular exposure to talcum powder products causes ovarian cancer

     Quantifying the precise magnitude of the association is more difficult than establishing the
     association. The association will certainly vary by demographic and reproductive factors and
     whether women have other underlying ovarian cancer risk factors and exposures. With that
     caveat, it is my opinion that women exposed to perineal talc powder products on a regular
     basis have about a 50% increase in their subsequent risk of developing invasive serous
     ovarian cancer, compared to women who do not regularly use talc and even after accounting
     for other ovarian cancer risk factors. This estimate is supported by existing publications and
     my quantitative review of the scientific literature that focused on summarizing studies that
     addressed regular exposure to talc powder products as a risk factor for epithelial ovarian
     cancer, and in particular serous cancer. Talcum powder exposure is associated with other
     epithelial cancer subtypes (in particular, clear cell and endometrioid carcinoma), but because
     these cancers are less common, and because fewer studies have evaluated these cancers in
     sufficient numbers, quantifying the associations is more difficult. While some publications
     estimated talc powder products have a slightly greater risk of these cancer subtypes, others

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     estimated a slightly lower risk of these cancer subtypes. In my opinion, this risk is likely overall
     in about the same range as for serous cancer, but I would estimate slightly less at 40%
     increased risk.

     The epidemiological evidence documents a strong, positive association between exposure to
     talcum powder products and ovarian cancer and that regular exposure causes ovarian cancer.
     The epidemiological evidence alone does not confirm the mechanism by which talc powder
     product increases ovarian cancer risk, nor does it confirm the specific component in talcum
     powder products that makes it carcinogenic. Nonetheless, the literature provides compelling
     evidence that exposure to talcum powder products leads to chronic inflammation and that
     the inflammation induces a strong biological response that results in the induction,
     promotion, and growth of cancer. Further, there is evidence that several highly carcinogenic
     agents are components of the talcum powder products. These include, most importantly,
     asbestos, a Group 1 carcinogen that the International Agency for Research on Cancer (IARC)
     has determined causes ovarian cancer. I have seen evidence that talcum powder products
     contain asbestos. Second, talcum powder products contain asbestiform talc particles which
     have a similarity in structure to asbestos fibers (and which IARC concludes are carcinogenic).
     Lastly, talcum powder products contain numerous heavy metals such as, nickel, chromium,
     (Group 1 carcinogens) and cobalt (Group 2 carcinogen ) according to IARC. These components
     are carcinogenic (cause cancer) and can contribute to the carcinogenicity of talcum powder
     products. Observational and experimental data confirm that talcum powder product particles
     applied to the perineum can reach the fallopian tubes and ovaries through the vagina,
     supporting that talc particles applied to the perineum can deposit on the ovaries. Surgery that
     impedes the movement of particles from the perineum to the ovaries such as hysterectomy
     (uterine removal) or tubal ligation (tying or blocking the fallopian tubes to the ovaries),
     reduces the elevated risk of ovarian cancer from exposure to talcum powder products. This
     finding supports that local tissue response and inflammation in the fallopian tubes and/or
     ovaries from talcum powder products (with components) causes the elevated ovarian cancer
     risk.

     In summary, from my review of the scientific literature and my own analysis, it is my
     opinion that genital exposure to talcum powder products is an actionable and causative risk
     factor for ovarian cancer. As a physician involved in women’s health issues, I view talcum
     powder usage as a modifiable “lifestyle” risk factor that should be avoided because of the
     substantial risk to health and lack of therapeutic benefit. An elevated risk of 50% is significant
     and results in a large number of unnecessary ovarian cancers given the large number of
     women exposed. Depending on estimates of how many women regularly use talcum powder
     products, between 7% and 20% of all ovarian cancers and 14% - 39% of invasive serous
     cancers (the most aggressive and feared cancer type) are caused by the use of talcum powder
     products. These cancers can be prevented if women do not use talcum powder products.




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     II. Qualifications

     Education and Employment
     I am a professor of Radiology and Biomedical Imaging, Epidemiology and Biostatistics,
     Obstetrics, Gynecology and Reproductive Medicine, and Health Policy at the University of
     California San Francisco (UCSF) School of Medicine. I graduated from Princeton University
     with a degree in structural engineering (with combined majors in engineering and
     architecture) and attended UCSF medical school. My training after medical school included an
     internship, radiology residency, and clinical fellowship in women’s health and a research
     fellowship in epidemiology and biostatistics in the UCSF Departments of Medicine and
     Epidemiology and Biostatistics.

     I am a clinician-scientist. My clinical work includes one day a week in the Department of
     Radiology and Biomedical Imaging, with a focus on women’s health imaging. I work in the
     ultrasound section, where a large proportion of the work is focused on the diagnosis of
     ovarian abnormalities (cancer and other functional issues). I run the UCSF Radiology
     Outcomes Research Lab, spending most of my time on clinical research and leading large
     epidemiological studies. I teach in the UCSF School of Medicine and Department of
     Epidemiology and Biostatistics.

     Research Expertise
     My research expertise is in epidemiology, outcomes research, comparative effectiveness,
     health services research, and dissemination and implementation sciences. My
     epidemiological studies have evaluated the quality, use, accuracy, predictive value, and
     impact of diagnostic testing on patient health. I have measured the risks and benefits of
     medical imaging in different contexts and different populations. Much of the research is in
     women’s health, including diagnoses of cancers such as ovarian, endometrial, thyroid and
     breast. I have led many large, multi-institutional research projects. These projects are
     typically collaborative, involving researchers and clinicians with diverse expertise including
     radiology, obstetrics and gynecology, medicine, biostatistics, epidemiology, economics,
     demography, social sciences, medical informatics, radiation science, and dissemination and
     implementation science.

     I have been a prolific researcher. I have led projects funded by more than 50 million dollars in
     research grants—entirely focused on cancer diagnosis and prediction. The research has been
     published in the most prestigious medical journals including the New England Journal of
     Medicine, Annals of Internal Medicine, Journal of the American Medical Association, Journal of
     the American Medical Association Internal Medicine, Journal of the National Cancer Institute,
     Obstetrics and Gynecology, and leading radiology specialty journals such as Radiology and
     Journal of the American College of Radiology.

     Knowledge of Relevant Study Designs
     Several of my published studies have been systematic, meta-analytic, quantitative reviews of
     the published literature. Meta-analyses review existing evidence on a topic and summarize
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     and re-analyze data from earlier studies. My systematic reviews focused on the diagnoses of
     endometrial cancer, breast cancer, and a range of birth defects including trisomy 21 (Down
     syndrome) and trisomy 18 (Edwards Syndrome). Many of my reviews were published in
     prestigious medical journals, reflecting their scientific rigor based on an in-depth
     understanding of how to combine and review results from different studies in a scientifically
     valid and reproducible way.

     Several of my recent research projects quantified the variation in radiation dose associated
     with medical imaging and the expected impact of this variation on cancer outcomes. This
     work has brought attention to the need for better standards in medical imaging. I am
     currently leading two large, multi-institutional epidemiological projects on medical radiation
     funded by the National Institutes of Health. One project is collecting radiation dose measures
     associated with computed tomography (CT) imaging from more than 150 hospitals in the
     United States, Europe, and Asia and testing the impact of providing feedback and education
     to radiologists on average and high doses. The second project is a multinational
     epidemiological study on childhood cancer. This project is assessing the risk of cancer
     associated with medical imaging among 1 million children and 1 million pregnant patients
     after accounting for a range of other cancer risk factors. The study will be the first to quantify
     the risk of medical imaging including CT among a large group of patients and uses novel
     methods to accurately estimate radiation dose from imaging.

     I have expertise in a range of research study designs. The projects I currently lead (each
     funded by the National Institutes of Health or the Patient-Centered Outcomes Research
     Institute for between 9 - 15 million dollars each) have designs selected to be appropriate for
     the research question. For example, the study assessing the risk of cancer from medical
     imaging uses a case-control study design, in which data are collected on a group of patients
     and those with a condition (cases), are matched to similar patients without the condition
     (controls). Matching people with a disease to people of similar age, gender, and other factors
     who do not have the disease allows researchers to determine if circumstances such as
     exposure to a potential toxin influence disease development.

     My project on medical imaging uses a cohort design, comparing groups of people (cohorts) in
     a population, some exposed to a potential disease agent and some not exposed, to see if the
     agent influences disease. My study on radiation doses from CT uses a randomized controlled
     design, in which individual patients are randomly assigned to different treatments so their
     effectiveness can be compared. I am studying lung nodules using a cluster-randomized
     controlled trial design that randomly assigns groups of people in similar circumstances (for
     example because they all see the same doctor) to different treatments so the effects of the
     treatments can be compared.

     I have a deep understanding of how epidemiological studies are conducted. I understand
     what study designs are suitable to particular datasets, populations, and research questions
     and the advantages and disadvantages of each design. This is relevant as no single study


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     design is “best;” there are strengths and weaknesses of each. The most appropriate and valid
     study design varies based on the research question being asked.

     Experience as a Medical Expert
     For the National Academy of Medicine, I have contributed to several reports, including Saving
     Women’s Lives (2004), Improving Mammographic Quality Standards (2005), and Breast and
     the Environment: A Life Course Approach (2012), for which I wrote a review on the
     association between radiation exposure and breast cancer (Appendix). In addition to this
     research, I am actively involved in raising awareness of the need for better standards and
     greater safety around medical imaging, in particular related to radiation exposure. I have
     spoken at the US Food and Drug Administration, testified before the US Congress on several
     occasions, and worked with leading professional societies to focus attention on improving
     medical imaging safety. I have written several quality measures on radiation dose adopted by
     the National Quality Forum and developed educational tools to help physicians and patients
     understand the importance of minimizing radiation exposure from imaging.

     Prior to providing my opinions on the association between talcum powder products and
     ovarian cancer, I had not reviewed the relevant literature and had not published in this area.
     As a result, I brought an unbiased perspective to my review. This report reflects my review of
     medical and scientific publications in this area (overviews and scientific studies), my own
     analysis, and review of documents shared with me by the lawyers who engaged me for this
     task. My curriculum vitae is attached as Exhibit A, the materials I considered are attached as
     Exhibit B, and my fees and prior testimony are attached as Exhibit C.

     III. Background: Ovarian cancer and Talc as a Modifiable Risk Factor

     Ovarian Cancer
     Ovarian cancer is the seventh most common cancer in women and the fifth leading cause of
     cancer deaths in the United States. 1 In 2018, 22,240 women are expected to receive a new
     diagnosis of ovarian cancer and 14,070 women will die from it. Overall, about 1 in 78 women
     (1.3%) will be diagnosed with ovarian cancer in their lifetime and around 1 in 108 will die of it.
     About 224,940 women are currently living with ovarian cancer. 2 Most cases occur among
     older women; the median age at diagnosis is 62, although this varies by ovarian cancer type.
     2
      Ovarian cancer is frequently diagnosed at a late stage, when a cure is unlikely. Because so
     many ovarian cancers are diagnosed at a late stage, the overall mortality rate is high, and the
     overall 5-year survival is poor. With the poor prognosis and absence of a reliable screening
     test to find ovarian cancer early, it is a highly feared cancer for women and their physicians
     alike.




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     Histologic types
     Cancers are classified by histologic type, meaning the type of cells that are involved.
     Understanding ovarian cancer histologic types is important because the risk factors, etiology
     and genetics of ovarian cancer can vary by histological type. Therefore, the importance of
     talcum powder products as a risk factor or cause can also vary by type.
                                                 Table 1. Histologic Types of Ovarian Cancers Diagnosed Over 15 Years at
     Ovarian cancers (epithelial and non-        the KP Washington (in press, JAMA Internal Medicine)
     epithelial) are a heterogeneous group
     of malignancies that vary in their                         Histologic Type                   Number      Percent of
                                                                                                                Total
     pathological appearance, molecular                                                                        Cancers
     biology, risk factors, etiology and          Papillary serous cystadenocarcinoma                  52           36.6
     prognosis. 1 Epithelial ovarian cancers      Endometrioid carcinoma                               17           12.0
                                                  Serous cystadenocarcinoma                            15           10.6
     have several histologic types; most fall     Clear cell adenocarcinoma                            12             8.5
     into a small group of more common            Adenocarcinoma, NOS                                  11             7.7
     types including serous, endometrioid,        Mucinous adenocarcinoma                               7             4.9
                                                  Mixed cell adenocarcinoma                             3             2.1
     clear cell and mucinous. About 90% of        Serous surface papillary carcinoma                    3             2.1
     ovarian cancers are epithelial               Granulosa cell tumor                                  3             2.1
     (meaning they arise from cells on the        Carcinoma, not otherwise specific                     2             1.4
                                                  Mucinous cystadenocarcinoma                           2             1.4
     surface of the ovary or fallopian tube)      Mucinous cystic tumor of borderline                   2             1.4
     and the most common type of                  Carcinoma in situ                                     1             0.7
     epithelial cancer is serous carcinoma.       Squamous cell carcinoma                               1             0.7
                                                  Papillary adenocarcinoma                              1             0.7
     Serous is not only the most common           Papillary serous cystadenoma, borderline              1             0.7
     type of ovarian cancer, it is also the       Adenocarcinoma with squamous meta                     1             0.7
     most lethal type of ovarian cancer.          Granulosa cell tumor, malignant                       1             0.7
                                                  Endometrial stroma sarcoma                            1             0.7
     Further, it is the type of cancer that       Mullerian mixed tumor                                 1             0.7
     pathologists can most consistently,          Carcinosarcoma                                        1             0.7
     reliably, and reproducibly diagnose.         Carcinosarcoma, embryonal                             1             0.7
                                                  Teratoma, malignant                                   1             0.7
     Thus, epidemiological studies will have      Astrocytoma                                           1             0.7
     the greatest ability to document a           Marginal zone B-cell lymphoma                         1             0.7
     clear association between serous           Total                                                 142            100
     ovarian cancer types and talcum            Summary
     powder products, if a connection             Serous carcinoma                                      70           49.3
     exists. It is also the subtype that has      Endometroid carcinoma                                 17           12.0
                                                  Clear cell carcinoma                                  12            8.5
     been studied most from a molecular           Mucinous carcinoma                                     9            6.3
     and pathologic research standpoint.

     My research group recently reported on the ultrasound appearance of ovarian cancers among
     a large cohort of women. The purpose of this cohort study was to quantify the risk of
     malignant ovarian cancer based on ultrasound findings. We described 142 new ovarian cancer
     cases in a population of 500,000 women enrolled in Kaiser Permanente Washington, an
     integrated health plan, between 1997 and 2008, including 72,093 women who underwent
     pelvic ultrasound. The distribution of cancer histological types is in Table 1. Serous carcinoma
     was the most common cancer type: In our cohort, it was 50% of the ovarian cancers. Serous
     carcinoma has the worst prognosis of the ovarian cancer types. Its high frequency and poor

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     prognosis contribute to the high mortality rate for ovarian cancer overall. The other common
     histological types of ovarian cancer were endometrioid (12% in our data), clear cell (8.5% in
     our data), and mucinous (6.3% in our data).

     Ovarian cancer types have large differences in stage of diagnosis (a strong predictor of
     survival) and prognosis independent of stage. The 5-year survival by histological type is in
     Table 2. Serous cancer is the most frequent and most aggressive, with an overall 5-year
     survival of 43% as compared with 82% for endometrioid. The survival is strongly influenced by
     stage at diagnosis, with higher stage numbers indicating more advanced stage. 1 Most serous
     carcinomas are diagnosed at stage III (51%) or IV (29%) (Figure 1), 2 for which 5‐year survivals
     from the most recent data were 42% and 26%, respectively. These data reflect the aggressive
     nature of serous cancer. 1 In contrast, the majority (58% to 64%) of endometrioid, mucinous,
     and clear cell carcinomas are diagnosed at stage I, similar to nonepithelial tumors (Figure 1) .
     Consequently, the 5‐year survivals are 82%, 71%, and 66%, respectively, for endometrioid,
     mucinous, and clear cell carcinoma. Thus, these cancers behave very differently, even though
     all are ovarian epithelial cancers.

     Table 2. Percent of Women Surviving 5 Years After Diagnosis by Epithelial Ovarian Cancer
     Type. Data From 2008–2013.
                        All
                     epithelial                                                             Sex cord-
                       types        Serous     Endometrioid     Mucinous      Clear cell     stromal     Germ cell
      Stage
        All             47            43             82            71            66            88           94
        Stage I         89            86             95            92            85            98           99
        Stage II        71            71             84            69            71            84           93
        Stage III       41            42             59            30            35            61           90
        Stage IV        20            26             29            13            16            41           69

     Figure 1. American Joint Committee on Cancer Sixth Edition Stage Distribution (%) for Ovarian Cancer by
     Histology, US, 2007-2013, SEER 18 Registries, NCI, 2017. This shows that serious cancers are more likely to be
     diagnosed at state III, IV (green and teal), compared with other tumor types.




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     This summary reflects our current knowledge about ovarian cancer histologic types and their
     associated prognoses. As research results are reported, our knowledge will evolve. For
     example, recent studies suggest we need to improve our ability to distinguish between high-
     grade serous and endometrioid carcinomas. Other results suggest that many ovarian
     mucinous carcinomas are actually gastrointestinal tumors that metastasized to the ovaries
     and this realization is affecting the reported rates of ovarian mucinous carcinomas (which are
     declining). 1,3,4 The categorization of noninvasive tumors classified as borderline is also under
     investigation and a topic of discussion in the field. These noninvasive tumors have historically
     been considered in the spectrum of ovarian cancer that have less aggressive behavior.
     However, many previously described borderline cancers are now generally considered non-
     malignant.

     In summary, when assessing the carcinogenicity of talcum power products, this should focus
     on invasive serous carcinoma as the most important cancer (based on prognosis) and the
     most reliable cancer to identify (based on histology and understanding of cancer behavior).

     Additionally, over the last decade, there has been research suggesting that many ovarian
     cancers originate from cells in the distal portion of the fallopian tube. Because the
     pathogenesis, treatment, and prognosis of serous cancers of the fallopian tube, ovary, and
     peritoneum are similar, these are now typically considered as a single entity. 4 This
     consideration applies to the association with talcum powder product usage discussed in this
     report.

     Risk Factors
     Understanding ovarian cancer risk factors is important because analyzing the impact of
     talcum powder products exposure must consider covariates, or other characteristics that a
     woman might have that might also influence her ovarian cancer risk such as age, inherited
     genetic mutations, reproductive factors, or family history of cancer. Every risk factor does not
     have be considered to come to a valid conclusion; indeed, this is not realistic within the
     limitations of medical research, and the bias introduced by the exclusion or some risk factors
     will be small. However, crude analyses that look at the risk of ovarian cancer from talcum
     powder products without adjusting for any other risk factors must be considered cautiously.
     For that reason, statistical analyses of research results often adjust for confounding factors or
     variables that are covariates that hinder accurate calculation of an association, for example
     between talcum powder products and ovarian cancer.

     Numerous risk factors are identified for ovarian cancer. 5 Unfortunately, few can be modified
     by therapies or lifestyle changes. Risk factors vary by histologic type 5 but those that increase
     risk of ovarian cancer include personal or family history of ovarian or breast cancer, inherited
     mutations including BRCA1 and BRCA2 6-10 advanced age, white race, increased education,
     and endometriosis. Other factors that may increase ovarian cancer risk due to estrogen
     exposure include having no pregnancies or advanced age at first birth, obesity, and
     postmenopausal hormone therapy. 11-13 Several factors are associated with reduced risk for
     ovarian cancer including breast feeding, multiple pregnancies, use of oral contraception,

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     tubal ligation, and removal of uterus, fallopian tubes, or both. 14-18 Smoking is a possible risk
     factor for ovarian cancer, primarily mucinous subtype, although study results have not been
     consistent. 5,19

     Risk factors vary by cancer type. For example, serous cancer is more strongly associated with
     reproductive risk factors than mucinous tumors 20-22 and different histologic types have
     different molecular and genetic profiles. 23-25 Serous tumors are more likely to have a cancer-
     promoting mutation in the p53 gene, whereas similar KRAS mutations are more common in
     mucinous tumors. Over time, the occurrence of ovarian cancer has changed, in part due to
     changes in risk factors. For example, small declines in the rates of endometrioid and serous
     cancer are attributed to declining use of hormone replacement among postmenopausal
     women.

     Etiology: Origins, Causes, Development and Inflammation
     Our understanding of the etiology and course of ovarian cancer continues to evolve.
     Hereditary genetic predisposition increases risk, but overall, accounts for only a small
     proportion of cancers. And even in women with hereditary genetic mutations, not all will
     develop ovarian cancer. The majority of ovarian cancers are now believed to arise in the distal
     portion of the fallopian tube. By convention, fallopian tube, ovary and peritoneal cancers are
     considered as a single entity. The most widely accepted mechanism for initiation, promotion
     and progression of ovarian cancer is tissue inflammation leading to a series of responses that
     result in cancer.

     There is very clear and extensive scientific literature describing the relationship between
     inflammation and cancer across many anatomic areas. Chronic inflammation, and even
     subtle, subclinical inflammation, is associated with an increased risk of cancer. 26-28 Many
     inflammatory conditions predispose to cancer development. Diverse factors that lead to
     inflammation - infection, chemical exposures, physical agents, autoimmune factors, and
     even inflammatory reactions of uncertain etiology - can lead to an increase in cancer
     incidence. For example, there are well described and accepted causal pathways linking
     inflammation in the etiology of bladder cancer (schistosomiasis, toxic chemicals), cervical
     cancer (papillomavirus), gastric cancer (H Pylori), colon cancer (inflammatory bowel disease),
     liver cancer (hepatitis), mesothelioma (asbestos) and ovarian cancer (pelvic inflammatory
     disease and endometriosis). The biological pathways associated with inflammation include
     stimulation/interference with a range of biological responses that are involved in initiation of
     cancer, promotion of cancer, and progression of cancer. Oxidative stress resulting from
     inflammation can impact all stages of cancer development including cancer initiation (DNA is
     damaged by introducing gene mutations and structural alterations of DNA leading to
     inhibition of DNA repair and malignant transformation); promotion (which may be manifest
     as abnormal gene expression resulting in cell proliferation and decrease apoptosis) and
     progression (further DNA damage and enhancement of cell growth. 29 Local inflammatory
     response can lead to signaling molecules such as cytokines, chemokines, prostaglandins,
     growth transcription factors, microRNAs having higher expression that can promote cancer


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     development and can create a favorable microenvironment for the development and
     progression of cancer. 30 Inflammation impacts every step of tumorigenesis, from initiation
     through tumor promotion, and extending to metastatic progression. Similarly, the most
     compelling mechanism for the etiology of ovarian cancer is that of chronic inflammation and
     scarring in the ovary that leads to malignant transformation and cancer progression. This
     mechanism involves cell proliferation, oxidative stress, DNA damage and gene mutations. 31-33
     31,34-37
              The microenvironment of ovarian cancer contains a broad spectrum of pro-
     inflammatory cytokines and chemokines contributing to the mechanism. 38

     There are many processes that can lead to inflammation and tumorigenesis and the exposure
     to talcum powder products is one such exposure that can strongly enhance the tumor
     promotion or progression as seen in in vitro and animal studies. For example, normal
     repeated ovulation leads to injury of ovarian epithelial cells and transformation to malignant
     cancer cells that can be enhanced by various factors such as talc or asbestos particles.
     Exposure to talcum powder products can induce the production of pro-oxidant enzymes and
     reduced production of antioxidant enzymes leads to malignant transformation. In support of
     inflammation from talcum powder products causing cancer, hysterectomy or bilateral tubal
     ligation, which would significantly limit ovarian exposure to inflammatory mediators, and
     toxins, is associated with reduced ovarian cancer risk.

     Relationship Between Ovarian Cancer and Talcum Powder Products
     The epidemiological evidence described in detail below demonstrates a strong and positive
     association between exposure to talcum powder products and ovarian cancer and that talcum
     powder products cause ovarian cancer. Although epidemiologic evidence alone does not
     provide a definitive mechanism or pathophysiological process that accounts for the increased
     risk, the evidence for inflammation as described above is very strong. Similarly,
     epidemiological evidence alone does not confirm the specific component or ingredient in
     talcum powder products that is responsible for its carcinogenesis. Nonetheless, several
     constituents within talc powder products are worth highlighting as they may be acting
     individually or together to create the carcinogenicity of talc powder products inasmuch as
     they are individually highly carcinogenic

     Why Talcum Powder Products were Initially Suspected as Causing Ovarian Cancer
     In 1978 samples of commercial body powders were shown to contain asbestos silica minerals.
     Asbestos was a known carcinogen and about half of the powder samples contained respirable
     quartz, a lung carcinogen. Concerns were primarily raised that inhaled powder could cause
     lung scarring, lung cancer, or mesothelioma. In 1971, Henderson observed talc particles
     deeply embedded in ovarian cancer tissue. The authors noted the close association of talc to
     the asbestos group of minerals. 39Further concern was raised , in 1982 whena case-control
     study of ovarian cancer that collected information on talcum powder use reported an
     increased risk with perineal dusting. 40 These findings were reported in widely circulated
     newspapers such as The Globe, raising concern that the powders were carcinogenic because



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     of the contamination with asbestos, using the relationship between asbestos and lung cancer
     and mesothelioma as the basis for the concern.

     Carcinomic of Constituents of Talc Powder Products
     There are hundreds of different constituents and ingredients within talcum powder products
     in addition to platy talc. Many of these are Group 1 carcinogens (such as asbestos, talc
     containing asbestiform fibers, heavy metals, and some fragrance chemicals) that likely
     contribute to the carcinogenicity of the products.

     Asbestos
     Asbestos is the generic commercial designation for a group of naturally occurring mineral
     silicate fibers; serpentine mineral fibers are called chrysotile, and amphibole minerals include
     actinolite, amosite, anthophyllite, crocidolite and tremolites. Talc is formed by complex
     geological processes acting on pre-existing rock formations with diverse chemical
     composition. Small amounts of chrysotile (asbestos) may occur in these talc deposits 41,42
     When talc is mined it may contain asbestos fibers 42,43 A study of 21 consumer talcum
     powders obtained from retail stores in 1971–1975 reported that 10 contained concentrations
     of asbestos fibers ranging from 0.2 to 14%. 41,44 Because of concern that asbestos was present
     in talcum powder products and the known carcinogenicity of asbestos, it has been reported
     that voluntary guidelines were established by the cosmetic industry in 1976 to limit the
     content of asbestos fibers in commercial talc preparations. While currently talcum powder
     products are believed to free from asbestos, the data on its continued presences are strong. I
     have seen evidence of continued presence since 1976. 45-48 For example, Longo tested
     approximately 50 samples that were taken between the years 1960 through 2000 and the
     majority of sample are positive for asbestos. 47

     Asbestos is a known and potent human carcinogen. Asbestos is highly carcinogenic to the
     lungs, lining of the lungs, and larynx. 49 Asbestos is also highly carcinogenic to the ovaries. 49-58
     Women working in asbestos-manufacturing industries have an increased risk of ovarian
     cancer. IARC reviewed the association between asbestos exposure and ovarian cancer in
     2012. To assess the relationship, IARC reviewed data primarily from large epidemiological
     cohort studies of women who had occupational exposure to asbestos as well case-control
     studies on non-occupational exposure. The context and lengths of exposures varied, along
     with the type of asbestos fibers to which the women were exposed and the study designs and
     assessments. Nonetheless, the results were consistent. Most, but not all, were statistically
     significant and documented a strong and compelling causal association between exposure to
     asbestos and ovarian cancer, largely the result of the association from cohort studies of
     women with substantial occupational exposures. 50-54 IARC concluded that there is sufficient
     evidence that asbestos is carcinogenic in humans and that asbestos causes cancer of the
     ovary.This is the highest risk category. 49 IARC also concluded that this categorization applied
     to all forms of asbestos and to talc containing asbestiform fibers (talc in a fibrous habit or
     fibrous talc)). IARC also concluded that asbestos is carcinogenic based on animal studies.
     Camargo completed a systematic review of the relationship between women occupationally
     exposed to asbestos and ovarian cancer. 59 The authors found that of the 18 cohort studies

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     the pooled standard mortality estimate for ovarian cancer was 1.77 (95% confidence interval,
     1.37-2.28). The range in reported SMR values was 1.1– 5.4 across the included cohort studies
     and the most common values were 2–3. This study supports IARC’s conclusion that exposure
     to asbestos causes ovarian cancer.

     IARC explicitly stated that the findings in this Monograph applied to all forms of asbestos,
     as well as asbestiform talc (fibrous talc).

     I reviewed many publications and primary research studies, including experimental and basic
     science models showing molecular and genetic cancer-promoting changes to cells that occur
     from exposure to asbestos fibers. I also strongly conclude that asbestos causes ovarian
     cancer.

     Talc
     Talc is the primary component of talcum powder products. The chemical structures of talc
     and asbestos can be similar. While talc particles are usually plate-like, talc can also grow as a
     fiber which is similar to the group of minerals called asbestos. Both are magnesium silicate
     and when talc has the fibrous form it is called asbestiform because of its similarity to
     asbestos. The form of the talc fibers is long and thin, with parallel bundles that are easy to
     separate from each other, and closely resembles the physical appearance of asbestos
     minerals. The histologic appearances of mesothelioma and ovarian cancer are similar. The
     known carcinogenicity of asbestos for lung, pleural, peritoneal and ovarian cancer has led to
     the theory that the similarity in the fibers and the resulting cancers suggests that talc works
     mechanistically within the ovary to induce cancer in a way that is similar to how asbestos in
     the chest induces mesothelioma.

     Early observations demonstrated talc particles in both malignant and normal ovaries
     establishing a route from the perineum to the ovary and shows that many women are
     exposed to talc. 39,60 In 2006, the International Agency for Research on Cancer (IARC)
     reviewed the data on cosmetic (perineal) talc (“non-asbestiform”) application and concluded
     that it is possibly carcinogenic to humans. 61 This is not as strong a recommendation as they
     made for asbestos and ovarian cancer, but nonetheless is a strong recommendation. IARC
     classified genital-perineal use of talc-based powder as possibly carcinogenic. Exposure to talc
     particles can induce an inflammatory response, either directly at the ovary and ovary-
     fallopian tube juncture, causing local irritation from talc particulates or through more
     generalized peritoneal inflammation. The mechanism that can lead to cancer is local irritation
     by talc fibers that disrupts the epithelial surface, increasing rates of cell division and DNA
     repair that can lead to mutations. Also increased are oxidative stress and cytokine production,
     indicating inflammation. Fibers that are incorporated into the epithelial cells enter ovarian
     tissue. This inflammation initiates a series of responses, supported by research, that promote
     cancer. The reduction in the elevated risk of ovarian cancer from talcum powder exposure
     after hysterectomy or tubal ligation supports the mechanism by which local irritation and
     inflammation to the ovary from talc or asbestos causes an elevated cancer risk.


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     Heavy Metals
     Talc powder products can contain Group 1 metals that are considered by IARC as
     carcinogenic to humans. 44,49 This includes nickel compounds which IARC documents cause
     lung and nasal cavity and paranasal sinus cancer. (IARC100c-10, 2012). Nickel compounds
     “cause DNA damage, chromosomal aberrations, delayed mutagenicity and chromosomal
     instability … and nickel compounds act as co-mutagens.” Talcum powder products also
     contain Chromium (VI) (IARC100c-9, 2012) another Group 1 carcinogen, where there is
     sufficient evidence in humans for carcinogenicity (to the nose and nasal sinus). The
     mechanism includes “DNA damage, generation of oxidative stress and aneuploidy. Talc
     powder products can also contain Group 2A metals that are considered probably carcinogenic
     to humans, such as Cobalt which can be found in talc powder products. 62 IARC considers
     Cobalt metal with tungsten carbide as probably carcinogenic to humans (Group 2A), but
     worth noting that a number of the IARC working group members supported an evaluation in
     Group 1 because they judged the epidemiological evidence to be sufficient, leading to an
     overall evaluation in Group 1; or they judged the mechanistic evidence to be strong enough
     to justify upgrading the default evaluation from 2A to 1. The majority of working group
     members, who supported the group 2A evaluation, cited the need for either sufficient
     evidence in humans or strong mechanistic evidence in exposed humans. Cobalt metal without
     tungsten carbide is also considered possibly carcinogenic to humans (Group 2B). Cobalt
     sulfate and other soluble cobalt(II) salts are possibly carcinogenic to humans (Group 2B).

     Any and all of these heavy metals can cause ovarian cancer through an inflammatory
     mechanism

     Fragrances
     There are more than 150 different chemicals added to Johnson’s Baby Powder and Shower to
     Shower products. I reviewed the expert report from Dr. Crowley that concludes that some of
     these chemicals may contribute to the inflammatory response, toxicity, and potential
     carcinogenicity of Johnson & Johnson’s talcum powder products. I concur with his opinion. 63

     IV. Overview of Publications on Genital Use of Talc Powder Products and Ovarian Cancer

     To understand the relationship between exposure to talcum powder products and ovarian
     cancer, I searched for and reviewed scientific papers on this topic. I used several searchable
     publication databases (Scopus, Embase, Pubmed) and manually searched the reference lists
     of all articles I found, including a large number of reviews. The results of my review follow the
     explanation of the main types of studies and articles.

     Explanation of study designs and article types
     Nearly all published studies that I reviewed used one of two designs: case-control and cohort.
     Each design has strengths and biases. The commonly held view is that cohort studies are
     better than case-control studies. This is a misconception thus it is worth explaining their
     differences. Many articles I reviewed were systematic reviews, which are also explained.


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     Case-control studies compare people with a condition (cases) by matching them to people
     with similar characteristics who do not have the condition (controls) to determine the effect
     of a potential disease-causing factor. They often analyze existing data retrospectively, after
     people have been diagnosed, and involve tens or hundreds of patients. Cohort studies
     compare cohorts, or groups of people, who were exposed or not exposed to a potential
     disease agent. They often collect data on people prospectively, before they develop a disease
     and track their health over time. Both case-control and cohort studies, if well done, can
     provide accurate and meaningful information about statistical associations. In general,
     however, the risk of bias is greater for case-control studies. (An example is recall bias, in
     which women are more likely to remember and report exposure to talc powder products
     after they have been diagnosed with cancer compared to women without a diagnosis,
     perhaps because diagnosed women heard that talc powder products is harmful and are more
     likely to remember talc use). Nonetheless, when studying a rare disease, the case-control
     design is frequently highly efficient and desirable as it allows you to assemble a much larger
     number of cases and can delve in great depth for particular exposures. You can identify all
     patients who have the outcome of interest, and then query them (and some control group)
     about any antecedent exposure. The identification of the control group is very important. My
     large, National Institutes of Health-funded study of cancer risk factors in children is employing
     a case-control design. This design permits us to ask very detailed questions of a small number
     of individuals about their various exposures.

     Cohort studies potentially avoid some biases of case-control studies since exposures are
     prospectively assessed and quantified, that is, before disease outcomes. This design also has
     limitations, though. An extremely important limitation is that because cohort studies are
     expensive and time-consuming, they rarely focus on a single, narrowly defined question such
     as the association between regular use of talcum powder products and cancer. Usually,
     researchers investigate a broad range of questions in cohort studies, so asking patients in-
     depth questions about any given topic is difficult, especially since tens of thousands of
     patients may be surveyed on many topics. Further, in cohort studies, having comprehensive
     assessment of outcomes on all individuals in the cohort is extremely important. Losing
     patients to follow up (meaning researchers cannot contact or find records on a participant)
     leads to study bias. The other disadvantage of cohort studies is that a very large number of
     patients must be assessed over a long period of time to see who will develop a rare outcome
     (like ovarian cancer). Because of this, typically there will be far fewer patients with disease in
     a cohort study as compared with case control study (like in this case).

     The small number of cohort studies I found on the relationship between talcum powder
     products exposure and ovarian cancer did not focus on the details of this topic. While they
     may have included questions about talcum powder exposure, they were not sufficiently
     nuanced to provide meaningful information. Thus, in most of the cohort studies I found,
     measurements of exposure were poor, not specific, or inaccurate. Further, several had very
     short follow-up periods with data or information about the time before the cancer occurred.
     This negates an advantage of cohort studies, which is being able to learn about exposures
     before the cancer, eliminating recall bias.

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     Systematic reviews quantitatively summarize results across multiple studies. One of the
     rationales of this study design is that individual studies may not have enough participants to
     yield meaningful results because they are too small or insufficiently powered. Combining
     small studies can provide more stable and reliable summary estimates of the effects of
     disease agents and risk factors. Further, a systematic review may be better than a single
     study, as it provides broader evidence of the results and includes patients from diverse
     settings. However, in order to statistically combine and summarize the data from different
     research studies into a single systematic meta-analytic review, the combined studies must ask
     the same research question and follow sufficiently similar and rigorous scientific methods. A
     meta-analysis does not compensate for gaps or flaws in an original study: Combining three
     poorly performed studies does not yield reliable summary estimates even though there may
     be three times the number of patients. Similarly, combining studies that ask different
     research questions (for example, assessing women of different ages for a disease in which age
     is an important risk factor) does not provide reliable summaries. Results from different
     studies often vary when the studies ask different research questions, have different criteria
     for including participants, or use different methods. I raise these issues to point out that
     systematic reviews must be read extremely carefully to ensure that their conclusions are
     valid.

     Table of Reviewed Publications
     I identified and reviewed 43 English-language publications that provided quantitative data
     based on epidemiological studies about the relationship between genital talcum powder
     exposure and ovarian cancer (Table 3). This list includes 4 cohort studies, 8 systematic meta-
     analytic reviews, 2 studies that pooled individual patient-level data from several research
     studies, and 30 case-control studies. One study contributed both the systematic review and a
     case control study. I also read multiple review articles that are not included in the table. The
     epidemiological studies were published between 1982 and 2018. I have described the results
     organized by study design below.

     Most studies used a case-control study design with a small number using a cohort study
     design. Although some studies assessed powder use to any part of the body or assessed the
     use of talcum powder on diaphragms, condoms or sanitary napkins, the primary research
     question that I focused on in my review and that was assessed in all included individual
     research studies, was whether genital area exposure to talcum powder increases risk of
     epithelial ovarian cancer. Occasionally, study authors assessed combination exposures (i.e., to
     genitals and other body parts). These studies were included as long as genital powder use was
     assessed. Nearly all studies adjusted for known ovarian cancer risk factors, but those factors
     varied. The vast majority of studies found a positive association between any exposure to
     talcum powder products and cancer. However, the sample size of some studies was small and
     resulted in high statistical uncertainty. Because of these and other limitations, quantifying a
     precise association between exposure and cancer was difficult from my review of the
     literature. The data for some studies may have shown that effects of talcum powder exposure
     (measured as odds ratios, ORs) was meaningful for cancer development, but with statistical

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     uncertainty; whereas other studies showed the reverse results, with ORs not showing a
     positive association, but statistical parameters suggesting that a meaningful association was
     nonetheless possible because of wide confidence intervals. Therefore, I thought a more
     precise and careful review was called for. The number of individual women included in each
     study and the reported or estimated effect size for “any exposure to talc” (adjusted for other
     risk factors such as age) are in Table 4.

     A subset of the studies quantified the intensity (frequency) of each woman’s exposure to talc
     to assess the importance of use patterns (e.g., if a single lifetime use or weekly, monthly, or
     daily use increased ovarian cancer risk) or dose dependency (links between the number of
     exposures and cancer risk, e.g., if doubling exposure doubles risk). Further, a subset of studies
     stratified by cancer type (invasive vs. low malignant potential/borderline) and whether the
     risks varied by histological types including the four dominant types of serous, mucinous, clear
     cell, and endometrioid cancer.

     Studies that provided data on the frequency of talc use and association by histologic type
     were included in a separate systematic meta-analytic review that I conducted as part of my
     review of the literature to include in this report. The reason I completed my own statistical
     review is further explained below.

     Quantifying Exposures
     A large proportion of women will have used talcum powder products, highlighting the
     importance of this issue. However, publications that focus on women reporting “any“ genital
     exposure to talc (i.e., talc at any point in life and for any duration) may be too broad to
     provide meaningful information. For example, “any use” will include women who applied talc
     powder products three times over five decades and women who used talc powder products
     daily, whose might have had 20,000 applications and exposures in comparison to three.
     Defining a variable as any use is the equivalent to creating a variable of any smoking use, that
     combines data on individuals who tried one cigarette in their life with individuals with 50 pack
     years of tobacco use. Combining data on women with infrequent or sporadic exposures with
     data from women with frequent, sustained use leads to imprecise results, masking any causal
     associations. Therefore, I selected the studies for my own review that quantified the
     frequency of talc powder products use as having the most informative data and included
     them in a separate systematic review.

     Summary of Data
     I grouped the research studies by their study design. What follows is my review of the cohort
     studies, systematic review studies, pooled data studies, followed by my own review.

     Cohort Studies
     Four cohorts (Gertig, Gates, Houghton, Gonzalez) have been published on talcum powder
     products and ovarian cancer.



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     Cohort 1: Gertig (2000) 64
     This first cohort study assessed the relationship between perineal talc and ovarian cancer
     within the context of the US Nurses’ Health Study, a prospective study of 121,700 female
     registered nurses in the United States who were aged 30–55 years at enrollment in 1976.
     These are mostly premenopausal women. While talc exposure was not an initial part of the
     study, questions about talc, including measuring frequency of exposure, were added in 1982;
     a large subset of the cohort (78,630 women) completed these questions and were included in
     analyses. Among these women who were followed for 14 years, 307 were diagnosed with
     epithelial ovarian cancer. After adjusting for confounding variables, the relative risk (RR) of
     developing ovarian cancer (the likelihood of ovarian cancer in talc users compared to
     nonusers, with higher RR meaning increased risk stronger association) among daily users of
     talc was RR 1.12 (95% confidence interval [CI] 0.82, 1.55, a measure of statistical uncertainty,
     with wider ranges indicating greater uncertainty), which was not statistically significant.
     However, when results were classified by histologic subtype, the RR of invasive serous
     cancers was significantly elevated among any users of talc (RR 1.40, 95% CI 1.02, 1.9) and the
     RR of invasive serous cancer among daily users of talc was higher at RR 1.49 (95% CI 0.98,
     2.3).

     In this cohort study, the researchers assessed talc exposure before cancer diagnosis, avoiding
     the possibility of the recall bias of case-control studies. This was a strong strength of this
     study. A potential weakness was that frequency (i.e. daily) but not duration (number of years)
     of talc use was measured, so a clear lifetime exposure measure was missing. The researchers
     nonetheless quantified exposure at the time the talc questions were asked, which was
     probably strongly associated with prior use (i.e. an approximation on ongoing use). This study
     provides strong evidence that perineal exposure to talc increases the risk of invasive serous
     ovarian cancer, particularly among daily users of talc, with about a 50% increased risk,
     which is substantial and meaningful.

     Cohort 2: Gates (2010) 24
     This study assessed the association between ovarian cancer risk factors and incidence of
     ovarian tumors by histological type using data from the US Nurses’ Health Study combined
     with data from the Nurses’ Health Study II, which included a second period of enrolling
     participants. Unfortunately, talc use was assessed only on the first survey and not assessed
     among patients enrolled in the Nurses’ Health Study II. Thus, this extends the period of follow
     up from the initial NHS but does not include greater information about risk factors. Results
     were presented for any talc powder products use and not for frequency of use. Thus, this
     report does not add to a meaningful assessment of the relationship between talc use and
     ovarian cancer because it used exactly the same patient group as Gertig (2000) but provided
     less information to quantify the frequency of talc use.

     Cohort 3: Houghton (2013) 65
     This study assessed perineal talc powder products use and risk of ovarian cancer in the
     Women’s Health Initiative Observational study, in which postmenopausal women aged 50–79
     were enrolled in a prospective cohort of women from 40 clinical centers across the United

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     States in 1993–1998. Overall, 61,576 women were included in analyses, including 429
     diagnosed with ovarian cancer. Perineal powder use was assessed at the start of the study.
     Participants were asked if they ever used talc powder products on their private parts (genital
     areas). Those who responded yes were asked about duration (years) of use. Women were
     followed for a mean of 12 years and the median age of participants was 63. Talc powder
     products use was associated with a 12% increase in risk of ovarian cancer after accounting
     for covariates (RR 1.12, 95% CI 0.92, 1.36). When limited to women who used perineal
     powder for 20 years or more, the RR was 1.10 (95% CI 0.82, 1.48). When limited to serous
     ovarian cancer, the RR was 1.13 (95% CI 0.84, 1.51.) The primary limitation of the study was
     that frequency of talc powder products use was not assessed—and thus the authors could
     focus only on any talcum powder use. The imprecision in estimation of talcum powder
     exposure makes the results not terribly meaningful. The second limitation was the relatively
     short follow-up of 12 years to identify ovarian cancer diagnoses.
     Cohort 4: Gonzalez (2016) 66
     The Sister Study (2003–2009) followed 50,884 women ages 35 to 75 years in the US and
     Puerto Rico who had a sister diagnosed with breast cancer. After excluding participants who
     had bilateral oophorectomies, ovarian cancer, or were lost to follow-up, 41,654 participants
     were included. At baseline participants were asked about douching and talc use during the
     previous 12 months, and during follow-up (median of 6.6 years) 154 participants reported a
     diagnosis of ovarian cancer. The authors computed adjusted hazard ratios (HR) and 95%
     confidence intervals (CI) for ovarian cancer risk using the Cox proportional hazards model. The
     authors found no significant association between baseline perineal talc use and subsequent
     ovarian cancer (HR: 0.73 CI: 0.44, 1.2). The primary limitations of this study are that the
     authors combined a large number of potential talc exposures into a single category,
     including genital talc use in the form of powder or spray applied to a sanitary napkin,
     underwear, diaphragm, cervical cap, or vaginal area. Further, the authors categorized the
     exposure based on the 12 months prior to enrollment as a dichotomous ever/never. Thus
     not only was it an ever versus never category, the ever category was extremely broad, making
     the lack of association less meaningful. Further, there are several other factors that make the
     results questionable, including lower than expected proportion of women who report any
     exposure to talc powder products, and the lack of a validated approach to ascertainment of
     ovarian cancer.

     Cohort Studies: Summary
     Analyses of data from the US Nurses’ Health study and the Women’s Health Initiative
     estimated that women who report any exposure talc powder products will have a 12%
     increase in ovarian cancer compared to women who never report talc powder products use,
     although this estimate was not statistically significant. The primary limitation of this estimate
     is that it is based on any talc powder products use, which is a weak, crude predictor. Similarly,
     while the results from the Sisters study did not identify a significant association between talc
     powder products use and ovarian cancer, they too used a measure of ever use, and included a
     large number of different types of exposures that would not be expected to measure a single
     exposure. The most important and meaningful conclusion that I draw from the cohort studies

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     is from the Gertig 2000 study using data from the US Nurses’ Health study: That women who
     are daily users of talc have an approximately 50% increase (OR 1.49) in their risk of invasive
     serous cancer, the most lethal and frequent type of ovarian cancer.

     Systematic Reviews
     I found nine systematic reviews that summarized the relationship between talc and ovarian
     cancer, summarized below. These reviews were completed using various subsets of the full
     list of publications. The systematic reviewers are presented with the most recent first,
     because the more recent studies tended to be more complete, comprehensive and the most
     methodologically rigorous.

     Systematic Review 1: Penninkilampi (2018) 67
     This comprehensive systematic review of the association between any genital use of talcum
     powder products and ovarian cancer conducted a stratified analyses showing the association
     by frequency of talc use and histologic cancer subtype. The methods of the study are well
     described. The researchers identified studies using six electronic databases and reviewed
     publications with 50 or more cases of ovarian cancer. They identified 24 case-control studies
     describing 13,421 cases and the three cohort studies (890 cases, 181,860 person-years)
     described above. Any reported use of perineal talc powder products was associated with
     increased risk of ovarian cancer compared to no use (OR = 1.31; 95% CI 1.24, 1.39). Women
     with more than 3600 lifetime applications had slightly higher risks (OR = 1.42; 95% CI 1.25,
     1.61). Women who reported long-term (>10 years) talc use also had an increased risk (OR
     1.25; 95% CI = 1.10, 1.43). The association between any talcum powder product exposure and
     ovarian cancer was limited to studies that used a case-control design. The cohort studies
     showed an increased risk of serous invasive cancer subtypes for perineal talc use compared to
     no use (OR = 1.25; 95% CI = 1.01, 1.55). While serous and endometrioid cancer were
     associated with talcum powder products use, no association was seen with mucinous or clear
     cell cancers. The review authors concluded, from the data, that perineal talcum powder use
     and ovarian cancer were consistently associated, with a slightly higher risk in women who
     report greater usage. Some variation in the magnitude of the effect of talcum powder
     products was found when considering the study designs and ovarian cancer subtypes. Several
     small methodological issues are that Penniniklampi may have included some groups of
     patients more than once in analyses and did not include updated data or previously
     unpublished data available from a research consortium on ovarian cancer. However, these
     concerns are unlikely to have had a significant impact on their estimates.




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Table 3. List of Included Studies, sorted by study design
      Study Type        Year   Author          Journal                 Title
1     Cohort Study      2000   Gerting         J Natl Cancer Inst       Prospective study of talc use and ovarian cancer (in the Nurses’ Health Study)
2     Cohort Study      2010   Gates           Am J Epidemiol           Risk factors for epithelial ovarian cancer by histologic type; US Nurses Health Study
3     Cohort Study      2014   Houghton        J Natl Cancer Inst       Perineal powder use and risk of ovarian cancer: Results from the Women's Health Initiativ
4     Cohort Study      2016   Gonzalez        Epidemiology             Douching, talc use and risk of ovarian cancer: Results from the Sister Study
5     Systematic Rev.   1992   Harlow          Obst Gyn                 Perineal exposure to talc and ovarian cancer risk
6     Systematic Rev.   1995   Gross           J Expo Anal Env Epid     A meta-analytical approach examining the potential relationship between talc exposure
                                                                        and ovarian cancer
7     Systematic Rev.   2003   Huncharek     Anticancer Res             Perineal application of cosmetic talc and risk of invasive epithelial ovarian cancer: a meta-
                                                                        analysis of 11,933 subjects from sixteen observational studies
8     Systematic Rev.   2007   Huncharek     Eur J Cancer Prev          Use of cosmetic talc on contraceptive diaphragms and risk of ovarian cancer: a meta-
                                                                        analysis of nine observational studies.
9     Systematic Rev.   2008   Langseth      J Epid Community Health Perineal use of talc and risk of ovarian cancer.
10    Systematic Rev.   2010   IARC          IARC Monographs            IARC monographs on the evalatuion of carcinogentic risks to humans: Carbon black,
                                                                        titanium dioxide, and talc
11    Systematic Rev.   2017   Berg          European J of Can Prev     Genital use of talc and risk of ovarian cancer: A meta-analysis
12    Systematic Rev.   2018   Penninkilampi Epidemiology               Perineal talc use and ovarian cancer: A systematic review and meta-analysis.
13    Pooled Data       2013   Terry         Cancer Prev Res            Genital powder use and risk of ovarian cancer: a pooled analysis of 8525 cases and 9859
                                                                        controls
14    Pooled Data       2016   Cramer        Epidemiology               The association between talc use and ovarian cancer- A retrospective case- control study
                                                                        two US states
15    Case-Control      1982   Cramer        Cancer                     Ovarian cancer and talc: A case control study
16    Case-Control      1983   Hartge        JAMA                       Talc and ovarian cancer
17    Case-Control      1988   Whittemoore Am J Epidemiol               Personal and environmental characteristics related to epithelial ovarian cancer. Exposure
                                                                        to talcum powder, tobacco, alcohol, and coffee
5     Case-Control      1989   Harlow        Am J Epidemiol             A case-control study of borderline ovarian tumors: The influence of perineal exposure to
                                                                        talc
18    Case-Control      1989   Booth         BR Cancer                  Risk factors for ovarian cancer: a case-control study
19    Case-Control      1992   Harlow        Obstet Gynecol             Perineal exposure to talc and ovarian cancer risk
20    Case-Control      1992   Rosenblatt    Gynecol Oncol              Mineral fiber exposure and the development of ovarian cancer
21    Case-Control      1992   Chen          Int J Epidemiol            Risk factors for epithelial ovarian cancer in Beijing, China
22    Case-Control      1993   Tzonous       Int J Cancer               Hair dyes, analgesics, tranquilizers and perineal talc application as risk factors for ovarian
                                                                        cancer
23    Case-Control      1995   Purdie        Int J Cancer               Reproductive and other factors and risk of epithelial ovarian cancer: an Australian case-
                                                                        control study
24    Case-Control      1996   Shushan       Fertil Steril              Human menopausal gonadotropin and the risk of epithelial ovarian cancer
25    Case-Control      1997   Chang         Cancer                     Perineal talc exposure and risk of ovarian carcinoma
26    Case-Control      1997   Cook          Am J Epidemiol             Perineal powder exposure and the risk of ovarian cancer
27    Case-Control      1998   Green         In J Cancer                Tubal sterilization, hysterectomy and decreased risk of ovarian cancer.
28    Case-Control      1998   Godard        Am J Obstet Gynecol        Risk factors for familial and spordic ovarian cancer among French Canadians: A case-contr
                                                                        study
29    Case-Control      1999   Cramer        International J of Cancer Genital talc exposure and risk of ovarian cancer
30    Case-Control      1999   Wong          Obstet Gynecol             Perineal talc exposure and subsequent epithelial ovarian cancer: A case-control study
31    Case-Control      2000   Ness          Epidemiol                  Factors related to inflammation of the ovarian epithelium and risk of ovarian cancer
32    Case-Control      2004   Pike          Fertil Steril              Hormonal factors and the risk of invasive ovarian cancer: A population based case contro
                                                                        study
33    Case-Control      2004   Mills         Am J Epidemiol             Perineal talc exposure and epithelial ovarian cancer risk in the Central Valley of California
34    Case-Control      2008   Goodman       Endcor Relat Cancer        Association of two common single-nucleotide polymorphisms in the CYP19A1 locus and
                                                                        ovarian cancer risk
35    Case-Control      2008   Gates         Cancer Epid Bio Prev       Talc use, variants of the GSTM1, GSTT1, and NAT2 genes, and risk of epithelial ovarian
                                                                        cancer
36    Case-Control      2008   Merritt       Int J Cancer               Talcum powder, chronic pelvic inflammation and NSAIDs in relation to risk of epithelial
                                                                        ovarian cancer
37    Case-Control      2009   Moorman       Am J Epidemiol             Ovarian cancer risk factors in African-American and white women
38    Case-Control      2009   Wu            Int J Cancer               Markers of inflammation and risk of ovarian cancer in Los Angeles County
39    Case-Control      2011   Rosenblatt    Gynecol Oncol              Mineral fiber exposure and the development of ovarian cancer
40    Case-Control      2012   Lo-Cignaic    Epidemiol                  Aspirin, non-aspirin non-steroidal anti-inflammatory drugs, or acetaminophen and risk of
                                                                        ovarian cancer
41    Case-Control      2012   Kurta         Cancer Epid Bio Prev       Use of fertility drugs and risk of ovarian cancer: results from a U.S.-based case-control stu
42    Case-Control      2015   Wu            Cancer Epid Bio Prev       African Americans and Hispanics remain at lower risk of ovarian cancer than non-Hispanic
                                                                        whites after considering nongenetic risk factors and oophorectomy rates
43    Case-Control      2016   Schildkraut   Cancer Epid Bio Prev       Association between body powder use and ovarian cancer: the African American Cancer
                                                                        epidemiology Study




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 Table 4. List of Included Studies with Number of Cancers, Controls, and Reported Odds Ratios
                                                          Cancers     Controls or    Odds            95% CI
            Study Type         Year         Author                    Cohort Size    Ratio
  1   Cohort Study             2000    Gerting                 307         78,630     1.12         (0.82,1.55)
  2   Cohort Study             2010    Gates                   797        108,073     1.06         (0.89, 1.28)
  3   Cohort Study             2014    Houghton                427         61,576     1.12         (0.92,1.36)
  4   Cohort Study             2016    Gonzalez                154         41,654     0.73          (0.44,1.2)
  5   Systematic Review        1992    Harlow *              1,106          1,756     1.30          (1.1, 1.6)
  6   Systematic Review        1995    Gross                 1,333          2,362     1.29         (1.02, 1.63)
  7   Systematic Review        2007    Huncharek             1,858          2,830      NA               NA
  8   Systematic Review        2003    Huncharek             5,260          6,673     1.33         (1.16, 1.45)
  9   Systematic Review        2008    Langseth                                       1.35              NA
 10   Systematic Review        2010    IARC                                           1.30
 11   Systematic Review        2017    Berg                 15,230             NR     1.22         (1.13, 1.30)
 12   Systematic Review        2018    Penninkilampi        14,311             NR     1.31          1.24, 1.39
 13   Pooled Data              2013    Terry                 4,472          6,175     1.37         (1.19-1.58)
 14   Pooled Data              2016    Cramer                2,041          2,100     1.38         (1.01,1.99)
 15   Case-Control Study       1982    Cramer                  215            215     1.58         (0.98, 2.47)
 16   Case-Control Study       1983    Hartge                  135            171     2.50         (0.70, 10.0)
 17   Case-Control Study       1988    Whittemoore             188            539     1.45         (0.94, 2.22)
  5   Case-Control Study       1989    Harlow                  116            158     1.10          (0.70,2.1)
 18   Case-Control Study       1989    Booth                   235            451     1.30          (0.80,1.9)
 19   Case-Control Study       1992    Harlow                  235            239     1.80           (1.1, 3.0)
 20   Case-Control Study       1992    Rosenblatt               77             46     1.70           (.70, 3.9)
 21   Case-Control Study       1992    Chen                    112            224     3.90          (0.9,10.6)
 22   Case-Control Study       1993    Tzonous                 189            200     1.05          (.28, 3.98)
 23   Case-Control Study       1995    Purdie                  824            860     1.27         (1.04, 1.54)
 24   Case-Control Study       1996    Shushan **              200            408     2.00              NA
 25   Case-Control Study       1997    Chang                   367            564     1.51         (1.13,2.02)
 26   Case-Control Study       1997    Cook                    313            422     1.60           (0.9, 2.9)
 27   Case-Control Study       1998    Green                   824            855     1.30           (1.1, 1.6)
 28   Case-Control Study       1998    Godard                  170            170     2.49         (0.94,6.56)
 29   Case-Control Study       1999    Cramer                  563            523     1.60         (1.18, 2.15)
 30   Case-Control Study       1999    Wong***                 499            755     1.13         (0.89, 1.43)
 31   Case-Control Study       2000    Ness                    767          1,367     1.50           (1.1, 2.0)
 32   Case-Control Study       2004    Pike
 33   Case-Control Study       2004    Mills                   256          1,122     1.74         (1.14, 2.64)
 34   Case-Control Study       2008    Goodman                 367            602     0.99          (.70, 1.41)
 35   Case-Control Study       2008    Gates                                          1.41         (1.14, 1.76)
 36   Case-Control Study       2008    Merritt               1,576          1,509     1.34         (1.06, 1.68)
 37   Case-Control Study       2009    Moorman               1,086          1,057     1.37         (1.05, 1.80)
 38   Case-Control Study       2009    Wu                      609            688     2.08         ((1.34 3.23)
 39   Case-Control Study       2011    Rosenblatt              812          1,313     1.13         (0.93,1.36)
 40   Case-Control Study       2012    Lo-Cignaic              902          1,802     1.34         (1.07,1.66)
 41   Case-Control Study       2012    Kurta                   902          1,802     1.41         (1.16, 1.69)
 42   Case-Control Study       2015    Wu                    1,701          2,391     1.46         (1.27,1.69)
 43   Case-Control Study       2016    Schildkraut             584            745     1.71         (1.26, 2.33)



 Odds ratio, likelihood (odds) that an outcome will occur because of a particular exposure compared to the likelihood it will occur without
 the exposure. 95% CI, 95% confidence interval, a measure of statistical uncertainty that says with about 95% of the time that the true value
 is within the range of numbers. The wider the range, the higher the uncertainty. NR, not reported.
       * crude unadjusted estimate
       ** approximate, unadjusted
       estimate
       *** assessed perineal or thigh use, and controls all have
       cancer



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     Berge (2018) 68
     This large, comprehensive systematic review of the association between genital use of talc
     powder products and ovarian cancer also had well-described methods. Berge reviewed and
     abstracted data for 27 publications and reported an overall summary estimate of the
     association between talc exposure and ovarian cancer. For six of the reviewed studies, Berge
     included data published in a pooled data analysis, from Terry 69 described below) that had not
     been previously included in the original publications. Overall, data on 15,230 women with
     ovarian cancer were analyzed (a number that is incorrectly reported in the paper). This is
     slightly higher than the number included in Penninkilampi because of the additional patients
     from the Terry publication. The summary estimate for risk of ovarian cancer for women who
     ever used genital talc was RR 1.22 (95% CI 1.13, 1.30). When stratified by histologic type,
     serous carcinoma was the only type with a significant association to talc use (RR 1.24, 95% CI
     1.15, 1.34). There was no difference in risk when tumors were categorized as invasive versus
     borderline.

     To assess relationships among ovarian cancer and intensity and duration of use, these
     measures were analyzed separately rather than as a combined measure that would give an
     estimate of the total number of exposures; the analyses did not demonstrate a significant
     dose response. Importantly, these measures were assessed only in five studies with the
     results on frequency of use presented as increased risk per additional day per week of talc
     use, which assumes a very linear association. I was not able to identify the original studies
     used in the review that reported the results with this level of granularity. Because of the small
     number of studies, the results (3% increase in risk per additional day of talc used, with high
     statistical uncertainty) were not surprising.

     The authors also stratified the results by the study design (as did Penninkilampi) and found
     that the association between talc exposure and ovarian cancer was significant only for the
     case-control studies, although, as above, the cohort studies had the weakest definition of
     exposure. The primary limitation of the review is defining exposure as ever having used talc.
     As described above, this is a broad, vague definition that probably dilutes any estimated
     association, as it includes both women with trivial use and with regular use. A second
     limitation is that the included studies adjusted for a variety of covariates although this is
     unavoidable in this type of summary. The large difference in general between adjusted and
     crude results emphasizes the importance of adjustments when estimating particular risk.

     Langseth (2008) 70
     This systematic review of the association between genital use of talc powder products and
     ovarian cancer included 21 publications. The overall pooled odds of cancer were OR 1.35
     across all studies. Several authors of this systematic review were involved in an IARC report
     on talc exposure. They analyzed a subset of eight studies used in the IARC report that were
     considered to be the most informative for estimating ovarian cancer risk. Analysis of these
     more relevant, higher quality studies, produced an increased ovarian cancer risk of 30 to 60%
     (presumably OR 1.3–1.6) associated with talcum powder use. This subset analysis did not
     document a dose response or assess associations by cancer types.

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     Huncharek (2007) 71
     Huncharek summarized the results of nine studies that reported on the association between
     talc used on contraceptive diaphragms and ovarian cancer. No data on perineal talc exposure
     were analyzed and the data are not included herein. Of note, the reported methodological
     details suggest a very poorly designed and conducted study. Some of the included papers do
     not even mention talcum powder products used with diaphragms. This systematic review is
     poor quality.

     IARC (2006) 62
     Beginning in 1969 the International Agency for Research on Cancer (IARC) began a program to
     critically review the data on the carcinogenic risk of chemicals to humans. They subsequently
     expanded their reviews to included evaluation of carcinogenic risks associated with a range of
     exposures (including risks associated with biological and physical agents, lifestyle factors,
     complex mixtures of exposures, occupations, etc.) The purpose of the IARC program is to
     elaborate and publish detailed monographs including critical review of data, to evaluate
     human risks, and to indicate where uncertainty exists and where additional data are needed.
     They also give an overall assessment of the strength of the associations. It is worth noting
     that the individuals who contribute to IARC reports (the Working Group) include extremely
     knowledgeable and unbiased scientists who have specific content expertise and who have no
     apparent conflicts of interest. Invited specialists and representatives from international
     health agencies are brought in to supplement the scientific experts. In their evaluation, they
     heavily weight whether data support a conclusion of causality. They score evidenced into four
     categories, ranging from a) evidenced suggesting lack of carcinogenicity; b) inadequate
     evidence of carcinogenicity c) limited evidence of carcinogenicity and d) sufficient evidence of
     carcinogenicity. Category c is used when there is possibly carcinogenicity, and this category is
     not used lightly. An exposure meets category c if there is a positive association between
     observed exposure to the agent and cancer for which a causal interpretation is considered by
     the Working Group to be credible, but chance of bias or confounding could not be ruled out.
     They further categorize agents into 3 groups: Group 1, corresponding to d above (sufficient
     evidence), the agent is carcinogenic to humans; Group 2, which includes 2A (the agent is
     probably carcinogenic) and 2B: the agent is possibly carcinogenic to humans. A review
     focused on the risks associated with carbon black, titanium oxide and talc was published in
     2006. The review included a detailed review of the individual studies examining perineal talc
     use as a risk factor for cancer. IARC concluded that perineal use of talc-based body powder is
     possibly carcinogenic to humans (Group 2B)

     Huncharek (2003) 72
     This review of 16 studies assessed the relationship between genital exposure to talc and
     ovarian cancer using data for 5260 women with cancer and 6673 controls. The pooled OR for
     ever being exposed to perineal talc powder products was 1.33 (95% CI 1.16, 1.45). Small
     differences were observed in the estimated ORs by whether controls in the case-control
     studies were from hospital populations (OR 1.19, 95% CI 0.99, 1.4), or the general population
     (OR 1.38, 95% CI 1.25, 1.52). I believe these differences are small. In general, in case-control

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     studies, population controls are likely more relevant and valid. However, as with several of
     the other reviews, talcum powder exposure was assessed as any exposure rather than
     quantifying by intensity. No stratification by tumor subtype or invasiveness was performed.

     Gross (1995) 73
     Gross reviewed 10 studies on the association between talc exposure and ovarian cancer using
     data on 1333 women with cancer and 2362 without cancer. To summarize the RR of
     malignant epithelial cancer types due to any exposure to talc, adjusting for ovarian cancer risk
     factors, the authors combined results from five studies for OR 1.29 (95% CI 1.02, 1.63). For an
     analysis of all cancers (borderline and invasive), they included data from seven studies for a
     similar OR of 1.31 (95% CI 1.08, 1.58). Notably, the authors did not provide any
     methodological details of how they identified, assessed, and combined studies, making the
     results difficult to fully interpret. As with several of the other reviews, they assessed any
     exposure to talc.

     Harlow (1992) 74
     Harlow reviewed five previously published studies and summarized an OR, not adjusted for
     confounding factors, and added his own data for a crude estimated OR of 1.3 (95% CI 1.1,
     1.6). Unfortunately, no methodological details were provided on how studies were identified,
     assessed, and combined or how exposure was defined, making the results difficult to fully
     interpret. Further, only the combined, estimated, non-adjusted crude OR was reported. Of
     note, the results of the five published studies used in the review (in contrast to the summary)
     are well described and of good methodological quality.

     Systematic Reviews: Summary
     The systematic reviews provide a remarkably consistent estimate of an approximately 30%
     increase in the risk of ovarian cancer associated with any talc powder products use. The
     studies summarized in the systematic reviews reported consistent results with little variability
     and closely overlapping estimates for ovarian cancer risk due to talc use. Further, the reviews
     suggest that the risks are greater for invasive serous cancer. I believe Penninkilampi provides
     a comprehensive and high quality review and his estimate is that women who regularly use
     talc powder products, defined as >3600 lifetime applications, have a 40% increased risk of
     ovarian cancer compared to women with no regular talc power product use. The association
     was significant for serous cancers.

     While the methodological approaches of these systematic reviews were generally valid, I
     believe they all shared the weakness of focusing on any talcum powder use rather than daily
     talcum powder use, and this motivated my own review (below).

     Pooled Data
     Two large studies pooled data from several studies. They are worth describing because of
     their larger sample size and strong methodology in comparison to the individual case-control
     studies.


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     Pooled Data 1: Terry (2013)69
     This report pooled data on ovarian cancer patients from a national research consortium and
     assessed the relationship between talc powder products exposure and ovarian cancer by
     histologic subtype and invasiveness. Data were from eight case-controlled studies and
     importantly included previously unpublished data. The authors tried to unify definitions
     across the studies, but the definitions nonetheless varied widely. The prevalence of genital
     powder use in the controls varied widely across participating study sites, ranging from 15%–
     45%, suggesting either large variations in the underlying populations or, probably more likely,
     variation in the definition of powder use that led to these differences.

     The data were for a total of 8525 cases and 9859 controls in the primary analysis. The authors
     found that genital talcum powder use was associated with an approximately 24% increased
     risk of epithelial ovarian cancer (OR 1.24, 95% CI 1.15, 1.33). When stratified by cancer type,
     the risk was increased for all cancers except mucinous cancer. Risks were approximately
     equally elevated for invasive and borderline tumors. They used a subset of patient data to
     determine RR of ovarian cancer for the highest talcum powder users, measured as cumulative
     lifetime perineal applications (defined as applications per month and months of the year).
     They also considered age (inclusion in the highest user group required more use at age 70
     than age 40) and assessed risk of cancer among the highest users. The odds of cancer in the
     highest talc exposure category was higher than for women who ever used talc (OR 1.37,
     95% CI 1.19, 1.58). A significant dose response was seen when data on all patients were
     analyzed, with greater exposure leading to greater risk.

     Pooled Data 2: Cramer (2016) 75
     Cramer conducted several case-control studies on the relationship between genital talc
     powder use and ovarian cancer. He pooled data from a large number of these studies,
     described as reflecting study enrollment in 1992–1997, 1998–2002, and 2003–2008. This
     publication reports the analysis of pooled data from these separate enrollment phases and a
     more detailed characterization of those data. Cases were women who resided in Eastern
     Massachusetts and New Hampshire diagnosed with epithelial ovarian cancer between the
     ages of 18 and 80. Controls were women identified through random-digit dialing, driver’s
     license lists and town resident lists. Women were interviewed in person, and details of talc
     use were elicited including the number of applications per month (allowing assessment of
     frequency of use), timing of use, and lifetime exposures. These descriptions gave far greater
     detail than most other reports and are thus an important contribution to the field. Further,
     more demographic and clinical history were obtained and described in these enrollments
     than for other reviewed studies. This report gave associations from pooled data for 2041
     cases and 2100 controls. The larger size of the population, unified variables, and greater
     detail about cases and controls allowed a larger number of stratifications than other studies.

     Overall, genital talc use was associated with an OR of 1.33 (95% CI 1.1.6, 1.52). An important
     observation was that risk decreased with time since last use. Thus, how often women
     regularly used talcum powder (daily, or weekly or monthly) was meaningful for predicting
     ovarian cancer risk, but not if the women had not used talcum powder for 5 or more years.

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     Women who reported using talcum powder daily (>30 applications per month) had an OR of
     1.46 (95% CI 1.2, 1.78). Of note, among women in the ovarian cancer case group who used
     talcum powder, daily was the most commonly reported frequency of use. When analysis
     used data on women who reported their total number of talcum powder applications,
     those in the highest group category (>7200 lifetime applications, the equivalent of 20 years
     of daily application) had an OR for ovarian cancer of 1.49 (95% CI 1.06, 2.1).

     Cramer conducted detailed analysis of factors that could influence/interact with the
     association between talcum powder and ovarian cancer. Some of the results are quite
     striking. First, a very strong interaction with race was noted. African-American women seem
     to be at a particularly elevated risk of ovarian cancer following talcum powder exposure
     (OR 5.08, 95% CI 1.32, 19.6) compared with white women (OR 1.35, 95% CI 1.17, 1.55). This
     finding calls for greater research given the higher incidence, and poorer outcomes among
     African American women. Asian women seem to be at reduced risk (OR 0.04, 95% CI 0.01,
     0.34). Analysis showed a strong relationship with menopausal status and use of hormone
     replacement therapy. ORs were significantly increased in premenopausal women (OR 1.41,
     95% CI 1.13, 1.75) and postmenopausal women who used hormone treatment (OR 2.21,
     95% CI 1.63, 3.0). Postmenopausal women who did not use hormone therapy were not at
     increased risk of ovarian cancer (OR 1.0, 0.68, 1.49). Interestingly, the risk of ovarian cancer
     among postmenopausal hormone-treatment users was elevated only if they used
     hormones before hysterectomy and tubal ligation but risk was substantial (OR 3.49, 95% CI
     1.39, 8.75) if talcum powder was used before these surgeries (OR 5.85, 95% CI 2.89, 11.9)
     compared to talcum powder use both before and after surgery.

     These findings merit further assessment in other populations but raise the possibility that
     estrogen is important in ovarian carcinogenesis. The authors also stratified analyses by
     histologic type and found that the relationship between ovarian cancer and frequency of
     talcum powder use was significantly elevated for invasive and borderline serous cancer and
     invasive endometrioid cancer, but not for mucinous, clear cell or mucinous borderline cancer.
     Among the most frequent users of talc the adjusted OR for invasive serous cancer is 1.54
     (95% CI 1.15, 2.07). This relationship was even stronger among premenopausal women (OR
     1.85, 95% CI 1.21, 2.8) compared to postmenopausal women (OR 1.33, 95% CI 0.96, 1.85).

     Pooled Data of Case-Control Studies: Summary
     The increased risk of ovarian cancer associated with talc use was estimated at around 40%
     across these studies. The increased risk for serous cancer was even higher at 50%.

     Case-Control Trials
     A large number of case-control studies are published—too many to dedicate a paragraph to
     summarizing the methods of each.
     21,24,36,40,74,76-99



      I carefully read and abstracted data from each study. Without assessing the quality of the
     case-control studies, I included them in a table and sorted them by size of the reported effect

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     of talc on ovarian cancer risk. It’s a way to get an overview of what they report – and Viewing
     them in this way is easy to see the general direction of the effect. All but two demonstrate a
     positive association (OR > 1) between any talc powder products use and ovarian cancer, with
     ORs ranging from 0.73–3.9 across studies, Table 5 .

     Table 5: List of Case-Control Studies Sorted by Estimated Effect Size (Odds Ratio)
              Year     First author                  Odds ratio   Confidence interval
                       2008           Goodman 367    602          0.99        (.70, 1.41)
              1993     Tzonous        189     200    1.05         (.28, 3.98)
              1989     Harlow         116     158    1.10         (0.70,2.1)
              1999     Wong*          499     755    1.13         (0.89, 1.43)
              2011     Rosenblatt     812     1313   1.13         (0.93,1.36)
              1995     Purdie         824     860    1.27         (1.04, 1.54)
              1989     Booth          235     451    1.30         (0.80,1.9)
              1998     Green          824     855    1.30         (1.1, 1.6)
              2008     Merritt        1576    1509   1.34         (1.06, 1.68)
              2012     Lo-Cignaic     902     1802   1.34         (1.07,1.66)
              2009     Moorman        1086    1057   1.37         (1.05, 1.80)
              2008     Gates                         1.41         (1.14, 1.76)
              2012     Kurta          902     1802   1.41         (1.16, 1.69)
              1988     Whittemoore    188     539    1.45         (0.94, 2.22)
              2015     Wu             1701    2391   1.46         (1.27,1.69)
              2000     Ness           767     1367   1.50         (1.1, 2.0)
              1997     Chang          367     564    1.51         (1.13,2.02)
              1982     Cramer         215     215    1.58         (0.98, 2.47)
              1997     Cook           313     422    1.60         (0.9, 2.9)
              1999     Cramer         563     523    1.60         (1.18, 2.15)
              1992     Rosenblatt     77      46     1.70         (.70, 3.9)
              2016     Schildkraut    584     745    1.71         (1.26, 2.33)
              2004     Mills          256     1122   1.74         (1.14, 2.64)
              1992     Harlow         235     239    1.80         (1.1, 3.0)
              1996     Shushan **     200     408    2.00         NA
              2009     Wu             609     688    2.08         ((1.34 3.23)
              1998     Godard         170     170    2.49         (0.94,6.56)
              1983     Hartge         135     171    2.50         (0.70, 10.0)
              1992     Chen           112     224    3.90         (0.9,10.6)
              2004      Pike                         NA




     V. Rationale for and Explanation of the New Systematic Review

     In previous systematic reviews that I have conducted, I have obtained the most meaningful
     and consistent results by narrowly defining the research topic of the review, including only
     studies that provide data on this narrow topic in a well-defined population and stratifying my
     analysis of the studies’ results by relevant factors such as age or race/ethnicity. The benefit of
     this approach is more accurate, precise, and meaningful results, while the potential tradeoff is
     a reduction in general applicability of the results, because many studies may be excluded for
     inadequate data. I believe greater accuracy is more important because I want to be certain
     about the data I am describing. For example, when I conducted a systematic review on the
     use of transvaginal ultrasound as a diagnostic test for endometrial cancer, I initially stratified

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     the results by patient use of hormone therapy. The reviewed studies had consistent results,
     but only if profoundly different diagnostic criteria were applied for women who did and did
     not use hormone therapy. For this reason, I completed one review on hormone users and
     another on non-users. In this case, I had sufficient data to assess both groups.

     In this review on talcum powder use, I had sufficient data to summarize results for regular
     users of talcum powder (as close to daily but reflecting use of talc powder products several
     times per week) and risks of serous cancer; I did not have sufficient data to summarize results
     for occasional users or risk of other cancer types. I believe the most important research
     question to answer in this review is whether regular exposure to talcum powder is associated
     with ovarian cancer. I want to point out that this does not mean that other uses (i.e. less than
     approximate daily use) does not cause ovarian cancer, nor that talc powder products does not
     cause other types types of ovarian cancer (e.g. endometrioid cancer). Thus, for the systematic
     review below of case-control studies on the relationship between perineal exposure to
     talcum powder products and ovarian cancer, I focused on whether regular use of perineal
     (genital) talc increases the risk of the ovarian cancer. When possible, I focused on the most
     common and serious type, invasive serous ovarian cancer.

     VI. New Systematic Review of Literature Quantifying Association Between Regular Frequent
     Genital (Perineal) Talcum Powder Products Application and Ovarian Epithelial Cancer Risk
     with A Focus on Invasive Serous Cancer.

     Literature Search
     I performed a literature search to identify primary research studies (not reviews) that
     included patient-level data on the association between talc and ovarian cancer. The literature
     search was performed in the Medline, Embase, and Scopus databases using keywords
     “ovarian cancer,” “talc,” “perineal powder” and “genital powder.” Abstracts of resulting
     publications were reviewed to identify if they addressed the topic and included data. Only
     English-language articles were reviewed. The references of identified articles and reviews
     were scanned to identify additional publications. Review articles, editorials, letters to the
     editor were excluded.

     Article Selection
     Articles were included based on relevance to the question: Does the regular (as close to
     approximately daily) use of genital (perineal) talcum powder increase invasive epithelial
     ovarian cancer? Because daily use was the most dominant use category, when studies
     stratified their results into quartiles of use, or lifetime applications, I included the highest use
     category that had a reasonable number of data points to reflect daily use. Wherever possible,
     data on invasive serous cancer were abstracted separately. When I found duplicate reports on
     the same patient group, the largest and most detailed publication was included. This usually
     meant the most recent publication, but not always. An important caveat is that I could not
     always identify duplicative results. I included data from the Terry 2013 pooled data study
     because it included new data from previous studies. I also included data from the Cramer


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     2016 pooled analysis and earlier publications with duplicative patients were not included. But
     I calculated the results both including and excluding these studies.

     Exclusion
     Studies were not included if they reported only crude ORs unadjusted for confounding
     factors, A few studies were excluded because, the research methods were poorly defined,
     even though they reported on women who frequently used talcum powder. Studies that
     asked participants a single question about ever use of talcum powder, without further
     quantification of exposure, were not included in the summary.

     Defining Talcum Powder Products Use
     Regular use was defined ideally as daily or at least more than 3 uses per week. I also accepted
     studies that defined use as “regular” where the description made it clear that this was regular
     use. Studies that reported “regular use” but defined it as use of less than this frequency, were
     not included. Regular use was selected to differentiate occasional use (which may include
     one-time or infrequent use or use during only a particular time of a woman’s menstrual cycle)
     from sustained regular use. Studies that asked participants a single question about ever use of
     talc, without further quantification of exposure, were not included in the summary. For
     example, Purdie reported that 52–57% of women reported ever using talc without further
     quantification and was not included. Several studies asked about regular use defined as at
     least once a month. These studies were not included unless they further characterized
     women into different categories of use; if so, I included data for women in the highest use
     category as long as this was group was large enough to be meaningful. When studies asked
     about ever use but defined use and stratified results by use, I included any data that may
     have reflected daily use. This measure of regular use is imprecise but is more accurate and
     meaningful than evaluating talcum powder exposure as any use.

     Stratification of Analyses: Focus on a Single Histologic Type Where Possible
     My review focused on invasive serous cancer where possible, but also included all invasive
     cancer. The decision to focus on a single histologic cancer type was in part because ovarian
     cancers include a broad range of types and association of talc and ovarian cancer might differ
     by type. I chose serous cancers because they are most common invasive ovarian cancer type.
     Importantly, serous ovarian cancer is the only histologic type for which most individual
     research studies accumulated sufficient cases for valid statistical analysis. This cancer type
     also has the least uncertainty in pathological diagnosis (see Section III, Histologic Types).
     Further and most importantly, serous ovarian cancer is the most aggressive histologic type, so
     identifying causal factors is important. Finally, I focused on invasive cancer (as opposed to
     borderline cancer) because the risk of death from invasive serous tumors is far higher than for
     noninvasive types, with growing consensus that borderline tumors may not be malignant.

     Type of Exposures
     Studies were included if they reported on perineal exposure (rather than exposure through
     sanitary napkins, diaphragms, or condoms) as this is the most common exposure type and is

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     likely to reflect the most consistent exposure. I did not exclude studies if they reported
     combined use, as long as the exposure included perineal use.

     Statistical Analysis
     Two individuals (Smith-Bindman and a consultant biostatistician) reviewed an abstracted data
     from each publication. Differences were resolved by consensus. The focus of the review was
     on quantifying the association between regular talcum powder products use and ovarian
     cancer, with a sub analysis on serous cancer and invasive cancer. Meta-analysis was
     performed using the metafor package in R (Version 3.5.1). The rma function was used to
     apply linear mixed effects models to study results and calculate summary statistics on effect
     size. Due to varying amounts and types of available data from each included publication,
     adjusted odds ratios (OR) and standard errors were used as the model inputs. Standard error
     (SE) was estimated using the relationship: 95% confidence interval = Effect size +/- 1.96*SE,
     assuming a roughly normal distribution of data and roughly symmetrical upper and lower
     confidence interval bounds. Incorporating adjusted ORs and SE into models in this way
     provides the added benefit of allowing model use of covariate-adjusted data (versus crude OR
     data). Weighting was done based on estimates of inverse variance. Study result heterogeneity
     was estimated based on maximum likelihood methods and was summarized via an I2 statistic
     and associated p-value. The decision to include results from the cohort study by Gertig and
     colleagues (2000), which reported relative risk (RR), was based on the estimation that the RR
     value was only nominally different from the OR, a safe assumption in a study sample where
     less than 0.4% of the cohort developed the condition-of-interest.

     Results
     Overall 10 studies reported on daily talc powder products use and the risk of ovarian cancer.
     These studies were homogenous, and the odds of ovarian cancer associated with regular use
     was 1.43 (95% CI 1.15 1.71). The included studies with associated point estimates are shown
     in a Forrest Plot in Figure 2

     Figure 2. Forrest plot showing odds of ovarian cancer associated with regular use of talcum powder products.




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     The primary analysis of this excluded Terry, but the results were nearly identical if Terry was
     included

     There were studies reported on regular talcum powder use and invasive serous cancer (or all
     invasive cancer if serous not reported) These studies were homogenous. The odds of invasive
     serous cancer associated with regular use was 1.52 (95% CI 1.15, 1.88). The results were
     similar when assessing the odds of all serous cancer.

      Figure 3 Forrest plot showing odds of ovarian cancer assocated with regular use of talcum powder
      products and invasive serous cancer.




     New Systematic Meta-Analytic Review: Summary

     The results of my systematic review of case-control studies on talcum powder use and
     ovarian cancer risk were consistent and indicate a 50% increase in risk of serous invasive
     cancer related to routine talcum powder exposure compared to no exposure. This review
     had limitations including that study results were self-reported. I tried to be consistent in
     defining exposure, but this factor was subjectively determined by the individual studies. I
     tried to eliminate overlap of participant populations used in the included studies, but some
     patients may have contributed data to more than one study.

     Overall Summary of the Epidemiology Data Describing the Association Between Talcum
     Powder Products and Serous Ovarian Cancer
     I conclude, based on the review of the available primary studies, systematic reviews and my
     own quantitative review, that regular exposure to talcum powder products increases ovarian
     cancer risk by around 50%. The existing systematic reviews (in particular Penninkilampi and
     Berge) also concluded a significant increase in ovarian cancer risk following talcum powder
     exposure.




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     VII. Other Relevant Factors

     Research Supporting Talcum Association with Ovarian Cancer: Transit to Ovary and Risk
     Reduction on Interruption
     Evidence from relevant studies is clear that talcum powder particles applied to the genital
     region will ascend through the vagina and fallopian tubes and enter the pelvic cavity, reaching
     fallopian tubes and ovaries. In humans, this route has been established experimentally by
     labelling inert particles, applying them to the perineum just prior to planned hysterectomy,
     and then recovering them from the fallopian tubes following surgery. [Egli Fertil Stwril 1961]

     Further, talc particles have been found in normal and malignant ovarian tissue. Henderson
     found that in 10 of 13 tested epithelial ovarian cancer tumors, 75% had talc embedded in the
     tissue. This result confirms that talc reached to the areas with cancerous tissue, but not that it
     caused the cancer. Histological evaluation of ovaries removed because of ovarian cancer or
     benign conditions have identified both talc particles and asbestos fibers in the ovarian tissue,
     further supporting that particles applied to the perineum reach the ovaries. 60,100 Heller found
     that in all women in a study who were having ovaries removed for benign ovarian growth had
     talc in their ovaries. These results confirm that talcum powder applied to the perineum may
     be absorbed into the vagina and migrate or be transported to the tubes and ovaries. 101-104 In
     1967, Graham and Graham demonstrated that intraperitoneal application of asbestos in
     guinea pigs and rats results in overgrowth of ovarian epithelial cells comparable to the
     histologic changes in epithelial ovarian tumors in women. The greater frequency at which talc
     particles are discovered in ovarian cancerous tissue than in normal ovarian tissue further
     supports that these particles may be causing cancer.

     Several epidemiological studies evaluated the risk of ovarian cancer associated with talcum
     powder products before and after women had tubal ligation or hysterectomy, which
     surgically removes the route by which talc reaches the ovaries. The studies strongly suggest
     that the increased risk of ovarian cancer associated with talcum powder products use is
     reduced or eliminated after tubal ligation or hysterectomy. The results support that the risk
     from talcum powder products is elevated when women have an open pathway from the
     perineum to the ovary that enables powder components to reach the ovaries via
     unobstructed fallopian tubes., The collective results demonstrate that talcum powder
     products are carcinogenic through direct transport/migration to the fallopian tubes and
     ovaries.

     Variation in Risk when Talc Use is Discontinued
     Several studies showed that the risk of ovarian cancer associated with talc powder products
     decreases as the time from discontinuation of powder use increases. For example, Cramer
     found an elevated risk of ovarian cancer with talc powder products use and the risk decreased
     as time since last use increased. 75

     VIII. Consideration of Causality of Talc Powder Products and Ovarian Cancer : Bradford Hill
     Analysis

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     Causality is easiest to determine in studies such as randomized controlled trial, in which
     participants are randomized to receive or not receive a treatment, then their health is
     followed to see their response. However, people cannot ethically be randomized to be
     exposed to a potentially cancer-causing agent. Therefore, when assessing risk factors for
     cancer, the Bradford Hill Factors are often used. They provide a framework for assessing the
     weight of evidence to help decide if causality is likely, given a particular association, such as
     between talcum powder and ovarian cancer. The guidelines are imperfect and provide a
     framework as compared with an absolute set of criteria.

     I address each of the Bradford Hill factors below, with my understanding of how the evidence
     of talcum powder products exposure supports or refutes causality. While the Bradford Hill
     Factors include nine aspects of association, they should not be used as a checklist for
     causation. Instead, they can help interpret associations and aid in inferring causality. For each
     factor, I have highlighted why I believe this factor is more or less important.

     A) Strength of Association
     It is frequently argued that the larger an apparent association, the more likely the association
     is to be real (causal) and important for epidemiological assessment. This would suggest that
     an OR of 2.0 is more likely to indicate causality and importance than an OR of 1.5. While this
     is often argued, I do not believe this is necessarily the case. If a risk factor increases the risk of
     disease by 50%, and the exposure is common, it will have a far greater impact on a number of
     people, in comparison to a rare exposure that has a higher associated OR. And if the
     association is truly one that increases risk by 50%, then this is the magnitude of the
     association that will be detected. It is not intuitive that if an exposure increases a risk by 50%,
     this difference is not discoverable compared with an exposure that increases risk by 100%. A
     larger association between exposure and disease may be easier to identify, but I do not
     believe it is more likely to indicate causality or importance.

     As an example, Table 6 shows an overview of the relationship between bladder cancer and
     two of its known risk factors; occupational industrial chemicals and smoking. Several
     industrial chemicals such as 2-naphthylamine are strongly associated with bladder cancer risk.
     In 1954, Case et al. reported a 200-fold increased bladder cancer risk for workers exposed to
     2-naphthylamine. In cohort studies of rubber industry workers, elevated standardized
     mortality ratios (SMRs) as high as 253 (95% CI 93, 551) were reported. Use of some of these
     chemicals are now prohibited in Europe and their use is regulated in the United States
     because they cause cancer.(OSHA, 2011).

     Cigarette smoking is also a known bladder cancer risk factor. However, the RR for smoking
     and bladder cancer is around 3, and therefore about 100 times lower than the RR for
     exposure to industrial chemicals. Yet bladder cancer is the second most common cancer
     attributed to smoking in the United States. It impacts a very large number of individuals. Of
     the 70,000 cases of bladder cancer diagnosed each year, as many as 60% are estimated as
     attributable to smoking.


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     Using the RR magnitude to quantify the “importance” of these two risk factors, industrial
     chemicals and smoking, would be misleading. Smoking will result in far more cancers than
     industrial chemicals, even though the RR is much lower. In the crude data in Table 6, of the
     approximately 70,000 bladder cancers diagnosed annually in the United States, 50,000 are
     thought to result from cigarettes while fewer than 1000 result from occupational exposures.
     A 50% reduction in smoking exposure will save 25,000 men from getting bladder cancer.
     Reducing industrial chemical exposures will saving around 500 men from getting bladder
     cancer. Thus, any impact on reducing known exposures for bladder cancer has the potential
     to be around 50 times more impactful if directed at smoking.

     Table 6. An example showing the number of individuals who might be impacted through
     exposure to an occupational chemical that leads to bladder cancer as opposed to smoking.


                                                                   Occupational
                                                                     Exposure
                                                                 2-naphthylamine    Smoking
               Estimated odds ratio associated with exposure            200             3
               Number of individuals exposed annually                 10,000       50,000,000
               Bladder cancers due to exposure annually                1000          50,000
               Impact on number of cancers diagnosed annual if          500          25,000
               exposure reduced by 50%




     The bladder cancer example highlights that a factor that increases risk by 50% will have an
     enormous impact on population mortality if the exposure is common or if the cancer is
     particularly lethal. This is certainly the case for talcum powder products, which are used by as
     many as half of all women in the U.S. Women’s use of talcum powder products is so
     widespread that even a relatively modest increase in risk would pose a sizeable health risk to
     the population. Further, a 50% risk increase is particularly important for ovarian cancer, which
     has a high mortality rate, with rare early detection.

     Defining a “strong” association is critical for assessing potentially causal relationships. A
     current concept in epidemiology is that considerations about whether a factor causes a
     disease should weigh statistical validity and significance and the multiple factors that
     influence the disease. Thus, assessing strength of association when inferring causality
     requires examining underlying research and analytic methods, comparing the weight of
     evidence in the literature, and considering other contextual factors. The data supporting the
     causality of talcum powder products exposure for ovarian cancer is extremely strong.

     Using the existing evidence, I reviewed and assembled for this report, I estimated how many
     ovarian cancers that occur each year in the United States are likely to be caused by exposure
     to talcum powder products in comparison to other risk factors for ovarian cancer, Table 7.
     This is a relatively simple analysis, but nonetheless is informative. The total number of ovarian
     cancers that are estimated to occur in the US annually is 22,240, and these will occur among

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     the 50.8 percent of the U.S. population of 311 million who are women. Of these ovarian
     cancer cases, approximately half (11,120) will reflect invasive serous carcinoma. For the
     purpose of this simple analysis, I have assumed that the elevation in ovarian cancer risk
     associated with talcum powder product exposures occurs only with invasive serous
     carcinoma. This is not true, but the data are the most certain for these cancer and this is a
     conservative assumption (meaning the true number of cancer and proportion of cancers
     caused by talcum powder product users will be even higher than my calculation). A
     proportion of ovarian cancers will occur among women who regularly use talcum powder
     products, and the remainder will occur in women who do not regularly use talcum powder
     products. If we estimate that women who use talcum powder products regularly have a 50%
     elevated risk of invasive serious cancer and we estimate the number of women who are
     exposed to daily talcum powder products is between 10% and 30% (this proportion is fewer
     than ever users of talcum powder products), then between 1,589 and 4,351 women will be
     diagnosed each year with invasive serous cancer caused by the exposures, reflecting between
     14% and 39% of all invasive serous cancers and reflecting between 7% - 20% of all ovarian
     cancer diagnosed each year. This is a tremendous risk. This is a very large number of cancers
     to be caused by a product that provides no medical benefit. This Bradford Hill Factor of the
     Strength of the association is important and is met.

     Table 7 An estimate of the number of ovarian cancers and invasive serous cancers caused
     by regular use of perineal talc powder products.

                                           Annual Invasive     Annual Invasive                         % of all ovarian
                                           Serous Cancer in    Serous Cancer in    % Invasive Serous   Cancer in Women
                                           Women Exposed       Women Not           Cancer in Women     Exposed to
                                           to Talcum Powder    Exposed to Talcum   Exposed to Talcum   Talcum Powder
                                           Products            Powder Products     Powder Products     Products
              Proportion of women who
            regularly use Talcum powder
                                products


                                   10%           1,589               9,531               0.14                0.07
                                   20%           3,033               8,087               0.27                0.14
                                   30%           4,351               6,769               0.39                0.20



     B) Consistency of Associations in Different Populations and Studies
     Another consideration for association and causality is consistency of the data. The data on the
     association between genital talc and ovarian cancer are highly consistent. The relative
     stability in the estimated increase in the risk of ovarian cancer associated with talc powder
     products use (50% increase for regular users of talcum powder and serous cancers; around
     40% increase for all epithelial ovarian cancer and regular users of talcum powder products),
     as assessed across time and in diverse populations with diverse study designs, strongly argues
     that the causal association is real and satisfies the Bradford Hill guideline for consistency of
     associations across populations and studies.


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     C) Specificity Between Cause and Effect
     The Bradford Hill factors suggest that associations are more likely to be causal when an
     exposure causes only one disease. While some examples of highly specific exposures and
     outcomes exist, many exposures and health concerns involve complex chemical mixtures and
     low-dose environmental and occupational exposures complicated by a variety of personal risk
     factors. A recent review stated, “The original criterion of specificity is widely considered weak
     or irrelevant from an epidemiologic standpoint.“ 105 Asbestos, for example, is associated with
     a range of cancers and various exposures. Regardless of doubts about the meaningfulness of
     this factor, talcum powder products are primarily associated with ovarian cancer and thus
     fulfills the specificity consideration, although this consideration is not one of the most
     important considerations for causality in my expert opinion.

     D) Temporality
     An exposure must come before an outcome for the exposure to be causal. Bradford Hill
     explained that for an exposure-disease relationship to be causal, exposure must precede the
     onset of disease. While this is self-evident, in epidemiological studies, reverse causality, in
     which behavior related to a health issue is influenced by knowledge or events about the issue,
     is always a concern. For example, women who undergo ovarian cancer treatment may begin
     using talcum powder products during their pre- and post-operative period because of
     symptoms or side effects perceived to be alleviated by talcum powder products use.
     Assessing talcum powder use without specifying the time of use might lead to women with
     ovarian cancer being more likely to report talcum powder products use. In this example,
     talcum powder may not have caused the cancer; rather, use of talcum powder products was
     caused by the cancer (and treatments). The importance of this issue led to Bradford Hill’s
     consideration of temporality when assessing causality.

     In essentially all of the case-control studies that assessed use of talcum powder products,
     women were specifically asked to report talc powder products only during past, not current
     periods; thus, the studies explicitly assessed exposure to talcum before cancer. Typically,
     questions were phrased “Did you ever use talc, but not in the last year before cancer
     diagnosis?“ to exclude the year prior to diagnosis. This issue is not relevant for the included
     cohort studies, as women were surveyed about their exposures prior to cancer
     ascertainment. Thus, the temporality consideration is important for my consideration and is
     satisfied.

     E) Dose Response
     In general, when risks are proportional to exposure (e.g., doubling exposure doubles risk) this
     dose-response evidence is considered to support causality. Many of the reviewed studies did
     not collect sufficient data to carefully quantify the dose response, and many limited their
     comparisons to an ever/never comparison. This is in part what motivated me to complete my
     separate quantitative review to at least be able to dis-entangle ever into regular versus not
     regular use. The reviewed studies that did provide data that could be used to assess the

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     potential for dose response had mixed results in quantifying dose response. While most
     studies showed evidence of a dose response, others did not. For example, Schildkraut showed
     that >20 years of any genital powder use (OR 1.51, 95% CI 1.11, 2.06) showed a stronger
     association with ovarian cancer than <20 years of use (OR 1.33, 95% CI 0.95, 1.86). 99 Terry
     and Harlow showed significant dose responses, where ORs increased as exposures increased.
     69,74
           The adjusted ORs increased from 1.3, to 1.5 to 1.8 with <1000, 1000–10,000, and >10,000
     lifetime applications. Overall, any exposure to talcum powder resulted in an OR of 1.5; direct
     perineal application had an OR of 1.7 (95% CI 1.1, 2.7), daily exposure had an OR of 1.8 (95%
     CI 1.1, 3.0) and women with an intact genital tract who were estimated to have had more
     than 10,000 applications during ovulating years had the highest risk (OR 2.8 95% CI 1.4, 5.4).
     This exposure was found in 14% of women with ovarian cancer. Penninkilampi 67,the most
     comprehensive of the systematic reviews, also showed a dose response where women with
     more than 3600 lifetime applications had slightly higher risks as did women who reported
     long-term (>10 years) talc use. In contrast, Whittemore 77 showed no dose response, and
     Booth 78 demonstrated the reverse—the higher the dose, the lower the risks. The data from
     reviewed studies were too diverse to summarize a dose-response relationship. The measures
     of exposure frequency and duration varied, and the studies used different thresholds for
     quantifying exposures. Further, the measures to quantify dose tended to be crude, making
     the response even more difficult to establish.

     In summary, most but not all studies of talcum powder products and ovarian cancer show a
     dose response, but the results are inconsistent, and more importantly, are not considered or
     assessed in most of the published studies. A dose-response relationship is not required for
     causality and in large part because data were not consistently available, this factor does not
     weight heavily in my consideration. Further, this factor did not weight heavily in my
     considerations in that not all exposures will have a dose response, and some will indeed have
     a threshold effect. This is important here because asbestos is believed to exhibit a threshold,
     rather than a linear, dose-response.

     F) Biologic Plausibility: Factors Linking Talc and Ovarian Cancer
     The epidemiological evidence suggests a strong and positive association between exposure to
     talcum powder products and invasive ovarian cancer. However, epidemiological evidence
     alone does not provide a mechanism or pathophysiological process that accounts for the
     increased risk. Nor does the epidemiological evidence confirm the specific component or
     ingredient in talc powder products that is responsible for carcinogenesis. Nonetheless, the
     data are persuasive that particles contained in talcum powder reach the tubes and ovaries,
     inflammation initiate a causal pathway, and that several components of talc powder products
     including asbestos, asbestiform fibers in talc, and heavy metals can contribute to the
     carcinogenicity of the products. This was a strong factor in my consideration of the evidence
     because there is extremely strong evidence that the components of talc powder products are
     known to be highly carcinogenic in other settings.




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     G) Coherence and Consistency with Understood Biology
     The guideline of coherence is considered similar to biological plausibility. For both, the cause-
     and-effect explanation should be consistent with all knowledge available. For talcum powder
     and ovarian cancer, this consideration is easily satisfied.

     H) Experimental Evidence
     The evidence in humans of the impact of talcum powder products exposure and ovarian
     cancer development is based on a large number of observational studies. Direct experimental
     evidence in the form of randomized controlled trials in humans is simply not possible to
     generate, for ethical reasons. The experimental evidence in humans that talc particles can
     migrate to the ovary and be incorporated into ovarian tissue is relevant to developing a causal
     model but does not directly prove that that exposure causes cancer. There is also human data
     relating to the inflammatory nature of ovarian cancer. There is compelling in vitro research
     delineating the inflammatory mechanism by which talcum powder causes cancer. Animal
     studies showing inflammatory tissue effects and tumor formation with talcum powder
     exposure are also supportive.

     I) Analogy
     Bradford Hill implied that when evidence is strong of a causal relationship between a risk
     factor and disease, researchers should be more accepting of weaker evidence that a similar
     risk factor may cause a similar disease. Thus, analogy has been interpreted to mean that
     when one causal agent is known, the standards of evidence are lowered for a second causal
     agent that is similar. The strong evidence for the association between asbestos and lung
     cancer, and the chemical similarity between these minerals, as well as their fibrous nature,
     supports the analogy consideration and causal inference.

     Summary: Consideration of Causality of Talc Powder Products and Ovarian Cancer using
     Bradford Hill

     In consideration of Bradford Hill, the clear strength of the association (A), remarkable
     consistency in the published literature across a large number of populations and research
     studies (B), temporality (D) considered in all of the published studies, and perhaps most
     importantly, biological plausibility (F) were the criteria that I considered of paramount
     importance when assessing the causality of exposures of talc powder products and epithelial
     ovarian cancer

     IX. Conclusion
     In conclusion, substantial evidence supports a strong, positive and causal association between
     ovarian cancer and genital exposure to talcum powder products. Regular exposure to talcum
     powder products causes ovarian cancer in some women. This opinion is based on my
     extensive review of the medical and scientific literature, my own independent meta-analysis
     of the data, and my experience and expertise in the areas of epidemiology and women’s
     health, including ovarian cancer.


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     All opinions are made to a reasonable degree of medical and scientific certainty. I reserve the
     right to amend or supplement this report as new information becomes available.


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           Meta-Analysis. Epidemiology (Cambridge, Mass). 2018;29(1):41-49.
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           Prevention Organisation (ECP). 2018;27(3):248-257.
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           pooled analysis of 8,525 cases and 9,859 controls. Cancer prevention research (Philadelphia,
           Pa). 2013;6(8):811-821.
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           cancer. Journal of epidemiology and community health. 2008;62(4):358-360.
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           diaphragms and risk of ovarian cancer: a meta-analysis of nine observational studies.
           European journal of cancer prevention : the official journal of the European Cancer Prevention
           Organisation (ECP). 2007;16(5):422-429.
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           talc exposure and ovarian cancer. Journal of exposure analysis and environmental
           epidemiology. 1995;5(2):181-195.
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           Obstetrics and gynecology. 1992;80(1):19-26.
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           Ovarian Cancer: A Retrospective Case-Control Study in Two US States. Epidemiology
           (Cambridge, Mass). 2016;27(3):334-346.
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           perineal exposure to talc. American journal of epidemiology. 1989;130(2):390-394.
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           ovarian cancer. Gynecologic oncology. 1992;45(1):20-25.
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           1997;79(12):2396-2401.
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           American journal of epidemiology. 1997;145(5):459-465.
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           cancer. Survey of Women's Health Study Group. International journal of cancer.
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           cancer among French Canadians: a case-control study. American journal of obstetrics and
           gynecology. 1998;179(2):403-410.
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           cancer. International journal of cancer. 1999;81(3):351-356.
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           subsequent epithelial ovarian cancer: a case-control study. Obstetrics and gynecology.
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           risk in the Central Valley of California. International journal of cancer. 2004;112(3):458-464.
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           single-nucleotide polymorphisms in the CYP19A1 locus and ovarian cancer risk. Endocr Relat
           Cancer. 2008;15(4):1055-1060.
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           NSAIDs in relation to risk of epithelial ovarian cancer. International journal of cancer.
           2008;122(1):170-176.
     93.   Moorman PG, Palmieri RT, Akushevich L, Berchuck A, Schildkraut JM. Ovarian cancer risk
           factors in African-American and white women. American journal of epidemiology.
           2009;170(5):598-606.
     94.   Wu AH, Pearce CL, Tseng CC, Templeman C, Pike MC. Markers of inflammation and risk of
           ovarian cancer in Los Angeles County. International journal of cancer. 2009;124(6):1409-1415.
     95.   Rosenblatt KA, Weiss NS, Cushing-Haugen KL, Wicklund KG, Rossing MA. Genital powder
           exposure and the risk of epithelial ovarian cancer. Cancer causes & control : CCC.
           2011;22(5):737-742.
     96.   Lo-Ciganic W-H, Zgibor JC, Bunker CH, Moysich KB, Edwards RP, Ness RB. Aspirin, Non-Aspirin
           Nonsteroidal Anti-inflammatory Drugs, or Acetaminophen and risk of ovarian cancer.
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            results from a U.S.-based case-control study. Cancer epidemiology, biomarkers & prevention :
            a publication of the American Association for Cancer Research, cosponsored by the American
            Society of Preventive Oncology. 2012;21(8):1282-1292.
     98.    Wu AH, Pearce CL, Tseng CC, Pike MC. African Americans and Hispanics Remain at Lower Risk
            of Ovarian Cancer Than Non-Hispanic Whites after Considering Nongenetic Risk Factors and
            Oophorectomy Rates. Cancer epidemiology, biomarkers & prevention : a publication of the
            American Association for Cancer Research, cosponsored by the American Society of Preventive
            Oncology. 2015;24(7):1094-1100.
     99.    Schildkraut JM, Abbott SE, Alberg AJ, et al. Association between Body Powder Use and Ovarian
            Cancer: The African American Cancer Epidemiology Study (AACES). Cancer epidemiology,
            biomarkers & prevention : a publication of the American Association for Cancer Research,
            cosponsored by the American Society of Preventive Oncology. 2016;25(10):1411-1417.
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            American journal of industrial medicine. 1996;29(5):435-439.
     101.   Egli GE, Newton M. The Transport of Carbon Particles in the Human Female Reproductive
            Tract. Fertility and sterility. 1961;12(2):151-155.
     102.   Sjosten AC, Ellis H, Edelstam GA. Retrograde migration of glove powder in the human female
            genital tract. Human reproduction (Oxford, England). 2004;19(4):991-995.
     103.   Venter PF, Iturralde M. Migration of a particulate radioactive tracer from the vagina to the
            peritoneal cavity and ovaries. South African medical journal = Suid-Afrikaanse tydskrif vir
            geneeskunde. 1979;55(23):917-919.
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            Chapter 9 - Gamete Transport and Fertilization.” In Human Reproductive Biology, Third., 159–
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            2017).
     105.   Fedak KM, Bernal A, Capshaw ZA, Gross S. Applying the Bradford Hill criteria in the 21st
            century: how data integration has changed causal inference in molecular epidemiology.
            Emerging themes in epidemiology. 2015;12:14.




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                          Exhibit A
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                                       63138
                                CURRICULUM VITAE
                            REBECCA SMITH-BINDMAN, MD


Title            Professor, Radiology and Biomedical Imaging, Epidemiology and Biostatistics,
                 Obstetrics, Gynecology and Reproductive Sciences, Phillip R. Lee Institute for Health Policy
                 Director, Radiology Outcomes Research Lab, University of California San Francisco

Address:         Department of Radiology and Biomedical Imaging
                 350 Parnassus Ave, Suite 307
                 San Francisco, CA 94117
                 Voice: 415 353-4946; Fax: 415 353-2790
                 Email: Rebecca.Smith-Bindman@ucsf.edu


EDUCATION
1980 - 1985        Princeton University                         BSE                   Engineering / Architecture
1985 - 1986        Columbia University                                                Post Bacc Pre-Med
1987 - 1991        University of California, San Francisco      MD                    Medicine
1991 - 1992        University of California, San Francisco      Intern                Pathology
1992 - 1996        University of California, San Francisco      Resident              Radiology
1996 - 1997        University of California, San Francisco      Clinical Instructor   Radiology, Ultrasound
1996 - 1998        University of California, San Francisco      Fellow                Epidemiology & Biostatistics


LICENSES, CERTIFICATION
1992               California Medical License # G76462
1993               California X-ray Supervisor and Operator License RHL 143658
1996               Board Certification, American Board of Radiology


PRINCIPAL POSITIONS HELD
1998 - 2003         UCSF, Radiology and Biomedical Imaging, Epidemiology and                Assistant Professor
                    Biostatistics, Obstetrics, Gynecology and Reproductive Sciences
2003 - 2009         UCSF, Radiology and Biomedical Imaging, Epidemiology and                Associate Professor
                    Biostatistics, Obstetrics, Gynecology and Reproductive Sciences
2009 - current      UCSF, Radiology and Biomedical Imaging, Epidemiology and                Professor
                    Biostatistics, Obstetrics, Gynecology and Reproductive Sciences
2014 - current      UCSF, Phillip R. Lee Institute for Health Policy Studies                Member

2000 - current      UCSF, Radiology Outcomes Research Lab                                   Director
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OTHER POSITIONS HELD CONCURRENTLY
1999 - 2000      St Bartholomew’s and The Royal London School of Medicine               Research Fellow

2009 - 2010      NIH, National Cancer Institute, Radiation Epidemiology Branch          Research Scientist
HONORS AND AWARDS
1985             Cum laude, Princeton University

1985             Senior Thesis Prize, Princeton University

1991             Student Summer Research Fellowship, Institute for Health Policy Studies, UCSF

1999, 2000       Nycomed Amersham Fellow, Radiologic Society of North America

2007             Nomination, Clinical Research Mentor of the Year, Bay Area Symposium on Clinical Research

2010             Nomination, CTSI Consultant of the Year, Impact Award

2010             Scientific Paper of the Year, Minnies, Auntminnie.com

2010             Finalist, Most Influential Radiology Researcher, Minnies, Auntminnie.com

2011             Leader in Imaging, Auntminnie.com

2012             Finalist, Scientific Paper of the Year, Auntminnie.com, Minnies

2012             Semifinalist, Scientific Paper of the Year, Auntminnie.com, Minnies

2012             Winner, UCSF Center for Health Care Value, Medical Center Initiative, Innovation Award

2013             Finalist, Scientific Paper of the Year, Auntminnie.com, Minnies

2013             Runner-up, Scientific Paper of the Year, Auntminnie.com, Minnies

2013             Paper honored as 1 of the top 10 publications Funded by NCI's Epidemiology and
                 Genomics Research Program

2014             Invited Editor, J of the American College of Radiology, March 2014, Radiation Dose Optimization

2014             Among Philip R. Lee Institute for Health Policy Studies faculty videos on UCTV, "Is Medical
                 Imaging Harmful to Health: Opportunities to Influence Health Policy", most popular, N = 409,937

2015             Academy of Radiology Research, Distinguished Investigator Award

2015             Election to Fellowship, Society of Radiologists in Ultrasound
KEYWORDS AND AREAS OF INTEREST
Health Services Research, Outcomes Research, Disparities Research, Women's Imaging, Comparative
Effectiveness Research, Quality Improvement, Dissemination and Implementation Sciences, Evidenced Based
Radiology, Assessment of Population Impact of Screening Tests, Radiation Associated with Medical Imaging,
Radiation as an Environmental Cause of Cancer, Management of Incidental Findings on Diagnostic Testing


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OVERVIEW
Narrative

Dr. Smith-Bindman is a clinical researcher with expertise in health services research, epidemiology, outcomes
research, comparative effectiveness research, and dissemination and implementation sciences focused on
diagnostic imaging. Her research has focused on evaluating the quality, utilization, accuracy, predictive values
and impact of diagnostic testing on patient health, and has quantified both the risks and benefits of medical
imaging when used in different contexts and by different populations. One area of focus has been on evaluating
racial and ethnic differences in access and utilization of screening mammography and how that contributes to
higher breast cancer mortality among African American women, and on factors that influence the quality and
access to screening among vulnerable populations (see references 33, 34, 37, 43, 46, 48, 61, 67 at the end of CV).
A separate area of focus has been on quantified the variation in radiation dose associated with medical imaging
across patients and institutions, and quantified the impact of radiation, particularly from computed tomography, as
an environmental carcinogen. (see references 53, 58, 60, 62, 65, 68, 69, 72, 76, 78, 79., 81, 87, 89, 91, 97, 102,
107.) Separate from her research activities, she has been actively involved in translating evidence into changes
in practice and policy. She has informed policy leaders, practitioners and the public about the safety concerns
surrounding the use of radiation in imaging by describing the issue in main stream media, testifying before the US
Congress, and by advising the FDA, The Joint Commission, the International Atomic Energy Agency, the
International Council on Radiation Protection and leading professional societies. She has also written quality
measures focused on radiation safety, and her work has resulted in organizations which monitor health care
quality to adopt measures of diagnostic imaging safety.

Significant Publications

1. Smith-Bindman et al. Ultrasound vs Computed Tomography for Suspected Nephrolithiasis NEJM. 2014;
   371:1100-10
2. Miglioretti DL, Johnson E, William SA, Grenlee RT, Weinmann S, Solberg LI, Feigelson HS, Roblin D, Flynn
   MJ, Vanneman N, Smith-Bindman R. The use of computed tomography in pediatrics and the associated
   radiation exposure and estimated cancer risk. JAMA Pediatr. 2013 167 (88): 700-7
3. Smith-Bindman R, et al. Risk of Thyroid Cancer based on Thyroid Ultrasound Imaging Characteristic: Result
   of A Population Based-Study. JAMA Internal Medicine. 2013 173(19):1788-96
4. Smith-Bindman R. Appendix F. Ionizing Radiation Exposure to the US Population, with a Focus on Radiation
   from Medical Imaging, included in Breast and the Environment: A Life Course Approach. The Institute of
   Medicine. March 20 2012
5. Smith-Bindman R et al. Radiation dose associated with common computed tomography examinations and the
   associated lifetime attributable risk of cancer. JAMA Internal Medicine 2009;169(22):2078-86
6. Curtis E, Quale C, Haggstrom D, Smith-Bindman R. Racial and Ethnic Differences in Breast Cancer Survival:
   How Much Is Explained By Screening, Tumor Severity, Biology, Treatment, and Co-morbidities. Cancer 2008
   112(1):171
7. Goldman L, Haneuse S, Miglioretti D, Kerlikoswke K, Buist D, Yankaskas B, Smith-Bindman R, An
   assessment of the quality of mammography care at facilities treating medically vulnerable populations Medical
   Care 2008 46(7):701-8.
8. Smith-Bindman et al. Does Utilization of Screening Mammography Explain Racial and Ethnic Differences
   in Breast Cancer? Ann Intern Med, 2006; 144(8):541-53
9. Haggstrom DA, Quale C, Smith-Bindman R. Differences in the Quality of Breast Cancer Care Among
   Vulnerable Populations. Cancer. 2005 Dec 1;104(11):2347-58.
10. Smith-Bindman, R, et al Endovaginal ultrasound to evaluate endometrial abnormalities. JAMA
   1999;281:1693-4
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PROFESSIONAL ACTIVITIES
CLINICAL
Attending physician, Ultrasound Section, Department of Radiology and Biomedical Imaging, UCSF, 25%.
Includes supervised instruction of residents and fellows. My teaching focuses on how to use evidence to help
inform interpretation of clinical examinations.

PROFESSIONAL ORGANIZATIONS
Memberships
1997 - 2018       Society of Radiologists in Ultrasound (SRU)
1997 - 2018       Radiology Alliance for Health Services Research in Radiology (RAHSR)
2013 - 2018       American College of Radiology (ACR)
2014 - 2018       American Roentgen Ray Society (ARRS)
2014 - 2018       Association of University Radiologists (AUR)

Service to Professional Organizations (selected)
2010 - 2011       American Board of Medical Specialties, American Board of Radiology, American
                  College of Radiology, and Physician Consortium for Performance Improvements.
                  Patient Radiation Dose Work Group
2011 - 2012       Institute of Medicine Committee on Breast Cancer and the Environment, commissioned
                  report “Temporal Changes in lonizing Radiation and Estimate of Contributions to Breast
                  Cancer,” contributing author
2012              Centers for Disease Control and Prevention, Cancer Prevention Work Group
2012 - 2014       The Joint Commission, Diagnostic Ionizing Radiation and Magnetic Resonance work
                  group focused on issues of safety and guideline development
2012 - Present    International Council on Radiation Protection (ICRP) Task Group #79 on Defining
                  Effective Dose Use in Medicine
2014              International Atomic Energy Agency (IAEA) United Nations General Assembly and Security
                  Council. Special Committee Considering Population Impact of Low Dose Radiation

2015              Council of Distinguished Investigators of the Academy of Radiology Research

Service to Professional Publications (selected)
2000 - 2018       Journal of the American Medical Association (JAMA)
2000 - 2018       JAMA Internal Medicine
2000 - 2018       New England Journal of Medicine (NEJM)
2000 - 2018       Radiology
2000 - 2018       American Journal of Radiology
2000 - 2011       Journal of the National Cancer Institute
2000 - 2011       Health Affairs

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2000 - 2015        Health Services Research
2000 - 2010        American Journal of Obstetrics & Gynecology
2000 - 2010        American Journal of Public Health
2000 - 2010        Annals of Internal Medicine
2000 - 2010        Journal of Medical Screening
2000 - 2010        Journal of Women's Health
2000 - 2010        Medical Care
2000 - 2010        Medical Decision Making
2000 - 2010        Obstetrics and Gynecology
2000 - 2010        Ultrasound in Obstetrics & Gynecology

INVITED PRESENTATIONS
International
2001            US - UK Cancer Learning Network, Deprivation and Cancer, London, United Kingdom
2001            British Society of Human Genetics, Prenatal Screening for Down syndrome in England and Wales
                and Birth Outcomes, London, United Kingdom
2002            Global Summit on Mammographic Screening, Europe Institute of Oncology, U.S.-U.K.
                Comparison of Screening Mammography, Milan, Italy
2005            University of Copenhagen, Does Practice Make Perfect; Association Between Volume and
                Accuracy of Mammography, Copenhagen, Denmark
2006            International Society for Prenatal Diagnosis, Prenatal Screening for Down syndrome in The Second
                Trimester of Pregnancy, Kyoto, Japan
2009            Canadian Breast Cancer Foundation, Forum on the Earlier Detection and Diagnosis of Breast
                Cancer, Toronto, Canada
2010            Nation Cancer Research Institute (NCRI), Risk of Cancer from Computed Tomography
                Examinations, Liverpool, United Kingdom
2013            Bach Mai University Hospital, Radiation for Medical Imaging: A Hidden Epidemic, Hanoi,
                Vietnam
2014            International Atomic Energy Agency (IAEA), Health Effects of Exposure to Low Dose Ionizing
                Radiation Associated with Medical Imaging, Vienna, Austria
2014            Korea College of Radiology, Tracking and Monitoring Radiation Dose and Its Impact Across the
                University of California Medical Centers and CT Radiation Doses Are Not What You Think: Why
                It's Important to Monitor and Track Dose Seoul, Republic of Korea
2016            International Atomic Energy Agency (IAEA), Exposure to low dose ionizing radiation from
                medical imaging and the health effects from these exposures. International Atomic Energy Agency.
                Technical Meeting on Science, Technology and Society Perspectives on Nuclear Science,
                Radiation and Human Health: The View from Asia, Singapore University
2016            University of North Carolina School of Medicine, Chapill Hill, NC, Radiology Department Grand
                Rounds , Diagnostic Imaging: Increasing Effectiveness and Safety Radiation From Medical
                Imaging,



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2016       Singapore General Hospital, Singapore. Radiology Grand Rounds. Visualizing Patients and Their
           Dose to Improve Health Care Quality,

2016       St Luke’s International Hospital, Tokyo, Japan. Hospital-wide grand rounds, Radiation from
           Medical imaging: A Hidden Epidemic.

2017        Childhood Leukemia International Consortium, Annual Meeting, Minneapolis, Minnesota,
            Estimating Radiation Exposure from Imaging
            Procedures


2017       Charity Hospital, Berlin, Germany. Radiology Grand Rounds, Radiation from Medical Imaging: A
           Hidden Epidemic

2017       Charity Hospital, Berlin, Germany, Imaging for Suspected Nephrolithiasis: Results from the
           Randomized Controlled Trial

2017       University Hospital, Basel, Switzerland, Radiology Grand Rounds. A Dose of Reality: The Need
           for Active CT Dose Management

2017        Center for Diagnostic Imaging Quality Institute Council of Medical Directors, Scottsdale,
            AZ Keynote: Radiation from Medical Imaging

2017        The Leap Frog Group Pediatric Computed Tomography Radiation Dose

2017        PCORI Advisory Panel on Communication and Dissemination Research Presentation UCSF
            CT Radiation Dose Registry to Ensure a Patient-Centered Approach for Imaging

2017        American Urological Association (AUA) Quality Improvement Summit, Baltimore
            Maryland Keynote Address. Imaging Wisely: Improving the Value of Medical Imaging

2018       Jakarta Radiology Society, Jakarta Indonesia. Dose Optimization Implementation to achieve better
           radiology service in HospitalKeynote Addresses: Radiation from Medical Imaging: A Hidden
           Epidemic and Optimizing Radiation Doses for CT

2018       Westmead Hospital Sydney Australia. Radiology Grand Rounds. Radiation from Medical Imaging:
           A Hidden Epidemic

2018       Westmead Childrends Hospital, Sydney Australia. Optiizing Radiation Doses For Pediatric CT

National
2000        American College of Medical Genetics
2000        Society of Radiologists in Ultrasound
2000        Society for Health Services Research in Radiology
2001        Society of Radiologists in Ultrasound Annual Meeting


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2001       Society for Health Services Research in Radiology
2002       Society of Radiologists in Ultrasound
2003       Breast Cancer Surveillance Consortium
2003       Society of Radiologists in Ultrasound
2003       Centers for Disease Control and Prevention
2003       RSNA 88th Scientific Assembly and Annual Meeting
2004       Institute of Medicine (IOM): Saving Women's Lives
2004       Breast Cancer Surveillance Consortium
2005       Improving Mammographic Quality Standards Institute of Medicine (IOM)
2006       Beth Israel Deaconess Medical Center, Grand Rounds
2006       National Institute Child Health and Human Development
2007       National Cancer Institute, National Institute of Health (x2)
2008       Mount Sinai Urban Health Institute; Metro Chicago Breast Cancer Taskforce, Partnerships in
           Translation: Advancing Research and Clinical Care
2008       University of Washington, Seattle, Washington, Grand Rounds, and Visiting Professor,
2008       HMO Research Network Conference (4th annual), Danville, Pennsylvania
2009       Society of Radiologists in Ultrasound, National Conference on Management of Ovarian Cysts
2009       Canadian Forum for the Earlier Detection and Diagnosis of Breast Cancer
2010       Center for Disease Control & Prevention, Annual Cancer Registry Meeting, Atlanta, Georgia
2010       HMO Research Network conference, Emerging Frontier in Healthcare, Research Delivery, Austin,
           Texas
2010       National Council on Radiation Protection (NCRP), Communication of Radiation Benefits and Risks
           in Decision Making
2010       National Cancer Institute, Board of Scientific Advisors, Bethesda, Maryland
2010       American Statistical Association Conference on Radiation Health, Annapolis, Maryland
2010       Breast Cancer Surveillance Consortium Annual Meeting, Washington, D.C.
2010       Kaiser Permanente: National Radiology Leadership Group, held at the RSNA, Chicago, IL
2011       Cleveland Clinic, Health Care Quality Innovation, Cleveland, Ohio
2011       Auntminnie.com, Live WebEx Conference RADEXPO 2011
2011       University of New Mexico, Visiting Professor, External Reviewer, Resident Research Day
2011       Oregon Health Sciences University, Department of Emergency Medicine, Grand Rounds
2012       Society for Imaging Informatics for Medicine (SIIM), San Francisco, CA
2012       Brown University, Grand Rounds, Emergency Medicine, RI Hospital, Providence, RI
2012       Society for Imaging Informatics in Medicine (SIIM), Los Angeles, CA
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2012           PharmMed OUT, Georgetown University, Washington, DC
2012           Agency for Healthcare Research and Quality, Rockville, MD
2012           Radiology Society of North America, expert witness in full day mock trial focused on radiation
               safety and whether radiologists need to communicate risks to patients, Chicago, IL
2012           University of Pennsylvania, Grand Rounds, Emergency Medicine, Philadelphia, PA
2013           Radiology Society of North America (RSNA), Controversies Session, CT Radiation and Risk:
               How Certain Are We of the Uncertainty? Chicago, IL
2013           American Cancer Society, Doc Talk Lecture Series
2013           Association of University Radiologists (AUR), Comparative Effectiveness and Patient-centered
               Outcomes Research, Los Angeles, CA
2014           Cancer.net Podcast, "CT Scans and Cancer Risk", Available Online at
               http://www.cancer.net/blog/2014-10/ct-scans-and-cancer-risk
2014           Oregon Chapter, American College of Emergency Physicians, Portland, Oregon
2015           Women in Government Foundation (non-profit, non-partisan organization of all U.S. female state
               legislators) Diagnostic Imaging. Increasing Its Effectiveness and Safety, at 16th Annual Southern
               & Eastern Regional Conference, Charleston S Carolina
2016           Lindeberger Cancer Center, University of North Carolina, Chappil Hill NC, Radiation From
               Medical Imaging: A Hidden Epidemic
2017           American Urological Association (AUA) Quality Improvement Summit, Baltimore Maryland
               Keynote Address. Imaging Wisely: Improving the Value of Medical Imaging

Regional Presentations (selected)
2000            Kaiser Permanente Department of Genetics, Oakland CA
2001            San Francisco State University, SF CA
2001            UCSF, San Francisco General Hospital, Department of Medicine, Grand Rounds
2001            American College of Obstetrics and Gynecology
2002            UCSF Breast Oncology Program Comprehensive Cancer Center Grand Rounds
2003            UCSF Obstetrics and Gynecology Grand Rounds, SF CA
2004            UCSF Multi-Department Symposium. Racial Disparity and Breast Cancer, SF CA
2004            UCSF Quality of Breast Cancer Care Symposium, SF CA
2005            Sisters Network, San Francisco (African American Advocacy Organization)
2005            Stanford University, Department of Health Research and Policy, Grand Rounds, Palo Alto CA
2006            UCSF, Lunch and Learn: San Francisco Community Outreach, SF CA
2006            Bay Area Health Care and Quality Outcomes, San Francisco, CA
2007            California Breast Cancer Research Symposium, Los Angeles, CA
2010            Bay Area Clinical Research Symposium, Plenary Speaker, San Francisco CA

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 2011          UCSF Department of Medicine Grand Rounds, San Francisco, CA
 2011          San Francisco General Hospital Department of Medicine, Grand Rounds, San Francisco, CA
 2011          UCSF, Department of Urology Grand Rounds, San Francisco, CA
 2011          UCSF Department of Radiology Grand Rounds, San Francisco, CA

 2011          Eden Hospital, Department of Medicine Grand Rounds, Alameda, CA
 2011          Stanford Hospital, Department of Medicine, Grand Rounds, Palo Alto, CA
 2011          Kaiser Permanente Medical Center, Multi-departmental Grand Rounds, San Francisco, CA
 2011          UCSF Institute for Health Policy Studies, San Francisco, CA.
 2012          Kaiser Permanente Medical Center, Grand Rounds, San Francisco, CA
 2012          Kaiser Permanente Medical Center, Grand Rounds, Oakland, CA
 2012          Massachusetts General Hospital, Department of Emergency Medicine, Grand Rounds Boston,
 2012          Beth Israel Hospital, Department of Emergency Medicine Grand Rounds, Boston, MA
 2012          Univ. of California Office of the President, Quality Improvement and Technology, Oakland,
               CA
 2012          UCSF, Department of Radiation Oncology, Grand Rounds,
 2012          Southern California Kaiser Radiology Chiefs Grand Rounds,
 2014          UCSF, Endocrine Grand Rounds, San Francisco, CA
 2015          California Society of Radiology Technologists, Annual Meeting, San Francisco, CA Keynote
               Address. Radiation from CT: A Hidden Epidemic. Strategies to minimize doses: What
               technologists can do?
 2016          Society of Radiology in Ultrasound, Annual Meeting, Baltimore Maryland. Risk of Thyroid
               Cancer Based on Thyroid Ultrasound Imaging Characteristics
 2016          UCSF, Breast Oncology Program, Radiation from Medical Imaging: A Hidden Epidemic and
               Approaches for Improving.

 2016          UCSF Mini-Medical School Radiation Safety and Medical Imaging
 2017          University of California Davis, Radiology Grand Rounds, Radiation from Medical Imaging;
               A Hidden Epidemic

 2017          UCSF: Stand Up for Science: Panel Discussant

GOVERNMENT AND OTHER PROFESSIONAL SERVICE (selected)

 2002 - 2003    CDC, National Breast and Cervical Cancer Early Detection Program, Planning Committee
 2002 - 2005    Cochrane Collaboration Screening and Diagnostic Tests, Methods Working Group
 2003 - 2003    Radiology National Boards, Examination Question Writer
 2003 - 2010    National Cancer Institute, Physician Data Query (PDQ)



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2004 - 2005     CDC, National Breast and Cervical Cancer Early Detection Program, Panelist,
                Committee on Assessment of Covered Benefits, Expert
2007 - 2010     California Health Benefits Review Program (CHBRP)
2008 - 2011     Center for Scientific Review, NIH, Health Services Organization and Delivery Study
                Section
2010 - 2011     American Board of Medical Specialties, American Board of Radiology, American
                College of Radiology, and Physician Consortium for Performance Improvements.
                Patient Radiation Dose Work Group
2010            Congressional Hearing, US House of Representatives, Energy and Commerce,
                Subcommittee on Health. Medical Radiation: An Overview of the Issues. Expert
                Witness
2010            Food and Drug Administration, Center for Devices & Radiological Health, National
                Meeting Focus on Radiation Safety, Presenter
2010 - 2011     National Quality Forum, Imaging Efficiently Steering Committee
2011 - 2012     Institute of Medicine Committee on Breast Cancer and the Environment, commissioned
                report “Temporal Changes in lonizing Radiation and Estimate of Contributions to
                Breast Cancer,” contributing author
2010 - 2011     Lung Cancer Screening with CT Evidence Review Committee. Multidisciplinary
                collaboration, including American Cancer Society, American College of Chest Physicians;
                American Society of Clinical Oncology & The National Comprehensive Cancer Network
2011 - 2016     International Council on Radiation Protection (ICRP), Task Group 79 on Defining
                Effective Dose Use in Medicine
2012            Congressional Hearing, US House of Representatives, Energy and Commerce,
                Subcommittee on Health, hearing on the Consistency, Accuracy, Responsibility, and
                Excellence in Medical Imaging and Radiation Therapy (The CARE Bill), Expert Witness
2012            Centers for Disease Control and Prevention, Cancer Prevention Work Group
2012 - 2014     The Joint Commission, Diagnostic Ionizing Radiation and Magnetic Resonance work
                group focused on issues of safety and guideline development
2013            Government Accountability Office: Medicare Imaging Accreditation Establishing
                Minimum National Standards and an Oversight Framework to Ensure Quality and
                Safety of Advanced Diagnostic Imaging Services, May 2013, Contributor
2014            International Atomic Energy Agency (IAEA) United Nations General Assembly and
                Security Council. Special Committee Considering Impact of Low Dose Radiation
2015            Council of Distinguished Investigators of the Academy of Radiology Research


UNIVERSITY AND PUBLIC SERVICE

Service Narrative
There are several activities to which Dr. Smith-Bindman has contributed. For seven years she participated in the
NCI sponsored Physicians Data Query (PDQ), an NCI committee charged with presenting evidenced based, on-
line, widely accessible and widely disseminated guidelines relating to cancer screening and diagnosis. She
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participated in several activities related to breast cancer screening including acting as a reviewer for the CDC on
assessing the guidelines for the National Breast and Cervical Cancer Detection Program, participating in coverage
decisions, acting as reviewer and content expert for the CA Health Benefits Review Program analyzing several
bills before the state legislature that would expand breast cancer screening to include MRI, and participating in
the creation of several IOM Reports. She has participated in several community projects, such as acting on the
board of an African American breast cancer advocacy group, and as a consultant to the Metropolitan Breast
Cancer Task Force, charged with improving breast cancer mortality rates and racial disparities. During the last
five years She has been very active in local, statewide and national efforts around improving radiation safety,
including invited presentations to the FDA, testifying before the US Congress on two occasions, working with
innumerable societies and government organizations on guidelines and submitting two endorsed quality measures
on radiation safety to the National Quality Forum. Her involvement in service activities within the University
have focused on increasing the quality and quantity of translational research through participation in several
University-wide task forces. Dr. Smith-Bindman serves on several Medical Center Committees, focusing on
improved oversight and stewardship around radiation, and projects to improve the efficiency and effectiveness
with CT.


UNIVERSITY SERVICE (selected)
 2001 - 2015 UCSF School of Medicine, Faculty Recruitment Committees, Radiology, Rad Onc, Medicine
  2002              UCSF School of Medicine Dean's Leadership Retreat, Santa Cruz
  2003              University of California, Blueprint for Regional Excellence in Breast Cancer Care
  2003              UCSF School of Medicine Task Force, Future of UCSF and Mission Bay
  2003              UCSF Medical Center, Hospital Exceptional Physician Award, Committee Co-Chair
  2003 - 2004       UCSF School of Medicine Task Force, Physician Scientist Program Clinic-Based
  2003 - 2005       UCSF School of Medicine Faculty Council
  2005              UCSF School of Medicine, Dean's Leadership Retreat, Santa Cruz, CA
  2005 - 2006       UCSF Department of Radiology Seminars and Presentation Committee
  2005 - 2008       UCSF Department of Radiology Annual Research Symposium Abstract Review Committee
  2005 - 2009       UCSF Department of Radiology, SEED Grant Review Committee
  2006 - 2007       UCSF Pathways for Clinical and Translational Research
  2008 - 2010       UCSF Pathways to Discovery, Clinical and Translational Research, Advisory Council
  2007 - 2010       University of California, Office of the President, CA Health Benefits Review Program
  2009 - 2017       UCSF, Radiation Safety Committee
  2012 - 2014       UCSF Department of Radiology, Maintenance of Certification Committee
  2012 - 2015       UCSF Medical Center, Center for Health Care Value
  2013 - 2017       UCSF School of Medicine, Conflict of Interest Advisory Committee
  2014 - 2016       UCSF Clinical Enterprise, Strategic Plan, Committee for Continuous Process Improvement
  2015 - 2017       UCSF Clinical Enterprise, Utilization Management Committee
PUBLIC SERVICE


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 2003 – 2007       SF Sisters, an African American breast cancer advocacy group, board member
 2008 - 2008       Metropolitan Chicago Breast Cancer Task Force, Chicago IL, unpaid consultant
 2011 - 2014       National Quality Form, National Consensus Standard for Patient Safety. Measure Developer
                   "UCSF CT Radiation Dose Patient Safety Measure” Measure endorsed
 2015              National Quality Forum, Pediatric Measures. Measure Developer, “Pediatric Computed
                   Tomography Radiation Dose” Measure endorsed


TEACHING AND MENTORING
 Teaching Narrative
 Dr. Smith-Bindman spends substantial time mentoring trainees in clinical research. The trainees have ranged
 in experience from high school students through mid-career UCSF faculty. The individuals have come from a
 broad range of departments at UCSF including Radiology, Internal Medicine, Hospital Medicine, Emergency
 Medicine, Obstetrics and Gynecology, and Urology, and have also come from the UCSF Medical School, The
 University of California Berkeley, and local SF high schools. On average, she meets with each trainee 1-2
 hours per week while collaborating. An NIH Mid-Career Investigator Award (K24) supported her time
 mentoring these individuals.
 She teaches in several formal classes in the department of Epidemiology and Biostatistics primarily targeted to
 post graduate students who are completing a master’s degree in clinical research. She is actively engaged in
 teaching the Radiology residents and fellows while attending on the clinical service and provides frequent
 lectures to the Radiology residents focused at research methods; frequently teaches in courses organized by
 the UCSF Office of Continuing Medical Education for both radiology courses and courses within other
 medical specialties. The radiology courses focus on using evidence to interpret our studies (usually focused on
 ultrasound topics), the lectures for other medical specialties focused on how to use imaging more
 appropriately. As listed above, she also frequently gives grand rounds within UCSF, and nationally on using
 imaging more appropriately. Lastly, she organized and ran a large, ongoing, virtual symposium on Radiation
 Safety described below. Both the content and format of this meeting were novel.

 TEACHING
 Formal scheduled classes for UCSF students.
 The first class listed is a course for UCSF Medical Students. The remaining are part of the coursework offered
 within the UCSF Masters in Clinical Research Program, Department of Epidemiology and Biostatistics

  Year            Title                                                        Role               Class Size

  2002 - 2005     Epidemiology and Biostatistics, UCSF School of Med           Section Leader              20
  2005            Introduction to Diagnostic Testing                           Lecturer                    18
  2007 - 2008     Clinical Performance and Health Outcome Measurement          Lecturer                    20
  2011 - 2014     Translating Evidence into Policy: Theory and Design          Lecturer                    30
  2010 - 2015     Framing Research to Influence Policy                         Lecturer                    25




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Post Graduate CME courses (1-5 lectures/meeting)

2001            UCSF Obstetrics and Gynecology Update, San Francisco, CA
2001            UCSF Primary Care Medicine, Aspen, CO
2001            Primary Care Medicine, Maui, HI
2001            Management of the Hospitalized Patient, San Francisco, CA
2001            Controversies in Women's Health, San Francisco, CA
2001            Diagnostic Imaging in Women's Health, San Francisco, CA
2001            MRI & Ultrasound Imaging, Lake Tahoe, CA
2002            Obstetrics and Gynecology Update, San Francisco, CA.
2002            17th Annual Primary Care Medicine: Concepts and Controversies, Aspen, CO
2002            10th Annual Controversies in Women's Health, San Francisco, CA
2002            Diagnostic Imaging in Women's Health, San Francisco, CA
2002            Diagnostic Imaging, Maui, HI
2002            Obstetical, Gynocological and Abdominal Ultrasound, San Francisco, CA
2003            Primary Care Medicine, Diagnostic Imaging in Women's Health, Maui, HI
2003            11th Annual Controversies in Women's Health, San Francisco, CA
2003            Diagnostic Imaging for Disease Prevention, San Francisco, CA
2003            46th Annual Diagnostic Radiology Postgraduate Course, San Francisco, CA
2003            OB/GYN and Abdominal Ultrasound, San Francisco, CA
2003            MRI and Ultrasound by the Lake, Lake Tahoe, CA
2004            Women's Imaging, Sonoma, CA
2004            Primary Care Medicine, Maui, HI
2004            Diagnostic Imaging in Clinical Practice, San Francisco, CA
2005            Obstetrical and Gynecologic Sonography, San Francisco, CA
2005            Radiology Spring Training, Scottsdale, Arizona
2005            Abdominal Imaging, Montreal and Quebec, Canada
2006            Controversies in Women's Health, San Francisco, CA
2006            Controversies in Breast Cancer Screening and Diagnosis, San Francisco, CA
2006            Cutting Edge Radiology, Diagnosis and Intervention, Vancouver, Canada
2008            Primary Care Medicine: Update 2008, San Francisco, CA
2008            Diagnostic Imaging in Women's Health, San Francisco, CA
2008            Obstetrical/Gynecological and Abdominal Sonography, San Francisco, CA
2009            Primary Care Medicine: Update 2008, San Francisco, CA


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 2009              Obstetrical/Gynecological and Abdominal Sonography Update, San Francisco, CA
 2011              Imaging of Kidney Stones, San Francisco, CA, Director
 2011              Primary Care Medicine, Principles & Practice, San Francisco, CA, Keynote
 2011              39th Annual Advances in Internal Department of Medicine, San Francisco, CA, Keynote
 2011              Controversies in Women's Health, Department of Medicine, San Francisco, CA, Keynote
 2012              Updates on Imaging, Maui, Hawaii
 2013              UCSF Otolaryngology Annual Conference, San Francisco, CA
 2017              UCSF Practical Body Imaging, Kona, Hawaii


 Other Teaching

 Radiation Safety and CT: Virtual Symposium. Innovative on-line Interactive CME course targeted to physicians
 (radiologists and those who order imaging), technologists, medical physicists, and trainees. This was created as
 an on-line, free, virtual meeting focuses on radiation safety. The initial creation of this virtual meeting began in
 2013. Creating the meeting involved creating a multidisciplinary, on line, virtual meeting with over 100 lectures
 (see list of lectures, now offered freely on line - http://rorl.ucsf.edu/speakers ), 10 live interactive sessions/chat
 rooms and over 500 registrants enrolled in the meeting during the “live days”, and ongoing attendees attend each
 month. The speakers at the meeting included numerous department chairs, the director of the Agency for Health
 Care Policy at the time, a US Congressman, leaders from numerous societies, The Joint Commission, The
 American Board of Internal Medicine Foundation, and innumerable scientific experts on diverse patient safety
 issues, and the meeting was an integration of diverse viewpoints and perspectives. Dr. Smith-Bindman directed
 this meeting and personally wrote and delivered 7 lectures for the meeting. The meeting was novel in format and
 content.

MENTORING
 Pre-doctoral students directly supervised
   Dates                 Name                     Program or School                  Current Position
   2004 - 2005           C. Kagay                 UCSF Medical School                 Radiologist, Private Practice
   2005 - 2006           A. Ding                  UCB/ UCSF MD/MPH                    MGH
   2005 - 2008           A. Venkatesan            UCSF Medical School                 Resident, Stanford
   2006 - 2007           E. Dinkelspiel           Urban High School                   Student, Univ. of Chicago
   2011 - 2015           J. Keegan                Lick Wilmerding High                San Luis Obispo College
   2010 - 2015           P. Mehta                 UC Berkeley/UCLA Med School         UCLA Medical School
   2012 - 2013           J. Zhang                 UC Berkeley                         Senior
   2014 summer           A. Fraser                University High                     Georgetown College
 Postdoctoral fellows and residents directly supervised
   Dates               Name                        Position                           Current Position
   1998 - 2000         M. Copanigro, MD            Radiology Resident / Fellow        Private Practice


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1998 - 2000   N. Vincoff, MD      Radiology Resident / Fellow   Private Practice
2003 - 2004   E. Weiss, MD        OB GYN Resident               Private Practice
2003 - 2005   K. Schueler, MD     RORL Research Fellow          Private Practice
2003 - 2005   D. Haggstrom, MD    Internal Medicine Fellow      Indiana University, Faculty
2005 - 2006   K. Reid, MD         Internal Medicine Fellow      Emory Faculty
2005          A. Jensen           PhD student, Copenhagen       Faculty
2005 - 2006   B. Ching, MD        Radiology Fellow              Private Practice,
2005 - 2006   A. Cole, MD         Radiology Fellow              Private Practice
2005 - 2007   L. Goldman, MD      Internal Medicine Fellow      UCSF Faculty
2006 - 2010   J. Lipson, MD       Radiology T32 Scholar         Stanford Faculty
2007 - 2008   J Stengel, MD       Radiology Fellow              Private Practice
2007 - 2008   A. Heath, MD        RORL Research Fellow          Private Practice
2007 - 2009   R. Cho, MD          Radiology Fellow              Private Practice
2007 - 2009   D. Sellami, MD      Radiology Resident / Fellow   Private Practice
2008 - 2009   A. Kamath, MD       Radiology T32 Scholar         NYU Faculty
2009 - 2010   J Ching, MD         OB GYN Resident               Faculty
2009 - 2011   N, Brasic, MD       Radiology Fellow              UCSF Faculty
2010 - 2011   D. Sridhar, MD      Radiology Resident            Private Practice
2010 - 2012   P. Lebda, MD        Radiology Fellow              Cleveland Clinic Faculty
2010 - 2013   I. Burger, MD       Radiology Resident            Private Practice
2010 - 2013   G. Merry, MD        Radiology Resident            Private Practice
2011 - 2014   J. Mongan, MD PhD   Rad Resident / Fellow         UCSF, Faculty
2013 - 2014   S. Hou, MD          Radiology Resident            NYU Faculty
2013 - 2014   C. Lee, MD          Radiology Resident            UCSF Faculty
2013 - 2014   T. Morgan, MD       Radiology Resident            UCSF Faculty
2013 - 2015   LA Hampton, MD      Urology Resident / Fellow     Fellow, Wash U
2013 - 2015   V. Arasu, MD        Radiology Resident            Resident
2013 - 2015   N. Benedetti, MD    Radiology Resident            University of Wash Faculty
2014 - 2015   B Carpenter, MD     Radiology Fellow              UCSF Faculty
2014 - 2015   J. Hsu, MD          Radiology Fellow              Private Practice
2014 - 2018   J. Demb             Epidemiology                  UCSF




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 Faculty Mentoring
  Dates          Name                         Department / Section                   Current Position
  2002 - 2005    John Shepherd, MD            Radiology / Musculoskeletal             UCSF, Faculty, Radiology
                                                                                      Univer. of Auckland
  2004 - 2005    Elaina Curtis, MD            UCSF Visiting Fellow
                                                                                      Faculty
  2005 - 2006    John Stein, MD               Emergency Medicine                      UCSF Faculty, Emerg Med
  2005 - 2006    Max Wintermark, MD           Radiology / Neuro                       UVA, Faculty, Radiology
  2007 - 2013    Lauren Goldman, MD           Internal Medicine                       UCSF, Faculty, Medicine
  2008 - 2011    Larry Rand, MD               OBGYN / Maternal Medicine               UCSF, Faculty, OBGYN
  2008 - 2014    Antonio Westphalen, MD       Radiology / Abdominal Imaging           UCSF, Faculty, Radiology
  2009 - 2017    Liina Poder, MD              Radiology / Abdominal Imaging           UCSF, Faculty, Radiology
  2010 - 2018    Ralph Wang, MD               Emergency Medicine                      UCSF Faculty, Emerg Med
  2014 - 2018    John Mongan, MD, PhD         Radiology / Abdominal Imaging           UCSF, Faculty, Radiology
  2014 - 2017    Cindy Lee, MD                Radiology / Abdominal Imaging           UCSF, Faculty, Radiology
  2014 - 2017    Tara Morgan, MD              Radiology / Abdominal Imaging           UCSF, Faculty, Radiology
  2014 - 2018    Maureen Kohi, MD             Radiology / Interventional              UCSF, Faculty, Radiology
  2015 - 2018    Ben Franc, MD PhD            Radiology / Nuclear Medicine            UCSF, Faculty, Radiology
 2017 - 2018    Brian Haas MD                Radiology                               UCSF, Faculty, Radiology


RESEARCH AND CREATIVE ACTIVITIES
 Research Narrative
 Dr. Smith-Bindman's research focuses on understanding the impact of diagnostic testing on patient outcomes. She
 is the director of the UCSF Radiology Outcomes Research Laboratory, and her team includes several
 programmers, biostatisticians, a developer, and a handful of epidemiologists who serve as project managers for
 the funded grants below. Her research expertise is in areas of epidemiology, technology assessment, outcomes
 research, comparative effectiveness research, health services research, and dissemination and implementation
 sciences focused on imaging. The research has focused on evaluating the quality, utilization, accuracy, predictive
 values and impact of diagnostic testing on patient health, and has quantified both the risks and benefits of medical
 imaging when used in different contexts and by different populations. I am leading several studies that assess and
 standardize the radiation dose used for CT scanning, in order to minimize doses, without loss of diagnostic
 accuracy. Additional current research is focused on putting systems-based solutions in place to standardize the
 use of imaging. For example, ongoing projects focus on improving decision support provided to physicians to
 help improve the use of testing, using evidence to drive and guide the change in practice, and determining the
 optimal surveillance strategy for the follow up of incidental findings seen on CT imaging. The research projects
 she leads, listed below, are typically collaborative, involving researchers from diverse clinical areas and who offer
 diverse methodological expertise.

 RESEARCH AWARDS
                                                                                                                   16
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Current
PI                                                                       07/02/2014 - 06/30/2019
NIH                                                                      $1,140,000 direct/yr1
CT DOSE Collaboration: Partnership for Dose                              $7,900,000 total

Collaboration across the US and Europe to standardize and optimize the doses used for CT. The study uses a
novel randomized controlled trial design to compare simple feedback to a multicomponent intervention as
strategies to optimize doses. There are approximately 125 hospitals participating in the trial.

PI                                                                       09/02/2013 - 08/31/2016
PCORI (Patient Centered Outcomes Research Institute)                     $492,163 direct/yr1
CT Radiation Dose Registry to Ensure a Patient Centered                  $2,069,365 total
Approach for Imaging

Collaboration across the US and Europe to create benchmarks and standards for CT by pooling data from a
large number of hospitals and outpatient facilities

PI                                                                       3/01/2015- 02/28/2020
NIH                                                                      $1,834,410 direct/yr1
Risk of Cancer in Childhood Associated with Medical Imaging              $10,600,000 total

Retrospective cohort across large integrated health care systems to assess imaging in pregnant women and
children and to quantify the risk of childhood and adolescent cancer associated with these exposures.

PI (co-PI with Gould, Kaiser Foundation Research)                        4/01/2015- 03/30/2020
PCORI
Pragmatic Trial of More versus Less Intensive Strategies for             $14,458,936 total
Surveillance of Patients with Small Pulmonary Nodules

Prospective comparative effectiveness study across 15 health care systems to compare different strategies for the
surveillance of lung nodules. The study is novel in that patients will be recruited with routine clinical care at
imaging and the creation of systematic quality improvement strategies to ensure no loss to follow up.

Past
PI                                                                       10/01/2010 - 09/30/2013
AHRQ                                                                     $4,830,368 direct/yr1
RCT of US versus CT for Patients with Suspected Renal Colic              $9,210,000 total

15 Center randomized pragmatic comparative effectiveness trial comparing different strategies for imaging
patients with suspected kidney stones. The study exceeded enrollment and follow up targets, and the primary
results were published in the NEJM in 2014. Many additional analyses are ongoing using these data.

PI                                                                       09/01/2008 - 07/31/2015
NIH K24                                                                  $172,000 direct/yr1
Mid-Career Development Award: Risk of Cancer Associated with             $868,632 total
Incidental Findings

PI                                                                       07/01/2011 - 07/01/2014
University of California Office of the President, CHQI                   $250,000 direct/yr1
Standardization and Optimization of CT Radiation Dose                    $750,000 total
                                                                                                               17
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Across the University of California Medical Centers.
Five-center observational study to collect radiation data across the five University of California campuses using
automated techniques, analyze the sources of variation in dose, and conduct quality improvement initiatives to
standardize practice

PI                                                                       09/30/2012 - 09/29/2014
CDC (Centers for Disease Control and Prevention)                         $250,000 direct/yr1
PEDS CT-DOSE: Pediatric CT Dose Optimization and                         $500,000 total
Standardization Endeavor
Ten center observational study to collect radiation data and create benchmarks in children

Co-Investigator (PI Solberg, Health Partners)                             07/01/2012 - 06/30/2014
PCORI (Patient Centered Outcomes Research Institute)                      $250,000 direct/yr1
Measuring Patient Outcome from High Tech Imaging Studies                  $500,000 total

Mixed methods study to understand imaging use, positive rates of imaging and patient perspectives on imaging,
with respect to identifying patient centered outcomes important to patients.

PI                                                                        04/01/2009 - 03/31/2011
NIH / R21                                                                 $317,000 total
Risk of Cancer with Incidental Findings Identified on US Imaging

Retrospective cohort to understand cancer risks of incidental findings

PI
NIH / R21                                                                 09/01/2008 - 08/31/2010
Radiation Exposure from Imaging: are Doses in a Carcinogenic              $317,000 total
Range

Retrospective cohort to understand use of medical imaging within integrated health care systems

PI                                                                        10/01/1999 - 07/01/2005
DOD                                                                       $725,515 total
Outcomes of Screening Mammography in Elderly Women

Medicare Data were analyzed to determine utilization of mammography and factors influencing survival

PI
NIH K07                                                                   09/01/1999 - 06/01/2005
Outcomes of Screening Mammography in Elderly Women                        $635,687 total

NIH Career development award to study breast cancer screening among elderly women.


PI
California Breast Cancer Research Program                                 07/01/2003 - 02/01/2007
Racial Disparity in Breast Cancer Mortality                               $583,287 total

Retrospective cohort to understand the causes for racial disparity in breast cancer outcomes


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Co-Investigator (PI Kerlikowske UCSF)                                    04/01/2000 - 03/31/2005
NIH, U01                                                                 $3,100,000 total
San Francisco Mammography Registry: A Research Resource

Dr. Smith-Bindman project lead on 1) Physician Predictors of Mammography Accuracy and 2) Validation of
the Medicare Screening Algorithm



Co-Investigator (PI – McCune, UCSF)
NIH                                                                      09/30/2006 - 06/30/2011
Clinical and Translational Science Institute (CTSI)

The grant is to enhance training and infrastructure across UCSF. I participate in the Biomedical Informatics
Program to educate trainees about imaging, epidemiology and study design

Co-Investigator (PI- Lu, UCSF)
NIH                                                                      04/01/2006 - 03/01/2009
Statistical Methods for Evaluation and Validation of Tests

Co-Investigator (PI Tlsty, UCSF))                                        10/01/2005 - 09/30/2010
NIH
Biological Basis of Breast Density and Breast Cancer Risk

Co-Investigator (PI Esserman, UCSF)                                      05/01/2003 - 04/30/2007
Department of Defense/USAMRC                                             $6,900,000 total
Blueprint for Regional Excellence in Breast Cancer Care

PI                                                                       01/01/2002 - 12/01/2006
Women's Health Research Center, UCSF                                     $70,000 total
Down Syndrome Screening in the US

PI                                                                       04/01/2001 - 04/01/2003
Society of Radiologists in Ultrasound                                    $40,000 total
Prenatal Ultrasound for Detection of Birth Defects and
Chromosome Abnormalities

PI
Society of Radiologists in Ultrasound                                    04/01/2001 - 04/01/2004
Physician Variation in Ultrasound Accuracy                               $30,000 total

PI                                                           07/01/2000 - 06/01/2001Radiologic
Society of North America                                     $40,000 direct/yr1
U.S. U.K Comparison of The Accuracy of Screening Mammography

P
I                                                                        07/07/1999 - 06/01/2000
Radiologic Society of North America                                      $35,000 direct
Prenatal diagnostic ultrasound for the detection of chromosomal
Abnormalities
                                                                                                               19
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MOST SIGNIFICANT RESEARCH PUBLICATIONS

1)     Smith-Bindman et al. Endovaginal ultrasound to evaluate endometrial abnormalities JAMA 1999
Vaginal bleeding affects 7% of post-menopausal women, and historically women have undergone an invasive
endometrial biopsy to exclude a diagnosis of cancer. This meta-analytic review found that endovaginal
ultrasound is an easily tolerated non-invasive test that is accurate for the diagnosis of cancer, so that most
women can avoid the need for an endometrial biopsy if they have a normal ultrasound test result. These results
have been integrated into clinical practice guidelines in the US, Scotland, England, Germany, and Hong Kong.
The publication has been cited 427 times based on SCOPUS accessed in 2015.

2)      Smith-Bindman et al. Second-trimester ultrasound to detect fetuses with Down syndrome: a meta-
analysis. JAMA. 2001. Prenatal ultrasound is widely used to screen for Down syndrome, but the impact on
patients has not been well studied. This meta-analytic review suggests that the use of ultrasound for the detection
of fetuses affected by Down syndrome may be associated with more harm than benefit, as it can lead to large
numbers of unnecessary amniocenteses and subsequent fetal losses with little evidence of benefits. This article
was accompanied by extensive media coverage (AP, Reuters, NY Times), and controversy, and prompted
discussion regarding the role of ultrasound in prenatal diagnoses. The manuscript has been cited 217 times
based on SCOPUS accessed in 2015.

3)     Smith-Bindman R et al. US-UK Comparison of Screening Mammography. JAMA 2003. Screening
mammography is an imprecise test, and there are considerable differences between physicians and programs in
the accuracy of screening. This international comparison of screening mammography described 5.5 million
mammograms obtained between 1996 to 1999 within three large-scale mammography registries or screening
programs. Recall rates and open surgical biopsy rates were twice as high in the U.S. as in the U.K., although
cancer rates were nearly identical. There was extensive media coverage (AP, Reuters, NY Times, Wall Street
Journal, National Public Radio). These results have been widely cited, and were included in the IOM Report,
"Saving Women's Lives." The publication was cited 223 times based on SCOPUS accessed in 2015.

4)      Smith-Bindman et al. Physician Predictors of Mammographic Accuracy. J Natl Cancer Inst 2005.
Beyond the issues raised about the collective quality of mammographic screening in the United States, even more
pronounced concern is the glaring variation among U.S. physicians in the ability to accurately interpretation
their patients' mammograms. Dr. Smith-Bindman studied the accuracy of mammographic screening among 208
U.S. physicians, who collectively interpreted 1.2 million mammograms, and she found extraordinary variation in
the interpretive abilities of radiologists; the sensitivity spanned 29% to 97%, while the false positive rate (the
percentage of women who did not have cancer, but who underwent additional diagnostic testing or biopsy at their
physician's recommendation) ranged from 1 to 29%. The difference in accuracy was principally due to
differences in their training, experience and dedication to screening mammography; in short, the more
experienced mammographers - and those who read more than the minimum number of mammograms required by
MQSA guidelines - did substantially better. These findings have already been integrated into the Institute of
Medicine's report on Mammography Quality Standards, regarding Enhancement of Interpretative Performance.
The manuscript was cited 82 times based on SCOPUS accessed in 2015.

5)       Smith-Bindman et al. Does Utilization of Screening Mammography Explain Racial and Ethnic
Differences in Breast Cancer? Ann Intern Med, 2006 Racial and ethnic minorities tend to have larger, more
advanced stage breast cancers at diagnosis than white women, and African American women have significantly
higher breast cancer mortality. It has not been clear, however, if this is due to inherent differences in biology or
the utilization of screening mammography. This paper sought to disentangle whether biology or the use of
screening was largely responsible for the known racial and ethnic differences in breast cancer. This study was

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unique in that detailed cancer information was available from tumor registries that were linked with detailed
information regarding mammography utilization. The results were striking. Most of the racial and ethnic
differences in breast cancer features were reduced or eliminated after accounting for the frequency of
mammography screening. The manuscript was cited 175 times on SCOPUS.


6)     Smith-Bindman et al. Second trimester prenatal ultrasound for the detection of pregnancies at
increased risk of Down syndrome. Prenat Diagn 2007 Prenatal ultrasound is widely used to screen for Down
syndrome, but the impact on patients has not been well studied. Our meta-analytic review found that ultrasound
was not useful and this prompted our large prospective study which evaluated ultrasound in a larger cohort,
including nearly 20,000 women, in whom nearly 500 had fetuses affected by Down syndrome. This large study
confirmed these preliminary results. The manuscript was cited 51 times on SCOPUS.

7)      Smith-Bindman et al. Radiation dose associated with common computed tomography examinations
and the associated lifetime attributable risk of cancer. JAMA Internal Medicine 2009 This paper
documented the variation in doses associated with routine CT. The widespread media attention that this paper
received contributed to active policy discussion in this area. I was invited to present and discuss the results at the
FDA, at a Congressional Hearing sponsored by the Health Subcommittee of the Committee on Energy and
Commerce, and innumerable professional society meetings, and submitted (and had endorsed) a measure of
quality around CT imaging by the National Quality Forum. The manuscript was cited 857 times based on
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8)      Smith-Bindman R, Appendix F. Ionizing Radiation Exposure to the US Population, with a Focus on
Radiation from Medical Imaging, in Breast and the Environment: A Life Course Approach. The Institute
of Medicine. 2012 The IOM was commissioned to write a report on environmental causes of breast cancer. The
Komen Foundation commissioned the report. I was asked to summarize what is known about the harmful effects
of ionizing radiation on breast cancer risks. The IOM concluded that ionizing radiation is one of the largest, and
the most preventable causes of breast cancer.

9)     Miglioretti DL et al. Smith-Bindman senior author. The use of computed tomography in pediatrics
and the associated radiation exposure and estimated cancer risk. JAMA Pediatr. 2013 Using a retrospective
cohort design, this paper quantified the use of imaging among children within one of 7 large integrated health care
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improved standardization of the conduct of CT on the risks of cancer. The manuscript concluded that if the top
outlying radiation exposures could be reduced to the average (a modest goal) that 40% of expected cancer could
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Characteristic: Result of A Population Based-Study. JAMA Internal Medicine. 2013. This retrospective
observational study documented the risk of cancer associated with specific thyroid imaging findings. This is the
first study that links a large cohort of patients with detailed imaging findings, with a comprehensive tumor
registry to permit the quantification of the risk of cancer associated with specific findings. The results suggest that
the number of biopsies can be reduced by up to 90%, with a relatively small impact on cancer detected. The
results are being rapidly embraced by endocrinologists, surgeons and radiologists.

11)    Smith-Bindman et al Ultrasound versus Computed Tomography for Suspected Nephrolithiasis
NEJM. 2014. This 15-center randomized comparative effectiveness study assessed whether ultrasound or CT
should be the first imaging test in patients with suspected kidney stones. The study is unique in using a rigorous
randomized trial design to assess a diagnostic imaging test, and in assessing a broad range of outcomes other
than diagnostic accuracy. Emergency department patients with abdominal pain and suspected nephrolithiasis

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were randomly assigned to one of three arms for imaging: ultrasound performed by an emergency medicine
physician, ultrasound provided by a radiologist, or computerized tomography (CT). No significant differences
were observed over the next 6 months in rates of severe serious adverse events (SAEs), related SAEs, or total
SAEs, or ED or hospital admission rates at 7 or 30 days; however, initial imaging with ultrasound was associated
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                       Exhibit B
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                       Exhibit C
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                Rebecca Smith-Bindman Compensation and Prior Testimony


       Dr. Smith-Bindman’s fees are $1,000/hr. She has not testified in other cases during the

previous four years.
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                      Exhibit 36
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                        Rebecca Smith-Bindman, M.D.

                                                                     Page 1
                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


           __________________________________
                                              )
           IN RE: JOHNSON & JOHNSON TALCUM    )
           POWDER PRODUCTS MARKETING, SALES   )
           PRACTICES, AND PRODUCTS LIABILITY  )
           LITIGATION                         )
                                              )           MDL No.
                                              )           2738 (FLW)(LHG)
                                              )
           ___________________________________)




                             VIDEOTAPED DEPOSITION OF
                            REBECCA SMITH-BINDMAN, M.D.
                             San Francisco, California
                            Thursday, February 7, 2019
                                       Volume I




           Reported by:
           MARY J. GOFF
           CSR No. 13427



              Golkow Litigation Services - 1.877.370.DEPS
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                                Rebecca Smith-Bindman, M.D.
                                                Page 2                                                 Page 4
     1                                                        1   APPEARANCES (continued):
     2                                                        2   For Plaintiffs
     3                                                        3      Restaino Law LLC
     4                                                        4      BY: JOHN M. RESTAINO JUNIOR
     5       Videotaped Deposition of REBECCA                 5      Attorney at Law
     6   SMITH-BINDMAN, M.D., Volume I, taken on behalf of    6      130 Forest Street
     7   Johnson & Johnson, at Levin Simes Abrams LLP,        7      Denver, Colorado 80220
     8   1700 Montgomery Street, Suite 250, San Francisco,    8      jrestaino@restainollc.com
     9   California 94111, beginning at 9:20 a.m. and ending  9      720-891-7921
    10   at 4:01 p.m., on February 7, 2019, before MARY J.   10
    11   GOFF, California Certified Shorthand Reporter No.   11
    12   13427.                                              12   For Defendant Johnson & Johnson
    13                                                       13      Tucker Ellis LLP
    14                                                       14      BY: MICHAEL C. ZELLERS
    15                                                       15      Attorney at Law
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    18                                                       18      Los Angeles, California 90071
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    23                                                       23
    24                                                       24
    25                                                       25
                                                Page 3                                                 Page 5
     1   APPEARANCES:                                1            APPEARANCES (continued):
     2                                               2            For Defendant Johnson & Johnson
     3   For Plaintiffs                              3               Skadden, Arps, Slate, Meagher & Flom, LLP.
     4      Beasley Allen Law Firm                   4               BY: BENJAMIN HALPERIN
     5      BY: P. LEIGH O'DELL                      5               Attorney at Law
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     7      Attorney at Law                          7               New York, New York 10036
     8      218 Commerce Street                      8               benjamin.halperin@skadden.com
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    10      leigh.odell@beasleyallen.com            10
    11      334-269-2343                            11
    12   For Plaintiffs                             12            For Defendant Imerys
    13      Robinson Calcagnie, Inc.                13               Dykema
    14      BY: CYNTHIA L. GARBER                   14               BY: JANE BOCKUS
    15      Attorney at Law                         15               Attorney at Law
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                                                                                   2 (Pages 2 to 5)
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                                 Rebecca Smith-Bindman, M.D.
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     1   APPEARANCES (continued):                              1             INDEX
     2   For Defendant Imerys                                  2   WITNESS              EXAMINATION
     3      Gordon & Rees LLP                                  3   REBECCA SMITH-BINDMAN, M.D.
     4      BY: JENNIFER A. FOSTER                             4   Volume I
                                                               5
     5      Attorney at Law                                    6                BY MR. ZELLERS                      12
     6      816 Congress Avenue                                7
     7      Suite 1510                                         8   NUMBER            DESCRIPTION                         PAGE
     8      Austin, Texas 78701                                9   Exhibit 1 Notice of Oral and Videotaped                24
     9      jfoster@gordonrees.com                                        Deposition
    10      512-391-0197                                      10
    11                                                        11   Exhibit 2 Rule 26 Expert Report of                    25
    12                                                                    Rebecca Smith-Bindman, MD
                                                              12
    13   For Defendant PCPC, Personal Care Products Council   13   Exhibit 3 IMERYS list, Amended Expert Report 30
    14      Seyfarth Shaw, LLP                                14
    15      BY: JAMES R. BILLINGS-KANG                        15   (Exhibit 4-11, premarked Hopkins Exhibit 28
    16      Attorney at Law                                   16   (Spreadsheet) premarked Pier 47 (Exhibit Number
    17      975 F Street, NW                                  17   list) and unmarked article "Pycnogenol Reduces
    18      Washington, D.C. 20004                            18   Talc-induced Neoplastic Transformation in Human
    19      jbillingskang@seyfarth.com                        19   Ovarian Cell Cultures" (Pltf_MISC_00000046) are
    20      202-828-5356                                      20   contained in the blue folder)
                                                              21
    21
                                                              22   Exhibit 4 Reproductive Sciences                   34
    22                                                        23
    23                                                             Exhibit 5 Safety Assessment article               35
    24                                                        24
    25                                                        25

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     1   APPEARANCES (continued):                              1   EXHIBITS CONTINUED:                  PAGE
     2                                                         2   Exhibit 6 IARC Monographs, Volume 93    35
                                                               3
     3   For Defendants PTI Union, LLC and PTI Royston, LLC    4   Exhibit 7 J&J article by Owen Dyer, BMJ           36
     4      Tucker Ellis LLP                                   5
     5      BY: CAROLINE M. TINSLEY                            6   Exhibit 8 IARC Volumes 1-123                 36
     6      Attorney at Law                                    7
                                                               8   Exhibit 9 "On Talc Translocation from the        36
     7      100 South 4th Street`                                         Vagina" article
     8      Suite 600                                          9
     9      St. Louis, Missouri, 63102                        10   Exhibit 10 Alterations in Gene Expression        37
    10      caroline.tinsley@tuckerellis.com                              article
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    11                                                        12   Exhibit 11 Draft Screening Assessment, 12/18          38
    12   Videographer:                                        13
    13     Joseph Morgas                                      14   Exhibit 12 (Binder) Talc Articles I         39
    14                                                        15
                                                              16   Exhibit 13 (Binder) Talc Articles II        39
    15                                                                   (Exhibit 21 is inside Exhibit 13)
    16                                                        17
    17                                                        18   Exhibit 14 CV of Smith-Bindman, MD                53
    18                                                        19   Exhibit 15 List of articles       54
                                                              20   Exhibit 16 9/24/18 e-mail string     76
    19                                                                    forest plots
    20                                                        21
    21                                                        22   Exhibit 17 Rule 26 Expert Report of          90
    22                                                                    Smith-Bindman, MD
                                                              23
    23                                                        24   Exhibit 18 The Association Between Talc Use           95
    24                                                                    and Ovarian Cancer article
    25                                                        25

                                                                                          3 (Pages 6 to 9)
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                                      Rebecca Smith-Bindman, M.D.
                                                            Page 10                                                               Page 12
     1   EXHIBITS CONTINUED:                            PAGE           1       REBECCA SMITH-BINDMAN, M.D., VOLUME I,
     2   Exhibit 19 NCI, SEER Training Modules            130          2   being first duly sworn or affirmed to testify to the
                 Risk Factors                                          3   truth, the whole truth, and nothing but the truth,
     3
     4   Exhibit 20 NCI article, Ovarian, Fallopian     132            4   was examined and testified as follows:
                 Tube and Primary Peritoneal                           5      EXAMINATION BY COUNSEL FOR THE DEFENDANTS
     5           Cancer Prevention PDQ-Health                          6   BY MR. ZELLERS:
                 Professional Version                                  7      Q State your name.
     6
     7   Exhibit 21 Handwritten notes                 156              8      A Rebecca Smith-Bindman.
                 (Inside Binder Exhibit 13)                            9      Q Dr. Bindman, we are here today to take
     8                                                                10   your deposition in the talcum powder MDL litigation.
     9   Exhibit 22 Genital Talc Exposure and Risk          179       11   Are you aware of that?
                 of Ovarian Cancer article
    10
                                                                      12      A I am.
    11   Exhibit 23 Genital Powder Exposure article         179       13      Q Have you been deposed before?
    12                                                                14      A I have.
    13   Exhibit 24 9/29/18 e-mail string             184             15      Q On how many occasions?
    14
                                                                      16      A Three to four times.
    15   Exhibit 25 Perineal Talc Exposure article      189
    16                                                                17      Q Have you ever testified at trial?
    17   Exhibit 26 Letter to Samuel Epstein, MD            203       18      A I have.
    18                                                                19      Q On how many occasions?
    19   Exhibit 27 IARC Agents Classified by IARC            206     20      A One.
                 Monographs, Volumes 1-123
    20                                                                21      Q You are generally familiar with the rules
    21                                                                22   we're going to follow here today?
    22                                                                23      A I am.
    23                                                                24      Q If at any time I ask you a question or any
    24
    25                                                                25   counsel asks you a question that you don't

                                                            Page 11                                                               Page 13
     1            San Francisco, California                            1   understand, please don't answer it. Tell us you
     2              February 7, 2019                                   2   don't understand, and we'll rephrase the question or
     3                9:20 a.m.                                        3   repeat it so it's clear to you.
     4                                                                 4          Can you do that?
     5            REBECCA SMITH-BINDMAN, M.D.,                         5       A I can.
     6   being first duly sworn or affirmed to testify to the          6       Q If you answer a question, is it fair for
     7   truth, the whole truth, and nothing but the truth,            7   us to assume that you understood it?
     8   was examined and testified as follows:                        8       A It is.
     9          THE VIDEOGRAPHER: We are now on the                    9       Q Please don't guess or speculate as to any
    10   record. My name is Joseph morgue. I'm a                      10   answers. If you don't know the answer to a question
    11   videographer for Golkow Litigation Services.                 11   or it would call you to guess or speculate, tell us.
    12          Today's date is February 7, 2019. The                 12          Can you do that?
    13   time on the video monitor is 9:20 a.m.                       13       A I can.
    14          This video deposition is being held at                14       Q If at any time you need to take a break as
    15   1700 Montgomery Street, Suite 250, San Francisco,            15   we proceed through the day, please tell us. And
    16   California, in the matter In Re: Johnson & Johnson           16   once we finish whatever line of questioning we're
    17   Talcum Powder Products Marketing, Sales Practices,           17   involved with, then we will take a break.
    18   and Products Liability Litigation, for the United            18       A Okay.
    19   States District Court, for the District of                   19       Q Tell us the times that you have been
    20   New Jersey.                                                  20   deposed. When is the last time you were deposed?
    21          The deponent is Dr. Rebecca Smith-Bindman.            21       A I think approximately six years ago.
    22   Counsel will be noted on the stenographic record.            22       Q What was the litigation or the matter?
    23   The court reporter is Mary Goff. She will now                23       A I have been deposed a few times. I'm not
    24   administer the oath.                                         24   sure which happened when --
    25                                                                25       Q That's fine.
                                                                                                4 (Pages 10 to 13)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 14                                                     Page 16
     1       A -- but I can tell you in general what they        1       A And -- and I was deposed.
     2   were about.                                             2           MS. O'DELL: Excuse me.
     3       Q Tell us -- the three to four times that           3       Q (BY MR. ZELLERS) Yes. So three prior
     4   you have been deposed, will you tell us what each of    4   litigations in which you served as an expert and you
     5   those matters was?                                      5   were deposed; is that right?
     6       A Yes. I am in addition to being an                 6       A I --
     7   epidemiologist, I'm a clinical radiologist. And         7           MS. O'DELL: Object to the form. I think
     8   each of those cases had to do with diagnosis and        8   she said four, but --
     9   communication within medical malpractice cases.         9           MR. ZELLERS: Well, she said three to
    10           One case had to do with a delayed              10   four. But then when she was telling us about those
    11   diagnosis of breast cancer and not communicating       11   cases --
    12   results.                                               12       A -- so I remember what was fourth case was.
    13           One case had to do with a misdiagnosis of      13       Q (BY MR. ZELLERS) All right. What was the
    14   a first trimester pregnancy loss.                      14   fourth case?
    15           One case had to do with misdiagnosis of a      15       A There was a case of delay in the diagnosis
    16   complication of a twin/twin pregnancy. I think         16   of an ovarian cancer.
    17   those are the cases I was deposed in.                  17       Q Where was that case?
    18       Q All of the cases in which you have been          18       A Somewhere in the middle of the country.
    19   deposed previously have been medical malpractice       19       Q When did you testify in that case?
    20   cases?                                                 20       A I -- I only testified in a single case.
    21       A Yes.                                             21   So it -- do you mean deposed?
    22       Q Were those cases in which you had provided       22       Q Yes. When were you deposed in that case?
    23   treatment to a patient or were they cases in which     23       A I -- sometime between -- all of the cases
    24   you were an expert witness independent of that         24   were sometime between six and 12 years ago. I'm
    25   particular plaintiff?                                  25   not --
                                                  Page 15                                                     Page 17
     1       A For each of those cases, I was an expert          1      Q All right. Did --
     2   witness. I had never personally been involved in a      2      A -- sure I remember the years.
     3   medical malpractice cases.                              3      Q The case in which you testified as an
     4       Q Were each of those cases in the                   4   expert witness in the delay of diagnosis of ovarian
     5   San Francisco area or where were they located?          5   cancer, were you testifying for the defense or for
     6       A None of those cases were in the                   6   the plaintiff?
     7   San Francisco area. One of them was in Huntsville       7      A I believe that case was for the defense.
     8   Alabama, one was in Northern California, and one was    8      Q Do you remember the name of the plaintiff?
     9   in Southern California.                                 9      A I do not.
    10       Q Do you remember the names of any of those        10      Q Do you remember the name of the defendant?
    11   cases?                                                 11      A I do not.
    12       A I do not.                                        12      Q Do you remember the name of the attorney
    13       Q Do you remember the name of the lawyer or        13   who retained you?
    14   lawyers that you worked with in those cases?           14      A I do not.
    15       A I do not.                                        15      Q Do you remember where in the middle of the
    16       Q Did you testify in those cases on behalf         16   country that case was pending?
    17   of the plaintiff or on behalf of a defendant?          17      A I do not.
    18       A They were split. So I have been involved         18      Q You stated that you have testified one
    19   in cases on both slides.                               19   time at trial; is that right?
    20       Q Well, my understanding is you have been          20      A Yes.
    21   involved in three prior litigations; is that right     21      Q Where did you testify at trial?
    22   --                                                     22      A That was Huntsville -- the Fayetteville,
    23          MS. O'DELL: Object to the form.                 23   Alabama case.
    24       Q (BY MR. ZELLERS) -- in which you served as       24      Q In that case, did you testify for the
    25   an expert witness and were deposed?                    25   plaintiff or the defense?
                                                                                     5 (Pages 14 to 17)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 18                                                    Page 20
     1       A For the plaintiff.                                1       A Yes.
     2       Q Do you remember how long ago it was?              2       Q You are not testifying here today as a
     3       A In the ballpark of seven or eight years           3   radiologist; is that right?
     4   ago.                                                    4           MS. O'DELL: Object to the form.
     5       Q The Northern California case that you gave        5       A I think some of my experiences as a
     6   deposition testimony in that -- in, was that for the    6   radiologist are highly relevant to my expertise, and
     7   plaintiff or the defense?                               7   so there are some questions that I think that that
     8       A I don't remember.                                 8   is very relevant.
     9       Q Southern California, that medical                 9       Q (BY MR. ZELLERS) Are there any areas in
    10   malpractice case, did you testify for the plaintiff    10   which you anticipate providing expert testimony in
    11   or the defense?                                        11   this litigation, other than in the areas of
    12       A Can I go back? I -- I do remember.               12   epidemiology and radiology?
    13          So the Northern California case was the         13           MS. O'DELL: Object to the form.
    14   plaintiff. The Southern California case was the        14       A I mentioned ovarian cancer. So risk
    15   defense.                                               15   factors for ovarian cancer falls into epidemiology.
    16       Q Do you remember the attorneys that you           16           The mechanism of ovarian cancer, the
    17   worked with in the Northern California case?           17   pathophysiology, the biological processes are not
    18       A I do not.                                        18   technically epidemiology. They're related, and so
    19       Q The Southern California case?                    19   some of my opinions, I think, would fall into that
    20       A I do not.                                        20   category.
    21       Q Do you remember the name of any of the           21       Q (BY MR. ZELLERS) How would you define that
    22   parties in any of the cases in which you have either   22   area of expertise for which you are providing expert
    23   given deposition testimony in or trial testimony in?   23   opinions?
    24       A I do not.                                        24           MS. O'DELL: Object to the form.
    25       Q Today I'm going to ask you questions about       25       Q (BY MR. ZELLERS) We have got that you are

                                                  Page 19                                                    Page 21
     1   talcum powder or baby powder. Can we agree that         1   going to provide expert opinions relating to
     2   when I refer during the deposition to products, to      2   epidemiology. You're going to provide expert
     3   talc products, talcum powder products, baby powder,     3   opinions relating to radiology.
     4   or Shower to Shower at issue in this MDL, that I am     4          Are there any other areas that you intend
     5   referring to the baby powder product manufactured by    5   to provide expert opinions in?
     6   Johnson & Johnson Consumer Products, Inc., and the      6          MS. O'DELL: Other than what she has just
     7   Shower to Shower product that was formerly              7   described?
     8   manufactured by Johnson & Johnson Consumer Products,    8       Q (BY MR. ZELLERS) Well, other than
     9   Inc.?                                                   9   epidemiology and radiology.
    10       A Yes.                                             10          MS. O'DELL: Object to the form. She gave
    11       Q How would you define the area of expertise       11   another -- a host -- a suite of things she expected
    12   in which you were offering opinions in this case,      12   to testify on, but --
    13   "this case" being the talc MDL?                        13          MR. ZELLERS: And so --
    14       A I was asked to provide an expert review in       14          MS. O'DELL: -- I'll object to the form.
    15   the area of epidemiology, ovarian cancer and its       15          MR. ZELLERS: -- yeah, thank you.
    16   causes, the health effects of talc powder products.    16       A Could you repeat back to me what I have
    17   I think those are the main areas.                      17   already said?
    18       Q Are -- are you testifying today as an            18       Q (BY MR. ZELLERS) No. I'm asking you what
    19   epidemiologist?                                        19   you are going to provide expert testimony in, what
    20       A Yes.                                             20   you consider yourself to be an expert in.
    21          MS. O'DELL: Object to --                        21          I understand epidemiology, and I
    22       A Am --                                            22   understand the epidemiology opinions you are going
    23          MS. O'DELL: -- the form.                        23   to give, relate to whether or not talcum powder is
    24       A -- I bringing expertise to that?                 24   associated with ovarian cancer, whether or not
    25       Q (BY MR. ZELLERS) Yes.                            25   talcum powder causes ovarian cancer, so I believe

                                                                                     6 (Pages 18 to 21)
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                                 Rebecca Smith-Bindman, M.D.
                                                 Page 22                                                    Page 24
     1   those are epidemiology-based opinions.                 1       Q -- not an expert -- well -- and let me
     2          I also understand that you have a -- your       2   withdraw that.
     3   training and your background is in radiology and       3          You have produced an expert report in this
     4   that you will provide, to the extent relevant,         4   case; is that right?
     5   radiology opinions.                                    5       A I have.
     6          But you're not testifying here today as a       6       Q Let's mark a couple of things at the
     7   gynecologic oncologist, are you?                       7   outset.
     8       A I am not.                                        8          Deposition Exhibit 1 is copy of the Notice
     9       Q You are not testifying here today as an          9   of Deposition.
    10   expert in asbestos; is that fair?                     10          (Exhibit 1 was marked for identification
    11          MS. O'DELL: Object to the form.                11   and is attached to the transcript.)
    12       A I am going to provide opinions, if asked,       12          MS. O'DELL: Thank you.
    13   about the health effects of asbestos.                 13       Q (BY MR. ZELLERS) Have you seen the Notice
    14       Q (BY MR. ZELLERS) Are you an expert or do        14   of Deposition prior to today?
    15   you consider yourself to be an expert in asbestos?    15       A Yes, I have.
    16          MS. O'DELL: Object to the form.                16       Q Have you either brought with you or
    17       A The question is about asbestos, in              17   through counsel have they brought all of the
    18   general, and I consider myself an expert on the       18   materials that you believe are responsive to the
    19   health effects of asbestos.                           19   Deposition Notice?
    20       Q (BY MR. ZELLERS) Does that mean that you        20          MR. ZELLERS: And, Ms. O'Dell, I recognize
    21   are an expert in asbestos or simply looking at        21   that you have objected to the Deposition Notice and
    22   studies that have evaluated the epidemiology of       22   the record will reflect that.
    23   asbestos and asbestos exposure to certain             23          MS. O'DELL: And just so I have a chance
    24   conditions?                                           24   to say something, we'll just reassert those
    25          MS. O'DELL: Object to the form.                25   objections now.
                                                 Page 23                                                    Page 25
     1      A I think there are a lot of acts -- aspects        1          Dr. Smith-Bindman has brought with her
     2   of asbestos, so I would absolutely not consider        2   documents subject to our objections.
     3   myself an expert on the geology of asbestos or in      3          MR. ZELLERS: And I would really like
     4   the mechanism of mining asbestos.                      4   Dr. Smith-Bindman to answer the question.
     5          But I would consider myself an expert on        5          MS. O'DELL: I'm sure she's ready to do
     6   the changes to the body that can be the result of      6   that.
     7   exposure to asbestos in the context of epidemiology    7      A To the best of my knowledge, I have
     8   studies, but also in the context of molecular          8   responded or brought or provided all of --
     9   changes, cellular changes like that.                   9      Q (BY MR. ZELLERS) You --
    10          And -- and those technically are probably      10      A -- those items.
    11   not in the category of epidemiology, but would        11      Q -- you are not aware of items that are
    12   overlap other areas of my training and experience,    12   called for in the Deposition Notice, what we have
    13   such as pathology and...                              13   marked as Exhibit 1 that have not been produced or
    14      Q You are not an expert in the testing of          14   not available here today; is that right?
    15   asbestos; is that fair?                               15      A That's correct.
    16      A I -- I would, yes, agree.                        16      Q Ms. O'Dell and I spoke earlier about your
    17      Q You are not an expert in the different           17   invoices, and apparently you do have some invoices
    18   forms and types of asbestos --                        18   relating to your work in this matter. At some point
    19      A I --                                             19   today we'll collect those and we will mark those.
    20      Q -- correct?                                      20          (Exhibit 2 was marked for identification
    21      A -- I -- correct.                                 21   and is attached to the transcript.)
    22      Q Okay.                                            22      Q (BY MR. ZELLERS) Deposition Exhibit 2 is
    23      A I'm not an expert in those types of --           23   your report in this matter; is that right?
    24      Q You are --                                       24          MS. O'DELL: Thank you.
    25      A -- asbestos.                                     25      A Okay. Yes.
                                                                                    7 (Pages 22 to 25)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 26                                                     Page 28
     1       Q (BY MR. ZELLERS) Does your report in this         1       Q Okay. Right now all I want to do is get a
     2   matter, Deposition Exhibit 2, contain all of the        2   list of what you have looked at and considered since
     3   opinions that you intend to offer at trial or at any    3   you prepared your report.
     4   hearing in this matter?                                 4       A I have seen an updated testing report by
     5       A The report summarizes my opinions. I have         5   Mr. Longo.
     6   written in the report. As new information comes         6           I have seen a report and deposition by
     7   available, I may take that into account as well.        7   Mr. Cooke. I -- I think those are the...
     8          So when we began, counsel mentioned a few        8       Q You -- counsel for Plaintiffs, Ms. O'Dell,
     9   additional papers that I had seen since the time my     9   told me before the deposition that you also have
    10   report was written. And so those are -- are --         10   looked at a health assessment from Health Canada or
    11   won't -- have not changed my views, but those are      11   a risk assessment; is -- is that correct?
    12   not necessarily referenced in this report.             12       A Yes, that's correct.
    13       Q In terms of your opinions and the opinions       13       Q All right. Did you also look at a
    14   that you expect to render in this matter, either at    14   meta-analysis that was performed or at least the
    15   trial or any hearing, those opinions are contained     15   draft of a meta-analysis by the first name, author,
    16   in your report which we marked as Exhibit 2,           16   Thayer (phonetic)?
    17   correct?                                               17       A I -- I saw that report briefly.
    18          MS. O'DELL: Object to the form.                 18       Q Anything else that you have reviewed
    19       A I have not, since writing my report, seen        19   and/or considered that is not included in the
    20   any documents that have changed my opinions.           20   materials that you reference either in your list of
    21          But as I continue to keep up with the           21   references or in your Materials Considered List?
    22   published literature, my opinions may reflect          22       A There was also a series of reports in --
    23   changing documents that I have seen since the time     23   in The New York Times and Reuters and a summary of
    24   my report was generated.                               24   that in the BMJ, which I have seen since I have
    25                                                          25   issued my report.
                                                  Page 27                                                     Page 29
     1       Q (BY MR. ZELLERS) All I can do is ask you          1       Q Are you basing any of your opinions on the
     2   questions today. As of today, does your report          2   Reuters or New York Times articles?
     3   contain the opinions that you expect to provide at      3       A Those reports support my opinions, but no,
     4   any trial or hearing in this matter?                    4   I'm not basing my report on -- on those.
     5       A Yes, they do.                                     5       Q Ms. O'Dell also provided me with a list
     6       Q My understanding from one of your prior           6   materials that she has represented that you have
     7   answers is that you have reviewed some additional       7   reviewed since you prepared your report.
     8   materials since you prepared and signed your report     8          It's a series of Imerys documents. It's
     9   on or about November 15 of 2018; is that right?         9   one J&J produced document. And then the last item
    10       A That is correct.                                 10   listed is an Amended Expert Report of Robert Cooke.
    11       Q Those materials, you believe, support the        11          Have you reviewed those materials since
    12   opinions that you have put in your report, but have    12   preparing your report?
    13   not changed your opinions; is --                       13       A So yes, the -- the Mr. Cooke report, which
    14       A It --                                            14   is one I mentioned. Yes, I have seen the Imerys
    15       Q -- that right?                                   15   report. And I can't remember what you said, the
    16       A -- that's correct.                               16   Johnson & Johnson?
    17       Q What new or additional materials have you        17       Q Are those additional documents or
    18   reviewed and considered since preparing your report    18   materials that you have reviewed since preparing
    19   on November 15, 2018?                                  19   your report?
    20       A So I have seen a draft of a publication --       20       A I'm sorry. I understand the question. I
    21   submitted for publication by Dr. Saed about the        21   don't remember what the Johnson & Johnson material
    22   cellular and molecular changes to cell lines of        22   was.
    23   being exposed to various talcum powder products,       23       Q I --
    24   which I think is an important paper that has           24       A You listed it. I just don't --
    25   influenced my views.                                   25       Q -- well, I didn't --

                                                                                     8 (Pages 26 to 29)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 30                                                     Page 32
     1      A -- remember that.                                  1   is that right?
     2      Q -- list it. This was a list that was               2       A Yes, I did.
     3   prepared and provided to me by counsel for              3          MS. O'DELL: Object to the form.
     4   Plaintiffs so --                                        4       Q (BY MR. ZELLERS) You asked for documents
     5          MS. O'DELL: But I don't think he                 5   that were both positive and negative relating that
     6   characterized the documented in any way other than      6   testing; is that right?
     7   the Bates number, so -- so it's a J&J document --       7       A Yes.
     8      A What is that item?                                 8       Q Do you believe that you have now seen, as
     9          MS. O'DELL: -- that's just the Bates             9   part of your review, all documents relating to the
    10   number for that particular document. And it's          10   testing of Johnson's baby powder and/or Shower to
    11   the -- the test results that you reviewed yesterday.   11   Shower powder?
    12      A Yes.                                              12       A I --
    13          (Exhibit 3 was marked for identification        13          MS. O'DELL: Object to the form.
    14   and is attached to the transcript.)                    14       A -- I do not believe I have seen the
    15      Q (BY MR. ZELLERS) Are all of the documents         15   entirety of the testing results.
    16   contained on Exhibit 3, the -- a listing that was      16       Q (BY MR. ZELLERS) Was it your request that
    17   put together by counsel for the Plaintiffs,            17   you see whatever pertinent documents that were
    18   documents that you reviewed yesterday in preparation   18   relating to the testing of the baby powder?
    19   for your deposition today?                             19       A It was not my request. I wanted to
    20      A Yes.                                              20   understand, in general, what kind of testing had
    21      Q Are those documents that were selected by         21   been done. I -- I was not planning to delve into
    22   plaintiffs' counsel to show you to help prepare you    22   the entirety of testing.
    23   for the deposition?                                    23       Q Any other materials that you have reviewed
    24          MS. O'DELL: Object to the form.                 24   prior -- strike that -- subsequent to preparing your
    25      A The document are ones that I asked for to         25   report, which we marked as Exhibit 2?
                                                  Page 31                                                     Page 33
     1   see testing results, both positive and negative,        1       A None that come to mind.
     2   from Johnson & Johnson. So I requested documents        2       Q You have brought with you here today
     3   that would show that, and I believe that's what each    3   several notebooks and it looks like a blue folder;
     4   of these were provided for.                             4   is that right?
     5       Q When did you make that request to                 5       A Yes.
     6   plaintiffs' counsel?                                    6       Q What is contained in the blue folder that
     7          MS. O'DELL: And Mr. Zellers is -- he can         7   you brought here today?
     8   ask you when you made the request. In terms of the      8       A Primarily in the blue folder are either
     9   specifics of the request or conversations with          9   additional documents that I have reviewed since I
    10   counsel, those would be protected, and I would         10   wrote my report, but also a few documents that -- in
    11   instruct you not to -- to disclose those.              11   preparation for the deposition, I went through my
    12       A To not say when I read the request?              12   report and pulled some articles to look at in
    13          MS. O'DELL: You can say when you gave the       13   greater depth, and so I brought those with --
    14   request. But the substance of the request or the       14       Q So --
    15   substance of the discussions, I would have ask you     15       A -- me.
    16   not to --                                              16       Q -- in the blue folder are materials that
    17       A Okay.                                            17   you pulled out to have available for the deposition
    18          MS. O'DELL: -- testify to those.                18   today for your use as needed in responding to
    19       Q (BY MR. ZELLERS) My question again is:           19   questions that were asked?
    20   When did you make the request for the documents that   20       A Yes, that's correct.
    21   are identified on Exhibit 3?                           21       Q Can I see you blue folder, please? And,
    22       A I believe it was a few weeks ago.                22   Dr. Smith-Bindman, have you taken any medications
    23       Q You made a request for testing documents         23   that impair your ability to answer questions today?
    24   of talcum powder used in Johnson & Johnson Consumer,   24       A I have not.
    25   Inc., baby powder or former Shower to Shower powder;   25       Q All right. The first document in your
                                                                                     9 (Pages 30 to 33)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 34                                                      Page 36
     1   blue folder is a document, "Reproductive Sciences"      1          Are those your notations?
     2   at the top, "Molecular basis Supporting the             2      A Yes, they are.
     3   Association of Talcum Powder Use with Increased Risk    3      Q All right. We'll mark that as Exhibit 7.
     4   of Ovarian Cancer."                                     4          (Exhibit 7 was marked for identification
     5          The first named author is Nicole Fletcher.       5   and is attached to the transcript.)
     6          And is this the article by Dr. Saed that         6          (Exhibit 8 was marked for identification
     7   you sold me about?                                      7   and is attached to the transcript.)
     8       A Yes, it is.                                       8      Q (BY MR. ZELLERS) Exhibit 8 are the
     9       Q There are a number of notes and                   9   classifications of the International Agency for
    10   highlighting that are contained in the document.       10   Research on Cancer or IARC.
    11   Are all of those your notes and highlighting?          11          Are you generally familiar with the IARC
    12       A They are.                                        12   classifications relating to the carcino --
    13       Q We'll mark your copy of Dr. Saed's paper         13   carcinogenicity of different agents?
    14   as Exhibit 4.                                          14      A I am.
    15          (Exhibit 4 was marked for identification        15      Q The next document in your folder that also
    16   and is attached to the transcript.)                    16   has some underlining and highlighting is on "Talc
    17       Q (BY MR. ZELLERS) The next paper in your          17   Translocation from the Vagina to the Oviducts and
    18   blue folder that you brought here today is a           18   Beyond."
    19   document with the first named author, Fiume,           19          (Exhibit 9 was marked for identification
    20   F I U M E. The title is "Safety Assessment of Talc     20   and is attached to the transcript.)
    21   as Used in Cosmetics."                                 21      Q (BY MR. ZELLERS) This is an article that
    22          It appeared in the International Journal        22   was published in 1985. The first named author is
    23   of Toxicology. Again, there's highlighting in the      23   A.P. Wehner.
    24   document and underlying lining.                        24          Is this also a document that you brought
    25          Did you do the highlighting and did you do      25   here today?
                                                 Page 35                                                      Page 37
     1   the underlining in this document?                       1      A It is.
     2       A Yes, I did.                                       2      Q The highlighting in the document, is that
     3       Q We'll mark that document, your copy, as           3   your document -- strike that.
     4   Exhibit 5.                                              4          Is that your highlighting?
     5          (Exhibit 5 was marked for identification         5      A It -- it is.
     6   and is attached to the transcript.)                     6      Q Are all of these documents either on your
     7       Q (BY MR. ZELLERS) I see here that there is         7   reference list or on your Materials Considered List,
     8   the IARC monograph dated 2010 on the evaluation of      8   other than what you told us about at the start of
     9   carcinogenic risk to humans.                            9   the deposition?
    10          The bottom part of page 1 is torn off. Do       10      A Yes.
    11   you know why that is?                                  11      Q We have Deposition Exhibit 47 from the
    12       A I do not.                                        12   Pier deposition. I will not mark that.
    13       Q All right. So the first page gives a date        13          We have an article here by Shukla,
    14   reference of 2010. The second page gives -- well,      14   S H U K L A, "Alterations in Gene Expression in
    15   it also lists a 2006 date and a 2010 date. There is    15   Human Mesothelial Cells Correlate with Mineral
    16   highlighting throughout.                               16   Pathogenicity."
    17          Whose highlighting is contained in the          17          (Exhibit 10 was marked for identification
    18   document that we'll mark as Exhibit 6?                 18   and is attached to the transcript.)
    19       A That would be mine.                              19      Q (BY MR. ZELLERS) Is that a document that
    20          (Exhibit 6 was marked for identification        20   you brought here today?
    21   and is attached to the transcript.)                    21      A Yes, it is.
    22       Q (BY MR. ZELLERS) We then have a news             22      Q Are the highlights and writing on that
    23   article from the British Medical Journal that was      23   document yours?
    24   published December 28 of 2008. It's just a one-page    24      A Yes, they are.
    25   document with underlining and writing on it.           25      Q You have an article by Biz'Zard that was
                                                                                   10 (Pages 34 to 37)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 38                                                     Page 40
     1   published in -- is that -- Phytotherapy Research,      1      Q Did you have any staff that helped you in
     2   2007; is that right?                                   2   terms of your review of materials and preparation of
     3       A Yes.                                             3   your report other -- other than Dr. Hall?
     4       Q There do not appear to be any handwriting        4      A I had a copy editor -- once I had a draft
     5   on that document, so I won't mark it.                  5   of my report -- review it.
     6         We have got the Hopkins Deposition               6      Q Who is your copy editor?
     7   Exhibit 28. There's no highlighting on that            7      A Her name is Chris Tachibana.
     8   document.                                              8      Q And where is she employed?
     9         And then we have the "Draft Screening            9      A She is a freelance medical copy editor.
    10   Assessment" from Health Canada dated December 2018.   10      Q What role did she play in your review and
    11         Is the highlighting in that document            11   analysis of materials and your -- the preparation of
    12   yours?                                                12   your report?
    13       A Yes, it is.                                     13      A So she played no role in the review -- or
    14       Q All right. We'll mark that as                   14   the drafting of the report, but she reviewed a draft
    15   Deposition Exhibit 11.                                15   near the end for grammatical issues to remove
    16         (Exhibit 11 was marked for identification       16   redundancy.
    17   and is attached to the transcript.)                   17          She's someone I work with a great deal for
    18       Q (BY MR. ZELLERS) Have we covered all of         18   my medical publications, and so --
    19   the documents that you have brought with you today    19      Q You have worked with her in the past -- I
    20   in your blue folder?                                  20   --
    21       A Yes.                                            21      A That's right --
    22       Q All right. Let me see your two notebooks        22      Q -- is that right?
    23   that you also have brought with you today. One        23      A -- yes.
    24   notebook is "Talc Articles I." The second notebook    24      Q Is she here in the San Francisco area?
    25   is "Talc Articles II."                                25      A She is not.
                                                 Page 39                                                     Page 41
     1          Are all of the articles that are contained      1       Q Where is she located?
     2   in these two notebooks, articles that are contained    2       A She splits her time between Seattle,
     3   either on your reference list or on your reliance      3   Washington, and Germany.
     4   materials list?                                        4       Q She charges for her services; is that
     5       A Yes, they are.                                   5   right?
     6       Q As I go through this quickly, it appears         6       A She does.
     7   that there is underlining and highlighting of the      7       Q Are those charges that you paid or that
     8   articles that you have brought here today; is that     8   were paid by plaintiffs' counsel?
     9   right?                                                 9       A They have not yet been paid, but the plan
    10       A Yes, it is.                                     10   is for her to submit those invoices. And it will
    11       Q Is all of the highlighting and underlining      11   come out of my fees, but will be paid by the
    12   and marking, are those your highlights and marking?   12   counsel.
    13       A Yes, they are.                                  13       Q All right. When you submit invoices,
    14       Q Who prepared the notebooks? And let's           14   will -- the charges for the copy editor, will those
    15   mark Talc Articles I, the entire notebook as          15   be included in your invoice to plaintiffs' counsel?
    16   Exhibit 12.                                           16       A My plan is for it to come out of my fee.
    17          (Exhibit 12 was marked for identification      17   So I am paying for it, but it should be literally
    18   and is attached to the transcript.)                   18   paid by counsel, since I'm not able to pay and
    19       Q (BY MR. ZELLERS) Talc Articles II, the          19   deduct taxes or pay taxes or -- or so -- or...
    20   entire notebook, as Exhibit 13.                       20       Q All right. You will pay it out of your
    21          (Exhibit 13 was marked for identification      21   pocket and will not include it on your statement to
    22   and is attached to the transcript.)                   22   plaintiffs' counsel; is that right?
    23       Q (BY MR. ZELLERS) Who prepared Exhibits 12       23       A That's correct.
    24   and 13 for you?                                       24       Q Approximately how much have you paid or
    25       A I did.                                          25   will you pay to your copy editor?
                                                                                  11 (Pages 38 to 41)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 42                                                     Page 44
     1      A I believe the total is in the ballpark of          1       Q What did that lawyer tell you or ask you
     2   about 1,500 or $1,700.                                  2   about this engagement?
     3      Q How about Dr. hall? Are her fees being             3       A They told me that there was a -- a case
     4   paid by you or are they being paid by plaintiffs'       4   that they would like some epidemiology research on
     5   counsel?                                                5   and that they thought I would be a very good fit and
     6      A Her fees are being paid by counsel.                6   would I be willing to speak with them.
     7      Q Dr. Hall either has or will submit her own         7           I don't believe they even told me what the
     8   separate invoice relating to her work on this           8   content of -- of the case was about, but rather,
     9   matter?                                                 9   that it was a case. And the role that they were
    10      A Yes.                                              10   seeking was as an epidemiologist, not as a
    11      Q Has she already done that?                        11   radiologist or on the medical care.
    12      A I believe she has submitted it. I -- I'm          12       Q Was this a phone call or an e-mail or how
    13   not 100 percent sure.                                  13   did they contact you?
    14      Q Do you know what Dr. Hall's fees are at           14       A I believe it was a short e-mail followed
    15   least through the present time relating to her work    15   by a short phone call.
    16   on this matter?                                        16       Q I mean, do you keep those e-mails? And if
    17      A I believe the amount is in the ballpark of        17   at some point we ask for them to be produced, is
    18   the same 1,500 to $2,000.                              18   that something you could do?
    19      Q You believe, though, that Dr. Hall either         19       A For the particular e-mail that you are
    20   has or will be submitting invoice -- an invoice        20   asking about, I cannot find it. So I don't have
    21   separately for her work to plaintiffs' counsel; is     21   that. I looked.
    22   that right?                                            22       Q You were contacted by a lawyer or law
    23      A Yes.                                              23   firm, asked if you would be willing.
    24      Q You have submitted invoices; is that              24           You said you would be willing without even
    25   right?                                                 25   knowing what the matter related to?
                                                  Page 43                                                     Page 45
     1       A I have.                                           1       A I didn't say I would be willing to be an
     2       Q When were you first retained in this              2   expert. I said I would be willing to have a
     3   matter -- well, strike that.                            3   conversation with the lawyers to learn about the
     4            When were you first contacted with             4   case.
     5   respect to this litigation, the talcum powder MDL?      5       Q Were you told at that time that the case
     6       A My recollection is mid-2017.                      6   related to talcum powder?
     7       Q Who contacted you in mid-2017?                    7       A I was not.
     8       A I was initially contacted by a law firm           8       Q Were you told at that time that the
     9   that i believe was helping the law firms find expert    9   medical issue in the case related to ovarian cancer?
    10   witnesses and asked if I would be willing to speak     10       A I do not believe I was.
    11   with them to see if this could be something that I     11       Q What is the next contact then that you had
    12   would be interested in doing.                          12   with any lawyer relating to this matter?
    13       Q What law firm or lawyer contacted you            13       A So then a phone call was set up between
    14   initially in mid-2017?                                 14   myself and, I believe it was, three lawyers involved
    15       A I -- I don't remember that initial               15   in this litigation and told about the -- what the --
    16   contact.                                               16   what the case was about and told what they were
    17       Q You don't remember the name of the lawyer        17   looking for to see if I would be interested in
    18   or the law firm that initially contacted you in this   18   speaking with them.
    19   matter?                                                19          And that lead to an in-person meeting
    20       A The initial law firm basically asked me if       20   where we then discussed what the case was about.
    21   I would be willing to speak to these lawyers, and I    21       Q When was the phone call with the three
    22   do not know the name of that lawyer who originally     22   attorneys?
    23   contacted me.                                          23       A All of this was in mid-2017, June-July
    24       Q Did you ever speak to that lawyer again?         24   time frame.
    25       A No.                                              25       Q The same question. When was the in-person
                                                                                   12 (Pages 42 to 45)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 46                                                      Page 48
     1   meeting?                                                1       Q (BY MR. ZELLERS) You understood they
     2      A Within that same -- maybe a month later,           2   represented the Plaintiffs in this litigation --
     3   but same time frame.                                    3       A Yes.
     4      Q Was the in-person -- strike that.                  4       Q -- is that right?
     5          Where was the in-person meeting?                 5       A Yes.
     6      A It was in my office in San Francisco.              6       Q You told them that you would be willing to
     7      Q Who were the three attorneys that you              7   do the review. You did not at that point agree to
     8   spoke with initially over the phone and then met        8   serve as an expert witness for the Plaintiffs; is
     9   with in person?                                         9   that fair?
    10      A So Dr. Thompson was one; John Restaino was        10       A That's fair.
    11   one; and a third lawyer whose name is alluding me.     11       Q Did you then go and do your review,
    12      Q Was it a man or a woman?                          12   literature review?
    13      A A woman.                                          13       A Yes, I did.
    14      Q Is it a lawyer that you have had any              14       Q You, at least at that point in time, had
    15   further contact with or communications with?           15   never previously done any research or review
    16      A Yes.                                              16   relating to talcum powder or relating to any
    17      Q But you can't remember her name?                  17   potential association between talcum powder,
    18      A I can't. But if we give it a minute, I            18   perineal talcum powder use, and ovarian concern; is
    19   think I will be able to.                               19   that right?
    20      Q Well, if you do remember it at some point         20       A That's correct.
    21   today, let us know.                                    21          MS. O'DELL: Object to the form.
    22          When you had the phone call with                22       Q (BY MR. ZELLERS) You went out and reviewed
    23   Ms. Thompson and with Mr. Restaino and this third      23   the literature; is that right?
    24   lawyer in the in-person meeting, what did they ask     24       A Yes.
    25   you to do?                                             25       Q Did plaintiff's counsel, the two lawyers

                                                 Page 47                                                      Page 49
     1       A They asked me if I would be willing to do         1   that you met -- well, strike that.
     2   a comprehensive and unbiased review of the              2          The three lawyers you met with, did they
     3   literature around talcum powder products and ovarian    3   provide you with some articles to get started with?
     4   cancer.                                                 4      A They provided access to a database, a
     5       Q Did they ask you to do anything else?             5   Dropbox, where they had a large number of articles
     6       A Well, they asked if I would be willing to         6   that they made available to me.
     7   be an expert witness in this case.                      7      Q You reviewed those articles. Did you then
     8       Q Anything else?                                    8   have another meeting or communication with the
     9       A Nothing else that I can recall.                   9   plaintiffs' lawyers?
    10       Q You said you would do a review of the            10          MS. O'DELL: Object to the form.
    11   literature, correct?                                   11      A I had several meetings with the lawyers
    12       A I -- yes --                                      12   over the subsequent year.
    13       Q You --                                           13      Q (BY MR. ZELLERS) Eventually were you
    14       A -- I did.                                        14   asked, you know, to render an opinion on a topic or
    15       Q -- you said that you would be willing to         15   topics?
    16   serve as an expert for Plaintiffs, correct?            16          MS. O'DELL: Object to the form.
    17          MS. O'DELL: Object to the form.                 17      A I -- I was asked to draft a report of my
    18       A I -- I hesitated on the last question            18   review of the -- the literature and the data that
    19   because I was very upfront and clear that I was        19   were available.
    20   willing to do a review, but that I did not know this   20      Q (BY MR. ZELLERS) At this time were there
    21   field in any great depth and that I would only be      21   any new lawyers that you were meeting with on the
    22   interested in doing that if I was permitted to do      22   plaintiffs' side or was it still the three original
    23   the review the same as I do in my other scientific     23   lawyers?
    24   work and that I didn't know if my conclusion would     24      A They were -- I -- I believe those would
    25   support my becoming an expert on their behalf.         25   be -- I think there was one additional lawyer
                                                                                   13 (Pages 46 to 49)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 50                                                     Page 52
     1   that --                                                 1   better than what you have already done?
     2       Q Do you remember his or her name?                  2       A No.
     3       A Her name. Breanne was her first name.             3       Q As part of serving as an expert for
     4       Q Do you know Breanne's last name?                  4   Plaintiffs, you did an -- either A -- do you call it
     5       A Maybe Cope or something that's similar to         5   a systematic review or a meta-analysis? What do you
     6   Cope.                                                   6   call that?
     7       Q You reviewed the articles. You were asked         7       A I call it a systematic review.
     8   then by Plaintiffs to write up something relating to    8       Q What's the difference between a systematic
     9   the articles; is that right?                            9   review and a meta-analysis?
    10       A Yes.                                             10       A I -- I don't think there's any difference.
    11           MS. O'DELL: Object to the form.                11   They're -- they're both trying to describe an
    12       Q (BY MR. ZELLERS) At some point did either        12   unbiased, quantitative review of the medical
    13   you suggest or the plaintiff lawyers ask you to form   13   literature.
    14   certain opinions relating to this matter?              14       Q Did -- your systematic review that you
    15           MS. O'DELL: Object to the form.                15   did, you did that after you had done this review of
    16       A I'm not -- I'm not sure what you mean,           16   the literature, fair?
    17   "form opinions."                                       17          MS. O'DELL: Object to the form.
    18       Q (BY MR. ZELLERS) You met with the lawyers;       18       A My systematic review grew out of my
    19   is that right, after you had done your literature      19   reading the literature and realizing that there was
    20   review?                                                20   a real gap, which I thought needed to be filled.
    21       A Yes.                                             21   And I chose to do that.
    22       Q You had not yet agreed to be an expert           22       Q (BY MR. ZELLERS) I will today, you know,
    23   witness for the Plaintiffs; is that right?             23   ask you some more detailed questions about that.
    24       A Yes.                                             24   Let me make sure I have covered by basics here.
    25       Q After you had done your literature review,       25          Your report includes as attachments, a
                                                  Page 51                                                     Page 53
     1   did the plaintiffs' lawyer say: Well,                   1   list of references; is that right?
     2   Dr. Smith-Bindman, do you have an opinion as to         2       A Yes, it does.
     3   whether or not there's an association between           3       Q What is meant to be included in the
     4   perineal talcum powder use and ovarian cancer?          4   references that appear and are attached to your
     5       A I don't remember any such conversation.           5   report, pages 42 through 47?
     6   I -- I think from the very beginning the lawyers        6       A Those are references that I have cited
     7   were guessing that I was going to feel strongly that    7   specifically in my report.
     8   there's a strong association. So I don't remember       8       Q In addition along with your report, you
     9   being retained as an expert after my report came        9   provided a curriculum vitae; is that right?
    10   out.                                                   10       A Yes.
    11           At -- at some point I think it became          11       Q We'll mark that as Exhibit 14.
    12   clear to them when I explained my views that they      12           (Exhibit 14 was marked for identification
    13   would like to have me be an expert.                    13   and is attached to the transcript.)
    14           But I don't remember a particular              14           MS. O'DELL: Thank you.
    15   conversation where they asked me to -- where they      15       Q (BY MR. ZELLERS) The curriculum vitae that
    16   linked my being an expert to the finished product of   16   is attached as -- strike that -- that you provided
    17   the report. By the time I drafted the report, they     17   with your report and that we have marked as
    18   knew that they had wanted me to be an expert in this   18   Exhibit 14, is that complete and up to date?
    19   case.                                                  19       A Yes, it is.
    20       Q All right. At -- at some point after you         20       Q Any additions or corrections that need to
    21   had reviewed the literature and you sat and you        21   be made to that?
    22   talked with plaintiffs' counsel, you became an         22       A There are some details of recent
    23   expert witness for the Plaintiffs; is that right?      23   publications that are not provided in this, but
    24       A Yes.                                             24   those are relatively minor changes.
    25       Q Are you able to time that for us any             25       Q Are any of -- the details to publications

                                                                                   14 (Pages 50 to 53)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 54                                                    Page 56
     1   that you would update your curriculum vitae to, do      1   the report in that manner, but just to clarify.
     2   any of those relate to this matter or to the            2       A No, I could not easily go through and pick
     3   opinions you're giving here today?                      3   out which ones were ones that I provided to them or
     4       A They do not.                                      4   which ones they provided to me.
     5       Q Deposition Exhibit 15 is also a document          5       Q (BY MR. ZELLERS) All right. Are you aware
     6   that was provided along with your report. It            6   -- do you know who Dr. Judith Wolf is?
     7   appears to be a reliance list; is that right?           7       A No, I do not. I know the name, but not
     8          MS. O'DELL: Object to the form. Thank            8   the person.
     9   you.                                                    9       Q Are you aware that your reliance list or
    10          (Exhibit 15 was marked for identification       10   additional Materials Considered List, what we have
    11   and is attached to the transcript.)                    11   marked as Exhibit 15, is identical to the Materials
    12       A Yes, it is.                                      12   Considered List that was attached to Dr. Wolf's
    13       Q (BY MR. ZELLERS) What is included on the         13   report?
    14   reliance list which we have marked as a Exhibit 14?    14       A I -- I don't know who Dr. Wolf is, nor do
    15       A This is a broad list of --                       15   I know her reliance list.
    16          THE COURT REPORTER: 15.                         16       Q All right. Exhibit 15 is a reliance list
    17       Q (BY MR. ZELLERS) Oh, I'm sorry. Yes let          17   or Materials Considered List that was prepared by
    18   me ask that question again.                            18   counsel for Plaintiffs; is that right?
    19          What documents are listed and included on       19       A It was the list provided to me.
    20   the reliance list which we have marked as              20       Q You may have reviewed some of these
    21   Exhibit 15?                                            21   documents -- or you have reviewed some of these
    22       A That is a broader list of documents. It          22   documents, but potentially not all of these
    23   includes documents that I may have read, but I         23   documents --
    24   didn't believe needed to be cited.                     24          MS. O'DELL: Object to the form.
    25          It also includes documents that counsel         25       Q (BY MR. ZELLERS) -- fair?
                                                  Page 55                                                    Page 57
     1   provided to me that -- that may or may not have been    1       A Yes.
     2   closely read.                                           2       Q Looking at your report, Deposition
     3           So it includes both articles I know very        3   Exhibit 2 -- and let me withdraw that.
     4   many, as well as additional documents I may not have    4          Have we covered now all of the documents
     5   as deep of a knowledge of.                              5   that you have either reviewed and relied upon in
     6       Q Was -- Deposition Exhibit 15, was that            6   preparing your opinions in this matter and your
     7   prepared by you or was that prepared by counsel?        7   report, which we marked as Exhibit 2, or that were
     8       A That was prepared by counsel.                     8   made available to you and you may or may not have
     9       Q Have you reviewed all of the references           9   looked at them?
    10   and materials that are listed out on Deposition        10          MS. O'DELL: Object to the form.
    11   Exhibit 15?                                            11       A Yes.
    12       A I -- I do not know. I would have to go           12       Q (BY MR. ZELLERS) Is your report,
    13   through them one at a time to know if I had reviewed   13   Exhibit 2, accurate?
    14   all of them.                                           14       A Yes, it is.
    15       Q Can you easily tell us which of the              15       Q Is your report, Exhibit 2, complete, other
    16   materials listed on Exhibit 15, your reliance list,    16   than perhaps citing to some of the documents that
    17   were provided by you and which were provided by        17   you reviewed after preparing your report that we
    18   counsel?                                               18   identified earlier today?
    19           MS. O'DELL: Objection. Objection to            19       A Yes, it is.
    20   form. I think the documents and materials              20       Q There were -- withdraw that.
    21   considered -- materials and data considered list.      21          You have a fee schedule. You're charging
    22           MR. ZELLERS: Well, there's no caption at       22   a thousand dollars an hour to review materials and
    23   the top. I have tried to be as descriptive as I can    23   talk with the lawyers in this matter and provide
    24   with the witness on it.                                24   opinions; is that right?
    25           MS. O'DELL: I think it's referred to in        25       A Yes.
                                                                                  15 (Pages 54 to 57)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 58                                                     Page 60
     1       Q I kind of got sidetracked in terms of             1   most of the day yesterday, did you have any other
     2   asking you about the Plaintiff lawyers that you met     2   meetings or conversations with the lawyers for the
     3   with.                                                   3   Plaintiffs to prepare for your deposition?
     4          We had gotten up to your meeting with            4      A Yes, I did. So today is Thursday.
     5   Ms. Thompson, with Mr. Restaino, with a lawyer          5   Wednesday, we met for most of the day. And I met
     6   perhaps with the first name of Breanne; is that         6   with Dr. Thompson for an hour or so on Wednesday as
     7   correct?                                                7   well.
     8       A Yep.                                              8      Q All right. Any other --
     9       Q Have you remembered the fourth lawyer yet?        9          MS. O'DELL: I think the days may be mixed
    10       A I -- I have not. Can -- can I call a             10   up. You said "Wednesday" twice.
    11   friend?                                                11      A I apologize. So Tuesday, we met at the
    12       Q No. No, need to call a friend.                   12   end of the day for an hour and then most of the day
    13          What other Plaintiff lawyers have you met       13   yesterday, Wednesday, and then today. Thank you.
    14   with relating to your work as a plaintiff expert for   14      Q (BY MR. ZELLERS) Any other meetings or
    15   the MDL litigation?                                    15   communications with counsel for Plaintiffs to
    16       A There are no others that I recall.               16   prepare for the deposition here today?
    17       Q We have other lawyers here today. You met        17      A Any other in-person meetings or --
    18   them --                                                18      Q Or phone calls in which there was, you
    19       A I apologize.                                     19   know, discussion about preparing for the deposition.
    20       Q -- at least in the last day or two?              20      A I believe over -- well, I had asked to
    21       A Yes.                                             21   reschedule this deposition. So there were a couple
    22       Q Well, don't apologize to me. You probably        22   of e-mails related to that.
    23   hurt their feelings.                                   23          I also had asked for a couple of
    24          Did you meet all of the lawyers who are         24   additional documents to help ensure that I was
    25   here today at some point?                              25   seeing all materials that I felt were relevant to
                                                  Page 59                                                     Page 61
     1       A Yes, I did.                                       1   the case.
     2       Q Some of them you have met just in the last        2       Q Are those the materials that were on
     3   couple of days as you prepared for the deposition;      3   Exhibit 3 that we talked about at the very
     4   is that right?                                          4   beginning?
     5       A That's correct.                                   5       A Yes, they are.
     6       Q Other than the lawyers who are present in         6       Q Anything else that you did with the
     7   the room today for Plaintiffs, have you met with any    7   lawyers in terms of preparing for your deposition
     8   other lawyers or communicated with any other lawyers    8   here today?
     9   that you believe represent the Plaintiffs in this       9       A No.
    10   litigation?                                            10           MS. O'DELL: Dr. Smith-Bindman, feel free
    11       A I have not.                                      11   to testify regarding meetings, when they happened,
    12       Q What did you do to prepare for your              12   phone calls, et cetera, but not the substance of
    13   deposition here today?                                 13   those discussions.
    14       A My primary preparation was to review my          14       A Okay.
    15   report and to reaccess references that I included in   15           MS. O'DELL: Thank you.
    16   my report to make sure that I was aware of the         16       Q (BY MR. ZELLERS) Any others?
    17   details or -- or relevant...                           17       A None that I can remember.
    18       Q What else did you do to prepare for your         18       Q Ms. Thompson -- did you know Ms. Thompson
    19   deposition here today?                                 19   before she initially called you and then came and
    20       A I also met with the lawyers yesterday to         20   sat down to meet with you?
    21   review the process of the deposition and so forth.     21       A Initially, you --
    22       Q How long did you meet with the lawyers           22       Q Yes.
    23   yesterday?                                             23       A -- mean? No, I did not.
    24       A We met most of the day yesterday.                24       Q Had you ever worked with Ms. Thompson on
    25       Q Other than meeting with the lawyers for          25   any other litigation?

                                                                                   16 (Pages 58 to 61)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 62                                                    Page 64
     1       A No.                                               1      Q Do the invoices go through the time that
     2       Q Other than the talcum powder litigation           2   you prepared your opinions and report as of
     3   that we're here deposing you in, have you worked on     3   November 15 of 2018?
     4   other litigations for either defendants or              4      A Yes, they will.
     5   plaintiffs?                                             5      Q All right. Is that where they end?
     6           MS. O'DELL: Other than the ones she has         6      A They would also include some hours that I
     7   testified to?                                           7   have worked reviewing the material since that time.
     8       Q (BY MR. ZELLERS) Well, other than, yes,           8   Although, I don't believe I have submitted those
     9   the cases.                                              9   reports -- those invoices, but I certainly can.
    10       A No, I have not.                                  10      Q So my question is: How much time have you
    11       Q You have served as an expert witness in          11   spent on this matter since your last invoice? Can
    12   other matters in which you did not provide             12   you estimate that for us?
    13   deposition testimony; is that right?                   13      A I would guess in the ballpark of 10 hours,
    14           MS. O'DELL: Object to the form.                14   not including the time I met with the lawyers
    15       A There are a small number of additional           15   yesterday -- not this week. Excluding the time this
    16   medical malpractice cases that I was also involved     16   week.
    17   with which would have settled before I was asked to    17      Q How much time did you spend this week in
    18   take a deposition.                                     18   addition to that 10 hours with the lawyers in
    19       Q (BY MR. ZELLERS) My question is: Have you        19   preparing yourself to provide deposition testimony?
    20   ever testified or consulted with either plaintiffs     20      A In the ballpark of another 10 hours.
    21   or defense in -- in a product liability litigation     21      Q Have you been served or been asked to
    22   like this?                                             22   serve as an expert witness or consultant in any
    23       A I have not.                                      23   other talcum powder litigation or matters?
    24       Q Have you ever provided testimony in a            24      A I have not.
    25   matter relating to a consumer product?                 25      Q What percent of your professional time do
                                                  Page 63                                                    Page 65
     1       A I have not.                                       1   you spend working as a consultant?
     2       Q Have you ever been retained as an expert          2      A A small amount. Probably less than
     3   or provided testimony in a matter relating to           3   5 percent.
     4   asbestos?                                               4      Q What percent of your income is from
     5       A I have not.                                       5   consulting on litigation matters?
     6       Q Mr. Restaino -- had you ever met                  6          MS. O'DELL: For a particular year or time
     7   Mr. Restaino before that initial phone call and         7   period or average, just --
     8   meeting back in mid-2017?                               8      Q (BY MR. ZELLERS) Well, the last couple of
     9       A I had not.                                        9   years.
    10       Q When I look at your invoices, will they          10      A In the last couple of years, a -- a small
    11   generally outline the times that you had meetings      11   amount. Probably 5 or 10 percent.
    12   and communications with Plaintiff lawyers?             12      Q What is the largest percent of your income
    13       A Yes, they will.                                  13   that has related to consulting on litigation
    14       Q Will they also outline whatever work             14   matters?
    15   that -- and I don't mean work, but at least dates as   15          And what I'm asking you to do is to look
    16   to when you began your systematic review or            16   back. And what was the high point in terms of
    17   meta-analysis?                                         17   income that you received from consulting on
    18       A The work that I did will be itemized. I'm        18   medical/legal matters?
    19   not sure if I break down writing the report versus     19      A Probably the 10 percent that I cited.
    20   doing the systematic review into separate buckets,     20      Q Have you ever attended a convention or a
    21   but it might.                                          21   meeting with plaintiff lawyers and other plaintiff
    22       Q The invoices will start with sometime in         22   experts?
    23   mid-2017, when you started meeting with the lawyers;   23      A I have not.
    24   is that right?                                         24      Q Never?
    25       A Yes.                                             25      A A meeting of lawyers?
                                                                                   17 (Pages 62 to 65)
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                                 Rebecca Smith-Bindman, M.D.
                                                Page 66                                                   Page 68
     1       Q Yes, a meeting of lawyers --                    1        Q What others?
     2       A Never.                                          2        A Mr. Cooke's deposition, I believe.
     3       Q -- and plaintiff experts.                       3        Q What others? Did you put in your report,
     4       A Never.                                          4   the names of other experts that you reviewed their
     5       Q All right. Have you --                          5   deposition testimony of?
     6       A I didn't know there was such a thing.           6        A I -- I -- I'm checking if -- if I have.
     7       Q Do you know any of the experts that have        7   I...
     8   also been retained by the Plaintiffs in this          8        Q Well, you have a recollection of reviewing
     9   litigation?                                           9   --
    10       A I don't know them personally, but I -- I       10        A -- I -- I don't have a recollection of any
    11   have seen their names. And their names are the       11   others that I have looked at.
    12   same -- some of the names are names that are         12        Q Do you know who David Kessler is?
    13   familiar to me.                                      13        A I do.
    14       Q Have you communicated with any of the          14        Q How do you know Dr. Kessler?
    15   other experts for Plaintiffs?                        15        A I --
    16       A I have not.                                    16          MS. O'DELL: Object to the form.
    17       Q Have you reviewed reports from any of the      17        A -- Dr. Kessler is a faculty member at
    18   experts for Plaintiffs?                              18   UCSF.
    19       A I have reviewed a handful of them --           19        Q (BY MR. ZELLERS) Do you know him
    20       Q What --                                        20   personally?
    21       A -- yes.                                        21        A Not well, but enough to say hello.
    22       Q -- reports of other plaintiff experts have     22        Q Been at meetings with him?
    23   you reviewed?                                        23        A I have.
    24       A I reviewed Dr. Cooke's report. I reviewed      24        Q You understand that he's an expert for the
    25   Mr. Longo's report. I reviewed an ob --              25   Plaintiffs?
                                                Page 67                                                   Page 69
     1   obstetrician gynecologist report.                     1       A I -- I have been told that.
     2       Q Do you remember who?                            2       Q Have you had any discussions with
     3       A Clarke perhaps or something like Clarke.        3   Dr. Kessler at all relating to this matter, the
     4          MS. O'DELL: If you need to refer to your       4   talcum powder matter?
     5   report or your materials, feel free to do that.       5       A I have not.
     6       A Okay. I think Mr. Cralley's (phonetic)          6       Q Have you participated in any projects --
     7   report.                                               7   medical/legal projects with Dr. Kessler --
     8       Q (BY MR. ZELLERS) Do you know any of those       8       A I --
     9   experts personally?                                   9       Q -- in the past?
    10       A I do not.                                      10       A -- I have not.
    11       Q All right. You have never communicated         11       Q Have you heard of a documentary called
    12   with any of those experts; is that right?            12   "The Bleeding Edge"?
    13       A I have not.                                    13       A I have.
    14       Q You have just reviewed their reports; is       14       Q Did you participate in the documentary
    15   that right?                                          15   called "The Bleeding Edge"?
    16       A That's correct.                                16       A I did.
    17       Q Have you reviewed any deposition testimony     17       Q You understand that Dr. Kessler also
    18   or portions of depositions of plaintiff experts in   18   participated in that; is that right?
    19   this matter?                                         19       A I -- yes.
    20       A I have reviewed small pieces of several of     20       Q That is a documentary related to what?
    21   them.                                                21       A A medical devices, primarily.
    22       Q Okay. What experts have you reviewed a --      22       Q Have you served as a consultant or expert
    23   small pieces of their deposition?                    23   in medical device matters?
    24       A Dr. Moorman's testimony or deposition, I       24       A I have not.
    25   saw some of.                                         25       Q Pharmaceutical matters?
                                                                                18 (Pages 66 to 69)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 70                                                    Page 72
     1       A I have not.                                      1      A I had --
     2       Q How was it then that you were retained or        2      Q -- in this case --
     3   ended up participating in "The Bleeding Edge"          3      A -- not.
     4   documentary?                                           4      Q -- is that right?
     5           MS. O'DELL: Object to the form.                5      A That's correct.
     6       A I -- I'm not sure if you have had a chance       6      Q Have you worked with other
     7   to see the documentary or not, but my role in it       7   biostatisticians in the past?
     8   is -- is pretty off topic.                             8      A I have.
     9           And so at an initial incarnation of that       9      Q Why did you decide you needed to work with
    10   documentary, they had thought about focusing on an    10   a new biostatistician for this litigation?
    11   issue where I do do research, radiation for medical   11      A The primary work that I needed was to do a
    12   imaging.                                              12   few graphs and figures, and so I wanted someone who
    13           It no longer fits into their new topic,       13   was both an expert in that and who I thought could
    14   but somehow they kept a quote of me in that film.     14   respond relatively quickly.
    15       Q Did -- Dr. Kessler, was he the one              15          I have on my team, several
    16   responsible for putting that documentary together?    16   biostatisticians who are part of my research group,
    17       A I -- no, I don't -- I don't believe he          17   but they don't have particularly relevant expertise
    18   was.                                                  18   in generating these graphs.
    19       Q Were you paid for your work in                  19          And it would have required them to acquire
    20   participating in that documentary?                    20   some skills, and so I wanted someone who focuses
    21       A No I was not.                                   21   specifically on this who could do that.
    22       Q All right. Jane Hall, she assisted you          22      Q Did you review any work from Dr. Hall
    23   with your systematic review. Is -- is that the        23   before you hired her?
    24   right way you would characterize it, a systematic     24      A I have been involved in systematic reviews
    25   review?                                               25   that she contributed to that I was very impressed
                                                 Page 71                                                    Page 73
     1       A Yes, the systematic review -- you asked          1   with. And so --
     2   the difference between a meta-analysis. It sort of     2       Q So what other --
     3   implies a certain scientific review -- rigor when      3       A -- I reached out.
     4   you call it a systematic review, so that's how I       4       Q -- sorry. I didn't mean to interrupt you.
     5   like to think about it.                                5          What other systematic reviews have you
     6       Q You think systematic review implies more         6   been involved with Dr. Hall?
     7   scientific rigor than meta-analysis?                   7       A Actually, two of them. One of them is on
     8       A I think it's a subtle distinction, but           8   a treatment for kidney stones. Ralph Wang is the
     9   yes, I do.                                             9   senior author.
    10       Q Well, you communicated and hired Jane hall      10          And the second was a systematic review
    11   to assist you; is that right?                         11   around the diagnosis of and treatment for pulmonary
    12       A Yes, I did.                                     12   embolism that also Dr. Wang was the leader on.
    13       Q Have you produced all of your                   13       Q Did you ever meet with Dr. Hall with
    14   communications and materials with Jane Hall?          14   respect to this work in person?
    15       A I have.                                         15       A I never met with her related to anything.
    16       Q How did you come in contact with Dr. Hall?      16   It was all by electronic communication.
    17       A I work closely with an emergency medicine       17       Q Did you ever talk with her over the phone?
    18   researcher, and I have assisted him in several        18       A Yes. We spoke a few times.
    19   systematic reviews.                                   19       Q Did you take notes of your conversations
    20          And I knew he had a biostatistician who        20   with Dr. Hall?
    21   generated the kind of graphics and analysis that I    21       A Not that I recall.
    22   wanted. And so I reached out to him, and he           22       Q You did have e-mails with Dr. Hall --
    23   introduced me to Dr. Hall.                            23       A Yes.
    24       Q You had never worked with Dr. Hall prior        24       Q -- is that right?
    25   to performing your systematic review --               25       A Yes.
                                                                                 19 (Pages 70 to 73)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 74                                                     Page 76
     1       Q Do you have receipts for the work that            1   time is 11:10 a.m.
     2   Dr. Hall performed for you?                             2      Q (BY MR. ZELLERS) Dr. Smith-Bindman, I'm
     3          MS. O'DELL: Object to the form.                  3   handing you Deposition Exhibit 16, which is an
     4       A Like an invoice receipt?                          4   e-mail chain. The very first e-mail, meaning the
     5       Q (BY MR. ZELLERS) Yes, an invoice receipt.         5   last e-mail at the top of page 1, is Jane Hall --
     6       A No, I do not.                                     6   from Jane Hall, September 24, 2018, at 8:04 a.m. to
     7       Q You ended up paying her rush fees so that         7   you.
     8   she would do the work and the analysis more quickly;    8          (Exhibit 16 was marked for identification
     9   is that right?                                          9   and is attached to the transcript.)
    10          MS. O'DELL: Object to the form.                 10      Q (BY MR. ZELLERS) Will you take a look at
    11       A I -- I remember telling her I didn't mind        11   that and tell us if that is a printout of some of
    12   her rush fee. But -- but all of the invoicing was      12   your e-mail exchanges with Dr. Hall?
    13   done directly with counsel.                            13      A Yes.
    14       Q (BY MR. ZELLERS) Well, Dr. Hall came to          14      Q If we go to the very first e-mail in the
    15   you and said: You know, it's going to take X amount    15   chain, it appears that you contacted Dr. Hall on
    16   of time to do a thorough analysis?                     16   Wednesday, September 19, 2018, in the afternoon,
    17       A Yes.                                             17   3:21 p.m., and told her that you were interested
    18       Q She did offer to rush the analysis --            18   primarily in generating a forest plot with a summary
    19       A Yes.                                             19   estimate and test for heterogeneity; is that right?
    20       Q -- when you told her you needed it?              20      A Yes.
    21       A Yes.                                             21      Q That was your initial contact with
    22       Q And your recollection is she, you know,          22   Dr. Hall; is that right?
    23   did rush the analysis and -- and got it done within    23      A Yes.
    24   a couple of days?                                      24      Q You contacted your referring person,
    25          MS. O'DELL: Object to the form.                 25   Ralph, on the e-mail; is that right?
                                                  Page 75                                                     Page 77
     1      A I believe the analysis actually took a             1       A Yes.
     2   couple of weeks.                                        2       Q All right. You told -- the next day you
     3           But I was very open to paying her rush          3   had some exchanges of e-mails with Dr. Hall. You
     4   fee. I thought her fee was extraordinarily              4   told Dr. Hall that because you were doing a review
     5   reasonable, and so it just made it easier for me to     5   for a legal case, you did not need the detail that
     6   get it done quickly rather than to delay.               6   you would need for a paper; is that right?
     7      Q (BY MR. ZELLERS) You defer to the e-mails          7          MS. O'DELL: Object to the form.
     8   and the documents as to the timing of when you          8       A Can you tell me where you're reading?
     9   requested that she rush the analysis and when she       9       Q (BY MR. ZELLERS) Sure. I'm reading on
    10   provided it to you; is that right?                     10   page 2 of Exhibit 16, the very last e-mail. This is
    11           MS. O'DELL: Object to the form.                11   from you on September 20 of 2018.
    12      A I believe my documents would be correct           12          You thanked Dr. Hall for her willingness
    13   about when I asked for stuff and when it was done,     13   to help.
    14   yes.                                                   14          "As Ralph mentioned, I am doing a review
    15           MS. O'DELL: Excuse me, Mike. We have           15   for a legal case and don't need quite the detail I
    16   been going about an hour and 20 minutes. Is this a     16   would usually need for a paper."
    17   good time to take a quick break?                       17          Is that what you told Dr. Hall?
    18           MR. ZELLERS: Absolutely.                       18       A Yes, it is.
    19           THE VIDEOGRAPHER: We are off the record.       19       Q As of -- well, you communicated with
    20   The time is 10:40 a.m. This is the end of Disc 1.      20   Dr. Hall on Friday, September 21st, in the
    21           (A break was taken from 10:40 a.m. to          21   morning. This is the very last e-mail on page 1 of
    22   11:10 a.m.)                                            22   Exhibit 16.
    23           THE VIDEOGRAPHER: We are back on the           23          You asked her to send you whatever she was
    24   record. This marks the beginning of Disc No. 2 in      24   doing sooner rather than later because you needed to
    25   the deposition of Dr. Rebecca Smith-Bindman. The       25   get your report finished ASAP; is that right?
                                                                                   20 (Pages 74 to 77)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 78                                                     Page 80
     1          MS. O'DELL: Object to the form. I think          1       A Yes.
     2   you misstated date on the e-mail but --                 2       Q Have you communicated about this
     3       Q (BY MR. ZELLERS) Well, I'm sorry. Let me          3   litigation with anyone other than the plaintiffs'
     4   ask that question again. On Friday morning,             4   counsel that you have told us about with Dr. Hall?
     5   September 21, 2018, you told Dr. Hall that you          5   Anyone else?
     6   needed her information as soon as possible because      6           MS. O'DELL: Object to the form.
     7   you had to finish your report ASAP; is that right?      7       A I -- you asked me if I have mentioned this
     8       A Yes.                                              8   litigation to anyone else?
     9       Q Dr. Hall got back to you that day and             9       Q (BY MR. ZELLERS) Well, let's start there.
    10   said, you know, I'll do my best. But if you want, I    10   Have you mentioned this litigation to anyone else?
    11   can rush the work, if you're willing to pay time and   11       A I have.
    12   a half.                                                12       Q Who have you mentioned this litigation to?
    13          You then got back to her on Monday              13       A I have certainly mentioned it to my
    14   morning, September 24, and said: Yes, I'll pay the     14   husband.
    15   rush fee, and I would like your work as soon as        15       Q Other than your husband?
    16   possible.                                              16       A And then I have mentioned it to several
    17          Is that right?                                  17   close friends.
    18          MS. O'DELL: Object to the form. Object          18       Q Your husband is a physician; is that
    19   to the form.                                           19   right?
    20       A I -- I think you're paraphrasing what it         20       A He is.
    21   says. The -- the idea was she said that if I paid      21       Q Did he provide any professional input to
    22   the rush, she could have some money to defray          22   you related to your review of this matter?
    23   childcare cost during --                               23       A No, he did not.
    24       Q (BY MR. ZELLERS) Right. And --                   24       Q The close friends that you mentioned this
    25       A -- that time, and I agreed to do that.           25   to, did they provide any input or assistance or
                                                  Page 79                                                     Page 81
     1      Q Exactly. And she said back to you: Okay.           1   direction to you relating to this matter?
     2   By the end of -- so this is on a Monday. She said       2       A No.
     3   you'll have the work product from her Wednesday at      3       Q I asked you before if you read any of the
     4   the earliest, probably Thursday.                        4   depositions of the plaintiff experts. Have you
     5          "I should have at least two sets of plots        5   discussed generally with plaintiffs' counsel, the
     6   today, and I'll send them to you as they are            6   deposition testimony that's been given by other
     7   output."                                                7   plaintiff experts in this litigation?
     8          Is that right?                                   8          MS. O'DELL: I would instruct you not to
     9      A Yes.                                               9   answer that question.
    10      Q You have produced all of your e-mails and         10          MR. ZELLERS: I disagree, but we'll
    11   communications with Dr. Hall in this matter; is that   11   reserve that issue.
    12   right?                                                 12       Q (BY MR. ZELLERS) Was there anything that
    13      A I have. You're not showing me all of              13   you asked plaintiffs' counsel to provide to you in
    14   those communications; is that right?                   14   connection with your review or for preparation of
    15      Q I haven't yet.                                    15   your report that you were not provided with?
    16      A Okay.                                             16       A So most of the documents that I included
    17      Q I'm going to show you some more.                  17   in my report, I found by doing an independent search
    18      A Yes.                                              18   online.
    19      Q But my question to you is: Included in            19          There were several items that I didn't
    20   the production, at least you have included all of      20   find that I wanted to review as well. And so some
    21   your communications --                                 21   of the items that I asked counsel for were items
    22      A Yes.                                              22   that I couldn't find through scientific research
    23      Q -- with Dr. Hall --                               23   that I asked them to provide.
    24      A Yes.                                              24       Q And you have told us about those
    25      Q -- is that right?                                 25   documents, and those are listed out on Exhibit 3; is
                                                                                   21 (Pages 78 to 81)
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                                 Rebecca Smith-Bindman, M.D.
                                                Page 82                                                    Page 84
     1   that right?                                           1          MR. ZELLERS: Sure. Exhibit 3 is the list
     2       A That's correct.                                 2   you gave me today of -- of the documents that
     3       Q My question was a little bit different.         3   Dr. Smith-Bindman reviewed in addition to whatever
     4          Is there anything that you asked for from      4   else is marked.
     5   plaintiffs' counsel that they were not able or did    5          MS. O'DELL: -- I see. I see.
     6   not provide to you?                                   6          MR. ZELLERS: So there's a -- it's a list
     7          MS. O'DELL: Object to the form.                7   of Bates-stamped documents.
     8       A I -- I can't think of anything that fits        8          MS. O'DELL: Yes.
     9   into that question.                                   9          MR. ZELLERS: There's 10 or 12 Imerys
    10       Q (BY MR. ZELLERS) Take a look at your           10   documents. There's one J&J Bates-stamped document
    11   reliance list, which we have marked as Deposition    11   --
    12   Exhibit 15.                                          12          MS. O'DELL: Right.
    13          Do you have that in front of you?             13          MR. ZELLERS: -- and then there's the, I
    14       A I have my copy of the reliance list. I         14   think, expert report or --
    15   don't have your Exhibit 15 in front of me.           15          MS. O'DELL: Right.
    16       Q If you have your copy -- does it start         16          MR. ZELLERS: -- deposition of Dr. Cooke
    17   with page 1?                                         17   listed?
    18       A Yes, it does.                                  18          MS. O'DELL: Right. Okay. I just object
    19       Q At the very top --                             19   to the form of the question. And -- and --
    20       A Yes.                                           20       A Could I --
    21       Q -- the first item is "A Survey of The          21          MS. O'DELL: -- then --
    22   Long-Term Effects"?                                  22       A -- see Exhibit 3?
    23       A Yes.                                           23          MS. O'DELL: -- yes. And then I would --
    24       Q If you turn to pages 11 and 12, there's a      24   Counsel, permit me -- there was a question related
    25   series of documents that begin with "IMERYS"         25   to Exhibit 3. I thought you were referring to the
                                                Page 83                                                    Page 85
     1   followed by numbers.                                  1   materials list, and so I'm going to assert my
     2          Do you see that?                               2   objection a little bit late.
     3       A I do.                                           3          MR. ZELLERS: Okay. I just want to move
     4       Q Do you know whether or not you reviewed         4   forward.
     5   some or all of those Imerys-produced documents as     5          MS. O'DELL: I know that you do.
     6   part of your review in this matter?                   6          MR. ZELLERS: Yes.
     7       A If those reflect Imerys testing documents       7          MS. O'DELL: I just want to be clear.
     8   then yes, I did review at least some of them. I       8   Because Exhibit 3 that we provided were additional
     9   can't be sure all of them.                            9   materials that Dr. Smith-Bindman asked for and
    10       Q Do you know whether or not these documents     10   reviewed in addition to the Materials Considered. I
    11   relate to Imerys testing?                            11   don't want the record to be unclear. So --
    12       A I have reviewed at least a half dozen          12          MR. ZELLERS: Well --
    13   Imerys testing documents.                            13          MS. O'DELL: -- I have noted my objection.
    14       Q In --                                          14          MR. ZELLERS: -- and the record is clear
    15       A I believe that's what these are, but I --      15   that Dr. Smith-Bindman did not review all of the
    16   I'm not sure.                                        16   materials listed in the Materials Considered List,
    17       Q There are a number of Imerys documents         17   Exhibit 15. But that testimony will stand as it is.
    18   that are listed on Exhibit 3, which you identified   18          My question just is: In addition to the
    19   as testing documents; is that right?                 19   documents that I was told about this morning that
    20       A Yes.                                           20   you believe are testing documents, do you know
    21       Q Do you know if you reviewed any Imerys         21   whether you reviewed any other Imerys-produced
    22   documents other than the documents that are listed   22   documents, and specifically the ones that are
    23   out on Exhibit 3?                                    23   itemized on pages 11 and 12 of your Materials
    24          MS. O'DELL: Can you just make a --            24   Considered List?
    25   Exhibit 3, would you remind --                       25      A I would need to see those documents to
                                                                                22 (Pages 82 to 85)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 86                                                     Page 88
     1   know if I reviewed them. The names are awfully          1   litigation -- so when you do your research work or
     2   nonspecific.                                            2   when you do your publishing work -- do you rely on
     3       Q With respect to the Imerys documents -- or        3   documents that are picked by someone else that may
     4   Imerys-produced documents that are identified in        4   not represent the full body of evidence?
     5   Exhibit 15, which is your Materials Considered List,    5           MS. O'DELL: Object to the form.
     6   do you know how those were compiled?                    6       A In my work, I review whatever data are
     7           MS. O'DELL: Object to the form.                 7   available. And sometimes those data are identified
     8       A You're asking me where this list came             8   by me and sometimes they have been given to me by
     9   from?                                                   9   other sources to review.
    10       Q (BY MR. ZELLERS) I think you have told us        10       Q (BY MR. ZELLERS) Is that a -- a yes or a
    11   the list came from plaintiffs' counsel; is that        11   no? And let me withdraw that.
    12   right?                                                 12           The documents that we have looked at in
    13       A Yes.                                             13   your reliance list Materials Considered List that
    14       Q My question then, I guess, is more               14   begin with Imerys and begin with J&J, your
    15   precise. Do you know how plaintiffs' counsel           15   understanding, those are documents that have been
    16   compiled this list of Imerys-produced documents or     16   produced by the Defendants in this litigation; is
    17   how they selected those documents?                     17   that right?
    18       A I know I had a lot of back and forth in          18       A Yes.
    19   generating this list with actually Breanne at the      19       Q Do you know what percentage of the overall
    20   time. I sent her a lot of documents that I had         20   documents that have been produced by Johnson &
    21   looked at that I hadn't cited that she added to the    21   Johnson companies and by Imerys, these documents
    22   list.                                                  22   that are listed in Exhibit 15, represent?
    23           These were ones that she added to the          23           MS. O'DELL: Object to the form.
    24   list, and I don't remember what they were.             24       A Are you asking me if the handful of
    25       Q I'm going to ask my question again. Do           25   documents from Johnson & Johnson that are in this
                                                  Page 87                                                     Page 89
     1   you know how -- these documents, the documents that     1   list reflect all of the documents ever created at
     2   are on pages 11 and 12 of your Materials Considered     2   Johnson & Johnson or all relevant documents or --
     3   List that begin with the "Imerys" name, do you know     3       Q (BY MR. ZELLERS) Do you have any idea?
     4   how they were compiled?                                 4       A No, no idea.
     5       A No.                                               5       Q This is a handful of documents that have
     6       Q All right. The same question. If you              6   been listed out by plaintiffs' counsel for you; is
     7   look on page 13 of your Materials Considered List,      7   that right?
     8   there's a series of documents that have J&J and then    8       A Yes.
     9   a number; is that right?                                9           MS. O'DELL: Object to the form.
    10       A Yes.                                             10       A Yes.
    11       Q You, as we sit here, do not know what            11       Q (BY MR. ZELLERS) All right. In your
    12   those documents relate to; is that right?              12   report you cite two exhibits from the depositions of
    13       A That's correct.                                  13   several witnesses. There's an exhibit from a
    14          MS. O'DELL: Object to the form.                 14   deposition of John Hopkins.
    15       Q (BY MR. ZELLERS) You do not know how this        15           Do you know who John Hopkins is?
    16   listing of J&J documents was compiled; is that         16       A I know what the document is, but I -- I
    17   right?                                                 17   don't know what -- who John Hopkins is.
    18       A That's correct.                                  18       Q Do you know what company he works for?
    19       Q These are documents produced by Imerys and       19       A I do not.
    20   by Johnson & Johnson companies as part of this         20       Q Do you know what his position or title is?
    21   overall list of materials that were available, you     21           MS. O'DELL: Object to the form.
    22   know, for you to review; is that right?                22       Q (BY MR. ZELLERS) You're looking in your
    23          MS. O'DELL: Object to the form.                 23   materials at the exhibit that you were provided from
    24       A Yes.                                             24   his deposition; is that right?
    25       Q (BY MR. ZELLERS) Outside of your work in         25       A Yes. I -- I -- I do not --
                                                                                   23 (Pages 86 to 89)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 90                                                     Page 92
     1       Q Have --                                           1       Q All right. You were provided -- just as
     2       A -- see.                                           2   you were for the exhibit from the deposition of John
     3       Q -- you read any portion of the deposition         3   Hopkins, you were provided with the exhibit that you
     4   of John Hopkins?                                        4   are reviewing from Julie Pier's deposition; is that
     5       A I have not.                                       5   right?
     6       Q Have you reviewed any other exhibits from         6           MS. O'DELL: Object to the form.
     7   the deposition of John Hopkins?                         7       A No, I don't -- well, I -- I don't believe
     8       A I have not.                                       8   that's why I know who she is.
     9       Q Do you know who Julie Pier is?                    9           I -- I believe The New York Times story
    10       A I believe I do.                                  10   and the Reuters story discussed her deposition. So
    11       Q Who is Julie Pier?                               11   I don't remember reading her deposition. But I --
    12       A I -- I'm just checking. I -- I -- I got a        12   if I'm not confusing her with someone else, I think
    13   few names wrong earlier, so I want to just check       13   that's where I learned about her testing.
    14   if --                                                  14       Q (BY MR. ZELLERS) Okay. You're a couple of
    15       Q Well, you're going back now and you are          15   questions ahead of me here. No. 1, the exhibit
    16   looking at your report?                                16   that's in your blue folder from the deposition of
    17       A Yes.                                             17   Julie Pier, that was provided to you for review by
    18       Q And you have annotated your report, I            18   counsel for Plaintiffs; is that right?
    19   guess, that you are using here today; is that right?   19       A Thank you for that reminder. That's the
    20       A Yes.                                             20   Imerys document. Yes. Yes.
    21       Q Why don't we -- just so we have a complete       21       Q I'm going to go back to my question.
    22   record, we'll mark your annotated report as            22       A Yes.
    23   Exhibit 17.                                            23       Q The exhibit from Julie Pier's deposition,
    24       A Yes.                                             24   that was provided to you for review by plaintiffs'
    25         (Exhibit 17 was marked for identification        25   counsel; is that right?
                                                  Page 91                                                     Page 93
     1   and is attached to the transcript.)                     1      A Yes.
     2      A And -- and I would like to clarify based           2          MS. O'DELL: Object to the form.
     3   on some of my notes. But -- so I think Dr. Hopkins      3      Q (BY MR. ZELLERS) You have not reviewed the
     4   oversaw testing for -- for talc products at J&J.        4   deposition transcript of Ms. Pier; is that right?
     5      Q (BY MR. ZELLERS) Is that a note that you           5      A Not that I recall.
     6   have on your report?                                    6      Q You have not reviewed any exhibit -- other
     7      A It is.                                             7   exhibits to her deposition; is that right?
     8      Q All right. That's a note that you put on           8      A That is correct.
     9   your report in preparation for your deposition          9      Q Are you aware that the two exhibits that
    10   today?                                                 10   you were provided by counsel for Plaintiffs -- one
    11          MS. O'DELL: Object to the form.                 11   from the deposition of John Hopkins and one from the
    12      A It's a note I put on my report when I was         12   deposition of Julie Pier -- that those exhibits were
    13   reviewing my report and the documents I'm citing and   13   prepared by plaintiffs' experts for this litigation?
    14   so forth.                                              14          MS. O'DELL: Object to the form. I think
    15      Q (BY MR. ZELLERS) Who is Julie Pier? Do            15   you referred to plaintiffs' experts. I think you
    16   you know who she is?                                   16   misspoke. You said they were prepared by
    17      A I'm -- what I believe -- although, I don't        17   plaintiffs' experts.
    18   see that I made a note of it -- is that she was        18          MR. ZELLERS: Well -- and I will ask it
    19   someone who did testing from one of the New York       19   again then.
    20   hospitals of -- of the talc powder products.           20      Q (BY MR. ZELLERS) Are you aware that the
    21      Q Do you know anything more than that about         21   exhibits that were provided to you -- one from
    22   Julie Pier or who she worked for or what her role      22   Ms. Pier's deposition and one from the Hopkins
    23   with respect to talcum powder was?                     23   deposition -- are exhibits that were prepared by
    24      A Now that I am remembering where I -- I --         24   Plaintiffs in this litigation?
    25   no, I don't really know those things.                  25          MS. O'DELL: Object to the form.

                                                                                   24 (Pages 90 to 93)
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                                  Rebecca Smith-Bindman, M.D.
                                                  Page 94                                                     Page 96
     1       A I was provided these documents from a             1       Q And if we looked at the data for when and
     2   prior case. I don't know who prepared them or where     2   the age that women were when they first used genital
     3   they came from. I -- they were provided to me by        3   powder, at least from this study by Dr. Cramer, it
     4   counsel.                                                4   appears that the vast majority of women began using
     5       Q (BY MR. ZELLERS) Let me ask you just a            5   talcum powder in their genital area before age 30;
     6   couple of background questions from your review of      6   is that right?
     7   the literature in this case. You have reviewed a        7       A In this publication.
     8   lot of literature relating to talcum powder and         8       Q Do you recall any other publications
     9   talcum powder use by women in the perineal region;      9   that -- that you reviewed that provided contrary
    10   is that right?                                         10   information?
    11       A Yes, I have.                                     11       A The question you're asking me is not one
    12       Q I think you say in your report that you          12   that I spent a lot of time thinking about and so
    13   reviewed upwards of 40 studies in papers relating to   13   can't recall -- sort of across the hundreds of
    14   that. Does that sound about right?                     14   papers I read and 50 that talked about the
    15           MS. O'DELL: Object to the form.                15   association -- what time the age of first use was.
    16       A Upward of 40 studies that provided primary       16          I -- I see Dr. Cramer's experience is that
    17   new data. There were probably hundreds of papers I     17   women do report beginning use earlier, but I --
    18   reviewed on the topic.                                 18   there's no way for me to know if that's a reflection
    19       Q (BY MR. ZELLERS) From that review, do you        19   of his sampling, the place he studied the women, and
    20   agree that most women who use talcum powder in their   20   so forth.
    21   perineal region begin that use before age 30?          21       Q At least on that point, you would refer to
    22       A I don't know the -- when -- I -- I think a       22   Dr. Cramer, fair?
    23   lot of women start use when they're young. I would     23          MS. O'DELL: Object to the form.
    24   have to check my report if I have cites as to when     24       A I -- I would defer to a comprehensive
    25   they began using talcum powder products.               25   review of the literature to come up with that view.
                                                  Page 95                                                     Page 97
     1       Q (BY MR. ZELLERS) Well, take a look, if you        1          My -- my guess would be that Dr. Cramer
     2   will, at Deposition Exhibit 18, which is a report by    2   believes his numbers in his population, but I -- but
     3   Cramer.                                                 3   I don't know that that's the truth in other
     4          (Exhibit 18 was marked for identification        4   populations.
     5   and is attached to the transcript.)                     5      Q (BY MR. ZELLERS) Well, let me ask you
     6       Q (BY MR. ZELLERS) He's the first named             6   another question. On average from the studies that
     7   author. This is the 2016 study --                       7   you reviewed, do women who use talcum powder in
     8          MS. O'DELL: Thank you.                           8   their perineal region continue that use for over
     9       Q (BY MR. ZELLERS) -- report. Are you --            9   20 years?
    10          MS. O'DELL: Are we at 18?                       10          MS. O'DELL: Object to the form.
    11          MR. ZELLERS: 18.                                11      A My recollection of the literature is that
    12       Q (BY MR. ZELLERS) You're familiar with the        12   most publications could not assess or did not ask in
    13   paper we have marked as Deposition Exhibit 18; is      13   detailed enough form of how long women used it.
    14   that right?                                            14          I -- I -- again, it's possibly a question
    15       A Yes, I am.                                       15   that could be answered from the literature, but I
    16       Q I do want to ask you questions a later           16   don't recall knowing that answer from my review of
    17   about that. But for purposes of this question when     17   the literature.
    18   do most women who use talcum power -- powder in        18      Q (BY MR. ZELLERS) Did you review the Wu
    19   their perineal region begin, go to page 336 of         19   2015 paper?
    20   Exhibit 18 and specifically Table 1.                   20      A I did.
    21       A Yes.                                             21      Q Do you have that in one of your notebooks?
    22       Q One of the categories that is reported           22      A I will have it in here.
    23   here in Table 1 is "Age First Used Genital Powder";    23      Q That makes it easy.
    24   is that right?                                         24      A 2009 or --
    25       A Yes.                                             25      Q '15. No. The 2015 Wu paper.
                                                                                   25 (Pages 94 to 97)
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                                  Rebecca Smith-Bindman, M.D.
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     1      A Yes, I do.                                         1        A Yes.
     2      Q Turn to page 1097, Table 2.                        2        Q (BY MR. ZELLERS) Are you able to tell us
     3      A Could you -- unfortunately, the page --            3   how far before you prepared your report, November 15
     4   the version I have is a free download, and it           4   of 2018, that you formed those conclusions?
     5   doesn't have the same page --                           5          MS. O'DELL: Object to the form.
     6      Q How --                                             6        A I spent considerable hours during 2018
     7      A -- numbers.                                        7   reviewing the literature. And over the course of
     8      Q -- about -- can you find Table 2? It's             8   that year, my opinions started to solidify when I
     9   the a table that's captioned "Prevalence of Risk        9   saw the evidence that strongly supported that
    10   Factors in Non-Hispanic white, Hispanic, and           10   ovarian cancer is caused by talcum powder products.
    11   African-American Control."                             11   I --
    12      A Yes, I have that paper.                           12        Q (BY MR. ZELLERS) And --
    13      Q All right. So if you look at the                  13        A -- I -- I believe that my final systematic
    14   controls, at the very bottom of that section, it       14   review was for me important to -- to confirm that
    15   gives a mean number of years of talc use among         15   association. And that wasn't done -- that wasn't
    16   users; is that right?                                  16   completed until my report was basically -- close to
    17      A Yes.                                              17   when my report had to be drafted.
    18      Q And whether we're looking at non-Hispanic         18        Q The systematic review that you did was in
    19   whites, Hispanics, or African-Americans, at least      19   and around September and October of 2018; is that
    20   the number of years of talc use that's reported is     20   right?
    21   greater than 20 years for each of those groups; is     21        A I believe the final statistical analysis
    22   that right?                                            22   was then, but my -- my systematic review went on for
    23      A In --                                             23   many months.
    24          MS. O'DELL: Object to the form.                 24        Q Well, your systematic review, at least
    25      A -- in Dr. Wu's paper, there is reported           25   insofar as Dr. Hall assisted you, was in September
                                                  Page 99                                                   Page 101
     1   that the mean number of years is greater than 20.       1   of 2018; is that right?
     2       Q (BY MR. ZELLERS) If we look down at the           2           MS. O'DELL: Object to the form.
     3   group below, the number of cases, the mean number of    3       A The systematic review that I described in
     4   years of talc use among users is greater than           4   my report has a lot of components. So one component
     5   20 years, also for each of those groups; is that        5   is to do a complete comprehensive review of -- of
     6   right?                                                  6   what's been published.
     7          MS. O'DELL: Object to the form.                  7           And that involved doing the search,
     8       A Dr. Wu found that the average number of           8   according -- obtaining all the papers, and then
     9   years was greater than 20, yes.                         9   reviewing the bibliography of all of those papers.
    10       Q (BY MR. ZELLERS) All right. You have             10           Then reviewing all those papers critically
    11   never published on, you know, any topic relating to    11   and then abstracting data for those papers. Kind of
    12   talcum powder or any association between talcum        12   towards the tail end of that review is to
    13   powder and ovarian cancer; is that right?              13   statistically combine the studies.
    14       A I have not.                                      14           Dr. Hall was involved both in abstracting
    15       Q Your opinion is that women exposed to            15   the data as a second set of eyes and in doing the
    16   perineal talcum powder products on a regular basis     16   statistical summary. But I reached out to her after
    17   have about a 50 percent increase in their subsequent   17   all of those initial points were completed. So that
    18   risk of developing serous invasive cancer; is that     18   went on for many months.
    19   correct?                                               19       Q (BY MR. ZELLERS) Is it the objective of a
    20       A Yes, that is my opinion.                         20   systematic review to bring clarity to a research
    21       Q You also opine in your report that there         21   question by combining like-with-like data?
    22   is a causal association between genital talcum         22           MS. O'DELL: Object to the form.
    23   powder use and ovarian cancer generally; is that       23       A The purpose of the systematic review is to
    24   right?                                                 24   take individual papers that may not have enough
    25          MS. O'DELL: Object to the form.                 25   statistical power to provide by themselves,

                                                                                 26 (Pages 98 to 101)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 102                                                   Page 104
     1   individual results that are meaningful. And if the      1   been done, I tried, in writing my report, to
     2   methodology is combinable, to pool the sample size      2   highlight the details of what would be needed to
     3   to get greater statistical power to come up with a      3   understand my result.
     4   conclusion.                                             4          But I have not, for example, included
     5          But your question about combining like           5   certain details that you would typically put in a
     6   with like is -- is -- is very important.                6   journal article.
     7       Q (BY MR. ZELLERS) In order for research to         7          So in a journal article, you would always
     8   be useful, it must be valid, correct?                   8   publish the version of SAS or R that was used for
     9       A Yes.                                              9   the report. I -- I would not have included that.
    10       Q Inaccurate and incomplete reporting of           10          And -- and I believe some of the documents
    11   methods can make research unreasonable and unusable;   11   I shared with you that Dr. Hall provided to me on
    12   is that right?                                         12   the methodology were included in the e-mail to me.
    13          MS. O'DELL: Object to the form.                 13          And I may not have included it in the
    14       A I -- I -- I think there are separate             14   report, thinking that the reader would not -- you,
    15   phases of research that need happen. I think the       15   for example, would be interested in some of those
    16   reporting of methodology is so that other people can   16   biostatistical nuances.
    17   duplicate your results, understand your results.       17          But when I publish it, I would put those
    18          But in and of themselves, the reporting         18   in because the readership might care about them.
    19   does not influence the reliability of the -- of the    19       Q You talked, I believe, a minute ago about
    20   research.                                              20   abstracting data; is that right?
    21       Q (BY MR. ZELLERS) Is reporting of                 21       A Yes.
    22   methodology important?                                 22       Q Is data abstraction one of the most
    23       A I -- I think reporting of methodology so         23   important steps in conducting a meta-analysis or a
    24   that other people can duplicate the results is         24   systematic review?
    25   important.                                             25          Would you agree with that?
                                                 Page 103                                                   Page 105
     1          So if -- if I move ahead as I'm planning         1       A I would agree with that.
     2   to publish my systematic review, then I would           2       Q Would you agree that the accuracy of the
     3   include greater details about the methodology so        3   data abstraction is very important to the validity
     4   that other investigators could duplicate my work,       4   of the analysis?
     5   should -- should they so choose.                        5       A I think one of the hallmarks of doing a
     6      Q At least as of now, other scientists or            6   systematic review is, in fact, to have several
     7   epidemiologists would not be able to reproduce what     7   people abstract the data points so that you can be
     8   you have done based upon your report --                 8   assured that there are -- that they're done as
     9          MS. O'DELL: Object --                            9   accurately as possible, with the understanding of a
    10      Q (BY MR. ZELLERS) -- correct?                      10   single data abstraction by a single person can never
    11          MS. O'DELL: -- object to the form.              11   be perfect.
    12      A I am -- I am not sure that that's the             12          And so the more people that abstract and
    13   case.                                                  13   review, the greater the accuracy of the data.
    14      Q (BY MR. ZELLERS) Do you think that all of         14       Q Your data abstraction was not perfect,
    15   the steps that you followed in terms of preparing      15   correct?
    16   your systematic review are set forth in your report?   16       A It was not.
    17          MS. O'DELL: Object to the form.                 17          MS. O'DELL: Object to the form.
    18      A I think the path that I followed in this          18       Q (BY MR. ZELLERS) The data abstraction that
    19   review and the method that I used is a method that I   19   was done by Dr. Hall was not perfect; is that right?
    20   have used in a number of other published systematic    20          MS. O'DELL: Object to the form.
    21   reviews.                                               21       A That is correct.
    22          And so to the degree that people could          22       Q (BY MR. ZELLERS) If data is misrepresented
    23   sort of say: Well, this is what Dr. Smith-Bindman      23   -- well, strike that.
    24   does in a review -- she focuses on stratified          24          Are you familiar with the
    25   results -- these are the methods that have done --     25   term "misrepresentation"?

                                                                              27 (Pages 102 to 105)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 106                                                  Page 108
     1          MS. O'DELL: Object to the form.                  1          MS. O'DELL: -- form.
     2       A I -- I will admit I'm not sure what the           2      Q (BY MR. ZELLERS) Go back to my question.
     3   context is you're asking --                             3   And -- and with the background that you have given
     4       Q (BY MR. ZELLERS) Well --                          4   and with your qualification, do you agree that
     5       A -- about.                                         5   inaccuracy and misrepresentation are considered
     6       Q -- let me try to put it in another context        6   violations of generally accepted standards of
     7   or at least ask a question that may get to what I am    7   research?
     8   trying to get to.                                       8          MS. O'DELL: Object to the form. If you
     9          If data is misrepresented from the               9   don't understand the question, you may ask him to
    10   original study, the analysis -- the systematic         10   rephrase it. If --
    11   review or the meta-analysis can be comprised,          11      A I --
    12   correct?                                               12          MS. O'DELL: -- you understand --
    13       A Yes, I agree.                                    13      A -- I --
    14       Q Inaccuracy and misrepresentation of data         14          MS. O'DELL: -- the question, feel free to
    15   are considered violations of generally accepted        15   answer it.
    16   standards of research; is that right?                  16      A -- I felt like I had answered the question
    17          MS. O'DELL: Object to the form.                 17   that I understood, so it -- perhaps I'm not
    18       A Misrepresentation of data suggests to me         18   understanding your question.
    19   that there's some malicious or devious attempt where   19      Q (BY MR. ZELLERS) Are you able to answer
    20   occasionally there are sometimes simple errors in      20   that question?
    21   abstraction when you write down the No. 5 and, in      21      A Yes. I think that misrepresentation of
    22   fact, the number really is .5.                         22   data is not how I would describe an error in
    23          And often when abstracting data, it's not       23   abstraction of data or in a difference of opinion
    24   so much an error of writing down 5 or .5, but it's     24   about what value reflects the data point you were
    25   choosing which number in that manuscript reflects      25   looking for. I wouldn't consider that a
                                                 Page 107                                                  Page 109
     1   what you are really trying to capture and get at.       1   misrepresentation of data.
     2          So typically there are more than one way         2        Q Understood. Let me ask my question once
     3   to abstract data. It's why it's not -- it -- it's       3   more.
     4   why it's not simply having multiple people so they      4        A Okay.
     5   don't make typos or small extraction mistakes, but      5        Q Misrepresentation of data would be a
     6   rather, that they're making similar choices.            6   violation of generally accepted standards of
     7          And so misrepresentation, the way you have       7   research, correct?
     8   asked it, makes it sound like there's some malicious    8        A I agree that misrepresentation of data
     9   attempt to get it wrong or to -- to manipulate it       9   would be a violation of research.
    10   rather than the wrong number was chosen for either a   10        Q A causal analysis cannot be determined
    11   simple error or because there was a choice and the     11   based on a single piece of evidence, but requires
    12   choice was not made in a way that two people would     12   consideration of the totality of relevant evidence.
    13   agree. And so...                                       13          Do you agree with that?
    14       Q (BY MR. ZELLERS) There can be differences        14        A I would say in the field of epidemiology,
    15   in the way different folks go about doing a research   15   it's unusual to have a single piece of evidence.
    16   project or a meta-analysis or a systematic review;     16   But I think in some circumstances a single piece of
    17   is that right?                                         17   evidence can establish causality. Not typically in
    18       A Yes.                                             18   epidemiology work.
    19       Q In order for someone to reproduce or             19        Q What do you mean in your report by "causal
    20   replicate what another epidemiologist or scientist     20   association"?
    21   has done, they need to see the steps that the          21        A So in my report, I did research as -- sort
    22   scientist or epidemiologist followed; is that right?   22   of as I outlined in my Table of Contents of, you
    23       A That is --                                       23   know, number of different areas.
    24          MS. O'DELL: Object to the --                    24        Q Okay. And I'm going to ask you about
    25       A -- correct.                                      25   those. Right now my question just --
                                                                              28 (Pages 106 to 109)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 110                                                     Page 112
     1       A No.                                               1       Q Is that what you mean by "causal
     2       Q -- is --                                          2   association"?
     3       A I understand. I --                                3       A Yes, it is.
     4       Q What --                                           4       Q What are the other causes of ovarian
     5       A -- understand.                                    5   cancer?
     6       Q -- do you mean when you say "causal               6       A So there's a whole long list of risk
     7   association"?                                           7   factors for ovarian cancer.
     8       A No. I -- I understand. I -- I apologize.          8       Q What is the difference between a risk
     9   I was not getting there quite quickly enough.           9   factor and a cause?
    10       Q That's all right.                                10       A A risk factor is something that puts you
    11       A So I did research on several topics that I       11   at increased risk, increases the probability that
    12   thought were highly relevant to coming up with a       12   you will get ovarian cancer. And there are
    13   causal determination, and I put those different        13   innumerable mechanisms and ways that that can go
    14   pieces of research and expertise together in terms     14   about.
    15   of the causality by specifically looking at the        15          But often -- not entirely, but often, you
    16   Bradford Hill criteria.                                16   don't think of risk factors as being things that you
    17       Q I -- and I'm going to get to eventually, I       17   can alter. That's not entirely true.
    18   hope, why you came up with whatever opinion you came   18          There are some risk factors. For example,
    19   up with.                                               19   the use of -- well, the -- the most commonly cited
    20          Right now I'm just trying to understand         20   risk factor for cancer in general is smoking, and
    21   what you mean when you use the words "causal           21   that's clearly something that can be started or
    22   association."                                          22   ended, that can be changed.
    23          MS. O'DELL: Object to the form. Is there        23          But often you think of risk factors as
    24   a specific case in her report that --                  24   things that can't be changed. So elevation in age,
    25       Q (BY MR. ZELLERS) Sure. "Conclusion."             25   inherited genetics.
                                                Page 111                                                     Page 113
     1   Page 41 of the report, In conclusion, substantial       1          So those things lead to ovarian cancer,
     2   evidence supports a strong, positive, and causal        2   the risk factors that I describe in my report. But
     3   association between ovarian cancer and genital          3   most of them are not things that you can influence.
     4   exposure to talcum powder products.                     4   Some of them are, but most of them are not.
     5          I just want to know what you mean when you       5          Where talcum powder products -- the use of
     6   say "causal association."                               6   perineal talcum powder products -- products is
     7          MS. O'DELL: I think she answered your            7   something that can be changed. That -- that is a
     8   question.                                               8   behavior, and so I think that's the distinction that
     9          But you may answer him, if you understand        9   I would make.
    10   it.                                                    10      Q A risk factor is something that increases
    11       A I -- I think that the -- the four                11   the potential risk of a disease, but cannot be
    12   sentences just above that says that, Summary           12   changed, correct?
    13   consideration of causality of talc powder products     13          MS. O'DELL: Object to the form.
    14   and ovarian cancer using the Bradford Hill.            14      A I -- I said that it's often something that
    15          So I -- I -- I believe, using this              15   can't be changed. But -- but again, there are risk
    16   framework, the Bradford Hill, the components of the    16   factors that, by convention, we consider risk
    17   Bradford Hill demonstrate that ovarian cancer is       17   factors, but that are modifiable.
    18   caused by regular talcum powder exposure based on      18      Q (BY MR. ZELLERS) All right.
    19   the strength of the association, based on the          19      A And I gave smoking as an example.
    20   consistency, the temporality of -- of the components   20      Q A cause of a disease is something that can
    21   of my analysis.                                        21   be modified; is -- is that correct?
    22       Q (BY MR. ZELLERS) Do you believe that             22      A It --
    23   perineal use of talcum powder by women on a regular    23          MS. O'DELL: Object to the form.
    24   basis causes ovarian cancer?                           24      A -- again, it is often used that way.
    25       A Yes, I do.                                       25      Q (BY MR. ZELLERS) What makes a factor cross

                                                                               29 (Pages 110 to 113)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 114                                                    Page 116
     1   the line from being a risk factor to being a cause?     1   Smoking is a possible risk factor.
     2      A I -- I think what I was suggesting is it's         2          So all of those are in the category of
     3   a blurry distinction. I think it's by convention        3   risk factors for ovarian cancer.
     4   things that cannot be modified are typically thought    4      Q My question goes to cause. Based upon
     5   as risk factors. Things that can be modified are        5   your review of the literature over the past year,
     6   generally thought about as being in the causal          6   what other causes of ovarian cancer have you
     7   family -- pathway.                                      7   identified, if any?
     8          But there's no distinction that you can          8          MS. O'DELL: Objection to form; asked and
     9   separate something that increases your risk of          9   answered.
    10   something versus something that causes it. The --      10      A There are other contributors to ovarian
    11   the causal pathways could be the exact same causal     11   cancer like pelvic inflammatory disease, which I
    12   pathways in both situations.                           12   think was on the list of what I just noted.
    13      Q What other causes are there of ovarian            13          There are no other modifiable factors that
    14   cancer?                                                14   I would put on the list of things that cause ovarian
    15      A So I'm guessing from what I have just said        15   cancer other than exposure to talc powder products.
    16   that you are asking about causes and risk factors or   16      Q (BY MR. ZELLERS) Based upon your review of
    17   would you like them to be --                           17   the literature in terms of a cause for ovarian
    18      Q Well, do you use "risk factor" and "cause"        18   cancer, the only cause that you have identified is
    19   interchangeably or are they different?                 19   the regular perineal use of talcum powder by women,
    20          MS. O'DELL: Object to the form; asked and       20   correct?
    21   answered.                                              21          MS. O'DELL: Object to the form.
    22      A I -- I believe that by convention we              22   Misstates her testimony.
    23   typically describe risk factors that are things that   23      A I believe I just said that pelvic
    24   cannot be altered.                                     24   inflammatory disease increases the risk of ovarian
    25          But technically there is no difference          25   cancer.

                                                Page 115                                                    Page 117
     1   between factors, covariants that influence your         1       Q (BY MR. ZELLERS) Is pelvic in --
     2   cancer risk that you can change or not. So I can        2           MS. O'DELL: Excuse me. I'm sorry. Were
     3   tell you the list of things that fall into those two    3   you finished, Dr. Smith-Bindman? I mean, if you're
     4   categories.                                             4   not, you -- you may continue. If so, I apologize --
     5       Q (BY MR. ZELLERS) All right. What I want           5       A I --
     6   to know is: Based upon your review and your             6           MS. O'DELL: -- for interrupting you both.
     7   research over the past year or so, other than           7       A -- I was going to add that endometriosis
     8   perineal use of talcum powder on a regular basis,       8   has been noted also as a contributor to --
     9   what other causes of ovarian cancer are there?          9       Q (BY MR. ZELLERS) Is -- are you finished?
    10       A So in my report on page 11, I write that,        10       A -- I am.
    11   Numerous risk factors are identified for ovarian       11       Q Okay. Is pelvic inflammatory disease a
    12   cancer. Unfortunately, few can be modified by          12   cause of ovarian cancer?
    13   therapies or lifestyle changes. Risk factors           13       A I -- I -- you -- you keep asking me the
    14   include personal or family history of -- of cancer,    14   same question, and I don't understand the
    15   inherited mutations, BRC1 and BRC2, advanced age,      15   distinction that you are asking me to make between
    16   white, race, education, endometriosis.                 16   something that causes cancer and something that's a
    17          Other factors that may increase --              17   risk factor.
    18   increase ovarian cancer due to estrogen exposure       18           In both situation -- situations there is a
    19   include having no pregnancies or advanced age at       19   probability of getting a disease versus not getting
    20   first birth, obesity, post menopausal hormone          20   a disease. There's no 100 percent association, and
    21   therapy.                                               21   so most people, as an analogy who smoke cigarettes,
    22          Several factors I list are associated with      22   do not get lung cancer. It's fewer than 15 percent.
    23   a decreased risk of ovarian cancer such as breast      23           Does smoking cause lung cancer? Yes. Is
    24   feeding or multiple pregnancies, oral                  24   it a risk factor for lung cancer? Yes. Is it a
    25   contraceptions, tubal ligation, or hysterectomy.       25   single pathway that everyone who smokes, gets lung
                                                                               30 (Pages 114 to 117)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 118                                                    Page 120
     1   cancer? No.                                             1      Q (BY MR. ZELLERS) Have you done anything to
     2          So I -- you're asking me to make a               2   advise the health community about your belief that
     3   distinction that I don't make in my head, so I'm --     3   there is a causal association between talcum powder
     4   I'm not sure -- all of the things I suggested as        4   use and ovarian cancer?
     5   risk factors in some women will cause them to have      5      A I have mentioned to you that I have spoken
     6   cancer.                                                 6   about my review to several individuals, several
     7       Q You are opining in this case that the             7   close mentors of mine in leadership roles within the
     8   regular perineal use of talcum powder causes ovarian    8   healthcare community. So I --
     9   cancer, correct?                                        9      Q Who?
    10       A Yes, I am.                                       10      A -- not -- not individuals I am willing to
    11       Q My question is: Does pelvic inflammatory         11   name.
    12   disease cause ovarian cancer?                          12      Q You won't tell me who you have talked to
    13       A In some women, pelvic inflammatory disease       13   about your belief or your theory that there's a
    14   will cause cancer.                                     14   causal association between genital talcum powder use
    15       Q You -- you would list a pelvic                   15   and ovarian cancer?
    16   inflammatory disease as a cause of ovarian cancer;     16      A I would prefer not to share that
    17   is that your testimony?                                17   information.
    18          MS. O'DELL: Objection, asked and                18      Q Have you contacted any public health
    19   answered.                                              19   authorities such as the FDA or the National Cancer
    20       A I would include pelvic inflammatory              20   Institute?
    21   disease with all the other ovarian cancer risk         21      A I have not.
    22   factors like BRCA1 and 2 as being one of a large       22      Q Have you written any type of an op-ed or
    23   number of contributors and risk factors for ovarian    23   other news article on this topic?
    24   cancer.                                                24      A Not yet. I have not.
    25          There -- there is not -- no other               25      Q You have done that in the past; is that

                                                Page 119                                                    Page 121
     1   exposure -- a modifiable exposure that I can think      1   right?
     2   of that leads to getting ovarian cancer or causing      2       A Had -- you're asking if I have written
     3   ovarian cancer.                                         3   op-eds on areas I have done research?
     4       Q (BY MR. ZELLERS) In -- in your practice as        4       Q Yes.
     5   a radiologist, you do not evaluate what caused an       5       A Yes, I have.
     6   individual patient's ovarian cancer; is that right?     6       Q Back in 2014, you did an op-ed in The New
     7          MS. O'DELL: Object to the form.                  7   York Times relating to CT scans; is that right?
     8       A As a -- a radiologist, I do not.                  8       A Yes, I did.
     9       Q (BY MR. ZELLERS) You don't diagnose what          9       Q All right. You concluded or at least put
    10   caused any individual patient's ovarian cancer; is     10   in the op-ed, In 2007, CT scans will cause 29,000
    11   that right, in your practice -- your medical           11   excess cancer cases and 14,500 excess deaths; is
    12   practice.                                              12   that right?
    13          MS. O'DELL: Objection, asked and                13       A I don't have it in front of me. But it
    14   answered.                                              14   looks like you do, and so I'm going to guess that
    15       A I -- I -- I do not. I diagnose ovarian           15   that's correct.
    16   cancer. I diagnosis pelvic inflammatory disease.       16       Q Well, does that sound right to you?
    17   But in an individual patient, I wouldn't tell a        17       A It does sound right.
    18   patient why they got ovarian cancer.                   18       Q You put in that editorial or op-ed that in
    19       Q (BY MR. ZELLERS) You -- you have not, at         19   your opinion, 3 percent to 5 percent of all future
    20   least as of this time, published on your theory that   20   cancers may result from exposure to medical imaging
    21   there is a causal association between genital talcum   21   such as CT scans; is that right?
    22   powder exposure and ovarian cancer; is that right?     22          MS. O'DELL: And if you have a
    23          MS. O'DELL: Object to the form.                 23   recollection and -- and you -- and your memory
    24       A I have not published on my conclusion that       24   confirms those -- those facts, please feel free to
    25   talcum powder products causes ovarian cancer.          25   testify to it. If you need to see the op-ed, then
                                                                               31 (Pages 118 to 121)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 122                                                    Page 124
     1   I'm sure counsel would be willing to put it in front    1   of many pieces of information I used.
     2   of you.                                                 2       Q (BY MR. ZELLERS) Are you aware that in
     3      A That particular statistic, I don't have to         3   their patient-facing websites, as well as their
     4   see. I know that static --                              4   publicly available information about ovarian cancer,
     5      Q (BY MR. ZELLERS) All right.                        5   the CDC does not identify perineal use of talcum
     6      A -- so yes.                                         6   powder as a risk factor for ovarian cancer?
     7      Q You are familiar with the Center for               7       A Yes, I do remember seeing that.
     8   Disease Control, correct?                               8       Q You don't have any reason to believe that
     9      A Yes, I am.                                         9   the folks at the CDC have not kept up to date with
    10      Q The CDC or Center for Disease Control is a        10   talc and ovarian cancer epidemiology, do you?
    11   reputable organization; is that right?                 11          MS. O'DELL: Object to the form.
    12          MS. O'DELL: Object to the form.                 12       A I believe that the comprehensiveness of
    13      A I think they're a very reputable                  13   the review that I did and the amount of time that I
    14   organization.                                          14   put into this review, as I have in -- in many other
    15      Q (BY MR. ZELLERS) You have served on               15   reviews, requires a very deep dive into the
    16   several committees for the CDC in the past; is that    16   literature.
    17   right?                                                 17          And I do not believe that the CDC has
    18      A I currently work on several committees            18   funding or resources to do that kind of deep dive.
    19   with them.                                             19   And so typically what they do is sort of review some
    20      Q Do the doctors and scientists in the CDC          20   things that have been published. Most things, they
    21   work hard to protect women's health, based on your     21   don't end up reviewing.
    22   experience?                                            22          And so I have no reason to believe anyone
    23      A Yes, they do.                                     23   at the CDC deliberately didn't do a comprehensive
    24      Q In forming your opinions in this case, did        24   review of the literature, but -- nor do I have any
    25   you consider the risk factors that the CDC             25   evidence that they did a comprehensive review of the
                                                Page 123                                                    Page 125
     1   recognizes for ovarian cancer?                          1   literature.
     2       A From my report, I read an enormous number         2       Q (BY MR. ZELLERS) Do you have any personal
     3   of articles, and I spent considerably time              3   knowledge one way or the other as to the extent of
     4   considering those articles from a data point of         4   the review of the science and literature that the
     5   view.                                                   5   CDC did in compiling its list of risk factors for
     6           And I did not, for the most part, weigh         6   ovarian cancer?
     7   other organization's summaries if they were not         7       A I --
     8   quantitative and very explicit in what reviews they     8          MS. O'DELL: Object to the form.
     9   did, what literature they included.                     9       A -- I would have to refresh my memory by
    10           And sometimes they -- organizations did do     10   looking at their -- their website and documents. If
    11   that, but did not do nearly as -- a comprehensive      11   you provided those, I could.
    12   job. So I -- I would not have relied on any            12       Q (BY MR. ZELLERS) My question is: Do you
    13   professional organization's reviews unless they were   13   have any personal knowledge one way or the other as
    14   quantitative the way -- the way my own were?           14   to what the CDC has done with respect to a review of
    15           MR. ZELLERS: Move to strike as                 15   the scientific literature in compiling its list of
    16   nonresponsive.                                         16   risk factors for ovarian cancer?
    17       Q (BY MR. ZELLERS) Let me ask the question         17       A I don't know offhand what they did. And I
    18   again. In forming your opinions in this case, did      18   don't recall when looking at their website, what
    19   you consider the risk factors that the CDC             19   references they listed.
    20   recognizing for ovarian cancer?                        20          I think if their reference list included a
    21           MS. O'DELL: Object to the form.                21   very short -- small number of references, I would
    22       A I saw documents on their websites that           22   have concluded that they had not done a very
    23   list risk factors, and no individual organization's    23   comprehensive review.
    24   summaries, either for patients or for clinicians,      24       Q (BY MR. ZELLERS) My question is: Do you
    25   formed a very large piece of my opinion. It was one    25   have any personal knowledge as to what the CDC did

                                                                               32 (Pages 122 to 125)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 126                                                   Page 128
     1   or did not do with respect to its review of the         1          MS. O'DELL: Object to the form.
     2   literature?                                             2      A Naive to suggest that a single person
     3       A Again, I don't know off the top of my             3   could just call them and say: I have looked at this
     4   head. But I know I went to their website, and I         4   topic, and you should change what you are doing.
     5   don't --                                                5      Q (BY MR. ZELLERS) Are you familiar with the
     6       Q Other than looking at their website, do           6   National Institute of Health?
     7   you have any personal knowledge?                        7      A I am.
     8       A No, I do not.                                     8      Q You have received funding from the
     9       Q All right. Have you communicated to               9   National Institute of Health; is that right?
    10   anyone at the CDC that you disagree with their         10      A I have.
    11   position?                                              11      Q Do you know that the National Institute of
    12       A I -- I'm laughing at the nature of the           12   Health does not list talc use as a risk factor for
    13   question. There wouldn't be anyone at the CDC to       13   ovarian cancer?
    14   disagree with.                                         14          MS. O'DELL: Object to form.
    15       Q There -- there's no one at the CDC that          15      A Again, I -- yeah, I know that the NCI, PDQ
    16   you, as a concerned radiologist, could go to and       16   that writes reports for patients and clinicians
    17   say: Hey, I think that you should list perineal        17   about risk factors for cancer has a report on risk
    18   talc use as a risk factor for ovarian cancer?          18   factors for ovarian cancer and that they conclude
    19          MS. O'DELL: Object to the form.                 19   that there's inadequate evidence for talc.
    20       Q (BY MR. ZELLERS) There's no one you could        20      Q (BY MR. ZELLERS) Inadequate evidence,
    21   talk to at the CDC about that?                         21   correct?
    22       A I -- I would -- I would have to confirm          22      A I -- I -- I wasn't finished.
    23   that that -- I have been -- I -- I study               23      Q Please finish.
    24   environmental carcinogens.                             24      A So they don't stand -- just to clarify,
    25          And you pointed out my New York Times           25   for the National Institute of Health. It's a very
                                                Page 127                                                   Page 129
     1   op-ed that put a message out there that said: I         1   prestige body. It's an organization within a small
     2   think this is an environmental carcinogen.              2   part of the NCI.
     3          And I have spoken about that topic in many       3          I know it well, because I served on that
     4   forms. I have testified before Congress several         4   committee for many years. I know the process
     5   times. I testified to the FDA. I have spoken to         5   whereby they review the literature and created a
     6   CMS.                                                    6   whole a bunch of standards within what they do
     7          All of that took years to get people to          7   around that.
     8   hear those messages. It was not that: Oh, I see         8          And I looked and saw that they updated
     9   there's a problem here. Let me just tell the top        9   their summary of talc in 2018. And -- and yet,
    10   person to do that.                                     10   within that summary, they do list the references
    11          And -- and so I'm -- you're suggesting          11   that they cite, and they omit a large number of
    12   there's someone at the CDC that I could call and       12   references that are recent.
    13   say: Oh, by the way, I think that's an important       13          So I do know their conclusion. I do not
    14   topic. I appreciate your giving me that idea. I        14   agree with their conclusion. And there were large
    15   will move forward once I publish a paper on this       15   gaps in their literature. And that update was very
    16   topic.                                                 16   recent.
    17          But -- but that's not nearly as -- as           17          I -- I told you I don't know the
    18   simple as you're suggesting in your question.          18   leadership at the CDC, and they don't have a
    19   There's a naiveness there that there's someone at      19   process. But I do know the leadership on this
    20   the CDC who would -- who takes responsibility for      20   committee and -- and will point out their omissions
    21   what they do and -- on all of their websites and you   21   to this committee.
    22   can sort of give them feedback on that.                22       Q Well, I haven't gotten to the National
    23      Q You believe I'm being naive to think that         23   Cancer Institute yet.
    24   there's a person responsible at the CDC for            24          My question was: Do you know that NIH,
    25   compiling a list of risk factors for ovarian cancer?   25   the National Institute of Health, does not list use
                                                                              33 (Pages 126 to 129)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 130                                                   Page 132
     1   of talcum powder as a risk factor for ovarian           1   include modifiable and nonmodifiable parameters.
     2   cancer?                                                 2          Is that right? And then it lists out
     3       A So I -- I -- I don't know what -- I'm             3   nonmodifiable parameters and modifiable parameters;
     4   sorry. I don't know what you're talking about,          4   is that right?
     5   the --                                                  5       A Yes, that's what this --
     6       Q All right.                                        6       Q Talcum --
     7       A -- NIH.                                           7       A -- says.
     8       Q Take a look, if you will, at Deposition           8       Q -- powder use is not listed, correct?
     9   Exhibit 19, which is captioned NIH steer -- or          9       A Correct.
    10   "SEER, S E E R, Training Modules" and has got "Risk    10       Q All right. Take a look, if you will --
    11   Factors" at the top.                                   11   and this is the document that you were talking about
    12          (Exhibit 19 was marked for identification       12   a moment ago -- at Deposition Exhibit 20.
    13   and is attached to the transcript.)                    13          (Exhibit 20 was marked for identification
    14          MS. O'DELL: Thank you.                          14   and is attached to the transcript.)
    15       A So SEER is also a part of National Cancer        15       Q (BY MR. ZELLERS) This is the "National
    16   Institute. It's the surveillance epidemiology --       16   Cancer Institute Review of Ovarian, Fallopian Tube,
    17          MR. LAPINSKI: Have her wait for a               17   and Primary Peritoneal Cancer Prevention PDQ"; is
    18   question.                                              18   that right?
    19          MS. O'DELL: Sorry. Just wait for his            19       A Yes, it is.
    20   question. Yeah, thanks, Dan.                           20       Q This is the document that you told us a
    21       Q (BY MR. ZELLERS) You recognize Exhibit 19        21   few minutes ago that you disagree with the
    22   as a training module from NIH and specifically from    22   conclusion; is that right?
    23   the National Cancer Institute; is that right?          23          And specifically if you go to page 5 of 9
    24       A So this says at the top "SEER Training           24   under "Perineal Talc Exposure," the statement from
    25   Modules."                                              25   the National Cancer Institute in this document is
                                                 Page 131                                                   Page 133
     1           I don't know what this is. I know SEER          1   that the weight of evidence does not support an
     2   quite well. It's the National Cancer Registries.        2   association between perineal talc exposure and an
     3   But I -- I don't -- don't know what this training       3   increased risk of ovarian cancer. Results from
     4   module is. But I do see that you are showing me         4   case-control and cohort studies are inconsistent.
     5   some risk factors.                                      5          Is that right?
     6       Q Talc is not listed as a risk factor for           6       A That is what they conclude.
     7   ovarian cancer in this document, Exhibit 19, that       7       Q This was updated, if you looked at the
     8   was updated in June of 2018 from NIH and the            8   last page, page 9 of 9, on January 4 of 2019; is
     9   National Cancer Institute; is that right?               9   that right?
    10       A I -- I want to sort of explain my                10          MS. O'DELL: Object to the form.
    11   confusion. The SEER, Surveillance, Epidemiology,       11       A Can you show me where it's been updated?
    12   and End Result, program does not train or educate      12       Q (BY MR. ZELLERS) Sure. Look at the very
    13   individuals typically using documents like this.       13   last page. In bold, "Updated January 4, 2019"; is
    14           Often this is for cancer abstractors to        14   that right?
    15   know what information they're asking their             15       A It does say that --
    16   abstractors to collect.                                16       Q All right.
    17           I -- I don't know what this is, but it         17       A -- yes.
    18   doesn't look to me like something that's identifying   18       Q Are there limitations on epidemiological
    19   risk factors as much as asking medical chart           19   data?
    20   abstractors to write down information that they're     20       A Yes, there are.
    21   collecting as part of their data.                      21       Q Do you agree that epi -- epidemiologic
    22       Q My question is very simple. This is a            22   data alone cannot permit a determination regarding
    23   list that at the top says "Risk Factors."              23   causation?
    24           The introductory statement says, The main      24       A I'm sorry. Can you just --
    25   risk and protective factors for ovarian cancers        25       Q Do you need me to say it again or can you
                                                                              34 (Pages 130 to 133)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 134                                                   Page 136
     1   read it off the screen?                                 1   awful lot of Johnson & Johnson baby powder over the
     2      A I can read it off the screen. I think              2   last 50 plus years. And -- and I am --
     3   epidemiologic data can provide an enormous amount of    3       Q (BY MR. ZELLERS) And --
     4   information about causation. But there are other        4       A -- not sure whether there's lots of other
     5   considerations that would have to be also taken into    5   dominant players in the space. I -- I don't know
     6   account to also support that.                           6   that.
     7      Q Can epidemiologic data alone permit a              7          My impression is that Johnson -- baby
     8   determination regarding causation?                      8   powder baby is a Johnson & Johnson a product very,
     9          MS. O'DELL: Object to the form.                  9   very often.
    10      A I think epidemiologic data can be used in         10       Q But you have not done any type of survey
    11   combination with other data to determine causality,    11   --
    12   but by itself cannot be used alone to determine        12       A I have --
    13   causality.                                             13       Q -- or analysis?
    14      Q (BY MR. ZELLERS) The current epidemiologic        14       A -- I have not.
    15   data, as it exists, does not enable someone to         15       Q If the biological mechanism by which a
    16   distinguish between brands of cosmetic talc            16   talcum powder product can increase the risk of
    17   products; is that right?                               17   ovarian cancer is because of a particular
    18          MS. O'DELL: Object to the form.                 18   contaminant or collection of contaminants, but that
    19      A I would agree.                                    19   contaminant or collection of contaminants does not
    20      Q (BY MR. ZELLERS) You can't tell in any of         20   exist in all talcum powder products, will the
    21   the 40 plus studies that you reviewed, that the        21   epidemiologic evidence that exists today allow you
    22   women who were involved in those studies used talc     22   to see that distinction?
    23   products manufactured by Johnson & Johnson             23          MS. O'DELL: Object to the form.
    24   Consumer, Inc., or by another company; is that         24       A You're asking about contaminants of talcum
    25   right?                                                 25   powder products. My understanding from what I have
                                                 Page 135                                                   Page 137
     1           MS. O'DELL: Object to the form.                 1   reviewed is that the components of talcum powder
     2       A I -- I would agree that most of the papers        2   products include asbestos, include fibrous talc,
     3   that I read did not specify what the source of the      3   include heavy metals, include fragrances.
     4   baby powder was.                                        4          Let's get rid of the header -- the --
     5       Q (BY MR. ZELLERS) Based on the analysis            5   the fragrances. Just the heavy metals, the
     6   that you have done, you're not able to draw an          6   asbestos, and the fibrous talc. My understanding is
     7   opinion specifically about an increased risk of         7   that those are in the same mines as the platy talc,
     8   ovarian cancer that is tied to a particular brand of    8   which is the desired part of talc.
     9   talcum powder, correct?                                 9          To the degree that those are all part and
    10           MS. O'DELL: Object to the form.                10   parcel of the same product, they're not -- I
    11       A My impression is that a large proportion         11   wouldn't think of them as contaminants. I would
    12   of the talcum powder products that are available       12   think of them as just part of the product.
    13   happen to be made by Johnson & Johnson, but I do not   13          And so to the degree that that product
    14   know for any given study -- for most of the studies,   14   cannot be separated, I would be concerned that any
    15   at least, what kind of talcum powder it was.           15   talcum powder products have all of the above.
    16       Q (BY MR. ZELLERS) Okay. Is your impression        16          I separated fragrance, because that's
    17   that you just shared with us, you know, based on       17   something that's added. That's not mined directly.
    18   information you have received from plaintiffs'         18   But the other items, my understanding is that's part
    19   counsel?                                               19   of the talc.
    20           MS. O'DELL: Object to the form. Don't --       20       Q You don't know one way or the other
    21   don't discuss what's been provided by -- let me say    21   whether talcum powder products contain asbestos, do
    22   that again.                                            22   you?
    23           Don't -- don't discuss conversations with      23          MS. O'DELL: Object to the form.
    24   plaintiffs' counsel. Thank you.                        24       A You're asking me to opine whether talcum
    25       A I -- my impression is based on seeing an         25   powder products contain asbestos?
                                                                              35 (Pages 134 to 137)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 138                                                    Page 140
     1       Q (BY MR. ZELLERS) Yes.                             1   manufactured by Johnson & Johnson?
     2       A Yes, I -- I feel very certain that talcum         2          MS. O'DELL: Object to the form. to the
     3   powder products, at least over many years, contained    3   form.
     4   asbestos.                                               4       A So unlike the question about heavy metals
     5       Q Is that part of your opinion in this case?        5   where it sort -- there are traces of heavy metals in
     6       A Yes, it is.                                       6   other things to which we're exposed regularly, like
     7       Q Is it your opinion in this case that              7   water. We don't expect any concentrations of
     8   talcum powder products contain trace amounts of         8   asbestos in products that we're exposed to.
     9   heavy metals?                                           9          And so put in that context, while I'm not
    10       A Yes, it is.                                      10   an expert in the mineralogy, the numbers that I have
    11       Q Is it also part of your opinion in this          11   seen are tens of thousands to millions of fibers
    12   case that talcum powder products contain different     12   that might be in grams of product seem like an awful
    13   fragrance chemicals?                                   13   lot of units or dose of -- of asbestos or fibrous
    14       A Yes, it is.                                      14   talc.
    15       Q Do you have any opinion as to how many           15          MR. ZELLERS: Move to strike as
    16   fragrance chemicals are contained in talcum powder     16   nonresponsive.
    17   manufactured by a Johnson & Johnson company at any     17       Q (BY MR. ZELLERS) You do not have personal
    18   time?                                                  18   knowledge as to any amounts or concentrations of
    19          MS. O'DELL: Object to the form. With            19   asbestos in talcum powder manufactured by Johnson &
    20   regard to "opinion."                                   20   Johnson --
    21       A I have seen long lists of chemicals and          21          MS. O'DELL: Objection.
    22   fragrances that are contained.                         22       Q (BY MR. ZELLERS) -- correct?
    23          I'm not familiar enough with -- with the        23          MS. O'DELL: Objection, asked and
    24   testing that was done to understand how that's         24   answered.
    25   changed over time in a Johnson & Johnson product       25       A I have seen several reports of Johnson &
                                                Page 139                                                    Page 141
     1   versus other talcum powder products.                    1   Johnson products that have been tested for
     2       Q (BY MR. ZELLERS) Do you have any opinion          2   concentrations of asbestos or asbestiform talc that
     3   or knowledge as to the amount or concentration of       3   have concentrations shown kind of in ranges of a
     4   particular fragrance chemicals that are contained in    4   tenth of a percent or, as I mentioned, tens of
     5   talcum powder manufactured by Johnson & Johnson?        5   thousands or mid -- millions of fibers.
     6       A I -- I do not.                                    6          And those have been tested by -- by
     7       Q Do you have any opinion or knowledge as to        7   several different people, but coming up with units
     8   the amount or concentration of trace chemicals          8   of dose within Johnson & Johnson talcum powder
     9   -- strike that -- trace heavy metals that may be        9   products.
    10   contained in talcum powder manufactured by Johnson &   10       Q (BY MR. ZELLERS) You're not a geologist,
    11   Johnson?                                               11   correct?
    12       A I have seen reports of the amounts that --       12       A I am not a geo --
    13   you know, sort of in the ballpark of hundreds to       13       Q You're --
    14   thousands of parts per million.                        14       A -- logist.
    15           But I'm not an expert in understanding         15       Q -- not a mineralogist, correct?
    16   those numbers in comparison to the concentrations in   16       A I am not.
    17   other things that we're exposed to. They're much       17       Q You have reviewed some expert reports from
    18   higher. They're orders of magnitudes higher, but       18   Dr. Longo; is that right?
    19   I'm not an expert to understand how those different    19       A Among others, yes.
    20   concentrations might be expected to have an            20       Q You have reviewed some testing reports.
    21   influence on talc.                                     21   Some purportedly show that there is asbestos present
    22       Q The same question with respect to                22   in talcum powder and some that show that there's not
    23   asbestos. Do you have any opinion or knowledge as      23   asbestos in talcum powder; is that right?
    24   to the amount or concentration of asbestos that you    24          MS. O'DELL: Object to the form.
    25   believe is contained in any talcum powder              25       A I have seen a lot of reports that have
                                                                               36 (Pages 138 to 141)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 142                                                    Page 144
     1   shown the presence of talcum powder containing          1   off the record for a moment.
     2   asbestos and fibrous talc.                              2           THE VIDEOGRAPHER: We're off the record at
     3          You listed some of those, the Longo              3   1:36 p.m.
     4   reports, a bunch of publications in the literature      4           (A break was taken from 1:36 p.m. to
     5   such as Blount's.                                       5   1:37 p.m.)
     6          I have seen some testing from Dr. Hopkins,       6           THE VIDEOGRAPHER: We are back on the
     7   from Imerys, from Cooke. I have also seen some          7   record. The time is 1:37 p.m.
     8   negative reports.                                       8       Q (BY MR. ZELLERS) Dr. Smith-Bindman, you
     9       Q (BY MR. ZELLERS) The answer to my question        9   had recalled, I believe, the name of the fourth
    10   is: Yes, you have seen testing that purportedly        10   plaintiff lawyer that you met with?
    11   shows there to be some asbestos in the J&J             11       A Carmen Scott.
    12   manufactured talcum powder and you have seen reports   12       Q I want to ask you some questions about the
    13   that, you know, indicate there's not asbestos in the   13   systematic review that you did. You have not
    14   talcum powder; is that fair?                           14   published that, correct?
    15       A The way that you have described it makes         15       A I have not.
    16   it seem like I have seen comprehensive reports that    16       Q If at any point you do publish your
    17   have shown in totality there is asbestos and reports   17   systematic review, would you disclose that you are a
    18   that have shown there's not. I haven't seen that.      18   paid expert for the Plaintiffs in the talcum powder
    19       Q All right.                                       19   litigation?
    20       A I have seen reports that have shown in           20       A Yes, I would.
    21   totality there are. I have seen individual samples     21       Q You would expect any expert who is paid to
    22   that have shown there's not asbestos in those          22   perform a review or who has a study funded by
    23   individual samples.                                    23   Plaintiffs to make that disclosure, correct?
    24          But I haven't seen a systematic report          24           MS. O'DELL: Object to the form.
    25   that have shown in, for example, a large number of     25       A My understanding from my experience is
                                                Page 143                                                    Page 145
     1   specimens, none had asbestos. I haven't seen that.      1   that different journals require different
     2       Q You have seen, at least in large part, the        2   disclosures. So if you're paid by someone, you
     3   information that's been provided to you by              3   typically would have to disclose, but the detail
     4   plaintiffs' attorneys; is that right?                   4   would -- would vary by journal.
     5          MS. O'DELL: Object to the form. to the           5       Q (BY MR. ZELLERS) What methodology or
     6   form.                                                   6   methodologies did you use to arrive at your opinion
     7       A I think some of the public -- published           7   that regular use of talcum powder increases a
     8   literature was not provided by plaintiff attorneys      8   woman's risk of developing invasive serous cancer by
     9   and some has been, such as the Longo reports.           9   about 50 percent?
    10          MR. ZELLERS: All right.                         10       A So I would say there were two parts. The
    11          MS. O'DELL: Mike, we have been going            11   first part is my systematic review of the published
    12   about an hour and 30 minutes. And our lunch is         12   literature. I think I mentioned earlier that I have
    13   here, so is this a good time.                          13   published several systematic reviews.
    14          MR. ZELLERS: Sure --                            14           And the mechanism of perform -- performing
    15          MS. O'DELL: -- for a break?                     15   those systematic reviews are both ones that I have
    16          MR. ZELLERS: -- of course.                      16   personally used and ones that I was involved in
    17          THE VIDEOGRAPHER: This marks the end of         17   developing the methodology as part of my work on the
    18   Disc 2. We are off the record at 12:37 p.m.            18   Cochrane collaboration.
    19          (A break was taken from 12:37 p.m. to           19           So it involves doing a very standardized
    20   1:36 p.m.)                                             20   search, creating an approach for abstracting data,
    21          THE VIDEOGRAPHER: We are back on the            21   abstracting the data. An approach that I used for
    22   record. This marks the beginning of Disc No. 3 in      22   summarizing the data, which usually is looking at
    23   the deposition of Dr. Rebecca Smith-Bindman. The       23   stratified results, results in sort of specific
    24   time is 1:36 p.m.                                      24   categories as opposed to broad categories.
    25          MR. ZELLERS: Dr. Smith-Bindman, let's go        25   Statistically summarizing the results and showing

                                                                              37 (Pages 142 to 145)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 146                                                    Page 148
     1   them.                                                   1   through those and to review to make sure that they
     2          So part of my conclusion was based on my         2   had primary data.
     3   own systematic review. And then part of my              3           So I was only interested in studies that
     4   conclusion was based on my review of the published      4   had primary data, which meant that review articles
     5   literature on the actual epidemiology data, as well     5   or editorials or letters to the editors or opinion
     6   as other considerations that went into consideration    6   pieces were dropped from that list.
     7   of the Bradford Hill criteria such as mechanistic       7           So then I had data that were -- I had
     8   data and any other requirements of Bradford Hill.       8   studies that had primary data, so that became my
     9       Q Tell us step by step how you performed            9   list of articles.
    10   your systematic review or analysis. And now I'm        10           And -- and then I created a data
    11   referring to the meta-analysis or meta-analysis-like   11   abstraction form for what variables I wanted to
    12   review that you did.                                   12   include. So some variables are the number of cases;
    13       A Okay. So I would just like to do a slight        13   the number of controls; the kind of study design
    14   preamble to that, which is that the direction that     14   whether it was a case-control study or another
    15   my review took was partly informed by having read      15   design.
    16   through a number of articles on the topic. So          16           It included -- included the groups that I
    17   determining sort of where there was a gap, what was    17   cared most about. So you mentioned serous cancer,
    18   the most important area to focus on. So that sort      18   so I included what kind of histologies they looked
    19   of was the background.                                 19   at.
    20          And then for the review, the literature         20           I included in my initial data form,
    21   search is the first step. So you want to broadly       21   variables that I ended up not using in my review
    22   identify all relevant literature, published and        22   because I didn't have enough data.
    23   unpublished, to include.                               23           So in my initial draft of variables that I
    24          And that includes searching on several          24   might like to abstract was the relationship in pre
    25   databases -- PubMed was -- Medline were -- Embase,     25   versus postmenopausal women.
                                                Page 147                                                    Page 149
     1   Scopus were -- were databases that I started my         1          But when I ended up reviewing articles,
     2   search.                                                 2   there just was not -- not enough data there to make
     3           I included in the report some of the            3   sense of, so I created a data abstraction form.
     4   keywords I used, keywords including "ovarian cancer,    4          I then went one by one through the
     5   talc, perineal powder, genital powder."                 5   articles which I organized and abstracted the data
     6           So I generated a long list of articles          6   that I had set out to do.
     7   that I retrieved and then reviewed the references       7          And in the course of doing that, I would
     8   for each of those articles, which usually doesn't       8   ensure that the participants that were described in
     9   identify a lot more articles, but usually identifies    9   those reports were, in fact, unique subjects.
    10   a few that I may have missed in my search, but that    10          So within this field, just like many
    11   other people have found in their reviews or            11   fields, people sometimes publish an individual
    12   systematic reviews. So the first step was to           12   patient in more than one study. And -- and you
    13   identify the literature.                               13   don't want to include that, if you can.
    14       Q What was the next step? And again, I'm           14          So as part of my review was to determine
    15   focused on your methodology for the systematic         15   how independent the patients were and to make a note
    16   review or analysis that you did, as reflected in       16   if there was overlap.
    17   your report?                                           17          I also didn't mention some of the features
    18       A So the second step is: Identified a large        18   that I abstracted. But it wasn't just the primary
    19   number of publications, but some of them may not       19   result, which was what was the adjusted odds ratio
    20   have been particularly relevant.                       20   or risk ratio associated with exposure to talcum
    21           For example, they may have sounded in the      21   powder products, but it was also -- what I was most
    22   title like they were primary data, but they may have   22   interested in is quantifying that exposure to a
    23   actually only been review data.                        23   degree that had not been present in all the
    24           So Step 2 is to review the abstracts for       24   individual reviews that I had previously said. So I
    25   all of those identified articles and then to go        25   was interested primarily in abstracting data on

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                                  Rebecca Smith-Bindman, M.D.
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     1   regular exposure to talcum powder.                      1       Q That's what Dr. Hall did; is that right?
     2          So when I went through the articles, I           2       A That is what Dr. Hall did. I should have
     3   noted whether -- what the point estimates were, but     3   a caveat there. We -- she absolutely lead that part
     4   also whether they had information on all of the         4   of the analysis, but I reviewed every step of that
     5   things that were in my database.                        5   very carefully.
     6          I went through and abstracted data several       6           And there were several places that I --
     7   times.                                                  7   I -- I saw errors in some of the calculations that
     8       Q Okay. Well, that's --                             8   we went back and forth on to correct those
     9       A Oh.                                               9   calculation errors.
    10          MS. O'DELL: She may not be done but --          10       Q Have you completed your methodology or the
    11       Q (BY MR. ZELLERS) Well, I understand. So          11   different steps in your methodology?
    12   I'm just trying to go through your methodology here.   12           MS. O'DELL: In terms of the
    13          So after you abstracted the data and            13   meta-analysis?
    14   included it or put it on your data abstraction form    14       Q (BY MR. ZELLERS) Yes. In terms of the
    15   for each study, what was the next step in your         15   systematic review or meta-analysis that you did.
    16   systematic review?                                     16       A I believe I have highlighted all the
    17          MS. O'DELL: So just continue on, Doctor,        17   steps.
    18   what your process was.                                 18       Q You tried or did correct any errors in
    19       A Okay. Well -- so the next step was to            19   calculations or numbers by Dr. Hall; is that right?
    20   decide which -- which of those papers might have       20           MS. O'DELL: Object to the form.
    21   been missing data.                                     21       A Yes, I did.
    22          So once I abstracted the data, there were       22       Q (BY MR. ZELLERS) Did anyone else review
    23   gaps almost certainly in the data. And so I -- I       23   your calculations and Dr. Hall's calculations?
    24   just wanted to emphasize -- I was starting to say      24       A No. Just the two of us.
    25   this earlier -- that I -- I went back to the papers    25           You said something, that I corrected some
                                                Page 151                                                    Page 153
     1   and tried to sort of ensure that I was consistently     1   of her numbers. I -- she also corrected some of my
     2   pulling the data in my database requirement for         2   numbers.
     3   every study.                                            3           It was a bi-directional two set of eyes on
     4           After I did that, the next step would be        4   all of the analysis --
     5   to combine the data statistically. And that would       5       Q I --
     6   be to pro -- perform steps to figure out how the        6       A -- and abstractions.
     7   data can be -- could be combined.                       7       Q -- essentially what you did is you
     8           And that required looking at issues of          8   analyzed the studies. You abstracted data on each
     9   consistency across the studies or heterogeneity and     9   of the studies on your Data Abstraction Form,
    10   then to make sure that the sub analysis that I         10   correct?
    11   wanted to do -- the stratified analysis that I         11       A Yes.
    12   wanted to do could be done based on whether I had      12       Q Have you produced your Data Abstraction
    13   data for each of those studies in the stratified       13   Forms to us for review?
    14   category.                                              14       A I -- I believe I have.
    15           So as an example, I wanted to make sure        15       Q All right. You have them available; is
    16   that I -- I had whatever information was in the        16   that right?
    17   paper that could then go to the next step of           17       A Yes.
    18   analysis.                                              18       Q And this would be a form for each of the
    19           And so that's when, actually, I reached        19   studies in which you went through and you abstracted
    20   out to a biostatistician with -- expert in the         20   data; is that right?
    21   biostatistical aspect to do two things: To both        21       A It's --
    22   double-check my numbers and ensure that the numbers    22           MS. O'DELL: Object to the form. Sorry.
    23   that -- had been abstracted correctly and then to do   23   Go ahead.
    24   the biostatistical analysis and generate the           24       A -- yeah, it's -- it's an electronic
    25   graphical representation of the data.                  25   database. It's an Excel file.

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                                 Rebecca Smith-Bindman, M.D.
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     1       Q (BY MR. ZELLERS) But there would be a form       1   times week or more as possible and that I would
     2   or an Excel sheet for each of the studies where you    2   focus on invasive serous cancer wherever possible.
     3   abstracted the data; is that right?                    3          And so if that -- if that's what you mean
     4          MS. O'DELL: Object to the form.                 4   by my "protocol," then yes, that was written down
     5       A There's an Excel sheet with each study           5   ahead of time.
     6   listed as a separate line of data and many, many       6      Q (BY MR. ZELLERS) I'm confused. Do you
     7   rows -- columns for each -- it's not a physical        7   define -- well -- and No. 1, did you produce that
     8   piece of paper and...                                  8   protocol?
     9       Q (BY MR. ZELLERS) But it's something that         9      A So I have -- I have my notes and -- which
    10   could be printed out; is that right?                  10   was part of the documents that you saw earlier
    11       A Yes.                                            11   today.
    12       Q All right. Did you develop any type of          12      Q The notes, you would describe as your
    13   protocol setting forth the different steps that you   13   protocol or an outline of your methodology?
    14   followed to do your systematic analysis that you      14      A Yes.
    15   have told us about?                                   15      Q All right. We'll mark your notes, which
    16       A The protocol that I followed for these          16   are your protocol, as Exhibit 21.
    17   steps is a very well-established, well-published --   17          (Exhibit 21 was marked for identification
    18   including by myself from any prior reviews --         18   and is attached to the transcript.)
    19   protocols.                                            19      Q (BY MR. ZELLERS) And it's just the one
    20       Q My question is: Did you write down              20   side sheet; is that right?
    21   anywhere, the protocol that you followed for doing    21      A I believe I provided other documents in
    22   this particular systematic review?                    22   the datasheet that also has the notes of what group
    23          MS. O'DELL: Object to the form.                23   I was focusing on in e-mails that I have sent you.
    24       A I did not specifically write down for this      24      Q That would be other materials that you
    25   review that I would do a literature search or         25   have produced; is --
                                               Page 155                                                    Page 157
     1   abstract data and record points and then do the        1       A That's --
     2   analysis.                                              2       Q -- the right?
     3       Q (BY MR. ZELLERS) What you have done in           3       A -- correct.
     4   your systematic review is a subgroup analysis of       4       Q To your knowledge, there's nothing that
     5   those studies that you thought should be included;     5   you have not produced --
     6   is that fair?                                          6       A No.
     7       A I call it a stratified analysis rather           7       Q -- relating -- hold --
     8   than a subgroup analysis. Usually a subgroup           8       A Okay.
     9   analysis is usually used to describe only limiting     9       Q -- on. Let me finish.
    10   to certain groups of patients as opposed to some      10          There's nothing, to your knowledge, that
    11   questions. So I -- I'm not sure that there's a        11   you have not produced relating to your analysis; is
    12   distinction but...                                    12   that right?
    13       Q Well, you -- whether we call it a subgroup      13       A That's correct.
    14   or whether we call it a stratified analysis, you      14       Q I was confused. I thought you stated a
    15   went through the studies to try to find the studies   15   moment ago that you defined "regular use" as the use
    16   that would give you information on women who were     16   of talcum powder three times a week or more.
    17   regular users, as you defined "regular users," and    17          Is that your definition of "regular use"?
    18   who developed invasive serous ovarian cancer,         18       A I --
    19   correct?                                              19          MS. O'DELL: Object to the form.
    20          MS. O'DELL: Object to the form.                20       A -- I describe the definition in my report
    21       A Yes, that's what I did.                         21   on page 32. And --
    22          When you asked about whether I have a          22       Q (BY MR. ZELLERS) My question just is: Is
    23   protocol written down, I have written that I was      23   that the correct definition or did you use a
    24   going to abstract information about regular use of    24   different definition of "regular use"?
    25   talc powder products defined as closely as three      25          MS. O'DELL: Object to the form. You may
                                                                              40 (Pages 154 to 157)
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                                  Rebecca Smith-Bindman, M.D.
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     1   describe your --                                        1       A -- page --
     2        A So I -- I --                                     2          MS. O'DELL: -- go ahead.
     3            MS. O'DELL: -- definition.                     3       A -- 32.
     4        A -- have listed how I have defined it. And        4       Q (BY MR. ZELLERS) You have defined "regular
     5   it's a little bit more -- more nuanced than what you    5   use" in your report on page 32; is that right?
     6   have just asked me to confirm.                          6       A Yes.
     7        Q (BY MR. ZELLERS) What is your definition         7       Q What is Dr. Hall's field of expertise?
     8   of "regular use" with respect to the systematic         8       A She is a biostatistician who is -- does a
     9   review and analysis that you did?                       9   lot of summaries of systematic review.
    10        A So I have written, Regular use was defined      10       Q You are not a biostatistician; is that
    11   ideally as daily or at least more than three uses      11   right?
    12   per week.                                              12       A I did a two-year post-graduate fellowship
    13        Q More than three uses a week; is that            13   in the Department of Epidemiology and Biostatistics,
    14   right?                                                 14   have taken many courses in biostatistician --
    15        A I -- I wasn't finished. May I finish?           15   biostatistics, and have thought classes in biostatus
    16        Q Sure.                                           16   --
    17        A "I also accepted studies that defined           17       Q Do you con --
    18   "use" as regular where the description made it clear   18       A -- statistics.
    19   that this was regular use.                             19       Q -- do you consider yourself to be an
    20            A study that reported regular use, but        20   expert biostatistician?
    21   defined it as less -- as used less frequency --        21       A I consider myself an expert in
    22   at -- use of less than as -- frequency were not        22   biostatistics.
    23   included.                                              23       Q And Dr. Hall is also an expert in
    24            Regular use was selected to differentiate     24   biostatistics; is that right?
    25   occasional use, which may include one-time             25       A Yes.

                                                Page 159                                                     Page 161
     1   infrequent use or used along a particular time of a     1       Q Do you know -- well, did you conduct your
     2   woman's menstrual cycle from sustained use.             2   systematic review and analysis using the PRISMA
     3          Studies that ask participants a single           3   standards?
     4   question about every use of talc without further        4       A Yes.
     5   quantification of exposure were not included for the    5       Q And those are the preferred reporting
     6   summary.                                                6   items for systematic reviews and meta-analyses; is
     7          For example, Perdue reported that 52 to          7   that right?
     8   57 percent of women ever using talc without further     8       A Yes.
     9   quantification was not included."                       9       Q What materials did you provide to Dr. Hall
    10          THE COURT REPORTER: Please slow down.           10   to assist you with your review?
    11      Q (BY MR. ZELLERS) Okay.                            11       A I provided her with the data abstraction
    12      A Yes.                                              12   table that had information about each of the
    13      Q Doctor, I just wanted to know your                13   included studies.
    14   definition of "regular use."                           14       Q The data abstraction table that you
    15      A I -- I -- I have spent considerable time          15   prepared; is that right?
    16   both writing my definition and applying it to --       16       A Yes.
    17      Q What --                                           17       Q What specifically did Dr. Hall do to
    18      A -- the papers.                                    18   assist you?
    19      Q -- what page --                                   19       A She did two things. She personally
    20          MS. O'DELL: Excuse me, sir. If you were         20   reabstracted data from all of the publications.
    21   asking for the page, she can direct you to the page    21   Most of those publications she found on her own.
    22   --                                                     22   But for a couple, she was not able to find them, and
    23      Q (BY MR. ZELLERS) What page --                     23   I provided electronic versions of them.
    24      A So --                                             24          And then she statistically combined and
    25          MS. O'DELL: Doctor --                           25   compared the study to assess for heterogeneity to
                                                                               41 (Pages 158 to 161)
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                                  Rebecca Smith-Bindman, M.D.
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     1   calculate forest plots and summary-weighted             1       A I would not do it in that order. I -- I
     2   estimates.                                              2   generated the research questions first.
     3       Q What could Dr. Hall do with respect to            3       Q (BY MR. ZELLERS) You generated the
     4   your analysis that you could not?                       4   research questions after doing the initial
     5       A I did not know how to use the software to         5   literature review you told us about this morning,
     6   generate the graphs. And I thought that by the time     6   correct?
     7   I learned how to use that software, it would be a       7       A I --
     8   lot more efficient for her to generate them.            8          MS. O'DELL: Object to the form.
     9       Q What did you do to check Dr. Hall's work          9       A -- yes.
    10   to make sure it was accurate?                          10       Q (BY MR. ZELLERS) All right. You
    11       A Dr. Hall sent me back my data abstraction        11   identified ten studies that discuss what you define
    12   database where she had double-checked all of my        12   as "regular talc powder product use and risk of
    13   numbers and sent -- I think there were several data    13   ovarian cancer," and those are what you list on a
    14   points where she had questions about either whether    14   page 33 of your report; is that right?
    15   I abstracted the right number or put it in the right   15       A That's close to correct. I would include
    16   category.                                              16   in that another study, the Terry study, which is a
    17          And of all of the items that she had            17   large study that pulls data from a bunch of other
    18   suggestions -- I think it was a small number -- I      18   component studies -- you can see on the top of
    19   went back to the original article to -- to confirm     19   page 34 -- whether or not Terry was included or
    20   or refute whether I agreed with her changes or not.    20   excluded. The results were basically identical.
    21   Sort of a way to -- by consensus to decide what the    21       Q I'm just looking at your report. Your
    22   right answer was. That was part of what I did. I       22   report, on page 33, in Figure 2, you identify ten
    23   --                                                     23   studies that discuss what you define as "regular
    24       Q How -- did you finish?                           24   talc powder product use and risk of ovarian cancer,"
    25       A -- no.                                           25   correct?
                                                Page 163                                                    Page 165
     1       Q All right. Well, finish.                          1          MS. O'DELL: Object to the form.
     2       A She also generated -- she -- we went back         2      A So that -- that paragraph is continued on
     3   and forth. She had a bunch of questions.                3   page 34, the next page at the top which says, The
     4          But she also generated summary estimates.        4   primary analysis of this excluded Terry, but the
     5   And there were a bunch of categories that I asked       5   results were nearly identical if Terry was included.
     6   her to do. Some of those summary estimates, to me,      6      Q (BY MR. ZELLERS) You could have included
     7   seemed like they didn't totally make essence.           7   Terry as part of Figure 2, and that would have been
     8          So one analysis used seven studies and one       8   an 11th study; is that right?
     9   used nine, but it had the same final odds ratio out     9      A Yes, that's correct.
    10   to three digits. And it should have been the same      10      Q Why did you not include Terry in your
    11   result perhaps, but not out to three digits.           11   analysis and -- in Figure 2?
    12          So I went through those and sort of said:       12      A Terry included, within its -- within her
    13   Look, can you redouble-check this to make sure that    13   assembled papers, other patients that are already
    14   the weighting was correct?                             14   included in Figure 2.
    15          And in one or two cases she came back and       15          And including Terry would have listed --
    16   said: No, the weighting was not correct.               16   would have weighted some patients more than once.
    17          So I rechecked every graph and every            17      Q Is there, to your knowledge, any
    18   number that she generated.                             18   duplication or overlap in the patients for the ten
    19       Q Ultimately, you identified -- let me             19   studies that you list in Figure 2 on page 33 of your
    20   withdraw that.                                         20   report?
    21          You reviewed the studies; you did your          21      A To the degree that I could eliminate
    22   data abstraction; and you formulated your research     22   overlap, I did.
    23   question or questions for the systematic review,       23      Q Is there overlap in some of the patients
    24   correct?                                               24   and some of the studies?
    25          MS. O'DELL: Object to the form.                 25      A I would have to look at it again to remind

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                                  Rebecca Smith-Bindman, M.D.
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     1   myself if there is any overlap. I -- I don't            1       A I -- I would not -- the individual studies
     2   believe there is.                                       2   are shown with the confidence interval around those
     3           And any overlap, I made every effort to         3   point estimates.
     4   get rid of. I would have to look at those papers a      4           One way to establish statistical
     5   little bit more closely to remember if there was any    5   significance is -- is that statistically different
     6   overlap.                                                6   within an individual study than one.
     7           I -- I know there was a lot of overlap if       7           But I don't believe that only two of these
     8   I included Terry, which is why that was an important    8   show statistical significance as a group of studies.
     9   exclusion.                                              9   So if you're asking if two don't overlap one, then I
    10        Q How did you identify these ten studies          10   would agree with you. If you're asking if these
    11   that you list in Figure 2?                             11   together show statistical --
    12        A So I -- I did not identify those studies.       12       Q (BY MR. ZELLERS) I'm going to ask you --
    13   That was what -- Dr. Hall used the data that I         13           MS. O'DELL: Excuse me. Sorry. Let her
    14   provided -- to identify which studies had the -- the   14   finish. Sorry.
    15   appropriate data to look at -- look at this.           15       Q (BY MR. ZELLERS) Did you finish?
    16        Q How did Dr. Hall identify these ten             16       A I -- I'm trying to understand if you're
    17   studies as being the ones to include in Figure 2?      17   asking me if the original studies here show -- or
    18        A These were the studies that had data on         18   if -- just each line by itself.
    19   daily talc powder -- powder products.                  19       Q If we go line by line for these ten
    20        Q You only used subsets of data from these        20   studies, only two of these ten studies demonstrate
    21   ten studies -- those ten studies listed in             21   statistical significance; is that right?
    22   Figure 2 -- to reach your conclusions, correct?        22       A Yes.
    23           MS. O'DELL: Object to the form.                23       Q Yet you conclude by looking at all ten of
    24        A I don't remember offhand if I used all of       24   the studies that there is statistical significance;
    25   the data from these studies or subsets of data from    25   is that right?
                                                 Page 167                                                   Page 169
     1   these studies to reach my conclusion.                   1       A So the way you're asking the question
     2           There were only data from these ten             2   suggests that when you're combining studies in a
     3   studies included in this figure, but I'm not sure if    3   systematic review, you care about the initial sample
     4   I used all of the data from those studies or            4   size of the question.
     5   subsets, as you asked.                                  5          And so I conclude taken as a group of
     6      Q (BY MR. ZELLERS) Would you agree that only         6   studies, the individual sample size or power of the
     7   two of the ten studies in Figure 2 demonstrates         7   individual associations is not sufficient to come up
     8   statistical significance?                               8   with a narrow confidence interval.
     9      A I would agree that taken altogether, these         9          And the width of the confidence interval
    10   studies show statistical significance. But I think     10   suggests that while the point estimate is greater
    11   you're asking if they weren't taken together, if the   11   than one, the confidence interval overlaps one,
    12   original studies were used, would those individual     12   meaning you can't be sure if it's significantly
    13   studies show statistical significance? Is that what    13   significant.
    14   you are asking?                                        14          But the purpose of the systematic review
    15      Q No. You have listed out ten studies in            15   is to combine those studies together. So combining
    16   Figure 2; is that correct?                             16   them together gives a very powerful, positive
    17      A Yes.                                              17   estimate that's very different than one.
    18      Q You are not aware whether you used all of         18       Q Okay.
    19   data from those studies for your systematic review     19          MR. ZELLERS: Move to strike as
    20   and analysis or subsets of the data, correct?          20   nonresponsive.
    21           MS. O'DELL: Object to the form.                21       Q (BY MR. ZELLERS) My question is: When you
    22      A Yes, that is correct.                             22   looked at the ten studies together, you determined
    23      Q (BY MR. ZELLERS) Would you agree that only        23   that there was statistical significance; is that
    24   two of the ten studies in Figure 2 demonstrate         24   right?
    25   statistical significance?                              25       A Yes.

                                                                               43 (Pages 166 to 169)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 170                                                    Page 172
     1        Q How did you make that calculation? How           1   interval around the odds ratio for each of these ten
     2   did you calculate statistical significance from         2   studies?
     3   those ten studies?                                      3          MS. O'DELL: Object to the form.
     4           MS. O'DELL: Object to the form. I               4       A So most of the studies, if not all of
     5   believe she has already answered that, but you may      5   those, would have had published adjusted odds ratios
     6   describe that again, Doctor.                            6   in the original calculations.
     7        A So the software that was used, is that           7          I believe one of the studies, the Gertig,
     8   what you are asking?                                    8   was an adjusted risk ratio, not an odds ratio, which
     9        Q (BY MR. ZELLERS) I want to know how it is        9   had a bit of back-and-forth discussion with the
    10   that you calculated that these ten studies -- eight    10   biostatistician.
    11   of which did not demonstrate statistical               11          And we decided they were essentially
    12   significance when they were looked at together --      12   equivalent. But the other ones would have been
    13   were statistically significant?                        13   extracted from the initial studies.
    14        A So I need to provide you with just a            14       Q The confidence intervals for the ten
    15   little background on the field of systematic reviews   15   studies on -- in Figure 2, page 33 of your report
    16   to answer that question.                               16   came from the studies themselves?
    17        Q All right. Well, try to be as direct as         17       A Yes.
    18   you can, because I have only got a certain amount of   18       Q Were there any other selection criteria
    19   time.                                                  19   that you used to identify these ten studies, other
    20           Are you able to answer the question?           20   than what you have testified to?
    21        A Absolutely.                                     21       A No.
    22        Q Then please tell us how you calculated          22       Q Of the 43 or so studies that had primary
    23   statistical significance for the RE model.             23   data, are these the only studies, other than Terry,
    24        A So we looked at adjusted odds ratios of         24   that discuss regular use of talc?
    25   each of the studies. We weighted them based on the     25       A So I am just looking for where my fullest
                                                Page 171                                                    Page 173
     1   standard errors for each of them and calculated sort    1   of studies is in the report. I think it's pages 23
     2   of an overlying association when basically the size     2   and 24.
     3   of each study, the point estimate of each study were    3           The fullest of studies that I looked at
     4   taken into consideration.                               4   included -- I think there were seven systematic
     5           So taking them altogether, it allows the        5   reviews. So the systematic reviews did not
     6   summary estimate, if you look, to have a much           6   contribute to the -- they were not eligible for --
     7   narrower confidence interval than the individual        7   for -- for my own review because they didn't have
     8   study.                                                  8   primary data, and they would overlap.
     9           So you use the weight of all the studies        9           And the same thing with -- well, the
    10   to combine the -- to give you a summary estimate.      10   Terry, we know about. So it was only the other
    11       Q Where can I see the weighting and the            11   studies that were eligible.
    12   calculation that you did to come up with the           12       Q These ten studies that you list in
    13   statistically significant number?                      13   Figure 2 are the only studies that you reviewed that
    14       A So the -- the name of the software we used       14   discuss regular use of talc, and that's why you
    15   was in Metafor package in R. "R" is a program.         15   included them here; is that right?
    16           The data set that I provided to you of the     16           MS. O'DELL: Object to the form.
    17   extracted database, if you put those numbers -- if     17       A No, that's -- that's not what I said.
    18   anyone puts those numbers in the Metafor package in    18           The systematic reviews I read and had
    19   R and instructs the software that you want to apply    19   data, many of them, on regular use of talc.
    20   a -- linear mixed models to study that data set, you   20           But those were not included in my
    21   will get the exact same estimate that I got.           21   systematic review because that would have had
    22       Q And I will be able to see that from the          22   overlap of -- of -- of patients. So they were not
    23   documents that you have produced; is that right?       23   included because it overlapped patients.
    24       A Absolutely.                                      24       Q (BY MR. ZELLERS) Which studies were those
    25       Q How did you calculate the confidence             25   seven?

                                                                               44 (Pages 170 to 173)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 174                                                    Page 176
     1       A So they're listed on page 23 as systematic        1        Q (BY MR. ZELLERS) If you turn to --
     2   reviews. So Penninkilampi and Berge and the IARC        2           MS. O'DELL: I'll take that.
     3   and Langseth and Huncharek and Gross and Harlow.        3        Q (BY MR. ZELLERS) -- turn to Table 2 on
     4          The reason Terry was pulled out from that        4   page 353, the bottom table -- at the bottom of the
     5   to possibly include was because Terry provided new      5   table.
     6   data points that weren't included in the component      6        A Yes.
     7   studies, and so I wanted to make sure not to miss       7        Q Do you see data with respect to "frequency
     8   those patients.                                         8   of use per month"?
     9          But these other systematic reviews were          9        A Yes.
    10   all covered in the other primary studies that I        10        Q That's the type of study and the type of
    11   included.                                              11   information that you did include in your systematic
    12       Q Why did you not include the Cramer study,        12   review; is that right?
    13   1999?                                                  13        A Yes.
    14       A Cramer was one of the authors that had a         14        Q Is it fair to say that as you sit here
    15   lot of patients that kept appearing in subsequent      15   today, you just don't remember why you did not
    16   publications. So he published the same patients        16   include Cramer 1999?
    17   more than once, so --                                  17           MS. O'DELL: Object to the form.
    18       Q What analysis did you do to determine that       18        A In looking at this, you have convinced me
    19   there was overlap between any of the patients          19   it's not because he doesn't have frequency of use,
    20   reported on by Cramer in 1999 and any of the ten       20   because there is frequency of use in here. I do not
    21   studies that you did choose to include?                21   know why it didn't make it into the final database.
    22       A I went through -- I think there's a              22           But I'm looking at my paper from Cramer
    23   separate page in my data fields that's just            23   from 2016, "The Association Between Talc Use and
    24   attributed to the Cramer studies -- and wrote down     24   Ovarian Cancer, a Retrospective Case-control Study."
    25   what years of enrollment the patients were.            25           He describes -- this is on page 334 of
                                                Page 175                                                    Page 177
     1          And to the best I could, I identified the        1   that other article -- that data came from three
     2   cohorts and then pulled them out to only identify       2   enrollment phases.
     3   all patients once, which -- which is the reason I       3          And my notes on the side say "minus Cramer
     4   hesitated to say there was no overlap.                  4   '99," suggesting -- I don't mind showing you my
     5          But I did my best to only include every          5   notes -- showing that there's overlap with Cramer
     6   patient once. And --                                    6   '99 --
     7       Q Okay.                                             7      Q Okay.
     8       A -- Cramer got his own worksheet because it        8      A -- so.
     9   was trickier to figure out.                             9      Q You -- do you believe that the reason you
    10       Q Cramer 1999 you did not include in your          10   did not include Cramer 1999 is because there was
    11   systematic review because you analyzed that paper      11   overlap with the patients included in Cramer 2016 or
    12   and the other studies and determined that there was    12   you're not sure?
    13   overlap; is that right?                                13      A Yes.
    14       A I didn't quite say that. I'm saying that         14          MS. O'DELL: Object to the form.
    15   I was very careful not to include overlap patients.    15      Q (BY MR. ZELLERS) Which one is it?
    16   I don't know why Cramer 1999 didn't make it into the   16          MS. O'DELL: Object to the form.
    17   review.                                                17      A I -- I do not know why it wasn't included,
    18       Q I --                                             18   but I believe there was overlap with 2016, is why it
    19       A I don't know if he didn't have regular use       19   was not included.
    20   of talc or -- I -- I -- you know, I would have to --   20      Q (BY MR. ZELLERS) You also did not include
    21   to figure out why it wasn't included.                  21   Rosenblatt 2011 in your systematic review; is that
    22       Q Well, take a look at the Cramer 1999             22   right?
    23   paper, which we'll mark as Exhibit 22.                 23      A Rosenblatt was included in the review.
    24          (Exhibit 22 was marked for identification       24   But on much -- it looks like it didn't make it into
    25   and is attached to the transcript.)                    25   the final graph or the final group of ten.

                                                                               45 (Pages 174 to 177)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 178                                                  Page 180
     1      Q Why did it not make it into the final              1      Q -- the difference in result?
     2   graph or group of ten?                                  2      A It -- it had no impact on the overall --
     3      A So I don't -- let me just say I don't              3      Q Was --
     4   remember why Rosenblatt was not included.               4      A -- results.
     5          I specifically asked the biostatistician         5      Q -- it exactly the same?
     6   to do the analysis with and without Rosenblatt, and     6      A It was within a decimal fraction of a
     7   I believe the reason was -- I believe is that -- the    7   percent the same.
     8   quality of Rosenblatt seems very poor, and I can't      8      Q Can you tell us what the result was with
     9   remember why.                                           9   Rosenblatt included?
    10          But I asked her to do the analysis with         10      A It was the same with and without
    11   and without Rosenblatt. I asked her to do, I think,    11   Rosenblatt included --
    12   four different analyses with and without Terry, with   12      Q Is --
    13   and without Rosenblatt.                                13      A -- within a hundredth of a percent.
    14          My recollection is it had no impact. But        14      Q Did you produce that calculation for us?
    15   I do not remember why I asked her with the quality     15      A Within the files that I shared, it is
    16   issue -- I would have to go back to my database to     16   included in the forest plot tables that Dr. Hall
    17   remember why I asked her to do it both ways.           17   generated.
    18      Q Rosenblatt contained information over --          18      Q Go to Figure 2, if you will, in your
    19   or strike that -- including a lifetime number of       19   report, page 33. Do you have that?
    20   applications and included information on more than     20          MS. O'DELL: If you need to see the -- the
    21   10,000 lifetime applications, correct?                 21   data that you produced, Doctor, the Excel
    22      A Yes.                                              22   spreadsheets --
    23      Q All right.                                        23      A Oh, that would be great.
    24      A Well, I -- I'm -- I'm looking for it.             24          MS. O'DELL: -- okay. And I -- I'm going
    25   Yeah, I'm guessing that --                             25   to hand you my computer. But it's --
                                                Page 179                                                  Page 181
     1       Q Here is a --                                      1      A Can I --
     2          MS. O'DELL: Don't -- don't. Excuse me --         2          MS. O'DELL: -- it's the data --
     3   yeah, don't guess. Just if you know.                    3      A -- this is what I shared with you.
     4       A -- I --                                           4          MS. O'DELL: -- and that's what she is
     5       Q (BY MR. ZELLERS) Exhibit 23 is Rosenblatt.        5   discussing.
     6       A I have got the paper.                             6      Q (BY MR. ZELLERS) Yeah. I have a question
     7          MS. O'DELL: Yeah. Feel free to take a            7   pending. If you can answer my -- if you need to
     8   moment. And if you need your original spreadsheets      8   look at your counsel's computer to answer my
     9   to answer any of these detailed questions, then we      9   question, you can.
    10   can pull those out for you --                          10          But my question is: Will you look at
    11       A Okay.                                            11   Figure 2 on page 33 of your report.
    12          MS. O'DELL: -- if counsel does not have a       12          MS. O'DELL: Just hang on. Just -- what
    13   copy for you.                                          13   I'm showing the doctor is data that -- the tables
    14       Q (BY MR. ZELLERS) Just for the record,            14   that she has been discussing, but you have not
    15   Exhibit 23 is Rosenblatt.                              15   provided to her, which would be the fair way to
    16          (Exhibit 23 was marked for identification       16   examine here on them.
    17   and is attached to the transcript.)                    17          But this is the -- the information that
    18       Q (BY MR. ZELLERS) As you sit here, do you         18   was produced to Defendants for purposes of
    19   know what the difference in results were if            19   Dr. Smith-Bindman's, you know, deposition. So if
    20   Rosenblatt was included in your systematic review or   20   you need that, just -- you may refer to it.
    21   not?                                                   21      Q (BY MR. ZELLERS) Are you ready,
    22       A I -- I do.                                       22   Dr. Smith-Bindman?
    23          MS. O'DELL: Object to the form.                 23      A I'm close to ready, but not quite.
    24       Q (BY MR. ZELLERS) Okay. What is --                24      Q I -- I'm not sure what you are doing.
    25       A I do.                                            25          MS. O'DELL: Well, she is looking at the

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                                  Rebecca Smith-Bindman, M.D.
                                                Page 182                                                   Page 184
     1   calculation that you were just asking her about.       1          (Exhibit 24 was marked for identification
     2       Q (BY MR. ZELLERS) I have finished those           2   and is attached to the transcript.)
     3   questions. She has answered those questions. I'm       3       Q (BY MR. ZELLERS) Is this another e-mail
     4   asking a new question. Or I would like to.             4   exchange between you and Dr. Hall? Is that yes?
     5       A Okay. Thank you.                                 5       A I'm so sorry. I didn't hear your
     6          MS. O'DELL: You're welcome. If you need         6   question.
     7   to see any of the tables --                            7       Q Sure. My question is: Is this an e-mail
     8       A Okay.                                            8   exchange between you and Dr. Hall?
     9          MS. O'DELL: -- Doctor, I have all that          9       A Yes.
    10   has been produced right here.                         10       Q If you look at the e-mail at the bottom of
    11       A Fantastic.                                      11   the second-to-last page, Dr. Hall writes you on
    12       Q (BY MR. ZELLERS) Okay.                          12   Monday, September 24, 2018, at 11:42, and tells you
    13   Dr. Smith-Bindman -- Bindman, looking at Figure 2,    13   that she is encountering obstacles; is that right?
    14   looking at the confidence intervals that you have     14          And I'm sorry. It's the third-to-last
    15   listed for each of those ten studies, are you aware   15   page is where that e-mail starts.
    16   that not one of those confidence intervals for any    16       A I see what you are saying. She has a note
    17   of the ten studies are actually listed in or come     17   at the bottom of the page.
    18   from the study publications?                          18       Q She tells you she's encountering
    19          MS. O'DELL: Object to the form.                19   obstacles?
    20       A I am not aware of that.                         20       A Yes.
    21       Q (BY MR. ZELLERS) In fact, did you               21       Q She asks you a number of questions?
    22   recalculate the confidence interval for each of       22       A Yes.
    23   these studies?                                        23       Q No. 1 is that there's missing proportion
    24       A The confidence intervals and the point          24   information and the data is missing.
    25   estimate are adjusted confidence intervals and odds   25          If you go down to 1B, she says, Where the
                                                Page 183                                                   Page 185
     1   ratios, so you -- you can't recalculate them from      1   raw numbers are not available, I would do my best to
     2   the data in the paper.                                 2   estimate unless you have access to them and can send
     3       Q My -- my question is: Who calculated             3   them to me.
     4   these confidence intervals that appear in Figure 2?    4          How did you respond to that question?
     5   Did you calculate those confidence intervals?          5       A Can't we see what my answers were?
     6       A To the best of my knowledge, these               6       Q Sure. Where are you answers? If you, in
     7   confidence intervals came from the primary             7   any of the documents that have been produced, can
     8   publications.                                          8   show us how you answered these questions, that would
     9       Q And -- and I will represent to you that I        9   be helpful.
    10   have looked at all of the primary publications and    10          MS. O'DELL: Object to the form.
    11   the confidence intervals that you have listed in      11       A I would like to just clarify something in
    12   Figure 2. None of those confidence intervals come     12   her request, which is she is not asking me in this
    13   from the publication.                                 13   case for an estimate of the odds ratios or the
    14          So do you have any idea as to how these        14   confidence intervals, even although though it seems
    15   confidence intervals were calculated?                 15   like she is.
    16          MS. O'DELL: If there's --                      16          What she is asking for is an estimate of
    17       A You would have to show me --                    17   the sample size in terms of the N of cases and N of
    18          MS. O'DELL: Yes.                               18   controls that can be used for weighting those
    19       A -- those -- those disagreements for me to       19   studies in generating the summary estimate.
    20   --                                                    20          So that's where she's trying to fill in
    21       Q (BY MR. ZELLERS) Well, let's --                 21   the blanks, not for the odds ratios or confidence
    22       A -- to know what we're looking at.               22   intervals, but to calculate -- calculate --
    23       Q -- let's -- I'll get to that in just a          23   calculate how -- how much weight it should be in the
    24   second. Let me show you a couple of documents.        24   summary statistic.
    25   Deposition Exhibit 24.                                25       Q (BY MR. ZELLERS) How did you respond to

                                                                              47 (Pages 182 to 185)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 186                                                   Page 188
     1   her first question where she advised you that there     1          MS. O'DELL: Object to the form.
     2   was missing proportion information and her proposal     2       A We discussed this at length, and she ended
     3   that "where the raw numbers are not available, I'll     3   up going with Option 3, using relative risk as an
     4   do my best to estimate, unless you have access to       4   underestimation of the odds ratios, but
     5   them and can send them to me"?                          5   approximately equal because of the rareness of the
     6          MS. O'DELL: Object to the form; asked and        6   disease.
     7   answered.                                               7       Q (BY MR. ZELLERS) So she adopted, at your
     8      A I did not have, other than going to the            8   suggestion, the option that she states,
     9   papers, any additional information to supplement.       9   understanding that relative risk may considerably
    10      Q (BY MR. ZELLERS) Okay. No. 2 --                   10   underestimate odds ratios; is that right?
    11          MS. O'DELL: Are you finished, Doctor?           11       A Yes, it is.
    12      A Say it again.                                     12       Q And you advised her -- for No. 3, how did
    13          MS. O'DELL: Are you finished?                   13   you advise her when she told you that she was unable
    14      A No.                                               14   to calculate the true -- or truly estimate for any
    15          MS. O'DELL: Okay.                               15   talc use and suggested that you consider pooling the
    16      A And so, again, she's not asking me about          16   results from rarely, monthly, weekly, and daily?
    17   the abstraction. She's asking me if a study            17          MS. O'DELL: Object to the form. Are you
    18   reported, for example, that there were a hundred       18   talking about No. 3? It's not clear.
    19   patients with serous carcinoma or if there were        19       A So the option that we did for that choice
    20   150 patients altogether, it reported the odds ratios   20   is actually neither Option 1 or Option 2.
    21   for serous carcinoma, but may not have specified in    21          The focus of the review that she completed
    22   the table how many cases of serous carcinoma there     22   was, in fact, on daily talc use. It's not different
    23   were, could she estimate that proportion when we had   23   than she suggested.
    24   the point estimate we needed.                          24          But she used the numbers that were
    25          We had the odds ratio we needed, but she        25   incorrectly categorized as any talc use instead to
                                                 Page 187                                                   Page 189
     1   needed to know how many serous cancers there were to    1   represent daily talc use, so that -- that data point
     2   weight it.                                              2   was moved for the daily talc use category.
     3          And I would have told her, when the raw          3       Q Let me show you the Chang paper. This is
     4   numbers for those missing proportions were not          4   one of the papers that you cite both in Figure 2 and
     5   available, to do her best to estimate those.            5   again on Figure 3; is that right?
     6       Q (BY MR. ZELLERS) Did you respond to this          6       A Yes.
     7   e-mail?                                                 7       Q All right. Here's the Chang paper which
     8       A I sent you all of the documents that I had        8   we have marked as Exhibit 25.
     9   for our correspondence.                                 9       A Oh.
    10       Q Okay.                                            10          (Exhibit 25 was marked for identification
    11       A I certainly could look again to see if I         11   and is attached to the transcript.)
    12   have an answer to this. Or it could be that we         12       Q (BY MR. ZELLERS) Do you have that in front
    13   discussed the answers on the telephone.                13   of you?
    14       Q No. 2 --                                         14       A I do.
    15       A Let me just see if we have -- if it says.        15       Q Okay. Show us -- you see in Figure 2,
    16   I think we spoke on the telephone.                     16   that Chang is listed twice, and it has a confidence
    17       Q Do you have any notes of that telephone          17   interval of .51 to 1.39.
    18   conversation?                                          18          Do you see that?
    19       A No, I don't.                                     19       A You said it's listed twice?
    20       Q All right. No. 2, when she told you that         20       Q I'm sorry. It was -- it's listed in
    21   she was unable to calculate the associated             21   Figure 2 and then you list it again in Figure 3; is
    22   95 percent confidence intervals without the            22   that right?
    23   variants, which is not reported and she gave you       23       A Yes.
    24   three options, which option did you tell her to        24       Q All right. The first question is: Where
    25   follow, if any?                                        25   in the Chang publication do you get a confidence

                                                                              48 (Pages 186 to 189)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 190                                                    Page 192
     1   interval of .51 to 1.39?                                1   notes here, but I believe what I did for Chang is
     2       A Hum? So the point estimate that I                 2   that Chang's numbers are included in the Terry
     3   think -- I need to look at the paper a little more      3   report where she used the data that were published,
     4   closely.                                                4   as well as the supplemental data that were provided
     5           So the number I see in this paper is            5   by Chang.
     6   instead of being .51 to 1.39 is .61 to 1.49 is about    6          And within the supplemental data, Terry
     7   ten points higher.                                      7   did a stratified analysis that provided additional
     8       Q All right. You don't know where, for              8   information on serous cancer that was not actually
     9   Figure 2, the confidence interval of .51 to 1.39        9   in the original Chang report.
    10   came from, correct?                                    10          And those are the data that made it into
    11       A I -- I do not. It's so close to the              11   what is under Chang in this systematic review.
    12   publication -- the publication that I'm not sure if    12       Q (BY MR. ZELLERS) Okay.
    13   it reflects a data abstraction error or if it was --   13       A So they're data from Chang's work and
    14   I think that's probably what it -- what it does, but   14   following Chang's methods. They happen not to be
    15   I'm not sure.                                          15   published in Chang's original report, but rather
    16       Q The Chang paper involved 450 patients with       16   included in the Terry report from -- from 2013.
    17   borderline and invasive ovarian carcinoma; is that     17          And Terry -- the paper that I am talking
    18   right?                                                 18   about for Terry is genital powder use and risk of
    19       A Say it one more time for me.                     19   ovarian cancer, a pooled analysis of 8,500 cases and
    20       Q Sure. The Chang paper --                         20   ninety-eight hundred fifty-nine controls.
    21       A Yeah.                                            21          And then within that describes within the
    22       Q -- Exhibit 25, involved a total of               22   methods, getting extra data for studies describing
    23   450 patients with borderline and invasive ovarian      23   the regular use and then breaking down the results
    24   carcinoma; is that right?                              24   into whether or not it was invasive borderline,
    25       A Yes.                                             25   invasive serous, and so forth --
                                                Page 191                                                    Page 193
     1      Q You used or Dr. Hall used, in your                 1       Q So --
     2   analysis, only 41 of those 450 patients because         2       A -- so that's where those numbers came
     3   those are the only ones that had greater than           3   from.
     4   25 times of use per month, correct?                     4       Q You believe that if I looked at the Terry
     5      A So I would need to look at my datasheet to         5   paper, I would be able to tell of these 41 cases
     6   know how many made it into the analysis, but I          6   that have greater than 25 uses per month, which of
     7   believe you're correct, that there were                 7   those cases involved invasive serous ovarian cancer,
     8   approximately 10 percent that were frequent users.      8   correct?
     9      Q How did you determine, just looking at the         9          MS. O'DELL: Object to the form.
    10   Chang paper, how many of those 41 had invasive         10       A I believe the -- I believe the number of
    11   serous ovarian cancer?                                 11   cases is specified in the Terry paper that I would
    12         MS. O'DELL: If you need to look at your          12   have to look at to find that -- that number.
    13   datasheets --                                          13       Q (BY MR. ZELLERS) All right. Let me ask
    14      A Please.                                           14   you a few questions.
    15         MS. O'DELL: Which --                             15       A Yes.
    16      A That would be great.                              16       Q In the Chang paper --
    17         MS. O'DELL: -- which data -- tell -- data        17       A Yes.
    18   summary, is that what --                               18       Q -- the authors do not define "regular use"
    19      A Yeah --                                           19   as daily, do they?
    20         MS. O'DELL: -- you are --                        20       A What Chang says in the original
    21      A -- that should be it.                             21   publication is questions about regular talc use and
    22         MS. O'DELL: Okay. This is both --                22   type of talc use, as well as duration and frequency
    23   both -- both of the spreadsheets are there, so just    23   could be derived or included; dusting or powdering
    24   --                                                     24   behavior considered improved regular application of
    25      A Okay. So I don't have all of my detailed          25   talc to the perineum after showering or bathing and
                                                                              49 (Pages 190 to 193)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 194                                                    Page 196
     1   dusting.                                                1   of invasive besides just serous.
     2          And then that was categorized, I believe         2       Q Do you know that?
     3   by Terry, as regular use when she got supplemental      3       A I -- I don't think they specify what's
     4   data.                                                   4   included in that. I have to add up the total to see
     5       Q Okay. In the Chang paper, the authors do          5   if they are overlapping or not overlapping.
     6   not define "regular use" as daily use, correct?         6          Could you add -- could you add that for
     7          MS. O'DELL: Object to the form; asked and        7   me? Actually, the total should be -- they're
     8   answered.                                               8   overlapping. 360, 460. Yeah, they're overlapping.
     9       A The Chang paper explicitly says "regular          9   Yeah.
    10   use." In the original publication, they don't          10       Q What do you mean, "they're overlapping"?
    11   define it.                                             11       A Invasive and borderline should add up to
    12       Q (BY MR. ZELLERS) They do not include             12   the total.
    13   information in the Chang paper about how many times    13          And then serous mucin -- mucinous and
    14   per week women used talcum powder, correct?            14   endometrioid should add up to the total, except to
    15          MS. O'DELL: Object to the form.                 15   the degree that they are missing information.
    16       A In -- in Table 2 of Chang, they define it        16       Q Looking at the questions that Dr. Hall
    17   as less than ten, ten to 25, or greater than 25        17   asked you --
    18   times per week.                                        18       A Yes.
    19       Q (BY MR. ZELLERS) Where do you see that?          19       Q -- in Exhibit 24, you would agree that
    20       A In Chang?                                        20   there were number of assumptions that you and she
    21       Q Yes. I'm looking at the same table, and I        21   made in order to complete your systematic review; is
    22   think it's per month.                                  22   that right?
    23       A Per month.                                       23       A Absolutely.
    24       Q Okay. And that's the only data that's            24       Q Is there anywhere that you have written
    25   provided with respect to use is the number of          25   down, you know, what the assumptions were that you
                                                Page 195                                                    Page 197
     1   monthly applications, correct?                          1   and Dr. Hall arrived at, at least in part in
     2      A Yes.                                               2   response to her questions?
     3      Q The authors of Chang did not arrive at a           3      A So for some of the issues, it took me
     4   specific odds ratio for serous invasive cancer based    4   quite a bit of remembering to remember that we used
     5   on frequency of use, correct?                           5   some of the extracted data from more than one
     6      A The Chang data was used by Terry to                6   source.
     7   calculate frequency of use for serous and invasive      7          We have notes in our data form of what the
     8   by supplementing the original data that they had        8   source of the data was, so it would say in some of
     9   from additional data from Chang as a participant in     9   the data I said -- under Chang, it would say "in a
    10   the OCAC consortium.                                   10   column from Terry."
    11          So additional data from that study was          11      Q My question --
    12   shared with Terry, which is what we used in our        12      A So that -- that -- so to answer the
    13   analysis.                                              13   assumption of where the data came from, it's in my
    14      Q If we look at Chang in Table 3, they              14   data spreadsheet. I just -- I just didn't remember
    15   describe a histologic type of invasive; is that        15   that we pulled data.
    16   right, in Table 3, page 2399?                          16      Q My -- my question is a little different I
    17      A Yes.                                              17   --
    18      Q They also describe serous; is that right?         18      A Okay.
    19      A Yes.                                              19      Q -- think. In terms of all of the
    20      Q In the Chang data, what's the difference          20   questions that Dr. Hall asked you and all of the
    21   between invasive and serous?                           21   assumptions that would need to be made so that
    22      A I'm -- I'm sorry. In lot -- in Table 3            22   estimates could be arrived at, do you have either
    23   you're asking what those different entries mean?       23   your protocol or a listing of the assumptions that
    24      Q Yes.                                              24   were made by you and by Dr. Hall in -- at least in
    25      A "Invasive" presumably includes other types        25   part in response to the question she raised?
                                                                              50 (Pages 194 to 197)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 198                                                    Page 200
     1          MS. O'DELL: Objection, asked and                 1   confidence interval for the -- let's say the Chang
     2   answered. Respond.                                      2   data that you list in Figure 3?
     3       A I am under the impression that they're            3      A I'm going to have to look into the exact
     4   documented within our e-mail exchanges, but I do not    4   calculation of the confidence interval.
     5   have a protocol with each of these decisions that       5          The question that you asked me about Chang
     6   are laid out.                                           6   for the first table is very close to the one that's
     7       Q (BY MR. ZELLERS) I -- my best source would        7   published -- so close -- that I'm not sure how it
     8   be the e-mail exchanges that you had with Dr. Hall,     8   would be different.
     9   correct?                                                9          I don't -- I thought these were abstracted
    10          MS. O'DELL: Object to the form.                 10   from the paper. And I would have to go back and
    11       Q (BY MR. ZELLERS) Is that right?                  11   talk to Dr. Hall about how they were calculated.
    12       A Yes.                                             12          I thought they were calculated, but I -- I
    13       Q Okay. Once you did your ten studies that         13   may be -- I may be wrong. They may have been in
    14   are in Figure 2 -- and those were just the --          14   some way reestimated.
    15   the studies that you chose to include, as you have     15          So again, similar with this, these numbers
    16   told us, showing odds of ovarian cancer associated     16   are close to the ones that are in this paper, but
    17   with regular use of talcum powder -- you further       17   are slightly off, and I'm not sure why.
    18   refined the studies or narrowed down the studies to    18          So I would have to go back to the data
    19   four which you state plot or who the odds of ovarian   19   that I abstracted and then the data that she sent me
    20   cancer associated with regular use of talcum powder    20   back for the final tables to see why they were
    21   and invasive serous cancer; is that right?             21   different.
    22          MS. O'DELL: Object to the form.                 22      Q Okay.
    23       A With the caveat that when -- when I laid         23      A But they're -- they're different to a --
    24   out our stratified analysis on page 32, it says, My    24   such a slight degree that -- and I'm not really sure
    25   review focused on invasive serous cancer where         25   where that difference came from.
                                                Page 199                                                    Page 201
     1   possible, but also included all invasive cancer.        1       Q Were there any other analyses that you or
     2       Q (BY MR. ZELLERS) What did you do to get           2   Dr. Hall con -- conducted that are not included in
     3   from the ten studies that you list in Figure 2 to       3   your report?
     4   the four studies that you list in Figure 3?             4       A I had asked Dr. Hall, I believe, to look
     5       A Figure 2 is ovarian cancer with regular           5   at -- at several analyses that are all in the data
     6   use, and Figure 3 is invasive serous cancer.            6   that I shared with you.
     7          If there was not invasive serous but there       7           The sensitivity analysis for Terry and the
     8   was just invasive, they also might be in this. I        8   sensitivity analysis for the Rosen [sic] study are
     9   would have to review these four studies to know if      9   in the data I sent you, but are not summarized in
    10   it was invasive or invasive serous.                    10   the report.
    11       Q Do you know, as you sit here, what you did       11           MS. O'DELL: And by "the data," you're
    12   to go from the ten studies in Figure 2 to the four     12   talking about the spreadsheets --
    13   studies in Figure 3?                                   13       A Yes.
    14          MS. O'DELL: Object to the form.                 14           MS. O'DELL: -- that you provided?
    15       A In the data set that I sent to you and           15       A Yes. There -- there are more analyses
    16   sent to Dr. Hall, they would -- there were different   16   that were done that you haven't seen. But they --
    17   sets of complete data. And the Figure 3 had data       17   they were analysis for four analyses.
    18   for invasive or invasive serous cancer; whereas,       18           I just see two here. So I -- there were
    19   Figure 2 had -- included invasive and noninvasive.     19   two others. I think it was including Terry and
    20          So it would just be where there were data       20   including Rosenblatt, I think, are the other two.
    21   available in the data worksheet. I -- I was not        21           But you have all of the -- there were no
    22   involved in making the selection to go from one to     22   other analyses except those four that she completed.
    23   the other. It was just where there were data that      23           MS. O'DELL: Excuse me, Mike. I'm sorry.
    24   were abstracted from the papers.                       24   We're right at 3:00 p.m. When you get to a stopping
    25       Q (BY MR. ZELLERS) Where did you get the           25   point, can we take a break?
                                                                              51 (Pages 198 to 201)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 202                                                    Page 204
     1          MR. ZELLERS: All right. Let's stop.              1       Q The FDA, in 2014, reviewed the
     2   We're stopping for the day; is that right?              2   epidemiology and etiology findings relating to
     3          MS. O'DELL: Let's -- let me speak with           3   ovarian cancer and the genital application of talc;
     4   Dr. Smith-Bindman on the break and then I'll let you    4   is that right?
     5   know.                                                   5          MS. O'DELL: Object to the form.
     6          MR. ZELLERS: All right.                          6       A Yes.
     7          THE VIDEOGRAPHER: We're off the record at        7       Q (BY MR. ZELLERS) The FDA noted that
     8   2:59 p.m.                                               8   selection bias and/or uncontrolled confounding
     9          (A break was taken from 2:59 p.m. to             9   result in spurious positive associations between
    10   3:11 p.m.)                                             10   talc use and ovarian cancer; is that right?
    11          THE VIDEOGRAPHER: We are back on the            11          MS. O'DELL: Object to the form.
    12   record. This marks the beginning of Disc No. 4 in      12       A The FDA concluded that some of the studies
    13   the deposition of Dr. Rebecca Smith-Bindman. The       13   had biases. Yes, they did.
    14   time is 3:11 p.m.                                      14       Q (BY MR. ZELLERS) And if we look at No. 2,
    15       Q (BY MR. ZELLERS) Dr. Smith-Bindman, what         15   the FDA states, No single study has considered all
    16   methodology, if anything different, did you use to     16   the factors that potentially contribute to ovarian
    17   arrive at your opinion that there was a causal         17   cancer, including selection biased and/or
    18   association between genital talcum powder use and      18   uncontrolled confounding that result in spurious
    19   ovarian cancer?                                        19   positive associations between talc use and ovarian
    20       A I used the Bradford Hill criteria.               20   cancer risk.
    21       Q Are you familiar with the Bradford Hill          21          Is that right?
    22   criteria?                                              22       A That is what the FDA concluded.
    23       A I am. Yes, I am.                                 23       Q The FDA also noted that there was a lack
    24       Q You're familiar that over time the FDA has       24   of consistency in the study results; is that right?
    25   gone through and done various analyses with respect    25       A That is what the FDA concluded.
                                                Page 203                                                    Page 205
     1   to perineal talcum powder use and any association       1      Q And specifically the FDA concludes,
     2   with ovarian cancer; is that right?                     2   Results of case-control studies do not demonstrate a
     3          MS. O'DELL: Object to the form.                  3   consistent, positive association across studies; is
     4       A I -- I have seen some documents by the            4   that right?
     5   FDA.                                                    5          MS. O'DELL: I think it says something
     6       Q (BY MR. ZELLERS) And the FDA, back in             6   further than that.
     7   2014, did a review and analysis of the epidemiology     7      A Can I just add something? This -- the FDA
     8   at that time; is that right?                            8   did some review that I don't know the details of.
     9          MS. O'DELL: Object to the form.                  9   And this is their summary of that review, which I
    10       A Could you show me that document?                 10   don't know the details of, yes.
    11       Q (BY MR. ZELLERS) Sure. This is a document        11      Q (BY MR. ZELLERS) The FDA, at least in this
    12   that we'll mark as Exhibit 26.                         12   review, stated that dose response evidence is
    13          (Exhibit 26 was marked for identification       13   lacking; is that right?
    14   and is attached to the transcript.)                    14          And I am looking at the end of Point No. 3
    15       Q (BY MR. ZELLERS) It's a document from the        15   on page 4.
    16   FDA. It's got a date stamp at the top --               16      A That is what the FDA concluded.
    17          MS. O'DELL: Thank you.                          17      Q And looking at Point No. 4, the FDA found
    18       Q (BY MR. ZELLERS) -- April 1 of 2014.             18   that a cogent biological mechanism was lacking; is
    19          Is this one of the documents that you have      19   that right?
    20   reviewed in connection with your expert work in this   20      A That is what the FDA concluded.
    21   matter?                                                21      Q You have reviewed IARC; is that right?
    22       A Yes, it is.                                      22   And I think in your blue folder here you have
    23       Q Turn, if you will, to page 4 of that             23   included some IARC documents?
    24   document. Do you see that?                             24      A I have included IARC work reflecting
    25       A Yes.                                             25   analysis through 2006 and then more recently

                                                                              52 (Pages 202 to 205)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 206                                                    Page 208
     1   through -- through 2010, each published a few years    1   prove that something is safe is -- is next to
     2   after that.                                            2   impossible --
     3      Q IARC has gone through and addressed the           3       Q (BY MR. ZELLERS) Right.
     4   Bradford Hill considerations with respect to the       4       A -- and so that's why that category is
     5   classification of genital talc; is that right?         5   not -- is used. Category 3 and four can, for the
     6          MS. O'DELL: Object to the form.                 6   sake of discussion, be considered the same.
     7      A Can you remind me which analysis you're           7       Q And that's why there's no Group 5, not
     8   referring to?                                          8   carcinogenic; is that right?
     9      Q (BY MR. ZELLERS) Well, let's start with           9       A Yes.
    10   the classifications. Take a look at Exhibit 27, if    10       Q Correct? Now, with genital talc, IARC has
    11   you will.                                             11   determined that it is appropriately placed in the
    12          (Exhibit 27 was marked for identification      12   "to be" category; is that right?
    13   and is attached to the transcript.)                   13           MS. O'DELL: Object to the form.
    14      Q (BY MR. ZELLERS) Are these the IARC              14       A I -- I would take a slight pause to that
    15   classifications for its determination --              15   consideration. I think that in the first review
    16          MS. O'DELL: Thank you.                         16   when they have looked at platy talc, they consider
    17      Q (BY MR. ZELLERS) -- as to the                    17   it a "to be" possibly carcinogenic to humans.
    18   carcinogenicity -- carcinogenicity of different       18           Whereas, in the report looking at asbestos
    19   agents?                                               19   and fibrous talc, which also counts in the same
    20      A Yes.                                             20   category as asbestos, the -- that is in the category
    21      Q And you're generally familiar with these         21   that's a Group 1 carcinogenic to humans.
    22   classifications; is that right?                       22       Q (BY MR. ZELLERS) IARC has determined that
    23      A I am.                                            23   genital talc is a group to be possibly carcinogenic
    24      Q Group 1, these are the agents that IARC          24   to humans; is that right?
    25   has determined are carcinogenic to humans, correct?   25           MS. O'DELL: Object to the form.

                                                Page 207                                                    Page 209
     1      A Yes.                                              1   Misstates her testimony.
     2      Q And that's the only category in which IARC        2       A So in their initial review -- in their
     3   finds sufficient evidence in humans; is that right?    3   earlier review, they concluded that genital talc is
     4          MS. O'DELL: Object to the form.                 4   possibly carcinogenic to humans.
     5      A That's how they define that category.             5          In the more recent 2012, they discuss that
     6      Q (BY MR. ZELLERS) IARC puts 82 agents in           6   cosmetics are the primary sources of exposure to
     7   Group 2A probably carcinogenic to humans; is that      7   talc in the general population; that perineal
     8   right?                                                 8   application is the primary route and that fibrous
     9      A That is correct.                                  9   talc, which is part of talc, is actually Group 1
    10      Q So IARC has gone through and has evaluated       10   carcinogenic.
    11   many, many, many agents and has determined that       11       Q (BY MR. ZELLERS) All right. Show me the
    12   there are over 200 agents in both the Group 1         12   IARC designation of genital talc as a Group 1
    13   category and also the Group 2A category, correct?     13   carcinogenic.
    14      A Yes.                                             14          MS. O'DELL: Object to the form.
    15      Q There's only one agent in Group 4,               15       A Genital talc contains platy talc, as well
    16   probably not carcinogenic to humans; is that right?   16   as fibrous talc, as well as asbestiform contaminated
    17          MS. O'DELL: Object to the form.                17   talc, and they consider any fibrous talc to be a
    18      A Yes, that's correct.                             18   Group 1 carcinogen.
    19      Q (BY MR. ZELLERS) So out of the over a            19       Q (BY MR. ZELLERS) Show me where the
    20   thousand agents that IARC has reviewed, it's only     20   perineal application of genital talc has been
    21   placed one agent in Group 4 probably not              21   determined by IARC to be a Group 1 carcinogen.
    22   carcinogenic; is that right?                          22          MS. O'DELL: Object to the form. Would
    23          MS. O'DELL: Object to the form.                23   you like to see the IARC?
    24      A To be considered by IARC, there has to be        24       A Can you show me the IARC report?
    25   data to suggest there's some potential harm. And to   25       Q (BY MR. ZELLERS) No. I would like you --
                                                                              53 (Pages 206 to 209)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 210                                                   Page 212
     1   you're the one who is testifying.                       1       A So this is the monograph -- the
     2       A I just don't have the document in front of        2   monograph -- the IARC monograph on the evaluation of
     3   me. How would you like me to show it to you?            3   carcinogenic risks -- arsenic metals, fibrous and
     4       Q I -- I would like you to show me where            4   dust, volume 100C. So --
     5   genital talc has been found by IARC to be a Group 1     5       Q I'm looking for perineal talc.
     6   carcinogen.                                             6       A No. No. I know. I understand.
     7          MS. O'DELL: Object to the form. So was           7       Q Okay.
     8   that not -- excuse me, Doctor. Is that not              8       A I'm just telling you where I'm -- I'm
     9   something you're going to put in front of her?          9   going to be pulling this from. And I'm looking at
    10       Q (BY MR. ZELLERS) I -- I have my                  10   the section under "Asbestos." And under the Pier --
    11   information. And my IARC review says that they have    11   the -- the section under "Asbestos, it talks, under
    12   classified genital talc as a group to be possibly      12   1.C --
    13   carcinogenic to humans.                                13       Q What page?
    14       A Do you have the 2012 --                          14       A -- 230. And I will read several sections
    15          MS. O'DELL: Yes. Let me just get it for         15   of it. This section says, Talc particles are
    16   you, Doctor. Give me a moment to see what number it    16   normally plate-like. These particles are viewed on
    17   is in your references.                                 17   edge under the microscope.
    18       Q (BY MR. ZELLERS) As your counsel is              18          THE COURT REPORTER: I have to have you
    19   looking for that document, can we agree that the "to   19   slow down when you read.
    20   be" designation with IARC is based on limited          20       A I'm so sorry. May appear to be fibers.
    21   evidence in humans, which means IARC cannot rule out   21   Talc may also form true mineral fibers that are
    22   chance, bias, or confounding with reasonable           22   asbestiform in habit.
    23   confidence?                                            23          In some talc deposits, tremolite,
    24       A In their original assessment of talc in          24   anthophyllite, and actinolite may occur. Talc
    25   2010 where they classified it as to be, the "to be"    25   containing asbestiform fibers is a term that has

                                                 Page 211                                                   Page 213
     1   designation means that it's possibly carcinogenic,      1   been used inconsistently.
     2   which is a very high bar for them to put them in        2          I'm -- I'm just seeing where the --
     3   that category, but could also be due to chance.         3      Q (BY MR. ZELLERS) That's okay. And I am
     4       Q Okay. Also, in class "to be" as possibly          4   looking for the statement or the finding that
     5   carcinogenic is ginkgo biloba; is that right?           5   genital talc -- cosmetic genital talc has been
     6       A I -- I have no idea.                              6   determined by IARC to be a Group 1 carcinogen.
     7       Q Occupational carpentry and joinery; is            7      A So I'm in the section --
     8   that right?                                             8          MS. O'DELL: Object to the form.
     9       A I -- I -- I have no idea.                         9      A -- on the talc and asbestiform talc. And
    10       Q Pickled --                                       10   under 1.65, "Human Exposure," under "A," it says,
    11       A I --                                             11   Exposure of the general population: Consumer
    12       Q -- vegetables?                                   12   products, cosmetics, pharmaceuticals are the primary
    13       A -- I think pickled vegetables are pretty         13   source of exposure to talc for the general
    14   carcinogenic, but I -- I don't know what IARC thinks   14   population. Inhalation and dermal contact through
    15   of them.                                               15   perineal application are the primary routes of
    16       Q Do you believe that the standard for             16   exposure.
    17   prove -- proving causation in the scientific           17      Q (BY MR. ZELLERS) Where does IARC conclude
    18   literature is the same as the one that applies in      18   that perineal talc use, cosmetic talc, is a Group 1
    19   litigation?                                            19   carcinogen?
    20       A Yes, I do.                                       20          MS. O'DELL: Object to the form.
    21       Q Do you want to show me what your counsel         21      A As late as 1973, talc products contained
    22   has provided you?                                      22   detectable levels of chrysotile asbestos, tremolite,
    23       A Yes.                                             23   or anthophyllite role. And it's possible they
    24       Q And I am looking for the finding that IARC       24   remained on the market in some places for some time
    25   that genital talc use is a Group 1 carcinogen.         25   after that. And these are asbestiform in habit.

                                                                               54 (Pages 210 to 213)
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                                 Rebecca Smith-Bindman, M.D.
                                               Page 214                                                   Page 216
     1          It goes on to cite a whole lot of other        1           MS. O'DELL: As I'm not coaching the
     2   places, Blount and so forth.                          2   witness. So you can ask the questions, but you
     3          And then in this same document they            3   can't raise your voice and -- and continue --
     4   categorize the asbestos and asbestiform fibers as     4           MR. ZELLERS: We have a video record.
     5   being a Group 1 carcinogen.                           5           MS. O'DELL: -- yes, we do.
     6       Q (BY MR. ZELLERS) I'm going to ask you           6           MR. ZELLERS: No one here would say that
     7   about asbestos and I'm going to ask you about         7   I'm raising my voice to the witness or behaving in
     8   asbestiform fibers.                                   8   any way other than professionally.
     9          What I want to know is: Where does IARC,       9       A I'm looking for the executive summary.
    10   in the publication you're looking at, categorize     10   It's just taking a while in this very large document
    11   cosmetic talc applied perineal -- to the perineal    11   to -- I see the problem.
    12   region as a Group 1 carcinogen?                      12           The copy of this document, I'm missing my
    13          MS. O'DELL: Object to the form.               13   first few pages.
    14       A They're telling us in this document that       14       Q (BY MR. ZELLERS) Okay.
    15   asbestos and asbestiform talc are Group 1            15       A It starts at 30 -- 31.
    16   carcinogens.                                         16           THE COURT REPORTER: Did you say "few" or
    17          They're telling us at the cite -- the --      17   "first three"?
    18   the most common exposure is consumer products. And   18       A I think I'm missing the first 30 pages.
    19   inhalation and dermal contact with perineal          19       Q (BY MR. ZELLERS) All right. Let --
    20   application of talc powders are the primary routes   20       A So --
    21   of exposure.                                         21       Q -- me move on then.
    22       Q (BY MR. ZELLERS) Where does IARC state         22       A -- okay.
    23   that perineal use of cosmetic talc is a Group 1      23       Q Strength of association is a Bradford Hill
    24   carcinogen?                                          24   criteria -- is that -- criterion; is that right?
    25          MS. O'DELL: Object to the form.               25       A Yes, it is.

                                               Page 215                                                   Page 217
     1       A So IARC is telling us which compounds are       1      Q You -- one of the studies you reviewed was
     2   Group 1 carcinogens.                                  2   Langseth; is that right?
     3       Q (BY MR. ZELLERS) Where does it state that       3      A Yes, it is.
     4   the perineal use of cosmetic talc is a Group 1        4      Q Langseth reviewed the overall pooled odds
     5   carcinogen?                                           5   of cancer and found that there was an odds ratio of
     6          MS. O'DELL: Object to the form. She has        6   1.35 across the studies; is that right?
     7   already stated that three times.                      7      A I'm going to look for it, but --
     8          MR. ZELLERS: Well, I haven't heard it          8      Q Okay. I --
     9   yet --                                                9      A -- it sounds about right.
    10          MS. O'DELL: Yes.                              10      Q -- I will hand you Langseth.
    11          MR. ZELLERS: -- Counsel.                      11      A I have it.
    12          MS. O'DELL: Yes, you -- she has described     12      Q If you take a look at page 359,
    13   it to you three times or four times maybe. And so    13   Figure 1 -- do you see that -- do you know Langseth?
    14   she has --                                           14      A I do.
    15          MR. ZELLERS: Counsel --                       15      Q Langseth looks at the case-control
    16          MS. O'DELL: -- answered your question.        16   studies, both the population-based and the
    17          MR. ZELLERS: -- please don't coach the        17   hospital-based; is that right?
    18   witness. Just --                                     18      A He looked at the studies that had a -- he
    19          MS. O'DELL: -- I'm not -- I'm not --          19   had available when this was established a decade
    20          MR. ZELLERS: -- object to form, if you        20   ago, yes.
    21   want to object to form.                              21      Q And -- and he lists out 20 case-control
    22          MS. O'DELL: -- well, don't harass the         22   studies, correct?
    23   witness, which -- that's what I am --                23      A 14?
    24          MR. ZELLERS: I'm not harassing the            24      Q I'm looking at the chart above Figure 1.
    25   witness.                                             25   And you think there's only 14 studies there?
                                                                             55 (Pages 214 to 217)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 218                                                    Page 220
     1       A Oh, I apologize. I thought you were               1   a causal association between perineal use of talc
     2   talking about the population-based studies.             2   and ovarian cancer?
     3           No. You're absolutely right. 20 studies.        3          MS. O'DELL: Objection to form.
     4       Q And of those 20 studies, only ten have            4       A The Langseth study is one review. And as
     5   statistical significance; is that right?                5   I describe in my report, it seems like a well-done
     6       A The original studies with the sample size         6   review, although it does not provide the kind of
     7   they had, ten seemed to have difference than one.       7   details that I would hope it would provide given
     8       Q Of the 20 studies -- the 20 case-control          8   sort of the stature of some of the people who were
     9   studies that were available and were studied by         9   involved in writing the report.
    10   Langseth, only ten had statistically significant       10          That being said, this systematic review
    11   results; is that right?                                11   suggests that there's an association between
    12           MS. O'DELL: Object to the form.                12   perineal talc exposure and ovarian cancer.
    13       A Again, he is combining them together. But        13       Q You --
    14   in the original form when they were not combined,      14       A By itself, I don't think it provides
    15   there are ten in their original form that had          15   enough data to have causality, but it provides good
    16   statistical differences than one. They could           16   evidence that there's an association.
    17   exclude one.                                           17       Q You understand that your interpretation of
    18       Q (BY MR. ZELLERS) Half of the studies did         18   this study is different and broader than the
    19   not have statistically significant results; is that    19   authors' interpretation of the data, correct?
    20   right?                                                 20          MS. O'DELL: Object to the form.
    21       A The original studies had wide confidence         21       A One of the author's conclusion that I
    22   intervals. And the original studies, before they       22   found quite compelling was in -- on page 358 in the
    23   were combined, many of them overlapped one.            23   second paragraph -- in the second column --
    24       Q Is the answer yes to my question?                24       Q (BY MR. ZELLERS) Can you answer my
    25           MS. O'DELL: She has answered your              25   question?
                                                Page 219                                                    Page 221
     1   question.                                               1          MS. O'DELL: She has answered your
     2          MR. ZELLERS: Well, I -- I don't know. I          2   question. Don't --
     3   haven't heard an answer.                                3          MR. ZELLERS: Well, I don't think she is
     4          MS. O'DELL: You have heard a complete            4   answering my question.
     5   answer.                                                 5       A I think you are asking me about what the
     6      A You're asking me to look at the results in         6   authors conclude.
     7   Figure 1 --                                             7       Q (BY MR. ZELLERS) I asked if your
     8      Q (BY MR. ZELLERS) Yes.                              8   conclusion was broader than the authors' --
     9      A -- which are meant to combine results.             9          MS. O'DELL: And she is telling you what
    10   But they also had the individual original study        10   the authors' conclusions are. You may finish,
    11   sample size and show that about half of them overlap   11   Doctor.
    12   one.                                                   12       A What -- what Langseth says is that, Eight
    13      Q Half is no better than a coin toss,               13   of the population-based case-control studies were
    14   correct?                                               14   identified by the Arforthinger (phonetic) as being
    15          MS. O'DELL: Object to the form.                 15   the most informative in terms of the size of the
    16      A It's an interesting question. But if              16   studies, whether the studies were population-based
    17   you're looking for something, is there an              17   participation rates and adjustment for confounding
    18   association with an exposure with cancer, a random     18   variables. These selected studies -- among these
    19   selection of that, you would expect to find very few   19   eight studies, the prevalence of use of talc was 16
    20   positive associations.                                 20   to --
    21          To find half is an enormous association to      21          THE COURT REPORTER: I can't hear.
    22   find from random studies if there was no               22       A -- sorry. The selected studies included
    23   association.                                           23   at least 188 cases and had participation rates
    24      Q (BY MR. ZELLERS) Do you believe that based        24   ranging up to 75 percent. Among these eight
    25   upon the Langseth paper and analysis, that there is    25   studies, the prevalence of peritoneal use of
                                                                              56 (Pages 218 to 221)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 222                                                    Page 224
     1   talc-based body powder among controls ranged from 16    1   as nonresponsive.
     2   to 52 percent.                                          2          My question was: Did I read that
     3          The relative risk of ovarian cancer among        3   correctly?
     4   body powder users were homogeneous across the set of    4       A You read that text correctly.
     5   eight studies, each of which indicated a 30 to          5       Q All right. You conclude in your report
     6   60 percent increase in risk.                            6   with respect to strength of association that because
     7          Among the other 12 case-control studies,         7   a very large number of ovarian cancers are caused by
     8   most also reported relative risk of this magnitude      8   talcum powder and talcum powder provides no
     9   or higher.                                              9   better -- no medical benefit, the Hill criterion of
    10          So I think the authors of this concluded        10   strength of association is important and met.
    11   that the better studies showed a very strong           11          Is that right?
    12   association. And -- and I -- I'm not sure what         12       A I don't think that's exactly right. I --
    13   conclusion of the authors you're asking me to          13   I think all of the things I believe are in there
    14   disagree with.                                         14   somewhere, but that's not quite what I would be --
    15       Q (BY MR. ZELLERS) Okay. Doctor, take a            15       Q I --
    16   look at "Proposal to Research Community" on the        16       A -- report.
    17   right-hand side of page 359.                           17       Q -- I'm just reading from page 38 of your
    18          Do you see that?                                18   report. Do you believe that because a very large
    19       A I do.                                            19   number of ovarian cancers are caused by talcum
    20       Q I'm going to read this, and you tell me if       20   powder and talcum powder provides no medical
    21   I read it correctly.                                   21   benefit, the Hill criterion of strength of
    22          "The current body of experimental and           22   association is important and is met?
    23   epidemiological evidence is insufficient to            23          MS. O'DELL: Object to the form. I don't
    24   establish a causal association between perineal use    24   think you read that --
    25   of talc and ovarian cancer risk.                       25       A I --
                                                Page 223                                                    Page 225
     1           Experimental research is needed to better       1          MS. O'DELL: -- the report correctly. But
     2   characterize deposition, retention, and clearance of    2   if you were intending to read from her report
     3   talc to evaluate the ovarian carcinogenicity of         3   verbatim, I don't believe that was correct.
     4   talc."                                                  4          MR. ZELLERS: Counsel, please, just object
     5           Did I read that correctly?                      5   to form, if you do have an objection.
     6       A Not only did you read that correctly, I           6          MS. O'DELL: I have an objection.
     7   would agree with that based on data available in        7       A Could you -- again, you -- the -- what I
     8   2008.                                                   8   believe has been -- within your statement, but
     9           So you asked me if I thought this study by      9   that's not the reason I believe that the Bradford
    10   itself evaluated causality.                            10   Hill criteria are met.
    11           And this study did not discuss the             11       Q (BY MR. ZELLERS) Well, let me ask you a
    12   deposition, the retention, or clearance. And I         12   question.
    13   think those factors are crucial to understanding the   13       A Yes.
    14   causality.                                             14       Q In your discussion of the Bradford Hill
    15       Q Okay.                                            15   criterion of strength of association, you include
    16       A And that's new since --                          16   Table 7, which is entitled "An Estimate of the
    17           MR. ZELLERS: Move --                           17   Number of Ovarian Cancers and Invasive Serous
    18       A -- 2008.                                         18   Cancers Caused by Regular Use of Perineal Talc
    19           MR. ZELLERS: -- to strike as not --            19   Powder Products"; is that right?
    20           MS. O'DELL: She is --                          20       A Yes.
    21           MR. ZELLERS: -- she finished.                  21       Q Is that a calculation that you did to try
    22           MS. O'DELL: -- she did not finish.             22   to determine whether or not there is strength of
    23           MR. ZELLERS: Did you finish?                   23   association?
    24       A I was close enough.                              24       A No, but that's not why I included that.
    25           MR. ZELLERS: All right. Move to strike         25       Q Well, is it included in your "Strength of
                                                                               57 (Pages 222 to 225)
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                                 Rebecca Smith-Bindman, M.D.
                                               Page 226                                                      Page 228
     1   Association" section?                                  1   fine.
     2       A It is included in the strength of                2            MR. ZELLERS: Please don't interrupt
     3   association to demonstrate how -- an odds ratio of     3   the --
     4   1.5, how many patients could be impacted on that.      4           MS. O'DELL: That's --
     5          So one of the questions is: Is there a          5           MR. ZELLERS: -- deposition.
     6   strong association? And the second, which is really    6           MR. LAPINSKI: -- better. Thank you.
     7   quite a different question, is: What's the             7           MR. ZELLERS: Ms. O'Dell is doing a
     8   magnitude of that association?                         8   fabulous job of making objections --
     9          And sometimes the magnitude of the              9           MR. LAPINSKI: Yes, she is.
    10   association is mistakenly used as an approximation    10           MR. ZELLERS: -- for all of you.
    11   of the strength of the association.                   11       Q (BY MR. ZELLERS) Okay. Doctor. You were
    12          And I was trying to disentangle the            12   trying --
    13   strength of the association. How truly do we know     13           MS. O'DELL: Excuse me. I don't -- still
    14   they're associated with -- if it is associated, how   14   don't think she was finished.
    15   big of an impact would it have?                       15           MR. ZELLERS: Okay.
    16          And so the purpose of Table 7 is not in        16           MS. O'DELL: So you may continue, Doctor.
    17   any way to demonstrate the strengths of the           17   If you were finished, great. If you weren't, you
    18   association, which is a requirement to assess for     18   may finish your answer.
    19   Bradford Hill --                                      19       A I -- I'm going to have to say I -- I -- so
    20       Q Would your --                                   20   the -- the -- Table 7 is an illustration of the
    21          MR. LAPINSKI: She's not finished --            21   number of women who would be impacted.
    22       A -- but how many --                              22           And the point was to explain that the
    23          MR. LAPINSKI: -- Counsel.                      23   strength of the association is separate from the
    24       A -- but --                                       24   number of women impacted. But indeed, it
    25          MR. ZELLERS: Okay. Counsel, one lawyer         25   illustrates how important the number of women
                                               Page 227                                                      Page 229
     1   can object. Okay. I don't want all of you              1   impacted is.
     2   objecting.                                             2       Q Let's go through your math.
     3          MR. LAPINSKI: Don't -- don't raise your         3       A Yes.
     4   voice to me.                                           4       Q So the table, Table 7, includes several
     5          MR. ZELLERS: No. I don't want all of you        5   assumptions; is that right?
     6   objecting.                                             6       A A great number of assumptions.
     7          MR. LAPINSKI: Counsel, if you want to           7       Q You ran the data, assuming that 10 percent
     8   make a statement --                                    8   of the female population in the United States used
     9          MR. ZELLERS: Yeah --                            9   talcum powder products regularly, as you define
    10          MR. LAPINSKI: -- make a statement.             10   "regularly"; is that right?
    11          MR. ZELLERS: -- I'm making a statement         11       A Just to clarify, I -- I demonstrated what
    12   that I do not want --                                 12   the impact would be if we estimated the number of
    13          MR. LAPINSKI: That's --                        13   women at 10 percent.
    14          MR. ZELLERS: -- the whole group of             14       Q You did the same calculation for
    15   lawyers --                                            15   20 percent and 30 percent; is that right?
    16          MR. LAPINSKI: -- and you --                    16       A Yes, I did.
    17          MR. ZELLERS: -- on the Plaintiffs' side        17       Q You don't actually know what percentage of
    18   objecting.                                            18   women use talcum powder products regularly --
    19          MR. LAPINSKI: -- I'm sitting directly          19       A I --
    20   across the table from you. And I can hear you, and    20       Q -- correct?
    21   I have heard you all day.                             21       A -- I do not.
    22          MR. ZELLERS: Okay.                             22       Q All right. The calculation -- or your
    23          MR. LAPINSKI: I have heard you carry on        23   conclusion is that .14 percent of women exposed to
    24   the way you have carried on all day. There's no       24   talcum powder products have invasive serous cancer.
    25   reason to raise your voice to me. I can hear you      25   And I am looking at your 10 percent assumption that
                                                                                58 (Pages 226 to 229)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 230                                                   Page 232
     1   you make.                                               1   women get ovarian cancer. That would be five
     2          Did you mean .14 or did you mean for that        2   million women.
     3   to be 14 percent?                                       3          I'm saying if we look at the world of
     4       A So I -- I take your correction as a -- as         4   invasive serous cancers in the United States, there
     5   correct.                                                5   will be in the ballpark of 11,000 serous cancers
     6       Q Okay.                                             6   every year in the United States.
     7       A I do mean 14 percent, but -- but it's not         7          Of those, 14 percent of those will occur
     8   the way you have interpreted it.                        8   in regular users of talc powders. 86 percent will
     9          The -- the -- the calculation -- the             9   occur in nonregular talc users.
    10   columns are the percent of invasive cancer that is     10          So you're interpreting what is listed as a
    11   attributable to talcum powder, not the proportion of   11   column percent. It says, Percent of invasive serous
    12   cancer -- the proportion of women exposed who will     12   cancer in women exposed to talc products.
    13   develop cancer. Those are very different.              13          You're interpreting that as if I'm saying
    14       Q I'm not sure I understand. Your column           14   that the women exposed, that 15 percent of them will
    15   here says, The percent of invasive serous cancer in    15   get ovarian cancer.
    16   women exposed to talcum powder products; is that       16       Q And in fact, if -- if your caption is
    17   right?                                                 17   right, if we really are looking at the percent of
    18       A That is correct.                                 18   invasive serous cancer in women exposed to talcum
    19       Q Okay. The universe of talcum powder              19   powder products, it would be less than .01 percent,
    20   products, which you're estimating here -- and I        20   right?
    21   understand it's an estimation -- is 10 percent of      21       A Um --
    22   the population; is that right?                         22          MS. O'DELL: Object to the form.
    23          MS. O'DELL: Object to the form.                 23       A -- you -- you're asking me how many women
    24       A I -- I -- I -- I'm estimating in this            24   with exposure will end up getting?
    25   table that 10 percent of women use talcum powder --    25       Q (BY MR. ZELLERS) Yes.
                                                 Page 231                                                   Page 233
     1       Q (BY MR. ZELLERS) Right.                           1       A So that's a -- a good number. It's not
     2       A -- products in the U.S.                           2   one I presented, but certainly one I can estimate,
     3       Q There are approximately -- what do you say        3   which is -- if we're talking about 31 million women
     4   -- 30 --                                                4   who have regular exposure and of those who will
     5       A 311 million.                                      5   get -- I'm scribbling on my exhibit. I hope that's
     6       Q -- all right. So 311 million. And you             6   okay. Is that okay? One, two, three -- one, two,
     7   are estimating for purposes of this exercise that       7   three. One -- one out of -- one out of 3,000 women
     8   31,100,000 are regular users; is that right?            8   will get --
     9       A Yes.                                              9       Q So --
    10       Q And what you are trying to determine is of       10       A -- ovarian cancer.
    11   those 31,100,000, what percent of regular talc users   11       Q -- approximately .01 percent, correct?
    12   will have invasive serous cancer, correct?             12       A That sounds pretty good, actually.
    13       A Yes.                                             13       Q All right. Dose response. A significant
    14       Q And you have calculated 14 percent; is           14   number of the talcum powder studies that you looked
    15   that right?                                            15   at do not show a dose response or fail to account
    16       A No.                                              16   for dose response altogether; is that right?
    17       Q It's wrong, right?                               17       A In my summary of dose response on page 39,
    18       A The way you are describing it is wrong.          18   I note that Penninkilampi, one of the large
    19   But I can give you an example to help you understand   19   meta-analyses, which I think is the most
    20   that table.                                            20   comprehensive review, talks about dose response.
    21       Q Well --                                          21          I didn't cite here -- and it was an
    22       A The number of cancers, we're talking about       22   oversight -- Berge, another large comprehensive
    23   31 million women or women who were exposed to          23   meta-analysis, also shows dose response.
    24   cancers.                                               24          So the two systematic reviews showed dose
    25          I'm not saying 13 -- 14 percent of those        25   response. I also list Terry as showing dose
                                                                               59 (Pages 230 to 233)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 234                                                    Page 236
     1   response. That's the pool data of a large number of     1      A Yes.
     2   studies. Those are, you know, both quite -- I -- I      2      Q Would you agree that generally when you
     3   have covered most of the publications, so those show    3   looked at the published studies, that they showed an
     4   dose response.                                          4   association of around 1.3 between perineal talc use
     5          There are a few others that I show. There        5   and ovarian cancer?
     6   are definitely a bunch that do not address the issue    6      A I think many of the studies showed an
     7   of dose response, but -- but I wouldn't characterize    7   association of about 1.3 of any talc use. Not
     8   it as most do not.                                      8   quantifying the amount of exposure.
     9       Q Well, you state on page 40 of your report         9      Q But would you agree that an -- that
    10   with respect to dose response, The results are         10   epidemiologists generally consider a 1.3 odds ratio
    11   inconsistent and more importantly are not considered   11   in a case-control study to be a weak or modest
    12   or assessed in most of the published studies.          12   association?
    13          That was your conclusion with respect to        13          MS. O'DELL: Object to the form.
    14   dose response; is that right?                          14      A I am -- I am unaware what -- of what most
    15       A You are going to have to tell me where           15   epidemiologists think.
    16   you're reading. What I'm reading says, In summary,     16      Q (BY MR. ZELLERS) Have you seen any peer
    17   most, but not all, studies of talcum powder products   17   reviewed literature on talc and ovarian cancer that
    18   in ovarian cancer show a dose response.                18   states that 1.3 is a strong association?
    19          THE COURT REPORTER: Slow down when you          19      A I mean, Penninkilampi concludes there's a
    20   read, please.                                          20   consistent association between perineal talc -- talc
    21       A I'm so sorry.                                    21   use and ovarian cancer.
    22          In summary, most, but not all, studies of       22          And I'm just looking for how he quantifies
    23   talcum powder products in ovarian cancer show a dose   23   that. He concludes the results indicate that
    24   response. Most do.                                     24   perineal talc use is associated with a 24 to
    25          But the results are inconsistent and more       25   39 percent increased risk of ovarian cancer.
                                                Page 235                                                    Page 237
     1   importantly are not considered assessed in most --      1          He doesn't quantify it as weak or strong,
     2   that -- that should not say "most." It should say       2   but there's a suggestion that a 39 percent increase
     3   "in many of the published studies."                     3   is important. But he -- he doesn't quantify it. So
     4       Q (BY MR. ZELLERS) All right. So you would          4   I would have to look through the authors'
     5   amend your report from "most" to "many; is that         5   conclusions.
     6   right?                                                  6       Q Do you know who Penninkilampi is?
     7       A I -- I used "most" twice in the same              7       A I do not.
     8   sentence as meaning different things. So yes, I --      8       Q Do you know that he is a medical student?
     9       Q Go --                                             9       A I'm very impressed. He did a beautiful
    10       A -- it was an error.                              10   review.
    11       Q -- Gertig 2000 study found that there was        11       Q Do you know who Guy Eslick is, the other
    12   no increase in risk of ovarian cancer with             12   author on that paper?
    13   increasing frequency of use; is that right?            13       A I do not.
    14       A I would have to check that, but I'm happy        14       Q Do you know if he's an expert for the
    15   to do so. I believe that's correct.                    15   Plaintiffs in the talc litigation?
    16       Q Hunchcharek 2003 found that the data             16       A I -- I do not.
    17   showed a lack of clear dose response relationship,     17          MS. O'DELL: Object to the form.
    18   making the relative risk of questionable validity;     18       Q (BY MR. ZELLERS) Does Mr. Eslick disclose
    19   is that right?                                         19   or identify that he is working for or has worked for
    20       A Which -- which one?                              20   Plaintiffs in the talc litigation?
    21       Q Sure. Huncharek 2003, page 19 of 55.             21       A I might -- I don't know the answer to
    22       A Wait. This one is 2011. I don't -- I             22   that.
    23   don't think I have that one.                           23       Q You would expect that if that was true,
    24       Q All right. Consistency. Consistency is           24   that there would be a disclosure of that; is that
    25   another factor that you looked at; is that right?      25   right?

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                                                Page 238                                                    Page 240
     1      A I --                                               1   are summarized the way you summarized them. And I
     2          MS. O'DELL: Object to the form.                  2   think if you look at them a little more closely, I
     3      A -- it's published in a very high-impact,           3   would not make that conclusion. So --
     4   high-quality medical journal, and I would suspect       4      Q For the reasons set forth in your report?
     5   that that would be required of that journal.            5      A It's in my report.
     6          But -- but I -- I -- I -- I don't -- I --        6           MR. ZELLERS: All right. Let's take a
     7   I don't know that journal's requirements, but I         7   break.
     8   would suspect that they would require reporting         8           THE VIDEOGRAPHER: We're off the record.
     9   funding.                                                9   The time is 3:58 p.m.
    10      Q You --                                            10           (A break was taken from 3:58 p.m. to
    11      A It says -- I'm sorry. It says, The                11   3:58 p.m.)
    12   authors report no conflicts of interest and have not   12           (Next portion not on video record.)
    13   reported funding.                                      13           MR. ZELLERS: So we are back on the
    14          And typically when you have to reporting        14   written record, but not the video record. My
    15   conflicts of interest in the same area, you also       15   understanding is that, you know, we are taking a
    16   report funding, and I don't see any of that.           16   break as an accommodation to the witness, and that
    17      Q The cohort studies. There are four cohort         17   that's fine, but that, you know, you are not going
    18   studies; is that right?                                18   to use this time to further meet and prepare the
    19      A Yes.                                              19   witness based upon the questions I asked today.
    20      Q All right. You rely only on the Gertig            20           MS. O'DELL: Correct. There's --
    21   study, the 2000 study; is that right --                21   there's -- Dr. Smith-Bindman is taking this break
    22          MS. O'DELL: Object to the form.                 22   because she is still recovering from her concussion.
    23      Q (BY MR. ZELLERS) -- of those four?                23           There will be no meeting with
    24          MS. O'DELL: Excuse me. Object to the            24   Dr. Smith-Bindman. I do want to point out counsel
    25   form.                                                  25   for J&J seems to have dictated this requirement in
                                                Page 239                                                    Page 241
     1      A My report summarizes all four of them, and         1   order to accommodate the witness's situation.
     2   that all went into the weight of my report.             2          But I would just note the deposition
     3          In terms of being included in any                3   protocol has no such restriction, and -- and so
     4   systematic review, only one of them was included in     4   that -- to that degree, I would say we have no
     5   the systematic review.                                  5   intent to prepare the witness any further.
     6      Q (BY MR. ZELLERS) If you looked just at the         6          But we're not restricted from talking to
     7   cohort studies --                                       7   the witness, and I don't want the record to suggest
     8      A Yes.                                               8   otherwise.
     9      Q -- you would not find a statistically              9          MR. ZELLERS: We will see you tomorrow.
    10   significant association between perineal talc use      10          MS. O'DELL: Thank you.
    11   and ovarian cancer, correct?                           11          THE VIDEOGRAPHER: We are back on the
    12          MS. O'DELL: Object to the form.                 12   record at 4:01 p.m, and this is the end of Disc
    13      A I --                                              13   No. 4 in today's testimony of Dr. Rebecca
    14          MS. O'DELL: Excuse me. When -- when you         14   Smith-Bindman. The time is 4:01 p.m.
    15   get to a good stopping point, it would be good to      15
    16   take a break --                                        16         (TIME NOTED: 4:01 p.m.)
    17          MR. ZELLERS: Okay.                              17
    18          MS. O'DELL: -- but whenever you're -- if        18
    19   you have a few more minutes, that's fine, but          19
    20   whenever you get to a good point.                      20
    21      A -- so I summarize my view of the cohort           21
    22   studies, which are not exactly what you -- what you    22
    23   just summarized -- the way you just summarized them    23
    24   on page 21.                                            24
    25          So I think that often the cohort studies        25

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                                  Rebecca Smith-Bindman, M.D.
                                                Page 242                                                    Page 244
     1                                                           1                ERRATA SHEET
     2                                                           2            Golkow Litigation Services
     3                                                           3    1650 Market Street, One Liberty Plaza, 51st Floor
     4      I, REBECCA SMITH-BINDMAN, M.D., VOLUME I, do         4          Philadelphia, Pennsylvania 19103
     5   hereby declare under penalty of perjury that I have     5                877-370-3377
     6   read the foregoing transcript; that I have made any     6           CASE: Talcum Powder Litigation
     7   corrections as appear noted, in ink, initialed by
                                                                 7   PAGE LINE FROM                      TO
     8   me, or attached hereto; that my testimony as
                                                                 8   ____|______|_________________________|______________
     9   contained herein, as corrected, is true and correct.
                                                                 9   ____|______|_________________________|______________
    10      EXECUTED this_______ day of_________________,
    11   20____, at___________________, ___________________.    10   ____|______|_________________________|______________
                (City)          (State)                         11   ____|______|_________________________|______________
    12                                                          12   ____|______|_________________________|______________
    13                                                          13   ____|______|_________________________|______________
    14        _______________________                           14   ____|______|_________________________|______________
              REBECCA SMITH-BINDMAN, M.D.                       15   ____|______|_________________________|______________
    15            VOLUME I                                      16   ____|______|_________________________|______________
    16                                                          17   ____|______|_________________________|______________
    17                                                          18   ____|______|_________________________|______________
    18                                                          19   ____|______|_________________________|______________
    19
                                                                20         ______________________________
    20
                                                                21         REBECCA SMITH-BINDMAN, M.D., VOLUME I
    21
                                                                22   Subscribed and sworn to before me
    22
    23                                                          23   this _____ day of _____________, 2019.
    24                                                          24   ______________________________________
    25                                                          25          Notary Public

                                                Page 243
     1       I, MARY J. GOFF, CSR No. 13427, Certified
     2   Shorthand Reporter of the State of California,
     3   certify;
     4       That the foregoing proceedings were taken
     5   before me at the time and place herein set forth, at
     6   which time the witness declared under penalty of
     7   perjury; that the testimony of the witness and all
     8   objections made at the time of the examination were
     9   recorded stenographically by me and were thereafter
    10   transcribed under my direction and supervision; that
    11   the foregoing is a full, true, and correct
    12   transcript of my shorthand notes so taken and of the
    13   testimony so given;
    14       That before completion of the deposition,
    15   review of the transcript ( ) was (XX) was not
    16   requested: ( ) that the witness has failed or
    17   refused to approve the transcript.
    18       I further certify that I am not financially
    19   interested in the action, and I am not a relative or
    20   employee of any attorney of the parties, nor of any
    21   of the parties.
    22       I declare under penalty of perjury under the
    23   laws of California that the foregoing is true and
    24   correct, dated this day of         , 2019.
    25              MARY J. GOFF
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


           __________________________________
                                              )
           IN RE: JOHNSON & JOHNSON TALCUM    )
           POWDER PRODUCTS MARKETING, SALES   )
           PRACTICES, AND PRODUCTS LIABILITY  )
           LITIGATION                         )
                                              )           MDL No.
                                              )           2738 (FLW)(LHG)
                                              )
           ___________________________________)




                             VIDEOTAPED DEPOSITION OF
                            REBECCA SMITH-BINDMAN, M.D.
                             San Francisco, California
                             Friday, February 8, 2019
                                       Volume II




           Reported by:
           MARY J. GOFF
           CSR No. 13427



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     1                                                        1   APPEARANCES (continued):
     2                                                        2
     3                                                        3   For Defendant Johnson & Johnson
     4                                                        4      Tucker Ellis LLP
     5       Videotaped Deposition of REBECCA                 5      BY: MICHAEL C. ZELLERS
     6   SMITH-BINDMAN, M.D., Volume II, taken on behalf of   6      Attorney at Law
     7   Johnson & Johnson, at Levin Simes Abrams LLP,        7      515 South Flower Street
     8   1700 Montgomery Street, Suite 250, San Francisco,    8      42nd Floor
     9   California 94111, beginning at 9:26 a.m. and ending  9      Los Angeles, California 90071
    10   at 12:48 p.m., on February 8, 2019, before MARY J.  10      michael.zellers@tuckerellis.com
    11   GOFF, California Certified Shorthand Reporter No.   11      213-430-3301
    12   13427.                                              12
    13                                                       13
    14                                                       14   For Defendant Johnson & Johnson
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    22                                                       22
    23                                                       23
    24                                                       24
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                                             Page 247                                                  Page 249
     1   APPEARANCES:                                1            APPEARANCE (continued):
     2                                               2            For Defendant Imerys
     3   For Plaintiffs                              3               Dykema
     4      Beasley Allen Law Firm                   4               BY: JANE BOCKUS
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                                                                            2 (Pages 246 to 249)
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                                    Rebecca Smith-Bindman, M.D.
                                                Page 250                                                  Page 252
     1   APPEARANCES (continued):                              1   EXHIBITS CONTINUED:                       PAGE
     2   For Defendant PCPC, Personal Care Products Council    2   Exhibit 34 Does Exposure to Asbestos Cause 324
     3      Seyfarth Shaw, LLP                                            Ovarian Cancer article
     4      BY: JAMES R. BILLINGS-KANG                         3
     5      Attorney at Law                                    4   Exhibit 35 Occupational Exposure to Asbestos 327
     6      975 F Street, NW                                              article
                                                               5
     7      Washington, D.C. 20004
                                                               6
     8      jbillingskang@seyfarth.com
                                                               7
     9      202-828-5356                                       8
    10                                                         9
    11                                                        10
    12                                                        11
    13                                                        12
    14   For Defendants PTI Union, LLC and PTI Royston, LLC   13
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    17      Attorney at Law                                   16
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                                                              21
    22
                                                              22
    23   Videographer:                                        23
    24     Andrew Graves                                      24
    25                                                        25
                                                Page 251                                                  Page 253
     1             INDEX                                       1           San Francisco, California
     2   WITNESS              EXAMINATION                      2             February 8, 2019
     3   REBECCA SMITH-BINDMAN, M.D.                           3               9:26 a.m.
     4   Volume II                                             4
     5                                                         5         THE VIDEOGRAPHER: We are now on the
     6              BY MR. ZELLERS     254, 372                6   record. My name is Andrew Graves. I'm a
     7              BY MS. O'DELL       354
                                                               7   videographer for Golkow Litigation Services.
     8              BY MR. BILLINGS-KANG       347
     9              BY MS. BOCKUS      331, 369                8   Today's date is February 8, 2019. The time is
    10                                                         9   9:26 a.m.
    11   NUMBER            DESCRIPTION                 PAGE   10         This video deposition is being held at
    12   Exhibit 28 6/1/17 Letter, Invoice          259       11   1700 Montgomery Street, Suite 250, San Francisco,
    13                                                        12   California, In the Matter of In Re: Johnson &
    14   Exhibit 29 Bill, Invoice 147           261           13   Johnson Talcum Powder Products Marketing, Sales
    15                                                        14   Practices, and Products Liability Litigation, for
    16                                                        15   the United States District Court, District of
    17   Exhibit 30 Perineal Use of Talc and Risk     276     16   New Jersey.
                of Ovarian Cancer article                     17         The deponent is Rebecca Smith-Bindman,
    18
                                                              18   Ph.D., Volume II.
    19
    20   Exhibit 31 Influence of Aspirin and nonaspirin 297
                                                              19         Would counsel please identify yourselves.
                NSAID Use article                             20         MR. ZELLERS: Can we waive that since we
    21                                                        21   were all here yesterday?
    22   Exhibit 32 Article, Talc              317            22         THE VIDEOGRAPHER: Okay. The court
    23                                                        23   reporter is Mary Goff, and she will now swear in the
    24   Exhibit 33 Invoice, Tachibana, UCSF, 10/18     319   24   witness.
    25                                                        25

                                                                              3 (Pages 250 to 253)
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                                            Rebecca Smith-Bindman, M.D.
                                                                 Page 254                                               Page 256
      1       REBECCA SMITH-BINDMAN, M.D., VOLUME II,                        1   manuscript.
      2   being first duly sworn or affirmed to testify to the               2          I was quite surprised that they weren't
      3   truth, the whole truth, and nothing but the truth,                 3   exactly the same. They were not meaningfully
      4   was examined and testified as follows:                             4   different, but there was a very slight shift in
      5      EXAMINATION BY COUNSEL FOR THE DEFENDANTS                       5   the ones that are in my report.
      6   BY MR. ZELLERS:                                                    6          I mean, I asked Dr. Jane why that was the
      7      Q Good morning.                                                 7   case. And in fact, the numbers are calculated using
      8      A Good morning.                                                 8   the standard errors in the confidence intervals and
      9      Q Dr. Smith-Bindman, did you do anything to                     9   the sample size which very slightly shifts it from
     10   prepare -- or further prepare for your deposition                 10   the reported numbers.
     11   since the time we concluded yesterday and this                    11          So you were correct when you said the
     12   morning?                                                          12   numbers are not exactly the same, and she explained
     13      A I did two things. I reviewed my report                       13   that that's why that's the case.
     14   again, and I called the biostatistician who worked                14      Q Are the numbers that were contained in
     15   on my meta-analysis to review a few of the details.               15   Figure -- Figures 2 and 3 in your report, estimates?
     16      Q You called Dr. Hall?                                         16          MS. O'DELL: Object to the form.
     17      A I did.                                                       17      A The numbers are calculated. So I -- I
     18      Q When was the last time that you had talked                   18   think by that, you mean estimates.
     19   with Dr. Hall before yesterday?                                   19      Q (BY MR. ZELLERS) Did you do the
     20      A Speaking to her at the time of -- that she                   20   calculations?
     21   did the analysis. And I -- I think there was an                   21      A No. She -- she did them.
     22   e-mail or two over the last several weeks asking for              22      Q Do we --
     23   her CV or something like that, but not any                        23          THE COURT REPORTER: Can you raise your
     24   meaningful conversation.                                          24   voice for me, please?
     25      Q Have you produced the e-mails -- the                         25      A Yes, I can. I apologize.
                                                                 Page 255                                               Page 257
     1    recent e-mails with Dr. Hall?                                      1      Q (BY MR. ZELLERS) Do we have her work
     2        A I -- I'm not sure if I produced the one                      2   product as to the calculations that were made?
     3    asking for her CV, but the -- and actually, I don't                3      A In the documents that I shared, she
     4    remember when I asked her for that. I might have                   4   specified the -- the software that she used, the
     5    presented --                                                       5   program that she used.
     6           MS. O'DELL: I think that's part of the                      6          In fact, the way of estimating it, it's
     7    production --                                                      7   actually in my report as well. And so yes, it's
     8        Q (BY MR. ZELLERS) How --                                      8   explained there, and it's in all of the documents
     9           MS. O'DELL: -- but -- excuse me.                            9   that I shared with you.
    10        Q (BY MR. ZELLERS) How long did you speak                     10      Q Her calculations are contained in the
    11    with Dr. Hall yesterday?                                          11   documents that are shared; is that right?
    12        A About 15 -- 10-15 minutes.                                  12      A Yes.
    13        Q Did you make any written notes?                             13      Q The numbers that you got from the Terry
    14        A I -- I think I scribbled in my usual                        14   study, those came from the Terry publication; is
    15    scribble place.                                                   15   that right?
    16        Q What notes did you make from your                           16      A Yes.
    17    conversation with Dr. Hall yesterday after the first              17      Q Any additional notes you made from your
    18    session of your deposition?                                       18   discussion with Dr. Hall, other than what you have
    19        A So -- so I did -- I did -- I did jot some                   19   generally told us about?
    20    notes on my meta-analysis. But mostly I asked her                 20      A No. Just that.
    21    to clarify how she did the calculations of the                    21      Q The notes that you added to your annotated
    22    numbers that are shown in the figures.                            22   report from your discussion with Dr. Hall, which we
    23           I was struggling to understand why the                     23   marked as Exhibit 17, those notes are on which page
    24    numbers and the figures were not exactly the same as              24   or pages?
    25    the ones that you showed me in the published                      25      A Page 33 and 34.
                                                                                             4 (Pages 254 to 257)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 258                                                   Page 260
     1       Q It looks like you made those notes in an         1      Q What do you -- well, I will take that as a
     2   aqua pen is -- is that right, or --                    2   yes, that at least through November 13, 2018, that
     3       A Yes.                                             3   Deposition Exhibit 28 are all of your invoices --
     4       Q -- I --                                          4      A Yeah.
     5       A Yes.                                             5      Q -- is that right?
     6       Q Okay.                                            6      A Yes.
     7       A Yes, absolutely.                                 7      Q Those invoices total approximately
     8       Q Any --                                           8   160 hours. Does that sound right?
     9       A I would say teal, but...                         9      A 160?
    10       Q Well, I think you're probably more correct      10      Q 160.
    11   than I am.                                            11      A I'm -- I'm going to believe you.
    12          Any other notes that you had from your         12      Q Well, and anyone can go and check my math.
    13   discussion with Dr. Hall?                             13          How many hours do you estimate that you
    14       A No.                                             14   have spent up until today on this matter both doing
    15       Q Any other communications that you had with      15   additional work, reviewing those additional studies
    16   Dr. Hall, other than your 10- or 15-minute phone      16   and materials we talked about yesterday, preparing
    17   conversation yesterday afternoon or evening?          17   for the deposition, meeting with counsel for
    18       A No.                                             18   Plaintiffs?
    19       Q Did you communicate with Dr. Hall via           19          MS. O'DELL: Since the last invoice?
    20   e-mail or any way other than just the phone call?     20          MR. ZELLERS: Since the last invoice is
    21       A No.                                             21   what I had intended to ask.
    22       Q Did you communicate with anyone else            22          MS. O'DELL: Yeah. Thank you.
    23   between the time we finished yesterday and this       23      A I -- I think approximately 25 hours.
    24   morning about the subject matter that we're here to   24      Q (BY MR. ZELLERS) In addition, we were
    25   talk about?                                           25   provided with a two-page exhibit which are two
                                                Page 259                                                   Page 261
     1       A No.                                              1   invoices from Jane Hall, which total around $3,000.
     2       Q At the start of the session today, counsel       2          (Exhibit 29 was marked for identification
     3   for Plaintiffs, Ms. O'Dell, provided me with copies    3   and is attached to the transcript.)
     4   of your invoices.                                      4       Q (BY MR. ZELLERS) Can you look at
     5           I'm going to hand you what we have marked      5   Exhibit 29 and verify for us that those are the
     6   as Exhibit 28. It is a five-page exhibit.              6   e-mails -- strike that -- that those are the
     7           The first page is a cover letter. It           7   invoices for the work that was done by Dr. Hall?
     8   looks like an engagement or general engagement         8       A I -- I -- I believe so.
     9   letter from you to -- you say Mr. Carmen Scott.        9       Q Are you aware of any additional invoices
    10           Is it a Ms. Carmen Scott?                     10   beyond that?
    11           (Exhibit 28 was marked for identification     11       A I'm not.
    12   and is attached to the transcript.)                   12       Q Do you have any invoices from your copy
    13       A It is.                                          13   editor, Ms. Tachibana?
    14       Q All right. That was on June 1 of 2017.          14       A She sent me an invoice, which I forwarded
    15   The last invoice is November 13 of 2018; is that      15   to counsel.
    16   right?                                                16       Q All right. How much was that invoice for?
    17       A I'm sorry. What was the question? Is            17       A I think it was about $1,500.
    18   this --                                               18       Q How much an hour does Ms. Tachibana
    19       Q The question is: Are those all of our           19   charge?
    20   invoices that you have generated thus far in the      20       A I think it's about a hundred dollars an
    21   talcum powder MDL litigation?                         21   hour.
    22       A I -- I think I mentioned that there are --      22       Q Was that for all of the work that she did
    23   I haven't submitted anything beyond this, but that    23   with respect to your report?
    24   there are additional hours that I recorded after      24       A Yes. There was no other work other than
    25   this.                                                 25   that 15 -- it might have been $1,700.
                                                                                5 (Pages 258 to 261)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 262                                                    Page 264
     1          MS. O'DELL: Excuse me. I'm sorry, Mike.          1   paragraph, Mike? I have lost track.
     2   I apologize for not copying that. We're going to        2          MR. ZELLERS: I was asking about the
     3   make a copy, and I will provide it to your              3   specific statement in the middle paragraph of
     4   momentarily at --                                       4   page 17 relating to cohort studies and the
     5          MR. ZELLERS: Very good. We'll mark it            5   limitation that they rarely focus on a single
     6   before the conclusion of the deposition. Thank you.     6   narrowly defined question.
     7       Q (BY MR. ZELLERS) Do you have your report          7          MS. O'DELL: Yes. Thank you.
     8   in front of you? You can use your annotated             8       Q (BY MR. ZELLERS) But my question now is --
     9   version, No. -- Exhibit 17. We also marked your         9       A Yes.
    10   report as Exhibit 2.                                   10       Q -- whether or not Dr. Smith-Bindman, as
    11       A Yes.                                             11   you sit here, can cite any published literature that
    12       Q Do you have that in front of you?                12   states the cohort studies are unlikely to detect a
    13       A I do.                                            13   real association -- or unlikely to detect real
    14       Q Go to page 17, if you will, please.              14   associations for this reason.
    15          MR. LAPINSKI: Counsel, you said page 17?        15       A I --
    16          MR. ZELLERS: Yes, page 17.                      16          MS. O'DELL: Excuse me. Are you
    17       A Yes.                                             17   quoting -- when you say "unlikely to detect real
    18       Q (BY MR. ZELLERS) On page 17, you make a          18   associations for this reason," is that reading --
    19   number of general statements about the advantages      19   are you reading from her report or is that just --
    20   and disadvantages of case control and cohort           20          MR. ZELLERS: No. That's my question.
    21   studies; is that right?                                21          MS. O'DELL: -- okay. Sorry.
    22       A Yes.                                             22          MR. ZELLERS: And if it's not very
    23       Q There are no citations there. Is this            23   articulate --
    24   based and those statements based on your general       24       A I -- I think cohort -- cohort studies are
    25   knowledge?                                             25   able to detect real associations, if they ask about
                                                Page 263                                                    Page 265
     1       A Yes. This is based on Epi 101, sort of...         1   those associations.
     2       Q You make a statement in the middle                2          If they don't ask about it, then it
     3   paragraph on page 17 where you talk about "cohort       3   can't -- then -- then it doesn't have an ability to
     4   studies."                                               4   measure it.
     5          And you state that they rarely focus on a        5          So what I am saying here is that cohort
     6   single narrowly defined question and that that's an     6   studies don't have the capacity to go in depth and
     7   important limitation of cohort studies.                 7   ask.
     8          Do you see that?                                 8          I think all of the cohort studies that I
     9       A I do.                                             9   reviewed for -- for this review discuss the lack of
    10       Q Can you cite to any other epidemiologists        10   detail in the cohort question, meaning that it's not
    11   who agree with you on that point?                      11   that the study design was the problem. It was that
    12       A So it's very well known the cost of doing        12   they just didn't have the right predicter
    13   a cohort study is often very large, and so the topic   13   information being assessed.
    14   that's often the central focus of the cohort study     14       Q Despite this limitation -- or in your
    15   is very, very well done.                               15   view, limitation of cohort studies, you did include
    16          It's the ancillary topics that often get        16   the Gertig 2000 cohort study in your systematic
    17   short shrift. And so that -- I -- I could probably     17   review; is that right?
    18   find this explained in any basic textbook.             18       A I did. I just want to clarify the answer.
    19          And -- and I -- I apologize for not citing      19   Cohort studies are a very strong study design that I
    20   it. This is sort of just very well-known general       20   like very much and that I have used and currently
    21   concepts of study design.                              21   I'm -- I'm using in study designs.
    22       Q Can you cite to any published literature         22          It's rather if the study design uses a
    23   that states that cohort studies are unlikely to        23   cohort, which is a good design, doesn't have enough
    24   detect real associations for this reason?              24   detail, because that's not the focus, that
    25          MS. O'DELL: Are you reading a particular        25   doesn't -- it can't be used to answer other
                                                                                 6 (Pages 262 to 265)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 266                                                    Page 268
     1   questions easily.                                       1   yet they didn't report it that way.
     2          So I think in general I like cohort              2          They only reported on any exposure to talc
     3   designs very much, and I think it's a very powerful     3   powder products. And that is a very vague
     4   study design. But if you haven't asked the right        4   definition as opposed to the frequency of use.
     5   questions, it's hard to the expand it.                  5          And for that reason, I couldn't tell in --
     6          So I did -- I read all of the cohorts on         6   in nearly the same detail as I could for the earlier
     7   this topic.                                             7   study, the -- the exposure. They just chose not to
     8       Q And you concluded that the Gertig cohort          8   present it that way.
     9   study, you know, asked the right information or had     9        Q The Gates 2010 cohort study did include
    10   sufficient information for you to include it both in   10   over a hundred thousand women; is that right?
    11   your general systematic review and in your more        11        A The Gates?
    12   focused systematic review which you set forth as       12        Q Yes.
    13   Figures 2 and 3 in your report, correct?               13        A It was large, but I need to check the
    14       A That's correct. That -- those -- those           14   actual numbers.
    15   were looking at regular use, and I thought the         15        Q Here. Let me hand it to --
    16   Gertig was the cohort that allowed me to understand    16        A I have it. I have it.
    17   regular use of perineal talc.                          17        Q Do you have it?
    18       Q Gertig was based on the Nurses' Health           18        A Yeah.
    19   Study; is that right?                                  19        Q Okay. And I am looking at page 47. And
    20       A Yes.                                             20   it's quoting the Nurses' Health Study as involving
    21       Q Gertig and the authors do recognize that         21   close to 109,000 --
    22   the biologic evidence for the association of talc      22        A I'm not sure.
    23   and ovarian cancer is incomplete, correct?             23        Q -- women?
    24          MS. O'DELL: Object to the form.                 24        A I'm not sure. I'm looking at the -- the
    25       A I -- I don't have it in front of me, but         25   Gates -- are you asking about Gates or Gertig?
                                                Page 267                                                    Page 269
     1   it may be that they reported as of 2000, they didn't    1       Q I'm asking about Gates 2010.
     2   have evidence of the biologic mechanism. I --           2       A In mine it says $221,000 woman with 924
     3       Q And I will ask you about biologic                 3   epithelial ovarian cancer.
     4   mechanism before we conclude here today.                4          Am I looking in the wrong place?
     5          You did not, though -- well, let me              5       Q No. I -- and then if you look further, it
     6   withdraw that.                                          6   talks about -- at least in the Nurses' Health Study,
     7          There was a follow-up cohort study to            7   there being 108,870 women; is that right?
     8   Gertig 2000, and that was the Gates 2010 cohort         8       A Yes.
     9   study; is that right?                                   9       Q The women in the national health study,
    10       A Yes.                                             10   which was the basis for both the Gertig 2000 cohort
    11       Q That had a longer follow-up than Gertig;         11   study and Gates 2010 cohort study, those women were
    12   is that right?                                         12   followed from 1976 to 2006, so for 30 years --
    13       A Yes.                                             13       A Yes.
    14       Q It was an analysis of the data collected         14       Q -- is that right?
    15   in the Nurses' Health Study; is that right?            15       A Yes.
    16          MS. O'DELL: Object to the form.                 16       Q And -- and after following these hundred
    17       A It was analysis of some of the data              17   thousand women -- or over hundred thousand women for
    18   collected in the -- in the Nurses' Health Study, but   18   three decades, the authors in Gates 2010 concluded
    19   they did not report the variable in such a way that    19   that the data did not show a statistically
    20   would allow you to understand or to quantify the       20   significant relationship between talcum powder use
    21   exposure as opposed to the first cohort study which    21   and any type of epithelial ovarian cancer; is -- is
    22   did.                                                   22   that right?
    23          So the latter study, they -- they had the       23       A The Gates authors concluded that there was
    24   data, which is why I'm answering it this way. They     24   no association between any talcum powder product
    25   clearly had it, because the data hadn't change, and    25   use, and it was not significant in ovarian cancer,

                                                                                 7 (Pages 266 to 269)
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                                 Rebecca Smith-Bindman, M.D.
                                               Page 270                                                    Page 272
     1   yes.                                                   1   using it on a -- on a frequent basis, so I think the
     2       Q Another short study that you did not             2   duration is very different measure.
     3   include in your systematic review was the Houghton     3       Q We talked yesterday about your definition
     4   study; is that right?                                  4   of "regular use," and you pointed me to your report
     5           MS. O'DELL: Object to form.                    5   where you give an extensive discussion of that.
     6       A Yes, that is true.                               6          Do you remember?
     7       Q (BY MR. ZELLERS) The Houghton study was          7       A I do.
     8   based on -- or is also called the Women's Health       8       Q Did -- your definition of "regular use,"
     9   Initiative Study; is that right?                       9   was that every psychometrically tested to
    10       A Yes, it is.                                     10   demonstrate any validity or reliability?
    11       Q That involved 61,000 women; is that right?      11          MS. O'DELL: Object to the form.
    12       A That is correct.                                12       A Of -- are you asking about the reliability
    13       Q Houghton 2014 did not find a statistically      13   of the way we defined it --
    14   significant relationship between perineal talc use    14       Q (BY MR. ZELLERS) Yes.
    15   and ovarian cancer among women who had ever used      15       A -- or about the concept?
    16   talc; is that right?                                  16       Q No. About the way you defined it.
    17       A That is what they concluded.                    17       A I believe we explained in the report that
    18       Q Or among women who had fewer than nine          18   we tried to approximate regular use, frequency use
    19   years of perineal talc use, correct?                  19   by being at least three times a week and as close to
    20       A Correct.                                        20   daily as possible.
    21       Q Or among women who had more than 10 years       21          But in terms of -- if that is -- I -- I'm
    22   of perineal talc use, correct?                        22   not -- we have not validated that in different
    23       A Can you say that last part?                     23   studies or --
    24       Q Sure.                                           24       Q That's something that you came up with; is
    25       A Sorry.                                          25   that right?
                                               Page 271                                                    Page 273
     1       Q Houghton 2014, that cohort study --              1      A Yeah.
     2       A Okay. No. I -- yes, that is correct.             2          MS. O'DELL: Object to the form.
     3       Q And also, they did not find a                    3      A Yes, it is.
     4   statistically significant relationship between         4      Q (BY MR. ZELLERS) Gonzalez. You criticize
     5   perineal talc use -- strike that.                      5   Gonzalez in your report for combining various types
     6           They also did not find a statistically         6   of use. Do you recall that generally? So that's
     7   significant relationship between the use of talcum     7   page 21 where --
     8   powder on sanitary napkins or diaphragms on -- and     8      A No. I'm -- I'm on my report. My -- my
     9   ovarian cancer; is that right?                         9   hesitation is it's not so much that I'm criticizing
    10       A That's correct.                                 10   the study. It's rather it doesn't contribute to
    11       Q Houghton does report on duration of use at      11   answering the question that I was asking, which was:
    12   least more than 10 years of use; is that right?       12   Does regular perineal talc exposure increase the
    13       A Yes.                                            13   risk?
    14       Q But would you consider women who use            14          It doesn't mean that the questions they
    15   talcum powder for more than 10 years to be frequent   15   have asked are not interesting questions. They were
    16   talc users?                                           16   just not the ones I was focusing on.
    17           MS. O'DELL: Object to the form.               17      Q Why would combining various types of use,
    18       A So you're asking if duration of use can be      18   bias the results in favor of not detecting an
    19   equated with frequency of use, and -- and I would     19   association?
    20   very strongly disagree that those are equivalent.     20          I guess from your statement it -- it may
    21           And that is the primary reason that I         21   well not bias the results; is that right? It just
    22   discount the results of the Gonzalez and Houghton     22   was just a different question --
    23   and Gates studies.                                    23      A It's just a different question.
    24           Because frequency of use, meaning to use      24      Q -- than what --
    25   it once a month or once a year, is not the same as    25      A I --

                                                                                8 (Pages 270 to 273)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 274                                                    Page 276
     1       Q -- you were looking at?                           1   absolutely that's a possibility.
     2       A -- I believe that you want to have as             2       Q You also looked at both the hospital-based
     3   narrow a definition, in my belief, of meta-analysis     3   and the population-based case-control studies; is
     4   as possible to understand when you're pooling           4   that right?
     5   results, make sure -- something you said -- you're      5       A I did.
     6   combining apples to apples.                             6       Q None of the hospital-based case-control
     7          And I think one would expect that any            7   studies show a statistically significant association
     8   potential -- potential exposure to talcum powder        8   between talc use and ovarian cancer, correct?
     9   would matter what skin or surface or cell line or       9       A I -- I'm not sure --
    10   tissue you're putting against, and you wouldn't        10       Q Take a look at --
    11   necessarily expect the same result in a cervical       11       A -- where you're getting that from.
    12   exposure or a diaphragm exposure or a vaginal          12       Q I will show you the Langseth paper from
    13   exposure.                                              13   2008, which you cite and we talked about yesterday.
    14          You -- you might have an association of         14   Let's mark this as Exhibit 30.
    15   those places. You might not. I just think it's a       15          (Exhibit 30 was marked for identification
    16   different question.                                    16   and is attached to the transcript.)
    17       Q All of the cohort studies were prospective       17       A I have it. I have it.
    18   as opposed to retrospective; is that right?            18       Q (BY MR. ZELLERS) All right. Now -- and
    19       A Yes.                                             19   let me just -- I'll put it in the record there.
    20       Q Prospective studies are not subject to           20          MS. O'DELL: Thank you.
    21   recall bias like retrospective studies, correct?       21       Q (BY MR. ZELLERS) If you look at the
    22       A Yes, that's true.                                22   Langseth paper, on the second page, Figure 1, they
    23       Q They're also not subject to the same             23   list out all of the population -- or at least a
    24   selection bias as retrospective studies, correct?      24   great number of the population-based and
    25          MS. O'DELL: Object to the form.                 25   case-control studies and the hospital-based
                                                Page 275                                                    Page 277
     1       A In general, case-control studies are often        1   case-control studies; is that right?
     2   plagued with selection bias, but they don't have to     2      A Yes, they do.
     3   be.                                                     3      Q (BY MR. ZELLERS) At least among the
     4       Q (BY MR. ZELLERS) Well, recall bias can            4   hospital-based case-control studies that are
     5   distort a scientific evaluation of whether an           5   identified by Langseth in Figure 1, it appears that
     6   exposure is actually related to a disease, correct?     6   there's six hospital-based case-control studies.
     7       A Yes.                                              7          None of those hospital-based case-control
     8       Q So for example, recall bias could distort         8   studies show a statistically significant
     9   results if women with ovarian cancer were more          9   association, correct?
    10   likely to remember their exposure to talc than women   10          MS. O'DELL: Object to the form.
    11   without ovarian cancer; is that right?                 11      A We discussed this yesterday. But if
    12       A That is a theoretical risk.                      12   you're asking if the individual hospital-based
    13       Q In fact, in your report on page 17, you          13   studies overlap one, then they overlap one.
    14   acknowledge that the risk of bias is greater for       14      Q (BY MR. ZELLERS) They do not overlap one?
    15   case-control studies as opposed to cohort studies;     15      A The -- the hospital-based studies do
    16   is that right?                                         16   overlap one.
    17       A Yes.                                             17      Q Okay. The population-based case-control
    18       Q Recall bias could explain the fact that          18   studies, which are up above in our
    19   some retrospective case-control studies have found a   19   Langseth Figure 1, some of those -- if we look at
    20   statistically significant relationship between         20   the individual studies -- show statistical
    21   talcum powder and ovarian cancer, but the cohort       21   significance, and some of those do not; is that
    22   studies have not, correct?                             22   right?
    23       A That is a theoretical risk. To do that           23      A I'm -- I'm hesitant to be as definitive
    24   you would need to have some knowledge in the           24   about using the confidence interval that are
    25   population that influenced that recall bias, but       25   presented here as being a reflection of statistical

                                                                                 9 (Pages 274 to 277)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 278                                                   Page 280
     1   significance.                                           1   tell if things are different or the -- or
     2            All of them are shifted to the right. All      2   indistinguishable, the confidence interval for the
     3   of them have a positive association. And the            3   pooled odds ratio for the population-based studies
     4   confidence interval for some of them overlap one.       4   goes from 1.29 to 1.52, so the truth is likely in
     5            But taken as a group, there's statistical      5   that range, where the truth for the hospital-based
     6   significance for the entirety of the population --      6   studies is 0.92 to 1.63. They overlap.
     7   of the population of studies that he looked at.         7           And so I would interpret that using this
     8        Q As we did discuss yesterday, if you look         8   sort of quick approach is that there's not a
     9   at the population-based studies individually, at        9   statistical difference between the summary of the
    10   least based upon what's reported by Langseth in his    10   pooled odd ratio based on the type of populations
    11   Figure 1, some demonstrate statistical significance    11   that were recruited.
    12   and some do not; is that right?                        12           Again, the point estimates are a little
    13        A I -- again, it's -- they're slightly --         13   bit different for sure, 1.4 versus 1.12. But the
    14   it's -- it's not the only -- the confidence interval   14   confidence intervals overlap, suggesting that
    15   overlapping one is sort of what I consider a           15   they're not -- they're not different.
    16   quick-and-dirty way to answer statistical              16       Q You are familiar with selection bias; is
    17   significance.                                          17   that right?
    18            It's not exactly that way. But some of        18       A I am.
    19   them clearly suggest statistical significance. I       19       Q Would you agree that the hospital-based
    20   think ten of them. And four of them suggest not        20   case-control studies may be less susceptible to
    21   statistical significance. So the individual            21   selection bias than population-based case-control
    22   studies. But it's a little more complicated than       22   studies?
    23   that.                                                  23           MS. O'DELL: Object to the form.
    24        Q Would you agree that if a study does not        24       A I -- I would not agree with that. In
    25   show statistical significance, that it could mean      25   general, you think about hospital-based studies as
                                                Page 279                                                   Page 281
     1   that no risk exists?                                    1   being potentially a great deal more bias.
     2       A If --                                             2           Now, that -- with that caveat, it depends
     3           MS. O'DELL: Object to the form.                 3   on how you found your cases and your controls.
     4       A -- an individual study shows no                   4           But in general, you want to find
     5   statistical significance, it means -- with all          5   population-based cases and controls, I believe,
     6   research -- that the most likely truth is the point     6   rather than hospital-based. But it matters how they
     7   estimate, which is whatever that point estimate is,     7   are recruited.
     8   but that you could not exclude chance as one of the     8      Q Hospital-based control studies are
     9   possible causes for the results.                        9   comparing hospitalized patients to hospitalized
    10       Q (BY MR. ZELLERS) If we looked just at the        10   patients; is that right?
    11   population-based case-control studies and the          11      A I -- I -- in this case, yes, I think
    12   hospital-based case-control studies that are shown     12   that's --
    13   by Langseth in Figure 1, there is an inconsistency     13      Q And --
    14   between the two in that each of the individual         14      A -- how they define it.
    15   hospital-based case-control studies have confidence    15      Q -- in population based studies, you're
    16   intervals which overlap one, and many of the           16   more likely to be comparing ill people to healthy
    17   population-based or at least some of the               17   people; is that right?
    18   population-based studies do not, correct?              18      A Again, it -- it depends on how you're
    19       A I -- I do not believe there is                   19   selecting. If you're selecting patients who are
    20   inconsistency between the pooled odds ratio for        20   sick in the hospital and comparing that to healthy
    21   population-based studies, which has a confidence       21   patients who are outpatient population based, that
    22   interval that overlaps the confidence intervals for    22   would be the kind of bias that you are describing.
    23   the pooled odd ratio for the hospital-based studies.   23   That would be the worst.
    24           So using the approach that you are             24           But if you're, in fact, comparing
    25   suggesting of using confidence intervals, the way to   25   relatively comparable population-based cases and
                                                                              10 (Pages 278 to 281)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 282                                                    Page 284
     1   controls, then I don't agree that hospital-based        1   been established; is that right?
     2   controls are -- are better.                             2      A That is what they say.
     3      Q Penninkilampi. One of the studies that             3      Q Meta-analyses or systematic analyses, that
     4   you talked to us about yesterday was Penninkilampi      4   can combine the work of other published studies into
     5   2018; is that right?                                    5   one study; is that right?
     6      A Yes.                                               6      A Yes.
     7      Q Penninkilampi 2018 did not include the             7      Q If there are biases and confounding in the
     8   Gates 2010 cohort study; is that right?                 8   underlying studies, the meta-analysis or the
     9      A That's correct.                                    9   systematic review or analysis will reflect the
    10      Q Did you verify that the data that                 10   biases and confounding; is that right?
    11   Penninkilampi reports is accurate?                     11         MS. O'DELL: Object to the form.
    12      A I did not. Did I go back and validate             12      A Any biases in the papers will not go away
    13   their individual abstracted data?                      13   by combining them. I'm not sure what you mean by
    14      Q Yeah.                                             14   "the confounding." If -- if a paper has an
    15      A I did not.                                        15   accounting for confounding?
    16      Q In determining that a study is of high            16      Q (BY MR. ZELLERS) Let me ask you another
    17   quality, would it be important to you that the         17   question. A proper meta-analysis or systematic
    18   authors are accurately reporting the odds ratios and   18   review must analyze the sources of heterogeneity
    19   confidence intervals?                                  19   across the studies; is that right?
    20      A Data accuracy is important to me. And --          20      A Yes.
    21   and I would look towards the journal peer review       21      Q And a proper meta-analysis or systematic
    22   process to have done that, yes.                        22   review must examine the methodology of each of the
    23      Q If -- if there were errors in reporting of        23   underlying studies, correct?
    24   the odds ratios or the confidence intervals, that      24      A Yes.
    25   could call into question the reliability of the        25      Q You have given some opinions -- or at
                                                Page 283                                                    Page 285
     1   study; is that right?                                   1   least you state some opinions relating to the
     2          MS. O'DELL: Object to the form.                  2   biological mechanisms of cancer; is that right?
     3      A Yes, that's definitely possible.                   3       A Yes.
     4      Q (BY MR. ZELLERS) Penninkilampi 2018, that          4       Q The biological mechanisms of cancer are
     5   study specifically states that a certain causal link    5   not your area of expertise; is that correct?
     6   between talc use and ovarian cancer has not been        6          MS. O'DELL: Object to the form.
     7   established, correct?                                   7       A I'm knowledgeable about the biological
     8          MS. O'DELL: Object to the form.                  8   mechanism of cancer as a scientist, as a physician,
     9      A I don't remember them concluding that.             9   as a cancer epidemiologist.
    10   But if you tell me where --                            10       Q (BY MR. ZELLERS) Would you agree that
    11      Q (BY MR. ZELLERS) Sure.                            11   there are others who are more closely involved in
    12      A -- it is --                                       12   the area of biologic plausibility as it relates to
    13      Q Look at page 42, at the end of first              13   the perineal use of talcum powder and ovarian
    14   paragraph.                                             14   cancer?
    15      A Well, perineal talc use has not been shown        15          MS. O'DELL: Object to the form.
    16   to be safe. In a similar regard, a certain causal      16       A I believe there are others who have more
    17   link between the use and ovarian cancer has not been   17   expertise directly in that area than I do.
    18   established --                                         18       Q (BY MR. ZELLERS) Your opinion is that
    19      Q And you --                                        19   talcum powder travels from the perineal region to
    20      A -- is what --                                     20   the ovaries through the women's reproductive tract;
    21      Q -- okay.                                          21   is that right?
    22      A -- Penninkilampi says.                            22       A Yes.
    23      Q And I think you omitted the word "talc."          23       Q If talcum powder can make this migration,
    24   But their specific statement is, A certain causal      24   can other substances make the same migration?
    25   link between talc use and ovarian cancer has not yet   25       A Yes.
                                                                               11 (Pages 282 to 285)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 286                                                    Page 288
     1       Q Sand from the beach?                              1   are a lot of other factors such as sphincters or the
     2       A I don't know if there's evidence of sand          2   type of mucosa that it is or mucous barriers that
     3   from the beach.                                         3   might have a very strong relationship to the
     4       Q Toilet paper particles?                           4   concentration of talc.
     5       A I -- I -- I do not know if there's                5          So the rectum and the bladder have
     6   evidence of that.                                       6   sphincters, and the mucosa and the vagina and the
     7       Q There are no human studies that                   7   bladder and rectum are very different than the
     8   demonstrate the migration of any particulate matter     8   mucosa of the ovary. The endometrium has different
     9   from outside the peri -- peritoneum to the ovaries,     9   tissue.
    10   correct?                                               10          So I agree with you that you would expert
    11          MS. O'DELL: Object to the form.                 11   proximity would be one factor that might affect
    12       A When you say "demonstrate," do you mean          12   concentration. But the characteristics of the
    13   active demonstration or a suggestion that it has       13   tissue, the barriers, the physical or mucosal could
    14   gone that route?                                       14   be expected to have a much bigger impact.
    15       Q (BY MR. ZELLERS) Active -- active                15       Q No studies that you're aware of show
    16   demonstration.                                         16   inflammation as a result of genital talc use in the
    17       A So there are no studies that I know of           17   rectal, vulvar, vaginal, cervical, and uterine
    18   that have taken talcum powder and then documented      18   tissues; is that right?
    19   its movement through -- to the ovaries.                19       A I do not know of those studies.
    20       Q Or any particulate from outside the              20       Q And no studies show a link between
    21   perineum to the ovaries, correct?                      21   external genital talc use and rectal, vulvar,
    22          MS. O'DELL: Object to the form.                 22   vaginal, cervical, or uterine cancer; is that right?
    23       A I -- I don't know of any sort of active          23          MS. O'DELL: Object to the form.
    24   studies that have watched it moved. It's rather the    24       A That is correct.
    25   studies have found the particulate matter at its       25       Q (BY MR. ZELLERS) You have not done an
                                                Page 287                                                    Page 289
     1   destination and then have supposed it had to travel     1   expert review of the inflammation evidence yourself;
     2   there in some way.                                      2   is that fair?
     3       Q (BY MR. ZELLERS) None of the studies that         3          MS. O'DELL: Object to the form.
     4   you cite in your report actually looked at whether      4       A I -- I have done a lot of reading of the
     5   talcum powder can migrate from perineal application     5   inflammation literature. I'm not sure how I would
     6   through the fallopian tubes to the ovaries, correct?    6   define it as an expert or not an expert -- expert
     7       A Correct.                                          7   review.
     8          MS. O'DELL: Object to the form.                  8       Q (BY MR. ZELLERS) You do know that not all
     9       Q (BY MR. ZELLERS) You also cannot cite any         9   inflammatory conditions lead to cancer, correct?
    10   article that shows granulomas, fibrosis, or            10       A There's a lot of literature about certain
    11   adhesions anywhere up the reproductive tract of a      11   inflammation that causes chronic -- in particular a
    12   women as result of her external genital talc           12   lot of different kind of cancers, more publications
    13   application; is -- is that right?                      13   about acute inflammation that does not lead to
    14       A Yes.                                             14   cancer.
    15       Q If talcum powder migrates from the               15          But yes, there are both cancers that are
    16   perineal region to the ovaries, shouldn't exposure     16   very susceptible to inflammation or caused by it and
    17   to talc be far greater in concentration in the         17   some that are not.
    18   rectal, vulvar, vaginal, cervical, and uterine         18       Q Chronic inflammation. There are many
    19   tissues which are closer to the area of initial        19   chronic inflammatory conditions that do not lead to
    20   exposure?                                              20   cancer; is that right?
    21          MS. O'DELL: Object to the form.                 21       A Yes.
    22       A I think that assumes that proximity and          22       Q Do you agree that an agent can be a
    23   concentration, which you would expect which would      23   carcinogenic for one type of cancer, but not for
    24   fall off with more distance, is the only factor that   24   others?
    25   would determine concentrations when, in fact, there    25       A Yes.

                                                                               12 (Pages 286 to 289)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 290                                                     Page 292
     1       Q Rheumatoid arthritis, that is a chronic           1      A In a few of the papers I reviewed -- not
     2   inflammation condition, but it does not increase the    2   very many of them, but a few of them had a small
     3   risk of my ovarian cancer, correct?                     3   proportion of women who were exposed to cornstarch
     4       A Correct.                                          4   rather than talc powder products.
     5       Q The same with psoriasis; is that right?           5          I -- I think it -- they had negative
     6       A Not that I know of.                               6   results, but they were small -- a small number of
     7       Q Page 41 of your report, you conclude that,        7   women, so I wouldn't use that to prove that it's
     8   Regular exposure to talcum powder products causes       8   safe.
     9   ovarian cancer in some women.                           9          But I don't know of any literature that
    10           Do you see that?                               10   suggests cornstarch is carcinogenic.
    11       A I do.                                            11      Q Your opinion that talcum powder products
    12       Q Is there a certain amount of talcum powder       12   cause inflammation is not based on the determination
    13   that a product must contain to cause inflammation?     13   that there is a threshold amount of talcum powder
    14           MS. O'DELL: Object to the form.                14   that will be required to be in the product before
    15       A I -- I -- I do not know of evidence that         15   you can conclude that the product will cause chronic
    16   quantifies the amount of exposure that's necessary     16   inflammation; is -- is that right?
    17   that a published literature supports the amount        17          MS. O'DELL: Object to the form.
    18   women use is an amount that leads to cancer, but       18      A I -- I -- I think I would like to agree.
    19   I -- I don't know if there's a minimum threshold       19   I'm just not sure exactly of -- what I am agreeing
    20   or...                                                  20   to. So I -- I don't know any level --
    21       Q (BY MR. ZELLERS) Do you consider                 21          MS. O'DELL: That's always --
    22   cornstarch to be a talcum powder product that causes   22      A -- of --
    23   inflammation?                                          23          MS. O'DELL: -- a good sign you should --
    24           MS. O'DELL: Object to the form.                24      A -- I -- I can't --
    25       A Talcum powder -- cornstarch -- talcum            25          MS. O'DELL: -- be --
                                                Page 291                                                     Page 293
     1   powder causes inflammation. Cornstarch can also         1       A -- I can't tell exactly what the -- what
     2   cause inflammation.                                     2   the question is.
     3          I believe cornstarch tends to be an acute        3         I -- there -- I don't know -- I don't know
     4   inflammatory process rather than a chronic              4   an amount of talcum powder that would make a product
     5   inflammation process. But --                            5   safe.
     6       Q (BY MR. ZELLERS) You --                           6       Q (BY MR. ZELLERS) Do you believe that
     7       A -- I -- I wouldn't consider cornstarch to         7   cornstarch is a superior alternative to talc?
     8   be a talcum powder --                                   8       A I believe that talcum powder products will
     9       Q Is --                                             9   increase women's risk of cancer, and I would avoid
    10       A -- product.                                      10   using it as a woman or as a doctor counseling my
    11       Q -- is there a study that you can point me        11   patients.
    12   to that states that any inflammation from cornstarch   12       Q Well --
    13   is acute and not chronic?                              13       A I don't have views that cornstarch is a
    14          MS. O'DELL: Object to the form.                 14   carcinogenic product. So in terms of any potential
    15       A There's a literature about cornstarch            15   risk-benefit relationship of cornstarch has the same
    16   leading to acute inflammation, for example, in the     16   value in terms of absorbency and much fewer risk of
    17   surgical literature when it was on surgical gloves     17   harm, then if that's the question, then I think
    18   or on physical exams which has led to its being        18   cornstarch is preferable.
    19   removed so -- so as to reproduce acute inflammatory    19       Q There are no reports in the literature of
    20   processes.                                             20   externally applied talc leading to inflammation,
    21       Q (BY MR. ZELLERS) My question to you is:          21   granulomas, fibrosis, or adhesions anywhere along a
    22   Are you aware of any literature that states that       22   women's reproductive tract, correct?
    23   cornstarch is not associated with a chronic            23         MS. O'DELL: Objection, asked and
    24   inflammatory condition?                                24   answered.
    25          MS. O'DELL: Object to the form.                 25       A Not that I know of.

                                                                               13 (Pages 290 to 293)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 294                                                   Page 296
     1       Q (BY MR. ZELLERS) On page 12 of your report        1   inflammation; is that right?
     2   you state, The most widely accepted mechanism for       2       A Yes, they do.
     3   initiation, promotion, and progression of ovarian       3       Q If inflammation is a mechanism for ovarian
     4   cancer is tissue inflammation, leading to a series      4   cancer, you would expect women who use NSAIDS or
     5   of responses that result in cancer.                     5   aspirin to have a lower risk of ovarian cancer,
     6           Do you see that statement?                      6   correct?
     7       A I do.                                             7           MS. O'DELL: Object to the form.
     8       Q You do not cite any support in your report        8       A Other things being equal, you might expect
     9   for that proposition, correct?                          9   that if you could measure inflammation or influence
    10           MS. O'DELL: Object to the form.                10   it by using NSAIDS, that that might be associated.
    11       A I -- I think my -- that first paragraph          11   That is true.
    12   was sort of an introduction to that section. So        12       Q (BY MR. ZELLERS) The literature, though,
    13   then I go on to cite, I -- I think, the supporting     13   is mixed in terms of whether or not the use of
    14   evidence within the next few paragraphs.               14   NSAIDS or aspirin actually reduce the risk of
    15       Q (BY MR. ZELLERS) You would agree that            15   ovarian cancer; is that right, or the incidence of
    16   research regarding whether chronic inflammation can    16   --
    17   cause ovarian cancer is ongoing, correct?              17       A So --
    18       A It's an active area of research.                 18       Q -- ovarian cancer?
    19       Q Are you familiar with a paper published by       19       A -- I have reviewed those papers and would
    20   Melissa Merritt in 2008, entitled "Talcum Powder       20   agree with you that some seem to suggest one
    21   Chronic Pelvic Inflammation and NSAIDS in Relation     21   direction, some others. I haven't quantified them
    22   to Risk of Epithelial Ovarian Cancer"?                 22   together or tried to summarize them.
    23       A I am.                                            23           But I would agree. There doesn't seem to
    24       Q It's included in your reliance materials         24   be a consistent message in that literature.
    25   on page 17; is that right?                             25       Q One of those papers is -- that's included
                                                 Page 295                                                   Page 297
     1       A Can you tell me the title again? Yeah.            1   in your reliance list is the Verdoodt 2017 paper; is
     2   Okay.                                                   2   that right? That's V E R D O O D T.
     3       Q Sure. Do you have that or I can --                3      A I am going to have to defer to seeing
     4       A No.                                               4   that.
     5       Q -- mark it?                                       5      Q Okay. Let me --
     6       A No, I have it.                                    6      A I believe --
     7       Q If you go to page 174 of the Merritt              7      Q -- show you --
     8   paper -- and tell me when you're --                     8      A -- it's on my list.
     9       A I'm there.                                        9      Q -- I will mark that paper as Exhibit 31.
    10       Q -- there -- at the bottom of the first           10          (Exhibit 31 was marked for identification
    11   paragraph of the discussion, the authors conclude,     11   and is attached to the transcript.)
    12   These results, in combination with previous studies,   12      A Thank you.
    13   suggest that chronic inflammation is unlikely to       13      Q (BY MR. ZELLERS) And turn, if you will, to
    14   play a major role in the development of ovarian        14   page 5 under "Discussion" on the first paragraph.
    15   cancer.                                                15      A And just to confirm, this is -- I -- I
    16          Is that right? Did I read that correctly?       16   have read this. This is a review article, right?
    17       A Using the results that they had available        17      Q Yes.
    18   on the data in 2007, that is what Dr. Merritt          18      A Okay.
    19   concluded.                                             19      Q So on page 5 under "Discussion," the first
    20       Q You also discuss in your report -- well,         20   sentence, the authors state, The sparse and
    21   let me withdraw that.                                  21   equivocal results for the association between NSAID
    22          You're familiar with NSAIDS, nonsteroidal       22   use and mortality among ovarian and endometrial
    23   antiinflammatory agents; is that right --              23   cancer patients preclude any firm conclusions at
    24       A Yes, I am.                                       24   this point.
    25       Q -- and aspirin? Those medicines reduce           25          Is that right?
                                                                               14 (Pages 294 to 297)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 298                                                    Page 300
     1       A That is what this author concludes. I'm           1       Q Have you spoken with Dr. Saed?
     2   trying to see what references he used for that, but     2       A I have not.
     3   that is what he concludes.                              3       Q Have you requested any information from
     4       Q Okay. And this is an article that was             4   Dr. Saed?
     5   published in 2017, correct?                             5       A I have not.
     6       A Yes.                                              6       Q The Saed study just looked at immortalized
     7       Q Yesterday counsel for plaintiffs indicated        7   cell lines; is that right?
     8   that you have -- in addition to the materials in        8       A Yes, I believe that's how the cell lines
     9   your report -- reviewed a 2018 chapter by Saed and      9   were --
    10   the Harper and Saed 2019 abstract; is that right?      10       Q Are --
    11       A I -- I reviewed several of his abstracts         11       A -- defined.
    12   and -- and a recent paper, yes.                        12       Q -- are you -- are you aware that Dr. Saed
    13       Q Do you know that Dr. Saed is a paid expert       13   testified that the cells were modified with a virus
    14   for the Plaintiffs in this litigation?                 14   to make them keep undergoing division in vitro?
    15       A I know he's a very well-respected                15       A I -- I'm aware that that's what happens to
    16   scientist that they have supported in his research.    16   cell lines. I -- I don't believe I saw his
    17       Q Is that a yes?                                   17   deposition to say that.
    18          MS. BOCKUS: I object. Nonresponsive.            18       Q Are you aware that Dr. Saed testified that
    19          MS. O'DELL: Mike, excuse me.                    19   the P53 gene was turned off in those cells?
    20          MR. ZELLERS: Sure.                              20       A No, I'm not aware.
    21          MS. O'DELL: You said the 2019 abstract.         21       Q Are you aware based upon your reading that
    22   Did you mean the abstract or the manuscript, just to   22   the loss of the P53 protein contributes to
    23   make sure I'm following the conversation?              23   unrestrained cellular proliferation?
    24          MR. ZELLERS: I -- I believe I mean the          24           MS. O'DELL: Object to the form.
    25   abstract. But we mean whatever the doctor has in       25       A I -- I believe that the reason you have
                                                Page 299                                                    Page 301
     1   her file that we marked yesterday.                      1   controls in experiment is to account for the
     2           THE COURT REPORTER: Who objected down           2   underlying expression in turnover cells so you can
     3   there?                                                  3   compare something you do to the cell versus the
     4           MS. BOCKUS: Jane Bockus.                        4   baseline in order to account for the baseline,
     5           MS. O'DELL: I think what she had in her         5   whatever it is, proliferation of the cell or
     6   file was the manuscript. So I think that's what you     6   apoptosis levels or expression of oxidants or
     7   marked as an exhibit, but I don't want there to be      7   antioxidants.
     8   confusion.                                              8           So I -- I -- the way you're asking the
     9       Q (BY MR. ZELLERS) You have reviewed several        9   question is -- is: Are you comparing this cell line
    10   publications within the last year or two from          10   to living cells in context?
    11   Dr. Saed --                                            11           And I would agree with you that this cell
    12       A Yes.                                             12   line is different than living cells in context.
    13       Q -- is that right?                                13           But if you're asking if it's a valid
    14       A Yes, I have.                                     14   comparison to do the experiment in this cell line,
    15           THE COURT REPORTER: Wait.                      15   it is because you are doing an intervention to those
    16           MR. ZELLERS: All right. Are you okay,          16   cells that has a control group.
    17   Ms. Court Reporter?                                    17           And so this cell line has a different
    18           THE COURT REPORTER: Yes. I just have to        18   behavior than a -- a living cell does, but provides
    19   have you wait until the end of the question, please.   19   a comparison group.
    20       Q (BY MR. ZELLERS) Let me re-ask my --             20       Q (BY MR. ZELLERS) What methodology did you
    21       A Please.                                          21   use to apply Dr. Saed's results to normal cells in
    22       Q -- question. Did you know that Dr. Saed          22   actual organs?
    23   is a paid expert for the Plaintiffs in this            23       A So --
    24   litigation?                                            24           MS. O'DELL: Object to the form.
    25       A Yes, I do.                                       25       A -- in some of the work that I do around a

                                                                              15 (Pages 298 to 301)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 302                                                    Page 304
     1   different environmental carcinogen -- radiation, for    1   develop enough mutations to develop into cancer.
     2   example -- we look at changes of expression, certain    2          But the greater the oxidative stress for
     3   enzymes in cells to radiation to understand what        3   cancer like ovarian cancer, the greater the chance
     4   that damage does in terms of expression of relevant     4   of inducing cancer.
     5   genes, cell proliferation, and things like that.        5       Q Can you cite me to any study that says
     6           So I take his research to mean that I can       6   that?
     7   understand the changes to pro oxidants to               7          MS. O'DELL: Object to the form.
     8   antioxidants to apoptosis to gene expression in the     8       A Any study that says that there's a dose
     9   cell. Not that I can come up with the exact             9   response related to the amount of stress and the
    10   quantification in a patient that would correspond to   10   member -- numbers of cancers?
    11   it, but rather, what mechanisms will be stimulated     11       Q (BY MR. ZELLERS) That supports, yes, your
    12   by the talc.                                           12   statement and your position.
    13           So to answer your question, I -- it tells      13       A I -- the data that I am thinking of -- and
    14   me what parts of the cell are sensitive to it, but     14   I'm not sure if it's quite the same as the question
    15   not the quantity that might lead to that               15   that you're asking -- is the number of gene
    16   sensitivity.                                           16   mutations is higher in cancer cells than it is in
    17       Q (BY MR. ZELLERS) Can you cite any data           17   noncancer cells. So --
    18   showing that the concentrations of exposure used in    18          THE COURT REPORTER: In noncancer?
    19   the Saed study are the same as would be encountered    19       A In non -- cancer cells have many more
    20   with the use of cosmetic talc in the perineal          20   genetic mutations than noncancer cells.
    21   region?                                                21          Both have generic mutations. And the
    22       A I cannot. That's what I was trying to            22   environment of having more oxidative stress is
    23   express.                                               23   associated with getting more mutations --
    24       Q Can you cite any data showing that the           24       Q (BY MR. ZELLERS) If -- if it's --
    25   level of concentration of exposure used in the Saed    25       A -- but --
                                                Page 303                                                    Page 305
     1   study has ever occurred in women with perineal talc     1       Q -- are you finished?
     2   use?                                                    2       A -- I -- I am.
     3           MS. O'DELL: Object to the form.                 3       Q Okay. If -- if exposure to a substance
     4       A I want to clarify my answer. I don't know         4   causes oxidative stress in certain tissue, does that
     5   those data.                                             5   mean that the substance will cause oxidative stress
     6       Q (BY MR. ZELLERS) Would you agree that             6   in all types of tissues?
     7   reactive oxygen species are a normal part of cell       7       A No.
     8   physiology?                                             8       Q Does the body have a protective mechanism
     9       A Yes.                                              9   that can limit tissue damage from oxidative stress?
    10       Q Do all substances that cause oxidative           10       A Yes.
    11   stress also cause cancer?                              11       Q Are there any publications that you are
    12       A I think you care about the balance of            12   aware of that indicate that oxidative stress is
    13   oxidative, pro oxidative, antioxidative levels.        13   involved in the development of ovarian cancer?
    14           That being said, I do not know that every      14       A We discussed earlier that inflammation
    15   instance where you have more pro oxidative leads to    15   increases oxidative stress such as pelvic
    16   cancer. I know of some where it does. I don't know     16   inflammatory disease leads to oxidative stress.
    17   if it always does.                                     17           And pelvic inflammatory disease is
    18       Q Does the presence of oxidative stress in a       18   associated and leads to ovarian cancer. But I'm not
    19   tissue indicate that cancer will develop in that       19   sure if that's answers the question that you are...
    20   tissue?                                                20       Q Well, if I had more time, we would discuss
    21       A I think I mentioned this yesterday, that         21   that at greater length. You're familiar with the
    22   there's a sense of a probability. So the               22   term "confounding" is that right?
    23   probability will likely increase.                      23       A I -- I -- Yes, I'm --
    24           But most cells, thankfully, will repair        24       Q All right.
    25   and -- that damage, and so most cells will not         25       A -- familiar with that term.
                                                                              16 (Pages 302 to 305)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 306                                                    Page 308
     1       Q Confounding is where the presence of              1   is unavoidable in this type of summary. The large
     2   another association confuses the relationship           2   difference in general between adjusted and crude
     3   between the exposure and the disease being studied;     3   results emphasizes the importance of adjustments
     4   is -- is that right?                                    4   when estimating particular risk?
     5       A Yes.                                              5          THE COURT REPORTER: When estimating?
     6       Q Confounding can distort results in                6          MR. ZELLERS: Particular risk.
     7   epidemiological studies; is that right?                 7       A Are you asking what I meant by that?
     8       A Yes.                                              8       Q (BY MR. ZELLERS) Yes. What did you mean
     9       Q Would you agree that residual confounding         9   by that?
    10   is possible in every observational study?              10       A Okay. I -- I would say my sentence is not
    11       A Yes.                                             11   as clear as it should have been. What I mean -- and
    12       Q It's also -- strike that.                        12   I'm not really sure why I pointed this out just for
    13           It's possible that unmeasured confounders      13   Berge -- it's really a general -- is that the
    14   may be present in every observational study,           14   studies they included, adjusted for different
    15   correct?                                               15   covariants.
    16       A Yes.                                             16          They didn't all adjust for the same
    17       Q It's impossible to say that all known and        17   covariates. So a variety of covariates, meaning
    18   unknown confounding factors have been controlled for   18   they didn't all adjust for the exact same
    19   in any given study; is that right?                     19   covariates.
    20       A Yes.                                             20          But this is unavoidable in this type of
    21       Q Would you agree that there are new factors       21   study. So I was just saying that some of the
    22   that are being discussed that are possibly involved    22   included studies adjusted for A, B and C; and others
    23   with ovarian cancer that are just being published in   23   were adjusted for B, C, and D; and others D, E, and
    24   the literature such as a history of chlamydia          24   F.
    25   infection and a history of weight gain during          25       Q Huncharek, page 26. Do you see that
                                                Page 307                                                    Page 309
     1   adolescence?                                            1   reference where you talk about that study?
     2           MS. O'DELL: Object to the form.                 2       A Yes.
     3      A Chlamydia infection would be the most              3       Q You say that the difference between a
     4   common infection of PID, and so that's something        4   relative risk of 1.19 and 1.38 is small; is that
     5   that I just mentioned. I'm not sure that that's         5   right?
     6   such a new one.                                         6          MS. O'DELL: You're talking about 2007 or
     7           And weight gain during adolescence is           7   2003?
     8   something that's of interest across a range of          8       Q (BY MR. ZELLERS) Whichever --
     9   cancers, like breast cancer. I don't know it            9       A Which page?
    10   personally around ovarian cancer, but...               10       Q -- so page 26 --
    11      Q (BY MR. ZELLERS) Those factors that we            11          MS. O'DELL: They're both on the same
    12   just talked about generally have not been controlled   12   page.
    13   for in any of the published talcum powder ovarian      13       Q (BY MR. ZELLERS) I think I'm looking at
    14   cancer studies; is that right?                         14   the one at the bottom.
    15      A I -- the PID, I -- I think, has it in a           15          MS. O'DELL: Okay. All right. 2003?
    16   paper or two. And -- and the weight gain, I -- I       16          MR. ZELLERS: Yes.
    17   don't -- I have never seen that one.                   17       Q (BY MR. ZELLERS) So are you with me? Are
    18      Q We talked yesterday about the Berge study.        18   you looking at your last couple of lines there on
    19   Do you remember that?                                  19   page 26?
    20      A I do.                                             20       A Yes.
    21      Q And you talk about Berge on page 25 of            21       Q And you do say that the difference between
    22   your report.                                           22   a relative risk of 1.19 and 1.38 is small; is that
    23           What do you mean when you say, A second        23   right?
    24   limitation of Berge is that the included studies       24       A It -- odds ratios --
    25   adjusted for a variety of covariates, although this    25       Q Yeah.

                                                                              17 (Pages 306 to 309)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 310                                                   Page 312
     1       A -- but yes.                                      1       A Yeah.
     2       Q All right. And -- and so a difference in         2       Q -- yesterday?
     3   odds ratios of .19, you would consider that to be a    3       A So the most important -- as it points out
     4   small difference?                                      4   here in -- in Huncharek, the next sentence of where
     5          MS. O'DELL: Object to the form.                 5   we are, is that this review looked at any exposure
     6       A You're asking why I said those differences       6   rather than quantifying.
     7   are small?                                             7          And I think the primary concern that I had
     8       Q (BY MR. ZELLERS) No. Well, what I guess          8   was that any exposure is a very vague definition.
     9   what I want to know is: Would you agree that the       9   And I thought it was much more important to have a
    10   difference between an odds ratio of 1.0 and 1.2 is    10   meaningful measure of exposure.
    11   small?                                                11          So the studies that I primarily included
    12          MS. O'DELL: Object to the form.                12   were ones that had quantification of the exposure,
    13       A I think the question of whether or not you      13   but also had some other requirements.
    14   have a difference of absolute odds of .2 along        14          I -- I -- I want to say that my systematic
    15   different values means the same thing. And I would    15   review was one piece of the information that I
    16   say it doesn't mean the same thing.                   16   considered, but my summary estimate in the
    17          So if you have an odds ratio as an example     17   systematic review that I completed had the same
    18   of 4.7 versus 4.9, they're kind of the same number.   18   conclusion as all these other systematic reviews.
    19   If you have a number that's 1.0 versus 1.2, those     19          In the ballpark, it just gave me greater
    20   are not the same number.                              20   confidence that we were truly looking at regular
    21          So I don't think you would want to assume      21   exposure rather than any exposure.
    22   the shift in the absolute magnitude of the            22          Now, we know that the most common exposure
    23   difference in odds. I often published difference in   23   is regular exposure. That's the -- the more
    24   odds ratios of .2 is stable.                          24   important -- most common.
    25          But I think is -- your point is well taken     25       Q Take a look at page 39 in your report
                                                Page 311                                                   Page 313
     1   that that's not a trivial difference. I was just       1   where you discuss temporality; is that right?
     2   saying in the context of a systematic review, those    2       A Yes.
     3   are both very strong, positive associations, and       3       Q You say that women may use talc when
     4   that's a relatively minor difference.                  4   undergoing ovarian cancer treatment.
     5       Q (BY MR. ZELLERS) An odds ratio range of          5          Do you see that?
     6   1.19 to 1.38 is much closer to an odds ratio of 1.0    6       A Yes.
     7   to 1.2 than it is to an odds ratio of 4.5 to 4.7,      7       Q What is your support for that or what is
     8   correct?                                               8   that statement based on?
     9       A I -- I think that's a valid -- a valid           9       A I -- I think it's based on my clinical
    10   comparison.                                           10   experience that postop patients often will use
    11       Q On page 26, 27, there's a carryover there,      11   talcum powder products for systematic relief of
    12   but you state that the population controls are more   12   symptoms that could be related to the surgical
    13   likely relevant and valid than hospital controls.     13   procedure itself.
    14           What's your support for that?                 14       Q All right. Asbestos. Are your opinions
    15       A It's what we discussed earlier. I -- I          15   in this case dependent on talcum powder containing
    16   think population-based controls are -- are better     16   asbestos?
    17   than hospital-based controls.                         17       A No, they're not.
    18       Q With respect to your systematic review,         18       Q Are your opinions in this case dependent
    19   did you attempt to identify gaps or flaws in the      19   on talcum powder containing trace amounts of metals?
    20   underlying studies?                                   20          MS. O'DELL: Object to the form.
    21       A I reviewed the individual studies and set       21       A No, they're not.
    22   forth criteria that I thought were required for       22       Q (BY MR. ZELLERS) Are your opinions in this
    23   inclusion.                                            23   case dependent upon talcum powder containing any
    24       Q What were those criteria? Are those             24   particular fragrance chemical?
    25   contained in your forms that we talked about --       25       A No, they're not.

                                                                             18 (Pages 310 to 313)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 314                                                    Page 316
     1       Q Do you believe that talcum powder, which          1       A I -- I haven't seen any.
     2   does not contain asbestos, causes ovarian cancer?       2       Q (BY MR. ZELLERS) Have you requested any?
     3       A I don't have any data on which to conclude        3          MS. O'DELL: Object to the form. There
     4   based on epidemiologic evidence that there is such a    4   have been no defense expert reports in this case.
     5   product, so I don't know that there is any product      5          MR. ZELLERS: Counsel, please object to
     6   that has been studied that doesn't contain asbestos     6   form. There have been many defense expert reports
     7   and fibrous talc.                                       7   in the talcum powder litigation generally.
     8          I think in a laboratory setting, people          8          But my question was whether or not she has
     9   have studied products that they describe as being       9   seen anything, so she can -- I think she has already
    10   asbestos free, and those products do cause cellular    10   answered.
    11   damage.                                                11       Q (BY MR. ZELLERS) Is that right? Have you
    12          But from an epidemiologic perspective,          12   answered the question?
    13   which is primarily the data I looked at, all of the    13          MS. O'DELL: Object to the form.
    14   products that have been studied, I believe contain     14       A I have asked to seen reports. No. I have
    15   asbestos and fibrous talc.                             15   asked to seen testing results. I have not asked to
    16       Q You have made an assumption or it is your        16   seen reports.
    17   belief that all talcum powder products contain         17       Q (BY MR. ZELLERS) Have you seen testing
    18   asbestos; is that right?                               18   results from the FDA and its testing of talcum
    19          MS. O'DELL: Object to the form.                 19   powder?
    20       A My belief is that many talcum powder             20       A I have.
    21   products contain asbestos or --                        21       Q The FDA did some testing in 2010. Did you
    22       Q (BY MR. ZELLERS) If --                           22   see those results?
    23       A -- fibrous.                                      23       A I did.
    24       Q -- if your assumption about contamination        24          MS. O'DELL: Do you need a break or are
    25   of talcum powder products with asbestos were not       25   you good or --
                                                Page 315                                                    Page 317
     1   true, would that change your opinions in this case?     1       A I actually would love a -- a break. I
     2           MS. O'DELL: Object to the form.                 2   don't mind going a few more minutes, if that would
     3       A In -- in this case, it would not. I --            3   be good or -- but otherwise, I would love a break.
     4   I -- the epidemiologic evidence is very strong that     4          MS. O'DELL: Whenever is a good time.
     5   exposure to talcum powder products, whatever it         5          MR. ZELLERS: Sure. I'll just finish
     6   contains, is carcinogenic.                              6   this.
     7       Q (BY MR. ZELLERS) You have looked at               7       Q (BY MR. ZELLERS) I'll hand you the
     8   several reports from Dr. Longo; is that right?          8   exhibit, Exhibit 32.
     9       A I have.                                           9          (Exhibit 32 was marked for identification
    10       Q You're aware he is a paid litigation             10   and is attached to the transcript.)
    11   expert; is that right?                                 11       Q (BY MR. ZELLERS) Is that --
    12       A Yes, I am.                                       12       A Thank you.
    13       Q You're aware he wrote his reports for the        13       Q -- the -- at least some of the testing by
    14   purpose of this litigation and that those reports      14   the FDA that you have seen?
    15   have not been published; is that right?                15       A Yes, it is.
    16       A I -- I know that he has generated a report       16       Q That testing was done by an independent
    17   for this, yes.                                         17   laboratory; is that right?
    18       Q Do you know if any defense ex -- strike          18       A I -- I -- I don't know that, but I believe
    19   that.                                                  19   you.
    20           Do you know if any defense experts have        20       Q Take --
    21   addressed or responded to Dr. Longo's litigation       21          MS. O'DELL: Do you have a copy for me?
    22   reports?                                               22          MR. ZELLERS: Oh, I'm so sorry. I have
    23           MS. O'DELL: I would object to the form.        23   that, yes. Sorry.
    24   There's been no defense reports in this case, as you   24          MS. O'DELL: Thanks.
    25   know.                                                  25       Q (BY MR. ZELLERS) If you go to the second
                                                                              19 (Pages 314 to 317)
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                                  Rebecca Smith-Bindman, M.D.
                                                 Page 318                                                   Page 320
     1   page, the second paragraph, We contracted with AMA      1   would like -- she edits all of my publications
     2   Analytical Services of Lanham, Maryland, to conduct     2   before I submit them.
     3   this laboratory service -- or strike that -- survey.    3       Q (BY MR. ZELLERS) When we left the last
     4          Do you see that?                                 4   session, I asked you about asbestos and whether or
     5       A I don't. I'm on the right page.                   5   not asbestos is contained in talcum powder.
     6       Q On the second page.                               6          Is there any amount of asbestos that would
     7       A The second page.                                  7   be safe in talcum powder products?
     8       Q The second paragraph, the second --               8       A And the simple answer would be no, I don't
     9       A Yes.                                              9   think there's any amount that would be safe in
    10       Q -- sentence --                                   10   talcum powder products.
    11       A -- yes. Yes. Thank you.                          11       Q All right. Is there any amount of trace
    12       Q All right.                                       12   metals that would be safe in talcum powder products?
    13       A Yes.                                             13          MS. O'DELL: Object to the form.
    14       Q And at least based upon this report, no          14       A I believe there would be amounts of trace
    15   asbestos was detected in the talcum powder that was    15   metals that would be acceptable.
    16   tested; is that right?                                 16       Q (BY MR. ZELLERS) Are there any amounts of
    17       A In the reports that they show, which             17   fragrance chemicals that would be safe in talcum
    18   might -- my understanding is that they had two         18   powder products?
    19   samples of baby powder, talcum powder in this. And     19       A I believe there would be in certain
    20   that in those two specimens using the testing method   20   categories. And in others, there would not.
    21   they used, they didn't find evidence of asbestos.      21       Q There have been no fragrance chemicals, to
    22          MR. ZELLERS: All right. Let's take a            22   your knowledge, that have been found in a study to
    23   break.                                                 23   be associated with ovarian cancer, correct?
    24          THE VIDEOGRAPHER: The time is 10:47 a.m.        24          MS. O'DELL: Object to the form.
    25   We are now off the record.                             25       A I -- I know of no -- no such exploration.
                                                 Page 319                                                   Page 321
     1          (A break was taken from 10:47 a.m. to 1          1      Q (BY MR. ZELLERS) Do you have an opinion on
     2   11:00.)                                                 2   what type of asbestos is in talcum powder products?
     3          THE VIDEOGRAPHER: It's 11:00 a.m. We are         3      A I believe asbestos is sort of a family of
     4   now back on the record. Here begins Media No. 2 of      4   chemicals. I think there are six that kind of get
     5   the deposition of Dr. Rebecca Smith-Bindman, Ph.D.,     5   grouped together. I think all of them have been
     6   Volume II.                                              6   identified in talcum powder products, but I don't
     7      Q (BY MR. ZELLERS) Dr. Smith-Bindman, I was          7   know the distribution of the different kinds.
     8   handed the invoice for Chris Tachibana, which we        8      Q What type of asbestos is associated with
     9   have marked as Exhibit 33.                              9   ovarian cancer? And by that question, you believe
    10          (Exhibit 33 was marked for identification       10   that there's six subtypes of asbestos --
    11   and is attached to the transcript.)                    11          MS. O'DELL: Object to the form.
    12      Q (BY MR. ZELLERS) Is that the invoice that         12      Q (BY MR. ZELLERS) -- is that generally your
    13   your copy editor provided to you?                      13   understanding?
    14      A Yes.                                              14      A It's generally my understanding.
    15      Q Are there any other invoices that you have        15      Q Are -- are you able to give us any
    16   received from her?                                     16   opinions with respect to what type or types of
    17      A No.                                               17   asbestos is associated with ovarian cancer?
    18      Q Do you expect there to be any other work          18      A The -- the strongest summary of the
    19   that Ms. Tachibana does with respect to your report?   19   relationship that I know about is in the IARC 2012
    20      A Not with respect to my report.                    20   reports.
    21          If I move ahead to publish these results,       21          And those are from a number of different
    22   then I would likely reach out to her to help -- as     22   studies, including some cohort studies and case
    23   well.                                                  23   control studies.
    24          THE COURT REPORTER: To help?                    24          To my knowledge, I don't know that they
    25      A If we choose to publish the results, I            25   have divided them by the type of mineral silicate

                                                                              20 (Pages 318 to 321)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 322                                                   Page 324
     1   fibers that were in those studies.                      1      A I did not.
     2      Q What amount of asbestos exposure is                2      Q Would you agree that research on the
     3   associated with ovarian cancer?                         3   potential relationship between asbestos and ovarian
     4          MS. O'DELL: Object to the form.                  4   cancer has only considered a small number of cases?
     5      A To the best of my knowledge, the amount            5          MS. O'DELL: Object to the form.
     6   that's contained within talc powder products is         6      A I think the IARC review on the
     7   probably associated with -- the amount that's in        7   occupational exposures to asbestos had quite a
     8   there is probably the -- cancer.                        8   number of cancers, but I would have to go back to
     9      Q (BY MR. ZELLERS) Can you be any more               9   those studies to remember the number.
    10   definitive?                                            10      Q (BY MR. ZELLERS) Did you review the Reid
    11      A The talcum powder products that women have        11   2011 study?
    12   used is associated with ovarian cancer. And I          12      A I believe that's one that I -- I reviewed.
    13   believe that to know how much asbestos it takes to     13      Q Do you need me to hand that to you if --
    14   cause cancer, the easiest way to answer that is to     14      A Yes --
    15   quantify how much asbestos is within the --            15      Q -- ask you a couple of questions about it?
    16   the powder products.                                   16      A -- please.
    17          So I'm not in any way an expert on this.        17      Q Now, in the Reid 2011 paper, which we will
    18   But in the Longo report, it talked about an average    18   mark as Exhibit 34 --
    19   of 50,000 particles of asbestos being in each          19      A And is that one of the studies that
    20   gram of -- on average in each gram of baby powder      20   Camargo included in -- I think it is -- in his
    21   products.                                              21   systematic review? Yeah. So this is a different
    22          And he estimates that in a container, that      22   systematic review.
    23   would be millions of particles, which seems like a     23          (Exhibit 34 was marked for identification
    24   large number to me, but -- so I don't know the         24   and is attached to the transcript.)
    25   amount that would be required to be carcinogenic,      25      Q (BY MR. ZELLERS) Do you recognize
                                                Page 323                                                   Page 325
     1   but that's the amount that they were exposed to that    1   Exhibit 34?
     2   was carcinogenic.                                       2       A No.
     3       Q What type of ovarian cancer is asbestos           3       Q Okay. Well, Exhibit 34 is a study and --
     4   associated with?                                        4   and a review by the first named author, Allison
     5         MS. O'DELL: Object to the form.                   5   Reid.
     6       A I think the most stable estimate of the           6          "Does Exposure to Asbestos Cause Ovarian
     7   association of talcum powder products with ovarian      7   Cancer?"
     8   cancer is for all ovarian cancer and the                8       A I -- I have seen this paper.
     9   meta-analysis that others did. And my summary           9       Q All right.
    10   estimate was for all ovarian cancer -- epithelial      10       A I'm sorry. I didn't remember. So sorry.
    11   ovarian cancer, I should say.                          11       Q If you look at her conclusions -- or the
    12         In my more limited review, I focused on          12   author's conclusions on the right-hand side of the
    13   serous cancer, because I think as the most common      13   first page -- so I'm --
    14   cancer -- the most common invasive cancer, it's the    14       A Yes.
    15   one where there's enough statistical power to          15       Q -- looking right here --
    16   quantify the association, so I think the data are      16       A Yes.
    17   the most compelling for serous ovarian cancer.         17       Q -- the relationship between asbestos
    18         But the overall meta-analysis looks at any       18   exposure and ovarian cancer is not well
    19   cancer, and that's what we did as well.                19   understood -- is not as well understood as -- as
    20       Q You -- you looked at talcum powder,              20   that of asbestos-related diseases. Studies that
    21   correct?                                               21   have examined this issue have been limited for two
    22       A Talcum powder products, yes.                     22   major reasons.
    23       Q You did not undertake a Bradford Hill            23          No. 1, there's a small number of cases.
    24   analysis of the literature on asbestos and ovarian     24   And No. 2, there's difficulties with diagnosis and
    25   cancer, correct?                                       25   specifically distinguishing between peritoneal
                                                                              21 (Pages 322 to 325)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 326                                                     Page 328
     1   mesothelioma and ovarian cancer; is -- is that          1   author state, Further limitation of our analysis was
     2   right?                                                  2   its inability to account for nonoccupational risk
     3          MS. O'DELL: Object to the form.                  3   factors for ovarian cancer other than age?
     4       A So this -- those are the conclusions that         4       A Yes, I do see that.
     5   she makes. But I -- I want just to explain what she     5       Q On page 25 -- I'm sorry -- 1215. So the
     6   means by "small number of cases."                       6   page before the second paragraph under "Discussion,"
     7          She's comparing it to the number of men          7   they talk about Edelman 1992; is that right?
     8   exposed to asbestos. Just there -- there are many       8       A Yes.
     9   more men exposed to asbestos than -- than women         9       Q And the authors state, They concluded,
    10   exposed to asbestos.                                   10   however, that despite the positive and significant
    11          So I think -- I mean, I -- I think it's a       11   association, there was insufficient information to
    12   challenge, but I -- wouldn't say that there are a      12   infer that ovarian cancers were caused by
    13   small number of cases.                                 13   occupational exposure to asbestos --
    14          MR. ZELLERS: Move to strike as                  14       A I -- I'm sorry. I --
    15   nonresponsive.                                         15       Q Sure.
    16       Q (BY MR. ZELLERS) Would you agree that most       16       A -- I -- I'm lost. Where are we?
    17   of the studies that have been done and the data that   17       Q Okay. So do you see under "Discussion" --
    18   exists relates to occupational exposure of asbestos    18       A Yes.
    19   and ovarian cancer?                                    19       Q -- the second paragraph --
    20       A Yes. I --                                        20       A Yes.
    21       Q All right.                                       21       Q -- I believe the second sentence? It
    22       A -- yes.                                          22   says, They concluded.
    23       Q You looked at the Camargo paper 2011; is         23          Are you with me?
    24   that right?                                            24       A Yes. They are describing another
    25       A Yes.                                             25   meta-analysis --
                                                Page 327                                                     Page 329
     1      Q That study points out that there's an              1        Q Yes.
     2   inability to account for nonoccupational risk           2        A -- they concluded, yes.
     3   factors for ovarian cancer in these studies other       3        Q This -- this is a review of different meta
     4   than age; is that right?                                4   --
     5          MS. O'DELL: If -- if you remember. If            5      A Yeah.
     6   you need to see --                                      6      Q -- analyses; is that right?
     7      A I -- I don't remember.                             7      A Yes.
     8      Q (BY MR. ZELLERS) All right. Do you have            8      Q And they're describing Edelman 1992. And
     9   the Camargo paper in front --                           9   they state, They concluded, however, that despite
    10      A I --                                              10   the positive and significant association, there was
    11      Q -- of you or would you like me to give it         11   insufficient information to infer that ovarian
    12   to you?                                                12   cancers were caused by occupational exposure to
    13      A -- please.                                        13   asbestos because of concerns about tumor
    14      Q Camargo 2011, we will mark as deposition          14   misclassification, inappropriate comparison
    15   Exhibit 35.                                            15   populations, and the failure to take into account
    16          (Exhibit 35 was marked for identification       16   for known risk factors.
    17   and is attached to the transcript.)                    17           Is that right?
    18      A Thank you.                                        18      A You're reading from Camargo, who is
    19      Q (BY MR. ZELLERS) Do you have that in front        19   quoting from a discussion by Edelman, so that --
    20   of you now?                                            20   that's what it says. I -- I don't -- I don't know
    21          MS. O'DELL: Thank you.                          21   that that's what Edelman says, but -- but yes,
    22      A Yes, I do.                                        22   that's the...
    23      Q (BY MR. ZELLERS) Camargo. Take a look, if         23      Q Wouldn't you expect to find higher rates
    24   you will, you know, on page 1216. The second           24   of other cancers in women using talc, like
    25   paragraph above "Conclusion," does Camargo and the     25   mesothelioma, if they are being exposed to
                                                                                22 (Pages 326 to 329)
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                                             Rebecca Smith-Bindman, M.D.
                                                               Page 330                                               Page 332
     1    substantial amounts of asbestos?                                 1       Q Okay. So when -- if you answered a
     2           MS. O'DELL: Object to the form.                           2   question, is it because you believe you understood
     3       A I -- I'm confused. I'm confused. Are you                    3   it and that you felt able to answer it?
     4    saying women exposed to asbestos are not getting                 4       A Yes.
     5    mesothelioma?                                                    5           MS. O'DELL: Object to the form.
     6       Q (BY MR. ZELLERS) Well, let me ask it this                   6       Q (BY MS. BOCKUS) Okay. So before being
     7    way: Are -- are women who use talc in the perineal               7   hired in this case, you had not really looked at the
     8    region at greater risk of mesothelioma?                          8   association between talc and ovarian cancer; is that
     9       A I do not know studies that have said that.                  9   fair?
    10       Q Are women who use talc in the perineal                     10       A That's correct.
    11    region at greater risk of asbestosis?                           11       Q The person who wrote to you first, do you
    12       A In the lungs?                                              12   remember if it was a male or a female, the attorney?
    13       Q Yes.                                                       13       A I think it was a women.
    14       A I -- I do not know those studies.                          14       Q Okay. And have you -- tell me what search
    15       Q With respect to fragrance chemicals, you                   15   you have done to locate that person's name.
    16    have no evidence that the blood or tissue levels of             16       A I could probably search some more. I --
    17    any trace metals are higher in genital talc users               17   I -- my correspondence with these lawyers that I
    18    compared to nonusers, correct?                                  18   have a document of on my computer is from July.
    19       A I -- I don't know that literature at all.                  19           But Mike reminded me that I must have met
    20       Q And you have no knowledge as to either the                 20   with them in June. So I could go through -- there
    21    amount or concentration of different fragrance                  21   are ways I can access older e-mails to look if
    22    chemicals in the baby powder, correct?                          22   that's important to you. I'm happy to try and find
    23       A I -- I do not.                                             23   that person.
    24           MR. ZELLERS: Okay. I have no further                     24       Q I just was curious. There -- because you
    25    questions. My colleagues may have some questions.               25   have nothing in the published literature about the
                                                               Page 331                                               Page 333
      1           MS. BOCKUS: Could we go off the record                   1   etiology of ovarian cancer, correct?
      2   for just a minute to move the microphone down?                   2       A I do not. And I will tell you I asked the
      3           THE VIDEOGRAPHER: The time is 11:16 a.m.                 3   person who contacted me what the case was about, was
      4   We are off the record.                                           4   it an area of my expertise.
      5           (A break was taken from 1:16 a.m. to 11:17               5          And the person who contacted me, I think,
      6   a.m.)                                                            6   was someone who knew of me from another case. And
      7           THE VIDEOGRAPHER: The time is 11:17 a.m                  7   it was my researching abilities, not my content
      8   we are now back on the record.                                   8   expertise, that led her to reach out to me.
      9       EXAMINATION BY COUNSEL FOR THE DEFENDANTS                    9       Q Okay. So it was with the understanding
     10   BY MS. BOCKUS:                                                  10   that you would start a whole new area of research in
     11      Q Good morning, Doctor. I introduced myself                  11   order to answer the question; is that correct?
     12   yesterday, I hope. I'm not sure I did. I'm Jane                 12          MS. O'DELL: Object to the form.
     13   Bockus. I represent Imerys in this matter.                      13       A Yes.
     14           How are you feeling today?                              14       Q (BY MS. BOCKUS) Okay. In fact, when you
     15      A I'm good. Thank you.                                       15   appeared before congress, you stated that you're a
     16      Q Have you gone back to work full time since                 16   clinical radiologist and you conduct research
     17   your skiing accident?                                           17   focusing on -- or focused on assessing the risk and
     18      A I am primarily a researcher, so I get to                   18   benefits of medical imaging, correct?
     19   choose my own hours. So I have gone back to work                19       A If -- if you have my testimony there, I'm
     20   full time, but I often leave work a little earlier              20   going to believe you.
     21   and take a rest.                                                21       Q And when you have given interviews or have
     22      Q Has your injury from your skiing accident                  22   written opinion pieces, you identify yourself as
     23   affected your ability to answer all the questions               23   primarily a radiologist who focuses on evaluating
     24   you have been asked in the last day and a half?                 24   the risks and benefits of medical imaging, correct?
     25      A It has not.                                                25          MS. O'DELL: Object to the form.

                                                                                         23 (Pages 330 to 333)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 334                                                    Page 336
     1       A So I have given a lot of interviews, and I        1   about a quantitative association, but rather, the
     2   often identify as a professor of epidemiology and       2   biases and legitimacy of the association.
     3   biostatistics. I'm not sure what interview that you     3       Q Are you familiar with the text "Analysis
     4   are looking at.                                         4   of Case-Control Studies" by Breslow and Day?
     5          I often -- often introduce myself as a           5       A I -- I -- yes.
     6   professor of obstetrics, gynecology, and                6       Q Do you find that to be a reliable text on
     7   reproductive sciences.                                  7   the subject of the analysis of case-control studies?
     8          And my guess is that whomever is                 8          MS. O'DELL: Object to the form.
     9   publishing the interview will choose to present me      9       A I -- I don't know that chapter or section
    10   in a way that they think highlights my skill.          10   enough to answer that question without looking at
    11          But -- but my -- I'm a professor in             11   it.
    12   radiology and epidemiology and biostatistics,          12       Q (BY MS. BOCKUS) But you're familiar with
    13   obstetrics, gynecology, and a member of the Philip     13   their work?
    14   R. Lee Institute for Health Policies Studies.          14       A Yes.
    15          So I -- I get presented with whichever of       15       Q And they're well-respected
    16   those first the presenter thinks might highlight my    16   epidemiologists?
    17   expertise.                                             17       A Yes.
    18       Q Are you board-certified in obstetrics and        18          MS. O'DELL: Object to the form.
    19   gynecology?                                            19       Q (BY MS. BOCKUS) You make a statement in
    20       A I'm not.                                         20   your report on page 12 that the most widely accepted
    21       Q The Bradford Hill criteria, the first            21   mechanism for initiation, promotion, and progression
    22   consideration is the "strength of the association";    22   of ovarian cancer is tissue inflammation leading to
    23   is that correct?                                       23   a series of responses that result in cancer.
    24       A First criteria? Yes.                             24          And you have talked about that sentence a
    25       Q What do you consider to be a strong              25   bit with Mr. Zellers already.
                                                Page 335                                                    Page 337
     1   association?                                            1         Did you do a survey of the literature to
     2       A So it overlaps a little bit with the              2   determine what was the most widely accepted
     3   second concept of Bradford Hill in the consistency      3   mechanism for initiation of ovarian cancer?
     4   of -- of the data.                                      4      A I did.
     5          But where the association is meaningfully        5      Q And did you do a survey of the cancer
     6   and legitimately documented across study designs and    6   biology literature?
     7   patient populations such that the association is        7         MS. O'DELL: Object to the form.
     8   believable and meaningful, not necessarily              8      A What was the first literature you asked me
     9   associated with a particular point estimate of          9   about?
    10   association, if that's the question.                   10      Q (BY MS. BOCKUS) The literature that
    11          I don't have any particular number. It's        11   supported your statement that the most widely
    12   rather the entirety of the relationship, that it's a   12   accepted mechanism was inflammation.
    13   meaningful quantifiable association.                   13         And you said you did a survey on the
    14       Q Do you teach epidemiology?                       14   inflammation literature -- or I mean on the
    15       A I do.                                            15   etiology -- let me start all over again.
    16       Q Can you identify textbooks that you find         16         Have you done a survey on articles that
    17   reliable on the subject of epidemiology?               17   discuss the likely mechanism for the etiology of
    18       A The textbook that I often use to teach           18   ovarian cancer?
    19   epidemiology is a book -- I -- I'm not sure if the     19      A Yes, I have .
    20   authorship has changed over the years, but by holly    20      Q Have you -- have you -- did your survey
    21   Cummings that talks about principles of                21   include the literature on the cancer biology --
    22   epidemiology. It's sort of the clearest version        22      A Yes.
    23   that I know.                                           23      Q -- of --
    24          And -- and they -- and I haven't looked         24      A Yes, it did.
    25   this particular question up, but they wouldn't talk    25      Q -- of ovarian cancer?
                                                                              24 (Pages 334 to 337)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 338                                                    Page 340
     1       A Yes, it did.                                      1   with body powder use and ovarian cancer, correct?
     2       Q And did you find that as the issue of             2          MS. O'DELL: Object to the form.
     3   inflammation as an initiator of ovarian cancer is       3      A I -- I'm going to go back to say that I --
     4   not a settled question?                                 4   I don't know what the strength of the association is
     5           MS. O'DELL: Object to the form.                 5   with -- with these individual cancers.
     6       A I -- I would acknowledge that -- that none        6          I -- I don't know if it's a 20 percent
     7   of it is settled. It's just the most widely             7   increase or a 500 percent increase, except for the
     8   accepted, most widely supported, most wide -- widely    8   one that I gave the example of of bladder cancer.
     9   enhanced view supported by the data, but I don't        9          So for bladder cancer, I gave two examples
    10   think the issue is settled.                            10   that cause inflammation of the bladder. One being
    11       Q (BY MS. BOCKUS) In fact, there's still           11   toxic chemicals and the second being cigarette
    12   considerable research going on on the subject --       12   smoking.
    13       A Yes --                                           13          The toxic chemicals have a very strong
    14       Q -- correct?                                      14   relative risk of 200 or 300, where I think smoking
    15       A -- I think there is.                             15   has a relative risk of more like 1.3.
    16       Q In the next paragraph you talk about, for        16          And so I -- I -- I don't know it for these
    17   example, this is the middle -- there are               17   other cancers. But at least for bladder cancer,
    18   well-described and accepted causal pathways            18   which I think is -- I think the second most common
    19   linking in -- linking inflammation to bladder          19   cancer and cigarette smoke is -- I think the
    20   cancer, gastric cancer, colon cancer, et cetera.       20   association in the ballpark of 1.3.
    21           You would agree and you identify the           21          I think I have it in here. But -- so for
    22   inflammatory sometimes virus or whatever that's --     22   most of these, I don't know what that number is.
    23   that's well described and accepted for all of the      23          MS. BOCKUS: I'm going to object as
    24   different cancers that you list there, correct?        24   nonresponsive.
    25           For example, you identify toxic chemicals      25      Q (BY MS. BOCKUS) Because the question I
                                                Page 339                                                    Page 341
     1   for the etiology of bladder cancer, correct?            1   asked was about the HPV virus and cervical cancer --
     2          MS. O'DELL: Object to the form.                  2       A I don't --
     3       Q (BY MS. BOCKUS) Do you see where I'm              3       Q -- correct?
     4   reading?                                                4       A -- know the -- the relative --
     5       A I -- I don't see where you're reading             5       Q All right.
     6   exactly, but -- but I agree with you that I have        6       A -- risk for that. But I -- I thought I
     7   given examples where we know the cause of the           7   said the only one I do know is the bladder cancer
     8   inflammation for many of those cancers.                 8   numbers.
     9       Q (BY MS. BOCKUS) You would agree that there        9       Q Has your methodology in determining what
    10   is no equivalent literature linking ovarian cancer     10   studies to include and what studies to exclude been
    11   to talcum powder use, correct?                         11   peer reviewed in any way, shape, or form?
    12          MS. O'DELL: Object to the form.                 12       A It has not.
    13       A I think there's a strong literature on           13       Q Has your math --
    14   components of the analysis. But I think for several    14       A Oh, I'm sorry. Has my methodology been
    15   of the examples I have given, the data are a little    15   peer reviewed?
    16   bit clearer and further along.                         16       Q In -- in this particular case, the method
    17          So path -- HPV and cervical cancer has a        17   --
    18   longer historical data collection period when we       18       A Okay. The method has been peer reviewed.
    19   have them --                                           19   But in this particular case, it has not.
    20       Q (BY MS. BOCKUS) And --                           20       Q So no one has looked over your report and
    21       A -- identified. So I think that's your            21   determined whether your decision -- and as I
    22   question.                                              22   understand it, it was your decision alone, correct,
    23       Q -- so the strength of the association            23   as to whether to include data from a particular
    24   between HPV virus and cervical cancer is much, much    24   study or not --
    25   stronger than any association that's been reported     25       A Again --
                                                                              25 (Pages 338 to 341)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 342                                                    Page 344
     1       Q -- and --                                         1       Q Would you agree that you're -- at this
     2       A -- it was a decision between myself and           2   point in time your report is not yet ready to be
     3   the -- and -- and -- and Dr. Hall --                    3   submitted for peer review?
     4       Q So --                                             4           MS. O'DELL: Object to the form.
     5       A -- just the two of us.                            5       A I would agree that the description in this
     6       Q -- okay. So did Dr. Hall participate in           6   report needs more detail, more -- to submit it to
     7   the decision-making process as to which of the          7   peer review. Not necessarily different work, but
     8   case-control studies and the cohort studies to          8   definitely different detail and description.
     9   include and which to exclude?                           9       Q (BY MS. BOCKUS) Have you satisfied
    10       A It -- so it's -- it's a -- the answer is         10   yourself that the studies that you did include do
    11   partly and partly not.                                 11   not overlap with regard to patients; that you
    12          So in terms of whether the studies were         12   haven't counted the same patients multiple times?
    13   included in the final analysis, Dr. Hall was           13       A I -- I am comfortable that I did my best
    14   involved in that decision.                             14   to do that. But I know there were some cases where
    15          But in terms of setting up the question to      15   I felt like I wasn't 100 percent sure.
    16   begin with, she was not involved in that. I -- I       16       Q And you would agree that by -- including
    17   set that up.                                           17   the same cases and controls multiple times could
    18       Q So other than you and Dr. Hall, has anyone       18   skew the -- the data?
    19   been involved in the process of determining which      19           MS. O'DELL: Object to the form.
    20   studies were going to be involved -- in -- were        20       A I think that that theoretically is a
    21   going to be included in your systematic review and     21   concern of mine, which is why I try to you exclude
    22   which were not?                                        22   them if there was overlap.
    23       A Nobody else.                                     23           On a practical level, the benefit of
    24       Q Okay. And has anyone other than you and          24   pooling data from multiple sources is that the final
    25   Dr. Hall even checked your work for transcription      25   summary is less sensitive to any individual result,
                                                Page 343                                                    Page 345
     1   errors?                                                 1   let alone some patients that might overlap.
     2          MS. O'DELL: Object to the form.                  2          But I agree with you that you want to
     3       A No.                                               3   avoid that because of that concern.
     4       Q (BY MS. BOCKUS) And has anyone other than         4       Q (BY MS. BOCKUS) All right. Would you turn
     5   you and Dr. Hall checked your work for mathematical     5   to page 35 of your study. And I am looking at
     6   errors?                                                 6   the -- right in the middle of the page, the
     7       A No.                                               7   paragraph that starts with the word, Further talc
     8       Q You excluded all of the data from the             8   particles.
     9   cohort studies with the exception of the earliest       9          But I'm going to the last sentence in the
    10   reported data from the Nurses' Health Study; is that   10   paragraph.
    11   correct?                                               11          "The greater frequency at which talc
    12       A Yes.                                             12   particles are discovered in ovarian cancerous tissue
    13          MS. O'DELL: Object to the form.                 13   than in normal ovarian tissue further supports that
    14       Q (BY MS. BOCKUS) Did you run the -- the --        14   these target -- particles may be causing cancer."
    15   the numbers to determine if there would be a           15          You don't have a source for that. You
    16   difference if you included the data from all the       16   don't cite to any study. And I would like to know
    17   cohort studies and if you excluded them?               17   where you got that information.
    18       A So the requirement to be in our review was       18          MS. O'DELL: Objection to form.
    19   to have a measure of regular use of talcum powder      19       A I would have to review Heller and
    20   products, and those other studies didn't have          20   Henderson. No. Henderson is just cancer.
    21   something to plug into that equation.                  21          So I would have to review -- review
    22          So -- so I didn't have a number from those      22   Heller, but that -- I -- I -- I don't remember what
    23   studies to include in a sensitivity analysis. They     23   the -- cite of it. I would have to look at the
    24   -- they didn't report regular use, so I -- I           24   articles that I cite in that paragraph and see if I
    25   couldn't do what you are asking me to have done.       25   could remember.

                                                                               26 (Pages 342 to 345)
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                                           Rebecca Smith-Bindman, M.D.
                                                         Page 346                                              Page 348
     1       Q (BY MS. BOCKUS) The next statement has to             1   attorney who represents Defendant Personal Care
     2    do with the reduction in incidence of ovarian cancer       2   Products Council.
     3    after tubal ligation or hysterectomy?                      3          So for purposes of this deposition when I
     4       A Yes.                                                  4   reference "Personal Care Products Council," I mean
     5       Q Is it not correct that that statement is              5   PCPC or CPFA or any of its predecessors. Is that
     6    true for both women who have used talcum powder            6   okay?
     7    product and who -- let me ask a better question.           7       A Yes.
     8           Here you're talking about that the                  8       Q So I want to turn to Exhibit 15, which is
     9    elevated -- that studies that look at the risk of          9   your reference list. And that reference list is
    10    ovarian cancer associated with powder products            10   Exhibit B of your expert report; is that correct?
    11    report a reduction in risk after hysterectomy or          11       A Yes.
    12    tubal ligation, correct?                                  12       Q And if you can turn to page 19 of that
    13       A Yes.                                                 13   reference list. And just let me know when you're
    14       Q Isn't that also true in the general                  14   there.
    15    population for all women, that there -- whether they      15       A I am there.
    16    have used talcum powder products or not, that their       16       Q And if you go about 75 percent of the way
    17    risk of ovarian cancer is reduced by hysterectomy or      17   down, there's a reference to a PCPC document.
    18    oophorectomy --                                           18          Do you see that?
    19       A Yes.                                                 19       A Yes.
    20       Q -- or tubal ligation? I'm sorry.                     20       Q Do you happen to know what that document
    21       A Yes. It's even more reduced by                       21   is?
    22    oophorectomy.                                             22       A I do not.
    23       Q Well, sure. I misspoke.                              23       Q Did you rely on this document --
    24           MS. BOCKUS: I believe that's all the               24       A You would have to --
    25    questions I have. Thank you.                              25          MS. O'DELL: Object to the form. Excuse
                                                         Page 347                                              Page 349
      1          MS. O'DELL: Why don't we go off the                 1   me. Object to the form. If -- if --
      2   record. I'm sorry. Do you --                               2      A -- you would have to tell me what it is to
      3          MR. ZELLERS: No.                                    3   know if --
      4          MR. BILLINGS-KANG: I may have two or                4          MS. O'DELL: -- or show it to her if
      5   three questions.                                           5   you --
      6          MS. O'DELL: Oh, sorry, James. Yeah,                 6          MR. BILLINGS-KANG: Sure.
      7   please.                                                    7          MS. O'DELL: -- have a question about it.
      8          THE VIDEOGRAPHER: We are still on?                  8      Q (BY MR. BILLINGS-KANG) But for purposes of
      9          MS. O'DELL: Yes.                                    9   formulating your opinion in the expert report, did
     10          THE VIDEOGRAPHER: Do we want to go off?            10   you rely on any PCPC-produced documents?
     11          MR. BILLINGS-KANG: Yeah.                           11          MS. O'DELL: Object to the form.
     12          MS. BOCKUS: We need to go off to move the          12      A You would have to show --
     13   mic.                                                      13          MS. O'DELL: Put --
     14          THE VIDEOGRAPHER: The time is 11:37 a.m.           14      A -- it to me.
     15   We are going off the record.                              15          MS. O'DELL: -- just put it in front of
     16          (A break was taken from 11:37 a.m. to              16   her if you're going to ask her a question about it
     17   11:40 a.m.)                                               17   so she can --
     18          THE VIDEOGRAPHER: The time is 11:40 a.m.           18      Q (BY MR. BILLINGS-KANG) I'm just asking:
     19   We are now back on the record.                            19   Based on your memory, do you recall using any
     20      EXAMINATION BY COUNSEL FOR THE DEFENDANTS              20   PCPC-produced document to formulate your opinion.
     21   BY MR. BILLINGS-KANG:                                     21          MS. O'DELL: I would -- I would just
     22      Q Good morning, Dr. Smith-Bindman. How are             22   object to the form.
     23   you?                                                      23      Q (BY MR. BILLINGS-KANG) That's --
     24      A Good.                                                24          MS. O'DELL: None of --
     25      Q My name is James Billings-Kang. I'm an               25      Q (BY MR. BILLINGS-KANG) -- that's fine.

                                                                                  27 (Pages 346 to 349)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 350                                                    Page 352
     1   You can answer --                                       1   itself.
     2          MS. O'DELL: None of that --                      2       Q Just --
     3       Q (BY MR. BILLINGS-KANG) -- yes or no, if           3       A I don't remember --
     4   you remember.                                           4       Q -- the document --
     5          MS. O'DELL: -- none of us would be               5       A -- seeing --
     6   expected to remember a document based on a Bates        6       Q -- itself.
     7   number.                                                 7       A -- this -- I don't remember seeing this
     8       Q (BY MR. BILLINGS-KANG) Well, I'm asking           8   document.
     9   her just generally PCPC-produced documents, if she      9       Q Okay. You can -- you can put that away.
    10   relied on any of those --                              10   And I will go to your expert report that's
    11          MS. O'DELL: Objection.                          11   Exhibit 2, page 14. Just let me know when --
    12       Q (BY MR. BILLINGS-KANG) -- to formulate her       12       A I'm there.
    13   opinion?                                               13       Q -- you're there. And this -- the first
    14          MS. O'DELL: Object to the form. I'm             14   paragraph under "Asbestos," it's about halfway in
    15   putting that --                                        15   that first paragraph beginning with, Because of
    16          MR. BILLINGS-KANG: Sure.                        16   concern that asbestos was present in talcum powder
    17          MS. O'DELL: -- that Bates number in front       17   products in the known carcinogenicity of asbestos,
    18   of her. And if you --                                  18   it has been reported that voluntarily guidelines
    19          MR. BILLINGS-KANG: Sure.                        19   were established by the cosmetic industry in 1976 to
    20          MS. O'DELL: -- remember, you remember.          20   limit the content of asbestos fibers in commercial
    21       A This is a document that lists different          21   talc preparations.
    22   research studies that have been done over time. Is     22           Did I read that correctly?
    23   that the document that we're --                        23       A You did.
    24       Q (BY MR. BILLINGS-KANG) Well, I -- I'm not        24       Q And these are your words, correct?
    25   too sure. This is a document you listed in the         25       A Yes, they are.
                                                Page 351                                                    Page 353
     1   reference list.                                         1       Q And what did you mean by "voluntarily
     2       A I -- I'm just trying to make sure that I'm        2   guidelines"?
     3   looking at the document that you are --                 3       A I -- I have read a lot about the
     4       Q According to your counsel, this is what's         4   guidelines. And it -- the idea was that the
     5   been identified on page 19 of the reference list.       5   industry decided to self-regulate and to do what
     6       A I -- I do not remember this document.             6   they could to remove the asbestos, is my
     7   This --                                                 7   understanding of what that was as opposed to being
     8       Q Okay.                                             8   required to submit testing to document that they had
     9       A -- document is just a list of studies.            9   done so.
    10       Q So you do not recall whether you relied on       10       Q And -- and what did you rely upon for this
    11   this document in formulating your opinion?             11   particular sentence?
    12       A My --                                            12       A This particular sentence is repeated in --
    13           MS. O'DELL: Object to the form.                13   in at least half of the papers that I have read that
    14       A -- opinion is not based on the -- on a --        14   are epidemiology papers.
    15   a list of studies.                                     15           It's repeated in all of the news studies.
    16       Q (BY MR. BILLINGS-KANG) Okay. So that's --        16   It's repeated in reports by consumer organizations,
    17   that's a -- that's a yes, you do not -- you did not    17   by the FDA, by the recent Canadian report, which I
    18   rely on this document in formulating your opinion?     18   didn't have in hand.
    19       A I -- I don't remember seeing this                19           But it's something that I -- I have read a
    20   document. As I'm going through this document, there    20   lot -- a great deal, that there were voluntarily
    21   are a lot of studies that I reviewed that I did rely   21   standards that were established by the industry.
    22   on.                                                    22       Q And so did you read any publication or
    23           So I don't know if you're asking me if I       23   whatever reliance materials that you had that
    24   relied specifically on some of the items in here       24   described these guidelines as anything else other
    25   that I have relied on or the -- this document          25   than voluntarily guidelines?
                                                                              28 (Pages 350 to 353)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 354                                                    Page 356
     1       A I -- I -- I did not. I looked for                 1          MR. ZELLERS: Objection, form.
     2   documents like that. I was not able to find them.       2       Q (BY MS. O'DELL) Let me strike that and
     3   Required -- requirements, I was not able to find.       3   start again. Did your meta-analysis replicate what
     4          MR. BILLINGS-KANG: Okay. That's all I            4   had been published in the literature?
     5   have.                                                   5       A The --
     6          MS. O'DELL: Why don't we take a short            6          MR. ZELLERS: Form.
     7   break.                                                  7       A -- the results of my meta-analysis and the
     8          THE VIDEOGRAPHER: The time is 11:45 a.m.         8   previous ones are nearly identical. So yes, it was
     9   We are now off the record.                              9   a very close replication.
    10          (A break was taken from 11:45 a.m. to           10       Q (BY MS. O'DELL) And you have mentioned
    11   12:15 p.m.)                                            11   your intent to publish your -- your meta-analysis,
    12          THE VIDEOGRAPHER: The time is 12:15 p.m.        12   your systematic review. And I believe you testified
    13   We are now back on the record.                         13   that in the published version, you would add
    14       EXAMINATION BY COUNSEL FOR THE PLAINTIFFS          14   additional detail.
    15   BY MS. O'DELL:                                         15          What did you mean by that?
    16       Q Dr. Smith-Bindman, I have just a few             16       A So the analysis that I have done is
    17   questions for you. First, during all of your work      17   complete. But the presentation of the results in a
    18   in this case, was it your understanding that you       18   paper would require more beautiful graphics, would
    19   were serving as an expert consultant?                  19   require explaining our inclusion and exclusion
    20       A Yes.                                             20   criteria more fully than I did in this published
    21       Q And you know, throughout the early               21   report. Things like that.
    22   meetings in June, I believe, of 2017, where you met    22          And that actually is a substantial part of
    23   with Plaintiffs' counsel, did Plaintiffs' counsel      23   the writing of a scientific paper, sort of
    24   provide information regarding their theories of the    24   explaining every step of what you did, and so I
    25   talcum powder litigation?                              25   would have to do more of that to publish this study.
                                                Page 355                                                    Page 357
     1       A Yes.                                              1       Q Is there sufficient detail in the -- in
     2       Q And have you been paid by Plaintiffs'             2   your report regarding your methodology, as well as
     3   counsel for all the work that you have billed in        3   in the documentation provided in the spreadsheets
     4   this case?                                              4   to -- for someone to replicate the work that you
     5       A Yes, I have.                                      5   have done?
     6       Q Okay. You have been asked a number of             6          MR. ZELLERS: Objection, form.
     7   questions about the meta-analysis, the systematic       7       A I believe that if someone used the
     8   review that you performed on the regular use of --      8   software that we said and had the inclusion criteria
     9   of talcum powder.                                       9   that we led out -- set out, that they would get the
    10           Would you have reached your opinions in        10   -- the same results as we got.
    11   this case without having performed that analysis?      11          And I think the fact that our review
    12       A My systematic review ended up with the           12   provides the same results as other systematic
    13   same estimates as essentially all of the other         13   reviews sort of, you know, also supports that. But
    14   well-done systematic reviews.                          14   yes, I think someone could easily replicate our --
    15           And it was very helpful for me to confirm      15   our analysis.
    16   the results. But yes, it's the same as the other       16       Q (BY MS. O'DELL) Okay. You were asked a
    17   studies, and so my -- my conclusion about the          17   number of -- before I do that, let me ask you: Can
    18   causality of talcum powder products and ovarian        18   there be multiple causes of ovarian cancer?
    19   cancer would be exactly the same, even without mine.   19       A Absolutely. I -- I describe in the
    20           It just made me a little more comfortable      20   report, a whole number of different risk factors for
    21   that I was certain about the -- the results            21   ovarian cancer.
    22   presented by other people.                             22       Q And in a -- in a patient -- hypothetically
    23       Q And in a sense, the analysis that you did        23   in a patient who has a BRCA1 mutation, possibly has
    24   replicated the work that had been published in the     24   other risk factors for ovarian cancer, and also uses
    25   -- in the literature?                                  25   talcum powder products, under those circumstances,
                                                                               29 (Pages 354 to 357)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 358                                                    Page 360
     1   would talcum powder products be a contributing cause    1   not disclosed in Dr. Smith-Bindman's expert report.
     2   of her cancer?                                          2       A Can I read? Just on page 14, The results
     3          MR. ZELLERS: Objection, form.                    3   were consistent, significant, and documented a
     4      A I think patients can have multiple risk            4   strong and compelling causal association between
     5   factors and causes of -- of cancer. Some causes,        5   exposure to asbestos and ovarian cancer largely
     6   you would imagine, would be quite synergistic.          6   result in the association from cohort studies of
     7          So having both together would be worse           7   women with substantial occupational exposures.
     8   than twice having either of those alone. So it          8          That -- that was the --
     9   would be worse than having -- it -- it would be more    9       Q (BY MS. O'DELL) Okay. Let me -- let me
    10   than double the initial, because they would be         10   ask you to -- to turn, Dr. Smith-Bindman, to the
    11   basically enhancing.                                   11   Langseth paper that was marked as Exhibit 30 by
    12          So if -- if some risk factors caused lots       12   counsel for J&J.
    13   of oxidative stress and another enhanced that          13          And specifically to turn to page 2 of the
    14   oxidative stress and prevented repair or cell          14   paper to Figure 1.
    15   apoptosis, you would get even more impact.             15       A Yes.
    16          So yes, I would say multiple risk factors       16       Q You were asked a number of questions about
    17   for most diseases occur concurrently, and sometimes    17   whether the studies that had confidence intervals
    18   they enhance or are synergistic.                       18   that cross one were essentially by chance. In other
    19      Q (BY MS. O'DELL) Can asbestos be inhaled           19   words, they -- they did not speak to a potential
    20   and cause ovarian cancer?                              20   increased risk in ovarian cancer as a result of
    21          MR. ZELLERS: Objection, form; foundation.       21   talcum powder use.
    22      A Absolutely. The -- the IARC 2012 report           22          Are the -- what's your analysis of those
    23   was primarily on the basis of inhalation of            23   studies and whether, as counsel put it, it was
    24   asbestos.                                              24   equivalent to a coin toss?
    25      Q (BY MS. O'DELL) Can fibrous talc be               25       A So if there was no relationship between
                                                Page 359                                                    Page 361
     1   inhaled and cause ovarian cancer?                       1   ovarian cancer and exposure to talcum powder
     2       A I --                                              2   products, you would expect the forest plot in
     3           MR. ZELLERS: Objection, form; foundation.       3   Figure 1 to have half of the point estimates be
     4       A -- yes.                                           4   above one, saying there's a risk; and half of the
     5       Q (BY MS. O'DELL) And what's your basis for         5   point estimates being below one, saying there isn't
     6   that statement?                                         6   a risk.
     7           MR. ZELLERS: Same objections. None of           7           In fact, every one of the studies on this
     8   this was in her report. None of this has been in        8   table is at or above one. It's to the right. So to
     9   her opinions.                                           9   get that by chance is highly, highly, highly
    10           These are all new opinions. So inhalation      10   unlikely.
    11   has not been any part of her testimony or her          11           The best estimate is -- the point estimate
    12   opinion.                                               12   in all of those are very different than one.
    13           MS. O'DELL: Inhalation is mentioned in         13           And so to call that by chance doesn't make
    14   her report.                                            14   sense. The fact that for an individual study, the
    15       A I -- I -- you know, the -- the chapter on        15   confidence interval overlap one doesn't mean it's by
    16   asbestos and occupational exposure and IARC report     16   chance.
    17   is -- is about inhalation.                             17           So again, by chance would mean half the
    18           I'm not sure if I -- I was explicit about      18   studies have a positive association, half have a
    19   the route, but that is where the data come from for    19   protective.
    20   asbestos, as well as fibrous talc.                     20           And in fact, every one of the studies has
    21           And those articles talk about the fact         21   a value that's either substantially greater than one
    22   that there might be other exposures in addition, but   22   or just a little greater than one.
    23   they're primarily inhalation studies.                  23       Q Okay. You were asked questions about
    24           MR. ZELLERS: Again, object to what the         24   starting -- in reference to the Langseth paper you
    25   defense views as a completely new opinion that was     25   were asked questions about the -- the pooled odds
                                                                              30 (Pages 358 to 361)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 362                                                   Page 364
     1   ratio for hospital-based studies and the focus on      1          There have been studies of sperm, both
     2   that finding being that it was not a statistically     2   living and dead, going in both directions. So it's
     3   significant increased risk.                            3   not just the mobile sperm, but the dead sperm.
     4          Did the Berge paper also look at a pooled       4          Carbon particles -- you know, a tiny
     5   analysis of the hospital-based studies?                5   study -- but have been shown to move -- radioactive
     6       A She did. If you look at Table 2, Table 2         6   material has been seen to move. Material on gloves
     7   shows the results of the case-control studies that     7   has been seen.
     8   were hospital based versus community based.            8          So it's a wide-open system. The idea that
     9          And those individual group of                   9   we think of that as being a barrier system is just
    10   hospital-based studies are statistically              10   false.
    11   significant.                                          11          Now, I don't know of an individual study
    12          But I would point out that in this case        12   that has put talc on the perineum. I think that's,
    13   the -- they report the relative risk of a hospital    13   unfortunately, not an ethical study to do. And I
    14   based versus community based. They're relatively      14   don't know of such a study or why you would do such
    15   similar. They're both significant, and they're        15   a study.
    16   relatively similar, which is what I concluded from    16          But to think that there's any barrier
    17   Langseth. They're very similar.                       17   between the perineum and the vagina makes no sense
    18       Q Okay. You were asked about studies              18   whatsoever.
    19   relating to migration. And the specific -- the        19       Q Let me transition to talk about
    20   specific question, as I wrote it down was: Is there   20   inflammation for a moment, and specifically
    21   a study that demonstrates talc on the -- applied to   21   inflammation as a cause of ovarian cancer first.
    22   the perineum, traveling to the -- or migrating to     22          What evidence are you relying on to
    23   the ovary, and you said, No.                          23   support your opinion that inflammation -- chronic
    24          What evidence are you relying on to            24   inflammation causes ovarian cancer?
    25   support your opinion that talcum powder can migrate   25       A Okay. So there's an enormous amount of
                                                Page 363                                                   Page 365
     1   when applied -- applied to the genital area to the     1   literature that understands what we see when there's
     2   ovary?                                                 2   inflammation, what kind of changes you see on a
     3       A So I was asked a very narrow question, is        3   cellular level.
     4   there a study that talks about transport from the      4          So you see increase in pro oxidation, a
     5   perineum.                                              5   reduction in antioxidation. You see increase in
     6           But in fact, there is extensive evidence       6   cell turnover, reduction in cell death, expression
     7   that particles from the perineum could get to the      7   of inflammatory agents, cellular changes at the DNA
     8   ovary and do get to the ovary.                         8   level that leads to greater expression.
     9           And part of that is the perineum is            9          We -- we understand those pathways. And
    10   basically equivalent to the vagina. It is one open    10   those pathways occur both with talc exposure and in
    11   system to the ovary.                                  11   the setting of things that cause ovarian cancer.
    12           And so my evidence for that is                12          So I -- in my reference list, I reference
    13   several-fold. First, I'm a clinical radiologist,      13   a whole bunch of references -- Saed references,
    14   and I do a lot of procedures in women where I am      14   Shawn (phonetic) references, Ness references.
    15   putting catheters in the vagina and injecting fluid   15   There's really enormous numbers of references.
    16   that goes to the uterus, to the tubes. I watch the    16          I -- in my documents I have Shukla
    17   fluid spill. It's a wide-open system.                 17   references, Buz'Zard references, Hamilton references
    18           Occasionally patients have complications      18   that talk away sort of these inflammatory pathways
    19   that don't let me do that, and I might inject fluid   19   and biologic mechanisms that lead to changes that go
    20   literally on the perineum to get a backlash to the    20   along with inflammation.
    21   ovaries. And it's a wide-open connected system.       21       Q I know you have reviewed Dr. Saed's
    22           All of our textbooks talk about it being a    22   research in regard to whether talcum powder causes
    23   bi-directional system. You know, infection goes       23   inflammation in vitro.
    24   both directions. Retrograde menstruation and          24          First, let me ask you this: Does
    25   menstruation go both directions.                      25   Dr. Saed's work support the conclusion that
                                                                              31 (Pages 362 to 365)
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                                  Rebecca Smith-Bindman, M.D.
                                                Page 366                                                                 Page 368
     1   Johnson's baby powder causes inflammation?              1   do that. That's beyond me. But that's what this
     2          MR. ZELLERS: Objection, form.                    2   whole model is, to try to help you understand what
     3       A So Saed specifically looked at Johnson            3   the effect mechanistically is from these changes.
     4   baby powder, so his results specifically pertained      4      Q (BY MS. O'DELL) And is the use of that
     5   to Johnson baby powder.                                 5   model in scientific research generally accepted?
     6          He looked at several different measures          6      A Highly.
     7   that -- I have just mentioned inflammation. So he       7          MR. ZELLERS: Objection, form.
     8   looked specifically at oxidative stress, the up         8      A My understanding is that is the basis for
     9   regulation or down regulation of --                     9   much of the research that comes -- that happens at
    10          THE COURT REPORTER: The?                        10   my research institution.
    11       A -- up regulation or pro oxidants, down           11      Q (BY MS. O'DELL) Just to make sure that the
    12   regulation of antioxidants. He looked at cell          12   record is clear, Dr. Smith-Bindman, in -- I asked
    13   proliferation. He looked at SNPS point mutations       13   the question: Is the use of that model in
    14   that are associated with this.                         14   scientific research generally accepted? I'm not
    15          THE COURT REPORTER: Snips?                      15   sure your answer came through. What's your answer?
    16       A S N P S, SNPS.                                   16          MR. ZELLERS: For your -- just objection,
    17          THE COURT REPORTER: Because you're facing       17   form. Go ahead.
    18   that way, and the mic is here. Thanks.                 18      A Yes. I -- I said that that's a very
    19       A And showed substantial changes to talcum         19   common model at UCSF.
    20   powder to all of these. I -- I was really quite        20      Q Okay.
    21   impressed with the consistency in these markers of     21          MS. O'DELL: I have nothing further.
    22   inflammation.                                          22   Thank you.
    23          Some of them overlap clinical markers we        23          MR. ZELLERS: Let's take a break for a
    24   use. Like CA125 went up very strongly just like it     24   couple of minutes.
    25   goes up for ovarian cancer.                            25          THE VIDEOGRAPHER: The time is 12:34 p.m.

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     1           So he very clearly showed this. And the         1   We are now off the record.
     2   results he showed were not different than those that    2         (A break was taken from 12:34 p.m. to
     3   Shukla showed, that Buz'Zard showed, that -- the        3   12:41 p.m.)
     4   expression in genes.                                    4         THE VIDEOGRAPHER: The time is 12:41 p.m.
     5           He -- he just had it in a very compelling       5   We are now back on the record.
     6   experiment where he showed dose response, where he      6       EXAMINATION BY COUNSEL FOR THE DEFENDANTS
     7   showed the control didn't have the changes, but that    7   BY MS. BOCKUS:
     8   the talc powder products did have the changes.          8      Q Doctor, you made a comment about the fact
     9           And so he identified, in this cellular          9   that there can be a synergistic effect between
    10   cell line model, all of the changes that you would     10   different risk factors; is that correct?
    11   expect from inflammation. So I think the results       11      A Yes.
    12   were very compelling.                                  12      Q That is something that can be studied,
    13           I -- I was asked if kind of that               13   correct?
    14   experiment has any relevance in humans. And I would    14      A Yes.
    15   say it would be nice to do that experiment in          15      Q There are studies that can be designed to
    16   humans.                                                16   determine whether there's a synergistic effect
    17           But you can't do that experiment in            17   between, say, BRCA mutation carriers and women who
    18   humans. And that's what --                             18   have regularly used talcum powder --
    19           THE COURT REPORTER: Wait.                      19      A Yes.
    20      A -- you can't do such an experiment in             20      Q -- correct?
    21   humans. So -- so that is what sort of cellular         21         That study has not been done, correct?
    22   studies are -- are meant to approximate.               22      A Not that I know of.
    23           There's no direct translation, so how much     23      Q In fact, are you familiar or aware of any
    24   you put in the cell versus how much you put in the     24   studies that have looked for a synergistic effect
    25   patient, I -- you know, I don't know how you would     25   between regular talc use and any other risk factors

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     1   for ovarian cancer?                                     1      Q Do you know if anything about what you
     2           MS. O'DELL: Object to the form.                 2   just described has any correlation to the way in
     3       A I would have to look through my papers            3   which women use talcum powder in their perineal
     4   with that question in mind. I know some of the          4   region?
     5   papers have looked at BRCA, but I can't remember if     5         MS. O'DELL: Object to the form.
     6   they sort of stratified the results by -- with or       6      A I -- I don't know what -- how women use
     7   without BRCA, so I -- I'm not sure of the answer to     7   talcum powder on their perineum.
     8   that.                                                   8      Q (BY MS. BOCKUS) Do you know what
     9           I was more speaking about, from work that       9   percentage of sperm that are placed in a women's
    10   I do, the idea of synergy between risk factors. And    10   vagina make it to the ovaries?
    11   one of those is BRCA and radiation exposure. So        11      A Only from child cartoons that make it seem
    12   I -- I -- I meant generally it can be the case. I      12   like it's a competitive race. But percentagewise, I
    13   didn't mean to suggest we know what it is for this.    13   don't know.
    14       Q (BY MS. BOCKUS) Okay. Then you spoke             14      Q Do you have any reason to believe that
    15   about the female reproductive system being a           15   talc makes it from the vagina to the ovaries in
    16   wide-open system.                                      16   greater percentage than sperm?
    17           What procedure are you doing when you are      17      A I -- I -- I would guess that that's not
    18   putting fluid on a women's perineum to see if it       18   the case.
    19   goes to the ovaries?                                   19         MS. BOCKUS: That's all I have.
    20       A I apologize. So the primary procedures           20         MR. ZELLERS: I have just a couple.
    21   would be a hysterosonogram, which we're putting        21      EXAMINATION BY COUNSEL FOR THE DEFENDANTS
    22   water into the uterus and the tubes mostly to look     22   BY MR. ZELLERS:
    23   for patency.                                           23      Q Dr. Smith-Bindman, did you discuss with
    24           But it turns out we end up needing to do       24   Plaintiffs' counsel, calling Dr. Hall on our break
    25   procedures in postop patients, not infrequently,       25   between yesterday's first session and today's

                                                Page 371                                                                  Page 373
     1   where we might be looking for connections between       1   session?
     2   different structures, preop or postop.                  2          MS. O'DELL: I'm going to ask -- ask
     3           In the ballpark of 10 percent of women to       3   you -- instruct you not to answer questions
     4   20 percent have cervical stenosis, and you can't        4   regarding discussions with counsel.
     5   catheterize.                                            5          MR. ZELLERS: The defense agreed to split
     6           Or there might be some reason we don't          6   this deposition of Dr. Smith-Bindman over two days
     7   want to catheterize or put the tubes in the vagina.     7   on the expressed condition that the extended break
     8   We might put the tube directly on the perineum and      8   not be used for preparation.
     9   see if we can create kind of a -- a way to keep,        9          The witness and Plaintiffs' counsel
    10   let's say, a balloon in place and then inject in a     10   violated that understanding. Further, it's entirely
    11   retrograde fashion.                                    11   inappropriate for an expert witness to consult with
    12           So it feels like it comes out probably         12   a consulting expert during a break.
    13   every couple of months. But we're actually pretty      13          We move to strike all of
    14   far from the cervix. And we're injecting usually       14   Dr. Smith-Bindman's testimony and will take the
    15   water or sometimes contrast and then looking mostly    15   issue to court.
    16   with ultrasound, but sometimes with fluoroscopy.       16          MS. O'DELL: The record is clear that
    17       Q And when you say "inject," that means with       17   counsel did not speak with Dr. Smith-Bindman last
    18   some degree of pressure, you're putting the water or   18   night. There was no preparation done between the
    19   other fluid into the vagina?                           19   conclusion of the deposition yesterday and the
    20       A There is some degree of pressure, yes.           20   beginning of the deposition this morning. I think
    21       Q And when you do that, is the patient's           21   the record has been clear on that.
    22   head lower than her hips?                              22          That was -- we agreed to do that. We had
    23       A Not -- not usually, no.                          23   not -- we were not compelled to do that. Because as
    24       Q Is she on her back?                              24   counsel is aware, the deposition protocol allows
    25       A Yes.                                             25   both parties, when they're putting up their
                                                                                   33 (Pages 370 to 373)
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     1   respective witnesses, to confer with the witness.       1       I, MARY J. GOFF, CSR No. 13427, Certified
     2          And we did confer with Dr. Smith-Bindman         2   Shorthand Reporter of the State of California,
     3   prior to the deposition this morning for about          3   certify;
     4   10 minutes, and that's perfectly within our rights,     4       That the foregoing proceedings were taken
     5   and so we would oppose any such motion.                 5   before me at the time and place herein set forth, at
     6          MR. ZELLERS: Done? We are concluded.             6   which time the witness declared under penalty of
     7          THE VIDEOGRAPHER: The time is 12:48 p.m.         7   perjury; that the testimony of the witness and all
     8   We are now off the record.                              8   objections made at the time of the examination were
     9          (TIME NOTED: 12:48 p.m..)                        9   recorded stenographically by me and were thereafter
    10                                                          10   transcribed under my direction and supervision; that
    11                                                          11   the foregoing is a full, true, and correct
    12                                                          12   transcript of my shorthand notes so taken and of the
    13                                                          13   testimony so given;
    14                                                          14       That before completion of the deposition,
    15                                                          15   review of the transcript ( ) was (XX) was not
    16                                                          16   requested: ( ) that the witness has failed or
    17                                                          17   refused to approve the transcript.
    18                                                          18       I further certify that I am not financially
    19                                                          19   interested in the action, and I am not a relative or
    20                                                          20   employee of any attorney of the parties, nor of any
    21                                                          21   of the parties.
    22                                                          22       I declare under penalty of perjury under the
    23                                                          23   laws of California that the foregoing is true and
    24                                                          24   correct, dated this day of         , 2019.
    25                                                          25                  _________________________
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     1                                                           1                ERRATA SHEET
     2                                                           2            Golkow Litigation Services
     3                                                           3    1650 Market Street, One Liberty Plaza, 51st Floor
     4      I, REBECCA SMITH-BINDMAN, M.D., do hereby            4          Philadelphia, Pennsylvania 19103
     5   declare under penalty of perjury that I have read       5                877-370-3377
     6   the foregoing transcript; that I have made any          6           CASE: Talcum Powder Litigation
     7   corrections as appear noted, in ink, initialed by
                                                                 7   PAGE LINE FROM                      TO
     8   me, or attached hereto; that my testimony as
                                                                 8   ____|______|_________________________|______________
     9   contained herein, as corrected, is true and correct.
    10      EXECUTED this_______ day of_________________,        9   ____|______|_________________________|______________
    11   20____, at___________________, ___________________.    10   ____|______|_________________________|______________
                (City)         (State)                          11   ____|______|_________________________|______________
    12                                                          12   ____|______|_________________________|______________
    13                                                          13   ____|______|_________________________|______________
    14             _______________________                      14   ____|______|_________________________|______________
                   REBECCA SMITH-BINDMAN, M.D.                  15   ____|______|_________________________|______________
    15             VOLUME II                                    16   ____|______|_________________________|______________
    16                                                          17   ____|______|_________________________|______________
    17
                                                                18   ____|______|_________________________|______________
    18
                                                                19   ____|______|_________________________|______________
    19
    20                                                          20         ______________________________
    21                                                          21         REBECCA SMITH-BINDMAN, M.D., VOLUME II
    22                                                          22   Subscribed and sworn to before me
    23                                                          23   this _____ day of _____________, 2019.
    24                                                          24   ______________________________________
    25                                                          25          Notary Public

                                                                               34 (Pages 374 to 377)
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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


IN RE JOHNSON & JOHNSON                            MDL NO. 16-2738 (FLW) (LHG)
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES,
AND PRODUCTS LIABILITY
LITIGATION

THIS DOCUMENT RELATES TO ALL CASES




                            RULE 26 EXPERT REPORT OF
                              JUDITH ZELIKOFF, PHD




Date: November 16, 2018
                                     Judith Zelikoff, PhD
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I.      BACKGROUND AND QUALIFICATIONS



           I received my Ph.D in Experimental Pathology and Immunology at Rutgers: NJ Medical School
(formerly known as University of Medicine and Dentistry of NJ) in 1982, after receiving a Master’s degree
from Fairleigh Dickinson University in Microbiology. My post-doctoral training was in toxicology at the
NYU School of Medicine, Department of Environmental Medicine as a National Heart Lung Blood
Institute (NHLBI) fellow.

          I am currently a tenured-professor in Toxicology at NYU. As part of the NYU NIEHS (National
Institute of Environmental Health Science) Center of Excellence, I serve as Director of the Community
Engagement Core. In this capacity, I engage with environmentally-impacted underserved communities
throughout New Jersey and New York to better engage the community to achieve long-term and
sustainable outcomes, processes, relationships, discourse, decision-making, and implementation regarding
environmental health. These goals are carried out through town hall meetings, focus groups, listening
sessions, forums on relevant environmental concerns, surveys, as well as outdoor and indoor
measurements of toxic metals such as lead, cadmium, mercury, and arsenic in water, air, and soil. I also
provide service to the NYU School of Medicine as a member of the Grievance Committee, Institutional
Animal and Use Committee (IACUC) and as an NYU Senator representing the School of Medcine.

          I have served in numerous leadership positions in the field of toxicology, including NIH Study
Sections, United Nations Environmental Programme, NASA boards, and National Academy of Science
Panels (i.e., Institute of Medicine, National Research Council and Engineering, and Medicine’s Board on
Earth Sciences and Resources), as well as Environmental Protection Agency study sections and advisory
boards concerning the toxic effects of air pollution, metals, and alternative tobacco products. Furthermore,
I served for two years (2010-2012) as a member of the National Toxicology Program (NTP) Board of
Scientific Advisors. In this capacity, I reviewed documents and provided input and guidance on the
toxicity of various chemicals that were nominated for review and sent to the NTP for study and/or
discussion. In some cases, we also decided on the carcinogenicity of specific compounds. I was not part
of the NTP 10 ROC or 12 ROC, both of which deferred the decision on talc.

          In addition, I presented about 150 international/national papers in the areas of toxicology and
environmental and public health. I have organized several international toxicology meetings, served as
editor for several toxicology/environmental public health books and authored numerous book chapters in
the same areas. I have over 125 publications and book chapters in the area of immunotoxicology (for
which I received a Lifetime Achievement Award from the Society of Toxicology), air pollution
toxicology, metal toxicology, immunotoxicology, and developmental and reproductive toxicology
associated with inhaled metals, mixtures, nanomaterials, dusts (i.e., World Trade Center Dust), and
tobacco/nicotine toxicology.
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         I have held numerous executive positions in the Society of Toxicology (SOT) which includes
three years as Secretary on the SOT Executive Council and one year as Chair of the Education Committee
and Committee for Diversity Initiatives Committees. I have also provided leadership for four individual
SOT Specialty Sections (SS). I have served as President of the Immunotoxicology, Metals and Ethical,
Legal, Forensic and Societal Issues Specialty Section and currently serve as Senior Councilor of the
Inhalation and Respiratory Specialty Section. I have received three major SOT awards including the
Mentorship Award from “Women in Toxicology”, Global Host award and in 2018, Education award for
meritorious teaching skills in toxicology. As a teaching scholar, I have taught and continue to teach
toxicology on a global level in such countries as Thailand, Nigeria, South Africa, Tasmania and New
Zealand.

          My education, training and publications are further set out in my Curriculum Vitae, which is
attached to this report as an Exhibit A.



II.    MANDATE AND METHODOLOGY



       UMandate : I was asked to review the scientific literature and assess whether there is a biologically
                 U




plausible explanation for the increased risk of ovarian cancer with the perineal use of talcum powder
products.

        The notion of biological plausibility is multi-factoral. As a part of my analysis, while considering
the totality of the evidence, I evaluated the genital use of talcum powder products, the routes of exposure
by which talcum powder could reach the ovaries, the composition of the talcum powder products, the
biological and toxicological effects of talcum powder, and the potential mechanisms of carciogenisis.
Biological plausibility does not mean proof of mechanism, but rather whether what is known about the
products is consistent with a cause and effect relationship.

         I performed an independent, comprehensive literature review using research databases and search
enginges including PubMed, ToxLit and Google to identify relevant literature. The keywords/phrases
used initially for searching, included: talc, talcum powder, talc and cancer, talc and toxicity, talc and
toxicology, ovarian cancer, oxidative stress, talc and ovarian cancer, animal models and talc, talc powder
and the immune response and talc chemical structure. Keywords and phrases expanded upon those terms
in later searches.

          More than 300 publications (research papers, reviews, abstracts, reports, documents) and book
chapters from the 1960s to the present were identified as having some relevancy for the talc-ovarian cancer
topic. Following closer scrutiny of these publications, between 200-250 research papers, scholarly
reviews, abstracts, documents, reports were found critical for informing my opinion. Toxicological
studies, including in vivo, in vitro and ex vivo investigations, were the topics most appropriate for my area
of expertise. In addition, I have reviewed depositions and numerous documents, internal memorandum

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and published and unpublished studies and testing results that I have found in my own searches, documents
provided by attorneys, and documents that I requested. A list of materials and data considered for this
report are attached as Exhitit B.

          My opinions below are based upon my experience as a toxicologist and research scientist and
have been reached through employing the same scientific methodology and rigor that I employ in my
academic research and professional duties. To my knowledge, I considered and evaluated the majority of
all available relevant studies in the process of evaluating the literature, including those that reported an
elevated risk of ovarian cancer with exposure to talc and those where other chemicals were reported within
talc-based body powders, including those that did not find an increased risk. The same approach was used
in evaluating the animal data and the mechanistic data.



III.       TALC



          Primary talc deposits are found on almost every continent around the world 1 . Talc is commonly
                                                                                      P       P




formed by the hydrothermal alteration of magnesium- and iron-rich rocks (ultramafic rocks) and by low-
grade thermal metamorphism of siliceous dolomites. Talc is the softest mineral on earth, mined around
the world for use in a wide variety of products personal, cosmetic or industrial in nature. The word “talc”
can refer to two things. The first is a mineral and the second is a commercially available product that can
be used both industrially and in pharmaceuticals and cosmetics. For this report, when talking about the
former, I use the term “mineral talc,” and when talking about the latter, I use the term “talcum powder
products.” Johnson & Johnson talcum powder products are classified as cosmetic talc. Dermal contact
(including perineal application of talcum powder products) is a primary route of human exposure, while
inhalation also represents a route of exposure for talc/talcum powder products.

           As a mineral, talc corresponds to the chemical structure of hydrous magnesium silicate with a
formula of Mg 3 Si 4 O 10 (OH) 2 and a theoretical chemical composition, expressed as oxides, of 31.7% by
                   R   R   R   R   R   R   R   R




weight magnesium oxide (MgO), 63.5% silicon dioxide (SiO 2 ) and 4.8% water (H 2 O). Talc belongs to
                                                                          R   R           R   R




the silicate subclass phyllosilicates and is known as a sheet silicate. It is the softest mineral on Mohs’
hardness scale, and it’s structure and chemical bond arrangement is such that it is easily broken into thin
sheets. The structure consists of three sheets that are octahedrally coordinated magnesium hydroxide
groups (brucite layer) layered between 2 layers of tetrahedrally linked silica layers. The apical oxygen
atom positions of the tetrahedral layers are shared with one of the oxygen atom positions of the octahedral
layer. The composite sheets repeat every 9.4 angstroms and the triple-sheet crystalline units are held
together by van der Waals forces. Talc particles are normally plate-like in shape, but may form mineral
fibers, as discussed below.




1
    https://minerals.usgs.gov/minerals/pubs/commodity/talc/mcs-2017-talc.pdf
                                                                                                          3
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          Small amounts of aluminum and ferric (III) iron can substitute for silicon in talc tetrahedral sites.
Trace amounts of nickel and small to moderate amounts of ferrous (II) and ferric (III) iron, aluminum
and/or manganese can substitute for magnesium in talc octahedral sites. Additionally, talc deposits may
contain varying amounts of quartz, nickel, chromium and cobalt, as well as asbestos or asbestos-forming
minerals including amphibole (tremolite, actinolite, antigorite and anthophyllite) and serpentine
(chrysotile) (Cralley, 1968; Lockey, 1981; McCarthy 2006; Rohl, 1976). The pH of cosmetic talcs are
usually alkaline (8.0-9.5) and are insoluble in water, cold acids or in alkalis.

        Talc powder particle size depends on the process used to make the powder. Johnson and
Johnson’s analysis of particle size in talcum powder shows particles range on average from 0.8 µm to over
50 µm, with a median particle size of 11.39 µm, where approximately 43.9% of particles are less than 10
µm (JNJTALC00878141).


        A.       Fibrous Talc


          As a mineral, talc is most commonly found in plate-like form, but may also form as true mineral
fibers that are asbestiform (IARC 2010, IARC 2012). Asbestiform talc (also known as fibrous talc) is
different from talc containing asbestos. Fibrous talc fibers are very long and thin and occur in parallel
bundles that are easily separated from each other by hand pressure (IARC Monographs, 2010). The 2010
IARC clearly states that the term ‘asbestiform fiber’ means any mineral, including talc, when it grows into
an asbestiform habit. In its fibrous form, talc has been classified as a Group I, known carcinogen (IARC
1987 Supp 7; IARC 2010; IARC 2012). OSHA considered fibrous talc exposure limits to be equivalent
to those of asbestos (OSHA, 1972). In 2010, IARC expanded the Group 1 designation (“known
carcinogen”) from “talc containing asbestiform fibers” to “talc containing asbestos or other asbestiform
fibres.” (IARC, 2010). Additionally, the American Conference of Governmental Industrial Hygienists
(ACGIH) clarifies that “talc may also take the form of long thin fibers (fibrous talc) and can occur in
bundles that are easily separated (asbestiform talc). Asbestiform talc should not be confused with talc
containing asbestos…” (ACGIH, 2010).

        Asbestiform talc fibers have been reported by Johnson & Johnson and Imerys to be found in:
mines from which ore for Johnson & Johnson talcum powder products were sourced; in talcum powder
used in Johnson & Johnson talcum powder products; and in the Johnson & Johnson talcum powder final
product. 2
         P   P




        Recent TEM testing on historic samples of Johnson’s Baby Powder from 1978 showed the
presence of fibrous talc in the product (Longo & Rigler, Feb 2018 MAS Report). Additional TEM
testing of 30 samples of J & J baby powder and Shower to Shower dating from a span of many years
resulted in a finding of fibrous talc in 15 samples (Longo & Rigler, Aug 2017 Expert Report).



2
 See also: IMERYS477879 (fibrous talc in Grade 66 Q1 composite); JNJ 000269848 (talc needles found in medicated
powder 1971, see with TEM results in JNJ 000281921); JNJ 000245002 (Fibrous talc in Hammondsville mine 1970)) .
                                                                                                                  4
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IV.            ASBESTOS



           Asbestos, like talc, is a naturally occurring silicate mineral, but with a different crystal structure
(Mossman & Churg, 1998). Asbestos is a generic name referring to a group of naturally occurring mineral
silicate fibers. It is recognized as a known human carcinogen by the U.S. Occupational Safety and Health
Administration (OSHA), the U.S. Environmental Protection Agency (USEPA) and the National
Toxicology Program (NTP)(OSHA, 2014; USEPA, 1995; NTP, 2016). The National Institute for
Occupational Health (NIOSH) has stated there is no safe level of asbestos and the American Conference
of Governmental Industrial Hygienists (ACGIH) characterizes it as a “confirmed human carcinogen”
(NIOSH, 1980; ACGIH, 2017). All forms of asbestos are Group 1 carcinogens (carcinogenic to
humans)(IARC, 2012).

           The U.S. EPA defines asbestos by limiting the term to 6 specific fibrous minerals from two
distinct groups: chrysotile (from the Serpentine group); and amosite, crocidolite, tremolite, actinolite and
anthophyllite (from the Amphibole group). “Asbestiform” describes the pattern of growth of a mineral
that is referred to as a “habit” (IARC, 2010). Minerals with a “non-asbestiform” habit have crystals that
grow in two or three dimensions, and “cleave into fragments, rather than breaking into fibrils” (Id.).
Chrysotile occurs in the asbestiform habit, whereas, of the amphiboles, amosite and crocidolite occur only
in the asbestiform habit, and tremolite, anthophyllite and actinolyte can occur in asbestiform or non-
asbestiform habits. OSHA defines an asbestos fiber as having a length > 5mm and a length:width aspect
ratio of 3:1, whereas the USEPA definitition incorporates the aspect ratio of > 5:1 (OSHA, 1992; USEPA,
1987).

              While amphibole and serpentine asbestos may have fibrous habits, they have very different
forms. The amphiboles are double-chain silicates also called inosilicates. The basic structural unit is
(Si 4 O 11 ) -6 with side groups that are responsible for the overall amphibole structure. Amphiboles are
   R   R   R   R   P   P




distinguished from one another by the amount and positioning of metal atoms including: sodium, calcium,
manganese, magnesium, iron(II), iron(III) and aluminum. Traces of these types of asbestos are extracted
when other minerals are being mined and, due to inefficient or non-existant separation techniques, are
ultimately incorporated into the final product. Even incidental contamination by amphibole forms of
asbestos is hazardous enough to cause asbestos-related illnesses (Rohl & Langer, 1976).

          The serpentine group of minerals has the formula Mg 3 Si 2 O 5 (OH) 4 and the structure resembles
                                                                    R   R   R   R   R   R   R




a bending sheet. Chrysotile is the only one in which the sheets are bent to form continuous tubes, which
gives the mineral the fibrous habit related to asbestos. Chrysotile is very flexible and less likely to be
"friable" than the amphiboles. Friability of asbestos is generally defined as the ability to easily be turned
into a dust with finger pressure. It is this friability that can release asbestos fibers and potentially result in
health problems.


               A.          Asbestos in Talc


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           Associated minerals found in commercial talc products vary from deposit to deposit depending
on the formation conditions. The most common minerals associated with talc include chlorite, magnetite,
dolomite, calcite, mica, quartz and fluoapatite (Fiume et al., 2015). In its natural form, some talc also
contains asbestos, classified as a Group I, “known carcinogen” by IARC (IARC Monographs, 1973, 1977,
1987, 2012). Amphiboles and serpentine fibers have been associated with many talc deposits (Van Gosen,
2004; Marconi and Verdel, 1990; Lockey, 1981; Rohl and Langer, 1974; Gamble et al., 1979; Kleinfeld
et al., 1973, 1974; Pooley, 1972 (JNJ000319762); Chidester, 1968). The close proximity of asbestos and
talc in mineral deposits makes extraction of either material alone difficult, if not impossible. (Rohl and
Langer, 1974; IARC, 2010; Dion et al. 2010 3 ).
                                             P   P




         Cralley (1968) analyzed twenty-two commercially available cosmetic talcum products
(manufacturers not reported). Authors reported the fiber content ranged from 8% - 30% (by count) with
an average of 19% and that the fibrous material was predominantly fibrous talc. Pooley and Rowlands
(1975) analyzed twenty-seven talc powders (cosmetic and industrial) and detected tremolite fibers in three
samples.

         Because asbestos is a known carcinogen, its presence in cosmetic talc is unacceptable (FDA,
2012; FDA 2015). The former Director of National Institute for Occupational Safety and Health (NIOSH)
and former President of Industrial Minerals Association – North America (IMA-NA) stated in a recent
deposition that if there were a fiber of asbestos in talcum-based products it would “certainly” provide a
biologically plausible mechanism for increased lung disease, and that he suspected it would also have a
“similar mechanism of disease in other tissues and organs” (Deposition of Robert Glenn, October 18,
2018, 341:15-342:3).

           In 1976, specifications were developed for cosmetic talc requiring that no detectable fibrous,
asbestos mineral be present (CTFA, 1990; Fiume, 2015). The talc industry, and specifically Defendants,
developed a “zero tolerance” standard for asbestos in talc (IMERYS 170006; JNJ 000383662; JNJ
000001918). Despite this standard, the presence of asbestos in cosmetic talc has been reported in the
literature, and Johnsom and Johnson indicated in a letter in 1973 that “asbestos-form particles cannot be
removed from talc” and that the “Johnson & Johnson process for beneficiating Vermont talc…will not
guarantee a zero tolerance for elongated particles” (JNJ 000233691). In 1976, Rohl et al. tested 20
different talcs and powders including 20 body powders, baby powders, facial talcums, and also one
pharmaceutical talc to determine their mineralogical and chemical composition. Where known, all were
formulated prior to 1973. Of the 20 products, 9 contained detectable amounts of tremolite and
anthophyllite, principally asbestiform, while some also contained fragmented forms of these minerals. The
amounts ranged from tenths of a percent to over 14% by weight; two contained detectable amounts of
chrysotile asbestos fiber. Eight samples contained quartz, seven ranging from 2 to 5%, with one as high
as 35%. Analyses showed that the consumer products examined were rarely the pure mineral talc, but
rather were mixtures of various minerals.



3
    Available online at: http://www.irsst.qc.ca/media/documents/PubIRSST/R-755.pdf
                                                                                                        6
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          In 1984, Paoletti et al. performed studies by electron microscopy to assess asbestos
contamination in industrial and cosmetic talcs from the Italian market and the European Pharmacopoeia
(Paoletti, 1984). Nine of the 25 pharmaceutical and cosmetic grade talcs contained tremolite fibers, with
total percent asbestos concentrations ranging from 0.4% - 22%. About half of the talc powders revealed
the presence of asbestos: in five samples chrysotile (a serpentine asbestos) was present, the others
contained tremolite and anthophyllite (an amphibole asbestos).

          Cosmetic and pharmaceutical talc products from deposits in Vermont, Montana, North Carolina
and Alabama were examined and tested positive for asbestos (Blount, 1991). The investigator of that
study recently affirmed the samples included Johnson & Johnson baby powder, purchased off the shelf
(Deposition of Alice Blount, PhD, April 13, 2018). The early analytical methods used to measure asbestos
fibers before 1990 were not very sensitive and thus it appears that extrapolation of the levels of asbestos
from counts measured before this date could have been conservative (Blount, 1991).

          In a study that examined the amphibole asbestos content of commercial talc deposits in the USA,
Van Gosen et al. (2004) found that the talc-forming environment directly influenced the amphibole and
amphibole-asbestos content of the talc deposit. Specifically, the study found that contact metamorphic
talcs showed a strong tendency to contain amphiboles, and regional metamorphic talc bodies consistently
contained amphiboles, which display a variety of compositions and habits (including asbestiform). In a
German study (Mattenklott, 2007), the author examined the presence of asbestos in talc powder and found
that in one-quarter of the 57 talc powder samples tested, asbestos could be detected. Two samples
contained quantities exceeding 0.1 weight percent which could reach a value of 10,000 fibers/m 3 . This            P   P




weight percent is, in some cases, half that reported by Johnson & Johnson in their internal documents, as
seen in the corporate depositions reported below.

         Defendants have claimed that asbestos has been “eliminated” from cosmetic talc products. 4                        P   P




However, there is substantial evidence that talcum powder products still contain asbestos, recognized as
a Group 1 carcinogen. During the recent deposition of John Hopkins (Johnson and Johnson corporate
representative), Mr. Hopkins affirmed testing results showing the presence of asbestos in mines from
which talc ore was taken for use in Johnson & Johnson baby powder products, processed talc used in
Johnson & Johnson baby powder products, and in complete Johnson & Johnson baby powder products.
Those results may be found at Exhibit 28 5 of Dr. Hopkins’ deposition. Additional examples of testing
                                                 P   P




performed by and commissioned by Johnson and Johnson and Imerys may be found at Exhibit 47 to the
deposition of Julie Pier, corporate representative of Imerys. 6      P   P




         In 1975, McCrone Associates also confirmed the presence of amphibole particles, alone and in
bundles as seen in Defendants’ internal documents (JNJMX68_000012745). In 2004, a television station
reported that Johnson’s Baby Powder had been analyzed and found anthophyllite asbestos at 0.2% (JNJ
000089413). A 1972 Johnson & Johnson document demonstrates the presence of up to 5% chrysotile in

4
  PCPC Submission to FDA, July 2009 – “Since the early 1970’s, the relevant industries voluntarily eliminated asbestos
contamination from talc products.”
5
  Ex. 28, John Hopkins Dep. (Aug. 16 & 17, 2018; Oct. 17, 2018; and Nov. 5, 2018).
6
  Ex. 47, Julie Pier Dep. (Sept. 12 & 13, 2018).
                                                                                                                           7
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Johnson’s Baby Powder and Shower to Shower samples (JNJ 000232996).               These data clearly
demonstrate the possibility for women who used talcum powder during these dates to have had exposure
to this ovarian carcinogen.

          Recent TEM testing on historic samples of Johnson & Johnson baby powder from 1978 showed
the presence of fibrous anthophyllite in the product. (Longo and Rigler, 2018; Ex. 47, Pier Dep.).
Additional TEM testing of 30 samples of Johnson & Johnson baby powder and Shower to Shower ranging
in production date over a span of many years resulted in a finding of amphibole asbestos (tremolite,
anthophyllite, richterite and actinolite) in 17 samples. (Longo and Rigler, 2017). Additionally, I have
reviewed a recent report prepared by Dr. William Longo and Dr. Mark Rigler that reports that talcum
powder products manufactured by Johnson & Johnson‘s Baby Powder and Shower to Shower have
contained and continue to contain asbestos and talc containing asbestiform fibers (e.g. talc occurring in a
fibrous habit). 7 These results were obtained from testing talcum powder product samples manufactured
                  P   P




during the period of the 1960s through the 1990s. Results showed 37 of 56 samples tested contained
tremolite and/or anthophyllite asbestos, and 41 of 42 samples tested contained fibrous talc.


       The substantial evidence of the presence of asbestos and fibrous talc in talcum powder products
provides a biologically plausible explanation for the increased risk of ovarian cancer associated with the
perineal use of talcum powder products.



V.         HEAVY METALS



           A.         Properties of Heavy Metals

          Nickel is classified by IARC as a human carcinogen (Group 1) (IARC, 1973, 1976, 1979, 1982,
             U            U




1987, 1990). The exact mechanisms of nickel-induced carcinogenesis are not known, but likely involve
genetic and epigenetic routes. Nickel (II)-induced genotoxicity may be aggravated through the generation
of DNA-damaging reactive oxygen species (ROS) and the inhibition of DNA repair by this metal. Nickel
exposure also causes a broad spectrum of epigenetic effects. Contact with nickel compounds can cause a
variety of adverse effects on human health (Zambelli and Ciurli, 2013).

          Nickel ions have been shown to cause single-strand DNA breaks and DNA-protein crosslinks
(Patierno, 1985). In a study by Patierno (1985), Chinese hamster ovary cells were exposed to NiCl 2 , and
                                                                                                     R




nickel-induced DA-protein crosslinking appeared in late S phase of the cell cycle (Id.). Authors associate
these alterations as an early event in the process of nickel transformation (Id.).

          Contact with nickel compounds can cause a variety of adverse effects on human health, such as
nickel allergy in the form of contact dermatitis, lung fibrosis, cardiovascular and kidney diseases and

7
    Expert Report of William E. Longo, PhD and Mark W. Rigler, PhD (Nov. 14, 2018).
                                                                                                         8
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cancer of the respiratory tract. Chronic non-cancer health effects may result from long-term exposure to
relatively low concentrations of pollutants (Duda-Chodak and Blaszcyk, 2008). Although the
accumulation of nickel in the body through chronic exposure can lead to a number of diseases, the most
serious concerns relate to nickel’s carcinogenic activity. Increased risks of malignant tumors, such as nasal
and sinusoidal cancers, and cancers of the lung and larynx have been noted (IARC, 1987). The marked
differences in the carcinogenic activities of various nickel compounds most likely reflect the differences
in their uptake, transport, distribution and retention, and ultimately—the capacity to deliver nickel (II)
ions to specific cells and target molecules.

           In experimental animals, nickel compounds induce tumors at virtually all sites of application
(Denkhaus, 2002; IARC, 1987; Zabmelli, 2013). The routes of administration that were shown to produce
tumors include inhalation, intramuscular, intrarenal, intraperitoneal, intraocular, subcutaneous and the
intra-articular space (Id.).

         Chromium is a naturally occurring element found in rocks, animals, plants, soil, and volcanic
         U           U




dust and gases. It comes in several different forms, including trivalent chromium (chromium (III)) and
hexavalent chromium (chromium (VI)). In contrast, chromium (VI) compounds cause cancer in humans
and in experimental animals and exert genetic toxicity in bacteria and in mammalian cells in vitro (Fang,
2014; IARC, 2009). Adverse health effects, other than cancer, associated with chromium (VI) exposure
include occupational asthma, eye irritation and damage, perforated eardrums, respiratory irritation, kidney
damage, liver damage, pulmonary congestion and edema, upper abdominal pain, nose irritation and
damage, respiratory cancer, skin irritation, and erosion and discoloration of the teeth. Some people with
extensive dermal exposure can also develop an allergic skin reaction, called allergic contact dermatitis
(Bruynzeel et al., 1988). Primary irritant dermatitis is related to the direct cytotoxic properties of
chromium, while allergic contact dermatitis is an inflammatory response mediated by the immune system.
During reduction to the trivalent form, chromium may interact with cellular macromolecules, including
DNA (Wiegand et al., 1985), or may be slowly released from the cell. Complexes of chromium (III) that
are bound to lower molecular weight ligands are most likely to be able to traverse cell membranes.

          Chromium (III) has weak cell membrane permeability, allowing it to cross the cell membrane,
where it can bind to DNA and cause lesions, resulting in genetic damage such as strand breaks and DNA-
protein crosslinks (Nickens, 2010). This damage leads to genomic instability. Another study has shown
that chromium (III) causes DNA damage in cells by interfering with base pair stacking in the cell’s
replication cycle, and chromium (VI) intercalates DNA – both directly cause genotoxicity in vivo (Fang,
2014).

         Hexavalent chromium compounds are classified by IARC as carcinogenic to humans (Group
1)(IARC, 2009). Mechanistically, they have been shown to cause direct DNA damage after intracellular
reduction to Cr(III), mutation, genomic inistability, aneuploidy, and cell transformation (Id.). Chromium
(VI) can cause damage leading to dysfunctional DNA replication, aberrant cell cycle, DNA strand breaks,
dysfunctional DNA repair and DNA-protein crosslinks and directly causing genotoxicity (Nickens, 2010).

          Besides direct genotoxic effects of chromium (VI), chromium compounds such as chromate can
activate transcription factors involved in inflammation and tumor growth (IARC, 1990). Major factors

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governing the toxicity of chromium compounds are oxidation state and solubility. These compounds,
which are powerful oxidizing agents and thus tend to be irritating and corrosive, appear to be much more
toxic systemically than chromium (III) compounds, given similar amounts and solubilities. Chromium
(VI) enters many types of cells and, under physiological conditions, can be reduced by hydrogen peroxide
(H 2 O 2 ), glutathione (GSH) reductase and ascorbic acid to produce reactive intermediates, including
      R   R




chromium (V), chromium (IV), thiyl radicals, hydroxyl radicals, and ultimately, chromium (III). Any of
these species could attack DNA, proteins and membrane lipids, thereby disrupting cellular integrity and
functions (De Mattia, Bravi et al. 2004). Besides cancer, chromium is one of the most common skin
sensitizers. It also causes toxicity of the kidney, liver, gastrointestinal tract, and cardiovascular,
hematological and reproductive systems along with causing developmental effects. 8 High doses of
                                                                                          P   P




chromium (VI) compounds have been reported to cause developmental toxicity in mice and shown to
potentiate the effects of other toxicants, including the nephrotoxins, mercuric chloride, citrinin,
hexachlorobutadiene, and maleic acid.

              Cobalt IARC declared that cobalt metal with tungsten carbide is probably carcinogenic to
                   U      U




humans (Group 2A), while cobalt metal without tungsten carbide is possibly carcinogenic to humans
(Group 2B). Two different mechanisms of genotoxicity, (1) DNA breakage induced by cobalt metal and
especially hard metal particles, and (2) inhibition of DNA repair by cobalt (II) ions contribute to the
carcinogenic potential of cobalt compounds (Lison et al., 2001; IARC, 2006). Cobalt can also contribute
to allergic reactions. In humans, gastrointestinal absorption of cobalt has been reported to vary between 5
and 45% and it has been suggested that absorption is higher in women than in men. Cobalt can be absorbed
through intact human skin (IARC, 2006). Soluble cobalt salts interfere adversely with cell division, bind
irreversibly to nucleic acids in the cell nucleus, induce chromosome aberrations in plants, and are weakly
mutagenic in some in vitro tests. Injections or implantation of cobalt metal, alloys and compounds induced
local and sometimes metastasizing sarcomas in rats, rabbits, and mice (Id.). Data indicating possible
carcinogenic effects of cobalt alloys or compounds in human populations has arisen from medical use, use
in hard-metal industries, and from cobalt production sites.


              B.       Metals in Talcum Powder Products

          In an early paper by Cralley et al., (1968), 22 cosmetic talcum products purchased off the shelf
were analyzed for fibrous content, selected metals and quartz. In these studies, 19 samples contained cobalt
under 25 parts per million (ppm) by weight, chromium under 22 ppm, nickel below 29 ppm and manganese
under 78 ppm. Certain samples had a nickel content of 1270 ppm, chromium 340 ppm and 1210 ppm
nickel; qualitative tests demonstrated that some of the chromium was hexavalent (carcinogenic form). All
of these talcs had a considerable fiber content (suggesting the presence of asbestos) (Id.). Studies here
suggest that women who used talcum powder in the 1960s could have been exposed to considerable
amounts of toxic heavy metals depending on the type of talc used and frequency of use (Id.).




8
    Accessible online at: https://www.atsdr.cdc.gov/csem/csem.asp?csem=10&po=10
                                                                                                         10
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           In a 2013 study by Rehman, toxic and carcinogenic heavy metals were found to be present in
small amounts in all 30 brands of cosmetic talcum powder tested; the concentrations of heavy metals
differed dramatically depending upon the brand of talcum powder (Rehman, 2013). Heavy metals
measured (and found in samples) included cadmium, chromium, copper, cobalt and lead. Authors found
all levels to be within safe limits. However, authors caution that excess use of talcum powder affects the
health of the consumer (Id.).

          In a paper by Gondal et al. (2012), published in Applied Optics, lead and chromium were
measured in talcum powder using laser-breakdown spectroscopy. Using this system, the authors were
able to detect 15-20 parts per million (ppm) of lead and 20-30 ppm of total chromium in the talcum powder
sample. This study, like that by Rehman, demonstrates the presence of toxic heavy metals associated with
talcum powder. However, the levels of heavy metals in this study were significantly higher. The method
used for measuring metals in this study was far more precise than that used by Rehman et al. (2013). This
study supports the presence of toxic and potentially carcinogenic metals in some talcum powders.

          According to Johnson & Johnson’s corporate representative, the maximum amount of allowable
nickel in the company’s talcum powder products was 5 ppm (Deposition of John Hopkins, August 16,
2018, Ex. 3). Written specifications state that the maximum allowable nickel content is 10 ppm (JNJ
000629320; JNJ000488188; JNJMX68_000022920). Despite these limits, nickel in concentrations
exceeding 2000 ppm were reported in Vermont talc used in talcum powder products for decades, greatly
in excess of the product specification limit of 10 ppm (JNJ 000629320; JNJ 000488188;
JNJMX68_000022920). Examples of testing results for heavy metals in Defendants’ talcum powder
products can be found in Exhibit C, attached to this report.

          Over the years from 1972 to 2004, talc mined in Vermont had consistent, excessive levels of
nickel, routinely exceeding 94 to 250 times the upper limit provided in J&J’s specifications (Exhibit C).
This is troubling considering nickel is a known carcinogen (IARC 2012).

         Cobalt was found in Vermont talc ores in amounts ranging from 8 – 89 ppm from 1972 through
2004. Like nickel it, too, appears to occur routinely in talc products in amounts exceeding the 10 ppm
upper limit for heavy metals in the talc product specifications (Exhibit C).

          Internal documents outline Johnson & Johnson’s concern regarding the potential carcinogenic
nature of chromium (VI), a Group I carcinogen (JNJ 000131758; JNJ 000131754; JNJ 000378044; JNJ
000378046). A 2010 J&J memo written discusses raising the upper limit acceptable for total Cr to 7 ppm
(JNJ 000131758). An accompanying memo also discusses the relationship between chromium (III) and
chromium (VI) (JNJ 000131754), and a discussion of the inhalation of hexavalent chromium is contained
in this document. Regardless of valence, Grade 66 analyses consistently show total chromium contents
far in excess of 5-, 7-, or 10 ppm. During the period from 1972 thru 2004, the chromium content varied
from 25 ppm to 569 ppm (Ex. 47, Pier Dep.), with typical levels around 200 ppm.

         Interestingly, there is a significant difference between the reported chromium content of Grade
66 talc when the sample has been prepared by Johnson & Johnson (internal) method BPT 148 versus the
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United States Pharmacopeia (USP) method which uses a total digestion technique (IMERYS-
A_0015621). The levels reported using the USP method were much higher than the Johnson & Johnson
method (Id.).


           C.      Fragrances

         There are more than 150 different chemicals added to Johnson’s Baby Powder and Shower to
Shower products. I reviewed the expert report from Dr. Michael Crowley that concludes that some of
these chemicals may contribute to the inflammatory response, toxicity, and potential carcinogenicity of
Johnson & Johnson’s talcum powder products. 9 I concur with his opinion.
                                                       P   P




       There is substantial evidence that talcum powder products contain excess levels of nickel,
chromium, and cobalt, all known carcinogens and/or inflammatory agents. Moreover, a significant
number of the fragrance chemicals added to talc elicit an inflammatory response. Each of these elements
individually and together can contribute to an inflammatory response caused by the product. As will be
explained in more detail below, inflammation is a known mediator of ovarian cancer. The presence of
these inflammatory agents provides additional biologic evidence explaining the causal relationship
between genital use of talc and ovarian cancer.




VI.        EXPOSURE – TALC PARTICLE ACCESS TO THE BODY



           A.      Exposure Routes

         Based on the tenets of toxicology, there are four basic routes of human exposure including:
inhalation, ingestion, dermal and injection.

          A common exposure route for cosmetic talc is via the dermal route, including vaginally after
perineal application. Talc body powders are often applied to the perineum for hygienic purposes. It has
been shown that glove powder and other materials can migrate upwards through the female reproductive
tract (Venter & Iturralde, 1979; Iturre and Venter, 1981; Sjosten et al., 2004; Heller et al., 1995) and the
data are supported by animal investigations (Wright et al., 1996; Edelstam et al., 1997; De Boer, 1972;
Henderson et al., 1986), also reflective of a dermal exposure route.

          Inhalation is the route of exposure that has been most commonly studied to assess talc toxicity.
In one inhalation study, after talc exposure of hamsters, there was a consistent elevation in cytotoxic
enzyme levels, and macrophage phagocytosis was persistently depressed (Beck et al., 1987). These results
also indicated that, when a similar mass of talc and granite dust (12% quartz) was deposited in the lungs,

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    Expert Report of Michael Crowley, PhD (Nov. 12, 2018).
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talc caused more lung injury than did granite (Id.). Based on its physical properties talc, in a powder form,
can be inhaled while being applied (EPA, 1992; IARC, 2010). Additional evidence that application of
talc body powder products results in inhalation exposure of talcum powder is provided in a 2017 study by
Longo, et. al., and other studies (Longo, September 2017, “Below the Waist Application of Johnson &
Johnson Baby Powder”; Wells, 1979; van Huisstede, 2010; Frank and Jorge, 2011; Jasuja, 2017).

               1.      Dermal - Migration Through the Upper Genital Tract


                 Animal models :   U  Though animal studies have limitations due to the differences in
anatomy, they provide evidence that talc can migrate through the reproductive system. Rats were exposed
vaginally or via the perineum to either talc or no treatment for 3-mo on a daily basis (Keskin et al., 2009).
In this study, there was evidence of foreign body reaction and genital infection, along with an increase in
inflammatory cells in all the genital tissues. While no neoplastic changes were observed, the number of
ovarian follicles in the talc groups were increased. No peritoneal changes were observed. The investigators
concluded that talc by perineum exposure has adverse effects on the genital system in the form of foreign
body reactions and infection (Id.).

          In a series of two experiments, Henderson et al. (1986) demonstrated the presence of talc in the
ovaries of two groups of animals following vaginal and intrauterine talc applications, whereas none was
present in the ovaries of control animals. Particles were also seen in animals that had received intravaginal
talc that were sacrificed after 4 days. (Id.)

          Studies by Wright et al. (1995) also demonstrated the potential toxicity of retrograde uterine
passage of particulate matter. Despite the aforementioned studies which demonstrate the plausibility of
talc translocation, a study by Wehner et al. (1996) failed to demonstrate the same outcomes in a small
sample of monkeys, which may have been due to the small sample size.

               U Human studies : A number of human studies over many years have observed migration
                               U




of particles following vaginal administration: these studies began as early as 1961 when Egli and Newton
studied the translocation of carbon particles following vagina application. In 1972, De Boer deposited
colloidal carbon black (CB) suspension in the uterus, cervical canal or vagina in over 100 patients prior
to surgery (De Boer, 1972). Subsequent observation revealed rapid translocation of CB to the oviducts
and beyond. Some CB deposited in the cervical canal also translocated to the uterine passage, albeit in a
lower percentage of patients (Id.). An early study by the National Institute of Occupational Safety and
Health (NIOSH) in 1972 showed commercially available talc body powder samples contained fibers, and
that exposure to fibers occurred during diapering (JNJ 000231304).

          A study by Venter and Itteralde (1979) administered radiolabeled human albumin microspheres
(no size provided) in the vagina of patients, followed by surgical removal of uterus, oviducts and ovaries.
Results demonstrated that 9 out of 14 patients had radioactivity in their oviducts and ovaries. Recent
studies have demonstrated the presence of talc particles in ovarian tumors (to be discussed in a later
section). Another clinical study examined a total of 24 women undergoing oopherectormy (Heller et al.,

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1995). In this case, women were questioned as to their use of perineal talc applications. Ovarian tissue
was removed from each group and analyzed and quantitated for talc by polarized light and electron
microscopy. These data support the ability of talc to migrate from the perineal region upward and reach
the upper genital tract (Id.).

          Further evidence for migration of particles to the upper genital areas comes from a document
from the FDA to Dr. Epstein (Cancer Prevention Coalition, University of Illinois, Chicago) concerning
Citizen Petitions dated 1994 and 2008 and requesting a cancer warning on cosmetic talc products. In this
document, the FDA stated that “the potential for particulates to migrate from the perineum and vagina to
the peritoneal cavity is indisputable” (JNJ 000488318).

          In addition, a 2004 document from Luzenac America to Dr. Al Wehner (IMERYS 137677)
recalls a 2004 published paper by Sjosten et al. (2004). Luzenac states that the paper “offers some
compelling evidence in support of the ‘migration’ hypothesis.” The paper concluded that starch particles
migrate from the vagina through the Fallopian tubes up to four days after examination with powdered
gloves (Id.). The author of the Luzenac document goes on to state that combining this evidence with the
theory that talc inititates epithelial inflammation and you have a “potential formula” for the NTP
classification of talc as a carcinogen.

         The most recent systematic review of the association between genital use of talcum powder
products and ovarian cancer (Penninkilampi, 2018) reported an increased risk of ovarian cancer with
increased perineal talcum powder use, with a slightly higher risk in women who report greater usage.
Data was collected as “lifetime” usage – frequency of use over time. Any use was associated with
increased risk of ovarian cancer as compared to no use, and women with long-term (> 10 years) talcum
powder use had an increased risk. The authors concluded perineal talcum powder use and ovarian
cancer were consistently associated, with a slightly higher risk in women who report greater usage.

          Pathways that allow for the migration of particles to the lymph nodes are also available for that
complex portion of the lymphatic system surrounding the ovaries. Importantly, studies by Chan et al.
(2007) have demonstrated a positive association between lymphadenectomy and survival in stage 1
ovarian cancer patients. In support of this finding, Cramer et al. (2007) described the presence of talc
particles in pelvic lymph nodes of a woman with ovarian cancer and long-term genital exposure to
cosmetic talc.

       Animal and human studies demonstrate that talcum powder products can migrate from the
perineal region to the ovaries.



               2.      Inhalation


          Effects of size on particle translocation and toxicity have been studied most extensively with
inhaled particulate air pollutants and nanomaterials. These studies will be discussed to provide a scientific
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premise for movement of particles of a certain size throughout the body. Small-sized particles can enter
the bloodstream – translocation of particles and often toxicity are related to their size; perhaps because of
the larger mass concentration of smaller vs. larger particles (Driscoll et al., 1997).
J&J’s analysis of particle size in talcum powder products shows particles range on average from 0.8 µm
to over 50 µm, with a median particle size of 11.39 µm, where approximately 43.9% of particles are less
than 10 µm (JNJTALC00878141).

          Ultrafine particles (UFPs; < 0.1 µm) can directly affect the cardiovascular system by migration
from the respiratory system to the systemic circulation (Nakane, 2012; Elder et al., 2006; Kreyling et al.,
2006). Inhaled UFPs deposited in the lung can pass through the epithelial barrier because of their very
small size; some particles may move into lung capillaries and then into the systemic circulation.
Numerous studies and reviews have been written concerning the migration of these particles. In a
systematic literature review (Nakane, 2012), particle size was shown to be a strong factor for
migration. Particles that were translocated to various sites were observed to have the following sizes:
≤0.05 μm for remote organs, ≤1 μm for blood, and ≤10 μm for lung tissues. In order to be detected in the
blood, particles that have passed through the epithelial barrier of the lungs must migrate into the
capillaries. The largest chance for migration to the brain was observed at a 0.05-μm cutoff size. However,
MnO 2 particles as large as 1.3 μm have also been detected in the cerebral cortex (Nakane, 2012). A
     R   R




categorical regression analysis based on currently available inhalation data showed that all of the effects
of particle size, particle material, animal species, and exposure route were statistically significant (Id.).
The effects were large for particle size and particle material, and small for exposure route and animal
species. These results suggest that, in an experiment to evaluate the migration of solid particles, the
characteristics of the particles (i.e., size and material) should be considered carefully.

          Evidence from an internal document (1971) demonstrates rolled talc fibers between 0.1 - 3µm
in a Johnson and Johnson’s commercial product (JNJAZ55_000005957). Other documents from
Defendants have demonstrated that while median particle size is ~10.5 µm, sizes can be as small as 0.3
µm (IMERYS030347; IMERYS031791). V66 non-shear talc was approved for use in JNJ Shower to
Showder products and the size of some of the particles had a diameter as small as 0.1 µm
(JNJTALC000878141). While the median particle size was ~12 µm, the standard deviation was very
high (~9µm) demonstrating a large range of particle sizes. Fine-size particles such as those found in talc,
can also translocate readily throughout the body (Peters et al., 2006), providing a strong basis for the
ability of fine-size talc particles (<2.5 µm to migrate throughout the body).

          Ultrafine and fine particles can penetrate through the different tissue compartments of the lungs
and eventually reach the capillaries and circulating cells. These particles are then translocated by the
circulation to other organs including the liver, the spleen, the kidneys, the heart and the brain, and the
ovaries where they may be deposited. It remains to be shown by which mechanism(s) ultrafine particles
penetrate through tissue and enter capillaries. Lymph capillaries remove the large protein molecules and
other particulate matter from the tissue spaces of the lung. Thus, cellular debris and foreign particles
inhaled into the lungs can be conveyed to the regional lymph nodes.



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          Talc particle size analyses for many inhalation studies demonstrated that most talc particles were
between 1 and 8 µm; 1 µm is considered ultrafine in size and thus particles could easily migrate from the
lungs and throughout the body. Genofre et al., (2009) examined the effect of talc particle size on induced
pleurodesis following intrapleural injection of rabbits with two different sizes of talc. One group contained
mixed sizes of talc (mean size = 25.4 µm) and the other group small size talc only (mean size = 4.2 µm
with 50% <6.4 µm) (Id.). Particles of both sizes migrated to the spleen, liver and kidney; more small talc
particles (compared to mixed talc) was seen in the liver and kidneys. Both size particles produced an acute
systemic inflammatory response, with small particle talc producing a more pronounced pleural and
systemic response and resulting in greater particle deposition in the organs than the mixed talc (Id.). In
addition, serum levels of the pro-inflammatory cytokine, IL-8 and VEGF were more markedly increased
in the small talc group (Id.). Particles found in all systemic organs were <5µm. A number of other studies
have shown migration of talc particles from the pleural cavity to the systemic circulation (Ferrer, 2002;
Rossi, 2010). It appears that small particles may be more easily taken up by the lymphatics than larger
particles. The inflammatory effects observed showed a strong correlation with the small particle group.
This study shows that size of talc particles matter and the smaller the size the greater the ability to
translocate and increase the extent of the inflammatory response. As Defendants’ internal documents
demonstrate their talc particle size to cover a wide size range (100 µm to ~0.3 µm) 10 , there is extensive
                                                                                       P




evidence that particles can be inhaled and transported through the blood and lymph to the ovaries.

        In 1993, the National Toxicology Program (NTP) issued a report from a study concluding that
there was “some evidence of carcinogenic activity” in male rats, “clear evidence of carcinogenic activity”
in female rats, and no evidence of carcinogenic activity in male or female mice exposed to aersols of talc
reported as nonasbestiform cosmetic-grade (National Toxicology Program, 1993). Authors of that study
speculated these effects could be due to cytokines released from macrophages or a nonspecific effect of
the stress of inflammation (Id.).

         In another study, rabbits were injected with normal size talc (Dmax = 8.36 µm) or larger particles
talc (Dmax = 12 µm) (Ferrer et al., 2002). Pleural inflammation was greater with normal talc than large
talc, and animals receiving normal talc had talc particles in the liver, supporting the premise that talc
particles instilled into the pleural cavity can escape and migrate to extrapleural organs. Talc dissemination
can be significant, and granulomas have been seen to develop in the interstitium after particles migrate
from the lungs, with resultant pulmonary interstitial fibrosis (Hollinger, 1990). In another study
illustrating talc dissemination (Werebe, 1999), talc was administered into the pleural space of rats. At
both 24- and 48-hours, talc crystals were found in every organ of all animals, with the amount of talc being
statistically different between the organs. Authors concluded there was a rapid absorption of talc through
the pleural surface and a progressive systemic distribution of particles (Id.).

          In addition to migration of ultrafine particles through tissue and movement to the lymhph nodes,
fine and coarse particles may be phagocytized by macrophages and dendritic cells which may carry the
particles to lymph nodes in the lung or to those closely associated with the lungs (IARC, 2010). The
uptake of fine particles (0.1–2.5 μm in diameter) by macrophages is a specific ligand-receptor mediated

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     IMERYS346016; IMERYS030347; IMERYS031791; JNJAZ55_000005957.
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actin-based process (phagocytosis), whereas the uptake of ultrafine particles (<0.1 μm in diameter)
apparently occurs by other, non-specific mechanisms (Peters, 2006). These mechanisms are termed
“adhesive interactions,” and include electrostatic, van der Waals and steric inter-actions (Id.). Particles
with a diameter of 0.2 μm and smaller appear to enter cells passively, that is by a mechanism which is
different from phagocytosis. Larger particles are much more avidly taken up by macrophages, but by the
specific receptor mediated, actin-dependent mechanism. Below the particle size of 0.2 μm, particles
increasingly enter the macrophages by the non-specific “adhesive interaction” mechanisms mentioned
above (Id.).

       There is substantial evidence in the scientific and medical literature that support a conclusion that
talc powder particles can reach the ovaries through inhalation.




VII.   MECHANISM OF CANCER


       A.      Cancer - General

          Tumorigenesis, the formation and growth of tumors, is a complex and multifactorial progressive
process of transformation of normal cells into malignant ones (Pogribny and Rusyn, 2014). It is
characterized by the accumulation of multiple cancer-specific heritable phenotypes, including persistent
proliferative signaling, resistance to cell death, evasion of growth suppression, replicative immortality,
inflammatory response, deregulation of energy metabolism, genomic instability, induction of
angiogenesis, and activation of invasion ultimately resulting in metastases. It encompasses genetic,
behavioral, and environmental factors that can all contribute to its development.

         Mutations can occur as a result of the processes inside the cell, or alternatively, can be caused
by external factors, such as chemicals. In addition, some people can inherit faults in particular genes that
make them more likely to develop cancer. While normal cells obey signals indicating they have reached
their growth limit, in cancer cells, the normal signaling system is disrupted. Mutations in particular genes
may result in over- or under- production of proteins, or the production of abnormally formed proteins, all
of which can lead to a lack of cellular regulation.

          In general, cancer is an uncontrolled growth of abnormal cells in the body, which occurs when
the body’s normal control mechanisms are disrupted. Excessive cellular division leads to a growth called
a tumor. Mutations can happen by chance when a cell is dividing. Some mutations act by inhibiting normal
controls over cell growth, leading to uncontrolled cell division. DNA may be damaged during routine
cellular processes, and cells have mechanisms to repair that damage. However, over time, the damage
may accumulate. Once cells exhibit increased cell growth, they are more likely to pick up additional
mutations and are less likely to be able to repair the damaged genes.



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          If the DNA damage cannot be repaired, the cell can self-destruct, a process called apoptosis. In
cancer cells, molecules in the repair pathway are faulty. For example, a protein called p53 normally
determines whether genes can be repaired or if the cell should undergo apoptosis. Many cancers have a
defective version of p53, and don't repair themselves properly. Thus, cancer cells can override self-destruct
signals and don't undergo apoptosis when they should.


       B.      Genetic Mutations

           Inherited mutations are passed down from parent to child and are present throughout a person’s
life in virtually every cell in the body. These mutations are also called germline mutations because they
are present in the parent’s egg or sperm (germ) cells. When an egg and a sperm cell unite, the resulting
fertilized egg cell receives DNA from both parents. If this DNA has a mutation, the child that grows from
the fertilized egg will have the mutation in each of his or her cells.

        A genetic predisposition (sometimes also called genetic susceptibility) is an increased likelihood
of developing a particular disease based on a person's genetic makeup. A genetic predisposition results
from specific genetic variations that are often inherited from a parent. These genetic changes contribute
to the development of a disease, but do not directly cause it. For example, mutations in the BRCA gene
result in an increased risk for ovarian cancer. Some people with a predisposing genetic variation will
never get the disease while others will, even within the same family. Genetic variations can have large or
small effects on the likelihood of developing a particular disease. Although each of these variations only
slightly increases a person's risk, having changes in several different genes may combine to increase
disease risk significantly. Changes in many genes, each with a small effect, may underlie susceptibility to
many common diseases, including cancer.

        In people with a genetic predisposition, the risk of disease can depend on multiple factors in
addition to an identified genetic change. These include other genetic factors (sometimes called modifiers)
as well as lifestyle and environmental factors. Diseases that are caused by a combination of factors are
described as multifactorial. Most disease-causing gene mutations are uncommon in the general
population. However, other genetic changes occur more frequently. Genetic alterations that occur in more
than 1 percent of the population are called polymorphisms.

           Acquired (or somatic) mutations occur at some time during a person’s life and are present only
in certain cells, not in every cell in the body. These changes can be caused by environmental factors such
as ultraviolet radiation from the sun, chemical exposure, or can occur if an error is made as DNA copies
itself during cell division. Acquired mutations in somatic cells (other than sperm and egg cells) cannot be
passed to the next generation.
         Environmental and occupational exposures to natural substances, as well as man-made chemical
and physical agents, play a causative role in human cancer. Acquisition of cancer-specific alterations may
be triggered by the mutational and/or non-mutational (i.e., epigenetic) events in the genome which, in
turn, affect gene expression and downstream phenotypes including persistent proliferative signaling,
resistance to cell death, evasion of growth suppression, replicative immortality, inflammatory response,

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deregulation of energy metabolism, genomic instability, induction of angiogenesis, and activation of
invasion ultimately resulting in metastases.

         Genotoxic carcinogens are agents that interact directly or after metabolic activation with DNA,
causing mutations and leading to tumor formation. Non-genotoxic carcinogens are a diverse group of
chemical compounds that are known to cause tumors by mechanisms other than direct damage to DNA.
In a broad sense, carcinogenesis may be induced through either genotoxic or non-genotoxic mechanisms.
However, both genotoxic and non-genotoxic carcinogens also cause prominent epigenetic changes
(Pogribny and Rusyn, 2013). Disruption of epigenetic processes can lead to altered gene function and
malignant cell transformation. Global changes in the epigenetic landscape are a hallmark of cancer.

          The presence of talc particles in the ovaries (deep in the tumor) of some ovarian cancer patients
and presence of talc in pelvic lymph nodes provides indirect evidence for talc carcinogenicity (Heller et
al., 1996). Changes in signal transduction pathways that lead to increased and chronic inflammation are
also associated with cancer, as are changes in cancer stem cells which have the ability to generate tumors
through the processes of self-renewal and differentiation into multiple cell types. Cancer stem cells are
thought to play a major role in tumor escape, chemoresistance/recurrence of ovarian cancer. Users of
talcum powder have lower plasma levels of anti-MUC1 antibodies than non-users (Karageorgi et al.,
2010). MUC1 is a protein highly expressed by ovarian, breast, and endometrial tumors, and low levels of
anti-MUC1 antibodies are associated with poorer prognosis. Reducing immunity to MUC-1 could be one
mechanism by which talc increases endometrial and/or ovarian cancer risk (Karageorgi et al. 2010).

       C.      Ovarian Cancer

          There are two major categories of ovarian carcinogenesis based on the idea that tumors are
heterogeneous: high-grade malignancies that tend to be fast growing and chemo-sensitive, and low-grade
neoplasms which typically grow slowly, but are less sensitive to chemotherapy. The low-grade pathway
is associated with a stepwise mutation process, whereas the high-grade develops through genetic
instability (Lengyel, 2010). Ovarian cancer comprises at least five distinct histological subtypes, the most
common and well-studied being high-grade serous ovarian cancer. The majority of these tumors arise
from the distal end of the fallopian tube and evolve from premalignant lesions called tubal intraepithelial
carcinoma (Saad, 2010). Several risk factors have been associated with increased risk of ovarian cancer
and include: low parity, infertility, early age of menarche and late age of menopause.

          Multiple mechanisms can explain the progression of ovarian cancer (Fleming et al., 2006;
Fathalla, 2013; Saad, 2010; Smith and Xu, 2008). These mechanisms include: incessant ovulation-
whereby repeated damage and trauma to the ovarian epithelium during ovulation increases the risk for
genetic mutation and ovarian neoplasm during epithelium repair; pituitary gonadotropin changes- high
levels of gonadotropins increase estrogen stimulation which can cause ovarian epithelial cells to become
entrapped in inclusion cysts that undergo malignant changes; androgen/progesterone alterations-
androgens stimulate ovarian cancer formation and progestins are protective; inflammation- factors that
predispose to inflammation, such as endometriosis, PID, perineal talc use and hyperthyroidism could
stimulate ovarian cancer. The molecular pathway in the inflammatory process involves intracellular
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effectors implicated in malignant transformation such as VEGF, NF-κB, nitric oxide synthase, and
cyclooxygenase (Williams et al., 1999).

          Genetic mutations also play a role in the development of ovarian cancer. For example, certain
mutations in the BRCA1 or BRCA2 genes increase a person's risk of developing ovarian cancer. Both
inherited and acquired gene mutations work together to cause cancer. Even if one has inherited a genetic
mutation that predisposes one to cancer, that doesn't mean he or she is certain to get cancer. Rather, one
or more additional gene mutations may be needed to cause cancer. The inherited gene mutation could
instead make one more likely to develop cancer when exposed to certain cancer-causing substances.


       D.      Roles of the Immune System

          It is well established that inflammation has paradoxical roles during tumor development
(Coussens and Werb, 2002). While acute inflammation can be protective against tumors, chronic
inflammation provides an environment for the tumor to thrive. The net outcome of tumor-associated
inflammation depends on the dominance of either tumor-promoting or tumor-suppressive actions.
Inflammation normally functions to maintain tissue homeostasis in response to tissue stressors such as
infection or tissue damage. However, studies also suggest a close association between inflammation and
tumorigenesis (Rakoff-Nahoum, 2006).

          Two stages of inflammation exist, acute and chronic inflammation (Ingersoll, 2011). Acute
inflammation is an initial stage of inflammation (innate immunity), which is mediated through the
activation of the immune system. This type of inflammation persists only for a short time and is usually
beneficial for the host. Acute inflammation (e.g., involving innate immunity, macrophages, natural killer
cells, neutrophils) frequently precedes the development of protective adaptive immune responses to
pathogens and cancer.

        Chronic inflammation, by contrast, has been shown to contribute to tumorigenesis at all stages
(Crusz and Balkwill, 2015). It contributes to cancer promotion by inducing cellular proliferation; and to
cancer progression by enhancing angiogenesis and tissue invasion. Over time, chronic inflammation can
cause DNA damage and lead to cancer. Inflammation initiated by genital application of talc is likely to
be sustained, since studies indicate that women start using talcum powder at an early age and continue
using it for decades.


       E.      Ovarian Cancer and Inflammation

          Inflammation plays an important role in the progression of ovarian cancer, and it is a biologically
plausible mechanism that mediates ovarian cancer. Recent clinical and prospective data suggest that C-
reactive protein (CRP), a marker of global inflammation, is associated with increased ovarian cancer risk
(Li, 2017; Poole, 2013; Jing, 2017). Other inflammatory markers may be important in ovarian
carcinogenesis. In premenopausal women, ovarian epithelial cells secrete cytokines as part of ovarian
function and some of these cytokines are also produced by ovarian cancer cells (Jammal, 2016). Epithelial

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cells in proximity to ovulating follicles are likely exposed to these inflammatory mediators that may signal
oxidative stress, and enhance the risk of mutagenesis. Importantly, cytokines involved in ovarian function,
follicle rupture, and repair (physiologic processes before menopause) are suggested to remain activated in
postmenopausal women and may play an etiologic role in ovarian carcinogenesis; these cytokines include:
interleukin (IL)-1α, IL-1β, IL-2, IL-6, IL-8, IL-10, tumor necrosis factor alpha (TNF-α), interferon gamma
(IFN-γ), granulocyte colony- stimulating factor (G-CSF), and granulocyte macrophage colony-stimulating
factor (GMCSF). Many inflammatory mediators, including prostaglandins, leukotrienes, and cytokines,
are locally elevated during ovulation. Epithelial cells in proximity to ovulating follicles are likely exposed
to these inflammatory mediators that may signal oxidative stress, and enhance the risk of mutagenesis.
Moreover, IL-8, an important angiogenesis factor, is elevated in ovarian cancer patients and is believed to
be a key factor for cancer growth and new vessel formation (Lane, 2011). Additionally, Saed et al. (2017)
has reported that oxidative stress can play an important role in the pathogeneis, neoangiogenesis and
dissemination of local or distant ovarian cancer.

          Endometriosis is a pelvic disorder associated with inflammation and scarring. Studies also link
endometriosis with the increased risk of epithelial ovarian carcinoma through pathways related to
oxidative stress and inflammation (Melin, 2006; Worley, 2013). Studies indicate that women with
endometriosis differ in the expression of inflammatory mediators, and changes in the cytokine network
indicating immune dysregulation, which could contribut to the development of endometriosis (Pizzo,
2002). Wu et al. (2009) performed a study to determine the role of talc in the development of ovarian
cancer, considering the history of endometriosis. Results demonstrated an increased risk of ovarian cancer
with increasing frequency and duration of talc use; compared to never users, risk was highest among long
duration, frequent talc users. A history of physician-diagnosed endometriosis was significantly associated
with ovarian cancer in risks, and women who were talc users and had a history of endometriosis showed
a 3-fold increased risk, and authors concluded risk of ovarian cancer is significantly associated with talc
use and a history of endometriosis.



VIII. MECHANISM OF INFLAMMATION


          Inflammation has long been associated with the development of cancer (reviewed by Heidland,
2006; Balkwill, Mantovani, 2001; Rakoff-Nahoum, 2006; Todoric, 2016). An inflammatory process
begins when chemical mediators are released by the damaged tissue. The inflammatory response
orchestrates host defenses and mediates tissue repair and regeneration in response to damage from
chemical toxicants, foreign organisms or carcinogens. Epidemiological evidence points to a connection
between inflammation and a predisposition for the development of cancer, i.e., long-term inflammation
leads to the development of dysplasia (abnormal cell growth preceding cancer).

          Inflammation is a well-established risk factor for all stages of carcinogenesis and tumor
progression (Chow, 2012), including ovarian cancer (Maccio and Madeddu, 2012). Inflammation is a
factor in a number of mechanisms regarding the etiology of epithelial ovarian cancer and a contributor to

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ovarian tumor development and tumor progression (reviewed in Ness, 1999). Inhibition of inflammatory
cytokines in the tumor milieu acts on inflammatory-induced angiogenesis and apoptosis and improves
prognosis.     In a review paper by Ness and Cottreau (1999), talc and asbestos are discussed as risk
factors for ovarian cancer, along with endometriosis and pelvic inflammatory disease which are all
associated with induction of local cancer.


       A.      Cytokine Networks

          The cytokine networks are very active in producing pro-inflammatory cytokines, growth
factors, and chemokines, all of which are molecules active in immune system signalling. There is
evidence that inflammatory cytokines and chemokines, which are produced by tumor cells and/or tumor-
associated leukocytes, may contribute directly to malignancy. Tumor necrosis factor (TNF)-alpha, a
major mediator of inflammation, has actions directed towards both tissue destruction and recovery. TNF
can be detected in malignant and/or stromal cells in human ovarian, breast, prostrate, bladder and
colorectal cancer, lymphomas and leukemias and often is associated with IL- 1 and -6 and macrophage
colony stimulating factor. TNF-α is also implicated in the induction of a chemokine called MCP-1
which can regulate the macrophage and lymphocyte infiltrate and of MMP-9 in the ovarian tumor
microenvironment. There is also evidence for pro-cancer actions of TNF-α in animal models. The
molecular basis is thought to involve induction of ROS in the form of NO synthase. NO can directly
oxidize DNA, resulting in mutagenic changes, and may damage some DNA repair proteins. Inducible
NO synthase has been detected in gynegological cancers, including ovarian cancer.

       B.      Macrophages

         The neoplastic process which consists of proliferation, survival and migration is linked with the
tumor microenvironment and synchronized with the influx of inflammatory cells, including neutrophils
and macrophages which are a main source of exogenous reactive oxygen species (ROS) (Forman and
Torres, 2002). Macrophages and the innate immune system can be responsible for tissue injury, when in
excess or continuous.

          This can also indicate macrophage activation leading to excess production of other macrophage-
generated mediators, including cytokines. Macrophages can engulf talc particles and play a critical role in
disease. Moreover, macrophages are the major constituents in granulomas. Talc can promote murine
macrophage survival and DNA synthesis in vitro (Hamilton, 2001). Such enhancement of macrophage
survival by talc, if it occurred in vivo, could lengthen the cells’ tenure in a lesion with the result that more
cells would be present to produce inflammatory mediators, such as cytokines, proteinases, and
eicosanoids, perhaps potentiated by additional stimuli. This could be another mechanism as to how
macrophage cell numbers increase in talc-induced granulomas and inflammatory reactions.

          In a 2005 in vitro study (Bogatu and Contag, 2005), talc (as a fibrogenic dust) was shown to
adsorb high density lipoprotein (HDL). The authors concluded that the adsorption of HDL could have a
“causal relationship” with triggering of a fibrotic reaction. The adsorption on the surface of fibrogenic
dust particles, including talc provides an opportunity for the intake of HDL by macrophages which then
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release an increased amount of fibrogenic mediators. Coating of talc by HDL allows for more rapid uptake
by the macrophage as it can use multiple receptors as points of entry into the cell. In general, surfaces of
all fibrogenic particles, such as talc, have a specific property which is lacking in non-fibogenic (inert)
particles or is at least significantly less effective. However, even upon overloading, non-fibrogenic dusts
cannot produce fibrosis.

           In another study (Ghio et al., 2012), both mesothelial and airway epithelial cells exposed to talc
significantly increased iron importation and concentration of the iron storage protein, ferritin. The
production of pro-inflammatory cytokines was also induced by in vitro talc exposure relative to control
lung tissue, and a time-dependent and concentration-dependent release of oxidents was observed in both
cell types. Talc toxicity was also observed in an in vitro study comparing effects of micro-scale talc
particles with those of smaller nanotalc particles on lung cells (Akhtar, 2010). Cell viability was decreased
for all talc exposures, and decreased as a function of talc concentration, origin and particle size. Nanotalc
particles differentially induced lipid peroxidation, reactive oxygen species and depletion of the anti-
oxidant, glutathione. Further, data suggests that talc toxicity was mediated through oxidative stress.

          A study by Khan et al. (2011) demonstrated that nanoscale talc, as opposed to larger talc particles
enhanced its cytotoxicity. In this study, macrophages exposed to nanotalc increased the manufacture
(transcription) of three macrophage-released pro-inflammatory cytokines and the phosphorylation of two
signal transduction pathways. The authors indicated that the inflammatory potential of nano talc particles
might be (at least partially) a potential mechanism in talc-mediated pathogenicity.

          An early study (Davies et al., 1983) in which the cytotoxicity of seven talcs was evaluated using
rat peritoneal macrophage demonstrated modest, but consistent macrophage cytotoxicity visualzed by an
increase in macrophage production of two enzymatic cell injury markers including lactate dehydrogenase
(LDH) and B-glucuronidase (compared to in vitro treatment with a non-fibrogenic dust. This study points
to the potential of talc to “activate” macrophage leading to increased production of macrophage-released
mediators including pro-inflammatory cytokines. Some investigators have suggested such in vitro
macrophage changes could predict fibrogenicity in vivo. Based on talc chemical analyses, the authors
concluded that effects on macrophages were not due to contaminating minerals.

          In a molecular cell study by Shukla et al. (2009), non-fibrous-containing talc at low
concentrations caused increased expression of the gene Activating Transcription Factor (ATF genes
modulates production of pro-inflammatory cytokines and growth factors in human lung cells) in cultured
mesothelial cells at 8 hr and no changes at 24 hr, whereas expression levels of 30 genes were elevated at
8 hr at high talc concentrations.

         Tumor necrosis factor (TNF)-α is a cell signaling protein produced by macrophages, primarily
involved in the regulation of immune cells. Pre-diagnostic serum levels of 46-inflammation –related
biomarkers were measured in 149 incident ovarian cancer cases and matched controls. As his been
discussed in several aforementioned sections of this Report, C-reactive protein (CRP), IL-1-α and TNF-α
proved to all be significantly elevated and associated with increased cancer risk. In analyses restricted to
serous ovarian cancer (n=83), the associations with CRP and IL-8 remained or strengthened. Thus, IL-8

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can also be considered an inflammatory biomarker of ovarian cancer (Trabert et al., 2014), again
demonstrating talc’s action as an inflammatory agent. Iron and its homeostasis are intimately tied to the
inflammatory response (Wessling-Resnik, 2010). Talc has been shown to modulate TNF- α and IL-6
production by its binding to iron (Ghio, 2011). TNF-α, like CRP, is a marker of various inflammation
processes. TNF-α has been shown to play a role in later steps of carcinogenesis. For example, NF-κB
activation by TNF- α is involved in neoplastic transformation, proliferation, and tumor survival. In
addition, in ovarian cancer cells, TNF-α enhances cell migration and metastasis through the action of NF-
κB. TNF-α was positively associated with ovarian cancer in case-control studies using serum samples
collected at diagnosis.


       C.      Role of Oxidants in Ovarian Cancer

         The chronic inflammatory states associated with infection and irritation may lead to
environments that foster genomic lesions and tumor initiation. One effector mechanism by which the host
system responds to insult is production of free radicals such as reactive oxygen species (ROS), hydroxyl
radical (OH•) and superoxide (O₂-•) and reactive nitrogen species (RNS), nitric oxide (NO•) and
peroxynitrite (ONOO). Primarily thought to be anti-microbial, these molecules form due to the activities
of host enzymes such as myeloperoxidase, NADPH oxidase, and nitric oxide, which are regulated by
inflammatory signaling pathways. Importantly, ROS and RNS lead to oxidative damage and nitration of
DNA bases which increase the risk of DNA mutations.

          During inflammation, macrophages, mast cells and neutrophils are recruited to the site of
damage, which leads to a ‘respiratory burst’ due to an increased uptake of oxygen, and thus, an increased
release and accumulation of ROS at the site of damage. A sustained inflammatory/oxidative environment
leads to a vicious circle, which can damage healthy neighboring epithelial and stromal cells and over a
long period of time may lead to carcinogenesis. Oxidative stress can also activate a variety of transcription
factors. Activation of these transcription factors can lead to the expression of over 500 different genes,
including those for growth factors, inflammatory cytokines, chemokines, cell cycle regulatory molecules,
and anti-inflammatory molecules that can also be linked to cancer. Under a sustained environmental stress,
ROS are produced over a long time, and thus significant damage may occur to cell structure and functions
that could induce neoplastic transformation. In general, the longer the inflammation persists, the higher
the risk of cancer.

        Following an inflammatory stimulus, initiation of carcinogenesis mediated by ROS may be direct
(oxidation, nitration, halogenation of nuclear DNA, RNA, and lipids), or mediated by the signaling
pathways activated by ROS (Reuter, 2010; Saed, 2011; Saed, 2017). Hydrogen peroxide plays an
important role in carcinogenesis because it is capable of diffusing through cell membranes and producing
many types of cell injury. NO is another free radical implicated in carcinogenesis (Saed, 2017). iNOS,
calcium-independent isoform, produces large amounts of NO and is only expressed during inflammation.
ROS can specifically activate certain signaling pathways and thus contribute to tumor development
through the regulation of cellular proliferation, angiogenesis, and metastasis.


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               1.      Talc-Induced Inflammation and Oxidative Stress

          Even a single dose of a carcinogen can produce effects that are adverse to cells and tissue at the
site of exposure. In vitro studies provide a safe and effective vehicle by which to measure those effects
in a controlled environment.

           Carcinogenic potential of any compound can be determined by performing a well-established
methodology called a neoplastic cell transformation assay. In a 2007 study by Buz’Zard, two human
ovarian cell culture lines were treated in vitro with talc from 24 to 120 hr (Buz’Zard, 2007). Another group
of talc-treated cells were also treated with a specific anti-inflammatory inhibitor to determine whether talc
produced transformation through the production of inflammation. Following talc treatment of both
ovarian cell types, the cells’ ability to grow in suspension, a key characteristic of neoplastically
transformed cells, was measured - non-neoplastically-transformed normal cells cannot grow in
suspension. Results showed that treatment with talc can transform ovarian cells which further
demonstrates the carcinogenic potential of talc. As anti-inflammatory treatment reduced formation of ROS
and number of transformed colonies, a relationship between cell transformation and inflammation was
demonstrated. Interestingly, exposure of ovarian cells to talc also increased ROS generation in this study
in a time and dose-dependent manner. These effects could be linked with neoplastic changes as chronic
inflammation is associated with cancer induction and ROS are often seen as a component of the tumor
microenvironment. Human neutrophils exposed to talc in this study also increased ROS generation
significantly compared to control phagocytes.

           In a study carried out by Keskin in 2009, rats exposed to talc produced an increase in ovarian
follicles which could be related to the “ ovulation theory” associated with ovarian cancer, thus
demonstrating a plausible mechanism for talcum powder-induced ovarian cancer.

          Recent data demonstrates the importance of oxidative stress in ovarian cancer. The effects of
talcum powder exposure on oxidative stress levels in normal ovarian epithelial cells, ovarian epithelial
cells and cancerous ovarian epithelial cells were measured (Saed, 2017; Fletcher, 2018 (abstract)). Studies
indicate that epithelial ovarian cancer manifests a persistent pro-oxidant state through alteration of the
redox balance by the up-regulation of several oxidant enzymes in epithelial ovarian caner tissues (Saed,
2018). Advancing similar work, i n a recently accepted abstract, Harper and Saed report a mechanism by
which talc enhances the pro-oxidant state in normal (ovarian and tubal) and ovarian cancer cells, through
induction of gene point mutations (corresponding to known specific single nucleotide polymorphisms -
SNPs) in key oxidant enzymes, altering their activities (Harper and Saed, 2018).

         Emerging science by Fletcher (2018) demonstrated that talc-treated ovarian cancer cell lines and
normal ovarian epithelial cells showed a marked increase in mRNA levels of pro-oxidant enzymes,
including iNOS and MPO. This shift to a pro-oxidant environment indicates oxidative stress as early as
24 hours after exposure. These recent facts provide strong support for the ability of talc to produce an
oxidant state that leads to inflammation and in turn epithelial ovarian cancer. This latter study shows that
talcum powder enhances the redox state as part of the inflammatory cascade in both normal ovarian

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epithelial cells and in ovarian cancer cells, revealing a plausible mechanistic underpinning for talc-induced
ovarian cancer.

         Another study by the same authors showed that talcum powder exposure increased levels of the
cancer antigen, CA-125, in both normal ovarian cells and ovarian cancer cells. (Fletcher and Saed, 2018).
CA-125 is an antigen that is elevated in some patients with specific types of cancers, and is used as a
biomarker for ovarian cancer detection, providing further information about talcum powder’s carcinogenic
properties.

           In a study by Shim et al. (2015), inhalation of talc revealed infiltration of macrophages and the
increased expression of the antioxidant, superoxide dismutase indicating oxidative stress in rats.
Moreover, in the same study inhalation of talc demonstrated macrophage aggregations and oxidative
damage in the lungs. Intrapleural injection of talc particles produced an acute serum inflammatory
response, more pronounced with smaller particles (Genofre et al., 2009). In addition, talc exposure induced
vasoconstriction in the brain via the action of superoxide anions (Mori et al., 1995). Non-fibrous talc at
low in vitro exposure concentrations caused increased expression of transcription factors associated with
the inflammatory process in a time and dose-dependent manner (Shukla et al., 2009). Nano-talc exposure
enhanced the production of pro-inflammatory cytokines by macrophages in vitro (Khan et al., 2011). Also,
pre-treatment of macrophage (prior to talc exposure) with inflammatory signal transduction inhibitors
reduced TNF mRNA stability demonstrating their role in TNF mRNA stabilization and expression (Khan
et al., 2011).

           In an epidemiological study, talc exposure was significantly associated with ovarian cancer in
women who lacked a specific anti-oxidant genotype (glutathione-S transferase M1/T1) (Gates et al.,
2008). Finally, talc exposure increases COX2, an enzyme that plays a critical role in inflammation (Pace
et al., 2006).

         At high concentrations or chronic exposure, ROS can damage cellular macromolecules and
contribute to neoplastic transformation and/or tumor growth. Other likely manifestations of talc-induced
inflammation include reduced fibrinolysis, activation of neutrophils and macrophages and increased
production of cytokines and growth factors, and these have been suggested to occur in the peritoneum in
response to contamination by surgical glove powder (Merritt et al., 2008).


         In sum, inflammation is a primary mediator of ovarian cancer. As the scientific studies outlined
above demonstrate, talcum powder products cause inflammation that can result in an elevation of
biomarkers; changes in cell signaling; activation of chemokines and cytokines; changes in the oxidative
environment; gene alterations and/or mutations; inhibition of apoptosis and induces neoplastic
transformation and prolifearation (i.e., cancer). This talcum powder-induced inflammatory cascade
provides significant biologic and toxicologic support for a conclusion that talcum powder products can
cause ovarian cancer.



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         D.      Iron-Facilitated Inflammation

            Talc particles can bind iron and iron facilitates inflammation and ROS production; surfaces of
silicates including talc has a net negative charge on the surface which generates a capacity for the
adsorption and exchange of cations like iron which has a high affinity for oxygen-donor ligands.
According to J&J documents from Luzenac America Technical Center, heavy metal analyses on Grade
66 Non-Shear Disk Test Run samples demonstrated very high levels of iron (15,200 – 21,500 mg/kg) that
could cause oxidative stress and an inflammatory response. Multiple studies have demonstrated that
exposure to talc disrupts iron homeostasis, oxidative stress, and causes a fibro-inflammatory response
(Akhtar et al., 2010; Ghio et al., 1992; Ghio et al., 2012). Talc exposure significantly increases iron
importation and concentrations of ferritin (iron storage protein). The accumulation of iron, the
accompanying oxidative stress, and inflammatory events after exposure to talc are comparable to those
with other forms of particulate matter. The capacity of talc particles to support the in vitro generation of
oxidants in an acellular environment was significantly affected by the concentration of associated iron,
with talc-Fe producing a significantly greater signal for lipid peroxidation relative to talc alone (Akhtar,
2010). This relationship is supported by inhibition of the effect by addition of a metal chelator and a
hydroxyl radical scavenger. The disruption of cell iron homeostasis is frequently associated with oxidative
stress and inflammation.




IX.      SUMMARY OF OPINIONS

         I hold the following opinions to a reasonable degree of scientific certainty:

      1. Based on the scientific literature and the testing results that I have seen by Defendants and Drs.
         Longo and Rigler, it is my opinion that talcum powder products, including Johnson’s Baby Powder
         and Shower to Shower, may contain known carcinogens, including asbestos, fibrous talc, and
         heavy metals. In addition, these products contain fragrance chemicals, many of which are
         inflammatory agents, toxicants, or potential carcinogens.

      2. Talcum powder can reach the ovaries through two routes with anticipated use: 1) perineal
         application (dermal) with migration/transport through the genital tract via the vagina, uterous, and
         fallopian tubes; and, 2) inhalation of talcum powder particles. Through either route, talcum powder
         and its constituents could reach the lymphatic system and bloodstream.

      3. Exposure to talcum powder products causes an inflammatory tissue reaction which may result in
         the following:
             a. Elevation of increased inflammatory markers;
             b. Changes in cell signaling;
             c. Activation and/or release of chemokines and cytokines;
             d. Changes in the oxidative environment;
             e. Gene alterations and/or mutations;
             f. Inhibition of apoptosis; and
                                                                                                          27
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           g. Neoplastic transformation and proliferation

   4. Based on knowledge of the carcinogenic components of talcum powder products, the potential of
      the powder, with its components, to reach the ovaries and the resultant inflammatory tissue
      response, it is biologically plausible for talcum powder products to cause ovarian cancer.




    I reserve the right to amend or modify this report as new information becomes available. I have not
testified in litigation over the previous 4 years. I am charging $ 350 per hour for my work on this matter.




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                       Exhibit A
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                           JUDITH TERRY ZELIKOFF, Ph.D.
                           Tenured Professor

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                           Ramsey, NJ 07446
                           H: (201)-934-6777
                           W: (845)-731-3528
                           Email: Judith.zelikoff@nyumc.org

         EDUCATION

               1973:       Bachelor of Science (Biology)
                           Upsala College
                           East Orange, NJ

               1976:       Master of Science (Microbiology)
                           Farleigh Dickinson University
                           Department of Biology
                           Teaneck, NJ,
                           in conjunction with,
                           UMDNJ-New Jersey Medical School
                           Department of Neuroscience
                           Newark, NJ
                           Thesis Dissertation: Herpes Simplex Virus-IgM Specific Antibodies in
                           Guillian-Barre Syndrome

               1982:       Doctor of Philosophy (Experimental Pathology)
                           UMDNJ-New Jersey Medical School
                           Department of Pathology
                           Newark, NJ
                           Thesis Dissertation: Cytoskeletal Modifications of Human Fibroblasts
                           that Occur During a Complement-Dependent Cytotoxic Antibody
                           Response

         PROFESSIONAL EXPERIENCE

               1982-Present:      NEW YORK UNIVERSITY SCHOOL OF MEDICINE
                    Institute of Environmental Medicine
                    Tuxedo, NY

                       2005- Present: Tenured Professor
                                      U




                            Laboratory of Pulmonary & Systemic Toxicology

                           Developmental Immunotoxicology : Effects of fetal insults on later life
                                                                U




                           immune-related diseases in the offspring.

                           Pulmonary Immunotoxicology: Characterization of inhaled metal, gaseous,
                                                            U




                           and airborne pollutant mixtures including woodsmoke and tobacco smoke,
                           on pulmonary immune defense mechanisms and host resistance against
                           infectious disease and asthma.




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                         Environmental Toxicology/Ecoimmunotoxicology : Effects of aquatic
                                                                           U




                         pollutants on the immune responses of fish; development of immune
                         biomarkers. Alternate animal models for immunotoxicological studies.

               1995-2005: Associate Professor (Tenured in 1997)
                          U                      U




                        Laboratory of Systemic Toxicology

               1989-1995: Assistant Professor
                              U




               1986-1989: Research Assistant Professor
                                  U                                   U




                        Laboratory of Pulmonary Biology
                        Laboratory of Environmental Toxicology

                         Environmental Toxicology : Characterization of aquatic pollutants and
                                                       U




                         immune defense mechanisms of fish. Studies concerning drug
                         bioaccumulation and metabolism in different fish species.

                         Inhalation/Pulmonary Toxicology : Effects of ambient pollutants on
                                                                  U




                           macrophage metabolism and immune function.

               1984-1986: Associate Research Scientist
                          U                                   U




                          Laboratory of Environmental Toxicology

                          Genetic Toxicology : Clastogenic/mutagenic effects of complex
                          U                  U




                         environmental mixtures.

                          Cell Biology: Establishment of primary cultures for assessing the toxicity
                          U




                         of environmental contaminants in vitro.

               1982-1984: NIH (NHLBI) Post-Doctoral Fellow
                          U




                          Laboratory of Environmental Toxicology

                          Genetic Toxicology : Development of short-term in vitro bioassays to
                          U                  U




                         detect         carcinogens, promoters and co-carcinogens in complex
                         environmental                mixtures.

               1977-1978: PFIZER PHARMACEUTICAL
                 Laboratory of Chemical Carcinogenesis
                 Maywood, NJ

                          Assistant Research Scientist
                          U




                         Laboratory studies using animal models and in vitro mammalian cell
                         systems to investigate chemical- and viral-induced carcinogenesis.

               1974-1975: VA HOSPITAL /UMDNJ-NEW JERSEY MEDICAL SCHOOL
                          Department of Neuroimmunology
                          East Orange, NJ

                          Associate Research Scientist
                          U




                         Laboratory studies investigating the etiology of viral-induced
                         neuropathologies




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         TEACHING EXPERIENCE - NATIONAL

         1990-Present:       NEW YORK UNIVERSITY SCHOOL OF MEDICINE
                     Department of Environmental Medicine
                     Tuxedo, NY
                     Graduate Courses
                      U




                  o Global toxicology & community health (NYU Global College of Public
                     Health: Organizer/Director, Fall, 2018; offered every year)
                  o Environmental Immunotoxicology (Organizer/Director, 1993-present)
                  o Organ System Toxicology (Director, 2001-present)
                  o Toxicology (Biology-cross linked: Director, 2010 – present)
                  o Communication Skills (Lecturer; 2010-present)
                  o Principles of Toxicology (Lecturer; 1992-present)
                  o Environmental Physiology of the Respiratory Tract (Lecturer; 1992– 1994)

         1979-1994:   WILLIAM PATERSON COLLEGE
                      Department of Biology
                      Wayne, NJ

                      Adjunct Professor
                      Undergraduate Courses
                      U




                  o   Microbiology lecture and laboratory (1979 - 1984)
                  o   Human biology lecture and laboratory (1979 - 1994)

         1991-1994:      ROCKLAND COMMUNITY COLLEGE
                      Department of Biology
                      Suffern, NY

                      Adjunct Professor
                      Undergraduate Courses
                      U




                  o   Microbiology lecture and laboratory

         1979-1982:   SETON HALL UNIVERSITY
                      Department of Biology
                      South Orange, NJ

                      Research Scientist/Graduate Assistant
                      - Laboratory studies in immunopathology, virology, viral immunology, and
                      microbiology

                      - Undergraduate and Graduate Courses
                          U




                  o   Bacteriology lecture and laboratory
                  o   Advanced Microbiology
                  o   Cell biology/Virology techniques

         1976-1979:   FAIRLEIGH DICKINSON UNIVERSITY
                      Department of Biology
                      Teaneck, NJ

                      Adjunct Professor
                      Undergraduate and Graduate Courses
                      U




                  o   General biology lecture and laboratory



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                           o   Human genetics
                           o   Immunology

          TEACHING EXPERIENCE - INTERNATIONAL
          U                             U




             2013-present UNIVERSITY OF PORT HARCOURT (Port Harcourt, Nigeria)
                         Dept. of Toxicology
                         Lecturer in graduate toxicology course

                  2002-present:CHULABHORN RESEARCH & GRADUATE INSTITUTE (Professor,
                              Course Director)
                              Department of Toxicology
                              Bangkok, Thailand
                              Graduate Course (3 weeks- given every even year)
                               U




                        o     Environmental Immunotoxicology and Reprotoxicology

1999              1999-2000: UNIVERSITY OF TASMANIA (Adjunct Professor)
                              Department of Environmental Toxicology
                              Tasmania, Australia
                              Graduate Course (2 weeks)
                                   U




                        o Fish Immunology & Immunotoxicology (Organizer/Director; Lecture and Lab)

                  1999-2000: LINCOLN UNIVERSITY
                               Department of Environmental Health Sciences
                               Christ Church, New Zealand
                               Graduate Course (2 weeks)
                                   U




                           o Fish Immunology & Immunotoxicology (Organizer/Director; Lecture and
                              Lab)

          HONORS AND AWARDS
             •    2018 – Society of Toxicology (SOT), Education Award
             •    2015 – SOT, Women in Toxicology Mentorship Award
             •    2013 – West African SOT (WASOT), Distinguished Recognition
             •    2012 - 2014, SOT, Distinguished Service as SOT Secretary
             •    2012 - SOT, Global Senior Scholar Host Award
             •    2012 – SOT, Career Achievement Award in Immunotoxicology
             •    2008 – Mid-Atlantic Chapter Society of Toxicology, President

              PUBLICATIONS
              U




              Peer-reviewed Journals (In ascending order)

                  1.    Ende, N., E.V. Orsi, F. Buechel, N.Z. Baturay and J.T. Zelikoff. Antibodies to
                        synovial derived cells in patients undergoing artificial prosthesis transplants. J.
                        Orthopedic Res. 3: 78-83 (1985).

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         4.       Bayne, C. and J.T. Zelikoff,. Meeting review on "Modulators of Immune
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         5.       Zelikoff, J.T. "Fish immunotoxicology: A new scientific discipline". Toxicology
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         2.      Zelikoff, J.T. and Enane, N. 1991. Assays used to assess the activation state of
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         5.      Zelikoff, J.T. 1994. Fish immunotoxicology. In: Immunotoxicology and
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         9.       Twerdok, L.E., J.R. Beaman, M.W. Curry, and J.T. Zelikoff. 1996. Health status
         determination and monitoring in an aquatic model (Oryzias latipes) used in
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         10.      Benson, J. and J.T. Zelikoff. 1996. Respiratory toxicology of metals. In:
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         12.      Zelikoff, J.T., W. Wang, N. Islam and L.E. Twerdok. 1997. Immune responses
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         In: Pulmonary Immunotoxicology (M.D. Cohen, J.T. Zelikoff, R.B. Schlesinger, Eds.),
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         19.     Duffy, J., and J.T. Zelikoff. 2005. Approaches and models for the assessment of
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         Tryphonas, M. Fournier, B.R. Blakley, J.E. Smits, P. Brousseau, Eds.),Taylor and
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         20. Zelikoff, J.T. 2005. Trace metals and the immune system. In: Encyclopedic
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         21.     Carlson, E. and J.T. Zelikoff. 2008. Fish immunology. In: Toxicology of Fishes
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         22.     Ramanathan VM., Agrawal M., Akimoto H., Aufhammer S., (and 34 others),
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         Focus on Asia. Published in Bangkok by United Nations Environmental Program (2008).
         23.     Ng, SP., K. Yoshido, and J.T. Zelikoff. 2010. Host resistance tumor challenge
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         24.     Zelikoff, J.T. 2010. Other environmental health issues: Inhaled woodsmoke. In:
         Encyclopedia of Environmental Health. J. Nriagu (Ed.). Elsevier, UK. Pages 310-330.
         25.     Mudipalli, A. and Zelikoff, J.T. (Eds). Essential and non-essential metals:
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         26.     Ng, S.P., Zelikoff J.T. Tumor challenges in immunotoxicity testing. Vol. 599.
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         Methods in Molecular Biology. (2018)
         27.     Zelikoff, J.T., and M.D. Cohen. Pulmonary Immunology. In: Comprehensive
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         INVITED NATIONAL AND INTERNATIONAL LECTURES/PRESENTATIONS (Present
         – 2000, in descending order):

         August 2018: International Society of Exposure Science (ISES); International
                Society for Environmental Exposure (ISEE). Contamination of the
                Ramapough Nation: A toxic legacy. Environmental contamination and
                Indigenous populations symposia. Ontario, Canada.
         February 2018: Louisiana State University. Electronic cigarettes and pregnancy:
                Lessons learned from mice. Baton Rouge, LA
         January 2018: Mt. Holyoke College. What’s safer for the unborn child: electronic
                cigarettes or air pollution? MA.
         December 2017: Texas A & M. Prenatal exposure to ambient particulate matter
         impacts
                cardiovascular development. TX.
         December 2017: International Conference on Environmental Impacts. Air pollution
                and pregnancy. Deradun, India
         November 2017: International Conference on “Impact of Environment on Women’s
                Health: Amity University Uttar Pradesh. Maternal exposure to particulate air
                pollution during pregnancy and Impacts on fetal health: What are we learning from
                animal studies? Lucknow, India.
         November 2017: American Public Health Assoc. (APHA) Annual Meeting. Identifying
                Environmental concerns, environmental exposures and health concerns in the
                Ramapough Lenape Tribe. Atlanta, GA.
         October 2017: International Society of Exposure Science. A community in toxic crisis:
                Ramapough Native Americans. Durham, NC.




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         April 2017: Queensborough College. Neurocognitive effects of E-cigarettes. Queens,
         NY.
         July 2016: NIOSH seminar. Reproductive implications of Nanomaterials. WV
         July 2016: EPA seminar. Ambient particulate matter and cardiotoxicity. Chapel Hill, NC.
         June 2016: Workshop on Nanomaterials and the fetal-placental unit. Prenatal
                Nephrotoxicity and Maternal Nanomaterial Inhalation. Boston, MA.
         May 2016: NIH Tobacco Research. Toxicological assessment of smokeless tobacco
            products: A systematic ranking system. Bethesda, MD
         April 2016: AHA, ATrac Meeting. Toxicity ranking of alternative tobacco products.
            Louisville, KY.
         March 2016: Society of Toxicology: Course in Medical Education. Effects of
            fracking on reproductive and developmental health. New Orleans, LA
         March 2016: Society of Toxicology: Symposia on Fracking and Health. Effects of
            fracking on reproductive and developmental health. New Orleans, LA
         February 2016: American Association for Advancement of Science: Symposia on
            Alternative Tobacco Products and Health. Early life exposure to alternative
            tobacco products as a major risk factor of later life chronic disease. Washington, DC
         October 2015: 7 th International Symposia on Nanotechnology and Occupational
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            and Environmental Health. Reproductive and developmental toxicity of gold
            nanoparticles in a mouse model of pulmonary exposure. Limpopo Province, South
            Africa.
         May 2015: Amer. Assoc. Immunol. Maternal inhalation of ambient particulate matter
            causes alterations in immune profiles and anti-tumor mechanisms in juvenile murine
            offspring. New Orleans, LA.
         April 2015: Wayne State University, CURES Seminar Series at Wayne State
            University's Institute of Environmental Health Sciences. Maternal exposure to
            particulate air pollution during pregnancy impacts fetal development and neonatal
            growth in a mouse model.
         March 2015: Society of Toxicology. Symposia on: New and Emerging Tobacco
            Products—Biomarkers of Exposure and Injury (Chair). Reproductive/Developmental
            effects of exposure to new and emerging tobacco products and to nicotine delivery
            devices in a mouse model. San Diego, CA.
         Dec. 2014: University of Illinois – Maternal exposure to ambient particulate matter
            during particular gestational windows produce developmental and reproductive
            consequences in a mouse model. Urbane, IL.
         July 2014: Oregon State University – Early life nanoparticle exposure brings early and
            later life health consequences. Corvallis, OR.
         March 2014: Society of Toxicology – Tobacco products and prenatal exposures.
            Phoenix, Arizona.
         February 2014: West African Society of Toxicology – Air pollution in developing
            nations. Lagos, Nigeria.
         January 2014: Ernst Strungmann (ES) Forum, (Rapporteur)- Heavy metals and
            infectious disease. Frankfurt Germany.
         November 2013: American Chemical Council. Risk Assessment and Communication,
            Working Group. Washington, DC.
         October 2013: First International Conference on Waterpipe Tobacco Research.
            Working Discussion Group Leader: Abu Dhabi.
         October 2013: NIH-sponsored Workshop in South Asian Diversity Populations and
            Health Effects. Sloan Kettering Cancer Center. Working Group member on
            smokeless tobacco. NY, NY.




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         June 2013: FDA, Center for Tobacco Control. Public health impacts of fetal
            exposures to tobacco & environmental toxicants: From early life to adult disease and
            policy needs. MD
         March 2013: Society of Toxicology, Committee on Diversity Initiatives – Exposure
            to smoked and smokeless tobacco in utero: Fetal injury and life long consequences.
            San Antonio, TX
         February 2013: Nigeria University – Smokeless tobacco: A global look at the problem,
            Port Harcourt, NIGERIA
         February 2013: FDA: Center for Medical Devices – Fetal basis of adult disease: early
            life exposure to environmental and occupational toxicants. Silver Spring, MD.
         October 2012: Memorial Sloan Kettering – Arsenic contamination in Bangledesh. New
            York, NY
         May 2012: Memorial Sloan Kettering – Toxicology of Smokeless tobacco. NY, NY.
         April 2012: University of Connecticut – Tobacco products in utero are associated with
            later life disease outcomes. Storrs, CT.
         March 2012: Biomass Symposium – Toxicological implications for domestic burning.
            Feb. 2012: NYU Medical Center, Dept. of Psychiatry - Chemical stressors in utero
            and later life disease outcomes. New York, NY.
         Jan 2012: British American Tobacco – In vitro translational studies and the toxicology
            of smoking. Southampton, UK.
         Dec. 2011: FDA – The reproductive effects of cadmium nanoparticles. Reston, VA.
         Dec. 2011: NYU Dept. of Bioethics – Cigarette smoking & smokeless tobacco: Is there
            really a good choice? New York
         Oct. 2011: NorCal SOT – Fetal basis of adult disease – the role of maternal
            smoking. Menlo Park, CA.
         Sept. 2011: European Aerosol Conference – Plenary Lecture: The toxicology of
            biomass combustion emissions. Satellite Workshop on Biomass Combustion,
            Manchester, England.
         March 2011: NYU Ethics Forum - Exposure to Cigarette Smoke in Utero: Fetal injury
            and Life Long Consequences. New York
         March 2011: NYU Medical Center, Dept. of Obstetrics and Gynecology Grand
            Rounds – Early life insult by tobacco smoke and later life disease susceptibilities.
            March 15, 2011
         March 2011: Society of Toxicology, Committee for Diversity Interests – Cigarette
            exposure in utero: You are what you breathe. Washington, DC. March, 2011.
         Nov. 2010: Texas A & M University – Early life exposure to cigarette smoke
            suppresses anti-tumor immune defenses of the prenatally exposed offspring in a
            mouse model” College Station, TX.
         May 2010: Workshop on Emissions and Health Impacts of Biomass Fuels – Health
            effects of woodsmoke: A toxicological model for mechanisms and policy needs.
            Penn State, State College, PA.
         March 2010: Environmental and Occupational Health Sciences Institute, Rutgers
            University - Fetal exposure to cigarette smoke mediates anti-tumor immune
            mechanisms in adult murine offspring. New Brunswick, NJ. March, 2010.
         March 2010: Society of Toxciology, Committee for Diversity Interests – Exposure to
            cigarette smoke in utero: Fetal injury and life-long consequences. Salt Lake City,
            UT.
         Nov. 2009: United Nations Environmental Programme – Toxicological assessment of
            the atmospheric brown cloud. Incheon, Korea.
         Sept. 2009: 7 th Congress of Toxicology in Developing Countries – Fetal insult and
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            later onset diseases. Sun City, South Africa.



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         August 2009:Japanese Society of Immunotoxicology – Prenatal exposure to
            cigarette smoke increases tumor susceptibility of juvenile mice via changes in anti-
            tumor immune mechanisms. Asahikawa, Japan.
         May 2009: Asia-Pacific Forum on Andrology, Hormonal changes accompanying
            cigarette smoke induced preterm births in a mouse model. Nanjing China.
         Dec. 2008: St. Johns University – Mechanistic insights into offspring cancer risk
            associated with maternal smoking. Queens, NY.
         August 2008: U.S. EPA, National Center for Environmental Assessment - Gender-
            related effects on offspring tumor risk and response to prenatal cigarette smoke
            exposure may be related to testosterone: a toxicological model. Washington, DC.
         June 2008: Institute for Science and Health (IFSH) – Early exposure to cigarette
            smoke may serve as an indicator of chronic diseases in the offspring later in life.
            Cardiff, Wales.
         March 2008: Society of Toxicology –Prenatal exposure to tobacco smoke induces
            asthma-related responses in non-sensitized female offspring later in life. Seattle,
            Washington.
         March 2008: Society of Toxicology – Prenatal exposure to cigarette smoke: Are our
            children paying the price? Seattle, Washington. March 2008.
         August 2007: United Nations Environmental Program (UNEP) – Toxicology of the
            Atmospheric Brown Cloud (ABC). Seoul, Korea.
         March 2007: University of Louisville (KY) – Increased cancer risk: A possible birth
            defect associated with maternal smoking. Louisville, KY.
         March 2007: Institute for Science and Health (IFSH) – Prenatal cigarette smoke
            exposure and offspring asthma. Louisville, KY.
         Feb. 2007: International Conference on Environment: Survival and Sustainability -
            Sustaining a healthy fetal environment: A little told threat of increased cancer and
            asthma risk for the juvenile offspring exposed prenatally to cigarette Smoke. Near
            East University, Nicosia-Northern Cyprus.
         Feb. 2007: International Conference on Environment: Survival and Sustainability -
            Contamination of aquatic environments with polychlorinated biphenyls (PCBs) or
            benzo(a)pyrene (B[a]P) can adversely impact the immune health and sustainability
            of inhabiting Fish. Near East University, Nicosia-Northern Cyprus.
         Dec. 2006: Philip Morris External Review Symposia – Effects of prenatal exposure to
            cigarette smoke on tumor development and immune surveillance mechanisms in the
            developing offspring: A toxicological model. Landsdowne, VA. Dec. 2006.
         May 2006: MidAtlantic Chapter of Society of Toxicology (MASOT) – Increased
            cancer risk in the offspring: A birth defect associated with maternal smoking. Scotch
            Plans, NJ.
         April 2006: University of Guelph – Maternal smoking and cancer: Are the unborn
            children paying the price? Kempville, Ontario Canada.
         March 2006: Institute for Science and Health – Prenatal exposure to mainstream
            cigarette smoke alters susceptibility of the offspring to asthma. Vienna, Austria.
         March 2006: Society of Toxicology – Maternal smoking and cancer: Are the unborn
            children paying the price? San Diego, CA.
         October 2005: Chulabhorn Research Institute – Immunotoxicology: A new focus for
            Thai science. Scientific Research Institute of Thailand. Bangkok, Thailand.
         May 2005: American Thorasic Society - Immunotoxicological mechanisms of
            prenatally-exposed respiratory contaminants. Symposia on “Impact of prenatal and
            early infancy environmental exposures on neonatal and infant health”. San Diego,
            CA..




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         May 2005: California Society of Environmental Toxicology and Chemistry –
            Mechanisms of Fish Immunotoxicity. Berkley, CA.
         April 2005: Life Science Research Organization (LSRO) – Prenatal exposure to
            cigarette smoke increases tumor susceptibility in the offspring: A toxicological
            model. St. Louis, MO.
         March 2005 - Society of Toxicology – Immunotoxicity of prenatal mainstream cigarette
            smoke exposure. Symposia on “Mechanisms Linking the Lung and Immune
            System”. New Orleans, LA.
         Feb. 2005: Institute for Science and Health (IFSH) – Effects of in utero cigarette
            smoke exposure on asthma development in the offspring. Washington, DC.
         Feb. 2005: Canadian Lung Association – Health Effects of Woodburning. New
            Brunswick, Canada.
         Nov. 2004: Environmental Mercury Research Forum. Metal toxicity in aquatic
            organisms. Energy & Environmental Research Center (U. of North Dakota). Grand
            Forks, ND.
         Oct. 2004: VIIth Annual Conference of Soil, Sediments and Water. Immunological
            Alterations as Bioindicators of Environmental Health. Amherst, MA.
         Sept. 2004: Slovenian Society of Toxicology – Immunological biomarkers. Lublijana,
            Slovenia.
         March 2004: Society of Toxicology – Inhalation of concentrated ambient particulate
            matter and associated metals increases host susceptibility to pulmonary pneumonia.
            Baltimore, MD.
         Jan. 2004: University of Arizona – Toxicological impact of inhaled wood smoke on
            pulmonary antimicrobial defense. Tucson, AZ.
         Jan. 2004: College of Staten Island – Toxic insult and human health effects: Lessons
            learned from an aquatic species. Staten Island, NY.
         Dec. 2003: Sixth National Environmental Public Health Conference (Center for
            Disease Control) Woodsmoke: A closer look at public health concerns and
            mechanisms of toxicity. Atlanta, GA.
         Nov. 2003: Society of Environmental Toxicology and Chemistry - Immunotoxicology
            and Risk Assessment. Austin, TX.
         Oct. 2003: Chulabhorn Research Institute – Immunotoxicology Course Series (10d).
            Bangkok, Thailand.
         June 2003: International Symposium on Pharmaceutical Sciences - Health Effects
            of Inhaled Particulates. University of Pharmaceutical Sciences. Ankara, Turkey.
         June 2003: United States Army Center for Environmental Health Research -
            Immune Assays for Hazard Assessment and Species Extrapolation. Fort Detrick,
            MD.
         May 2003 - Pollutant Responses of Marine Organisms (PRIMO) - Immunotoxicology
            in Fish. Tampa, FL.
         March 2003: Society of Toxicology - Woodsmoke: Cozy Atmosphere or Public
            Menace? Salt Lake City, UT.
         Nov. 2002: Society of Toxicology and Chemistry - Immune Biomarkers for Use in
            Ecological Risk Assessment. Salt Lake City, UT.
         Oct. 2002: Padova University - Lessons Learned About Human Health From Aquatic
            Species. Padova, Italy.
         Oct. 2002 - Slovenia Society of Toxicology - Biomarkers for Ecotoxicology. Ljubljana,
            Slovinia.
         Sept. 2002: University of Florida - Effects and Mechanisms of Benzo(a)pyrene-
            induced Immunosuppression in Fish. Gainsville, FL.




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         June 2002: Yale University, Dept. of Occupational and Environmental Medicine -
            Lessons on Human Health and Toxic Impact Learned from our Aquatic
            Counterparts.
         Sept. 2001: Third International Meeting on Molecular Mechanisms of Metal
            Toxicity and Carcinogenicity - Immunodysfunction: An underlying Mechanism of
            Metal Toxicity in Aquatic Organisms. Sardinia, Italy.
         July 2001: Pollutant Responses in Marine Organisms - Immunotoxicology in fish -
            Applications and Mechanisms of Response. Plymouth, England.
         Oct. 2000: Conference on Women in Science - Aging: Good or Bad News for the
            Immune Response. Rutgers University. New Brunswick, NJ.
         Oct. 2000: International Conference on Environmental and Occupational Lung
            Disease - Woodsmoke Impairs Host Resistance Against Pulmonary Infections in an
            Animal Model. Lucknow, India.
         May 2000: EPA-Duluth - Fish Immune Status: A Sensitive System for Assessing
            Toxicological Impact of Aquatic Environments. Duluth, MN.
         May 2000: University of Minnesota-Duluth - Processes and Mechanisms of
            Woodsmoke-induced Immunosuppression. Duluth, MN.
         March 2000: International Symposia on Medaka - Japanese Medaka: A Sensitive
            Teleost Model for Assessing the Immunotoxic Effects of Potential Endocrine-
            Disrupting Chemicals. Osako, Japan.
         Nov. 2000: The Fourth Princess Chulabhorn Science Congress- Immune System
            Biomarkers for Predicting the Effects of Environmental Pollution. Bangkok, Thailand.

         EDITOR/EDITORIAL BOARD APPOINTMENTS
         Editor and Co-Editor:

         Metal Toxicology, Co-Editor (Springer Publ.) – (2016)
         Pulmonary Immunotoxicology (Klewar Publ.) - (2000)
         Immunotoxicology of Occupational and Environmental Metals. (Taylor and Francis) -
         (1998)
         Ecotoxicology: Responses, Biomarkers and Risk Assessment. (SOS Publications) -
         (1997)
         Modulators of Immune Responses: A Phylogenetic Approach - Vol. 2 (SOS
         Publications)-(1996)
         Modulators of Immune Responses - Vol. 1 (SOS Publications) - (1994)
         Toxicology and Ecotoxicology News (Taylor & Francis) - (1995-1998)
         Book series on: Ecotoxicology (John Wiley & Sons) - (1995-1997)

         Associate Editor-

         Open Journal of Immunology (2015-2018)
         Journal of Developmental Origins of Health & Disease (2012-2013; Themed Editor)
         Journal of Toxicology and Applied Pharmacology – (2005-2014)
         Journal of Toxicology and Environmental Health - Part A - (2001 - Present)
         Biomarkers: Exposure, Effects and Susceptibility - (1995 – 2007)

         Editorial Advisory Board-
         Envronmental Health Perspectives (2017-2020)
         Open Journal of Toxicology (2015-present)
         Inhalation Toxicology (2015-present)
         Open Journal on Immunology (2009-present)
         Journal of Immunotoxicology (2004 - 2016)


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         Toxicol. Sci. (2007-2016)
         Toxicology (1997- 2016)
         Environmental Health Perspectives (2009 – 2013; named a top reviewer for 2011)
         Environmental Bioindicators (2005- 2011)
         Inhalation Toxicology (2004 – 2008; 2013-2016)
         Fish and Shellfish Immunology (1997 - 2008)
                 Toxicology Applied Pharmacology (1996 - 2005)
                 Diseases of Aquatic Organisms (1995 - 2006)
                 Aquatic Toxicology (1998 - 2006)
                 Journal of Toxicology and Environmental Health (1996 - 2001)
                 Fish Immunology Technical Communications- Vols. 2-5 (1994 - 1997)

         CHAIRED SESSIONS/MEETING ORGANIZER (1997 – present, descending order)
         Outside University
         o       Organizer/Instructor of International Student & Faculty Workshop on "Fish
         Immunology" (Tasmania, Australia; February 1997)
         o       Organizer/Instructor of Student & Faculty Mini-workshop on "Fish Immunology"
         (Christ Church, New Zealand; February 1997)
         o       Chairperson at International Meeting on "Developmental and Comparative
         Immunology" (Williamsburg VA; July 1997)
         o       Organizer of Student & Faculty International Workshop on "Fish
         Immunotoxicology Techniques" (American College, Madurai India; February 1999).
         o       Organizer of Continuing Education Course on "Exposure Assessment: Methods
         and Applications" at Aquatic Toxicity Workshop Meeting (Edmonton, Canada; October
         1999).
         o       Chairperson of Symposium on "Profiling Immunotoxicology" at Aquatic Toxicity
         Workshop Meeting (Edmonton, Canada; October 1999).
         o       International Conference on Environmental and Occupational Lung Disease
         (Lucknow, India; October, 2000)
         o       Symposium Coordinator/Chairperson at Society of Toxicology (1993, 1994,
         1996-1999; 2005-2009)
         o       Continuing Education Coordinator/Chairperson at Society of Toxicology (1994,
         1995, 2000, 2001)
         o       Slovenian Society of Toxicology (Nova Gorcia, Slovenia; September 2004, 2005)
         o       Aerosol Dynamics and Health: Strategies to Reduce Exposure & Harm.
         (Chairperson, Public Health Issues Involving Environmental & Tobacco Aerosols;
         Cardiff, Wales 2008)
         o       SOT - Co-Chair, Symposia and Continuing Education Course, 2009, 2010, 2011,
         2015, 2016, 2018, 2019
         o       ISEE/ISES – co-Chair, Symposia on Environmental Contamination and
         Indigenous populations. (Ontario, Canada, 2018)

         FEDERAL & STATE ADVISORY BOARDS/PANELS/REGULATORY AGENCIES
         (Contributions to Regulatory Guidelines)

         2018-2019: New York City Housing Authority, Advisory Board member for
         “Healthy Homes”.

         2017-2018: National Academy of Science, Engineering, Medicine –
                -Board on Earth Sciences & Resources; Board on Environmental Studies &
         Toxicology; Board on Health Sciences Policy: Potential Human Health Effects of
         Surface Coal Mining Operations in Central Appalachia. 2017-2019.



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         2015: European Respiratory Society and Environment and Health Committee for
         American Thoracic Society. Position paper participant on “What constitutes an
         adverse health of air pollution?” Brussels, BE, March 2015.

         2013: American Chemistry Council’s Center for Advancing Risk Assessment
         Science and Policy (ARASP) Workshop - Informing Risk Assessment: Understanding
         and Communicating Uncertainty in Hazard Assessment. (2013)

         2011: Department of Defense
                - Gulf War Illness Peer Review Panel (2011)

         2013: FDA, Tobacco Control Division, Advisory Consultant (2013)

         2013-2006: NASA
               - Lunar Dust Exposure Standard Review Panel (2013)
                -Lunar Science Institute, Moon Science Grant Review Panel (2008)
               - Lunar Dust Non-Advocate Review Panel (Chair, 2006-2008)

         2002-2012: National Academy of Science
                 - National Research Council (NRC): Committee on Low Level Lead in
         Ammunition (2011 – 2012)
                 - National Research Council (NRC): Peer Review of NRC Report on Acute
         Exposure Guideline
               Levels (2010)
                 - Institute of Medicine (IOM): Peer Review of IOM Report on Depleted Uranium
         final document
                 (2008)
         - National Research Council (NRC) - Committee on Toxicology/Subcommittee on
         Spacecraft Water
           Exposure Guidelines (2001 - 2008)
                 - Institute of Medicine (IOM): Committee on Gulf War and Health - Part 3 (2002 –
         2004)
                 - Institute of Medicine (IOM): Reviewer for Agent Orange final document (2003)

         2012-2010: National Toxicology Program, Science Advisory Board (2010-2012)

         1996-2017: National Institute of Health (NIH) & National Institute of Environmental
         Health Science (NIEHS)

         NIEHS, Member reviewer for Core Centers (2018)

         -NIEHS, Study Section member (2015-2017)

         -NIEHS KO1, K99, R23 reviewer (2014, 2015)
         -NIEHS K01, K99 Awards member (2013)
         -NIEHS Immunotoxicology Center Program (2012, 2013)
         -NIEHS Oceans Centers (2012)
         -     NIEHS Just-in-time Grants (Chair, 2012)
         -     NIH College of Scientific Reviewers (2010 – 2013)
         -     NIH Integrative & Comparative Endocrinology (2011)



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         -       NIEHS Time Sensitive Grant (Chair; 2010)
         -NIEHS P30 (NIEHS Centers of Excellence), (2008, 2009)
         - NIEHS Challenge Grants, (2009)
         - NIEHS K01 grant applications, (2008)
         - NIH Innate Immunity and Inflammation (III) Study Section Full Member, (2005 – 2007)
         - NIEHS Program Project grants, (2006)
         - NIEHS ALTX – 4 (Alcohol and Toxicology) Study Section Full Member, (1996 – 2000)

         2005: National Institute of Environmental Health Sciences (NIEHS) & U.S.EPA &
         NASA
         - Expert Panel on “Global Earth Observations: Application to Air Quality and Human
         Health” (2005)

         2005: National Institute of Allergy & Infectious Disease (NIAID) & Department of
         Defense (DOD)
            - Expert Panel Workshop on Pulmonary Threat Agents (2005)

         2013-210: New Jersey Department of Environmental Protection
         -     Human health Committee (2010 – 2013)
         -     Soil Standards Sub-committee (2010 – 2011)
         -     Aerosol Sub-committee (2011 – 2012)


         2011-2011: United Nations Environmental Program (UNEP) Steering Committee
         (2006 – 2011)
         -      Atmospheric Brown Cloud Human Health Panel

         2004-2005: U.S. EPA Science Advisory Board & Review Panel
         - Metals Risk Assessment Framework Review Panel, (Co-Chair of Human Health
         Breakout Group, 2004 – 2005)
         -              Nanoparticle Review Panel (2005)

         APPOINTMENTS/ELECTED OFFICES
         Society of Toxicology (SOT)

         Nominating Committee (2018-2020)
         Committee for Diversity Initiatives (2014-2015, member; 2015-2016, Co-chair; 2015-
         2016; Chair, 2016--2017)
         Board of Councilors (2011 – 2014; Secretary-elect, 2011-2012; Secretary, 2012-2014)
         Nominating Committee (2007 - 2009)
         Congressional Representative (2004 – 2005)
         Education Committee (2002 – 2005; Chair, 2004 – 2005)
                Education Sub-Committee for Minority Initiatives (2001 - 2004; Chair, 2003-
         2004)
                Continuing Education Committee (1998 - 2001; Chair, 1999 - 2000)
                Program Committee (1995-1998)

         Inhalation & Respiratory Specialty Section
                Councilor (2017-2019)

         Ethical and Legal Specialty Section



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                President (2017-2018)
                VP-elect (2016)

         Immunotoxicology Specialty Section
              President (1999-2000)
              Vice-President (1998-1999)
              Secretary/Treasurer (1995-1997)
              Program Committee (1993-1999)
              Awards Committee (1993, 1998, 2000)
              Education Committee (Chair, 1992-1996; 2004-2009)
              Nominating Committee (1998 - 2001, Chair, 1999-2000)
              Councilor (2000-2001)

         Metals Specialty Section
               President (2003-2004)
               Vice President (2002-2003)
               Awards Committee (Chair, 2001 - 2004)
               Program Committee (Chair, 2001 - 2004)
               Nominating Committee (2001 – 2004, Chair, 2001-2003)

         MidAtlantic (Chapter) Society of Toxicology (MASOT)
               Nominating Committee (2009 [Chair], 2010, 2011)
               Past president, Councilor (2009-2010)
               President (2008-2009)
               Vice President (2007-2008)
               Vice President-elect (2006-2007)
               Councilor (2001 - 2004)
               Program Committee (2000 – Present; Chair 2006-2007)

         NYU Langone School of Medicine
         Faculty Council Representative (2010-2019; Vice President 2011-2012, 2014-2015);
                Benefits and Tenure Sub-committee (2015-2016)
                Academic Affairs Sub-committee (Chair, 2012-Present)
                Basic Science Sub-committee (co-Chair, 2017-2019)
         IACUC Review Board (2009-2011; 2017-2019)
         Grievance Committee (2017-2020)
         NYU Senate (alternate; 2018-2021)

Department of Environmental Medicine
      Promotion & Tenure Committee (2008-2014; Chair, 2010-2012)
      Search Committee (2010-2013)
      Biological Safety Committee- (Chair, 1990-1999)
      Graduate Steering Committee (1999- 2014; Interim Co-chair 2001-2002)
      Toxicology Masters’ Program (Director, 2002 – 2008; Co-director, 2008-2011)

         GRANT REVIEWER Ad hoc (Federal [Non-NIH]/State/Private):
         Federal
         Scandanavian Research Program (2013, 2016)
         NASA, Moon dust program (2008)
         Canadian Centers for Research (2000 – 2004)
         DOD (Ad hoc, 1999 - present)



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         EPA (Ad hoc, 2002 - present)
         Natural Sciences and Engineering Research Council of Canada (Ad hoc, 2002 –
         present)

         State/Private
         Center for Indoor Air Research
         Environmental and Occupational Science Health Inst. (Rutgers U.)
         IFS Research Grants for Developing Nations
         Johns Hopkins Pilot Projects
         Michigan Sea Grant
         New Jersey Sea Grant
         New York Sea Grant
         Philip Morris Foundation

         ADJUNCT APPOINTMENTS, CONSULTING, ADVISORY BOARDS
         o       Weill Cornell Medical School (NY, NY) – External Advisory Board for NIH
         Diversity Grant (2013-2015)
         o       Chulabhorn Research Institute & University (Bangkok, Thailand) - Adjunct
         Professor (2003-present)
         o       Cornell University, Inst. for Comparative and Environmental Toxicology
         (Ithaca, NY) - Adjunct Professor (1996-2005)
         o       American Lung Association - Criteria Document on Woodsmoke (2001)
         o       Fish and Wildlife Services - Status of the Hudson River (2000)
         o       International Life Sciences Institute - Research strategy on age-related
         differences in susceptibility (1998)
         o       Stratus Consulting Inc. - Assessment of PCB-contaminated sites (1997 - 2000)
         U.S. EPA - Criteria document on the immunotoxicity of endocrine disruptors (1997)

         MENTORING ON A GLOBAL LEVEL (6)
         •      Juliet Igbo (Doctoral student co-mentor – U. of Lagos, Nigeria – 2015-2019)
         •      Anishka Lewis (Masters student- Jamaica – 2014)
         •      LeighAnn Koekemoer (Masters student – South Africa-2014)
         •      Dr. Orish Orisakwe – University of Port Harcourt, Nigeria – 2013-present)
         •      Dr. Hari Jott Dosih (Nepal Health Research Council – Kathmandu, Nepal- 2014-
         present)
         •      Dr. Chanthana Tangjarukij (Chulabhorn Research Institute – Bangkok, Thailand-
         2012-present)

         STUDENT & JUNIOR FACULTY MENTORING
         Research Advisor:
         College and High School (15)
         •     Aaron Asiedu-Wiafe (2017-2018; Monroe-Woodbury High School, Monroe, NY)
         •     Aastha Parikh (2016-2017; Monroe-Woodbury High School, Monroe, NY)
         •     Daniel Smith (2013-2014; Fairlawn High School, Fairlawn, NJ)
         •     Alejandro Jorge (2012; Ramapo College, NJ)
         •     Eric Bloom (2011-2012; Highland Mills High School [Highland Mills, NY])
         •     Sujay Avencar (2009-2011; Suffern High School [Suffern, NY])
         •     Sam Openheim (2009-2011; Suffern High School [Suffern, NY])
         •     Monica Feldman (2007-2009; Spring Valley High School [Spring Valley, NY])




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         •     George Markt (2005-2009; Ramapo High School [Ramapo, NY])
         •     Payal Roy (2006 – 2007; New York University [NY, NY])
         •     Rebecca Kurtzman (2005 – 2007; Spring Valley High School [Spring Valley, NY])
         •     Erica Stone (2006, Ramapo College [Mahwah, NJ])
         •     Elizabeth Nadziejko (2000; Washingtonville High School [Washingtonville, NY[)
         •     Kevin Hazard (1999 – 2000; Spring Valley High School [Spring Valley, NY])
         •     Songeeta Pachachuria (1997-2000; Spring Valley High School, [Spring Valley,
         NY])
         •
         Post-Baccalaureate (2)
         •     Parnavi Desai (2015-present; NYU, Biology)
         •     Tomas Dunne (2014-2015; Penn State)

         Masters (30)
         •     Arianna Schwartzer (2017-2019; NYU Environ. Health Sci)
         •     Kathryn Fetce (2016-2018; NYU Environmental Health Sciences)
         •     Nicholas Lawrence (2016-2018; NYU Environmental Health Sciences)
         •     Alexander Lucca (2017-2018; NYU Biology)
         •     Annie J.Thaikkatil (2016-2017; NYU Biology)
         •     Leena Babiker (2017-2018; NYU Biology)
         •     Patricia Costa (2014-2016; NYU Environ. Health Sci
         •     Maria Putilina (2013-2014-NYU, Biology)
         •     Kirtan Kaur (2013-2015)
         •     Sarah Attreed (2013-2015)
         •     Sabina Sutjec (2013-2014-NYU, Biology)
         •     Kaitlyn Koenig (2012-2014)
         •     Heather Larkin (2012-2013-NYU, Biology))
         •     Dana Lauterstein (2011-2013) – 2 SOT student awards (2013)
         •     Yi-Chuh Chen (2010-2011 Incomplete-NYU Biology)
         •     Ya-Chien Yu (2010-2011-IncompleteNYU Biology)
         •     Yuan-Chun Hsiao (2010-2011-Incomplete NYU Biology)
         •     Lauren Rosenblum (2009-2011-NYU Biology)
         •     Sandra Perella (2008-2010)
         •     Kotaro Hoshido (2007-2009-NYU Biology)
         •     Jacqueline Grabowski (2006-2008)
         •     Elizabeth Vanza (2004 – 2006) – SOT student award (2006)
         •     Elizabeth Berg (2003 - 2005)
         •     Shannon Doherty (2002 - 2005)
         •     Colette Prophete (1998 - 2001)
         •     Jessica Duffy (1999 - 2001)
         •     Migali Jorge (1998 - 2000)
         •     Cheryl Premdass (1998 - 2000)
         •     Andrea Raymond (1997 - 2000) – 1 SOT award
         •     Thomas McManus (1994 – 1996, Co-advisor)




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         Doctorate (9)
         •      Pamela Tijerna (2013-present) – SOT CDI award (2014); SOT (1 st place
                                                                                P   P




         Hispanic Organization of Toxicology, 2015); SOT(Mary Amdur Inhalation Fellowship,
         2015)
         •      Dana Lauterstein (2013-present)- SOT (Safety Assessment Specialty Section,
         2015)
         •      Juliett Igbo (2015-2016), Co-Advisor (U. of Lagos, Nigeria)
         •      Sheung Pui Ng (2004 - 2010) – 9 SOT student awards including Novartis
         Achievement Award (2008-2010)
         •      Jessica Duffy (2001 – 2007) – 2 SOT awards (2004); 3 SETAC awards (2004,
         2005, 2006)
         •      Chanthana Settachan (Co-Advisor; 2003 – 2009; Chulabhorn Research Institute,
         Bangkok Thailand)
         •      Erik Carlson (1999- 2003) – 1 SOT award (2000)
         •      Ninah Enane (Co-Advisor, 1995 - 1999)
         •      Peter Atkins (Co-Advisor, 1992 - 1996)

         Post-doctoral Trainees (2) & Mentoring Committees
         •     Jason Blum (2009 – 2012) – 1 SOT post-doc award
         •     Daniel Willis (2011 – 2013)- NSF/FDA post-doctoral fellowship (Zelikoff, PI)-
         2013

         Junior Faculty Mentoring Committee (2)
         •      Jason Blum (2012 – Present)
         •      Kevin Cromar (2012-Present)

         Doctoral Thesis Committee (12):
         •     Kirtan Kaur (2016-2018, Chair)
         •     Carolyn Klocke (2015-2017) – University of Rochester (External Examiner)
         •     Mary Francis (2015-2016) - Rutgers University (External Examiner)
         •     Eric Saunders (2012-2015)
         •     Joshua Vaughn (2012 – 2015)
         •     AJ Cuevas (2007 – 2012)
         •     Jessica Lyon (2007 - 2012)
         •     Judy Blatt Nichols (Chair, 2007 – 2011)
         •     Patricia Gillespie (2006 - 2010)
         •     Elizabeth Vanza (Chair, 2004 – 2009)
         •     Ann Zulkosky (2005 – 2007; SUNY Stony Brook)
         •     Samantha DeLeon (Chair, 1999 – 2003)

         COMMUNITY OUTREACH, EDUCATION & ENGAGEMENT INITIATIVES:
         •      Director, Community Outreach & Education Program, NYU, Dept. of Environ.
         Med. (2005- present)
         •      Director, NIEHS Center of Excellence, Community Outreach & Engagement
         Program, NYU, Dept. of Env. Med. (2005 – present)
         •      Director, NIEHS Superfund Community Outreach and Education Core, NYU,
         Dept. of Environ. Med. (2005- 2010)




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         •      Co-director, NIEHS Superfund Translation Core, NYU, Dept. of Environ. Med.
         (2005- 2011)
                Community Partners:
                          • Ironbound Community Corporation (ICC): Newark, NJ (2015-
                              present)
                          • Ramapough Lenape Tribal Nation: Ringwood, NJ/Mahwah,
                              NJ/Hillburn, NY (2013-present)
                          • City of Garfield, NJ (2012-present)
                          • Susquehanna, PA: Fracking communities (2015-2016)
                          • Flint, Michigan via Water Defense

         Translation/Communication of toxicology to non-toxicologists & underserved
         minorities
         •      Community groups in PA and NY: Environmental and Health Implications of
         Hydraulic Fracturing (2013-2014).
         •      Ramapo Indians: Living on a Superfund Site (2014-present)
         •      NY Presbyterian Lang Program for Underserved Youth (2010 - Present)
         •      Harlem Children Society Mentoring Program - Bronx, NY (2010-Present)
         •      Y-2 Kids (NY State 4 th – 12 th grade, Career day representative, 2008 - Present)
                                     P   P   P   P




         •      Center for Talented Youth, New York University Department of Environmental
         Medicine & Johns Hopkins Center for Talented Youth (2005 – Present)
         •      Environmental Commission of Ramsey (2001 – 2007; Vice-Chair; 2004-2006)
         - Ramsey, New Jersey. Woodburning: A Cozy Atmosphere or a Public Menace? (2003)
         •      Senior Citizen Advisory Board of Ramsey (2003 - 2005)
         •      Ramsey High School (Presenter on toxicology and the environment 2005-2006)
         •      Youth Guidance Commission of Ramsey (1999 - 2001)
         •      Rotary Club, Goshen, New York. Woodburning: A Cozy Atmosphere or a Public
         Menace? (2003)
         •      Upper Saddle River Community Center, Upper Saddle River, New Jersey. The
         Hazards of Woodburning (1997)

         Non-Academic Related Outreach Committees:
         •     2011- 2014 – Board of Ethics, Community Hospice of Bergen County (NJ)
         •     2009- 2014 – Fundraising Committee, Community Hospice of Bergen County
         (NJ)
         •     2006-2013 – President, Condominium Association
         •     2013-2016 – Vice-President, Condominium Association
         •     2018 – South Bronx Asthma Coalition




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                       Exhibit B
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                          MATERIALS AND DATA CONSIDERED

Literature
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 IMERYS340454
 IMERYS340798
 IMERYS342524
 IMERYS346016
 IMERYS469478
 IMERYS477879
 IMERYS501956
 IMERYS-A_0015621
 IMERYS-A_0015663
 IMERYS-MDL-AB_0005560
 J&J-0007797 (JNJMX68_000012854)
 J&J-0007801 (JNJMX68_000012858)
 JNJ 000000704
 JNJ 000001918
 JNJ 000037468
 JNJ 000046293
 JNJ 000062176
 JNJ 000063608
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 JNJ 000063951
 JNJ 000087928
 JNJ 000088570
 JNJ 000089413
 JNJ 000131754
 JNJ 000223449
 JNJ 000229914
 JNJ 000231304
 JNJ 000233691
 JNJ 000234805
 JNJ 000237076
 JNJ 000237379
 JNJ 000238011
 JNJ 000239723
 JNJ 000239730
 JNJ 000246437
 JNJ 000252742
 JNJ 000269848
 JNJ 000281921
 JNJ 000286900
 JNJ 000319762
 JNJ 000347962
 JNJ 000375383
 JNJ 000383662
 JNJ 000383914
 JNJ 000390346
 JNJ 000460665
 JNJ 000488188
 JNJ 000488318
 JNJ000063608
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 JNJ000085374
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 JNJ000131758
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 JNJ000232897
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 JNJ000238826,
 JNJ000239723
 JNJ000239730
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 JNJ000245002
 JNJ000246437
 JNJ000246844
 JNJ000248023
 JNJ000251888
 JNJ000260807
 JNJ000261010
 JNJ000269904
 JNJ000281919
 JNJ000281921
 JNJ000285351
 JNJ000291914
 JNJ000291916
 JNJ000314406
 JNJ000314680
 JNJ000346572
 JNJ000346747
 JNJ000347962
 JNJ000347962
 JNJ000347962
 JNJ000378044
 JNJ000521616
 JNJ000629320
 JNJ000886067
 JNJAZ55_000005957
 JNJAZ55_000008177
 JNJAZ55_00004644
 JNJI4T5_000004521
 JNJNL61_00000266
 JNJMX68_000003729 (Exhibit J&J-185)
 JNJMX68_000004296
 JNJMX68_000012745
 JNJMX68_000013019
 JNJMX68_000022920
 JNJNL61_000001341
 JNJNL61_000005343
 JNJNL61_000006591
 JNJNL61_000006591
 JNJNL61_000006591
 JNJNL61_000006792
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 JNJNL61_000023234
 JNJNL61_000024449
 JNJNL61_000024650
 JNJNL61_000024657
 JNJNL61_000025152
 JNJNL61_000027053
 JNJNL61_000032036
 JNJNL61_000033574
 JNJNL61_000043243
 JNJNL61_000043244
 JNJNL61_000043245
 JNJNL61_000043246
 JNJNL61_000043271
 JNJNL61_000043272
 JNJNL61_000064161
 JNJNL61_000064162
 JNJNL61_000079334
 JNJNL61_000090039
 JNJS71R_000000139
 JNJS71R_000001978
 JNJS71R_000002199
 JNJS71R_000007083
 JNJS71R_000009825
 JNJS71R_000011316
 JNJTALC000384809
 JNJTALC000864509
 JNJTALC000878141
 JOJO-MA2330



Depositions

Deposition of Alice M. Blount Dated 4.13.2018
Deposition and Exhibits of Laura M. Plunkett Dated 1.11.2017-1.13.2017
Deposition of Dr. Thomas Dydek Dated 8.21.18
Deposition and Exhibits of John Hopkins Dated 8.16.18-8.17.18
Deposition and Exhibits of Julie Pier Dated 9.12.18-9.13-18
Deposition and Exhibits of Pat Downey Dated 8.7.18-8.8.18
Deposition of Robert Glenn Dated 10.18.18
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Deposition and Exhibits of Donald Hicks Dated 6.28.18-6.29.8

Reports

Expert Report of Michael M. Crowley, PhD
Expert Report of William E. Longo, PhD and Mark W. Rigler PhD. Analysis of J&J Baby
       Powder & Valiant Shower to Shower Talc Products for Amphibole (Tremolite) Asbestos
       Expert Report. August 2, 2017.
Expert Report of William E. Long, PhD, Mark W. Rigler, PhD and William B. Egeland, M.S.,
       P.G. Below the Waist Application of J&J Baby Powder Expert Report. September,
       2017.
Expert Report of William E. Longo, PhD and Mark W. Rigler PhD. TEM Analysis of
       Historical 1978 Johnson’s Baby Powder Sample for Amphibole Asbestos . February 16,
       2018.
Expert Report of William E. Longo, PhD and Mark W. Rigler, PhD. November. 14, 2018.
Expert Report (Brower v. J&J) of Dr. Thomas Dydek
Expert Report (Brower v. J&J) of Dr. Laura Plunkett
Supplmental Expert Report (Brower v. J&J) of Dr. Laura Plunkett
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                      Exhibit 38
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                           Judith Zelikoff, Ph.D.

                                                                      Page 1
               IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NEW JERSEY
                                -       -       -

             IN RE: JOHNSON &                       :
             JOHNSON TALCUM POWDER                  :
             PRODUCTS MARKETING,                    :
             SALES PRACTICES, AND                   :   NO. 16-2738
             PRODUCTS LIABILITY                     :   (FLW) (LHG)
             LITIGATION                             :
                                                    :
             THIS DOCUMENT RELATES                  :
             TO ALL CASES                           :

                                    -       -       -

                          January 21, 2019

                                    -       -       -

                        Videotaped deposition of
           JUDITH ZELIKOFF Ph.D., taken pursuant to
           notice, was held at the Sheraton Mahwah
           Hotel, 1 International Boulevard, Mahwah,
           New Jersey, beginning at 9:11 a.m., on
           the above date, before Michelle L. Gray,
           a Registered Professional Reporter,
           Certified Shorthand Reporter, Certified
           Realtime Reporter, and Notary Public.

                                -       -       -

                    GOLKOW LITIGATION SERVICES
                   877.370.3377 ph| 917.591.5672
                          deps@golkow.com




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                                                 Judith Zelikoff, Ph.D.
                                                      Page 2                                                   Page 4
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     23
     24                                                        24

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      1    APPEARANCES: (Cont'd.)                               1            - - -
      2                                                         2            INDEX
           SHOOK, HARDY & BACON, LLP                            3            - - -
      3    BY: MARK C. HEGARTY, ESQ.                            4
           2555 Grand Boulevard                                     Testimony of:     JUDITH ZELIKOFF, Ph.D.
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     12    GORDON & REES, LLP                                  12
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     13    816 Congress Avenue, Suite 1510                     13
           Austin, Texas 78701                                 14   NO.       DESCRIPTION         PAGE
     14    (512) 391.0183                                      15   Zelikoff-1 Compilation of    16
           kferguson@gordonrees.com                                         Invoices of
     15                                                        16           Dr. Zelikoff
            - and -                                            17   Zelikoff-2 Rule 26 Expert    35
     16                                                                     Report of Judith
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     17    BY: MARK K. SILVER, ESQ.                                         11/16/18
           350 Mount Kemble Avenue                             19
     18    Morristown, New Jersey 07962                             Zelikoff-3 Longo & Rigler     36
           (973) 267-0058                                      20           Report
     19    msilver@coughlinduffy.com
                                                                            1/15/19
           Representing the Defendant, Imerys
                                                               21
     20    Talc America, Inc.
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     23           Quotes with Shawn Levy                       23
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     23           Of Dr. Zelikoff                              23           Talc
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      2        E X H I B I T S (Cont'd.)                          2        DEPOSITION SUPPORT INDEX
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      5   NO.       DESCRIPTION            PAGE                   4
      6   Zelikoff-38 Talcum Powder        469                    5   Direction to Witness Not to Answer
                  Chronic Pelvic                                  6   PAGE LINE
      7           Inflammation                                        None.
                  (Merritt)
      8
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          Zelikoff-39 Markers of      471                         8   Request for Production of Documents
      9           Inflammation                                    9   PAGE LINE
                  And Risk                                            None.
     10           (Wu)                                           10
     11   Zelikoff-40 Binder Labeled    480
                  Saad 2010 -
                                                                 11   Stipulations
     12           Zambelli 2013                                  12   PAGE LINE
     13   Zelikoff-41 Binder Labeled    480                           None.
                  Production Documents                           13
     14                                                               Questions Marked
          Zelikoff-42 Binder Labeled       480                   14
     15           Depositions
                  ACGIH 2010 -                                        PAGE LINE
     16           Frank & Jorge 2011                             15   None.
     17   Zelikoff-43 Binder Labeled       480                   16
                  IARC 1977 -                                    17
     18           IARC 2006                                      18
     19   Zelikoff-44 Binder Labeled       480
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     20           IARC 1976                                      20
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                  Ingersoll 2011 -                               22
     22           Marconi 1990                                   23
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      1             - - -                                         1            THE VIDEOGRAPHER: We are on
      2        E X H I B I T S (Cont'd.)
      3             - - -                                         2        the record. My name is Henry
      4                                                           3        Marte. I am a videographer with
      5   NO.       DESCRIPTION           PAGE
      6   Zelikoff-46 Binder Labeled      480                     4        Golkow Litigation Services.
                  Mattenklott 2007 -                              5            Today is January 21st, 2019,
      7           Rossi 2009
      8   Zelikoff-47 Binder Labeled      480
                                                                  6        and the time is 9:11 a.m.
                  IARC 2009 -                                     7            This video deposition is
      9           IARC, 2012                                      8        being held in Mahwah, New Jersey,
     10   Zelikoff-48 Alterations in    481
                  Gene Expression                                 9        in the matter of Talcum Powder
     11           In Human Mesothelial                           10        Litigation.
                  Cells
     12           (Shukla)                                       11            The deponent today is Dr.
     13   Zelikoff-49 Experts of Transcript 549                  12        Judith Zelikoff.
                  Of Robert Glenn
     14           10/18/18
                                                                 13            All appearances will be
     15   Zelikoff-50 Presence of       562                      14        noted on the stenographic record.
                  Talc in Pelvic                                 15        Will the court reporter please
     16           Lymph Nodes of a Woman
                  (Cramer)                                       16        administer the oath to the
     17                                                          17        witness.
          Zelikoff-51 Does Long-Term        567
     18           Talc Exposure                                  18                - - -
                  Have a Carcinogenic                            19            ... JUDITH ZELIKOFF, Ph.D.,
     19           Effect
                  (Keskin)
                                                                 20        having been first duly sworn, was
     20                                                          21        examined and testified as follows:
     21                                                          22                - - -
     22
     23                                                          23              EXAMINATION
     24                                                          24                - - -
                                                                                      4 (Pages 10 to 13)
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                                  Judith Zelikoff, Ph.D.
                                           Page 14                                           Page 16
     1   BY MR. HEGARTY:                              1   plaintiffs' counsel for your services in
     2        Q. Good morning, Dr. Zelikoff.          2   this litigation?
     3        A. Good morning.                        3         A. $350 per hour.
     4        Q. My name is Mark Hegarty. I           4         Q. Is there any difference in
     5   represent the J&J defendants in this         5   your rate depending on whether it's
     6   action. Can you please state your full       6   literature review, sitting for a
     7   name for the record, please?                 7   deposition, trial testimony?
     8        A. Judith Terri Zelikoff.               8         A. Sitting for a deposition or
     9        Q. Dr. Zelikoff, who is your            9   trial testimony is $450.
    10   current employer?                           10         Q. Did anyone outside of
    11        A. New York University School          11   plaintiffs' attorneys assist you in any
    12   of Medicine, also known as NYU Langone      12   way with your expert report in this case?
    13   Health.                                     13         A. No one with my expert
    14        Q. What is your title at New           14   report.
    15   York University School of Medicine?         15         Q. We were provided today a
    16        A. Professor with tenure.              16   copy of several invoices that you have
    17        Q. How long have you held that         17   prepared for your work in this case. I'm
    18   position?                                   18   going to mark as Exhibit Number 1 a copy
    19        A. Since 1982.                         19   of those invoices.
    20        Q. Do you have any separate            20             (Document marked for
    21   personal consulting business for            21         identification as Exhibit
    22   litigation purposes?                        22         Zelikoff-1.)
    23        A. I do not.                           23   BY MR. HEGARTY:
    24        Q. Where do the fees go that           24         Q. Dr. Zelikoff, would you look
                                           Page 15                                           Page 17
     1   you earn as an expert witness in this        1   at Exhibit Number 1 and tell me whether
     2   case?                                        2   those are all the invoices that you have
     3        A. They go to household                 3   generated and provided to plaintiffs'
     4   expenses as well as charity.                 4   counsel in this case.
     5        Q. But they go to you, correct?         5        A. It appears to be.
     6        A. They go to me.                       6        Q. Thank you. The last work
     7        Q. Other than your work at New          7   noted is December 24, 2018.
     8   York University and the fees that you're     8            Have you spent any
     9   earning as part of this litigation, do       9   additional time on this case for which
    10   you have any other sources of income?       10   you intend to bill plaintiffs' counsel --
    11        A. Just income that I have from        11        A. Yes, I have.
    12   advisory boards or -- when you -- when      12        Q. -- that's not reflected in
    13   you sit on panels, they also pay you.       13   the invoices?
    14   But other than that, no.                    14        A. Yes, I have.
    15        Q. Tell me an example of an            15        Q. How much additional time?
    16   advisory board for which you receive        16        A. Approximately 25 to 30 hours
    17   income.                                     17   by the end of this deposition. Not
    18        A. It's on a very sporadic             18   including the deposition.
    19   basis. And it depends on what it is.        19        Q. With regard to these
    20   But the NIEHS, National Institute of        20   invoices, have they all been paid?
    21   Environmental Health Sciences. And it's     21        A. Yes, they have.
    22   an NIH institute. And I serve as a -- I     22        Q. Were you paid a retainer for
    23   review grants for them.                     23   your work on this case?
    24        Q. What are you charging               24        A. I don't recall.
                                                                       5 (Pages 14 to 17)
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                                   Judith Zelikoff, Ph.D.
                                            Page 18                                           Page 20
     1        Q. Dr. Zelikoff, as you know             1   representing plaintiffs?
     2   we're here to take your deposition in the     2         A. No, sir.
     3   case of In Re Johnson & Johnson Talc          3         Q. Did you agree to serve as an
     4   Litigation, which is an MDL setting. Are      4   expert witness at the time of Ms. Emmel's
     5   you aware you've been designated as an        5   first contact with you?
     6   expert in that case?                          6         A. No, sir. I told her that I
     7        A. I am aware.                           7   would have to do some literature
     8        Q. When were you first                   8   searching myself and come up with a
     9   contacted about serving as an expert in       9   conclusion as to whether or not I felt
    10   this case?                                   10   comfortable based on the science in
    11        A. Early 2017. I was                    11   serving in that capacity.
    12   requested -- I was requested if I had        12         Q. At one point -- at what
    13   interest in it.                              13   point between -- at what point did you
    14        Q. The first invoice that you           14   come to or did -- strike that.
    15   provided has a date of April 5, 2017.        15             At what point did you agree
    16   When in relation to the first invoice        16   to serve as an expert witness in this
    17   entry was that initial contact?              17   litigation in relation to that first
    18        A. To the best of my knowledge,         18   call?
    19   it was January or February.                  19         A. Probably about a month
    20        Q. Of 2017?                             20   later.
    21        A. Of 2017, right.                      21         Q. What did Ms. Emmel tell you
    22        Q. Who contacted you?                   22   at that first call about the litigation?
    23        A. Jennifer Emmel.                      23             MS. O'DELL: We just
    24        Q. Did you know her before she          24         instruct -- I mean conversations,
                                            Page 19                                           Page 21
     1   contacted you?                                1        in terms of -- let me just strike
     2         A. Not at all.                          2        that and say don't discuss
     3         Q. How was the contact made, by         3        anything that you communicated to
     4   telephone?                                    4        us or we communicated to you after
     5         A. By telephone.                        5        you decided to become an expert in
     6         Q. Apart from anything that             6        the case.
     7   attorneys for plaintiffs may have told        7   BY MR. HEGARTY:
     8   you, do you know how she came to contact      8        Q. Correct. I'm talking about,
     9   you?                                          9   right now I'm talking about that initial
    10         A. I'm not aware as to how she         10   phone call where you said you had not --
    11   came to contact me.                          11   where you did not agree at that point in
    12         Q. Did you have any prior              12   time to serve as an expert witness.
    13   litigation work with her?                    13   That's the only call I'm talking about.
    14         A. Not with Ms. Emmel, no.             14             What did Ms. Emmel tell you
    15         Q. How do you spell her name?          15   about the litigation or about what they
    16         A. How do I --                         16   wanted you to do at that first call?
    17         Q. Yes.                                17        A. Well, I don't remember the
    18         A. -- spell her name?                  18   details as it was about over a year ago.
    19         Q. Yes.                                19   But to the best of my knowledge and my
    20         A. To the best of my knowledge,        20   recollection, it was just that they
    21   it's E-M-M-E-L.                              21   represented the plaintiffs in a case of
    22         Q. Have you had any prior              22   ovarian cancer and its relationship to
    23   litigation work with any of the lawyers      23   talcum powder products, and was I
    24   with whom you have met that are              24   familiar with it, did I know anything
                                                                        6 (Pages 18 to 21)
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     1   about it, and did I have -- did I have        1   the time that you agreed to serve as an
     2   interest in being associated with, and I      2   expert witness in the case?
     3   responded to her that I follow the            3         A. No, not -- not to my
     4   science, that's all I do is I follow the      4   recollection.
     5   science.                                      5         Q. Do you recall anything else
     6             And if the science leads me         6   that you discussed with Ms. Emmel at that
     7   in a direction that I would have interest     7   first call besides what we talked about
     8   or that I felt comfortable in doing this,     8   already?
     9   then I would let her know.                    9         A. No, sir.
    10        Q. What was your response when          10         Q. Did Ms. Emmel at that first
    11   she asked you if you were familiar with      11   call tell you anything about plaintiffs'
    12   the science of talc and ovarian cancer?      12   theory of causation or theory of
    13        A. I was familiar with it at            13   mechanism of action or biologic
    14   that time in a superficial manner. I         14   plausibility?
    15   work in a very high-powered department of    15         A. No, sir, not at all.
    16   environmental medicine. And we discuss       16         Q. Did she send you any
    17   current events over lunch.                   17   documents before you agreed to serve as
    18        Q. When you say in a                    18   an expert witness?
    19   superficial manner, what do you mean?        19         A. Not to my knowledge. I
    20        A. Certainly not to the depth           20   think the -- I'm sure the literature
    21   that I'm aware of the issue currently.       21   reviews that I did at that time were
    22        Q. Is it correct that you had           22   solely my own.
    23   not formed any opinions as to any link       23         Q. Had you heard of lawsuits
    24   between talc and ovarian cancer as of the    24   involving talc and ovarian cancer before
                                            Page 23                                           Page 25
     1   time of that first call with Ms. Emmel?       1   being contacted by Ms. Emmel?
     2         A. I had -- I had no opinion at         2        A. I actually had not.
     3   that time.                                    3        Q. What then were your sources
     4         Q. Did you have any discussions         4   of knowledge about talc and ovarian
     5   with Ms. Emmel or any other lawyer            5   cancer as of the time of the first call?
     6   representing plaintiffs between that          6        A. The media, whatever I might
     7   initial phone call and when you agreed to     7   have read in the paper and any
     8   serve as an expert witness?                   8   discussions that might have been brought
     9         A. To my -- to the best of my           9   up by my colleagues.
    10   knowledge, I had not spoken to               10        Q. Do you recall any colleague
    11   Ms. O'Dell. So to the best of my             11   who brought the -- anything up about talc
    12   knowledge it was just Ms. Emmel.             12   and ovarian cancer?
    13         Q. Again, focusing on that             13        A. I do not recall a specific
    14   first phone call -- well, strike that.       14   colleague. Lunchroom chatter.
    15            Had you had any further             15        Q. Did you form any opinions
    16   discussion with Ms. Emmel between the        16   from the material you did read in the
    17   time of that first call and the time you     17   media or from discussion with your
    18   agreed to serve as an expert witness?        18   colleagues?
    19         A. I'm sorry, between the time         19        A. I had no opinion.
    20   of the first call and the time I agreed,     20        Q. And you were ultimately
    21   could you repeat the question please?        21   retained and asked to give expert
    22         Q. Sure. Did you have any              22   opinions in this case, correct?
    23   additional discussions with Ms. Emmel        23        A. I was ultimately retained,
    24   between the time of the first call and       24   yes, correct.
                                                                        7 (Pages 22 to 25)
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     1        Q. The lawyers for the                    1   testify today?
     2   plaintiffs in this case have paid you to       2        A. It would be in my invoice,
     3   review materials and offer opinions,           3   but if I had to approximate that without
     4   correct?                                       4   the knowledge of having that in front of
     5            MS. O'DELL: Objection to              5   me, I would say 30 to 50 hours.
     6        the form.                                 6        Q. What attorneys did you meet
     7            THE WITNESS: Do I answer              7   with to prepare for your deposition here
     8        the question?                             8   today?
     9   BY MR. HEGARTY:                                9        A. I met with Ms. O'Dell and
    10        Q. Yes.                                  10   Ms. Emmel.
    11            MS. O'DELL: Yes.                     11        Q. Anyone else?
    12            THE WITNESS: They have               12        A. In a face-to-face.
    13        remunerated me for my time and           13        Q. Face-to-face. There were
    14        effort in reading hundreds of            14   phone calls as well?
    15        articles.                                15        A. There were -- one of -- one
    16   BY MR. HEGARTY:                               16   of the phone calls, it may have been two.
    17        Q. The opinions that you've              17   I also -- Chris, and I'm not familiar
    18   formulated were ultimately set out in         18   with your last name, sorry.
    19   your November 16, 2018, MDL report,           19             Chris from the --
    20   correct?                                      20             MS. O'DELL: Tisi.
    21        A. That's correct.                       21             THE WITNESS: Tisi? Chris
    22        Q. The hours you spent in                22        Tisi and Alistair --
    23   preparing that report are reflected in        23             MR. FINDEIS: Findeis.
    24   the invoices we marked as Exhibit             24             MS. O'DELL: Findeis.
                                             Page 27                                           Page 29
     1   Number 1, correct?                             1            THE WITNESS: Findeis -- was
     2        A. I don't recall what exhibit            2        on the phone, and there may have
     3   number it is, but it is in one of the          3        been one or two others, but I
     4   invoices.                                      4        don't recall.
     5        Q. A description that you have            5   BY MR. HEGARTY:
     6   in your invoices includes report               6        Q. Have you spoken with any of
     7   preparation. Is that a description which       7   your colleagues about your work in this
     8   describes your -- the time you spent           8   litigation?
     9   preparing your report?                         9        A. What -- can you explain what
    10        A. Yes, it is.                           10   you mean by colleagues?
    11        Q. Every entry under report              11        Q. Well, you mentioned
    12   preparation would be the time that you        12   colleagues in discussing talc and ovarian
    13   spent preparing your report?                  13   cancer. So those colleagues.
    14        A. Yes, that's true. That                14        A. If -- do you mean other
    15   could include reading material, searching     15   faculty?
    16   for material or writing.                      16        Q. Correct.
    17        Q. The invoices we marked as an          17        A. And the question again,
    18   exhibit also reflect the time you spent       18   please?
    19   with lawyers for plaintiffs; is that          19        Q. Sure. Have you spoken with
    20   correct?                                      20   other faculty at New York University
    21        A. It does.                              21   regarding your work on this litigation?
    22        Q. With regard to your                   22        A. No, I have not.
    23   deposition here today, how much time did      23        Q. Have you told any faculty at
    24   you spend preparing to come here and          24   New York University of your opinions in
                                                                         8 (Pages 26 to 29)
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     1   this case?                                     1        A. Yes.
     2        A. I have not.                            2        Q. Does that continue to be the
     3        Q. Have you told anyone at NYU            3   extent of any discussion you had with any
     4   School of Medicine of your opinions?           4   students at New York University about
     5        A. I have not. I have                     5   talc and ovarian cancer?
     6   discussed, not my opinion, but in my           6        A. Well, right now we're on
     7   class, my toxicology course, to graduate       7   break. I -- I probably will -- I will
     8   students at NYU.                               8   continue after the deposition to also
     9            I have, in my course on               9   talk -- talk with them and list it as
    10   speaking about reproductive toxicology        10   a -- as a risk factor for ovarian cancer.
    11   and developmental toxicology, in              11        Q. What about -- strike that.
    12   discussing risk factors, two graduate         12             Did you have discussions,
    13   students I have discussed -- I've             13   that same discussion with toxicology
    14   included talc as a potential risk factor.     14   students between -- I should say before
    15        Q. When did you start including          15   you were contacted by Ms. Emmel and
    16   talc as a potential risk factor in that       16   today, have you had -- continued to have
    17   course?                                       17   that same discussion with your toxicology
    18        A. Prior -- if you're asking me          18   students?
    19   was it prior to or -- prior to my             19        A. I've not --
    20   retainment, it was prior to my                20             MS. O'DELL: Objection to
    21   retainment.                                   21        form.
    22        Q. So prior to your                      22             Doctor, give me just a
    23   retainment -- let me -- let me word it        23        moment after the question if I
    24   differently.                                  24        need to object. Thank you.
                                             Page 31                                           Page 33
     1            Prior to the call from                1             THE WITNESS: Shall I
     2   Ms. Emmel, you had included in your            2         continue?
     3   course to -- your toxicology course a          3   BY MR. HEGARTY:
     4   discussion about talc and ovarian cancer?      4         Q. Sure.
     5        A. Not a discussion, just                 5         A. Could you repeat the
     6   didactic lecture saying that this is the       6   question, please?
     7   female reproductive tract. Ovarian             7         Q. Sure. You mentioned that
     8   cancer is part of an adverse outcome of        8   the discussion that we just went over was
     9   disease. It's very prevalent. And there        9   before your contact by Ms. Emmel,
    10   are factors including early menarche,         10   correct?
    11   late menopause, and there's some issues       11         A. I said that it started. My
    12   currently on the table as to whether          12   lectures started prior to my conversation
    13   cosmetic talc also plays a role.              13   with Ms. Emmel.
    14            No opinion was given to my           14         Q. What was -- what was the
    15   class. Just information.                      15   name of the course that you had that
    16        Q. Do you have any materials             16   lecture?
    17   for your course, whether in PowerPoint        17         A. Organ system toxicology.
    18   form or other form that sets out that         18         Q. Have you taught that course
    19   discussion you just had?                      19   since your call with Ms. Emmel?
    20        A. No.                                   20         A. Actually it's coming up
    21        Q. Is that the extent of the             21   this -- this semester, starting the 30th
    22   discussion that you had with your             22   of January.
    23   toxicology students about talc and            23         Q. So between -- as of the
    24   ovarian cancer?                               24   first part of 2017 through today you have
                                                                         9 (Pages 30 to 33)
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     1   not taught that same course?                   1   Exhibit B. It should be the very last
     2        A. It's taught every other                2   page of that document.
     3   year.                                          3        A. Thank you.
     4        Q. Have you communicated with             4        Q. The very last page of
     5   anyone outside of plaintiffs' counsel in       5   Exhibit B of your report, you list a
     6   this case about your opinions in your          6   number of expert reports, correct?
     7   report?                                        7        A. I do. Deposition and
     8        A. Not about my opinions, no.             8   exhibits.
     9        Q. Have you talked with anyone            9        Q. Have you reviewed any other
    10   outside of plaintiffs' counsel in this        10   expert reports -- strike that.
    11   case about your report?                       11            Did you review any other
    12        A. Only to say that I -- to my           12   expert reports for purposes of your
    13   friends, when I refuse to go anywhere         13   expert report besides those listed here?
    14   with them, because I have to stay home        14        A. No, sir. Unless --
    15   and work, only to say that I'm working on     15   Dr. Longo, December 2018 supplement, that
    16   a report.                                     16   was a report, and I did review that.
    17        Q. Have you discussed the                17        Q. We were provided today with
    18   litigation or your report with any other      18   a copy of a report of Longo and Rigler,
    19   experts retained by the plaintiffs in         19   January 15, 2019. And I'm going to mark
    20   this case?                                    20   that as Exhibit 3.
    21        A. No, sir, I have not.                  21            (Document marked for
    22        Q. Have you reviewed any of the          22        identification as Exhibit
    23   other plaintiffs' experts' MDL reports in     23        Zelikoff-3.)
    24   this litigation besides those referenced      24   BY MR. HEGARTY:
                                             Page 35                                           Page 37
     1   in your report?                                1         Q. Is that the supplemental
     2        A. I reviewed Dr. Dydek's. I              2   report that you described for us?
     3   reviewed -- did you say the plaintiffs'        3         A. It is, sir. It's an
     4   witnesses?                                     4   analysis Johnson & Johnson Historical
     5        Q. Yeah, let me -- let me -- in           5   Product Containers and Imerys' Historical
     6   your report -- and I can -- we can get it      6   Railroad Car Samples, etc..
     7   out here in a moment. But you list             7         Q. That report is dated
     8   the -- in your list of reports, you list       8   January 15th, 2019, correct?
     9   the report of Michael Crowley.                 9         A. Yes, sir.
    10        A. I'm sorry, sir. Can you --            10         Q. When did you receive this
    11        Q. It's in Exhibit B at the end          11   report?
    12   of Exhibit B of your report. If you need      12         A. In January.
    13   a copy I can give it to you now.              13         Q. When in relation to
    14        A. Can you give me a copy.               14   January 15, 2019?
    15             (Document marked for                15         A. Today is the --
    16        identification as Exhibit                16         Q. Is the 21st.
    17        Zelikoff-2.)                             17         A. Today is the 21st. I would
    18   BY MR. HEGARTY:                               18   say somewhere between the 15th and the
    19        Q. I'm marking Exhibit 2 Dr.             19   21st. Actually it was this past Saturday
    20   Zelikoff's report that was provided to us     20   as it was placed in my Dropbox and I
    21   in this case.                                 21   could not open my Dropbox.
    22        A. Thank you. And what page              22         Q. When did you review Exhibit
    23   are you referring to?                         23   Number 3?
    24        Q. It is the last page of                24         A. That same report?
                                                                       10 (Pages 34 to 37)
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     1        Q. Yes.                                   1        A. The attorneys.
     2        A. I received it on Saturday.             2        Q. I'm going to show you --
     3   I reviewed it on Sunday.                       3        A. Plaintiffs' attorneys.
     4        Q. How much time did you spend            4             (Document marked for
     5   reviewing this additional Longo and            5        identification as Exhibit
     6   Rigler report?                                 6        Zelikoff-4.)
     7        A. Sorry. About three hours.              7   BY MR. HEGARTY:
     8        Q. Did you read every page?               8        Q. I'm going to show you what I
     9        A. I read -- I reviewed each              9   marked as Exhibit Number 4. This is the
    10   page but I did not scrutinize every page.     10   MDL report provided to us for Michael
    11        Q. Did you read the entirety of          11   Crowley.
    12   the text in this supplemental report?         12        A. Mm-hmm.
    13        A. May I see the report,                 13        Q. Did you read the entirety of
    14   please.                                       14   that report?
    15            MS. O'DELL: Objection.               15        A. I cannot say that I read the
    16        Asked and answered. That's the           16   entirety of this report. I reviewed the
    17        same question.                           17   report.
    18            THE WITNESS: Should I                18        Q. Okay. Well, your report is
    19        answer?                                  19   dated November 16, 2018. And that report
    20            MS. O'DELL: Yes, you may.            20   is dated November 12, 2012, -- 2018.
    21            THE WITNESS: I reviewed the          21   When did you receive the report by
    22        text going up to Page 32 with            22   Dr. Crowley in relation to the date on
    23        greater rigor than I did the             23   the first page, November 12th.
    24        tables.                                  24        A. I really cannot say with
                                             Page 39                                            Page 41
     1   BY MR. HEGARTY:                                1   certainty. It seems to me that I
     2         Q. When you say "reviewed,"              2   received this prior to my report
     3   does that mean that you read every -- all      3   conclusion.
     4   the words on every page up to Page 32?         4        Q. There are 212 pages there.
     5         A. I did.                                5   Again, did you read every word of every
     6         Q. You included in the list of           6   page?
     7   reports that you reviewed, the report of       7        A. No, sir. Did I look at
     8   Michael Crowley, correct?                      8   every word of every page? Yes.
     9         A. Every one of the reports              9        Q. No, my question is did you
    10   were not read with the -- read with           10   read every word of every page.
    11   the -- sorry, I'm caught up in the            11        A. My answer is --
    12   microphone -- were not read with the same     12            MS. O'DELL: She answered
    13   intensity and duration of time put into       13        your question.
    14   it. I reviewed it. To what extent, I'm        14            THE WITNESS: -- I looked at
    15   not clear at this moment.                     15        every page.
    16         Q. The first report that you            16   BY MR. HEGARTY:
    17   list in the list of reports in Exhibit B      17        Q. Did you read all the
    18   is the expert report of Michael M.            18   references that he has in that report?
    19   Crowley, correct?                             19        A. I looked at the references.
    20         A. It's written that way, yes.          20        Q. Did you actually pull the
    21         Q. Did you prepare this list of         21   references and read the citations that he
    22   reports?                                      22   refers to?
    23         A. I did not.                           23        A. No, sir. I did my own -- my
    24         Q. Who did?                             24   own literature search in terms of
                                                                        11 (Pages 38 to 41)
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     1   fragrance and chemicals within the           1   Dr. Crowley's report. And with that I --
     2   fragrances. And I did receive that as an     2   I used the case number. I reviewed each
     3   exhibit this morning.                        3   one of the chemicals in terms of their
     4        Q. I'm sorry. What did you              4   potential carcinogenicity by, number one,
     5   say?                                         5   putting -- writing down the chemical,
     6        A. I said I did my own                  6   looking to see if there were other
     7   literature search in terms of fragrances,    7   structures or chemicals -- or chemicals
     8   and I think you received a copy of that      8   that had similar names.
     9   this morning. In that report that I did,     9             I reviewed through Google,
    10   that I prepared, I was assessing            10   through PubMed and through Tox Lit and
    11   carcinogenicity of each of the compounds.   11   IARC reports to see whether or not there
    12        Q. Going back to the Crowley           12   was a listing for them in terms of
    13   report, did you read all the tables in      13   carcinogenicity. And that is the result.
    14   that report?                                14   This is the result.
    15        A. I did not read. I reviewed.         15        Q. When did you do all of that?
    16        Q. What is --                          16        A. I did that post the
    17        A. I looked at them.                   17   report --
    18        Q. Okay. What is the                   18        Q. When -- sorry.
    19   difference between reading and reviewing    19        A. -- as part of my preparation
    20   to you?                                     20   for the deposition.
    21        A. In my mind, reading is              21        Q. When did you do it post
    22   in-depth assessment, and whereas            22   report in relation to today?
    23   reviewing is looking over. Reading is       23        A. One to two weeks ago.
    24   more intense.                               24        Q. Did you review -- strike
                                           Page 43                                          Page 45
     1         Q. You pointed to us -- pointed        1   that.
     2   to us -- strike that.                        2            Did you read all the MSDSes
     3             You pointed to the document        3   that you list in Exhibit Number 5?
     4   that was provided to us this morning,        4        A. I did not read all of the
     5   which you say is -- what I think you said    5   MSDSes. But I did look at them. I
     6   reflects your own literature search with     6   reviewed them to make sure they were
     7   regard to fragrances; is that correct?       7   accurate.
     8         A. Mine and a student.                 8        Q. Did you -- did you look at
     9         Q. What student?                       9   and review every MSDS listed in Exhibit
    10         A. A graduate student in my           10   Number 5?
    11   laboratory.                                 11        A. No, sir.
    12             (Document marked for              12        Q. I'm sorry?
    13         identification as Exhibit             13        A. No, sir.
    14         Zelikoff-5.)                          14        Q. Approximately how many did
    15   BY MR. HEGARTY:                             15   you look at in review?
    16         Q. I've marked as Exhibit             16        A. I would say I looked at
    17   Number 5 the document that was produced     17   perhaps half. Looked -- looked at, not
    18   to us this morning. Can you tell me what    18   reviewed.
    19   Exhibit Number 5 is.                        19        Q. But with regard to your
    20         A. Exhibit Number 5 is -- is a        20   analysis of the fragrances that are
    21   list of the chemicals that -- part of       21   reportedly in Johnson's Baby Powder, you
    22   which, if not in its entirety, were taken   22   did not do any of your own analysis as of
    23   from the fragrances that were -- and the    23   the time of your report, correct?
    24   chemicals that were listed in               24        A. I --
                                                                     12 (Pages 42 to 45)
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     1            MS. O'DELL: Objection to              1            THE WITNESS: I --
     2        the form.                                 2        post-report, I did my own search.
     3            THE WITNESS: I did no                 3   BY MR. HEGARTY:
     4        analysis except to gather the             4        Q. But my question was, before
     5        information that is out there by          5   your report, with regard to Dr. Crowley's
     6        reputable organizations.                  6   report, did you actually pull the
     7   BY MR. HEGARTY:                                7   literature references that he cites and
     8        Q. Well, did you gather that              8   read them yourself?
     9   information before you completed your          9        A. No, sir.
    10   expert report?                                10        Q. You also make reference to
    11        A. I did this after my expert            11   reviewing Dr. Longo's report, MDL report,
    12   report.                                       12   which is dated November 14, 2018. That's
    13        Q. And my question was, before           13   in the last page of Exhibit Number B. Do
    14   your expert report, did you do any of         14   you see that?
    15   your own analysis of the fragrances that      15        A. I -- I see that, yes.
    16   we -- are listed in Exhibit Number 5?         16        Q. Did you read every page of
    17            MS. O'DELL: Objection to             17   that report?
    18        form.                                    18        A. No, sir, I did not. But I
    19            THE WITNESS: I'm not sure            19   did read every page of the December 2018
    20        what you mean by analysis.               20   Longo mass supplement report.
    21   BY MR. HEGARTY:                               21        Q. Well, focusing on the
    22        Q. Well, did you do any of your          22   November 14, 2018, report, that report is
    23   own research, review of the literature,       23   over 2,000 pages. Are you aware of that?
    24   anything with regard to fragrances as of      24        A. Yes, sir.
                                             Page 47                                           Page 49
     1   the time of your signing of your expert        1        Q. Did you read all 2,000
     2   report November 16, 2018?                      2   pages?
     3        A. I very briefly looked up               3        A. No, sir. I did not.
     4   limonene and eugenol. And it wasn't in         4        Q. Did you read any of those
     5   regards to this case. It was in regards        5   2,000 pages?
     6   to work that I do with electronic              6        A. I reviewed several of those
     7   cigarettes. They are being used as             7   pages.
     8   flavorants.                                    8        Q. Okay. How about the rest of
     9        Q. Was that the extent of your            9   the reports that are listed there? Did
    10   review of the fragrances as of the time       10   you read every page of the reports that
    11   of your expert report, November 16, 2018?     11   are listed there?
    12             MS. O'DELL: Object to form.         12        A. I read every page of the
    13        You may answer.                          13   Dr. Thomas Dydek's report. And I read
    14             THE WITNESS: Whatever is in         14   two-thirds of Dr. Plunkett's.
    15        the report from Dr. Crowley that         15        Q. As to the rest, did you
    16        listed, I looked at those.               16   review the remaining reports?
    17   BY MR. HEGARTY:                               17            MS. O'DELL: Object to the
    18        Q. But as you indicated, you             18        form.
    19   did not read all the citations, the           19   BY MR. HEGARTY:
    20   literature resources that Dr. Crowley         20        Q. Or not look at them at all?
    21   cites in his report and review them           21        A. I glanced over them.
    22   yourself?                                     22        Q. Do you recall if you were
    23             MS. O'DELL: Object to the           23   ever provided any draft reports from any
    24        form.                                    24   of the plaintiffs' experts in the MDL,
                                                                       13 (Pages 46 to 49)
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                                   Judith Zelikoff, Ph.D.
                                             Page 50                                          Page 52
     1   where you understood them to be drafts?        1        Q. Is it correct that the
     2        A. I never received anything              2   binders to your right are copies of
     3   that I understood to be a draft document.      3   everything in -- under the listing --
     4            (Document marked for                  4   under the heading of Materials and Data
     5        identification as Exhibit                 5   Considered?
     6        Zelikoff-6.)                              6            MS. O'DELL: Object to the
     7   BY MR. HEGARTY:                                7        form.
     8        Q. Dr. Zelikoff, I'm marking              8            THE WITNESS: I cannot say
     9   Exhibit Number 6 a copy of your                9        that every single paper in here is
    10   deposition notice for purposes of today's     10        in there. Maybe in something that
    11   deposition.                                   11        I have looked up, but I can't say
    12        A. Yes, sir. I see it.                   12        with likely certainty that yes,
    13        Q. Did you have a chance to              13        everything is in there. Although
    14   look at that before today?                    14        I cannot tell you that I reviewed
    15        A. I did not.                            15        every single one and matched it to
    16        Q. What materials did you bring          16        this page.
    17   with you to the deposition today?             17   BY MR. HEGARTY:
    18            MS. O'DELL: I would just             18        Q. Who prepared -- who prepared
    19        reassert that the objections that        19   the document Materials and Data
    20        plaintiffs have served regarding         20   Considered?
    21        certain of the requests and would        21        A. What do you mean by
    22        state that Dr. Zelikoff has              22   prepared?
    23        brought binders of her cited             23        Q. Did you prepare it?
    24        materials, and then I believe I          24            MS. O'DELL: Object to the
                                             Page 51                                          Page 53
     1        gave you a jump drive of all the          1        form.
     2        reference materials.                      2            THE WITNESS: I supplied
     3   BY MR. HEGARTY:                                3        data, references, and in
     4        Q. Let me go back to my                   4        coordination and complementation
     5   question. Sitting to your right are            5        with the plaintiffs' attorneys,
     6   binders of materials. Do you know what         6        they prepared this.
     7   those binders are, Dr. Zelikoff?               7            (Document marked for
     8        A. I do know what those black             8        identification as Exhibit
     9   binders are to my right.                       9        Zelikoff-7.)
    10        Q. What are they?                        10   BY MR. HEGARTY:
    11        A. They are binders containing           11        Q. I'm marking as Exhibit
    12   materials, papers, literature --              12   Number 7 a flash drive that we were
    13   literature, in alphabetical order of          13   provided here today. Do you know what
    14   papers that are relevant to my -- to my       14   Exhibit Number 7 is?
    15   testimony, as well as production              15        A. I do not.
    16   documents which include letters, reports      16        Q. Do you know what's contained
    17   of internal documents.                        17   on the flash drive?
    18        Q. Your Exhibit B in your                18        A. I have not seen the data
    19   report starts with a page Materials and       19   within the flash drive.
    20   Data Considered. Do you see that?             20            MS. O'DELL: I'll just
    21        A. Page please?                          21        represent that I prepared the
    22        Q. It's Exhibit B.                       22        flash drive and the flash drive
    23        A. Materials and data                    23        has all the materials on
    24   considered, I have it, yes, sir.              24        Exhibit B, on behalf of
                                                                       14 (Pages 50 to 53)
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                                   Judith Zelikoff, Ph.D.
                                            Page 54                                           Page 56
     1        Dr. Zelikoff.                            1        Q. You had not read that
     2   BY MR. HEGARTY:                               2   manuscript though at the time you
     3        Q. Are the materials you also            3   completed your report, correct?
     4   cited -- I'm sorry. Are the references        4        A. No, I did not, sir.
     5   you also cited in the body of your report     5        Q. So that manuscript did not
     6   contained in those notebooks to your          6   inform the opinions set out in your
     7   knowledge?                                    7   report, correct?
     8        A. To my knowledge, they are.            8            MS. O'DELL: Objection to
     9        Q. Are the materials that --             9        form.
    10   that are in those notebooks materials you    10            THE WITNESS: Do I answer?
    11   reviewed or had access to prior to           11            MS. O'DELL: Yes, you may
    12   completion of your expert report?            12        answer.
    13        A. Prior to the completion.             13            THE WITNESS: Okay.
    14   However I also prepared my own. So in        14            MS. O'DELL: Yes.
    15   going through -- in coming to my             15            THE WITNESS: I -- I had
    16   conclusion and opinion, I also went          16        access to an abstract from the
    17   through the literature using various         17        same author with emerging results
    18   websites including, as I said Tox Lit,       18        that was brought forward in larger
    19   Google and PubMed. And I arranged my         19        context and in greater detail in
    20   documents that I thought were relevant       20        the publication. So I had -- so
    21   after reviewing all of the ones that came    21        the abstract did go into my
    22   up in my literature search, and I            22        thinking.
    23   reviewed the abstracts and if I found        23   BY MR. HEGARTY:
    24   them to be relevant, I placed them in --     24        Q. The manuscript though we
                                            Page 55                                           Page 57
     1   in order and in bins, in silos, in            1   marked as Exhibit 8 did not go into your
     2   different areas, and I prepared my own.       2   thinking?
     3        Q. We were also provided today,          3        A. The manuscript -- no, sir,
     4   this morning, what I've marked as Exhibit     4   it did not. It did post my report and it
     5   Number 8 which is a manuscript from a         5   added supplementary and compelling
     6   publication called Reproductive Sciences.     6   evidence for my opinion.
     7   The lead author, Ghassam Saed.                7            (Document marked for
     8            (Document marked for                 8        identification as Exhibit
     9        identification as Exhibit                9        Zelikoff-9.)
    10        Zelikoff-8.)                            10   BY MR. HEGARTY:
    11   BY MR. HEGARTY:                              11        Q. I've also marked as Exhibit
    12        Q. Can you tell me when you             12   Number 9 another document we were
    13   received that manuscript?                    13   provided this morning which is -- which
    14        A. I received the manuscript in         14   is called Draft Screening Assessment.
    15   December.                                    15            When did you receive this
    16        Q. Approximately when in                16   draft screening assessment?
    17   December?                                    17        A. January.
    18        A. Let me say that it was               18        Q. Approximately when in
    19   either December or early January. I          19   January?
    20   cannot be more exact than that.              20        A. About two weeks ago.
    21        Q. Have you read that                   21        Q. Who -- what was your source
    22   manuscript?                                  22   for getting that document?
    23        A. Have I -- yes, I've read             23        A. Ms. Emmel.
    24   this manuscript.                             24        Q. Did Ms. Emmel also provide
                                                                      15 (Pages 54 to 57)
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                                   Judith Zelikoff, Ph.D.
                                            Page 58                                           Page 60
     1   the -- the Saed manuscript?                   1   that is a supplement of that or a -- an
     2        A. Yes, sir, she did.                    2   adjacent document.
     3        Q. So neither the Canadian               3        Q. Do you have that document
     4   assessment nor Dr. Saed's manuscript were     4   with you?
     5   materials you found on your own, correct?     5        A. Perhaps. I do, yes, sir.
     6        A. Correct.                              6        Q. May I see it, please.
     7        Q. Do you know how Ms. Emmel             7             (Document marked for
     8   came to receive an unpublished                8        identification as Exhibit
     9   manuscript, apart from any discussions        9        Zelikoff-10.)
    10   that you had with plaintiffs' counsel?       10   BY MR. HEGARTY:
    11        A. Actually, which manuscript           11        Q. I'm going to mark as Exhibit
    12   are you referring to?                        12   Number 10 what you just handed to me,
    13        Q. Well, there's only one               13   which is titled "Systematic Review and
    14   manuscript in front of you?                  14   Meta-Analysis of the Association Between
    15        A. Reproductive Science --              15   Perineal Use of Talc and Risk of Ovarian
    16        Q. Dr. -- yes.                          16   Cancer," lead author Taher.
    17        A. -- Dr. Saed?                         17             When did you receive Exhibit
    18            To my knowledge, this has --        18   Number 10?
    19   and seeing the cover letter that was         19             MS. O'DELL: Did we skip
    20   associated with this, this is not a          20        nine?
    21   manuscript. This is an in-press              21             MR. HEGARTY: Exhibit 9 is
    22   manuscript, and there is a very large        22        the draft screening assessment.
    23   difference.                                  23             MS. O'DELL: Okay. I'm
    24        Q. Okay. Apart from anything            24        sorry. I had that as Number 8.
                                            Page 59                                           Page 61
     1   that counsel for plaintiffs may have told     1            MR. HEGARTY: Number 8 is
     2   you, do you know how this manuscript          2        the manuscript by Dr. Saed.
     3   became available for you to review?           3            MS. O'DELL: Okay. I'm
     4         A. I have no knowledge.                 4        sorry.
     5         Q. With regard to the                   5   BY MR. HEGARTY:
     6   Canadian -- sorry, the draft screening        6        Q. Going back to my question,
     7   assessment, did you read the entirety of      7   when did you receive the article by
     8   this assessment?                              8   Taher?
     9         A. I'm looking for it right             9        A. At the same time that I
    10   now.                                         10   received the health -- the screening
    11         Q. Sorry.                              11   health assessment from Health Canada.
    12         A. Thank you. Except for the           12        Q. Who provided it to you?
    13   references, I read the entirety of the       13        A. Ms. Emmel.
    14   text.                                        14        Q. Did you read the entirety of
    15         Q. Did you pull the references         15   that document?
    16   and review the references themselves?        16        A. I read the entirety of this
    17         A. No, sir, I did not.                 17   document minus the references.
    18         Q. There are also supplemental         18        Q. Did you pull the literature
    19   materials associated with this -- or do      19   cited in the Taher article and review it
    20   you know whether there are supplemental      20   yourself?
    21   materials associated with this draft, or     21        A. I may have looked at
    22   with this draft screening assessment?        22   references that have -- were on the
    23         A. I was also provided a               23   reference list of the Saed document, but
    24   document by Dr. Taher. I'm not sure if       24   I did not go through each individual
                                                                       16 (Pages 58 to 61)
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                                   Judith Zelikoff, Ph.D.
                                            Page 62                                         Page 64
     1   reference in the document and pull it         1         Q. Have you reviewed any
     2   specifically.                                 2   materials since completion of your report
     3         Q. The Taher article -- strike          3   for purposes of your work on this case
     4   that.                                         4   that we have not talked about this
     5             You were provided the Taher         5   morning?
     6   article after you completed your expert       6         A. I reviewed -- since my
     7   report in this case, correct?                 7   report, I reviewed Dr. Pier's deposition.
     8         A. That's correct.                      8   Is that what you mean?
     9         Q. So it's correct that it did          9         Q. Dr. Julie Pier's deposition?
    10   not inform your opinions in your report,     10         A. Yes. Three-quarters of it.
    11   correct?                                     11   It is a very long deposition.
    12         A. It informed my opinions --          12         Q. The second-to-last page of
    13   let me say that it added to my opinions      13   Exhibit Number B under depositions makes
    14   following the writing of my report. It       14   reference to depositions and exhibits of
    15   supported my position.                       15   Julie Pier dated 9/12 to 9/13/2018.
    16         Q. Did the assessment conclude         16             Do you see that?
    17   that talc use causes ovarian cancer?         17         A. Sorry, sir. Fifth line
    18   Strike that. Let me strike that              18   down, deposition/exhibits of Julie Pier.
    19   question. We'll come back to that.           19         Q. Is that the deposition to
    20             (Document marked for               20   which you just referred?
    21         identification as Exhibit              21         A. To the best of my knowledge.
    22         Zelikoff-11.)                          22         Q. Anything else that you have
    23   BY MR. HEGARTY:                              23   reviewed for purposes of your work on
    24         Q. I'm going to mark next as           24   this case that we have not talked about
                                            Page 63                                         Page 65
     1   Exhibit Number 11 a copy of the Exhibit C     1   this morning or made reference to?
     2   that's referenced in your report.             2        A. I reviewed Dr. Hopkins'
     3             Did you prepare Exhibit             3   report.
     4   Number C?                                     4        Q. Let me ask it different.
     5        A. If you mean by preparation,           5   Anything that you have reviewed that's
     6   did I write it, did I prepare the             6   either not listed somewhere in your
     7   summary, no, sir I did not.                   7   report or we have not marked as an
     8        Q. Do you know who prepared it?          8   exhibit?
     9        A. From my reading, it appears           9        A. To the best of my knowledge,
    10   as though the attorneys may have prepared    10   no.
    11   it based upon -- to my knowledge, based      11        Q. With regard to Exhibit C,
    12   upon other deponents.                        12   did you review all the documents that are
    13        Q. Other than the documents             13   referenced in Exhibit Number C?
    14   that we have talked about that are laid      14        A. Can I see that, please.
    15   out before us, did you bring any other       15        Q. I think you still have a
    16   documents with you to the deposition?        16   copy in front of you.
    17        A. Other than the documents             17        A. Okay.
    18   that are to my right in the folders, the     18        Q. It's Exhibit Number 11,
    19   health assessment from the -- the            19   which is marked Exhibit -- which is
    20   screening health assessment from Canada,     20   Exhibit C. Did you actually pull the
    21   Dr. Taher's paper, a letter -- this is in    21   documents and confirm the accuracy of the
    22   the documents to my right, a letter from     22   information --
    23   Luzenac to Dr. Al Wehner, my CV, the         23        A. No, sir.
    24   expert report, Exhibit B, my CV, no, sir.    24        Q. -- contained in Exhibit C?
                                                                      17 (Pages 62 to 65)
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                                  Judith Zelikoff, Ph.D.
                                            Page 66                                           Page 68
     1        A. There are no -- there are no          1   BY MR. HEGARTY:
     2   references in here, as I understand it.       2         Q. You agree that the standard
     3        Q. Well, there are Bates                 3   for proving biologic plausibility or any
     4   numbers --                                    4   other scientific issue in the medical
     5        A. Bates numbers.                        5   literature is the same one that applies
     6        Q. -- that are listed at the             6   in litigation, correct?
     7   right, which correspond to documents,         7             MS. O'DELL: Object to the
     8   correct?                                      8         form. If you know.
     9        A. Yes, but when I -- when I             9             THE WITNESS: Can you repeat
    10   hear references I think of citations,        10         that, please.
    11   papers.                                      11   BY MR. HEGARTY:
    12        Q. Did you actually pull the            12         Q. Sure. You agree that the
    13   documents whose Bates numbers are listed     13   standard for proving biologic
    14   and confirm the accuracy of the              14   plausibility or any other scientific
    15   information contained in Exhibit C?          15   issue in a medical literature or in
    16        A. I did not pull them as part          16   science should be the same that is
    17   of reviewing this exhibit, but I have        17   applied in litigation?
    18   looked at them, because I have gone          18             MS. O'DELL: Object to the
    19   through all of the production documents.     19         form.
    20        Q. With regard to your expert           20             THE WITNESS: I will use the
    21   report in this case, is it correct that      21         same scrutiny and rigor, as I said
    22   you prepared that report -- strike that.     22         before.
    23            With regard to your expert          23   BY MR. HEGARTY:
    24   report it defines the scope of your          24         Q. You would -- you intend to
                                            Page 67                                           Page 69
     1   testimony in this case, correct?              1   apply the same standards to your report
     2            MS. O'DELL: Objection to             2   and your opinions in this case as you
     3        form.                                    3   would apply if you were looking at this
     4            THE WITNESS: Yes, it does.           4   as simply a professor at New York
     5   BY MR. HEGARTY:                               5   University?
     6        Q. And is it correct that the            6        A. Well, I don't see simply a
     7   report was prepared with the same             7   professor.
     8   methodology and approach as you would         8            If I were -- I review
     9   have prepared an article for publication      9   papers. I think I've answered this
    10   in a scientific journal?                     10   already. But I review papers and
    11        A. An article, a grant, a               11   literature with the same scrutiny as I
    12   review, an advisory board report, with       12   prepared this report.
    13   the same rigor and the same scrutiny,        13        Q. Did you apply the same
    14   yes.                                         14   standard for assessing biologic
    15        Q. In other words, is it                15   plausibility as you apply in your work at
    16   correct that you prepared this report in     16   NY University?
    17   the same manner as you had prepared all      17        A. I do.
    18   of your articles for publication?            18        Q. Did you sign your report
    19            MS. O'DELL: Asked and               19   dated November 16, 2018, with the same
    20        answered.                               20   intent as if signed under penalty of
    21            THE WITNESS: I used the             21   perjury?
    22        same methodology, the same              22        A. Could you repeat that
    23        scrutiny and the same rigor to          23   please.
    24        prepare this, yes.                      24        Q. Sure. Did you sign your
                                                                       18 (Pages 66 to 69)
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     1   expert report dated November 16, 2018,         1        that these are my -- my report
     2   with the same intent as if signed under        2        reflects my opinion.
     3   penalty of perjury?                            3   BY MR. HEGARTY:
     4            MS. O'DELL: Object to form.           4        Q. Are they -- are there any
     5            THE WITNESS: I'm not sure I           5   necessary changes, or revisions to your
     6        understand what that question             6   report?
     7        means.                                    7        A. Not to my knowledge.
     8   BY MR. HEGARTY:                                8        Q. And all the opinions that
     9        Q. Well, did you -- by signing            9   you intend to offer in this litigation
    10   this report, did you confirm to the           10   are set out in your report, as you just
    11   accuracy of everything contained in the       11   said, correct?
    12   report?                                       12        A. To come to my decision or my
    13        A. To the best of my knowledge,          13   opinion, prior to -- included all the
    14   I signed this report knowing that I           14   documents that I had in my possession and
    15   prepared this report and there is -- with     15   were -- had access to prior to my report.
    16   the same intent of accuracy and rigor.        16        Q. My question is a little bit
    17        Q. You understand this is                17   different, Doctor. My question is, the
    18   supposed to be your testimony as if on a      18   opinions that you intend to offer as you
    19   stand before a judge or a jury, correct?      19   just indicated, those are set out in your
    20            MS. O'DELL: Object to the            20   report, correct?
    21        form.                                    21        A. The opinions that I intend
    22            THE WITNESS: My                      22   to offer, yes.
    23        understanding of the deposition is       23        Q. As your report shows, you
    24        that it is a legal document and          24   don't intend to offer the opinion that
                                             Page 71                                          Page 73
     1        testifying my -- my opinion. And          1   use of Johnson's Baby Powder or Shower to
     2        that it has to be honest and              2   Shower causes ovarian cancer, correct?
     3        truthful and transparent.                 3        A. My mission, the question
     4   BY MR. HEGARTY:                                4   that I was asked by plaintiff attorney
     5        Q. Well, this time I'm talking            5   was to confer or to assess biological
     6   about your report. Do you understand           6   plausibility in the causation of talc for
     7   your report is supposed to be your             7   ovarian cancer.
     8   testimony as if you are before a judge         8        Q. And as your report shows,
     9   and a jury?                                    9   you did not do a risk assessment or
    10             MS. O'DELL: Object to the           10   Bradford Hill analysis of all the
    11        form.                                    11   literature looking at talc products and
    12             THE WITNESS: I -- I                 12   ovarian cancer, correct?
    13        understand that this has to be           13        A. I think I answered that, but
    14        honest and truthful, and this will       14   I'm not an epidemiologist, and my -- my
    15        be -- could be, will be, the basis       15   question was to look at biological
    16        for my testimony in a court trial,       16   plausibility.
    17        if that is what you're asking.           17        Q. And all the materials that
    18   BY MR. HEGARTY:                               18   you intend to rely upon for purposes of
    19        Q. You understand it's supposed          19   your opinions, are those set out in your
    20   to set out your -- the entirety of your       20   report, those we've talked about here
    21   opinions in this case?                        21   this morning, correct?
    22             MS. O'DELL: Object to the           22        A. Yes, including the
    23        form.                                    23   contributions that were made after my
    24             THE WITNESS: I understand           24   report including Dr. Longo's supplement,
                                                                       19 (Pages 70 to 73)
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                                  Judith Zelikoff, Ph.D.
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     1   including Dr. Saed's paper. They added       1   by more than one investigator, and is a
     2   to my opinion, supplemented them. But it     2   compilation of different points, then
     3   is -- but my -- my opinion stays the same    3   I -- I will use -- I will not necessarily
     4   as the report.                               4   put quotations around it. And I will not
     5         Q. Okay.                               5   necessarily reference it, because it's --
     6             MR. HEGARTY: The next              6   may have been taken from another document
     7         section I have is pretty long. I       7   but it's common knowledge.
     8         don't know if you want to take a       8         Q. What about --
     9         quick break now or just keep           9         A. And it's --
    10         going. It's up to you.                10         Q. I'm sorry. I didn't mean to
    11             MS. O'DELL: We've been            11   interrupt.
    12         going about an hour. I think          12         A. I couldn't -- I'm sorry. I
    13         that's probably a good idea.          13   couldn't write it any better than as it
    14             MR. HEGARTY: Because              14   was put.
    15         otherwise it's not -- there's not     15         Q. What about if you take
    16         going to be a good break time. So     16   materials from a published article for
    17         we should probably do it now.         17   purposes of your report, did you
    18             MS. O'DELL: Well, we can          18   reference those articles?
    19         definitely do it now, but we'll --    19         A. In some cases, not. Again,
    20         of course we'll break when the        20   it's my opinion that if there is
    21         witness needs to break.               21   something that is stated by an
    22             MR. HEGARTY: Understood.          22   investigator and it's written extremely
    23         Understood. But you know what I       23   well, and it's common knowledge for
    24         mean.                                 24   scientists in that area, as well as
                                           Page 75                                         Page 77
     1             MS. O'DELL: Yeah.                  1   others, then I will -- I will use it.
     2             THE VIDEOGRAPHER: Stand by         2         Q. That's not how you prepare
     3         please. The time is 10:11 a.m.         3   your report -- that's not how you prepare
     4         Off the record.                        4   your articles for journals though,
     5             (Short break.)                     5   correct?
     6             THE VIDEOGRAPHER: We are           6         A. No, that's the same way I
     7         back on the record. The time is        7   prepare them.
     8         10:26 a.m.                             8             If they are -- if they are,
     9   BY MR. HEGARTY:                              9   again, common knowledge, I will not
    10         Q. Dr. Zelikoff, with regard to       10   necessarily cite them.
    11   your expert report, do you have that in     11         Q. Is it not your approach that
    12   front of you?                               12   authors are to cite material to which
    13         A. I do now. Thank you.               13   they are relying on or referring to in
    14         Q. We marked that as exhibit          14   published articles?
    15   what?                                       15         A. Again, I think you're asking
    16         A. Exhibit 2.                         16   me the same question. But again, if
    17         Q. With regard to Exhibit             17   something is well known, then I do not
    18   Number 2, is it your testimony that all     18   necessarily reference it.
    19   of the sentences in your report are your    19         Q. What is the definition --
    20   own words and not copied from others,       20   what is your definition of well known?
    21   except where you used quotations?           21         A. For example, if chromium --
    22         A. Mm-hmm. The way I report           22   let's use nickel instead. If nickel is
    23   and write publications is if something      23   being spoken about by IARC, by U.S. EPA,
    24   is, I feel, common knowledge or provided    24   by National Toxicology Program, and
                                                                     20 (Pages 74 to 77)
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                                   Judith Zelikoff, Ph.D.
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     1   they're all saying the same thing, I in        1         Q. Is that not -- is that a
     2   some cases may take what the IARC has          2   definition you agree with?
     3   said and put it in my reference.               3         A. I agree that there's ways to
     4         Q. And it's your testimony that          4   interpret that.
     5   you do that in all -- you've done that in      5         Q. Is that -- is that the
     6   all the articles that you've ever              6   definition New York University applies to
     7   published?                                     7   its students?
     8             MS. O'DELL: Objection to             8         A. This sentence, "Presenting
     9         form.                                    9   others' work without adequate
    10             THE WITNESS: I can't say            10   acknowledgment of its source as though it
    11         about all the articles. I               11   were one's own," that is for students.
    12         published over 130 --                   12   That is not what I'm doing in my opinion.
    13             MR. HEGARTY: Mark --                13            In my opinion, I'm taking
    14             THE WITNESS: --                     14   common knowledge and presenting it.
    15         publications and book chapters.         15         Q. Well, they go on to give
    16             (Document marked for                16   examples of plagiarism that include, "A
    17         identification as Exhibit               17   sequence of words incorporated without
    18         Zelikoff-12.)                           18   quotation marks."
    19   BY MR. HEGARTY:                               19            Do you see where I'm
    20         Q. Let me mark as Exhibit               20   reading?
    21   Number 12 the academic integrity for          21         A. I do see it. "A sequence of
    22   students at NYU policy. Is this the           22   words incorporated without quotation
    23   policy applicable to your university?         23   marks."
    24         A. It appears to be that you've         24         Q. It also says that,
                                             Page 79                                          Page 81
     1   taken it off the website in the academic       1   "Plagiarism is an unacknowledged passage
     2   integrity for students at NYU.                 2   paraphrased from another's work."
     3        Q. If you turn to the second              3            Do you see that?
     4   page, there is a definition of                 4        A. Some examples of plagiarism,
     5   plagiarism, that says, "Presenting             5   "Unacknowledged passage rephrased from
     6   others' works without adequate                 6   another's work."
     7   acknowledgment of its source as though it      7        Q. Do you agree those are --
     8   were one's own."                               8   the two definitions that I just read from
     9        A. I'm sorry.                             9   your university's own policy for students
    10        Q. Do you agree with that                10   are examples of plagiarism?
    11   definition?                                   11        A. This is the NYU
    12        A. I'm sorry. What --                    12   interpretation or what they've put on the
    13        Q. Second page of Exhibit 12.            13   website, yes.
    14        A. You mean on the back? Is it           14        Q. Should this be a policy --
    15   under Number 2, Number 1?                     15   strike that.
    16        Q. Number 1. The definition of           16            Is this a policy that
    17   plagiarism by your university for your        17   applies to students at NY university?
    18   students is, "Presenting others' work         18        A. It applies -- it's an
    19   without adequate acknowledgement of its       19   academic integrity for students at NYU.
    20   source as though it were one's own."          20        Q. Do you agree that professors
    21            Do you agree with that --            21   at NY university should also conform to
    22   that definition?                              22   this policy?
    23        A. I agree that there's many             23        A. I believe that honesty,
    24   different ways to interpret that.             24   transparency is the key factor for all
                                                                       21 (Pages 78 to 81)
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     1   scientists at any level.                      1         Q. Do you know who Shawn Levy
     2        Q. You would agree that this             2   is?
     3   should apply to your work as well,            3        A. I do not.
     4   correct?                                      4        Q. Did you review Dr. Levy's
     5        A. I think that this definition          5   report for purposes of your -- preparing
     6   is open to interpretation.                    6   your report in this case?
     7        Q. Well, do you either agree or          7        A. I actually looked at it, but
     8   disagree that this -- well, strike that.      8   did not -- did not read it.
     9            Do you agree that this               9        Q. When did you have a chance
    10   policy should be applied to your work in     10   to look at his expert report?
    11   this case?                                   11        A. I have looked at it -- I'm
    12        A. I agree that plagiarism is           12   trying to gather the knowledge. I
    13   defined as presenting others' work           13   actually do not recall when I looked at
    14   without adequate acknowledgment of its       14   it.
    15   source as though it were one's own.          15        Q. If you look at your report
    16   That's the NYU policy for students.          16   on Page 20. In that exhibit, Doctor.
    17        Q. Did you -- you did that in           17        A. Oh okay.
    18   your own report, correct?                    18        Q. Your report and the portion
    19            MS. O'DELL: Object to form.         19   of Dr. Levy's report is attached, and if
    20            THE WITNESS: I did what in          20   you look at your report Page 20 and his
    21        my own report?                          21   report Page 5 --
    22   BY MR. HEGARTY:                              22             MS. O'DELL: I think, Mark,
    23        Q. You plagiarized portions of          23        I think there's confusion because
    24   other people's work without proper           24        there's two documents put together
                                            Page 83                                            Page 85
     1   acknowledgment, correct?                      1       in this --
     2            MS. O'DELL: Objection to             2           MR. HEGARTY: Right. One is
     3        form.                                    3       her report and one is Levy's
     4            THE WITNESS: That is                 4       report.
     5        totally incorrect.                       5           MS. O'DELL: I just think
     6            I used sentences from other          6       that that was the confusion.
     7        people's -- other people's papers        7           THE WITNESS: Thank you.
     8        because they were common knowledge       8   BY MR. HEGARTY:
     9        and contributed by multiple              9       Q. So the -- do you see that
    10        authors. And it was --                  10   sentences marked as 1 and 2 from
    11   BY MR. HEGARTY:                              11   Dr. Levy's report are identical to
    12        Q. I'm going to mark -- sorry.          12   sentences marked 1 and 2 in your report?
    13        A. And it was stated in a way           13           MS. O'DELL: Object to form.
    14   that I couldn't have stated better.          14           And, Doctor, if you need to
    15        Q. I'm going to mark as                 15       take the documents apart and
    16   Exhibit 13 a report -- a portion of your     16       compare them, rather than flipping
    17   report dated November 16, 2018. And the      17       back and forth, if that would be
    18   back of that is a portion of Rule 26         18       helpful to you, feel free to do
    19   expert report of an expert by the name of    19       that.
    20   Shawn Levy.                                  20           THE WITNESS: Good idea. I
    21            (Document marked for                21       actually don't recall. Could
    22        identification as Exhibit               22       you -- could you tell me when my
    23        Zelikoff-13.)                           23       report is dated please?
    24   BY MR. HEGARTY:                              24   BY MR. HEGARTY:
                                                                       22 (Pages 82 to 85)
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                                    Judith Zelikoff, Ph.D.
                                             Page 86                                           Page 88
     1        Q. November 16. His report is             1   from either Dr. Levy's report or from
     2   also dated November 16.                        2   somewhere -- some other source?
     3        A. I did not actually see this            3        A. The thoughts are the same.
     4   report until after mine.                       4   The words seem to be identical. And
     5            However, let me address your          5   again, if you interpret that one way and
     6   question to the best of my ability.            6   I interpret it another, I certainly do
     7            "Things stated as both                7   not interpret it as plagiarism.
     8   inherited and acquired gene mutations          8        Q. Let me show you another
     9   work together to cause cancer."                9   example.
    10            Everyone from the time of            10            (Document marked for
    11   their scientific career back in college       11        identification as Exhibit
    12   knows that.                                   12        Zelikoff-14.)
    13            "While genetic testing" --           13   BY MR. HEGARTY:
    14   let me make sure I have both -- "both         14        Q. I'm going to mark as
    15   inherited and acquired gene mutations         15   Exhibit 14, again a portion of your
    16   work together to cause cancer."               16   report Page 12 and a portion of a report
    17            How -- there is no way for           17   by Rebecca Smith-Bindman. Do you know
    18   me to say that differently. This is a         18   who that is?
    19   very well statement, very well put            19        A. Not at all.
    20   statement. I used it without a                20        Q. Did you see her report in
    21   reference. Even if one --                     21   this case before preparing your report?
    22        Q. My question -- I'm sorry. I           22        A. I never looked at her
    23   thought you were finished.                    23   report.
    24        A. "Even if one has inherited a          24        Q. If you would look at the two
                                             Page 87                                           Page 89
     1   genetic mutation that predisposes one's        1   reports side by side under the
     2   chances, doesn't mean he or she has to         2   definition -- under the heading
     3   get cancer." Again, common knowledge           3   Fragrances --
     4   from everyone.                                 4        A. I'm sorry, I don't have her
     5        Q. Well, Dr. Zelikoff, my                 5   report.
     6   question is different than that.               6        Q. You have one page of her
     7            My question is, can you               7   report in that exhibit. You have the --
     8   explain to us here today, given that you       8   the front page and the one page of her
     9   did not see Dr. Levy's report until after      9   report, and you have Page 12 of your
    10   you completed your report, how you have       10   report, correct?
    11   several identical sentences between your      11        A. I see. Correct.
    12   report and Dr. Levy's report?                 12        Q. Do you see that the section
    13            MS. O'DELL: Object to the            13   under the heading Fragrances is identical
    14        form.                                    14   between the two reports?
    15   BY MR. HEGARTY:                               15        A. Yes. They are identical
    16        Q. Dr. Levy's report.                    16   wording.
    17        A. I cannot -- I -- I don't              17        Q. And none of those sentences
    18   know. The only -- what I can say is that      18   are common knowledge, correct?
    19   there was likely a publication. But that      19            MS. O'DELL: Object to the
    20   is speculation, because I have not looked     20        form.
    21   that over.                                    21            THE WITNESS: It's a
    22        Q. But is it your testimony              22        statement.
    23   here today that the words in your report      23   BY MR. HEGARTY:
    24   were solely your own words and not taken      24        Q. But it's not common
                                                                        23 (Pages 86 to 89)
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     1   knowledge, correct, Doctor?                  1        Q. Sure. Is it your testimony
     2       A. But it's a -- it is -- there          2   that the words in your report under
     3   are more than 150 different chemicals        3   section -- under the section Fragrances
     4   added to Johnson's Baby Powder and Shower    4   are your words and your words alone from
     5   to Shower products. I reviewed the           5   no other source?
     6   expert report from Dr. Crowley that          6            MS. O'DELL: Object to the
     7   concludes that some of these chemicals       7        form.
     8   may contribute to the inflammatory           8            THE WITNESS: I don't quite
     9   response, toxicity, and potential            9        understand what you mean by no
    10   carcinogenicity. I concur with his          10        other source.
    11   opinion.                                    11            These are my words. They
    12           I say the same thing as             12        confer my opinion.
    13   Dr. Smith-Bindman.                          13   BY MR. HEGARTY:
    14       Q. Is it your testimony that            14        Q. Well, did you copy those
    15   you and Dr. Smith-Bindman came to the       15   words from some source besides
    16   exact same words just by coincidence?       16   Smith-Bindman's report?
    17           MS. O'DELL: Object to the           17        A. I did not copy words. I --
    18       form.                                   18   I don't know how this happened.
    19           THE WITNESS: We came to the         19            If I was in error, I own
    20       same conclusions.                       20   that responsibility.
    21   BY MR. HEGARTY:                             21            (Document marked for
    22       Q. That's not my question. My           22        identification as Exhibit
    23   question is, is it your testimony here      23        Zelikoff-15.)
    24   today that you and Dr. Smith-Bindman came   24   BY MR. HEGARTY:
                                          Page 91                                           Page 93
     1   to the exact -- to say the exact same        1        Q. I'm going to show you what
     2   thing under the section Fragrance simply     2   I'm next marking as Exhibit 15.
     3   by coincidence?                              3            MS. O'DELL: Is this one
     4            MS. O'DELL: Objection to            4        exhibit?
     5        form.                                   5            MR. HEGARTY: That's one
     6            THE WITNESS: I don't do             6        exhibit.
     7        anything usually by coincidence.        7   BY MR. HEGARTY:
     8   BY MR. HEGARTY:                              8        Q. Doctor, Exhibit Number 15 is
     9        Q. Okay. Is it your testimony           9   again a portion of your report, and also
    10   that the words that you wrote under the     10   attached to it is a reference from
    11   section Fragrances on Page 12 are your      11   Genetics Home Reference dated June 27,
    12   words and came from nowhere else?           12   2017. Do you see both documents?
    13        A. I don't quite understand            13        A. I do see both documents.
    14   where they could have come from because I   14        Q. We have highlighted and
    15   did not review her report.                  15   numbered in Exhibit 15 the portions from
    16        Q. Is it your testimony that           16   your report which are taken word for word
    17   the words in your report under the          17   from Genetics Home Reference without a
    18   section Fragrances are your words and       18   single reference to that authority
    19   your words alone from no other source?      19   anywhere in your report, including in the
    20            MS. O'DELL: Object to the          20   materials considered or reviewed.
    21        form.                                  21            MS. O'DELL: Objection.
    22            THE WITNESS: Could you             22   BY MR. HEGARTY:
    23        please repeat the question?            23        Q. Do you see that?
    24   BY MR. HEGARTY:                             24            MS. O'DELL: Objection to
                                                                     24 (Pages 90 to 93)
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     1        form.                                     1   your report in this case?
     2             And -- and, Doctor, take a           2       A. I may have used -- it
     3        moment to review both, because the        3   appears that I have used the same words.
     4        way this is put together is a             4           And if I did that, which it
     5        little confusing.                         5   appears that I have, then I've done it
     6             THE WITNESS: I see what              6   with the intent to get those same points
     7        you're referring to.                      7   across.
     8   BY MR. HEGARTY:                                8       Q. But you do agree that you
     9        Q. And did you copy, for                  9   have included in your report a sequence
    10   purposes of your report, without citation     10   of words incorporated from another source
    11   to this authority, the words that we've       11   without quotation marks, correct?
    12   identified from this reference to Genetic     12           MS. O'DELL: Objection to
    13   Home Reference?                               13       form.
    14             MS. O'DELL: Objection to            14           THE WITNESS: I don't use --
    15        the form.                                15       I don't usually use quotation
    16             THE WITNESS: So when you            16       marks.
    17        have things like, "Inherited             17   BY MR. HEGARTY:
    18        mutations are passed down from           18       Q. Well, you have used other
    19        parent to child and are present          19   people's words without acknowledging
    20        throughout a person's life in            20   where they came from, correct?
    21        virtually in every cell of the           21           MS. O'DELL: Object to the
    22        body." Biology 101, basically,           22       form.
    23        where that came from.                    23           THE WITNESS: I could have
    24             "These mutations are called         24       used quotation marks. And if I
                                             Page 95                                          Page 97
     1        germ line mutations because               1        were to do this over, I would use
     2        they're present in the parents'           2        quotation marks.
     3        egg or sperm, a germ cell."               3   BY MR. HEGARTY:
     4            Yes, some of these sentences          4        Q. You're not telling us,
     5        appear to be the same as what is          5   Doctor, that if you prepared an article
     6        in here.                                  6   for publication in a journal, that you
     7            However, again, I stand on            7   would take references from another source
     8        the fact that all of these -- all         8   like Genetic Home Reference, include them
     9        of my statements are common               9   in the article, verbatim, not use
    10        knowledge that have come from            10   quotation marks and not reference that
    11        numerous references. Although the        11   cite. Is that what you're saying?
    12        words may be the same, the               12             MS. O'DELL: Objection to
    13        thoughts are -- are said as well         13        form.
    14        as they can be said.                     14             THE WITNESS: I'm standing
    15   BY MR. HEGARTY:                               15        on my interpretation, and that is
    16        Q. Dr. Zelikoff, have you ever           16        that in a reference that I would
    17   seen this reference to Genetic Home           17        prepare in a publication, it would
    18   Reference before right now?                   18        be accepted for peer review if
    19        A. Not to my knowledge.                  19        there was something that I felt
    20        Q. So is it your testimony that          20        was common knowledge, that I would
    21   you did not copy the words from Genetic       21        not reference it.
    22   Home Reference that we have highlighted       22             To your point, if I had to
    23   that correspond by number to the portions     23        do this over, I would have put
    24   in your report for purposes of preparing      24        quotation marks around this.
                                                                       25 (Pages 94 to 97)
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     1   BY MR. HEGARTY:                              1        will not -- this is the -- what
     2        Q. You would have cited to the          2        you gave me was an interpretation,
     3   authority, as well, from which that --       3        was NYU policy, an interpretation
     4   those passages were lifted, correct?         4        of that, which is not the same as
     5            MS. O'DELL: Objection to            5        mine.
     6        form.                                   6   BY MR. HEGARTY:
     7            THE WITNESS: I certainly            7        Q. Well, you do agree, though,
     8        could if that was a concern from        8   that between the -- your report, the
     9        the journal or from the reviewer,       9   portions taken from your report and the
    10        then I would definitely put in the     10   Genetic Home Reference reference are
    11        reference.                             11   identical?
    12   BY MR. HEGARTY:                             12            MS. O'DELL: Object to the
    13        Q. If a student had prepared           13        form.
    14   this, and you became aware that the         14            THE WITNESS: I agree that
    15   student had lifted portions from Genetic    15        there are sentences that are
    16   Home Reference without any citation,        16        identical. Yes.
    17   without acknowledging where it came from,   17   BY MR. HEGARTY:
    18   would that be okay with you?                18        Q. You did not acknowledge that
    19            MS. O'DELL: Objection to           19   source anywhere in your report, correct?
    20        form.                                  20        A. If you say so.
    21            THE WITNESS: There are --          21        Q. Do you think that's okay to
    22        this is a large document. And in       22   do that?
    23        order for something to be copied       23            MS. O'DELL: Objection to
    24        or, as you put it, plagiarized,        24        form.
                                           Page 99                                         Page 101
     1        there has to be a certain amount        1            THE WITNESS: If I had not
     2        or percentage of the document that      2        thought it was okay, I would not
     3        has to be the same.                     3        have done it.
     4             And this document, my              4   BY MR. HEGARTY:
     5        report, is quite large. So if a         5        Q. Would that -- would that be
     6        student prepared this, and their        6   acceptable for purposes of publishing
     7        term paper, for example, was 50         7   your report?
     8        pages, I would let them know that       8            MS. O'DELL: Objection to
     9        if prepared the next time they          9        the form.
    10        might want to put in a reference.      10            THE WITNESS: My opinion
    11             But I would have to look at       11        stands. And that is my
    12        the entire size of the document        12        interpretation of what is okay to
    13        and the percentage of it which had     13        do based on common knowledge and
    14        similar -- similar statements and      14        multiple sources, stands the same.
    15        sentences.                             15   BY MR. HEGARTY:
    16   BY MR. HEGARTY:                             16        Q. If you were to publish your
    17        Q. You do agree that under the         17   report, as it is, would you go back and
    18   policy we marked, we're talking about       18   use quotation marks and cite the
    19   what you did with regard to this Genetics   19   reference that we just looked at --
    20   Home Reference cite, meets the definition   20        A. If I had --
    21   of plagiarism?                              21        Q. -- Exhibit Number 16?
    22             MS. O'DELL: Objection to          22            MS. O'DELL: Excuse me,
    23        form.                                  23        Doctor. Just let him finish.
    24             THE WITNESS: I certainly          24            THE WITNESS: Of course.
                                                                    26 (Pages 98 to 101)
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     1        I'm sorry.                              1        increased release of ROS."
     2            MS. O'DELL: Thank you. And          2            That is a very common --
     3        just give me a moment to object.        3        commonly known point.
     4        Thank you.                              4   BY MR. HEGARTY:
     5   BY MR. HEGARTY:                              5        Q. How about Point Number 4 in
     6        Q. Did you hear my question?            6   the abstract?
     7        A. Could you repeat your                7        A. As --
     8   question, please?                            8        Q. That's -- is it your
     9        Q. Sure. If you were to                 9   testimony that Point Number 4 in the
    10   publish a report as it is, would you go     10   abstract is what you consider common
    11   back and use quotation marks and cite the   11   knowledge?
    12   reference that we just looked at in         12        A. "Activation of the
    13   Exhibit Number 16?                          13   transcription factors can lead to the
    14        A. Now that you've pointed out         14   expression of over 500 genes, including
    15   your interpretation of it, I would          15   more for growth factors." And I'm going
    16   certainly consider that.                    16   to read the entire abstract.
    17            (Document marked for               17            Actually this is a review
    18        identification as Exhibit              18   paper. And this is not a unique finding
    19        Zelikoff-16.)                          19   to this particular author.
    20   BY MR. HEGARTY:                             20            And thus "Activation of
    21        Q. Let me show you what I'm            21   transcription factors," again as I read,
    22   next marking as Exhibit Number 16.          22   is an outcome of many, many authors. And
    23            MS. O'DELL: I'll reach             23   as I said, is a review paper, not a
    24        over, instead of you throwing it.      24   unique investigator-initiated outcome.
                                          Page 103                                       Page 105
     1   BY MR. HEGARTY:                              1        Q. You keep referring to common
     2        Q. This is another portion of           2   knowledge. Who is -- who has this common
     3   your report which we've correspondingly      3   knowledge?
     4   referenced to an article by Simone           4        A. People who read scientific
     5   Reuter. And you can see where we've          5   journals.
     6   identified six different times where         6        Q. So is it your testimony that
     7   sentences have been copied verbatim from     7   someone who would read your report would
     8   this article without any quotation or any    8   understand that that is not -- those are
     9   acknowledgment of its -- of the source.      9   not your words but taken from
    10             Do you see that?                  10   somewhere -- somewhere else?
    11             MS. O'DELL: Object --             11            MS. O'DELL: Object to the
    12        excuse me. Object to the form.         12        form.
    13        Feel free to review it, the            13            THE WITNESS: It would
    14        reference or the exhibit. There        14        depend upon who is reading it.
    15        are two things paper clipped           15   BY MR. HEGARTY:
    16        together, if you need to look at       16        Q. Can you cite for me any
    17        it in more detail.                     17   publication that you have ever written
    18             THE WITNESS: Again, there         18   where you have cited another authority
    19        are sentences such as, "During         19   word for word and did not use quotation
    20        inflammation macrophages, mast         20   marks and did not reference that
    21        cells, and neutrophils were            21   authority?
    22        recruited at the site of damage,       22        A. Not off the top of my head.
    23        leads to a respiratory burst and       23        Q. But you did do that in your
    24        increased uptake of oxygen, and an     24   expert report in this case, correct?
                                                                 27 (Pages 102 to 105)
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                                  Judith Zelikoff, Ph.D.
                                          Page 106                                        Page 108
     1            MS. O'DELL: Object to the           1            MS. O'DELL: Object to the
     2        form.                                   2        form.
     3            THE WITNESS: It appears             3            THE WITNESS: Yes, I see
     4        from what you're showing me, that       4        what you're saying.
     5        in my interpretation of common          5   BY MR. HEGARTY:
     6        knowledge and multiple -- multiple      6        Q. And nowhere in your report
     7        investigators, I have done that,        7   do you give acknowledgment to
     8        yes.                                    8   EnvironmentalChemistry.com as a source of
     9            (Document marked for                9   the information that you copied, correct?
    10        identification as Exhibit              10            MS. O'DELL: Object to the
    11        Zelikoff-17.)                          11        form.
    12   BY MR. HEGARTY:                             12            THE WITNESS: I do say the
    13        Q. I'm going to mark next              13        U.S. EPA defines asbestos by
    14   Exhibit Number 17, another portion of       14        limiting the term to six specific
    15   your report where you, again, take          15        fibrous minerals from two distinct
    16   sentences from a publication called         16        groups. And I go on from there.
    17   EnvironmentalChemistry.com.                 17        That is a referral to the U.S.
    18            You cite them word for word        18        EPA.
    19   in your report and you make no reference    19   BY MR. HEGARTY:
    20   anywhere in your report to this             20        Q. Doctor, nowhere in your
    21   authority.                                  21   report, in those notebooks or anywhere do
    22        A. I said --                           22   you cite to EnvironmentalChemistry.com,
    23            MS. O'DELL: Excuse me.             23   do you?
    24        Excuse Me, Doctor. Excuse me.          24            MS. O'DELL: Object. Object
                                          Page 107                                        Page 109
     1            MR. HEGARTY: I'm not                1        to the form.
     2        finished with my question.              2            THE WITNESS: Not to my
     3            MS. O'DELL: I thought you           3        knowledge.
     4        were finished with your question.       4        EnvironmentalChemistry.com, I
     5            MR. HEGARTY: Because I just         5        don't even recall reviewing it.
     6        made a statement.                       6   BY MR. HEGARTY:
     7            MS. O'DELL: Well, I object          7        Q. But don't you agree that you
     8        to the statement. You ask your          8   would have had to review it based on the
     9        question, and I'll probably object      9   fact that there are identical sentences
    10        to that.                               10   taken from -- that are identical
    11            But give me a chance, the          11   sentences, in Environmental Chemistry and
    12        two of you, please.                    12   in your report?
    13   BY MR. HEGARTY:                             13            MS. O'DELL: Object to the
    14        Q. Let me -- Doctor, this --           14        form.
    15   the reference that we have here in the      15            THE WITNESS: This -- again,
    16   Exhibit Number 17 is to a website called    16        this information is common
    17   EnvironmentalChemistry.com. Did you         17        knowledge. This is not a creation
    18   review this website in preparing your       18        of EnvironmentalChemistry.com.
    19   report?                                     19        They are not an individual
    20        A. I don't recall.                     20        investigator finding this data.
    21        Q. Do you see where we make            21        They are reporting this data on
    22   reference to five different places where    22        the internet for people's review.
    23   you copied word for word from               23   BY MR. HEGARTY:
    24   EnvironmentalChemistry.com?                 24        Q. Is
                                                                 28 (Pages 106 to 109)
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                                         Page 110                                         Page 112
     1   EnvironmentalChemistry.com a reliable       1   published methodology which says that
     2   authority?                                  2   your interpretation of what you are to
     3            MS. O'DELL: Object to the          3   quote and what you are to cite in an
     4       form.                                   4   article is an accepted methodology in
     5            THE WITNESS: I have no             5   publishing scientific literature?
     6       idea -- sorry.                          6        A. It's my professional opinion
     7            MS. O'DELL: Go ahead.              7   after 30 years of work.
     8            THE WITNESS: I have no idea        8        Q. Well, can you cite for me
     9       of the impact factor or the             9   any published authority that says your
    10       reliability of this. However, in       10   definition of what you are to cite and
    11       talking about this, and saying the     11   what you are to reference is the
    12       things that I -- that you have         12   definition that's applicable to medical
    13       said I have used identically,          13   literature?
    14       which appear to be the case --         14             MS. O'DELL: Objection to
    15       "while amphibole and serpentine        15        form.
    16       asbestos may have fibrous habits,      16             THE WITNESS: I have never
    17       they have very different forms.        17        been accused or cited by any
    18       Amphibole are double-chain             18        publication in any of my 135
    19       silicates."                            19        papers or my over 30 book chapters
    20            This is known in the              20        of having anything that was of a
    21       asbestos -- in the asbestos            21        dubious nature, ever.
    22       literature. And the basic              22   BY MR. HEGARTY:
    23       structural unit is silicone oxide.     23        Q. That's not my question. My
    24       This is not Environmental              24   question was can you cite for me any
                                         Page 111                                         Page 113
     1      Chemistry's individual                   1   written authority that says that in
     2      investigator initiated.                  2   publishing medical literature, if you're
     3           I think you may be confusing        3   citing what you call general knowledge
     4      an individual paper where an             4   word for word from another source, you
     5      investigator sits down in the            5   don't have to quote it and you do not
     6      laboratory and works out or comes        6   have to give it any reference.
     7      up with a fact and that it's his.        7         A. Just my professional opinion
     8      As opposed to data that's just out       8   of 30 years of work.
     9      there in the internet, out there         9         Q. Okay. And in a -- and
    10      in the world, out there in book         10   you've never done that in any medical
    11      chapters, out there everywhere,         11   article you -- any article you have
    12      that people know.                       12   published, correct?
    13           This is not an investigator        13         A. I cannot -- I cannot speak
    14      initiated, whether it's                 14   to all.
    15      EnvironmentalChemistry.com.             15         Q. Well, if you were to write a
    16           So I will -- I will say to         16   medical article -- a scientific article
    17      you that in many cases, I did use       17   today, and you were to quote something
    18      the same sentence. Certainly            18   from -- take something word for word from
    19      EnvironmentalChemistry.com is not       19   EnvironmentalChemistry.com, is it your
    20      an investigator-initiated point of      20   testimony you wouldn't give any reference
    21      reference. It's just facts that         21   to it or wouldn't use quotation marks?
    22      are supported by other experts.         22             MS. O'DELL: Object to the
    23   BY MR. HEGARTY:                            23         form.
    24      Q. Can you cite for me any              24             THE WITNESS: I -- I stand
                                                                 29 (Pages 110 to 113)
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                                   Judith Zelikoff, Ph.D.
                                           Page 114                                          Page 116
     1         on the opinion that I have, that        1   that you have copied verbatim from that
     2         it would be common knowledge.           2   publication without giving any
     3   BY MR. HEGARTY:                               3   acknowledgment to Dr. Rakoff-Nahoum or
     4         Q. That's not my question. My           4   use any quotation marks. Do you see
     5   question is if you were to write an           5   that?
     6   article today and you were to cite            6            MS. O'DELL: Object to the
     7   Environmental.com word for word, is it        7        form.
     8   your testimony you would not quote            8            THE WITNESS: So on Page 124
     9   that -- those words or give any reference     9        of the review by Seth
    10   or acknowledgment to environmental --        10        Rakoff-Nahoum -- Nahoum, if you
    11   to --                                        11        look on -- under cancer and
    12         A. EnvironmentalChemistry.com.         12        inflammation, and one of the
    13         Q. EnvironmentalChemistry.com?         13        points that you make here -- and
    14             MS. O'DELL: Object to the          14        by the way, this is a review
    15         form.                                  15        paper, again not an independent
    16             THE WITNESS: I would do the        16        investigator-initiated data from
    17         same thing I've done for this          17        the laboratory -- "Epidemiological
    18         report.                                18        evidence points to a connection
    19   BY MR. HEGARTY:                              19        between inflammation and" -- "and
    20         Q. Okay. And is that true for          20        predisposition for the development
    21   every resource that we've looked at so       21        of cancer, i.e., long-term
    22   far? You would -- if you were to write a     22        inflammation leads to the
    23   scientific journal today, you would --       23        development of dysplasia," there's
    24   and quoted from all those resources, you     24        no reference there.
                                           Page 115                                          Page 117
     1   would not use quotation marks and you         1            So this author also,
     2   would not give any acknowledgment in          2        Dr. Rakoff-Nahoum -- sorry, I'm
     3   any -- if you were to write a scientific      3        murdering his name -- also gives
     4   article today?                                4        no reference to that.
     5             MS. O'DELL: Object to form.         5            Again, in this case, using
     6        Misstates her testimony.                 6        my analogy of something that has
     7             THE WITNESS: I -- I did say         7        been gathered by numerous other
     8        that there are certain cases that        8        investigators and is common
     9        if I had to do it over and based         9        knowledge to the -- to the
    10        upon your rigorous opinion of           10        scientific population, he did also
    11        this, that I would place quotation      11        not use a reference. And I did
    12        marks or add a reference, yes.          12        not use a reference.
    13             (Document marked for               13   BY MR. HEGARTY:
    14        identification as Exhibit               14        Q. But if -- but if you look at
    15        Zelikoff-18.)                           15   his -- the last reference, Number 4, he
    16   BY MR. HEGARTY:                              16   does acknowledge a resource for all of
    17        Q. I'm going to show you what           17   those statements, Resource 20 in the
    18   I'm next marking as Exhibit 18.              18   publication, correct?
    19             This is another portion of         19            MS. O'DELL: Objection.
    20   your report. In addition to that             20            Could you provide, if you're
    21   exhibit -- or with that exhibit is a         21        going to use this exhibit, provide
    22   reference to a publication by                22        the full manuscript that
    23   Rakoff-Nahoum, where you again made          23        identifies Resource 20.
    24   references to four different sentences       24            (Document marked for
                                                                   30 (Pages 114 to 117)
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                                   Judith Zelikoff, Ph.D.
                                           Page 118                                        Page 120
     1        identification as Exhibit                1   publication by OSHA for purposes of your
     2        Zelikoff-20.)                            2   report. Do you see that?
     3   BY MR. HEGARTY:                               3            MS. O'DELL: Objection to
     4        Q. I'll mark as 20, the                  4       form.
     5   entirety of the Rakoff-Nahoum article,        5            THE WITNESS: I do see what
     6   which does include 20, which is a             6       you're pointing to. I also will
     7   reference to Hussain, "Radical Causes of      7       tell you that Point 1 that you
     8   Cancer."                                      8       point out in the OSHA United
     9        A. Citation 20 in Exhibit 20 is          9       States Department of Labor, on
    10   also a review paper, and none of these       10       hexavalent chromium, which is off
    11   references are going back to the             11       the internet, adverse health
    12   independent investigator who actually        12       effects associated, yes, I used
    13   said this.                                   13       adverse health -- health effects
    14             So these are reviewed in.          14       other than cancer, and then I had
    15   Again, standing by my opinion that           15       these different words.
    16   oftentimes in review articles which --       16            I'm just explaining what I
    17   in -- in review articles, they often take    17       see.
    18   the liberty, as seen in your first point,    18            With chromium-6, hexavalent
    19   that you do not use a reference.             19       chromium exposure include
    20             Now, I would have to read          20       occupational asthma, eye
    21   Reference 20 in order to see whether         21       irritation and damage, perforated
    22   that, in fact, reviews Points 2, 3 and 4     22       ear drums, et cetera, et cetera.
    23   in your "Why Cancer and Inflammation"        23       This can be found in numerous,
    24   paper.                                       24       numerous references. This again
                                           Page 119                                        Page 121
     1             I do not know that                  1       is common knowledge for anyone
     2   Reference 20 actually reviews all of          2       doing chromium -- chromium
     3   these points and are the reference.           3       studies.
     4             Also, many of these                 4           Again, did I use the same
     5   points -- and again, another review           5       words? In many cases, I did here.
     6   paper.                                        6           "Can also develop an
     7             Many of these points, the           7       allergic skin reaction called
     8   chronic inflammatory states associated        8       allergic contact dermatitis." I'm
     9   with infection, irritation, may lead to       9       not quite sure how else you can
    10   environments that foster genomic lesions     10       say that, that phrase.
    11   in tumor initiation, no reference there.     11           So I still feel confident in
    12             One effect and mechanism, et       12       what I did was based upon my
    13   cetera, et cetera. Hydroxyl radicals,        13       professional judgment.
    14   reactive oxygen species, no reference        14           (Document marked for
    15   there. No quotation marks.                   15       identification as Exhibit
    16             So I don't know whether he,        16       Zelikoff-21.)
    17   in fact, uses the same logic that I did.     17   BY MR. HEGARTY:
    18             (Document marked for               18       Q. Okay. I'll show you what I
    19        identification as Exhibit               19   next marked as Exhibit 21. Exhibit 21 is
    20        Zelikoff-19.)                           20   again a portion of your report where we
    21   BY MR. HEGARTY:                              21   have identified statements that are taken
    22        Q. I'm going to show you                22   verbatim without acknowledgment from the
    23   Exhibit 19. This is another reference        23   publication attached thereto by Kasprzak.
    24   where you copied portions of a               24       A. Kasprzak. I'm sorry, sir.
                                                                  31 (Pages 118 to 121)
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                                   Judith Zelikoff, Ph.D.
                                           Page 122                                        Page 124
     1            MS. O'DELL: Did you finish           1      risks are primarily related to
     2        your question?                           2      exposure to soluble nickel
     3   BY MR. HEGARTY:                               3      concentrations," et cetera, et
     4        Q. No. Do you see where I'm              4      cetera.
     5   talk -- do you see where I'm referencing?     5           But in many cases throughout
     6            MS. O'DELL: Object to form.          6      this reference, I can also -- it
     7            THE WITNESS: I --                    7      being a review paper, I can also
     8            MS. O'DELL: Take a moment            8      tell you there's epidemiological
     9        if you need to, Doctor.                  9      evidence on possible cancer risk
    10            THE WITNESS: So what I see          10      from general environment and
    11        in the abstract of a paper, a           11      dietary nickel exposures not cited
    12        review paper called Nickel              12      as a reference, not quoted.
    13        Carcinogenesis by Kasprzak and          13   BY MR. HEGARTY:
    14        Sunderman and Konstantine               14      Q. Are you finished?
    15        Salnikow, you say -- you're             15      A. I am, thank you.
    16        pointing to, "The exact mechanisms      16           THE WITNESS: Excuse me.
    17        of nickel-induced carcinogenesis        17      May I just point out that it's
    18        are not known and have been             18      getting even colder in here and
    19        subject of numerous                     19      I'm a bit uncomfortable.
    20        epidemiological and experimental        20           (Whereupon, a discussion was
    21        investigations."                        21      held off the record.)
    22            That is not -- that -- okay.        22           THE WITNESS: May I go get
    23        And what's in my paper is, "The         23      my scarf?
    24        exact mechanisms of nickel-induced      24           MR. HEGARTY: Off the
                                           Page 123                                        Page 125
     1       cainogenesis are not known but            1       record.
     2       likely involve genetic and                2           THE VIDEOGRAPHER: The time
     3       epigenetic routes."                       3       is 11:11 a.m. Off the record.
     4            That's not the same as this          4           (Short break.)
     5       sentence. It has portions of the          5           THE VIDEOGRAPHER: The time
     6       same, but not the entire sentence         6       is 11:23 a.m. Back on record.
     7       is the same.                              7           (Documents marked for
     8            "Are likely to evolve                8       identification as Exhibits
     9       genetic and epigenetic routes."           9       Zelikoff-25 through 32.)
    10       Not quite sure how else you would        10           MR. HEGARTY: We're back on
    11       say this.                                11       the record. I'm going to mark --
    12            And this again is a review          12       I've marked as Exhibits 25 through
    13       paper. And going through it, here        13       32, other examples taken from
    14       I can cite a sentence.                   14       Dr. Zelikoff's report where --
    15       "Occupational exposure to nickel         15       along with the references to which
    16       occurs predominately in mining,          16       they were taken. And I'm just
    17       refining, alloy production,              17       going to mark those for purposes
    18       electroplating, and welding."            18       of the deposition as those
    19       This is in the review by Kasprzak.       19       exhibits.
    20       There's no reference there either.       20           MS. O'DELL: What's the
    21            In this sentence, "In 1990          21       exhibit number?
    22       the International Committee on           22           MR. HEGARTY: Exhibits 25
    23       Nickel Carcinogenesis in Man             23       through 32, and I did skip over
    24       suggested that respiratory cancer        24       through 22 through 24, but I'll
                                                                  32 (Pages 122 to 125)
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     1       come back to it. So we did get           1        A. That was my -- that was --
     2       kind of out of order in the way I        2   the request was to assess biological
     3       marked those.                            3   plausibility.
     4            MS. O'DELL: So plaintiff            4        Q. You say in that portion that
     5       objects to the Exhibit 25 through        5   we just reviewed that -- you say for the
     6       32 being added to the record.            6   increased risk of ovarian cancer with
     7       There's no testimony from                7   talc use. Did you assume for purposes of
     8       Dr. Zelikoff. So any assertion           8   your report that there is, in fact, an
     9       that counsel has made that those         9   increased risk of ovarian cancer with
    10       are relevant, we would object           10   talc use?
    11       and -- and oppose their being           11        A. I'm sorry, sir, can you tell
    12       included.                               12   me exactly which paragraph?
    13   BY MR. HEGARTY:                             13        Q. In the first paragraph under
    14       Q. Doctor, if you would look at         14   the section Mandate and Methodology, you
    15   your report which is Exhibit Number 2.      15   say "assess whether there is biologic
    16       A. Yes, sir.                            16   plausibility" -- "biologically plausible
    17       Q. On Page 2 of your report,            17   explanation for the increased risk of
    18   under the section Mandate and               18   ovarian cancer with the perineal use of
    19   Methodology?                                19   talcum powder products."
    20       A. Yes, sir, I see it.                  20            Do you see that? See where
    21       Q. You say your mandate was to          21   I'm reading?
    22   look at the scientific literature and       22        A. I am sorry, sir, I do not.
    23   assess whether there is biologic            23        Q. First paragraph under
    24   plausibility for talc to cause ovarian      24   page -- on Page 2 under mandate and
                                          Page 127                                         Page 129
     1   cancer from perineal use; is that            1   methodology.
     2   correct?                                     2        A. Is that the notion of
     3            MR. GOLOMB: I'm sorry.              3   biological plausibility paragraph, or are
     4   What page are you on?                        4   you --
     5            MR. HEGARTY: Page 2.                5        Q. It's the first paragraph
     6            THE WITNESS: Are you done?          6   under the section Mandate and
     7   BY MR. HEGARTY:                              7   Methodology.
     8        Q. Yes.                                 8        A. Well, sir, there are two,
     9        A. My mandate was to review the         9   two paragraphs. One says mandate. I was
    10   scientific literature and assess whether    10   asked to review the scientific
    11   there was biological plausible              11   literature. Then there is another
    12   explanation for the increased risk of       12   paragraph that says the notion of
    13   ovarian cancer with perineal use of         13   biological plausibility is
    14   talcum powder products, yes, that is        14   multifactorial.
    15   correct.                                    15        Q. Doctor, if you'd listen to
    16        Q. Who gave you that mandate?          16   my question. I said the first paragraph
    17        A. That was the plaintiff              17   under mandate and methodology. Do you
    18   attorney, Ms. Emory [sic] and Ms. O'Dell.   18   understand that?
    19        Q. You say --                          19        A. I do not -- I do not see it
    20        A. They -- I -- but let me add         20   and you can --
    21   they -- when you say gave me that           21        Q. You don't see the first
    22   mandate, can you explain what you mean by   22   paragraph that begins mandate?
    23   gave me that mandate?                       23        A. I just read that to you,
    24        Q. Well, from --                       24   sir.
                                                                  33 (Pages 126 to 129)
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     1        Q. And -- and you understand             1         Q. What graduate students
     2   that's the first paragraph of -- under        2   assisted you?
     3   the section Mandate and Methodology?          3         A. Are you asking me for their
     4        A. Under mandate it says, "I             4   names?
     5   was asked to review the scientific            5         Q. Yes.
     6   literature and assess whether there is        6         A. Nick Lawrence who was a
     7   biological plausible explanation for the      7   master student. And Catherine Fecchi who
     8   increased risk of ovarian cancer and the      8   was my master student. Both of them have
     9   perineal use of talcum powder products."      9   which graduated.
    10        Q. And for purposes of your             10         Q. Did you bill plaintiffs'
    11   mandate, did you assume that there was,      11   counsel for their time?
    12   in fact, an increased risk of ovarian        12         A. I paid them out of my
    13   cancer with the perineal use of talcum       13   pocket.
    14   powder?                                      14         Q. And how much did you pay
    15        A. I made no assumptions.               15   them per hour?
    16        Q. Did you individually assess          16         A. $25 per hour.
    17   whether there is an increased risk of        17         Q. Do you describe -- strike
    18   ovarian cancer with the perineal use of      18   that.
    19   talcum powder products?                      19            Anyone else assist you with
    20        A. Could you please slow down?          20   your literature search?
    21   You are asking the question very quickly.    21         A. I'm sorry, anyone else?
    22        Q. Okay. Did you                        22         Q. Assist you in your
    23   individually -- did you do an analysis of    23   independent comprehensive literature
    24   whether there's an increased risk of         24   review.
                                           Page 131                                        Page 133
     1   ovarian cancer with perineal use of           1        A. No, sir.
     2   talcum powder products?                       2        Q. So doing the searches was
     3        A. No. As you can see by the             3   part of your methodology for preparing
     4   mandate I was asked to assess the             4   your report, correct?
     5   biological plausibility. I did no             5        A. Doing the searches were my
     6   analysis of causation.                        6   initial, my initial, yes.
     7        Q. You did no analysis of                7        Q. Did you prepare in advance a
     8   whether there is, in fact, an increased       8   written protocol on how you were going to
     9   risk of ovarian cancer with the perineal      9   do the searches?
    10   use of talcum powder products?               10        A. I followed the same protocol
    11        A. I did no analysis of                 11   that I used for papers, publications,
    12   causation. I'm not an epidemiologist.        12   advisory boards, grant -- grant reviews
    13        Q. You also discuss in the              13   and grants that I write.
    14   third paragraph, which begins "I             14        Q. That's not my question. My
    15   performed an independent comprehensive       15   question is, did you prepare a written
    16   literature review."                          16   protocol as far as how you were going to
    17        A. I see that, yes. Thank you.          17   do the literature review for purposes of
    18        Q. That you did do a literature         18   your report?
    19   search, correct?                             19        A. I did not do a written
    20        A. I did do a literature                20   outline as to how to do this. I've been
    21   search, correct.                             21   doing this for over 35 years.
    22        Q. Did you do this yourself?            22        Q. You agree that it was part
    23        A. I did do this myself along           23   of your methodology is -- for your
    24   with several graduate students.              24   literature search, to find and review all
                                                                   34 (Pages 130 to 133)
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     1   literature that touch on talc and its        1        reviewed all of the literature out
     2   biologic effects, correct?                   2        there. I have no way of knowing
     3             MS. O'DELL: Object to the          3        that I reviewed or have not.
     4        form.                                   4            I gathered the literature in
     5             THE WITNESS: My purpose was        5        a systematic fashion and I
     6        to examine the literature, assess       6        reviewed that literature.
     7        the literature, first identify the      7   BY MR. HEGARTY:
     8        literature that I felt was --           8        Q. Did you read every paper
     9        well, all -- all the literature         9   that you found from your literature
    10        that I could find or that the          10   search?
    11        students could find, and from me       11        A. Only those that were
    12        to review them in terms of             12   relevant. I read the abstracts to
    13        relevancy and pertinence to the        13   determine whether it was in fact related
    14        question that I was being asked.       14   to the question that I was being asked.
    15   BY MR. HEGARTY:                             15            When you do a literature
    16        Q. Did you do any testing of           16   search, you come up with things that are
    17   your methodology of doing searches to       17   related and some that are not related at
    18   ensure that you had captured all the        18   all.
    19   relevant literature?                        19        Q. Does your report anywhere
    20             MS. O'DELL: Object to the         20   describe or include a description of how
    21        form.                                  21   you weighed the various authorities that
    22             THE WITNESS: What do you          22   you reviewed?
    23        mean by testing?                       23        A. My report talks about under
    24   BY MR. HEGARTY:                             24   mandate and methodology how I -- the last
                                          Page 135                                         Page 137
     1        Q. Well, I don't know. Did you          1   paragraph, and that begins more than 300
     2   do any tests, having someone else do         2   publications, will -- talks about how
     3   searches, repeating the searches, to see     3   I -- how I looked at the publications and
     4   if your original searches captured all of    4   how I decided how to cut down or dismiss
     5   the relevant literature?                     5   certain papers based on a closer
     6        A. We did several searches              6   scrutiny. And I focused specifically for
     7   doing -- using different words and           7   biological plausibility and being a
     8   different aspects, so that we could -- we    8   toxicologist on in vitro, in vivo, and ex
     9   got numerous duplicates because we came      9   vivo studies as well as cell studies,
    10   in with different words, and key --         10   animal studies, and tissues.
    11   keywords and key phrases.                   11         Q. Did you assign any numerical
    12        Q. You do agree that it would          12   value to each authority as they relate to
    13   be necessary for a proper methodology to    13   the importance to you?
    14   reach opinions about biologic               14         A. I did not assign any
    15   plausibility, that you have reviewed all    15   numerical value. There was no
    16   the pertinent literature, correct?          16   quantitative measurement done.
    17             MS. O'DELL: Object to the         17         Q. Was it also part of your
    18        form.                                  18   methodology to review all expert reports
    19             THE WITNESS: To my                19   in the litigation that concerned biologic
    20        knowledge I reviewed the               20   plausibility?
    21        literature that was pertinent to       21             MS. O'DELL: Object to the
    22        the question that I was being          22         form.
    23        asked.                                 23             THE WITNESS: Can you ask me
    24             I am not stating that I           24         that again, please.
                                                                  35 (Pages 134 to 137)
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                                            Page 138                                         Page 140
     1   BY MR. HEGARTY:                                1             THE WITNESS: To my
     2        Q. Sure. Was it part of your              2         knowledge, I have no knowledge as
     3   methodology to review all expert reports       3         to how they selected the reports
     4   in the litigation concerning biologic          4         or which reports they selected to
     5   plausibility?                                  5         send.
     6        A. I -- I looked at reports               6   BY MR. HEGARTY:
     7   that had relevancy in terms of animal          7         Q. You didn't have -- get a
     8   models, in vitro cultures or ex vivo           8   list of all expert reports and decide
     9   studies, yes. My opinion was formed            9   which ones you wanted, correct?
    10   primarily by the publications and the         10             MS. O'DELL: Object to the
    11   science that I reviewed.                      11         form.
    12        Q. Was it part of your                   12             THE WITNESS: I -- no. I
    13   methodology for purposes of your opinions     13         did not get a list of an entirety.
    14   to review the expert witness reports from     14   BY MR. HEGARTY:
    15   the litigation that touch on biologic         15         Q. Do you know plaintiffs'
    16   plausibility?                                 16   counsel methodology for purposes of
    17             MS. O'DELL: Object to the           17   selecting the reports to provide to you?
    18        form. Asked and answered.                18         A. I do not know their
    19             THE WITNESS: I reviewed the         19   methodology, but I would guess since
    20        publications and the book chapters       20   papers were supplied to me that had both
    21        and information that I thought           21   opinions and conclusions that led to
    22        would go towards my -- my opinion.       22   either positive associations or lack of
    23   BY MR. HEGARTY:                               23   positive or data from scientific in vivo
    24        Q. Your expert report, as we             24   studies, et cetera, that showed effects
                                            Page 139                                         Page 141
     1   have looked at, includes references to         1   and no effects, I would assume that I got
     2   several other experts' reports, correct?       2   all the literature both -- from both
     3   We looked at that earlier.                     3   perceptions.
     4        A. If you say so, yes.                    4         Q. Can you identify any medical
     5        Q. Did you select those expert            5   literature that you had reviewed prior to
     6   reports for purposes of your review?           6   being contacted by Ms. Emmel?
     7             MS. O'DELL: Object to the            7         A. Medical literature on?
     8        form.                                     8         Q. Let me finish my question.
     9             THE WITNESS: I formed my             9         A. I'm sorry.
    10        opinion with contributions from          10         Q. Can you identify any
    11        some of the reports that I had.          11   scientific or medical literature that you
    12        But it was primarily based upon          12   reviewed before being contacted by
    13        literature reviews.                      13   Ms. Emmel concerning talc and ovarian
    14   BY MR. HEGARTY:                               14   cancer?
    15        Q. The reports that you had              15         A. There is no literature that
    16   were provided to you by plaintiffs'           16   I reviewed prior to me being contacted by
    17   counsel, correct?                             17   Ms. Emmel.
    18        A. Reports that I received was           18         Q. Also in Exhibit B --
    19   supplied to me by plaintiffs' counsel.        19         A. B as in boy?
    20        Q. They selected the reports             20         Q. -- boy -- to your report.
    21   that they were going to provide to you,       21   There is a listing of produced documents
    22   correct?                                      22   by Bates number.
    23             MS. O'DELL: Object to the           23         A. Correct. I see it,
    24        form.                                    24   "materials and data considered."
                                                                    36 (Pages 138 to 141)
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     1        Q. Did the plaintiffs' counsel         1   section "produced documents"?
     2   provide you with copies of those            2         A. I reviewed all of the
     3   documents?                                  3   documents that are in the binder listed
     4        A. I have not gone through             4   as production documents. I did not check
     5   every paper in those multiple binders. I    5   one for another, so I cannot say I did
     6   would assume that many of them are in       6   all of these --
     7   there.                                      7         Q. Did you receive --
     8        Q. That's not my question,             8         A. -- or they did not.
     9   Doctor. My question was, were those         9         Q. I'm sorry. Did you receive
    10   documents provided to you by counsel for   10   from counsel from plaintiffs all the
    11   plaintiffs?                                11   documents that have been produced in this
    12            MS. O'DELL: What documents        12   litigation that concerned biologic
    13        are you referring to?                 13   plausibility?
    14            MR. HEGARTY: The documents        14             MS. O'DELL: Object to the
    15        that are listed by Bates number in    15         form.
    16        Exhibit B.                            16             THE WITNESS: I have no
    17            THE WITNESS: Oh, you're           17         knowledge of whether I received
    18        talking about produced documents?     18         every single document there is out
    19   BY MR. HEGARTY:                            19         there.
    20        Q. Yes.                               20   BY MR. HEGARTY:
    21        A. Repeat your question,              21         Q. Did you ask for -- did you
    22   please.                                    22   ask counsel for plaintiffs to provide you
    23        Q. Sure. Were the documents           23   all the documents that have been produced
    24   listed by Bates number under produced      24   in this case concerning biologic
                                         Page 143                                        Page 145
     1   documents provided to you by counsel for    1   plausibility?
     2   plaintiffs?                                 2             MS. O'DELL: Object to the
     3        A. Produced documents were             3        form.
     4   supplied to me in the folder that is        4             THE WITNESS: Did not ask it
     5   listed, production documents.               5        in that manner.
     6        Q. Did you ask for those               6             I did ask for in vitro
     7   specific documents?                         7        studies that they could find, ex
     8        A. I did not.                          8        vivo studies, and I also did my
     9        Q. Do you know what the                9        own literature search. Yes.
    10   methodology was for selecting those        10   BY MR. HEGARTY:
    11   specific documents to send to you?         11        Q. Were you -- did you
    12        A. I do not.                          12   understand that -- or do you understand
    13            MS. O'DELL: Object to the         13   that you've been provided with all the
    14        form.                                 14   produced documents that concern biologic
    15            THE WITNESS: Sorry.               15   plausibility?
    16   BY MR. HEGARTY:                            16             MS. O'DELL: Object to form.
    17        Q. Did you ask for any                17             THE WITNESS: I have no
    18   additional documents that would fall       18        knowledge of whether I received
    19   under the definition of produced           19        all documents.
    20   documents besides those plaintiffs'        20   BY MR. HEGARTY:
    21   counsel provided to you?                   21        Q. With regard to the produced
    22        A. Not to my knowledge.               22   documents, did you sign a protective
    23        Q. Did you review all the             23   order before reviewing those documents?
    24   documents that are listed under the        24        A. Regarding these produced
                                                                 37 (Pages 142 to 145)
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     1   documents --                                  1        experiments that I'm aware of that
     2       Q. Yes.                                   2        were done that I have knowledge
     3       A. -- did I sign a protective             3        of? No I have no knowledge of any
     4   order?                                        4        laboratory testing or experimental
     5       Q. Yes.                                   5        testing in this field.
     6           MS. O'DELL: Object to the             6   BY MR. HEGARTY:
     7       form. It's a confidentiality              7        Q. You did not do any testing
     8       order in this litigation. You may         8   yourself for purposes of developing your
     9       not be aware of it.                       9   opinions in this case, correct?
    10           MR. HEGARTY: Okay, well,             10        A. I did not do any laboratory
    11       confidentiality order.                   11   tests.
    12           MS. O'DELL: Just so it's             12        Q. All the opinions that are
    13       not unclear to the witness.              13   set out in your report about biologic
    14   BY MR. HEGARTY:                              14   plausibility between talc and ovarian
    15       Q. Did you sign a                        15   cancer were formed after being contacted
    16   confidentiality order before reviewing       16   by counsel for plaintiffs about
    17   the Bates-stamped documents?                 17   testifying as an expert in this case,
    18       A. I signed a confidentiality            18   correct?
    19   agreement early on.                          19             MS. O'DELL: Objection to
    20       Q. Do you rely on any tests for          20        form.
    21   purposes of your opinions that are not       21             THE WITNESS: After being
    22   reported in the medical literature?          22        contacted by the plaintiffs I did
    23       A. Again --                              23        a literature search and followed
    24           MS. O'DELL: Object to the            24        the science.
                                           Page 147                                         Page 149
     1        form.                                    1   BY MR. HEGARTY:
     2            THE WITNESS: Please                  2        Q. That's not my question,
     3        describe "tests."                        3   Doctor.
     4   BY MR. HEGARTY:                               4             My question is, all the
     5        Q. Well, did you rely on any             5   opinions set out in your report about
     6   testing or tests for purposes of your         6   biologic plausibility as they relate to
     7   opinions that are not contained in the        7   talc and ovarian cancer were formed after
     8   medical literature --                         8   being contacted by counsel for
     9            MS. O'DELL: Objection to             9   plaintiffs, correct?
    10        form.                                   10        A. That is correct.
    11   BY MR. HEGARTY:                              11        Q. Can you cite for us any
    12        Q. -- that we wouldn't have             12   occasion where you've done the exact same
    13   access to but that you did?                  13   thing that you have done here to prepare
    14            MS. O'DELL: Object to the           14   your report; that is, do an analysis of
    15        form. Besides those produced in         15   the literature on the biologic
    16        the litigation?                         16   plausibility between the exposure to a
    17            MR. HEGARTY: Yeah, that             17   substance and a disease?
    18        goes without saying.                    18        A. Nothing has been done
    19            MS. O'DELL: It doesn't go           19   exactly like it's been here, but for
    20        without saying. It's an unfair          20   advisory boards that I've been on,
    21        question.                               21   including the National Toxicology Board,
    22            THE WITNESS: So if I                22   the Institute of Medicine, the Institute
    23        understand your question to mean        23   of Engineering for the National Academies
    24        are there any laboratory                24   of Science, we have -- we were requested
                                                                   38 (Pages 146 to 149)
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     1   to do literature reviews on the question      1   the words "biological feasibility" or
     2   that's in front of them and come up with      2   "potential mechanisms" or "plausible" --
     3   an opinion based upon our literature          3   I may have used the word "plausibility,"
     4   reviews.                                      4   but I have used words that are similar to
     5         Q. Have you ever published an           5   those.
     6   article in the medical literature where       6        Q. Doctor, when did you first
     7   you've done the same thing that you've        7   become aware of an alleged link between
     8   done here, which is to review all the         8   ovarian cancer and talc use?
     9   literature on a substance and a disease       9             MS. O'DELL: Object to the
    10   and offer opinions as to whether there's     10        form.
    11   biologic plausibility between that           11             THE WITNESS: When did I
    12   substance and a disease?                     12        first become aware of the alleged
    13         A. I have written reviews that         13        link between ovarian cancer and
    14   are a culmination of all of the              14        talc use? From -- from the media.
    15   literature that I reviewed on topics.        15        I would say maybe a year prior to
    16   Never one on ovarian cancer and talc.        16        being contacted by Ms. Emmel.
    17              And to my knowledge, I have       17   BY MR. HEGARTY:
    18   not offered an opinion, but followed a       18        Q. Can you cite for me any
    19   conclusion from the science.                 19   scientific or medical group, entity or
    20         Q. I think my question is a            20   organization who has concluded that
    21   little bit different. My question is,        21   genital talc use causes ovarian cancer?
    22   have you published any article in the        22        A. I -- really, my opinion is
    23   literature where you have done               23   based on biological plausibility.
    24   essentially the same thing that you have     24        Q. I understand that. But my
                                           Page 151                                          Page 153
     1   done here, which is review all the            1   question is simply from your knowledge,
     2   literature on an exposure and a disease       2   here today, can you cite for me any
     3   and offer opinions as to whether there's      3   scientific or medical group, entity or
     4   biologic plausibility between the             4   organization who has concluded that
     5   exposure and the disease?                     5   genital talc use causes ovarian cancer?
     6        A. Most of the papers that I             6            MS. O'DELL: Object to the
     7   publish will offer a potential, whether a     7       form.
     8   speculative potential or one that is          8            THE WITNESS: Well,
     9   defined within other published literature     9       concluded is -- is a word for
    10   as a potential mechanism of action or as     10       discussion.
    11   potential plausible outcome.                 11            IARC in the 1993 report from
    12             So for any published paper         12       inhalation toxicology and
    13   from the research that I've done or that     13       inhalation of talc did show that
    14   people do, we explain an observation that    14       there was tumor induction in
    15   has been found in our laboratory from        15       female rats in the lungs and that
    16   testing, as you call it. And we will         16       there was adrenal gland tumors
    17   explain the observation in terms of          17       that were formed.
    18   biological plausibility, if that's what      18   BY MR. HEGARTY:
    19   you're referring to.                         19       Q. Well, IARC has never
    20        Q. Well, have you ever used the         20   concluded that the use of talc in the
    21   phrase "biologic plausibility" in any        21   genital area causes ovarian cancer,
    22   published article?                           22   correct?
    23        A. I cannot cite them for you,          23       A. You asked me whether there
    24   but I -- I am confident that I have used     24   was any body of literature or any
                                                                   39 (Pages 150 to 153)
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     1   advisory boards or any institution which        1   BY MR. HEGARTY:
     2   has concluded that there is a causal            2        Q. II-B is possibly
     3   relationship. And I've cited to you a           3   carcinogenic, correct?
     4   study --                                        4        A. To humans.
     5        Q. That's not my question. My              5        Q. I'm sorry?
     6   question was can you cite for me any            6        A. To humans. Possibly
     7   scientific or medical group, entity or          7   carcinogenic to humans. That doesn't
     8   organization who has concluded that             8   exclude the fact that there is animal
     9   genital talc use causes ovarian cancer.         9   data supporting that conclusion. If
    10            MS. O'DELL: Object to the             10   there were no animal data it -- it would
    11        form.                                     11   not even be considered a II-B. So
    12            THE WITNESS: I have -- I              12   there -- there's evidence that the IARC
    13        have given you information on a           13   evaluated and came up with a II-B
    14        study done at the national                14   classification.
    15        toxicology program.                       15        Q. Is it your opinion that the
    16   BY MR. HEGARTY:                                16   biologic plausibility of talc products
    17        Q. Is that the extent of your             17   causing ovarian cancer has been generally
    18   answer?                                        18   accepted in the medical community?
    19        A. There are -- to my                     19        A. I think it depends on the
    20   knowledge, that's the best study that I        20   medical community.
    21   can cite to you.                               21        Q. Well, aside from any medical
    22        Q. That's a study, correct?               22   community that has accepted that there is
    23        A. That was a study, and they             23   biologic plausibility between the use of
    24   are also a body that makes conclusions.        24   talc products in -- in ovarian cancer.
                                             Page 155                                         Page 157
     1        Q. That study did not involve              1   Let me -- let me restate that.
     2   any commentary on ovarian cancer,               2            Can you cite for me any
     3   correct?                                        3   medical community that has accepted that
     4        A. The study did not involve               4   there is biologic plausibility of talc
     5   commentary on that.                             5   products causing ovarian cancer?
     6        Q. Can you name any regulatory             6        A. I'm not knowledgeable at --
     7   body who has stated that talc use is a          7   about all the medical communities and
     8   cause of ovarian cancer?                        8   what disciplines they are in.
     9        A. Not as I sit here right now.            9        Q. Well, can you cite for me
    10   But again, making conclusions on               10   any medical or scientific community that
    11   causation was not my question, is not          11   has accepted that there is biologic
    12   my -- is not within my purview.                12   plausibility of talcum powder products
    13            And there are different               13   causing ovarian cancer?
    14   levels of cancer conclusion. For               14        A. I have no knowledge of that.
    15   instance, IARC has several                     15   That doesn't mean it's not out there. It
    16   classifications. And -- as you know, I,        16   means that I have no knowledge of that.
    17   II-A, II-B, et cetera.                         17        Q. You have no knowledge --
    18        Q. And what is IARC's                     18   you -- so you cannot testify that the
    19   classification of talc use in the genital      19   medical or scientific communities have
    20   area?                                          20   accepted that there is biologic
    21            MS. O'DELL: Object to the             21   plausibility of talcum powder products
    22        form.                                     22   causing ovarian cancer?
    23            THE WITNESS: To my                    23            MS. O'DELL: Object to the
    24        knowledge, I think it's a II-B.           24        form.
                                                                     40 (Pages 154 to 157)
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     1            THE WITNESS: What I'm                1         Thank you.
     2        saying is I have no knowledge of         2   BY MR. HEGARTY:
     3        the documents they have put out          3         Q. You don't -- you don't know
     4        with a conclusion as a white paper       4   what a cosmetic is?
     5        or any other published literature        5         A. I'm asking you what your
     6        that has made that conclusion.           6   definition is.
     7   BY MR. HEGARTY:                               7         Q. Well, I -- what is your
     8        Q. What does -- sorry.                   8   definition?
     9        A. Or has not made that                  9         A. A definition of a cosmetic
    10   conclusion.                                  10   is -- since I'm not in the cosmetic
    11        Q. What does general acceptance         11   field -- a cosmetic is something that is
    12   mean to you?                                 12   used for hygiene or aesthetics and used
    13        A. General acceptance -- for            13   dermally.
    14   example, benzine, it causes leukemia and     14         Q. Have you ever written any
    15   other blood cancers. That is a general       15   scientific article about a cosmetic under
    16   acceptance by the medical community which    16   your definition?
    17   we all adhere to, abide by, based upon       17         A. Not to my knowledge, but I
    18   the excessive amount of literature that      18   would have to look at all of my papers
    19   is out there showing -- proving and          19   again, if you'd like me to do that.
    20   addressing Hill's criteria and coming up     20         Q. Can you cite for me any
    21   with the fact that it is a -- it is a        21   publication of yours where you comment on
    22   carcinogen for blood cancers.                22   asbestos?
    23            That is general knowledge.          23         A. I would have to look at my
    24   General knowledge is something saying        24   references. I go back from 1982.
                                           Page 159                                         Page 161
     1   that nickel can be a carcinogen, nickel       1        Q. Sitting here today, can you
     2   is a carcinogen and is classified by IARC     2   cite for us, without looking at any
     3   as a I. In that case, the general             3   references, any article you've ever
     4   population is aware of that.                  4   written about asbestos?
     5        Q. Before being hired by the             5             MS. O'DELL: Doctor, if you
     6   plaintiffs' lawyers in this case, you had     6        need to look at your CV, you're
     7   never written anything about talc,            7        welcome to do that.
     8   correct?                                      8   BY MR. HEGARTY:
     9        A. That's correct.                       9        Q. Well, my question didn't ask
    10        Q. Or commented on talc in any          10   about the CV. I said just simply sitting
    11   setting, correct?                            11   here today, just based on your memory --
    12        A. Other than teaching?                 12        A. Okay.
    13        Q. Other than the teaching              13        Q. -- are you able to recall
    14   reference you cited earlier?                 14   any article you've ever written about
    15        A. That's correct.                      15   asbestos.
    16        Q. Before being hired by                16             MS. O'DELL: If you would
    17   plaintiffs' counsel you had never written    17        like to look at your CV, it's in
    18   anything about any cosmetic, correct?        18        front of you. You are welcome
    19            MS. O'DELL: Object to the           19        to -- to do that.
    20        form.                                   20             MR. HEGARTY: I'll withdraw
    21            Could you please -- it's            21        the question.
    22        vague in terms of cosmetic. Do          22   BY MR. HEGARTY:
    23        you have a definition in mind?          23        Q. Doctor, have you ever
    24            THE WITNESS: Exactly.               24   written any article about a fragrance?
                                                                   41 (Pages 158 to 161)
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                                           Page 162                                          Page 164
     1        A. I would also like to look at          1   as scientists, involved as co-authors,
     2   my CV.                                        2   oftentimes. And I do not recall back to
     3        Q. Without looking at your CV,           3   1982.
     4   you can't say one way or the other?           4        Q. Well, for purposes of your
     5        A. I can't say conclusively.             5   report, you do not cite to any of your
     6   My CV and my publications go back to          6   own work, correct?
     7   1982. It was quite a while ago.               7        A. That is correct.
     8        Q. And you can't say                     8        Q. You've never written
     9   conclusively whether you've written an        9   anything about talc and ovarian cancer,
    10   article about asbestos?                      10   correct?
    11        A. I would rather look at my --         11        A. I think I asked and answered
    12   my publications.                             12   that. I think I answered that. But I
    13        Q. Okay. Have you ever                  13   can repeat it.
    14   written --                                   14        Q. No, you did not. I did not
    15        A. Would you like me to do              15   ask you that question, ma'am.
    16   that, sir?                                   16        A. So can --
    17        Q. No. I'm not asking you to            17        Q. I asked you had you ever
    18   do that right now.                           18   written anything about talc. My question
    19        A. Thank you.                           19   that I just asked you is have you ever
    20        Q. Sitting here today without           20   written anything about talc and ovarian
    21   looking at your CV, can you cite for me      21   cancer?
    22   any article you've ever written about        22        A. To my knowledge, as I sit
    23   asbestos?                                    23   here now without looking at my
    24             MS. O'DELL: Objection to           24   publications, no.
                                           Page 163                                          Page 165
     1       form.                                     1        Q. Prior to being contacted by
     2            THE WITNESS: To my                   2   plaintiff's counsel have you ever
     3       knowledge at this particular              3   reviewed the body of literature on the
     4       moment, I cannot cite for you an          4   etiologies or biology related to ovarian
     5       article that I specifically wrote         5   cancer?
     6       on asbestos. Whether or not I was         6        A. Not prior to being
     7       a co-author on one, I cannot              7   contacted, no.
     8       recall.                                   8        Q. You've never published any
     9   BY MR. HEGARTY:                               9   opinions about the causes of ovarian
    10       Q. Would that be the same                10   cancer, correct?
    11   answer as to a fragrance?                    11        A. To my knowledge, sitting
    12       A. I -- I would really rather            12   here, no.
    13   look at my CV and my publications and        13        Q. You never published any
    14   book chapters.                               14   opinions about the risk factors for
    15       Q. Before being contacted by             15   ovarian cancer, correct?
    16   counsel for plaintiffs in this case, you     16        A. I really -- I'm not sure. I
    17   had never developed or offered any           17   know that I have given that information,
    18   opinions about talc, correct?                18   not an opinion, but have given that
    19       A. That is correct.                      19   information in teaching courses.
    20       Q. You've never written                  20        Q. Have you ever taught any
    21   anything about ovarian cancer, correct?      21   courses on asbestos?
    22       A. Again, just to put on the             22        A. Asbestos has been included.
    23   record, I would really like to look at my    23   I give lectures in my organ system
    24   CV and look at my publications. We are,      24   toxicology course as well as in my
                                                                   42 (Pages 162 to 165)
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     1   toxicology course for biology masters. I     1   reproductive docs who do focus on this,
     2   give courses in air pollutants and           2   yes.
     3   cancer-causing agents and the toxicology     3        Q. And that has not been an
     4   of -- of airborne.                           4   area of your focus, correct?
     5        Q. Have you ever taught in your         5        A. Not -- not in past. Has not
     6   courses any discussion about fragrances      6   been a primary focus.
     7   and toxicity?                                7        Q. You have provided for us
     8        A. It may have come up as a             8   your CV, correct?
     9   minor point. We talk about pesticides,       9        A. That is correct.
    10   we talk about air pollutants. We talk       10        Q. That's included as part of
    11   about metals. Fragrances, we talked         11   Exhibit B to your expert report, correct?
    12   about limonene, eugenol, menthol and        12            MS. O'DELL: Objection to
    13   other fragrances in that realm in the       13        form.
    14   discussion of electronic cigarettes and     14            THE WITNESS: I think it's
    15   the aerosols produced by them.              15        stated here as Exhibit A.
    16        Q. And you provided to us all          16   BY MR. HEGARTY:
    17   the lectures or the content of lectures     17        Q. It's Exhibit A to your
    18   that you've given where you mentioned       18   expert report. Is that a current CV of
    19   talc, correct?                              19   yours?
    20        A. I was not asked to --               20        A. It was updated in
    21             MS. O'DELL: Object to the         21   August 2018. So it is not completely
    22        form.                                  22   updated as of January 2019.
    23             THE WITNESS: I was not            23        Q. Did you bring an updated CV
    24        asked to provide them. But please      24   to your deposition?
                                          Page 167                                              Page 169
     1        let me explain my teaching style.       1           A. I did not.
     2            My teaching style is such           2           Q. As you stated --
     3        that I use few PowerPoints as           3           A. I'm sorry. I can provide
     4        queues. And much of my teaching         4   that.
     5        is done verbally, one-on-one. And       5        Q. Does your CV anywhere list
     6        they're not recorded.                   6   any professional experience on ovarian
     7            So there is really not that         7   cancer?
     8        much -- there is nothing to supply      8        A. Excuse me. Not to my
     9        to counsel.                             9   knowledge, in briefly reviewing my CV,
    10   BY MR. HEGARTY:                             10   and not to my knowledge as I sit here.
    11        Q. Well, other than the                11        Q. Does your CV list any
    12   reference that you provided to us earlier   12   professional experience regarding
    13   about talc and ovarian cancer, you have     13   asbestos?
    14   not otherwise lectured regarding this       14        A. Specifically, asbestos as I
    15   subject, correct?                           15   review, no. No, sir.
    16        A. That is correct.                    16        Q. Does your CV list any
    17        Q. There are toxicologists who         17   professional experience regarding
    18   focus on issues dealing with reproductive   18   fragrances?
    19   medicine or reproductive sciences such as   19        A. Not to my knowledge, no,
    20   ovarian cancer and uterine cancer,          20   sir. But you're asking me only what's in
    21   correct?                                    21   my CV.
    22        A. There are scientists whose          22           I have -- I have worked -- I
    23   major focus is on talc and ovarian cancer   23   have looked at or heard about from other
    24   and there are OB/GYNs as well as            24   advisory boards things to do with
                                                                     43 (Pages 166 to 169)
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     1   flavorants, as I said with electronic         1   or scientist who believes that there is
     2   cigarettes, hookah and smokeless tobacco.     2   biologic plausibility between use of
     3   So I am familiar with other -- which may      3   talcum powder and ovarian cancer?
     4   not be listed here in detail, which is        4             MS. O'DELL: Object to form.
     5   not listed here in detail, on flavorants      5             THE WITNESS: I have not
     6   and some of those same flavors used in        6        spoken to any doctors in that
     7   electronic cigarettes are also, I found,      7        regard.
     8   listed here.                                  8   BY MR. HEGARTY:
     9        Q. Has any entity or agency              9        Q. How about any scientists?
    10   consulted you with regard to diseases of     10        A. I have not spoke to any
    11   the female reproductive tract?               11   scientists in that regard.
    12             MS. O'DELL: Object to the          12        Q. Have you --
    13        form.                                   13        A. My opinion was specifically
    14             THE WITNESS: Not to my             14   based upon the scientific literature that
    15        knowledge.                              15   I had access to.
    16   BY MR. HEGARTY:                              16        Q. Have you ever had your
    17        Q. And no one has ever asked            17   deposition taken before?
    18   you to look into any of the issues set       18        A. I have. Yes, sir.
    19   out in your report besides plaintiffs'       19        Q. How many times?
    20   counsel, correct?                            20        A. One that I can recall. Two
    21        A. I'm sorry. Again?                    21   that I'm now recalling. One that was
    22        Q. No one has asked you to look         22   in -- for Dow Chemical on breast implants
    23   at the issues set out in your expert         23   and relationship with autoimmune disease
    24   report in this case other than               24   and one from a personal attorney who
                                           Page 171                                         Page 173
     1   plaintiffs' counsel, correct?                 1   was -- who had a client who was exposed
     2        A. This specific ovarian cancer          2   to wood burning from a wood stove, an
     3   and asbestos, that is correct.                3   outdoor wood stove.
     4        Q. You have not submitted your           4       Q. As to the latter case, do
     5   expert report in this case for peer           5   you know where that case was pending or
     6   review, correct?                              6   was filed?
     7        A. The only ones who have seen           7       A. I was deposed in New York
     8   my report have been the plaintiff             8   City.
     9   attorneys, to my knowledge.                   9       Q. Do you know the name of the
    10            If that was given out to            10   case?
    11   others at that point, I do not -- I do       11       A. I'm afraid not, sir.
    12   not have knowledge of that.                  12       Q. How long ago was it?
    13        Q. You certainly have not               13       A. 15 years.
    14   submitted your report for peer review,       14       Q. You were testifying on
    15   correct?                                     15   behalf of the plaintiff in that case?
    16        A. I have not submitted my              16            MS. O'DELL: Object to form.
    17   report for peer review.                      17            THE WITNESS: I was not
    18        Q. Have you spoken to any               18       testifying. I was deposed for
    19   physicians who treat ovarian cancer          19       the -- sorry, for the person who
    20   regarding talc and ovarian cancer?           20       was making the claim that they had
    21        A. I have not.                          21       increased asthma as a result of
    22        Q. Other than experts                   22       neighbors use of a wood boiler.
    23   identified by plaintiffs in this             23   BY MR. HEGARTY:
    24   litigation, can you identify any doctor      24       Q. In the Dow Chemical breast
                                                                   44 (Pages 170 to 173)
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                                            Page 174                                         Page 176
     1   implant case, were you testifying as an        1   cases -- are there any articles on which
     2   expert witness?                                2   you rely for purposes of your opinions --
     3        A. I was.                                 3   strike that. Let me ask it a different
     4        Q. On behalf of the plaintiffs?           4   way.
     5        A. If you're talking about on             5            How many articles have you
     6   the part of Dow, yes.                          6   published since August of 2018?
     7        Q. Well, on the part of Dow who           7        A. I'm going to look at the
     8   was the defendant or the plaintiffs?           8   last publication.
     9        A. Dow was the defendant. I'm             9            I have one that was accepted
    10   sorry.                                        10   in press on the Garfield community and
    11        Q. Were you testifying on                11   looking at chromium exposure and doing
    12   behalf of Dow?                                12   community engagement for the community
    13        A. I was.                                13   and looking at blood level of
    14        Q. Any other cases you've been           14   measurements -- or toenail measurements,
    15   deposed in?                                   15   excuse me, toenail measurement of
    16        A. Not that I can recall.                16   chromium, as they're impacting
    17        Q. Have you been identified in           17   communities environmentally.
    18   any other cases as an expert witness          18            Also two publications have
    19   besides this one to your knowledge?           19   come out with the lead author, my being a
    20        A. I have done literature                20   corresponding author with the lead author
    21   reviews for a number of attorneys but         21   being from the University of Rochester in
    22   have not been deposed.                        22   the area of inhaled particulate matter
    23        Q. My question is specific to            23   and -- during pregnancy and effects on
    24   whether you -- whether you are aware that     24   the -- on the offspring and on the fetus.
                                            Page 175                                         Page 177
     1   you've been designated, identified, in         1        Q. You are not a medical
     2   the case as a testifying expert besides        2   doctor, correct?
     3   this case. Are you aware of any such           3        A. I am not a medical doctor,
     4   cases?                                         4   although I did go to medical school for
     5        A. Not to my knowledge.                   5   my Ph.D. training.
     6        Q. I know I referred earlier to           6        Q. You can't treat patients,
     7   your CV. But I'm marking it as                 7   correct?
     8   Exhibit 22. You can look at that one or        8        A. I do not treat patients.
     9   Exhibit 22.                                    9        Q. You are not an oncologist,
    10            (Document marked for                 10   correct?
    11        identification as Exhibit                11        A. I am not an oncologist.
    12        Zelikoff-22.)                            12        Q. You have no training in
    13   BY MR. HEGARTY:                               13   oncology, correct?
    14        Q. Are there any publications            14        A. I have no training in
    15   of yours that relate to any of the issues     15   oncology. I have training in pathology,
    16   in this case that are not included in         16   which is what I got my Ph.D. degree in at
    17   your CV?                                      17   a medical school.
    18            MS. O'DELL: Object to form.          18        Q. You have never diagnosed or
    19            THE WITNESS: Let's talk              19   treated a disease in a patient, including
    20        about the issues of the case. Can        20   cancer, correct?
    21        you define them a little better?         21        A. That is correct.
    22   BY MR. HEGARTY:                               22        Q. You have no expertise in
    23        Q. Yeah, let me ask you a                23   treating patients with ovarian cancer,
    24   different question. Are there any             24   correct?
                                                                    45 (Pages 174 to 177)
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     1         A. I have no expertise in that,          1        those forms can exist both in
     2   no.                                            2        crystalline form or in a
     3        Q. You have no expertise in               3        non-asbestiform.
     4   diagnosing ovarian cancer, correct?            4             So they are both -- both
     5        A. I do not.                              5        concluded to be asbestos.
     6        Q. You are not an expert on               6   BY MR. HEGARTY:
     7   asbestos, correct?                             7        Q. Well, are there any
     8        A. I have not been classified             8   differences between --
     9   as an expert in asbestos, although as I        9        A. By the EPA.
    10   said, I do work in air pollution and if       10        Q. Are there any differences
    11   asbestos is in the confines -- taken in       11   between amphibole and serpentine forms of
    12   the confines of air pollution, I could        12   asbestos?
    13   speak to that. But I have not been            13             MS. O'DELL: Object to form.
    14   designated as an expert.                      14             THE WITNESS: Well, they are
    15        Q. What's the difference                 15        different -- they are different
    16   between amphibole and serpentine forms of     16        minerals. But they are both
    17   asbestos?                                     17        classified as asbestos.
    18            MS. O'DELL: Object to form.          18   BY MR. HEGARTY:
    19   BY MR. HEGARTY:                               19        Q. Any other differences?
    20        Q. You can answer.                       20        A. It -- both of which contain
    21        A. It depends on whether it's            21   carcinogenic -- classified I, as IARC.
    22   asbestiform or non-asbestiform.               22   Both have within them carcinogenic
    23        Q. Okay. Asbestiform. What's             23   asbestos. To my knowledge, that is --
    24   the difference between amphibole and          24   that is all I --
                                            Page 179                                          Page 181
     1   serpentine forms?                              1        Q. What was the most
     2       A. Well --                                 2   commercially used asbestos?
     3            MS. O'DELL: Object to the             3        A. Well, it -- it depends on
     4       form.                                      4   the time. But for commercial use, in
     5            THE WITNESS: Amphibole                5   paints and housing and insulation, it was
     6       lists serpentine which is                  6   either chrysotile was used commercially
     7       associated with chrysotile. They           7   and crocidolite was also used
     8       all have an aspect ratio of,               8   commercially.
     9       depending on who you are looking           9        Q. Okay. How did the supposed
    10       at, whether it's three to one or          10   toxicities various -- vary across the
    11       five to one. Johnson & Johnson            11   various forms of asbestos?
    12       includes it as five to one, which         12            MS. O'DELL: Object to the
    13       is length-to-width ratio. They            13        form.
    14       both have the same length-to-width        14            THE WITNESS: When you say
    15       ratio.                                    15        toxicity what do you mean?
    16            If they're asbestiform, then         16   BY MR. HEGARTY:
    17       they are fibers that are made up          17        Q. The -- the toxicities vary
    18       of fibrils. They both have that.          18   across the various forms.
    19            And they go in a                     19            MS. O'DELL: Object to the
    20       longitudinal manner and they are          20        form.
    21       in one direction.                         21            THE WITNESS: Mm-hmm. It
    22            Amphibole includes within it         22        depends on the chemical
    23       the crocidolite, and as well as           23        composition. It depends on the
    24       tremolite, amosite, and some of           24        surface material. It depends on
                                                                    46 (Pages 178 to 181)
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     1        the amount of iron. It depends on        1        Q. You are not an expert in
     2        the size of the fiber or the             2   fragrances, correct?
     3        crystal.                                 3             MS. O'DELL: Object to form.
     4             And so depending upon those         4             THE WITNESS: I have -- I
     5        factors you are going to have            5        have not been listed as an expert
     6        differences in toxicity.                 6        in fragrances.
     7   BY MR. HEGARTY:                               7   BY MR. HEGARTY:
     8        Q. Well, how does -- does                8        Q. Would you consider yourself
     9   tremolite asbestos compare to chrysotile      9   an expert in fragrances?
    10   asbestos in terms of toxicity?               10        A. I am a toxicologist so I can
    11        A. I don't really -- I don't            11   review chemicals and make a decision or
    12   think I can answer that in terms of          12   assess their toxicity based on outcomes.
    13   ranking it. I can tell you that              13        Q. Before being contacted by
    14   chrysotile is a well-known carcinogen,       14   Ms. Emmel in this case, would you have
    15   well-established carcinogen by the           15   considered yourself an expert in
    16   agencies. That tremolite is an amphibole     16   fragrances?
    17   and it can exist in both forms, either       17             MS. O'DELL: Objection.
    18   asbestiform in the long longitudinal         18             THE WITNESS: Expert in
    19   fibriles, or it can exist as a mineral       19        fragrances. It is not something I
    20   that has dimensions in all different         20        studied in my own laboratory.
    21   directions.                                  21             However, a toxicologist
    22             So tremolite -- it's               22        should be able to go into the
    23   difficult to rank, but chrysotile appears    23        literature and have a greater
    24   to be -- when you say more toxic, you        24        knowledge than most people in
                                           Page 183                                         Page 185
     1   have to understand what is the outcome        1        looking up different chemicals.
     2   that you're looking at. They can both         2   BY MR. HEGARTY:
     3   cause toxicity. I don't know what you         3        Q. You are not an expert on
     4   exactly mean by more toxic.                   4   talc, correct?
     5            Do you mean at a given               5            MS. O'DELL: Object to the
     6   dose -- what -- what do you mean by --        6        form.
     7        Q. I didn't -- I didn't use the          7            THE WITNESS: I have done
     8   word "more toxic." I just -- I asked you      8        much work in dust, including the
     9   how does tremolite asbestos compare to        9        World Trade Center dust. I've
    10   chrysotile asbestos in terms of toxicity.    10        done work on diesel exhaust and
    11        A. I think I -- yeah, that's a          11        other things that are powders. So
    12   very difficult question to a                 12        particularly talc, I don't think I
    13   toxicologist. Because when you compare       13        am classified as a talc expert.
    14   toxicity across -- across lines, you have    14            But as I said I've done much
    15   to somehow rank them based on a              15        work in other dusts, other
    16   particular outcome.                          16        aerosols, vapors, gases,
    17            So toxicity could be does it        17        particles, and I am an expert in
    18   produce more lactate dehydrogenase when      18        particles.
    19   put in a macrophages culture of -- of        19   BY MR. HEGARTY:
    20   pulmonary cells, or does it produce more     20        Q. You are not a geneticist,
    21   apoptosis. You can't just say toxicity       21   correct?
    22   in my opinion. You have to give me an        22        A. I'm -- if a geneticist is
    23   outcome. Does this produce more toxicity     23   someone who has been trained specifically
    24   in this area.                                24   in genetics, I have not been trained in
                                                                   47 (Pages 182 to 185)
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                                           Page 186                                       Page 188
     1   genetics. I have had courses in               1   components by percentage of Johnson's
     2   molecular toxicology and I do teach some      2   Baby Powder?
     3   molecular toxicology.                         3            MS. O'DELL: Object to the
     4        Q. You are not a mineralogist,           4        form. Vague.
     5   correct?                                      5            THE WITNESS: I cannot --
     6        A. I am not a mineralogist.              6        although I have looked at it, I
     7        Q. You are not an expert on              7        cannot tell you that off the top
     8   testing for the presence of asbestos,         8        of my head. I would have to
     9   correct?                                      9        look -- refresh my memory by
    10        A. I am not a chemist.                  10        looking at an exhibit or a
    11        Q. You are not an expert on             11        document.
    12   testing the air for asbestos, correct?       12   BY MR. HEGARTY:
    13        A. We collect -- I collect              13        Q. What were the current
    14   particles in the air. I do air               14   components of Johnson's Baby Powder by
    15   measurements. That is the basis of my        15   percentage from the 19 -- 1900s through
    16   research.                                    16   the present?
    17            When it comes to asbestos,          17        A. I cannot --
    18   we will send those -- those filters out      18            MS. O'DELL: Excuse me.
    19   to be analyzed by an expert laboratory,      19        Excuse me. Object to the form.
    20   and then we will help interpret the data.    20        Vague.
    21        Q. You are not an industrial            21            THE WITNESS: I cannot give
    22   hygienist, correct?                          22        you percentages off the top of my
    23        A. I work with industrial               23        head. If you allow me to look at
    24   hygienists, but I do not have a degree in    24        a document I -- I could tell you.
                                           Page 187                                       Page 189
     1   it.                                           1   BY MR. HEGARTY:
     2        Q. You are not an expert on              2        Q. Are the opinions in your
     3   Johnson's Baby Powder, correct?               3   report specific to particular
     4            MS. O'DELL: Objection to             4   formulations of talcum powder consumer
     5        form.                                    5   products?
     6            THE WITNESS: I am not an             6            MS. O'DELL: Object to the
     7        expert on -- I -- could you              7        form.
     8        rephrase that?                           8            THE WITNESS: Are the
     9   BY MR. HEGARTY:                               9        opinions in your report specific
    10        Q. I don't think I can.                 10        to particular formulations.
    11        A. I don't know what you mean           11            My opinion is based on
    12   by expert. I mean I need to have -- I        12        biological plausibility based on
    13   think I need to have some criteria that      13        studies that have used talcum
    14   would make me an expert. If you are          14        powder or talc or fibrous talc or
    15   talking about the number of publications     15        nonfibrous talc.
    16   I have or whether I've testified.            16   BY MR. HEGARTY:
    17            I -- the word "expert"              17        Q. Did you analyze specifically
    18   throws me off a bit.                         18   the biologic plausibility of the
    19        Q. Well, where is the talc for          19   components of Johnson's Baby Powder for
    20   J&J's Baby Powder been mined over the        20   purposes of your opinions?
    21   years?                                       21            MS. O'DELL: Object to the
    22        A. In Vermont, in Italy, and            22        form.
    23   also in Korea.                               23            THE WITNESS: I looked at
    24        Q. What are the current                 24        the individual components that I
                                                                  48 (Pages 186 to 189)
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     1        was aware of. And looked at their       1   in the question that I was asked to
     2        ability to cause inflammation,          2   comment on, but from cursory knowledge
     3        let's say, or their carcinogenic        3   there are different cell types.
     4        potential.                              4        Q. What's the difference
     5   BY MR. HEGARTY:                              5   between a low grade and high grade tumor?
     6        Q. But did you look                     6        A. The induction of
     7   specifically -- did you specifically         7   invasiveness and proliferation capacity.
     8   analyze biologic plausibility specific to    8        Q. What is thought to be the
     9   J&J's -- strike that.                        9   primary origin of high-grade serous
    10             Did you analyze biological        10   ovarian cancer?
    11   plausibility specific to Johnson's Baby     11            MS. O'DELL: Object to the
    12   Powder in your report?                      12        form.
    13        A. If the literature was there,        13            THE WITNESS: Primary
    14   there was some -- I'm sorry, I can't        14        origin. I'm not sure what that
    15   remember the author now. But there were     15        means.
    16   authors and investigators that did use      16   BY MR. HEGARTY:
    17   Johnson's Baby Powder in their studies,     17        Q. Well, what is -- what is
    18   and if they used those studies, and I       18   typically the primary location or origin
    19   used that for -- to provide biological      19   of high-grade serous?
    20   plausibility, then yes.                     20        A. Do you mean in the ovary?
    21        Q. What studies were done              21        Q. I don't think I can ask it
    22   specific to Johnson's Baby Powder?          22   any different way.
    23             MS. O'DELL: Object to the         23        A. Well, I don't quite
    24        form.                                  24   understand your question.
                                          Page 191                                           Page 193
     1            THE WITNESS: Of course all          1        Q. What is the primary origin
     2       of the product documents.                2   of clear cell carcinoma?
     3            Sorry, I'm having difficulty        3            MS. O'DELL: Object to the
     4       recalling that -- the particular         4        form.
     5       name. It's not a memory test.            5            THE WITNESS: If you're
     6       I'm sorry.                               6        asking me the types, I don't
     7   BY MR. HEGARTY:                              7        recall the type of cell for clear
     8       Q. With regard to ovarian                8        cell carcinoma. Again, I'm not an
     9   cancer, what are the subtypes of the         9        OB/GYN, and I'm not a histologist.
    10   disease?                                    10   BY MR. HEGARTY:
    11       A. Well, as -- as --                    11        Q. For purposes of your report,
    12            MS. O'DELL: Object to the          12   did you analyze biologic plausibility for
    13       form.                                   13   each subtype of ovarian cancer?
    14            THE WITNESS: -- was pointed        14        A. No, sir.
    15       out, I'm not an OB/GYN. I can           15        Q. Is it your opinion that the
    16       tell you just from cursory              16   etiology of each of the subtypes of
    17       knowledge that there are serous,        17   ovarian cancer is the same?
    18       high grade, low grade serous,           18        A. There are many
    19       endometrioid, mucous cell,              19   commonalities.
    20       epithelioid.                            20            As I said, from my cursory
    21   BY MR. HEGARTY:                             21   knowledge and my background, early
    22       Q. What are the differences in          22   background in 1980, of being a --
    23   subtypes?                                   23   pathology when this was not even
    24       A. Again, this is not in my --          24   considered or thought about, there is
                                                                  49 (Pages 190 to 193)
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     1   etiologies -- I'm sorry, I had to refresh    1         Remove your microphones. The time
     2   my memory of your question.                  2         is 12:22 p.m. Off the record.
     3            There are different                 3             (Lunch break.)
     4   etiologies. Many -- and many of the          4             THE VIDEOGRAPHER: We are
     5   same, and so I think that -- if I may        5         back on the record. The time is
     6   gather my thoughts and refresh your          6         1:17 p.m.
     7   question.                                    7   BY MR. HEGARTY:
     8            So as I said, in terms of my        8         Q. Doctor, we're back on the
     9   opinion that the etiology in each of the     9   record. I want to go back to something
    10   subtypes of ovarian cancer is the same,     10   we talked about at the beginning, that
    11   there are many commonalities in --          11   is, the initial call that you had from
    12   etiology being the underlying reason.       12   Ms. Emmel.
    13   There are many commonalities for the same   13             You mentioned that you
    14   cancers, including things like cancer       14   reviewed materials between the time of
    15   stem cells in ovarian cancer, which are     15   the call and the time that you agreed to
    16   now being identified in the literature as   16   serve as an expert witness. Do you
    17   a possibility for recurrence of ovarian     17   recall saying that?
    18   cancer.                                     18         A. I do recall.
    19            So, yes, there are definite        19         Q. What materials did you
    20   commonalities in terms of the induction     20   review?
    21   of ovarian types of cancer.                 21         A. Just random, whatever I got
    22        Q. Well, my question was, is it        22   from the -- that came out using keywords
    23   your opinion that the etiologies of each    23   of talc, talcum powder, ovarian cancer.
    24   subtype are the same?                       24   Those were my initial keywords.
                                         Page 195                                           Page 197
     1          MS. O'DELL: Objection to              1       Q. Do you recall, sitting here
     2      form.                                     2   today, any particular articles, whether
     3          THE WITNESS: I have --                3   by author name or by name of that initial
     4          MS. O'DELL: Asked and                 4   search that you did before agreeing to
     5      answered.                                 5   serve as an expert?
     6          THE WITNESS: I have no                6       A. I looked at Ghio, G-I --
     7      opinion on that.                          7   G-H-I-O. Did inhalation of talc and
     8   BY MR. HEGARTY:                              8   airway cells in in vitro study.
     9      Q. Is it your opinion --                  9            I also looked at
    10          MS. O'DELL: Excuse me.               10   Dr. De Boers and migration of carbon
    11          THE WITNESS: Other than              11   black material.
    12      what I --                                12            I also looked at Dr. Venter
    13          MS. O'DELL: Sorry.                   13   and Iturralde, who talked about
    14          THE WITNESS: I'm sorry.              14   administered radiolabeled microspheres.
    15          MS. O'DELL: You may finish.          15            I read Dr. Weiner's --
    16      I didn't mean to cut you off.            16   Weiner's -- Dr. Weiner's publication. I
    17          THE WITNESS: Other than              17   read Dr. Epstein's letter.
    18      what I've just given.                    18       Q. Is that something that you
    19          MS. O'DELL: So, Mark, we've          19   found on your own?
    20      been going about an hour and ten         20       A. Excuse me. It wasn't
    21      minutes, I think.                        21   Dr. Epstein's letter. I'm sorry. I
    22          MR. HEGARTY: Okay. Take a            22   stand corrected.
    23      break.                                   23            I read the National
    24          THE VIDEOGRAPHER: Stand by.          24   Toxicology Report, the NTP 1993.
                                                                  50 (Pages 194 to 197)
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     1        Q. Did you do a more expansive            1   known about the product is consistent
     2   literature search and literature review        2   with a cause-and-effect relationship."
     3   after agreeing to serve as an expert           3            Do you see that where I'm
     4   witness?                                       4   reading?
     5        A. Of course.                             5        A. I see where you're reading.
     6        Q. Did you form any opinions,             6        Q. Where does that definition
     7   though, from that initial search that you      7   of biological plausibility come from?
     8   performed?                                     8        A. It is my professional
     9        A. My opinion at that time was            9   opinion.
    10   that there was certainly -- I had a great     10        Q. Is there still biological
    11   deal of interest in the topic, that there     11   plausibility if what is known about a
    12   was certainly enough information and          12   substance and a disease is consistent
    13   enough evidence to provide -- that was        13   with no cause-and-effect relationship?
    14   provided by these publications that --        14            MS. O'DELL: Object to the
    15   certainly that particles of the size of       15        form.
    16   talc can be -- can be translocated,           16            THE WITNESS: Biological
    17   migrated, and that -- at least from the       17        plausibility, to me, as stated
    18   lung, and so that there was biological        18        here -- and I will state it a
    19   plausibility for movement within the          19        different way, is that there is
    20   body.                                         20        actually literature and
    21            And I found it convincing            21        information, reliable, sound
    22   that I could -- that I could get involved     22        science that could -- that
    23   in this case and that I believe that          23        provides evidence that there is a
    24   there was, at that point with only            24        mechanism or mechanisms as well as
                                            Page 199                                         Page 201
     1   superficial literature searching, that         1        underlying information that could
     2   there was indeed room for an opinion.          2        prove the -- although it's not
     3   And that opinion being that there              3        necessary in Hill's criteria, that
     4   certainly was information provided that        4        could be used to prove a causal
     5   could lead me to provide biological            5        relationship.
     6   plausibility in that regard. Otherwise,        6            And in this case, that
     7   I would not have taken the case.               7        talcum powder, in particular
     8            What I would like to say is           8        Johnson & Johnson talcum powder,
     9   that I would have done the same thing if       9        can lead to ovarian cancer.
    10   you had called me, sir, to answer the         10   BY MR. HEGARTY:
    11   question of what my beliefs are and where     11        Q. Well, do you agree that the
    12   the science is.                               12   finding of biologic plausibility by
    13        Q. If you look at Page 2 again           13   itself does not mean causation?
    14   of your expert report.                        14        A. Biological plausibility is
    15        A. Yes, sir.                             15   used to supplement or to add on. It is
    16        Q. That's Exhibit 2. Again,              16   actually one of Hill's criteria. One
    17   under the section mandate --                  17   that he listed in his 1962 paper that is
    18        A. Yes.                                  18   not absolutely necessary but does provide
    19        Q. -- and methodology.                   19   compelling evidence. And I do believe
    20        A. I see it.                             20   that biological plausibility is extremely
    21        Q. You say at the end of the             21   important, in my personal opinion, in
    22   second paragraph that, "Biological            22   causal relationship. And Hill agrees to
    23   plausibility does not mean proof of           23   that as well.
    24   mechanism, but rather whether what is         24        Q. You agree, though, that the
                                                                    51 (Pages 198 to 201)
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     1   other Hill factors should be applied to      1   publication of yours, depositions or
     2   determine causality, other than -- in        2   expert reports in a litigation?
     3   addition to biological plausibility?         3        A. No. However, there are
     4        A. Well, I really can't say.            4   papers and regulatory -- regulatory
     5   Again, I know -- I know of Hill's work,      5   documents that are not considered
     6   and I know of his groundbreaking             6   published, published. If you mean
     7   publication. But again, I'm here to talk     7   peer-reviewed literature, that's one way
     8   about plausibility, not causation.           8   of publishing. But another way of
     9        Q. At the bottom of Page 2 you          9   publishing is also documents that are in
    10   say as part of your analysis you            10   a report.
    11   reviewed, "Depositions and numerous         11            And I have used reports in
    12   documents, internal memorandum and          12   my own publications, if they -- if they
    13   published and unpublished studies and       13   are accessible to me.
    14   testing results that I have found in my     14        Q. Have you ever in a published
    15   own searches of documents, documents        15   scientific article of yours cited to an
    16   provided by attorneys, and documents that   16   expert report from a doctor in a
    17   I requested." That's carrying over to       17   litigation?
    18   Page 3.                                     18        A. I'm sorry. I have to look
    19            Do you see that?                   19   down at your question.
    20        A. Toxicological studies. Are          20            Not that I recall. But
    21   we talking about toxicological studies      21   that's not to say that I would not.
    22   including in vivo and in vitro?             22            If it was appropriate for
    23        Q. No. I'm looking at the very         23   the paper that I was writing, I would
    24   last sentence of the paragraph at the       24   certainly use it.
                                          Page 203                                          Page 205
     1   bottom of Page 2, carrying over to the       1         Q. Can you identify any
     2   top of Page 3?                               2   scientific group -- strike that.
     3        A. In addition, I've reviewed           3             Before I ask you about
     4   depositions and numerous documents           4   causation, now I want to ask you about
     5   internal memorandum and published and        5   biological plausibility. Can you cite
     6   unpublished studies and testing results      6   for me any scientific group, body, or
     7   that I have found in my own searches.        7   even paper that has concluded that there
     8        Q. Correct. In any scientific           8   is biological plausibility between
     9   analysis that you have done, have you        9   perineal talc use and ovarian cancer?
    10   ever included as part of that analysis      10         A. Mm-hmm-hmm. If you look at
    11   documents provided by attorneys?            11   -- I don't know what exhibit it is. But
    12        A. In my -- when I publish, I          12   it is the Health Canada report. And --
    13   look at all relevant information that I     13   Canadian U.S. EPA. And if you look at
    14   have access to. It's about the science.     14   Taher's paper, systemic review and
    15        Q. Not my question. My                 15   meta-analysis, in both of those -- okay.
    16   question is in any prior work that you      16   So the environmental -- Health Canada and
    17   have done where you have published an       17   Canadian EPA, they put out this -- this
    18   article, have you included in the review    18   document, which is an assessment, a
    19   for purposes of publishing that article,    19   screening assessment document, to look at
    20   documents provided by lawyers?              20   biological plausibility as well as the
    21        A. No, sir, not to my                  21   other epidemiological literature.
    22   knowledge.                                  22             And they do speak to the
    23        Q. Have you ever included as           23   causation and they do speak to biological
    24   materials that you have reviewed for any    24   plausibility of talc and its association
                                                                  52 (Pages 202 to 205)
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                                          Page 206                                          Page 208
     1   or talc and it's causation for ovarian       1            MS. O'DELL: It's Exhibit 9.
     2   cancer. So they do in that document.         2   BY MR. HEGARTY:
     3             The systematic review and          3        Q. If you would look -- do you
     4   meta-analysis 2018 of Taher also speaks      4   have the Taher review?
     5   of it and reviews the 30 -- I think it's     5        A. I do.
     6   30 -- 30 studies, of which there are 26      6        Q. What's that marked as?
     7   case-controls and -- studies, and I think    7        A. That is Exhibit 10.
     8   four cohort studies. And they do also        8        Q. Exhibit 10?
     9   conclude that, by looking at the             9        A. Based on your yellow mark,
    10   meta-analysis, that there are -- that       10   yes.
    11   there is causation associated -- that       11        Q. If you look at the abstract
    12   there is causation for talcum powder and    12   under the conclusion section, it
    13   ovarian cancer.                             13   concludes that perineal use of talcum
    14         Q. Actually, Doctor, both             14   powder is a possible cause of human
    15   documents to which you reference conclude   15   ovarian cancer.
    16   only that perineal use of talcum powder     16            Do you see that?
    17   is a possible cause of ovarian cancer,      17        A. Excuse me. I dropped my
    18   correct?                                    18   microphone.
    19             MS. O'DELL: Object to the         19            Okay. Please repeat your
    20         form.                                 20   question. Your comment.
    21             THE WITNESS: They state           21        Q. Second page under the
    22         cause. And if you give me a           22   conclusion section. The conclusion of
    23         moment, I can look for it, within     23   the Taher article is, "The perineal use
    24         the document. So I'm looking at       24   of talc powder is a possible cause of
                                          Page 207                                          Page 209
     1        the Health Canada document.             1   human ovarian cancer," correct?
     2             Meta -- page -- I'm sorry.         2            MS. O'DELL: Objection to
     3        Roman Numeral III, "Meta-analysis       3        form.
     4        of the available human studies in       4            THE WITNESS: I see that
     5        the peer-reviewed literature            5        conclusion sentence.
     6        indicate a consistent and               6   BY MR. HEGARTY:
     7        statistically significant positive      7        Q. Nowhere in here do they say
     8        association between perineal            8   that talcum powder causes ovarian cancer,
     9        exposure to talc and ovarian            9   correct?
    10        cancer. Further available data         10            MS. O'DELL: Objection to
    11        are indicative of causal effect."      11        form.
    12   BY MR. HEGARTY:                             12            THE WITNESS: If you're
    13        Q. Okay. What is their                 13        looking for a specific sentence,
    14   ultimate conclusion?                        14        allow me to review.
    15        A. This is part of their               15   BY MR. HEGARTY:
    16   conclusion.                                 16        Q. Well, are you going to need
    17        Q. Can I look at that document?        17   to review the entirety of the paper?
    18        A. Absolutely.                         18        A. I may.
    19             MR. TISI: Is this marked as       19        Q. Okay. Well, I can't -- we
    20        an exhibit, Mark?                      20   don't have time for you to review the
    21             MR. HEGARTY: Yes.                 21   entirety of the paper so I'll withdraw
    22             MR. FINDEIS: Sorry, which         22   the question. If you need to review the
    23        number is it marked? So the            23   entirety of the paper.
    24        record is clear.                       24            Can you cite here without
                                                                  53 (Pages 206 to 209)
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     1   reviewing it anywhere where they say         1   letter, information. And I specifically
     2   talcum powder causes ovarian cancer?         2   asked that same question.
     3        A. I cannot --                          3        Q. Now, are you relying on the
     4            MS. O'DELL: Excuse me. And          4   fact it's been peer reviewed for your
     5        you're referring specifically to        5   opinions in this case?
     6        Exhibit 10?                             6        A. I'm relying on the science.
     7            MR. HEGARTY: Correct.               7        Q. Well, are you relying on
     8            MS. O'DELL: The Taher               8   whether -- on what plaintiffs' counsel
     9        paper?                                  9   told you as far as whether it's been peer
    10            THE WITNESS: I can't say it        10   reviewed?
    11        without looking at the paper.          11             MS. O'DELL: Object to the
    12   BY MR. HEGARTY:                             12        form.
    13        Q. Has the Taher paper been            13             THE WITNESS: That is what
    14   peer reviewed?                              14        I'm trying to look, whether there
    15        A. The Taher paper has -- is a         15        is an acknowledgment and whether
    16   document that, yes, has been peer           16        there is a statement within it
    17   reviewed. To my knowledge.                  17        which says it's peer reviewed.
    18        Q. Okay. What publication peer         18             It -- it's stated that in
    19   reviewed that document?                     19        order for this -- in order for a
    20        A. Excuse me?                          20        document such as this, and again
    21        Q. Who peer reviewed that              21        it depends on what you mean by
    22   document?                                   22        peer review, whether it's a
    23        A. I have -- I have no                 23        community or whether it's the
    24   knowledge of that.                          24        government. The government has
                                        Page 211                                             Page 213
     1         Q. How do you know it's been           1        looked at this, and they were
     2   peer reviewed?                               2        submitted by Health Canada, and as
     3         A. The -- the plaintiff lawyers        3        of now it's been submitted for
     4   have shown me a document, a cover letter,    4        peer review, but it was looked at
     5   information, I specifically asked that       5        by the Health Canada and by EPA.
     6   question of them.                            6   BY MR. HEGARTY:
     7         Q. And are you relying on what         7        Q. What document were you shown
     8   they provided to you for purposes of         8   that shows it's been peer reviewed?
     9   saying it's peer reviewed?                   9        A. On the first page,
    10         A. Please allow me to -- I'm          10   Exhibit 10, materials submitted to Health
    11   going to take a look into the document      11   Canada, materials submitted to journal
    12   again. There may be evidence that's in      12   for peer review.
    13   the document which says it's peer           13        Q. So it's not been peer
    14   reviewed.                                   14   reviewed?
    15         Q. Doctor, what are you looking       15        A. To my knowledge, it has been
    16   at for purposes of peer review? I asked     16   peer reviewed. And again I'm relying on
    17   you --                                      17   plaintiffs' attorney with that
    18         A. I'm looking to see -- sorry,       18   information.
    19   please finish your question.                19        Q. Have you ever cited in a
    20         Q. I asked you how do you know        20   scientific article of yours a publication
    21   it's been peer reviewed.                    21   that's not been peer reviewed?
    22         A. And I stated that the              22        A. All the time.
    23   plaintiff lawyer -- the plaintiffs'         23        Q. So that's something that --
    24   lawyers have shown me a document, a cover   24   that you have done as part of your
                                                                  54 (Pages 210 to 213)
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                                   Judith Zelikoff, Ph.D.
                                           Page 214                                          Page 216
     1   methodology?                                  1   or paper that has concluded that there is
     2             MS. O'DELL: Object to the           2   biologic plausibility between talcum
     3        form.                                    3   powder use and ovarian cancer?
     4             THE WITNESS: It's                   4        A. Biological plausibility, in
     5        something -- if there is -- based        5   my case, and for my review and for my
     6        on my opinion of the study design,       6   report, I'm looking at the inflammation
     7        the information, the science, if         7   as a biological plausibility.
     8        it -- if it needs to be stated, if       8             There is data going back and
     9        the science needs to be out there,       9   scientific reviews and publications going
    10        then I have cited numerous times        10   back to the '60s which implicate
    11        unpublished information.                11   inflammation as a biological mediator for
    12   BY MR. HEGARTY:                              12   cancer.
    13        Q. Do you understand that for           13        Q. Doctor, listen to my
    14   purposes -- that the -- strike that.         14   question. My question is very specific
    15             Do you understand that the         15   to talc and the biologic plausibility
    16   Health Canada risk assessment is a --        16   between talc and ovarian cancer.
    17   only a draft assessment at this point in     17             Can you cite for me, besides
    18   time?                                        18   the Canadian documents you cited, any
    19        A. It is going to be reviewed,          19   scientific group, body or organization
    20   yes. I understand that it -- it is a         20   that has concluded that there is biologic
    21   draft assessment. I also understand that     21   plausibility between talcum powder use
    22   it has gone through scrutiny by both         22   and ovarian cancer?
    23   Health Canada and Canadian EPA.              23        A. There is biological
    24        Q. Do you understand that               24   plausibility and there is evidence that
                                           Page 215                                          Page 217
     1   there's a comment period that's going on      1   in Step 1, that talc causes inflammation.
     2   right now?                                    2   In Step 2, that inflammation is a
     3        A. I understand that, yes.               3   well-known and well-established factor
     4        Q. And that this is not a final          4   in -- in cancer.
     5   statement?                                    5        Q. Doctor, you are not
     6        A. Final statement. In any               6   answering my question. Do you want to
     7   document, any regulatory document that --     7   read my question? My question is very
     8   those that are put out by the National        8   specific.
     9   Academy of Science, whatever document         9             Can you cite for me any
    10   you're using, there's always a peer          10   scientific body or group or organization,
    11   review or comment period.                    11   other than what you say the Canadian
    12            In my opinion, in my                12   group or groups did, that has concluded
    13   professional career, documents do not        13   that there is biologic plausibility
    14   change that drastically based upon the       14   between talcum powder use and ovarian
    15   comments that come in. Based upon            15   cancer?
    16   National Academy of Science, and the         16             MS. O'DELL: Objection.
    17   National Toxicology Program. There are       17        Objection to the question. Asked
    18   usually not -- there are no -- by the        18        and answered.
    19   time it reaches this point, there are no     19             THE WITNESS: I stand by my
    20   substantive comments that allow for          20        answer. That, again, talc can
    21   extensive changes.                           21        cause inflammation. It's well
    22        Q. Other than the Canadian              22        known. And inflammation is an
    23   documents you just cited, can you cite       23        underpinning for cancer.
    24   for me any other scientific group, body      24   BY MR. HEGARTY:
                                                                   55 (Pages 214 to 217)
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                                   Judith Zelikoff, Ph.D.
                                          Page 218                                        Page 220
     1        Q. Okay. Cite for me any                1   biological mechanism that everyone
     2   scientific group, body or organization       2   including the National Toxicology, the
     3   who has said that.                           3   IARC, the National Academy of Science,
     4        A. That is throughout                   4   EPA, all recognize.
     5   literature. If you go back to 1960 and       5        Q. Cite for me any group.
     6   talk about the Vertel and the role of        6   Again, you are not answering my question.
     7   inflammation in cancer, and numerous         7             My answer --
     8   other publications since that, if you        8        A. Okay.
     9   look at -- talc is used to induce            9        Q. -- my question is other than
    10   pleurodesis because of its inflammatory     10   the Canadian groups you've cited, cite
    11   responsiveness.                             11   for me any group by name who has reached
    12        Q. Doctor, you still are not           12   the same opinion as you about biologic
    13   answering my question. My question is       13   plausibility.
    14   name a scientific body, organization or     14             MS. O'DELL: Objection to
    15   group who has concluded, as you have        15        form. Other than those she just
    16   done, or you say you do in your paper,      16        listed in her last answer?
    17   that there is biologic plausibility         17             MR. HEGARTY: Well, she
    18   between talc and ovarian cancer.            18        didn't list any. I think the
    19            MS. O'DELL: Objection to           19        record shows that.
    20        the form.                              20             MS. O'DELL: Yes, she did.
    21            THE WITNESS: I gave you --         21             MR. HEGARTY: Which ones did
    22   BY MR. HEGARTY:                             22        she list?
    23        Q. Cite for me the groups.             23             MS. O'DELL: NTP. IARC.
    24            MS. O'DELL: Excuse me. Let         24             MR. HEGARTY: Okay. Are you
                                          Page 219                                        Page 221
     1        me -- objection to form. Asked          1       going on the record to say NTP has
     2        and answered. The doctor has            2       concluded that talcum powder use
     3        answered your question. You may         3       is a biologic
     4        not like the answer, but she's          4       plausibility/plausible cause of
     5        answered it.                            5       ovarian cancer?
     6   BY MR. HEGARTY:                              6            THE WITNESS: We're not --
     7        Q. Cite for me the groups by            7            MS. O'DELL: She was talking
     8   name.                                        8       about inflammation and cancer, as
     9            MS. O'DELL: Objection to            9       you well know.
    10        form.                                  10            MR. HEGARTY: Right, which
    11            THE WITNESS: Ask the               11       is why she's not answering my
    12        question again?                        12       question.
    13   BY MR. HEGARTY:                             13            MS. O'DELL: No, no. Your
    14        Q. Cite for me any name of any         14       question was not in relation to
    15   group that has reached the same opinion     15       specific talc and biologic
    16   as you?                                     16       plausibility.
    17        A. Besides the Health Canada?          17            So the doctor has answered
    18        Q. Correct.                            18       your question.
    19        A. There are -- I -- you're            19            MR. HEGARTY: I think the
    20   asking for something that is not -- I'm     20       record will reflect otherwise.
    21   answering the question by telling you       21   BY MR. HEGARTY:
    22   that you have talc which is an              22       Q. Doctor, listen to my
    23   inflamagogue, and you have talc and its     23   question --
    24   relationship with cancer. And that is a     24            MS. O'DELL: No, it will
                                                                 56 (Pages 218 to 221)
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                                  Judith Zelikoff, Ph.D.
                                          Page 222                                          Page 224
     1        not.                                    1   I've shown, whether it's in air pollution
     2   BY MR. HEGARTY:                              2   or whether it's in tobacco products or
     3        Q. Listen to my question.               3   nicotine products or World Trade Center
     4            Can you cite for me any             4   dust or metal inhalation or nanoparticle
     5   group besides the Canadian group who has     5   inhalation. They all give biological
     6   concluded that there is biologic             6   plausibility statements for the
     7   plausibility, who has made a statement       7   observations that have been found in my
     8   that there is biologic plausibility          8   laboratory.
     9   between talcum powder use and ovarian        9        Q. Where have you ever
    10   cancer?                                     10   published step-by-step methodology for
    11        A. I'm telling -- as I said            11   how you go about determining whether
    12   before, you're leaving out the word         12   there is biological plausibility between
    13   "inflammation."                             13   a substance and a disease?
    14        Q. Doctor, you -- you need to          14        A. I use my professional
    15   answer the question I ask.                  15   judgment.
    16        A. I -- I --                           16        Q. Have you ever published that
    17        Q. Your counsel can come back          17   professional judgment?
    18   and ask you that question. I under -- I     18            MS. O'DELL: Objection to
    19   want to know the name of any organization   19        form.
    20   by name who has concluded that there is     20            THE WITNESS: I don't think
    21   biologic plausibility between perineal      21        that would be publishable
    22   use of talc and ovarian cancer.             22        material.
    23        A. Anyone --                           23   BY MR. HEGARTY:
    24            MS. O'DELL: Other than the         24        Q. In the end, Doctor, your
                                          Page 223                                          Page 225
     1       ones she -- she's listed.                1   report is your subjective take on the
     2            THE WITNESS: Anyone that            2   studies, correct?
     3       you say -- any -- I'll do it             3            MS. O'DELL: Objection to
     4       again. National Toxicology               4        form.
     5       Program. IARC. Institute of              5   BY MR. HEGARTY:
     6       Medicine.                                6        Q. I mean, you don't speak for
     7            They may not say the                7   any scientific group, do you?
     8       sentence you are -- you are              8        A. I'm an expert toxicologist,
     9       implying or you're stating. But          9   recognized clearly by the Society of
    10       they all show that talc has --          10   Toxicology as an expert in my field.
    11       produces inflammation.                  11   And -- I'm sorry. I --
    12            I don't think that the -- I        12        Q. Well, is your report
    13       think that's a very common              13   speaking for the society --
    14       knowledge that talc or talcum           14            MS. O'DELL: Excuse me.
    15       powder products does produce            15   BY MR. HEGARTY:
    16       inflammation.                           16        Q. Is your report speaking for
    17   BY MR. HEGARTY:                             17   the Society of Toxicology?
    18       Q. Doctor, where have you ever          18            MS. O'DELL: She wasn't
    19   published a methodology for determining     19        finished.
    20   whether there is biologic plausibility      20            THE WITNESS: I wasn't. I
    21   between an exposure and a disease?          21        was --
    22       A. Almost every paper that I            22            MS. O'DELL: She wasn't
    23   have in my CV talks about the biological    23        finished. Please let the witness
    24   plausibility for the observations that      24        finish.
                                                                  57 (Pages 222 to 225)
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                                  Judith Zelikoff, Ph.D.
                                          Page 226                                        Page 228
     1            MR. HEGARTY: I'll withdraw          1        form.
     2        the question.                           2             You can answer.
     3   BY MR. HEGARTY:                              3             THE WITNESS: This is my
     4        Q. Doctor, do you speak for the         4        opinion based upon my systematic
     5   Society of Toxicology for purposes of        5        review of all the scientific
     6   your opinions in your report?                6        literature. And they -- by the
     7        A. No.                                  7        nature of hiring me, they have
     8        Q. Do you speak for any                 8        approved of my -- my opinions.
     9   society, any toxicology society --           9        Maybe not specifically in this
    10   society for purposes of your opinions?      10        case, but they would not have
    11        A. You didn't let me finish my         11        hired me or kept me for 35 years
    12   answer.                                     12        if they did not agree that I was a
    13            I do not speak for the             13        well-known established
    14   society of toxicology. But I am a           14        toxicologist whose opinions are
    15   recognized toxicology expert, recognized    15        based in my professional judgment.
    16   by the Society of Toxicology as an          16   BY MR. HEGARTY:
    17   expert. And I have written this report      17        Q. Did you tell the university,
    18   based upon literature, scientific           18   New York University, of your opinions in
    19   evidence, and my professional judgment.     19   this case?
    20        Q. What society has recognized         20        A. I did not.
    21   you as an expert in talc and ovarian        21        Q. Have you told them that
    22   cancer?                                     22   you're an expert witness for plaintiffs
    23        A. I'm recognized as expert in         23   in this litigation?
    24   toxicology.                                 24        A. I have, yes.
                                          Page 227                                        Page 229
     1        Q. What society has --                  1        Q. Have you reported, in your
     2        A. Society of Toxicology.               2   financial disclosure, the money that
     3        Q. Has the Society of                   3   you've made in this litigation?
     4   Toxicology recognized you as an expert in    4        A. Up until -- we are asked
     5   talc and ovarian cancer?                     5   that question -- we have to fill out
     6            MS. O'DELL: Objection to            6   reports on transparency and conflicts of
     7        form.                                   7   interest. And I think the last time I
     8            THE WITNESS: I was                  8   did it was in November of 2018. And I
     9        recognized as an expert in tox and      9   reported up to that time, yes. We are
    10        ovarian cancer and talc by the         10   required to do that and, yes, I am
    11        very basis that I'm sitting here.      11   completely transparent.
    12   BY MR. HEGARTY:                             12            So any money that I've made
    13        Q. You don't speak for your            13   since November, or since the filing of
    14   university, do you?                         14   the confidentiality agreement has not
    15        A. No one -- no one speaks             15   been reported but will be coming in March
    16   directly for the university. But what we    16   or April.
    17   say, we understand our paychecks come       17        Q. You don't speak for any
    18   from the university, and we follow within   18   journal for the purpose of your report,
    19   the university and the medical school       19   do you?
    20   guidelines.                                 20        A. For purposes of this report
    21        Q. Are your opinions in this           21   I do not speak for journals. But I do
    22   case the opinions of New York University?   22   speak for journals because I'm an editor,
    23        A. This is my --                       23   I'm an associate editor and on the
    24            MS. O'DELL: Objection to           24   editorial boards for numerous
                                                                  58 (Pages 226 to 229)
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                                   Judith Zelikoff, Ph.D.
                                          Page 230                                         Page 232
     1   environmental health and toxicology          1        several, there are case-control
     2   journals.                                    2        studies as well as cohort studies
     3        Q. At the top of Page 3 of your         3        which showed negative
     4   report, you say in the first full            4        associations.
     5   paragraph that you considered the studies    5   BY MR. HEGARTY:
     6   that did not find an increased risk of       6        Q. You did not cite any of
     7   ovarian cancer with talc use.                7   those in your report, though, did you?
     8            Do you see that?                    8        A. No. What I said -- I'm
     9            MS. O'DELL: What page are           9   sorry. Let me try and make it clear.
    10        you on? I'm sorry.                     10             Yes, those meta-analyses
    11   BY MR. HEGARTY:                             11   were included in the report or -- I need
    12        Q. Page 3.                             12   to find the names. Systematic review
    13        A. I'm sorry. I know we're on          13   that I cited was
    14   Page 3.                                     14   P-E-N-N-I-N-K-I-L-A-M-P-I 2018. And that
    15        Q. The first full paragraph.           15   was a meta-analysis which reviewed the
    16        A. My opinions below?                  16   epidemiological case-control and cohort
    17        Q. The first full paragraph.           17   studies which showed that there were
    18        A. My opinions below. "My              18   studies that had negative associations.
    19   opinions below" --                          19        Q. Is that the only reference
    20        Q. At the very -- at the very          20   that you included in your report, to
    21   end, you say you considered those studies   21   studies that did not find an increased
    22   that did not find an increased risk.        22   risk of ovarian cancer with talc use?
    23            Do you see that?                   23             MS. O'DELL: Object to the
    24        A. I'm reading it.                     24        form.
                                          Page 231                                         Page 233
     1            Yes, okay. You were reading         1            THE WITNESS: No. No.
     2   in the middle of the sentence. "To my        2            MS. O'DELL: Excuse me.
     3   knowledge, I considered and evaluated the    3        Object to the form.
     4   majority of all available relevant           4            THE WITNESS: No. Under the
     5   studies in the process of evaluating the     5        animal models on Page 13, there
     6   literature, including those that reported    6        were -- with rats that were
     7   an elevated risk of ovarian cancer with      7        exposed by the peritoneum --
     8   exposure to talc and those where other       8        perineum, sorry, to either talc or
     9   chemicals were reported within talc-based    9        no treatment. And while they did
    10   body powders, including those that did      10        find inflammatory response --
    11   not find an increased risk." Yes.           11        again, going back to my biological
    12        Q. You did not cite a single           12        plausibility -- they did not find
    13   paper in your report that did not find an   13        neoplasms.
    14   increased risk of ovarian cancer with       14   BY MR. HEGARTY:
    15   talc use, did you?                          15        Q. So that would be an example
    16            MS. O'DELL: Objection to           16   of a study that did not show an increased
    17        form.                                  17   risk of ovarian cancer with talc use,
    18            THE WITNESS: There were --         18   correct?
    19        in reading over the meta-analysis      19        A. That is --
    20        of -- I'm sorry, I'm probably          20            MS. O'DELL: Object to the
    21        going to get his name wrong --         21        form.
    22        Penninkilampi.                         22            Go ahead.
    23            In reading over the                23   BY MR. HEGARTY:
    24        meta-analysis of several -- from       24        Q. Is that correct?
                                                                  59 (Pages 230 to 233)
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                                   Judith Zelikoff, Ph.D.
                                          Page 234                                          Page 236
     1        A. Sorry. Repeat the question.          1   showing that talc was not toxic to cells?
     2   Repeat the question, please.                 2        A. I read comparison studies.
     3        Q. Sure. So that is an example          3   Let me please find that, the exact names.
     4   of a study that, in your opinion, does       4        Q. Let me withdraw the
     5   not show an increased risk of ovarian        5   question. Doctor, in your opinion is
     6   cancer with talc use?                        6   talc mutagenic?
     7            MS. O'DELL: Objection to            7        A. How do you define
     8        form. Go ahead. Sorry.                  8   "mutagenic"?
     9            THE WITNESS: Sorry.                 9        Q. Doctor, what's your --
    10            This is a study which shows        10   mutagenic is mutation to genes. Does
    11        biological plausibility by showing     11   talc mutate genes?
    12        that there is a foreign body           12        A. Talc leads to changes in
    13        reaction and inflammatory              13   gene expression which can be inferred as
    14        response. However, it does not         14   a mutation. However, when you talk about
    15        show that there was any change in      15   mutation, you have many different
    16        neoplasm -- or any induction of        16   mechanisms of mutation. Mutation can
    17        neoplasms or cancer.                   17   occur as a result of a genotoxic or
    18   BY MR. HEGARTY:                             18   direct impact on DNA, or it can occur as
    19        Q. Did you read any cell study         19   a result of changes in the epigenome,
    20   that showed that talc is not cytotoxic?     20   which leads to changes in expression of
    21        A. Can you please explain what         21   the gene.
    22   you mean by cytotoxic? I want to answer     22        Q. Does talc directly mutate
    23   the question as you understand it.          23   genes?
    24        Q. What is your definition of          24        A. Talc has been shown to
                                          Page 235                                          Page 237
     1   cytotoxicity?                                1   cause -- to cause changes in particular
     2         A. I'd like to answer the              2   enzymes in the gene expression. So a
     3   question that you're asking me.              3   mutation -- yes, it has been -- it has
     4         Q. I'm asking you your                 4   been shown for mutation. But I just
     5   definition. The way a deposition works       5   need -- I need the attorneys to
     6   is I ask you questions. You don't ask me     6   understand that there are many ways to
     7   questions.                                   7   mutate a cell, not only can you do it by
     8             MS. O'DELL: Don't be -- be         8   chemical agent, but you can also -- it
     9         courteous to the witness, please.      9   occurs with aging.
    10             MR. HEGARTY: I am.                10            So you do not need -- I'm
    11             THE WITNESS: I appreciate         11   sorry. You do not need genotoxicity to
    12         that. I just want to, as a            12   produce mutagenesis.
    13         toxicologist, the word                13            Now, if you look at many
    14         "cytotoxicity" carries many           14   different assays such as the Ames assay
    15         meanings.                             15   which uses bacteria to assess
    16   BY MR. HEGARTY:                             16   mutagenicity, you are not going to see
    17         Q. What is your definition --         17   that as a possibility for talc because
    18   basic definition of cytotoxicity?           18   the bacteria cannot engulf the particle
    19         A. There are many meanings.           19   and the particle needs to be ingested in
    20   Cytotoxicity taken literally meaning        20   order to show mutagenesis.
    21   toxicity to a cell. Cyto, cell;             21        Q. Doctor, on Page 4 above your
    22   toxicity, toxic. However, toxicity can      22   section "fibrous talc" --
    23   be measured by numerous endpoints.          23        A. I see it.
    24         Q. Did you read any studies           24        Q. -- you refer to particle
                                                                  60 (Pages 234 to 237)
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                                  Judith Zelikoff, Ph.D.
                                          Page 238                                           Page 240
     1   size for talc.                               1            THE WITNESS: Establishing
     2        A. That's correct.                      2        my biological plausibility was --
     3        Q. Is knowing particle size             3        was travel -- is traveling through
     4   part of your methodology for your            4        migration and the ability for a --
     5   opinions in your report?                     5        for the powder to migrate or the
     6        A. I'm sorry. I don't                   6        constituents to migrate. And --
     7   understand what you mean by was it part      7        and also the ability to be
     8   of my methodology.                           8        inflammatory.
     9        Q. Well, what is the threshold          9   BY MR. HEGARTY:
    10   size of a talc particle to establish        10        Q. Well, what size -- what size
    11   biologic plausibility?                      11   of particle -- what size must the
    12            MS. O'DELL: Object to form.        12   particle be to cause inflammation that
    13            THE WITNESS: I don't think         13   leads to ovarian cancer?
    14        you can answer that question.          14        A. Particles of any --
    15            In -- let me say this.             15            MS. O'DELL: Objection to
    16            In doing my methodology and        16        form. You may go.
    17        accumulating literature, I -- as I     17            THE WITNESS: Particles of
    18        said, I binned or siloed               18        any size can cause inflammation.
    19        individual things.                     19   BY MR. HEGARTY:
    20            And one of the silos and one       20        Q. What about talc particles,
    21        of the categories that I -- that I     21   what size of talc particle must there be
    22        wanted to read was size. Size          22   to cause inflammation?
    23        makes a very big difference in         23        A. Talc particles of any size
    24        particles, and for example, if the     24   can cause inflammation.
                                          Page 239                                           Page 241
     1        particle is greater than                1        Q. And is there --
     2        10 microns it's going to be what        2        A. However, there are
     3        we call inhalable as opposed to         3   differences, from reading the literature,
     4        respirable. So where a particle         4   that indicates that the smaller the
     5        can go in terms of, and now I'm         5   particle the greater the inflammation.
     6        using the lung as an example,           6            And that's universally
     7        where the particle can go will          7   known.
     8        depend upon its size and how long       8        Q. Was part of your analysis,
     9        it will remain in a tissue.             9   did you -- did that involve investigating
    10            So in my bins, in my silos         10   biologic plausibility as it relates to
    11        were -- certainly size was a           11   particle size?
    12        parameter.                             12        A. That was -- that was part of
    13   BY MR. HEGARTY:                             13   my reading and part of my -- my thought
    14        Q. And what is the threshold           14   process, my gathering of information,
    15   size of a talc particle to establish        15   yes.
    16   biologic plausibility between talc and      16        Q. And is there a certain size
    17   ovarian cancer?                             17   of particle necessary to establish
    18            MS. O'DELL: Objection to           18   biologic plausibility under your opinion?
    19        the form.                              19            MS. O'DELL: Objection.
    20   BY MR. HEGARTY:                             20        Asked and answered.
    21        Q. What size must the particle         21            THE WITNESS: Well, I do
    22   be?                                         22        think I answered that question.
    23            MS. O'DELL: Objection to           23        But again there's really --
    24        form.                                  24        apart -- it is not just particle
                                                                  61 (Pages 238 to 241)
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                                    Judith Zelikoff, Ph.D.
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     1        size which is important in                1        Q. Well, fibrous talc is only
     2        producing an inflammation. It is          2   talc that grows in an -- in an
     3        many parameters. And so there was         3   asbestiform habit, correct?
     4        no one size or one cutoff that            4        A. Fibrous talc refers to the
     5        induces inflammation or does not.         5   shape and the longitudinal direction of
     6        It's chemical composition, it's           6   the fibers. That's what fibrous talc is,
     7        shape of the particle, it's               7   and asbestiform refers to the same
     8        bioavailability of the particle.          8   longitudinal pattern of the particular
     9   BY MR. HEGARTY:                                9   fibrils and -- to form a bundle or to
    10        Q. Can you cite for me the --            10   form a fiber.
    11   the particle size for Johnson's Baby          11        Q. So you don't agree that
    12   Powder over the last 120 years?               12   fibrous talc is only talc that grows in
    13             MS. O'DELL: Objection to            13   an asbestiform habit?
    14        form.                                    14             MS. O'DELL: Objection to
    15             THE WITNESS: I'm not sure I         15        form.
    16        can cite it over the last                16             THE WITNESS: Fibrous talc
    17        120 years. But I can tell you            17        by its very nature is saying that
    18        from the information in the              18        it grows in an asbestiform-like
    19        documents that I -- that I               19        phenotype or asbestiform-like
    20        reviewed, that particle size goes        20        morphology. That's the nature of
    21        from above 50 microns,                   21        asbestiform.
    22        micrometers, microns, down to            22             Asbestiform is a form.
    23        0.3 micron with an average size of       23   BY MR. HEGARTY:
    24        10.5 to 11.5 depending on the            24        Q. You state in the middle
                                            Page 243                                           Page 245
     1         document that you read. So an            1   paragraph, in that section, that talc in
     2         average or median size.                  2   its fibrous form has been classified by
     3   BY MR. HEGARTY:                                3   IARC as Group I, a known carcinogen.
     4         Q. So did you -- did you do              4   That's not correct, is it?
     5   analysis for biologic plausibility             5             MS. O'DELL: Objection to
     6   purposes of every size of talc particle?       6         form.
     7             MS. O'DELL: Objection.               7             THE WITNESS: I'm sorry,
     8         Asked and answered.                      8         could you say again?
     9             THE WITNESS: Did I do                9   BY MR. HEGARTY:
    10         analysis -- I -- no, as I said, I       10         Q. Well, you agree that only
    11         gave you the size of the -- of the      11   talc containing asbestiform fibers has
    12         talcum that was reviewed, that I        12   been classified as Group I by IARC,
    13         reviewed within the documents.          13   correct?
    14   BY MR. HEGARTY:                               14         A. Are you referring to in 2010
    15         Q. You, on -- on page -- strike         15   IARC expanded or -- I'm sorry, in its
    16   that.                                         16   fibrous form, talc has been classified as
    17             Under the section Fibrous           17   a Group I known carcinogen?
    18   Talc, you say that -- is it your              18         Q. Correct.
    19   testimony that -- strike that.                19         A. Asbestiform fibers have been
    20             Is it your opinion that             20   listed by IARC as a carcinogen.
    21   asbestiform talc is also called fibrous       21         Q. A talc containing
    22   talc?                                         22   asbestiform fibers is the only form of
    23         A. Talc and asbestos are -- are         23   talc that's been designated as a class --
    24   different minerals.                           24   as a Category I carcinogen by IARC,
                                                                    62 (Pages 242 to 245)
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                                  Judith Zelikoff, Ph.D.
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     1   correct?                                     1   Can you cite for me any published medical
     2         A. It's not the only one that's        2   literature finding asbestiform talc in
     3   been associated with it, but for the         3   Johnson's Baby Powder?
     4   purpose of my report that I put down,        4        A. Page 6 of my report speaks
     5   it's the asbestiform that has been           5   of the Crowley report, and that the fiber
     6   classified by the IARC.                      6   content ranged from 8 percent to
     7         Q. Well, it's talc containing          7   30 percent. And that Pooley and Rohl
     8   asbestiform fibers, correct?                 8   analyzed 27 talc powders and detected
     9             MS. O'DELL: Objection to           9   tremolite fibers in three samples.
    10         form.                                 10        Q. Is it your testimony that
    11             THE WITNESS: It's -- it's         11   Crowley -- Crowley's article refers to
    12         fibrous talc.                         12   Johnson's Baby Powder?
    13   BY MR. HEGARTY:                             13        A. I would have to see the
    14         Q. Is that -- that's your --          14   article.
    15   your -- it's your opinion that IARC's       15        Q. How about Pooley and Rohl,
    16   designation in 2012 is of asbestiform       16   do they refer to Johnson's Baby Powder?
    17   talc?                                       17        A. I would have to see the
    18         A. Their designations is              18   article.
    19   form -- is talc fibers, which are           19        Q. In the end, for purposes of
    20   asbestiform in nature.                      20   your opinion as to asbestos and talc,
    21         Q. Do you cite to any published       21   you're relying on the report of Longo and
    22   data in the medical literature that         22   Rigler, correct?
    23   asbestiform talc has been found in          23            MS. O'DELL: Objection to
    24   Johnson's Baby Powder?                      24        form.
                                          Page 247                                         Page 249
     1         A. I'm sorry.                          1            THE WITNESS: No, I rely on
     2            You cite -- do you cite to          2        the scientific literature, not on
     3   any published data in the medical            3        any one paper. I used weight of
     4   literature that asbestiform talc...          4        evidence to come to my opinion.
     5            The documents, the published        5   BY MR. HEGARTY:
     6   documents within Johnson & Johnson and       6        Q. Did you include in your
     7   the Longo report, Longo's 2017, as well      7   weighing of evidence the expert reports
     8   as 2018 supplement from December, shows      8   of Longo and Rigler?
     9   asbestiform fibers.                          9        A. I read the Longo supplement
    10         Q. My question though is can          10   2018 after I wrote the report.
    11   you cite any data published in the          11        Q. For purposes -- for purposes
    12   medical literature that has found           12   of the opinions again in this case, do
    13   asbestiform talc in Johnson's Baby          13   you rely in any way on the Longo and
    14   Powder?                                     14   Rigler reports?
    15         A. I thought I just did in            15            MS. O'DELL: Objection to
    16   terms of the Longo report.                  16        form.
    17         Q. Is the Longo report                17            THE WITNESS: I'm not sure I
    18   published in the medical literature?        18        understand your question. As I
    19         A. It's -- I'm not sure whether       19        said, I wrote the report on
    20   it's accessible in the medical -- medical   20        November 16th. I read the Longo
    21   literature at this point. But I'm sure      21        supplement report in -- about two
    22   it could be gathered.                       22        weeks ago.
    23         Q. My -- my question is solely        23   BY MR. HEGARTY:
    24   as to the published medical literature.     24        Q. But you cite in your report
                                                                  63 (Pages 246 to 249)
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                                  Judith Zelikoff, Ph.D.
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     1   the -- the MDL report of Longo and          1        use, the polarized light
     2   Rigler, correct?                            2        microscopy and the TEM all seem to
     3        A. What page is that please?           3        be the way he describes it. His
     4        Q. At the end of Exhibit B.            4        methodologies were spot on in
     5        A. I -- okay.                          5        terms of what other people do.
     6             Excuse me. I referred to          6   BY MR. HEGARTY:
     7   Longo on page -- there is no page.          7        Q. Are you an expert in XRD?
     8   Sorry.                                      8        A. As I stated, I worked with
     9             The cosmetic talc in the          9   people who used the instrumentation. An
    10   Lancet and cosmetic talc in -- and         10   expert, again, I'm not sure what you mean
    11   ovarian cancer in the Lancet. Those are    11   by expert. Have I done XRD on my own,
    12   very early papers which I -- which I       12   no. But in our department we have
    13   reviewed. Those papers were considered.    13   numerous people who -- who use that
    14   The latest papers from Longo were not      14   instrumentation.
    15   considered in my report.                   15        Q. Are you an expert in TEM?
    16        Q. Are you talking about the          16        A. I have done TEM for my Ph.D.
    17   latest --                                  17   thesis.
    18        A. 2017, 2018. They were not          18        Q. Have you do TEM -- have you
    19   read until after the report was            19   ever done TEM to detect asbestos?
    20   finalized.                                 20        A. I have not done TEM to
    21        Q. Do you know Longo and              21   detect asbestos. But I looked at his
    22   Rigler?                                    22   methodologies, his study design, and the
    23        A. Not at all.                        23   instruments that he used. And they are
    24             THE VIDEOGRAPHER: Doctor,        24   state of the art.
                                         Page 251                                         Page 253
     1       can you raise your microphone up?       1         Q. Have you ever performed the
     2            THE WITNESS: Oh, sure.             2   test that he describes in his articles or
     3   BY MR. HEGARTY:                             3   reports?
     4       Q. Did you do anything to               4         A. I have used polarized light
     5   assess their expertise in this area?        5   microscopy.
     6       A. I -- I --                            6         Q. That's not my question. My
     7            MS. O'DELL: Are you                7   question is have you performed the same
     8       referring to Dr. Longo and              8   tests in your lab or in any -- in your
     9       Dr. Rigler?                             9   experience that he has performed and
    10            MR. HEGARTY: Yes.                 10   reported on in his reports?
    11            THE WITNESS: I read the --        11         A. Personally, no.
    12       the bio sketch, a brief, very          12         Q. Starting on Page 5, you talk
    13       brief bio sketch of Ray Longo.         13   about asbestos.
    14       And I looked up his credentials in     14         A. Page 5 of what?
    15       terms of how long he's been in         15         Q. Of your report.
    16       the -- in this company, how he         16         A. Thank you.
    17       started this company or at least       17         Q. Is it your opinion that any
    18       was president of this company for      18   amount of exposure to asbestos, even to a
    19       a short period of time.                19   single fiber, can cause disease?
    20            From what I know of my own        20         A. From the scientific
    21       work in the laboratory and working     21   literature it is -- it appears -- it
    22       with other chemists and technical      22   appears pretty conclusive that there is
    23       instrumentation people in the          23   no threshold for the amount of
    24       laboratory, I -- the XRD that they     24   asbestiform asbestos that is needed to at
                                                                 64 (Pages 250 to 253)
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                                   Judith Zelikoff, Ph.D.
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     1   least start a disease process.                1            THE WITNESS: I don't think
     2        Q. Before being contacted by             2       that's -- I don't think that's --
     3   counsel for plaintiffs in this case, had      3       I don't personally think that's
     4   you read any literature concerning            4       the question.
     5   asbestos and ovarian cancer?                  5            The question is, asbestos is
     6        A. I have not read literature            6       well classified, well known as a
     7   prior to that on asbestos and ovarian         7       Class 1 carcinogen by IARC. And
     8   cancer. However, I am familiar with, as       8       one fiber has the potential to
     9   I said, other particles, other dusts,         9       initiate the biological processes
    10   other fibers that I have worked with in      10       or provides biological
    11   the laboratory.                              11       plausibility that there, in fact,
    12        Q. Had you even heard of a link         12       by producing inflammation and
    13   between asbestos and ovarian cancer          13       producing reactive oxygen
    14   before being contacted by plaintiffs'        14       intermediates, one fiber can start
    15   counsel?                                     15       the process for ovarian cancer.
    16        A. Yes.                                 16            And again, let me just
    17        Q. Where did you hear that              17       repeat that my mission, my
    18   from?                                        18       question that was asked, was to
    19        A. Discussed it with my                 19       provide biological plausibility
    20   colleagues. As I said, I've listened to      20       for talc, not to define causation
    21   the media on discussing it. And my           21       as an epidemiologist.
    22   colleagues are a very good source,           22   BY MR. HEGARTY:
    23   although they do not do this work in         23       Q. So it's your opinion that a
    24   their laboratory, we all try to keep up      24   single fiber of asbestos in talc can
                                           Page 255                                          Page 257
     1   with the latest emerging scientific           1   establish biological plausibility between
     2   debates.                                      2   talc and ovarian cancer?
     3        Q. What is the minimum number            3        A. My --
     4   of asbestos fibers necessary to cause         4            MS. O'DELL: Object to the
     5   ovarian cancer?                               5        form.
     6        A. Can -- do you mean -- I said          6            THE WITNESS: My opinion is
     7   that there is really no threshold. And        7        that a single fiber can induce
     8   it can be one fiber. It depends on the        8        inflammation and reactive oxygen
     9   individual and the susceptibilities and       9        species and can change the cell
    10   the vulnerabilities of that particular       10        into a pro-oxidant cell that
    11   individual.                                  11        starts the process for ovarian
    12        Q. So it's your opinion that            12        cancer.
    13   one fiber of asbestos can cause ovarian      13   BY MR. HEGARTY:
    14   cancer?                                      14        Q. Do you agree that there are
    15        A. Under certain conditions,            15   background rates of asbestos in certain
    16   yes, it is my opinion.                       16   areas?
    17        Q. Can you cite for me any              17        A. Do you mean in the air?
    18   authority for that opinion specific to       18        Q. In the air?
    19   one fiber?                                   19        A. In the air, it depends on
    20             MS. O'DELL: Object to form.        20   that area. If that's an area where
    21   BY MR. HEGARTY:                              21   there's mining or there's a house being
    22        Q. And ovarian cancer.                  22   redone from the 1970s or 19 -- early '80s
    23             MS. O'DELL: Object to the          23   that might have used asbestos, then there
    24        form.                                   24   will be asbestos in the air. But not
                                                                   65 (Pages 254 to 257)
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                                   Judith Zelikoff, Ph.D.
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     1   sitting in this room, unless there is         1        A. It depends. After the World
     2   asbestos in the walls, which I doubt          2   Trade Center, there was.
     3   because it was only built about ten years     3        Q. Are those background
     4   ago.                                          4   levels -- do those background levels
     5         Q. Do the background rates of           5   cause ovarian cancer?
     6   asbestos in certain areas cause ovarian       6            MS. O'DELL: Objection to
     7   cancer?                                       7        the form.
     8         A. Asbestos has been shown to           8            THE WITNESS: The studies
     9   cause ovarian cancer by inhalation, yes.      9        that have been done by my
    10         Q. Is it your opinion that             10        colleagues in the aftermath of the
    11   background rates of asbestos in the air      11        World Trade Center disaster where
    12   can cause ovarian cancer?                    12        asbestos was generated have not at
    13             MS. O'DELL: Object to the          13        this time -- and New York City
    14         form.                                  14        Public Health has not at this time
    15             THE WITNESS: I don't --            15        looked at ovarian cancer. Ovarian
    16         again, background rates, it has        16        cancer occurs within 10 to 30, up
    17         been shown that workers that are       17        to 40 years later. So since 9/11
    18         in places where asbestos is made       18        was only 2001, there is -- there
    19         have a higher incidence of lung        19        is not sufficient time to have
    20         cancer as shown by Dr. Selikoff        20        developed ovarian cancer.
    21         many, many years ago.                  21   BY MR. HEGARTY:
    22   BY MR. HEGARTY:                              22        Q. Doctor, before 9/11 there
    23         Q. Doctor, you know what a             23   were background levels of asbestos in
    24   background rate of -- background level of    24   certain parts of New York City, correct?
                                           Page 259                                          Page 261
     1   a particle in air is, right?                  1        A. When there are houses that
     2        A. Yes, sir, I do.                       2   were built with it. There is -- asbestos
     3        Q. Okay. And is it your                  3   is not just -- should not be -- unless
     4   opinion that background levels of             4   there's a source, asbestos should not --
     5   asbestos in the air can cause ovarian         5   it would not be coming from jet engines.
     6   cancer?                                       6   It would not be coming from other
     7             MS. O'DELL: Objection to            7   sources. If it's there, it came from a
     8        form.                                    8   specific source. It's like we should not
     9             THE WITNESS: As I said,             9   have lead in our body at all. But we do
    10        sitting in this room, there should      10   because the lead came from the air where
    11        not be any background level of          11   there was lead in the gasoline.
    12        asbestos. So if you're talking          12            So there shouldn't be
    13        about background level in a             13   background levels of asbestos just
    14        particular institute or industry        14   hanging around unless there's an adequate
    15        where they're developing it, those      15   source that produced it.
    16        levels are quite high, and yes, I       16        Q. Does EPA allow background
    17        do believe that those levels            17   levels of asbestos in water?
    18        within a working environment can        18        A. I'm not familiar with that
    19        indeed cause inflammation that can      19   information. That's in water. You asked
    20        lead to causation.                      20   me about air.
    21   BY MR. HEGARTY:                              21        Q. I asked you a different
    22        Q. There are background levels          22   question. I can ask you a different
    23   of asbestos in the air in New York City,     23   question, Doctor.
    24   correct?                                     24        A. I understand the question,
                                                                   66 (Pages 258 to 261)
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                                    Judith Zelikoff, Ph.D.
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     1   yes.                                            1        not been done.
     2        Q. Does EPA allow background               2            There are -- there is
     3   levels of asbestos in water?                    3        information on no observable
     4        A. I have not reviewed that                4        adverse effect level that has been
     5   literature.                                     5        established using a dose-response
     6        Q. As a toxicologist, you agree            6        by the NTP, National Toxicology
     7   that dose or level of exposure determines       7        Program.
     8   the toxicity of substances, correct?            8            And two milligrams of talc
     9             MS. O'DELL: Object to the             9        that they used produced minimal --
    10        form.                                     10        minimal affects in the rats and
    11             THE WITNESS: I believe that          11        mice that they tested. So
    12        dose as well as frequency,                12        somewhere below at least, from an
    13        duration, time of exposure are            13        inhalation perspective, is --
    14        all -- as well as dose contribute         14        produces no effect.
    15        to the toxicity of an agent.              15            However, they saw effects
    16   BY MR. HEGARTY:                                16        even at the lowest, two milligrams
    17        Q. You agree that a substance             17        per.
    18   can produce a harmful effect only if it        18   BY MR. HEGARTY:
    19   reaches a susceptible biological system        19        Q. My question was specific to
    20   within the body in high enough                 20   ovarian cancer. That study did not --
    21   concentration, correct?                        21   did not identify any ovarian cancers in
    22             MS. O'DELL: Objection to             22   the mice -- in the mice or rats, correct?
    23        form.                                     23        A. That's not what they looked
    24             THE WITNESS: It depends on           24   for.
                                             Page 263                                           Page 265
     1        the -- let me read your question           1        Q. My question is specific to
     2        over. It was a lengthy question.           2   ovarian cancer.
     3        It depends on the -- on the                3        A. Let me read your question
     4        toxicant that you're talking               4   over again. Could you repeat your
     5        about. There is dose that you're           5   question. It's already gone past.
     6        exposed to, or concentration that          6        Q. What is the target dose that
     7        you're supposed to, and dose to            7   is necessary to start the biologic
     8        the target tissue. And for every           8   process of talc and ovarian cancer?
     9        different -- every different               9        A. Well, as I talked about, one
    10        chemical, there is a different            10   fiber of asbestos could start the
    11        target dose that could start a            11   biological process. It is not clear if
    12        biological process.                       12   there is a threshold dose or a
    13   BY MR. HEGARTY:                                13   concentration, or whether one -- and
    14        Q. And what is the target dose            14   we're talking about the whole talcum
    15   that is necessary to start the biologic        15   powder product. We're not talking about
    16   process of talc and ovarian cancer?            16   any one product. You're talking about
    17            MS. O'DELL: Object to the             17   the whole process and how much it will
    18        form.                                     18   start the biological process.
    19            THE WITNESS: Well, if                 19             It's unknown, it's not in
    20        you -- if you look at talc as a           20   the literature. But I will tell you that
    21        whole, to give you a                      21   even small doses that are used of the
    22        concentration, a threshold                22   talcum -- of a talcum product, if you
    23        concentration, I'm not sure that          23   take a woman who takes a handful, if you
    24        has been -- I don't -- that has           24   take a woman that takes a little bit on a
                                                                     67 (Pages 262 to 265)
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                                    Judith Zelikoff, Ph.D.
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     1   powder puff, that amount could even,           1             THE WITNESS: Can -- can you
     2   depending upon the woman, the                  2        address the question again?
     3   susceptibility, the vulnerability, can         3   BY MR. HEGARTY:
     4   all start the process.                         4        Q. Is it your opinion that pure
     5             We're talking about the              5   talc does not exist?
     6   process, in my opinion. What you're            6             When I say pure talc, I mean
     7   talking about and in the opinion that I        7   talc without asbestos, without heavy
     8   report here, is that that can start an         8   metals, without fragrance.
     9   inflammatory process.                          9             MS. O'DELL: Objection to
    10         Q. And what is the number of            10        form.
    11   particles of talc necessary to start the      11             THE WITNESS: The idea of
    12   biologic process?                             12        talc is that it has, within its
    13             MS. O'DELL: Object to form.         13        lattice, metals.
    14             THE WITNESS: That is not in         14             So platy talc refers to the
    15         the scientific literature.              15        structure or the morphology of the
    16   BY MR. HEGARTY:                               16        talc, how it looks, what
    17         Q. Over Pages 6 through 8 of            17        dimensions it's in.
    18   your report you discuss asbestos. Is the      18             So, do I think there is
    19   presence of asbestos in talc necessary        19        platy talc? Of course there is
    20   for your biologic plausibility opinions?      20        platy talc.
    21         A. I looked at the entire               21   BY MR. HEGARTY:
    22   product.                                      22        Q. Is there platy talc without
    23         Q. Well, do you intend to               23   asbestos?
    24   testify that there is biologic                24        A. Well, according to the
                                            Page 267                                        Page 269
     1   plausibility between pure talc, the platy      1   studies out of Mossman's laboratories,
     2   talc, and ovarian cancer?                      2   they used asbestos, they used talc that
     3            MS. O'DELL: Object to the             3   contained nonfibrous talc.
     4        form.                                     4         Q. Do you have an opinion on
     5            THE WITNESS: I don't                  5   whether there is talc without asbestos?
     6        think -- my opinion is that there         6             MS. O'DELL: Object to the
     7        may not be anything such as platy         7         form.
     8        talc in a pure form.                      8             THE WITNESS: In many of the
     9   BY MR. HEGARTY:                                9         documents from Johnson & Johnson,
    10        Q. Okay. It's your opinion               10         they measured fibrous talc as well
    11   that pure talc does not exist?                11         as other forms, non-asbestiform,
    12            MS. O'DELL: I'm not sure             12         and they -- they found that there
    13        she -- she finished her answer.          13         were samples, individual samples
    14            Had you finished, Doctor,            14         that they reported as
    15        before?                                  15         nondetectable as having
    16            THE WITNESS: I actually              16         asbestiform talc.
    17        need a little water.                     17   BY MR. HEGARTY:
    18            MS. O'DELL: Okay. Sure.              18         Q. Well, do you have an opinion
    19            Had you finished your answer         19   of whether there is talc without
    20        before the second question was           20   asbestos?
    21        asked?                                   21         A. It depends where -- where
    22            THE WITNESS: No.                     22   it's mined. If it's mined in an area
    23            MS. O'DELL: Okay. You may            23   where people were extremely cautious,
    24        finish.                                  24   there could be.
                                                                    68 (Pages 266 to 269)
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     1        Q. Did you do analysis of                1        sure how that would be done or I
     2   biologic plausibility for talc without        2        don't think it could be done.
     3   asbestos?                                     3            What I did was I did it for
     4            MS. O'DELL: Objection to             4        the entire product.
     5        form.                                    5   BY MR. HEGARTY:
     6            THE WITNESS: My biological           6        Q. And what do you -- what do
     7        assessment, my -- my biological          7   you think -- what is your opinion --
     8        plausibility was looking at the          8   strike that.
     9        entire product of talcum powder.         9            What is in the entire
    10   BY MR. HEGARTY:                              10   product in your opinion?
    11        Q. And how do you define the            11        A. Based upon the Johnson &
    12   entire product?                              12   Johnson documents. That's where my --
    13        A. The entire product is                13   that's where I will tell you what is in
    14   whatever are the ingredients or listed       14   there.
    15   within the documents or the test results     15            As -- as far as the product
    16   from Imerys that -- that indicate what       16   documents, it indicates that there are
    17   they measured, including the metals, the     17   metals, including -- not -- not totally
    18   asbestos, the -- the asbestiform fibers,     18   inclusive of, but to mention a few of the
    19   the fragrances.                              19   more well-known ones, cobalt, chromium
    20        Q. So you did your biologic             20   and nickel.
    21   plausibility analysis with -- based on       21            There are also, according to
    22   talc that has asbestos, heavy metals and     22   the Crowley report, there are also many
    23   fragrance in it, correct?                    23   chemicals that make up a fragrance. And
    24            MS. O'DELL: Objection to            24   there -- and in many of the samples
                                           Page 271                                         Page 273
     1       form.                                     1   tested, there was asbestos or asbestiform
     2           THE WITNESS: I did my                 2   fibers, some of which were called fibrous
     3       biological plausibility on talcum         3   talc, others were called asbestiform and
     4       powder products.                          4   others in which they were called asbestos
     5           I looked at individual                5   fibers, or amphiboles or anthophyllite.
     6       products, individual constituents         6        Q. Did you review all the
     7       in adding to my -- to my report,          7   test --
     8       to my document. But I looked at           8        A. Anthophyllite.
     9       the entire product. And it is my          9        Q. I'm sorry.
    10       opinion that the entire product          10            Did you review all the
    11       causes inflammation and that             11   testing documents produced by Johnson &
    12       inflammation then goes on as a           12   Johnson and Imerys in this case?
    13       triggering mechanism to turn on          13        A. I reviewed the documents
    14       certain genes and to bind iron           14   that are in the production document black
    15       that can lead to the changes             15   binder to my right.
    16       needed for cancer in the ovary.          16        Q. Those were provided to you
    17   BY MR. HEGARTY:                              17   by plaintiffs' counsel, correct?
    18       Q. You did not do a separate             18        A. That is correct.
    19   analysis of talc without asbestos or         19        Q. Did you ask them if they
    20   without -- and without heavy metals and      20   provided to you all testing documents
    21   without fragrance, correct?                  21   that had been produced in this case with
    22           MS. O'DELL: Object to the            22   regard -- by Johnson & Johnson and
    23       form.                                    23   Imerys?
    24           THE WITNESS: I'm not even            24        A. I did not ask that question
                                                                   69 (Pages 270 to 273)
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     1   specifically.                                1   not present.
     2        Q. Do you know whether there            2        Q. You relied on plaintiffs'
     3   are additional documents of tests --         3   counsel to select for you the testing
     4   documents describing tests that were done    4   documents that you reviewed, correct?
     5   by Johnson & Johnson and/or Imerys with      5        A. I -- I read and reviewed
     6   regard to asbestos, heavy metals,            6   whatever they sent me.
     7   fragrances and talc?                         7        Q. And did you do anything to
     8            MS. O'DELL: Object to form.         8   verify that you had all the documents
     9            THE WITNESS: Plaintiff              9   regarding the testing of Johnson's Baby
    10        counsels and myself did talk about     10   Powder?
    11        that, some of that information,        11        A. I did nothing personally
    12        and --                                 12   other than ask the -- the attorneys if
    13            MS. O'DELL: Doctor,                13   there was anything else I needed in
    14        don't -- in terms of our               14   forming my opinion. In -- of production
    15        conversations --                       15   documents, if we're just referring to
    16            THE WITNESS: I'm sorry.            16   that.
    17            MS. O'DELL: -- those               17            I have no access to
    18        conversations are our work             18   production documents on my own or through
    19        product.                               19   the internet. And I know none of the
    20            But to the degree that your        20   other deposees.
    21        answer doesn't depend on our           21        Q. Did you do a comparison of
    22        conversations, you may -- you may      22   biologic plausibility across various
    23        answer.                                23   brands of talcum powder products?
    24            THE WITNESS: I -- I made it        24        A. I did not personally do any
                                          Page 275                                       Page 277
     1        clear that I would like to see          1   of that. However many of the documents
     2        documents that could go into my         2   and many of the studies including the
     3        assessment of biological                3   Longo supplement did compare, for
     4        plausibility.                           4   example, I think I misspoke when I said
     5   BY MR. HEGARTY:                              5   one of the places that Johnson & Johnson
     6        Q. Would you like to see                6   gets their talc is Korea. What I meant
     7   documents showing that there is no           7   was China. I should have said Asia. So
     8   asbestos in talcum powder, in particular     8   Korea is also a mine that provided, but
     9   Johnson's Baby Powder?                       9   not to Johnson & Johnson.
    10        A. I will review any documents         10            MS. O'DELL: Hey, Mark,
    11   that are provided to me, if asked to        11        we've been going about an hour and
    12   review them.                                12        15 minutes.
    13        Q. Did you ask plaintiffs'             13            MR. HEGARTY: Okay.
    14   counsel to provide you documents of         14            MS. O'DELL: Can we take a
    15   testing showing no asbestos in Johnson's    15        break?
    16   Baby Powder?                                16            MR. HEGARTY: Yeah.
    17        A. Many of those -- of the             17            THE VIDEOGRAPHER: The time
    18   documents that are in the product           18        is 2:27 p.m. Off the record.
    19   production document show that there are     19            (Short break.)
    20   samples that do not contain asbestos, or    20            THE VIDEOGRAPHER: We are
    21   I will say asbestiform or talc fibers.      21        back on the record. The time is
    22   So there is information in there showing    22        2:45 p.m.
    23   when there is -- it is present and          23   BY MR. HEGARTY:
    24   information in there showing when it was    24        Q. Doctor, if evidence was that
                                                                 70 (Pages 274 to 277)
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     1   there is no asbestos in Johnson's Baby         1   ludicrous actually.
     2   Powder, would that change your opinions        2        Q. None of the studies that you
     3   as to biological plausibility?                 3   cite in your heavy metals section link
     4        A. No, sir, it would not.                 4   the exposures that you discussed to
     5        Q. Same question with regard to           5   ovarian cancer risk, correct?
     6   heavy metals. If there were no heavy           6            THE WITNESS: I'm sorry.
     7   metals in Johnson's Baby Powder, would         7        This is not coming up.
     8   that change your opinions on biological        8            (Whereupon, a discussion was
     9   plausibility?                                  9        held off the stenographic record.)
    10        A. I looked at the entire                10            THE WITNESS: They -- the
    11   product and it would not -- it would not      11        studies that I list for the
    12   change my opinion, as it exists               12        individual metals talk about the
    13   currently, with biological plausibility       13        potential inflammatory and
    14   that it would cause ovarian cancer            14        carcinogenic potential of those
    15   through -- through inflammation, is my        15        particular metals. And based on
    16   opinion.                                      16        the Crowley report, there are, and
    17        Q. In looking at your heavy              17        other production documents from
    18   metals section, beginning at Page 8 of        18        Johnson & Johnson, they list three
    19   your report -- are you there?                 19        particular metals that are
    20        A. I'm not. I had to put my              20        associated with Johnson & Johnson
    21   glasses on. Thank you.                        21        products, cobalt, nickel and
    22        Q. There are no studies that             22        chromium.
    23   have looked at the effects of these           23   BY MR. HEGARTY:
    24   metals in powder dusted on the perineum,      24        Q. That was not my question.
                                            Page 279                                          Page 281
     1   correct?                                       1   My question is, none of the studies that
     2        A. Your question is there are             2   you cite --
     3   no studies looking at these individual         3        A. On the --
     4   metals?                                        4        Q. -- in your section on heavy
     5        Q. Correct?                               5   metals, evaluate ovarian carcinogenicity
     6        A. Perineal studies in the                6   potentials of these metals, correct?
     7   ovarian --                                     7            MS. O'DELL: Object to the
     8        Q. No, my question is, there              8        form.
     9   are no studies that looked at the effects      9            THE WITNESS: I do not talk
    10   of these metals in powder dusted on the       10        about ovarian cancer in particular
    11   perineum, correct?                            11        relation to these three metals
    12        A. I'm not sure I understand             12        that I cited --
    13   your question.                                13   BY MR. HEGARTY:
    14        Q. You don't cite any studies            14        Q. No studies --
    15   that have looked at the effect of             15        A. -- in the report.
    16   applying these metals to the perineum,        16        Q. -- that you cite refer to
    17   correct?                                      17   risk of ovarian cancer with exposure to
    18        A. To my knowledge, there are            18   these metals, correct?
    19   no specific animal studies that show          19        A. With my charge being
    20   nickel was applied to the perineal.           20   biological plausibility, I thought that
    21        Q. There are no human studies            21   it was my opinion -- my professional
    22   either, correct?                              22   opinion is that it was more important to
    23        A. To my knowledge, there are            23   discuss the potential for inflammatory
    24   no human studies. That would be               24   responsiveness and carcinogenic
                                                                    71 (Pages 278 to 281)
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     1   potential.                                    1   them.
     2        Q. Doctor, you don't cite any            2        Q. Did you find any?
     3   studies that look at -- look at the           3        A. Again, the purpose of
     4   ovarian carcinogenicity potential of any      4   writing this section on heavy metals had
     5   of these metals, correct?                     5   to do with bringing out the inflammatory
     6             MS. O'DELL: Object to form.         6   and the biological plausibility that in
     7             THE WITNESS: Not in my              7   my mind is linked to talc and ovarian
     8        report.                                  8   cancer.
     9   BY MR. HEGARTY:                               9        Q. Doctor, listen to my
    10        Q. What are the exposure levels         10   question. Did you find any studies
    11   of these metals necessary to have            11   reporting on a risk of ovarian cancer
    12   biologic plausibility of ovarian cancer?     12   with exposure to any of those metals?
    13        A. As far as biological                 13            MS. O'DELL: Objection to
    14   plausibility of these metals, these          14        form.
    15   metals are -- unless there are particular    15            THE WITNESS: I found in
    16   standards for a particular metal, nothing    16        cobalt, but it does not have to do
    17   is really established for what it would      17        with ovarian cancer, but I did
    18   take for nickel to cause ovarian cancer.     18        find that the absorption of cobalt
    19             However, the ability of            19        is much higher in women than in
    20   these metals to produce inflammation are     20        men. And that many of these
    21   very, very low levels. And if they           21        studies show that you have
    22   produce inflammation, then they have the     22        increased proliferation. And as I
    23   potential to go on to produce cancer.        23        said, mine was -- my question that
    24   And many of these metals do.                 24        I needed to address was biological
                                           Page 283                                         Page 285
     1        Q. Well, none of these studies           1        plausibility.
     2   report a threshold level of exposure to       2            So I did find many of these
     3   cobalt, chromium, or nickel to increase       3        factors, many of these metals, all
     4   the risk of ovarian cancer, correct?          4        of these metals have the potential
     5             MS. O'DELL: Object to the           5        to produce the changes that are in
     6        form.                                    6        the carcinogenic process.
     7             THE WITNESS: That was not           7   BY MR. HEGARTY:
     8        the purpose of my writing.               8        Q. I'm going to ask the
     9             My -- my writing was to             9   question one more time. And if we don't
    10        exemplify the carcinogenic              10   get an answer I'm going to call Judge
    11        potential and the inflammatory and      11   Pisano.
    12        some of the human health effects        12            Cite for me, which study did
    13        that are commonly seen. Ovarian         13   you find that linked exposure to these
    14        cancer is not that common. And so       14   metals to ovarian cancer?
    15        it's not unusual that other --          15            MS. O'DELL: Objection to
    16        that ovarian cancer was not looked      16        the form.
    17        into in some of these studies.          17            Dr. Zelikoff has answered
    18   BY MR. HEGARTY:                              18        your question multiple times.
    19        Q. Well, you found no studies           19            But you may answer it again.
    20   looking at exposure to any of those          20   BY MR. HEGARTY:
    21   metals and risk of ovarian cancer,           21        Q. Let me ask it differently.
    22   correct?                                     22   Did you find any studies reporting on a
    23        A. It's not that I didn't find          23   risk of ovarian cancer with exposure to
    24   any. I wasn't particularly looking for       24   any of these metals, that being cobalt,
                                                                   72 (Pages 282 to 285)
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     1   chromium, or nickel?                          1        of these metals in terms of parts
     2        A. I was not looking                     2        per million, whatever talc reached
     3   specifically for that. So, no, I did not      3        there, there's -- there is a
     4   find that.                                    4        strong potential that that amount
     5        Q. Which of the studies that             5        of the concentration of the metal
     6   you report show that the exposure levels      6        would also reach the target organ.
     7   evaluated in those studies are in any way     7   BY MR. HEGARTY:
     8   related to human exposure levels through      8        Q. That's not my question,
     9   Johnson's Baby Powder?                        9   Doctor.
    10            MS. O'DELL: Object to the           10             How much nickel, cobalt and
    11        form.                                   11   chromium reached the ovary with a single
    12            THE WITNESS: Are you                12   application of Johnson's Baby Powder to
    13        talking about inhalation or             13   the perineum?
    14        perineal application?                   14        A. I don't have -- that
    15   BY MR. HEGARTY:                              15   information is not available.
    16        Q. Either method of exposure.           16             They did show in studies, in
    17        A. So many of the inhalation            17   a few studies, I think it was the
    18   numbers are concentrations, and looking      18   Hamilton study that -- or Henderson
    19   at the Johnson & Johnson documents in        19   study -- that there -- talc indeed does
    20   terms of what is in the head and in the      20   reach the ovary from perineal application
    21   face area after diapering as well as         21   or from intravaginal application. And
    22   during powdering, indicates that the         22   whatever is -- whatever the concentration
    23   concentrations that are possibly inhaled     23   is that reached the ovary, carried with
    24   contain particles that can initiate a        24   it these -- one -- one or more or all of
                                           Page 287                                         Page 289
     1   response.                                     1   these three metals.
     2              Also, from looking at the          2       Q. You agree --
     3   Johnson & Johnson documents, many of          3       A. So it was a similar
     4   those results indicate -- and I think we      4   concentration.
     5   have an exhibit here of the table of the      5       Q. You agree that all of the
     6   concentrations that were found.               6   metals you talk about are in -- are all
     7              Well, it's not at my local         7   around us, they are in food, correct?
     8   fingertips here. But --                       8       A. The metals nickel, chromium,
     9              MS. O'DELL: Are you looking        9   cobalt can be in food, yes.
    10        for Exhibit C, Doctor, I think          10       Q. They are in the air,
    11        it's right there with -- on             11   correct?
    12        your -- on your paper clip.             12       A. They are in certain ambient
    13              MR. HEGARTY: Let me               13   environments.
    14        withdraw the question.                  14       Q. These are metals that are
    15   BY MR. HEGARTY:                              15   considered ubiquitous, correct?
    16        Q. Doctor, how much nickel,             16            MS. O'DELL: Objection to
    17   cobalt and chromium reach the ovary with     17       the form.
    18   one application of Johnson's Baby Powder     18            THE WITNESS: They are --
    19   to the perineum?                             19       chromium not as much -- I'm sorry,
    20              MS. O'DELL: Object to the         20       cobalt not as much. But chromium
    21        form.                                   21       and nickel, they are in the air,
    22              THE WITNESS: Since much of        22       and depending upon the environment
    23        the -- since Johnson's Baby Powder      23       that is producing it, if you go to
    24        has a high concentrations of some       24       Sundre, Canada, you can have lots
                                                                   73 (Pages 286 to 289)
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     1        of nickel in the air. But if you        1        Q. Did you do an analysis
     2        go to New York City, concentrate        2   yourself of Johnson's Baby Powder for the
     3        as we've measured in my laboratory      3   presence of these heavy metals?
     4        prior to this deposition, or prior      4        A. I did not do any
     5        to this case, my involvement in         5   instrumentation studies measuring the
     6        this case, you will see very small      6   amount. I -- I relied on the documents.
     7        concentrations of nickel. There         7        Q. But you are capable of doing
     8        should not be a lot in the air.         8   that analysis, correct?
     9            And we also measured                9        A. We are capable, in my
    10        chromium, and it should not be --      10   laboratory, along with colleagues, of
    11        unless you have a polluted             11   measuring by XRF, x-ray fluorescence, and
    12        environment there should not be a      12   by ICP mass spec, measuring the amounts
    13        lot of these metals in the air.        13   of metals in tissues, correct.
    14   BY MR. HEGARTY:                             14        Q. But you did not do that
    15        Q. Is the metal are not -- the         15   testing here, correct?
    16   metals that are in the air, nickel and      16        A. My job was to define
    17   chromium, sufficient to have biologic       17   biological plausibility based upon
    18   plausibility between those metals and       18   literature, relevant literature and
    19   ovarian cancer?                             19   documents, internal documents.
    20        A. Those -- those metals, yes,         20        Q. Nowhere in your report do
    21   the metals in the air can cause an          21   you identify the exposure levels of any
    22   inflammatory response. The                  22   of these metals that are necessary to
    23   concentrations of the metals in the air     23   cause ovarian cancer, correct?
    24   can cause an inflammatory response and      24            MS. O'DELL: Objection to
                                          Page 291                                          Page 293
     1   can start processes and change gene          1        form. Asked and answered.
     2   expression within cells.                     2             THE WITNESS: There is no
     3        Q. Cite for me any study that           3        literature that says you need one
     4   shows that inflammatory response has ever    4        particle or ten particles.
     5   occurred in the ovary.                       5             The inflammatory response
     6            MS. O'DELL: Objection to            6        that nickel causes is extremely
     7        form.                                   7        well established, even at very low
     8            THE WITNESS: There are              8        concentrations. And -- and the
     9        granulomas that have been found in      9        same is true for hexavalent
    10        animal studies of -- in the lung.      10        chromium and for chromium,
    11        You are talking about in the           11        trivalent chromium.
    12        ovary, I understand that.              12   BY MR. HEGARTY:
    13   BY MR. HEGARTY:                             13        Q. Are there any studies that
    14        Q. I'm talking about the               14   report on exposure of these metals to the
    15   studies that have not looked at talc, but   15   ovaries?
    16   have looked at cobalt, chromium --          16        A. Are you talking about alone?
    17        A. Okay.                               17        Q. Individually or together,
    18        Q. -- nickel and cobalt without        18   but the metals themselves.
    19   regard to talc, cite for me any studies     19        A. Just the metals --
    20   that have shown that those metals have      20             MS. O'DELL: Object --
    21   caused inflammation in the ovary?           21        objection to form.
    22        A. By themselves, there are no         22             THE WITNESS: These metals
    23   studies that demonstrate that, that I'm     23        by themselves have been tested
    24   aware of.                                   24        extensively in cells and in -- in
                                                                  74 (Pages 290 to 293)
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     1        animals to produce inflammation,        1        form.
     2        to change the epigenome of the          2             THE WITNESS: The exposures
     3        cells, to change gene expression.       3        are similar, or can be similar.
     4        And there was no -- there was no        4             But as I stated before, for
     5        reason to believe whether or not        5        these metals as well as for
     6        there are specific studies              6        asbestiform fibers, all it takes
     7        associated with the ovary. There        7        is a small amount, if not just one
     8        are no reason to believe that it        8        fiber, to cause the response and
     9        would not do the same effects in        9        to start the process of
    10        cells as well as in the ovary, in      10        inflammation, gene expression,
    11        the lung, and the kidney and the       11        upregulation of genes that are
    12        liver.                                 12        associated with biological
    13   BY MR. HEGARTY:                             13        mediators, proinflammatory
    14        Q. Doctor, you are not aware of        14        cytokines.
    15   any studies that have looked at the         15   BY MR. HEGARTY:
    16   effects of these metals on human ovarian    16        Q. Yet you cite no study that
    17   cells, correct?                             17   reports that response in human ovarian
    18            MS. O'DELL: Object to the          18   cells, correct?
    19        form.                                  19             MS. O'DELL: Object to the
    20            THE WITNESS: Again, I'm not        20        form.
    21        an epidemiologist, so -- and I'm       21             THE WITNESS: I -- if you're
    22        not a clinical toxicologist. So I      22        still talking about individual
    23        will have to stand by the -- the       23        metals, no.
    24        data that I do know in -- in           24             But if you're talking about
                                          Page 295                                         Page 297
     1        extensive -- have extensive             1        in vitro studies like those of
     2        knowledge of. And that's human ex       2        Saed who looked for oxidative
     3        vivo and in vitro studies. And I        3        stress and -- and prooxidant
     4        am not aware.                           4        changes, and if you are talking
     5            That is not to say that they        5        about Shukla study who also looked
     6        are not out there. And I                6        at ovarian cells, human ovarian
     7        especially do not know about the        7        cells, and looked at changes in
     8        humans, because I focus as a            8        gene expression associated with
     9        toxicologist. I'm an animal             9        oxidant production and reactive
    10        toxicologist.                          10        oxygen species production, then
    11   BY MR. HEGARTY:                             11        yes, in cell culture using human
    12        Q. Did you do any comparison           12        ovarian epithelial cells, because
    13   between the doses of -- of the metals       13        that's what we are talking about
    14   reported in the studies that you cited to   14        here.
    15   those in women using talc?                  15   BY MR. HEGARTY:
    16        A. I did no calculations on --         16        Q. None of those studies
    17   on my own.                                  17   applied nickel to human ovarian cells,
    18        Q. Did you do any calculations         18   did they?
    19   that tested these metals in animals to      19        A. No, they did not.
    20   determine what the -- that -- that they     20        Q. None of those studies
    21   relate in any way to the dose that a        21   applied cobalt to human ovarian cells,
    22   human would experience through Johnson's    22   correct?
    23   Baby Powder use?                            23        A. No, they did not.
    24            MS. O'DELL: Objection to           24        Q. None of those studies
                                                                  75 (Pages 294 to 297)
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                                   Judith Zelikoff, Ph.D.
                                            Page 298                                          Page 300
     1   applied chromium to ovarian -- human           1        target site, let's say in the case
     2   ovarian cells, correct?                        2        of inhalation or in the case of
     3        A. Correct. But what we're                3        direct application to the perineal
     4   talk -- what I'm talking about and the         4        area, you will have the process of
     5   basis of my opinion is the product in its      5        impacting with those cells and
     6   entirety, not breaking it down to              6        generating cell mediated reactions
     7   individual constituents.                       7        and immunological reactions and
     8        Q. Is it necessary for purposes           8        inflammatory responses.
     9   of your biologic plausibility opinion          9            And those inflammatory
    10   that talc reach the ovary?                    10        responses and those reactive
    11        A. Not necessarily.                      11        oxygen species, except for
    12             Talc does -- talc and any           12        hydrogen peroxide which can't
    13   other particle does not have to reach the     13        travel a far distance, can get
    14   site of deposition. They can, and -- and      14        into -- can and do get into the
    15   do, I believe that they not only migrate      15        blood circulation and then can
    16   to an area and they can get to an area        16        reach distant organs.
    17   and then cause inflammation which then        17   BY MR. HEGARTY:
    18   can be -- the cytokines where there's         18        Q. Cite for me any published
    19   tumor necrosis factor, interleukin-1, or      19   authority that says that inflammation in
    20   any of the other proinflammatory              20   the lungs will cause inflammation in the
    21   cytokines can then get to the air, the        21   ovaries.
    22   site of this -- this target organ.            22            MS. O'DELL: Object to the
    23             So you do not have to have,         23        form. Misstates her testimony.
    24   in particle toxicology and in talc            24            THE WITNESS: To that
                                            Page 299                                          Page 301
     1   toxicology, you do not have to have the        1       specific question, no. But I
     2   presence. Although, in early studies           2       can -- I can cite you many studies
     3   they have found talc particles not only        3       that show in terms of other
     4   in the ovary, but also in the lymph            4       particles for the lungs that has
     5   node -- in the lymphatics that drain the       5       been shown to cause inflammation
     6   ovary.                                         6       in other areas.
     7        Q. Cite for me any study that             7            For example, in the case of
     8   has reported inflammation in the ovaries       8       Ghio and other investigators, you
     9   from inflammation of -- due to a particle      9       will find inflammation not only in
    10   in the lung -- strike that.                   10       the blood by the measurement of
    11            Is it your contention that           11       cytokines in the blood, even
    12   inflammation in the lung due to a             12       though the first target organ was
    13   particle will cause inflammation in the       13       the -- was the lungs.
    14   ovaries?                                      14            Also, if you look at
    15            MS. O'DELL: Objection to             15       obesity, obesity is a pro-oxidant
    16        form.                                    16       state, and that can generate --
    17            THE WITNESS: I'm telling             17       the reason obesity causes other
    18        you that --                              18       health effects is because it's a
    19            MS. O'DELL: Go ahead.                19       big mass of inflammation. And the
    20            THE WITNESS: -- there's              20       inflammation in that particular
    21        biological plausibility to suggest       21       site of all those fatty cells,
    22        that.                                    22       they can release inflammatory
    23            When you have a particle             23       mediators that go all over. And
    24        coming in and going to a local           24       that literature is out there.
                                                                    76 (Pages 298 to 301)
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                                   Judith Zelikoff, Ph.D.
                                           Page 302                                          Page 304
     1   BY MR. HEGARTY:                               1   cadmium.
     2        Q. So is it your opinion for             2        Q. So in other words a lot of
     3   purposes of your biological                   3   particles besides talc, according to you,
     4   plausibility -- strike that.                  4   can cause inflammation of the lungs,
     5            Is it -- is your biological          5   correct?
     6   plausibility opinion that talc inhaled        6        A. Many do. There are others
     7   and in the lungs causes inflammation in       7   that do not, like titanium dioxide which
     8   the ovaries that can lead to ovarian          8   were used in many studies as a control.
     9   cancer?                                       9        Q. And those nanoparticles,
    10        A. There's plausibility for             10   those air particles --
    11   that, yes.                                   11        A. In fact --
    12        Q. And can you cite for me any          12        Q. -- those diesel particles.
    13   published authority that says that talc      13        A. I'm sorry.
    14   inhaled in the lungs will cause              14        Q. Okay. And those
    15   inflammation in the ovaries that can lead    15   nanoparticles, those diesel particles,
    16   to ovarian cancer?                           16   air particles that can cause inflammation
    17        A. There's multiple parts of            17   in the lungs, will also cause
    18   that question.                               18   inflammation in the ovaries, correct?
    19        Q. That's a very specific               19            MS. O'DELL: Objection to
    20   question to that very specific subject       20        form.
    21   area. Can you cite to me any published       21            THE WITNESS: I said they
    22   literature that says that?                   22        will cause inflammation
    23            MS. O'DELL: Would you mind          23        systemically. I did not indicate
    24        repeating the full question or          24        the ovaries.
                                           Page 303                                          Page 305
     1        read it.                                 1   BY MR. HEGARTY:
     2            THE WITNESS: Any published           2       Q. Well, there's no -- there's
     3        authority that says that -- that         3   nothing unique about talc particles
     4        says that talc inhaled in the            4   versus the other particles you mentioned,
     5        lungs will cause inflammation in         5   correct?
     6        the ovaries that can lead to             6            MS. O'DELL: Object to form.
     7        ovarian cancer.                          7            THE WITNESS: Size, chemical
     8            For that particular, and             8       composition, they -- they --
     9        that specific of a question, I           9       particles -- particles are -- they
    10        cannot cite you.                        10       can -- they can be different and
    11   BY MR. HEGARTY:                              11       they can be the same. So many
    12        Q. You have published                   12       studies use model particles to
    13   extensively on particulates in the air       13       look at a negative effect like in
    14   causing inflammation in the lungs,           14       the Shukla study where they used
    15   correct?                                     15       titanium dioxide particles of a
    16        A. In the lungs and                     16       similar size in their -- as a
    17   systemically.                                17       control and got no gene expression
    18        Q. And those particulates               18       changes.
    19   include?                                     19            Particles in the air, if
    20        A. Air particulates;                    20       you're looking at -- there are
    21   particulate matter, called PM, ambient       21       many factors that go into how a
    22   PM; diesel exhaust particles. I'm also       22       particle behaves, including size,
    23   going to go to my CV. Nanoparticles,         23       including composition, including
    24   metal nanoparticles, specifically            24       morphology.
                                                                   77 (Pages 302 to 305)
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                                   Judith Zelikoff, Ph.D.
                                           Page 306                                         Page 308
     1   BY MR. HEGARTY:                               1   same inflammation that you believe that
     2        Q. Well, by your methodology,            2   talc does, correct?
     3   any particle inhaled that causes              3        A. Inflammation is
     4   inflammation in the lungs is biologically     4   characterized by certain key components.
     5   plausible, can lead to ovarian cancer,        5   Inflammation -- whether it's an
     6   correct?                                      6   inflammation in the ovary or an
     7             MS. O'DELL: Object to form.         7   inflammation in the lung or inflammation
     8             THE WITNESS: No, it can --          8   in the kidney, inflammation is an immune
     9        sorry. It can lead to                    9   response. And it's going to involve key
    10        inflammation systemically.              10   cells, including the macrophage, the
    11   BY MR. HEGARTY:                              11   neutrophil, the natural killer cell, all
    12        Q. That can lead to ovarian             12   of which can produce reactive oxygen
    13   cancer, correct?                             13   species -- well, primarily the
    14        A. Inflammation --                      14   macrophages and neutrophils produce
    15             MS. O'DELL: Object to the          15   oxygen radicals.
    16        form.                                   16            However, the natural killer
    17             Go ahead.                          17   cell, they all produce cytokines, which
    18             THE WITNESS: Sorry.                18   can produce inflammation. So
    19             MS. O'DELL: Sorry.                 19   inflammation is characterized by the same
    20             THE WITNESS: Inflammation          20   components.
    21        is responsible for -- in my             21        Q. And you can't cite for me
    22        opinion, is the underlying              22   any different components of the
    23        mechanism, a key underlying             23   inflammation caused by cadmium as you
    24        mechanism for the association for       24   believe the inflammation that is caused
                                           Page 307                                         Page 309
     1        ovarian cancer, yes.                     1   by talc, correct?
     2   BY MR. HEGARTY:                               2        A. When I measured inflammatory
     3        Q. And that mechanism can be             3   responses to the inhalation of cadmium
     4   initiated by any particle inhaled into        4   nanoparticles, I looked for the standard
     5   the lungs, correct?                           5   inflammatory markers. So I measured in
     6        A. No, it's --                           6   the lung and in the circulation. I
     7            MS. O'DELL: Objection to             7   measured the percentages of neutrophils,
     8        form.                                    8   which is a key indicator, key criteria
     9            THE WITNESS: Sorry.                  9   for inflammation. I determined
    10            Well, as -- again, as I             10   macrophage numbers as well as function in
    11        stated, it depends on the -- it         11   terms of their ability to phagocytose, in
    12        depends on the particle. For            12   their ability to produce reactive oxygen
    13        example, titanium dioxide will not      13   species. And I looked for lung injury,
    14        produce inflammation in the lungs.      14   as measured by lactose, lactate
    15        However, other particles, many          15   dehydrogenase.
    16        other particles, including              16            So when one looks for
    17        cadmium, cadmium oxide particles        17   inflammation in the body, whether it's an
    18        do cause inflammation, as well as       18   animal or a human, C-reactive protein,
    19        asbestos does, as well as talc has      19   you are going to be looking for all the
    20        been shown to.                          20   same markers.
    21            They can all produce                21        Q. You identified, based on
    22        inflammation or oxidative stress.       22   your opinion, no difference in the
    23   BY MR. HEGARTY:                              23   inflammation caused by talc and the
    24        Q. Cadmium particles induce the         24   inflammation caused by cadmium, correct?
                                                                   78 (Pages 306 to 309)
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                                  Judith Zelikoff, Ph.D.
                                         Page 310                                         Page 312
     1        A. I did not do talc inhalation        1        because I haven't investigated
     2   in my laboratory. The studies               2        that literature.
     3   indicate -- looked for the same thing.      3             But inflammation --
     4   They look for changes in gene expression    4        inflammation doesn't change. It
     5   of activating transcription factors.        5        can get out of the particular
     6   They did in the Shukla study.               6        local organ. I don't think that
     7            They look for the percentage       7        cadmium has been investigated in
     8   of neutrophils. They look for macrophage    8        terms of the ovary. It's
     9   activation. We all look at the same         9        certainly been investigated in
    10   thing when coming to the conclusion of     10        terms of the kidney, which is
    11   inflammation.                              11        local -- which is systemically a
    12        Q. And according to you, talc         12        distant organ from the local
    13   and cadmium act similarly with regard to   13        target, which is the lung. And it
    14   inducing inflammation in the lungs?        14        can cause inflammation in the
    15            MS. O'DELL: Objection to          15        kidney.
    16        form.                                 16   BY MR. HEGARTY:
    17            THE WITNESS: Do they act          17        Q. You haven't identified any
    18        similarly? Well, I think I            18   differences between the inflammation
    19        answered that question.               19   caused by other particulates and the
    20            Inflammation is -- is the --      20   inflammation caused by talc, correct?
    21        inflammation is modified by the       21             MS. O'DELL: Objection to
    22        same components, the same soluble     22        form.
    23        factors, the same cell type           23             THE WITNESS: Inflammation
    24        factors, including macrophages and    24        is inflammation.
                                         Page 311                                         Page 313
     1       neutrophils, dendritic cells,           1   BY MR. HEGARTY:
     2       whatever. So inflammation,              2        Q. You referred to fragrances.
     3       whether it's acute or chronic           3        A. I'm sorry. Could you give
     4       inflammation used the same              4   me a page?
     5       parameters.                             5        Q. Over on Page 12. You cite
     6           We call inflammation -- we          6   to a single study that discusses what
     7       call inflammation when you -- in a      7   exposure levels of these fragrances have
     8       tissue or in organs when you see        8   been shown to induce a biologically
     9       these characteristics. And we say       9   plausible effect in the ovary.
    10       these are markers indicative.          10            MS. O'DELL: Object to the
    11       These are pathologies                  11        form.
    12       indicative -- these are -- of an       12            THE WITNESS: Many of these
    13       inflammatory response.                 13        fragrances, many of these
    14   BY MR. HEGARTY:                            14        chemicals within a specific
    15       Q. So according to your                15        fragrance, it can consist of maybe
    16   opinion, that's biologic plausibility      16        150 or even more chemicals within
    17   between cadmium exposure and ovarian       17        any one given fragrance. Many of
    18   cancer?                                    18        them have been shown to cause
    19           MS. O'DELL: Objection to           19        inflammation.
    20       form.                                  20   BY MR. HEGARTY:
    21           THE WITNESS: I would have          21        Q. Have any of the chemicals in
    22       to do more research on that to be      22   the fragrances that you looked at been
    23       able to say that. I would not say      23   reported in the medical literature to
    24       biological plausibility, only          24   induce inflammation in the ovaries?
                                                                 79 (Pages 310 to 313)
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                                   Judith Zelikoff, Ph.D.
                                           Page 314                                          Page 316
     1        A. No one specifically -- to my          1   metals, but there's also -- if you look
     2   knowledge, no one specifically looked at      2   at nickel and it's a micronutrient, so
     3   inflammation in the ovaries. But again,       3   you can have very, very, very tiny
     4   if you go back to the idea of                 4   amounts in the body -- very tiny. And it
     5   inflammation being caused by a particle       5   can be used as a micronutrient.
     6   at a local site and then having the           6            You can have lead, but that
     7   potential -- or having the capacity I         7   should not be in the body at all. And
     8   should say, to -- to have that                8   there is no safe level of lead. So
     9   inflammation go to a distant -- a more        9   despite what the regulatory agencies say,
    10   distant site.                                10   there is no safe level which is what
    11            So the fact that no one has         11   their conclusion is moving towards.
    12   looked at it does not delete the fact        12            And -- so a metal is not a
    13   that certainly inflammation can get to       13   metal is not a metal.
    14   distant sites, including the ovary.          14            Now, when you look at these
    15        Q. Well, what is the dose of            15   three metals, so for example you have
    16   nickel or -- and cobalt and chromium         16   nickel which is classified as a 1A
    17   individually that must -- that the woman     17   carcinogen, but --
    18   must be exposed to in vivo to induce         18        Q. I'll withdraw the question.
    19   inflammation in the ovaries?                 19   You're not -- Doctor, you're not
    20            MS. O'DELL: Object to the           20   answering my question.
    21        form. Asked and answered.               21            MS. O'DELL: She is
    22            THE WITNESS: There are --           22        answering your question.
    23        as I said, there's really -- one        23            MR. HEGARTY: No, she is
    24        particle, one piece can start the       24        not.
                                           Page 315                                          Page 317
     1        process for inflammation.                1           MS. O'DELL: Yes, she is.
     2   BY MR. HEGARTY:                               2       And if you don't -- let her
     3        Q. So it --                              3       finish.
     4        A. It could be one.                      4           MR. HEGARTY: Okay.
     5        Q. -- it's your opinion that             5       We'll -- we'll call Judge Pisano
     6   one particle of nickel will induce            6       and he'll see if we're asking the
     7   inflammation in the ovaries?                  7       question -- if she's answering the
     8            MS. O'DELL: Objection.               8       question.
     9   BY MR. HEGARTY:                               9           MS. O'DELL: Are you
    10        Q. Is that correct?                     10       threatening the witness by saying
    11        A. Will? I can't -- I haven't           11       that?
    12   gone through the literature, but could,      12           MR. HEGARTY: No, I'm
    13   certainly.                                   13       talking to you. We'll go off the
    14        Q. And what literature can you          14       record --
    15   cite that would say that one particle of     15           MS. O'DELL: You're
    16   nickel could cause inflammation in the       16       threatening the witness and -- no,
    17   ovary?                                       17       we're not going off the record.
    18        A. It's my professional                 18           MR. HEGARTY: Go off the
    19   judgment being an expert toxicologist in     19       record, let's go off the record.
    20   the area of metals.                          20           MS. O'DELL: No, we are not
    21        Q. Okay. Same question as to            21       going off the record.
    22   cobalt and chromium.                         22           MR. HEGARTY: Yes, let's go
    23        A. Well, metals can't be lumped         23       off the record.
    24   together like that. Metals are indeed        24           MS. O'DELL: If she's
                                                                   80 (Pages 314 to 317)
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                                Judith Zelikoff, Ph.D.
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     1      answering your question, she --         1   either inhaled or applied to the perineum
     2      she gets the right to finish her        2   will induce inflammation in the ovaries?
     3      answer. You don't cut her off,          3         A. It's my opinion that it
     4      Mark.                                   4   could.
     5          MR. HEGARTY: Let's go off           5         Q. What literature do you have
     6      the record.                             6   to support that opinion?
     7          MS. O'DELL: No, we're not           7         A. My professional opinion as a
     8      going off the record. She's             8   toxicologist in metals with over
     9      finishing her answer.                   9   30 years.
    10          MR. HEGARTY: Let's go off          10         Q. Next question. Is it your
    11      the record. I'm not --                 11   opinion that one particle of cobalt,
    12          MS. O'DELL: And then you           12   either inhaled or applied to the
    13      can ask her another question.          13   perineum, will induce inflammation in the
    14          MR. HEGARTY: Let's go off          14   ovaries?
    15      the record. It's my deposition.        15         A. Again, it's my opinion that
    16          MS. O'DELL: No. It's your          16   it -- it could. It has the biological
    17      deposition, but it's not fair to       17   plausibility to, because inflammation,
    18      mistreat this witness if she is        18   although not as toxic in many ways as
    19      answering your question.               19   it's classified as a 2B -- 2B by IARC
    20          MR. HEGARTY: I'm not               20   is -- has the potential -- does cause
    21      mistreating the witness.               21   inflammation, and that inflammation can
    22          MS. O'DELL: Yes, you are.          22   leave the site of the target site.
    23          MR. HEGARTY: We'll go off          23         Q. What authority do you have
    24      the record and call Judge Pisano.      24   for that opinion?
                                        Page 319                                          Page 321
     1           MS. O'DELL: You are                1        A. My professional opinion.
     2       mistreating the witness by not         2        Q. Is it your opinion that one
     3       allowing her to finish her --          3   particle of chromium, either inhaled or
     4           MR. HEGARTY: I withdrew the        4   applied to the perineum, will induce
     5       question.                              5   inflammation in the ovaries?
     6           MS. O'DELL: Well, okay.            6            MS. O'DELL: Objection to
     7       The with -- the question was           7        the form.
     8       withdrawn. Ask a question, let         8            THE WITNESS: It depends on
     9       her --                                 9        the form of the chromium.
    10           MR. HEGARTY: No, we're off        10   BY MR. HEGARTY:
    11       the record. We're going to call       11        Q. What form of chromium does
    12       Judge Pisano.                         12   it need to be?
    13           MS. O'DELL: Okay. Great.          13        A. A trivalent chromium
    14           THE VIDEOGRAPHER: Off the         14   which -- I'm sorry, hexavalent chromium
    15       record. The time is 3:21 p.m.         15   which will then get into the cell, start
    16       Off the record.                       16   the process and -- and convert to
    17           (Whereupon, a discussion was      17   chromium-3, 4 and 5.
    18       held off the record.)                 18        Q. That's chromium-6, correct?
    19           THE VIDEOGRAPHER: We are          19        A. Hexavalent chromium is
    20       back on the record. The time is       20   chromium-6, right.
    21       3:23 p.m.                             21        Q. Is it your opinion that one
    22   BY MR. HEGARTY:                           22   particle of chromium-6, either inhaled or
    23       Q. Dr. Zelikoff, is it your           23   applied to the perineum, will induce
    24   opinion that one particle of nickel       24   inflammation in the ovaries?
                                                                81 (Pages 318 to 321)
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                                    Judith Zelikoff, Ph.D.
                                            Page 322                                          Page 324
     1            MS. O'DELL: Objection to              1        lumped. And particles oftentimes,
     2        form.                                     2        if they're different in size, if
     3            THE WITNESS: It could,                3        they're different in chemical
     4        because inflammation again could          4        structure, if they have iron or
     5        leave the target site. And it             5        don't have iron, you have -- you
     6        depends on the form of the metal.         6        may have differences.
     7            So we have soluble metals --          7   BY MR. HEGARTY:
     8        I don't want to go on too long.           8        Q. Will one particle from
     9        You have soluble metals and               9   diesel exhaust, inhaled or applied to the
    10        insoluble metals. Some of them           10   perineum, cause inflammation in the
    11        are more toxic and more -- and           11   ovary?
    12        potentially more carcinogenic than       12             MS. O'DELL: Object to the
    13        other forms. There are many salts        13        form.
    14        within those metals that you gave.       14             THE WITNESS: Again, same
    15   BY MR. HEGARTY:                               15        answer, it could. Depends on the
    16        Q. And what authority do you             16        particle size, the particle type,
    17   have for the statement that one particle      17        the particle morphology. And it
    18   of chromium, either inhaled or applied to     18        has the potential to induce
    19   the perineum, will induce inflammation in     19        inflammation as shown in cells.
    20   the ovaries?                                  20        And can produce an oxidant state.
    21        A. My professional judgment.             21   BY MR. HEGARTY:
    22        Q. Will one particle of the              22        Q. Doesn't inflammation just
    23   fragrance of the chemicals that you list      23   reflect the body's normal response to the
    24   from the fragrances, either inhaled or        24   presence of the particles?
                                            Page 323                                          Page 325
     1   applied to the perineum, cause                 1        A. There are two -- there are
     2   inflammation to the ovaries?                   2   two forms of -- well, there are multiple
     3            MS. O'DELL: Objection to              3   forms of inflammation. But the two that
     4        the form.                                 4   are of concern and in -- in response to
     5            THE WITNESS: If -- I -- I             5   your question, is that they are acute
     6        don't have the knowledge, I don't         6   inflammation and there is chronic
     7        have the literature knowledge to          7   inflammation.
     8        answer that question.                     8             And with acute inflammation,
     9   BY MR. HEGARTY:                                9   the first response to a foreign -- a
    10        Q. Will one -- will one                  10   foreign particle or an antigen on a
    11   particle of -- of cadmium, either inhaled     11   bacterial cell or an infectious agent, is
    12   or applied to the perineum, cause             12   for the body to mount an immune response.
    13   inflammation in the ovaries?                  13             How it does that is through
    14        A. It can cause --                       14   the same cell types that I just
    15            MS. O'DELL: Objection to             15   mentioned. Polymorphonucleocytes, also
    16        form. You can answer.                    16   known as neutrophil. Macrophages, and
    17            THE WITNESS: It can cause            17   those are the two key players, but
    18        inflammation in the area if it's         18   natural killer cells all come into it.
    19        inhaled in the lung and that             19             That involves the innate
    20        inflammation can get out                 20   immune system. And so the first thing to
    21        systemically.                            21   protect the body, whether it's a viral
    22            Now it depends, again, on            22   infection or whether it's a bacterial
    23        the size of the particle. Metals,        23   infection or whether it's a foreign
    24        as I said before, cannot be              24   particle, is to mount that kind of immune
                                                                    82 (Pages 322 to 325)
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                                  Judith Zelikoff, Ph.D.
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     1   response to kill or negatively impact        1   inflammation. Not that they involve
     2   that particular particle.                    2   different cell types or different
     3             That will then -- that's an        3   mechanisms. But they are called, in
     4   innate immune response being active.         4   terms of timing or temporality, acute
     5   That will then, in some cases, upregulate    5   which will kill whatever right away and
     6   the T-cell and -- and humoral or -- and      6   then chronic which unfortunately keeps
     7   cell-mediated immune response.               7   playing back on itself and the
     8             Now, that is, in terms of          8   inflammation will continue.
     9   cancers and in terms of tumors, that is      9        Q. Granulomas which you just
    10   called immunosurveillance and that's the    10   mentioned don't cause cancer, correct?
    11   first thing. And you're absolutely          11        A. Granulomas do not -- I'm
    12   right. The purpose of the immune system     12   sorry.
    13   is to protect the body. That is the         13        Q. Granulomas which you just
    14   function.                                   14   mentioned don't cause cancer, correct?
    15             However, there are three          15        A. Granulomas are in response
    16   stages or three types of processes for      16   to a foreign body. In the case of
    17   the immune system in carcinogenesis. The    17   asbestos or in the case of another type
    18   second being immuno equilibrium. But the    18   of fiber, macrophage will come over and
    19   part that is the last part is that the      19   their normal process in what we call
    20   tumor can actually quiet or cause           20   innate immunity is to engulf the fiber.
    21   immunosenescence of the immune system.      21   And unfortunately, many times the fiber
    22             So in a chronic                   22   cannot be engulfable or the particle
    23   inflammation, it does not always act in     23   cannot be engulfable.
    24   the best interest of the -- of the host     24            And so many macrophage will
                                          Page 327                                        Page 329
     1   but in the best interest of the tumor.       1   come over, and they will try to engulf it
     2            So your -- the answer to            2   as a body. And that is called a
     3   your question is yes, that's the function    3   granulomatous reaction.
     4   of it. But it can behave, it's a             4             And that's what happens
     5   two-prong sword.                             5   during tuberculosis when the organism
     6         Q. You said there are multiple         6   forms, many macrophages come over to kill
     7   types of inflammation and you listed two     7   the organism, but it can't, and so they
     8   types: Acute and chronic. Are there any      8   form granulomas.
     9   other types besides those two?               9        Q. Doctor, listen to my
    10         A. Well, you have the reactions       10   question. I didn't ask you what a
    11   to those inflammation in terms of having    11   granuloma was. I asked you, granulomas
    12   a foreign body reaction. That is part of    12   don't cause cancer, correct?
    13   an inflammatory response. So in terms of    13             MS. O'DELL: Object to form.
    14   temporality or timing, inflammation is      14             THE WITNESS: There is no
    15   acute and is chronic.                       15        literature to my knowledge that
    16            What occurs during that            16        shows a granuloma, meaning immune
    17   time, such as a foreign body reaction       17        response, forming macrophages
    18   where macrophages all come together and     18        engulfing, can cause cancer.
    19   engulf the particle or the fiber and try    19   BY MR. HEGARTY:
    20   to keep it within a localized space, that   20        Q. And a reaction to
    21   is a process that can occur within          21   inflammation can include the development
    22   inflammation.                               22   of fibrosis or scar tissue, correct?
    23            So my answer to you is that        23        A. That is a long-term chronic
    24   there are two major types of                24   response associated with chronic
                                                                  83 (Pages 326 to 329)
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                                    Judith Zelikoff, Ph.D.
                                             Page 330                                           Page 332
     1   inflammation.                                   1        A. Fibrosis does not morph or
     2        Q. And there's no literature               2   turn into cancer. That is correct.
     3   linking fibrosis to cancer, correct?            3        Q. In Section 12 -- I'm sorry.
     4             MS. O'DELL: Object to the             4   On Page 12, under your section
     5        form.                                      5   "exposure," talc particle access to the
     6             THE WITNESS: My                       6   body.
     7        professional opinion is that there         7            Do you see that section?
     8        is literature -- let me just read          8        A. Is this Paragraph 1, 2, or
     9        over the question, please.                 9   3?
    10             So fibrosis is produced by           10        Q. Well, I'm looking just at
    11        release of factors from the               11   the Section Number 4 right now.
    12        macrophage. And it causes                 12        A. Yes. Okay. Section Number
    13        scarring within that particular           13   6 is on Page 12.
    14        target organ.                             14        Q. Section 6. I'm sorry. I
    15             Now, whether or not that --          15   had those transposed.
    16        those -- that scarring can                16        A. And please repeat your
    17        actually make that site more              17   question.
    18        vulnerable to cancer, like in the         18        Q. You never -- prior to being
    19        case of hepatitis, where you get          19   contacted by counsel for plaintiffs, you
    20        scarring, and you get cancer as a         20   never looked at the studies reporting on
    21        result of that particular                 21   whether talc can reach the ovaries via
    22        fibrosis, but they are two                22   inhalation or perineal application,
    23        different diseases.                       23   correct?
    24             But whether the area of              24        A. I did not study the
                                             Page 331                                           Page 333
     1        fibrosis creates a more vulnerable         1   literature or review the literature prior
     2        tissue base that can -- that can           2   to being contacted. But I studied it and
     3        progress or go to cancer is a              3   reviewed it extensively after being
     4        question that there is some                4   contacted.
     5        examples of, but -- in the liver           5        Q. On Page 12 of the last
     6        in particular.                             6   paragraph -- I'm sorry -- second-to-last
     7   BY MR. HEGARTY:                                 7   paragraph, which begins, "A common
     8        Q. Well, there's no literature             8   exposure route."
     9   reporting an increased risk of cancer in        9            Do you see that paragraph?
    10   any organ because there's fibrosis in          10        A. I do. Thank you.
    11   that organ, correct?                           11        Q. You write, "Again, a common
    12        A. What I'm saying is that in             12   exposure route for cosmetic talc is via
    13   terms of the liver and in terms of             13   the dermal route including vaginally
    14   fibrosis, let's say from ethanol or            14   after perineal application."
    15   acetaminophen ingestion, you get fibrosis      15        A. Yes.
    16   which is a whole disease or symptomology       16        Q. Is it your testimony that
    17   by itself, and then you have cancer,           17   there's biologic plausibility with talc
    18   which is another disease. But what I'm         18   applied to the skin?
    19   saying is that in the area where the           19        A. Applied to the skin, talc
    20   injury and the fibrosis occurs, in the         20   does not -- is not absorbed into the skin
    21   liver there is a higher risk of getting        21   or through the skin, although there is
    22   cancer.                                        22   some question as to whether if there's
    23        Q. Fibrosis doesn't morph or              23   injury or scratch or openings in the
    24   turn into cancer?                              24   skin, whether the talc can penetrate.
                                                                     84 (Pages 330 to 333)
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                                   Judith Zelikoff, Ph.D.
                                           Page 334                                        Page 336
     1   But in and of itself talc cannot              1       the form.
     2   penetrate through the skin.                   2   BY MR. HEGARTY:
     3             However, we're not -- when          3       Q. Correct?
     4   we're talking about perineal or vaginal       4           MS. O'DELL: Excuse me. You
     5   application, you are not talking about an     5       may answer his question any way
     6   epidermal subcutaneous keratinized skin.      6       you'd want to, Doctor.
     7        Q. None of the studies that you          7           THE WITNESS: None of these
     8   cite in this paragraph researched             8       that I have stated on Page 12
     9   particle transport through the                9       refer to perineal exposure in the
    10   reproductive tract through perineal          10       second paragraph in terms of
    11   application, correct?                        11       Venter, Iturralde, Sjosten and
    12             MS. O'DELL: Object to the          12       Heller.
    13        form.                                   13           However, on Page -- on Page
    14             THE WITNESS: These -- it is        14       13, there is a study by Keskin,
    15        extremely technically difficult,        15       who used rats and did a vaginal or
    16        from my knowledge as an animal          16       perineum to talc.
    17        toxicologist, to do perineal            17   BY MR. HEGARTY:
    18        application to a mouse.                 18       Q. I'm going to move to strike.
    19   BY MR. HEGARTY:                              19   We're going to go off the record.
    20        Q. I'm going to withdraw the            20           MR. HEGARTY: We're going to
    21   question. Doctor, you will not respond       21       call Judge Pisano. There's no
    22   to my question. My question is simply,       22       reason to add that additional part
    23   none of the studies that you cite in this    23       to the answer to that question.
    24   paragraph researched particle transport      24       And I'm not -- I'm tired of that
                                           Page 335                                        Page 337
     1   through the reproductive tract through        1       happening. So we'll call him
     2   perineal application. That's correct?         2       unless you're going to talk to the
     3        A. There is a study, and I'm             3       witness.
     4   afraid the name of the author does not        4           MS. O'DELL: Is your
     5   come to me. So allow me to look at my         5       objection she didn't answer your
     6   report.                                       6       question? Because she -- you
     7        Q. And I'm just talking about            7       asked her about the paragraph.
     8   the authorities that you cite in the          8       She said "no; however" --
     9   second paragraph beginning, "A common         9           MR. HEGARTY: We're off the
    10   exposure route."                             10       record.
    11            MS. O'DELL: Feel free to            11           MS. O'DELL: No, we're not
    12        look at your report if you need         12       off the record.
    13        to, Doctor.                             13           MR. HEGARTY: We're off the
    14            THE WITNESS: I understand.          14       record.
    15            On Page 13, animal models --        15           MS. O'DELL: No, we --
    16   BY MR. HEGARTY:                              16           MR. HEGARTY: We're going
    17        Q. Doctor, that's not my                17       off the record.
    18   question. My question is in the              18           MR. LOCKE: We are off. Let
    19   paragraph that I referenced beginning a      19       me throw out something. We've got
    20   common exposure route, none of those         20       seven hours. I think there's a
    21   authorities looked at transport of the       21       plan here to stall, and we need to
    22   particles via application of those           22       do a better job of keeping things
    23   particles to the perineum?                   23       moving, or we are going to have to
    24            MS. O'DELL: Objection to            24       ask the court for more time.
                                                                  85 (Pages 334 to 337)
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                                   Judith Zelikoff, Ph.D.
                                           Page 338                                          Page 340
     1           MR. HEGARTY: Let's go off             1   have looked at transport of dry powder
     2       the record.                               2   talc to the perineum showing that the --
     3           MS. O'DELL: The suggestion            3   that talc transports to the ovaries,
     4       that there's -- let me just --            4   correct?
     5       before we go off the record, the          5             MS. O'DELL: Object to the
     6       suggestion that there's somehow a         6        form.
     7       plan to -- is incorrect, and              7             THE WITNESS: When we say --
     8       improper. So if you want to go            8        when you say talc, you're
     9       off the record, I think you've got        9        referring to talcum powder
    10       an answer to your question, which        10        products?
    11       was, "No, not in the paragraph."         11   BY MR. HEGARTY:
    12           However, she has a right to          12        Q. Correct, correct.
    13       point to evidence in her report.         13        A. That's correct to my
    14       That's perfectly appropriate.            14   knowledge.
    15           MR. HEGARTY: We'll let               15        Q. And are you aware that talc
    16       Judge Pisano decide. We'll go off        16   is in toilet paper?
    17       the record.                              17        A. Yes, I just learned that
    18           THE VIDEOGRAPHER: The time           18   recently.
    19       is 3:39 p.m. Going off the               19        Q. Can talc in toilet paper
    20       record.                                  20   migrate to the ovaries?
    21           (Short break.)                       21             MS. O'DELL: Object to the
    22           THE VIDEOGRAPHER: The time           22        form.
    23       is 4:04 p.m. Back on the record.         23             THE WITNESS: Can -- my
    24           MR. HEGARTY: We're back on           24        knowledge is that talc in toilet
                                           Page 339                                          Page 341
     1       the record and we're going to             1        paper is -- is bound to the
     2       continue without calling Judge            2        other -- the other components
     3       Pisano at this time. But we do            3        there. So unless it becomes
     4       reserve the right to ask Judge            4        bioavailable it cannot migrate
     5       Pisano for more time based on our         5        from the toilet paper.
     6       belief that Dr. Zelikoff has many         6   BY MR. HEGARTY:
     7       occasions over the course of this         7        Q. How about talc -- talc in
     8       deposition not been responsive to         8   soap, is there talc in soaps?
     9       the questions asked and as a              9        A. To my knowledge there is.
    10       result has -- has wasted the             10        Q. Can talc in soaps, if
    11       defendant's time and to our              11   applied to the perineum, migrate to the
    12       prejudice.                               12   ovaries?
    13            So -- but we're going to go         13        A. If it becomes --
    14       forward and see if we can finish         14            MS. O'DELL: Object to form.
    15       this deposition.                         15            THE WITNESS: If it becomes
    16            MS. O'DELL: Plaintiffs will         16        bioavailable. Likely bound up to
    17       obviously oppose that -- that            17        the other components.
    18       motion. Dr. Zelikoff has been            18   BY MR. HEGARTY:
    19       responsive to your questions.            19        Q. When you say bioavailable,
    20   BY MR. HEGARTY:                              20   what do you mean?
    21       Q. Dr. Zelikoff, we're talking           21        A. To me, "bioavailable" means
    22   about the section on talc particle's         22   that the body can see it, and it
    23   access to the body. There have been no       23   becomes -- it becomes -- it has access to
    24   studies in either animals or humans that     24   biological responsiveness.
                                                                   86 (Pages 338 to 341)
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                                   Judith Zelikoff, Ph.D.
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     1        Q. And do you know a                     1        Q. You need a specific page?
     2   Dr. Benjamin Neel at NY University -- New     2   Over on Page 16. Over the course of this
     3   York University?                              3   page and carrying over to the next page,
     4        A. Dr. Neel, isn't he the head           4   you cite a number of studies that refer
     5   of the cancer center?                         5   to talc causing pleural inflammation,
     6        Q. He is.                                6   correct?
     7        A. He is the head of the cancer          7        A. Yes.
     8   center.                                       8        Q. Talc causing granulomas,
     9        Q. Do you know him?                      9   correct?
    10        A. I do not know him.                   10        A. Yes.
    11        Q. Does he know more about              11        Q. Talc causing pulmonary
    12   cancer biology than you do?                  12   interstitial fibrosis, correct?
    13            MS. O'DELL: Object to the           13        A. Talcum powder can do those
    14        form.                                   14   things, yes.
    15            THE WITNESS: I've not seen          15        Q. And talc causing
    16        his CV. I would assume as head of       16   carcinogenic activity in the lungs,
    17        the cancer center, that he              17   correct?
    18        probably does. Since that is not        18        A. Are you referring to a
    19        my area of study.                       19   specific line?
    20   BY MR. HEGARTY:                              20        Q. No, I'm not referring to a
    21        Q. Are dose-response                    21   specific line. I'm talking about
    22   relationships important in evaluating        22   generally from this part of your report.
    23   potential carcinogenicity of a substance?    23        A. In general, this is the
    24        A. Dose-response --                     24   section on inhalation. I'm talking
                                           Page 343                                         Page 345
     1   dose-responses are -- contribute to, as I     1   about -- yes, I'm talking about talcum
     2   said frequency, duration, exposure route.     2   powder and its ability to bring about
     3   They all contribute to carcinogenicity.       3   changes in the lungs that could lead to
     4        Q. In other words, in                    4   carcinogenic -- carcinogenesis.
     5   evaluating the carcinogenicity of a           5        Q. Of the reactions that we
     6   substance, it's important to look at dose     6   just talked about, have any of those been
     7   relationships, correct?                       7   reported in women using talc on the
     8        A. Are you speaking about                8   perineum?
     9   dose-response, or more than one dose?         9        A. There have been no studies
    10        Q. Let me ask it again. In              10   to my knowledge showing that application
    11   evaluating the substance for                 11   of perineal talc can produce -- produces
    12   carcinogenicity purposes, it's important     12   lesions in the lungs.
    13   to look at dose-response relationships,      13        Q. And there's been no studies
    14   correct?                                     14   that you are -- of which you are aware
    15        A. It's important to look at            15   that have reported findings of granulomas
    16   dose-response relationships, but it's not    16   in women using talc in the perineum,
    17   the only factor, is what I'm saying.         17   correct?
    18        Q. In your report, you cite a           18        A. There is evidence of
    19   number of reactions to talc that have        19   inflammation clearly, but there -- to my
    20   been reported, pleural inflammation,         20   knowledge, I have not seen any of the
    21   granulomas, pulmonary                        21   literature which shows a granuloma in the
    22   interstitial fibrosis --                     22   ovary.
    23        A. What page are you referring          23        Q. What studies have you seen
    24   to?                                          24   that have reported seeing inflammation in
                                                                   87 (Pages 342 to 345)
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                                   Judith Zelikoff, Ph.D.
                                           Page 346                                         Page 348
     1   the ovaries of women using talc on the        1   disease.
     2   perineum?                                     2        Q. Okay. Rheumatoid arthritis
     3             MS. O'DELL: Object to the           3   does not increase the risk of cancer,
     4        form.                                    4   correct?
     5             THE WITNESS: I'm just               5        A. Rheumatoid arthritis, for
     6        trying to find the section.              6   what's known now, does not increase the
     7             There were many studies, I          7   risk of cancer.
     8        can't right now, without finding         8        Q. Psoriasis is another chronic
     9        it in my report, identify any one        9   inflammatory process, correct?
    10        in particular.                          10        A. Another autoimmune disease
    11   BY MR. HEGARTY:                              11   and another inflammatory process, yes.
    12        Q. Well, sitting here today,            12        Q. Having psoriasis does not
    13   can you cite any study that has reported     13   increase the risk of any form of cancer,
    14   on finding inflammation of the ovaries       14   correct?
    15   following perineal application of talc?      15        A. Not that -- not that we know
    16        A. As I said, there are many --         16   with the current knowledge.
    17   there are many examples in animal models     17        Q. So just having chronic
    18   that was not perineal, that was vaginal,     18   inflammation does not mean cancer will
    19   as you stated.                               19   develop, correct?
    20             There were studies --              20            MS. O'DELL: Object to the
    21   study -- an early study which identified     21        form.
    22   talcum powder particles in the ovary with    22            THE WITNESS: Just having
    23   inflammatory responsiveness or               23        chronic inflammation does not have
    24   inflammatory responses. That was a           24        to indicate. It's one -- again,
                                           Page 347                                         Page 349
     1   very -- that was a very early study. I'm      1        it's one mechanism that provides
     2   not sure if it was Hamilton or Henderson.     2        biological plausibility for the
     3   If I may.                                     3        cancer induction.
     4             I'm sorry it's not coming to        4             If I may give an example.
     5   mind now.                                     5   BY MR. HEGARTY:
     6        Q. Okay. Over on Page 20 you             6        Q. Well, let me -- that's not
     7   discuss the role of the immune system --      7   what I asked you for.
     8        A. Yes, sir.                             8        A. Okay. I thought I answered
     9        Q. -- correct?                           9   your question.
    10        A. I see that, yes.                     10        Q. Does having pelvic
    11        Q. You agree that it's not              11   inflammatory disease cause ovarian
    12   generally accepted by the medical or         12   cancer?
    13   scientific communities that all cancers      13        A. The inflammation has been
    14   are caused by chronic inflammation,          14   linked with ovarian cancer, yes.
    15   correct?                                     15        Q. In your opinion is there a
    16        A. There are other mechanisms           16   biologically plausible mechanism between
    17   that are associated with carcinogenesis      17   PID and ovarian cancer?
    18   and the process of carcinogenesis. If        18        A. Well, PID is usually
    19   you'd like, I can identify those.            19   associated with an infection. And what's
    20        Q. You agree that there are             20   related to cancer and why there's higher
    21   types of chronic inflammation that are       21   risk in inflammatory diseases of
    22   not related to cancer. Rheumatoid            22   endometriosis and pelvic inflammatory
    23   arthritis is one, correct?                   23   disease is through a mechanism of
    24        A. That's an autoimmune                 24   inflammation.
                                                                   88 (Pages 346 to 349)
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                                  Judith Zelikoff, Ph.D.
                                          Page 350                                         Page 352
     1        Q. Your biologically plausible          1        A. It's -- the only evidence
     2   mechanism for talc and ovarian cancer is     2   out there that addresses this is when
     3   inflammation, correct?                       3   they do correlation studies with the
     4        A. That's primary, yes.                 4   level of antibodies to MUC-1. And when
     5        Q. You make reference to MUC-1.         5   the antibody levels are decreased, then
     6   That's not your biological plausibility      6   you have -- they found that you have an
     7   mechanism, is it?                            7   increased risk of ovarian cancer.
     8        A. You mean MUC-1 --                    8        Q. There are no studies
     9        Q. Yes.                                 9   reporting or correlating MUC-1 levels in
    10        A. -- antibodies?                      10   talcum powder users to ovarian cancer
    11        Q. Correct?                            11   risk, correct?
    12        A. MUC-1, if I may explain it,         12            MS. O'DELL: Object to form.
    13   is mucin. And --                            13            THE WITNESS: Not to my
    14        Q. I don't want to interrupt.          14        knowledge.
    15   I'm not after an explanation. I just        15            MS. O'DELL: Sorry.
    16   wanted to know whether it's part --         16   BY MR. HEGARTY:
    17   whether the references you include in       17        Q. And measuring MUC-1 is not
    18   your report to MUC-1 are included in your   18   used to diagnose ovarian cancer, correct?
    19   biologically plausible opinion?             19        A. MUC-1 is also known as
    20        A. It is included in my -- in          20   CA-125, and it is used as a marker.
    21   reaching my opinion, yes.                   21        Q. My question is, is MUC-1
    22        Q. Is that a separate mechanism        22   used to -- levels -- strike that.
    23   from inflammation?                          23            Are MUC-1 levels used to
    24        A. It is a separate mechanism          24   diagnose a woman with ovarian cancer?
                                          Page 351                                         Page 353
     1   from inflammation. It's seen in ovarian      1        A. My response to that is MUC-1
     2   cancer as a marker. And when you have --     2   is synonymous with CA-125. CA-125 is a
     3   evidence has shown that if you have          3   shed marker in the blood associated with
     4   antibodies to MUC-1, and if they're          4   ovarian cancer, so yes.
     5   decreased as is seen in response to talc,    5        Q. Okay. Is it your testimony
     6   that you will have less of an immune         6   that for purposes of -- strike that.
     7   response and protection.                     7            Is it your testimony that
     8        Q. Can you cite for me any              8   CA-125 levels are used to diagnose
     9   study that has correlated MUC-1 levels       9   ovarian cancer?
    10   with ovarian cancer risk?                   10            MS. O'DELL: Object to the
    11             MS. O'DELL: Object to form.       11        form.
    12             THE WITNESS: They use it as       12            THE WITNESS: I'm saying
    13        a marker. The literature uses          13        that CA-125 is used as a
    14        MUC-1 as a marker of cancer. Can       14        biological marker of progression,
    15        I cite you any studies that links      15        extent, and intensity and whether
    16        it with ovarian cancer? No, I          16        ovarian cancer is present.
    17        cannot.                                17   BY MR. HEGARTY:
    18   BY MR. HEGARTY:                             18        Q. My question is, in a woman
    19        Q. Are there any studies that          19   who comes in complaining of symptoms that
    20   link the levels of MUC-1 to ovarian         20   might be ovarian cancer, is CA-125 used
    21   cancer risk?                                21   to diagnose ovarian cancer?
    22        A. Do you mean human studies or        22        A. I'm sorry, I'm not a
    23   animal?                                     23   physician. I can't answer that question
    24        Q. Yes, human studies only.            24   in terms of what -- what an OB/GYN or an
                                                                  89 (Pages 350 to 353)
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                                   Judith Zelikoff, Ph.D.
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     1   oncologist would do.                         1        the systematic review of the
     2         Q. And measuring CA-125 levels         2        literature as I have. But each
     3   does not give you any evidence of the        3        doctor, I'm sure, makes their own
     4   etiology of the ovarian cancer, correct?     4        opinion.
     5         A. Not to the etiology.                5   BY MR. HEGARTY:
     6   However, it is an epithelial-associated      6        Q. Can you cite any doctor who
     7   protein.                                     7   treats ovarian cancer or researches
     8             So if we are talking about         8   ovarian cancer who believes that the
     9   epithelial, and we are talking about         9   biological plausible mechanism of ovarian
    10   epithelial ovary carcinoma, it is related   10   cancer is inflammation?
    11   to -- to that.                              11        A. I have not spoken to any
    12         Q. Does all types -- do all           12   doctors in that regard.
    13   types of inflammation irreparably damage    13        Q. What does the inflammation
    14   tissue?                                     14   in the ovary look like in your opinion
    15         A. Irreparably. Do you mean           15   from talc exposure?
    16   persistently without -- is there            16        A. It looks like any other
    17   recovery?                                   17   local target of inflammation, in that
    18         Q. No, my question is do all          18   there are neutrophils, immune cells that
    19   types of inflammation, all acute, all       19   migrate into the area. There are
    20   chronic inflammation, damage tissue where   20   macrophages that migrate into the area.
    21   it's not repaired?                          21   There can be higher levels of cytokines
    22         A. Where it's not repaired?           22   like interleukin and chemotactic factor,
    23         Q. Yes.                               23   growth factor.
    24         A. No, you can have -- with           24        Q. Such inflammation, if it was
                                          Page 355                                         Page 357
     1   acute inflammation, of course you can        1   occurring would be visible, correct?
     2   have repair of -- it's there to protect      2        A. Not necessarily. In a -- in
     3   against the invader.                         3   a chronic -- first of all, you can get
     4         Q. Does having inflammation in         4   different time periods. So
     5   one organ or one tissue in the body          5   inflammation -- if it's chronic
     6   always mean that other tissues in the        6   inflammation you are talking about one
     7   body will be inflamed?                       7   thing. And then you might see some
     8         A. It does not always mean             8   remnants of the inflammation.
     9   that.                                        9             But if you look at a period
    10         Q. The medical community has          10   of time, you can miss the inflammatory
    11   not generally accepted that chronic         11   response. It can be there, impact the
    12   inflammation is a cause of ovarian          12   cells and then be gone.
    13   cancer, correct?                            13        Q. Even with chronic
    14              MS. O'DELL: Objection to         14   inflammation?
    15         form.                                 15        A. With chronic inflammation,
    16              THE WITNESS: Again, I'm not      16   if you looked hard enough you would find
    17         quite sure what you mean by           17   the remnants of its presence and you will
    18         generally accepted. Everyone          18   also likely find neutrophilic
    19         has -- every medical community has    19   infiltration.
    20         its own opinion. I'm sure there       20        Q. Has that --
    21         are many doctors who do embrace       21        A. That does not last forever.
    22         it. And I'm sure there are many       22        Q. Has that ever -- that --
    23         doctors who do not. I'm not sure      23   those findings ever been reported in
    24         whether they've done the extent of    24   women using talc in the perineum?
                                                                  90 (Pages 354 to 357)
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                                  Judith Zelikoff, Ph.D.
                                         Page 358                                          Page 360
     1        A. The inflammatory response?           1        Q. None of those inflammatory
     2        Q. Correct.                             2   markers are tested to diagnose or monitor
     3        A. Or the infiltration? Not             3   a woman for developing ovarian cancer,
     4   that I'm aware of. Not in my report.         4   correct?
     5        Q. How many applications of             5        A. To my knowledge, tumor
     6   talc to the perineum does it take to         6   necrosis factors, C-reactive protein,
     7   cause chronic inflammation in the            7   none of the interleukins are monitored.
     8   ovaries?                                     8            But again, I have to say
     9        A. That's -- that                       9   that I'm not an OB/GYN and so I'm not --
    10   information -- that is not known how many   10   I'm not familiar with what their -- what
    11   applications, whether it could be one or    11   they are using other than what's in the
    12   it needs to be over a period of three       12   literature.
    13   years or a period of ten years. Some of     13        Q. And no study has clinically
    14   the meta-analysis evaluations indicated     14   correlated those markers with ovarian
    15   that there were some temporal               15   cancer or ovarian cancer risk, correct?
    16   associations with it, and that it needed    16            MS. O'DELL: Objection to
    17   to be used longer than ten years, where     17        form.
    18   you saw responsiveness. And others          18            THE WITNESS: In looking at
    19   indicated less than ten years.              19        biological plausibility, which
    20             So it's -- it's difficult to      20        I'm -- which I'm focused on, the
    21   say, and it's also associated with the      21        indication of those elevated
    22   woman.                                      22        levels as well as decreased levels
    23        Q. Does acute inflammation             23        of antioxidants are associated
    24   cause cancer?                               24        with inflammation and are
                                         Page 359                                          Page 361
     1        A. Acute inflammation has not           1        associated with ovarian cancer.
     2   been linked to my knowledge to cancer.       2   BY MR. HEGARTY:
     3   As I said, it's used as an immune            3        Q. Well, can you cite for me
     4   surveillance and protective mechanism as     4   any study that has clinically correlated
     5   you pointed out.                             5   those findings to ovarian cancer risk?
     6        Q. Over on Pages 20 and 21 of           6            MS. O'DELL: Objection.
     7   your report you refer to CRP and other       7        Asked and answered.
     8   inflammatory markers, cytokines,             8            THE WITNESS: First of all,
     9   inflammatory mediators. Do you see the       9        I'm not -- and again, not an
    10   section I'm referring to?                   10        OB/GYN.
    11        A. I -- roles of the immune            11            I can tell you that those
    12   system, and then Section E, ovarian         12        risk factors, which are
    13   cancer inflammation?                        13        inflammatory markers, are used as
    14        Q. Correct.                            14        an indicator of inflammation as a
    15        A. Which section are you               15        biological plausible mechanism.
    16   referring to?                               16   BY MR. HEGARTY:
    17        Q. Well, the section ovarian           17        Q. Well, do you cite in your
    18   cancer inflammation at the bottom of        18   paper any studies that have --
    19   Page 20, carrying over to the top of        19        A. I'm sorry, do you mean the
    20   Page 21.                                    20   report?
    21        A. I see that.                         21        Q. In your report. Do you cite
    22        Q. And there you talk about a          22   in your report any studies that have
    23   number of inflammatory markers, correct?    23   found that women with these markers have
    24        A. Correct.                            24   a higher -- higher or an increased risk
                                                                  91 (Pages 358 to 361)
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                                   Judith Zelikoff, Ph.D.
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     1   of ovarian cancer?                           1   are a normal product of cell activity,
     2        A. Well, what I -- no. But              2   correct?
     3   what I have found is that in women who       3        A. That is correct --
     4   have ovarian cancer, when they measure       4        Q. For example, for many --
     5   concurrently or subsequently, that the       5        A. -- for many cells.
     6   levels of certain inflammatory markers       6        Q. -- reactive oxygen species
     7   are elevated.                                7   increase if we exercise, correct?
     8        Q. My question was specific to          8        A. As well as antioxidants
     9   women prior to being diagnosed with          9   increase, yes.
    10   ovarian cancer, has any study shown that    10        Q. The same is true for
    11   women with higher levels of these           11   reactive nitrogen species, correct?
    12   inflammatory markers have an increased      12        A. Yes.
    13   risk of ovarian cancer?                     13        Q. These --
    14            MS. O'DELL: Objection to           14        A. It's a matter of degree.
    15        form.                                  15        Q. Reactive oxygen species and
    16            THE WITNESS: Not in that           16   reactive nitrogen species increase if
    17        particular context. But again I'm      17   we're under stress, correct?
    18        not an OB/GYN.                         18        A. They have been shown to do
    19   BY MR. HEGARTY:                             19   that, yes.
    20        Q. Has any study shown that            20        Q. And the body has defense
    21   these inflammatory factors are elevated     21   mechanisms to handle this increase in
    22   in women using talc on the perineum?        22   reactive oxygen species and reactive
    23            MS. O'DELL: Objection to           23   nitrogen species, correct?
    24        the form.                              24            MS. O'DELL: Objection to
                                          Page 363                                          Page 365
     1            THE WITNESS: It's not a             1        form.
     2        common thing to measure                 2            THE WITNESS: The body has
     3        inflammatory mediators as a result      3        antioxidant mechanisms, including
     4        of the common use of talcum powder      4        superoxide dismutase, catalase, et
     5        products. So there is no                5        cetera, that are -- that elevate
     6        indication of that because there        6        in response to reactive oxygen
     7        are no studies of that.                 7        species. But they can be
     8   BY MR. HEGARTY:                              8        overwhelmed by the amount of ROS
     9        Q. If you look over on Page 24          9        release.
    10   of your report under the section Role of    10   BY MR. HEGARTY:
    11   Oxidants in Ovarian Cancer. Do you see      11        Q. But it would be improper to
    12   that section?                               12   say that simply by the generation of
    13        A. Section C on Page 24?               13   reactive oxygen species or reactive
    14        Q. Correct.                            14   nitrogen species, DNA mutations and tumor
    15        A. Yes.                                15   development will occur, correct?
    16        Q. All the processes that you          16            MS. O'DELL: Object to form.
    17   describe in this section occur in           17            THE WITNESS: One couldn't
    18   everyone everyday, correct?                 18        say that just by the -- as you
    19            MS. O'DELL: Object to the          19        point out, as the normal -- under
    20        form.                                  20        normal circumstances, endogenously
    21            THE WITNESS: To a degree,          21        within the body, and not in
    22        yes.                                   22        response to a particular agent
    23   BY MR. HEGARTY:                             23        does produce these. So one cannot
    24        Q. The reactive oxygen species         24        say, to answer your question, that
                                                                  92 (Pages 362 to 365)
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                                  Judith Zelikoff, Ph.D.
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     1        it -- just the presence of              1   of the literature comes from in vivo
     2        reactive oxygen species will lead       2   animal studies as well as in vitro cell
     3        to cancer.                              3   studies. But my role is to -- is to look
     4   BY MR. HEGARTY:                              4   at biological plausibility. And so
     5        Q. What data shows that the             5   studies that reveal or indicate that
     6   body's response system to reactive oxygen    6   response in an animal model and in cell
     7   species and reactive nitrogen species is     7   culture indicates to me that there's no
     8   unable to handle those species that might    8   likely reason why it could not happen in
     9   be generated by talc exposure?               9   women.
    10        A. Numerous cell studies and           10        Q. Okay. At the top of Page 25
    11   numerous animal studies. And you would      11   of your report, you say that even a
    12   look at that by the level of antioxidants   12   single dose of a carcinogen can produce
    13   that are also present. And if a             13   effects that are adverse to cells and
    14   substance such as talcum powder product     14   tissue at the site of exposure.
    15   reduces antioxidants, then the cell or      15             Do you see where I'm
    16   the tissue is going to be overwhelmed by    16   reading?
    17   that product.                               17        A. Yes.
    18        Q. Has that process ever been          18        Q. When you say dose, do you
    19   shown in vivo?                              19   mean exposure at a dose or volume of
    20        A. In a -- I'm not sure if this        20   exposure to a substance that studies have
    21   answers your question. I'll do my best      21   proven are adverse to cells and tissues?
    22   to answer it. And your question was has     22             MS. O'DELL: Object to the
    23   that process, meaning the process of        23        form.
    24   antioxidant change -- is that your          24             THE WITNESS: That's a
                                          Page 367                                          Page 369
     1   question?                                    1        multiple question. But when I
     2        Q. No. The process where the            2        refer to even a single dose, I
     3   cell or the tissue is going to be            3        mean even a single exposure.
     4   overwhelmed, has that process ever been      4   BY MR. HEGARTY:
     5   shown in vivo in women?                      5        Q. Are you saying there a
     6        A. In women?                            6   single molecule of the substance?
     7        Q. Yes.                                 7        A. What I meant in this report
     8             MS. O'DELL: Object to the          8   is even a single exposure. The
     9        form. You can answer.                   9   concentration of which could be unknown.
    10             THE WITNESS: Certainly in         10   A single exposure to a certain
    11        animals, but not to my knowledge       11   concentration, whatever that
    12        in women.                              12   concentration is, can produce effects.
    13             I'm sorry. I'm still              13   I'm not saying can produce cancer. What
    14        thinking.                              14   I'm saying is can start the process of
    15             Whenever the antioxidant          15   either inflammation or oxidative stress.
    16        levels are decreased, that is an       16        Q. And to what tissue does that
    17        indicator of being overwhelmed by      17   single dose need to reach to have the
    18        the reactive oxygen species or the     18   adverse effects that you describe there?
    19        oxidation stress.                      19            MS. O'DELL: Object to the
    20   BY MR. HEGARTY:                             20        form.
    21        Q. And what studies have shown         21            THE WITNESS: Whatever that
    22   the antioxidant levels are decreased in     22        particular -- it depends upon the
    23   women using talc?                           23        carcinogen or the inflammagogue
    24        A. In women using talc -- most         24        that one is looking at in terms of
                                                                  93 (Pages 366 to 369)
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                                  Judith Zelikoff, Ph.D.
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     1       a single exposure. And it depends        1         A. In women?
     2       on the susceptibility of the             2         Q. Yes.
     3       tissue. So to answer your                3         A. I can -- I cannot off the
     4       question, doses or concentration         4   top of my head or looking at my report
     5       to the target tissue is unknown or       5   tell you that. Again, I just want to
     6       open.                                    6   repeat that my charge was to look at
     7   BY MR. HEGARTY:                              7   biological plausibility and I -- I see
     8       Q. You're not saying that a              8   those effects or processes that you're
     9   single application of talc to the            9   indicating in cells and animal models,
    10   perineum can produce effects that are       10   but I do not have that information with
    11   adverse to cells and tissue in the          11   humans.
    12   ovaries, correct?                           12         Q. Are you aware of any study
    13            MS. O'DELL: Object to the          13   correlating the exposures used in those
    14       form.                                   14   cell and animal models to the exposures
    15            THE WITNESS: I'm not saying        15   that women would experience with perineal
    16       that it can't. I think I                16   application of talc?
    17       testified earlier that a single --      17             MS. O'DELL: Object to the
    18       depending upon what that product        18         form.
    19       is -- in this case we're talking        19             THE WITNESS: Well, in my
    20       about talcum powder product --          20         mind, and in reality, women use
    21       that one exposure, one                  21         different amounts, whether it's
    22       application, one perineal direct        22         different handfuls. So I can't
    23       exposure could in fact trigger the      23         really give you a concentration.
    24       cells to start a process leaning        24         But there are studies, the in
                                          Page 371                                        Page 373
     1         towards inflammation.                  1        vitro studies, that did use more.
     2   BY MR. HEGARTY:                              2             However, when you're looking
     3         Q. And where the talc -- where         3        at toxicology and you're looking
     4   does the talc need to go in the body to      4        to define a mechanism or a
     5   trigger that mechanism?                      5        potential mechanism, if you use
     6         A. Well, once it gets -- once          6        even a higher dose, you're
     7   it's applied to the perineal region, it's    7        still -- you still can elicit the
     8   my belief that it then migrates up to        8        same mechanism.
     9   the -- to the vaginal area. And in the       9             So perineal application --
    10   vaginal area, it could also start           10        to answer your question, perineal
    11   mechanisms, gene expression changes in      11        application can put a lot or a
    12   the vaginal tissues that could lead to      12        little. But it also depends on
    13   inflammation, or it could get to the        13        the frequency and the duration of
    14   point of the cervix or to the fallopian     14        the use.
    15   tubes. It causes changes in cells,          15   BY MR. HEGARTY:
    16   whether it's gene expression or an          16        Q. Doctor, my question, though,
    17   inflammation, at any one of those           17   was, has any study correlated the
    18   upward -- upward reproductive tract organ   18   exposures in the animal or cell studies
    19   systems or tissues. They're all made up     19   to which you are referring to, to show
    20   of cells that are susceptible to oxidant    20   that those same exposures are occurring
    21   stress.                                     21   in women applying talc to the perineum?
    22         Q. Can you cite to us any study       22        A. No.
    23   that has shown that process in women        23        Q. For purposes of your
    24   using talc to the perineum?                 24   opinions on biological plausibility, do
                                                                  94 (Pages 370 to 373)
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                                  Judith Zelikoff, Ph.D.
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     1   you rely on the studies that you cite in     1        just?
     2   your report done by Dr. Saed?                2   BY MR. HEGARTY:
     3         A. I relied on the information         3        Q. Ovarian epithelial -- thank
     4   from Dr. Saed. It went into making up my     4   you.
     5   opinion, yes.                                5            Have you ever done studies
     6         Q. If those studies were not           6   using any type of ovarian epithelial cell
     7   available to you, would your opinions        7   lines?
     8   still be the same?                           8        A. I have not.
     9         A. As I said, one of the -- one        9        Q. Have you ever done any study
    10   of the manuscripts came after my report.    10   using ovarian cancer cell lines?
    11   And it was -- I looked at an abstract, so   11        A. I have not. Not personally.
    12   I had information. And other -- others      12        Q. What data shows that the
    13   of Dr. Saed's I reviewed. But I would       13   doses that Dr. Saed used in his studies
    14   have come to the same conclusion. That      14   are comparable to those to which
    15   was just -- that was supplemental and       15   epithelial ovarian cells would be exposed
    16   complementary and compelling.               16   to via perineal application of talc?
    17         Q. Have you ever cited an             17            MS. O'DELL: Objection to
    18   abstract in any published article of        18        form.
    19   yours?                                      19            THE WITNESS: There was no
    20         A. Yes, I have.                       20        comparison in his study directly.
    21         Q. Are you an expert in the           21        But if I may, I just want to say,
    22   kinds of testing that Dr. Saed has          22        when you're looking at biological
    23   reported in the materials you reviewed?     23        plausibility, which was the
    24         A. Yes, I am.                         24        question that I was asked,
                                          Page 375                                          Page 377
     1        Q. Do you understand that               1        oftentimes higher doses in vitro
     2   Dr. Saed is an expert for the plaintiffs     2        studies are used to provide a
     3   in this litigation?                          3        mechanism or a plausibility or
     4        A. I do understand that from            4        feasibility that that can -- that
     5   looking at his publication.                  5        that product, in this case, talcum
     6        Q. Did you do anything yourself         6        powder product, can induce
     7   to verify the reliability of the testing     7        inflammation, inflammatory
     8   that he performed whose results you have     8        responses and changes in
     9   read in his publications?                    9        antioxidant levels.
    10        A. I focused my review and             10            So it is not uncommon to use
    11   reading of the study design, which is --    11        higher doses in in vitro studies
    12   and the experimental approach, which are    12        than what might be seen in a human
    13   key factors for evaluating any study.       13        for biological plausibility
    14   And I agree with the experimental           14        studies.
    15   approach and the study design that he       15   BY MR. HEGARTY:
    16   used.                                       16        Q. Can you cite any study that
    17             He used proper controls. He       17   has shown the results reported in
    18   used a dose-response. He used the proper    18   Dr. Saed's studies in vivo in women using
    19   techniques in analyzing for cell            19   talc?
    20   survivability as well as for oxidative      20            MS. O'DELL: Objection to
    21   stress and gene expression changes.         21        form.
    22        Q. Have you ever done studies          22            THE WITNESS: May I get
    23   using epithelial cell lines?                23        Dr. Saed's paper?
    24             MS. O'DELL: Ovarian or            24   BY MR. HEGARTY:
                                                                  95 (Pages 374 to 377)
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                                  Judith Zelikoff, Ph.D.
                                          Page 378                                         Page 380
     1        Q. Well, I'm actually not               1   polymorphisms?
     2   asking about Dr. Saed's paper.               2         A. I need to look at my CV
     3        A. Okay.                                3   again, as being co-investigator. I've
     4        Q. But my question is -- you've         4   worked with other people. I have not
     5   read Dr. Saed's papers, correct?             5   performed studies looking at single
     6        A. Yes, I have.                         6   nucleotide polymorphisms. But I have
     7        Q. Can you cite for me any              7   worked with people who have -- have done
     8   study that has shown the results he          8   them. And if I look at my curriculum
     9   reports in his studies in women using        9   vitae, I can tell you if I've been on any
    10   talc?                                       10   publications.
    11            MS. O'DELL: Object to form.        11         Q. Okay. Because of time, just
    12            THE WITNESS: His studies           12   sitting here today, recognizing for the
    13        were in vitro studies.                 13   record you haven't looked at your CV, do
    14   BY MR. HEGARTY:                             14   any such studies come to mind?
    15        Q. Are there any such studies          15         A. I don't -- I have not done
    16   looking at the effects in vivo of talc?     16   those studies in my own laboratory.
    17            MS. O'DELL: Objection.             17   Although I'm -- I'm just saying that I
    18            THE WITNESS: In vivo in            18   may have been on a publication where
    19        humans or in vivo in animals?          19   colleagues of mine have used that -- that
    20   BY MR. HEGARTY:                             20   method, those methods.
    21        Q. In humans.                          21         Q. Do you have an opinion about
    22            MS. O'DELL: Object to the          22   talc in single nucleotide polymorphisms
    23        form.                                  23   or SNPs?
    24            THE WITNESS: When you refer        24             MS. O'DELL: Objection.
                                          Page 379                                         Page 381
     1        to such studies, can you tell me        1            THE WITNESS: I think
     2        which studies -- which types of         2        there -- there is literature
     3        studies again are you referring         3        showing, including in Dr. Saed's
     4        to?                                     4        papers, that there are single --
     5   BY MR. HEGARTY:                              5        and in -- in a paper that looked
     6        Q. The cell studies that you            6        at women and looked at antioxidant
     7   reference by Dr. Saed on Page 25 of your     7        enzymes and they showed there was
     8   report.                                      8        single nucleotide polymorphism
     9        A. And the question is are              9        changes in those women.
    10   there any?                                  10            Looking at, I think it was
    11        Q. Studies in humans showing           11        glutathione S-transferase M 1.
    12   such effects following application of       12            So what is my -- so if your
    13   talc to the perineum.                       13        question is what is my opinion on
    14             MS. O'DELL: Objection to          14        single nucleotide polymorphisms in
    15        form.                                  15        ovarian cancer?
    16             THE WITNESS: Not to my            16   BY MR. HEGARTY:
    17        knowledge.                             17        Q. Well, let me ask a different
    18             Excuse me. You said that          18   question. Is your biologic mechanism --
    19        was on Page 25 that you were           19   I'm sorry. Is your biologic plausibility
    20        referring to?                          20   opinion between talc and ovarian cancer
    21   BY MR. HEGARTY:                             21   the process or action that Dr. Saed
    22        Q. Correct.                            22   describes in his studies?
    23             Have you ever published a         23        A. I believe that it could be
    24   paper discussing single nucleotide          24   adding to the -- the plausibility of the
                                                                  96 (Pages 378 to 381)
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                                   Judith Zelikoff, Ph.D.
                                           Page 382                                          Page 384
     1   relationship or of the causation between      1   topic. I'll introduce the topic each
     2   ovarian cancer and talcum powder              2   time that I ask you a question.
     3   products.                                     3             Going back to the Canadian
     4         Q. Well, is it your opinion             4   health assessment that you provided to us
     5   that the mechanism by which talc can be       5   at the beginning of the day.
     6   biologically -- be a biological plausible     6        A. Yes.
     7   cause of ovarian cancer, that's cited by      7             (Brief interruption.)
     8   Dr. Saed in his cell studies?                 8   BY MR. HEGARTY:
     9              MS. O'DELL: Objection to           9        Q. Doctor, we talked earlier
    10         form.                                  10   about Canada's health assessment with
    11              THE WITNESS: I believe            11   regard to talc. Are you familiar with
    12         that -- in my opinion and what I'm     12   the process by which the Canadian
    13         stating here in the report, is         13   authorities do that health assessment?
    14         that inflammation is the               14        A. I am -- only from what is in
    15         primary -- one of the primary          15   the document.
    16         biological mechanisms.                 16        Q. Have you ever been a part of
    17              Whether it appears from the       17   that, of a Canadian health assessment
    18         literature that single nucleotide      18   like the one shown with talc?
    19         polymorphisms may, in fact, play a     19        A. I've worked with Health
    20         role.                                  20   Canada.
    21   BY MR. HEGARTY:                              21        Q. Okay. Have you ever worked
    22         Q. Okay. But is -- is that --          22   with Health Canada on doing a health
    23   is it your opinion that -- not that they     23   assessment like that reflected in the
    24   play -- just that they play a role, but      24   document we looked at earlier today?
                                           Page 383                                          Page 385
     1   that is the mechanism for biologic            1        A. No, I have not.
     2   plausibility between talc and ovarian         2        Q. Do you know what kind of
     3   cancer?                                       3   standards that they apply in determining
     4         A. I -- I do not believe it             4   whether to call -- whether to say whether
     5   is -- it is not my opinion that -- it is      5   there's a potential for harm with a
     6   my opinion that single nucleotide             6   substance?
     7   polymorphisms, along with inflammation        7        A. Just what is in the
     8   and -- and perhaps other mechanisms may       8   document. And then I use my own
     9   be involved that talc is associated with.     9   professional judgment, whether I agree
    10              I focused my -- my opinion        10   with that or not.
    11   on the assessment of inflammation and its    11        Q. Did plaintiff's counsel
    12   role.                                        12   provide you with some scientific and
    13              MR. HEGARTY: Off the record       13   medical literature with regard to talc or
    14         for a minute.                          14   ovarian cancer?
    15              THE VIDEOGRAPHER: The time        15        A. So the question is whether I
    16         is 4:48 p.m. We are off the            16   was provided with some scientific and
    17         record.                                17   medical literature with regard -- yes,
    18              (Short break.)                    18   many of the articles in the binders were
    19              THE VIDEOGRAPHER: We are          19   provided to me by them.
    20         back on the record. The time is        20        Q. Are you able to identify
    21         5:08 p.m.                              21   which of those articles came from
    22   BY MR. HEGARTY:                              22   plaintiffs' counsel versus which you
    23         Q. Dr. Zelikoff, I'm going to          23   found on your own?
    24   jump around a little bit from topic to       24        A. I may be able to do that
                                                                   97 (Pages 382 to 385)
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                                    Judith Zelikoff, Ph.D.
                                             Page 386                                          Page 388
     1   with some, yes. But this is over a              1        Q. What are the differences
     2   period of, as I said, 2017 to now.              2   between your current report dated
     3        Q. With regard to your                     3   November 16, 2018, and the final report
     4   invoices -- do you have your invoices           4   that you provided as shown here back in
     5   there?                                          5   February of 2018?
     6        A. I do not.                               6        A. It was -- I own that. It
     7        Q. They've been marked as an               7   should have said draft report. And the
     8   exhibit.                                        8   difference is that that's more literature
     9        A. Oh.                                     9   and more time had gone by for the
    10        Q. Can someone help her find              10   emergence and review of more literature.
    11   those invoices?                                11        Q. You go from a reference on
    12            MS. O'DELL: Did you take              12   February 4, 2018, to the next reference
    13        them back? I don't know that --           13   on September 20th -- I'm sorry. Did I
    14        there was only one copy.                  14   say -- let me back up.
    15            MR. HEGARTY: I don't think            15             You go form a reference on
    16        I did. I think it was Exhibit 1.          16   February 4, 2018, to the next cite for
    17            MS. O'DELL: The reason I              17   time on September 20, 2018. Did you
    18        say that is I did not see it              18   review any additional literature between
    19        during the lunch break when I             19   February 4th and September 20, 2018?
    20        looked at --                              20        A. Yes, I'm sure I did. And I
    21            THE WITNESS: I do have the            21   also reviewed the production documents
    22        invoices in my binder here.               22   within that time. More of the production
    23   BY MR. HEGARTY:                                23   documents.
    24        Q. Okay. If you can turn to               24        Q. Your report doesn't show any
                                             Page 387                                          Page 389
     1   your binder, please.                            1   time invoiced between February 4, 2018,
     2        A. If I recall.                            2   and September 20, 2018. Did you spend
     3        Q. If we can find that exhibit,            3   time reviewing literature or otherwise
     4   that would be helpful?                          4   working on your report that's not
     5            MS. O'DELL: I'm not sure               5   contained in your invoices?
     6        there are any invoices in her              6        A. It -- I may have. I did not
     7        binder.                                    7   always invoice for something that I spent
     8            Is it in the stack that's              8   maybe an hour on.
     9        right there?                               9        Q. Are you able to cite for me
    10            MR. HEGARTY: No, I don't              10   the sections in your report that you
    11        think so.                                 11   added or changed between the report that
    12   BY MR. HEGARTY:                                12   you prepared on February 4, 2018, and the
    13        Q. Yeah invoices. I found it.             13   November 16, 2018, report?
    14            Your invoices, Doctor,                14        A. Not without seeing both
    15   reflect that you prepared a final report       15   reports side by side.
    16   delivered on February 4, 2018.                 16        Q. Do you still have a copy of
    17            Do you see that?                      17   the February 4, 2018, report?
    18        A. I do see that.                         18        A. Not with me.
    19        Q. That was almost a year ago,            19        Q. Does it exist?
    20   correct?                                       20        A. It likely does on my
    21            MS. O'DELL: Objection to              21   computer, yes.
    22        form.                                     22        Q. You mentioned that you
    23            THE WITNESS: Yes.                     23   referred to -- that you reviewed Julie
    24   BY MR. HEGARTY:                                24   Pier's deposition testimony?
                                                                     98 (Pages 386 to 389)
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                                   Judith Zelikoff, Ph.D.
                                           Page 390                                         Page 392
     1        A. I said three-quarters of the          1   Canada, like Exhibit Number 9?
     2   deposition, half to three-quarters.           2        A. I'm sorry.
     3        Q. That was provided to you by           3             MS. O'DELL: Objection to
     4   counsel for plaintiffs, correct?              4        form.
     5        A. Yes, correct.                         5             THE WITNESS: All I can say
     6        Q. Do you know how they went             6        is that in working with Health
     7   about selecting the deposition                7        Canada on immunology in my early
     8   transcripts to provide to you for             8        career days, that I may have used
     9   purposes of your review in this case?         9        an assessment like that.
    10        A. I do not.                            10   BY MR. HEGARTY:
    11        Q. Did you ask for any                  11        Q. Can you cite for me, sitting
    12   deposition -- did you ask for the            12   here today, anytime that you -- your
    13   depositions of all experts who have          13   opinions were informed by a Health Canada
    14   testified in this litigation?                14   safety assessment or screening
    15             MS. O'DELL: Objection to           15   assessment?
    16        form.                                   16             MS. O'DELL: Object to the
    17             THE WITNESS: I did not ask         17        form. Other than what she said?
    18        for depositions.                        18             THE WITNESS: Except for
    19             Let me -- let me retract           19        what I said, I cannot recall.
    20        that, please. If in reading my          20   BY MR. HEGARTY:
    21        literature there was something          21        Q. Did you review for purposes
    22        that I thought might be in a            22   of your opinions in this case the current
    23        deposition of someone, I asked the      23   National Cancer Institutes position --
    24        plaintiff attorneys if they had         24   healthcare -- healthcare -- health
                                           Page 391                                         Page 393
     1        anything in that regard that would       1   professional PDQ, or the NCI PDQ?
     2        lend to my opinion.                      2         A. I have seen that recently.
     3   BY MR. HEGARTY:                               3         Q. I'll mark as Exhibit Number
     4        Q. And did you ever ask for any          4   23, a copy of the NCI PDQ that mentions
     5   additional depositions beyond those that      5   talc.
     6   were provided?                                6             (Document marked for
     7        A. No, I did not.                        7         identification as Exhibit
     8        Q. Going back to the Health              8         Zelikoff-23.)
     9   Canada assessment. Have you ever cited        9   BY MR. HEGARTY:
    10   to a Health Canada assessment in any         10         Q. Have you seen what I marked
    11   written publication of yours?                11   as Exhibit 23 before -- or as of the time
    12        A. Without looking at my                12   that you drafted your report?
    13   publications, I cannot. But I can tell       13         A. No, sir.
    14   you that coming to mind just sitting         14         Q. Plaintiffs' counsel did not
    15   here, as I said, I worked with Health        15   provide you a copy of that?
    16   Canada, and I worked with them on my         16         A. Not prior to my report, no.
    17   research in fish immunology, and it is       17         Q. How did you happen -- who --
    18   possible that I cited Health Canada --       18   strike that.
    19   Health Canada literature in those            19             Did -- from where did you
    20   publications concerning fish.                20   receive a copy of Exhibit 23 after
    21        Q. Sitting here today, can you          21   preparing your report?
    22   recall at any point in time when you --      22         A. From the plaintiff attorney.
    23   when your opinions were informed by a        23         Q. Did you ask for it?
    24   draft screening assessment by Health         24         A. In general, I asked for all
                                                                   99 (Pages 390 to 393)
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                                  Judith Zelikoff, Ph.D.
                                          Page 394                                         Page 396
     1   relevant literature and internal             1        A. I reviewed their opinions.
     2   information. But I did not specifically      2   I have many questions about how they
     3   ask for the NCI report.                      3   reached their opinions and what studies
     4        Q. When you asked for all               4   they used.
     5   relevant information, internal               5             If we can just be on the
     6   information, was that prior to preparing     6   same page in terms of what their opinion
     7   your expert report?                          7   is?
     8        A. That's pretty much on a              8        Q. I'm looking at the section
     9   chronic level, in other words from the       9   under perineal talc exposure. And my --
    10   time that I was recruited or asked to       10   my question is -- strike that.
    11   participate in this, I always asked, "Is    11             I'm looking at the section
    12   there literature? Is there more             12   on perineal talc exposure which is about
    13   literature? Here is the literature that     13   four pages from the end.
    14   I have found," which were quite a number.   14        A. I see.
    15   "Is there anything else that you can add    15        Q. And my question is only
    16   to this?" So I provided literature, and     16   whether that section informed your
    17   they provided me with literature.           17   opinions in this case.
    18        Q. You did not find the NCI's          18             MS. O'DELL: Object to the
    19   PDQ yourself?                               19        form.
    20        A. I did not find it myself.           20             THE WITNESS: I reviewed it.
    21        Q. Did the NCI PDQ statements          21        It did not change my opinion.
    22   on perineal talc exposure inform your       22        Did -- did it inform my opinion?
    23   opinions in this case?                      23        It did not change my opinion.
    24        A. As I said, I only saw it            24   BY MR. HEGARTY:
                                          Page 395                                         Page 397
     1   within the last few days.                    1        Q. Do you agree with the NCI
     2        Q. Understood. But you also             2   PDQ statement on perineal talc exposure?
     3   reviewed the Saed manuscript, you            3        A. If we are talking about
     4   reviewed the Canadian health assessment.     4   their final conclusion?
     5   You said both those documents informed       5        Q. I'm talking -- yes. We can
     6   your opinions.                               6   talk about their final conclusion.
     7             So my question is, did the         7        A. Okay. If I'm recalling
     8   NCI PDQ also inform your opinions.           8   this, their final conclusion that -- was
     9             MS. O'DELL: Object to the          9   that there was no causal relationship
    10        form.                                  10   between talc -- talcum powder exposure
    11             THE WITNESS: Well, the --         11   and ovarian cancer. Is that --
    12        the documents that you previously      12        Q. Well, the -- the weight of
    13        mentioned do not inform my opinion     13   the evidence does not support an
    14        prior to my report of                  14   association between perineal talc
    15        November 16th. However, it's           15   exposure and an increased risk of ovarian
    16        information that has added to me       16   cancer. Do you agree with that
    17        to get to this place where I am        17   statement?
    18        right now.                             18        A. I do not agree with that
    19             So my opinion has not             19   statement.
    20        changed from my report until           20             And I find, in reading this
    21        sitting here today.                    21   document, that I'm not sure how they
    22   BY MR. HEGARTY:                             22   reached that conclusion. On several
    23        Q. Did the NCI PDQ add to your         23   points, if you're interested.
    24   opinions in this case?                      24             One is --
                                                                100 (Pages 394 to 397)
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                                   Judith Zelikoff, Ph.D.
                                           Page 398                                        Page 400
     1        Q. No, I'm just asking you               1        A. Yes, I do.
     2   whether you agreed with it.                   2        Q. Third line down it says,
     3        A. I do not agree with their             3   "The mechanism by which perineal talc use
     4   final conclusion.                             4   may increase the risk of ovarian cancer
     5        Q. Neither FDA nor any                   5   is uncertain."
     6   scientific regulatory or other group has      6              Do you agree with that
     7   ever sought out your opinions with regard     7   statement?
     8   to the biologic plausibility of talc and      8              MS. O'DELL: Objection to
     9   ovarian cancer, correct?                      9        form.
    10        A. That is correct.                     10              THE WITNESS: I think
    11        Q. You made reference earlier           11        there's no -- in providing
    12   to the Penninkilampi article. Do you         12        biological plausibility,
    13   recall that?                                 13        biological plausibility, in and of
    14        A. I recall mentioning it, yes.         14        itself, says that there is a
    15        Q. I'm going to mark as                 15        possible mechanism or action that
    16   Exhibit 34 a copy of the Penninkilampi       16        could provide evidence for the
    17   article. That's the article that you         17        causation.
    18   were talking about earlier, correct?         18              So the mechanism by which
    19        A. 2018, correct.                       19        perineal talc use may increase the
    20            (Document marked for                20        risk of ovarian cancer is
    21        identification as Exhibit               21        uncertain. It does not mean
    22        Zelikoff-34.)                           22        it's -- it means it's uncertain,
    23   BY MR. HEGARTY:                              23        that there are many viewpoints on
    24        Q. If you turn over to page --          24        it.
                                           Page 399                                        Page 401
     1   strike that.                                  1   BY MR. HEGARTY:
     2            This is an article that you          2         Q. At the very -- in the very
     3   rely on for purposes of your opinions in      3   last line of that article -- I'm sorry,
     4   this case, correct?                           4   the very last line of that paragraph it
     5        A. This is an article that I             5   says, "The potential mechanism by which
     6   reviewed and played into, yes, informed       6   genital talc is associated with an
     7   my opinions.                                  7   increased risk of ovarian cancer hence
     8        Q. Did you find it to be a               8   remains unclear."
     9   reliable source of information?               9              Do you agree with that
    10            MS. O'DELL: Object to the           10   statement?
    11        form.                                   11         A. I think there is -- in -- in
    12            THE WITNESS: I found no             12   regards to your previous questions that
    13        problems in the study design as I       13   asked me if it was -- if there was an
    14        read it.                                14   agreement among the medical population,
    15            Again, I'm not an                   15   and I said that I didn't know that there
    16        epidemiologist. So getting into         16   was agreement or was not agreement. I
    17        the nuances of this. I'm a              17   thought that there were not agreement.
    18        toxicologist and I depend on my         18   So I agree with the statement that there
    19        epidemiology colleagues to fill in      19   is still room for further study.
    20        the gaps.                               20              Unclear does not mean
    21   BY MR. HEGARTY:                              21   unknown or that there are not biological
    22        Q. Over on Page 45, under the           22   plausible mechanisms that could be
    23   section Discussion. Do you see that          23   entertained.
    24   section?                                     24         Q. Is inflammation part of a
                                                                 101 (Pages 398 to 401)
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                                    Judith Zelikoff, Ph.D.
                                            Page 402                                           Page 404
     1   normal mechanism of response to the            1   statement in the third paragraph at the
     2   presence of particles in the lungs?            2   end that says even incidental -- the
     3        A. Depending upon the particle,           3   third paragraph at the end.
     4   inflammation can be a normal part of a         4         A. I was looking for a pen.
     5   response, yes.                                 5   Excuse me.
     6        Q. Can tumors occur in the                6            Okay. Go ahead.
     7   respiratory system with very high              7         Q. Says, "Even incidental
     8   exposure to particles that overwhelm the       8   contamination by amphibole forms of
     9   body's clearance mechanisms and lead to        9   asbestos is hazard enough to cause
    10   particle overload of lung macrophages?        10   asbestos-related illnesses."
    11        A. Are you referring to the NTP          11            Do you see where I'm
    12   study?                                        12   reading?
    13        Q. I'm not referring to any              13         A. I'm sorry, are you in the
    14   study in particular. That was just a          14   first paragraph?
    15   question in general.                          15         Q. Third paragraph.
    16        A. Okay. Can you repeat the              16         A. Third paragraph.
    17   question?                                     17         Q. At the end.
    18        Q. Yeah. Can tumors occur in             18         A. At the -- traces of these
    19   the respiratory system with very high         19   types of asbestos are --
    20   exposure to particles that overwhelm the      20         Q. No, third paragraph.
    21   body's clearance mechanisms and lead to       21   Even -- the last line. "Even incidental
    22   particle overload of lung macrophages?        22   contamination by amphibole forms of
    23            MS. O'DELL: Object to form.          23   asbestos is hazard enough to cause
    24            THE WITNESS: That is a --            24   cancer-related illnesses."
                                            Page 403                                           Page 405
     1        that has been seen as a                   1            Do you see where I'm
     2        potential -- as a potential to            2   reading?
     3        occur, yes.                               3        A. Says, "Cause
     4   BY MR. HEGARTY:                                4   asbestos-related illnesses."
     5        Q. Are there any publications             5        Q. I'm sorry. "Can cause
     6   that indicate such a mechanism of              6   asbestos-related illnesses." You cite --
     7   particle overload can occur in the             7        A. I see where you are reading.
     8   ovaries?                                       8        Q. -- the Rohl and Langer
     9             MS. O'DELL: Objection to             9   paper?
    10        form.                                    10        A. Yes.
    11             THE WITNESS: No studies             11        Q. I'll mark as Exhibit 35 the
    12        that I'm aware of that -- that           12   Rohl and Langer paper that you've cited.
    13        refer to particle overload in the        13            (Document marked for
    14        ovaries in this regard, in regard        14        identification as Exhibit
    15        to talcum powder. There's                15        Zelikoff-35.)
    16        evidence, of course, as I said           16   BY MR. HEGARTY:
    17        that there is talcum powder in the       17        Q. Doctor, nowhere in that
    18        ovary.                                   18   paper did the author say that incidental
    19   BY MR. HEGARTY:                               19   contamination by amphibole forms of
    20        Q. Over on Page 5 of your                20   asbestos is hazard enough -- hazardous
    21   report, Exhibit 2.                            21   enough to cause asbestos-related
    22        A. Page headed by Section 4,             22   illnesses, do they?
    23   Asbestos?                                     23            MS. O'DELL: Objection to
    24        Q. Correct. You make a                   24        form.
                                                                  102 (Pages 402 to 405)
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                                   Judith Zelikoff, Ph.D.
                                           Page 406                                          Page 408
     1            THE WITNESS: I'm sorry, I'm          1            Many investigators,
     2        not certain that this is the same        2   including myself, have papers that come
     3        paper. This is Rohl, et al. The          3   out the same year but with different
     4        paper that I cited is Rohl and           4   authors.
     5        Langer.                                  5        Q. If you -- you turn over to
     6   BY MR. HEGARTY:                               6   Page 6 of your report.
     7        Q. It's dated 1976 --                    7        A. Yes, sir.
     8        A. 1976.                                 8        Q. At the end of the first
     9        Q. -- correct?                           9   paragraph, at the top of the page.
    10        A. That's correct.                      10        A. Yes.
    11        Q. If you look in the abstract          11        Q. You say that "the close
    12   of that paper --                             12   proximity of asbestos in talc and mineral
    13        A. Yes. The paper --                    13   deposits makes extraction of either
    14        Q. -- the paper that I marked           14   material alone difficult, if not
    15   as Exhibit 35.                               15   impossible."
    16        A. Rohl, et al, yes.                    16            Do you see where I'm
    17        Q. Yes. It says, "It's                  17   reading?
    18   possible adverse health effects from         18        A. Yes, I do.
    19   intermittent use of these products,          19        Q. Is it your testimony that it
    20   especially those that contain asbestiform    20   is impossible to extract talc from
    21   and fragmented anthophyllite, tremolite,     21   mineral deposits without asbestos?
    22   chrysotile, quartz, and trace minerals       22            MS. O'DELL: Objection to
    23   are presently unknown and warrant            23        form.
    24   evaluation."                                 24            THE WITNESS: I'm not a --
                                           Page 407                                          Page 409
     1              Did I read that correctly?         1       I'm not a geologist. I cannot --
     2         A. I'm sorry, you are in the            2       I can only rely on the references
     3   abstract, but I don't know what line you      3       that are there.
     4   are on.                                       4   BY MR. HEGARTY:
     5         Q. The very last line of the            5       Q. Can you list all the steps
     6   abstract.                                     6   used in the processing of pharmaceutical
     7         A. "Possible adverse health             7   grade talc?
     8   effects from intermittent use of these        8       A. I can give you an overview.
     9   products especially those that contain        9   But again, I'm not a commercial talc
    10   asbestiform and fragmented anthophyllite,    10   production person, nor am I a geologist,
    11   tremolite, chrysotile, quartz, and trace     11   nor am I in the industry. So I can only
    12   minerals are presently unknown and           12   give you a superficial glimpse.
    13   warrant evaluation."                         13       Q. Can you describe the
    14              Yes. This is also dated           14   benefication for talc?
    15   1976.                                        15            MS. O'DELL: Objection to
    16         Q. Which is the date that you          16       form. Asked and answered.
    17   cite to the Rohl and Langer paper?           17            THE WITNESS: Not in -- not
    18         A. Yes, I -- I understand that,        18       in detail. I only know in general
    19   sir. However, because this is a Rohl et      19       that there is -- actually, I
    20   al., it is certainly possible that I         20       prefer not to answer that at all
    21   miscited and it was Rohl et al. But my       21       because I don't want to be
    22   citation in there is Rohl and Langer. So     22       inaccurate. It's not my field.
    23   it may have been an error on my part.        23   BY MR. HEGARTY:
    24   However, there's pause.                      24       Q. Can you turn over to Page 7
                                                                 103 (Pages 406 to 409)
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                                  Judith Zelikoff, Ph.D.
                                          Page 410                                          Page 412
     1   of your report.                              1         Q. You read every word of it?
     2             In the second paragraph you        2         A. I reviewed it. And I read
     3   refer to the deposition of Alice Blount.     3   it to the best of my ability.
     4             Do you see that?                   4         Q. You make reference there to
     5        A. Yes, I do. Second sentence.          5   Exhibits 47 and 28, 47 from Julie Pier
     6        Q. And you contend that the             6   deposition and 28 from Dr. Hopkins'
     7   sample she tested claimed to include         7   deposition.
     8   asbestos, including asbestos in Johnson's    8             Do you see that?
     9   Baby Powder. Do you see where you make       9         A. Yes, I do.
    10   that reference?                             10         Q. Do you know who prepared
    11        A. Yes, I'm citing her                 11   those exhibits?
    12   deposition.                                 12         A. I do not. I would make an
    13        Q. Did you read the entirety of        13   assumption that it was attorneys.
    14   her deposition?                             14         Q. Were you aware that they
    15        A. No, sir.                            15   were prepared by counsel for plaintiffs?
    16        Q. What testing method did she         16             MS. O'DELL: Objection to
    17   use?                                        17         form.
    18        A. I'd like to see the                 18             THE WITNESS: As the
    19   deposition again.                           19         questions were asked by some of
    20        Q. Did you see from her                20         the attorneys for the plaintiff, I
    21   deposition where she testified that her     21         would make that assumption.
    22   results published in 1991 came from a       22   BY MR. HEGARTY:
    23   Johnson's Baby Powder bottle purchased in   23         Q. Did you do anything yourself
    24   1996?                                       24   to verify the accuracy of the information
                                          Page 411                                          Page 413
     1         A. You know, I'm waiting for           1   in any of those exhibits?
     2   the -- see the article, please.              2        A. I'm not sure what you mean
     3         Q. Let me withdraw the                 3   did I do anything myself. I read them,
     4   question. I don't have time to cover         4   and I did not do any further literature
     5   that.                                        5   searching, if that's what you mean.
     6            If you turn over to -- if           6        Q. Did you review the test
     7   you look at Page 7, the second-to-last       7   results themselves that are supposedly
     8   paragraph you make reference there to the    8   reported in those two exhibits?
     9   testimony of Dr. Hopkins and the             9            MS. O'DELL: Objection to
    10   testimony of Julie Pier.                    10        form.
    11            Do you see that?                   11            THE WITNESS: Did I review
    12         A. I see reference to                 12        the testing methodology? I did
    13   Dr. Hopkins in the third sentence. And      13        not review it in the sense that I
    14   in the same paragraph, I see on the last    14        did further literature searching,
    15   sentence, deposition of Julie Pier,         15        but I -- I looked at and reviewed
    16   corporate representative of Imerys.         16        the testing methods that they --
    17         Q. You've already testified           17        that they said they used.
    18   that you have not completed reading the     18   BY MR. HEGARTY:
    19   deposition of Julie Pier, correct?          19        Q. Did you actually pull the
    20         A. I have testified to that,          20   tests that are referenced in those
    21   yes.                                        21   exhibits and look at the test results
    22         Q. Did you read the entirety of       22   yourself?
    23   the deposition of Dr. Hopkins?              23        A. I did not.
    24         A. I read the entirety, yes.          24        Q. Are you aware that in 2009
                                                                104 (Pages 410 to 413)
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                                  Judith Zelikoff, Ph.D.
                                          Page 414                                           Page 416
     1   FDA pulled -- did its own testing with       1             THE WITNESS: There are many
     2   regard to asbestos and talc?                 2        studies that IARC used, not just
     3        A. I am aware of that.                  3        worker study populations.
     4        Q. Did you review the results           4   BY MR. HEGARTY:
     5   of those tests?                              5        Q. But their conclusion with
     6        A. I did review the results.            6   regard to designating talc -- sorry,
     7   It doesn't come to mind right now. I'd       7   designating asbestos as Category 1 was
     8   like to see a copy of it, if I may.          8   based on five cohort studies involving
     9        Q. Nowhere in your report do            9   heavy industrial exposure, correct?
    10   you cite those test results, do you?        10        A. The preponderance -- or the
    11        A. Not that I can recall.              11   weight -- the weight of evidence was
    12            I do cite a paper or a             12   contributed among all studies, but it's
    13   comment by Epstein writing to the FDA in    13   my -- it's my thought that the worker
    14   here. And the FDA's response in terms of    14   studies were probably weighted as heavy
    15   migration.                                  15   as any others.
    16            But in answer to your              16        Q. You agree -- you agree that
    17   question -- can you repeat your question?   17   nowhere in your report do you analyze
    18        Q. Sure. Did you cite -- you           18   what asbestos exposure levels had been
    19   agree that you didn't cite anywhere --      19   shown to induce a biologically plausible
    20   strike that.                                20   effect in tissues, correct?
    21            You did not cite anywhere in       21             MS. O'DELL: Object to the
    22   your report the results of the FDA's        22        form.
    23   testing of talc in 2009, correct?           23             THE WITNESS: Again, what do
    24        A. It doesn't appear so, no.           24        you mean by analyze?
                                          Page 415                                           Page 417
     1        Q. Did you have that                    1   BY MR. HEGARTY:
     2   information before you finalized your        2        Q. Well, nowhere do you cite
     3   report?                                      3   studies in your report reporting on the
     4        A. I'm not certain. Probably            4   effect of asbestos in tissues, correct?
     5   yes.                                         5        A. I certainly do talk about
     6        Q. Did you review all the               6   asbestos. If you give me a minute to
     7   epidemiologic literature looking at          7   review.
     8   asbestos exposure and ovarian cancer?        8             I talk about it on Page 7
     9        A. Well, as I said, I'm not an          9   being listed as a Group 1 carcinogen.
    10   epidemiologist. So I looked at several      10        Q. My question is nowhere in
    11   of the meta-analyses, including             11   your report do you analyze the studies
    12   Dr. Taher.                                  12   that look at the toxicity or discuss the
    13        Q. Did you read all the                13   toxicity of asbestos in human tissue,
    14   meta-analyses that had been published       14   correct?
    15   with regard to asbestos and ovarian         15             MS. O'DELL: Object to the
    16   cancer?                                     16        form.
    17        A. No, I have not.                     17             THE WITNESS: I -- I did not
    18        Q. The medical literature              18        look at -- I did not analyze in
    19   looking at asbestos exposure and ovarian    19        depth, no, the studies that are
    20   cancer was based on exposure to -- was      20        associated with the IARC report,
    21   based on a heavy industrial exposure,       21        if that's what you're asking.
    22   correct?                                    22   BY MR. HEGARTY:
    23            MS. O'DELL: Objection to           23        Q. What type of chromium --
    24        form.                                  24   strike that.
                                                                105 (Pages 414 to 417)
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                                  Judith Zelikoff, Ph.D.
                                          Page 418                                         Page 420
     1            Is chromium-6 in Johnson's          1         Q. Of your report. The third
     2   Baby Powder?                                 2   paragraph from the bottom where it
     3        A. Chromium is in Johnson's             3   begins, "Chromium-3."
     4   Baby Powder.                                 4         A. Yes.
     5        Q. I'm sorry?                           5         Q. You say, "Chromium-3 has
     6        A. Chromium is present.                 6   weak cell membrane permeability, allowing
     7        Q. Is chromium-6 present in             7   it to cross the cell membrane in order to
     8   Johnson's Baby Powder?                       8   bind to DNA and cause lesions." That's
     9        A. There are indications. They          9   not correct, is it?
    10   just discuss total chromium.                10         A. That is not correct. That
    11        Q. Can you testify here today          11   is an error on my part in the report.
    12   that Johnson's Baby Powder has chromium-6   12   Chromium-3 has strong membrane
    13   in it?                                      13   permeability. And when you asked me the
    14            MS. O'DELL: Object to the          14   question initially whether there was an
    15        form.                                  15   error in my report, I should have looked
    16            THE WITNESS: Again, not            16   at it, and that is an error. Yes.
    17        being a geologist and only going       17         Q. In fact chromium-3 does not
    18        by the internal documents, and if      18   cross the cell membrane, correct? It's
    19        I may also look at one of the          19   unable to cross the cell membrane?
    20        exhibits that has the data for the     20         A. Chromium-6 crosses the cell
    21        metals. I'm sorry.                     21   membrane and then converts into -- is
    22            MS. O'DELL: It's Exhibit C         22   oxidized to chromium-3. And chromium-3
    23        that was marked.                       23   is the actual component which causes the
    24            THE WITNESS: I don't want          24   instability.
                                          Page 419                                         Page 421
     1       to go by my memory alone. I'd            1        Q. But chromium-3 is unable to
     2       like to see that.                        2   cross the cell membrane, correct?
     3           Thank you very much.                 3        A. Completely. To some degree
     4           In the document prepared as          4   it has -- it can cross to some -- some
     5       Exhibit C, chromium has not been         5   minimal degree. But it's hexavalent
     6       speciated and it's listed as total       6   chromium which can cross -- which has
     7       chromium. I would make the               7   great capacity to cross the cell
     8       assumption from my professional          8   membrane, yes.
     9       opinion that in mining, you do get       9             May I take a minute, please.
    10       both chromium-6 and chromium-3          10             Let me -- let me restate
    11       when you have -- when you're            11   based upon the third paragraph that
    12       mining talc. But I'm not a              12   starts, "Chromium-3 has weak cell
    13       geologist.                              13   membrane permeability."
    14   BY MR. HEGARTY:                             14             It has weak to no cell
    15       Q. Does chromium-6 only come            15   membrane permeability.
    16   through industrial processing?              16             It is the active oxidized
    17       A. No. It can actually be               17   product of hexavalent chromium or
    18   found in the soil as a product of           18   chromium-6, that along with chromium-4
    19   contamination.                              19   and chromium-5 which is responsible for
    20       Q. If you look over --                  20   genetic instability and oxidative stress.
    21       A. And it can be re-oxidized.           21   So it's chromium-3.
    22   Yes.                                        22        Q. If you turn over to Page
    23       Q. If you look over on Page 9?          23   13 -- I'm sorry, Page 12 of your report.
    24       A. Of?                                  24   Section entitled C, Fragrances?
                                                                106 (Pages 418 to 421)
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                                   Judith Zelikoff, Ph.D.
                                          Page 422                                         Page 424
     1        A. Yes.                                 1   expert witness report in litigation?
     2        Q. As of the time you prepared          2             MS. O'DELL: Object to the
     3   your report, your entire opinions with       3        form.
     4   regard to fragrances was based on the        4             THE WITNESS: I am trying to
     5   report by Michael Crowley, correct?          5        recall whether or not I have ever
     6        A. That is correct.                     6        had that opportunity.
     7        Q. You understand --                    7   BY MR. HEGARTY:
     8        A. And, and what I know about           8        Q. Sitting here right now, can
     9   some of the components from other --         9   you recall when you had such an
    10   other studies.                              10   opportunity?
    11        Q. Have you had any prior work         11        A. In this particular setting
    12   experience with him?                        12   of being deposed?
    13        A. Dr. Michael Crowley?                13        Q. Or in any -- in any setting
    14        Q. Yes.                                14   where you are concurring with the opinion
    15        A. No.                                 15   of someone who -- who comments on
    16        Q. Do you know anything about          16   toxicity in an expert witness report
    17   his qualifications beyond -- beyond what    17   written for litigation?
    18   you read in his report?                     18             MS. O'DELL: Objection to
    19        A. No. Just in his report and          19        form.
    20   the information that he gives about         20             THE WITNESS: I would --
    21   himself. And the questions that were        21        I -- I would comment on it if I
    22   asked to him and the responses.             22        agreed.
    23        Q. You say that you concur --          23             And in this case, you know,
    24   "I concur with his opinion." Does that      24        having the knowledge base that I
                                          Page 423                                         Page 425
     1   mean that you agreed with everything that    1        have, not on -- certainly not on
     2   he says in his report?                       2        all 150 different chemicals, which
     3            MS. O'DELL: Object to the           3        is why I did my own literature
     4        form.                                   4        search, but on the chemicals that
     5            THE WITNESS: I concur with          5        I do know, I did agree with the
     6        his statement which says that           6        fact that they -- they do
     7        "some of these chemicals in             7        contribute to inflammatory
     8        fragrances may contribute to the        8        responses, toxicity, some are
     9        inflammatory response, toxicity         9        cytotoxic and produce cell injury
    10        and potential carcinogenicity of       10        and potential carcinogenicity.
    11        Johnson & Johnson talcum powder        11             So as ethyl benzene as one
    12        products."                             12        of the ingredients or one of the
    13            And that's based on the            13        constituents in fragrances, is
    14        knowledge of some of the chemicals     14        listed as a type -- as a Class 2
    15        as I said that I've reviewed for       15        carcinogen. So I did agree with
    16        other studies and personal             16        it.
    17        studies. And they are indeed           17             If I had any question, I did
    18        inflammatory and can cause             18        my own search.
    19        toxicity.                              19   BY MR. HEGARTY:
    20   BY MR. HEGARTY:                             20        Q. Over on page -- Pages 12 and
    21        Q. Prior to reading                    21   13, again you discuss exposure routes of
    22   Dr. Crowley's report, had you ever          22   talc either through perineal exposure or
    23   concurred with a finding as to toxicity     23   through inhalation, correct? And that
    24   of a substance based on the reading of an   24   carries over to Pages 14 and 15, and 16
                                                                107 (Pages 422 to 425)
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                                    Judith Zelikoff, Ph.D.
                                            Page 426                                         Page 428
     1   and 17.                                        1   that are applied to talc via the perineal
     2        A. Okay.                                  2   route?
     3        Q. So in that section, did you            3        A. What I did was I looked at
     4   in any way analyze whether the particles       4   the internal documents, found that the --
     5   that -- whether talc can transport in the      5   according to the -- the instrumentation
     6   same way that the particles do in the          6   and the graphics that they did, as well
     7   studies that you cite?                         7   as Dr. Longo, and looked at the size
     8             MS. O'DELL: Objection to             8   range of the particles. As I said, the
     9        form.                                     9   median and the average is around 10.5 to
    10   BY MR. HEGARTY:                               10   11.5, but there were particle size range
    11        Q. In other words, did you cite          11   in the talc -- talcum powder products
    12   any authority showing that talc particles     12   that range all the way from 50 microns or
    13   transport in the same way as the              13   larger all the way down to 0.3 microns or
    14   particles you reference in these studies?     14   300 nanometers.
    15        A. Not conclusively. But as I            15        Q. Well, did you do any
    16   said, if the particles are of similar         16   correlation to determine whether the --
    17   sizes, which they are in these -- in          17   the size of the particles studied in
    18   these animal studies, then I would have       18   the -- in the articles you cite in any
    19   no reason to believe that the talc            19   way correlate or relate to the particle
    20   particles did not move in the same            20   sizes in Johnson's Baby Powder?
    21   manner.                                       21             MS. O'DELL: Object to the
    22        Q. Well, do you agree that it            22        form.
    23   is important when talking about transport     23             THE WITNESS: The size of
    24   of particles, that -- strike that. Let        24        particles that were used in many
                                            Page 427                                         Page 429
     1   me ask it a different way.                     1         of the animal studies certainly
     2            You cite to an authority              2         fall within the range that I just
     3   that makes the following statement, I          3         gave you.
     4   don't want to ask you -- I want to ask         4   BY MR. HEGARTY:
     5   you if you agree with it.                      5         Q. Well, a number of the animal
     6        A. Okay.                                  6   studies used nanoparticles, correct?
     7        Q. In an experiment to                    7         A. They used .1 micron, but
     8   evaluate --                                    8   they also used larger particles.
     9        A. I'm sorry. What page?                  9         Q. Is it your testimony that
    10        Q. It's -- it's not on -- it's           10   there are nanoparticles of talc in
    11   not in your report. It's part of my           11   Johnson's Baby Powder?
    12   question.                                     12         A. If a particle -- a particle
    13        A. Okay.                                 13   is considered an ultra fine particle if
    14        Q. Do you agree that in an               14   it's .1 micron or less.
    15   experiment to evaluate the translocation      15         Q. But my question is as to
    16   of solid particles, the characteristics       16   nanoparticles. Are there nanoparticles
    17   of the particle, i.e., size and material,     17   in Johnson's Baby Powder?
    18   should be considered carefully?               18         A. Not that your literature
    19        A. I agree that the size should          19   showed. But ultra fines are also -- can
    20   be considered very carefully.                 20   be called nanoparticles because they go
    21        Q. And did you do any                    21   as low as .1.
    22   comparison with the size of particles         22         Q. If you look over on Page 14
    23   that are referenced in the literature         23   of your report, you cite in the second
    24   that you cite, to the size of particles       24   paragraph a letter from FDA to
                                                                  108 (Pages 426 to 429)
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                                   Judith Zelikoff, Ph.D.
                                           Page 430                                         Page 432
     1   Dr. Epstein, correct?                         1        A. I did not.
     2         A. That's correct.                      2        Q. Why not?
     3         Q. I marked as Exhibit                  3        A. And in terms of my report,
     4   Number 33 a copy of that letter.              4   and talking about migration, again, the
     5             (Document marked for                5   ovarian cancer and cogent biological
     6         identification as Exhibit               6   mechanism was not appropriate for that,
     7         Zelikoff-33.)                           7   where I cited the original statement.
     8   BY MR. HEGARTY:                               8        Q. But you cite elsewhere in
     9         Q. Is that a copy of the letter         9   your report statements and studies you
    10   that you are referencing in that             10   contend support your opinion that there
    11   paragraph?                                   11   is a biologically plausible mechanism
    12         A. If you could point me to the        12   between talc and ovarian cancer, correct?
    13   paragraph, please.                           13        A. Yes, I do.
    14         Q. Well, it's the second --            14        Q. This statement by FDA
    15   it's the second paragraph at the top of      15   concerns whether there's a biologically
    16   Page 14.                                     16   plausible mechanism between talc and
    17         A. Stating "further evidence           17   ovarian cancer, correct?
    18   for migration"?                              18        A. That is -- that is what the
    19         Q. Correct.                            19   FDA says, yes.
    20         A. Okay. Yes. This is the              20        Q. Did you cite FDA's statement
    21   letter that I'm referring to.                21   about -- as to its view of whether a
    22         Q. In the same paragraph that          22   cogent biological mechanism exists
    23   you reference, where you make -- where       23   anywhere in your report?
    24   you -- in the same paragraph where you       24        A. I did not cite this
                                           Page 431                                         Page 433
     1   pull out the statement that you cite          1   statement.
     2   here, "FDA states that while there exists     2        Q. You cite one statement by
     3   no direct proof of talc in ovarian            3   FDA that you believe they are correct
     4   carcinogenesis" --                            4   about?
     5         A. Genesis?                             5        A. They put a lot of weight
     6         Q. Genesis, carcinogenesis.             6   into that statement and...
     7   It's getting late for me too.                 7        Q. Well, how did you weigh that
     8             Did you cite that finding by        8   statement versus the other statement that
     9   FDA in this paragraph?                        9   I read at the bottom of Page 4?
    10         A. No. What I was trying to            10        A. Sorry, I'd like to find it.
    11   cite was referring to migration through      11             And repeat the question
    12   the upper genital tract. So citing the       12   please.
    13   information on carcinogenesis would not      13        Q. How did you weigh the
    14   have been appropriate in that paragraph.     14   statements you cite about migration
    15         Q. If you turn over to Page 4          15   versus the other statement that I read at
    16   of the FDA's letter. At the very bottom      16   the bottom of Page 4 about a cogent
    17   FDA states, "A cogent biological             17   biologic mechanism?
    18   mechanism by which talc might lead to        18        A. In terms of the migration,
    19   ovarian cancer is lacking."                  19   this is something that not only has been
    20             Do you see that?                   20   found by the FDA and -- and is being
    21         A. I do see that.                      21   reiterated as a result of numerous
    22         Q. You do not cite that                22   studies, this, Number 4, a cogent
    23   statement anywhere in your report,           23   biological mechanism by which talc led to
    24   correct?                                     24   ovarian cancer is lacking is the FDA's
                                                                 109 (Pages 430 to 433)
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                                   Judith Zelikoff, Ph.D.
                                          Page 434                                       Page 436
     1   opinion in 19 -- in 2014, and I did not      1   scrutiny. I think that for what they
     2   know at all how they came to that            2   did, they did a good study.
     3   conclusion.                                  3        Q. If you look at Page 3 of the
     4            So in terms of migration,           4   FDA letter.
     5   that's been ferreted out and it's well       5        A. Okay.
     6   known in the literature for migration of     6        Q. At the bottom, do you see
     7   particles. But the -- their opinion, the     7   they comment on the very NTP study --
     8   FDA's opinion on this, I could not           8        A. Yes.
     9   substantiate in terms of what they were      9        Q. -- that you just mentioned,
    10   basing that conclusion on.                  10   right?
    11        Q. What methodology did you use        11            MS. O'DELL: Which page are
    12   to determine which of the statements by     12        you on?
    13   FDA in this letter you believed are         13            MR. HEGARTY: Page 3.
    14   correct and which you believed are not      14            THE WITNESS: There were a
    15   correct?                                    15        number --
    16            MS. O'DELL: Object to the          16   BY MR. HEGARTY:
    17        form.                                  17        Q. I'm not -- I'm haven't asked
    18            THE WITNESS: Well, if it           18   a question.
    19        was a common finding such as that      19        A. Oh, I'm sorry.
    20        which particles can migrate which      20        Q. My question was simply, do
    21        has been shown since late 1990s,       21   you see where they comment on that NTP
    22        versus information that is given       22   study?
    23        in this report and is the basis --     23        A. I see that, yes.
    24        and is what the FDA is opining on,     24        Q. Do you cite anywhere in your
                                          Page 435                                       Page 437
     1         however, I don't know what the --      1   report FDA's commentary on the NTP study?
     2         what the literature is that they       2        A. I can find it in my report.
     3         reached in that conclusion.            3   I did comment on some of the other that
     4   BY MR. HEGARTY:                              4   there's been some controversy by
     5         Q. IARC includes a citation in         5   Dr. Warheit and Dr. Goodman. They had
     6   its 2010 monograph saying essentially        6   some pushback on this. I think I
     7   that the evidence of migration to the        7   commented on that, but I'd like to find
     8   ovaries is weak. Do you recall reading       8   the page where I said that.
     9   that?                                        9        Q. You agree that you didn't
    10         A. I do not recall reading            10   cite to FDA's commentary about the NTP
    11   that. I've reviewed the IARC paper, but     11   study in its February 14, 2014, letter?
    12   I -- I do not recall. And I could look      12        A. Not -- not that I recall,
    13   at it and tell you what I thought.          13   no. But as I said, I did comment on
    14         Q. You made reference earlier         14   other -- their -- the FDA's comments are
    15   in the deposition to the 1992 NTP study,    15   very similar to those made by other
    16   correct?                                    16   scientists.
    17         A. Yes.                               17        Q. You say the FDA's comments
    18         Q. Do you find that to be a           18   are very similar to those made by other
    19   well-done study?                            19   scientists. You are talking about the
    20         A. For what it was, I do find         20   comments on Page 3?
    21   it to be a well-done study. I've worked     21        A. I am. And I'm talking about
    22   with the NTP. I've served as an advisory    22   the comments made by Dr. Jay Goodman and
    23   board member. And I think that the work     23   Dr. David Warheit that pushed back on the
    24   they do are -- is with rigor and            24   studies by the NTP and the conclusion.
                                                                110 (Pages 434 to 437)
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                                    Judith Zelikoff, Ph.D.
                                             Page 438                                          Page 440
     1         Q. For purposes of your                   1        So when you're looking at
     2   analysis in this case, did you review all       2        toxicology, it's not just the
     3   the studies on talc miners and millers?         3        concentration that you use. It's
     4         A. No, I did not.                         4        also the length and duration and
     5         Q. For purposes --                        5        frequency of the use and their
     6         A. I am not an epidemiologist.            6        cumulative effects.
     7         Q. For purposes of your                   7   BY MR. HEGARTY:
     8   analysis in this case, did you look at          8        Q. Is it your opinion that a
     9   all the studies looking at talc --              9   single particle of talc is sufficient for
    10   looking at long-term effects of talc           10   biologic plausibility?
    11   pleurodesis?                                   11            MS. O'DELL: Objection to
    12             MS. O'DELL: Object to the            12        form.
    13         form.                                    13            THE WITNESS: I'm pretty
    14             THE WITNESS: It was -- it            14        sure I answered that question
    15         was not my question to look at --        15        before. But I will -- again,
    16         only to bring the pulmonary              16        talcum powder is known to produce
    17         aspects in in manners that relate        17        inflammation, and inflammation is
    18         to ovarian effects and                   18        known to be a biological mechanism
    19         inflammation and plausibility.           19        for cancer.
    20             So, no, I did not. I                 20   BY MR. HEGARTY:
    21         reviewed several studies on              21        Q. My question is, is a single
    22         pleurodesis, in terms of                 22   particle of talc in vivo sufficient for
    23         understanding it, why talcum             23   your biologic plausibility opinion in
    24         powder is used, and the effect of        24   this case?
                                             Page 439                                          Page 441
     1        talcum powder on pleurodesis.              1        A. If it produces inflammation,
     2   BY MR. HEGARTY:                                 2   it could be used that way. As a matter
     3        Q. What is the volume of talc              3   of relevancy, I don't think that there's
     4   that gets introduced in vivo with a             4   anyone who produces -- who uses a single
     5   single application to the perineum?             5   molecule. But in answer to your
     6             MS. O'DELL: In pleurodesis?           6   question, if that single talc -- talcum
     7             THE WITNESS: For                      7   powder product produced inflammation,
     8        pleurodesis?                               8   then yes, it could -- it could be related
     9   BY MR. HEGARTY:                                 9   to biological plausibility.
    10        Q. No, just in women in                   10        Q. Can you cite any published
    11   applying -- strike that.                       11   authority that supports that opinion?
    12             MS. O'DELL: I'm sorry.               12        A. That shows me that one
    13   BY MR. HEGARTY:                                13   particle could produce inflammation?
    14        Q. What is the volume of talc             14        Q. That could lead to cancer.
    15   that gets introduced in vivo with a            15        A. That could lead to cancer.
    16   single application of talc to the              16   I cannot show you. It's not that I don't
    17   perineum?                                      17   know if it's there or not there. I just,
    18             MS. O'DELL: Objection to             18   to my knowledge, I am not aware.
    19        form.                                     19            MR. HEGARTY: I'm going to
    20             THE WITNESS: I do not know           20        let Mr. Ferguson ask you some
    21        the concentration. It depends on          21        questions for a little bit. Then
    22        the person and how they're using          22        I will come back and finish up.
    23        it. It also depends on the                23            THE WITNESS: Okay. Thank
    24        frequency that they are using it.         24        you.
                                                                   111 (Pages 438 to 441)
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                                  Judith Zelikoff, Ph.D.
                                         Page 442                                          Page 444
     1             THE VIDEOGRAPHER: The time         1        Q. Have you ever been elected
     2        is 6:00 p.m. Off the record.            2   to membership in any of the national
     3             (Short break.)                     3   academies, for example the National
     4             THE VIDEOGRAPHER: The time         4   Academy of Science?
     5        is 6:25 p.m. Back on the record.        5        A. I've not been elected as a
     6                - - -                           6   member, but I have served on the advisory
     7              EXAMINATION                       7   body numerous times.
     8                - - -                           8        Q. Okay. But you haven't been
     9   BY MR. FERGUSON:                             9   elected to membership; is that right?
    10        Q. Hello, Dr. Zelikoff.                10        A. No, that is correct.
    11        A. Hello.                              11        Q. Dr. Zelikoff, have you
    12        Q. How are you?                        12   communicated with any regulatory bodies
    13        A. Good, thank you.                    13   of any country regarding the issue of
    14        Q. My name is Ken Ferguson, and        14   talc and ovarian cancer that we've been
    15   I represent Imerys, one of the parties to   15   discussing today?
    16   this litigation. Do you understand that?    16        A. I have not.
    17        A. I understand what you said,         17        Q. Have you communicated with
    18   yes.                                        18   any scientific journals or publications
    19        Q. Okay. And I'm going to have         19   regarding talc and ovarian cancer?
    20   some questions for you, which I'm going     20        A. I have not.
    21   to maybe try to go through pretty           21        Q. So, can you turn to your
    22   quickly. But just stop me if I speed up     22   report, which is Exhibit Number 2.
    23   too much. I'm told that I talk slowly.      23        A. I have it.
    24   So maybe I won't be speeding up too much.   24        Q. Okay. Can you look at the
                                         Page 443                                          Page 445
     1             So first of all, let me just       1   top of Page 3, please.
     2   go back briefly to your background and       2        A. Yes, sir.
     3   qualifications.                              3        Q. And in the first full
     4        A. Okay.                                4   paragraph on that page, it says, "My
     5        Q. Just briefly, do you                 5   opinions below are based upon my
     6   currently have a laboratory?                 6   experience as a toxicologist and research
     7        A. I do have a laboratory.              7   scientist and have been reached through
     8        Q. And how many personnel do            8   employing the same scientific methodology
     9   you have employed in the laboratory?         9   and rigor that I employ in my academic
    10        A. Today?                              10   research and professional duties."
    11        Q. Yes, ma'am.                         11   Correct?
    12        A. Today I have no one                 12        A. Yes, sir, I see that.
    13   employed, but three graduate students.      13        Q. And is that true?
    14        Q. And where does the funding          14        A. That is true.
    15   come from to support that laboratory?       15        Q. And in your professional
    16        A. It comes from the NIEHS,            16   duties and academic research, do you
    17   National Institute of Environmental         17   customarily rely on peer-reviewed
    18   Health Sciences from a center grant. And    18   publications in the scientific literature
    19   that is the main source at this moment.     19   for your research?
    20        Q. Are you the principal               20        A. I do -- peer reviews, I rely
    21   investigator of any extramural or           21   on. Abstracts come into play.
    22   intramural funding at the current time?     22   Documents. Whatever is needed, I will
    23        A. I have -- as of today, I'm          23   use and cite in my publications.
    24   not.                                        24        Q. Do you customarily rely on
                                                                112 (Pages 442 to 445)
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                                    Judith Zelikoff, Ph.D.
                                            Page 446                                         Page 448
     1   non-peer-reviewed research that is paid        1        testing from the company?
     2   for by a party that has a direct               2   BY MR. FERGUSON:
     3   financial interest in the outcome of the       3        Q. And my question was, can you
     4   study?                                         4   cite any scientific articles that you've
     5             MS. O'DELL: Object to the            5   authored in which you cited an
     6        form.                                     6   unpublished paper authored by an expert
     7             THE WITNESS: I go by the             7   witness who is being paid in the
     8        science. I don't look at the              8   litigation on the very topic that you're
     9        funding. Many scientists do. But          9   writing on?
    10        I think if the science is sound, I       10        A. I have not had that
    11        look at the science -- I go by the       11   opportunity so the answer is no.
    12        science.                                 12        Q. So, you've never done that
    13   BY MR. FERGUSON:                              13   in your academic writings, correct?
    14        Q. Look at -- look at Page 8,            14        A. If you mean that -- by that,
    15   please.                                       15   that I have never cited an unpublished
    16        A. Yes, sir.                             16   paper authored by an expert witness?
    17        Q. There in the first full               17        Q. Yes, ma'am.
    18   paragraph, you talk about recent TEM          18        A. I have not done -- I have
    19   testing on historic samples.                  19   not had the opportunity to do that. My
    20             Do you see that sentence?           20   publications are primarily, if not
    21        A. Recent TEM testing on                 21   solely, based either on reviews or -- or
    22   historic samples, yes.                        22   results that have emerged from my own
    23        Q. And you cite Longo and                23   laboratory or a colleague's laboratory.
    24   Rigler from 2018, correct?                    24             I've not had that
                                            Page 447                                         Page 449
     1        A. Mm-hmm-hmm, yes.                       1   opportunity. So the answer is no.
     2        Q. Okay. And are you aware                2        Q. If you look at Page 7.
     3   that Longo and Rigler are paid expert          3        A. Of the report?
     4   witnesses who were hired by plaintiffs'        4        Q. Of -- of your report. Yes
     5   counsel to testify in talc litigation,         5   please.
     6   including this matter you're working on?       6            On Page 7 you say, "In 2004,
     7        A. I understand -- I understand           7   a television station reported that
     8   today that they are plaintiffs'                8   Johnson's Baby Powder had been analyzed
     9   witnesses, experts.                            9   and found anthophyllite asbestos at
    10        Q. Can you cite any scientific           10   0.2 percent," correct?
    11   articles that you've authored in the past     11        A. I see that. That's in the
    12   in which you cited an unpublished paper       12   last paragraph. The second sentence: In
    13   that was authored by expert witnesses         13   2004, a television station reported
    14   hired by a party in litigation on the         14   Johnson's Baby Powder had been analyzed
    15   very topic that you're writing on?            15   and found anthophyllite asbestos at
    16             MS. O'DELL: Objection to            16   0.2 percent, yes.
    17        form.                                    17        Q. In your previous academic
    18             THE WITNESS: I relied               18   research, have you ever cited to stories
    19        primarily on Longo. But it is, as        19   run on local television stations?
    20        I said, or as I will say, it's a         20        A. I have.
    21        Johnson & Johnson product that           21        Q. And is that something that
    22        they are testing, so in my               22   you think shows scientific rigor?
    23        opinion, who better to know what's       23            MS. O'DELL: Objection to
    24        there than someone who did the           24        form.
                                                                  113 (Pages 446 to 449)
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                                   Judith Zelikoff, Ph.D.
                                          Page 450                                         Page 452
     1             THE WITNESS: It depends on         1   BY MR. FERGUSON:
     2        the scientific paper. And it --         2        Q. And that's in your report,
     3        it depends on the source of the         3   correct?
     4        media.                                  4        A. On Page 7 at the top.
     5   BY MR. FERGUSON:                             5        Q. Then you also cited
     6        Q. If we go to Pages 6 --               6   Dr. Blount's paper that you and
     7        A. If -- if I may add to that,          7   Mr. Hegarty talked about, correct?
     8   my recollection is that that television      8        A. I'm sorry, can you give me a
     9   station data was given to Johnson &          9   location?
    10   Johnson and it was not -- I did not cite    10        Q. Sure. It's the second
    11   television station itself, but the -- the   11   paragraph on Page 7.
    12   document that was turned over to Johnson    12        A. Van Gosen?
    13   & Johnson.                                  13        Q. No, the second full
    14        Q. If you go to Page 6 of              14   paragraph, cosmetic and pharmaceutical
    15   your --                                     15   talc products, et cetera --
    16        A. Page what, I'm sorry?               16        A. Yes, deposition of Alice
    17        Q. 6.                                  17   Blount. Yes.
    18        A. 6?                                  18        Q. Correct.
    19        Q. So on Pages 6 to 8 you cite         19        A. Sorry to interrupt.
    20   documents or other sources that you claim   20        Q. And Dr. Blount's paper was
    21   show the presence of asbestos in talc       21   some 30 or so years ago, correct?
    22   powder, correct? You --                     22        A. 1991.
    23        A. Pages 6 to 8?                       23        Q. And -- and I won't go
    24        Q. Yeah. Why don't you go to           24   through this in detail, but Mr. Hegarty
                                          Page 451                                         Page 453
     1   the top of 7. Let me go to it                1   discussed with you the fact that U.S.
     2   specifically.                                2   Food and Drug Administration conducted a
     3            One of the things you cite          3   survey of cosmetic grade raw material
     4   to is Paoletti in 1984?                      4   talc and some cosmetic products
     5        A. Yes, sir.                            5   containing talc. And you were generally
     6        Q. Okay. And the Paoletti               6   aware of that, correct?
     7   study was completed -- I don't know if I     7        A. The FDA report that he -- he
     8   can do my math very well, but is that        8   pointed me to, yes.
     9   36 years ago?                                9        Q. Okay. You were aware but
    10        A. 36, yes.                            10   you didn't cite it, correct?
    11        Q. And you notice they have            11        A. I was aware but I did not
    12   assessed, according to your own report,     12   cite it.
    13   contamination in industrial and cosmetic    13        Q. And that came from 2010 as
    14   talcs, correct?                             14   opposed to 1984 or 1991, correct?
    15        A. 9 of the 24 pharmaceutical          15            MS. O'DELL: Objection --
    16   and cosmetic grade talcs contain            16            THE WITNESS: Yes --
    17   tremolite fibers.                           17            MS. O'DELL: Excuse me.
    18        Q. And they are from the               18        Objection to form.
    19   Italian market, correct?                    19            If you're going to ask a
    20        A. From the Italian market.            20        specific -- about a specific date,
    21            MS. O'DELL: Objection to           21        I would ask -- or a specific item
    22        form.                                  22        of that -- in that document I
    23            THE WITNESS: And the               23        would just ask that you show the
    24        European pharmacopeia.                 24        witness.
                                                                114 (Pages 450 to 453)
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                                  Judith Zelikoff, Ph.D.
                                          Page 454                                        Page 456
     1   BY MR. FERGUSON:                             1   Luzenac America, correct?
     2        Q. Do you -- do you recall when         2         A. Correct. On the left side.
     3   that survey was from?                        3         Q. On the left side. And on
     4        A. The FDA was 2014. I don't            4   the right side there are two columns that
     5   recall a specific.                           5   say percentage asbestos by PLM and
     6        Q. Well, okay. Counsel's                6   percentage asbestos by TEM, correct?
     7   suggested it. Why don't we go ahead and      7         A. I see that.
     8   mark as Exhibit 37.                          8         Q. And each of those says NAD,
     9            (Document marked for                9   correct?
    10        identification as Exhibit              10         A. They say NAD.
    11        Zelikoff-37.)                          11         Q. And from your review of
    12   BY MR. FERGUSON:                            12   this, do you know that NAD means no
    13        Q. And is this a document that         13   asbestos detected?
    14   you've reviewed before?                     14         A. Yes, I do. That means that
    15        A. This is a document that I           15   the measurements that they had and the
    16   have reviewed, yes.                         16   scientific -- and the sensitivities that
    17        Q. Okay. If you look at Page 2         17   they were using at the given time, they
    18   at the top of the page, in the second       18   did not see any, is my interpretation of
    19   paragraph there, it says, "The study ran    19   that.
    20   from September 28, 2009, to September 27,   20         Q. According to the paper that
    21   2010," correct?                             21   you said, NAD means no asbestos detected,
    22        A. So I'm trying to put that           22   correct?
    23   sentence into context. So I need to read    23         A. In this study, yes, correct.
    24   the above sentences.                        24         Q. Let's take a look. You've
                                          Page 455                                        Page 457
     1            I assume that the study they        1   cited to IARC several times during
     2   are talking about was the contract with      2   your -- in your report, correct?
     3   the AMA analytical services to conduct       3        A. Yes, I did.
     4   the laboratory survey.                       4        Q. And let's look at the IARC
     5            Is that the study that they         5   monograph 100 C, which was published in
     6   are referring to? It's unclear.              6   2012 that I've marked as Exhibit 36.
     7        Q. And in your review of this           7            (Document marked for
     8   document, did you read that there was no     8        identification as Exhibit
     9   asbestos detected by the survey by the       9        Zelikoff-36.)
    10   FDA in either the cosmetic grade raw        10            THE WITNESS: Entitled
    11   material talc, or the finished product      11        Arsenic Metals, Fibrous and Dusts?
    12   cosmetic products containing talc,          12   BY MR. FERGUSON:
    13   correct?                                    13        Q. Correct.
    14        A. I'm trying to find where            14            And if you -- I've provided
    15   that was stated.                            15   you a page there, correct?
    16        Q. If you look at Page 3?              16        A. You've provided me with
    17        A. Yes, sir.                           17   three pages.
    18        Q. See where it says at the top        18        Q. Okay. And was that
    19   of the page, "Cosmetic raw material         19   Page 225?
    20   talc"?                                      20        A. 225 starts 1.5 human
    21        A. I see that, yes, sir.               21   exposure.
    22        Q. Correct?                            22        Q. Okay. If you look at the
    23            Then there is a list of            23   top of 225. Do you have that page?
    24   suppliers called Rio Tinto Minerals         24        A. Yes, sir.
                                                                115 (Pages 454 to 457)
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                                   Judith Zelikoff, Ph.D.
                                           Page 458                                        Page 460
     1        Q. In an exposure it says,               1        A. That's what's here, yes.
     2   "Inhalation and ingestion are the primary     2        Q. Okay. So certainly based on
     3   routes of exposure to asbestos," correct?     3   what IARC has said, a person could inhale
     4             MS. O'DELL: Objection to            4   or ingest one or more asbestos fibers
     5        form.                                    5   from the air that they breathe, correct?
     6   BY MR. FERGUSON:                              6            MS. O'DELL: Objection to
     7        Q. The very first sentence.              7        form.
     8        A. Mm-hmm-hmm. I cannot attest           8            THE WITNESS: Based on the
     9   to ingestion, but certainly inhalation is     9        measurements, I can't really tell
    10   a primary.                                   10        where they took these, where they
    11        Q. But you'd agree that -- that         11        took the measurements or how they
    12   this is what IARC said, correct?             12        measured them, from this Page 225,
    13        A. I agree that this is what's          13        but based on what they are saying
    14   in IARC, yes, 2012.                          14        here, they have measured in
    15        Q. And then there's another             15        outdoor air and rural locations,
    16   section called exposure of the general       16        10 fibers per cubic meter, yes.
    17   population, correct?                         17            As I said, if you look down
    18        A. Yes, sir.                            18        in that paragraph it also
    19        Q. And in the second paragraph          19        indicates that asbestos has been
    20   under that, do you see that paragraph        20        measured in the air in a disaster
    21   starts in studies of asbestos                21        such as the World Trade Center, in
    22   concentrations?                              22        higher concentrations by
    23        A. I do.                                23        Dr. Longo.
    24        Q. Okay. And -- and let's --            24   BY MR. FERGUSON:
                                           Page 459                                        Page 461
     1   let's read it and see if it -- you and I      1        Q. And then if you look at
     2   agree on what it says.                        2   Page 229. Are you with me?
     3             "In studies of asbestos             3        A. Yes, I am.
     4   concentrations in outdoor air, chrysotile     4        Q. Under B, dietary exposure.
     5   is the predominant fiber detected. Low        5        A. Yes.
     6   levels of asbestos have been measured in      6        Q. It says in the first
     7   outdoor air in rural locations; typical       7   sentence under that paragraph heading,
     8   concentration, 10 fibers per cubic meter.     8   "The general population can be exposed to
     9   Typical concentrations are about tenfold      9   asbestos in drinking water," correct?
    10   higher in urban locations and about 1,000    10        A. It can happen under certain
    11   times in close proximity to industrial       11   conditions, yes. It says, "The general
    12   sources of exposure, e.g., asbestos mine     12   population can be exposed to asbestos in
    13   or factory demolition site, or improperly    13   drinking water."
    14   protected asbestos-containing waste          14        Q. And then below it says about
    15   site," correct?                              15   nine lines down, "In the U.S.A., the
    16         A. That's what's written here,         16   concentration of asbestos in most
    17   yes.                                         17   drinking water supplies is less than one
    18         Q. Okay. And if you go down to         18   fiber per milliliter even in areas with
    19   the first sentence of the next paragraph,    19   asbestos deposits or with asbestos cement
    20   it says, "In indoor air, for example in      20   water supply pipes." Correct?
    21   homes, schools and other buildings,          21        A. That's what it says here.
    22   measured concentrations of asbestos are      22        Q. And then it says, "However,
    23   in the range of 30 to 6,000 fibers per       23   in some locations the concentration in
    24   cubic meter," correct?                       24   water may be extremely high containing 10
                                                                 116 (Pages 458 to 461)
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                                    Judith Zelikoff, Ph.D.
                                            Page 462                                        Page 464
     1   to 300 million fibers per liter or even        1            (Whereupon, a discussion was
     2   higher." Correct?                              2        held off the record.)
     3             MS. O'DELL: Objection to             3            THE VIDEOGRAPHER: The time
     4         form.                                    4        is 6:46 p.m. Back on the record.
     5             THE WITNESS: That's what it          5               - - -
     6         says here.                               6              EXAMINATION
     7   BY MR. FERGUSON:                               7               - - -
     8         Q. So --                                 8   BY MR. HEGARTY:
     9         A. But it's talking about --             9        Q. Doctor, you have done a
    10   it's talking about specific locations and     10   number of studies looking at inhalation
    11   it's also saying "can." This is not a         11   of particles in animal species primarily,
    12   normal situation. Normal -- this is a         12   correct?
    13   contaminated situation.                       13        A. In animal species primarily,
    14         Q. But as IARC said, in the             14   but also I have done studies in cell
    15   first line we talked about, inhalation        15   culture, yes.
    16   and ingestion can be routes of exposure       16        Q. In any of the studies where
    17   to asbestos for the general population,       17   you have looked at inhalation of
    18   correct?                                      18   particles in animals, have you reported
    19         A. It can be. Can being the             19   finding those particles in the ovaries?
    20   keyword.                                      20        A. I did not look in the
    21         Q. I've got some more questions         21   ovaries.
    22   that I could ask. But I'm going to pass       22        Q. So have you ever evaluated
    23   it back to Mr. Hegarty.                       23   the ovaries in any study that you have
    24             THE WITNESS: Hello again.           24   done?
                                            Page 463                                        Page 465
     1           MR. HEGARTY: Hello again.              1        A. I have evaluated -- in the
     2           MS. O'DELL: So are you                 2   cadmium particle studies, we looked for
     3       finished with your questions?              3   the soluble ions, that's what we
     4           MR. FERGUSON: I have other             4   measured, using atomic absorption and ICT
     5       questions that I could ask. But            5   mass spec. And we did find cadmium --
     6       I'm trying to share the limited            6   sorry. Sorry. We did find soluble
     7       time that we have.                         7   cadmium ions in the -- in the tissue --
     8           MS. O'DELL: I understand.              8   in the ovaries.
     9       I'm just trying -- typically we            9        Q. Of what animal?
    10       don't go back and forth between           10        A. Mice.
    11       the parties. The plaintiffs' side         11        Q. So there's nothing unique
    12       has had time to ask questions. So         12   with regard to talc in your opinion with
    13       I guess I'm just trying to figure         13   regard to its ability to transport within
    14       out what y'all are doing.                 14   the body, correct?
    15           MR. HEGARTY: Let's go off             15            MS. O'DELL: Object to the
    16       the record real quick and have a          16        form.
    17       discussion. Because what we               17            THE WITNESS: Talc is a
    18       planned to do, I took the time            18        fiber and will transport as a
    19       that Ken was using to organize my         19        fiber. It's also hydrophilic so
    20       notes and to finish up the                20        it will require some time for the
    21       remaining time.                           21        other products within the talc
    22           Go off the record.                    22        molecule to be released. I am not
    23           THE VIDEOGRAPHER: The time            23        sure if I answered your question.
    24       is 6:45 p.m. Off the record.              24   BY MR. HEGARTY:
                                                                  117 (Pages 462 to 465)
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                                  Judith Zelikoff, Ph.D.
                                          Page 466                                          Page 468
     1        Q. What about platy talc? Will          1   to reach -- it can reach the deep lung,
     2   platy talc travel in the body as cadmium     2   if it's five micrometers or smaller.
     3   would travel?                                3   And --
     4        A. Cadmium is a -- has traveled         4          Q. Go ahead.
     5   as a soluble ion. So platy talc --           5          A. And in that case since it's
     6   neither platy talc nor asbestos will         6   not disposed of through the mucociliary
     7   travel as a soluble ion. They are            7   escalator, then it is in the other parts
     8   fibers.                                      8   of the lung and it can reach the
     9        Q. Have you done --                     9   capillaries. And once it gets into the
    10        A. They are -- I'm sorry, platy        10   bloodstream, it can be transported.
    11   talc is a crystal with different forms.     11   Certain particles have predilections for
    12   But my understanding is that platy talc     12   where they go.
    13   can fracture and also form fragments and    13          Q. When you say it can be
    14   they could travel, given their size.        14   transported, does that include to the
    15        Q. Could they travel as cadmium        15   ovaries?
    16   has traveled in your studies, if that       16          A. Are you asking specifically
    17   happens?                                    17   about talc or particles in general?
    18        A. No, in -- in my studies we          18          Q. Particles in general that
    19   did not measure -- we did not look for      19   meet the size standards that you just
    20   the presence of the particle -- of the      20   referenced of getting into the deep lung?
    21   nanoparticle in the tissues. We measured    21          A. Mm-hmm-hmm. There's no
    22   for the metal in those tissues.             22   reason not to believe that it couldn't
    23             So we are of the opinion          23   get into the ovaries.
    24   that it was the soluble ion that was        24          Q. Did you examine, for
                                          Page 467                                          Page 469
     1   released, and in this case, I know of no     1   purposes of your biological plausibility
     2   studies off the top of my head that          2   opinion, all the studies looking at
     3   measured how much of the other components    3   NSAIDs and use of aspirin in women with
     4   were released.                               4   ovarian cancer?
     5         Q. Can any particle that's             5         A. I looked at several studies.
     6   inhaled reach the ovary?                     6   I'm sure I --
     7         A. If it -- if it meets certain        7             (Document marked for
     8   size constituents. There's no reason why     8         identification as Exhibit
     9   a particle could not reach the ovary or      9         Zelikoff-38.)
    10   the kidney or the liver or -- under         10   BY MR. HEGARTY:
    11   proper circumstances.                       11         Q. I'm going to show you what I
    12         Q. Is there a certain size            12   marked as Exhibit 38, which is a study
    13   limitation?                                 13   that you cited by Wu 2009.
    14         A. Well, something that's             14         A. Actually, it's Merritt.
    15   inhaled, is that what you're talking        15         Q. I'm sorry. It's Merritt
    16   about?                                      16   2008, correct?
    17         Q. Yes.                               17         A. Yes. And let me find it in
    18         A. Something that's inhaled, if       18   my report.
    19   it's 10 micrometers or greater, it's        19         Q. You cite it on Page 26.
    20   going to be caught in the upper airways     20   Above the italicized paragraph --
    21   and probably dismissed through the          21   italicized paragraph at the bottom.
    22   mucociliary escalator. If it's of a         22         A. I see it. "At high
    23   smaller nature, then depending on where     23   concentrations with chronic exposure,
    24   the impaction is for the lung, it's going   24   reactive oxygen species, known as ROS,
                                                                118 (Pages 466 to 469)
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                                   Judith Zelikoff, Ph.D.
                                           Page 470                                         Page 472
     1   can damage cellular macromolecules and        1   on Page 21 of your report?
     2   contribute to neoplastic transformation       2        A. Can you direct me to it?
     3   and/or tumor growth. Other likely             3   Oh, I see it. Second paragraph. "Wu, et
     4   manifestations of talc." That's the           4   al, 2009, performed a study to determine
     5   paragraph that you're referring to.           5   the role of talc in the development of
     6        Q. You do agree that a relevant          6   ovarian cancer considering the history of
     7   body of literature is whether NSAIDs or       7   endometriosis."
     8   aspirin have an effect on ovarian cancer      8        Q. If you look at the abstract
     9   risk, if you're considering inflammation      9   of the Wu paper, about two-thirds of the
    10   as a biologically plausibility mechanism.    10   way down, it reads, "Contrary to the
    11        A. NSAIDs being an -- one type          11   hypothesis."
    12   of anti-inflammatory, it could reduce        12            Do you see that start of the
    13   oxidative stress, yes, to different          13   sentence?
    14   degrees.                                     14        A. I do.
    15        Q. If you look at the abstract          15        Q. "Contrary to the hypothesis
    16   on the first page of the Merritt paper.      16   that risk of ovarian cancer may be
    17        A. Yes.                                 17   reduced by use of NSAIDs, risk increased
    18        Q. At the very end, they say,           18   with increasing the frequency in years of
    19   "We conclude that on balance chronic         19   NSAID use," citing the relative risk, the
    20   inflammation does not play a major role      20   confidence intervals. "This was
    21   in the development of ovarian cancer."       21   consistent across types of incident."
    22             Do you see where I'm               22            Do you see where I'm
    23   reading?                                     23   reading?
    24        A. I'm seeing the last                  24        A. I do see where you're
                                           Page 471                                         Page 473
     1   sentence, yes.                                1   reading.
     2        Q. Do you agree with that                2        Q. That finding is inconsistent
     3   statement in general?                         3   with inflammation as a mechanism by which
     4        A. I do not agree with that              4   ovarian cancer can occur, correct?
     5   statement. That's -- my biological            5            MS. O'DELL: Object to the
     6   plausibility is associated with the           6        form.
     7   oxidative stress and inflammation. Also       7            THE WITNESS: This -- NSAIDs
     8   this paper was written in 2008.               8        are known as antioxidants. And
     9        Q. Did you cite that finding             9        yes, that's true, but there are
    10   that I just read anywhere in your report?    10        other antioxidants from other
    11        A. I cite Merritt.                      11        papers that demonstrate that it
    12        Q. Do you cite for the reader           12        does indeed reduce inflammation.
    13   of your report the statement that I just     13   BY MR. HEGARTY:
    14   read in the abstract?                        14        Q. Well, did you cite the
    15        A. Not to my recollection.              15   finding of the Wu paper with regard to
    16             (Document marked for               16   its data on NSAID use and the risk of
    17        identification as Exhibit               17   ovarian cancer?
    18        Zelikoff-39.)                           18        A. I did have a section, to my
    19   BY MR. HEGARTY:                              19   recollection, on the papers of Wu and
    20        Q. I'm showing you what I've            20   Merritt.
    21   marked as Exhibit Number 39. That is the     21        Q. Well, in the section that I
    22   Wu paper.                                    22   was referring to, in the middle of the
    23        A. Mm-hmm-hmm.                          23   paragraph on Page 21, middle paragraph on
    24        Q. You cite the Wu paper over           24   Page 21, you don't cite that study's
                                                                 119 (Pages 470 to 473)
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                                  Judith Zelikoff, Ph.D.
                                          Page 474                                           Page 476
     1   findings as to NSAIDs and risk of ovarian    1   proinflammatory cytokines and oxidase,
     2   cancer, correct?                             2   yes.
     3        A. I do not cite that                   3         Q. Is there any study that
     4   particular sentence, no.                     4   sites the clinical significance of ATF as
     5        Q. Over on Page 23, you refer           5   it relates to ovarian cancer risk?
     6   to the Shukla study?                         6             MS. O'DELL: Object to the
     7        A. Yes, sir.                            7         form.
     8        Q. That's second to the last            8             THE WITNESS: No study that
     9   paragraph?                                   9         I'm currently aware of. But there
    10        A. "In a molecular cell study          10         are many studies that link ATF
    11   by Shukla"?                                 11         upregulation to inflammation and
    12        Q. Yes. The -- strike that.            12         then inflammation to -- in the
    13            Gene expressions like those        13         process of carcinogenesis, both
    14   measured in the Shukla study occur          14         progression and initiation.
    15   everyday in everyone, correct?              15   BY MR. HEGARTY:
    16            MS. O'DELL: Objection to           16         Q. If you turn over to the
    17        form.                                  17   second to the last page of your report,
    18            THE WITNESS: There are             18   Page 27.
    19        changes in genes per day. But          19             In Paragraph 3, you say that
    20        I'm -- I'm not -- I do not know        20   exposure to talcs --
    21        nor do I have knowledge of whether     21         A. Excuse me, Number 3?
    22        the gene for ATF3 or ATF1 is           22         Q. I called it Paragraph 3.
    23        changed everyday by no exposure.       23   You can call it Number 3.
    24   BY MR. HEGARTY:                             24         A. It's listed as Number 3.
                                          Page 475                                           Page 477
     1        Q. But the -- the fact of gene          1         Q. 3. You state that "exposure
     2   expression is not a -- strike that.          2   to talcum powder products causes an
     3            The fact that gene                  3   inflammatory tissue reaction which may
     4   expression occurs does not mean that         4   result in the following," and then you
     5   cancer will occur, correct?                  5   list --
     6        A. No. My role is to look for           6         A. Elevation.
     7   biological plausibility, and when you        7         Q. -- a number of -- of events
     8   have a transcription factor which is so      8   that you label as A through F -- I'm
     9   well immersed into oxidation and reactive    9   sorry, A through G carrying over to the
    10   oxygen species and inflammation, and I      10   top of the next page.
    11   would say that changes or upregulation of   11         A. I see that, thank you.
    12   the -- of the ATF gene certainly is         12         Q. Can you cite for me any
    13   linked with inflammation.                   13   studies showing any of that activity in
    14        Q. Can you cite for me any             14   women using talc on the perineum?
    15   studies that have used measurements of      15             MS. O'DELL: Object to the
    16   level -- of the levels of ATF3 to assess    16         form.
    17   ovarian cancer risk?                        17             THE WITNESS: If I can
    18        A. I cannot cite those studies         18         recall the Health Canada study, I
    19   to you, but again, going back to            19         think they looked at -- they also
    20   biological plausibility, I can tell you     20         included inflammatory responses
    21   that this gene is extremely important in    21         that are seen in some of their
    22   growth factors and proinflammatory          22         meta-analysis.
    23   cytokines. So an upregulation is going      23   BY MR. HEGARTY:
    24   to lead to the production of                24         Q. Well, the Health Canada
                                                                120 (Pages 474 to 477)
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                                   Judith Zelikoff, Ph.D.
                                          Page 478                                         Page 480
     1   study, the Taher study, was a                1        as exhibit -- Exhibits 40 through
     2   meta-analysis, correct?                      2        48 -- I'm sorry, 47 -- the
     3        A. Yes, correct.                        3        notebooks that had been produced
     4        Q. Can you cite for me any              4        for purposes of the deposition
     5   studies reporting that -- reporting these    5        here today.
     6   events occurring in women using talc on      6            (Documents marked for
     7   the perineum?                                7        identification as Exhibits
     8             MS. O'DELL: Object to the          8        Zelikoff-40 through 47.)
     9        form.                                   9   BY MR. HEGARTY:
    10             THE WITNESS: If you're            10        Q. Over on Page 23, you --
    11        asking me if gene alterations or       11        A. Of my report?
    12        mutations or the level of              12        Q. Of your report, with regard
    13        apoptosis has been measured in any     13   to the Shukla study.
    14        women exposed, no, I do not recall     14            I'm sorry, over on Page 26.
    15        that.                                  15   You cite again the Shukla study. Do you
    16   BY MR. HEGARTY:                             16   see that where -- do you see where you
    17        Q. Have any of the processes --        17   say "nonfibrous talc at low in vitro
    18        A. Excuse me. If I may add.            18   exposure concentrations caused increased
    19   But inflammatory markers have been looked   19   expression of transcription factors
    20   at in women with ovarian cancer and they    20   associated with the inflammatory process
    21   are elevated.                               21   in a time and dose dependent manner"?
    22        Q. And my question, as you'll          22        A. I'm sorry, I'm not clear
    23   recall, is specific to talc users,          23   on --
    24   correct?                                    24        Q. Middle of the second full
                                          Page 479                                         Page 481
     1             MS. O'DELL: Objection to           1   paragraph.
     2        form.                                   2        A. Not -- after the Mori
     3             THE WITNESS: Talc -- yes,          3   citation?
     4        talc products.                          4        Q. Yes.
     5   BY MR. HEGARTY:                              5        A. "Nonfibrous talc at low in
     6        Q. Can you -- can you cite to           6   vitro exposure concentrations caused
     7   me any studies showing elevations of any     7   increased expression of transcription
     8   of these processes in women using talc?      8   factors associated with the inflammatory
     9             MS. O'DELL: Object to the          9   process in a time and dose dependent
    10        form.                                  10   manner." Yes, I see that.
    11             THE WITNESS: Well,                11        Q. What did you mean by say --
    12        neoplastic transformation and          12   by time and dose manner?
    13        proliferation is clearly seen          13        A. May I see the paper?
    14        in -- obviously if there's a           14            (Document marked for
    15        variant answer, you've had             15        identification as Exhibit
    16        neoplastic transformation              16        Zelikoff-48.)
    17        proliferation.                         17   BY MR. HEGARTY:
    18   BY MR. HEGARTY:                             18        Q. Marking as Exhibit 49 -- 48
    19        Q. Well, my question is                19   that paper.
    20   specific to women using talc prediagnosis   20        A. Thank you.
    21   of ovarian cancer.                          21            MR. TISI: We are at seven
    22        A. I see. No, sir.                     22        hours by the way.
    23             MR. HEGARTY: For purposes         23            MS. O'DELL: We are at seven
    24        of the deposition, we want to mark     24        hours?
                                                                121 (Pages 478 to 481)
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                                Judith Zelikoff, Ph.D.
                                        Page 482                                        Page 484
     1            MR. TISI: Yes, we are.            1       want to let her answer or not.
     2            MS. O'DELL: We're at seven        2       It's simply up to you. If you say
     3      hours, Mark.                            3       we're done, then I will -- I'm not
     4            MR. HEGARTY: Okay. Are you        4       going to dispute it.
     5      going to instruct her not to            5            MS. O'DELL: We are -- I
     6      answer that question?                   6       will let you answer that question.
     7            MS. O'DELL: Well, the             7       But after that, we're -- we're
     8      federal rules limit this                8       done.
     9      deposition to seven hours and --        9            MR. HEGARTY: Okay. Thank
    10            MR. HEGARTY: No, I               10       you.
    11      understand, but I also remember a      11            MS. O'DELL: Do you recall
    12      deposition where I think I let         12       the question, Dr. Zelikoff?
    13      Chris go over about two or             13            THE WITNESS: Yes. The
    14      three minutes.                         14       question is -- what -- I'll repeat
    15            MR. TISI: Yeah, but you are      15       it from here.
    16      using a whole new exhibit.             16            What did I mean by a time
    17            MS. O'DELL: You just marked      17       and dose dependent manner?
    18      it --                                  18   BY MR. HEGARTY:
    19            MR. HEGARTY: I just want to      19       Q. Yes.
    20      make sure that was --                  20       A. In the Shukla study?
    21            MR. TISI: Are you going to       21       Q. Correct.
    22      suggest --                             22       A. Well, if we look at Figure 2
    23            MR. HEGARTY: No, I just          23   concerning cell viability in the Shukla
    24      want to know if that -- if you         24   paper, Page 117.
                                        Page 483                                        Page 485
     1      want to end the deposition for me       1             So we can see, I'm trying to
     2      right here?                             2   find the exact one that I want to refer
     3            MR. TISI: That was a fact         3   to. Figure A, one can see that in terms
     4      witness, as you know.                   4   of the concentration and over time, that
     5            I leave it to Leigh. If           5   the number -- total number of viable
     6      we're going to -- if we're going        6   cells were altered. And in Figure 2, 15
     7      to have this rule, we need to kind      7   and 75 -- no, scratch Figure 2, sorry.
     8      of be consistent with it.               8             So on Page 118, in looking
     9            MR. HEGARTY: No, I'm not          9   at number of genes that were
    10      looking to apply another rule.         10   significantly changed, we can see looking
    11      Just tell me whether you'll let        11   at the concentration -- and this is for
    12      her answer the question or if the      12   asbestos -- there was a change in effect
    13      time -- because the time is up,        13   in asbestos. If one looks at -- I think
    14      that question will not be              14   that's it. That's what I meant.
    15      answered.                              15             MR. HEGARTY: Okay. Thank
    16            MS. O'DELL: The time -- the      16        you.
    17      time is up. What is your -- what       17             MS. O'DELL: Off the record.
    18      was your question?                     18             THE VIDEOGRAPHER: The time
    19            MR. HEGARTY: My question         19        is 7:07 p.m. Off the record.
    20      was, "What do you mean where you       20             (Short break.)
    21      say time and dose dependent            21             THE VIDEOGRAPHER: We are
    22      manner." But I'm not going to          22        back on the record. The time is
    23      insist on any applicable rule.         23        7:30 p.m.
    24      I'll let you decide whether you        24               - - -
                                                              122 (Pages 482 to 485)
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                                    Judith Zelikoff, Ph.D.
                                            Page 486                                          Page 488
     1              EXAMINATION                         1        A. I relied on his report, yes.
     2                - - -                             2        Q. And did Dr. Crowley conclude
     3   BY MS. O'DELL:                                 3   that the chemicals involved in the
     4        Q. Dr. Zelikoff, I have a few             4   fragrances for both Johnson & Johnson's
     5   follow-up questions for you.                   5   Baby Powder and Shower to Shower may
     6            Prior to your involvement in          6   contribute to the inflammatory response,
     7   litigation, this litigation, did you hold      7   toxicity and potential carcinogenicity of
     8   the opinion that inflammation causes           8   Johnson & Johnson's talcum powder
     9   cancer?                                        9   products?
    10            MR. HEGARTY: Objection to            10            MR. HEGARTY: Objection to
    11        form.                                    11        form.
    12            THE WITNESS: Yes. I held             12            THE WITNESS: Yes. I concur
    13        the opinion for a very long time         13        with that whole opinion.
    14        that inflammation causes cancer.         14   BY MS. O'DELL:
    15   BY MS. O'DELL:                                15        Q. And in fact, that's the
    16        Q. And in terms of your                  16   specific opinion he included in his
    17   knowledge and opinion prior to your           17   report that you relied on?
    18   involvement in the litigation, did you --     18        A. Yes, that's correct.
    19   did you have an opinion regarding the         19            MR. HEGARTY: Objection to
    20   role of oxidative stress in the               20        form.
    21   development of cancer?                        21   BY MS. O'DELL:
    22        A. Yes, I did. My opinion was            22        Q. And so if another expert was
    23   that oxidative stress was closely             23   also relying on Dr. Crowley's analysis,
    24   involved with the causation of cancer.        24   it wouldn't be surprising that the same
                                            Page 487                                          Page 489
     1        Q. So to the degree that your             1   wording was used?
     2   work in this case addressed new                2            MR. HEGARTY: Objection to
     3   considerations, were those considerations      3        form.
     4   primarily focused on talc and its ability      4            THE WITNESS: Absolutely
     5   to cause inflammation and oxidative            5        not.
     6   stress?                                        6   BY MS. O'DELL:
     7            MR. HEGARTY: Objection to             7        Q. Let me ask you other
     8        form.                                     8   questions about the general principles in
     9            THE WITNESS: That is                  9   your report. I think you testified, you
    10        correct.                                 10   were asked a number of questions about
    11   BY MS. O'DELL:                                11   general principals. And in your
    12        Q. Can you -- if I could ask             12   judgment, is it generally accepted to --
    13   you to take your report. I think it's         13   to use common phrasing for general
    14   right to your left. I'm going to ask          14   principles in scientific publications?
    15   you -- if you'll turn to Page 12. Do you      15        A. Yes.
    16   see that? The subsection involving            16            MR. HEGARTY: Objection to
    17   fragrance, fragrance chemicals?               17        form.
    18        A. Yeah. C, fragrances.                  18            THE WITNESS: I answered
    19        Q. And did you rely on                   19        that question before, and yes.
    20   Dr. Crowley's report and his review of        20        Common, well-publicized,
    21   the relevant literature and other             21        well-established concepts, yes.
    22   information regarding the chemicals that      22   BY MS. O'DELL:
    23   are included in the fragrance for Baby        23        Q. You were asked during the
    24   Powder and Shower to Shower?                  24   early part of the day certain questions
                                                                  123 (Pages 486 to 489)
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                                   Judith Zelikoff, Ph.D.
                                           Page 490                                         Page 492
     1   about whether you were an expert in areas     1        A. My numerous publications in
     2   such as talc and inflammation?                2   that area of metal toxicology that I've
     3        A. Yes.                                  3   been doing for many, many, many years.
     4        Q. And I think if you recall             4        Q. And in addition to your
     5   the response you answered you were not        5   training, experience, do you also make
     6   classified as an expert. What did you         6   those statements based on your review of
     7   mean by that?                                 7   the available scientific and medical
     8             MR. HEGARTY: Objection to           8   literature?
     9        form.                                    9        A. In regards to metals?
    10             THE WITNESS: What I meant          10        Q. In all the environmental
    11        was in terms of legal, whether --       11   exposures we've just discussed?
    12        one of the questions that arose         12        A. Yes. I rely on
    13        was, in the past, have I been           13   literature --
    14        listed as an expert in other            14        Q. You were asked questions --
    15        cases. And so I followed that           15        A. -- as well as my own
    16        line of thought and thought that        16   scientific research.
    17        we were still talking about             17        Q. Excuse me. I didn't mean to
    18        litigation and formal declaration       18   cut you off, Doctor.
    19        as an expert in that area.              19            You were asked questions
    20   BY MS. O'DELL:                               20   about whether there were any studies or
    21        Q. Are you an expert in the             21   evidence that you relied on involving
    22   toxicological effects of minerals on         22   Johnson's Baby Powder.
    23   the -- on humans?                            23            Do you recall that?
    24             MR. HEGARTY: Objection to          24        A. I do recall that question,
                                           Page 491                                         Page 493
     1        form.                                    1   yes.
     2            THE WITNESS: I'm expert in           2        Q. And do the -- strike that
     3        toxicology of environmental              3   and start again.
     4        chemicals, including mixtures,           4            Did Dr. Saed in the testing
     5        including fibers, including              5   that was done and reported in not only
     6        particles, including talc.               6   the abstracts but also his manuscript,
     7   BY MS. O'DELL:                                7   involve Johnson's Baby Powder?
     8        Q. And would that -- would that          8            MR. HEGARTY: Objection to
     9   also include -- when you said fibers,         9        form.
    10   would that also include asbestos and         10            THE WITNESS: Yes.
    11   fibrous talc?                                11        Dr. Saed's did. Thank you for
    12            MR. HEGARTY: Objection to           12        reminding me.
    13        form.                                   13   BY MS. O'DELL:
    14            THE WITNESS: Yes.                   14        Q. Was Dr. Longo and Rigler's
    15   BY MS. O'DELL:                               15   testing of historical samples of talcum
    16        Q. Are you an expert in the             16   powder products produced in this
    17   toxicological effects of heavy metals on     17   litigation, including Johnson's Baby
    18   the humans?                                  18   Powder and Shower to Shower?
    19            MR. HEGARTY: Objection to           19        A. Dr. Longo stated he did use
    20        form.                                   20   products over time from Johnson & Johnson
    21            THE WITNESS: Yes, I am.             21   talcum powders.
    22   BY MS. O'DELL:                               22        Q. And was the evidence that
    23        Q. And what do you base that            23   was presented in Hopkins Exhibit 28, did
    24   statement on?                                24   it involve Johnson's talcum powder
                                                                  124 (Pages 490 to 493)
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     1   products?                                    1        go.
     2        A. Yes, it did.                         2   BY MS. O'DELL:
     3        Q. Was evidence that you relied         3        Q. Did the FDA conclude in
     4   on in the form of Pier Exhibit 47, did       4   Exhibit 37 that -- well, let me just ask
     5   those also involve talc that was taken       5   the question this way.
     6   from sources used to supply Johnson's        6            If you'll turn to Page 2 of
     7   talcum powder products?                      7   Exhibit 37, what was the FDA's conclusion
     8            MR. SILVER: Objection to            8   regarding the testing that they had
     9        form.                                   9   performed on the cosmetic powders?
    10            MR. HEGARTY: Objection to          10            Doctor, I'll direct you to
    11        form.                                  11   the second-to-the-last paragraph at the
    12            THE WITNESS: Dr. Pier?             12   bottom of the page, the middle sentence.
    13   BY MS. O'DELL:                              13   Do you see that, "Beginning for these
    14        Q. Yes.                                14   reasons"?
    15        A. To my recollection, yes. If         15        A. Yes, I see that.
    16   you'd like, I can look at the paper and     16        Q. And what was the FDA's
    17   confirm that.                               17   conclusion?
    18        Q. Let me ask you about                18        A. "For these reasons, while
    19   Dr. Blount. You were asked previously       19   FDA finds these results informative, they
    20   about her publication in 1991.              20   do not prove that most or all talc or
    21            Did Dr. Blount test                21   talc-containing cosmetic products that
    22   Johnson's Baby Powder?                      22   are currently or currently marketed in
    23        A. Yes. But again, if I looked         23   the United States are likely to be free
    24   at the reference I could give you -- I      24   of asbestos contamination."
                                          Page 495                                          Page 497
     1   could give you specifics.                    1        Q. You were also asked a number
     2        Q. Okay. And do you recall              2   of questions regarding the FDA response
     3   that that -- did -- let me just ask it       3   to Dr. Epstein's letter in April of 2014,
     4   this way.                                    4   Exhibit 33.
     5            Did Dr. Blount find that            5            Do you recall those
     6   there was asbestos in the Johnson's Baby     6   questions?
     7   Powder samples that she tested?              7        A. I recall that questions were
     8        A. Yes. To my recollection,             8   asked in this regard, yes.
     9   she did, yes.                                9        Q. While at this point in the
    10        Q. You were asked about some           10   day, I wouldn't expect you to recall the
    11   testing that had been done by the FDA on    11   specific question, but you recall those
    12   certain cosmetic powders. Do you            12   general discussions?
    13   remember that? It was Exhibit 37.           13        A. Yes, I do.
    14            MS. O'DELL: And is that in         14        Q. All right. Let me ask you,
    15        the bottom of that stack, 37?          15   if you wouldn't mind, to turn to Page 3
    16            Thanks, Mark. If you'll            16   of -- of Exhibit 33.
    17        hand those to me. I appreciate         17            And the second paragraph.
    18        it.                                    18        A. Starting, "The survey
    19            THE WITNESS: Sorry. My             19   found"?
    20        microphone.                            20        Q. Yes. Yes, ma'am.
    21            MS. O'DELL: Oh, did it come        21            And as of April 2014, was it
    22        off?                                   22   the FDA's conclusion that their testing
    23            THE VIDEOGRAPHER: Raise it         23   results did not prove that
    24        up as high as possible. There you      24   talc-containing cosmetic powders
                                                                125 (Pages 494 to 497)
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     1   currently marketed in the U.S. are free      1   causing ovarian cancer?
     2   of asbestos contamination?                   2            MR. HEGARTY: Objection to
     3            MR. HEGARTY: Objection to           3        form.
     4        form.                                   4            THE WITNESS: They are
     5            THE WITNESS: Yes. I can             5        consistent with my opinion, yes.
     6        read the sentence, "While FDA           6   BY MS. O'DELL:
     7        found this data informative, the        7        Q. Let me ask you if you would,
     8        results were limited by the fact        8   Doctor, to -- I'll do it for you.
     9        that only four suppliers submitted      9   Because it was marked here.
    10        samples and the number of products     10            I'm going to hand to you the
    11        used. They do not prove that all       11   Health Canada draft screening assessment
    12        talc containing cosmetic products      12   that was marked previously as Exhibit 9.
    13        currently marketed in the United       13        A. I see it.
    14        States are free of asbestos            14        Q. And let me ask you if you
    15        contamination."                        15   would please, Doctor, first, did you
    16   BY MS. O'DELL:                              16   submit your report in this case prior to
    17        Q. Okay. While we are on this          17   Health Canada issuing the draft causal
    18   Exhibit 33, Doctor, if you'll turn to       18   assessment?
    19   Page 5 of the exhibit. About two-thirds     19        A. I submitted my -- my final
    20   of the way down, the paragraph beginning,   20   report November 15th or 16th. I'm not
    21   "While."                                    21   quite clear on the date. And received
    22        A. "While there exists no              22   this or saw it for the first time in
    23   direct proof"?                              23   January. So it did not go into my -- it
    24        Q. Yes. And would you mind             24   was not cited in my report and was not
                                          Page 499                                          Page 501
     1   reading, you know, the -- the -- those       1   reviewed for my report.
     2   first two sentences of that paragraph,       2        Q. And by virtue of the fact
     3   please?                                      3   that came out after your report, did --
     4         A. "While there exists no              4   did the health -- strike that and start
     5   direct proof of talc and ovarian             5   again.
     6   carcinogenesis, the potential for            6            Did the Health Canada
     7   particulates to migrate from the             7   assessment inform your opinions in this
     8   peritoneum" -- "the perineum and vagina      8   case?
     9   to the peritoneal cavity is                  9        A. It -- it could not have
    10   indisputable."                              10   informed my opinion that's written out in
    11         Q. And then if you'll read the        11   the report. It was compelling evidence
    12   next sentence?                              12   that helped support the opinion that I
    13         A. "It is, therefore, plausible       13   came to.
    14   that perineal talc and other particulate    14        Q. Did it confirm your
    15   that reaches the endometrial cavity, the    15   opinions?
    16   fallopian tubes and ovaries and the         16            MR. HEGARTY: Objection to
    17   peritoneum may elicit a foreign body-type   17        form.
    18   reaction and an inflammatory response       18            THE WITNESS: Yes. It
    19   that in some exposed women may progress     19        confirmed my opinions on many
    20   to epithelial cancers."                     20        lines, including methodology.
    21         Q. And are those statements           21   BY MS. O'DELL:
    22   written by the FDA consistent with your     22        Q. If you'll look at Page 18 of
    23   opinions regarding the biologic             23   the assessment.
    24   plausibility of talcum powder products      24        A. Yes. I see it.
                                                                126 (Pages 498 to 501)
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     1        Q. And looking at the                   1   mechanism for the cause of cancer?
     2   literature that is cited in this section,    2            MR. HEGARTY: Objection to
     3   did you cite in support of your opinions     3        form.
     4   Keskin 2009?                                 4            THE WITNESS: Biological
     5        A. Keskin 2009, yes.                    5        plausibility.
     6        Q. And did you -- of course we          6   BY MS. O'DELL:
     7   talked about it before. You cited            7        Q. They -- let me ask a better
     8   Penninkilampi 2018?                          8   question. Did they -- did they discuss
     9        A. Yes, I did.                          9   chronic inflammation, inflammation as a
    10        Q. And did you cite other              10   biologically plausible mechanism for the
    11   references included in the mode of action   11   development of ovarian cancer?
    12   discussion that was undertaken by Health    12        A. Yes, they did.
    13   Canada on Pages 18, 19 and, you know, 20    13        Q. Did they discuss the role of
    14   of the Health Canada assessment?            14   reactive oxygen species as part of the
    15        A. Yes, I did. Do you want me          15   biologically plausible mechanism of talc
    16   to tell you which ones?                     16   in the development of ovarian cancer?
    17        Q. Just give us a few. Just            17            MR. HEGARTY: Objection to
    18   give us a few.                              18        form.
    19        A. Henderson 1971. These are           19            THE WITNESS: Oxidative
    20   the ones that come to mind readily.         20        stress, yes. Yeah. React -- ROS.
    21   Edelstam 1997. Egli and Newton 1961. De     21        Oxidative stress.
    22   Boer in 1972. Venter and Iturralde,         22            May I give the statement?
    23   1979. Heller 1996. Cramer in 2007.          23   BY MS. O'DELL:
    24             Would you like me to go on?       24        Q. Yes.
                                         Page 503                                          Page 505
     1        Q. So it's fair to say that             1        A. With respect to talc,
     2   many of the references that you read,        2   specifically local chronic irritation
     3   reviewed, relied on in your report are       3   leading to inflammatory response is one
     4   some of the same studies that Health         4   possible mechanism of tumor progression
     5   Canada relied on in their causal             5   that is frequently hypothesized.
     6   assessment?                                  6        Q. And that's consistent with
     7            MR. HEGARTY: Objection to           7   your -- with your opinion in this case?
     8        form.                                   8             MR. HEGARTY: Objection to
     9            THE WITNESS: Yes. This was          9        form.
    10        very validating for my -- my           10             THE WITNESS: Yes.
    11        report in my opinion.                  11   BY MS. O'DELL:
    12   BY MS. O'DELL:                              12        Q. Is that consistent with your
    13        Q. Were you aware of the -- of         13   opinion in this case?
    14   the assessment prior to it being issued     14        A. Yes, it is.
    15   to the public?                              15        Q. Did they discuss migration
    16        A. Not at all. It was -- it            16   as part of the biologically plausible
    17   came out in late 2018, in December.         17   mechanism for the connection between
    18        Q. In the assessment that was          18   perineal use of talc and development of
    19   undertaken by Health Canada, did they       19   ovarian cancer?
    20   assign any numerical weights in the         20        A. Yes, they did.
    21   causal assessment to certain studies?       21        Q. Okay. Did they, on Page 15
    22        A. No, they do not.                    22   and 16, did they discuss some of the
    23        Q. Did they discuss                    23   animal studies that you reference and
    24   inflammation as a sort of recognized        24   rely on in reaching your opinions in this
                                                                127 (Pages 502 to 505)
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     1   case?                                        1         Q. Counsel directed your
     2         A. Yes, they do.                       2   attention to the sentence -- counsel for
     3            MR. HEGARTY: Objection to           3   Johnson & Johnson -- direct -- directed
     4         form.                                  4   your attention to the sentence near the
     5            THE WITNESS: And --                 5   bottom of the left column.
     6   BY MS. O'DELL:                               6         A. An important finding of this
     7         Q. Excuse me.                          7   study is that talc use?
     8         A. They include Hamilton et            8         Q. Yeah, the -- the potential
     9   al., 1984. Keskin 2009. Hamilton 1984        9   mechanism by which genital talc is
    10   again. Keskin again.                        10   associated with an increased risk of
    11         Q. Okay. And if you'll turn to        11   ovarian cancer --
    12   Page 21. You'll see at the top of the       12         A. I'm sorry. Again,
    13   page, they have a section on biologic       13   discussion on the left side?
    14   plausibility.                               14         Q. Yes. At the bottom of the
    15         A. Yes, they do.                      15   first paragraph, the last sentence.
    16         Q. Is -- is their discussion of       16         A. Okay. I'm sorry.
    17   biological plausibility as outlined on      17   "Potential mechanism by which general
    18   Page 21 consistent with your opinions in    18   talc associated with an increased risk of
    19   this case?                                  19   ovarian cancer hence remains unclear."
    20            MR. HEGARTY: Objection to          20         Q. And Johnson & Johnson's
    21         form.                                 21   counsel asked you about that sentence.
    22            THE WITNESS: Definitely            22         A. Yes, they did.
    23         consistent. Particles of talc are     23         Q. But they didn't ask you
    24         hypothesized to migrate into the      24   about other sentences in this -- this
                                          Page 507                                           Page 509
     1        pelvis and ovarian tissue causing       1   paper, fair?
     2        irritation and inflammation. And        2         A. That's fair.
     3        the presence of talc in the             3         Q. So if you'll look to the
     4        ovaries as I discussed previously       4   right column on Page 45. Do you see the
     5        has been documented by Heller in        5   sentence beginning "if chronic
     6        1996.                                   6   inflammation"?
     7   BY MS. O'DELL:                               7         A. I do. "If chronic
     8        Q. Great. Thank you.                    8   inflammation due to ascending foreign
     9             Doctor, you were also asked        9   bodies is indeed the mechanism by which
    10   some questions about the Penninkilampi      10   talc use is associated with increased
    11   paper.                                      11   ovarian cancer risks, then the results
    12             Do you recall those?              12   fit the picture."
    13        A. I do recall being asked,            13         Q. Is -- is that statement that
    14   yeah, from that.                            14   the authors of the Penninkilampi study
    15        Q. Potentially the most                15   included in their report, excuse me, in
    16   difficult name to pronounce in the          16   their article, is that consistent with
    17   litigation.                                 17   your opinions in this case?
    18             The Penninkilampi paper           18         A. It is consistent.
    19   was -- was marked as Exhibit 34. Do you     19         Q. And does it confirm the
    20   recall that?                                20   opinions that you reached in this case?
    21        A. I see, I see it here. Yes.          21         A. It acts to confirm, yes, it
    22        Q. And if I can ask you to turn        22   does.
    23   to Page 45.                                 23         Q. Okay. You were asked
    24        A. I see Page 45.                      24   about -- a number of questions about
                                                                128 (Pages 506 to 509)
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     1   asbestos and the specific amount of            1   deposition of Robert Glenn in your
     2   asbestos that would be introduced with         2   report?
     3   the perineal application of -- of talc.        3        A. I'm sorry, the deposition of
     4        A. Yes --                                 4   who?
     5        Q. And let me ask you --                  5        Q. Robert Glenn. Page 6, about
     6        A. -- I recall.                           6   midway down.
     7        Q. You recall those questions?            7        A. Yes, I did. "Because
     8        A. Yes, I do.                             8   asbestos is a known carcinogen, its
     9        Q. Is there any safe level of             9   presence in cosmetic talc is
    10   asbestos --                                   10   unacceptable, FDA 2012, FDA 2015."
    11            MR. HEGARTY: Objection to            11        Q. And do you recall that --
    12        form.                                    12   was Mr. Glenn a former director of the
    13   BY MS. O'DELL:                                13   National Institute for Occupational
    14        Q. -- in the perineum?                   14   Safety and Health or NIOSH?
    15        A. My opinion and conclusion is          15        A. Yes.
    16   no.                                           16        Q. And what did Mr. Glenn
    17        Q. Is asbestos a known potent            17   testify to regarding the presence of
    18   carcinogen?                                   18   asbestos in talc-based products?
    19        A. It is. According --                   19        A. He says, "As stated in a
    20        Q. Excuse me. Please go ahead.           20   recent deposition, that if there were a
    21        A. According to the regulators           21   fiber of asbestos in talcum-based
    22   and the documents, it is, yes, a known        22   products, it would certainly 'provide a
    23   carcinogen, and it's extremely potent.        23   biologically plausible mechanism for
    24   If you look at the effects that it causes     24   increased lung disease' and that he
                                            Page 511                                          Page 513
     1   and at the dose levels that it causes          1   suspected that it would also have a
     2   these effects.                                 2   similar mechanism of disease in other
     3        Q. And of course IARC has --              3   tissues and organs."
     4        A. IARC has classified it as a            4        Q. And you were asked a number
     5   Class 1A.                                      5   of questions about the different
     6        Q. And did you review and rely            6   constituents of talcum powder products.
     7   on IARC's conclusion regarding asbestos?       7        A. Yes.
     8        A. I did.                                 8        Q. If talcum powder products
     9        Q. Excuse me. And its                     9   did not contain asbestos, would that
    10   contribution to the -- to the development     10   change your opinion about the biological
    11   of ovarian cancer?                            11   plausible mechanism of -- that explains
    12        A. Yes, I did.                           12   talc -- talc-based products causing
    13        Q. Did you review and rely on            13   ovarian cancer?
    14   IARC's conclusions regarding fibrous talc     14        A. No, it would not.
    15   or talc in an asbestiform habit regarding     15        Q. You were asked questions
    16   its ability to cause ovarian cancer?          16   about a Dr. Neel from NYU.
    17             MR. HEGARTY: Objection to           17        A. The NYU Cancer Center.
    18        form.                                    18        Q. And you were asked if you
    19             THE WITNESS: I did.                 19   knew Dr. Neel.
    20   BY MS. O'DELL:                                20        A. Yes, I recall the question.
    21        Q. If you'll turn to Page 6 in           21        Q. And what's your
    22   your report.                                  22   understanding of Dr. Neel's position?
    23        A. Yes, I see it.                        23        A. My understanding is that he
    24        Q. Did you -- did you cite the           24   is the chair -- he may not be called the
                                                                  129 (Pages 510 to 513)
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     1   chair -- but he is the director of the         1        form.
     2   cancer center for NYU Langone Health and       2            THE WITNESS: Could you
     3   NYU Medical School. It morphs into             3        clarify that question?
     4   different names.                               4   BY MS. O'DELL:
     5        Q. And in regard to the                   5        Q. Yeah. It was a bad
     6   toxicity of talcum powder products and         6   question. I'm sorry. I'm getting tired.
     7   its effects, toxicological effects,            7        A. If you're asking -- would
     8   would -- would you be more knowledgeable       8   you like to ask -- rephrase it, or should
     9   about those particular effects than a          9   I give you my thought of what you were
    10   clinician who diagnoses and treats            10   trying to ask?
    11   ovarian cancer?                               11        Q. Well, why don't you
    12             MR. HEGARTY: Objection to           12   interpret my question, and I'll follow
    13        form.                                    13   up.
    14   BY MS. O'DELL:                                14        A. If you're asking me if
    15        Q. Like Dr. Neel?                        15   nickel was a component of the non-fibrous
    16        A. I'm a toxicologist, and so            16   talc, then was nickel also in place when
    17   my main area of focus and understanding       17   it was treated, when the cells were
    18   and literature has to do with toxicology,     18   treated?
    19   toxicological mechanisms, toxicological       19        Q. That's correct.
    20   effects.                                      20        A. Yes, if nickel was in the
    21        Q. So --                                 21   non-fibrous talc then, yes, it was also
    22        A. So my knowledge base in               22   there when the cells were being exposed.
    23   those areas would -- I would suspect very     23        Q. And so -- and that would be
    24   strongly would exceed that of Dr. Neel's,     24   true of chromium and cobalt?
                                            Page 515                                          Page 517
     1   who is a clinician.                            1        A. Yes.
     2        Q. You were asked some                    2        Q. And so, the results from the
     3   questions about the Shukla paper.              3   Shukla study would have bearing on the
     4        A. Yes.                                   4   effect of those heavy metals if contained
     5        Q. And -- and the Shukla paper            5   in talcum powder?
     6   involved the use of talcum powder?             6            MR. HEGARTY: Objection to
     7        A. Yes.                                   7        form.
     8        Q. And if the --                          8            THE WITNESS: Yes, if they
     9        A. Do you recall what exhibit             9        were -- yes, as constituents, they
    10   that was?                                     10        would -- I would imagine and know
    11        Q. I think it was the last               11        that they would play -- they could
    12   exhibit.                                      12        be playing a role in the
    13        A. May I have a copy?                    13        toxicity -- the cell toxicity or
    14        Q. 48. And did the Shukla                14        the gene expression changes that
    15   study involve the testing of, or the use      15        were observed.
    16   of talcum powder?                             16   BY MS. O'DELL:
    17        A. Yes. As they call it,                 17        Q. Thank you. And in regard to
    18   non-fibrous talc.                             18   your opinions related to cobalt,
    19        Q. And if the talcum powder              19   chromium, and nickel, you were asked a
    20   used in the Shukla study contained            20   number of questions about whether there
    21   nickel, that would be -- the data that        21   were any human studies measuring the
    22   was reported in that study would be           22   effect of -- of nickel at -- in the
    23   relevant for the effects of nickel, fair?     23   ovary. Do you recall that?
    24            MR. HEGARTY: Objection to            24        A. I recall that question --
                                                                  130 (Pages 514 to 517)
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                                          Page 518                                        Page 520
     1   those questions.                             1   IRBs.
     2        Q. Would it be possible to              2        Q. Okay. You looked at, as I
     3   design a study in humans where nickel was    3   understand it, for your purposes of your
     4   deposited at their ovary to see if a         4   task in this case, you looked at the
     5   female would develop ovarian cancer?         5   issue of biologic plausibility for
     6        A. I think I answered and said          6   perineal talc use and ovarian cancer.
     7   that would be ridiculous in the sense        7        A. Yes, I did.
     8   that this would be totally unethical to      8        Q. Did you -- did you -- was
     9   take a known carcinogen or a classified      9   that inquiry focused on epithelial
    10   1A carcinogen and use it for experimental   10   ovarian cancer in particular?
    11   studies in humans by placing it in the      11        A. It -- it was -- most, if not
    12   perineal -- or anywhere within the body     12   all the studies I looked at in animals
    13   intentionally.                              13   and -- were associated with epithelial
    14        Q. And would that also be true         14   ovarian cancer.
    15   for similar reasons for cobalt and          15             Some studies in humans did
    16   chromium?                                   16   look -- did break out the differences.
    17        A. Yes.                                17        Q. Let me ask you if you
    18        Q. Would the same also be true         18   wouldn't mind, to turn to Page 8 of your
    19   of designing a study that applied           19   report. And you'll look at the top of
    20   asbestos to a female's ovary for purposes   20   the page. In the first full paragraph,
    21   of seeing if she developed cancer?          21   middle of the -- that paragraph discusses
    22        A. I'm smiling because it holds        22   Dr. Longo and Rigler's recent report that
    23   true for any -- any known or suspected      23   reports that talcum powder products
    24   carcinogen cannot be used intentionally     24   manufactured by Johnson's Baby Powder and
                                          Page 519                                        Page 521
     1   on a human being for testing. It's           1   Shower to Shower have contained and
     2   unethical, and would probably in all         2   continue to contain asbestos. Do you see
     3   likelihood not be approved by the            3   that sentence?
     4   institutional review board of academic       4        A. Yes, I do.
     5   institutions or any reputable scientists.    5        Q. And then it goes on, you go
     6        Q. Would that be true of                6   on to report his results from test of
     7   fibrous talc?                                7   samples manufactured from the 1960s and
     8             MR. HEGARTY: Objection to          8   1990s.
     9        form.                                   9        A. Through -- through the
    10   BY MS. O'DELL:                              10   1990s.
    11        Q. You may answer.                     11        Q. Through the 1990s, that's
    12        A. That would be true of               12   correct.
    13   fibrous talc.                               13            And you -- you have a
    14        Q. Would it be true of platy           14   footnote here to Footnote 7?
    15   talc, if there is such a thing as pure      15        A. Yes.
    16   platy talc?                                 16        Q. And Dr. Longo and Rigler's
    17        A. If there is a -- if there is        17   report is noted in the footnote and it's
    18   any suspicion that any product, including   18   dated November 14, 2018.
    19   platy talc, might be involved in            19        A. Yes.
    20   producing inflammation or any other type    20        Q. Do you see that?
    21   of adverse health effect, then it would     21        A. Yes.
    22   be very unethical to go ahead and           22        Q. And just, did you have in
    23   intentionally use that in a human study,    23   your possession and review Dr. Rigler and
    24   in my opinion, and in the opinion of most   24   Longo's November 14, 2018, report during
                                                                131 (Pages 518 to 521)
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                                  Judith Zelikoff, Ph.D.
                                         Page 522                                         Page 524
     1   the completion of your own report?          1   that Ms. O'Dell asked you.
     2        A. I had it available prior to         2            First of all, you were
     3   the submission of my final report, yes.     3   referred to Page 12 of your report
     4            The only thing I did not           4   under -- under Section C, Fragrances.
     5   have was the December 2018 supplement.      5   Would you go to that portion of your
     6        Q. His most recent supplement?         6   report please?
     7        A. His most recent supplement,         7        A. I will, thank you. Yes.
     8   yes.                                        8   I'm here.
     9        Q. I think just to be clear,           9        Q. You were asked about this
    10   that -- was his most recent supplemental   10   part of your report being identical to
    11   report you're referring to, was that the   11   the same part of Smith-Bindman's report.
    12   report dated in January, I think 16th or   12   Do you recall being asked those
    13   15th of this month?                        13   questions?
    14        A. It was sometime in January.        14            MS. O'DELL: Object to the
    15        Q. Okay.                              15        form.
    16        A. Yes. I could answer that           16            THE WITNESS: Smith --
    17   question specifically if I saw the         17        Smith-Bindman report? I'm sorry,
    18   exhibit.                                   18        I don't recall -- oh, in the
    19        Q. And I've handed you what's         19        beginning of the deposition?
    20   been marked I think as Exhibit --          20   BY MR. HEGARTY:
    21        A. 3.                                 21        Q. Yes.
    22        Q. 3. And is Exhibit 3 the            22        A. Okay. That was a long time
    23   supplemental report --                     23   ago.
    24        A. Yes, it is.                        24        Q. First of all, are you aware
                                         Page 523                                         Page 525
     1       Q. -- that you reviewed                 1   that Dr. Crowley has been deposed in this
     2   recently?                                   2   litigation?
     3       A. I'm sorry, yes.                      3        A. Yes.
     4       Q. And what's the date on the           4        Q. Did you read his deposition?
     5   report?                                     5        A. I did.
     6       A. January 15, 2019.                    6        Q. When did you read his
     7           MS. O'DELL: Okay. I have            7   deposition?
     8       nothing further, Doctor. Thank          8        A. I'm sorry, I don't recall
     9       you.                                    9   the exact date.
    10           MR. HEGARTY: Take a break.         10            May I see Dr. Crowley's
    11       I need to use the restroom.            11   deposition?
    12           THE VIDEOGRAPHER: The time         12        Q. Well, I just asked you if
    13       is 8:10 p.m. Going off the             13   you had read it. That's my only
    14       record.                                14   question.
    15           (Short break.)                     15            Other than Dr. Crowley's
    16           THE VIDEOGRAPHER: We are           16   deposition, have you read the depositions
    17       back on the record. The time is        17   of any other plaintiffs' experts deposed
    18       8:16 p.m.                              18   in the MDL, this litigation?
    19                - - -                         19        A. Any of the other plaintiffs'
    20               EXAMINATION                    20   depositions?
    21                - - -                         21        Q. Correct.
    22   BY MR. HEGARTY:                            22        A. Dr. Dydek.
    23       Q. Dr. Zelikoff, I have some           23        Q. Anybody else?
    24   questions in follow-up to the questions    24        A. I'm looking to see the
                                                               132 (Pages 522 to 525)
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                                    Judith Zelikoff, Ph.D.
                                             Page 526                                          Page 528
     1   others.                                         1        Q. Page 12.
     2        Q. It's at the end of Exhibit              2        A. "There are more than 150
     3   B.                                              3   different chemicals"?
     4        A. Okay. Thank you. Thank                  4        Q. Those four sentences, or
     5   you.                                            5   three -- or strike that.
     6        Q. Well, my question -- let me             6            The second sentence in that
     7   ask a different question. Let me ask            7   section is not in Dr. Crowley's report.
     8   whether you have reviewed the MDL               8   He did not write, "I reviewed the expert
     9   depositions; that is, the depositions           9   report of Dr. Michael Crowley that
    10   that plaintiffs' experts have taken in         10   concludes that some of these chemicals
    11   this litigation over their expert reports      11   may contribute to the inflammatory
    12   besides Dr. Crowley?                           12   response, toxicity, and potential
    13             MS. O'DELL: Object to form.          13   toxicity of Johnson & Johnson's talcum
    14             THE WITNESS: Dr. Longo.              14   powder products."
    15        Sorry.                                    15            MS. O'DELL: Objection.
    16   BY MR. HEGARTY:                                16   BY MR. HEGARTY:
    17        Q. Dr. Longo has not yet been             17        Q. That sentence is not in
    18   deposed in --                                  18   Dr. Crowley's report?
    19        A. I read his report.                     19            MS. O'DELL: Objection.
    20        Q. -- for his MDL report.                 20            THE WITNESS: I'm terribly
    21             No, I'm talking about the            21        sorry. I'm going to silence that
    22   deposition --                                  22        or we can and talk over it.
    23        A. I'm sorry.                             23            MS. O'DELL: Go ahead and
    24        Q. -- of an expert who has                24        silence it.
                                             Page 527                                          Page 529
     1   been -- who is being deposed about their        1           (Brief interruption.)
     2   report in the MDL.                              2           MR. HEGARTY: Let's go off
     3            You said Dr. Crowley. Have             3       the record.
     4   you read anyone else's deposition that          4           THE VIDEOGRAPHER: The time
     5   have discussed their report in the MDL?         5       is 8:21 p.m. Off the record.
     6            MS. O'DELL: I think there              6           (Whereupon, a discussion was
     7        may be some confusion between              7       held off the record.)
     8        report and deposition.                     8           THE VIDEOGRAPHER: The time
     9            THE WITNESS: Yes. There                9       is 8:21 p.m. Back on the record.
    10        was.                                      10   BY MR. HEGARTY:
    11   BY MR. HEGARTY:                                11       Q. The second sentence under
    12        Q. Did you read Dr. Crowley's             12   your section fragrances is nowhere in
    13   deposition over his report?                    13   Dr. Crowley's report?
    14        A. I read Dr. Crowley's report.           14       A. That --
    15   I'm sorry. I stand corrected.                  15           MS. O'DELL: Objection to
    16        Q. Dr. Crowley's report does              16       form.
    17   not contain the sentences that you've          17           THE WITNESS: That sentence
    18   included under your Section C,                 18       is not there, but I concluded that
    19   fragrances, correct?                           19       when he talked about the
    20            MS. O'DELL: Object to the             20       fragrances, I concluded that -- I
    21        form.                                     21       inferred from his -- from his
    22            THE WITNESS: What page are            22       report, that these chemicals do
    23        we going back to, please?                 23       contribute to the inflammatory
    24   BY MR. HEGARTY:                                24       response, toxicity and potential
                                                                   133 (Pages 526 to 529)
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                                   Judith Zelikoff, Ph.D.
                                           Page 530                                           Page 532
     1        carcinogenicity.                         1   BY MR. HEGARTY:
     2   BY MR. HEGARTY:                               2        Q. Doctor, you --
     3        Q. The sentence, "I concur with          3        A. -- that included talc.
     4   his opinion," is not in Dr. Crowley's         4        Q. Doctor, you testified
     5   report, is it?                                5   earlier in this deposition that your
     6        A. No. That was my opinion.              6   information as it relates to talc and
     7        Q. That same opinion, stated             7   ovarian cancer came from the media and
     8   exactly the same way, is in the               8   discussion with colleagues, correct?
     9   Dr. Smith-Bindman report, correct?            9        A. Prior to being contacted.
    10        A. Can I see that report?               10        Q. Right. So prior to being
    11        Q. Do you recall without                11   contacted for counsel for plaintiffs, you
    12   looking at it, that that same section is     12   had no expertise in talc and ovarian
    13   in her report?                               13   cancer, correct?
    14        A. I do not. I do not recall.           14        A. As a toxicologist -- I'm
    15        Q. Okay. Did you -- do you              15   sorry. I'm getting hung up on the word
    16   know -- have you ever spoken to              16   "expert" as you're using it. As a
    17   Dr. Smith-Bindman?                           17   toxicologist, I am familiar with talc. I
    18        A. Not at all.                          18   am familiar with much of the toxicity of
    19        Q. Do you know who she is?              19   it. But the primary -- in discussing
    20        A. I don't.                             20   talc and its relationship to cancer, it
    21        Q. Do you know her expertise?           21   was through colleagues and the media,
    22        A. I do not.                            22   yes, correct.
    23        Q. Have you ever heard her name         23        Q. You had not studied, prior
    24   before today?                                24   to being contacted by plaintiffs'
                                           Page 531                                           Page 533
     1        A. Not -- not to my knowledge.           1   counsel, any issues reported in the
     2   But I would like to see -- to refresh my      2   medical literature with regard to talc
     3   memory, if it's available.                    3   and ovarian cancer, correct?
     4        Q. You were asked about your             4        A. I have not studied in my
     5   expertise as it relates to talc and           5   laboratory, that's correct.
     6   inflammation. Before you were contacted       6        Q. You also did not review any
     7   by Ms. Emmel, you had no expertise in         7   literature discussing talc and ovarian
     8   talc, correct?                                8   cancer prior to being contacted by
     9            MS. O'DELL: Objection to             9   counsel for plaintiff?
    10        form.                                   10        A. That is correct.
    11            THE WITNESS: I performed no         11        Q. Prior to being contacted by
    12        scientific studies in it.               12   counsel for plaintiffs you had not
    13   BY MR. HEGARTY:                              13   studied the toxicology -- toxic aspects,
    14        Q. You also reviewed no                 14   if any, of talc, correct?
    15   scientific studies concerning talc,          15            MS. O'DELL: Object to the
    16   correct?                                     16        form.
    17            MS. O'DELL: Objection to            17            THE WITNESS: I have -- as I
    18        form.                                   18        stated, I have reviewed papers
    19            THE WITNESS: I have                 19        that have looked at it. And I've
    20        reviewed papers. I am editor and        20        reviewed them for acceptance into
    21        associate editor on an editorial        21        journals.
    22        board so that in my past                22   BY MR. HEGARTY:
    23        experience, I likely reviewed           23        Q. Can you cite for us today
    24        papers --                               24   any such papers?
                                                                 134 (Pages 530 to 533)
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                                   Judith Zelikoff, Ph.D.
                                           Page 534                                        Page 536
     1        A. Over my career, I cannot.             1   nickel?
     2   Sorry.                                        2        A. Yes.
     3        Q. Can you identify any study            3        Q. What published article have
     4   you have published that investigated or       4   you -- have you written discussing the
     5   discussed the toxicity of cobalt?             5   toxicity of nickel?
     6        A. I've written review articles          6        A. One that comes to my mind,
     7   on the toxicology of metals in general        7   without looking at my CV, is an early
     8   and cobalt was in there, and in book          8   publication associated with the
     9   chapters.                                     9   immunology and immunotoxicity of nickel
    10        Q. But it's your testimony that         10   in fish.
    11   you have written review papers where you     11        Q. What nickel -- was it a
    12   discussed the toxicity of cobalt?            12   nickel compound?
    13        A. I did not say review papers.         13        A. It was a nickel chloride, a
    14   I said book chapters.                        14   soluble nickel compound.
    15        Q. So you had written a book            15        Q. Are nickel compounds in
    16   chapter to discuss the toxicity of           16   Johnson's Baby Powder?
    17   cobalt?                                      17        A. Nickel -- according to the
    18             MS. O'DELL: Objection to           18   J&J documents and other -- other internal
    19        form.                                   19   documents, yes.
    20             THE WITNESS: I was an              20        Q. Okay. What nickel compounds
    21        editor of a book, several books --      21   are in Johnson's Baby Powder?
    22        two books actually, which looked        22        A. The report indicates nickel.
    23        at the toxicity of cobalt --            23   It does not break it down to a particular
    24        looked at the toxicity of metals.       24   salt or a particular compound of nickel.
                                           Page 535                                        Page 537
     1        And cobalt, to my recollection,          1        Q. Have you written any papers
     2        was in both of those books.              2   looking at the toxicity of chromium-3?
     3   BY MR. HEGARTY:                               3        A. I'm going to look in my --
     4        Q. Did you write those                   4   in my CV.
     5   chapters?                                     5        Q. Well, without looking at
     6        A. I reviewed those chapters             6   your CV, for purposes of time, can you
     7   for publication in those books.               7   recall any such article?
     8        Q. My question was did you               8             MS. O'DELL: If you need to
     9   write those chapters?                         9        take a moment, Doctor, feel free
    10        A. I'm sorry. Did I write               10        to.
    11   those chapters on cobalt? No, I did not.     11             MR. HEGARTY: We'll go off
    12        Q. Have you ever written any            12        the record if she needs to take a
    13   published chapter or article discussing      13        moment.
    14   the toxicity of cobalt?                      14   BY MR. HEGARTY:
    15        A. I have not --                        15        Q. Because I qualified my
    16            MS. O'DELL: Objection.              16   question by asking you, without looking
    17            THE WITNESS: -- written an          17   at your CV, are you able to cite an
    18        article in the area of cobalt, but      18   article that you've written?
    19        I am familiar with metals, very         19        A. I want to give actual data
    20        much so from the department and         20   to you. In my mind, I recall a paper
    21        the research that I do.                 21   that I wrote with Dr. Max Costa on
    22   BY MR. HEGARTY:                              22   chromium. And -- and possibly with Toby
    23        Q. Have you written any                 23   Rossman. But without looking, I can't be
    24   published article discussing toxicity of     24   absolutely sure.
                                                                 135 (Pages 534 to 537)
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                                   Judith Zelikoff, Ph.D.
                                          Page 538                                         Page 540
     1        Q. You refer over on pages --           1   the statements that you were asked about
     2   or on Page 25 of your report --              2   by plaintiffs' counsel in your expert
     3        A. Yes.                                 3   report, correct?
     4        Q. -- to --                             4            MS. O'DELL: Object to form.
     5        A. Talc-induced inflammation.           5            THE WITNESS: Not without
     6        Q. Well, let me finish my               6        checking my document, I can't
     7   question.                                    7        answer conclusively.
     8        A. Oh, I'm sorry.                       8   BY MR. HEGARTY:
     9        Q. You refer over on Page 25 in         9        Q. You did not rely on this
    10   the fourth paragraph to an abstract and     10   portion of the FDA's letter for purposes
    11   other material by Dr. Harper and            11   of your opinions in this case, correct?
    12   Dr. Saed, correct?                          12            MS. O'DELL: Regarding the
    13        A. Yes. In the last -- in the          13        asbestos testing?
    14   last paragraph, in the last sentence.       14   BY MR. HEGARTY:
    15        Q. And none of those                   15        Q. The portion that I just
    16   publications refer to testing using         16   referred you to, the top two paragraphs
    17   Johnson's Baby Powder, correct?             17   at Page 3.
    18            MS. O'DELL: Objection to           18        A. They do not prove that all
    19        form.                                  19   talc-containing cosmetic products
    20            THE WITNESS: To my                 20   currently marketed in the United States
    21        knowledge, no, but I would have to     21   are free of asbestos. Is that --
    22        look at the paper to be absolutely     22        Q. Yes.
    23        sure. But they did use talc,           23        A. Okay. And the question was?
    24        yes -- talcum powder.                  24        Q. You did not refer to that
                                          Page 539                                         Page 541
     1   BY MR. HEGARTY:                              1   statement in your report, correct?
     2        Q. Can you cite for me any              2         A. That is correct, yes.
     3   animal or cell studies that you reviewed     3         Q. Also you did not cite on
     4   for purposes of preparing your report        4   Page 5 in your report the statement that
     5   that tested Johnson's Baby Powder other      5   "it is, therefore, plausible that
     6   than Dr. Saed's recent manuscript?           6   perineal talc and other particulate that
     7        A. I know I have, I just can't          7   reaches the endometrial cavity, et
     8   recall.                                      8   cetera, may elicit foreign body-type
     9            You are talking about               9   reaction and inflammatory response that
    10   publications, correct?                      10   in some exposed women may progress to
    11        Q. Yes. That you've cited in           11   epithelial cancers."
    12   your report.                                12             You did not cite that
    13        A. I can't find it at the              13   sentence in your report either, correct?
    14   moment, so I would have to say no.          14         A. I did not --
    15        Q. Did you find Exhibit 33, the        15             MS. O'DELL: Objection to
    16   FDA's response letter to Dr. Epstein.       16         form.
    17        A. Thank you.                          17             THE WITNESS: I did not cite
    18        Q. You were referred to Page 3         18         that sentence in my report either.
    19   in FDA's statement with regard to its       19         However, this document was in
    20   testing of samples of cosmetic grade raw    20         my -- in my citations in the
    21   material talc and cosmetic products for     21         overall reliance -- reliance
    22   asbestos?                                   22         document.
    23        A. Yes, I did.                         23   BY MR. HEGARTY:
    24        Q. You did not refer to any of         24         Q. With regard to the draft
                                                                136 (Pages 538 to 541)
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                                   Judith Zelikoff, Ph.D.
                                          Page 542                                        Page 544
     1   screening assessment by Canada, Canada       1            "The specific mechanisms and
     2   employs a precautionary principle. Are       2   cascade of molecular events by which talc
     3   you aware of that?                           3   might cause ovarian cancer have not been
     4        A. Yes.                                 4   identified."
     5        Q. Do you know what a                   5            MS. O'DELL: Wait. Do you
     6   precautionary principle is?                  6       mind showing Dr. Zelikoff?
     7        A. I do know what a                     7            MR. HEGARTY: Well, then I
     8   precaution --                                8       won't have -- I'm just reading
     9        Q. What is it?                          9       this statement.
    10        A. A precautionary principle is        10            MS. O'DELL: Well, but if
    11   one where you -- in my -- in my opinion     11       you're reading from the draft
    12   and what -- to my knowledge, it's a         12       assessment --
    13   principle in which you use every            13            MR. HEGARTY: You know what,
    14   precaution in terms of assessment, in       14       I -- this is the only copy I have.
    15   terms of use in animal models and human     15       If you want to hand me your copy.
    16   models. You follow precaution.              16            MR. TISI: I have my copy.
    17        Q. Okay. The draft screenings          17       It has my notes on it. If you...
    18   assessment, Exhibit Number 9, contains      18            Do you want it?
    19   the following statement -- and I only --    19            MS. O'DELL: You're welcome
    20   I only have your copy.                      20       to my copy.
    21        A. Oh okay.                            21            MR. HEGARTY: Thank you.
    22        Q. I'm going to read it to you         22   BY MR. HEGARTY:
    23   and tell me whether you agree with it.      23       Q. Page 18, second paragraph.
    24        A. Okay.                               24   I was on Page 18, Doctor.
                                          Page 543                                        Page 545
     1        Q. "The etiology of most                1        A. You handed it to me like
     2   ovarian tumors in general has not been       2   this, sir.
     3   well established."                           3        Q. Right. On page -- I'm
     4            MS. O'DELL: What page are           4   sorry, Page 21.
     5        you on, please?                         5        A. This is Page 21.
     6            MR. HEGARTY: Page 18.               6        Q. Sorry. Page 21, second
     7   BY MR. HEGARTY:                              7   paragraph. The statement at the end
     8        Q. Do you agree with that               8   reads, "However, the specific mechanisms
     9   statement?                                   9   and cascade of molecular events by which
    10        A. Please read it again.               10   talc might cause ovarian cancer have not
    11        Q. "The etiology of most               11   been identified."
    12   ovarian tumors in general has not been      12              Do you agree with that
    13   well established."                          13   statement?
    14        A. The etiology is -- has not          14              MS. O'DELL: Objection to
    15   been well established. But it has been      15        form.
    16   studied. But there -- okay. I'm done.       16              THE WITNESS: That's a
    17        Q. The -- on page -- strike            17        statement here.
    18   that. On Page 21 --                         18   BY MR. HEGARTY:
    19        A. Of my report?                       19        Q. Do you agree with that
    20        Q. No, of the --                       20   statement?
    21        A. Health Canada.                      21        A. Oh, I'm sorry. I'm sorry,
    22        Q. -- health assessment states         22   I've lost -- Page 21, what --
    23   the following statement and tell me         23        Q. Page 21, second paragraph --
    24   whether you agree with it.                  24        A. -- what paragraph?
                                                                137 (Pages 542 to 545)
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                                  Judith Zelikoff, Ph.D.
                                          Page 546                                           Page 548
     1             Under --                           1   today it's not -- you're not using it to
     2         Q. Last two lines.                     2   inform your opinions, correct?
     3         A. Under --                            3        A. It is -- it is support and
     4         Q. Under -- in the biologic            4   validation of my opinions.
     5   plausibility section.                        5        Q. You referenced IARC and its
     6         A. I see it. Thank you.                6   designation of asbestos. What has IARC
     7         Q. It read -- the statement            7   designated talc for genital uses as?
     8   reads: The specific mechanisms and           8            MS. O'DELL: Objection.
     9   cascade of molecular events by which talc    9            THE WITNESS: I -- in -- in
    10   might cause ovarian cancer have not been    10        terms of classification, may I
    11   identified.                                 11        look at the document?
    12             Do you agree with that            12   BY MR. HEGARTY:
    13   statement?                                  13        Q. Well, they've designated
    14         A. Yes, they have not been            14   talc used --
    15   clearly and conclusively identified.        15        A. Fibrous -- fibrous --
    16         Q. But that's not what that           16        Q. -- for perineal use as 2B,
    17   sentence reads. My question was do you      17   correct?
    18   agree with the sentence that I just read    18        A. 2B, yes. Fibrous talc,
    19   to you.                                     19   correct.
    20         A. It is -- I think it's a            20        Q. You were asked about the
    21   sentence taken out of text.                 21   deposition of Robert Glenn, correct?
    22             Do I agree with the sentence      22        A. The past manager and
    23   as it is written? No. I would have to       23   director of NIOSH.
    24   add the words, "have not been clearly       24        Q. Yes.
                                          Page 547                                           Page 549
     1   identified."                                 1         A. Yes.
     2       Q. So you don't agree with               2         Q. Did you read the entirety of
     3   everything in the --                         3   his deposition?
     4       A. Or established.                       4         A. No, I did not.
     5       Q. So you don't agree with               5         Q. Did you agree with
     6   everything in Health Canada's risk           6   everything he said in his deposition?
     7   assessment, correct?                         7         A. I said I did not read the
     8            MS. O'DELL: Objection to            8   entirety. I can't answer.
     9       form.                                    9             (Document marked for
    10            THE WITNESS: I -- I do not         10         identification as Exhibit
    11       agree with this sentence, correct.      11         Zelikoff-49.)
    12   BY MR. HEGARTY:                             12   BY MR. HEGARTY:
    13       Q. You do rely on, for purposes         13         Q. I'm going to mark as
    14   of your opinions in this case, the draft    14   Exhibit 49, portions of the deposition of
    15   screening assessment, correct?              15   Dr. Robert Glenn. If you turn to the
    16            MS. O'DELL: Objection.             16   first page of that exhibit, Page 482.
    17            THE WITNESS: No. That came         17         A. Page 482, yes.
    18       out well after I handed in my           18         Q. Yes. Mr. Glenn was asked in
    19       final report, so it was not used        19   the middle of the page, Lines 12 to 14,
    20       to inform my opinion. It was            20   "Has the data also showed that talcum
    21       supporting validation for my            21   powder is not cytotoxic, meaning it
    22       opinion.                                22   doesn't damage cells?"
    23   BY MR. HEGARTY:                             23             Mr. Glenn answer's, "Yes."
    24       Q. So still -- still through            24         A. Yes.
                                                                138 (Pages 546 to 549)
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                                   Judith Zelikoff, Ph.D.
                                           Page 550                                         Page 552
     1        Q. Did you cite that portion of          1   shows that talcum powder is not
     2   his testimony in your expert report?          2   mutagenic? There is.
     3             MS. O'DELL: Objection to            3        Q. Did you cite that portion of
     4        form.                                    4   Mr. Glenn's testimony in your report?
     5             THE WITNESS: No.                    5        A. No, I did not.
     6   BY MR. HEGARTY:                               6        Q. If you look at the next page
     7        Q. Did you read it?                      7   at the top. The question, 2 through 7,
     8        A. I said that I did not read            8   with the answer on 8.
     9   this in its -- in its entirety.               9        A. Mm-hmm-hmm.
    10        Q. Do you agree with that               10        Q. Did you cite that question
    11   sentence?                                    11   and answer in your report?
    12             I'm sorry, do you agree with       12             MS. O'DELL: Object to the
    13   his answer to that question?                 13        form.
    14             MS. O'DELL: Objection to           14             THE WITNESS: I did not cite
    15        form.                                   15        any of Dr. Glenn's information
    16             THE WITNESS: To the                16        because I -- I did not read it in
    17        question, "Has the data also            17        detail.
    18        showed that talcum powder is not        18   BY MR. HEGARTY:
    19        cytotoxic, meaning it doesn't           19        Q. You can put that aside.
    20        damage cells?"                          20             Is it your testimony that
    21             So if the question is do I         21   you're more knowledgeable regarding talc
    22        agree with that sentence -- do I        22   and ovarian cancer than Dr. Neel?
    23        agree with his answer of yes,           23        A. No, what my testimony is to
    24        there have been data showing, in        24   is that I have extensive knowledge in
                                           Page 551                                         Page 553
     1        certain circumstances, in certain        1   toxicological aspects, the cytotoxicity
     2        cell lines, that talcum powder has       2   of it, and the inflammatory responses
     3        not been shown to be cytotoxic at        3   from an -- from an academic perspective
     4        certain concentrations.                  4   and a biological mechanism perspective.
     5   BY MR. HEGARTY:                               5         Q. What is Dr. Neel's knowledge
     6        Q. Looking down at the next              6   of the toxicological aspects and the
     7   question, 18 through 21, he's asked, "And     7   toxicity of talc?
     8   has the data also showed that talcum          8         A. I do not know.
     9   powder is not mutagenic, meaning it           9         Q. What's his -- is he a
    10   doesn't mutate genes?"                       10   cancer -- strike that.
    11            "Answer: Yes."                      11              He is a cancer biologist,
    12            Do you agree with his answer        12   correct?
    13   to that question?                            13              MS. O'DELL: Objection to
    14        A. I do not agree. I think              14         form.
    15   that the -- I do not agree with his          15              THE WITNESS: The only thing
    16   answer. I think that his -- that the         16         I know about Dr. Neel is that he
    17   question has to be -- the question in my     17         is the director of the Cancer
    18   opinion, it was ambiguous. And I'm not       18         Institute. I am not familiar with
    19   sure what he was basing that on in terms     19         his research.
    20   of his response.                             20   BY MR. HEGARTY:
    21            If you -- if he was looking         21         Q. Have you ever evaluated his
    22   at mutagenicity in terms of Ames assays      22   qualifications?
    23   or yes, they have not shown mutagenicity.    23         A. No. I was not on the search
    24            So is there data that also          24   committee nor do I have access to his CV.
                                                                 139 (Pages 550 to 553)
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                                   Judith Zelikoff, Ph.D.
                                           Page 554                                          Page 556
     1        Q. You made statements                   1        Q. Are you a board-certified
     2   indicating that you believe that you are      2   oncologist?
     3   more knowledgeable than Dr. Neel              3        A. I am not, never claimed to
     4   regarding the toxicities of talc. Is          4   be.
     5   that true?                                    5        Q. Are you a board-certified
     6        A. What I do know is that he is          6   gynecologic oncologist?
     7   not a toxicologist.                           7            MS. O'DELL: Wait a minute.
     8        Q. Do you know what his area of          8            THE WITNESS: I am not, nor
     9   expertise is?                                 9        have I ever claimed to be.
    10        A. He's -- OB/GYN and oncology.         10        Because --
    11        Q. Do you know what his level           11   BY MR. HEGARTY:
    12   of knowledge is in the area of               12        Q. You were asked -- you were
    13   toxicology?                                  13   asked about whether you could do --
    14        A. I do not.                            14   whether there could be studies looking at
    15        Q. Have you ever met him?               15   risk of cancer in women exposed to
    16        A. Yes, I have met him.                 16   cobalt, chromium, and nickel. Do you
    17        Q. Have you ever talked to him          17   recall those questions?
    18   about his qualifications in the area of      18        A. I do.
    19   toxicology?                                  19        Q. Studies looking at exposures
    20        A. No, I have not. But I know           20   of metals in humans are done all the
    21   he is not a -- he is not considered a        21   time. They are called retrospective
    22   toxicologist by his peers, by colleagues.    22   case-control studies, correct?
    23   He is known as a cancer oncologist. He       23        A. They are not done in a
    24   is not known or recognized as a              24   laboratory nor is there insertion of
                                           Page 555                                          Page 557
     1   toxicologist.                                 1   those metals into humans.
     2        Q. Who have you ever asked --            2        Q. That's not my question. You
     3   who have you ever spoken with regarding       3   said -- you testified that there is no
     4   to Dr. Neel's qualifications as it            4   way that you can do a study looking at
     5   relates to toxicology?                        5   the effect of nickel in humans. That's
     6        A. I have not spoken to him              6   not true, is it?
     7   about his qualifications. My answer           7            MS. O'DELL: Objection to
     8   comes from the fact that I am an active       8        form. Misstates --
     9   member in the Society of Toxicology, but      9            THE WITNESS: I'm sorry.
    10   nationwide and internationally. And also     10            MS. O'DELL: -- the question
    11   I'm an active member in the International    11        and the testimony.
    12   Union of Toxicology and active member in     12            Excuse me, Doctor.
    13   the other -- other toxicology programs       13            THE WITNESS: I was -- I was
    14   and societies.                               14        talking about clinical studies and
    15            And I have -- I have not            15        studies in people.
    16   seen Dr. Neel at any of these, nor have I    16   BY MR. HEGARTY:
    17   heard of him being spoken at or about in     17        Q. There are retrospective
    18   these -- in these meetings.                  18   case-control studies looking at exposure
    19        Q. Do you go to OB/GYN                  19   of humans to nickel, correct?
    20   conferences?                                 20        A. That is -- those are
    21        A. I do not.                            21   epidemiological studies. My
    22        Q. Do you go to oncology                22   understanding of the question that was
    23   conferences?                                 23   asked of me had to do with laboratory
    24        A. I do not.                            24   studies and intentional exposure.
                                                                 140 (Pages 554 to 557)
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                                  Judith Zelikoff, Ph.D.
                                          Page 558                                         Page 560
     1        Q. Well, can you cite for me            1        is not unethical, but to use it in
     2   any epidemiologic studies showing an         2        a clinical study would be
     3   increased risk of ovarian cancer in women    3        extremely unethical.
     4   exposed to nickel?                           4   BY MR. HEGARTY:
     5        A. Nickel alone, I have not             5        Q. It would also be appropriate
     6   reviewed that. But I do know the IARC        6   to do cell studies looking at nickel,
     7   document talks about it as a Class 1         7   cobalt, and chromium in ovarian cancer
     8   carcinogen.                                  8   cells, correct?
     9        Q. Can you cite for me, any             9            MS. O'DELL: Objection to
    10   retrospective case-control studies,         10        form.
    11   showing an increased risk of ovarian        11            THE WITNESS: Alone -- I'm
    12   cancer in women exposed to chromium?        12        sorry. Alone or in combination?
    13        A. Chromium alone?                     13   BY MR. HEGARTY:
    14        Q. Yes.                                14        Q. Or all of the above.
    15        A. No, I cannot.                       15        A. Your question was it would
    16        Q. Same question as to cobalt?         16   be unethical to do cell culture studies?
    17        A. No, I cannot.                       17        Q. Would it be unethical in
    18        Q. Can you cite for me any             18   your opinion?
    19   case-control studies looking at whether     19        A. Not to do cell culture
    20   there's an increased risk of ovarian        20   studies.
    21   cancer in women exposed to nickel,          21        Q. Have such studies been done?
    22   chromium, and cobalt in combination?        22        A. I'm not sure about the
    23        A. I hope I understand your            23   combination. There have been studies, a
    24   question right. But what I am -- what       24   number of studies that have been done in
                                          Page 559                                         Page 561
     1   I'm saying is yes, there is an increased     1   cell culture. I can't cite them all,
     2   risk in exposure to talc because talc        2   because there are numerous that have
     3   contains, according to the J&J documents,    3   looked at nickel or cobalt or chromium in
     4   and according to other studies that just     4   cell culture studies, and many that have
     5   looked at talcum powder products,            5   been done in my own laboratory.
     6   contains nickel, cobalt, and chromium in     6         Q. Can you cite to me any such
     7   elevated levels.                             7   studies that have done those tests in
     8        Q. My question is specific to           8   ovarian cells?
     9   looking only at exposure to cobalt,          9         A. I'm sorry. When you say
    10   nickel, and chromium. Can you cite for      10   "any such studies," do you mean cell
    11   me any case-control studies showing an      11   culture studies?
    12   increased risk of ovarian cancer in women   12         Q. Yes.
    13   exposed to those three metals in            13         A. Well, the Shukla study, the
    14   combination?                                14   Saed studies.
    15        A. No, I can't.                        15         Q. So the Shukla and Saed
    16            MS. O'DELL: Objection.             16   studies applied nickel, chromium and
    17        Asked and answered.                    17   cobalt to the cells?
    18   BY MR. HEGARTY:                             18         A. I'm sorry. I'm sorry. I
    19        Q. It would not be unethical to        19   thought you said talcum powder.
    20   do such a case-control study, correct?      20         Q. Doctor, listen to my
    21            MS. O'DELL: Objection.             21   question. My question is can, you cite
    22            THE WITNESS: A case-control        22   for me any culture studies that have
    23        study or an epidemiological study      23   applied nickel, cobalt, or chromium or
    24        which uses data from populations       24   all three to ovarian cancer cells?
                                                                141 (Pages 558 to 561)
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                                   Judith Zelikoff, Ph.D.
                                           Page 562                                       Page 564
     1        A. I cannot -- I have not seen           1   of the first page on the right-hand
     2   that literature, no.                          2   column.
     3        Q. Those studies could be done,          3        A. Yes.
     4   correct?                                      4        Q. The authors state that
     5        A. Those studies could be done.          5   the -- "First, the association is a
     6        Q. They could be done in your            6   relatively weak" -- "a relatively weak
     7   laboratory, couldn't they?                    7   one; i.e., summary relative risk of
     8        A. I have the facilities to              8   approximately 1.3."
     9   carry out those studies.                      9             Do you agree with that
    10        Q. You have not done those              10   statement?
    11   studies?                                     11             MS. O'DELL: Objection to
    12             MS. O'DELL: Objection to           12        form.
    13        form.                                   13             THE WITNESS: Number one, I
    14             THE WITNESS: Correct.              14        am not an epidemiologist so I'm
    15   BY MR. HEGARTY:                              15        not testifying to epidemiological
    16        Q. You cited to the Cramer 2007         16        odds ratio, whether that is weak
    17   study, which I'm marking as Exhibit          17        or not weak.
    18   Number 40.                                   18   BY MR. HEGARTY:
    19             (Whereupon, a discussion was       19        Q. The next sentence says,
    20        held off the stenographic record.)      20   "Second, no clear increase in risk or
    21             (Document marked for               21   duration of use has been found in most
    22        identification as Exhibit               22   studies."
    23        Zelikoff-50.)                           23             Do you agree with that
    24   BY MR. HEGARTY:                              24   sentence?
                                           Page 563                                       Page 565
     1        Q. I'm marking as Exhibit                1            MS. O'DELL: Objection to
     2   Number 50 the Cramer 2007 study that you      2       form.
     3   referred to in response to counsel's          3            THE WITNESS: There are many
     4   questions.                                    4       studies that do show that duration
     5        A. Mm-hmm-hmm.                           5       plays a role.
     6            MS. O'DELL: Objection.               6   BY MR. HEGARTY:
     7        That misstates the record. I             7       Q. That's not my question. My
     8        never referred to the Cramer             8   question is do you agree with that
     9        study.                                   9   sentence?
    10            MR. HEGARTY: She cited it           10       A. I see.
    11        in response to your questions.          11            MS. O'DELL: Objection to
    12            MS. O'DELL: No, she did             12       form. Asked and answered.
    13        not. But you may ask questions          13            THE WITNESS: I do not agree
    14        about it, but that's not a proper.      14       that there is no clear -- there is
    15            MR. HEGARTY: Well, she              15       some evidence that leads to an
    16        cited the Cramer 2007 article.          16       increase in risk associated with
    17   BY MR. HEGARTY:                              17       duration of use.
    18        Q. Do you find this article to          18   BY MR. HEGARTY:
    19   be a credible source of information for      19       Q. So you don't agree with that
    20   you?                                         20   sentence?
    21        A. It was published in                  21       A. So I do not completely agree
    22   Obstetrics and Gynecology. That is good      22   with that sentence.
    23   journal, reputable journal.                  23       Q. The next sentence reads,
    24        Q. And if you look at the top           24   "Third, the ability of talc used in the
                                                                 142 (Pages 562 to 565)
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                                    Judith Zelikoff, Ph.D.
                                            Page 566                                           Page 568
     1   genital area to enter the pelvic cavity        1        findings that led to inflammation
     2   has not been conclusively proven."             2        including an increased number of
     3            Do you agree with that                3        follicles, and that goes to
     4   sentence?                                      4        biological plausibility.
     5        A. None of these are -- none of           5   BY MR. HEGARTY:
     6   these sentences are cited or referenced        6        Q. Did you agree with that
     7   by the way.                                    7   finding?
     8            It has not been conclusively          8        A. That there were increased
     9   proven. I agree with the sentence.             9   number of follicles?
    10            May I --                             10        Q. Yes.
    11        Q. You cited as well to the              11        A. And the histopathology?
    12   Keskin paper. You cited that several          12             That there was foreign body
    13   times, including in response to counsel's     13   reactions and that there were infections,
    14   questions.                                    14   I agree with those studies.
    15        A. Yes, I did. I recall that.            15        Q. Do you agree with the
    16        Q. The Keskin paper was an               16   statement that the author made that this
    17   animal study that did not show tumor          17   effect seems to be in the form of foreign
    18   formation from application of talc,           18   body reaction or infection rather than a
    19   correct?                                      19   neoplastic change?
    20            MS. O'DELL: Object to the            20        A. I'm sorry, could you tell me
    21        form.                                    21   where that might be?
    22            THE WITNESS: If you allow            22        Q. Again, in the conclusion
    23        me to specifically look for that,        23   section that we have just been looking
    24        please.                                  24   at.
                                            Page 567                                           Page 569
     1   BY MR. HEGARTY:                                1        A. Mm-hmm-hmm.
     2        Q. I'll mark it as Exhibit 51.            2            Well, a foreign body
     3            (Document marked for                  3   reaction can -- is an immunological
     4        identification as Exhibit                 4   response. Whether it's considered a
     5        Zelikoff-51.)                             5   neoplastic change, likely not. A foreign
     6   BY MR. HEGARTY:                                6   body reaction does not necessarily -- is
     7        Q. The Keskin paper over in the           7   not necessarily known as a neoplastic
     8   conclusion section on Page 927 says that       8   response, correct.
     9   with regard to the reported effects of         9        Q. And you -- you didn't cite
    10   talc, "This effect seems to be in the         10   that statement from the Keskin paper in
    11   form of foreign body reaction or              11   your report, did you?
    12   infection rather than a neoplastic            12        A. Not that I recall.
    13   change."                                      13        Q. Do you agree with the --
    14        A. Which is inflammation.                14        A. But my -- my role was to
    15        Q. And in this study it showed           15   define biological plausibility. So what
    16   no neoplastic changes in any of the           16   I did -- what I did put in my report were
    17   animal study, correct?                        17   the things that indicated to me that
    18            MS. O'DELL: Object to the            18   there was inflammation.
    19        form.                                    19        Q. You agree with the
    20            You may answer.                      20   conclusions from the Taher paper?
    21            THE WITNESS: It was -- he            21            MS. O'DELL: Object to the
    22        did not find or they did not find        22        form.
    23        that there was neoplastic changes,       23            Doctor, it's in this stack.
    24        but they did find a number of            24            THE WITNESS: Okay. Thank
                                                                  143 (Pages 566 to 569)
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                                 Judith Zelikoff, Ph.D.
                                        Page 570                                          Page 572
     1        you. Oh, thank you.                   1   counsel has it. I'll hand it to you. If
     2   BY MR. HEGARTY:                            2   you'll --
     3        Q. Second page, Line 34, on the       3         A. Oh. You mean the draft
     4   second page.                               4   screening assessment?
     5        A. In the abstract?                   5         Q. Yes. Sorry, I was going to
     6        Q. Yes.                               6   it by the wrong name. It is Exhibit --
     7            MS. O'DELL: Give me just a        7         A. 9.
     8        moment, I'm sorry. I'll pull out      8         Q. Thank you.
     9        my copy.                              9             If you'll turn to Page 16.
    10            THE WITNESS: I'm sorry,          10         A. I see that, Keskin et al.,
    11        should I wait?                       11   2009, it's the first statement under
    12            MR. HEGARTY: I think Leigh       12   human studies.
    13        wants you to wait.                   13         Q. Yes. Right above that when
    14            MS. O'DELL: Okay. Go             14   it refers to the Keskin and colleagues
    15        ahead. I'm sorry.                    15   2009. What was the conclusion that the
    16   BY MR. HEGARTY:                           16   sentence beginning "while no cancer"? Do
    17        Q. Do you agree with the             17   you see that above human studies on
    18   statement made in Line 34?                18   Page 16?
    19        A. Perineal use of talc powder       19         A. The conclusion, "while no
    20   is a possible cause of human ovarian      20   cancer"?
    21   cancer?                                   21         Q. Yes.
    22        Q. Yes.                              22         A. "While no cancer/precancer
    23        A. I believe that it's more          23   effects were observed, Keskin and
    24   than a possible cause. I believe that     24   colleagues noted the study's duration may
                                        Page 571                                          Page 573
     1   there's biological plausibility which      1   have been too short to note these types
     2   shows that it -- it could be, it is        2   of effects."
     3   linked to human ovarian cancer.            3        Q. And in regard to -- and
     4         Q. So you don't -- you disagree      4   that -- that statement's consistent with
     5   with that statement?                       5   the statements that you've included in
     6         A. One could say that, taking        6   your report, fair?
     7   it literally, that it is certainly a       7             MR. HEGARTY: Objection to
     8   possible cause. I just believe that it     8        form.
     9   is greater than a possible cause.          9             THE WITNESS: Yeah.
    10              MR. HEGARTY: Okay. Thank       10   BY MS. O'DELL:
    11         you. I think that's it for my       11        Q. And then secondly you were
    12         time.                               12   asked a question, several questions about
    13              MS. O'DELL: Okay.              13   the actual Keskin paper itself. And I
    14                  - - -                      14   think it's still in front of you. Do you
    15                 EXAMINATION                 15   see that? It's Exhibit 51. Yeah,
    16                  - - -                      16   Exhibit 51.
    17   BY MS. O'DELL:                            17        A. This is it, thank you.
    18         Q. Doctor, I just have two          18        Q. Okay. And I'll turn you to
    19   questions for you.                        19   the conclusion please, Dr. Zelikoff.
    20              I think you had the causal     20        A. That is on Page 930?
    21   assessment in front of you.               21        Q. It's 927 actually. One of
    22         A. Do you mean the Taher?           22   the conclusions, at least the ones I -- I
    23         Q. No, ma'am. The actual            23   was looking at.
    24   causal assessment -- actually I think     24             927. Do you see that?
                                                              144 (Pages 570 to 573)
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     1        A. I see.                                 1   dissolved in DMSO.
     2        Q. And counsel directed your              2        Q. Is -- is the data included
     3   attention to the sentence that said,           3   in this manuscript, was that part of
     4   "However this effect seems to be in the        4   the -- the data you relied on in abstract
     5   form of foreign body reaction or               5   in reaching your opinions in this case?
     6   infection rather than neoplastic change."      6        A. In abstract form, yes. That
     7            Do you see that? Recall               7   was all that was -- that was available
     8   those questions --                             8   since this only came out a few weeks ago.
     9        A. In the conclusion section?             9            MS. O'DELL: Okay. I have
    10        Q. Yes.                                  10        nothing further.
    11        A. On Page --                            11            THE WITNESS: Accepted for
    12        Q. 927.                                  12        E-press a few weeks ago.
    13        A. "However this effect seems            13            MS. O'DELL: Okay. I have
    14   to be in the form of a foreign body           14        nothing further.
    15   reaction or infection rather than a           15               - - -
    16   neoplastic change."                           16              EXAMINATION
    17            Yes, I see that.                     17               - - -
    18        Q. And if you'll look to the             18   BY MR. HEGARTY:
    19   next sentence, what also did the authors      19        Q. Dr. Zelikoff, in looking at
    20   conclude?                                     20   the Keskin paper, in -- in particular at
    21        A. "Results of previous studies          21   the portion of the conclusions section
    22   are in favor of a neoplastic effect,          22   that counsel asked you to read --
    23   particularly in the ovaries."                 23        A. Yes.
    24            And they conclude that more          24        Q. -- the results of previous
                                            Page 575                                         Page 577
     1   experimental and clinical studies are          1   studies, that sentence?
     2   warranted.                                     2        A. Yes, I see it on Page 927.
     3         Q. All right. And one other              3        Q. Can you cite for me any
     4   question. You were asked about the Saed        4   previous studies to Keskin which were in
     5   studies regarding talc and cell culture,       5   favor of a neoplastic effect?
     6   both ovarian cancer cells and regular          6        A. Culture cell studies that
     7   cells.                                         7   have looked at proliferation, increased
     8         A. Yes. I recall.                        8   proliferation which was seen in the Saed
     9         Q. And you were asked earlier            9   studies and in the abstract.
    10   about the manuscript that's been marked       10   Proliferation is one hallmark of the
    11   as --                                         11   carcinogenic process.
    12         A. Exhibit 8.                           12        Q. Doctor, listen to my
    13         Q. -- Exhibit 8.                        13   question. This publication was in 2008.
    14            Is it -- is it -- turn to            14        A. Okay. I'm sorry.
    15   Page 5 of the manuscript please.              15            MS. O'DELL: 2009 I believe,
    16         A. I see it.                            16        but go ahead.
    17         Q. And looking at the top, did          17            THE WITNESS: 2009.
    18   Dr. Saed use Johnson's Baby Powder as a       18   BY MR. HEGARTY:
    19   part of the -- his treatment of cells?        19        Q. Received December 2009.
    20         A. Yes. It's Page 5, top,               20   Published 2009.
    21   treatment of cells, talcum powder from        21            The sentence reads: The
    22   Fisher -- Fisher Scientific or Baby           22   results of previous studies before 2009
    23   Powder from Johnson & Johnson, and the        23   are in favor of neoplastic effect.
    24   numbers of the lots are given were            24            What studies are they
                                                                  145 (Pages 574 to 577)
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     1   referring to?                                           1        INSTRUCTIONS TO WITNESS
     2        A. I don't know because it's                       2
     3   not referenced.                                         3            Please read your deposition
     4            MR. HEGARTY: I don't have                      4   over carefully and make any necessary
     5        any additional questions.                          5   corrections. You should state the reason
     6            MS. O'DELL: Nothing                            6   in the appropriate space on the errata
     7        further, Doctor.                                   7   sheet for any corrections that are made.
     8            THE VIDEOGRAPHER: Stand by                     8            After doing so, please sign
     9        please. This marks the end of                      9   the errata sheet and date it.
    10        today's deposition. The time is                   10            You are signing same subject
    11        9:03 p.m. Off the record.                         11   to the changes you have noted on the
    12            (Excused.)                                    12   errata sheet, which will be attached to
    13            (Deposition concluded at                      13   your deposition.
    14        approximately 9:03 p.m.)                          14            It is imperative that you
    15                                                          15   return the original errata sheet to the
    16                                                          16   deposing attorney within thirty (30) days
    17                                                          17   of receipt of the deposition transcript
    18                                                          18   by you. If you fail to do so, the
    19                                                          19   deposition transcript may be deemed to be
    20                                                          20   accurate and may be used in court.
    21                                                          21
    22                                                          22
    23                                                          23
    24                                                          24
                                                     Page 579                                         Page 581
     1                                                           1          - - - - - -
     2            CERTIFICATE
     3
                                                                             ERRATA
     4                                                           2          - - - - - -
     5           I HEREBY CERTIFY that the                       3
         witness was duly sworn by me and that the               4   PAGE LINE CHANGE
     6   deposition is a true record of the
         testimony given by the witness.
                                                                 5   ____ ____ ____________________________
     7                                                           6     REASON: ____________________________
                 It was requested before                         7   ____ ____ ____________________________
     8   completion of the deposition that the
         witness, JUDITH ZELIKOFF Ph.D., have the
                                                                 8     REASON: ____________________________
     9   opportunity to read and sign the                        9   ____ ____ ____________________________
         deposition transcript.                                 10     REASON: ____________________________
    10                                                          11   ____ ____ ____________________________
    11
    12       __________________________________
                                                                12     REASON: ____________________________
             MICHELLE L. GRAY,                                  13   ____ ____ ____________________________
    13       A Registered Professional                          14     REASON: ____________________________
             Reporter, Certified Shorthand
    14       Reporter, Certified Realtime
                                                                15   ____ ____ ____________________________
             Reporter and Notary Public                         16     REASON: ____________________________
    15       Dated: January 23, 2019                            17   ____ ____ ____________________________
    16                                                          18     REASON: ____________________________
    17
    18             (The foregoing certification
                                                                19   ____ ____ ____________________________
    19   of this transcript does not apply to any               20     REASON: ____________________________
    20   reproduction of the same by any means,                 21   ____ ____ ____________________________
    21   unless under the direct control and/or
    22   supervision of the certifying reporter.)
                                                                22     REASON: ____________________________
    23                                                          23   ____ ____ ____________________________
    24                                                          24     REASON: ____________________________
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     1
     2       ACKNOWLEDGMENT OF DEPONENT
     3
     4            I,_____________________, do
     5   hereby certify that I have read the
     6   foregoing pages, 1 - 583, and that the
     7   same is a correct transcription of the
     8   answers given by me to the questions
     9   therein propounded, except for the
    10   corrections or changes in form or
    11   substance, if any, noted in the attached
    12   Errata Sheet.
    13
    14
    15   _______________________________________
    16   JUDITH ZELIKOFF Ph.D.        DATE
    17
    18
    19   Subscribed and sworn
         to before me this
    20   _____ day of ______________, 20____.
    21   My commission expires:______________
    22
         ____________________________________
    23   Notary Public
    24
                                               Page 583
     1         LAWYER'S NOTES
     2   PAGE LINE
     3   ____ ____ ____________________________
     4   ____ ____ ____________________________
     5   ____ ____ ____________________________
     6   ____ ____ ____________________________
     7   ____ ____ ____________________________
     8   ____ ____ ____________________________
     9   ____ ____ ____________________________
    10   ____ ____ ____________________________
    11   ____ ____ ____________________________
    12   ____ ____ ____________________________
    13   ____ ____ ____________________________
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    15   ____ ____ ____________________________
    16   ____ ____ ____________________________
    17   ____ ____ ____________________________
    18   ____ ____ ____________________________
    19   ____ ____ ____________________________
    20   ____ ____ ____________________________
    21   ____ ____ ____________________________
    22   ____ ____ ____________________________
    23   ____ ____ ____________________________
    24   ____ ____ ____________________________
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